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                                                                                   Exhibit A

                                    FTX Trading Ltd., et al.,
                             Summary of Time Detail by Professional
                               July 1, 2023 through July 31, 2023


Professional               Position                Billing Rate    Sum of Hours     Sum of Fees

Arnett, Chris              Managing Director           $1,050.00            65.2        $68,460.00

Bowles, Carl               Managing Director           $1,025.00             8.0         $8,200.00

Chambers, Henry             Managing Director           $995.00            194.4     $193,428.00

Farsaci, Alessandro        Managing Director           $1,100.00             2.5         $2,750.00

Gordon, Robert              Managing Director          $1,025.00           148.7     $152,417.50

Grosvenor, Robert           Managing Director          $1,000.00             9.0         $9,000.00

Hershan, Robert             Managing Director          $1,100.00            62.8        $69,080.00

Howe, Christopher           Managing Director          $1,200.00            34.6        $41,520.00

Iwanski, Larry             Managing Director           $1,075.00            32.1        $34,507.50

Jacobs, Kevin              Managing Director           $1,100.00            43.3        $47,630.00

Johnston, David            Managing Director           $1,025.00           140.7     $144,217.50

Kotarba, Chris              Managing Director          $1,100.00             9.2        $10,120.00

Kotarba, Steve              Managing Director          $1,100.00            60.1        $66,110.00

Lawson, Alex                Managing Director           $875.00              5.5         $4,812.50

Marshall, Jonathan         Managing Director           $1,075.00             2.6         $2,795.00

Mosley, Ed                 Managing Director           $1,250.00           166.1     $207,625.00

Ryan, Laureen               Managing Director          $1,075.00           117.2     $125,990.00

Stegenga, Jeffery           Managing Director          $1,375.00             6.0         $8,250.00

Wall, Guy                  Managing Director           $1,025.00            28.8        $29,520.00

Seaway, Bill               Senior Advisor              $1,100.00            25.4        $27,940.00

Broskay, Cole               Senior Director             $900.00            169.0     $152,100.00

Callerio, Lorenzo          Senior Director              $875.00            148.2     $129,675.00

Canale, Alex               Senior Director              $900.00            214.1     $192,690.00

Chew, Ee Ling               Senior Director             $750.00              3.3         $2,475.00

Cooper, James              Senior Director              $875.00            200.3     $175,262.50

Coverick, Steve            Senior Director              $950.00            167.2     $158,840.00

Dusendschon, Kora          Senior Director              $900.00             42.7        $38,430.00

Esposito, Rob              Senior Director              $875.00            251.9     $220,412.50

Evans, Charles             Senior Director              $835.00             11.1         $9,268.50

Johnson, Robert             Senior Director             $900.00            110.2        $99,180.00

Konig, Louis               Senior Director              $900.00            192.8     $173,520.00

Kwan, Peter                Senior Director              $900.00            168.7     $151,830.00

Mohammed, Azmat            Senior Director              $925.00            215.2     $199,060.00


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Professional              Position                Billing Rate   Sum of Hours     Sum of Fees

Nadimpalli, Vamsi          Senior Director            $925.00             30.2         $27,935.00

Negus, Matthew             Senior Director            $900.00             29.8         $26,820.00

Piechota, Robert           Senior Director            $950.00              2.1          $1,995.00

Ramanathan, Kumanan       Senior Director             $950.00            196.0     $186,200.00

Sequeira, Joseph          Senior Director             $900.00             10.6          $9,540.00

Sexton, Rachel            Senior Director             $875.00             24.1         $21,087.50

Shanahan, Michael         Senior Director             $900.00            126.6     $113,940.00

Titus, Adam               Senior Director             $950.00            216.1     $205,295.00

Wilson, Sean              Senior Director             $950.00              1.6          $1,520.00

Zatz, Jonathan             Senior Director            $900.00            132.6     $119,340.00

Arbid, Rami               Director                    $750.00             30.8         $23,100.00

Baker, Kevin              Director                    $750.00            144.5     $108,375.00

Balmelli, Gioele          Director                    $800.00             94.3         $75,440.00

Bammert, Brett            Director                    $750.00              1.0           $750.00

Casey, John                Director                   $725.00             90.0         $65,250.00

Chamma, Leandro            Director                   $750.00            180.9     $135,675.00

Dennison, Kim             Director                    $650.00             24.3         $15,795.00

Flynn, Matthew            Director                    $775.00            196.1     $151,977.50

Glustein, Steven          Director                    $800.00            242.0     $193,600.00

Gosau, Tracy              Director                    $750.00             27.2         $20,400.00

Hainline, Drew            Director                    $800.00            211.9     $169,520.00

Kearney, Kevin            Director                    $800.00            212.9     $170,320.00

Lambert, Leslie           Director                    $750.00            110.5         $82,875.00

Lee, Julian               Director                    $750.00            165.1     $123,825.00

Lewandowski, Douglas      Director                    $800.00            198.7     $158,960.00

McGoldrick, Hugh          Director                    $750.00             19.3         $14,475.00

McGrath, Patrick          Director                    $750.00            128.8         $96,600.00

Medway, David             Director                    $750.00            239.8     $179,850.00

Peoples, Scott            Director                    $750.00             26.0         $19,500.00

Radis, Cameron             Director                   $750.00             43.6         $32,700.00

Ruez, William             Director                    $750.00             37.6         $28,200.00

Sullivan, Christopher     Director                    $825.00            198.3     $163,597.50

van den Belt, Mark        Director                    $750.00            214.8     $161,100.00

Walia, Gaurav             Director                    $825.00            231.9     $191,317.50

Walker, William           Director                    $850.00            214.5     $182,325.00

Ardizzoni, Heather        Manager                     $700.00            141.0         $98,700.00

Grussing, Bernice         Operations Manager          $325.00             10.6          $3,445.00

Hoffer, Emily             Manager                     $650.00            234.0     $152,100.00

Lam, James                 Manager                    $600.00            107.1         $64,260.00

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Professional               Position               Billing Rate   Sum of Hours     Sum of Fees

Li, Summer                 Senior Manager             $670.00             80.7         $54,069.00

Lowe, Sam                  Senior Manager             $650.00             33.9         $22,035.00

Mimms, Samuel              Manager                    $650.00            137.2         $89,180.00

Pestano, Kyle              Manager                    $650.00            128.2         $83,330.00

Sarmiento, Dubhe           Manager                    $650.00             29.3         $19,045.00

Sivapalu, Anan             Manager                    $625.00            211.7     $132,312.50

Sloan, Austin              Manager                    $650.00             27.0         $17,550.00

Strong, Nichole            Manager                    $650.00            172.7     $112,255.00

Yurchak, Lilia             Manager                    $650.00            104.1         $67,665.00

Zhang, Qi                  Senior Manager             $670.00            216.3     $144,921.00

Blanchard, Madison         Senior Associate           $575.00            149.9         $86,192.50

Cox, Allison               Senior Associate           $575.00            151.7         $87,227.50

Dalgleish, Elizabeth       Senior Associate           $700.00            106.3         $74,410.00

DiNatale, Trevor           Senior Associate           $700.00              2.5          $1,750.00

Faett, Jack                 Senior Associate          $700.00            179.2     $125,440.00

Helal, Aly                 Senior Associate           $575.00            135.2         $77,740.00

Kuruvilla, Daniel          Senior Associate           $700.00            145.5     $101,850.00

Montague, Katie            Senior Associate           $700.00            129.7         $90,790.00

Sagen, Daniel              Senior Associate           $725.00            171.8     $124,555.00

Wilson, David              Senior Associate           $575.00            173.6         $99,820.00

Braatelien, Troy           Associate                  $600.00            154.2         $92,520.00

Chan, Jon                   Associate                 $525.00            235.4     $123,585.00

Collis, Jack               Associate                  $500.00             46.4         $23,200.00

Corr, Caoimhe               Associate                 $500.00             19.2          $9,600.00

Dobbs, Aaron                Associate                 $525.00            189.9         $99,697.50

Ebrey, Mason               Associate                  $525.00            157.6         $82,740.00

Francis, Luke               Associate                 $600.00            328.3     $196,980.00

Gany, Jared                Associate                  $475.00            282.4     $134,140.00

Glynn, Maiti               Associate                  $600.00              3.4          $2,040.00

Gonzalez, Johnny           Associate                  $600.00            251.4     $150,840.00

Haigis, Maya                Associate                 $525.00             57.5         $30,187.50

Heric, Andrew              Associate                  $525.00            158.3         $83,107.50

Hill, Liam                 Associate                  $450.00            103.6         $46,620.00

Mirando, Michael           Associate                  $600.00            204.5     $122,700.00

Parker, Brandon             Associate                 $550.00              2.0          $1,100.00

Patel, Ishika              Associate                  $525.00             99.7         $52,342.50

Paterson, Warren            Associate                 $400.00             14.6          $5,840.00

Price, Breanna              Associate                 $525.00             99.2         $52,080.00

Schlam Batista, Sharon     Associate                  $500.00             83.5         $41,750.00

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Professional              Position               Billing Rate   Sum of Hours     Sum of Fees

Simkins, Maximilian        Associate                 $525.00              44.0        $23,100.00

Sunkara, Manasa           Associate                  $525.00            230.9      $121,222.50

Taraba, Erik               Associate                 $600.00            223.9      $134,340.00

Trent, Hudson              Associate                 $625.00            287.0      $179,375.00

Witherspoon, Samuel       Associate                  $575.00            204.0      $117,300.00

Bruck, Ran                 Consultant                $600.00            189.9      $113,940.00

Jones, Mackenzie           Consultant                $600.00            183.6      $110,160.00

Zabcik, Kathryn           Consultant                 $600.00            170.0      $102,000.00

Arora, Rohan              Analyst                    $425.00            136.8         $58,140.00

Burns, Zach               Analyst                    $500.00            175.8         $87,900.00

Clayton, Lance            Analyst                    $475.00            265.4      $126,065.00

Hubbard, Taylor           Analyst                    $425.00              99.6        $42,330.00

Liv-Feyman, Alec          Analyst                    $450.00            220.0         $99,000.00

Lowdermilk, Quinn         Analyst                    $450.00            134.2         $60,390.00

Myers, Claire             Analyst                    $425.00              93.5        $39,737.50

Nizhner, David            Analyst                    $500.00            196.6         $98,300.00

Okuzu, Ciera              Analyst                    $475.00            121.7         $57,807.50

Pecen, Sena               Analyst                    $425.00               2.0          $850.00

Radwanski, Igor           Analyst                    $450.00            153.7         $69,165.00

Simoneaux, Nicole         Analyst                    $475.00            229.4      $108,965.00

Slay, David               Analyst                    $525.00            207.9      $109,147.50

Stockmeyer, Cullen        Analyst                    $450.00            189.5         $85,275.00

Tenney, Bridger           Analyst                    $450.00            217.5         $97,875.00

Yan, Jack                 Analyst                    $450.00            101.7         $45,765.00


                                                       Total          16,660.3   $11,606,179.00




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                                          FTX Trading Ltd., et al.,
                                      Summary of Time Detail by Task
                                     July 1, 2023 through July 31, 2023



Task Description                                                    Sum of Hours      Sum of Fees
Accounting                                                                 1,102.5      $766,459.00

Asset Sales                                                                 301.7       $253,742.50

Avoidance Actions                                                          2,797.6    $1,947,469.50

Business Operations                                                        4,039.2    $2,806,470.00

Case Administration                                                           97.2        $96,405.00

Cash Management                                                             558.3       $386,171.00

Claims                                                                     2,234.9    $1,629,807.00

Contracts                                                                     22.0        $13,955.00

Court and UST Reporting                                                     290.2       $208,993.50

Creditor Cooperation                                                        163.3       $115,885.00

Disclosure Statement and Plan                                              1,060.6      $676,152.50

Due Diligence                                                               149.9       $107,260.00

Employee Matters                                                            116.1         $58,160.00

Fee Application                                                               13.1         $5,407.50

Financial Analysis                                                         1,438.7      $973,150.00

Intercompany                                                                181.0       $140,159.00

Joint Provisional Liquidators                                               784.8       $523,755.00

Liquidation Analysis                                                          54.8        $39,662.50

Litigation                                                                    26.4        $24,480.00

Motions and Related Support                                                   15.6        $13,842.50

Non-working Travel (Billed at 50%)                                             9.1         $6,830.00

Schedules and Statements                                                    931.6       $572,175.00

Tax Initiatives                                                             190.6       $191,102.50

Vendor Management                                                             81.1        $48,685.00


                                                          Total           16,660.3   $11,606,179.00




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                               FTX Trading Ltd., et al.,
                        Summary of Time Detail by Professional
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Accounting                      Assist with the development and execution of the company's accounting &
                                finance functions, treasury processes & controls, and support of information
                                requirements including Petition Date cut-off and analysis of liabilities subject to
                                compromise.




Professional                Position                    Billing Rate         Sum of Hours              Sum of Fees

Chambers, Henry           Managing Director                    $995                       11.5           $11,442.50

Gordon, Robert            Managing Director                  $1,025                       31.5           $32,287.50

Jacobs, Kevin             Managing Director                  $1,100                        0.3              $330.00

Ryan, Laureen             Managing Director                  $1,075                        1.0            $1,075.00

Broskay, Cole             Senior Director                      $900                       76.2           $68,580.00

Cooper, James             Senior Director                      $875                        0.6              $525.00

Coverick, Steve           Senior Director                      $950                        1.6            $1,520.00

Kwan, Peter               Senior Director                      $900                        0.3              $270.00

Sequeira, Joseph          Senior Director                      $900                        8.3            $7,470.00

Shanahan, Michael         Senior Director                      $900                        2.4            $2,160.00

Zatz, Jonathan            Senior Director                      $900                        1.2            $1,080.00

Hainline, Drew            Director                             $800                       99.4           $79,520.00

Kearney, Kevin            Director                             $800                     101.4            $81,120.00

Lee, Julian               Director                             $750                        0.6              $450.00

Sullivan, Christopher     Director                             $825                        8.8            $7,260.00

Walia, Gaurav             Director                             $825                        0.4              $330.00

Ardizzoni, Heather        Manager                              $700                       16.4           $11,480.00

Hoffer, Emily             Manager                              $650                        0.6              $390.00


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                             FTX Trading Ltd., et al.,
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                        July 1, 2023 through July 31, 2023


Li, Summer              Senior Manager                      $670            0.7          $469.00

Faett, Jack             Senior Associate                    $700          128.1     $89,670.00

Kuruvilla, Daniel       Senior Associate                    $700           81.6     $57,120.00

Montague, Katie         Senior Associate                    $700            0.2          $140.00

Braatelien, Troy        Associate                           $600          150.8     $90,480.00

Gany, Jared             Associate                           $475            0.3          $142.50

Mirando, Michael        Associate                           $600           70.3     $42,180.00

Witherspoon, Samuel     Associate                           $575            0.6          $345.00

Bruck, Ran              Consultant                          $600          130.2     $78,120.00

Jones, Mackenzie        Consultant                          $600           81.4     $48,840.00

Zabcik, Kathryn         Consultant                          $600           39.3     $23,580.00

Burns, Zach             Analyst                             $500           48.0     $24,000.00

Clayton, Lance          Analyst                             $475            6.7         $3,182.50

Nizhner, David          Analyst                             $500            1.8          $900.00

                                                                         1102.5    $766,459.00


                                     Average Billing Rate                                $695.20




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Asset Sales                     Assist the Debtors and advisors with various asset sales processes including
                                discussions with potential buyers, attaining and submitting information for buyer
                                diligence related to the sale, supplying supporting analysis/forecasts, and
                                support drafting of related purchase agreements (including schedules).




Professional                Position                   Billing Rate        Sum of Hours             Sum of Fees

Arnett, Chris             Managing Director                 $1,050                      1.7            $1,785.00

Chambers, Henry           Managing Director                   $995                      2.0            $1,990.00

Gordon, Robert            Managing Director                 $1,025                      2.0            $2,050.00

Hershan, Robert           Managing Director                 $1,100                     62.1           $68,310.00

Johnston, David           Managing Director                 $1,025                      1.4            $1,435.00

Mosley, Ed                Managing Director                 $1,250                      5.8            $7,250.00

Callerio, Lorenzo         Senior Director                     $875                     45.0           $39,375.00

Coverick, Steve           Senior Director                     $950                     14.5           $13,775.00

Konig, Louis              Senior Director                     $900                      0.5              $450.00

Kwan, Peter               Senior Director                     $900                      0.2              $180.00

Mohammed, Azmat           Senior Director                     $925                      6.0            $5,550.00

Ramanathan, Kumanan       Senior Director                     $950                     10.5            $9,975.00

Titus, Adam               Senior Director                     $950                      1.4            $1,330.00

Glustein, Steven          Director                            $800                      1.4            $1,120.00

Kearney, Kevin            Director                            $800                      0.9              $720.00

Sullivan, Christopher     Director                            $825                      2.1            $1,732.50

Walia, Gaurav             Director                            $825                     23.6           $19,470.00

Walker, William           Director                            $850                      3.9            $3,315.00


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Ardizzoni, Heather       Manager                             $700            6.2         $4,340.00

Montague, Katie          Senior Associate                    $700           70.5     $49,350.00

Taraba, Erik             Associate                           $600            1.3          $780.00

Trent, Hudson            Associate                           $625            3.3         $2,062.50

Liv-Feyman, Alec         Analyst                             $450            1.2          $540.00

Nizhner, David           Analyst                             $500           25.0     $12,500.00

Simoneaux, Nicole        Analyst                             $475            8.7         $4,132.50

Stockmeyer, Cullen       Analyst                             $450            0.5          $225.00

                                                                           301.7    $253,742.50


                                      Average Billing Rate                                $841.04




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                              FTX Trading Ltd., et al.,
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                         July 1, 2023 through July 31, 2023


Avoidance Actions              Assist the Debtors with evaluating and analyzing potential preference and
                               avoidance actions.




Professional               Position                   Billing Rate        Sum of Hours            Sum of Fees

Arnett, Chris            Managing Director                 $1,050                     19.6          $20,580.00

Chambers, Henry          Managing Director                   $995                      1.1           $1,094.50

Gordon, Robert           Managing Director                 $1,025                      4.4           $4,510.00

Kotarba, Steve           Managing Director                 $1,100                      3.8           $4,180.00

Mosley, Ed               Managing Director                 $1,250                     12.5          $15,625.00

Ryan, Laureen            Managing Director                 $1,075                   110.2          $118,465.00

Broskay, Cole            Senior Director                     $900                      0.3             $270.00

Callerio, Lorenzo        Senior Director                     $875                      0.2             $175.00

Canale, Alex             Senior Director                     $900                    207.3         $186,570.00

Cooper, James            Senior Director                     $875                      0.5             $437.50

Coverick, Steve          Senior Director                     $950                     11.3          $10,735.00

Esposito, Rob            Senior Director                     $875                      2.0           $1,750.00

Johnson, Robert          Senior Director                     $900                      3.9           $3,510.00

Konig, Louis             Senior Director                     $900                     43.0          $38,700.00

Kwan, Peter              Senior Director                     $900                      0.5             $450.00

Ramanathan, Kumanan      Senior Director                     $950                      6.6           $6,270.00

Shanahan, Michael        Senior Director                     $900                    123.3         $110,970.00

Zatz, Jonathan           Senior Director                     $900                      1.1             $990.00


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Flynn, Matthew            Director                    $775               2.2       $1,705.00

Glustein, Steven          Director                    $800               1.4       $1,120.00

Gosau, Tracy              Director                    $750              27.2      $20,400.00

Hainline, Drew            Director                    $800               1.4       $1,120.00

Kearney, Kevin            Director                    $800               0.6          $480.00

Lambert, Leslie           Director                    $750               1.6       $1,200.00

Lee, Julian               Director                    $750             162.8     $122,100.00

Lewandowski, Douglas      Director                    $800               0.3          $240.00

McGrath, Patrick          Director                    $750             124.5      $93,375.00

Medway, David             Director                    $750             239.8     $179,850.00

Peoples, Scott            Director                    $750              26.0      $19,500.00

Radis, Cameron            Director                    $750              38.6      $28,950.00

Ruez, William             Director                    $750              37.6      $28,200.00

Walia, Gaurav             Director                    $825               1.6       $1,320.00

Hoffer, Emily             Manager                     $650             233.4     $151,710.00

Mimms, Samuel             Manager                     $650             137.2      $89,180.00

Sivapalu, Anan            Manager                     $625               0.6          $375.00

Sloan, Austin             Manager                     $650              24.5      $15,925.00

Strong, Nichole           Manager                     $650             172.7     $112,255.00

Blanchard, Madison        Senior Associate            $575             149.3      $85,847.50

Cox, Allison              Senior Associate            $575             151.7      $87,227.50

Helal, Aly                Senior Associate            $575             128.9      $74,117.50

Chan, Jon                 Associate                   $525               2.1       $1,102.50

Dobbs, Aaron              Associate                   $525             189.9      $99,697.50



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Ebrey, Mason               Associate                          $525         157.6     $82,740.00

Francis, Luke              Associate                          $600           2.2      $1,320.00

Gany, Jared                Associate                          $475           1.5          $712.50

Haigis, Maya               Associate                          $525          10.7      $5,617.50

Mirando, Michael           Associate                          $600           0.4          $240.00

Patel, Ishika              Associate                          $525          99.7     $52,342.50

Price, Breanna             Associate                          $525          99.2     $52,080.00

Simkins, Maximilian        Associate                          $525           9.8      $5,145.00

Sunkara, Manasa            Associate                          $525           1.4          $735.00

Taraba, Erik               Associate                          $600           5.1      $3,060.00

Witherspoon, Samuel        Associate                          $575           0.2          $115.00

Radwanski, Igor            Analyst                            $450           0.2           $90.00

Simoneaux, Nicole          Analyst                            $475           1.9          $902.50

Tenney, Bridger            Analyst                            $450           0.2           $90.00

                                                                          2797.6   $1,947,469.50


                                       Average Billing Rate                               $696.12




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Business Operations           Assist the Debtors in the development, consideration, and execution of
                              operational restructuring strategies for the various Debtors' businesses,
                              including advisory regarding management of the Debtors' cryptocurrency assets.




Professional              Position                  Billing Rate       Sum of Hours            Sum of Fees

Arnett, Chris           Managing Director                $1,050                     1.8           $1,890.00

Bowles, Carl            Managing Director                $1,025                     8.0           $8,200.00

Chambers, Henry         Managing Director                  $995                    58.9          $58,605.50

Farsaci, Alessandro     Managing Director                $1,100                     2.5           $2,750.00

Gordon, Robert          Managing Director                $1,025                    10.7          $10,967.50

Iwanski, Larry          Managing Director                $1,075                    31.3          $33,647.50

Jacobs, Kevin           Managing Director                $1,100                     1.3           $1,430.00

Johnston, David         Managing Director                $1,025                    99.0         $101,475.00

Lawson, Alex            Managing Director                  $875                     0.8             $700.00

Marshall, Jonathan      Managing Director                $1,075                     2.6           $2,795.00

Mosley, Ed              Managing Director                $1,250                    21.0          $26,250.00

Ryan, Laureen           Managing Director                $1,075                     2.3           $2,472.50

Stegenga, Jeffery       Managing Director                $1,375                     4.7           $6,462.50

Wall, Guy               Managing Director                $1,025                    28.8          $29,520.00

Callerio, Lorenzo       Senior Director                    $875                    49.0          $42,875.00

Canale, Alex            Senior Director                    $900                     5.8           $5,220.00

Chew, Ee Ling           Senior Director                    $750                     3.3           $2,475.00

Coverick, Steve         Senior Director                    $950                    12.7          $12,065.00


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Dusendschon, Kora        Senior Director              $900              42.7      $38,430.00

Esposito, Rob            Senior Director              $875               0.3          $262.50

Evans, Charles           Senior Director              $835              11.1       $9,268.50

Johnson, Robert          Senior Director              $900              51.5      $46,350.00

Konig, Louis             Senior Director              $900              90.6      $81,540.00

Kwan, Peter              Senior Director              $900             166.2     $149,580.00

Mohammed, Azmat          Senior Director              $925               7.3       $6,752.50

Nadimpalli, Vamsi        Senior Director              $925               4.4       $4,070.00

Ramanathan, Kumanan      Senior Director              $950              94.2      $89,490.00

Sequeira, Joseph         Senior Director              $900               0.8          $720.00

Sexton, Rachel           Senior Director              $875              24.1      $21,087.50

Titus, Adam              Senior Director              $950               0.2          $190.00

Zatz, Jonathan           Senior Director              $900              83.3      $74,970.00

Arbid, Rami              Director                     $750              30.8      $23,100.00

Baker, Kevin             Director                     $750             143.4     $107,550.00

Balmelli, Gioele         Director                     $800              88.2      $70,560.00

Bammert, Brett           Director                     $750               1.0          $750.00

Casey, John              Director                     $725              90.0      $65,250.00

Dennison, Kim            Director                     $650               8.3       $5,395.00

Flynn, Matthew           Director                     $775              54.5      $42,237.50

Glustein, Steven         Director                     $800               3.3       $2,640.00

Hainline, Drew           Director                     $800               0.8          $640.00

Kearney, Kevin           Director                     $800               1.1          $880.00

Lambert, Leslie          Director                     $750             107.8      $80,850.00



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Lee, Julian               Director                    $750               1.5       $1,125.00

McGoldrick, Hugh          Director                    $750              19.3      $14,475.00

McGrath, Patrick          Director                    $750               3.3       $2,475.00

Radis, Cameron            Director                    $750               5.0       $3,750.00

Sullivan, Christopher     Director                    $825               4.1       $3,382.50

van den Belt, Mark        Director                    $750             200.4     $150,300.00

Walia, Gaurav             Director                    $825             199.4     $164,505.00

Walker, William           Director                    $850              26.0      $22,100.00

Ardizzoni, Heather        Manager                     $700               9.3       $6,510.00

Lam, James                Manager                     $600             107.1      $64,260.00

Li, Summer                Senior Manager              $670              59.2      $39,664.00

Sivapalu, Anan            Manager                     $625              13.0       $8,125.00

Sloan, Austin             Manager                     $650               2.5       $1,625.00

Yurchak, Lilia            Manager                     $650               9.7       $6,305.00

Zhang, Qi                 Senior Manager              $670             131.1      $87,837.00

Blanchard, Madison        Senior Associate            $575               0.6          $345.00

Dalgleish, Elizabeth      Senior Associate            $700              65.8      $46,060.00

Helal, Aly                Senior Associate            $575               6.3       $3,622.50

Kuruvilla, Daniel         Senior Associate            $700               1.7       $1,190.00

Montague, Katie           Senior Associate            $700               6.0       $4,200.00

Sagen, Daniel             Senior Associate            $725             168.2     $121,945.00

Wilson, David             Senior Associate            $575             173.6      $99,820.00

Chan, Jon                 Associate                   $525             232.6     $122,115.00

Collis, Jack              Associate                   $500              46.4      $23,200.00



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Corr, Caoimhe              Associate                          $500          19.2       $9,600.00

Francis, Luke              Associate                          $600           3.3       $1,980.00

Haigis, Maya               Associate                          $525          46.8      $24,570.00

Heric, Andrew              Associate                          $525         158.3      $83,107.50

Paterson, Warren           Associate                          $400          14.3       $5,720.00

Schlam Batista, Sharon     Associate                          $500          81.4      $40,700.00

Simkins, Maximilian        Associate                          $525          34.2      $17,955.00

Sunkara, Manasa            Associate                          $525         228.4     $119,910.00

Trent, Hudson              Associate                          $625           0.9          $562.50

Witherspoon, Samuel        Associate                          $575           0.7          $402.50

Clayton, Lance             Analyst                            $475          11.1       $5,272.50

Lowdermilk, Quinn          Analyst                            $450         134.2      $60,390.00

Radwanski, Igor            Analyst                            $450         153.2      $68,940.00

Simoneaux, Nicole          Analyst                            $475           0.3          $142.50

Slay, David                Analyst                            $525          16.5       $8,662.50

Stockmeyer, Cullen         Analyst                            $450         134.1      $60,345.00

Yan, Jack                  Analyst                            $450          59.8      $26,910.00

                                                                          4039.2   $2,806,470.00


                                       Average Billing Rate                               $694.81




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Case Administration             Address administrative matters related to the case, including: coordinating
                                meeting conference calls and the delivery of information, and preparing or
                                reviewing court documents and general case management.




Professional                Position                   Billing Rate        Sum of Hours             Sum of Fees

Arnett, Chris             Managing Director                 $1,050                      0.4              $420.00

Gordon, Robert            Managing Director                 $1,025                      7.2            $7,380.00

Howe, Christopher         Managing Director                 $1,200                      1.0            $1,200.00

Johnston, David           Managing Director                 $1,025                      6.6            $6,765.00

Kotarba, Steve            Managing Director                 $1,100                      2.1            $2,310.00

Lawson, Alex              Managing Director                   $875                      0.4              $350.00

Mosley, Ed                Managing Director                 $1,250                     20.9           $26,125.00

Ryan, Laureen             Managing Director                 $1,075                      1.5            $1,612.50

Callerio, Lorenzo         Senior Director                     $875                      2.6            $2,275.00

Cooper, James             Senior Director                     $875                      2.8            $2,450.00

Coverick, Steve           Senior Director                     $950                     22.6           $21,470.00

Esposito, Rob             Senior Director                     $875                      8.0            $7,000.00

Ramanathan, Kumanan       Senior Director                     $950                      7.9            $7,505.00

Titus, Adam               Senior Director                     $950                      1.8            $1,710.00

Lewandowski, Douglas      Director                            $800                      1.3            $1,040.00

Sullivan, Christopher     Director                            $825                      2.4            $1,980.00

Trent, Hudson             Associate                           $625                      7.7            $4,812.50




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                                                         97.2     $96,405.00


                    Average Billing Rate                               $991.82




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Cash Management                 Identify and implement short-term cash management procedures; prepare
                                financial information for distribution to official committee of unsecured creditors
                                and other interested parties, including, but not limited to cash flow projections
                                and budgets, cash receipts and disbursement analysis.




Professional                Position                   Billing Rate         Sum of Hours              Sum of Fees

Arnett, Chris             Managing Director                  $1,050                       0.3              $315.00

Johnston, David           Managing Director                  $1,025                       3.9            $3,997.50

Mosley, Ed                Managing Director                  $1,250                      11.5           $14,375.00

Broskay, Cole             Senior Director                      $900                       0.4              $360.00

Callerio, Lorenzo         Senior Director                      $875                       0.2              $175.00

Cooper, James             Senior Director                      $875                     156.7          $137,112.50

Coverick, Steve           Senior Director                      $950                       9.1            $8,645.00

Ramanathan, Kumanan       Senior Director                      $950                       0.2              $190.00

Balmelli, Gioele          Director                             $800                       2.5            $2,000.00

Sullivan, Christopher     Director                             $825                       1.4            $1,155.00

Li, Summer                Senior Manager                       $670                       0.3              $201.00

Dalgleish, Elizabeth      Senior Associate                     $700                      38.9           $27,230.00

Sagen, Daniel             Senior Associate                     $725                       0.2              $145.00

Gonzalez, Johnny          Associate                            $600                       5.7            $3,420.00

Taraba, Erik              Associate                            $600                     127.6           $76,560.00

Trent, Hudson             Associate                            $625                       0.4              $250.00

Witherspoon, Samuel       Associate                            $575                     151.0           $86,825.00

Jones, Mackenzie          Consultant                           $600                       0.4              $240.00


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Clayton, Lance           Analyst                          $475          15.8       $7,505.00

Nizhner, David           Analyst                          $500           1.2          $600.00

Simoneaux, Nicole        Analyst                          $475          19.7       $9,357.50

Slay, David              Analyst                          $525           8.1       $4,252.50

Stockmeyer, Cullen       Analyst                          $450           2.8       $1,260.00

                                                                       558.3     $386,171.00


                                   Average Billing Rate                               $691.69




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Claims                         Advise and assist the Debtors in questions and processes regarding the claims
                               reconciliation process: including, among other things, claims planning process,
                               potential claim analysis, review of claims filed against the Debtors and other
                               claim related items.




Professional               Position                  Billing Rate         Sum of Hours            Sum of Fees

Chambers, Henry          Managing Director                   $995                   120.9          $120,295.50

Gordon, Robert           Managing Director                 $1,025                      3.4           $3,485.00

Grosvenor, Robert        Managing Director                 $1,000                      9.0           $9,000.00

Johnston, David          Managing Director                 $1,025                      3.7           $3,792.50

Kotarba, Steve           Managing Director                 $1,100                     44.7          $49,170.00

Mosley, Ed               Managing Director                 $1,250                     11.6          $14,500.00

Stegenga, Jeffery        Managing Director                 $1,375                      0.4             $550.00

Broskay, Cole            Senior Director                     $900                      0.6             $540.00

Coverick, Steve          Senior Director                     $950                     11.8          $11,210.00

Esposito, Rob            Senior Director                     $875                   147.5          $129,062.50

Johnson, Robert          Senior Director                     $900                     54.4          $48,960.00

Konig, Louis             Senior Director                     $900                     12.0          $10,800.00

Kwan, Peter              Senior Director                     $900                      1.1             $990.00

Mohammed, Azmat          Senior Director                     $925                   199.4          $184,445.00

Nadimpalli, Vamsi        Senior Director                     $925                    25.8           $23,865.00

Negus, Matthew           Senior Director                     $900                     29.8          $26,820.00

Ramanathan, Kumanan      Senior Director                     $950                     55.4          $52,630.00

Zatz, Jonathan           Senior Director                     $900                     24.7          $22,230.00


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Chamma, Leandro           Director                    $750             179.8     $134,850.00

Flynn, Matthew            Director                    $775             138.4     $107,260.00

Kearney, Kevin            Director                    $800               5.4       $4,320.00

Lewandowski, Douglas      Director                    $800             184.9     $147,920.00

Sullivan, Christopher     Director                    $825               8.2       $6,765.00

van den Belt, Mark        Director                    $750               0.4          $300.00

Walia, Gaurav             Director                    $825               1.5       $1,237.50

Lowe, Sam                 Senior Manager              $650              33.9      $22,035.00

Pestano, Kyle             Manager                     $650             128.2      $83,330.00

Sarmiento, Dubhe          Manager                     $650              29.3      $19,045.00

Yurchak, Lilia            Manager                     $650              94.4      $61,360.00

Zhang, Qi                 Senior Manager              $670              85.2      $57,084.00

DiNatale, Trevor          Senior Associate            $700               1.4          $980.00

Faett, Jack               Senior Associate            $700               3.2       $2,240.00

Montague, Katie           Senior Associate            $700               1.1          $770.00

Francis, Luke             Associate                   $600              33.0      $19,800.00

Gany, Jared               Associate                   $475               0.5          $237.50

Gonzalez, Johnny          Associate                   $600              19.8      $11,880.00

Hill, Liam                Associate                   $450             103.6      $46,620.00

Trent, Hudson             Associate                   $625               0.5          $312.50

Bruck, Ran                Consultant                  $600               0.5          $300.00

Arora, Rohan              Analyst                     $425             136.8      $58,140.00

Clayton, Lance            Analyst                     $475               3.6       $1,710.00

Hubbard, Taylor           Analyst                     $425              87.5      $37,187.50



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Myers, Claire            Analyst                          $425          27.8     $11,815.00

Okuzu, Ciera             Analyst                          $475         106.3     $50,492.50

Pecen, Sena              Analyst                          $425           2.0          $850.00

Simoneaux, Nicole        Analyst                          $475          10.2      $4,845.00

Slay, David              Analyst                          $525           9.2      $4,830.00

Tenney, Bridger          Analyst                          $450           2.3      $1,035.00

Yan, Jack                Analyst                          $450          39.8     $17,910.00

                                                                      2234.9   $1,629,807.00


                                   Average Billing Rate                               $729.25




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Contracts                    Advise and assist management in preparing for and negotiating various
                             agreement and accommodations with key partners/affiliates, suppliers, and
                             vendors and analysis of contract rejection claims.




Professional             Position                  Billing Rate        Sum of Hours            Sum of Fees

Arnett, Chris          Managing Director                $1,050                      3.8           $3,990.00

Montague, Katie        Senior Associate                    $700                     6.0           $4,200.00

Francis, Luke          Associate                           $600                     1.4             $840.00

Hubbard, Taylor        Analyst                             $425                     2.1            $892.50

Simoneaux, Nicole      Analyst                             $475                     4.7           $2,232.50

Tenney, Bridger        Analyst                             $450                     4.0           $1,800.00

                                                                                   22.0          $13,955.00


                                    Average Billing Rate                                           $634.32




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Court and UST Reporting           Assist the Debtors with the preparation of the Initial Debtor Interview
                                  requirements, Initial Operating Report, Form 26 and other related matters for the
                                  US Trustee.




Professional                  Position                   Billing Rate         Sum of Hours             Sum of Fees

Gordon, Robert              Managing Director                 $1,025                      13.0          $13,325.00

Broskay, Cole               Senior Director                      $900                     55.4          $49,860.00

Cooper, James               Senior Director                      $875                     29.6          $25,900.00

Coverick, Steve             Senior Director                      $950                      0.7             $665.00

Balmelli, Gioele            Director                             $800                      0.3             $240.00

Hainline, Drew              Director                             $800                      1.0             $800.00

van den Belt, Mark          Director                             $750                      0.3             $225.00

Li, Summer                  Senior Manager                       $670                      7.8            $5,226.00

Dalgleish, Elizabeth        Senior Associate                     $700                      1.6            $1,120.00

Kuruvilla, Daniel           Senior Associate                     $700                     44.4          $31,080.00

Taraba, Erik                Associate                            $600                      2.9            $1,740.00

Witherspoon, Samuel         Associate                            $575                     43.3          $24,897.50

Bruck, Ran                  Consultant                           $600                     55.8          $33,480.00

Jones, Mackenzie            Consultant                           $600                     33.9          $20,340.00

Simoneaux, Nicole           Analyst                              $475                      0.2               $95.00

                                                                                         290.2         $208,993.50


                                          Average Billing Rate                                             $720.17




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Creditor Cooperation            Prepare for and attend meetings and participate in negotiations with the Official
                                Committee of Unsecured Creditors, other interested parties and their advisors.




Professional                Position                   Billing Rate         Sum of Hours             Sum of Fees

Arnett, Chris             Managing Director                  $1,050                      1.6            $1,680.00

Gordon, Robert            Managing Director                  $1,025                      0.2              $205.00

Johnston, David           Managing Director                  $1,025                      1.8            $1,845.00

Lawson, Alex              Managing Director                   $875                       0.3              $262.50

Mosley, Ed                Managing Director                  $1,250                     15.6           $19,500.00

Callerio, Lorenzo         Senior Director                     $875                       3.2            $2,800.00

Cooper, James             Senior Director                      $875                      6.5            $5,687.50

Coverick, Steve           Senior Director                     $950                       7.2            $6,840.00

Mohammed, Azmat           Senior Director                     $925                       2.5            $2,312.50

Ramanathan, Kumanan       Senior Director                     $950                      11.3           $10,735.00

Flynn, Matthew            Director                             $775                      1.0              $775.00

Sullivan, Christopher     Director                            $825                       9.8            $8,085.00

van den Belt, Mark        Director                            $750                       1.2              $900.00

Walia, Gaurav             Director                            $825                       0.2              $165.00

Montague, Katie           Senior Associate                    $700                       2.0            $1,400.00

Taraba, Erik              Associate                           $600                      16.3            $9,780.00

Trent, Hudson             Associate                           $625                      26.7           $16,687.50

Witherspoon, Samuel       Associate                           $575                       2.0            $1,150.00


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Simoneaux, Nicole      Analyst                          $475          32.8      $15,580.00

Stockmeyer, Cullen     Analyst                          $450          21.1       $9,495.00

                                                                     163.3     $115,885.00


                                 Average Billing Rate                               $709.64




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Disclosure Statement and Plan      Assist the Debtors and advisors with various analyses and assessment of the
                                   components included in and relating to the POR, Disclosure Statement,
                                   Schedules and related documents. Complete analyses and assist the Debtors
                                   with the Plan or Reorganization and Disclosure Statement.




Professional                    Position                 Billing Rate        Sum of Hours            Sum of Fees

Gordon, Robert              Managing Director                 $1,025                      1.1           $1,127.50

Johnston, David             Managing Director                 $1,025                      8.1           $8,302.50

Kotarba, Steve              Managing Director                 $1,100                      1.4           $1,540.00

Mosley, Ed                  Managing Director                 $1,250                    41.7          $52,125.00

Cooper, James               Senior Director                       $875                    0.5            $437.50

Coverick, Steve             Senior Director                       $950                  45.9          $43,605.00

Esposito, Rob               Senior Director                       $875                    0.9            $787.50

Ramanathan, Kumanan         Senior Director                       $950                    1.9           $1,805.00

Sullivan, Christopher       Director                              $825                 126.9         $104,692.50

van den Belt, Mark          Director                              $750                    5.0           $3,750.00

Sagen, Daniel               Senior Associate                      $725                    2.8           $2,030.00

Gonzalez, Johnny            Associate                             $600                 223.7         $134,220.00

Trent, Hudson               Associate                             $625                 216.6         $135,375.00

Witherspoon, Samuel         Associate                             $575                    4.4           $2,530.00

Slay, David                 Analyst                               $525                 172.8          $90,720.00

Tenney, Bridger             Analyst                               $450                 206.9          $93,105.00

                                                                                      1060.6         $676,152.50


                                           Average Billing Rate                                          $637.52


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Due Diligence                   Diligence of the Debtors' financial and operational standing to assist with
                                correspondence between Debtor advisors and third party inquiries.




Professional                Position                   Billing Rate         Sum of Hours              Sum of Fees

Arnett, Chris             Managing Director                  $1,050                       1.7            $1,785.00

Gordon, Robert            Managing Director                  $1,025                       3.3            $3,382.50

Mosley, Ed                Managing Director                  $1,250                       1.5            $1,875.00

Callerio, Lorenzo         Senior Director                      $875                      46.6          $40,775.00

Cooper, James             Senior Director                      $875                       2.4            $2,100.00

Coverick, Steve           Senior Director                      $950                       2.7            $2,565.00

Esposito, Rob             Senior Director                      $875                       2.3            $2,012.50

Konig, Louis              Senior Director                      $900                       6.5            $5,850.00

Hainline, Drew            Director                             $800                       4.3            $3,440.00

Kearney, Kevin            Director                             $800                       1.7            $1,360.00

Lewandowski, Douglas      Director                             $800                       2.4            $1,920.00

Sullivan, Christopher     Director                             $825                       3.7            $3,052.50

Walia, Gaurav             Director                             $825                       3.7            $3,052.50

Faett, Jack               Senior Associate                     $700                       1.3             $910.00

Francis, Luke             Associate                            $600                      14.2            $8,520.00

Mirando, Michael          Associate                            $600                       3.6            $2,160.00

Jones, Mackenzie          Consultant                           $600                       3.8            $2,280.00

Clayton, Lance            Analyst                              $475                      11.7            $5,557.50


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Okuzu, Ciera           Analyst                          $475           1.5          $712.50

Stockmeyer, Cullen     Analyst                          $450          31.0      $13,950.00

                                                                     149.9     $107,260.00


                                 Average Billing Rate                               $715.54




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Employee Matters              Assist the Debtors with employee communications, employee compensation and
                              benefits, and related matters.




Professional              Position                  Billing Rate     Sum of Hours           Sum of Fees

Arnett, Chris           Managing Director               $1,050                    4.7          $4,935.00

Ramanathan, Kumanan     Senior Director                      $950                 0.4           $380.00

Trent, Hudson           Associate                            $625                 0.8           $500.00

Simoneaux, Nicole       Analyst                              $475              110.2          $52,345.00

                                                                               116.1          $58,160.00


                                      Average Billing Rate                                       $500.95




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Fee Application               Preparation of monthly and interim fee applications in accordance with Court
                              guidelines.




Professional              Position                  Billing Rate         Sum of Hours            Sum of Fees

Coverick, Steve         Senior Director                      $950                     1.4           $1,330.00

Grussing, Bernice       Operations Manager                   $325                   10.6            $3,445.00

Witherspoon, Samuel     Associate                            $575                     1.1             $632.50

                                                                                    13.1            $5,407.50


                                      Average Billing Rate                                            $412.79




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Financial Analysis              Ad-hoc financial analyses made at the request of various constituencies,
                                including from the Debtors' management.




Professional                Position                   Billing Rate        Sum of Hours            Sum of Fees

Hershan, Robert           Managing Director                 $1,100                      0.7                $770.00

Iwanski, Larry            Managing Director                 $1,075                      0.8                $860.00

Johnston, David           Managing Director                 $1,025                      0.4                $410.00

Mosley, Ed                Managing Director                 $1,250                     13.5          $16,875.00

Stegenga, Jeffery         Managing Director                 $1,375                      0.4                $550.00

Callerio, Lorenzo         Senior Director                     $875                      1.4           $1,225.00

Canale, Alex              Senior Director                     $900                      1.0                $900.00

Coverick, Steve           Senior Director                     $950                      4.8           $4,560.00

Titus, Adam               Senior Director                     $950                    212.3         $201,685.00

Baker, Kevin              Director                            $750                      1.1                $825.00

Glustein, Steven          Director                            $800                    235.1         $188,080.00

Kearney, Kevin            Director                            $800                      7.9           $6,320.00

Lambert, Leslie           Director                            $750                      1.1                $825.00

McGrath, Patrick          Director                            $750                      1.0                $750.00

Sullivan, Christopher     Director                            $825                      0.9                $742.50

Walia, Gaurav             Director                            $825                      0.4                $330.00

Walker, William           Director                            $850                    169.7         $144,245.00

Sivapalu, Anan            Manager                             $625                    198.1         $123,812.50


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Faett, Jack              Senior Associate                    $700           3.1       $2,170.00

Sagen, Daniel            Senior Associate                    $725           0.6          $435.00

Chan, Jon                Associate                           $525           0.7          $367.50

Francis, Luke            Associate                           $600           0.6          $360.00

Gonzalez, Johnny         Associate                           $600           0.6          $360.00

Sunkara, Manasa          Associate                           $525           1.1          $577.50

Trent, Hudson            Associate                           $625           1.3          $812.50

Clayton, Lance           Analyst                             $475         190.8      $90,630.00

Liv-Feyman, Alec         Analyst                             $450         218.6      $98,370.00

Nizhner, David           Analyst                             $500         168.2      $84,100.00

Radwanski, Igor          Analyst                             $450           0.3          $135.00

Simoneaux, Nicole        Analyst                             $475           1.3          $617.50

Slay, David              Analyst                             $525           0.6          $315.00

Tenney, Bridger          Analyst                             $450           0.3          $135.00

                                                                         1438.7     $973,150.00


                                      Average Billing Rate                               $676.41




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Intercompany                     Assist in the evaluation of claims between Debtor and Non-Debtor companies
                                 and its affiliates to determine their validity and priority.




Professional                 Position                  Billing Rate       Sum of Hours            Sum of Fees

Gordon, Robert             Managing Director                $1,025                    10.6          $10,865.00

Johnston, David            Managing Director                $1,025                     3.8           $3,895.00

Broskay, Cole              Senior Director                      $900                   2.4           $2,160.00

Sequeira, Joseph           Senior Director                      $900                   1.1            $990.00

Hainline, Drew             Director                             $800                  25.7          $20,560.00

Kearney, Kevin             Director                             $800                  66.9          $53,520.00

Sullivan, Christopher      Director                             $825                   2.8           $2,310.00

Li, Summer                 Senior Manager                       $670                  12.7           $8,509.00

Faett, Jack                Senior Associate                     $700                  34.8          $24,360.00

Kuruvilla, Daniel          Senior Associate                     $700                  14.4          $10,080.00

Schlam Batista, Sharon     Associate                            $500                   2.1           $1,050.00

Bruck, Ran                 Consultant                           $600                   0.6            $360.00

Jones, Mackenzie           Consultant                           $600                   0.6            $360.00

Slay, David                Analyst                              $525                   0.2            $105.00

Tenney, Bridger            Analyst                              $450                   0.2              $90.00

Yan, Jack                  Analyst                              $450                   2.1            $945.00

                                                                                     181.0        $140,159.00


                                         Average Billing Rate                                         $774.36


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Joint Provisional Liquidators         Advise and assist the Debtors and their advisors in responding to requests,
                                      analysis, and documentation, and prepare for hearings or meetings related to the
                                      Joint Provisional Liquidators of FTX Digital Markets Ltd.




Professional                      Position                  Billing Rate         Sum of Hours            Sum of Fees

Arnett, Chris                   Managing Director                 $1,050                     28.8          $30,240.00

Gordon, Robert                  Managing Director                 $1,025                     38.6          $39,565.00

Lawson, Alex                    Managing Director                   $875                      4.0           $3,500.00

Mosley, Ed                      Managing Director                 $1,250                      2.4           $3,000.00

Ryan, Laureen                   Managing Director                 $1,075                      1.1           $1,182.50

Broskay, Cole                   Senior Director                     $900                     31.1          $27,990.00

Coverick, Steve                 Senior Director                     $950                      1.5           $1,425.00

Ramanathan, Kumanan             Senior Director                     $950                      1.4           $1,330.00

Dennison, Kim                   Director                            $650                     16.0          $10,400.00

Hainline, Drew                  Director                            $800                     54.6          $43,680.00

Kearney, Kevin                  Director                            $800                      3.5           $2,800.00

Ardizzoni, Heather              Manager                             $700                   109.1           $76,370.00

Faett, Jack                     Senior Associate                    $700                      0.4             $280.00

Montague, Katie                 Senior Associate                    $700                     40.9          $28,630.00

Braatelien, Troy                Associate                           $600                      1.8           $1,080.00

Mirando, Michael                Associate                           $600                   116.3           $69,780.00

Paterson, Warren                Associate                           $400                      0.3             $120.00

Jones, Mackenzie                Consultant                          $600                     37.4          $22,440.00


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Zabcik, Kathryn          Consultant                          $600         130.7      $78,420.00

Burns, Zach              Analyst                             $500         127.8      $63,900.00

Simoneaux, Nicole        Analyst                             $475          37.1      $17,622.50

                                                                          784.8     $523,755.00


                                      Average Billing Rate                               $667.37




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Liquidation Analysis            Preparation of hypothetical liquidation analysis.




Professional                Position                   Billing Rate         Sum of Hours       Sum of Fees

Coverick, Steve           Senior Director                      $950                     1.7      $1,615.00

Sullivan, Christopher     Director                             $825                    24.3     $20,047.50

Trent, Hudson             Associate                            $625                    28.8     $18,000.00

                                                                                       54.8     $39,662.50


                                        Average Billing Rate                                         $723.77




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Litigation                    Advise and assist management and/or the Debtors' advisors in litigation matters,
                              both actual and potential litigation and document requests/discovery related
                              thereto.




Professional              Position                   Billing Rate        Sum of Hours            Sum of Fees

Johnston, David         Managing Director                 $1,025                      7.5           $7,687.50

Mosley, Ed              Managing Director                 $1,250                      0.3             $375.00

Ryan, Laureen           Managing Director                 $1,075                      0.9             $967.50

Coverick, Steve         Senior Director                      $950                     4.2           $3,990.00

Konig, Louis            Senior Director                      $900                     7.4           $6,660.00

Shanahan, Michael       Senior Director                      $900                     0.9             $810.00

Balmelli, Gioele        Director                             $800                     2.7           $2,160.00

van den Belt, Mark      Director                             $750                     2.2           $1,650.00

Bruck, Ran              Consultant                           $600                     0.3             $180.00

                                                                                     26.4          $24,480.00


                                      Average Billing Rate                                            $927.27




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Motions and Related Support         Assist the Debtors on various motions filed, and on entry of orders to implement
                                    required reporting and other activities contemplated by the various filed motions.




Professional                    Position                   Billing Rate         Sum of Hours             Sum of Fees

Johnston, David               Managing Director                 $1,025                       4.5            $4,612.50

Mosley, Ed                    Managing Director                 $1,250                       1.4            $1,750.00

Coverick, Steve               Senior Director                      $950                      0.7             $665.00

Esposito, Rob                 Senior Director                      $875                      1.5            $1,312.50

Ramanathan, Kumanan           Senior Director                      $950                      0.7             $665.00

Balmelli, Gioele              Director                             $800                      0.6             $480.00

van den Belt, Mark            Director                             $750                      5.3            $3,975.00

Myers, Claire                 Analyst                              $425                      0.9             $382.50

                                                                                            15.6          $13,842.50


                                            Average Billing Rate                                             $887.34




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Non-working Travel (Billed at         Fifty percent of non-working travel time in excess of normal travel to and from
50%)                                  Debtors' offices and / or Court Hearings.




Professional                      Position                   Billing Rate         Sum of Hours             Sum of Fees

Broskay, Cole                   Senior Director                      $900                      2.0            $1,800.00

Esposito, Rob                   Senior Director                      $875                      0.2              $175.00

Chamma, Leandro                 Director                             $750                      1.1              $825.00

Kearney, Kevin                  Director                             $800                      2.0            $1,600.00

Faett, Jack                     Senior Associate                     $700                      1.5            $1,050.00

Francis, Luke                   Associate                            $600                      0.2              $120.00

Bruck, Ran                      Consultant                           $600                      1.7            $1,020.00

Jones, Mackenzie                Consultant                           $600                      0.4              $240.00

                                                                                               9.1            $6,830.00


                                              Average Billing Rate                                              $750.55




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Schedules and Statements           Assist the Debtors with gathering information for, and the preparation of,
                                   Statements and Schedules with background information and other related
                                   matters.




Professional                   Position                   Billing Rate        Sum of Hours             Sum of Fees

Gordon, Robert               Managing Director                 $1,025                      8.8            $9,020.00

Kotarba, Steve               Managing Director                 $1,100                      8.1            $8,910.00

Mosley, Ed                   Managing Director                 $1,250                      2.1            $2,625.00

Ryan, Laureen                Managing Director                 $1,075                      0.2              $215.00

Coverick, Steve              Senior Director                     $950                      0.4              $380.00

Esposito, Rob                Senior Director                     $875                     89.2           $78,050.00

Johnson, Robert              Senior Director                     $900                      0.4              $360.00

Konig, Louis                 Senior Director                     $900                     32.8           $29,520.00

Kwan, Peter                  Senior Director                     $900                      0.4              $360.00

Ramanathan, Kumanan          Senior Director                     $950                      0.3              $285.00

Zatz, Jonathan               Senior Director                     $900                     22.3           $20,070.00

Glustein, Steven             Director                            $800                      0.4              $320.00

Hainline, Drew               Director                            $800                     23.9           $19,120.00

Kearney, Kevin               Director                            $800                     16.0           $12,800.00

Lee, Julian                  Director                            $750                      0.2              $150.00

Lewandowski, Douglas         Director                            $800                      9.8            $7,840.00

Sullivan, Christopher        Director                            $825                      2.9            $2,392.50

Walker, William              Director                            $850                     14.9           $12,665.00


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DiNatale, Trevor         Senior Associate                    $700           1.1          $770.00

Faett, Jack              Senior Associate                    $700           6.8       $4,760.00

Kuruvilla, Daniel        Senior Associate                    $700           3.4       $2,380.00

Braatelien, Troy         Associate                           $600           1.6          $960.00

Francis, Luke            Associate                           $600         273.4     $164,040.00

Gany, Jared              Associate                           $475         280.1     $133,047.50

Gonzalez, Johnny         Associate                           $600           1.6          $960.00

Mirando, Michael         Associate                           $600          13.9       $8,340.00

Witherspoon, Samuel      Associate                           $575           0.7          $402.50

Bruck, Ran               Consultant                          $600           0.8          $480.00

Clayton, Lance           Analyst                             $475          25.7      $12,207.50

Hubbard, Taylor          Analyst                             $425          10.0       $4,250.00

Liv-Feyman, Alec         Analyst                             $450           0.2           $90.00

Myers, Claire            Analyst                             $425          64.8      $27,540.00

Okuzu, Ciera             Analyst                             $475          13.9       $6,602.50

Slay, David              Analyst                             $525           0.5          $262.50

                                                                          931.6     $572,175.00


                                      Average Billing Rate                               $614.19




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Tax Initiatives                 Assist the Debtors with tax related matters.




Professional                Position                   Billing Rate            Sum of Hours   Sum of Fees

Gordon, Robert            Managing Director                  $1,025                    13.9    $14,247.50

Howe, Christopher         Managing Director                  $1,200                    33.6    $40,320.00

Jacobs, Kevin             Managing Director                  $1,100                    41.7    $45,870.00

Kotarba, Chris            Managing Director                  $1,100                     9.2    $10,120.00

Mosley, Ed                Managing Director                  $1,250                     4.3     $5,375.00

Stegenga, Jeffery         Managing Director                  $1,375                     0.5         $687.50

Seaway, Bill              Senior Advisor                     $1,100                    25.4    $27,940.00

Broskay, Cole             Senior Director                     $900                      0.6         $540.00

Coverick, Steve           Senior Director                     $950                     12.4    $11,780.00

Piechota, Robert          Senior Director                     $950                      2.1     $1,995.00

Ramanathan, Kumanan       Senior Director                     $950                      5.2     $4,940.00

Sequeira, Joseph          Senior Director                     $900                      0.4         $360.00

Titus, Adam               Senior Director                     $950                      0.4         $380.00

Wilson, Sean              Senior Director                     $950                      1.6     $1,520.00

Glustein, Steven          Director                            $800                      0.4         $320.00

Hainline, Drew            Director                            $800                      0.8         $640.00

Kearney, Kevin            Director                            $800                      5.5     $4,400.00

Walia, Gaurav             Director                            $825                      1.1         $907.50


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Glynn, Maiti              Associate                           $600           3.4       $2,040.00

Parker, Brandon           Associate                           $550           2.0       $1,100.00

Jones, Mackenzie          Consultant                          $600          25.7      $15,420.00

Nizhner, David            Analyst                             $500           0.4          $200.00

                                                                           190.6     $191,102.50


                                       Average Billing Rate                            $1,002.64




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Vendor Management               Assist the Debtors with all vendor related items including, but not limited to
                                vendor strategy, negotiation, and advising Debtors on general accounts payable
                                questions.




Professional                Position                  Billing Rate        Sum of Hours            Sum of Fees

Arnett, Chris             Managing Director                $1,050                      0.8             $840.00

Cooper, James             Senior Director                      $875                    0.7             $612.50

Montague, Katie           Senior Associate                     $700                    3.0           $2,100.00

Taraba, Erik              Associate                            $600                   70.7          $42,420.00

Simoneaux, Nicole         Analyst                              $475                    2.3           $1,092.50

Tenney, Bridger           Analyst                              $450                    3.6           $1,620.00

                                                                                      81.1          $48,685.00


                                        Average Billing Rate                                           $600.31




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Accounting
Professional              Date     Hours     Activity
Sequeira, Joseph        7/1/2023     0.4   Reestablish QuickBooks' access to dropped legal entities

Ardizzoni, Heather      7/3/2023     1.4   Identify WRSS bank accounts designated as custodial/FBO
                                           accounts with financial institutions per review of original bank
                                           account applications for bank balance transfer exercise (3 of 37
                                           bank accounts)
Ardizzoni, Heather      7/3/2023     1.9   Identify WRSS bank accounts designated as custodial/FBO
                                           accounts with financial institutions per review of original bank
                                           account applications for bank balance transfer exercise (5 of 37
                                           bank accounts)
Ardizzoni, Heather      7/3/2023     2.1   Review original bank account applications and internal FTX
                                           communications to identify WRSS bank accounts designated by
                                           financial institution as custodial/FBO (4 of 37 bank accounts)
Bruck, Ran              7/3/2023     1.2   Create cumulative totals for daily balances for Silvergate balances


Bruck, Ran              7/3/2023     1.6   Format data within PowerBI for bank balance transfer

Bruck, Ran              7/3/2023     1.3   Review Magnus database for Silvergate bank accounts


Bruck, Ran              7/3/2023     0.8   Structure formula for return wires on WRSS Silvergate

Bruck, Ran              7/3/2023     1.1   Utilize extract of bank statements within Power Query

Hainline, Drew          7/3/2023     0.3   Trace payments made by FDM on behalf of Property Holdings for
                                           Albany property 3
Hainline, Drew          7/3/2023     0.3   Trace payments made by FDM on behalf of Property Holdings for
                                           the Veridian single unit property
Hainline, Drew          7/3/2023     0.3   Trace payments made by FDM on behalf of Property Holdings for
                                           the Ocean Terrace property
Hainline, Drew          7/3/2023     0.4   Trace payments made by FDM on behalf of Property Holdings for
                                           Albany property 9
Hainline, Drew          7/3/2023     0.2   Trace payments made by FDM on behalf of Property Holdings for
                                           Albany property 8
Hainline, Drew          7/3/2023     0.4   Trace payments made by FDM on behalf of Property Holdings for
                                           Albany property 7
Hainline, Drew          7/3/2023     0.2   Trace payments made by FDM on behalf of Property Holdings for
                                           Albany property 6
Hainline, Drew          7/3/2023     0.3   Trace payments made by FDM on behalf of Property Holdings for
                                           the West Bay property
Hainline, Drew          7/3/2023     0.3   Trace payments made by FDM on behalf of Property Holdings for
                                           Albany property 4
Hainline, Drew          7/3/2023     0.5   Trace payments made by FDM on behalf of Property Holdings for
                                           the One Cable Beach property 1-4
Hainline, Drew          7/3/2023     0.2   Trace payments made by FDM on behalf of Property Holdings for
                                           Albany property 11 and 12
Hainline, Drew          7/3/2023     0.2   Trace payments made by FDM on behalf of Property Holdings for
                                           Albany property 10

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Accounting
Professional              Date     Hours     Activity
Hainline, Drew          7/3/2023     0.4   Review variances in property value analysis against outside
                                           supporting documents
Hainline, Drew          7/3/2023     0.5   Review open items for petition date balance migration of DOTCOM-
                                           entities
Hainline, Drew          7/3/2023     0.8   Draft spot price currency translations adjustment for historical
                                           property purchases
Hainline, Drew          7/3/2023     0.4   Continue to trace payments made by FDM on behalf of Property
                                           Holdings for Albany property 2
Hainline, Drew          7/3/2023     0.6   Assess adjustments for property values based on payments in
                                           Bahamian dollars held by Property Holdings Ltd
Hainline, Drew          7/3/2023     0.3   Trace payments made by FDM on behalf of Property Holdings for
                                           Albany property 5
Hainline, Drew          7/3/2023     0.2   Trace payments made by FDM on behalf of Property Holdings for
                                           the Blake Property (lot)
Hainline, Drew          7/4/2023     0.4   Review variances between former and updated property values
                                           based on new analysis
Hainline, Drew          7/4/2023     0.4   Trace payments made by FDM for property 1 conveyed to employees


Hainline, Drew          7/4/2023     0.3   Trace payments made by FDM for property 2 conveyed to employees

Hainline, Drew          7/4/2023     0.3   Trace payments made by FDM for property 3 conveyed to employees

Hainline, Drew          7/4/2023     0.3   Trace payments made by FDM for property 4 conveyed to employees


Hainline, Drew          7/4/2023     0.3   Trace payments made by FDM for property 5 conveyed to employees

Ardizzoni, Heather      7/5/2023     0.2   Call to discuss memo summarizing bank balance exercise with H.
                                           Ardizzoni, M. Jones (A&M)
Ardizzoni, Heather      7/5/2023     1.1   Update bank balance transfer exercise documentation with results of
                                           accounts identified to banks as custodial/FBO accounts per bank
                                           account applications
Braatelien, Troy        7/5/2023     1.2   Reconcile LedgerPrime petition date financials provided 7/3 to
                                           exchange balance support
Braatelien, Troy        7/5/2023     1.9   Reconcile LedgerPrime petition date financials provided 7/3 to defi
                                           balances support
Braatelien, Troy        7/5/2023     0.9   Review documents related to open LedgerPrime token receivable
                                           questions for follow up email to management
Braatelien, Troy        7/5/2023     0.4   Update July LedgerPrime statements summary workbook for filing


Braatelien, Troy        7/5/2023     2.9   Update LedgerPrime petition date financials provided 7/3 to
                                           reconcile against values filed in 3/15 schedules
Braatelien, Troy        7/5/2023     0.7   Update LedgerPrime token reconciliation to trial balance provided by
                                           3rd party accounting team as of 7/3/23
Braatelien, Troy        7/5/2023     1.4   Meeting to review weekly priorities and discuss open items for the
                                           Alameda Silo with K. Kearney, J. Faett, T. Braatelien, and K. Zabcik
                                           (A&M)

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Accounting
Professional               Date     Hours     Activity
Broskay, Cole            7/5/2023     0.7   Working session to review bank balance transfers and counterparty
                                            categorizations with C. Broskay, D. Kuruvilla, M. Jones, R. Bruck
                                            (A&M)
Broskay, Cole            7/5/2023     0.3   Call to discuss requirements for memo summarizing bank balance
                                            exercise with C. Broskay, M. Jones (A&M)
Broskay, Cole            7/5/2023     0.4   Adjust bank transfers documentation based on feedback from
                                            internal team
Broskay, Cole            7/5/2023     1.8   Compile discussion materials related to analysis of bank fund
                                            movements
Broskay, Cole            7/5/2023     0.6   Correspondence related bank fund analysis discussion materials


Bruck, Ran               7/5/2023     1.3   Format Power Query data and fix errors from database pull

Bruck, Ran               7/5/2023     0.7   Working session to review cash database and categorization of
                                            transactions with M. Jones, R. Bruck (A&M)
Bruck, Ran               7/5/2023     1.7   Map customer counterparties for 3rd party entities for remaining FTX
                                            entities
Bruck, Ran               7/5/2023     1.2   Merge Power Query data for FTX Trading & Japan KK

Bruck, Ran               7/5/2023     1.1   Merge Power Query data for GG Trading to support petition date
                                            balances
Bruck, Ran               7/5/2023     2.3   Merge Power Query data for remaining FTX entities

Bruck, Ran               7/5/2023     0.9   Working session to review PowerBI transaction for bank data with D.
                                            Kuruvilla, R. Bruck (A&M)
Bruck, Ran               7/5/2023     2.6   Research northdimensioninc and related information request from
                                            S&C
Bruck, Ran               7/5/2023     0.7   Working session to review bank balance transfers and counterparty
                                            categorizations with C. Broskay, D. Kuruvilla, M. Jones, R. Bruck
                                            (A&M)
Burns, Zach              7/5/2023     2.8   Analyze accounts payable documentation for dotcom silo


Burns, Zach              7/5/2023     2.4   Analyze additional 2021 WRS financial information

Burns, Zach              7/5/2023     0.7   Analyze miscellaneous dotcom financial information


Burns, Zach              7/5/2023     1.6   Search Relativity for accounts payable documentation for dotcom silo

Burns, Zach              7/5/2023     1.7   Search Relativity for long term liabilities documentation for FTX
                                            Trading Ltd
Chambers, Henry          7/5/2023     2.6   Consider the current FTX Japan intercompany balance reconciliation


Faett, Jack              7/5/2023     0.6   Review treatment of Lee Seung Gun loan within Maclaurin
                                            Investments Ltd cash analysis file
Faett, Jack              7/5/2023     0.9   Analyze amount differences between Alix Partners insider payment
                                            amounts and promissory notes

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Accounting
Professional                 Date     Hours     Activity
Faett, Jack                7/5/2023     1.3   Identify funding amount for QP-Fund I and update venture
                                              investment workpaper
Faett, Jack                7/5/2023     1.4   Meeting to review weekly priorities and discuss open items for the
                                              Alameda Silo with K. Kearney, J. Faett, T. Braatelien, and K. Zabcik
                                              (A&M)
Faett, Jack                7/5/2023     0.9   Review funding amounts for Liquid 2 Venture Fund based on
                                              discrepancy in funding amount noted by investee
Faett, Jack                7/5/2023     0.6   Refresh Alameda silo Consolidated Balance Sheet for changes in
                                              intercompany balances
Gordon, Robert             7/5/2023     0.4   Review PMO materials for relevant update and any potential
                                              accounting impacts, week of 7/3
Gordon, Robert             7/5/2023     0.2   Teleconference with K. Kearney, R. Gordon(A&M) over open items
                                              for Alameda petition balance sheet
Hainline, Drew             7/5/2023     0.4   Review promissory note support for properties conveyed to
                                              employees to support petition date balances
Hainline, Drew             7/5/2023     0.4   Update open item list for balance migration of DOTCOM-silo entities


Hainline, Drew             7/5/2023     0.8   Update petition date balance support for FTX Property Holdings
                                              based on updated property value tracing
Hainline, Drew             7/5/2023     0.6   Draft updates to consolidated property purchase price analysis
                                              workbook
Hainline, Drew             7/5/2023     0.4   Review updates Property Holdings construction in progress analysis
                                              to support petition date balances
Hainline, Drew             7/5/2023     0.3   Review and respond to questions on critical vendor lists for ordinary
                                              course professionals
Hainline, Drew             7/5/2023     0.7   Review analysis of deposit payments for unclosed properties to
                                              support FTX Property Holdings petition date balances
Hainline, Drew             7/5/2023     0.6   Perform updates to Alameda Loans Payable collateral summary
                                              presentation for leadership
Hainline, Drew             7/5/2023     2.5   Call to review findings on FTX Property Holdings deposits balance
                                              with D. Hainline, M. Mirando (A&M)
Hainline, Drew             7/5/2023     0.2   Continue draft of Alameda collateralized loan payable summary for
                                              Nexo Capital
Hainline, Drew             7/5/2023     0.5   Draft Alameda collateralized loan payable summary for Matrix Port
                                              Technologies
Hainline, Drew             7/5/2023     0.3   Draft Alameda collateralized loan payable summary for Tesseract
                                              Group Oy
Hainline, Drew             7/5/2023     0.4   Draft Alameda collateralized loan payable summary for VanEck ETP
                                              AG
Hainline, Drew             7/5/2023     0.3   Review updates to Property Holdings deposits analysis to support
                                              petition date balances
Hoffer, Emily              7/5/2023     0.6   Call with E. Hoffer, and D. Kuruvilla (A&M) to discuss understanding
                                              of fields included in the cash database
Jones, Mackenzie           7/5/2023     0.7   Working session to review bank balance transfers and counterparty
                                              categorizations with C. Broskay, D. Kuruvilla, M. Jones, R. Bruck
                                              (A&M)

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Accounting
Professional              Date     Hours     Activity
Jones, Mackenzie        7/5/2023     1.7   Review customer mapping in bank balance transfer file to be used in
                                           daily inflow and outflow calculations
Jones, Mackenzie        7/5/2023     0.2   Evaluate sources for customer listing to use in bank balance transfer
                                           exercise
Jones, Mackenzie        7/5/2023     0.3   Edit summary of court cases providing background to bank balance
                                           transfer exercise
Jones, Mackenzie        7/5/2023     1.7   Consolidate customer data in bank balance transfer file in order to
                                           complete mapping to customer list
Jones, Mackenzie        7/5/2023     2.7   Classify counterparties into the three categories to be used in daily
                                           inflow and outflow calculations
Jones, Mackenzie        7/5/2023     0.3   Call to discuss requirements for memo summarizing bank balance
                                           exercise with C. Broskay, M. Jones (A&M)
Jones, Mackenzie        7/5/2023     0.2   Call to discuss memo summarizing bank balance exercise with H.
                                           Ardizzoni, M. Jones (A&M)
Jones, Mackenzie        7/5/2023     0.6   Analyze available fields in bank data extracts for use in bank
                                           balance transfer exercise
Jones, Mackenzie        7/5/2023     0.7   Working session to review cash database and categorization of
                                           transactions with M. Jones, R. Bruck (A&M)
Kearney, Kevin          7/5/2023     1.4   Meeting to review weekly priorities and discuss open items for the
                                           Alameda Silo with K. Kearney, J. Faett, T. Braatelien, and K. Zabcik
                                           (A&M)
Kearney, Kevin          7/5/2023     0.2   Teleconference with K. Kearney, R. Gordon(A&M) over open items
                                           for Alameda petition balance sheet
Kearney, Kevin          7/5/2023     0.7   Compile fiat transfers from FTX Trading Ltd to FTX Digital Markets
                                           Ltd associated with real estate purchases
Kearney, Kevin          7/5/2023     1.3   Calculate related party balance associated with Service Agreement
                                           between FTX Digital Markets Ltd and FTX Trading Ltd
Kearney, Kevin          7/5/2023     1.8   Prepare related party analysis between FTX Digital Markets and FTX
                                           Trading Ltd
Kearney, Kevin          7/5/2023     2.4   Review fiat activity from underlying bank statements used to
                                           purchase properties for FTX Property Holdings Ltd
Kearney, Kevin          7/5/2023     0.6   Review of coin report for asset allocation amongst debtor entities

Kearney, Kevin          7/5/2023     0.7   Review of fiat deposits and withdrawals between FTX Digital
                                           Markets Ltd and Quoine Pte Ltd to determine proper accounting
                                           presentation
Kearney, Kevin          7/5/2023     1.1   Review Service Agreement between FTX Trading Ltd and FTX
                                           Digital Markets Ltd to derive related party balance
Kuruvilla, Daniel       7/5/2023     2.9   Analyze Dotcom cash database to identify customer related
                                           transaction activity
Kuruvilla, Daniel       7/5/2023     0.9   Working session to review PowerBI transaction for bank data with D.
                                           Kuruvilla, R. Bruck (A&M)
Kuruvilla, Daniel       7/5/2023     0.7   Working session to review bank balance transfers and counterparty
                                           categorizations with C. Broskay, D. Kuruvilla, M. Jones, R. Bruck
                                           (A&M)



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Accounting
Professional              Date     Hours     Activity
Kuruvilla, Daniel       7/5/2023     2.1   Create listing of third party vendors for dotcom entities for rolling
                                           customer analysis
Kuruvilla, Daniel       7/5/2023     1.1   Analyze WRS cash database to identify customer related
                                           transaction activity
Kuruvilla, Daniel       7/5/2023     1.5   Create listing of third party vendors for WRS entities for rolling
                                           customer analysis
Kuruvilla, Daniel       7/5/2023     0.6   Call with E. Hoffer, and D. Kuruvilla (A&M) to discuss understanding
                                           of fields included in the cash database
Mirando, Michael        7/5/2023     1.6   Analyze cash deposits made for real estate construction in process
                                           for FTX Property Holding Ltd
Mirando, Michael        7/5/2023     1.4   Analyze cash deposits made for real estate purchases for FTX
                                           Property Holding Ltd
Mirando, Michael        7/5/2023     2.5   Call to review findings on FTX Property Holdings deposits balance
                                           with D. Hainline, M. Mirando (A&M)
Mirando, Michael        7/5/2023     1.7   Research title information for properties held by FTX Property
                                           Holding Ltd
Mirando, Michael        7/5/2023     1.9   Review cash accounts for FTX Digital Markets to ensure
                                           completeness of intercompany amounts
Sullivan, Christopher   7/5/2023     0.4   Review initial draft of the petition date balance sheet reconciliation
                                           for Alameda
Sullivan, Christopher   7/5/2023     1.9   Review initial draft of the petition date balance sheet reconciliation
                                           for Dotcom
Sullivan, Christopher   7/5/2023     0.3   Review initial draft of the petition date balance sheet reconciliation
                                           for Ventures
Sullivan, Christopher   7/5/2023     1.8   Review initial draft of the petition date balance sheet reconciliation
                                           for WRS
Zabcik, Kathryn         7/5/2023     1.8   Search in relativity for loan payments to third party vendor #1 to
                                           update the Alameda Silo Intercompany Reconciliation
Zabcik, Kathryn         7/5/2023     1.9   Search for additional stable coin activity to update Alameda Silo
                                           intercompany workbook
Zabcik, Kathryn         7/5/2023     2.7   Update intercompany balances for customer fund activity for the
                                           Alameda Silo
Zabcik, Kathryn         7/5/2023     0.7   Update the post-Korean Friend workbook for changes resulting from
                                           the Alameda Silo customer fund changes
Zabcik, Kathryn         7/5/2023     1.4   Meeting to review weekly priorities and discuss open items for the
                                           Alameda Silo with K. Kearney, J. Faett, T. Braatelien, and K. Zabcik
                                           (A&M)
Braatelien, Troy        7/6/2023     1.8   Review exchange data for support regarding intercompany impacts
                                           of consulting agreement with third party
Braatelien, Troy        7/6/2023     0.7   Meeting to discuss the final updates to the Alameda Silo petition
                                           date financials and related workbooks with K. Kearney, J. Faett, T.
                                           Braatelien, and K. Zabcik (A&M)
Braatelien, Troy        7/6/2023     1.0   Working session to review the Alameda Silo petition date financials
                                           and discuss the remaining open items with K. Kearney, J. Faett, T.
                                           Braatelien, and K. Zabcik (A&M)



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Accounting
Professional              Date     Hours     Activity
Braatelien, Troy        7/6/2023     0.4   Update Ventures silo combined balance sheet for changes to
                                           intercompany and related party balances since March 15th schedule
                                           filing
Braatelien, Troy        7/6/2023     0.3   Update Ventures silo combined balance sheet for changes to
                                           financial statement line items since March 15th schedule filing
Braatelien, Troy        7/6/2023     0.8   Update consolidated intercompany balances file for additional
                                           balance related to LedgerPrime acquisition and funding
Braatelien, Troy        7/6/2023     0.7   Update combined condensed Alameda balance sheet for changes
                                           since March 15th schedule filing
Braatelien, Troy        7/6/2023     0.4   Update Alameda silo combined balance sheet for changes to
                                           intercompany and related party balances since March 15th schedule
                                           filing
Braatelien, Troy        7/6/2023     1.1   Update Alameda silo combined balance sheet for changes to
                                           financial statement line items since March 15th schedule filing
Braatelien, Troy        7/6/2023     1.6   Update Alameda loans payable workbook for collateral and funding
                                           changes related to counterparties X and Y
Braatelien, Troy        7/6/2023     0.2   Review Relativity to confirm LedgerPrime subscription agreement
                                           counterparty for potential intercompany impact
Braatelien, Troy        7/6/2023     0.7   Review Relativity regarding return of collateral for loans paid prior to
                                           petition date with counterparty X
Braatelien, Troy        7/6/2023     0.2   Meeting to discuss accounting initiatives with T. Braatelien, K.
                                           Zabcik, R. Bruck, Z. Burns, M. Jones (A&M)
Broskay, Cole           7/6/2023     0.9   Conduct review of draft bank balance transfer analysis methodology

Broskay, Cole           7/6/2023     1.6   Compile documentation for bank balance transfer memo

Broskay, Cole           7/6/2023     0.9   Continue working session to review and plan for open items with R.
                                           Gordon, C. Broskay, K. Kearney, D. Hainline (A&M)
Broskay, Cole           7/6/2023     0.3   Correspondence regarding assumptions required for bank balance
                                           transfer analysis
Broskay, Cole           7/6/2023     0.2   Meeting to discuss weekly progress and priorities with C. Broskay,
                                           D. Hainline, D. Kuruvilla(A&M)
Broskay, Cole           7/6/2023     0.3   Meeting to review draft of bank balance transfer memo with C.
                                           Broskay, M. Jones (A&M)
Broskay, Cole           7/6/2023     0.4   Working session to review and plan for open items with R. Gordon,
                                           C. Broskay, K. Kearney, D. Hainline (A&M)
Broskay, Cole           7/6/2023     0.3   Call to review approach for LIBT analysis with C. Broskay, D.
                                           Hainline (A&M)
Bruck, Ran              7/6/2023     2.4   Map all related customer allocations for bank transactions

Bruck, Ran              7/6/2023     1.6   Map all related operational allocations for bank transactions


Bruck, Ran              7/6/2023     0.2   Meeting to discuss accounting initiatives with T. Braatelien, K.
                                           Zabcik, R. Bruck, Z. Burns, M. Jones (A&M)
Bruck, Ran              7/6/2023     3.1   Research on relativity any information related to website creation of
                                           ND Inc and related parties

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Professional               Date     Hours     Activity
Bruck, Ran               7/6/2023     1.7   Review trial balance information sent for WRS silo entities and
                                            compare to current template
Bruck, Ran               7/6/2023     0.9   Working session to review bank balance status, customer
                                            allocations and remaining items with D. Kuruvilla, M. Jones, R.
                                            Bruck (A&M)
Bruck, Ran               7/6/2023     0.7   Format FTX Trading and Japan for merge onto PowerBI


Burns, Zach              7/6/2023     2.2   Evaluate 2022 financials from European dotcom silo entities

Burns, Zach              7/6/2023     1.4   Assess status of dotcom silo complete financial package


Burns, Zach              7/6/2023     1.3   Evaluate 2023 financials from European dotcom silo entities

Burns, Zach              7/6/2023     0.2   Meeting to discuss accounting initiatives with T. Braatelien, K.
                                            Zabcik, R. Bruck, Z. Burns, M. Jones (A&M)
Burns, Zach              7/6/2023     1.2   Search Relativity for FTX Trading Ltd fixed asset registry


Burns, Zach              7/6/2023     2.1   Analyze WRS 2021 financials per European team request

Chambers, Henry          7/6/2023     2.3   Review FTX Japan intercompany reconciliation adjustments


Chambers, Henry          7/6/2023     0.7   Call to review open items for closing November financials of Liquid
                                            group entities with M. Cilia, S. Kojima (FTX), R. Gordon, H.
                                            Chambers, D. Hainline, S. Li (A&M)
Faett, Jack              7/6/2023     0.4   Refresh Alameda and Ventures silos consolidated balance sheet for
                                            changes in token receivable
Faett, Jack              7/6/2023     0.7   Meeting to discuss the final updates to the Alameda Silo petition
                                            date financials and related workbooks with K. Kearney, J. Faett, T.
                                            Braatelien, and K. Zabcik (A&M)
Faett, Jack              7/6/2023     0.8   Bridge changes to insider payments between 3/15 statement and
                                            schedules to current balances
Faett, Jack              7/6/2023     1.0   Working session to review the Alameda Silo petition date financials
                                            and discuss the remaining open items with K. Kearney, J. Faett, T.
                                            Braatelien, and K. Zabcik (A&M)
Faett, Jack              7/6/2023     1.5   Working session to review insider exchange transfer from Alameda
                                            exchange accounts between K. Kearney, J. Faett (A&M)
Faett, Jack              7/6/2023     0.6   Reconcile insider payments for changes in most recent Alix Partners
                                            insider payment schedule
Faett, Jack              7/6/2023     0.2   Meeting to discuss weekly progress and priorities with R. Gordon, J.
                                            Sequeira, C. Broskay, K. Kearney, D. Hainline, J. Faett, D. Kuruvilla,
                                            M. Mirando, T. Braatelien, K. Zabcik, R. Bruck, Z. Burns, M. Jones
                                            (A&M)
Gordon, Robert           7/6/2023     0.2   Meeting to discuss weekly progress and priorities with R. Gordon, J.
                                            Sequeira, C. Broskay, K. Kearney, D. Hainline, J. Faett, D.
                                            Kuruvilla, M. Mirando, T. Braatelien, K. Zabcik, R. Bruck, Z. Burns,
                                            M. Jones (A&M)




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Professional             Date     Hours     Activity
Gordon, Robert         7/6/2023     0.9   Continue working session to review and plan for open items with R.
                                          Gordon, C. Broskay, K. Kearney, D. Hainline (A&M)
Gordon, Robert         7/6/2023     0.7   Call to review open items for closing November financials of Liquid
                                          group entities with M. Cilia, S. Kojima (FTX), R. Gordon, H.
                                          Chambers, D. Hainline, S. Li (A&M)
Gordon, Robert         7/6/2023     0.4   Working session to review and plan for open items with R. Gordon,
                                          C. Broskay, K. Kearney, D. Hainline (A&M)
Hainline, Drew         7/6/2023     0.2   Meeting to discuss weekly progress and priorities with C. Broskay,
                                          D. Hainline, D. Kuruvilla(A&M)
Hainline, Drew         7/6/2023     0.4   Draft narratives for adjusting entries to the petition date balances for
                                          FTX Property Holdings
Hainline, Drew         7/6/2023     0.5   Draft narratives for adjusting entries to the petition date balances for
                                          FTX Trading Ltd
Hainline, Drew         7/6/2023     0.2   Draft responses to questions for consolidated balance sheets for the
                                          DOTCOM silo
Hainline, Drew         7/6/2023     1.0   Working session to review updates to petition date balances with R.
                                          Hoskins (FTX), D. Hainline (A&M)
Hainline, Drew         7/6/2023     0.4   Working session to review and plan for open items with R. Gordon,
                                          C. Broskay, K. Kearney, D. Hainline (A&M)
Hainline, Drew         7/6/2023     0.7   Perform research on active DOTCOM-silo entities without financial
                                          statement information
Hainline, Drew         7/6/2023     0.2   Review updates on financials statement availability and adjustments
                                          for FTX Europe entities
Hainline, Drew         7/6/2023     0.6   Update support documentation for FTX Property Holdings petition
                                          date balances
Hainline, Drew         7/6/2023     0.3   Set up adjusting entry analysis for FTX Trading Ltd and FTX
                                          Property Holdings to support updated petition date balances
Hainline, Drew         7/6/2023     0.2   Update batch 7 balance migration template for adjustments

Hainline, Drew         7/6/2023     0.3   Draft adjusting entries to the petition date balances for FTX Trading
                                          Ltd
Hainline, Drew         7/6/2023     0.5   Finalize batch 7 adjusting entries and narratives

Hainline, Drew         7/6/2023     0.9   Continue working session to review and plan for open items with R.
                                          Gordon, C. Broskay, K. Kearney, D. Hainline (A&M)
Hainline, Drew         7/6/2023     0.2   Draft adjusting entries to the petition date balances for FTX Property
                                          Holdings
Hainline, Drew         7/6/2023     0.4   Draft list of open items for FTX Property Holdings petition date
                                          balance migration
Hainline, Drew         7/6/2023     0.3   Call to review approach for LIBT analysis with C. Broskay, D.
                                          Hainline (A&M)
Hainline, Drew         7/6/2023     0.3   Draft and send summary of petition date balance adjustments for
                                          input into QB
Hainline, Drew         7/6/2023     0.7   Call to review open items for closing November financials of Liquid
                                          group entities with M. Cilia, S. Kojima (FTX), R. Gordon, H.
                                          Chambers, D. Hainline, S. Li (A&M)

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Accounting
Professional              Date     Hours     Activity
Hainline, Drew          7/6/2023     0.2   Call to review building and land value analysis with D. Hainline, M.
                                           Mirando (A&M)
Jones, Mackenzie        7/6/2023     0.9   Working session to review bank balance status, customer
                                           allocations and remaining items with D. Kuruvilla, M. Jones, R.
                                           Bruck (A&M)
Jones, Mackenzie        7/6/2023     0.3   Meeting to review draft of bank balance transfer memo with C.
                                           Broskay, M. Jones (A&M)
Jones, Mackenzie        7/6/2023     0.7   Research legal case information related to bank account treatment

Jones, Mackenzie        7/6/2023     2.4   Draft summary explaining bank balance transfer model calculations


Jones, Mackenzie        7/6/2023     0.2   Meeting to discuss weekly progress and priorities with R. Gordon, J.
                                           Sequeira, C. Broskay, K. Kearney, D. Hainline, J. Faett, D. Kuruvilla,
                                           M. Mirando, T. Braatelien, K. Zabcik, R. Bruck, Z. Burns, M. Jones
                                           (A&M)
Jones, Mackenzie        7/6/2023     1.1   Complete review of customer data in bank balance transfer file for
                                           use in bank balance transfer exercise
Jones, Mackenzie        7/6/2023     0.9   Consolidate multiple related party lists for use in bank balance
                                           transfer exercise
Jones, Mackenzie        7/6/2023     2.8   Draft detailed overview of bank balance transfer process


Kearney, Kevin          7/6/2023     0.2   Meeting to discuss weekly progress and priorities with R. Gordon, J.
                                           Sequeira, C. Broskay, K. Kearney, D. Hainline, J. Faett, D. Kuruvilla,
                                           M. Mirando, T. Braatelien, K. Zabcik, R. Bruck, Z. Burns, M. Jones
                                           (A&M)
Kearney, Kevin          7/6/2023     1.6   Call to review intercompany activity for FTX Digital Markets D.
                                           Hainline, K. Kearney, J. Faett, and M. Mirando (A&M)
Kearney, Kevin          7/6/2023     0.7   Meeting to discuss the final updates to the Alameda Silo petition
                                           date financials and related workbooks with K. Kearney, J. Faett, T.
                                           Braatelien, and K. Zabcik (A&M)
Kearney, Kevin          7/6/2023     2.6   Preparation of consolidated FTX Digital Markets Ltd related party
                                           balance calculation supporting documentation
Kearney, Kevin          7/6/2023     0.4   Working session to review and plan for open items with R. Gordon,
                                           C. Broskay, K. Kearney, D. Hainline (A&M)
Kearney, Kevin          7/6/2023     1.5   Working session to review insider exchange transfer from Alameda
                                           exchange accounts between K. Kearney, J. Faett (A&M)
Kearney, Kevin          7/6/2023     1.0   Working session to review the Alameda Silo petition date financials
                                           and discuss the remaining open items with K. Kearney, J. Faett, T.
                                           Braatelien, and K. Zabcik (A&M)
Kearney, Kevin          7/6/2023     0.9   Continue working session to review and plan for open items with R.
                                           Gordon, C. Broskay, K. Kearney, D. Hainline (A&M)
Kuruvilla, Daniel       7/6/2023     2.4   Aggregate listing of customers from customer metabase for rolling
                                           customer analysis
Kuruvilla, Daniel       7/6/2023     0.9   Working session to review bank balance status, customer
                                           allocations and remaining items with D. Kuruvilla, M. Jones, R.
                                           Bruck (A&M)




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Accounting
Professional              Date     Hours     Activity
Kuruvilla, Daniel       7/6/2023     0.2   Meeting to discuss weekly progress and priorities with C. Broskay,
                                           D. Hainline, D. Kuruvilla(A&M)
Kuruvilla, Daniel       7/6/2023     1.7   Review transactional activity for GG Trading to understand impact to
                                           rolling customer analysis
Li, Summer              7/6/2023     0.7   Call to review open items for closing November financials of Liquid
                                           group entities with M. Cilia, S. Kojima (FTX), R. Gordon, H.
                                           Chambers, D. Hainline, S. Li (A&M)
Mirando, Michael        7/6/2023     0.2   Meeting to discuss weekly progress and priorities with R. Gordon, J.
                                           Sequeira, C. Broskay, K. Kearney, D. Hainline, J. Faett, D.
                                           Kuruvilla, M. Mirando, T. Braatelien, K. Zabcik, R. Bruck, Z. Burns,
                                           M. Jones (A&M)
Mirando, Michael        7/6/2023     2.2   Allocate land value to real property held by FTX Property Holding Ltd

Mirando, Michael        7/6/2023     0.2   Call to review building and land value analysis with D. Hainline, M.
                                           Mirando (A&M)
Mirando, Michael        7/6/2023     1.6   Call to review intercompany activity for FTX Digital Markets D.
                                           Hainline, K. Kearney, J. Faett, and M. Mirando (A&M)
Sequeira, Joseph        7/6/2023     1.4   Respond to financial statement open items for international legal
                                           entities
Zabcik, Kathryn         7/6/2023     0.7   Meeting to discuss the final updates to the Alameda Silo petition
                                           date financials and related workbooks with K. Kearney, J. Faett, T.
                                           Braatelien, and K. Zabcik (A&M)
Zabcik, Kathryn         7/6/2023     2.4   Categorize crypto assets for Alameda Research LTD into the related
                                           chart of accounts
Zabcik, Kathryn         7/6/2023     0.2   Meeting to discuss accounting initiatives with T. Braatelien, K.
                                           Zabcik, R. Bruck, Z. Burns, M. Jones (A&M)
Zabcik, Kathryn         7/6/2023     2.9   Review the Venture Investments for the Alameda Silo Intercompany
                                           workbook for need updates for transaction categories
Zabcik, Kathryn         7/6/2023     0.8   Update the Loans Receivable, External workpaper for additional loan
                                           payments for the Alameda Silo petition date financials
Zabcik, Kathryn         7/6/2023     1.0   Working session to review the Alameda Silo petition date financials
                                           and discuss the remaining open items with K. Kearney, J. Faett, T.
                                           Braatelien, and K. Zabcik (A&M)
Zabcik, Kathryn         7/6/2023     1.1   Make updates to the Alameda Silo petition date balance sheet for
                                           changes discussed during the working session
Braatelien, Troy        7/7/2023     0.2   Update Alameda silo petition date balance sheet file for updated
                                           tokens receivable schedule
Braatelien, Troy        7/7/2023     3.2   Create matrices of gross intercompany receivable/payable balances
                                           based on group intercompany file for July schedules filing
Braatelien, Troy        7/7/2023     0.2   Draft emails regarding additional support for LedgerPrime historical
                                           financial records
Braatelien, Troy        7/7/2023     2.6   Reconcile claims filed by various lenders to loans payable schedule
                                           for July schedule filing
Braatelien, Troy        7/7/2023     0.8   Update Alameda balance sheet file for gross intercompany balances
                                           based on matrices built
Braatelien, Troy        7/7/2023     0.9   Update Alameda balance sheet file for updated loans payable
                                           balances

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Accounting
Professional               Date     Hours     Activity
Broskay, Cole            7/7/2023     0.9   Provide commentary on draft memo for bank balance transfer
                                            analysis
Broskay, Cole            7/7/2023     0.3   Working session to align on MOR and customer mapping with C.
                                            Broskay, R. Bruck (A&M)
Broskay, Cole            7/7/2023     2.2   Test formula assumptions for bank transfer analysis work effort

Broskay, Cole            7/7/2023     0.7   Meeting to discuss draft of bank balance transfer memo with R.
                                            Gordon, C. Broskay, M. Jones (A&M)
Broskay, Cole            7/7/2023     0.2   Respond to questions regarding bank balance transfer analysis
                                            assumptions
Broskay, Cole            7/7/2023     1.0   Call to review FTX.COM terms of service for use in bank balance
                                            transfer exercise w C. Broskay and M. Jones (A&M)
Broskay, Cole            7/7/2023     1.4   Conduct review of documents related to customer onboarding


Bruck, Ran               7/7/2023     0.3   Working session to align on MOR and customer mapping with C.
                                            Broskay, R. Bruck (A&M)
Bruck, Ran               7/7/2023     1.5   Review and match vendor list with bank transaction listing


Bruck, Ran               7/7/2023     2.2   Research on relativity information on web creation or invoices
                                            related to websites
Bruck, Ran               7/7/2023     1.6   Research on relativity information on Hostinger

Bruck, Ran               7/7/2023     2.6   Connect Power BI to customer database for allocation and matching
                                            exercise
Bruck, Ran               7/7/2023     0.3   Call to align on WRS FSLI Mapping R. Bruck, M. Mirando (A&M)

Burns, Zach              7/7/2023     2.9   Map transactions between dotcom silo entities


Burns, Zach              7/7/2023     1.2   Analyze short term liabilities documentation in dotcom silo

Burns, Zach              7/7/2023     2.3   Analyze new dotcom silo financial documentation


Burns, Zach              7/7/2023     1.7   Search for documentation related to short term liabilities in dotcom
                                            silo on Relativity
Gordon, Robert           7/7/2023     0.7   Review updated Alameda significant assumptions for edits

Gordon, Robert           7/7/2023     0.3   Review open items list for chart of accounts mapping for alameda


Gordon, Robert           7/7/2023     0.7   Meeting to discuss draft of bank balance transfer memo with R.
                                            Gordon, C. Broskay, M. Jones (A&M)
Gordon, Robert           7/7/2023     0.4   Call with K. Kearney, R. Gordon(A&M) over submission of Alameda
                                            petition financials
Gordon, Robert           7/7/2023     0.8   Begin reviewing balance calculation memorandum




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Professional             Date     Hours     Activity
Hainline, Drew         7/7/2023     0.4   Review and respond to questions on updated post-petition financials
                                          of international entities
Hainline, Drew         7/7/2023     0.2   Review requests from EY Tax on outstanding December trial
                                          balances for DOTCOM-silo entities
Hainline, Drew         7/7/2023     0.4   Review consolidated DOTCOM-silo petition date balance sheet

Hainline, Drew         7/7/2023     0.2   Draft summary update of petition date balances for DOTCOM-silo
                                          entities for leadership
Hainline, Drew         7/7/2023     0.6   Analyze Japan KK general ledger activity to support November
                                          petition date split
Hainline, Drew         7/7/2023     0.4   Analyze Japan KK updated crypto inventory report to support
                                          petition date balances
Hainline, Drew         7/7/2023     0.3   Analyze Japan KK updated revaluation gain loss for petition date
                                          split in November
Hainline, Drew         7/7/2023     0.6   Create workplan for consolidated balance sheet files for the
                                          DOTCOM silo
Hainline, Drew         7/7/2023     0.2   Draft responses to requests for preliminary petition date balance
                                          sheet information
Hainline, Drew         7/7/2023     0.4   Draft summary of potential claims of non-debtor entities on other
                                          debtor entities
Hainline, Drew         7/7/2023     1.2   Draft updated petition date balance file for FTX Japan KK

Hainline, Drew         7/7/2023     0.3   Incorporate related party balances into Japan KK petition date
                                          support file
Hainline, Drew         7/7/2023     0.2   Perform Relativity searches for post third quarter 2022 financials for
                                          activity non-debtor entities within the DOTCOM-silo
Hainline, Drew         7/7/2023     0.3   Incorporate liabilities detail supporting schedule to Japan KK petition
                                          date balance file
Hainline, Drew         7/7/2023     0.2   Request updates from local finance team for Liquid group updated
                                          November financials
Hainline, Drew         7/7/2023     0.8   Reconcile differences between liabilities detail and current general
                                          ledger analysis for Japan KK
Hainline, Drew         7/7/2023     0.5   Working session to review open items for petition date balances with
                                          D. Hainline, M. Jones (A&M)
Hainline, Drew         7/7/2023     0.8   Setup petition date balance file for FTX Japan KK with updated
                                          November financials
Hainline, Drew         7/7/2023     0.3   Review update November trial balance received for Japan KK to
                                          confirm outstanding data requirements
Jones, Mackenzie       7/7/2023     1.0   Call to review FTX.COM terms of service for use in bank balance
                                          transfer exercise w C. Broskay and M. Jones (A&M)
Jones, Mackenzie       7/7/2023     0.8   Edit bank balance transfer memo to include terms of service excerpts


Jones, Mackenzie       7/7/2023     0.7   Meeting to discuss draft of bank balance transfer memo with R.
                                          Gordon, C. Broskay, M. Jones (A&M)




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Professional              Date     Hours     Activity
Jones, Mackenzie        7/7/2023     0.5   Working session to review open items for petition date balances with
                                           D. Hainline, M. Jones (A&M)
Jones, Mackenzie        7/7/2023     0.8   Analyze FTX.COM latest terms of service for bank balance transfer
                                           exercise
Kearney, Kevin          7/7/2023     0.4   Call with K. Kearney, R. Gordon(A&M) over submission of Alameda
                                           petition financials
Kearney, Kevin          7/7/2023     0.7   Review contractual agreement for targeted market making loan for
                                           Alameda TR Systems S de RL to determine proper accounting
                                           treatment
Kearney, Kevin          7/7/2023     2.3   Review specific crypto asset sale contracts for Alameda TR
                                           Systems S de RL to determine proper accounting treatment
Kuruvilla, Daniel       7/7/2023     1.2   Update transactional activity category in GG Trading Nuvei to
                                           customer
Kuruvilla, Daniel       7/7/2023     1.1   Build out Alteryx database to include all transactional activity from
                                           the cash meta base for dotcom entities
Mirando, Michael        7/7/2023     1.1   Review consolidated DOTCOM input template to support petition
                                           date balances
Mirando, Michael        7/7/2023     1.4   Map the consolidated WRS input template to financial statement line
                                           items
Mirando, Michael        7/7/2023     1.9   Map the consolidated DOTCOM input template to financial
                                           statement line items
Mirando, Michael        7/7/2023     2.6   Convert consolidated DOTCOM input template to USD

Mirando, Michael        7/7/2023     0.3   Call to align on WRS FSLI Mapping R. Bruck, M. Mirando (A&M)


Sequeira, Joseph        7/7/2023     0.6   Coordinate reconciliation of available financials with key stakeholders

Zabcik, Kathryn         7/7/2023     2.4   Review the chart of accounts mapping questions for RLKS for
                                           completeness
Hainline, Drew          7/8/2023     0.7   Reconcile general ledger activity for liabilities against supporting
                                           schedules received for Quoine Pte Ltd
Hainline, Drew          7/8/2023     0.3   Review Quoine Pte Ltd November journal entries with impact to
                                           intercompany balance with FTX Trading Ltd
Hainline, Drew          7/8/2023     0.5   Analyze journal entries that impact crypto general ledger accounts to
                                           maintain tie with crypto support schedule for Quoine Pte Ltd
Hainline, Drew          7/8/2023     0.5   Draft summary of crypto inventory for Quoine Pte Ltd to incorporate
                                           into petition date balance sheet support
Hainline, Drew          7/8/2023     0.3   Incorporate intercompany support with FTX Trading Ltd to petition
                                           date balance documentation for Quoine Pte Ltd
Hainline, Drew          7/8/2023     0.3   Incorporate liability detail to Quoine Pte Ltd petition date support
                                           documentation
Hainline, Drew          7/8/2023     0.2   Incorporate updated November journal report into the FTX Japan KK
                                           petition date balance support file
Hainline, Drew          7/8/2023     0.3   Map tokens in inventory to future state chart of accounts for Quoine
                                           Pte Ltd to support petition date balances


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Professional               Date    Hours     Activity
Hainline, Drew          7/8/2023     1.2   Perform analysis of November general ledger activity to support
                                           petition date split for Quoine Pte Ltd
Hainline, Drew          7/8/2023     0.2   Review additional information received for FTX Japan KK


Hainline, Drew          7/8/2023     0.3   Review additional information received for Quoine Pte Ltd

Hainline, Drew          7/8/2023     0.4   Review November journal entries with ending impact that are not
                                           included in the Quoine Pte Ltd November trial balance
Hainline, Drew          7/8/2023     0.3   Setup petition date balance template to analyze updated November
                                           financials for Quoine Pte Ltd
Hainline, Drew          7/9/2023     1.6   Analyze November general ledger detail to support FTX Japan KK
                                           petition date balances
Hainline, Drew          7/9/2023     0.7   Continue analysis of November general ledger activity to support
                                           petition date split for Quoine Pte Ltd
Hainline, Drew          7/9/2023     0.4   Incorporate supporting documentation for intercompany balances
                                           into the petition date balance support file for Quoine Pte Ltd
Hainline, Drew          7/9/2023     0.8   Validate petition date bank account balances against the general
                                           ledger analysis based balances for Quoine Pte Ltd
Mirando, Michael        7/9/2023     2.9   Review cash balance for Quoine Pte Ltd to support petition date
                                           balances
Ardizzoni, Heather     7/10/2023     0.4   Call with H. Ardizzoni, J. Faett, T. Braatelien, R. Bruck, Z. Burns
                                           (A&M) re: accounting initiatives check in
Braatelien, Troy       7/10/2023     0.4   Call with H. Ardizzoni, J. Faett, T. Braatelien, R. Bruck, Z. Burns
                                           (A&M) re: accounting initiatives check in
Braatelien, Troy       7/10/2023     1.7   Reconcile LedgerPrime portfolio report balances against API token
                                           quantity data to support petition date crypto balances
Braatelien, Troy       7/10/2023     1.9   Reconcile LedgerPrime portfolio report balances against petition
                                           date balances recorded for Defi positions
Braatelien, Troy       7/10/2023     2.6   Reconcile LedgerPrime OTC transaction details provided 7/10
                                           against petition date balances provided
Braatelien, Troy       7/10/2023     1.8   Reconcile AlixPartners 9/30/22 loan listing to petition date loan
                                           listing for non-market making loans
Braatelien, Troy       7/10/2023     2.1   Reconcile AlixPartners 9/30/22 loan listing to petition date loan
                                           listing for market making loans
Braatelien, Troy       7/10/2023     0.5   Meeting to discuss weekly priorities and open items for the Alameda
                                           and Ventures silos with K. Kearney, J. Faett, K. Zabcik, and T.
                                           Braatelien (A&M)
Broskay, Cole          7/10/2023     0.3   Correspondence related to bank account expected usage


Broskay, Cole          7/10/2023     0.4   Compile information request regarding bank accounts used to
                                           transfer customer funds to/from exchanges
Broskay, Cole          7/10/2023     0.4   Meeting to discuss weekly progress with R. Gordon, J. Sequeira, C.
                                           Broskay, K. Kearney, K. Zabcik (A&M)
Broskay, Cole          7/10/2023     1.8   Review options to account for funds transferred between exchanges
                                           and debtor bank accounts for bank transfer analysis


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Broskay, Cole           7/10/2023     2.4   Update memo regarding assumptions, known issues, and current
                                            approach for bank transfer exercise
Broskay, Cole           7/10/2023     0.2   Call to discuss summary materials for bank balance transfer
                                            exercise with R. Gordon, C. Broskay, M. Jones (A&M)
Bruck, Ran              7/10/2023     1.8   Combine all bank transactions into Power BI for balance review

Bruck, Ran              7/10/2023     2.2   Reconcile FTX Trading customers list #2 to FTX Trading bank
                                            transactions
Bruck, Ran              7/10/2023     2.4   Reconcile FTX Trading customers list #1 to FTX Trading bank
                                            transactions
Bruck, Ran              7/10/2023     1.4   Combine all customer listing files into PowerBI for balance review

Bruck, Ran              7/10/2023     0.4   Call with H. Ardizzoni, J. Faett, T. Braatelien, R. Bruck, Z. Burns
                                            (A&M) re: accounting initiatives check in
Bruck, Ran              7/10/2023     0.7   Combine all related parties/insiders into PowerBI for balance review

Burns, Zach             7/10/2023     1.6   Create tracker for financial support requests


Burns, Zach             7/10/2023     0.2   Communicate findings to relevant parties

Burns, Zach             7/10/2023     1.7   Populate data in financial support requests tracker with information
                                            from banks
Burns, Zach             7/10/2023     1.3   Review documents for facts and assertions made about dotcom silo
                                            entity
Burns, Zach             7/10/2023     0.6   Review new dotcom silo financial information to support petition
                                            date balances
Burns, Zach             7/10/2023     0.3   Update consolidated entity sheet with new dotcom silo financial
                                            information
Burns, Zach             7/10/2023     0.4   Call with H. Ardizzoni, J. Faett, T. Braatelien, R. Bruck, Z. Burns
                                            (A&M) re: accounting initiatives check in
Faett, Jack             7/10/2023     0.4   Call with H. Ardizzoni, J. Faett, T. Braatelien, R. Bruck, Z. Burns
                                            (A&M) re: accounting initiatives check in
Faett, Jack             7/10/2023     0.5   Meeting to discuss weekly priorities and open items for the Alameda
                                            and Ventures silos with K. Kearney, J. Faett, K. Zabcik, and T.
                                            Braatelien (A&M)
Faett, Jack             7/10/2023     1.6   Perform cash analysis on FTX Foundation

Faett, Jack             7/10/2023     0.4   Review claim 1 and tie out to underlying loan payable data


Faett, Jack             7/10/2023     0.6   Review claim 2 and tie out to underlying loan payable data

Faett, Jack             7/10/2023     0.2   Review claim 3 and tie out to underlying loan payable data

Gordon, Robert          7/10/2023     0.4   Meeting to discuss weekly progress with R. Gordon, J. Sequeira, C.
                                            Broskay, K. Kearney, K. Zabcik (A&M)


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Gordon, Robert        7/10/2023     0.7   Review and comment on comparative balance sheet for Alameda
                                          entities
Gordon, Robert        7/10/2023     0.2   Call to discuss summary materials for bank balance transfer
                                          exercise with R. Gordon, C. Broskay, M. Jones (A&M)
Hainline, Drew        7/10/2023     1.7   Reconcile general ledger based intra-silo balances with other Liquid
                                          group entities for Quoine Pte Ltd
Hainline, Drew        7/10/2023     0.6   Prepare adjustments to Quoine Pte Ltd petition date balance support
                                          to revalue non-SGD petition date account balances to petition date
                                          foreign exchange rates
Hainline, Drew        7/10/2023     1.2   Reconcile general ledger activity variances for the intercompany
                                          balance between Japan KK and Japan Holdings KK
Hainline, Drew        7/10/2023     0.2   Draft responses to questions on FTX Trading Ltd 90 day payments

Hainline, Drew        7/10/2023     0.5   Draft adjusting entries for FTX Japan Holdings KK petition date
                                          balance sheet to reflect intercompany adjustments with FTX Japan
                                          KK
Hainline, Drew        7/10/2023     0.4   Meeting to discuss accounting initivates with D. Hainline, D.
                                          Kuruvilla, M. Mirando, and M. Jones (A&M)
Hainline, Drew        7/10/2023     0.2   Draft responses to questions on FTX Trading Ltd custodial bank
                                          accounts
Hainline, Drew        7/10/2023     0.7   Draft updates to the group intercompany schedule for finalized
                                          intercompany balances with FTX Japan KK and Quoine Pte Ltd
Hainline, Drew        7/10/2023     1.2   Reconcile general ledger based bank balances against statements
                                          for Quoine Pte Ltd accounts
Hainline, Drew        7/10/2023     0.4   Respond to question on account mapping for FTX Japan KK to
                                          support petition date balances
Hainline, Drew        7/10/2023     0.4   Prepare adjustments to FTX Trading Ltd petition date balances for
                                          finalized intercompany balances with FTX Japan KK and Quoine Pte
                                          Ltd
Hainline, Drew        7/10/2023     0.4   Call to review open items for FTX Japan KK and Quoine Pte Ltd to
                                          support petition date balances with D. Hainline, M. Mirando (A&M)
Hainline, Drew        7/10/2023     0.3   Draft support for adjustments to FTX Japan KK intercompany
                                          balance with Alameda-silo entities for petition date balance
Hainline, Drew        7/10/2023     0.2   Respond to open questions regarding Quoine Pte Ltd petition date
                                          cash balances
Hainline, Drew        7/10/2023     0.4   Call to review open items for FTX Japan KK and Quoine Pte Ltd to
                                          support petition date balances with D. Hainline, D. Kuruvilla (A&M)
Hainline, Drew        7/10/2023     0.7   Call to discuss pre petition liabilities for FTX Japan KK D. Hainline,
                                          M. Mirando (A&M)
Hainline, Drew        7/10/2023     0.4   Call to discuss pre petition liabilities for FTX Japan KK D. Hainline,
                                          D. Kuruvilla, M. Mirando (A&M)
Hainline, Drew        7/10/2023     2.4   Continue analysis of November general ledger detail to support FTX
                                          Japan KK petition date balances
Hainline, Drew        7/10/2023     1.2   Reconcile general ledger based intra-silo balances with other Liquid
                                          group entities for FTX Japan KK



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Accounting
Professional              Date     Hours     Activity
Jones, Mackenzie       7/10/2023     1.6   Review debtor bank account categorizations recorded on balance
                                           sheets
Jones, Mackenzie       7/10/2023     0.4   Meeting to discuss accounting initivates with D. Hainline, D.
                                           Kuruvilla, M. Mirando, and M. Jones (A&M)
Jones, Mackenzie       7/10/2023     1.9   Classify WRS silo bank accounts using balance sheets in order to
                                           estimate potential exposure for bank balance transfer exercise
Jones, Mackenzie       7/10/2023     1.7   Record debtor petition date bank balances for bank balance transfer
                                           exercise
Jones, Mackenzie       7/10/2023     1.5   Analyze WRSS bank statement details to categorize accounts for
                                           bank balance transfer exercise
Jones, Mackenzie       7/10/2023     0.2   Call to discuss summary materials for bank balance transfer
                                           exercise with R. Gordon, C. Broskay, M. Jones (A&M)
Kearney, Kevin         7/10/2023     0.5   Meeting to discuss weekly priorities and open items for the Alameda
                                           and Ventures silos with K. Kearney, J. Faett, K. Zabcik, and T.
                                           Braatelien (A&M)
Kearney, Kevin         7/10/2023     0.4   Meeting to discuss weekly progress with R. Gordon, J. Sequeira, C.
                                           Broskay, K. Kearney, K. Zabcik (A&M)
Kearney, Kevin         7/10/2023     1.1   Review of funding sources for real estate transactions paid by FTX
                                           Digital Markets to determine proper accounting treatment
Kearney, Kevin         7/10/2023     0.7   Review of Service Agreement between FTX Trading Ltd and FTX
                                           Digital Markets Ltd
Kuruvilla, Daniel      7/10/2023     2.1   Build out Alteryx database to include all transactional activity from
                                           the cash meta base
Kuruvilla, Daniel      7/10/2023     0.4   Meeting to discuss accounting initivates with D. Hainline, D.
                                           Kuruvilla, M. Mirando, and M. Jones (A&M)
Kuruvilla, Daniel      7/10/2023     0.4   Call to discuss pre petition liabilities for FTX Japan KK D. Hainline,
                                           D. Kuruvilla, M. Mirando (A&M)
Kuruvilla, Daniel      7/10/2023     0.4   Call to review open items for FTX Japan KK and Quoine Pte Ltd to
                                           support petition date balances with D. Hainline, D. Kuruvilla (A&M)
Kuruvilla, Daniel      7/10/2023     2.2   Compare vendor listing to Alteryx database to identify operational
                                           transactions
Mirando, Michael       7/10/2023     1.4   Review cash variances for Quoine Pte Ltd to support petition date
                                           balances
Mirando, Michael       7/10/2023     0.7   Call to discuss pre petition liabilities for FTX Japan KK D. Hainline,
                                           M. Mirando (A&M)
Mirando, Michael       7/10/2023     1.4   Review cash balance for FTX Japan KK to support petition date
                                           balances
Mirando, Michael       7/10/2023     2.4   Review account mapping for Quoine Pte Ltd to support petition date
                                           balances
Mirando, Michael       7/10/2023     0.4   Meeting to discuss accounting initivates with D. Hainline, D.
                                           Kuruvilla, M. Mirando, and M. Jones (A&M)
Mirando, Michael       7/10/2023     0.4   Call to review open items for FTX Japan KK and Quoine Pte Ltd to
                                           support petition date balances with D. Hainline, M. Mirando (A&M)
Mirando, Michael       7/10/2023     0.4   Review Related party loans payable for FTX Japan KK




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Accounting
Professional              Date     Hours     Activity
Mirando, Michael       7/10/2023     1.8   Review cash variances for FTX Japan KK to support petition date
                                           balances
Mirando, Michael       7/10/2023     0.4   Call to discuss pre petition liabilities for FTX Japan KK D. Hainline,
                                           D. Kuruvilla, M. Mirando (A&M)
Mirando, Michael       7/10/2023     2.7   Aggregate cash balances for FTX Japan KK to support petition date
                                           balances
Sequeira, Joseph       7/10/2023     0.4   Meeting to discuss weekly progress with R. Gordon, J. Sequeira, C.
                                           Broskay, K. Kearney, K. Zabcik (A&M)
Zabcik, Kathryn        7/10/2023     2.2   Search in Relativity for support of additional operational expenses
                                           that should be re-categorized from customer funds
Zabcik, Kathryn        7/10/2023     3.1   Review FTX Digital Markets Customer Funds for additional
                                           operational expenses that should be re-categorized
Zabcik, Kathryn        7/10/2023     0.4   Meeting to discuss weekly progress with R. Gordon, J. Sequeira, C.
                                           Broskay, K. Kearney, K. Zabcik (A&M)
Zabcik, Kathryn        7/10/2023     0.5   Meeting to discuss weekly priorities and open items for the Alameda
                                           and Ventures silos with K. Kearney, J. Faett, K. Zabcik, and T.
                                           Braatelien (A&M)
Zabcik, Kathryn        7/10/2023     2.9   Clean up FTX Digital Markets bank data to calculate average daily
                                           bank balance per account
Ardizzoni, Heather     7/11/2023     1.0   Review plan for legal entity tear sheet presentation


Ardizzoni, Heather     7/11/2023     0.6   Call to review plan for master deck of legal entity tear sheets for
                                           debtor FTX entities with H. Ardizzoni, D. Hainline (A&M)
Braatelien, Troy       7/11/2023     2.7   Reconcile LedgerPrime portfolio report balances against petition
                                           date balances recorded for third party exchange positions
Braatelien, Troy       7/11/2023     1.7   Create LedgerPrime financials request list and share with
                                           management
Braatelien, Troy       7/11/2023     0.2   Finalize Alameda FTX exchange account reconciliation to fiat activity

Braatelien, Troy       7/11/2023     1.6   Update loans payable reconciliation to claims information for claims
                                           processed as of 7/10
Braatelien, Troy       7/11/2023     0.6   Finalize review of pending customer exchange transactions to send
                                           for review
Braatelien, Troy       7/11/2023     1.6   Create open items list for LedgerPrime petition date financials and
                                           share with third party accounting firm
Broskay, Cole          7/11/2023     1.0   Call to discuss ongoing financial statement efforts and collaboration
                                           R. Gordon, C. Broskay, K. Kearney, L. Ryan, M. Shanahan (A&M),
                                           C. Cipione, D. Schwartz, J. LaBella, J. Somerville, B. Mackay (AP)
Broskay, Cole          7/11/2023     0.3   Call to discuss customer funds deposited on exchanges with K.
                                           Kearney, C. Broskay, J. Faett, M. Jones (A&M)
Broskay, Cole          7/11/2023     2.3   Continue to compile bank transfer analysis documentation


Broskay, Cole          7/11/2023     0.7   Provide edits to bank transfer analysis documentation

Broskay, Cole          7/11/2023     1.4   Test potential methods to account for customer funds flow activity
                                           to/from exchanges

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Accounting
Professional                Date    Hours     Activity
Broskay, Cole           7/11/2023     0.3   Call to discuss bank account exposure analysis with C. Broskay and
                                            M. Jones (A&M)
Bruck, Ran              7/11/2023     0.9   Research credit card usage on Evolve bank for July 2022


Bruck, Ran              7/11/2023     0.2   Research credit card usage on Evolve bank for October 2022

Bruck, Ran              7/11/2023     0.6   Research credit card usage on Evolve bank for September 2022

Bruck, Ran              7/11/2023     1.9   Research FTX Settlement Reports for Evolve Bank for 2021


Bruck, Ran              7/11/2023     0.4   Research credit card usage on Evolve bank for August 2022

Bruck, Ran              7/11/2023     1.7   Reconcile FTX US customers list #1 to WRS Silo bank transactions


Bruck, Ran              7/11/2023     1.4   Reconcile FTX US customers list #2 to WRS Silo bank transactions

Bruck, Ran              7/11/2023     2.8   Research FTX Settlement Reports for Evolve Bank for 2022


Bruck, Ran              7/11/2023     0.7   Research credit card usage on Evolve bank for February 2022

Burns, Zach             7/11/2023     1.2   Analyze additional FDM financial data found in Relativity

Burns, Zach             7/11/2023     2.3   Compare financial records provided to financial documents found in
                                            Relativity
Burns, Zach             7/11/2023     0.6   Create folder structure and instance for external financial document
                                            requests
Burns, Zach             7/11/2023     1.1   Analyze financial data for FDM found in Relativity


Faett, Jack             7/11/2023     2.8   Perform comparison for Ventures silo between QBO balances and
                                            Ventures petition date balance sheet
Faett, Jack             7/11/2023     3.1   Perform comparison for Alameda silo between QBO balances and
                                            Alameda petition date balance sheet
Faett, Jack             7/11/2023     0.3   Call to discuss customer funds deposited on exchanges with K.
                                            Kearney, C. Broskay, J. Faett, M. Jones (A&M)
Gany, Jared             7/11/2023     0.3   Call to review open questions on FTX Japan KK vendor payments
                                            with D. Hainline, J. Gany (A&M)
Gordon, Robert          7/11/2023     0.8   Edit latest draft of the balance analysis memorandum


Gordon, Robert          7/11/2023     1.0   Call to discuss ongoing financial statement efforts and collaboration
                                            R. Gordon, C. Broskay, K. Kearney, L. Ryan, M. Shanahan (A&M),
                                            C. Cipione, D. Schwartz, J. LaBella, J. Somerville, B. Mackay (AP)
Gordon, Robert          7/11/2023     0.3   Review AWS to FS comparison for DOTCOM

Gordon, Robert          7/11/2023     0.4   Teleconference with R. Gordon, G. Walia(A&M) over alameda
                                            analysis


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Accounting
Professional             Date     Hours     Activity
Gordon, Robert        7/11/2023     0.9   Read through alameda contract covering Solana tokens

Hainline, Drew        7/11/2023     0.4   Update narratives for adjusting journal entries proposed for
                                          DOTCOM-silo petition date balances
Hainline, Drew        7/11/2023     1.0   Continue to review prepetition liabilities for FTX Japan KK

Hainline, Drew        7/11/2023     0.6   Call to review plan for master deck of legal entity tear sheets for
                                          debtor FTX entities with H. Ardizzoni, D. Hainline (A&M)
Hainline, Drew        7/11/2023     0.3   Call to review open questions on FTX Japan KK vendor payments
                                          with D. Hainline, J. Gany (A&M)
Hainline, Drew        7/11/2023     0.6   Call to review approach for analyzing treasury bill investments and
                                          other open items with K. Kearney, D. Hainline (A&M)
Hainline, Drew        7/11/2023     1.6   Call to discuss liquid group liabilities D. Hainline, D. Kuruvilla, M.
                                          Mirando (A&M)
Hainline, Drew        7/11/2023     0.5   Call to review updated DOTCOM consolidated balance sheet
                                          including Japan KK and Quoine Pte Ltd with D. Hainline, M. Mirando
                                          (A&M)
Hainline, Drew        7/11/2023     0.2   Update foreign currency adjustments for Quoine Pte Ltd petition
                                          date bank balances
Hainline, Drew        7/11/2023     0.6   Update account mapping for FTX Japan KK petition date balance
                                          sheet and income statement impact
Hainline, Drew        7/11/2023     0.3   Review information accompanying request to reconcile AWS based
                                          information to financial statements
Hainline, Drew        7/11/2023     1.2   Review analysis on prepetition vendor liabilities for FTX Japan KK


Hainline, Drew        7/11/2023     0.4   Perform research on purchases of treasury bills from FTX Trading
                                          Ltd bank accounts to assess recoverability
Hainline, Drew        7/11/2023     0.3   Draft balance migration template to include petition date balances
                                          for FTX Japan KK
Hainline, Drew        7/11/2023     0.6   Draft summary of batch 8 entity balances and adjustments for
                                          DOTCOM-silo entities
Hainline, Drew        7/11/2023     0.3   Draft summary of financial statement references to onboard new
                                          insolvency resources
Hainline, Drew        7/11/2023     0.8   Draft summary of vendor payables for FTX Japan KK to support
                                          petition date balances
Hainline, Drew        7/11/2023     0.5   Incorporate supporting documentation for intercompany balances
                                          with Alameda to FTX Japan KK petition date balance support
Hainline, Drew        7/11/2023     0.4   Update group intercompany schedule to reflect adjustments to
                                          intercompany balances between FTX Japan KK and Quoine Pte Ltd
Jones, Mackenzie      7/11/2023     0.4   Analyze WRSS balance sheets for bank account categorization
                                          needed for bank balance transfer exercise
Jones, Mackenzie      7/11/2023     0.3   Call to discuss customer funds deposited on exchanges with K.
                                          Kearney, C. Broskay, J. Faett, M. Jones (A&M)
Jones, Mackenzie      7/11/2023     0.3   Call to discuss bank account exposure analysis with C. Broskay and
                                          M. Jones (A&M)


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Accounting
Professional              Date     Hours     Activity
Jones, Mackenzie       7/11/2023     2.6   Draft list of bank accounts potentially in scope for bank balance
                                           transfer exercise
Jones, Mackenzie       7/11/2023     0.3   Consolidate list of impacted bank accounts potentially in scope for
                                           exposure analysis
Jones, Mackenzie       7/11/2023     2.6   Analyze Alameda bank statement details to categorize accounts for
                                           bank balance transfer exercise
Jones, Mackenzie       7/11/2023     0.4   Convert petition date balance of impacted accounts to USD for use
                                           in potential exposure analysis
Jones, Mackenzie       7/11/2023     0.9   Review categorized list of bank accounts provided by internal team


Kearney, Kevin         7/11/2023     1.0   Call to discuss ongoing financial statement efforts and collaboration
                                           R. Gordon, C. Broskay, K. Kearney, L. Ryan, M. Shanahan (A&M),
                                           C. Cipione, D. Schwartz, J. LaBella, J. Somerville, B. Mackay (AP)
Kearney, Kevin         7/11/2023     0.6   Call to review approach for analyzing treasury bill investments and
                                           other open items with K. Kearney, D. Hainline (A&M)
Kearney, Kevin         7/11/2023     0.3   Call to discuss customer funds deposited on exchanges with K.
                                           Kearney, C. Broskay, J. Faett, M. Jones (A&M)
Kuruvilla, Daniel      7/11/2023     1.5   Aggregate dotcom cash database transactions for input into Alteryx

Kuruvilla, Daniel      7/11/2023     1.4   Build out FTX customer listing for DOTCOM entities for rolling
                                           customer analysis
Kuruvilla, Daniel      7/11/2023     2.6   Build out FTX customer listing for WRS entities for rolling customer
                                           analysis
Kuruvilla, Daniel      7/11/2023     0.5   Call to review prepetition liabilities for Quoine Pte Ltd D. Kuruvilla, M.
                                           Mirando (A&M)
Kuruvilla, Daniel      7/11/2023     0.3   Create listing of third party vendors for FTX Trading Ltd. for rolling
                                           customer analysis
Kuruvilla, Daniel      7/11/2023     1.6   Call to discuss liquid group liabilities D. Hainline, D. Kuruvilla, M.
                                           Mirando (A&M)
Mirando, Michael       7/11/2023     2.7   Review employee liabilities for Quoine Pte Ltd


Mirando, Michael       7/11/2023     0.5   Call to review prepetition liabilities for Quoine Pte Ltd D. Kuruvilla, M.
                                           Mirando (A&M)
Mirando, Michael       7/11/2023     2.3   Analyze trade liabilities for Quoine Pte Ltd to support petition date
                                           balances
Mirando, Michael       7/11/2023     1.4   Map the consolidated DOTCOM input template to financial
                                           statement line items
Mirando, Michael       7/11/2023     1.6   Call to discuss liquid group liabilities D. Hainline, D. Kuruvilla, M.
                                           Mirando (A&M)
Mirando, Michael       7/11/2023     0.8   Review cash records to substantiate purchase of treasury bills

Mirando, Michael       7/11/2023     0.7   Review exchange data related to fees for FTX Trading Ltd

Mirando, Michael       7/11/2023     0.5   Call to review updated DOTCOM consolidated balance sheet
                                           including Japan KK and Quoine Pte Ltd with D. Hainline, M. Mirando
                                           (A&M)

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Accounting
Professional               Date     Hours     Activity
Ryan, Laureen           7/11/2023     1.0   Call to discuss ongoing financial statement efforts and collaboration
                                            R. Gordon, C. Broskay, K. Kearney, L. Ryan, M. Shanahan (A&M),
                                            C. Cipione, D. Schwartz, J. LaBella, J. Somerville, B. Mackay (AP)
Shanahan, Michael       7/11/2023     1.0   Call to discuss ongoing financial statement efforts and collaboration
                                            R. Gordon, C. Broskay, K. Kearney, L. Ryan, M. Shanahan (A&M),
                                            C. Cipione, D. Schwartz, J. LaBella, J. Somerville, B. Mackay (AP)
Shanahan, Michael       7/11/2023     0.8   Review analyses of FBO accounts to identify potential vendor
                                            transactions
Sullivan, Christopher   7/11/2023     1.2   Review latest updates to prepetition balance sheets

Sullivan, Christopher   7/11/2023     0.8   Update internal shared drive for revised WRS balance sheets for
                                            petition date
Walia, Gaurav           7/11/2023     0.4   Teleconference with R. Gordon, G. Walia(A&M) over alameda
                                            analysis
Zabcik, Kathryn         7/11/2023     2.4   Review FTX Digital Markets "Other" transactions for additional
                                            operational expenses that should be re-categorized
Zabcik, Kathryn         7/11/2023     1.8   Search in Relativity for support of additional operational expenses
                                            that should be re-categorized from "other" for FTX Digital Markets
Ardizzoni, Heather      7/12/2023     0.3   Call to review the accounting workstream plan with R. Gordon, C.
                                            Broskay, K. Kearney, H. Ardizzoni, D. Hainline (A&M)
Braatelien, Troy        7/12/2023     2.4   Update Alameda combined balance sheet for questions resolved in
                                            discussion with management on 7/12
Braatelien, Troy        7/12/2023     0.6   Meeting to discuss A&M responses and outstanding items related to
                                            Alameda silo chart of accounts questions with R. Hoskins (FTX), K.
                                            Kearney, J. Faett, K. Zabcik, and T. Braatelien (A&M)
Braatelien, Troy        7/12/2023     0.4   Review historical general ledger details regarding FDM
                                            intercompany receivable with Alameda Research Ltd
Braatelien, Troy        7/12/2023     1.6   Update Alameda silo token receivable schedule to breakout long-
                                            term and short-term receivables for financial statement presentation
Braatelien, Troy        7/12/2023     0.5   Meeting to review Alameda silo chart of accounts responses with K.
                                            Kearney, J. Faett, K. Zabcik, and T. Braatelien (A&M)
Braatelien, Troy        7/12/2023     0.2   Call to discuss breakout of crypto receivables into short-term and
                                            long-term financial statement line items with J. Faett and T.
                                            Braatelien (A&M)
Braatelien, Troy        7/12/2023     2.7   Draft responses to management questions regarding Alameda and
                                            Ventures silos chart of accounts
Braatelien, Troy        7/12/2023     0.2   Review responses to outstanding items on LedgerPrime financials
                                            from third party accounting firm
Braatelien, Troy        7/12/2023     0.6   Review significant differences between 3/15 LedgerPrime schedules
                                            and current state petition date balances for reasonableness
Braatelien, Troy        7/12/2023     2.4   Update Alameda silo combined balance sheet for updated token
                                            receivable and intercompany balances
Braatelien, Troy        7/12/2023     1.3   Update Ventures silo combined balance sheet for updated token
                                            receivable and intercompany balances
Braatelien, Troy        7/12/2023     0.5   Call to discuss preparation of LedgerPrime bridge from 3/15 data to
                                            current state financials with J. Faett and T. Braatelien (A&M)


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Professional                Date    Hours     Activity
Braatelien, Troy        7/12/2023     0.4   Meeting to review LedgerPrime bridge from 3/15 data to current
                                            state financials with K. Kearney, J. Faett, and T. Braatelien (A&M)
Broskay, Cole           7/12/2023     0.3   Call to review the accounting workstream plan with R. Gordon, C.
                                            Broskay, K. Kearney, H. Ardizzoni, D. Hainline (A&M)
Broskay, Cole           7/12/2023     0.3   Working session to discuss Power BI capabilities with customer
                                            dataset and bank transactions with C. Broskay, D. Kuruvilla, R.
                                            Bruck (A&M)
Broskay, Cole           7/12/2023     0.3   Request additional information on database tools for bank transfer
                                            analysis
Broskay, Cole           7/12/2023     0.6   Correspondence regarding available tools for database analysis


Broskay, Cole           7/12/2023     1.6   Adjust bank transfer analysis documents for exchange credits
                                            approach
Broskay, Cole           7/12/2023     0.6   Call to align on bank account balances and entity attribution with D.
                                            Swartz, E. Mostoff, K. Wessel (AP), C. Broskay, M. Shanahan, J.
                                            Lee, K. Kearney, D. Hainline (A&M)
Broskay, Cole           7/12/2023     0.5   Call to align on open items and status of petition date balances with
                                            M. Cilia, R. Hoskins (FTX), R. Gordon, C. Broskay, K. Kearney, D.
                                            Hainline (A&M)
Bruck, Ran              7/12/2023     0.8   Research on Relativity Hostinger reconciliation reports for August
                                            2022
Bruck, Ran              7/12/2023     0.9   Research on Relativity Hostinger reconciliation reports for July 2022

Bruck, Ran              7/12/2023     0.7   Research on Relativity Hostinger reconciliation reports for October
                                            2022
Bruck, Ran              7/12/2023     0.8   Research on Relativity Hostinger reconciliation reports for
                                            September 2022
Bruck, Ran              7/12/2023     3.2   Create PowerPoint explaining Hostinger settlement reports


Bruck, Ran              7/12/2023     1.3   Format Hostinger PowerPoint with corrections from R. Gordon (A&M)

Bruck, Ran              7/12/2023     0.8   Reconcile adjusting journal entries for WRSS for statements &
                                            schedules
Bruck, Ran              7/12/2023     0.9   Reconcile new customer listing with bank transactions on PowerBI


Bruck, Ran              7/12/2023     0.3   Working session to discuss Power BI capabilities with customer
                                            dataset and bank transactions with C. Broskay, D. Kuruvilla, R.
                                            Bruck (A&M)
Bruck, Ran              7/12/2023     0.6   Research on Relativity Hostinger reconciliation reports for February
                                            2022
Burns, Zach             7/12/2023     2.2   Analyze employee payroll data for FTX Services Solutions

Burns, Zach             7/12/2023     1.2   Analyze 2022 employee payroll data in WRSS to support petition
                                            date balances
Burns, Zach             7/12/2023     1.9   Analyze 2021 employee payroll data in WRSS to support petition
                                            date balances


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Accounting
Professional               Date     Hours     Activity
Cooper, James           7/12/2023     0.6   Call regarding bank account alignment with J. Cooper, S.
                                            Witherspoon (A&M)
Coverick, Steve         7/12/2023     1.1   Review and provide comments on crypto ownership attribution
                                            analysis
Coverick, Steve         7/12/2023     0.5   Call with A. Kranzley (S&C), R. Gordon, S. Coverick, R. Esposito, K.
                                            Kearney (A&M) to discuss insider transfers
Faett, Jack             7/12/2023     0.2   Call to discuss breakout of crypto receivables into short-term and
                                            long-term financial statement line items with J. Faett and T.
                                            Braatelien (A&M)
Faett, Jack             7/12/2023     0.5   Call to discuss preparation of LedgerPrime bridge from 3/15 data to
                                            current state financials with J. Faett and T. Braatelien (A&M)
Faett, Jack             7/12/2023     0.6   Meeting to discuss A&M responses and outstanding items related to
                                            Alameda silo chart of accounts questions with R. Hoskins (FTX), K.
                                            Kearney, J. Faett, K. Zabcik, and T. Braatelien (A&M)
Faett, Jack             7/12/2023     1.4   Update QBO comparisons for review comments prior to sending

Faett, Jack             7/12/2023     1.9   Analyze Alameda USD deposits and withdrawals for unrecorded
                                            balances on the exchange post-Korean friend
Faett, Jack             7/12/2023     0.4   Meeting to review LedgerPrime bridge from 3/15 data to current
                                            state financials with K. Kearney, J. Faett, and T. Braatelien (A&M)
Faett, Jack             7/12/2023     0.6   Format Alameda USD deposits and withdrawals analysis prior to
                                            sharing with Alix Partners
Faett, Jack             7/12/2023     1.4   Working session to update petition date balance sheets for Alameda
                                            silo entities between K. Kearney, J. Faett (A&M)
Faett, Jack             7/12/2023     1.2   Working session to update chart of account mapping for Alameda
                                            silo entities between K. Kearney, J. Faett (A&M)
Faett, Jack             7/12/2023     0.7   Working session to review crypto asset receivable calculations for
                                            LedgerPrime between K. Kearney, J. Faett (A&M)
Faett, Jack             7/12/2023     0.5   Meeting to review Alameda silo chart of accounts responses with K.
                                            Kearney, J. Faett, K. Zabcik, and T. Braatelien (A&M)
Gordon, Robert          7/12/2023     0.5   Call to align on open items and status of petition date balances with
                                            M. Cilia, R. Hoskins (FTX), R. Gordon, C. Broskay, K. Kearney, D.
                                            Hainline (A&M)
Gordon, Robert          7/12/2023     0.5   Call with A. Kranzley (S&C), R. Gordon, S. Coverick, R. Esposito, K.
                                            Kearney (A&M) to discuss insider transfers
Gordon, Robert          7/12/2023     0.3   Call to review the accounting workstream plan with R. Gordon, C.
                                            Broskay, K. Kearney, H. Ardizzoni, D. Hainline (A&M)
Gordon, Robert          7/12/2023     0.2   Review COA open items for post petition QuickBooks


Hainline, Drew          7/12/2023     0.2   Review responses on source data for CIM to support diligence
                                            analysis
Hainline, Drew          7/12/2023     0.7   Review information on bank statement balances for accounts not
                                            included in FTX Trading Ltd general ledger
Hainline, Drew          7/12/2023     0.7   Review correspondence related to FTX EU avoidance complaint draft




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Accounting
Professional             Date     Hours     Activity
Hainline, Drew        7/12/2023     0.6   Review and respond to questions from EY tax regarding select
                                          foreign debtor entities
Hainline, Drew        7/12/2023     0.3   Draft summary of findings for comparison between AWS and FS
                                          revenue figures to support diligence analysis
Hainline, Drew        7/12/2023     0.3   Draft requests to obtain supplemental support for the FTX EU
                                          avoidance complaint draft
Hainline, Drew        7/12/2023     1.1   Continue to review information accompanying request to reconcile
                                          AWS based information to financial statements
Hainline, Drew        7/12/2023     0.3   Call to review the accounting workstream plan with R. Gordon, C.
                                          Broskay, K. Kearney, H. Ardizzoni, D. Hainline (A&M)
Hainline, Drew        7/12/2023     0.6   Call to align on bank account balances and entity attribution with D.
                                          Swartz, E. Mostoff, K. Wessel (AP), C. Broskay, M. Shanahan, J.
                                          Lee, K. Kearney, D. Hainline (A&M)
Hainline, Drew        7/12/2023     0.6   Review questions on bank accounts for Quoine Pte Ltd to support
                                          petition date balances
Hainline, Drew        7/12/2023     0.4   Summarize available information to support AWS to FS reconciliation


Hainline, Drew        7/12/2023     0.4   Review support files for historical revenue entries booked by FTX
                                          Trading Ltd to support diligence analysis
Hainline, Drew        7/12/2023     0.4   Review supporting documentation available related to FTX EU
                                          avoidance complaint draft
Hainline, Drew        7/12/2023     1.0   Call to discuss reconciliation of AWS Data D. Hainline, M. Mirando
                                          (A&M)
Hainline, Drew        7/12/2023     0.2   Call to discuss reconciliation of AWS Data D. Hainline, K Montague,
                                          M. Mirando (A&M)
Hainline, Drew        7/12/2023     0.9   Call to discuss crypto currency positions for Quoine Pte Ltd D.
                                          Hainline, M. Mirando (A&M)
Hainline, Drew        7/12/2023     0.4   Review questions from Japan KK on open items for local audit

Hainline, Drew        7/12/2023     0.5   Call to align on open items and status of petition date balances with
                                          M. Cilia, R. Hoskins (FTX), R. Gordon, C. Broskay, K. Kearney, D.
                                          Hainline (A&M)
Hainline, Drew        7/12/2023     0.2   Call to review open questions from EY tax for Alameda entities with
                                          K. Kearney, D. Hainline (A&M)
Jones, Mackenzie      7/12/2023     0.9   Research petition date balances for remaining debtor bank accounts
                                          potentially in score for bank balance transfer exercise
Jones, Mackenzie      7/12/2023     2.1   Research petition date balances for bank accounts potentially in
                                          scope for bank balance transfer exercise
Jones, Mackenzie      7/12/2023     1.1   Summarize bank account metrics for use in bank balance transfer
                                          exercise
Jones, Mackenzie      7/12/2023     0.6   Research supporting documents from AFRM for internal request


Jones, Mackenzie      7/12/2023     0.3   Review bank account classification process document from cash
                                          team
Jones, Mackenzie      7/12/2023     0.4   Review latest draft of bank balance transfer memo



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Accounting
Professional              Date     Hours     Activity
Jones, Mackenzie       7/12/2023     2.3   Compare list of potential bank accounts in scope to other internal
                                           source
Kearney, Kevin         7/12/2023     0.3   Call to review the accounting workstream plan with R. Gordon, C.
                                           Broskay, K. Kearney, H. Ardizzoni, D. Hainline (A&M)
Kearney, Kevin         7/12/2023     0.4   Meeting to review LedgerPrime bridge from 3/15 data to current
                                           state financials with K. Kearney, J. Faett, and T. Braatelien (A&M)
Kearney, Kevin         7/12/2023     0.6   Call to align on bank account balances and entity attribution with D.
                                           Swartz, E. Mostoff, K. Wessel (AP), C. Broskay, M. Shanahan, J.
                                           Lee, K. Kearney, D. Hainline (A&M)
Kearney, Kevin         7/12/2023     0.5   Call to align on bank account balances and entity attribution with D.
                                           Swartz, E. Mostoff, K. Wessel (AP), C. Broskay, M. Shanahan, J.
                                           Lee, K. Kearney, S. Witherspoon, J. Cooper, D. Hainline (A&M)
Kearney, Kevin         7/12/2023     0.6   Review balance calculation for LedgerPrime Master Fund on
                                           Binance exchange
Kearney, Kevin         7/12/2023     0.2   Call to review open questions from EY tax for Alameda entities with
                                           K. Kearney, D. Hainline (A&M)
Kearney, Kevin         7/12/2023     0.9   Reclassify prepaid and accounts payable balances to proper
                                           presentation for LedgerPrime Master Fund based on NAV
                                           Consulting reports
Kearney, Kevin         7/12/2023     0.5   Call with A. Kranzley (S&C), R. Gordon, S. Coverick, R. Esposito, K.
                                           Kearney (A&M) to discuss insider transfers
Kearney, Kevin         7/12/2023     0.6   Meeting to discuss A&M responses and outstanding items related to
                                           Alameda silo chart of accounts questions with R. Hoskins (FTX), K.
                                           Kearney, J. Faett, K. Zabcik, and T. Braatelien (A&M)
Kearney, Kevin         7/12/2023     0.5   Call to align on open items and status of petition date balances with
                                           M. Cilia, R. Hoskins (FTX), R. Gordon, C. Broskay, K. Kearney, D.
                                           Hainline (A&M)
Kearney, Kevin         7/12/2023     0.5   Meeting to review Alameda silo chart of accounts responses with K.
                                           Kearney, J. Faett, K. Zabcik, and T. Braatelien (A&M)
Kearney, Kevin         7/12/2023     0.3   Review balance calculation for LedgerPrime Master Fund on Cega
                                           exchange
Kearney, Kevin         7/12/2023     1.4   Working session to update petition date balance sheets for Alameda
                                           silo entities between K. Kearney, J. Faett (A&M)
Kearney, Kevin         7/12/2023     1.2   Working session to update chart of account mapping for Alameda
                                           silo entities between K. Kearney, J. Faett (A&M)
Kearney, Kevin         7/12/2023     0.7   Working session to review crypto asset receivable calculations for
                                           LedgerPrime between K. Kearney, J. Faett (A&M)
Kearney, Kevin         7/12/2023     0.4   Review of loan payable calculation as of petition date for lender of
                                           LedgerPrime LLC
Kearney, Kevin         7/12/2023     0.3   Review balance calculation for LedgerPrime Master Fund on Deribit
                                           exchange
Kearney, Kevin         7/12/2023     1.2   Calculation of petition date accounts payable for LedgerPrime
                                           Master Fund
Kuruvilla, Daniel      7/12/2023     2.8   Validate ability to use Alteryx for rolling customer analysis

Kuruvilla, Daniel      7/12/2023     1.4   Build out FTX customer listing for DOTCOM entities for rolling
                                           customer analysis

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Accounting
Professional               Date     Hours     Activity
Kuruvilla, Daniel       7/12/2023     0.4   Compare cash database transactions to bank statements to assess
                                            completeness and accuracy
Kuruvilla, Daniel       7/12/2023     2.3   Review Schedule F for changes in vendor open LSTCs against
                                            petition date trial balances on dotcom entities
Kuruvilla, Daniel       7/12/2023     0.3   Working session to discuss Power BI capabilities with customer
                                            dataset and bank transactions with C. Broskay, D. Kuruvilla, R.
                                            Bruck (A&M)
Kuruvilla, Daniel       7/12/2023     1.9   Review Schedule F for changes in vendor open LSTCs against
                                            petition date trial balances
Lee, Julian             7/12/2023     0.6   Call to align on bank account balances and entity attribution with D.
                                            Swartz, E. Mostoff, K. Wessel (AP), C. Broskay, M. Shanahan, J.
                                            Lee, K. Kearney, D. Hainline (A&M)
Mirando, Michael        7/12/2023     1.2   Call to discuss reconciliation of AWS Data D. Hainline, M. Mirando
                                            (A&M)
Mirando, Michael        7/12/2023     0.4   Research cash balance in Transactive Systems for FTX Trading Ltd

Mirando, Michael        7/12/2023     1.2   Review exchange data related to fees for FTX Trading Ltd


Mirando, Michael        7/12/2023     1.7   Review revenue data for FTX Trading Ltd to support petition date
                                            balances
Mirando, Michael        7/12/2023     0.6   Analyze consolidated financial statements for FTX Trading Ltd and
                                            West Real Shires Inc
Mirando, Michael        7/12/2023     0.9   Call to discuss crypto currency positions for Quoine Pte Ltd D.
                                            Hainline, M. Mirando (A&M)
Mirando, Michael        7/12/2023     0.2   Call to discuss reconciliation of AWS Data D. Hainline, K Montague,
                                            M. Mirando (A&M)
Mirando, Michael        7/12/2023     2.1   Reconcile AWS date to financial statements for DOTCOM silo


Mirando, Michael        7/12/2023     1.1   Research crypto balance for Quoine Pte Ltd to support petition date
                                            balances
Montague, Katie         7/12/2023     0.2   Call to discuss reconciliation of AWS Data D. Hainline, K Montague,
                                            M. Mirando (A&M)
Sequeira, Joseph        7/12/2023     0.6   Research Carta system for legal entity activity

Shanahan, Michael       7/12/2023     0.6   Call to align on bank account balances and entity attribution with D.
                                            Swartz, E. Mostoff, K. Wessel (AP), C. Broskay, M. Shanahan, J.
                                            Lee, K. Kearney, D. Hainline (A&M)
Witherspoon, Samuel     7/12/2023     0.6   Call regarding bank account alignment with J. Cooper, S.
                                            Witherspoon (A&M)
Zabcik, Kathryn         7/12/2023     0.6   Meeting to discuss A&M responses and outstanding items related to
                                            Alameda silo chart of accounts questions with R. Hoskins (FTX), K.
                                            Kearney, J. Faett, K. Zabcik, and T. Braatelien (A&M)
Zabcik, Kathryn         7/12/2023     0.5   Meeting to review Alameda silo chart of accounts responses with K.
                                            Kearney, J. Faett, K. Zabcik, and T. Braatelien (A&M)
Zabcik, Kathryn         7/12/2023     2.3   Clean up customer counter party names for FTX Digital markets



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Accounting
Professional              Date     Hours     Activity
Zabcik, Kathryn        7/12/2023     1.4   Search in Relativity for counterparties flagged as customer funds
                                           that could be operating expenses
Braatelien, Troy       7/13/2023     2.1   Review claims filed against Alameda entities processed through
                                           7/12 for market making loans
Braatelien, Troy       7/13/2023     0.4   Meeting to discuss status of LedgerPrime financials and Alameda
                                           claims review process with K. Kearney, J. Faett, and T. Braatelien
                                           (A&M)
Braatelien, Troy       7/13/2023     0.7   Reconcile third party exchange data per LedgerPrime 3/15 schedule
                                           to current state financials
Braatelien, Troy       7/13/2023     0.3   Update token receivable workbook for response to LedgerPrime
                                           management email regarding review of balance sheet
Braatelien, Troy       7/13/2023     0.2   Update LedgerPrime current state financials based on initial review
                                           of balance sheet by management
Braatelien, Troy       7/13/2023     0.9   Update Alameda silo loans payable schedule based on differences
                                           identified through claims filed post-petition
Braatelien, Troy       7/13/2023     0.2   Respond to LedgerPrime management question regarding cashflow
                                           token purchase agreement
Braatelien, Troy       7/13/2023     0.3   Update Alameda silo consolidated balance sheet for changes to
                                           loans payable schedule due to claims filed
Braatelien, Troy       7/13/2023     2.2   Review claims filed against Alameda entities processed through
                                           7/12 for non-market making loans
Braatelien, Troy       7/13/2023     0.2   Finalize Alameda and Ventures combined balance sheet updates
                                           and share with team
Broskay, Cole          7/13/2023     0.9   Adjust approach documentation for bank transfer analysis exercise
                                           based on review of available database tools
Broskay, Cole          7/13/2023     0.4   Provide commentary regarding adjusted bank transfer analysis
                                           documentation
Broskay, Cole          7/13/2023     0.2   Correspondence regarding trial balance submissions

Broskay, Cole          7/13/2023     1.4   Compile database requirements for exchange transfer exercise


Broskay, Cole          7/13/2023     0.4   Working session to discuss Alteryx capabilities with customer
                                           dataset and bank transactions with C. Broskay, D. Kuruvilla, R.
                                           Bruck (A&M)
Broskay, Cole          7/13/2023     0.8   Correspondence regarding contraction rejection accounting


Bruck, Ran             7/13/2023     1.2   Combine all bank transactions into single database on Alteryx

Bruck, Ran             7/13/2023     0.5   Working session to discuss PowerBI status with customer dataset
                                           and bank transactions with M. Jones, R. Bruck (A&M)
Bruck, Ran             7/13/2023     0.4   Working session to discuss Alteryx capabilities with customer
                                           dataset and bank transactions with C. Broskay, D. Kuruvilla, R.
                                           Bruck (A&M)
Bruck, Ran             7/13/2023     0.4   Review current trial balances currently available for MORs




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Professional               Date     Hours     Activity
Bruck, Ran              7/13/2023     2.3   Import JSON file, and format to database for fuzzy matching on
                                            Alteryx
Bruck, Ran              7/13/2023     1.6   Create import functionality for all bank transactions on Alteryx


Bruck, Ran              7/13/2023     2.2   Identify each unique customer ID from JSON file within Alteryx

Faett, Jack             7/13/2023     0.4   Meeting to discuss status of LedgerPrime financials and Alameda
                                            claims review process with K. Kearney, J. Faett, and T. Braatelien
                                            (A&M)
Faett, Jack             7/13/2023     0.4   Review claim 10 and tie out to underlying loan payable data


Faett, Jack             7/13/2023     0.3   Review claim 4 and tie out to underlying loan payable data

Faett, Jack             7/13/2023     0.4   Review claim 5 and tie out to underlying loan payable data

Faett, Jack             7/13/2023     0.3   Review claim 6 and tie out to underlying loan payable data


Faett, Jack             7/13/2023     0.4   Review claim 7 and tie out to underlying loan payable data

Faett, Jack             7/13/2023     0.4   Review claim 8 and tie out to underlying loan payable data


Faett, Jack             7/13/2023     0.5   Working session to review results of crypto tracing for targeted
                                            SAFT agreements between K. Kearney, J. Faett (A&M)
Faett, Jack             7/13/2023     2.2   Working session to review third party exchange balance calculations
                                            for LedgerPrime between K. Kearney, J. Faett (A&M)
Faett, Jack             7/13/2023     0.3   Review claim 9 and tie out to underlying loan payable data

Faett, Jack             7/13/2023     1.7   Update insider payments for token investments and venture
                                            investments made on behalf of insiders
Hainline, Drew          7/13/2023     0.9   Validate updates to schedule AB for upcoming amendments based
                                            on recent adjustments
Hainline, Drew          7/13/2023     1.2   Update workstream planning for upcoming account team deliverables

Hainline, Drew          7/13/2023     0.4   Validate updates to schedule F for upcoming amendments based on
                                            recent adjustments
Hainline, Drew          7/13/2023     0.3   Update workplan for final validation of DOTCOM-silo petition date
                                            balances
Hainline, Drew          7/13/2023     0.4   Review QB extracts for finalized petition date balances to confirm
                                            adjustments
Hainline, Drew          7/13/2023     0.3   Draft responses to review questions from EY Tax group

Hainline, Drew          7/13/2023     0.4   Organize and archive documents to support petition date balances

Hainline, Drew          7/13/2023     0.3   Review and respond to questions on FTX EU petition date balances




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Accounting
Professional              Date     Hours     Activity
Hainline, Drew         7/13/2023     0.4   Review and respond to questions on support for vendor payments
                                           prior to petition to support cash preference analysis
Hainline, Drew         7/13/2023     0.5   Review information on submitted claims for Alameda related
                                           contracts
Jones, Mackenzie       7/13/2023     2.3   Build summary to show total petition date balances for debtor
                                           accounts potentially in scope for bank balance transfer exercise
Jones, Mackenzie       7/13/2023     2.4   Record petition date balances for non-debtor accounts potentially in
                                           scope for bank balance transfer exercise
Jones, Mackenzie       7/13/2023     0.5   Working session to discuss PowerBI status with customer dataset
                                           and bank transactions with M. Jones, R. Bruck (A&M)
Jones, Mackenzie       7/13/2023     1.3   Review data consolidation methodology for bank balance transfer
                                           exercise
Jones, Mackenzie       7/13/2023     1.0   Distill potential exposure summary for use in slides giving overview
                                           of bank balance transfer exercise
Kearney, Kevin         7/13/2023     1.7   Review of token receivable model for LedgerPrime Master Fund for
                                           accuracy for petition date balance sheet
Kearney, Kevin         7/13/2023     0.4   Meeting to discuss status of LedgerPrime financials and Alameda
                                           claims review process with K. Kearney, J. Faett, and T. Braatelien
                                           (A&M)
Kearney, Kevin         7/13/2023     1.8   Review of collateral balance calculation associated with targeted
                                           loan held by LedgerPrime LLC
Kearney, Kevin         7/13/2023     0.9   Review of crypto receivable calculation for targeted investment in
                                           LedgerPrime Master Fund
Kearney, Kevin         7/13/2023     0.8   Review of third party exchange balance on FalconX exchange for
                                           LedgerPrime Master Fund
Kearney, Kevin         7/13/2023     2.1   Review of third party exchange balance on MetaMask exchange for
                                           LedgerPrime Master Fund
Kearney, Kevin         7/13/2023     0.5   Working session to review results of crypto tracing for targeted
                                           SAFT agreements between K. Kearney, J. Faett (A&M)
Kearney, Kevin         7/13/2023     2.2   Working session to review third party exchange balance calculations
                                           for LedgerPrime between K. Kearney, J. Faett (A&M)
Kearney, Kevin         7/13/2023     0.6   Review of third party exchange balance on Fireblocks exchange for
                                           LedgerPrime Master Fund
Kuruvilla, Daniel      7/13/2023     2.7   Build out FTX customer listing for FTX Trading Ltd exchange for
                                           rolling customer analysis
Kuruvilla, Daniel      7/13/2023     2.9   Compare cash database transactions to bank statements to assess
                                           completeness and accuracy
Kuruvilla, Daniel      7/13/2023     0.4   Validate ability to use Alteryx for rolling customer analysis


Kuruvilla, Daniel      7/13/2023     0.4   Working session to discuss Alteryx capabilities with customer
                                           dataset and bank transactions with C. Broskay, D. Kuruvilla, R.
                                           Bruck (A&M)
Mirando, Michael       7/13/2023     1.1   Review scheduled claims that were filed in June

Sequeira, Joseph       7/13/2023     0.3   Respond to third party vendor questions regarding international
                                           financial statements

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Accounting
Professional                Date    Hours     Activity
Braatelien, Troy        7/14/2023     1.6   Review claims filed against Alameda entities processed through
                                            7/13 for market making loans
Braatelien, Troy        7/14/2023     2.1   Review details of intercompany transactions between LedgerPrime
                                            entities to confirm petition date treatment
Braatelien, Troy        7/14/2023     1.7   Update LedgerPrime consolidated workbook to include financials of
                                            LedgerPrime LLC
Braatelien, Troy        7/14/2023     0.2   Update LedgerPrime financials for updated token receivable
                                            schedule
Braatelien, Troy        7/14/2023     0.4   Reconcile LedgerPrime transaction details with Counterparty A
                                            provided 7/13/23 against financial records
Braatelien, Troy        7/14/2023     1.1   Update LedgerPrime token receivable schedule due to HFT vesting
                                            amendment
Bruck, Ran              7/14/2023     2.3   Format and structure bank transaction data on Alteryx


Bruck, Ran              7/14/2023     1.4   Create a fuzzy match formula within Alteryx for customer and bank
                                            data
Bruck, Ran              7/14/2023     1.6   Format and structure customer data on Alteryx


Bruck, Ran              7/14/2023     1.6   Research pre-petition claims above 10m threshold

Bruck, Ran              7/14/2023     0.6   Working session on Alteryx formatting of Customer and Bank data
                                            with M. Jones, R. Bruck (A&M)
Faett, Jack             7/14/2023     1.5   Working session to review intercompany balances for LedgerPrime
                                            between K. Kearney, J. Faett (A&M)
Faett, Jack             7/14/2023     1.2   Analyze collateral for third party loans where the collateral for the
                                            loans is Samcoins
Faett, Jack             7/14/2023     0.3   Analyze Alix Partners treatment of insider's separation agreement
                                            and its impact on insider payments
Faett, Jack             7/14/2023     0.4   Analyze Alix Partners treatment of employee transfer and its impact
                                            on insider payments
Faett, Jack             7/14/2023     0.9   Update slide deck with details of third party lenders that are
                                            collateralized with Samcoins
Faett, Jack             7/14/2023     2.1   Review changes in LedgerPrime Funds third party exchange and
                                            FTX exchange balances provided by NAV Consulting
Gordon, Robert          7/14/2023     0.3   Edit loan collateral analysis for FTT analysis

Hainline, Drew          7/14/2023     0.8   Call to align on priorities and progress on CMS schedules D.
                                            Hainline, M. Mirando (A&M)
Hainline, Drew          7/14/2023     0.6   Continue to update workstream planning for upcoming account team
                                            deliverables
Jones, Mackenzie        7/14/2023     1.2   Match list of bank accounts potentially in scope for bank balance
                                            transfer exercise to available bank data listing
Jones, Mackenzie        7/14/2023     1.9   Record petition date balances for debtor bank accounts potentially in
                                            score for bank balance transfer exercise




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Professional               Date    Hours     Activity
Jones, Mackenzie       7/14/2023     0.4   Review terms of services mentioned in FTX Digital Markets
                                           Adversarial complaint
Jones, Mackenzie       7/14/2023     0.6   Working session on Alteryx formatting of Customer and Bank data
                                           with M. Jones, R. Bruck (A&M)
Kearney, Kevin         7/14/2023     1.5   Working session to review intercompany balances for LedgerPrime
                                           between K. Kearney, J. Faett (A&M)
Mirando, Michael       7/14/2023     2.7   Update consolidated balance sheet for DOTCOM entities with
                                           updated entity trial balance amounts
Mirando, Michael       7/14/2023     0.8   Call to align on priorities and progress on CMS schedules D.
                                           Hainline, M. Mirando (A&M)
Hainline, Drew         7/16/2023     0.6   Respond to questions related to intercompany adjustments for
                                           petition date balances of FTX Europe entities
Ardizzoni, Heather     7/17/2023     0.3   Weekly team meeting to discuss action items and outstanding tasks
                                           with H. Ardizzoni, M. Mirando, K. Zabcik, M. Jones (A&M)
Ardizzoni, Heather     7/17/2023     1.1   Call to review open items for accounting team workplan with D.
                                           Hainline, H. Ardizzoni (A&M)
Braatelien, Troy       7/17/2023     0.3   Weekly team meeting to discuss action items and outstanding tasks
                                           with T. Braatelien, R. Bruck, and Z. Burns (A&M)
Braatelien, Troy       7/17/2023     0.4   Update LedgerPrime consolidated balance sheet for breakout of
                                           LedgerPrime short-term/long-term tokens receivable
Braatelien, Troy       7/17/2023     1.1   Review focused Relativity repository to search for files regarding
                                           withdrawals for priority customers
Braatelien, Troy       7/17/2023     2.2   Review non-customer claims against Alameda silo entities related to
                                           loans payable
Braatelien, Troy       7/17/2023     1.4   Update LedgerPrime tokens receivable schedule to breakout short-
                                           term and long-term balances
Braatelien, Troy       7/17/2023     1.7   Update LedgerPrime consolidated balance sheet to conform
                                           presentation to Alameda silo format
Braatelien, Troy       7/17/2023     1.4   Update LedgerPrime consolidated balance sheet for LedgerPrime
                                           LLC crypto balances
Braatelien, Troy       7/17/2023     0.4   Update LedgerPrime consolidated balance sheet for certain
                                           LedgerPrime LLC interco balances removal
Braatelien, Troy       7/17/2023     1.3   Reconcile LedgerPrime accrued schedule against balances utilized
                                           by third party accounting firm
Broskay, Cole          7/17/2023     0.7   Review correspondence regarding insider transfers

Broskay, Cole          7/17/2023     0.3   Weekly team meeting to discuss action items and outstanding tasks
                                           with R. Gordon, C. Broskay, J. Sequeira, K. Kearney (A&M)
Broskay, Cole          7/17/2023     1.6   Update bank transfer analysis presentation materials based on
                                           internal feedback
Broskay, Cole          7/17/2023     1.1   Teleconference with C. Broskay, R. Gordon(A&M) to review updated
                                           memorandum for balance calculation
Broskay, Cole          7/17/2023     0.7   Correspondence regarding crypto currency transfer analysis




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Accounting
Professional                Date    Hours     Activity
Broskay, Cole           7/17/2023     0.1   Correspondence regarding status of bank transfer analysis exercise

Broskay, Cole           7/17/2023     0.3   Call to discuss bank transfer balances status with C. Broskay, R.
                                            Bruck (A&M)
Broskay, Cole           7/17/2023     2.3   Compile presentation materials for bank transfer analysis work effort

Broskay, Cole           7/17/2023     0.2   Call to discuss status of potential exposure in bank balance transfer
                                            exercise with C. Broskay, M. Jones (A&M)
Bruck, Ran              7/17/2023     0.6   Call to discuss customer classification information on Alteryx with M.
                                            Jones, R. Bruck (A&M)
Bruck, Ran              7/17/2023     0.2   Run weekly report tracker for R. Gordon (A&M)

Bruck, Ran              7/17/2023     0.3   Weekly team meeting to discuss action items and outstanding tasks
                                            with T. Braatelien, R. Bruck, and Z. Burns (A&M)
Bruck, Ran              7/17/2023     0.3   Call to discuss bank transfer balances status with C. Broskay, R.
                                            Bruck (A&M)
Bruck, Ran              7/17/2023     2.1   Merge bank transaction data for Dotcom, WRS, Alameda, and
                                            Ventures silo
Bruck, Ran              7/17/2023     1.6   Cleanse bank transaction data to merge with customer data

Bruck, Ran              7/17/2023     1.8   Cleanse customer data to merge with customer data

Bruck, Ran              7/17/2023     1.7   Merge customer data for Dotcom, WRS, Alameda, and Ventures silo


Burns, Zach             7/17/2023     0.3   Weekly team meeting to discuss action items and outstanding tasks
                                            with T. Braatelien, R. Bruck, and Z. Burns (A&M)
Faett, Jack             7/17/2023     1.1   Reconcile insider payments by insider to SOFA 4 and SOFA 13
                                            schedules
Faett, Jack             7/17/2023     2.2   Update insider payments model for additional insider payments to
                                            non-core insiders
Faett, Jack             7/17/2023     2.3   Reconcile insider payments by debtor to SOFA 4 and SOFA 13
                                            schedules
Faett, Jack             7/17/2023     0.2   Call to review information available for FTT request with R. Gordon,
                                            K. Kearney, J. Faett, D. Hainline (A&M)
Faett, Jack             7/17/2023     3.1   Buildout insider payment model utilized to determine intercompany
                                            impact and debtor entity for insider payments
Faett, Jack             7/17/2023     1.8   Working session to review calculation balance associated with
                                            software agreement for Cottonwood Grove between K. Kearney, J.
                                            Faett (A&M)
Gordon, Robert          7/17/2023     1.1   Teleconference with C. Broskay, R. Gordon(A&M) to review updated
                                            memorandum for balance calculation
Gordon, Robert          7/17/2023     0.3   Discussion with R. Gordon, K. Kearney(A&M) over FTT buy-burn
                                            analysis
Gordon, Robert          7/17/2023     0.2   Call to review information available for FTT request with R. Gordon,
                                            K. Kearney, J. Faett, D. Hainline (A&M)


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Accounting
Professional              Date    Hours     Activity
Gordon, Robert        7/17/2023     0.3   Weekly team meeting to discuss action items and outstanding tasks
                                          with R. Gordon, C. Broskay, J. Sequeira, K. Kearney (A&M)
Hainline, Drew        7/17/2023     0.4   Review available information for stand-alone entities with financials
                                          for petition date balance migration
Hainline, Drew        7/17/2023     0.2   Draft response to review comments on the AWS data to support
                                          diligence analysis
Hainline, Drew        7/17/2023     0.6   Review updated presentation for FTT loan collateral by lender

Hainline, Drew        7/17/2023     0.3   Weekly team meeting to discuss action items and outstanding tasks
                                          with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D. Hainline, H.
                                          Ardizzoni, M. Mirando, K. Zabcik, M. Jones, T. Braatelien, and Z.
                                          Burns (A&M)
Hainline, Drew        7/17/2023     0.4   Draft responses related to loans receivable from conveyed
                                          properties to support petition date balances
Hainline, Drew        7/17/2023     1.1   Call to review open items for accounting team workplan with D.
                                          Hainline, H. Ardizzoni (A&M)
Hainline, Drew        7/17/2023     0.2   Call to review information available for FTT request with R. Gordon,
                                          K. Kearney, J. Faett, D. Hainline (A&M)
Hainline, Drew        7/17/2023     0.4   Review new correspondence on FTX Japan balances under
                                          consideration for impairment
Hainline, Drew        7/17/2023     0.3   Review information for communications regarding customer
                                          withdrawals prior to petition for preference analysis
Hainline, Drew        7/17/2023     0.3   Review available financial statement information for Deck
                                          Technologies Inc to support petition date balances
Jones, Mackenzie      7/17/2023     2.2   Update remaining bank account balances for potential exposure
                                          analysis
Jones, Mackenzie      7/17/2023     0.3   Weekly team meeting to discuss action items and outstanding tasks
                                          with H. Ardizzoni, M. Mirando, K. Zabcik, M. Jones (A&M)
Jones, Mackenzie      7/17/2023     0.6   Call to discuss customer classification information on Alteryx with M.
                                          Jones, R. Bruck (A&M)
Jones, Mackenzie      7/17/2023     0.2   Call to discuss status of potential exposure in bank balance transfer
                                          exercise with C. Broskay, M. Jones (A&M)
Jones, Mackenzie      7/17/2023     1.8   Record petition date balances for debtor crypto bank accounts to
                                          estimate potential exposure for bank balance transfer exercise
Jones, Mackenzie      7/17/2023     0.4   Record petition date bank balances for Turkey to estimate potential
                                          exposure in bank balance transfer exercise
Jones, Mackenzie      7/17/2023     2.4   Update bank statement matrix to match bank listing from cash team

Kearney, Kevin        7/17/2023     0.4   Review of post-Korean Friend customer funds processed by
                                          Alameda for intercompany balance updates
Kearney, Kevin        7/17/2023     0.3   Weekly team meeting to discuss action items and outstanding tasks
                                          with R. Gordon, C. Broskay, J. Sequeira, K. Kearney (A&M)
Kearney, Kevin        7/17/2023     1.3   Review of Alameda FTX.com exchange account to identify crypto
                                          payment made on behalf of FTX Digital Markets for consulting
                                          services



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Accounting
Professional               Date    Hours     Activity
Kearney, Kevin         7/17/2023     0.3   Discussion with R. Gordon, K. Kearney(A&M) over FTT buy-burn
                                           analysis
Kearney, Kevin         7/17/2023     0.2   Call to review information available for FTT request with R. Gordon,
                                           K. Kearney, J. Faett, D. Hainline (A&M)
Kearney, Kevin         7/17/2023     1.8   Working session to review calculation balance associated with
                                           software agreement for Cottonwood Grove between K. Kearney, J.
                                           Faett (A&M)
Kuruvilla, Daniel      7/17/2023     1.7   Validate ability to use Alteryx for rolling customer analysis to
                                           categorize transactions
Kuruvilla, Daniel      7/17/2023     1.2   Aggregate WRS cash database transactions for input into Alteryx


Kuruvilla, Daniel      7/17/2023     2.4   Aggregate Alameda cash database transactions for input into Alteryx

Kuruvilla, Daniel      7/17/2023     1.9   Create listing of related party entities and insiders for rolling
                                           customer analysis
Mirando, Michael       7/17/2023     2.1   Compare claims that were filed as of July to claims filed as of May


Mirando, Michael       7/17/2023     0.5   Review new claims filed in June to ensure completeness of vendor
                                           liabilities
Mirando, Michael       7/17/2023     0.3   Weekly team meeting to discuss action items and outstanding tasks
                                           with H. Ardizzoni, M. Mirando, K. Zabcik, M. Jones (A&M)
Sequeira, Joseph       7/17/2023     0.3   Weekly team meeting to discuss action items and outstanding tasks
                                           with R. Gordon, C. Broskay, J. Sequeira, K. Kearney (A&M)
Zabcik, Kathryn        7/17/2023     0.3   Weekly team meeting to discuss action items and outstanding tasks
                                           with H. Ardizzoni, M. Mirando, K. Zabcik, M. Jones (A&M)
Braatelien, Troy       7/18/2023     2.1   Review broader Relativity repository to search for files regarding
                                           withdrawals for priority customers
Braatelien, Troy       7/18/2023     1.3   Draft reconciliation of pricing used in third party portfolio report for
                                           LedgerPrime funds to master crypto pricing list
Braatelien, Troy       7/18/2023     3.1   Compile FTX-wide prepaid expense listing based on various source
                                           files to provide for preference period analysis
Braatelien, Troy       7/18/2023     0.3   Call to discuss results of VIP customer withdrawals Relativity
                                           searches with J. Faett and T. Braatelien (A&M)
Braatelien, Troy       7/18/2023     0.3   Call to discuss Relativity withdrawal search status, LedgerPrime,
                                           and additional priorities with K. Kearney, J. Faett, and T. Braatelien
                                           (A&M)
Braatelien, Troy       7/18/2023     0.2   Draft email to third party accounting firm regarding discrepancies in
                                           LedgerPrime portfolio report
Broskay, Cole          7/18/2023     1.7   Adjust bank transfer analysis presentation materials based on
                                           internal feedback
Broskay, Cole          7/18/2023     0.4   Working session to discuss bank balance transfer status with C.
                                           Broskay, D. Kuruvilla, M. Jones, R. Bruck (A&M)
Broskay, Cole          7/18/2023     0.6   Working session on balance calculation analysis with R. Gordon, C.
                                           Broskay(A&M)
Broskay, Cole          7/18/2023     1.3   Review progress on database setup for bank transfer analysis



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Accounting
Professional                Date    Hours     Activity
Broskay, Cole           7/18/2023     0.5   Review of bank balance transfer status to determine next steps for
                                            petition date balances
Broskay, Cole           7/18/2023     0.2   Respond to questions regarding bank/exchange transfer analysis


Broskay, Cole           7/18/2023     0.2   Correspondence regarding JL discovery requests

Broskay, Cole           7/18/2023     0.3   Correspondence regarding crypto transfer analysis

Broskay, Cole           7/18/2023     2.7   Continue to compile presentation materials for bank transfer analysis


Broskay, Cole           7/18/2023     0.7   Working session to discuss crypto balance transfer status with C.
                                            Broskay, K. Kearney, J. Faett (A&M)
Bruck, Ran              7/18/2023     0.9   Working session to discuss logic structure for rolling customer fund
                                            analysis with D. Kuruvilla, R. Bruck (A&M)
Bruck, Ran              7/18/2023     1.4   Create workflow for bank classification structure and logic

Bruck, Ran              7/18/2023     0.7   Create workflow for overview of rolling customer fund analysis


Bruck, Ran              7/18/2023     1.3   Create workflow for transfer and timing between banks of rolling
                                            customer fund analysis
Bruck, Ran              7/18/2023     1.2   Create workflow on customer withdrawals from bank accounts for
                                            the rolling fund analysis
Bruck, Ran              7/18/2023     1.1   Create workflow on deposits into bank accounts for the rolling fund
                                            analysis
Bruck, Ran              7/18/2023     0.6   Identify chart of account missing accounts between FTX Capital
                                            Markets and WRS Financial Services
Bruck, Ran              7/18/2023     1.8   Integrate customer data with bank transactions on with fuzzy match


Bruck, Ran              7/18/2023     0.4   Working session to discuss bank balance transfer status with C.
                                            Broskay, D. Kuruvilla, M. Jones, R. Bruck (A&M)
Bruck, Ran              7/18/2023     0.3   Working session to discuss database sources for customer and
                                            bank data with P. Kwan, R. Bruck (A&M)
Bruck, Ran              7/18/2023     0.7   Working session to discuss crypto balance transfer status with D.
                                            Kuruvilla, M. Jones, R. Bruck (A&M)
Bruck, Ran              7/18/2023     2.2   Create a running total of bank transaction amounts by date and
                                            account
Faett, Jack             7/18/2023     0.3   Call to discuss results of VIP customer withdrawals Relativity
                                            searches with J. Faett and T. Braatelien (A&M)
Faett, Jack             7/18/2023     1.6   Analyze exchange activity for deposits into insider accounts
                                            indicating an insider payment
Faett, Jack             7/18/2023     0.3   Call to discuss Relativity withdrawal search status, LedgerPrime,
                                            and additional priorities with K. Kearney, J. Faett, and T. Braatelien
                                            (A&M)
Faett, Jack             7/18/2023     1.3   Review exchange activity for receipt of tokens related to token
                                            purchase agreements to understand reconciling differences in crypto
                                            asset receivable at petition date with Ventures team model

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Professional               Date     Hours     Activity
Faett, Jack             7/18/2023     0.7   Working session to discuss crypto balance transfer status with C.
                                            Broskay, K. Kearney, J. Faett (A&M)
Faett, Jack             7/18/2023     1.1   Working session to review crypto tracing results for additional SAFT
                                            agreements to determine calculated receivable balances between K.
                                            Kearney, J. Faett (A&M)
Gordon, Robert          7/18/2023     0.6   Working session on balance calculation analysis with R. Gordon, C.
                                            Broskay(A&M)
Gordon, Robert          7/18/2023     0.8   Edit balance calculation presentation covering FTX US

Hainline, Drew          7/18/2023     0.4   Draft responses to questions on stablecoin assets and liabilities for
                                            FTX Trading Ltd to support investments analysis
Hainline, Drew          7/18/2023     0.3   Review open items for accounting workstream planning documents

Hainline, Drew          7/18/2023     0.3   Review bank statements for Deck Technologies Inc to confirm
                                            petition date balances
Hainline, Drew          7/18/2023     0.2   Respond to questions on migration template for DOTCOM-silo
                                            entities to support petition date balances
Hainline, Drew          7/18/2023     0.2   Confirm petition date liabilities per payment and vendor trackers for
                                            Deck Technologies Inc to support petition date balances
Hainline, Drew          7/18/2023     1.2   Draft petition date trial balance for Deck Technologies to support
                                            petition date balance migration
Hainline, Drew          7/18/2023     0.2   Draft entity background and preparation notes for Deck
                                            Technologies to support petition date balance
Jones, Mackenzie        7/18/2023     0.7   Working session to discuss crypto balance transfer status with D.
                                            Kuruvilla, M. Jones, R. Bruck (A&M)
Jones, Mackenzie        7/18/2023     0.4   Compare petition date bank balance estimates to potential exposure
                                            analysis estimates
Jones, Mackenzie        7/18/2023     2.3   Compile together Alameda petition date bank balances for bank
                                            balance transfer exercise
Jones, Mackenzie        7/18/2023     1.9   Compile together Dotcom petition date bank balances for bank
                                            balance transfer exercise
Jones, Mackenzie        7/18/2023     0.9   Compile together WRS petition date bank balances for bank balance
                                            transfer exercise
Jones, Mackenzie        7/18/2023     2.2   Finalize potential exposure analysis for bank balance transfer
                                            exercise
Jones, Mackenzie        7/18/2023     0.4   Working session to discuss bank balance transfer status with C.
                                            Broskay, D. Kuruvilla, M. Jones, R. Bruck (A&M)
Kearney, Kevin          7/18/2023     1.1   Working session to review crypto tracing results for additional SAFT
                                            agreements to determine calculated receivable balances between K.
                                            Kearney, J. Faett (A&M)
Kearney, Kevin          7/18/2023     0.7   Working session to discuss crypto balance transfer status with C.
                                            Broskay, K. Kearney, J. Faett (A&M)
Kearney, Kevin          7/18/2023     1.2   Review updated token tracing calculations for targeted SAFT
                                            investment associated with Maclaurin Investments
Kearney, Kevin          7/18/2023     1.2   Review updated petition date calculations of consolidated tokens
                                            receivable for FTX Ventures Ltd

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Professional               Date     Hours     Activity
Kearney, Kevin          7/18/2023     0.6   Review updated petition date calculations of consolidated tokens
                                            receivable for Cottonwood Grove Ltd
Kearney, Kevin          7/18/2023     0.6   Review updated petition date calculations of consolidated tokens
                                            receivable for Maclaurin Investments
Kearney, Kevin          7/18/2023     0.3   Call to discuss Relativity withdrawal search status, LedgerPrime,
                                            and additional priorities with K. Kearney, J. Faett, and T. Braatelien
                                            (A&M)
Kearney, Kevin          7/18/2023     1.0   Review updated petition date calculations of consolidated tokens
                                            receivable for Alameda Research Ltd
Kearney, Kevin          7/18/2023     0.7   Prepare updated cash reconciliation for newly identified cash
                                            account associated with Hunnam Group
Kuruvilla, Daniel       7/18/2023     0.6   Update rolling customer analysis memo for changes in assumptions
                                            made
Kuruvilla, Daniel       7/18/2023     0.9   Working session to discuss logic structure for rolling customer fund
                                            analysis with D. Kuruvilla, R. Bruck (A&M)
Kuruvilla, Daniel       7/18/2023     2.4   Review memo on rolling customer analysis for accuracy


Kuruvilla, Daniel       7/18/2023     0.4   Working session to discuss bank balance transfer status with C.
                                            Broskay, D. Kuruvilla, M. Jones, R. Bruck (A&M)
Kuruvilla, Daniel       7/18/2023     0.7   Working session to discuss crypto balance transfer status with D.
                                            Kuruvilla, M. Jones, R. Bruck (A&M)
Kuruvilla, Daniel       7/18/2023     3.1   Create workflow for rolling customer analysis to compare operational
                                            and customer transactional activity
Kwan, Peter             7/18/2023     0.3   Working session to discuss database sources for customer and
                                            bank data with P. Kwan, R. Bruck (A&M)
Braatelien, Troy        7/19/2023     0.2   Call to discuss Alameda silo priorities status and timeline with K.
                                            Kearney, J. Faett, and T. Braatelien (A&M)
Braatelien, Troy        7/19/2023     1.1   Update LedgerPrime entities' schedule to create summary of
                                            balances by third party exchange
Braatelien, Troy        7/19/2023     2.8   Update FDM analysis file for cash transactions of bank account X
                                            added to cash database
Braatelien, Troy        7/19/2023     0.6   Update Alameda silo loans payable schedule to prepare file for
                                            archive
Braatelien, Troy        7/19/2023     1.1   Update Alameda silo combined balance sheet for final LedgerPrime
                                            entity values
Broskay, Cole           7/19/2023     0.3   Working session to review petition date cash balance analysis with
                                            C. Broskay and M. Jones (A&M)
Broskay, Cole           7/19/2023     0.4   Perform analysis in regards to adjustments to bank balance
                                            presentation
Broskay, Cole           7/19/2023     0.4   Teleconference with C. Broskay, R. Gordon(A&M) to prepare for
                                            balance calculation presentation
Broskay, Cole           7/19/2023     0.5   Working session in regards to adjustments to bank balance
                                            presentation with R. Gordon and C. Broskay (A&M)
Broskay, Cole           7/19/2023     0.6   Working session to discuss solution for rolling customer fund
                                            analysis with C. Broskay, M. Jones, D. Kuruvilla, R. Bruck (A&M)


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Accounting
Professional               Date     Hours     Activity
Broskay, Cole           7/19/2023     2.8   Compile adjustments to bank/crypto transfer exercise presentation
                                            to reflect revised approach
Bruck, Ran              7/19/2023     0.6   Working session to discuss solution for rolling customer fund
                                            analysis with C. Broskay, M. Jones, D. Kuruvilla, R. Bruck (A&M)
Bruck, Ran              7/19/2023     1.2   Modify workflow for running total of accounts of rolling customer
                                            funds
Bruck, Ran              7/19/2023     1.9   Modify workflow for transfer timing between banks of rolling
                                            customer funds
Bruck, Ran              7/19/2023     0.4   Review MOR template for prep of trial balance contents


Bruck, Ran              7/19/2023     0.8   Create logic based off workflow of running total of accounts

Bruck, Ran              7/19/2023     2.4   Modify workflow for bank balance transfer logic of rolling customer
                                            funds
Bruck, Ran              7/19/2023     1.7   Modify workflow for bank transaction classification of rolling
                                            customer funds
Bruck, Ran              7/19/2023     0.2   Working session to review bank balance transfer process flow with
                                            M. Jones, R. Bruck (A&M)
Faett, Jack             7/19/2023     0.2   Call to discuss Alameda silo priorities status and timeline with K.
                                            Kearney, J. Faett, and T. Braatelien (A&M)
Faett, Jack             7/19/2023     2.1   Call to discuss updates to third party exchange balances for
                                            LedgerPrime based on updated information provided by NAV
                                            Consulting between K. Kearney, J. Faett (A&M)
Faett, Jack             7/19/2023     1.8   Review CMC and other online resources for ICO'd dates for tokens
                                            that are scheduled at funding amount
Faett, Jack             7/19/2023     1.4   Review CMC for token pricing for discrepancies in token price as of
                                            petition date between crypto asset receivable workpaper and coin
                                            report
Gordon, Robert          7/19/2023     0.5   Working session in regards to adjustments to bank balance
                                            presentation with R. Gordon and C. Broskay (A&M)
Gordon, Robert          7/19/2023     1.1   Edit balance calculation presentation covering FTX.COM


Gordon, Robert          7/19/2023     0.4   Teleconference with C. Broskay, R. Gordon(A&M) to prepare for
                                            balance calculation presentation
Hainline, Drew          7/19/2023     0.2   Respond to questions on vendor liability totals at petition date to
                                            support preference analysis
Jones, Mackenzie        7/19/2023     0.3   Working session to review petition date cash balance analysis with
                                            C. Broskay and M. Jones (A&M)
Jones, Mackenzie        7/19/2023     0.2   Working session to review bank balance transfer process flow with
                                            M. Jones, R. Bruck (A&M)
Jones, Mackenzie        7/19/2023     0.6   Working session to discuss solution for rolling customer fund
                                            analysis with C. Broskay, M. Jones, D. Kuruvilla, R. Bruck (A&M)
Jones, Mackenzie        7/19/2023     1.7   Compare petition data bank balances to potential exposure analysis




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Accounting
Professional              Date     Hours     Activity
Kearney, Kevin         7/19/2023     2.1   Call to discuss updates to third party exchange balances for
                                           LedgerPrime based on updated information provided by NAV
                                           Consulting between K. Kearney, J. Faett (A&M)
Kearney, Kevin         7/19/2023     0.2   Call to discuss Alameda silo priorities status and timeline with K.
                                           Kearney, J. Faett, and T. Braatelien (A&M)
Kuruvilla, Daniel      7/19/2023     1.3   Aggregate invoices for FTX F1 event to provide to FTX Controller


Kuruvilla, Daniel      7/19/2023     2.6   Review transactions that were tagged as customer and operational
                                           via Alteryx for validity
Kuruvilla, Daniel      7/19/2023     0.6   Working session to discuss solution for rolling customer fund
                                           analysis with C. Broskay, M. Jones, D. Kuruvilla, R. Bruck (A&M)
Sequeira, Joseph       7/19/2023     0.6   Prepare communications for key stakeholders regarding aggregation
                                           of FTX Financials
Braatelien, Troy       7/20/2023     0.6   Begin creation of file to show adjustments to be recorded by third
                                           party accounting firm for LedgerPrime based on AM calculations
Braatelien, Troy       7/20/2023     0.6   Update FDM bank activity reconciliation based on comments from
                                           initial review
Braatelien, Troy       7/20/2023     0.4   Update Alameda silo venture investments schedule to prepare file
                                           for archive
Braatelien, Troy       7/20/2023     0.6   Update Alameda silo market making loans payable schedule to
                                           prepare file for archive
Braatelien, Troy       7/20/2023     0.8   Update Alameda silo loans receivable, external schedule to prepare
                                           file for archive
Braatelien, Troy       7/20/2023     1.6   Update Alameda silo loans receivable, affiliates schedule to prepare
                                           file for archive
Braatelien, Troy       7/20/2023     0.2   Update Alameda silo fixed assets schedule to prepare file for archive

Braatelien, Troy       7/20/2023     0.2   Update Alameda silo cash and cash equivalents schedule to prepare
                                           file for archive
Broskay, Cole          7/20/2023     1.9   Working session to walk through MOR for November 2022 of WRSS
                                           with C. Broskay, M. Jones, R. Bruck (A&M)
Broskay, Cole          7/20/2023     1.1   Working session on income statement mapping for MOR with C.
                                           Broskay, R. Bruck (A&M)
Broskay, Cole          7/20/2023     0.4   Call to review petition date vendor liabilities with C. Broskay, D.
                                           Hainline, R. Bruck (A&M)
Broskay, Cole          7/20/2023     1.3   Working session on liabilities mapping for MOR with C. Broskay, R.
                                           Bruck (A&M)
Broskay, Cole          7/20/2023     0.6   Working session on asset mapping for MOR with C. Broskay, R.
                                           Bruck (A&M)
Bruck, Ran             7/20/2023     1.9   Working session to walk through MOR for November 2022 of WRSS
                                           with C. Broskay, M. Jones, R. Bruck (A&M)
Bruck, Ran             7/20/2023     0.6   Working session on asset mapping for MOR with C. Broskay, R.
                                           Bruck (A&M)
Bruck, Ran             7/20/2023     1.8   Review AP Subledger within the Trial Balances for WRS Silo entities




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Accounting
Professional               Date     Hours     Activity
Bruck, Ran              7/20/2023     0.3   Map November trial balance for Ledger Holdings Inc into MOR

Bruck, Ran              7/20/2023     0.4   Call to review petition date vendor liabilities with C. Broskay, D.
                                            Hainline, R. Bruck (A&M)
Bruck, Ran              7/20/2023     1.3   Working session on liabilities mapping for MOR with C. Broskay, R.
                                            Bruck (A&M)
Bruck, Ran              7/20/2023     1.1   Working session on income statement mapping for MOR with C.
                                            Broskay, R. Bruck (A&M)
Burns, Zach             7/20/2023     0.6   Update consolidated entity tracker with new FTX Trading information


Chambers, Henry         7/20/2023     0.8   Respond to accounting queries for FTX Japan intercompany issues

Chambers, Henry         7/20/2023     0.4   Review FTT Loan agreement between Alameda and FTX Japan


Chambers, Henry         7/20/2023     1.5   Consider accounting treatment of FTT Loan for intercompany
                                            purposes
Faett, Jack             7/20/2023     2.8   Working session to compile updated petition date balance sheets for
                                            Alameda silo entities between K. Kearney, J. Faett (A&M)
Faett, Jack             7/20/2023     0.4   Call with D. Jena, B. Mistler, T. Shea (EY), K. Kearney, R. Gordon,
                                            J. Faett, J. Zatz, K. Jacobs (A&M) to discuss trial balance processes
Faett, Jack             7/20/2023     3.1   Analyze exchange activity to determine insider exchange
                                            withdrawals that are related to exchange deposits to determine
                                            proper insider payment amount
Faett, Jack             7/20/2023     0.5   Working session to update LedgerPrime crypto asset balances for
                                            pricing changes for LedgerPrime exchange assets between K.
                                            Kearney, J. Faett (A&M)
Gordon, Robert          7/20/2023     0.3   Review updated LedgerPrime financials for submission to FTX
                                            leadership
Hainline, Drew          7/20/2023     0.3   Draft summary of findings for analysis of cash clearing account for
                                            Quoine Pte Ltd to support petition date balances
Hainline, Drew          7/20/2023     0.2   Call to align on input template for FTX Trading Ltd entity petition
                                            date trial balances D. Hainline, M. Mirando(A&M)
Hainline, Drew          7/20/2023     0.7   Provide summary of supporting information for FTX Property
                                            Holdings balances as requested by plan team
Hainline, Drew          7/20/2023     0.4   Call to review petition date vendor liabilities with C. Broskay, D.
                                            Hainline, R. Bruck (A&M)
Hainline, Drew          7/20/2023     0.6   Analyze cash clearing account impact for Quoine Pte ltd to support
                                            petition date balances
Hainline, Drew          7/20/2023     0.2   Review questions on cash clearing account for Quoine Pte Ltd to
                                            support petition date balances
Hainline, Drew          7/20/2023     0.4   Review availability upon request for 12/31 debtor financials


Jacobs, Kevin           7/20/2023     0.3   Call with K. Kearney, R. Gordon, K. Jacobs (A&M) follow up re call
                                            with EY re trial balance processes
Jones, Mackenzie        7/20/2023     1.9   Working session to walk through MOR for November 2022 of WRSS
                                            with C. Broskay, M. Jones, R. Bruck (A&M)

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Accounting
Professional              Date     Hours     Activity
Kearney, Kevin         7/20/2023     0.4   Call with D. Jena, B. Mistler, T. Shea (EY), K. Kearney, R. Gordon,
                                           J. Faett, J. Zatz, K. Jacobs (A&M) to discuss trial balance processes
Kearney, Kevin         7/20/2023     2.8   Working session to compile updated petition date balance sheets for
                                           Alameda silo entities between K. Kearney, J. Faett (A&M)
Kearney, Kevin         7/20/2023     0.5   Working session to update LedgerPrime crypto asset balances for
                                           pricing changes for LedgerPrime exchange assets between K.
                                           Kearney, J. Faett (A&M)
Kearney, Kevin         7/20/2023     0.3   Call with K. Kearney, R. Gordon, K. Jacobs (A&M) follow up re call
                                           with EY re trial balance processes
Kuruvilla, Daniel      7/20/2023     1.4   Analyze Schedule F for changes in payable to third party vendors -
                                           Quoine Pte
Kuruvilla, Daniel      7/20/2023     2.1   Analyze Schedule F for changes in payable to third party vendors -
                                           Japan
Kuruvilla, Daniel      7/20/2023     1.9   Review November Bank of Cyprus statements to split out pre and
                                           post petition activity
Kuruvilla, Daniel      7/20/2023     1.4   Review November Klarpay statements to split out pre and post
                                           petition activity
Mirando, Michael       7/20/2023     0.2   Call to align on input template for FTX Trading Ltd entity petition
                                           date trial balances D. Hainline, M. Mirando(A&M)
Zatz, Jonathan         7/20/2023     0.8   Correspondence regarding request to determine appropriate source
                                           to determine state/jurisdiction
Zatz, Jonathan         7/20/2023     0.4   Call with D. Jena, B. Mistler, T. Shea (EY), K. Kearney, R. Gordon,
                                           J. Faett, J. Zatz, K. Jacobs (A&M) to discuss trial balance processes
Braatelien, Troy       7/21/2023     1.3   Reconcile Ventures silo intercompany activity against consolidated
                                           FTX group intercompany schedule
Braatelien, Troy       7/21/2023     0.8   Draft LedgerPrime proposed adjusting entries schedule for short
                                           positions (liabilities)
Braatelien, Troy       7/21/2023     2.1   Draft LedgerPrime proposed adjusting entries schedule for long
                                           positions (assets)
Braatelien, Troy       7/21/2023     0.9   Working session regarding Ventures silo intercompany transactions
                                           with J. Faett and T. Braatelien (A&M)
Broskay, Cole          7/21/2023     1.2   Compile revised approach documentation for bank/exchange
                                           transfer analysis
Broskay, Cole          7/21/2023     0.7   Discuss plan for next steps on balance calculation analysis with R.
                                           Gordon, C. Broskay (A&M)
Bruck, Ran             7/21/2023     1.7   Insert and clean-up MOR template with new TB from WRS silo
                                           entities
Bruck, Ran             7/21/2023     0.9   Map November trial balances for Good Luck Games into MOR


Bruck, Ran             7/21/2023     2.2   Research on relativity Hostinger related items for final review of
                                           request from S&C
Bruck, Ran             7/21/2023     1.3   Review and add new items into MOR template

Chambers, Henry        7/21/2023     0.3   Call with R. Gordon and H. Chambers (A&M) regarding FTT loan
                                           accounting treatment


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Accounting
Professional               Date     Hours     Activity
Chambers, Henry         7/21/2023     1.3   Consider updated transfer pricing analysis impact on Quoine PTE
                                            financial statements
Clayton, Lance          7/21/2023     1.3   Prepare comments and schedule for acct team discussion on
                                            alameda investment funding
Faett, Jack             7/21/2023     2.5   Working session to review Ventures silo petition date balance
                                            sheets between K. Kearney, J. Faett (A&M)
Faett, Jack             7/21/2023     0.9   Working session regarding Ventures silo intercompany transactions
                                            with J. Faett and T. Braatelien (A&M)
Faett, Jack             7/21/2023     0.7   Update Combined Balance Sheet for Alameda for change in equity
                                            investments and accounts payable and accrued expenses balances
Faett, Jack             7/21/2023     0.6   Update Accounts Payable and Accrued Expenses workpaper for
                                            missing amounts from separate reporting entities
Faett, Jack             7/21/2023     1.7   Reconcile Accounts Payable and Accrued Expenses workpaper to
                                            balance sheets for separate reporting entities
Faett, Jack             7/21/2023     0.8   Update cash workpaper for additional equity investments found in
                                            Deltec broker account for Alameda Research Ltd
Gordon, Robert          7/21/2023     0.7   Discuss plan for next steps on balance calculation analysis with R.
                                            Gordon, C. Broskay (A&M)
Gordon, Robert          7/21/2023     0.3   Begin updating accounting scoping document for J. Ray(FTX)

Gordon, Robert          7/21/2023     0.3   Call with R. Gordon and H. Chambers (A&M) regarding FTT loan
                                            accounting treatment
Hainline, Drew          7/21/2023     0.2   Review available information for requested contracts regarding
                                            Exchange FZE to support petition date balances
Kearney, Kevin          7/21/2023     1.8   Review of new crypto tracing performed for Ventures silo SAFT
                                            agreements for proper petition date balance sheet calculations
Kearney, Kevin          7/21/2023     1.6   Review of consolidated Ventures silo crypto asset receivable
                                            schedule for recent updates
Kearney, Kevin          7/21/2023     0.9   Review of Ventures silo venture investments schedule for updates to
                                            petition date balance sheets
Kearney, Kevin          7/21/2023     2.5   Working session to review Ventures silo petition date balance
                                            sheets between K. Kearney, J. Faett (A&M)
Kuruvilla, Daniel       7/21/2023     1.6   Compare prepaid listing by vendor to analysis performed by cash
                                            team
Kuruvilla, Daniel       7/21/2023     1.8   Analyze Schedule F for changes in payable to third party vendors

Mirando, Michael        7/21/2023     1.8   Map Income statement accounts for FTX Trading Entities


Sullivan, Christopher   7/21/2023     1.6   Create template for update petition date variance analysis

Sullivan, Christopher   7/21/2023     0.8   Review the update petition date reconciliation


Gordon, Robert          7/23/2023     0.4   Correspondence on status of Japan KK audit




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Accounting
Professional                Date    Hours     Activity
Braatelien, Troy        7/24/2023     2.8   Draft quarterly loan balance schedule for cash flow review exercise

Braatelien, Troy        7/24/2023     0.7   Draft remaining open items list for LedgerPrime funds financials


Braatelien, Troy        7/24/2023     1.7   Reconcile LedgerPrime portfolio report balances against API data

Braatelien, Troy        7/24/2023     0.4   Review Relativity files regarding reference to investments by entity
                                            Alameda Ventures LLC
Broskay, Cole           7/24/2023     0.7   Communication regarding exchange component of revised
                                            bank/exchange transfer analysis approach
Broskay, Cole           7/24/2023     0.7   Correspondence regarding plan document exhibits

Broskay, Cole           7/24/2023     0.4   Correspondence regarding bank/exchange transfer analysis revised
                                            approach
Broskay, Cole           7/24/2023     0.4   Correspondence regarding prepaid asset treatment

Broskay, Cole           7/24/2023     1.6   Review plan exhibits for impact on bank/exchange transfer analysis


Bruck, Ran              7/24/2023     0.3   Call to discuss weekly items and agenda with M. Jones, R. Bruck
                                            (A&M)
Bruck, Ran              7/24/2023     0.2   Run weekly team tracker for R. Gordon (A&M)

Faett, Jack             7/24/2023     2.1   Working session to update Alameda Research Ltd petition date
                                            balance sheet between K. Kearney, J. Faett (A&M)
Faett, Jack             7/24/2023     1.1   Call to review tokens receivable calculation for LedgerPrime
                                            between K. Kearney, J. Faett (A&M)
Faett, Jack             7/24/2023     0.5   Call to review updated third party exchange reconciliation for
                                            LedgerPrime between K. Kearney, J. Faett (A&M)
Faett, Jack             7/24/2023     3.1   Review equity raises for FTX Trading Ltd and identify instances were
                                            funded amounts were used to fund venture investments related to
                                            cash flow analysis
Faett, Jack             7/24/2023     3.1   Review equity raises for WRS and identify instances were funded
                                            amounts were used to fund venture investments related to cash flow
                                            analysis
Faett, Jack             7/24/2023     0.4   Review relativity for additional documents supporting equity raising
                                            amounts
Gordon, Robert          7/24/2023     0.8   Review results of Alameda tax analysis impact on petition financials

Gordon, Robert          7/24/2023     0.3   Analyze results of entity search in alameda silo

Gordon, Robert          7/24/2023     0.4   Teleconference with K. Kearney, R. Gordon(A&M) over changes to
                                            the balance calculation analysis
Hainline, Drew          7/24/2023     0.3   Review level of effort to identify and map post-petition November
                                            activity for Zubr
Jones, Mackenzie        7/24/2023     0.4   Research balance sheet treatment for surety disbursement



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Accounting
Professional               Date    Hours     Activity
Jones, Mackenzie       7/24/2023     0.3   Call to discuss weekly items and agenda with M. Jones, R. Bruck
                                           (A&M)
Kearney, Kevin         7/24/2023     0.5   Call to review updated third party exchange reconciliation for
                                           LedgerPrime between K. Kearney, J. Faett (A&M)
Kearney, Kevin         7/24/2023     2.1   Working session to update Alameda Research Ltd petition date
                                           balance sheet between K. Kearney, J. Faett (A&M)
Kearney, Kevin         7/24/2023     1.1   Call to review tokens receivable calculation for LedgerPrime
                                           between K. Kearney, J. Faett (A&M)
Kearney, Kevin         7/24/2023     0.4   Teleconference with K. Kearney, R. Gordon(A&M) over changes to
                                           the balance calculation analysis
Mirando, Michael       7/24/2023     0.3   Map income statement accounts for FTX Japan Services KK

Ardizzoni, Heather     7/25/2023     0.4   Weekly team meeting to discuss action items with H. Ardizzoni, T.
                                           Braatelien, and R. Bruck (A&M)
Ardizzoni, Heather     7/25/2023     0.5   Meeting to discuss updates and progress on financial statement
                                           matters H. Ardizzoni, D. Hainline, C. Broskay, K. Kearney, R.
                                           Gordon (A&M), J. Sommerville, M. Jacques, J. LaBella, A. Searles,
                                           D. Schwartz, B. Mackay (AP)
Ardizzoni, Heather     7/25/2023     2.7   Locate executed intercompany agreements (>50 agreements) in
                                           Relativity
Ardizzoni, Heather     7/25/2023     1.9   Compile listing of Relativity document ID references for all executed
                                           intercompany agreements
Braatelien, Troy       7/25/2023     0.4   Weekly team meeting to discuss action items with H. Ardizzoni, T.
                                           Braatelien, and R. Bruck (A&M)
Braatelien, Troy       7/25/2023     0.7   Call to discuss venture investments and loans payable funding
                                           review for cash flow exercise with K. Kearney, J. Faett, and T.
                                           Braatelien (A&M
Braatelien, Troy       7/25/2023     0.3   Draft email to LedgerPrime management team regarding vendor A/P
                                           detail request
Braatelien, Troy       7/25/2023     1.3   Draft reconciliation for differences between NACR calculated
                                           portfolio report and trial balance amounts
Braatelien, Troy       7/25/2023     1.1   Reconcile LedgerPrime funds accounts payable and accrued
                                           expenses historical balances against Schedule F details
Braatelien, Troy       7/25/2023     0.8   Call to discuss initial results of cash flow review exercise and
                                           potential next steps with C. Broskay, K. Kearney, J. Faett, and T.
                                           Braatelien (A&M)
Braatelien, Troy       7/25/2023     0.4   Update quarterly loans summary for USD denominated summary of
                                           gross borrowings/repayments
Braatelien, Troy       7/25/2023     0.4   Update Alameda silo schedules for assignment of loan with
                                           counterparty X
Braatelien, Troy       7/25/2023     1.1   Update loans schedule for breakout of loans by token currency for
                                           significant counterparty X
Braatelien, Troy       7/25/2023     0.6   Update quarterly loans schedule to summarize positions for relevant
                                           dates
Broskay, Cole          7/25/2023     0.8   Call to discuss initial results of cash flow review exercise and
                                           potential next steps with C. Broskay, K. Kearney, J. Faett, and T.
                                           Braatelien (A&M)

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Accounting
Professional               Date     Hours     Activity
Broskay, Cole           7/25/2023     0.4   Weekly team meeting to discuss action items with C. Broskay, J.
                                            Sequeira, K. Kearney, K. Zabcik (A&M)
Broskay, Cole           7/25/2023     0.4   Teleconference with R. Gordon, C. Broskay(A&M) over venture
                                            assets in balance calculation
Broskay, Cole           7/25/2023     0.5   Meeting to discuss updates and progress on financial statement
                                            matters H. Ardizzoni, D. Hainline, C. Broskay, K. Kearney, R.
                                            Gordon (A&M), J. Sommerville, M. Jacques, J. LaBella, A. Searles,
                                            D. Schwartz, B. Mackay (AP)
Bruck, Ran              7/25/2023     0.4   Weekly team meeting to discuss action items with H. Ardizzoni, T.
                                            Braatelien, and R. Bruck (A&M)
Burns, Zach             7/25/2023     0.4   Weekly team meeting to discuss action items with R. Gordon, J.
                                            Faett, and Z. Burns (A&M)
Chambers, Henry         7/25/2023     0.3   Respond to queries regarding FTT loan to FTX Japan


Faett, Jack             7/25/2023     0.4   Update Alameda Combined Balance Sheet for changes in
                                            intercompany balances for the Alameda silo
Faett, Jack             7/25/2023     0.7   Call to discuss venture investments and loans payable funding
                                            review for cash flow exercise with K. Kearney, J. Faett, and T.
                                            Braatelien (A&M)
Faett, Jack             7/25/2023     0.8   Call to discuss initial results of cash flow review exercise and
                                            potential next steps with C. Broskay, K. Kearney, J. Faett, and T.
                                            Braatelien (A&M)
Faett, Jack             7/25/2023     0.4   Weekly team meeting to discuss action items with R. Gordon, J.
                                            Faett, and Z. Burns (A&M)
Faett, Jack             7/25/2023     1.6   Update slide deck with details related to FDM deposits into Fidelity
                                            Bahamas Bank and missing bank statements
Faett, Jack             7/25/2023     1.2   Call to discuss cash flow methodology for Alameda between K.
                                            Kearney, J. Faett (A&M)
Gordon, Robert          7/25/2023     0.4   Weekly team meeting to discuss action items with R. Gordon, J.
                                            Faett, and Z. Burns (A&M)
Gordon, Robert          7/25/2023     0.4   Teleconference with R. Gordon, C. Broskay(A&M) over venture
                                            assets in balance calculation
Gordon, Robert          7/25/2023     0.5   Meeting to discuss updates and progress on financial statement
                                            matters H. Ardizzoni, D. Hainline, C. Broskay, K. Kearney, R.
                                            Gordon (A&M), J. Sommerville, M. Jacques, J. LaBella, A. Searles,
                                            D. Schwartz, B. Mackay (AP)
Hainline, Drew          7/25/2023     0.2   Respond to request for Deck Tech point of contacts to support open
                                            items for petition date balances
Hainline, Drew          7/25/2023     0.4   Respond to requests for supporting documentation on PP&E
                                            balances of WRS-silo entities to support petition date balances
Hainline, Drew          7/25/2023     0.4   Review request for workpapers related to review of prepetition fiat
                                            transactions for foreign entities
Hainline, Drew          7/25/2023     0.4   Weekly team meeting to discuss action items with D. Hainline, M.
                                            Mirando, M. Jones, D. Kuruvilla (A&M)




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Professional              Date     Hours     Activity
Hainline, Drew         7/25/2023     0.5   Meeting to discuss updates and progress on financial statement
                                           matters H. Ardizzoni, D. Hainline, C. Broskay, K. Kearney, R.
                                           Gordon (A&M), J. Sommerville, M. Jacques, J. LaBella, A. Searles,
                                           D. Schwartz, B. Mackay (AP)
Jones, Mackenzie       7/25/2023     1.4   Pull October 2022 trial balances from QuickBooks for third party tax
                                           preparers
Jones, Mackenzie       7/25/2023     0.4   Weekly team meeting to discuss action items with D. Hainline, M.
                                           Mirando, M. Jones, D. Kuruvilla (A&M)
Kearney, Kevin         7/25/2023     0.8   Call to discuss initial results of cash flow review exercise and
                                           potential next steps with C. Broskay, K. Kearney, J. Faett, and T.
                                           Braatelien (A&M)
Kearney, Kevin         7/25/2023     0.5   Meeting to discuss updates and progress on financial statement
                                           matters H. Ardizzoni, D. Hainline, C. Broskay, K. Kearney, R.
                                           Gordon (A&M), J. Sommerville, M. Jacques, J. LaBella, A. Searles,
                                           D. Schwartz, B. Mackay (AP)
Kearney, Kevin         7/25/2023     1.6   Review of loan balances for Alameda silo for cash flow review
                                           associated with plan recovery analysis
Kearney, Kevin         7/25/2023     0.7   Call to discuss venture investments and loans payable funding
                                           review for cash flow exercise with K. Kearney, J. Faett, and T.
                                           Braatelien (A&M)
Kearney, Kevin         7/25/2023     0.4   Review of venture investments for Alameda silo for cash flow review
                                           associated with plan recovery analysis
Kearney, Kevin         7/25/2023     0.3   Review of venture investments for Ventures silo for cash flow review
                                           associated with plan recovery analysis
Kearney, Kevin         7/25/2023     0.4   Weekly team meeting to discuss action items with C. Broskay, J.
                                           Sequeira, K. Kearney, K. Zabcik (A&M)
Kearney, Kevin         7/25/2023     1.2   Call to discuss cash flow methodology for Alameda between K.
                                           Kearney, J. Faett (A&M)
Kuruvilla, Daniel      7/25/2023     0.4   Weekly team meeting to discuss action items with D. Hainline, M.
                                           Mirando, M. Jones, D. Kuruvilla (A&M)
Mirando, Michael       7/25/2023     0.4   Weekly team meeting to discuss action items with D. Hainline, M.
                                           Mirando, M. Jones, D. Kuruvilla (A&M)
Sequeira, Joseph       7/25/2023     0.9   Respond to external vendor requests related to Alameda financial
                                           statements
Sequeira, Joseph       7/25/2023     0.4   Weekly team meeting to discuss action items with C. Broskay, J.
                                           Sequeira, K. Kearney, K. Zabcik (A&M)
Sequeira, Joseph       7/25/2023     0.4   Review QuickBooks' October financial statements to respond to
                                           external vendor request
Zabcik, Kathryn        7/25/2023     0.4   Weekly team meeting to discuss action items with C. Broskay, J.
                                           Sequeira, K. Kearney, K. Zabcik (A&M)
Braatelien, Troy       7/26/2023     1.1   Draft workbook to show flow of funds for example LedgerPrime
                                           limited partner redemption
Braatelien, Troy       7/26/2023     1.1   Review GL detail and bank records regarding use of funds raised
                                           through FTL share sales
Braatelien, Troy       7/26/2023     0.2   Draft responses to LedgerPrime third-party accounting firm email
                                           regarding payables balances



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                            Time Detail by Activity by Professional
                              July 1, 2023 through July 31, 2023


Accounting
Professional                Date    Hours     Activity
Braatelien, Troy        7/26/2023     2.3   Draft reconciliation between Ventures team investment balances
                                            and accounting team petition date venture investments balances
Braatelien, Troy        7/26/2023     1.6   Draft reconciliation between Ventures team investment balances
                                            and accounting team petition date tokens receivable balances
Braatelien, Troy        7/26/2023     1.2   Call to discuss next steps regarding cash flow analysis with R.
                                            Gordon, C. Broskay, K. Kearney, J. Faett, and T. Braatelien (A&M)
Braatelien, Troy        7/26/2023     0.3   Update FTX Group interco file for final LedgerPrime intercompany
                                            balances
Broskay, Cole           7/26/2023     0.6   Correspondence regarding share raises in support of revised
                                            transfer analysis approach
Broskay, Cole           7/26/2023     1.2   Call to discuss next steps regarding cash flow analysis with R.
                                            Gordon, C. Broskay, K. Kearney, J. Faett, and T. Braatelien (A&M)
Burns, Zach             7/26/2023     0.4   Update consolidated entities tracker with new FTX Trading
                                            information
Burns, Zach             7/26/2023     2.8   Run variance analysis on Alameda KK financials sent over by
                                            Alameda team compared to financials pulled from QBO
Chambers, Henry         7/26/2023     0.6   Correspondence regarding FTX Japan FTT analysis


Clayton, Lance          7/26/2023     3.1   Balance sheet reconciliation based on internal team venture figures

Clayton, Lance          7/26/2023     2.3   Bifurcate debtor vs non-debtor investments for tie out schedule

Faett, Jack             7/26/2023     1.4   Review etherscan, solscan and other crypto scanner for payments of
                                            crypto received by insider accounts from outside wallets to identify
                                            sending address
Faett, Jack             7/26/2023     1.2   Call to discuss next steps regarding cash flow analysis with R.
                                            Gordon, C. Broskay, K. Kearney, J. Faett, and T. Braatelien (A&M)
Faett, Jack             7/26/2023     2.1   Analyze Cottonwood token grants for OXY, MAPS and FTT to
                                            insiders to add to the insider payments schedule
Faett, Jack             7/26/2023     1.3   Review cash database and exchange activity for funding of bonfida
                                            token agreement
Faett, Jack             7/26/2023     2.2   Update crypto receivable balances for results of tracing performed
                                            by the Crypto team
Gordon, Robert          7/26/2023     1.2   Call to discuss next steps regarding cash flow analysis with R.
                                            Gordon, C. Broskay, K. Kearney, J. Faett, and T. Braatelien (A&M)
Gordon, Robert          7/26/2023     1.4   Develop plan for bridging activity for petition financials

Gordon, Robert          7/26/2023     0.4   Review results of alameda asset tracing and potential accounting
                                            impacts
Gordon, Robert          7/26/2023     0.4   Teleconference K. Kearney, R. Gordon(A&M) over changes to the
                                            alameda balance sheet
Hainline, Drew          7/26/2023     0.5   Validate reasonableness of variances for petition date balances
                                            against entity support documentation
Jones, Mackenzie        7/26/2023     0.2   Review commercial surety agreement to determine proper
                                            accounting treatment


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Accounting
Professional               Date     Hours     Activity
Kearney, Kevin          7/26/2023     0.4   Teleconference K. Kearney, R. Gordon(A&M) over changes to the
                                            alameda balance sheet
Kearney, Kevin          7/26/2023     1.2   Call to discuss next steps regarding cash flow analysis with R.
                                            Gordon, C. Broskay, K. Kearney, J. Faett, and T. Braatelien (A&M)
Kuruvilla, Daniel       7/26/2023     2.1   Analyze bank statements for petition date balances and month end
                                            balances - FTX Switzerland GmbH
Mirando, Michael        7/26/2023     2.9   Review prepaid expenses for FTX Exchange FZE to support petition
                                            date balances
Braatelien, Troy        7/27/2023     0.3   Draft open reconciling crypto asset listing items for LedgerPrime
                                            third party accounting firm email
Braatelien, Troy        7/27/2023     1.2   Working session regarding tokens receivable and venture
                                            investments reconciliation with K. Kearney, J. Faett, and T.
                                            Braatelien
Braatelien, Troy        7/27/2023     0.5   Draft supporting schedule for email regarding LedgerPrime accounts
                                            payable counterparties and amounts
Braatelien, Troy        7/27/2023     0.4   Draft email regarding venture investment reconciliation differences
                                            to Ventures team
Braatelien, Troy        7/27/2023     2.4   Draft crypto asset listing by token for LedgerPrime Master Fund -
                                            OTC counterparties with remaining USD value >$1M
Braatelien, Troy        7/27/2023     1.4   Draft crypto asset listing by token for LedgerPrime Master Fund -
                                            Defi account balances
Braatelien, Troy        7/27/2023     3.1   Draft crypto asset listing by token for LedgerPrime Master Fund -
                                            portfolio report balances
Braatelien, Troy        7/27/2023     0.6   Update reconciliation of LedgerPrime historical payable balances by
                                            vendor
Broskay, Cole           7/27/2023     0.8   Teleconference with C. Broskay, R. Gordon(A&M) over balance
                                            sheet alignment planning
Broskay, Cole           7/27/2023     1.4   Compile data related to share raises for transfer analysis work effort

Chambers, Henry         7/27/2023     0.7   Updates with FTX Japan Management on accounting matters for
                                            FTT option
Faett, Jack             7/27/2023     0.7   Review exchange activity to verify options for WRS shares recorded
                                            on exchange agree to board materials
Faett, Jack             7/27/2023     0.8   Review relativity for board material indicating employees that
                                            received options for WRS shares
Faett, Jack             7/27/2023     0.5   Call to discuss results of crypto tracing for targeted SAFT
                                            investment and receivable calculation impacts between K. Kearney,
                                            J. Faett (A&M)
Faett, Jack             7/27/2023     1.2   Review Cottonwood Grove exchange activity for return of FTT
                                            related to Alameda investment loan
Faett, Jack             7/27/2023     0.7   Review exchange activity to verify options for FTX Trading shares
                                            recorded on exchange agree to board materials
Faett, Jack             7/27/2023     0.6   Review historical records for Ventures silo for potentially missing
                                            petition date balances
Faett, Jack             7/27/2023     1.1   Review historical records for Alameda silo for potentially missing
                                            petition date balances

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Accounting
Professional               Date     Hours     Activity
Faett, Jack             7/27/2023     0.6   Review relativity for board materials indicating employees that
                                            received options for FTX Trading shares
Faett, Jack             7/27/2023     0.8   Update insider payment schedule for FTX trading options to insiders
                                            not recorded on the exchange
Faett, Jack             7/27/2023     0.8   Update insider payment schedule for WRS options to insiders not
                                            recorded on the exchange
Faett, Jack             7/27/2023     1.2   Working session regarding tokens receivable and venture
                                            investments reconciliation with K. Kearney, J. Faett, and T.
                                            Braatelien
Gordon, Robert          7/27/2023     0.2   Call with J. LaBella(Alix) over planning for workshop


Gordon, Robert          7/27/2023     0.4   Review interest calculations for ventures loan portfolio

Gordon, Robert          7/27/2023     0.8   Teleconference with C. Broskay, R. Gordon(A&M) over balance
                                            sheet alignment planning
Gordon, Robert          7/27/2023     0.6   Teleconference with K. Kearney, R. Gordon(A&M) over alameda
                                            alignment planning
Hainline, Drew          7/27/2023     0.2   Meeting to discuss prepaid liabilities update regarding new Trial
                                            balances from FTX with D. Hainline, R. Bruck (A&M)
Kearney, Kevin          7/27/2023     0.5   Call to discuss results of crypto tracing for targeted SAFT
                                            investment and receivable calculation impacts between K. Kearney,
                                            J. Faett (A&M)
Kearney, Kevin          7/27/2023     1.2   Working session regarding tokens receivable and venture
                                            investments reconciliation with K. Kearney, J. Faett, and T.
                                            Braatelien
Kearney, Kevin          7/27/2023     0.6   Teleconference with K. Kearney, R. Gordon(A&M) over alameda
                                            alignment planning
Kearney, Kevin          7/27/2023     0.8   Update crypto assets receivable calculations for Ventures silo based
                                            on updated crypto tracing
Kearney, Kevin          7/27/2023     0.6   Update crypto assets receivable calculations for Alameda silo based
                                            on updated crypto pricing
Kearney, Kevin          7/27/2023     2.1   Update crypto assets receivable calculations for Alameda silo based
                                            on updated crypto tracing
Kearney, Kevin          7/27/2023     1.9   Update petition date balance sheet for Alameda to conform
                                            calculated crypto asset receivables into RLKS chart of accounts
Kearney, Kevin          7/27/2023     0.7   Update crypto assets receivable calculations for Ventures silo based
                                            on updated crypto pricing
Braatelien, Troy        7/28/2023     1.9   Reconcile differences between pricing data for LedgerPrime Master
                                            Fund crypto listing
Braatelien, Troy        7/28/2023     0.6   Update insider fiat payment schedule for 2020 insider token
                                            transfers on exchange
Braatelien, Troy        7/28/2023     0.8   Update insider fiat payment schedule for 2020 insider exchange
                                            withdrawals in USD
Braatelien, Troy        7/28/2023     0.4   Review insider payment information supplied by AP and CMS teams




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Professional               Date     Hours     Activity
Braatelien, Troy        7/28/2023     1.2   Draft summary of LedgerPrime crypto assets by
                                            exchange/platform/OTC counterparty
Braatelien, Troy        7/28/2023     0.6   Call to discuss review of insider wallet exchange transactions with J.
                                            Faett, and T. Braatelien
Braatelien, Troy        7/28/2023     1.3   Review of FTX exchange data regarding 2020 transfers to insiders
                                            for insider payment classification
Broskay, Cole           7/28/2023     0.8   Compile adjustments to transfer analysis presentation based on
                                            revised approach
Faett, Jack             7/28/2023     2.2   Working session to review updates to contractual arrangements
                                            analysis for intercompany contracts between K. Kearney, J. Faett
                                            (A&M)
Faett, Jack             7/28/2023     1.4   Review reconciliation between Alix Partners and A&M loan payable
                                            balances to understand differences between 9/30 and petition date
                                            balances
Faett, Jack             7/28/2023     0.4   Update combined Balance Sheet for Alameda for changes in Ledger
                                            Prime balances
Faett, Jack             7/28/2023     1.6   Update Ledger Prime balance sheet for changes in accounts
                                            payable and prepaid balances
Faett, Jack             7/28/2023     2.1   Review results of crypto tracing on deposits to insiders from external
                                            wallets and update for insider payments
Faett, Jack             7/28/2023     0.6   Call to discuss review of insider wallet exchange transactions with J.
                                            Faett, and T. Braatelien
Gordon, Robert          7/28/2023     0.3   Teleconference with R. Gordon, K. Kearney(A&M) over updates to
                                            the coin report
Gordon, Robert          7/28/2023     0.6   Review Alameda LOC analysis for interest rate impacts

Hainline, Drew          7/28/2023     0.4   Review petition date cash reconciliation and S&S bridge


Hainline, Drew          7/28/2023     0.3   Review workplan to prioritize open items for accounting team
                                            responsibilities
Kearney, Kevin          7/28/2023     0.3   Teleconference with R. Gordon, K. Kearney(A&M) over updates to
                                            the coin report
Kearney, Kevin          7/28/2023     2.2   Working session to review updates to contractual arrangements
                                            analysis for intercompany contracts between K. Kearney, J. Faett
                                            (A&M)
Kuruvilla, Daniel       7/28/2023     2.9   Review open prepaid amounts as of petition date by vendor for
                                            accuracy
Nizhner, David          7/29/2023     1.8   Reconcile crypto asset transfers to tokens listing for LedgerPrime


Faett, Jack             7/30/2023     0.8   Update Alameda Research Ltd loans payable for an individuals loan
                                            claim received through claim portal
Gordon, Robert          7/30/2023     0.3   Call with M. Cilia(FTX) over status of Alameda silo balance sheet
                                            support
Ardizzoni, Heather      7/31/2023     0.5   Call to discuss project updates and action items for the week with H.
                                            Ardizzoni, T. Braatelien, K. Zabcik, R. Bruck, and Z. Burns (A&M)



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Accounting
Professional               Date     Hours     Activity
Braatelien, Troy        7/31/2023     2.7   Update LedgerPrime tokens listing for OTC counterparty transaction
                                            ledgers provided 7/31
Braatelien, Troy        7/31/2023     0.4   Draft updated LedgerPrime open items listing for email to
                                            LedgerPrime third party accounting firm
Braatelien, Troy        7/31/2023     0.3   Review report of ftx.com customers with only deposit or withdrawal
                                            activity for legal request
Braatelien, Troy        7/31/2023     0.9   Update LedgerPrime tokens listing for option pricing values provided
                                            7/31
Braatelien, Troy        7/31/2023     0.5   Call to discuss project updates and action items for the week with H.
                                            Ardizzoni, T. Braatelien, K. Zabcik, R. Bruck, and Z. Burns (A&M)
Braatelien, Troy        7/31/2023     0.4   Review LedgerPrime crypto assets listing for responses to NACR
                                            email 7/29
Broskay, Cole           7/31/2023     1.7   Conduct review of plan documents for potential accounting/reporting
                                            impact
Broskay, Cole           7/31/2023     0.5   Call to discuss project updates and action items for the week with J.
                                            Faett, R. Gordon, K. Kearney, J. Sequeria, C. Broskay (A&M)
Bruck, Ran              7/31/2023     1.4   Review prepetition prepaid balances to prep for upcoming meetings


Bruck, Ran              7/31/2023     0.5   Call to discuss project updates and action items for the week with H.
                                            Ardizzoni, T. Braatelien, K. Zabcik, R. Bruck, and Z. Burns (A&M)
Burns, Zach             7/31/2023     0.7   Update consolidated entities tracker with new FTX Trading
                                            information
Burns, Zach             7/31/2023     0.5   Call to discuss project updates and action items for the week with H.
                                            Ardizzoni, T. Braatelien, K. Zabcik, R. Bruck, and Z. Burns (A&M)
Faett, Jack             7/31/2023     0.5   Working session to review post-Korean Friend customer funds
                                            received by Alameda silo between K. Kearney, J. Faett (A&M)
Faett, Jack             7/31/2023     0.5   Call to discuss project updates and action items for the week with J.
                                            Faett, R. Gordon, K. Kearney, J. Sequeria, C. Broskay (A&M)
Faett, Jack             7/31/2023     0.8   Update petition date token prices based on 7/21 token report
                                            received
Faett, Jack             7/31/2023     2.4   Working session to update Alameda Research Ltd petition date
                                            balance for current crypto assets between K. Kearney, J. Faett
                                            (A&M)
Faett, Jack             7/31/2023     2.8   Reconcile CMS updated insider payment schedule received to
                                            insider payment model
Gordon, Robert          7/31/2023     0.5   Call to discuss project updates and action items for the week with J.
                                            Faett, R. Gordon, K. Kearney, J. Sequeria, C. Broskay (A&M)
Gordon, Robert          7/31/2023     2.1   Analyze non-government claims analysis for potential accounting
                                            adjustments
Hainline, Drew          7/31/2023     0.3   Review non-customer claim summary draft prepared for petition date
                                            vendor liabilities
Hainline, Drew          7/31/2023     0.2   Review updates on located asset reports and entity attribution for
                                            petition date balances
Hainline, Drew          7/31/2023     0.4   Draft responses to questions related to sharing petition date work
                                            papers with EY


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Accounting
Professional            Date     Hours      Activity
Hainline, Drew       7/31/2023       0.2   Assist information gathering related to option pricing for open
                                           customer exchange positions
Hainline, Drew       7/31/2023       0.5   Call to discuss project updates and action items for the week with D.
                                           Hainline and M. Mirando (A&M)
Jones, Mackenzie     7/31/2023       0.5   Internal correspondence regarding weekly deadlines and gameplan

Jones, Mackenzie     7/31/2023       0.2   Update end of year financials folder for new data received

Kearney, Kevin       7/31/2023       2.4   Working session to update Alameda Research Ltd petition date
                                           balance for current crypto assets between K. Kearney, J. Faett
                                           (A&M)
Kearney, Kevin       7/31/2023       0.5   Working session to review post-Korean Friend customer funds
                                           received by Alameda silo between K. Kearney, J. Faett (A&M)
Kearney, Kevin       7/31/2023       0.5   Call to discuss project updates and action items for the week with J.
                                           Faett, R. Gordon, K. Kearney, J. Sequeria, C. Broskay (A&M)
Mirando, Michael     7/31/2023       0.5   Call to discuss project updates and action items for the week with D.
                                           Hainline and M. Mirando (A&M)
Mirando, Michael     7/31/2023       1.3   Review prepaid balances for DOTCOM Entities to support petition
                                           date balances
Sequeira, Joseph     7/31/2023       1.5   Review revised year-end financial statements for FTX EU Ltd


Sequeira, Joseph     7/31/2023       0.5   Call to discuss project updates and action items for the week with J.
                                           Faett, R. Gordon, K. Kearney, J. Sequeria, C. Broskay (A&M)
Zabcik, Kathryn      7/31/2023       0.5   Call to discuss project updates and action items for the week with H.
                                           Ardizzoni, T. Braatelien, K. Zabcik, R. Bruck, and Z. Burns (A&M)

Subtotal                         1,102.5

Asset Sales
Professional            Date     Hours      Activity
Hershan, Robert      4/24/2023       0.6   Prepare next steps for overall wind down assessment


Hershan, Robert      4/24/2023       0.9   Discuss subsidiary wind down planning with , H. Trent, R. Hershan
                                           (A&M)
Hershan, Robert      4/24/2023       0.5   Participate in discussion with E. Mosley, S. Coverick, H. Trent and
                                           R. Hershan (A&M) re: entity wind down plan
Hershan, Robert      4/24/2023       1.9   Review Embed Wind Down Analysis and related materials


Hershan, Robert      4/24/2023       0.7   Prepare for situation overview call with S&C and J. Ray (FTX)

Hershan, Robert      4/24/2023       2.4   Review of Embed materials, management information, company
                                           roster, and April 14 case update
Hershan, Robert      4/25/2023       2.6   Review of individual roster roles and potential need for retention

Hershan, Robert      4/25/2023       3.1   Update Embed Wind down analysis re roster retention, refined
                                           headcounts, claw back issues, customer accounts

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Asset Sales
Professional             Date     Hours     Activity
Hershan, Robert       4/25/2023     2.4   Review of detailed Embed employee retention detail, salary,
                                          retention owed, potential claw back, etc. in preparation of
                                          assembling wind down retention team
Hershan, Robert       4/26/2023     0.3   Internal correspondence regarding potential chapter 11 situation

Hershan, Robert       4/26/2023     0.2   Internal correspondence regarding wind down situation


Hershan, Robert       4/26/2023     1.4   Prepare next steps for Embed wind down management approach

Hershan, Robert       4/26/2023     1.8   Review Embed Ch 11 option and timing; FINRA matters


Hershan, Robert       4/26/2023     0.2   Review Embed customer account issues based on management
                                          information
Hershan, Robert       4/26/2023     2.7   Review Embed retention outline, terms and conditions

Hershan, Robert       4/27/2023     2.5   Call with H Trent (A&M), J. Ray (FTX) and J Simes (Embed)
                                          regarding Embed personnel review in prep for retention
Hershan, Robert       4/27/2023     0.2   Call with J. Ray (FTX) to discuss retention options to maximize
                                          recovery
Hershan, Robert       4/27/2023     0.5   Call regarding subsidiary wind down personnel with J. Ray, J. Sime
                                          (FTX), R. Hershan, C. Arnett, S. Coverick, and H. Trent (A&M)
Hershan, Robert       4/27/2023     2.9   Analyze company situation and financials for overall wind down
                                          analysis
Hershan, Robert       4/27/2023     1.4   Review of Embed org. chart in prep for call to discuss same


Hershan, Robert       4/28/2023     0.6   Discussions with J Ray on Embed retention and work on next steps

Hershan, Robert       4/28/2023     1.2   Review retention agreements for employees

Hershan, Robert        7/4/2023     2.2   Review of Embed open matters, next steps, ongoing management
                                          and planning
Hershan, Robert        7/4/2023     0.3   Review of J. Sime (Embed) weekly update and list of open questions

Callerio, Lorenzo      7/5/2023     0.6   Call with R. Hershan and L. Callerio (A&M) re: Embed open items


Callerio, Lorenzo      7/5/2023     1.7   Draft and update Embed weekly status report to be discussed with
                                          R. Hershan (A&M)
Callerio, Lorenzo      7/5/2023     0.6   Meeting with R. Gordon, S. Coverick, K. Ramanathan, G. Walia, K.
                                          Kearney, K. Montague, M. Azmat, L. Callerio (A&M), K. Flinn, C.
                                          Hough, N. Velivela (PWP) and one of the FTX2.0 bidders re: FTX
                                          2.0 diligence Q&A
Callerio, Lorenzo      7/5/2023     0.3   Call with K. Ramanathan, L. Callerio, G. Walia (A&M) to discuss
                                          FTX 2.0 crypto management diligence
Callerio, Lorenzo      7/5/2023     1.2   Review the list of open items received from D. Whitten (Embed) in
                                          order to draft a response to be discussed with S&C



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Asset Sales
Professional            Date     Hours     Activity
Coverick, Steve       7/5/2023     0.3   Call with R. Gordon, S. Coverick, K. Kearney, K.Montague (A&M) to
                                         discuss FTX 2.0 overall diligence questions and responses
Coverick, Steve       7/5/2023     0.6   Meeting with S. Coverick, K. Ramanathan, G. Walia, A. Mohammed,
                                         L. Callerio (A&M), K. Flinn, C. Hough, N. Velivela (PWP) and one of
                                         the FTX2.0 bidders re: FTX 2.0 diligence Q&A
Gordon, Robert        7/5/2023     0.6   Meeting with R. Gordon, K. Kearney, K. Montague (A&M) re: FTX
                                         2.0 bidder discussion
Gordon, Robert        7/5/2023     0.3   Call with R. Gordon, S. Coverick, K. Kearney, K.Montague (A&M) to
                                         discuss FTX 2.0 overall diligence questions and responses
Gordon, Robert        7/5/2023     0.6   Prepare for bullish diligence call by reviewing responses and
                                         supporting schedules
Hershan, Robert       7/5/2023     0.3   Mark-up of wind down analysis deck; A&M edits to J. Sime (Embed)
                                         weekly update
Hershan, Robert       7/5/2023     0.6   Call with R. Hershan and L. Callerio (A&M) re: Embed open items

Kearney, Kevin        7/5/2023     0.3   Call with R. Gordon, S. Coverick, K. Kearney, K.Montague (A&M) to
                                         discuss FTX 2.0 overall diligence questions and responses
Kearney, Kevin        7/5/2023     0.6   Meeting with R. Gordon, K. Kearney, K. Montague (A&M) re: FTX
                                         2.0 bidder discussion
Mohammed, Azmat       7/5/2023     0.6   Meeting with S. Coverick, K. Ramanathan, G. Walia, A. Mohammed,
                                         L. Callerio (A&M), K. Flinn, C. Hough, N. Velivela (PWP) and one of
                                         the FTX2.0 bidders re: FTX 2.0 diligence Q&A
Mohammed, Azmat       7/5/2023     0.3   Call with K. Ramanathan, L. Callerio, G. Walia (A&M) to discuss
                                         FTX 2.0 crypto management diligence
Montague, Katie       7/5/2023     0.6   Meeting with R. Gordon, K. Kearney, K. Montague (A&M) re: FTX
                                         2.0 bidder discussion
Montague, Katie       7/5/2023     0.3   Call with K. Ramanathan, R. Gordon, S. Coverick, L. Callerio, G.
                                         Walia, K. Kearney, K.Montague (A&M) to discuss FTX 2.0 diligence
                                         questions and responses
Montague, Katie       7/5/2023     1.2   Review documents related to diligence request related to trading
                                         spread differences
Ramanathan, Kumanan   7/5/2023     0.3   Call with K. Ramanathan, L. Callerio, G. Walia (A&M) to discuss
                                         FTX 2.0 crypto management diligence
Ramanathan, Kumanan   7/5/2023     0.6   Meeting with S. Coverick, K. Ramanathan, G. Walia, A. Mohammed,
                                         L. Callerio (A&M), K. Flinn, C. Hough, N. Velivela (PWP) and one of
                                         the FTX2.0 bidders re: FTX 2.0 diligence Q&A
Simoneaux, Nicole     7/5/2023     1.4   Prepare updates to remnant entity wind-down analysis and deck

Simoneaux, Nicole     7/5/2023     2.1   Update outstanding invoice tracker and forecast for remnant entities


Walia, Gaurav         7/5/2023     0.6   Meeting with R. Gordon, S. Coverick, K. Ramanathan, G. Walia, K.
                                         Kearney, K. Montague, M. Azmat, L. Callerio (A&M), K. Flinn, C.
                                         Hough, N. Velivela (PWP) and one of the FTX2.0 bidders re: FTX
                                         2.0 diligence Q&A
Walia, Gaurav         7/5/2023     0.3   Call with K. Ramanathan, L. Callerio, G. Walia (A&M) to discuss
                                         FTX 2.0 crypto management diligence



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Asset Sales
Professional              Date     Hours     Activity
Walia, Gaurav           7/5/2023     1.4   Prepare final responses for FTX 2.0 diligence call

Walia, Gaurav           7/5/2023     0.7   Prepare follow-up action items from FTX 2.0 diligence call


Callerio, Lorenzo       7/6/2023     1.1   Review the Embed complaint provided by C. Dunne (S&C) prior to
                                           draft an email for S&C to be discussed with R. Hershan (A&M)
Callerio, Lorenzo       7/6/2023     0.2   Weekly coordination call with J. Sime (Embed), R. Hershan and L.
                                           Callerio (A&M)
Callerio, Lorenzo       7/6/2023     1.9   Review the updated financial projections received from L. Weitkman
                                           (Embed)
Callerio, Lorenzo       7/6/2023     0.3   Call with R. Hershan and L. Callerio (A&M) re: Embed next steps

Callerio, Lorenzo       7/6/2023     0.3   Call with J. Ray (FTX), R. Hershan and L. Callerio (A&M) re: Embed
                                           update
Coverick, Steve         7/6/2023     0.6   Call with UCC members, S. Simms (FTI), K. Hansen, E. Gilad (PH),
                                           M. Ohara (Jefferies), J. Ray (FTX), K. Cofsky (PWP) re: FTX 2.0
                                           process update
Hershan, Robert         7/6/2023     0.5   Review and edit email to C. Dunne (S&C) re 2022 Embed original
                                           retention plan, Ch. 11, etc
Hershan, Robert         7/6/2023     0.2   Weekly coordination call with J. Sime (Embed), R. Hershan and L.
                                           Callerio (A&M)
Hershan, Robert         7/6/2023     0.3   Call with J. Ray (FTX), R. Hershan and L. Callerio (A&M) re: Embed
                                           update
Hershan, Robert         7/6/2023     0.3   Call with R. Hershan and L. Callerio (A&M) re: Embed next steps


Mohammed, Azmat         7/6/2023     0.6   Review data and technical queries for FTX 2.0 diligence bidder

Montague, Katie         7/6/2023     1.2   Call with P. Lee to discuss discount levels and application to
                                           customer volumes
Montague, Katie         7/6/2023     0.4   Prepare mapping of customer IDs for anonymization related to
                                           diligence requests
Montague, Katie         7/6/2023     0.8   Prepare summary of discount levels and application to customer
                                           volumes
Nizhner, David          7/6/2023     0.5   Correspond with A&M and Embed management regarding updated
                                           financials
Nizhner, David          7/6/2023     0.6   Review updated Embed financial projections

Sullivan, Christopher   7/6/2023     0.6   Prepare for and attend FTX 2.0 weekly catch-up call with E. Mosely,
                                           S. Coverick, C. Sullivan, K. Ramanathan & K. Montague (A&M),
                                           PWP team, J. Ray (FTX), and UCC advisors
Callerio, Lorenzo       7/7/2023     0.5   Call with L. Weitkman (Embed), D. Nizhner and L. Callerio (A&M) re:
                                           wind down walkthrough
Callerio, Lorenzo       7/7/2023     0.7   Further review of the updated financial projections received from L.
                                           Weitkman (Embed)
Hershan, Robert         7/7/2023     1.6   Review Embed Management and Wind down plan for weekly
                                           updates and next steps

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Asset Sales
Professional               Date     Hours     Activity
Hershan, Robert          7/7/2023     0.2   Review J. Sime (Embed) question regarding FINRA request

Montague, Katie          7/7/2023     2.0   Analyze taker trading volumes and related customer revenues in
                                            response to FTX 2.0 diligence request
Montague, Katie          7/7/2023     1.6   Analyze maker trading volumes and related customer revenues in
                                            response to FTX 2.0 diligence request
Nizhner, David           7/7/2023     0.4   Review updated Embed actuals for May

Nizhner, David           7/7/2023     0.5   Call with L. Weitkam (Embed), D. Nizhner, L. Callerio (A&M) re: wind
                                            down walkthrough
Sullivan, Christopher    7/7/2023     0.6   Provide responses to updated diligence questions for 2.0 Process

Callerio, Lorenzo       7/10/2023     1.4   Start reviewing the updated Embed wind down deck prepared by D.
                                            Nizhner (A&M) based on the preliminary revised financial received
                                            from L. Weitkam (Embed)
Callerio, Lorenzo       7/10/2023     1.2   Review the information received from J. Sime (Embed) and draft an
                                            email to C. Dunne (S&C) re: Embed data retention requirements
Callerio, Lorenzo       7/10/2023     1.1   Continue reviewing the revised financial projections received from L.
                                            Weitkam (Embed) prior to start updating the wind down deck
Callerio, Lorenzo       7/10/2023     0.2   Call with D. Whitten, J. Sime (Embed), K. Schultea, R. Perubhatla
                                            (RLKS), L. Callerio, D. Nizhner (A&M) re: Embed data retention
Hershan, Robert         7/10/2023     0.2   Review Embed data retention requirements and issues

Hershan, Robert         7/10/2023     0.2   Review J. Sime (Embed) weekly update doc and open questions
                                            updated list
Hershan, Robert         7/10/2023     0.8   Review of Embed original 2022 retention plan and related issues re
                                            Ch. 11 potential in prep for call with S&C 7/11/2023
Montague, Katie         7/10/2023     0.7   Analysis of AWS, CIM, and financial statement data to reconcile
                                            variances for FTX 2.0 diligence requests
Montague, Katie         7/10/2023     1.9   Analysis of top Dotcom jurisdictions based on revenue in response
                                            to FTX 2.0 diligence question
Montague, Katie         7/10/2023     1.3   Review new diligence questions from potential bidders for FTX 2.0

Montague, Katie         7/10/2023     1.1   Analysis of top .US jurisdictions based on revenue in response to
                                            FTX 2.0 diligence question
Nizhner, David          7/10/2023     1.9   Update scenario analysis for Embed wind down model

Nizhner, David          7/10/2023     1.6   Revise presentation regarding Embed Wind down analysis scenario
                                            updates
Nizhner, David          7/10/2023     0.2   Call with D. Whitten, J. Sime (Embed), K. Schultea, R. Perubhatla
                                            (RLKS), L. Callerio, D. Nizhner (A&M) re: Embed data retention
Ramanathan, Kumanan     7/10/2023     0.4   Review FTX 2.0 diligence response files

Simoneaux, Nicole       7/10/2023     0.8   Collect invoices in regards to outstanding vendor payments for
                                            remnant entities


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Asset Sales
Professional               Date     Hours     Activity
Simoneaux, Nicole       7/10/2023     0.7   Prepare summary of contractual vendor liabilities and outstanding
                                            invoices for remnant entity
Callerio, Lorenzo       7/11/2023     0.5   Call with A. Kranzley, R. Marsch, C. Dunne (S&C), L. Callerio, R.
                                            Hershan, D. Nizhner (A&M), K. Schultea (RLKS) re: Embed retention
Callerio, Lorenzo       7/11/2023     0.3   Call with R. Hershan and L. Callerio (A&M) re: Embed process
                                            update
Callerio, Lorenzo       7/11/2023     0.8   Draft the updated weekly Embed report based on info received form
                                            J. Sime (Embed)
Glustein, Steven        7/11/2023     0.2   Call with C. Sullivan, S. Glustein, D. Nizhner (A&M) re: LedgerPrime
                                            wind down
Hershan, Robert         7/11/2023     0.2   Review S&C email advice re disposition of frozen accounts

Hershan, Robert         7/11/2023     1.3   Review J. Sime (Embed) weekly update etc. with A&M edits and
                                            consideration of Q4 reduction in Embed headcount
Hershan, Robert         7/11/2023     0.3   Call with R. Hershan and L. Callerio (A&M) re: Embed process
                                            update
Hershan, Robert         7/11/2023     0.5   Call with A. Kranzley, R. Marsch, C. Dunne (S&C), L. Callerio, R.
                                            Hershan, D. Nizhner (A&M), K. Schultea (RLKS) re: Embed retention
Montague, Katie         7/11/2023     2.4   Analysis of variance between total gross fees and total implied fees
                                            in AWS data set from P. Lee (FTX) related to FTX 2.0 diligence
                                            requests
Montague, Katie         7/11/2023     2.6   Analysis of AWS, CIM, and financial statement data to reconcile
                                            variances for FTX 2.0 diligence requests
Nizhner, David          7/11/2023     2.6   Create LedgerPrime support tabs for recovery detail


Nizhner, David          7/11/2023     1.6   Adjust LedgerPrime balance sheet mapping for wind down analysis

Nizhner, David          7/11/2023     1.8   Adjust LedgerPrime waterfall for updated balance sheet

Nizhner, David          7/11/2023     0.2   Call with C. Sullivan, S. Glustein, D. Nizhner (A&M) re: LedgerPrime
                                            wind down
Nizhner, David          7/11/2023     0.5   Call with A. Kranzley, R. Marsch, C. Dunne (S&C), L. Callerio, R.
                                            Hershan, D. Nizhner (A&M), K. Schultea (RLKS) re: Embed retention
Nizhner, David          7/11/2023     1.8   Update Embed wind down model for updated May actuals


Sullivan, Christopher   7/11/2023     0.2   Call with C. Sullivan, S. Glustein, D. Nizhner (A&M) re: LedgerPrime
                                            wind down
Ardizzoni, Heather      7/12/2023     2.4   Read and review 45 page draft FTX EU avoidance action complaint
                                            document and fact check various statements for accuracy
Ardizzoni, Heather      7/12/2023     0.8   Confirm Kephas Corporation ownership structure from filed
                                            documents with Delaware and Oregon states websites for FTX EU
                                            avoidance action complaint fact checking
Ardizzoni, Heather      7/12/2023     1.1   Provide emails and documentation for S&C fact check request of
                                            FTX EU claim
Ardizzoni, Heather      7/12/2023     1.9   Run and refresh various Relativity searches for accuracy of details
                                            within FTX EU avoidance action complaint

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Asset Sales
Professional                Date    Hours     Activity
Callerio, Lorenzo       7/12/2023     1.7   Prepare a list of questions after reviewing the updated Embed
                                            financial projections received from L. Weitkam (Embed)
Callerio, Lorenzo       7/12/2023     0.3   Call with L. Weitkam (Embed), D. Nizhner, L. Callerio (A&M) re:
                                            Embed projections update
Callerio, Lorenzo       7/12/2023     0.4   Call with L. Callerio, D. Nizhner (A&M) re: Embed financials
                                            projections
Callerio, Lorenzo       7/12/2023     0.2   Call with R. Hershan and L. Callerio (A&M) re: Embed next steps

Coverick, Steve         7/12/2023     0.2   Call with A. Titus (A&M) to discuss asset sale worksreams


Hershan, Robert         7/12/2023     0.2   Call with R. Hershan and L. Callerio (A&M) re: Embed next steps

Hershan, Robert         7/12/2023     1.4   Review all embed open matters, scheduled items with embed team
                                            and evaluate overall wind down status
Montague, Katie         7/12/2023     2.4   Consolidate and analyze top customer data for Dotcom entities

Montague, Katie         7/12/2023     0.9   Analysis of AWS, CIM, and financial statement data to reconcile
                                            variances for FTX 2.0 diligence requests
Montague, Katie         7/12/2023     1.2   Analysis of tier discounts applied to maker and taker trading
                                            volumes in response to FTX 2.0 diligence request
Montague, Katie         7/12/2023     1.3   Update FTX 2.0 diligence tracker for current status of each request

Montague, Katie         7/12/2023     1.3   Correspond with P. Lee (FTX) regarding FTX discounts offered to
                                            customers
Nizhner, David          7/12/2023     1.6   Review Embed wind down model for updated projections

Nizhner, David          7/12/2023     0.8   Create Embed workstream objective summary


Nizhner, David          7/12/2023     0.4   Call with L. Callerio, D. Nizhner (A&M) re: Embed financials
                                            projections
Nizhner, David          7/12/2023     0.3   Call with L. Weitkam (Embed), D. Nizhner, L. Callerio (A&M) re:
                                            Embed projections update
Simoneaux, Nicole       7/12/2023     0.4   Update remnant entity outstanding invoice summary to incorporate
                                            additional past-due amounts
Titus, Adam             7/12/2023     0.2   Call with S. Coverick (A&M) to discuss asset sale workstreams

Callerio, Lorenzo       7/13/2023     0.3   Call with J. Sime (Embed), R. Hershan, D. Nizhner, L. Callerio
                                            (A&M) re: Embed weekly update
Callerio, Lorenzo       7/13/2023     0.2   Call with R. Hershan and L. Callerio (A&M) re: Embed activities
                                            planning
Callerio, Lorenzo       7/13/2023     2.4   Start drafting an updated Embed wind down analysis


Coverick, Steve         7/13/2023     0.8   Call with UCC members, S. Simms (FTI), K. Hansen, E. Gilad (PH),
                                            M. Ohara (Jefferies), J. Ray (FTX), K. Cofsky (PWP), S. Coverick, K.
                                            Ramanathan, K. Montague (A&M) re: FTX 2.0 process update


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Asset Sales
Professional                Date    Hours     Activity
Hershan, Robert         7/13/2023     0.3   Prep for weekly call with J. Sime (Embed) re weekly update, open
                                            questions, incl. FINRA question re stale dated/return address
                                            checks to customers
Hershan, Robert         7/13/2023     0.2   Call with R. Hershan and L. Callerio (A&M) re: Embed activities
                                            planning
Hershan, Robert         7/13/2023     0.3   Call with J. Sime (Embed), R. Hershan, D. Nizhner, L. Callerio
                                            (A&M) re: Embed weekly update
Montague, Katie         7/13/2023     0.8   Call with UCC members, S. Simms (FTI), K. Hansen, E. Gilad (PH),
                                            M. Ohara (Jefferies), J. Ray (FTX), K. Cofsky (PWP), S. Coverick, K.
                                            Ramanathan, K. Montague (A&M) re: FTX 2.0 process update
Montague, Katie         7/13/2023     2.3   Analysis of source documents for AWS data used in CIM for FTX
                                            2.0 diligence request
Montague, Katie         7/13/2023     1.1   Analyze GL data for revenue accounts for trading and non-trading
                                            revenue numbers related to FTX 2.0 diligence request
Montague, Katie         7/13/2023     0.5   Update FTX 2.0 diligence tracker for current status of each request

Montague, Katie         7/13/2023     2.4   Analysis of source documents for other revenue categories used in
                                            CIM related to FTX 2.0 diligence requests
Nizhner, David          7/13/2023     0.3   Call with J. Sime (Embed), R. Hershan, D. Nizhner, L. Callerio
                                            (A&M) re: Embed weekly update
Ramanathan, Kumanan     7/13/2023     0.8   Call with UCC members, S. Simms (FTI), K. Hansen, E. Gilad (PH),
                                            M. Ohara (Jefferies), J. Ray (FTX), K. Cofsky (PWP), S. Coverick, K.
                                            Ramanathan, K. Montague (A&M) re: FTX 2.0 process update
Callerio, Lorenzo       7/14/2023     1.6   Prepare an updated version of the Embed wind down deck


Hershan, Robert         7/14/2023     1.1   Embed management and planning for all open items and wind down
                                            plan next steps
Montague, Katie         7/14/2023     2.1   Respond to questions from A&M FTX Japan team regarding the
                                            trading platform and impacts of 2.0
Montague, Katie         7/14/2023     1.3   Analysis of gross and implied fees in historical trading revenue
                                            provided by P. Lee (FTX)
Montague, Katie         7/14/2023     0.9   Update FTX 2.0 diligence tracker for current status of each request

Ramanathan, Kumanan     7/14/2023     0.7   Review and provide feedback on FTX 2.0 diligence matters


Sullivan, Christopher   7/14/2023     0.2   Review summary of initial proposals for 2.0

Callerio, Lorenzo       7/17/2023     0.2   Call with L. Callerio, R. Hershan (A&M) re Embed open items


Chambers, Henry         7/17/2023     0.5   Meeting with E. Mosely, S. Coverick, K. Ramanathan, C. Sullivan, H.
                                            Chambers, R. Gordon, C. Stockmeyer (A&M), PWP, S&C re:
                                            FTX2.0 diligence and sale process
Coverick, Steve         7/17/2023     0.5   Meeting with E. Mosely, S. Coverick, K. Ramanathan, C. Sullivan, H.
                                            Chambers, R. Gordon, C. Stockmeyer (A&M), PWP, S&C re:
                                            FTX2.0 diligence and sale process




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Asset Sales
Professional               Date     Hours     Activity
Gordon, Robert          7/17/2023     0.5   Meeting with E. Mosely, S. Coverick, K. Ramanathan, C. Sullivan, H.
                                            Chambers, R. Gordon, C. Stockmeyer (A&M), PWP, S&C re:
                                            FTX2.0 diligence and sale process
Hershan, Robert         7/17/2023     0.4   Review overall Embed wind down plan for weekly updates and next
                                            steps
Hershan, Robert         7/17/2023     0.2   Call with L. Callerio, R. Hershan (A&M) re Embed open items


Hershan, Robert         7/17/2023     0.3   Review J. Sime (Embed) weekly status report

Nizhner, David          7/17/2023     0.4   Create Embed situation overview slide for wind down presentation


Ramanathan, Kumanan     7/17/2023     0.6   Participate in meeting with PWP (K.Cofsky, others), S&C
                                            (A.Dietderich, others), and A&M (S.Coverick, K.Ramanathan,
                                            H.Chambers, others) regarding FTX 2.0 bidder diligence, plan
                                            implementation process
Stockmeyer, Cullen      7/17/2023     0.5   Meeting with E. Mosely, S. Coverick, K. Ramanathan, C. Sullivan, H.
                                            Chambers, R. Gordon, C. Stockmeyer (A&M), PWP, S&C re:
                                            FTX2.0 diligence and sale process
Sullivan, Christopher   7/17/2023     0.5   Meeting with E. Mosely, S. Coverick, K. Ramanathan, C. Sullivan, H.
                                            Chambers, R. Gordon, C. Stockmeyer (A&M), PWP, S&C re:
                                            FTX2.0 diligence and sale process
Walia, Gaurav           7/17/2023     0.7   Prepare responses to several FTX 2.0 diligence requests

Walia, Gaurav           7/17/2023     1.2   Review an FTX 2.0 diligence response and provide feedback


Callerio, Lorenzo       7/18/2023     1.9   Prepare a final version of the Embed wind down presentation

Callerio, Lorenzo       7/18/2023     0.3   Call with R. Perubhatla, R. Hershan and L. Callerio (A&M) re:
                                            Embed IT Systems
Callerio, Lorenzo       7/18/2023     0.2   Call with R. Hershan and L. Callerio (A&M) re: Embed next steps

Callerio, Lorenzo       7/18/2023     0.2   Call with L. Callerio (A&M) re J. Ray (FTX) questions and open items


Callerio, Lorenzo       7/18/2023     0.2   Update the Embed weekly report including comments received from
                                            R. Hershan (A&M)
Callerio, Lorenzo       7/18/2023     0.8   Prepare the Embed weekly report to be sent to R. Hershan (A&M)
                                            for review
Hershan, Robert         7/18/2023     1.3   Review updated Wind Down Analysis and edits to same


Hershan, Robert         7/18/2023     0.4   Review A&M edited J. Sime (Embed) weekly report

Hershan, Robert         7/18/2023     0.3   Call with R. Perubhatla, R. Hershan and L. Callerio (A&M) re:
                                            Embed IT Systems
Hershan, Robert         7/18/2023     0.2   Call with R. Hershan and L. Callerio (A&M) re: Embed next steps

Hershan, Robert         7/18/2023     0.2   Call with J. Ray (FTX) re Embed payments to SBF et al


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Asset Sales
Professional             Date     Hours     Activity
Montague, Katie       7/18/2023     2.4   Analysis of baseline maker and taker fees applied to actual trading
                                          volumes in response to FTX 2.0 diligence requests
Montague, Katie       7/18/2023     1.2   Analysis of actual maker and taker fees compared to trading
                                          volumes in response to FTX 2.0 diligence requests
Nizhner, David        7/18/2023     1.8   Revise Embed presentation for S&C adjustments

Nizhner, David        7/18/2023     0.6   Revise Embed wind down model for S&C adjustments

Nizhner, David        7/18/2023     0.9   Update Embed retention situation overview for S&C comments


Simoneaux, Nicole     7/18/2023     1.9   Provide wind-down payroll assumptions for remnant entities

Trent, Hudson         7/18/2023     1.9   Prepare summary updated related to entity slated for potential de
                                          minimis asset sale
Callerio, Lorenzo     7/19/2023     0.3   Finalize and circulate the Embed weekly update deck

Callerio, Lorenzo     7/19/2023     0.6   TelCons L. Callerio, R. Hershan (A&M) re Embed open matters, incl
                                          Wind Down Analysis
Callerio, Lorenzo     7/19/2023     0.8   Process the latest comments received from R. Hershan (A&M) re:
                                          Embed wind down deck
Callerio, Lorenzo     7/19/2023     1.4   Prepare an updated Embed wind down deck including comments
                                          received from R. Hershan (A&M)
Callerio, Lorenzo     7/19/2023     0.6   Call with R. Hershan and L. Callerio (A&M) re: Embed wind down
                                          analysis deck
Chambers, Henry       7/19/2023     0.4   Call with H. Chambers, K. Ramanathan, S. Coverick (A&M), M.
                                          Rahmani and PWP team re: FTX Japan bidder interest
Coverick, Steve       7/19/2023     0.4   Call with H. Chambers, K. Ramanathan, S. Coverick (A&M), M.
                                          Rahmani and PWP team re: FTX Japan bidder interest
Coverick, Steve       7/19/2023     1.1   Review and provide comments on revised Embed wind-down
                                          analysis
Hershan, Robert       7/19/2023     0.9   Mark up and edit latest Wind Down Analysis for comments


Hershan, Robert       7/19/2023     0.2   Review updated weekly report for customer account closure

Hershan, Robert       7/19/2023     0.6   Call with R. Hershan and L. Callerio (A&M) re: Embed wind down
                                          analysis deck
Mohammed, Azmat       7/19/2023     0.6   Review technology diligence questions and responses with
                                          development team
Nizhner, David        7/19/2023     0.7   Revise Embed wind down presentation for comments from internal
                                          team
Ramanathan, Kumanan   7/19/2023     0.4   Call with H. Chambers, K. Ramanathan, S. Coverick (A&M), M.
                                          Rahmani and PWP team re: FTX Japan bidder interest
Walia, Gaurav         7/19/2023     2.0   Prepare a summary tracker of all FTX 2.0 diligence questions for the
                                          crypto team




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                                 FTX Trading Ltd., et al.,
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Asset Sales
Professional             Date     Hours     Activity
Walia, Gaurav         7/19/2023     1.3   Prepare data templates to several FTX 2.0 diligence questions

Walia, Gaurav         7/19/2023     1.1   Prepare responses to several FTX 2.0 diligence questions


Callerio, Lorenzo     7/20/2023     0.5   Call with L. Callerio, R. Hershan (A&M) re updating open matters
                                          and prep re J Sime (Embed) call
Callerio, Lorenzo     7/20/2023     0.4   Call with J. Sime, L. Weitkman (Embed), R. Perubhatla (FTX) and L.
                                          Callerio (A&M) re: Embed IT systems
Callerio, Lorenzo     7/20/2023     1.1   Start including comments received from E. Mosley and S. Coverick
                                          (A&M) on the Embed wind down presentation
Callerio, Lorenzo     7/20/2023     0.4   Call with J. Sime (Embed), R. Hershan, D. Nizhner, L. Callerio
                                          (A&M) re: Embed weekly update
Callerio, Lorenzo     7/20/2023     0.5   Call with R. Hershan and L. Callerio (A&M) re: revised Embed wind
                                          down deck
Callerio, Lorenzo     7/20/2023     0.5   Call with L. Weitkman (Embed) and L. Callerio re: Embed wind down
                                          analysis assumptions
Hershan, Robert       7/20/2023     0.5   Call with L. Callerio, R. Hershan (A&M) re updating open matters
                                          and prep re J Sime (Embed) call
Hershan, Robert       7/20/2023     0.5   Call with R. Hershan and L. Callerio (A&M) re: revised Embed wind
                                          down deck
Hershan, Robert       7/20/2023     0.4   Weekly call with J. Sime (Embed) open matters and substantial
                                          completion of work by Embed team question
Hershan, Robert       7/20/2023     0.4   Call with J. Sime (Embed), R. Hershan, D. Nizhner, L. Callerio
                                          (A&M) re: Embed weekly update
Hershan, Robert       7/20/2023     0.4   Provide comments on updated Wind Down analysis edits

Johnston, David       7/20/2023     1.4   Review and update asset sale presentation relating to FTX Europe
                                          asset
Nizhner, David        7/20/2023     0.4   Call with J. Sime (Embed), R. Hershan, D. Nizhner, L. Callerio
                                          (A&M) re: Embed weekly update
Ramanathan, Kumanan   7/20/2023     0.3   Review of FTX 2.0 diligence schedule and provide feedback


Walia, Gaurav         7/20/2023     1.4   Prepare responses to several FTX 2.0 diligence questions

Walia, Gaurav         7/20/2023     0.4   Call with P. Lee (FTX) to discuss FTX 2.0 diligence responses

Callerio, Lorenzo     7/21/2023     0.3   Call with J. Sime, L. Weitkam (Embed), D. Nizhner, L. Callerio, R.
                                          Hershan (A&M) re: Embed wind-down presentation walkthrough
Callerio, Lorenzo     7/21/2023     0.2   Call with R. Hershan and L. Callerio (A&M) re: Embed call debrief

Callerio, Lorenzo     7/21/2023     0.6   Finalize the Embed wind down analysis deck including comments
                                          received from L. Weitkman (Embed)
Callerio, Lorenzo     7/21/2023     0.4   Prepare for and participate to a call with J. Sime, B. Phillips
                                          (Embed), R. Perubhatla (FTX) and L. Callerio (A&M) re: access to
                                          systems


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Asset Sales
Professional              Date    Hours     Activity
Hershan, Robert       7/21/2023     0.2   Call with R. Hershan and L. Callerio (A&M) re: Embed call debrief

Hershan, Robert       7/21/2023     0.3   Call with J. Sime and L. Weitkam (Embed) re Embed wind down
                                          analysis discussion
Hershan, Robert       7/21/2023     1.0   Review final draft Embed wind down analysis

Montague, Katie       7/21/2023     1.3   Analysis of revenue and volume data related to employees and
                                          related parties in response to FTX 2.0 diligence request
Montague, Katie       7/21/2023     3.1   Analysis of customer discounts taken in 2020 through 2022 for
                                          maker and taker volumes in response to FTX 2.0 diligence request
Nizhner, David        7/21/2023     0.3   Call with J. Sime, L. Weitkam (Embed), D. Nizhner, L. Callerio, R.
                                          Hershan (A&M) re: Embed wind-down presentation walkthrough
Nizhner, David        7/21/2023     0.7   Review updated Embed presentation after management discussion


Walker, William       7/21/2023     2.7   Prepare equity tear sheet for investment with interested buyers

Trent, Hudson         7/23/2023     0.3   Call regarding subsidiary asset sale with M. Wu (S&C), M. Rahmani
                                          and others (PWP), C. Arnett and H. Trent (A&M)
Arnett, Chris         7/24/2023     0.3   Call regarding subsidiary asset sale with M. Wu (S&C), M. Rahmani
                                          and others (PWP), C. Arnett and H. Trent (A&M)
Arnett, Chris         7/24/2023     0.2   Answer request from H. Trent (A&M) to request revised bid from
                                          potential purchaser of de minimis assets
Callerio, Lorenzo     7/24/2023     0.3   Call with R. Hershan and L. Callerio (A&M) re: Embed diligence
                                          follow-up
Callerio, Lorenzo     7/24/2023     0.8   Several TelCons L. Callerio, R. Hershan (A&M) re Embed Wind
                                          Down open matters, incl. wind down status, retention matters,
                                          WARN Act question from S&C
Callerio, Lorenzo     7/24/2023     0.4   Draft a response to W. Scheffer (S&C) re: Embed retention bonuses

Callerio, Lorenzo     7/24/2023     0.6   Respond to certain questions received from S&C re: Embed wind
                                          down process
Chambers, Henry       7/24/2023     0.5   Call with K. Ramanathan, H Chambers (A&M), M. Rahmani (PWP)
                                          and PWP team and potential bidder regarding AML/KYC process
Chambers, Henry       7/24/2023     0.6   Review KYC documents in advance of potential bidder diligence call


Coverick, Steve       7/24/2023     0.9   Review and provide comments on latest draft of FTX Japan strategic
                                          options analysis
Hershan, Robert       7/24/2023     0.5   Review updated Embed wind down plan and weekly deliverables


Hershan, Robert       7/24/2023     0.8   Call with L. Callerio, R. Hershan (A&M) re Embed Wind Down open
                                          matters, incl. wind down status, retention matters, WARN Act
                                          question from S&C
Hershan, Robert       7/24/2023     0.3   Call with R. Hershan and L. Callerio (A&M) re: Embed follow-up

Hershan, Robert       7/24/2023     1.1   Review emails from W. Scheffer & B. Harsch (S&C) re Embed
                                          retention obligations, wind down status, employee interviews

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Asset Sales
Professional              Date     Hours     Activity
Hershan, Robert        7/24/2023     0.2   Review J. Sime (Embed) email with weekly update

Konig, Louis           7/24/2023     0.5   Call with M. Rahmani, S. Saferstein, (PWP), K. Ramanathan, L.
                                           Konig, G. Walia (A&M) to discuss FTX 2.0 diligence questions
Mohammed, Azmat        7/24/2023     1.1   Discuss 2.0 technology related diligence questions with Sygnia and
                                           FTX developers
Montague, Katie        7/24/2023     1.2   Prepare email to A. Sivapalu (A&M) with questions regarding various
                                           data sets utilized in preparation of the CIM related to FTX 2.0 request
Montague, Katie        7/24/2023     2.7   Update AWS, CIM, and financial statement reconciliation analysis
                                           for additional information provided by P. Lee (FTX)
Mosley, Ed             7/24/2023     0.8   Review of draft status for FTX 2.0 bidders and next steps for each

Nizhner, David         7/24/2023     0.4   Correspond with Embed management regarding internal touchpoint


Ramanathan, Kumanan    7/24/2023     0.2   Provide feedback on Korea region FTX 2.0 restart matters

Ramanathan, Kumanan    7/24/2023     0.5   Call with M. Rahmani, S. Saferstein, (PWP), K. Ramanathan, L.
                                           Konig, G. Walia (A&M) to discuss FTX 2.0 diligence questions
Simoneaux, Nicole      7/24/2023     1.1   Compile and quantify outstanding invoices and other liabilities for
                                           potential wind-down cost analysis
Simoneaux, Nicole      7/24/2023     0.3   Request documentation for outstanding liabilities and invoices in
                                           regards to a potential wind-down
Walia, Gaurav          7/24/2023     0.9   Call with A. Sivapalu, G. Walia and K. Montague (A&M) regarding
                                           due diligence questions related to customer analytics
Walia, Gaurav          7/24/2023     2.6   Prepare responses to several diligence questions related to FTX 2.0

Walia, Gaurav          7/24/2023     2.8   Review several diligence questions related to FTX 2.0 and provide
                                           feedback
Walia, Gaurav          7/24/2023     0.6   Review the employee and insider exchange revenue diligence
                                           analysis and provide feedback
Walia, Gaurav          7/24/2023     0.5   Call with M. Rahmani, S. Saferstein, (PWP), K. Ramanathan, L.
                                           Konig, G. Walia (A&M) to discuss FTX 2.0 diligence questions
Callerio, Lorenzo      7/25/2023     1.1   Prepare the weekly Embed report to be circulated to R. Hershan
                                           (A&M) for review
Callerio, Lorenzo      7/25/2023     0.4   Finalize the Embed weekly status report including comments
                                           received from R. Hershan (A&M)
Coverick, Steve        7/25/2023     0.5   Call with J. Ray, M. Rosenberg (FTX), E. Mosley, S. Coverick, K.
                                           Ramanathan (A&M) to discuss investment committee proposal to
                                           UCC
Coverick, Steve        7/25/2023     1.1   Call with J. Ray, M. Rosenberg (FTX), A. Kranzley (S&C), K.
                                           Pasquale, E. Gilad (PH), F. Risler, M. Diodato (FTI), E. Mosley, S.
                                           Coverick, K. Ramanathan (A&M) re: asset monetization strategy
Hershan, Robert        7/25/2023     1.2   Update and follow-up calls with L. Callerio (A&M) re weekly update
                                           report and K. Schultea (FTX) email re AIG policy; review of next
                                           steps



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Asset Sales
Professional               Date    Hours     Activity
Mohammed, Azmat        7/25/2023     1.1   Discuss 2.0 technology related diligence questions with Sygnia and
                                           FTX developers
Mohammed, Azmat        7/25/2023     0.8   Review data for 2.0 diligence requests


Montague, Katie        7/25/2023     2.9   Analysis of customer analytics data provided by P. Lee (FTX) related
                                           to FTX 2.0 diligence request
Montague, Katie        7/25/2023     0.4   Email to P. Lee (FTX) with questions regarding customer analytics
                                           data provided related to FTX 2.0 diligence request
Montague, Katie        7/25/2023     1.1   Prepare responses to G. Walia (A&M) email regarding responses to
                                           FTX 2.0 diligence requests
Montague, Katie        7/25/2023     1.1   Review listing of key IT and KYC vendors in FTX cash flow in
                                           response to FTX 2.0 diligence request
Montague, Katie        7/25/2023     0.3   Call with K. Montague, E. Taraba (A&M) to discuss vendor spend
                                           FTX 2.0 diligence request
Mosley, Ed             7/25/2023     1.1   Call with J. Ray, M. Rosenberg (FTX), A. Kranzley (S&C), K.
                                           Pasquale, E. Gilad (PH), F. Risler, M. Diodato (FTI), E. Mosley, S.
                                           Coverick, K. Ramanathan (A&M) re: asset monetization strategy
Mosley, Ed             7/25/2023     0.5   Call with J. Ray, M. Rosenberg (FTX), E. Mosley, S. Coverick, K.
                                           Ramanathan (A&M) to discuss investment committee proposal to
                                           UCC
Ramanathan, Kumanan    7/25/2023     1.1   Call with J. Ray, M. Rosenberg (FTX), A. Kranzley (S&C), K.
                                           Pasquale, E. Gilad (PH), F. Risler, M. Diodato (FTI), E. Mosley, S.
                                           Coverick, K. Ramanathan (A&M) re: asset monetization strategy
Ramanathan, Kumanan    7/25/2023     0.5   Call with J. Ray, M. Rosenberg (FTX), E. Mosley, S. Coverick, K.
                                           Ramanathan (A&M) to discuss investment committee proposal to
                                           UCC
Taraba, Erik           7/25/2023     0.7   Develop schedule of vendors to support FTX 2.0 diligence request

Taraba, Erik           7/25/2023     0.3   Call with K. Montague, E. Taraba (A&M) to discuss vendor spend
                                           FTX 2.0 diligence request
Trent, Hudson          7/25/2023     1.1   Prepare updated analysis of pending invoices for subsidiary slated
                                           for potential de minimis asset sale
Walia, Gaurav          7/25/2023     1.8   Prepare a summary of the FTX 2.0 diligence responses statuses
                                           along with a list of responses ready for approval
Walia, Gaurav          7/25/2023     0.7   Update several diligence responses based on feedback from K.
                                           Ramanathan (A&M)
Walia, Gaurav          7/25/2023     0.9   Review customer metrics diligence output and provide feedback

Arnett, Chris          7/26/2023     0.3   Review and comment on sales process and timing related to certain
                                           de minimis assets
Callerio, Lorenzo      7/26/2023     0.2   Call with R. Hershan and L. Callerio (A&M) re: certain questions
                                           received from J. Sime (Embed)
Coverick, Steve        7/26/2023     0.2   Call with J. Ray (FTX) to discuss investment committee structure

Coverick, Steve        7/26/2023     0.4   Review and provide comments on mark up of asset management
                                           term sheet


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Asset Sales
Professional               Date    Hours     Activity
Coverick, Steve        7/26/2023     0.9   Review and provide comments on FTX Japan strategic alternatives
                                           analysis deck
Hershan, Robert        7/26/2023     0.2   Call with R. Hershan and L. Callerio (A&M) re: certain questions
                                           received from J. Sime (Embed)
Hershan, Robert        7/26/2023     1.1   Review of FINRA/SEC regulatory email from J. Sime (Embed)

Mohammed, Azmat        7/26/2023     0.6   Review data for 2.0 diligence requests related to API performance
                                           and technology requests
Montague, Katie        7/26/2023     0.7   Review responses from P. Lee (FTX) related to order and fill types
                                           included in various data sets provided related to FTX 2.0 diligence
                                           requests
Montague, Katie        7/26/2023     1.4   Summarize and footnote customer analytics and active users
                                           analysis for response to FTX 2.0 diligence request
Montague, Katie        7/26/2023     3.1   Revise analysis of customer analytics and active users based on
                                           responses from P. Lee (FTX) for FTX 2.0 diligence requests
Mosley, Ed             7/26/2023     0.2   Discuss coin management proposal from UCC with K.Ramanathan
                                           (A&M)
Mosley, Ed             7/26/2023     0.6   Review of draft mark-up to UCC counterproposal on crypto
                                           management
Ramanathan, Kumanan    7/26/2023     0.2   Discuss coin management proposal from UCC with E. Mosley (A&M)


Taraba, Erik           7/26/2023     0.3   Update schedule of vendors for FTX 2.0 diligence request per
                                           feedback from workstream leadership
Arnett, Chris          7/27/2023     0.6   Review status and direct next steps re: de minimis asset sales


Callerio, Lorenzo      7/27/2023     0.9   Respond to certain questions from J. Sime (Embed) and S&C re:
                                           Embed wind down
Callerio, Lorenzo      7/27/2023     0.2   Call with R. Hershan and L. Callerio (A&M) re: questions received
                                           from M. Cilia (RLKS)
Callerio, Lorenzo      7/27/2023     0.4   Call with L. Callerio, R. Hershan (A&M), A. Kranzley and E. Simpson
                                           (S&C) re Embed wind down issues and call with L. Callerio (A&M),
                                           K. Schultea and M. Cilia (FTX) re Embed wind down end of term
                                           issues
Callerio, Lorenzo      7/27/2023     0.6   Meeting with M. Cilia, K. Schultea (RLKS), R. Hershan and L.
                                           Callerio (A&M) re: response to Finra
Callerio, Lorenzo      7/27/2023     0.6   Correspondence with M. Cilia (RLKS) and L. Barbano (Embed) re:
                                           Embed wind down next steps
Callerio, Lorenzo      7/27/2023     0.8   Teleconference with M. Cilia (RLKS), J. Sime, L. Barbano (Embed)
                                           and L. Callerio (A&M) re: Embed wind down plan
Callerio, Lorenzo      7/27/2023     0.3   Call with R. Hershan, C. Coverick and L. Callerio (A&M) re: Embed
                                           wind down
Coverick, Steve        7/27/2023     0.3   Call with R. Hershan, C. Coverick and L. Callerio (A&M) re: Embed
                                           wind down
Coverick, Steve        7/27/2023     1.2   Call with S. Coverick, A. Titus, S. Glustein, W. Walker, A. Liv-
                                           Feyman (A&M), W. Syed, M. Rahmani, A. Negulescu, K. Flinn
                                           (PWP), J. MacDonald, M. Wu (S&C), M. Rosenberg, R. Jain (FTX)
                                           regarding BOD progress updates and discussion

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Asset Sales
Professional               Date     Hours     Activity
Glustein, Steven        7/27/2023     1.2   Call with S. Coverick, A. Titus, S. Glustein, W. Walker, A. Liv-
                                            Feyman (A&M), W. Syed, M. Rahmani, A. Negulescu, K. Flinn
                                            (PWP), J. MacDonald, M. Wu (S&C), M. Rosenberg, R. Jain (FTX)
                                            regarding BOD deck progress updates and discussion
Hershan, Robert         7/27/2023     0.3   Call with R. Hershan, C. Coverick and L. Callerio (A&M) re: Embed
                                            wind down
Hershan, Robert         7/27/2023     0.6   Meeting with M. Cilia, K. Schultea (RLKS), R. Hershan and L.
                                            Callerio (A&M) re: response to Finra
Hershan, Robert         7/27/2023     0.4   Call with L. Callerio, R. Hershan (A&M), A. Kranzley and E. Simpson
                                            (S&C) re Embed wind down issues and call with L. Callerio (A&M),
                                            K. Schultea and M. Cilia (FTX) re Embed wind down end of term
                                            issues
Hershan, Robert         7/27/2023     0.2   Call with R. Hershan and L. Callerio (A&M) re: questions received
                                            from M. Cilia (RLKS)
Kwan, Peter             7/27/2023     0.2   Call with A. Mohammed, P. Kwan, and K. Montague (A&M)
                                            regarding FTX 2.0 diligence questions related to customer
                                            jurisdictions
Liv-Feyman, Alec        7/27/2023     1.2   Call with S. Coverick, A. Titus, S. Glustein, W. Walker, A. Liv-
                                            Feyman (A&M), W. Syed, M. Rahmani, A. Negulescu, K. Flinn
                                            (PWP), J. MacDonald, M. Wu (S&C), M. Rosenberg, R. Jain (FTX)
                                            regarding BOD deck progress updates and discussion
Mohammed, Azmat         7/27/2023     0.3   Review data for 2.0 diligence requests related to API performance
                                            and technology requests
Montague, Katie         7/27/2023     0.3   Call with A. Mohammed and K. Montague (A&M) regarding FTX 2.0
                                            diligence questions related to customer jurisdictions
Montague, Katie         7/27/2023     0.2   Call with A. Mohammed, P. Kwan, and K. Montague (A&M)
                                            regarding FTX 2.0 diligence questions related to customer
                                            jurisdictions
Montague, Katie         7/27/2023     1.3   Prepare summary of responses to diligence requests, including
                                            relevant support files, for review by K. Ramanathan (A&M)
Montague, Katie         7/27/2023     0.9   Review responses by A&M data team related to technology and
                                            operational diligence requests for FTX 2.0
Montague, Katie         7/27/2023     0.5   Email to A&M cash and crypto teams regarding key IT and KYC
                                            vendors for response to FTX 2.0 diligence request
Titus, Adam             7/27/2023     1.2   Call with S. Coverick, A. Titus, S. Glustein, W. Walker, A. Liv-
                                            Feyman (A&M), W. Syed, M. Rahmani, A. Negulescu, K. Flinn
                                            (PWP), J. MacDonald, M. Wu (S&C), M. Rosenberg, R. Jain (FTX)
                                            regarding BOD deck progress updates and discussion
Walia, Gaurav           7/27/2023     1.7   Review the customer analytics diligence request response and
                                            provide feedback
Walker, William         7/27/2023     1.2   Call with S. Coverick, A. Titus, S. Glustein, W. Walker, A. Liv-
                                            Feyman (A&M), W. Syed, M. Rahmani, A. Negulescu, K. Flinn
                                            (PWP), J. MacDonald, M. Wu (S&C), M. Rosenberg, R. Jain (FTX)
                                            regarding BOD progress updates and discussion
Callerio, Lorenzo       7/28/2023     0.1   Call with L. Callerio, R. Hershan (A&M) re Embed wind down open
                                            matters status
Coverick, Steve         7/28/2023     2.1   Review and provide comments on proposed 2.0 VDR upload tracker



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Hershan, Robert        7/28/2023     0.1   Call with L. Callerio, R. Hershan (A&M) re Embed wind down open
                                           matters status
Montague, Katie        7/28/2023     1.0   Review response from K. Ramanathan (A&M) regarding status of
                                           key IT and KYC vendors and go-forward use related to FTX 2.0
                                           diligence request
Montague, Katie        7/28/2023     2.8   Update maker and taker spread analysis in response to FTX 2.0
                                           diligence request
Mosley, Ed             7/28/2023     0.9   Review and provide comments to draft termsheet regarding token
                                           monetization with the UCC
Mosley, Ed             7/29/2023     0.9   Review of UCC termsheet of token monetization plan


Ramanathan, Kumanan    7/29/2023     1.9   Prepare updates to FTX 2.0 diligence request responses

Arnett, Chris          7/31/2023     0.3   Direct next steps on pending de minimis asset sales

Callerio, Lorenzo      7/31/2023     0.2   Call with L. Callerio, R. Hershan re D. Whitten (Embed) issues


Callerio, Lorenzo      7/31/2023     0.4   Call with A. Kranzley, E. Simpson (Embed), R. Hershan and L.
                                           Callerio (A&M) re: Embed wind down
Callerio, Lorenzo      7/31/2023     0.3   Call with L. Callerio, R. Hershan (A&M) re open matters update and
                                           discuss pre-S&C call matters
Callerio, Lorenzo      7/31/2023     0.6   Call with R. Perubhatla (RLKS), J. Sime, D. Whitten, B. Phillips
                                           (Embed), D. Nizhner, L. Callerio (A&M) re: standing Embed data
                                           retention
Callerio, Lorenzo      7/31/2023     0.3   Call with R. Hershan and L. Callerio (A&M) re: Embed pre-call

Callerio, Lorenzo      7/31/2023     0.3   Call with R. Perubhatla (FTX) re: Embed follow-up


Callerio, Lorenzo      7/31/2023     0.4   Review the document received from J. Sime (Embed) re: Embed
                                           retention
Callerio, Lorenzo      7/31/2023     0.1   Follow-up call with L. Callerio, R. Hershan (A&M) next steps


Callerio, Lorenzo      7/31/2023     0.3   Correspondence with J. Sime (Embed) and S&C re: Embed Crypto

Coverick, Steve        7/31/2023     1.1   Call with J. Ray (FTX), S. Kurz, C. Rhines and others (Galaxy), E.
                                           Gilad and others (PH), S. Coverick, E. Mosley, K. Ramanathan
                                           (A&M), J. Croke and others (S&C), T. Graulich (DPW) to discuss
                                           asset management term sheet
Coverick, Steve        7/31/2023     0.8   Review and provide comments on analysis of token lockup
                                           agreement analysis
Coverick, Steve        7/31/2023     0.5   Call with J. Ray (FTX), E. Mosley, S. Coverick, K. Ramanathan
                                           (A&M), Galaxy team re: asset management proposal from UCC
Hershan, Robert        7/31/2023     0.3   Call with R. Hershan and L. Callerio (A&M) re: Embed pre-call

Hershan, Robert        7/31/2023     0.1   Follow-up call with L. Callerio, R. Hershan (A&M) next steps



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Asset Sales
Professional               Date    Hours     Activity
Hershan, Robert        7/31/2023      0.3   Review legal demand letter re 2022 retention (10 Embed personnel)
                                            and plan next steps
Hershan, Robert        7/31/2023      0.2   Call with L. Callerio, R. Hershan re D. Whitten (Embed) issues


Hershan, Robert        7/31/2023      0.6   Review embed Wind Down file and ongoing matters

Hershan, Robert        7/31/2023      0.4   Call with A. Kranzley, E. Simpson (Embed), R. Hershan and L.
                                            Callerio (A&M) re: Embed wind down
Montague, Katie        7/31/2023      0.4   Update key IT and KYC vendor file based on discussion with R.
                                            Perubhatla (FTX) related to FTX 2.0 diligence request
Montague, Katie        7/31/2023      0.6   Update diligence tracker for FTX 2.0 requests

Montague, Katie        7/31/2023      0.3   Correspond with B. Bangerter (FTX) regarding key vendors and
                                            expected go-forward use related to FTX 2.0 diligence request
Montague, Katie        7/31/2023      0.6   Call with R. Perubhatla (FTX) regarding FTX 2.0 diligence requests
                                            on key contracts and terms
Montague, Katie        7/31/2023      2.1   Analysis of discounts provided to FTX customers based on revised
                                            plan in 2022 related to FTX 2.0 diligence request
Mosley, Ed             7/31/2023      0.8   Review of and prepare comments to draft memorandum to UCC
                                            regarding token monetization
Nizhner, David         7/31/2023      0.6   Correspond with internal Embed team regarding team objectives

Nizhner, David         7/31/2023      0.6   Call with R. Perubhatla (RLKS), J. Sime, D. Whitten, B. Phillips
                                            (Embed), D. Nizhner, L. Callerio (A&M) re: standing Embed data
                                            retention
Ramanathan, Kumanan    7/31/2023      0.4   Call with E. Gilad (PH) to discuss crypto asset management term
                                            sheet
Ramanathan, Kumanan    7/31/2023      0.9   Call with S. Kurz, C. Rhine, L. Sirvastava, and others (Galaxy) to
                                            discuss crypto asset management term sheet
Ramanathan, Kumanan    7/31/2023      0.7   Prepare updated term sheet and distribute



Subtotal                            301.7

Avoidance Actions
Professional               Date    Hours     Activity
Peoples, Scott          4/4/2023      0.4   Review and edit summary of IEX transaction related to share
                                            exchange with FTX
Peoples, Scott          4/4/2023      0.1   Review correspondence with counsel related to IEX transaction

Medway, David           7/1/2023      0.3   Internal communications regarding memos summarizing results of
                                            investigations of auditors and professionals
Medway, David           7/1/2023      0.9   Prepare updated memo summarizing results of Prager Metis
                                            investigation for counsel review
Medway, David           7/1/2023      0.4   Prepare updated memo summarizing results of Armanino
                                            investigation for counsel review

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Avoidance Actions
Professional                Date     Hours     Activity
Medway, David             7/1/2023     2.3   Review and edit memo summarizing results of Silicon Valley
                                             Accountants investigation for counsel review
Ryan, Laureen             7/1/2023     0.1   Correspond with QE and A&M team regarding memos with findings
                                             for three professionals workpapers assessments
Blanchard, Madison        7/2/2023     1.6   Updates to 90-Day cash preference payments relating to customers

Blanchard, Madison        7/2/2023     2.4   Updates to board deck materials detailing exchange customer
                                             preference analysis with refreshed data
Blanchard, Madison        7/2/2023     1.8   Continue updates to board deck materials detailing exchange
                                             customer preference analysis with refreshed data
Ebrey, Mason              7/2/2023     2.3   Search Relativity for information related to the reimbursement of
                                             expenses to Can Sun
Ryan, Laureen             7/2/2023     0.1   Correspond with A&M team regarding updated customer exchange
                                             data for analysis
Strong, Nichole           7/2/2023     1.2   Internal communications regarding investment reviews for
                                             Autograph, Hidden Road, and OTC Service
Blanchard, Madison        7/3/2023     2.9   Exchange customer preference analysis updates with refreshed data


Blanchard, Madison        7/3/2023     0.6   Continue exchange customer preference analysis updates with
                                             refreshed data
Blanchard, Madison        7/3/2023     0.3   Call with A. Canale, M. Blanchard (A&M) regarding exchange
                                             customer preference analysis updates with refreshed data
Canale, Alex              7/3/2023     1.4   Analysis related to exchange customer preference exposure
                                             requested by S&C
Canale, Alex              7/3/2023     1.6   Analysis related to venture book investment Hidden Road requested
                                             by QE
Canale, Alex              7/3/2023     1.2   Analysis related to avoidance actions against priority individuals


Canale, Alex              7/3/2023     0.3   Call with A. Canale, M. Blanchard (A&M) regarding exchange
                                             customer preference analysis updates with refreshed data
Canale, Alex              7/3/2023     0.9   Correspond with A&M team regarding exchange customer
                                             preference exposure
Cox, Allison              7/3/2023     2.1   Review previously identified cash payments to professional firms

Ebrey, Mason              7/3/2023     2.4   Consolidate Priority Professional payment expenses for expense
                                             schedule
Lee, Julian               7/3/2023     0.2   Review supporting documentation for insider expense reimbursement


Ryan, Laureen             7/3/2023     0.2   Correspond with FTI and A&M team regarding laptop contents from
                                             Bahamian parties
Ryan, Laureen             7/3/2023     0.2   Correspond with A&M team regarding approach to searching laptops
                                             content for FTX DM
Ryan, Laureen             7/3/2023     0.3   Correspond with A&M team regarding updates to Petition Date
                                             Customer Balances




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Avoidance Actions
Professional               Date     Hours     Activity
Ryan, Laureen            7/3/2023     0.2   Correspond with QE and A&M team regarding findings related to
                                            Can Sun laptop expenses paid
Blanchard, Madison       7/4/2023     2.7   Prepare exchange customer preference analysis for selected
                                            accounts
Hoffer, Emily            7/4/2023     0.6   Review Circle transaction reports for mapping into separate cash
                                            database table for reconciliation of the account
Hoffer, Emily            7/4/2023     0.3   Review Stripe transaction reports for mapping into separate cash
                                            database table for reconciliation of the account
Hoffer, Emily            7/4/2023     0.4   Review preference analysis for customer identification to determine
                                            customers that have been verified to extract only nonverified
                                            customers for potential preference exposure
Hoffer, Emily            7/4/2023     1.7   Identify Nuvei counterparties by unique account identifier to update
                                            counterparties in cash database for use in identifying use of funds
                                            for Nuvei account
Hoffer, Emily            7/4/2023     0.4   Review Signet transaction reports for mapping into separate cash
                                            database table for reconciliation of the account
Lee, Julian              7/4/2023     0.2   Correspond with team related to crypto activity reporting for insiders


Ryan, Laureen            7/4/2023     0.2   Correspond with A&M team regarding cash preference analysis deck
                                            approach for certain categories
Blanchard, Madison       7/5/2023     2.3   Continue analysis and findings in relation to Tesseract lending claim


Blanchard, Madison       7/5/2023     0.7   Call with P. McGrath, M. Blanchard (A&M) regarding Tesseract
                                            lending claim
Blanchard, Madison       7/5/2023     0.4   Call with A. Canale, S. Mimms, M. Blanchard (A&M) regarding
                                            exchange customer preference analysis
Blanchard, Madison       7/5/2023     2.9   Prepare analysis and findings in relation to Tesseract lending claim


Blanchard, Madison       7/5/2023     2.1   Exchange customer preference analysis updates with refreshed data
                                            relating to employees
Canale, Alex             7/5/2023     0.6   Call with M. Shanahan, A. Canale (A&M) to discuss cash preference
                                            analysis updates
Canale, Alex             7/5/2023     0.2   Call with A. Canale and P. McGrath regarding status of various
                                            workstreams including individual's analysis and ventures investments
Canale, Alex             7/5/2023     0.5   Call with L. Ryan, M. Shanahan, A. Canale, J. Lee (A&M) to discuss
                                            cash preference analysis updates
Canale, Alex             7/5/2023     0.5   Call with L. Ryan, A. Canale (A&M) to discuss lender analysis

Canale, Alex             7/5/2023     0.4   Call with A. Canale, S. Mimms, M. Blanchard (A&M) regarding
                                            exchange customer preference analysis
Canale, Alex             7/5/2023     1.2   Review exchange preference analysis for individuals associated with
                                            FTX and Alameda
Canale, Alex             7/5/2023     1.1   Analysis of exchange preference exposure of FTX employees for
                                            S&C
Canale, Alex             7/5/2023     1.2   Call with M. Shanahan, A. Canale, J. Lee (A&M) to discuss cash
                                            preference analysis updates

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Avoidance Actions
Professional                Date     Hours     Activity
Canale, Alex              7/5/2023     0.4   Prepare report summarizing of exchange customer exposure using
                                             revised approach to withdrawals
Canale, Alex              7/5/2023     0.6   Teleconference with M. Shanahan, A. Canale, and D. Medway
                                             (A&M) regarding professionals scoping analysis
Canale, Alex              7/5/2023     0.6   Review updated data relating to exchange customers and provide
                                             instructions to team regarding same
Canale, Alex              7/5/2023     0.9   Review exchange data related to fiat withdrawals

Coverick, Steve           7/5/2023     1.9   Review and provide comments on [redacted] 3rd party lender
                                             preference analysis
Cox, Allison              7/5/2023     0.7   Review results of email search in relation to professional firms
                                             exchange activity
Cox, Allison              7/5/2023     0.2   Teleconference with D. Medway, N. Strong, and A. Cox (A&M) to
                                             discuss professional firms exchange activity
Cox, Allison              7/5/2023     0.1   Call with A. Cox, M. Ebrey (A&M) regarding professional firms
                                             payment schedule
Cox, Allison              7/5/2023     2.8   Quality control review of new banking data in connection with
                                             previous professional firms analysis
Cox, Allison              7/5/2023     1.8   Update previously identified professional firms for additional cash
                                             payments per database hits
Dobbs, Aaron              7/5/2023     2.2   Search for wallet activity and analysis of 6M USDC transfer with
                                             Matrix
Dobbs, Aaron              7/5/2023     1.9   Search for Matrix Port Technologies lending agreements to support
                                             the lending relationship with Alameda Research
Dobbs, Aaron              7/5/2023     0.3   Call with M. Ebrey, A. Dobbs, B. Price (A&M) regarding construction
                                             of schedule for professional firms identified by QE
Dobbs, Aaron              7/5/2023     0.1   Call with D. Medway, M. Ebrey, A. Dobbs, B. Price (A&M) regarding
                                             construction of schedule for professional firms identified by QE
Dobbs, Aaron              7/5/2023     2.7   Construction of summary schedule for law firms identified by QE to
                                             assess potential preference period claims
Ebrey, Mason              7/5/2023     2.4   Search in metabase for payments made by debtors to professional
                                             services firm
Ebrey, Mason              7/5/2023     2.3   Addition of newly identified professional firms to combined schedule

Ebrey, Mason              7/5/2023     0.1   Call with A. Cox, M. Ebrey (A&M) regarding professional firms
                                             payment schedule
Ebrey, Mason              7/5/2023     0.4   Call with D. Medway, M. Ebrey (A&M) regarding status of
                                             professional firms payments schedule
Ebrey, Mason              7/5/2023     0.3   Call with M. Ebrey, A. Dobbs, B. Price (A&M) regarding construction
                                             of schedule for professional firms identified by QE
Ebrey, Mason              7/5/2023     0.1   Call with D. Medway, M. Ebrey, A. Dobbs, B. Price (A&M) regarding
                                             construction of schedule for professional firms identified by QE
Ebrey, Mason              7/5/2023     0.2   Call with J. Lee, M. Ebrey (A&M) to identify payments within cash
                                             database to select insiders




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Avoidance Actions
Professional               Date     Hours     Activity
Ebrey, Mason             7/5/2023     2.1   Construction of schedule for professional firms identified by QE

Haigis, Maya             7/5/2023     0.2   Call with C. Radis, A. Sloan, M. Haigis, M. Simkins, and E. Hoffer
                                            (A&M) to discuss progress of outstanding items for the cash
                                            database
Haigis, Maya             7/5/2023     0.3   Review cash database Insider fuzzy matching results


Hoffer, Emily            7/5/2023     0.4   Compile balances for Circle account reconciliation for purposes of
                                            reconciling accounts within cash database
Hoffer, Emily            7/5/2023     0.2   Call with C. Radis, A. Sloan, M. Haigis, M. Simkins, and E. Hoffer
                                            (A&M) to discuss progress of outstanding items for the cash
                                            database
Hoffer, Emily            7/5/2023     1.3   Create new stratification of preference exposure for customers
                                            based on un-individually verified counterparties for purposes of
                                            potential preference claims
Hoffer, Emily            7/5/2023     0.7   Communicate with team about financial institutions related crypto
                                            transaction statements for the possibility of being incorporated into
                                            AWS
Hoffer, Emily            7/5/2023     0.7   Call with J. Lee, E. Hoffer (A&M) to discuss data fields data fields
                                            available per Circle data for purposes of counterparty identification
Hoffer, Emily            7/5/2023     0.9   Review Skrill account agreements to answer questions from
                                            AlixPartners about currency for fees
Hoffer, Emily            7/5/2023     0.5   Call with E. Hoffer (A&M) and E. Mostoff (AlixPartners) to discuss
                                            questions related to cash database data
Hoffer, Emily            7/5/2023     1.2   Review cash database transactions to underlying Nuvei transaction
                                            detail to identify counterparties for transactions to be loaded into the
                                            cash database
Hoffer, Emily            7/5/2023     0.1   Call with J. Lee, E. Hoffer (A&M) and E. Mostoff (AlixPartners) to
                                            discuss questions related to cash database data
Hoffer, Emily            7/5/2023     2.3   Incorporate Nuvei transactions into the cash preference analysis for
                                            use in identifying preference period exposure
Hoffer, Emily            7/5/2023     1.4   Perform manual reconciliation review of Silvergate FTX Digital
                                            Markets bank accounts from AWS metabase to native source PDFs
                                            ensuring accuracy of all data elements
Lee, Julian              7/5/2023     0.2   Correspond with team regarding insider payments per cash database


Lee, Julian              7/5/2023     0.1   Identify lender payment detail for Bo Shen re: cash preference
                                            analysis
Lee, Julian              7/5/2023     0.3   Prepare list of fields for Circle to extract re: counterparty information
                                            for purposes of cash database
Lee, Julian              7/5/2023     0.2   Prepare responses to AlixPartners inquiry on Signature, Silvergate,
                                            Transfero re: cash database
Lee, Julian              7/5/2023     0.2   Prepare responses to AlixPartners inquiry on Skrill data in relation to
                                            currency type
Lee, Julian              7/5/2023     0.4   Review cash database for select accounts to verify commingled
                                            status



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Avoidance Actions
Professional               Date     Hours     Activity
Lee, Julian              7/5/2023     0.4   Review of customer classification for cash preference analysis

Lee, Julian              7/5/2023     0.2   Review payroll database for select employee


Lee, Julian              7/5/2023     0.4   Review select banks identified from fiat withdrawals per exchange
                                            data
Lee, Julian              7/5/2023     0.2   Update lender chart re: cash preference analysis

Lee, Julian              7/5/2023     0.2   Review of data fields available per Circle data for purposes of
                                            counterparty identification
Lee, Julian              7/5/2023     0.2   Correspond with team regarding Analisya accounts with UOB, DBS
                                            for purposes of cash database
Lee, Julian              7/5/2023     0.2   Correspond with team regarding Nuvei data in cash database


Lee, Julian              7/5/2023     1.2   Call with M. Shanahan, A. Canale, J. Lee (A&M) to discuss cash
                                            preference analysis updates
Lee, Julian              7/5/2023     0.5   Call with L. Ryan, M. Shanahan, A. Canale, J. Lee (A&M) to discuss
                                            cash preference analysis updates
Lee, Julian              7/5/2023     0.2   Call with J. Lee, M. Ebrey (A&M) to identify payments within cash
                                            database to select insiders
Lee, Julian              7/5/2023     0.7   Call with J. Lee, E. Hoffer (A&M) to discuss data fields data fields
                                            available per Circle data for purposes of counterparty identification
Lee, Julian              7/5/2023     0.1   Call with J. Lee, E. Hoffer (A&M) and E. Mostoff (AlixPartners) to
                                            discuss questions related to cash database data
Lee, Julian              7/5/2023     0.3   Correspond with team regarding customer classification for cash
                                            preference analysis
McGrath, Patrick         7/5/2023     0.2   Call with A. Canale and P. McGrath regarding status of various
                                            workstreams including individual's analysis and ventures investments
McGrath, Patrick         7/5/2023     2.2   Review and update ventures investment analysis for potential claims

McGrath, Patrick         7/5/2023     0.7   Call with P. McGrath, M. Blanchard (A&M) regarding Tesseract
                                            lending claim
Medway, David            7/5/2023     0.2   Internal communications regarding case status and strategy

Medway, David            7/5/2023     0.6   Teleconference with M. Shanahan, A. Canale, and D. Medway
                                            (A&M) regarding professionals scoping analysis
Medway, David            7/5/2023     0.9   Review and analyze results of review of Rivers & Moorehead
                                            documents and communications located in Debtors' records
Medway, David            7/5/2023     0.1   Call with D. Medway, M. Ebrey, A. Dobbs, B. Price (A&M) regarding
                                            construction of schedule for professional firms identified by QE
Medway, David            7/5/2023     0.2   Internal communications regarding professional payments analysis


Medway, David            7/5/2023     0.4   Internal communications regarding status of lender analyses




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Avoidance Actions
Professional              Date     Hours     Activity
Medway, David           7/5/2023     1.4   Review and analyze results of review of Rivers & Moorehead
                                           document production
Medway, David           7/5/2023     1.0   Review results of review of additional Silicon Valley Accountants
                                           production and consider need for updates to memo summarizing
                                           results of investigation
Medway, David           7/5/2023     0.4   Strategize additional professionals payment analysis procedures


Medway, David           7/5/2023     0.4   Teleconference with M. Shanahan and D. Medway (A&M) regarding
                                           status of professionals scoping analysis
Medway, David           7/5/2023     0.4   Call with D. Medway, M. Ebrey (A&M) regarding status of
                                           professional firms payments schedule
Medway, David           7/5/2023     0.4   Answer internal questions regarding results of Apollo and Compound
                                           lender analyses
Medway, David           7/5/2023     0.2   Teleconference with D. Medway, N. Strong, and A. Cox (A&M) to
                                           discuss professional firms exchange activity
Medway, David           7/5/2023     0.2   Teleconference with D. Medway and N. Strong (A&M) to discuss
                                           review of supplemental production by Silicon Valley Accountants
Medway, David           7/5/2023     0.3   Internal communications regarding Apollo and Compound lender
                                           analysis follow up
Medway, David           7/5/2023     1.1   Review Rivers & Moorehead engagement letters and payment
                                           history in context of professionals investigations
Medway, David           7/5/2023     1.6   Scope and strategize procedures for on-going lender analyses

Medway, David           7/5/2023     1.2   Review materials summarizing results of professional payments
                                           analysis and prepare comments
Mimms, Samuel           7/5/2023     2.4   Perform quality control of exchange customer preference analysis
                                           on FTX and Alameda employees
Mimms, Samuel           7/5/2023     0.4   Call with A. Canale, S. Mimms, M. Blanchard (A&M) regarding
                                           exchange customer preference analysis
Mosley, Ed              7/5/2023     0.7   Review of and prepare comments to draft preference period activity
                                           presentation for a Alameda loan counterparty (Apollo)
Mosley, Ed              7/5/2023     0.8   Review of and prepare comments to draft preference period activity
                                           presentation for a different Alameda loan counterparty (Compound
                                           Capital)
Price, Breanna          7/5/2023     1.7   Search Relativity for bank information and statements related to
                                           Silvergate Digital Custody and Ledger X accounts
Price, Breanna          7/5/2023     1.9   Search cash database for transactions related to various law firms
                                           for the purposes of the third interim report
Price, Breanna          7/5/2023     0.3   Call with M. Ebrey, A. Dobbs, B. Price (A&M) regarding construction
                                           of schedule for professional firms identified by QE
Price, Breanna          7/5/2023     0.1   Call with D. Medway, M. Ebrey, A. Dobbs, B. Price (A&M) regarding
                                           construction of schedule for professional firms identified by QE
Price, Breanna          7/5/2023     1.9   Add Silvergate FTX Digital Markets statements into the bank
                                           statements tracker
Price, Breanna          7/5/2023     0.7   Add DBS bank data to the bank statements tracker



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Avoidance Actions
Professional            Date     Hours     Activity
Radis, Cameron        7/5/2023     0.2   Call with C. Radis, A. Sloan, M. Haigis, M. Simkins, and E. Hoffer
                                         (A&M) to discuss progress of outstanding items for the cash
                                         database
Radis, Cameron        7/5/2023     0.3   Perform SQL based exercise to push reconciled transactions to
                                         Metabase views for new Vietcombank bank account transactions
Radis, Cameron        7/5/2023     0.4   Perform SQL based exercise to push reconciled transactions to
                                         Metabase views for three new Silvergate bank account transactions
Radis, Cameron        7/5/2023     1.1   Perform SQL based exercise to reconcile new Vietcombank bank
                                         account transactions to summary balances
Radis, Cameron        7/5/2023     1.4   Perform quality control review of three new Silvergate bank account
                                         transactions reconciliation
Radis, Cameron        7/5/2023     0.6   Perform quality control review of new Vietcombank bank account
                                         transactions reconciliation
Radis, Cameron        7/5/2023     2.2   Perform SQL based exercise to reconcile three new Silvergate bank
                                         account transactions to summary balances
Ramanathan, Kumanan   7/5/2023     0.6   Review most recent preference analysis on certain customers and
                                         distribute draft
Ryan, Laureen         7/5/2023     0.2   Correspond with QE and A&M team regarding additional production
                                         related to audit firms
Ryan, Laureen         7/5/2023     0.5   Call with L. Ryan, M. Shanahan, A. Canale, J. Lee (A&M) to discuss
                                         cash preference analysis updates
Ryan, Laureen         7/5/2023     0.3   Correspond with A&M team regarding updated results of analysis of
                                         Customer activity during the preference period
Ryan, Laureen         7/5/2023     0.3   Correspond with QE and A&M team regarding question on eight
                                         groups of charitable donations
Ryan, Laureen         7/5/2023     0.3   Correspond with QE and A&M team regarding venture book
                                         investment findings
Ryan, Laureen         7/5/2023     0.6   Correspond with A&M Team regarding lender analysis related to
                                         Apollo and Compound findings and updates
Ryan, Laureen         7/5/2023     0.5   Call with L. Ryan, A. Canale (A&M) to discuss lender analysis


Ryan, Laureen         7/5/2023     0.4   Correspond with A&M Team regarding S&C request for cash
                                         database memo and comments thereon
Shanahan, Michael     7/5/2023     1.2   Call with M. Shanahan, A. Canale, J. Lee (A&M) to discuss cash
                                         preference analysis updates
Shanahan, Michael     7/5/2023     0.6   Teleconference with M. Shanahan, A. Canale, and D. Medway
                                         (A&M) regarding professionals scoping analysis
Shanahan, Michael     7/5/2023     0.4   Teleconference with M. Shanahan and D. Medway (A&M) regarding
                                         status of professionals scoping analysis
Shanahan, Michael     7/5/2023     0.6   Review fiat exchange data in conjunction with preference exposure
                                         analysis
Shanahan, Michael     7/5/2023     0.6   Review documents related to related individual expenses

Shanahan, Michael     7/5/2023     1.4   Review and revise analysis of cash transactions during 90 day
                                         preference period


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Avoidance Actions
Professional            Date     Hours     Activity
Shanahan, Michael     7/5/2023     0.2   Communications to/from counsel regarding FDM laptop data

Shanahan, Michael     7/5/2023     0.6   Call with M. Shanahan, A. Canale (A&M) to discuss cash preference
                                         analysis updates
Shanahan, Michael     7/5/2023     0.5   Call with L. Ryan, M. Shanahan, A. Canale, J. Lee (A&M) to discuss
                                         cash preference analysis updates
Shanahan, Michael     7/5/2023     0.6   Review documents related to Can Sun expense reimbursements

Shanahan, Michael     7/5/2023     1.4   Draft preliminary observations related to cash preference exposure
                                         analysis
Simkins, Maximilian   7/5/2023     0.9   Prepare script to pull summary stats about what is in the transaction
                                         reports database for internal documentation of cash database
Simkins, Maximilian   7/5/2023     0.7   Create formula to insert data into bank explanations for cash
                                         documentation
Sloan, Austin         7/5/2023     0.2   Call with C. Radis, A. Sloan, M. Haigis, M. Simkins, and E. Hoffer
                                         (A&M) to discuss progress of outstanding items for the cash
                                         database
Strong, Nichole       7/5/2023     0.8   Internal communications regarding review of exchange data related
                                         to certain professional service providers
Strong, Nichole       7/5/2023     0.2   Teleconference with D. Medway, N. Strong, and A. Cox (A&M) to
                                         discuss professional firms exchange activity
Strong, Nichole       7/5/2023     0.2   Teleconference with D. Medway and N. Strong (A&M) to discuss
                                         review of supplemental production by Silicon Valley Accountants
Strong, Nichole       7/5/2023     3.1   Summarize information contained in supplemental Silicon Valley
                                         Accountants document production
Strong, Nichole       7/5/2023     1.2   Review supplemental Silicon Valley Accountants document
                                         production
Strong, Nichole       7/5/2023     0.8   Internal communications regarding supplemental Silicon Valley
                                         Accountants document production
Strong, Nichole       7/5/2023     1.1   Review and summarize exchange data related to employees of
                                         professional service providers engaged by Debtors
Blanchard, Madison    7/6/2023     2.1   Exchange customer preference analysis updates with refreshed data
                                         relating to employees
Blanchard, Madison    7/6/2023     0.6   Analysis of counterparties by category receiving 90-Day cash
                                         preference payments
Canale, Alex          7/6/2023     0.4   Correspond with A&M team regarding token investments by insiders

Canale, Alex          7/6/2023     0.4   Call with S. Kotarba, L. Ryan, M. Shanahan, A. Canale, J. Lee
                                         (A&M) to discuss vendor payments, crypto activity, other insider
                                         payments for purposes of SOFA filings, cash preference analysis
Canale, Alex          7/6/2023     0.1   Call with D. Medway and A. Canale (A&M) regarding presentation of
                                         results of professional firms payments analysis
Canale, Alex          7/6/2023     0.3   Updates to Apollo and Compound lender preference claims reports

Canale, Alex          7/6/2023     0.3   Call with L. Ryan, R. Gordon, A. Canale (A&M) regarding work plan
                                         for avoidance action workstream

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Professional                Date     Hours     Activity
Canale, Alex              7/6/2023     0.5   Teleconference with S. Rand, A. Alden, J. Young, M. Lev, J.
                                             Palmerson, and S. Hill (QE) and L. Ryan, M. Shanahan, A. Canale,
                                             and D. Medway (A&M) regarding professionals report strategy and
                                             preparation
Canale, Alex              7/6/2023     0.7   Call with M. Shanahan, A. Canale (A&M) regarding work plan for
                                             avoidance action workstream
Canale, Alex              7/6/2023     0.2   Call with A. Canale, S. Mimms (A&M) regarding exchange customer
                                             preference analysis
Canale, Alex              7/6/2023     0.4   Review details regarding direction of customer funds to certain FTX
                                             entities
Canale, Alex              7/6/2023     0.2   Call with L. Ryan, M. Shanahan, A. Canale (A&M) regarding FTX
                                             Bahamas litigation
Canale, Alex              7/6/2023     0.2   Call with L. Ryan, A. Canale (A&M) regarding lender preference
                                             exposure claims
Canale, Alex              7/6/2023     0.5   Teleconference with M. Shanahan, A. Canale, and D. Medway
                                             (A&M) regarding professionals payments analysis status
Canale, Alex              7/6/2023     0.3   Review summary of NEAR tokens associated with insiders


Canale, Alex              7/6/2023     0.9   Call with A. Canale and P. McGrath regarding investigation into
                                             certain individuals for potential claims
Canale, Alex              7/6/2023     1.4   Analysis regarding impact of change to treatment of perpetuals in
                                             customer balances
Canale, Alex              7/6/2023     0.8   Analysis of the timing of customer deposits made to the exchanges

Canale, Alex              7/6/2023     0.6   Analysis of exchange positions as of the petition date

Coverick, Steve           7/6/2023     1.3   Review and provide comments on updated draft of [redacted] 3rd
                                             party lender preference analysis
Cox, Allison              7/6/2023     0.5   Call with D. Medway, A. Cox, M. Ebrey (A&M) regarding status of
                                             professional firms payments schedule
Cox, Allison              7/6/2023     0.4   Call with A. Cox, A. Dobbs (A&M) regarding professional firm
                                             analysis for QE
Cox, Allison              7/6/2023     0.3   Call with A. Cox, A. Dobbs, B. Price, M. Ebrey (A&M) regarding QC
                                             process of professional firms payment schedule
Cox, Allison              7/6/2023     0.3   Call with D. Medway and A. Cox (A&M) regarding status of quality
                                             control review of professional firms payments schedule
Cox, Allison              7/6/2023     1.9   Document review in relation to Rivers and Moorehead analysis

Cox, Allison              7/6/2023     2.8   Extract and compile QuickBooks payment history in relation to
                                             professional firms analysis
Cox, Allison              7/6/2023     1.8   Quality control review of new banking data in connection with
                                             previous professional firms analysis
Cox, Allison              7/6/2023     0.6   Teleconference with D. Medway and A. Cox (A&M) to discuss Rivers
                                             and Moorehead analysis
Cox, Allison              7/6/2023     2.1   Review and update formulas in relation to professional firms analysis


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Avoidance Actions
Professional                Date     Hours     Activity
Cox, Allison              7/6/2023     0.5   Teleconference with D. Medway, N. Strong, and A. Cox (A&M) to
                                             discuss professional firms cash analysis
Dobbs, Aaron              7/6/2023     2.3   Construction of summary schedule for legal services firms identified
                                             by QE to assess potential preference period claims
Dobbs, Aaron              7/6/2023     3.1   Quality control of summarization schedule for law firms identified by
                                             QE
Dobbs, Aaron              7/6/2023     2.2   Quality control of summarization schedule for consulting firms
                                             identified by QE
Dobbs, Aaron              7/6/2023     1.1   Quality control of summarization schedule for auditor firms identified
                                             by QE
Dobbs, Aaron              7/6/2023     2.6   Quality control of summarization schedule for accounting firms
                                             identified by QE
Dobbs, Aaron              7/6/2023     0.1   Call with A. Dobbs and B. Price (A&M) regarding the filtering of
                                             counterparties and descriptions on the cash database
Dobbs, Aaron              7/6/2023     0.4   Call with A. Cox, A. Dobbs (A&M) regarding professional firm
                                             analysis for QE
Ebrey, Mason              7/6/2023     0.5   Call with D. Medway, A. Cox, M. Ebrey (A&M) regarding status of
                                             professional firms payments schedule
Ebrey, Mason              7/6/2023     3.0   Edit schedule summarizing payments made to professional firms

Ebrey, Mason              7/6/2023     1.1   Review of cash database payment schedule to QuickBooks
                                             payments
Ebrey, Mason              7/6/2023     0.3   Call with A. Cox, A. Dobbs, B. Price, M. Ebrey (A&M) regarding QC
                                             process of professional firms payment schedule
Ebrey, Mason              7/6/2023     3.1   Construction of schedule for professional firms identified by QE

Ebrey, Mason              7/6/2023     0.4   Call with D. Medway, N. Strong, M. Ebrey, B. Price (A&M) regarding
                                             summarization of schedule for professional firms identified by QE
Esposito, Rob             7/6/2023     0.4   Call with R. Esposito, J. Gany, L. Francis, E. Hoffer (A&M) to
                                             discuss preference analysis, and SOFA filings
Francis, Luke             7/6/2023     0.5   Call with L. Francis, J. Gany, J. Lee (A&M) to discuss status of
                                             amended SOFA 4 filing
Francis, Luke             7/6/2023     0.4   Call with R. Esposito, J. Gany, L. Francis, E. Hoffer (A&M) to
                                             discuss preference analysis, and SOFA filings
Gany, Jared               7/6/2023     0.4   Call with R. Esposito, J. Gany, L. Francis, E. Hoffer (A&M) to
                                             discuss preference analysis, and SOFA filings
Gordon, Robert            7/6/2023     0.3   Call with L. Ryan, R. Gordon, A. Canale (A&M) regarding work plan
                                             for avoidance action workstream
Haigis, Maya              7/6/2023     1.4   Perform fuzzy matching exercise on investors to counterparties to
                                             identify potential matches
Haigis, Maya              7/6/2023     0.5   Call with A. Sloan, M. Haigis, and E. Hoffer (A&M) to FTX insider to
                                             cash database fuzzy matching
Hoffer, Emily             7/6/2023     0.4   Call with M. Shanahan, J. Lee, E. Hoffer (A&M), J. LaBella, E.
                                             Mostoff (AlixPartners), A. Toobin, F. Crocco (S&C), M. Cilia (FTX) to
                                             discuss historical bank statement collection progress


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Avoidance Actions
Professional               Date     Hours     Activity
Hoffer, Emily            7/6/2023     0.5   Call with A. Sloan, M. Haigis, and E. Hoffer (A&M) to FTX insider to
                                            cash database fuzzy matching
Hoffer, Emily            7/6/2023     1.0   Call with E. Hoffer, J. Lee (A&M) to discuss updates to cash
                                            preference analysis
Hoffer, Emily            7/6/2023     0.4   Call with R. Esposito, J. Gany, L. Francis, E. Hoffer (A&M) to
                                            discuss preference analysis, and SOFA filings
Hoffer, Emily            7/6/2023     0.7   Update vendor table within preference period analysis to capture
                                            additional Nuvei transaction fees
Hoffer, Emily            7/6/2023     0.1   Call with E. Hoffer and B. Price (A&M) to discuss the correction of
                                            silos on the bank data matrix
Hoffer, Emily            7/6/2023     0.6   Review bank statement collections progress for purposes of project
                                            management reporting
Hoffer, Emily            7/6/2023     1.3   Review counterparty transaction cash database prior to importing
                                            into cash database for quality control
Hoffer, Emily            7/6/2023     0.8   Review of insider fuzzy match SQL output to determine differences
                                            between excel output for clean up of SQL report to be used in cash
                                            preference analysis moving forward
Hoffer, Emily            7/6/2023     2.4   Review transfers from various FTX accounts to inflows into Circle
                                            accounts to determine on a total level if all transfers were inter-
                                            company transfers during the preference period to be used in cash
                                            preference analysis
Hoffer, Emily            7/6/2023     2.1   Run a fuzzy match of tagged customer transactions within the cash
                                            preference analysis to customer list from the exchange database to
                                            verify tagged customers are customers for use in the cash
                                            preference analysis
Hoffer, Emily            7/6/2023     1.2   Communicate with team about reasons for mapping various
                                            columns of Stripe transaction report to certain columns for creation
                                            of new table in AWS for account reconciliation purposes
Kotarba, Steve           7/6/2023     0.6   Review source data files for specific avoidance action targets for
                                            discussion with team
Kotarba, Steve           7/6/2023     0.4   Call with S. Kotarba, L. Ryan, M. Shanahan, A. Canale, J. Lee
                                            (A&M) to discuss vendor payments, crypto activity, other insider
                                            payments for purposes of SOFA filings, cash preference analysis
Lee, Julian              7/6/2023     0.1   Correspond with team regarding select insider payment from West
                                            Real Shires Services
Lee, Julian              7/6/2023     0.6   Update cash preference analysis slide deck for summary chart,
                                            vendors
Lee, Julian              7/6/2023     1.6   Review customer stratification analysis for purposes of cash
                                            preference slide deck
Lee, Julian              7/6/2023     0.3   Review Circle mapping for purposes of ingestion into cash database

Lee, Julian              7/6/2023     0.1   Update payment analysis to select insiders from WRSS Inc


Lee, Julian              7/6/2023     0.3   Update workpaper for select insider payments during preference
                                            period
Lee, Julian              7/6/2023     0.2   Review cash payments for the benefit of insiders identified in
                                            amended SOFA 4


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Avoidance Actions
Professional               Date     Hours     Activity
Lee, Julian              7/6/2023     0.1   Correspond with team to prepare responses to AlixPartners inquiries
                                            regarding additional debtor, non-debtor accounts
Lee, Julian              7/6/2023     0.3   Review findings related to funding accounts for select donations
                                            directed by insiders
Lee, Julian              7/6/2023     0.1   Review preference period payments to Circle to compare against
                                            inflows to Circle debtor accounts
Lee, Julian              7/6/2023     1.0   Call with E. Hoffer, J. Lee (A&M) to discuss updates to cash
                                            preference analysis
Lee, Julian              7/6/2023     0.5   Call with L. Francis, J. Gany, J. Lee (A&M) to discuss status of
                                            amended SOFA 4 filing
Lee, Julian              7/6/2023     0.8   Call with M. Shanahan, J. Lee (A&M) to discuss updates to cash
                                            preference analysis
Lee, Julian              7/6/2023     0.4   Call with M. Shanahan, J. Lee, E. Hoffer (A&M), J. LaBella, E.
                                            Mostoff (AlixPartners), A. Toobin, F. Crocco (S&C), M. Cilia (FTX) to
                                            discuss historical bank statement collection progress
Lee, Julian              7/6/2023     0.1   Correspond with team regarding customer stratification analysis


Lee, Julian              7/6/2023     0.4   Call with S. Kotarba, L. Ryan, M. Shanahan, A. Canale, J. Lee
                                            (A&M) to discuss vendor payments, crypto activity, other insider
                                            payments for purposes of SOFA filings, cash preference analysis
Lee, Julian              7/6/2023     0.1   Correspond with Circle regarding data fields to extract for purposes
                                            of counterparty identification re: cash database
Lee, Julian              7/6/2023     0.2   Correspond with team regarding Analisya accounts with UOB, DBS
                                            for purposes of cash database
Lee, Julian              7/6/2023     0.3   Correspond with team regarding crypto activity related to Digital
                                            Gamma, StraitsX
McGrath, Patrick         7/6/2023     1.6   Perform analysis on ventures investments for potential claims


McGrath, Patrick         7/6/2023     2.4   Perform analysis on individuals exchange transactions at the
                                            request of counsel
McGrath, Patrick         7/6/2023     0.9   Call with A. Canale and P. McGrath regarding investigation into
                                            certain individuals for potential claims
Medway, David            7/6/2023     0.5   Call with D. Medway, A. Cox, M. Ebrey (A&M) regarding status of
                                            professional firms payments schedule
Medway, David            7/6/2023     0.1   Call with D. Medway and A. Canale (A&M) regarding presentation of
                                            results of professional firms payments analysis
Medway, David            7/6/2023     0.4   Call with D. Medway, N. Strong, M. Ebrey, B. Price (A&M) regarding
                                            summarization of schedule for professional firms identified by QE
Medway, David            7/6/2023     0.5   Prepare for call with QE regarding professional firms report

Medway, David            7/6/2023     0.4   Prepare for internal call regarding status of professional firms
                                            payment data aggregation
Medway, David            7/6/2023     1.0   Prepare workplan for follow up investigation items as a result of
                                            review and analysis of key Rivers & Moorehead documents
                                            identified in staff review



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Professional            Date     Hours     Activity
Medway, David         7/6/2023     0.8   Review and analyze results of review of Rivers & Moorehead
                                         documents and communications located in Debtors' records
Medway, David         7/6/2023     2.2   Review and edit schedules summarizing results of professional firms
                                         payment data aggregation and analysis
Medway, David         7/6/2023     0.5   Teleconference with S. Rand, A. Alden, J. Young, M. Lev, J.
                                         Palmerson, and S. Hill (QE) and L. Ryan, M. Shanahan, A. Canale,
                                         and D. Medway (A&M) regarding professionals report strategy and
                                         preparation
Medway, David         7/6/2023     1.3   Review results of professional firms payment data aggregation

Medway, David         7/6/2023     0.3   Call with D. Medway and N. Strong (A&M) regarding strategy for
                                         professional firms exchange data research
Medway, David         7/6/2023     0.4   Internal communications regarding results of professional firms
                                         payment data aggregation
Medway, David         7/6/2023     0.3   Call with D. Medway and A. Cox (A&M) regarding status of quality
                                         control review of professional firms payments schedule
Medway, David         7/6/2023     0.6   Review status of professional firms payment data aggregation
                                         quality control review
Medway, David         7/6/2023     0.6   Teleconference with D. Medway and A. Cox (A&M) to discuss Rivers
                                         and Moorehead analysis
Medway, David         7/6/2023     0.5   Teleconference with D. Medway, N. Strong, and A. Cox (A&M) to
                                         discuss professional firms cash analysis
Medway, David         7/6/2023     0.5   Teleconference with M. Shanahan, A. Canale, and D. Medway
                                         (A&M) regarding professionals payments analysis status
Medway, David         7/6/2023     0.1   Call with D. Medway and M. Shanahan (A&M) regarding status of
                                         professional firms payments analysis
Mimms, Samuel         7/6/2023     3.2   Update exchange customer preference analysis for top FTX
                                         Exchange customers for Board presentation
Mimms, Samuel         7/6/2023     0.7   Review documents on lender preference claim analysis for Matrix

Mimms, Samuel         7/6/2023     2.2   Correspond with colleagues regarding updates to underlying data for
                                         exchange customer preference analysis
Mimms, Samuel         7/6/2023     1.6   Continue to update exchange customer preference analysis for top
                                         FTX Exchange customers for Board presentation
Mimms, Samuel         7/6/2023     0.2   Call with A. Canale, S. Mimms (A&M) regarding exchange customer
                                         preference analysis
Price, Breanna        7/6/2023     0.6   Identify and apply silos for legal entities to the bank data matrix

Price, Breanna        7/6/2023     0.3   Call with A. Cox, A. Dobbs, B. Price, M. Ebrey (A&M) regarding QC
                                         process of professional firms payment schedule
Price, Breanna        7/6/2023     0.1   Call with A. Dobbs and B. Price (A&M) regarding the filtering of
                                         counterparties and descriptions on the cash database
Price, Breanna        7/6/2023     0.4   Call with D. Medway, N. Strong, M. Ebrey, B. Price (A&M) regarding
                                         summarization of schedule for professional firms identified by QE
Price, Breanna        7/6/2023     2.6   Search cash database for transactions related to various accounting
                                         firms for the purposes of the third interim report

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Avoidance Actions
Professional            Date     Hours     Activity
Price, Breanna        7/6/2023     0.3   Continue searching the cash database transactions related to
                                         various law firms for the purposes of the third interim report
Price, Breanna        7/6/2023     0.9   Replace debtor-produced Signature bank statements for FTX
                                         Trading Ltd with the bank-produced versions for the purposes of
                                         maintaining accuracy
Price, Breanna        7/6/2023     0.1   Call with E. Hoffer and B. Price (A&M) to discuss the correction of
                                         silos on the bank data matrix
Ryan, Laureen         7/6/2023     0.2   Correspond with A&M Team regarding activity reflected within crypto
                                         bank statements
Ryan, Laureen         7/6/2023     0.2   Call with L. Ryan, A. Canale (A&M) regarding lender preference
                                         exposure claims
Ryan, Laureen         7/6/2023     0.2   Correspond with A&M Team regarding Redwood Valuation -
                                         Engagement Letters and Valuations/
Ryan, Laureen         7/6/2023     0.3   Correspond with A&M Team regarding updates to lender analysis
                                         related to Apollo and Compound
Ryan, Laureen         7/6/2023     0.2   Correspond with A&M Team regarding updates to professional firms
                                         investigation into potential recoveries
Ryan, Laureen         7/6/2023     0.6   Correspond with QE and A&M team regarding Bahamas litigation
                                         workstream
Ryan, Laureen         7/6/2023     0.2   Correspond with QE and A&M team regarding investigation into
                                         certain charitable donations
Ryan, Laureen         7/6/2023     0.3   Correspond with A&M team regarding avoidance action strategy

Ryan, Laureen         7/6/2023     0.5   Teleconference with S. Rand, A. Alden, J. Young, M. Lev, J.
                                         Palmerson, and S. Hill (QE) and L. Ryan, M. Shanahan, A. Canale,
                                         and D. Medway (A&M) regarding professionals report strategy and
                                         preparation
Ryan, Laureen         7/6/2023     0.3   Call with L. Ryan, R. Gordon, A. Canale (A&M) regarding work plan
                                         for avoidance action workstream
Ryan, Laureen         7/6/2023     0.2   Call with L. Ryan, M. Shanahan, A. Canale (A&M) regarding FTX
                                         Bahamas litigation
Ryan, Laureen         7/6/2023     0.4   Call with S. Kotarba, L. Ryan, M. Shanahan, A. Canale, J. Lee
                                         (A&M) to discuss vendor payments, crypto activity, other insider
                                         payments for purposes of SOFA filings, cash preference analysis
Shanahan, Michael     7/6/2023     0.5   Review documents in preparation for call with counsel regarding 3rd
                                         interim report
Shanahan, Michael     7/6/2023     0.2   Review status of bank productions in preparation for call with counsel

Shanahan, Michael     7/6/2023     0.5   Teleconference with S. Rand, A. Alden, J. Young, M. Lev, J.
                                         Palmerson, and S. Hill (QE) and L. Ryan, M. Shanahan, A. Canale,
                                         and D. Medway (A&M) regarding professionals report strategy and
                                         preparation
Shanahan, Michael     7/6/2023     2.2   Review and revise cash preference exposure deck


Shanahan, Michael     7/6/2023     0.5   Teleconference with M. Shanahan, A. Canale, and D. Medway
                                         (A&M) regarding professionals payments analysis status



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Avoidance Actions
Professional            Date     Hours     Activity
Shanahan, Michael     7/6/2023     0.8   Call with M. Shanahan, J. Lee (A&M) to discuss updates to cash
                                         preference analysis
Shanahan, Michael     7/6/2023     0.1   Call with D. Medway and M. Shanahan (A&M) regarding status of
                                         professional firms payments analysis
Shanahan, Michael     7/6/2023     0.2   Call with L. Ryan, M. Shanahan, A. Canale (A&M) regarding FTX
                                         Bahamas litigation
Shanahan, Michael     7/6/2023     0.8   Review and revise preliminary observations for cash preference deck

Shanahan, Michael     7/6/2023     0.3   Review and revise follow-up request for Circle Bank


Shanahan, Michael     7/6/2023     0.7   Call with M. Shanahan, A. Canale (A&M) regarding work plan for
                                         avoidance action workstream
Shanahan, Michael     7/6/2023     0.4   Call with M. Shanahan, J. Lee, E. Hoffer (A&M), J. LaBella, E.
                                         Mostoff (AlixPartners), A. Toobin, F. Crocco (S&C), M. Cilia (FTX) to
                                         discuss historical bank statement collection progress
Shanahan, Michael     7/6/2023     0.4   Call with S. Kotarba, L. Ryan, M. Shanahan, A. Canale, J. Lee
                                         (A&M) to discuss vendor payments, crypto activity, other insider
                                         payments for purposes of SOFA filings, cash preference analysis
Shanahan, Michael     7/6/2023     0.3   Communications to/from team regarding cash balances at petition
                                         date
Shanahan, Michael     7/6/2023     0.6   Review analysis of FBO accounts in connection with counsel inquiry


Shanahan, Michael     7/6/2023     0.4   Draft response to counsel inquiry regarding commingling of
                                         customer funds
Shanahan, Michael     7/6/2023     0.2   Communications to/from team regarding stratification of FBO
                                         account activity
Simkins, Maximilian   7/6/2023     0.6   Prepare script for summary stats about what is in the transaction
                                         reports database for internal documentation of cash database
Simkins, Maximilian   7/6/2023     1.2   Create formula to insert data into detailed bank explanations for
                                         cash database documentation
Sloan, Austin         7/6/2023     1.4   Process additional Silvergate bank statements in Valid8. In relation
                                         to cash database construction
Sloan, Austin         7/6/2023     1.7   Process DBS bank statements in Valid8. In relation to cash
                                         database construction
Sloan, Austin         7/6/2023     0.5   Call with A. Sloan, M. Haigis, and E. Hoffer (A&M) to FTX insider to
                                         cash database fuzzy matching
Strong, Nichole       7/6/2023     0.5   Teleconference with D. Medway, N. Strong, and A. Cox (A&M) to
                                         discuss professional firms cash analysis
Strong, Nichole       7/6/2023     2.6   Perform searches in public and debtor records to improve
                                         professional firms exchange data research request
Strong, Nichole       7/6/2023     0.4   Call with D. Medway, N. Strong, M. Ebrey, B. Price (A&M) regarding
                                         summarization of schedule for professional firms identified by QE
Strong, Nichole       7/6/2023     0.3   Call with D. Medway and N. Strong (A&M) regarding strategy for
                                         professional firms exchange data research
Strong, Nichole       7/6/2023     0.1   Teleconference with N. Strong and M. Sunkara (A&M) regarding
                                         professional firms exchange data research

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Avoidance Actions
Professional                Date     Hours     Activity
Sunkara, Manasa           7/6/2023     0.1   Teleconference with N. Strong and M. Sunkara (A&M) regarding
                                             professional firms exchange data research
Blanchard, Madison        7/7/2023     0.2   Review of findings relating to research of backdated transactions
                                             prepared by database request team
Blanchard, Madison        7/7/2023     1.3   Exchange customer preference analysis updates relating to
                                             employees
Blanchard, Madison        7/7/2023     0.3   Call with A. Canale, M. Blanchard (A&M) regarding review
                                             comments on exchange customer preference analysis
Blanchard, Madison        7/7/2023     0.4   Call with J. Lee, M. Blanchard (A&M) to discuss payments to
                                             insiders, vendors for purposes of cash preference analysis
Blanchard, Madison        7/7/2023     0.9   Analysis relating to payments to insiders, vendors for purposes of
                                             cash preference analysis
Canale, Alex              7/7/2023     0.3   Call with M. Shanahan, A. Canale (A&M) regarding payments to
                                             professionals
Canale, Alex              7/7/2023     0.8   Revisions to exchange customer preference analysis based on
                                             discussions with A&M team
Canale, Alex              7/7/2023     0.6   Review details of fiat withdrawals during the preference period


Canale, Alex              7/7/2023     0.3   Prepare responses to review queries regarding FTX and Alameda
                                             exchange accounts
Canale, Alex              7/7/2023     0.9   Call with S. Coverick, L. Ryan, M. Shanahan, R. Gordon, A. Canale
                                             (A&M) M. Scheck, M. Anderson (QE) regarding FTX Bahamas
                                             litigation
Canale, Alex              7/7/2023     1.1   Analysis of token transactions associated with insiders for potential
                                             avoidance actions
Canale, Alex              7/7/2023     0.3   Call with A. Canale and P. McGrath regarding investigation into
                                             certain individuals for potential claims
Canale, Alex              7/7/2023     0.3   Call with A. Canale, M. Blanchard (A&M) regarding review
                                             comments on exchange customer preference analysis
Canale, Alex              7/7/2023     0.7   Analysis of transactions in key insider exchange accounts for
                                             potential avoidance actions
Canale, Alex              7/7/2023     0.2   Call with A. Canale, S. Glustein (A&M) and A. Kutscher (QE)
                                             regarding Venture Book claims update
Cox, Allison              7/7/2023     0.5   Call with N. Strong, A. Cox, A. Dobbs (A&M) regarding quality
                                             control of schedule for professional firms identified by QE
Cox, Allison              7/7/2023     0.6   Call with A. Cox and M. Ebrey (A&M) regarding summarization of
                                             schedule for professional firms identified by QE
Cox, Allison              7/7/2023     0.2   Call with A. Cox, A. Dobbs (A&M) regarding quality control of
                                             schedule for professional firms identified by QE
Cox, Allison              7/7/2023     2.2   Reconcile QuickBooks payment history to professional firms cash
                                             payment history
Cox, Allison              7/7/2023     2.3   Extract QuickBooks payment history in relation to second set of
                                             professional firms identified
Cox, Allison              7/7/2023     2.2   Extract QuickBooks payment history in relation to first set of
                                             professional firms identified


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Avoidance Actions
Professional                Date     Hours     Activity
Cox, Allison              7/7/2023     1.1   Document review in relation to Rivers and Moorehead analysis

Dobbs, Aaron              7/7/2023     0.2   Call with A. Cox, A. Dobbs (A&M) regarding quality control of
                                             schedule for professional firms identified by QE
Dobbs, Aaron              7/7/2023     0.5   Call with N. Strong, A. Cox, A. Dobbs (A&M) regarding quality
                                             control of schedule for professional firms identified by QE
Dobbs, Aaron              7/7/2023     0.2   Call with A. Dobbs and I. Patel (A&M) regarding Relativity searches
                                             for Law Firm tracker
Dobbs, Aaron              7/7/2023     1.6   Targeted searches for law firm domain data as identified by QE to
                                             assess potential preference period claims
Dobbs, Aaron              7/7/2023     2.8   Targeted searches for outside consultant domain data as identified
                                             by QE to assess potential preference period claims
Dobbs, Aaron              7/7/2023     1.6   Targeted searches for outside auditor domain data as identified by
                                             QE to assess potential preference period claims
Dobbs, Aaron              7/7/2023     2.1   Targeted searches for legal services providers domain data as
                                             identified by QE to assess potential preference period claims
Dobbs, Aaron              7/7/2023     0.4   Call with N. Strong and A. Dobbs (A&M) regarding targeted
                                             searches to identify professional firms for potential exchange data
Dobbs, Aaron              7/7/2023     0.1   Call with D. Medway, N. Strong, A. Dobbs (A&M) regarding targeted
                                             searches for professional firms domains identified by QE
Ebrey, Mason              7/7/2023     3.1   Construction of summary tables for professional firms detailed
                                             payments history
Ebrey, Mason              7/7/2023     0.6   Call with A. Cox and M. Ebrey (A&M) regarding summarization of
                                             schedule for professional firms identified by QE
Ebrey, Mason              7/7/2023     0.5   Call with D. Medway, M. Ebrey, B. Price (A&M) regarding
                                             professional firms identified by QE analysis
Ebrey, Mason              7/7/2023     3.1   Review of cash database payment schedule to QuickBooks
                                             payments
Ebrey, Mason              7/7/2023     0.8   Edit schedule summarizing payments made to professionals

Gany, Jared               7/7/2023     0.2   Call with J. Gany, J. Lee (A&M) to discuss reconciliation of
                                             preference period payments to Circle
Gany, Jared               7/7/2023     0.3   Call with J. Gany, J. Lee (A&M) to discuss insider payments verified
                                             to bank data re: SOFA 4
Glustein, Steven          7/7/2023     0.7   Call with L. Lambert, A. Canale, P. McGrath, S. Glustein, A. Heric
                                             (A&M), J. Croke, A. Holland, K. Mayberry, C. Dunne M. Materni
                                             (S&C) regarding analysis of token transactions associated with
                                             insiders
Glustein, Steven          7/7/2023     0.2   Call with A. Canale, S. Glustein (A&M) and A. Kutscher (QE)
                                             regarding Venture Book claims update
Haigis, Maya              7/7/2023     0.6   Review fuzzy matching exercise between investors and
                                             counterparties
Hoffer, Emily             7/7/2023     0.8   Review manual reconciliation of transactions into Circle accounts to
                                             determine potential reason for day differences from various accounts
Hoffer, Emily             7/7/2023     0.5   Call with J. Lee, E. Hoffer (A&M) and M. Cilia (FTX) to discuss
                                             various cash database tables

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Professional               Date     Hours     Activity
Hoffer, Emily            7/7/2023     0.6   Communicate with team about potential differences between debtor
                                            records and bank records for Transfero account 17
Hoffer, Emily            7/7/2023     0.7   Update cash preference analysis for transactions sent to Circle
                                            accounts to exclude as all were inter-entity
Hoffer, Emily            7/7/2023     0.9   Update cash database mapping for Circle accounts to account for
                                            type of transactions for use in reconciliation of accounts
Hoffer, Emily            7/7/2023     0.4   Teleconference with E. Hoffer and C. Radis (A&M) to discuss cash
                                            database tracker
Hoffer, Emily            7/7/2023     1.2   Review updated SOFA 4 to determine potential breakout between
                                            foreign versus US transactions for use in cash preference analysis
Hoffer, Emily            7/7/2023     0.4   Review Nuvei's response around negative interest calculation to
                                            determine if we reconcile with their calculation for purposes of
                                            account reconciliation
Hoffer, Emily            7/7/2023     0.9   Perform manual reconciliation review of Silicon Valley LedgerX bank
                                            accounts from AWS metabase to native source PDFs ensuring
                                            accuracy of all data elements
Hoffer, Emily            7/7/2023     0.4   Call with E. Hoffer and I. Patel (A&M) to reconcile Circle transactions
                                            between accounts
Hoffer, Emily            7/7/2023     0.9   Document newly identified accounts related to FTX turkey entities
                                            for use in the cash database
Hoffer, Emily            7/7/2023     1.1   Compile static versions of bank statement tracker to be shared with
                                            AlixPartners
Lee, Julian              7/7/2023     0.3   Review bank communication tracker for weekly PMO slide update

Lee, Julian              7/7/2023     0.4   Review of bank account tracker for weekly update

Lee, Julian              7/7/2023     0.3   Call with J. Gany, J. Lee (A&M) to discuss insider payments verified
                                            to bank data re: SOFA 4
Lee, Julian              7/7/2023     0.2   Call with J. Gany, J. Lee (A&M) to discuss reconciliation of
                                            preference period payments to Circle
Lee, Julian              7/7/2023     0.5   Call with J. Lee, E. Hoffer (A&M) and M. Cilia (FTX) to discuss
                                            various cash database tables
Lee, Julian              7/7/2023     0.4   Call with J. Lee, M. Blanchard (A&M) to discuss payments to
                                            insiders, vendors for purposes of cash preference analysis
Lee, Julian              7/7/2023     0.2   Correspond with accounting team regarding SOFA reporting for
                                            crypto balances in Digital Gamma, StraitsX
Lee, Julian              7/7/2023     0.4   Correspond with Debtor regarding Transfero account balance

Lee, Julian              7/7/2023     0.2   Review Circle mapping for purposes of ingestion into cash database

Lee, Julian              7/7/2023     0.4   Review of Nuvei responses to inquiries on interest charges


Lee, Julian              7/7/2023     1.2   Prepare inquiry for Circle re: Alameda Research Ltd account
                                            balance discrepancy
Lee, Julian              7/7/2023     0.2   Correspond with team regarding preference period payments to
                                            Circle, determination of transfers within same debtor entity

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Avoidance Actions
Professional               Date     Hours     Activity
Lee, Julian              7/7/2023     0.1   Correspond with team regarding updates to preference exposure re:
                                            insiders, vendors
Lee, Julian              7/7/2023     0.4   Correspond with team regarding updates to insider payments per
                                            amended SOFA 4 data
Lee, Julian              7/7/2023     0.2   Correspond with team regarding cash payments for the benefit of
                                            insiders identified in amended SOFA 4
Lee, Julian              7/7/2023     0.2   Update preference exposure of top insiders for cash preference
                                            analysis
Lee, Julian              7/7/2023     0.3   Correspond with S&C team regarding Nuvei's response on interest
                                            charges
Lee, Julian              7/7/2023     0.3   Correspond with AlixPartners regarding updated weekly bank
                                            account tracker, underlying bank data
Lee, Julian              7/7/2023     0.2   Correspond with team regarding counterparty identification for Circle
                                            accounts using plaid data
McGrath, Patrick         7/7/2023     0.7   Call with L. Lambert, A. Canale, P. McGrath, S. Glustein, A. Heric
                                            (A&M), J. Croke, A. Holland, K. Mayberry, C. Dunne M. Materni
                                            (S&C) regarding analysis of token transactions associated with
                                            insiders
McGrath, Patrick         7/7/2023     2.9   Analyze individuals exchange transactions at the request of counsel

McGrath, Patrick         7/7/2023     2.9   Review individual exchange transactions for potential recovery


Medway, David            7/7/2023     1.4   Review results of quality control review of professional firms
                                            payment data aggregation
Medway, David            7/7/2023     1.3   Prepare background section to memo documenting results of Rivers
                                            & Moorehead investigation
Medway, David            7/7/2023     0.5   Call with D. Medway, M. Ebrey, B. Price (A&M) regarding
                                            professional firms identified by QE analysis
Medway, David            7/7/2023     1.2   Investigate nature of Rivers & Moorehead valuation engagement

Medway, David            7/7/2023     0.8   Review results of investigation to identify professional firm email
                                            domains for comparison against exchange account data
Medway, David            7/7/2023     0.6   Call with M. Shanahan and D. Medway (A&M) regarding status of
                                            professionals investigations
Medway, David            7/7/2023     0.1   Call with D. Medway, N. Strong, A. Dobbs (A&M) regarding targeted
                                            searches for professional firms domains identified by QE
Medway, David            7/7/2023     1.7   Summarize understanding of nature of Rivers & Moorehead
                                            valuation engagement
Mimms, Samuel            7/7/2023     0.1   Call with P. McGrath, S. Mimms (A&M) regarding Alameda loan
                                            preference analysis workstream
Mimms, Samuel            7/7/2023     0.4   Correspond with colleagues regarding updates to underlying data for
                                            exchange customer preference analysis
Patel, Ishika            7/7/2023     0.4   Call with E. Hoffer and I. Patel (A&M) to reconcile Circle
                                            transactions between accounts
Patel, Ishika            7/7/2023     1.3   Reconcile Circle Transactions between FTX entity Silvergate bank
                                            accounts

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Professional             Date     Hours     Activity
Patel, Ishika          7/7/2023     1.1   Targeted searches for legal services providers domain data as
                                          identified by QE to assess potential preference period claims
Patel, Ishika          7/7/2023     0.2   Call with A. Dobbs and I. Patel (A&M) regarding Relativity searches
                                          for Law Firm tracker
Price, Breanna         7/7/2023     0.5   Call with D. Medway, M. Ebrey, B. Price (A&M) regarding
                                          professional firms identified by QE analysis
Price, Breanna         7/7/2023     2.3   Compare the transactions related to law, consulting, and accounting
                                          firms in the cashbase to the corresponding transactions in
                                          QuickBooks in order to make necessary adjustments
Price, Breanna         7/7/2023     1.1   Complete the replacing of debtor-produced Signature bank
                                          statements for FTX Trading Ltd with the bank-produced versions for
                                          the purposes of maintaining accuracy
Price, Breanna         7/7/2023     0.8   Continue searching the cash database transactions related to
                                          various consulting firms for the purposes of the third interim report
Price, Breanna         7/7/2023     2.6   Search the cash database transactions related to various consulting
                                          firms for the purposes of the third interim report
Radis, Cameron         7/7/2023     0.4   Teleconference with E. Hoffer and C. Radis (A&M) to discuss cash
                                          database tracker
Radis, Cameron         7/7/2023     2.6   Perform SQL based exercise to reconcile eleven new Silicon Valley
                                          bank account transactions to summary balances
Radis, Cameron         7/7/2023     0.6   Perform SQL based exercise to push reconciled transactions to
                                          Metabase views for eleven new Silicon Valley bank account
                                          transactions
Radis, Cameron         7/7/2023     1.2   Perform SQL based analysis to identify timeframe gaps for all
                                          Silicon Valley bank accounts
Radis, Cameron         7/7/2023     1.4   Perform quality control review of eleven new Silicon Valley bank
                                          account transactions reconciliation
Ramanathan, Kumanan    7/7/2023     0.3   Review of customer preference analysis and discuss with team


Ryan, Laureen          7/7/2023     0.2   Edit PMO reporting and weekly workstream tracker

Ryan, Laureen          7/7/2023     0.4   Correspond with A&M team regarding SOFA 3 reporting related to
                                          Customer Preference Data
Ryan, Laureen          7/7/2023     0.2   Correspond with QE and A&M team regarding investigation into
                                          reimbursement related to Can Sun
Ryan, Laureen          7/7/2023     0.3   Correspond with QE and A&M team regarding documents relevant
                                          to avoidance actions
Ryan, Laureen          7/7/2023     0.2   Correspond with EY and A&M team regarding additional EY FTX
                                          TY22 Information Requests
Ryan, Laureen          7/7/2023     0.1   Correspond with Alix and A&M team regarding bank tracker updates

Ryan, Laureen          7/7/2023     0.2   Correspond with A&M team regarding updates to workstream tracker
                                          and PMO
Ryan, Laureen          7/7/2023     0.6   Correspond with A&M team Customer Preference Data pricing and
                                          volume metrics



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Professional                Date     Hours     Activity
Ryan, Laureen             7/7/2023     0.4   Correspond with A&M team regarding work plan strategy for
                                             avoidance claims
Ryan, Laureen             7/7/2023     0.2   Correspond with S&C, Nardello and A&M team regarding Peng and
                                             Minhua Draft Report
Shanahan, Michael         7/7/2023     0.7   Review preliminary schedules of payments to professionals by FTX
                                             Debtors
Shanahan, Michael         7/7/2023     1.2   Review complaint against FDM and other related documents in
                                             preparation for call with counsel
Shanahan, Michael         7/7/2023     0.2   Review cash database and avoidance action workstream slides for
                                             upcoming PMO meeting
Shanahan, Michael         7/7/2023     0.8   Preliminary review of documents related to Redwood

Shanahan, Michael         7/7/2023     0.3   Communications to/from team regarding updated to cash preference
                                             deck
Shanahan, Michael         7/7/2023     0.6   Call with M. Shanahan and D. Medway (A&M) regarding status of
                                             professionals investigations
Simoneaux, Nicole         7/7/2023     1.2   Consolidate avoidance analysis with cash payroll actuals for drafting
                                             of relief
Sloan, Austin             7/7/2023     1.6   Create statement summary load file for DBS bank statements. In
                                             relation to cash database construction
Sloan, Austin             7/7/2023     1.7   Create statement detail load file for additional Silvergate bank
                                             statements. In relation to cash database construction
Sloan, Austin             7/7/2023     1.9   Create statement detail load file for DBS bank statements. In
                                             relation to cash database construction
Sloan, Austin             7/7/2023     1.4   Create statement summary load file for additional Silvergate bank
                                             statements. In relation to cash database construction
Strong, Nichole           7/7/2023     2.7   Review public and debtor records relevant to professional services
                                             firms analysis
Strong, Nichole           7/7/2023     0.5   Call with N. Strong, A. Cox, A. Dobbs (A&M) regarding quality
                                             control of schedule for professional firms identified by QE
Strong, Nichole           7/7/2023     1.6   Internal communications regarding Parts I and II of professional
                                             firms exchange data research request
Strong, Nichole           7/7/2023     0.4   Call with N. Strong and A. Dobbs (A&M) regarding targeted
                                             searches to identify professional firms for potential exchange data
Strong, Nichole           7/7/2023     0.1   Call with D. Medway, N. Strong, A. Dobbs (A&M) regarding targeted
                                             searches for professional firms domains identified by QE
Strong, Nichole           7/7/2023     1.4   Perform searches in public and debtor records to improve
                                             professional firms exchange data research request
Canale, Alex              7/8/2023     1.6   Analysis regarding accounts associated with insider exchange
                                             accounts
Canale, Alex              7/8/2023     1.4   Review and edit professionals report outline prepared by QE


Cox, Allison              7/8/2023     1.1   Compare QuickBooks activity per vendor to professional fees paid
                                             per banking history




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Professional               Date     Hours     Activity
Ebrey, Mason             7/8/2023     2.2   Update schedule summarizing payments to professional firms

McGrath, Patrick         7/8/2023     1.4   Respond to counsel requests regarding individual's exchange
                                            transactions
Medway, David            7/8/2023     0.6   Review staff progress on professionals firms cash data aggregation,
                                            reporting and quality control review
Medway, David            7/8/2023     0.3   Communications with database team regarding professionals firms
                                            exchange data request
Medway, David            7/8/2023     0.3   Internal communications regarding staff progress on professionals
                                            firms cash data aggregation, reporting and quality control review
Patel, Ishika            7/8/2023     1.0   Targeted searches for legal services providers domain data as
                                            identified by QE to assess potential preference period claims
Ryan, Laureen            7/8/2023     0.2   Correspond with A&M team regarding status of comments on outline
                                            for professionals report
Ryan, Laureen            7/8/2023     0.2   Correspond with QE and A&M team regarding outline for
                                            investigation into professionals report
Ryan, Laureen            7/8/2023     0.4   Review and edit draft outline for professionals report for ultimate
                                            court filing
Ryan, Laureen            7/8/2023     0.2   Correspond with A&M team regarding breakdown of exchange
                                            withdrawals between cash and crypto
Shanahan, Michael        7/8/2023     0.4   Preliminary review of outline for 3rd interim report

Strong, Nichole          7/8/2023     0.2   Internal communications to clarify Parts I and II of professional firms
                                            exchange data research request
Dobbs, Aaron             7/9/2023     1.9   Targeted searches for consultant firms domain data as identified by
                                            QE to assess potential preference period claims
Dobbs, Aaron             7/9/2023     2.3   Targeted searches for professional firms domain data as identified
                                            by QE to assess potential preference period claims
Ebrey, Mason             7/9/2023     0.5   Construction of summary table for related individual expense
                                            payments
Kotarba, Steve           7/9/2023     0.7   Review update and analyze supporting data re avoidance action
                                            pursuits
Kotarba, Steve           7/9/2023     0.7   Analyze and comment on avoidance action support files

Lee, Julian              7/9/2023     0.2   Correspond with team regarding payroll database inquiry for West
                                            Realm Shires Services
Medway, David            7/9/2023     0.2   Internal communications regarding results of review of professionals
                                            report outline
Medway, David            7/9/2023     0.2   Internal communications regarding staff questions on analysis to
                                            quantify cash payments to known professionals
Medway, David            7/9/2023     1.9   Review professionals report outline and prepare edits and comments
                                            for QE review
Medway, David            7/9/2023     0.3   Internal communications regarding status of analysis to identify
                                            exchange accounts owned by known professionals




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Avoidance Actions
Professional            Date     Hours     Activity
Ryan, Laureen         7/9/2023     0.2   Correspond with QE and A&M team regarding comments on outline
                                         for professionals report
Shanahan, Michael     7/9/2023     0.9   Review and revise outline for 3rd interim report


Blanchard, Madison   7/10/2023     2.7   Prepare presentation of analysis and findings regarding Tesseract
                                         lending claim
Blanchard, Madison   7/10/2023     2.2   Continue presentation of analysis and findings regarding Tesseract
                                         lending claim
Blanchard, Madison   7/10/2023     2.4   Analysis of 90-Day cash preference payments relating to vendors


Blanchard, Madison   7/10/2023     0.6   Continue exchange customer preference analysis updates relating to
                                         employees
Blanchard, Madison   7/10/2023     0.3   Call with M. Blanchard, S. Mimms (A&M) regarding Matrix Port
                                         lender analysis
Blanchard, Madison   7/10/2023     0.4   Call with M. Blanchard, A. Canale (A&M) regarding Tesseract lender
                                         analysis
Blanchard, Madison   7/10/2023     0.3   Call with M. Blanchard, A. Canale, P. McGrath (A&M) regarding
                                         Tesseract lender analysis
Blanchard, Madison   7/10/2023     0.4   Call with J. Lee, M. Blanchard (A&M) to discuss vendor classification
                                         for purposes of cash preference analysis
Canale, Alex         7/10/2023     0.9   Review and edit complaint exhibit for individuals with preference
                                         exposure
Canale, Alex         7/10/2023     0.2   Teleconference with D. Medway and A. Canale (A&M) regarding
                                         results of analysis to quantify payments to professionals
Canale, Alex         7/10/2023     1.1   Review updated schedule summarizing insider exchange preference
                                         analysis and edit
Canale, Alex         7/10/2023     0.9   Review summary of expenses reimbursed to insider and documents
                                         related thereto
Canale, Alex         7/10/2023     0.3   Review outline of draft interim report related to Debtor professionals
                                         provided to FTX management
Canale, Alex         7/10/2023     0.8   Review exchange withdrawals split between cash and crypto


Canale, Alex         7/10/2023     0.4   Review engagement letter, invoices and correspondence related to
                                         professional services firms relevant to third interim report
Canale, Alex         7/10/2023     0.6   Correspond with A&M team regarding cash preference payments
                                         analysis
Canale, Alex         7/10/2023     0.7   Continue analysis of data relating to exchange payments to insiders


Canale, Alex         7/10/2023     0.3   Call with M. Blanchard, A. Canale, P. McGrath (A&M) regarding
                                         Tesseract lender analysis
Canale, Alex         7/10/2023     0.4   Call with M. Blanchard, A. Canale (A&M) regarding Tesseract lender
                                         analysis
Canale, Alex         7/10/2023     0.2   Call with A. Canale, P. McGrath, S. Mimms (A&M) regarding status
                                         of Matrix Port lender analysis




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Avoidance Actions
Professional                Date     Hours     Activity
Canale, Alex             7/10/2023     0.8   Analysis of data relating to exchange payments to insiders

Canale, Alex             7/10/2023     1.1   Preference period withdrawal analysis for FTX.COM/FTX.US
                                             customers
Canale, Alex             7/10/2023     1.1   Call with A. Canale, and P. McGrath (A&M) regarding status of
                                             avoidance action workstreams
Chan, Jon                7/10/2023     0.1   Call with N. Strong and J. Chan (A&M) regarding results of
                                             exchange database research conducted to identify accounts
                                             associated with professional firms engaged by customers
Cox, Allison             7/10/2023     0.2   Teleconference with D. Medway and A. Cox (A&M) regarding
                                             professional firm analysis
Cox, Allison             7/10/2023     2.6   Prepare summary of professional fees paid by firm

Cox, Allison             7/10/2023     2.1   Revise summary of professional fees paid for updated cash data

Cox, Allison             7/10/2023     0.4   Call with D. Medway, A. Cox, M. Ebrey (A&M) regarding status of
                                             professional firms payments schedule
Cox, Allison             7/10/2023     2.3   Quality control review banking data in relation to professional fees
                                             paid
Dobbs, Aaron             7/10/2023     0.8   Transaction and document population analysis regarding Matrix Port
                                             lender summary
Dobbs, Aaron             7/10/2023     2.2   Targeted searches for professional firms domain data as identified
                                             by QE to assess completeness of matrix
Dobbs, Aaron             7/10/2023     0.4   Quality control of professional firms domain data matrix to assess
                                             completeness
Dobbs, Aaron             7/10/2023     0.7   Cash database analysis for transactions involving Matrix Port

Dobbs, Aaron             7/10/2023     0.3   Call with A. Dobbs, S. Mimms (A&M) regarding Matrix Port lender
                                             analysis
Dobbs, Aaron             7/10/2023     0.1   Call with N. Strong, A. Dobbs and I. Patel (A&M) regarding Relativity
                                             searches for Law Firm tracker
Ebrey, Mason             7/10/2023     0.6   Addition of columns to identify non-USD payments to professional
                                             firms into summarized schedule
Ebrey, Mason             7/10/2023     1.9   Construction of summary table for related individual expense
                                             payments
Ebrey, Mason             7/10/2023     3.1   Review and edit schedule summarizing payments to professional
                                             firms
Ebrey, Mason             7/10/2023     0.5   Call with J. Lee, M. Ebrey (A&M) to identify payments within cash
                                             database to select insiders
Ebrey, Mason             7/10/2023     0.4   Call with D. Medway, A. Cox, M. Ebrey (A&M) regarding status of
                                             professional firms payments schedule
Esposito, Rob            7/10/2023     0.4   Call with L. Ryan, R. Gordon, R. Esposito, K. Kearny (A&M)
                                             regarding request from S&C for analysis of employees FTX
                                             exchange activity
Francis, Luke            7/10/2023     0.1   Call with J. Lee, L. Francis (A&M) to discuss FTX Foundation
                                             payments in SOFA 4

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Avoidance Actions
Professional               Date     Hours     Activity
Gany, Jared             7/10/2023     0.2   Call with J. Lee, J. Gany (A&M) to discuss SOFA 4 payments
                                            reconciled to bank data
Gordon, Robert          7/10/2023     0.4   Call with L. Ryan, R. Gordon, R. Esposito, K. Kearny (A&M)
                                            regarding request from S&C for analysis of employees FTX
                                            exchange activity
Gordon, Robert          7/10/2023     0.4   Correspondence on kick off of new preference analysis


Haigis, Maya            7/10/2023     0.3   Teleconference with M. Simkins, M. Haigis (A&M) to discuss
                                            mapping for Circle, Signet, and Stripe transactions
Haigis, Maya            7/10/2023     0.9   Perform fuzzy matching exercise between investors and
                                            counterparties
Haigis, Maya            7/10/2023     0.4   Review cash database Circle, Signet, and Stripe transaction table
                                            creation task
Haigis, Maya            7/10/2023     0.2   Teleconference with C. Radis, E. Hoffer, M. Haigis (A&M) to discuss
                                            Circle, Signet, and Stripe transaction table creation
Haigis, Maya            7/10/2023     0.2   Teleconference with R. Johnson, C. Radis, E. Hoffer, M. Simkins, M.
                                            Haigis (A&M) to discuss creation of Circle, Signet, and Stripe
                                            database tables
Haigis, Maya            7/10/2023     0.6   Review transaction reports for new debtor banks

Hoffer, Emily           7/10/2023     0.8   Create deduped listing of unique accounts to review against
                                            previously identified list to determine any new accounts to be run by
                                            the database team for determination of counterparty names for
                                            Circle WRSS account
Hoffer, Emily           7/10/2023     0.2   Call with J. Lee, E. Hoffer (A&M) to discuss summarizing total
                                            crypto, fiat withdrawals from exchange data during preference period
Hoffer, Emily           7/10/2023     0.6   Determine the split of transactions foreign or domestic for insider
                                            transactions to be used in the cash preference analysis
Hoffer, Emily           7/10/2023     1.9   Review Circle WRSS transactions against bank system to determine
                                            the movement of funds for various transactions for account
                                            reconciliation purposes
Hoffer, Emily           7/10/2023     0.2   Teleconference with R. Johnson, C. Radis, E. Hoffer, M. Simkins, M.
                                            Haigis (A&M) to discuss creation of Circle, Signet, and Stripe
                                            database tables
Hoffer, Emily           7/10/2023     0.7   Review table for intercompany transfers to determine the difference
                                            from previous versions for use in the cash preference deck
Hoffer, Emily           7/10/2023     0.7   Teleconference with E. Hoffer and C. Radis (A&M) to discuss fiat
                                            and crypto transactions
Hoffer, Emily           7/10/2023     1.1   Review Transfero account 17 to determine differences between the
                                            debtor records and bank produced records for account reconciliation
                                            purposes
Hoffer, Emily           7/10/2023     0.2   Teleconference with C. Radis, E. Hoffer, M. Haigis (A&M) to discuss
                                            Circle, Signet, and Stripe transaction table creation
Hoffer, Emily           7/10/2023     2.6   Summarize total crypto, fiat withdrawals from exchange data by
                                            customer during preference period for use in cash preference
                                            analysis




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Professional               Date     Hours     Activity
Hoffer, Emily           7/10/2023     0.3   Call with J. Lee and E. Hoffer (A&M) to discuss the breakout of top
                                            customers fiat, crypto withdrawals between US versus Dotcom
Hoffer, Emily           7/10/2023     0.8   Review Deltec documents to determine account ownership for
                                            account 2214 in response to a question from Sullivan & Cromwell
Johnson, Robert         7/10/2023     0.2   Teleconference with R. Johnson, C. Radis, E. Hoffer, M. Simkins, M.
                                            Haigis (A&M) to discuss creation of Circle, Signet, and Stripe
                                            database tables
Kearney, Kevin          7/10/2023     0.4   Call with L. Ryan, R. Gordon, R. Esposito, K. Kearney (A&M)
                                            regarding request from S&C for analysis of employees FTX
                                            exchange activity
Kotarba, Steve          7/10/2023     0.2   Internal update re target avoidance actions

Lee, Julian             7/10/2023     0.3   Call with J. Lee and E. Hoffer (A&M) to discuss the breakout of top
                                            customers fiat, crypto withdrawals between US versus Dotcom
Lee, Julian             7/10/2023     0.2   Call with J. Lee, J. Gany (A&M) to discuss SOFA 4 payments
                                            reconciled to bank data
Lee, Julian             7/10/2023     0.8   Review payments to insiders per amended SOFA 4


Lee, Julian             7/10/2023     0.4   Call with J. Lee, M. Blanchard (A&M) to discuss vendor classification
                                            for purposes of cash preference analysis
Lee, Julian             7/10/2023     0.5   Call with J. Lee, M. Ebrey (A&M) to identify payments within cash
                                            database to select insiders
Lee, Julian             7/10/2023     0.2   Call with J. Lee, E. Hoffer (A&M) to discuss summarizing total
                                            crypto, fiat withdrawals from exchange data during preference period
Lee, Julian             7/10/2023     0.1   Correspond with Circle relating to Alameda Research Ltd file for
                                            balance inquiry
Lee, Julian             7/10/2023     0.3   Correspond with S&C re: Deltec account for Alameda Research
                                            Ventures LLC
Lee, Julian             7/10/2023     0.1   Correspond with team regarding additional bank productions by
                                            Silvergate
Lee, Julian             7/10/2023     0.3   Correspond with team regarding petition date balances by account
                                            per cash database
Lee, Julian             7/10/2023     0.3   Correspond with team regarding select SOFA 4 payments identified
                                            by AlixPartners
Lee, Julian             7/10/2023     0.3   Review customer withdrawals by fiat, crypto during preference
                                            period per exchange data
Lee, Julian             7/10/2023     1.2   Review of customer withdrawals analysis from exchange data for
                                            FTX.COM and FTX.US during preference period
Lee, Julian             7/10/2023     0.3   Call with J. Lee, I. Patel (A&M) to discuss verification of select
                                            insider payments identified by AlixPartners
Lee, Julian             7/10/2023     1.1   Update cash preference analysis related to intercompany, vendors


Lee, Julian             7/10/2023     1.1   Update preliminary observations from cash preference analysis

Lee, Julian             7/10/2023     0.6   Review insider expense reimbursement summary re: expensify
                                            reports

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Avoidance Actions
Professional               Date     Hours     Activity
Lee, Julian             7/10/2023     0.1   Call with J. Lee, L. Francis (A&M) to discuss FTX Foundation
                                            payments in SOFA 4
McGrath, Patrick        7/10/2023     0.9   Review and analyze and transactions related to lending activity


McGrath, Patrick        7/10/2023     0.2   Call with A. Canale, P. McGrath, S. Mimms (A&M) regarding status
                                            of Matrix Port lender analysis
McGrath, Patrick        7/10/2023     1.4   Update exchange data for insiders deposit, withdrawal, and transfers
                                            and provide to counsel
McGrath, Patrick        7/10/2023     1.1   Review analysis of ventures investments at the request of counsel


McGrath, Patrick        7/10/2023     0.8   Perform analysis tracing sources and uses of insider funds for
                                            potential recovery
McGrath, Patrick        7/10/2023     0.4   Call with M. Shanahan and P. McGrath (A&M) regarding status of
                                            avoidance action workstreams
McGrath, Patrick        7/10/2023     0.3   Call with M. Blanchard, A. Canale, P. McGrath (A&M) regarding
                                            Tesseract lender analysis
McGrath, Patrick        7/10/2023     0.3   Call with K. Baker and P. McGrath (A&M) regarding exchange
                                            withdrawal data
McGrath, Patrick        7/10/2023     1.6   Update preference period analysis for insider fund transfers out of
                                            the estate
McGrath, Patrick        7/10/2023     1.1   Call with A. Canale, and P. McGrath (A&M) regarding status of
                                            avoidance action workstreams
Medway, David           7/10/2023     0.2   Teleconference with D. Medway and A. Canale (A&M) regarding
                                            results of analysis to quantify payments to professionals
Medway, David           7/10/2023     0.4   Review and edit memo summarizing results of Silicon Valley
                                            Accountants investigation in response to internal review comments
Medway, David           7/10/2023     0.8   Review and analyze exchange accounts identified in connection with
                                            analysis of FTX professionals
Medway, David           7/10/2023     1.9   Prepare proposed templates for schedules to be used in
                                            summarizing results of aggregation and analysis of professional
                                            firms payment data
Medway, David           7/10/2023     0.6   Prepare communications with QE summarizing proposed templates
                                            for schedules to be used in summarizing results of aggregation and
                                            analysis of professional firms payment data
Medway, David           7/10/2023     2.8   Perform interim review of materials summarizing results of
                                            aggregation and analysis of professional firms payment data and
                                            propose edits for staff implementation
Medway, David           7/10/2023     0.4   Call with D. Medway, A. Cox, M. Ebrey (A&M) regarding status of
                                            professional firms payments schedule
Medway, David           7/10/2023     0.3   Teleconference with D. Medway and N. Strong (A&M) regarding
                                            analysis to identify professional firm exchange accounts
Medway, David           7/10/2023     0.2   Teleconference with D. Medway and A. Cox (A&M) regarding
                                            professional firm analysis
Medway, David           7/10/2023     0.4   Internal communications regarding results of aggregation and
                                            analysis of professional firms payment data



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Avoidance Actions
Professional              Date     Hours     Activity
Medway, David          7/10/2023     1.6   Review and edit updated materials summarizing results of
                                           aggregation and analysis of professional firms payment data
Mimms, Samuel          7/10/2023     0.2   Call with A. Canale, P. McGrath, S. Mimms (A&M) regarding status
                                           of Matrix Port lender analysis
Mimms, Samuel          7/10/2023     0.3   Call with A. Dobbs, S. Mimms (A&M) regarding Matrix Port lender
                                           analysis
Mimms, Samuel          7/10/2023     1.6   Continue to review documents regarding lending relationship
                                           between Matrix Port and Alameda
Mimms, Samuel          7/10/2023     1.3   Draft request of database team for exchange activity related to
                                           Matrix Port
Mimms, Samuel          7/10/2023     0.3   Call with M. Blanchard, S. Mimms (A&M) regarding Matrix Port
                                           lender analysis
Mimms, Samuel          7/10/2023     3.2   Review documents regarding lending relationship between Matrix
                                           Port and Alameda
Mosley, Ed             7/10/2023     1.3   Review of avoidance action motion for specific entity and provide
                                           comments
Patel, Ishika          7/10/2023     1.6   Verify select insider payments identified by AlixPartners in Metabase
                                           and available transaction history
Patel, Ishika          7/10/2023     1.8   Targeted searches for law firm email domains on Relativity for Law
                                           Firm tracker
Patel, Ishika          7/10/2023     0.1   Call with N. Strong, A. Dobbs and I. Patel (A&M) regarding
                                           Relativity searches for Law Firm tracker
Patel, Ishika          7/10/2023     0.3   Call with J. Lee, I. Patel (A&M) to discuss verification of select
                                           insider payments identified by AlixPartners
Radis, Cameron         7/10/2023     0.4   Perform quality control review of mapping file of Signet, Circle, and
                                           Stripe transaction files
Radis, Cameron         7/10/2023     0.7   Teleconference with E. Hoffer and C. Radis (A&M) to discuss fiat
                                           and crypto transactions
Radis, Cameron         7/10/2023     2.1   Perform SQL based exercise to reconcile three new JPMC bank
                                           account transactions to summary balances
Radis, Cameron         7/10/2023     0.7   Perform SQL based exercise to push reconciled transactions to
                                           Metabase views for three new JPMC bank account transactions
Radis, Cameron         7/10/2023     0.7   Perform SQL based exercise to create custom manual summary
                                           balance calculations for three JP Morgan chase accounts
Radis, Cameron         7/10/2023     0.8   Perform SQL based analysis to manually update transaction dates
                                           for Silicon Valley account with incorrect entries
Radis, Cameron         7/10/2023     0.2   Teleconference with R. Johnson, C. Radis, E. Hoffer, M. Simkins, M.
                                           Haigis (A&M) to discuss creation of Circle, Signet, and Stripe
                                           database tables
Radis, Cameron         7/10/2023     1.8   Perform quality control review of three new JPMC bank account
                                           transactions reconciliation
Radis, Cameron         7/10/2023     1.6   Perform manual review of JPMC October statement comparing
                                           individual transactions to AWS data
Radis, Cameron         7/10/2023     0.5   Perform SQL based analysis to identify month gaps for three new
                                           JPMC bank accounts


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Avoidance Actions
Professional             Date     Hours     Activity
Ryan, Laureen         7/10/2023     0.2   Correspond with QE and A&M team regarding Silvergate production

Ryan, Laureen         7/10/2023     0.4   Review files related to employee payroll and exchange information


Ryan, Laureen         7/10/2023     0.2   Correspond with QE and A&M team regarding latest outline for
                                          professionals report
Ryan, Laureen         7/10/2023     0.2   Correspond with A&M team regarding updated Brian Lee exchange
                                          activity with attachment review
Ryan, Laureen         7/10/2023     0.4   Correspond with A&M team regarding investigation focused on
                                          employee exchange preference analysis
Ryan, Laureen         7/10/2023     0.1   Correspond with A&M team regarding initial outline for professionals
                                          report
Ryan, Laureen         7/10/2023     0.2   Correspond with A&M team regarding Fenwick findings to date


Ryan, Laureen         7/10/2023     0.4   Call with L. Ryan, R. Gordon, R. Esposito, K. Kearny (A&M)
                                          regarding request from S&C for analysis of employees FTX
                                          exchange activity
Shanahan, Michael     7/10/2023     0.4   Review documents identified related to related individual expense
                                          payments
Shanahan, Michael     7/10/2023     0.4   Call with M. Shanahan and P. McGrath (A&M) regarding status of
                                          avoidance action workstreams
Shanahan, Michael     7/10/2023     0.9   Review supporting documents to Silicon Valley Accountants memo

Shanahan, Michael     7/10/2023     0.2   Review correspondence from Circle Bank related to document
                                          production
Shanahan, Michael     7/10/2023     1.4   Review and revise initial draft of memo summarizing analysis of
                                          Silicon Valley Accountants
Shanahan, Michael     7/10/2023     0.7   Preliminary review of schedule of professional firm payments

Shanahan, Michael     7/10/2023     0.3   Communications to/from team regarding Petition Date cash
                                          balances and AlixPartners call
Shanahan, Michael     7/10/2023     1.2   Review reconciliation schedules supporting cash database

Simkins, Maximilian   7/10/2023     0.2   Teleconference with R. Johnson, C. Radis, E. Hoffer, M. Simkins, M.
                                          Haigis (A&M) to discuss creation of Circle, Signet, and Stripe
                                          database tables
Simkins, Maximilian   7/10/2023     0.3   Teleconference with M. Simkins, M. Haigis (A&M) to discuss
                                          mapping for Circle, Signet, and Stripe transactions
Strong, Nichole       7/10/2023     1.1   Internal communications regarding professional firms exchange data
                                          research request (Parts III and IV)
Strong, Nichole       7/10/2023     1.3   Perform additional searches in public and debtor records to improve
                                          professional firms exchange data research request
Strong, Nichole       7/10/2023     2.2   Perform quality control review of results of searches conducted in
                                          public and debtor records to identify emails associated with
                                          professional firms engaged by Debtors



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Avoidance Actions
Professional            Date     Hours     Activity
Strong, Nichole      7/10/2023     0.1   Call with N. Strong, A. Dobbs and I. Patel (A&M) regarding
                                         Relativity searches for Law Firm tracker
Strong, Nichole      7/10/2023     0.7   Review list containing exchange accounts associated with
                                         professional firms engaged by Debtors (Part II)
Strong, Nichole      7/10/2023     2.4   Review list containing exchange accounts associated with
                                         professional firms engaged by Debtors (Part I)
Strong, Nichole      7/10/2023     0.3   Teleconference with D. Medway and N. Strong (A&M) regarding
                                         analysis to identify professional firm exchange accounts
Strong, Nichole      7/10/2023     0.1   Call with N. Strong and J. Chan (A&M) regarding results of
                                         exchange database research conducted to identify accounts
                                         associated with professional firms engaged by Debtors
Blanchard, Madison   7/11/2023     0.3   Analysis of 90-Day cash preference payments relating to insiders

Blanchard, Madison   7/11/2023     0.2   Call with E. Hoffer, M. Blanchard (A&M) to discuss vendor fuzzy
                                         match for purposes of cash preference analysis
Blanchard, Madison   7/11/2023     2.9   Continue update presentation of analysis and findings regarding
                                         Tesseract lending claim
Blanchard, Madison   7/11/2023     0.6   Call with J. Lee, E. Hoffer, M. Blanchard (A&M) to discuss vendor
                                         fuzzy match for purposes of cash preference analysis
Blanchard, Madison   7/11/2023     3.1   Update presentation of analysis and findings regarding Tesseract
                                         lending claim
Blanchard, Madison   7/11/2023     0.3   Call with M. Blanchard, A. Canale (A&M) regarding Tesseract lender
                                         analysis
Blanchard, Madison   7/11/2023     2.3   Update presentation regarding Tesseract lending claim to
                                         incorporate feedback
Broskay, Cole        7/11/2023     0.3   Teleconference with S&C and L. Ryan, K. Ramanathan, C. Broskay
                                         (all A&M) regarding analysis on employee exchange activity for
                                         possible claims
Canale, Alex         7/11/2023     0.9   Review Tesseract lender claim analysis and documents related
                                         thereto
Canale, Alex         7/11/2023     0.3   Review TRM reports regarding NEAR tokens


Canale, Alex         7/11/2023     1.1   Review Tesseract draft lending claim report

Canale, Alex         7/11/2023     0.4   Correspond with A&M team regarding cash preference payments
                                         analysis
Canale, Alex         7/11/2023     1.1   Call with M. Shanahan, A. Canale, J. Lee (A&M) to discuss cash
                                         preference analysis updates
Canale, Alex         7/11/2023     0.3   Call with M. Blanchard, A. Canale (A&M) regarding Tesseract lender
                                         analysis
Canale, Alex         7/11/2023     0.8   Call with L. Ryan, M. Shanahan, A. Canale (A&M) to discuss
                                         avoidance actions workstream update
Canale, Alex         7/11/2023     0.2   Call with L. Ryan, A. Canale (A&M) regarding insider exchange
                                         preferences
Canale, Alex         7/11/2023     0.1   Call with A. Canale, S. Mimms (A&M) regarding analysis of
                                         additional preference actions for Sullivan & Cromwell

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Avoidance Actions
Professional                Date     Hours     Activity
Canale, Alex             7/11/2023     0.6   Call with A. Canale, P. McGrath, L. Lambert (A&M) A. Holland, M.
                                             Materni (S&C) regarding insider exchange and token transactions
Canale, Alex             7/11/2023     0.4   Call with A. Canale, P. McGrath (A&M) regarding insider exchange
                                             transactions
Canale, Alex             7/11/2023     0.3   Call with A. Canale, G. Walia (A&M) regarding exchange transaction
                                             pricing
Cox, Allison             7/11/2023     1.8   Update summary of professional fees paid for updated cash data

Cox, Allison             7/11/2023     2.4   Update summary of professional fees paid for new template


Cox, Allison             7/11/2023     0.3   Teleconference with D. Medway and A. Cox (A&M) regarding
                                             professional firm analysis
Cox, Allison             7/11/2023     1.2   Quality control review cash payments summary in relation to
                                             professional fees paid
Dobbs, Aaron             7/11/2023     1.4   Compile data for the potential preference period lender relationships
                                             associated with Alameda Research
Dobbs, Aaron             7/11/2023     1.7   Targeted searches for Van Eck to support the lending relationship
                                             with Alameda Research
Dobbs, Aaron             7/11/2023     0.8   Quality control of second batch production for targeted professional
                                             firms from QE
Dobbs, Aaron             7/11/2023     1.3   Targeted searches for Fly Wing to support the lending relationship
                                             between Matrix Port and FTX Exchange
Dobbs, Aaron             7/11/2023     1.2   Targeted searches for Flying Hippo to support the lending
                                             relationship between Matrix Port and FTX Exchange
Dobbs, Aaron             7/11/2023     1.2   Targeted searches for MSC Corp Ltd to support the lending
                                             relationship between Matrix Port and FTX Exchange
Ebrey, Mason             7/11/2023     0.7   Call with P. McGrath, M. Ebrey (A&M) regarding venture
                                             investments transaction analysis
Ebrey, Mason             7/11/2023     0.2   Search Relativity database for information related to Paxos and
                                             debtors investment in entity
Ebrey, Mason             7/11/2023     0.2   Review and edit schedule summarizing payments to professional
                                             firms
Ebrey, Mason             7/11/2023     1.1   Search Relativity database for information related to DoraHack and
                                             debtors investment in entity
Ebrey, Mason             7/11/2023     3.1   Search Relativity database for information related to Mirana Corp
                                             and debtors investment in entity
Ebrey, Mason             7/11/2023     1.9   Search Relativity database for information related to Euler and
                                             debtors investment in entity
Francis, Luke            7/11/2023     0.1   Call with J. Lee, L. Francis (A&M) to discuss salary and benefits to
                                             insiders
Gordon, Robert           7/11/2023     0.4   Call with L. Ryan, R. Gordon (A&M) to discuss employee exchange
                                             analysis and financial reporting matters
Gordon, Robert           7/11/2023     0.6   Draft correspondence on FTX EU complaint requests




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Avoidance Actions
Professional               Date     Hours     Activity
Haigis, Maya            7/11/2023     0.3   Review results from fuzzy matching between counterparty and
                                            investor names
Haigis, Maya            7/11/2023     0.6   Update fuzzy matching algorithm between counterparty and investor
                                            names
Haigis, Maya            7/11/2023     0.9   Review script to map Circle transactions to consolidated transaction
                                            table
Hoffer, Emily           7/11/2023     0.6   Call with J. Lee, E. Hoffer, M. Blanchard (A&M) to discuss vendor
                                            fuzzy match for purposes of cash preference analysis
Hoffer, Emily           7/11/2023     0.8   Review potential customer to vendor list fuzzy match stratification to
                                            determine differences from customer totals
Hoffer, Emily           7/11/2023     0.8   Review updated customer fuzzy match results up to 60% confidence
                                            level to determine updates in stratification for use in cash preference
                                            analysis
Hoffer, Emily           7/11/2023     1.8   Review customer fuzzy match up to 70% confidence results to
                                            determine number of results that need additional review before using
                                            in cash preference analysis
Hoffer, Emily           7/11/2023     1.6   Create stratification of fuzzy match results to determine dollar value
                                            of customers that have been verified to exchange database
Hoffer, Emily           7/11/2023     0.3   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss cash
                                            reconciliation process, outstanding accounts related to cash
                                            database
Hoffer, Emily           7/11/2023     2.1   Review fuzzy match results to determine if accurate to use for cash
                                            preference analysis
Hoffer, Emily           7/11/2023     0.4   Compile dollar total of transactions that are considered bank fees for
                                            use in cash preference analysis deck
Hoffer, Emily           7/11/2023     0.3   Call with J. Lee, E. Hoffer (A&M) to discuss fuzzy match related to
                                            customer verification for purposes of cash preference analysis
Hoffer, Emily           7/11/2023     0.2   Call with E. Hoffer, M. Blanchard (A&M) to discuss vendor fuzzy
                                            match for purposes of cash preference analysis
Hoffer, Emily           7/11/2023     0.4   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss customer
                                            stratification analysis fuzzy lookup against exchange data for
                                            purposes of cash preference analysis
Konig, Louis            7/11/2023     3.2   Quality control and review of output related to targeted account
                                            preference subsequent advance preference analysis
Konig, Louis            7/11/2023     1.2   Database scripting related to targeted account preference
                                            subsequent advance preference analysis
Konig, Louis            7/11/2023     0.2   Call with M. Sunkara, J. Chan, and L. Konig (A&M) to discuss
                                            preference analysis requests
Konig, Louis            7/11/2023     2.1   Documentation of findings related to targeted account preference
                                            subsequent advance preference analysis
Lambert, Leslie         7/11/2023     0.6   Call with A. Canale, P. McGrath, L. Lambert (A&M) A. Holland, M.
                                            Materni (S&C) regarding insider exchange and token transactions
Lee, Julian             7/11/2023     0.3   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss cash
                                            reconciliation process, outstanding accounts related to cash
                                            database
Lee, Julian             7/11/2023     1.1   Call with M. Shanahan, A. Canale, J. Lee (A&M) to discuss cash
                                            preference analysis updates

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Avoidance Actions
Professional               Date     Hours     Activity
Lee, Julian             7/11/2023     0.3   Call with J. Lee, E. Hoffer (A&M) to discuss fuzzy match related to
                                            customer verification for purposes of cash preference analysis
Lee, Julian             7/11/2023     0.1   Call with J. Lee, L. Francis (A&M) to discuss salary and benefits to
                                            insiders
Lee, Julian             7/11/2023     0.6   Call with J. Lee, E. Hoffer, M. Blanchard (A&M) to discuss vendor
                                            fuzzy match for purposes of cash preference analysis
Lee, Julian             7/11/2023     0.2   Correspond with FTX Japan debtor representatives regarding
                                            employee bonus payroll data
Lee, Julian             7/11/2023     0.4   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss customer
                                            stratification analysis fuzzy lookup against exchange data for
                                            purposes of cash preference analysis
Lee, Julian             7/11/2023     0.2   Correspond with AlixPartners regarding potential insider account
                                            with Chase bank
Lee, Julian             7/11/2023     0.7   Update vendor breakout in cash preference analysis deck

Lee, Julian             7/11/2023     0.4   Correspond with team regarding customer stratification, vendor
                                            groupings for cash preference analysis
Lee, Julian             7/11/2023     0.1   Correspond with team regarding list of ordinary course professionals

Lee, Julian             7/11/2023     0.1   Correspond with team regarding SBI Clearing accounts for purposes
                                            of cash database
Lee, Julian             7/11/2023     0.2   Review customer stratification analysis fuzzy lookup against
                                            exchange data for purposes of cash preference slide deck
Lee, Julian             7/11/2023     0.1   Review of employee bonus summary analysis prepared for UCC
                                            request
Lee, Julian             7/11/2023     0.6   Update observations for insider payments in cash preference
                                            analysis deck
Lee, Julian             7/11/2023     1.4   Update preliminary observations from cash preference analysis

Lee, Julian             7/11/2023     0.6   Update employee bonus summary with Quoine Vietnam, Quoine Pte
                                            payroll data
Lee, Julian             7/11/2023     1.1   Update vendor classification table in cash preference analysis deck

McGrath, Patrick        7/11/2023     0.6   Call with A. Canale, P. McGrath, L. Lambert (A&M) A. Holland, M.
                                            Materni (S&C) regarding insider exchange and token transactions
McGrath, Patrick        7/11/2023     0.4   Call with A. Canale, P. McGrath (A&M) regarding insider exchange
                                            transactions
McGrath, Patrick        7/11/2023     0.7   Call with P. McGrath, M. Ebrey (A&M) regarding venture
                                            investments transaction analysis
McGrath, Patrick        7/11/2023     2.8   Analyze sources and uses of insider funds for potential recovery

McGrath, Patrick        7/11/2023     1.8   Provide insiders deposit, withdrawal, and transfers to counsel

McGrath, Patrick        7/11/2023     1.6   Perform analysis of cancelled insider withdrawals at the request of
                                            counsel


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Avoidance Actions
Professional             Date     Hours     Activity
Medway, David         7/11/2023     0.1   Teleconference with D. Medway and M. Ebrey (A&M) regarding
                                          professional firms cash payments analysis
Medway, David         7/11/2023     0.3   Teleconference with D. Medway and A. Cox (A&M) regarding
                                          professional firm analysis
Medway, David         7/11/2023     0.4   Internal communications regarding results of preliminary review of
                                          professional firms exchange data
Medway, David         7/11/2023     0.4   Perform quality control review of professionals payments data used
                                          in analysis to quantify historical professionals payments
Medway, David         7/11/2023     0.4   Prepare comments on schedules summarizing results of
                                          professionals payment data analyses for staff review and
                                          implementation
Medway, David         7/11/2023     0.3   Prepare for internal call regarding memo summarizing results of
                                          Silicon Valley Accountants investigation
Medway, David         7/11/2023     1.3   Review and edit memo summarizing results of Silicon Valley
                                          Accountants investigation based on internal review comments
Medway, David         7/11/2023     1.4   Review and edit schedule summarizing results of accountants and
                                          auditors payment data analysis
Medway, David         7/11/2023     1.9   Review and edit schedule summarizing results of consultants
                                          payment data analysis
Medway, David         7/11/2023     0.6   Review staff edits to schedules summarizing results of professionals
                                          payment data analyses based on internal review comments
Medway, David         7/11/2023     0.7   Internal communications regarding results and status of aggregation
                                          and analysis of professional firms payment data
Medway, David         7/11/2023     0.2   Teleconference with D. Medway and N. Strong (A&M) regarding
                                          status of professionals exchange account analysis
Medway, David         7/11/2023     0.4   Teleconference with D. Medway and M. Shanahan (A&M) regarding
                                          professional firms analysis status and strategy
Medway, David         7/11/2023     0.5   Teleconference with D. Medway, N. Strong and M. Shanahan (A&M)
                                          regarding memo summarizing results of Silicon Valley Accountants
                                          investigation
Medway, David         7/11/2023     2.8   Review and edit schedule summarizing results of law firms payment
                                          data analysis
Mimms, Samuel         7/11/2023     0.1   Call with M. Sunkara, S. Mimms (A&M) regarding FTX Exchange
                                          data pull for Matrix Port lender analysis
Mimms, Samuel         7/11/2023     2.9   Prepare summaries of analysis of additional exchange customer
                                          preference claims for Sullivan & Cromwell
Mimms, Samuel         7/11/2023     0.1   Call with A. Canale, S. Mimms (A&M) regarding analysis of
                                          additional preference actions for Sullivan & Cromwell
Mimms, Samuel         7/11/2023     2.7   Analyze exchange activity involving Matrix Port accounts and wallets
                                          in connection with the Matrix Port lender analysis
Mimms, Samuel         7/11/2023     2.6   Summarize loan and transaction history between Alameda and
                                          Matrix Port
Patel, Ishika         7/11/2023     1.2   Targeted searches regarding ownership of newly identified Chase
                                          account in Relativity
Patel, Ishika         7/11/2023     1.3   Review Silvergate production documents to confirm no additional
                                          non-debtor bank statements provided

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Avoidance Actions
Professional             Date     Hours     Activity
Patel, Ishika         7/11/2023     2.1   Verify select insider payments identified by AlixPartners in Metabase
                                          and available transaction history
Ramanathan, Kumanan   7/11/2023     0.4   Call with G. Walia, K. Ramanathan (A&M) to discuss preference
                                          analysis
Ramanathan, Kumanan   7/11/2023     0.3   Call with S&C and L. Ryan, K. Ramanathan, C. Broskay (all A&M)
                                          regarding analysis on employee exchange activity for possible claims
Ryan, Laureen         7/11/2023     0.4   Call with L. Ryan, R. Gordon (A&M) to discuss employee exchange
                                          analysis and financial reporting matters
Ryan, Laureen         7/11/2023     0.8   Call with L. Ryan, M. Shanahan, A. Canale (A&M) to discuss
                                          avoidance actions workstream update
Ryan, Laureen         7/11/2023     0.3   Correspond with A&M team regarding initial results of preference
                                          analysis for on employee exchange preference analysis
Ryan, Laureen         7/11/2023     0.3   Teleconference with S&C and L. Ryan, K. Ramanathan, C. Broskay
                                          (all A&M) regarding analysis on employee exchange activity for
                                          possible claims
Ryan, Laureen         7/11/2023     0.2   Call with L. Ryan, A. Canale (A&M) regarding insider exchange
                                          preferences
Ryan, Laureen         7/11/2023     0.4   Review current claim register files for lender claims

Ryan, Laureen         7/11/2023     0.4   Correspond with S&C and A&M team regarding Brian Lee
                                          investigation
Ryan, Laureen         7/11/2023     0.2   Correspond with QE and A&M team updated outline for
                                          professionals report
Ryan, Laureen         7/11/2023     0.3   Correspond with A&M team regarding lender claims filed against the
                                          estate on register
Ryan, Laureen         7/11/2023     0.7   Correspond with A&M team regarding analysis and investigation into
                                          employee exchange data
Ryan, Laureen         7/11/2023     0.3   Call with S&C and L. Ryan, K. Ramanathan, C. Broskay (all A&M)
                                          regarding analysis on employee exchange activity for possible claims
Ryan, Laureen         7/11/2023     0.2   Teleconference with Alix and A&M (L. Ryan) regarding search terms
                                          used to gather documents for certain investigations
Ryan, Laureen         7/11/2023     0.2   Correspond with QE and A&M team regarding professionals
                                          investigation for potential causes of action
Shanahan, Michael     7/11/2023     1.2   Review updated schedules for cash preference analysis


Shanahan, Michael     7/11/2023     0.4   Teleconference with D. Medway and M. Shanahan (A&M) regarding
                                          professional firms analysis status and strategy
Shanahan, Michael     7/11/2023     1.8   Review documents related to professional firm payments and report
                                          exhibits
Shanahan, Michael     7/11/2023     0.3   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss cash
                                          reconciliation process, outstanding accounts related to cash
                                          database
Shanahan, Michael     7/11/2023     0.8   Call with L. Ryan, M. Shanahan, A. Canale (A&M) to discuss
                                          avoidance actions workstream update




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Avoidance Actions
Professional             Date     Hours     Activity
Shanahan, Michael     7/11/2023     0.5   Teleconference with D. Medway, N. Strong and M. Shanahan (A&M)
                                          regarding memo summarizing results of Silicon Valley Accountants
                                          investigation
Shanahan, Michael     7/11/2023     1.1   Call with M. Shanahan, A. Canale, J. Lee (A&M) to discuss cash
                                          preference analysis updates
Shanahan, Michael     7/11/2023     0.4   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss customer
                                          stratification analysis fuzzy lookup against exchange data for
                                          purposes of cash preference analysis
Simkins, Maximilian   7/11/2023     2.4   Prepare Circle transactions for AWS in SQL staging environment

Strong, Nichole       7/11/2023     0.2   Teleconference with D. Medway and N. Strong (A&M) regarding
                                          status of professionals exchange account analysis
Strong, Nichole       7/11/2023     1.3   Identify user accounts associated with professional firms engaged
                                          by Debtors for further investigation (Part I)
Strong, Nichole       7/11/2023     3.1   Identify user accounts associated with professional firms engaged
                                          by Debtors for further investigation (Part II)
Strong, Nichole       7/11/2023     1.9   Prepare updates to memo documenting understanding of services
                                          provided by Silicon Valley Accountants to Debtor entities based on
                                          review comments from A&M team
Strong, Nichole       7/11/2023     1.6   Review list containing exchange accounts associated with
                                          professional firms engaged by Debtors (Part IV)
Strong, Nichole       7/11/2023     0.5   Teleconference with D. Medway, N. Strong and M. Shanahan (A&M)
                                          regarding memo summarizing results of Silicon Valley Accountants
                                          investigation
Sunkara, Manasa       7/11/2023     0.1   Call with M. Sunkara, S. Mimms (A&M) regarding FTX Exchange
                                          data pull for Matrix Port lender analysis
Walia, Gaurav         7/11/2023     0.3   Call with A. Canale, G. Walia (A&M) regarding exchange transaction
                                          pricing
Walia, Gaurav         7/11/2023     0.4   Call with G. Walia, K. Ramanathan (A&M) to discuss preference
                                          analysis
Blanchard, Madison    7/12/2023     0.2   Call with J. Lee, M. Blanchard (A&M) to discuss cash preference
                                          analysis update
Blanchard, Madison    7/12/2023     0.5   Call with M. Blanchard, S. Mimms (A&M) regarding Matrix Port
                                          lender analysis
Blanchard, Madison    7/12/2023     2.6   Update presentation regarding Tesseract lending claim to
                                          incorporate feedback
Blanchard, Madison    7/12/2023     0.5   Call with M. Blanchard, A. Canale (A&M) regarding updates to
                                          Tesseract lender analysis presentation
Canale, Alex          7/12/2023     0.3   Correspond with A&M team regarding lender analysis


Canale, Alex          7/12/2023     1.0   Teleconference with S. Rand, A. Alden, T. Murray, S. Hill and J.
                                          Young (QE) and L. Ryan, A. Canale, M. Shanahan and D. Medway
                                          (A&M) regarding professionals report strategy
Canale, Alex          7/12/2023     1.1   Teleconference with A. Canale, M. Shanahan, J. Lee and D.
                                          Medway (A&M) regarding cash transactions analysis for in scope
                                          professionals



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Avoidance Actions
Professional            Date     Hours     Activity
Canale, Alex         7/12/2023     0.6   Teleconference with A. Canale, M. Shanahan, and D. Medway
                                         (A&M) regarding cash transactions analysis for in scope
                                         professionals
Canale, Alex         7/12/2023     1.1   Review updated Tesseract draft lending claim report and documents
                                         related thereto
Canale, Alex         7/12/2023     0.6   Review final claim memorandums for venture book investments
                                         prepared by QE
Canale, Alex         7/12/2023     0.5   Review Alameda counterparty proof of claims as filed

Canale, Alex         7/12/2023     0.5   Call with P. McGrath A. Canale (A&M) to discuss preparation for call
                                         with S&C on Peng/Minhua investigation
Canale, Alex         7/12/2023     0.2   Call with M. Shanahan, A. Canale (A&M) to discuss professionals
                                         report
Canale, Alex         7/12/2023     0.5   Call with M. Blanchard, A. Canale (A&M) regarding updates to
                                         Tesseract lender analysis presentation
Canale, Alex         7/12/2023     0.9   Call with L. Ryan, P. McGrath A. Canale (A&M) A. Holland (S&C) to
                                         discuss Peng/Minhua investigation
Canale, Alex         7/12/2023     0.4   Call with L. Ryan, M. Shanahan, A. Canale (A&M) to discuss
                                         professionals analysis
Canale, Alex         7/12/2023     0.7   Call with L. Ryan, M. Shanahan, A. Canale (A&M) to discuss
                                         avoidance deliverables and activities and professionals analysis
Canale, Alex         7/12/2023     0.3   Call with L. Ryan, A. Canale, G. Walia (A&M) to discuss employee
                                         preference analysis
Canale, Alex         7/12/2023     0.2   Call with L. Ryan, A. Canale (A&M) to discuss employee preference
                                         analysis
Canale, Alex         7/12/2023     0.4   Review draft memorandums for Alameda counterparty relationship

Cooper, James        7/12/2023     0.2   Call with J. Cooper, S. Witherspoon, J. Lee (A&M) regarding petition
                                         date cash balances for debtor accounts
Dobbs, Aaron         7/12/2023     0.4   Create summarization table for FTX Turkey bank data to quantify
                                         production volumes from non-debtor banks
Dobbs, Aaron         7/12/2023     3.1   Summarization of professional firms cash transactions to asses
                                         Clement T. Maynard activity
Dobbs, Aaron         7/12/2023     1.1   Summarization of targeted entities associated with Matrix Port to
                                         assist with lender deck
Dobbs, Aaron         7/12/2023     0.5   Call with D. Medway, E. Hoffer, J. Lee, M. Ebrey, A. Dobbs, I. Patel
                                         (A&M) regarding summarization process for professional firms
                                         identified by QE
Dobbs, Aaron         7/12/2023     0.7   Creation of table for summarization of targeted professional firms
                                         identified by QE
Dobbs, Aaron         7/12/2023     1.4   Targeted searches for Van Eck agreements to support the lending
                                         relationship with Alameda Research
Dobbs, Aaron         7/12/2023     0.8   Creation of table for summarization of targeted professional firms
                                         identified by QE with cash transaction data
Dobbs, Aaron         7/12/2023     1.7   Creation of invoice summaries for Piper Alderman to support
                                         professional firms cash transaction report

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Avoidance Actions
Professional             Date     Hours     Activity
Ebrey, Mason          7/12/2023     0.8   Review of remittances paid to relevant professional firms identified
                                          by QE
Ebrey, Mason          7/12/2023     0.2   Call with D. Medway and M. Ebrey (A&M) regarding updates to
                                          schedule summarizing results of professionals payments analysis
Ebrey, Mason          7/12/2023     0.1   Call with P. McGrath, M. Ebrey (A&M) regarding venture
                                          investments transaction analysis
Ebrey, Mason          7/12/2023     1.6   Construct roll forward table of Turkish entity bank account balances

Ebrey, Mason          7/12/2023     2.2   Prepare summary of debtor's investment in Mirana Corp


Ebrey, Mason          7/12/2023     1.1   Search Relativity database for information related to Mirana Corp
                                          and debtors investment in entity
Ebrey, Mason          7/12/2023     0.8   Convert Professional firms summary into a version to send to Quinn
                                          Emanuel
Ebrey, Mason          7/12/2023     0.5   Call with D. Medway, E. Hoffer, J. Lee, M. Ebrey, A. Dobbs, I. Patel
                                          (A&M) regarding summarization process for professional firms
                                          identified by QE
Haigis, Maya          7/12/2023     0.4   Review Circle transaction report data mapping script

Haigis, Maya          7/12/2023     0.4   Call with C. Radis, A. Sloan, M. Haigis, and E. Hoffer (A&M) to
                                          discuss progress of outstanding items for the cash database
Hoffer, Emily         7/12/2023     0.7   Communicate with team about crypto versus fiat transaction
                                          determination in Circle accounts for balance determination in the
                                          cash database
Hoffer, Emily         7/12/2023     0.8   Analyze transactions identified as vendor payments within cash
                                          preference analysis to determine those identified through verifying
                                          counterparties against various vendor lists for use in cash
                                          preference analysis deck
Hoffer, Emily         7/12/2023     0.4   Call with C. Radis, A. Sloan, M. Haigis, and E. Hoffer (A&M) to
                                          discuss progress of outstanding items for the cash database
Hoffer, Emily         7/12/2023     2.1   Review exchange accounts to identify accounts to pull fiat
                                          withdrawals during the preference period to use within the cash
                                          preference analysis
Hoffer, Emily         7/12/2023     0.6   Perform manual reconciliation review of Silvergate FTX Digital
                                          Markets bank accounts from AWS metabase to native source PDFs
                                          ensuring accuracy of all data elements
Hoffer, Emily         7/12/2023     0.5   Call with D. Medway, E. Hoffer, J. Lee, M. Ebrey, A. Dobbs, I. Patel
                                          (A&M) regarding summarization process for professional firms
                                          identified by QE
Hoffer, Emily         7/12/2023     3.1   Identify and document expenses from related individual with
                                          payments from various FTX entities for use in professional cash
                                          transactions review
Hoffer, Emily         7/12/2023     0.3   Perform manual reconciliation review of Chase bank accounts from
                                          AWS metabase to native source PDFs ensuring accuracy of all data
                                          elements
Hoffer, Emily         7/12/2023     1.6   Quality control check of the preference analysis deck to review for
                                          any updates needing to be made to the deck from updates
                                          previously made to the cash preference analysis

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Avoidance Actions
Professional                Date    Hours     Activity
Lee, Julian             7/12/2023     1.1   Teleconference with A. Canale, M. Shanahan, J. Lee and D.
                                            Medway (A&M) regarding cash transactions analysis for in scope
                                            professionals
Lee, Julian             7/12/2023     0.4   Review exchange data accounts to map to relevant customer fbo
                                            accounts to identify fiat withdrawals during preference period
Lee, Julian             7/12/2023     0.2   Correspond with QE team regarding debtor entities affiliated with
                                            Wells Fargo, Evolve, Silvergate
Lee, Julian             7/12/2023     0.2   Call with M. Shanahan, J. Lee (A&M) to discuss cash database
                                            memo update
Lee, Julian             7/12/2023     0.2   Call with J. Cooper, S. Witherspoon, J. Lee (A&M) regarding petition
                                            date cash balances for debtor accounts
Lee, Julian             7/12/2023     0.3   Update cash preference slide for observations regarding customer
                                            withdrawals for select fbo accounts not reconciling to exchange data
Lee, Julian             7/12/2023     0.6   Call with M. Sunkara, J. Lee (A&M) to discuss fiat withdrawal activity
                                            relating to select customer fbo accounts
Lee, Julian             7/12/2023     0.5   Call with D. Medway, E. Hoffer, J. Lee, M. Ebrey, A. Dobbs, I. Patel
                                            (A&M) regarding summarization process for professional firms
                                            identified by QE
Lee, Julian             7/12/2023     0.2   Call with J. Lee, M. Blanchard (A&M) to discuss cash preference
                                            analysis update
Lee, Julian             7/12/2023     0.2   Update vendor classification for purposes of cash preference
                                            analysis deck
Lee, Julian             7/12/2023     0.4   Update observations, methodology of cash preference analysis deck

McGrath, Patrick        7/12/2023     1.3   Review analysis of ventures investments payments at the request of
                                            counsel
McGrath, Patrick        7/12/2023     0.1   Call with P. McGrath, M. Ebrey (A&M) regarding venture
                                            investments transaction analysis
McGrath, Patrick        7/12/2023     0.5   Call with P. McGrath A. Canale (A&M) to discuss preparation for call
                                            with S&C on Peng/Minhua investigation
McGrath, Patrick        7/12/2023     0.9   Call with L. Ryan, P. McGrath A. Canale (A&M) A. Holland (S&C) to
                                            discuss Peng/Minhua investigation
McGrath, Patrick        7/12/2023     2.7   Review sources and uses of insider funds for potential recovery

Medway, David           7/12/2023     0.9   Investigate nature of historical payments to White & Case and
                                            document findings
Medway, David           7/12/2023     0.2   Call with D. Medway and M. Ebrey (A&M) regarding updates to
                                            schedule summarizing results of professionals payments analysis
Medway, David           7/12/2023     0.3   Call with D. Medway and M. Shanahan (A&M) regarding
                                            professionals payments analysis strategy
Medway, David           7/12/2023     0.4   Call with D. Medway and N. Strong (A&M) regarding professionals
                                            crypto exchange account activity and balance analysis
Medway, David           7/12/2023     0.5   Call with D. Medway, E. Hoffer, J. Lee, M. Ebrey, A. Dobbs, I. Patel
                                            (A&M) regarding summarization process for professional firms
                                            identified by QE



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Avoidance Actions
Professional              Date     Hours     Activity
Medway, David          7/12/2023     0.4   Communications with QE and A&M team regarding professionals
                                           payments analyses
Medway, David          7/12/2023     0.3   Internal communications regarding status of cash transactions
                                           analysis for in scope professionals
Medway, David          7/12/2023     0.9   Inventory available records supporting nature of professional
                                           payments and prepare workplan for staff to locate remaining
                                           documents
Medway, David          7/12/2023     2.3   Prepare template for detailed testing of cash transactions with in
                                           scope professionals
Medway, David          7/12/2023     1.0   Teleconference with S. Rand, A. Alden, T. Murray, S. Hill and J.
                                           Young (QE) and L. Ryan, A. Canale, M. Shanahan and D. Medway
                                           (A&M) regarding professionals report strategy
Medway, David          7/12/2023     0.8   Teleconference with N. Strong and D. Medway (A&M) regarding
                                           cash transactions analysis for in scope professionals
Medway, David          7/12/2023     1.3   Update schedules summarizing results of professionals cash
                                           payments analysis based on internal review comments
Medway, David          7/12/2023     0.6   Teleconference with A. Canale, M. Shanahan, and D. Medway
                                           (A&M) regarding cash transactions analysis for in scope
                                           professionals
Medway, David          7/12/2023     1.1   Teleconference with A. Canale, M. Shanahan, J. Lee and D.
                                           Medway (A&M) regarding cash transactions analysis for in scope
                                           professionals
Medway, David          7/12/2023     0.4   Prepare professionals crypto payments status summary for internal
                                           review
Medway, David          7/12/2023     0.6   Prepare for call with QE regarding professionals report


Mimms, Samuel          7/12/2023     2.9   Summarize loan and transaction history between Alameda and
                                           Matrix Port
Mimms, Samuel          7/12/2023     3.2   Draft presentation for Sullivan & Cromwell of Matrix Port lender
                                           analysis findings
Mimms, Samuel          7/12/2023     2.4   Continue to draft presentation for Sullivan & Cromwell of Matrix Port
                                           lender analysis findings
Mimms, Samuel          7/12/2023     0.5   Call with M. Blanchard, S. Mimms (A&M) regarding Matrix Port
                                           lender analysis
Mimms, Samuel          7/12/2023     2.8   Analyze Database team exchange output related to additional former
                                           FTX Employee exchange customer preference claims for Sullivan &
                                           Cromwell
Mosley, Ed             7/12/2023     1.3   Review of draft outline of avoidance action report for pre-petition
                                           professional payments
Patel, Ishika          7/12/2023     1.4   Targeted searches for all newly identified Chase account statements
                                           to add to main repository
Patel, Ishika          7/12/2023     1.6   Targeted searches for agreements and terms of service between
                                           Debtor entities and Deltec, Transfero, and Signature on Relativity
Patel, Ishika          7/12/2023     0.2   Add newly identified account bank statements by Alix Partners to
                                           main repository




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Avoidance Actions
Professional             Date     Hours     Activity
Patel, Ishika         7/12/2023     0.5   Call with D. Medway, E. Hoffer, J. Lee, M. Ebrey, A. Dobbs, I. Patel
                                          (A&M) regarding summarization process for professional firms
                                          identified by QE
Radis, Cameron        7/12/2023     0.4   Call with C. Radis, A. Sloan, M. Haigis, and E. Hoffer (A&M) to
                                          discuss progress of outstanding items for the cash database
Ramanathan, Kumanan   7/12/2023     1.1   Review various AWS data team requests and responses from
                                          avoidance action team
Ryan, Laureen         7/12/2023     0.9   Call with L. Ryan, P. McGrath A. Canale (A&M) A. Holland (S&C) to
                                          discuss Peng/Minhua investigation
Ryan, Laureen         7/12/2023     1.0   Teleconference with S. Rand, A. Alden, T. Murray, S. Hill and J.
                                          Young (QE) and L. Ryan, A. Canale, M. Shanahan and D. Medway
                                          (A&M) regarding professionals report strategy
Ryan, Laureen         7/12/2023     0.1   Prepare avoidance action strategy plan by deliverable


Ryan, Laureen         7/12/2023     0.2   Correspond with QE and A&M team regarding Australian crypto
                                          influencer Alex Saunders findings
Ryan, Laureen         7/12/2023     0.2   Correspond with QE and A&M team regarding action plan related to
                                          professionals investigation
Ryan, Laureen         7/12/2023     0.4   Correspond with A&M team regarding updated results of preference
                                          analysis for on employee exchange preference analysis
Ryan, Laureen         7/12/2023     0.2   Call with L. Ryan, A. Canale (A&M) to employee preference analysis


Ryan, Laureen         7/12/2023     0.3   Call with L. Ryan, A. Canale, G. Walia (A&M) to discuss employee
                                          preference analysis
Ryan, Laureen         7/12/2023     0.7   Call with L. Ryan, M. Shanahan, A. Canale (A&M) to discuss
                                          avoidance deliverables and activities and professionals analysis
Ryan, Laureen         7/12/2023     0.2   Correspond with QE and A&M team memos related to analysis on
                                          tokens
Ryan, Laureen         7/12/2023     0.4   Call with L. Ryan, M. Shanahan, A. Canale (A&M) to discuss
                                          professionals analysis
Ryan, Laureen         7/12/2023     0.2   Correspond with A&M Team regarding S&C request for investigation
                                          into Peng activities
Ryan, Laureen         7/12/2023     0.4   Correspond with QE and A&M team regarding approach to
                                          professional firms analysis
Shanahan, Michael     7/12/2023     0.6   Teleconference with A. Canale, M. Shanahan, and D. Medway
                                          (A&M) regarding cash transactions analysis for in scope
                                          professionals
Shanahan, Michael     7/12/2023     1.4   Review and revise preliminary schedule of professional firm
                                          payments
Shanahan, Michael     7/12/2023     1.1   Teleconference with A. Canale, M. Shanahan, J. Lee and D.
                                          Medway (A&M) regarding cash transactions analysis for in scope
                                          professionals
Shanahan, Michael     7/12/2023     0.3   Call with D. Medway and M. Shanahan (A&M) regarding
                                          professionals payments analysis strategy
Shanahan, Michael     7/12/2023     0.6   Develop strategy and workplan for additional review related to
                                          professional firm payments


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Professional             Date     Hours     Activity
Shanahan, Michael     7/12/2023     0.2   Call with M. Shanahan, J. Lee (A&M) to discuss cash database
                                          memo update
Shanahan, Michael     7/12/2023     0.3   Communications to/from counsel regarding 3rd interim report


Shanahan, Michael     7/12/2023     1.0   Teleconference with S. Rand, A. Alden, T. Murray, S. Hill and J.
                                          Young (QE) and L. Ryan, A. Canale, M. Shanahan and D. Medway
                                          (A&M) regarding professionals report strategy
Shanahan, Michael     7/12/2023     0.4   Call with L. Ryan, M. Shanahan, A. Canale (A&M) to discuss
                                          professionals analysis
Shanahan, Michael     7/12/2023     0.7   Call with L. Ryan, M. Shanahan, A. Canale (A&M) to discuss
                                          avoidance deliverables and activities and professionals analysis
Sloan, Austin         7/12/2023     0.6   Pull statement detail from cash database for all transactions related
                                          to William Sink
Sloan, Austin         7/12/2023     0.4   Call with C. Radis, A. Sloan, M. Haigis, and E. Hoffer (A&M) to
                                          discuss progress of outstanding items for the cash database
Strong, Nichole       7/12/2023     1.6   Continue to review and summarize detailed exchange activity for
                                          accounts associated with professional services firms engaged by
                                          Debtors
Strong, Nichole       7/12/2023     0.4   Call with D. Medway and N. Strong (A&M) regarding professionals
                                          crypto exchange account activity and balance analysis
Strong, Nichole       7/12/2023     2.4   Review and summarize detailed exchange activity for accounts
                                          associated with professional services firms engaged by Debtors
Strong, Nichole       7/12/2023     0.8   Teleconference with N. Strong and D. Medway (A&M) regarding
                                          cash transactions analysis for in scope professionals
Sunkara, Manasa       7/12/2023     0.6   Call with M. Sunkara, J. Lee (A&M) to discuss fiat withdrawal activity
                                          relating to select customer fbo accounts
Walia, Gaurav         7/12/2023     0.3   Call with L. Ryan, A. Canale, G. Walia (A&M) to discuss employee
                                          preference analysis
Witherspoon, Samuel   7/12/2023     0.2   Call with J. Cooper, S. Witherspoon, J. Lee (A&M) regarding petition
                                          date cash balances for debtor accounts
Blanchard, Madison    7/13/2023     1.1   Quality control review of analysis of Matrix Port lending claim


Blanchard, Madison    7/13/2023     1.6   Quality control review of analysis of additional former FTX employee
                                          exchange customer preference claims
Blanchard, Madison    7/13/2023     0.4   Call with M. Blanchard, S. Mimms (A&M) regarding QC of analysis
                                          of additional former FTX Employee exchange customer preference
                                          claims
Blanchard, Madison    7/13/2023     0.5   Call with M. Blanchard, P. McGrath (A&M) regarding exchange
                                          activity relating to investigation of individuals
Blanchard, Madison    7/13/2023     0.2   Call with A. Canale, M. Blanchard, S. Mimms (A&M) regarding QC of
                                          analysis of Matrix Port lending claim
Canale, Alex          7/13/2023     0.4   Finalize draft report on Tesseract lending activity


Canale, Alex          7/13/2023     0.2   Call with A. Canale, M. Blanchard, S. Mimms (A&M) regarding QC of
                                          analysis of Matrix Port lending claim



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Professional             Date    Hours     Activity
Canale, Alex         7/13/2023     0.6   Review Tesseract petition date balance analyses and edit

Canale, Alex         7/13/2023     1.8   Review Matrix Port lender claim analysis and documents related
                                         thereto
Canale, Alex         7/13/2023     0.4   Review and respond to comments regarding lending analysis

Canale, Alex         7/13/2023     0.8   Updates to Peng and Minhua draft report for S&C

Canale, Alex         7/13/2023     0.7   Prepare updates to professionals payment schedules


Canale, Alex         7/13/2023     0.5   Call with A. Canale, M. Shanahan, and P. McGrath regarding
                                         professional analysis and workstream status
Canale, Alex         7/13/2023     0.4   Correspond with A&M team regarding lender claim


Canale, Alex         7/13/2023     0.9   Review analysis of Peng and Minhua exchange account transactions

Canale, Alex         7/13/2023     0.4   Call with A. Canale and P. McGrath regarding investigation into
                                         certain individuals
Canale, Alex         7/13/2023     0.8   Call with A. Canale, D. Medway, J. Lee, E. Hoffer (A&M) regarding
                                         summarization process for professional firms identified by QE
Canale, Alex         7/13/2023     0.3   Correspond with A&M team and QE regarding NEAR tokens

Canale, Alex         7/13/2023     0.2   Call with A. Canale, J. Lee (A&M) and D. Ornelas (FTX) to discuss
                                         expense reimbursements on behalf of insiders
Dobbs, Aaron         7/13/2023     1.1   Targeted searches for Clement T. Maynard engagement letters to
                                         support professional firms cash transaction summarization
Dobbs, Aaron         7/13/2023     0.8   Call with N. Strong, M. Ebrey, A. Dobbs, I. Patel (A&M) regarding
                                         summarization process for professional firms identified by QE
Dobbs, Aaron         7/13/2023     0.8   Prepare document index associated with Piper Alderman invoices to
                                         asses completeness of production for professional firms database
Dobbs, Aaron         7/13/2023     0.8   Retainer summary to support professional firms cash transaction
                                         summarization related to targeted law firms
Dobbs, Aaron         7/13/2023     0.9   Summarization of Abaco Law Limited invoices to support
                                         professional firms cash transaction summarization tables
Dobbs, Aaron         7/13/2023     1.9   Targeted searches for Abaco Law Limited invoices to support
                                         professional firms cash transaction summarization
Dobbs, Aaron         7/13/2023     0.9   Targeted searches for Clement T. Maynard invoices to support
                                         professional firms cash transaction summarization
Dobbs, Aaron         7/13/2023     1.4   Targeted searches for Clement T. Maynard wire confirmation data to
                                         support professional firms cash transaction summarization
Dobbs, Aaron         7/13/2023     1.6   Targeted searches for Hoskin & Harcourt LLP invoices to support
                                         professional firms cash transaction summarization
Dobbs, Aaron         7/13/2023     1.3   Analysis of invoice level data for Piper Alderman cash transactions
                                         associated with HiveEX




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Professional              Date     Hours     Activity
Dobbs, Aaron           7/13/2023     1.1   Targeted searches for serendipty consulting engagement letters to
                                           support professional firms cash transaction summarization
Dobbs, Aaron           7/13/2023     1.9   Summarization of Hoskin & Harcourt LLP invoices to support
                                           professional firms cash transaction summarization tables
Ebrey, Mason           7/13/2023     3.1   Review of remittances paid to Silver Miller, Hogan Lovells, and
                                           Latham & Watkins
Ebrey, Mason           7/13/2023     0.3   Call with D. Medway and M. Ebrey (A&M) regarding updates to
                                           schedule summarizing results of professionals payments analysis
Ebrey, Mason           7/13/2023     0.8   Call with N. Strong, M. Ebrey, A. Dobbs, I. Patel (A&M) regarding
                                           summarization process for professional firms identified by QE
Ebrey, Mason           7/13/2023     0.9   Review of remittances paid to Piper Alderman and determination of
                                           invoices that were paid
Ebrey, Mason           7/13/2023     3.1   Review of remittances paid to Wasserman and locating engagement
                                           letters for relevant law firms
Glustein, Steven       7/13/2023     0.2   Call with S. Glustein and P. McGrath (A&M) regarding select token
                                           proposal
Haigis, Maya           7/13/2023     0.8   Review updated cash database methodology documentation and
                                           metrics
Helal, Aly             7/13/2023     2.0   Clean up Counterparties of Bank transactions for standardization
                                           efforts
Hoffer, Emily          7/13/2023     0.2   Call with M. Shanahan, J. Lee, E. Hoffer (A&M), J. LaBella
                                           (AlixPartners), A. Toobin, F. Crocco (S&C), M. Cilia (FTX) to discuss
                                           historical bank statement collection progress
Hoffer, Emily          7/13/2023     0.8   Call with A. Canale, D. Medway, J. Lee, E. Hoffer (A&M) regarding
                                           summarization process for professional firms identified by QE
Hoffer, Emily          7/13/2023     1.7   Identify and document expenses from related individual with
                                           payments from various FTX entities for use in professional cash
                                           transactions review
Hoffer, Emily          7/13/2023     0.8   Identify and document invoices from Fenwick and West with
                                           payments from various FTX entities for use in professional cash
                                           transactions review
Hoffer, Emily          7/13/2023     2.3   Identify and document invoices from PricewaterhouseCoopers with
                                           payments from FTX Crypto Services Ltd for use in professional cash
                                           transactions review
Hoffer, Emily          7/13/2023     1.9   Identify and document invoices from PricewaterhouseCoopers with
                                           payments from FTX Europe AG for use in professional cash
                                           transactions review
Hoffer, Emily          7/13/2023     2.2   Identify and document invoices from PricewaterhouseCoopers with
                                           payments from Zubr Exchange Ltd for use in professional cash
                                           transactions review
Hoffer, Emily          7/13/2023     2.3   Identify and document invoices from PricewaterhouseCoopers with
                                           payments from FTX Trading Ltd for use in professional cash
                                           transactions review
Konig, Louis           7/13/2023     0.5   Call with M. Sunkara, J. Lee, L. Konig, P. Kwan (A&M) to discuss
                                           fiat withdrawal activity relating to select customer fbo accounts
Kwan, Peter            7/13/2023     0.5   Call with M. Sunkara, J. Lee, L. Konig, P. Kwan (A&M) to discuss
                                           fiat withdrawal activity relating to select customer fbo accounts


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Avoidance Actions
Professional                Date    Hours     Activity
Lambert, Leslie         7/13/2023     0.4   Call with L. Lambert and P. McGrath (A&M) regarding insider
                                            sources and uses of funds analysis
Lee, Julian             7/13/2023     0.1   Correspond with team regarding balance roll forward to petition date
                                            for bank accounts in cash database
Lee, Julian             7/13/2023     0.8   Call with A. Canale, D. Medway, J. Lee, E. Hoffer (A&M) regarding
                                            summarization process for professional firms identified by QE
Lee, Julian             7/13/2023     0.2   Call with B. Tenney, J. Lee (A&M) to discuss vendor invoices for
                                            professional service firms
Lee, Julian             7/13/2023     0.2   Call with D. Medway, J. Lee (A&M) to discuss professional service
                                            related payments
Lee, Julian             7/13/2023     0.2   Call with M. Shanahan, J. Lee, E. Hoffer (A&M), J. LaBella
                                            (AlixPartners), A. Toobin, F. Crocco (S&C), M. Cilia (FTX) to discuss
                                            historical bank statement collection progress
Lee, Julian             7/13/2023     0.5   Call with M. Sunkara, J. Lee, L. Konig, P. Kwan (A&M) to discuss
                                            fiat withdrawal activity relating to select customer fbo accounts
Lee, Julian             7/13/2023     0.1   Correspond with accounting team regarding petition date balances
                                            for debtor bank accounts
Lee, Julian             7/13/2023     0.4   Correspond with Circle regarding data fields for counterparty
                                            information extraction
Lee, Julian             7/13/2023     0.2   Correspond with debtor regarding request for invoice searches on
                                            select professional service firms
Lee, Julian             7/13/2023     0.2   Call with A. Canale, J. Lee (A&M) and D. Ornelas (FTX) to discuss
                                            expense reimbursements on behalf of insiders
Lee, Julian             7/13/2023     0.1   Correspond with team regarding account agreement identified
                                            between FTX Trading and Deltec
Lee, Julian             7/13/2023     0.2   Review professional service firms payment analysis

Lee, Julian             7/13/2023     0.2   Correspond with team regarding invoices identified for select
                                            professional service firms
Lee, Julian             7/13/2023     0.1   Correspond with team regarding professional service firm payments
                                            to Fenwick & West
Lee, Julian             7/13/2023     0.4   Correspond with team regarding request for invoice searches on
                                            select professional service firms
Lee, Julian             7/13/2023     0.3   Identify invoices for payments to Fenwick & West re: professional
                                            service firm payment analysis
Lee, Julian             7/13/2023     1.3   Identify invoices relating to payments to Fenwick & West

Lee, Julian             7/13/2023     0.8   Review debtor entities affiliated with Wells Fargo, Evolve, Silvergate
                                            re: QE inquiry
McGrath, Patrick        7/13/2023     2.8   Identify sources and uses of venture investment deposits for
                                            comparison to insider funds
McGrath, Patrick        7/13/2023     0.2   Call with S. Glustein and P. McGrath (A&M) regarding select token
                                            proposal
McGrath, Patrick        7/13/2023     0.4   Call with L. Lambert and P. McGrath (A&M) regarding insider
                                            sources and uses of funds analysis


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Avoidance Actions
Professional            Date     Hours     Activity
McGrath, Patrick     7/13/2023     0.4   Call with A. Canale and P. McGrath regarding investigation into
                                         certain individuals
McGrath, Patrick     7/13/2023     0.5   Call with M. Blanchard, P. McGrath (A&M) regarding exchange
                                         activity relating to investigation of individuals
McGrath, Patrick     7/13/2023     2.6   Trace sources and uses of insider funds for potential recovery

McGrath, Patrick     7/13/2023     0.5   Call with A. Canale, M. Shanahan, and P. McGrath regarding
                                         professional analysis and workstream status
Medway, David        7/13/2023     0.2   Call with D. Medway, J. Lee (A&M) to discuss professional service
                                         related payments
Medway, David        7/13/2023     0.8   Call with A. Canale, D. Medway, J. Lee, E. Hoffer (A&M) regarding
                                         summarization process for professional firms identified by QE
Medway, David        7/13/2023     0.3   Call with D. Medway and M. Ebrey (A&M) regarding updates to
                                         schedule summarizing results of professionals payments analysis
Medway, David        7/13/2023     0.7   Call with D. Medway and M. Shanahan (A&M) regarding reporting
                                         considerations related to professionals cash payments analysis
Medway, David        7/13/2023     0.8   Call with D. Medway and M. Shanahan (A&M) regarding status of
                                         professionals cash payments analysis
Medway, David        7/13/2023     0.4   Internal communications regarding results of professionals
                                         exchange account data analysis
Medway, David        7/13/2023     0.5   Internal communications regarding status of professionals cash
                                         payments analysis
Medway, David        7/13/2023     2.8   Investigate nature of historical payments to Sullivan & Cromwell and
                                         document findings
Medway, David        7/13/2023     0.3   Investigate nature of historical payments to White & Case and
                                         document findings
Medway, David        7/13/2023     0.7   Strategize schedule to aggregate findings from investigations into
                                         nature of payments to in scope professionals
Medway, David        7/13/2023     1.1   Review and edit materials summarizing results of investigation into
                                         nature of historical payments to Hogan Lovells
Medway, David        7/13/2023     0.9   Review and edit materials summarizing results of investigation into
                                         nature of historical payments to Latham & Watkins
Medway, David        7/13/2023     0.8   Review and edit materials summarizing results of investigation into
                                         nature of historical payments to MLL Meyerlustenberger
Medway, David        7/13/2023     0.4   Prepare for internal call regarding status of professionals cash
                                         payments analysis
Medway, David        7/13/2023     0.4   Review internal edits to memo summarizing results of Silicon Valley
                                         Accountants investigation and prepare for next level review
Medway, David        7/13/2023     0.6   Review and edit materials summarizing results of investigation into
                                         nature of historical payments to related individual
Mimms, Samuel        7/13/2023     0.4   Call with M. Blanchard, S. Mimms (A&M) regarding QC of analysis
                                         of additional former FTX Employee exchange customer preference
                                         claims
Mimms, Samuel        7/13/2023     0.2   Call with A. Canale, M. Blanchard, S. Mimms (A&M) regarding QC of
                                         analysis of Matrix Port lending claim


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Avoidance Actions
Professional             Date     Hours     Activity
Mimms, Samuel         7/13/2023     2.7   Perform quality control on Tesseract lender analysis and
                                          presentation
Mimms, Samuel         7/13/2023     2.6   Prepare customer tear sheets and detailed transaction summaries of
                                          analysis of additional former FTX Employee exchange customer
                                          preference claims for Sullivan & Cromwell
Mimms, Samuel         7/13/2023     3.1   Draft presentation for Sullivan & Cromwell of Matrix Port lender
                                          analysis findings
Patel, Ishika         7/13/2023     2.2   Match invoice payments from FTX entities to Morrison Foerster law
                                          firm
Patel, Ishika         7/13/2023     1.3   Targeted searches regarding professional payment analysis of law
                                          firms for engagement letters and invoices on Relativity
Patel, Ishika         7/13/2023     2.6   Match payment of invoices from FTX entities to Perkins Coie law firm

Patel, Ishika         7/13/2023     0.8   Call with N. Strong, M. Ebrey, A. Dobbs, I. Patel (A&M) regarding
                                          summarization process for professional firms identified by QE
Patel, Ishika         7/13/2023     2.1   Continue matching payments of invoices from FTX entities to King
                                          Wood Mallesons professional firm
Radis, Cameron        7/13/2023     1.6   Perform SQL based exercise to reconcile two new Silvergate bank
                                          account transactions to summary balances
Radis, Cameron        7/13/2023     0.8   Perform SQL based exercise to push reconciled transactions to
                                          Metabase views for two new Silvergate bank account transactions
Radis, Cameron        7/13/2023     0.4   Perform quality control review of two new Silvergate bank account
                                          transactions reconciliation
Ramanathan, Kumanan   7/13/2023     0.4   Review customer preference analysis and provide feedback


Ryan, Laureen         7/13/2023     0.3   Correspond with S&C and A&M team regarding Peng and bank
                                          activity findings
Ryan, Laureen         7/13/2023     0.2   Correspond with A&M Team regarding matrix Port Lender analysis

Ryan, Laureen         7/13/2023     0.3   Correspond with A&M team regarding professionals investigation
                                          related to law firms
Ryan, Laureen         7/13/2023     0.3   Correspond with A&M Team regarding S&C inquiry related to
                                          Lemma Technologies
Ryan, Laureen         7/13/2023     0.3   Correspond with S&C and A&M team regarding investigation into
                                          Peng/Minhua bank activity
Ryan, Laureen         7/13/2023     0.1   Correspond with S&C and A&M team regarding updates to bank
                                          production tracker
Ryan, Laureen         7/13/2023     0.6   Review and edit draft Matrix Port Lender preference analysis deck


Ryan, Laureen         7/13/2023     0.4   Review and edit draft Tesseract deck Lender preference analysis
                                          deck
Ryan, Laureen         7/13/2023     0.3   Review FTX DAAG complaint noting law firms cited for
                                          Professionals Reporting
Ryan, Laureen         7/13/2023     0.1   Correspond with Alix and A&M team regarding Select Intercompany
                                          Pairs for financial reporting


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Avoidance Actions
Professional             Date    Hours     Activity
Shanahan, Michael    7/13/2023     0.7   Review memo provided to Board related to Alameda investment

Shanahan, Michael    7/13/2023     0.5   Call with A. Canale, M. Shanahan, and P. McGrath regarding
                                         professional analysis and workstream status
Shanahan, Michael    7/13/2023     0.7   Call with D. Medway and M. Shanahan (A&M) regarding reporting
                                         considerations related to professionals cash payments analysis
Shanahan, Michael    7/13/2023     0.8   Call with D. Medway and M. Shanahan (A&M) regarding status of
                                         professionals cash payments analysis
Shanahan, Michael    7/13/2023     0.2   Review status of bank productions in preparation for call with counsel


Shanahan, Michael    7/13/2023     2.3   Review documents related to professional firm payments

Shanahan, Michael    7/13/2023     1.1   Review working draft of professional fee payment exhibit


Shanahan, Michael    7/13/2023     0.4   Review memo provided to Board related to Starkware

Shanahan, Michael    7/13/2023     0.2   Call with M. Shanahan, J. Lee, E. Hoffer (A&M), J. LaBella
                                         (AlixPartners), A. Toobin, F. Crocco (S&C), M. Cilia (FTX) to discuss
                                         historical bank statement collection progress
Strong, Nichole      7/13/2023     1.1   Continue to review and summarize detailed exchange activity for
                                         accounts associated with professional services firms engaged by
                                         Debtors
Strong, Nichole      7/13/2023     2.1   Internal communications regarding exchange activity for accounts
                                         associated with professional services firms engaged by Debtors
Strong, Nichole      7/13/2023     2.8   Perform targeted searches in document review platform to identify
                                         invoices supporting historical cash payments to professional firms
                                         engaged by Debtors
Strong, Nichole      7/13/2023     2.4   Review and summarize invoices supporting historical cash
                                         payments to professional firms engaged by Debtors
Strong, Nichole      7/13/2023     0.8   Call with N. Strong, M. Ebrey, A. Dobbs, I. Patel (A&M) regarding
                                         summarization process for professional firms identified by QE
Sunkara, Manasa      7/13/2023     0.5   Call with M. Sunkara, J. Lee, L. Konig, P. Lee (A&M) to discuss fiat
                                         withdrawal activity relating to select customer fbo accounts
Tenney, Bridger      7/13/2023     0.2   Call with B. Tenney, J. Lee (A&M) to discuss vendor invoices for
                                         professional service firms
Blanchard, Madison   7/14/2023     1.6   Review materials relating to Ripple Labs and plan approach to claim
                                         analysis
Blanchard, Madison   7/14/2023     0.1   Call with M. Blanchard, S. Mimms (A&M) regarding updates to
                                         exchange customer preference analysis and presentation for Board
Blanchard, Madison   7/14/2023     0.2   Call with M. Blanchard, S. Mimms (A&M) regarding QC of analysis
                                         of Tesseract lending claim
Blanchard, Madison   7/14/2023     0.5   Call with L. Ryan, A. Canale, P. McGrath, S. Mimms, and M.
                                         Blanchard (A&M) regarding Tesseract and Matrix Port lender
                                         analysis presentation and findings
Blanchard, Madison   7/14/2023     0.7   Update presentation of exchange customer preference analysis
                                         using refreshed data


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Avoidance Actions
Professional             Date     Hours     Activity
Blanchard, Madison    7/14/2023     0.4   Update presentation of Tesseract lending claim following QC updates

Blanchard, Madison    7/14/2023     2.9   Update exchange customer preference analysis tear sheets using
                                          refreshed data
Canale, Alex          7/14/2023     0.5   Call with L. Ryan, A. Canale, P. McGrath, S. Mimms, and M.
                                          Blanchard (A&M) regarding Tesseract and Matrix Port lender
                                          analysis presentation and findings
Canale, Alex          7/14/2023     0.8   Analysis of exchange preference exposure for Ecology limited

Canale, Alex          7/14/2023     0.8   Call with A. Canale, P. McGrath (A&M) regarding insider sources
                                          and uses of funds analysis
Canale, Alex          7/14/2023     0.5   Call with L. Ryan, A. Canale, M. Shanahan (A&M) regarding
                                          Avoidance Action workstream strategy
Canale, Alex          7/14/2023     1.7   Prepare report regarding analysis of exchange preference exposure
                                          for Ecology limited
Canale, Alex          7/14/2023     0.6   Call with M. Shanahan, A. Canale, D. Medway (A&M) regarding
                                          summarization process for professional firms identified by QE
Canale, Alex          7/14/2023     0.2   Correspond with A&M team regarding Customer preference analysis
                                          of Ecology limited
Canale, Alex          7/14/2023     0.4   Correspond with S&C regarding claims against insiders


Canale, Alex          7/14/2023     0.4   Correspond with S&C regarding exchange preference claims

Canale, Alex          7/14/2023     0.7   Exchange customer preference analysis of Ecology for S&C


Canale, Alex          7/14/2023     0.8   Prepare PMO slides regarding avoidance actions updates

Canale, Alex          7/14/2023     1.6   Update exchange preference analysis exposure calculations for
                                          exchange customers requested by S&C
Canale, Alex          7/14/2023     0.2   Call with L. Ryan, A. Canale (A&M) regarding customer preference
                                          analysis for employees
Chan, Jon             7/14/2023     0.1   Call with J. Chan and N. Strong (A&M) re: exchange data for Daniel
                                          Wasserman
Dobbs, Aaron          7/14/2023     0.3   Call with D. Medway and A. Dobbs (A&M) regarding materials
                                          summarizing historical payments to Pavel Pogodin and entities
                                          under his control
Dobbs, Aaron          7/14/2023     1.7   Targeted searches for Robert Lee & Associates invoices to support
                                          professional firms cash transaction summarization
Dobbs, Aaron          7/14/2023     0.1   Call with D. Medway, A. Dobbs, M. Ebrey (A&M) regarding bucketing
                                          of Professional Firms by gross payment
Dobbs, Aaron          7/14/2023     0.6   Call with M. Ebrey, A. Dobbs, I. Patel (A&M) regarding
                                          summarization process for professional firms identified by QE
Dobbs, Aaron          7/14/2023     1.3   Summarization of Osler, Hoskin & Harcourt LLP invoices to support
                                          professional firms cash transaction summarization tables
Dobbs, Aaron          7/14/2023     2.2   Targeted searches for TransPacific Law invoices to support
                                          professional firms cash transaction summarization

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Avoidance Actions
Professional              Date     Hours     Activity
Dobbs, Aaron           7/14/2023     1.8   Targeted searches for Pavel Pogodin invoices to support
                                           professional firms cash transaction summarization
Dobbs, Aaron           7/14/2023     1.2   Targeted searches for Robert Lee & Associates invoices to support
                                           law firms cash transaction summarization
Dobbs, Aaron           7/14/2023     1.6   Summarization of Pogodin related entities invoices to support
                                           professional firms cash transaction summarization tables
Ebrey, Mason           7/14/2023     2.9   Review of remittances paid to Fenwick and determination of invoices
                                           that were paid
Ebrey, Mason           7/14/2023     0.1   Call with D. Medway, A. Dobbs, M. Ebrey (A&M) regarding bucketing
                                           of Professional Firms by gross payment
Ebrey, Mason           7/14/2023     0.3   Call with D. Medway, J. Lee, M. Ebrey (A&M) regarding identification
                                           of counterparties in professional firms summary
Ebrey, Mason           7/14/2023     0.6   Call with M. Ebrey, A. Dobbs, I. Patel (A&M) regarding
                                           summarization process for professional firms identified by QE
Ebrey, Mason           7/14/2023     1.2   Construction of summary table bucketing professional firm expenses

Ebrey, Mason           7/14/2023     1.4   Determination of invoices connected to cash payments made by
                                           debtor to Fenwick
Ebrey, Mason           7/14/2023     1.6   Identification of counterparties in professional firms summary

Ebrey, Mason           7/14/2023     0.9   Review of remittances paid to Piper Alderman and determination of
                                           invoices that were paid
Helal, Aly             7/14/2023     0.3   Call with A. Helal, J. Lee (A&M) to discuss invoice identification for
                                           payments to Fenwick & West
Helal, Aly             7/14/2023     2.4   Collect invoices for Professional services firms used by FTX

Helal, Aly             7/14/2023     1.8   Collect invoices for Fenwick & West Professional services firm used
                                           by FTX
Helal, Aly             7/14/2023     2.4   Populate the professional services firms analysis for firms with total
                                           invoice amount above $1 Million
Helal, Aly             7/14/2023     0.6   Call with J. Lee, E. Hoffer, A. Helal (A&M) regarding summarization
                                           process for professional firms identified by QE
Hoffer, Emily          7/14/2023     2.1   Identify and document invoices from Fenwick and West with
                                           payments from Alameda Research LLC for use in professional cash
                                           transactions review
Hoffer, Emily          7/14/2023     0.6   Call with J. Lee, E. Hoffer, A. Helal (A&M) regarding summarization
                                           process for professional firms identified by QE
Hoffer, Emily          7/14/2023     2.4   Identify and document invoices from Fenwick and West with
                                           payments from FTX Trading Ltd for use in professional cash
                                           transactions review
Hoffer, Emily          7/14/2023     1.9   Identify and document invoices from Fenwick and West with
                                           payments from Alameda Research Ltd for use in professional cash
                                           transactions review
Hoffer, Emily          7/14/2023     1.8   Identify and document invoices from Fenwick and West with
                                           payments from West Realm Shires Services Inc for use in
                                           professional cash transactions review


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Professional               Date     Hours     Activity
Hoffer, Emily           7/14/2023     1.4   Identify and document invoices from Fenwick and West with
                                            payments from Blockfolio for use in professional cash transactions
                                            review
Hoffer, Emily           7/14/2023     0.2   Teleconference with E. Hoffer and C. Radis (A&M) to discuss fiat
                                            and crypto transactions in AWS
Johnson, Robert         7/14/2023     0.2   Backup cash tables in advance of migration of Silvergate and Chase
                                            bank information
Johnson, Robert         7/14/2023     0.4   Migrate Silvergate and Chase banking information to summary and
                                            combined banking tables
Johnson, Robert         7/14/2023     0.3   Validate data migration of Silvergate and Chase banking information
                                            to Metabase production tables
Lee, Julian             7/14/2023     0.3   Call with A. Helal, J. Lee (A&M) to discuss invoice identification for
                                            payments to Fenwick & West
Lee, Julian             7/14/2023     0.1   Correspond with team regarding debtor access to cash database

Lee, Julian             7/14/2023     0.3   Call with D. Medway, J. Lee, M. Ebrey (A&M) regarding identification
                                            of counterparties in professional firms summary
Lee, Julian             7/14/2023     0.1   Call with D. Medway and J. Lee (A&M) regarding professionals cash
                                            payments analysis status and strategy
Lee, Julian             7/14/2023     0.2   Correspond with team to obtain Digital Gamma crypto transaction
                                            activity
Lee, Julian             7/14/2023     0.6   Perform quality control review of invoices relating to payments to
                                            Fenwick & West
Lee, Julian             7/14/2023     0.6   Call with J. Lee, E. Hoffer, A. Helal (A&M) regarding summarization
                                            process for professional firms identified by QE
Lee, Julian             7/14/2023     0.3   Review of bank communications tracker for preparation of weekly
                                            PMO update
Lee, Julian             7/14/2023     0.2   Extract detail for invoice payments for Robert Lee & Associates

Lee, Julian             7/14/2023     0.7   Review weekly bank account tracker for status on cash database


Lee, Julian             7/14/2023     0.2   Review bank transfer activity related to SBI Clearing accounts for
                                            cash database purposes
McGrath, Patrick        7/14/2023     0.8   Call with A. Canale, P. McGrath (A&M) regarding insider sources
                                            and uses of funds analysis
McGrath, Patrick        7/14/2023     0.5   Call with L. Ryan, A. Canale, P. McGrath, S. Mimms, and M.
                                            Blanchard (A&M) regarding Tesseract and Matrix Port lender
                                            analysis presentation and findings
McGrath, Patrick        7/14/2023     2.8   Perform analysis tracing sources and uses of insider funds for
                                            potential recovery
McGrath, Patrick        7/14/2023     0.7   Review transactions related to lending activity for potential recovery


Medway, David           7/14/2023     1.1   Review and edit materials summarizing results of investigation into
                                            nature of historical payments to Osler Hoskin & Harcourt
Medway, David           7/14/2023     0.9   Review and edit materials summarizing results of investigation into
                                            nature of historical payments to Perkins Coie

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Avoidance Actions
Professional           Date     Hours     Activity
Medway, David       7/14/2023     0.6   Call with M. Shanahan, A. Canale, D. Medway (A&M) regarding
                                        summarization process for professional firms identified by QE
Medway, David       7/14/2023     0.7   Review and edit materials summarizing results of investigation into
                                        nature of historical payments to PWC
Medway, David       7/14/2023     0.3   Call with D. Medway and A. Dobbs (A&M) regarding materials
                                        summarizing historical payments to Pavel Pogodin and entities
                                        under his control
Medway, David       7/14/2023     1.2   Review and edit materials summarizing results of investigation into
                                        nature of historical payments to Silver Miller
Medway, David       7/14/2023     1.0   Review and edit materials summarizing results of investigation into
                                        nature of historical payments to King Wood & Mallesons
Medway, David       7/14/2023     0.1   Call with D. Medway and J. Lee (A&M) regarding professionals cash
                                        payments analysis status and strategy
Medway, David       7/14/2023     0.4   Call with D. Medway and M. Shanahan (A&M) regarding edits to
                                        memo summarizing results of Silicon Valley Accountants
                                        investigation resulting from internal review comments
Medway, David       7/14/2023     0.9   Call with D. Medway and M. Shanahan (A&M) regarding preparation
                                        of materials summarizing results of investigations of cash payments
                                        to professional firms
Medway, David       7/14/2023     0.5   Prepare workplan for staff review of historical cash payments to
                                        Robert Lee & Associates
Medway, David       7/14/2023     0.2   Call with D. Medway and N. Strong (A&M) regarding edits to memo
                                        summarizing results of Silicon Valley Accountants investigation
                                        resulting from internal review comments
Medway, David       7/14/2023     0.4   Internal communications with staff regarding missing professional
                                        firm engagement letters
Medway, David       7/14/2023     0.8   Review and edit materials summarizing results of investigation into
                                        nature of historical payments to Abaco Law Limited
Medway, David       7/14/2023     0.6   Review and edit materials summarizing results of investigation into
                                        nature of historical payments to Kim & Chang
Medway, David       7/14/2023     0.8   Review and edit materials summarizing results of investigation into
                                        nature of historical payments to Morrison Foerster
Medway, David       7/14/2023     0.1   Call with D. Medway, A. Dobbs, M. Ebrey (A&M) regarding bucketing
                                        of Professional Firms by gross payment
Medway, David       7/14/2023     0.3   Call with D. Medway, J. Lee, M. Ebrey (A&M) regarding identification
                                        of counterparties in professional firms summary
Medway, David       7/14/2023     0.7   Review and edit materials summarizing results of investigation into
                                        nature of historical payments to Clement T. Maynard & Company
Mimms, Samuel       7/14/2023     0.1   Call with M. Blanchard, S. Mimms (A&M) regarding updates to
                                        exchange customer preference analysis and presentation for Board
Mimms, Samuel       7/14/2023     2.4   Perform quality control on Tesseract lender analysis and
                                        presentation
Mimms, Samuel       7/14/2023     1.8   Perform quality control on updated exchange customer preference
                                        analysis and presentation for Board
Mimms, Samuel       7/14/2023     1.1   Prepare Economy Limited exchange customer preference analysis
                                        summaries for Sullivan & Cromwell


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Avoidance Actions
Professional              Date     Hours     Activity
Mimms, Samuel          7/14/2023     1.2   Update Matrix Port lender analysis and presentation for Sullivan &
                                           Cromwell
Mimms, Samuel          7/14/2023     0.5   Call with L. Ryan, A. Canale, P. McGrath, S. Mimms, and M.
                                           Blanchard (A&M) regarding Tesseract and Matrix Port lender
                                           analysis presentation and findings
Mimms, Samuel          7/14/2023     0.2   Call with M. Blanchard, S. Mimms (A&M) regarding QC of analysis
                                           of Tesseract lending claim
Mosley, Ed             7/14/2023     0.6   Review of updated customer preference analysis draft

Mosley, Ed             7/14/2023     0.5   Review of draft of Tesseract lender preference period financial
                                           analysis
Mosley, Ed             7/14/2023     0.4   Review of draft of Matrix Port lender preference period financial
                                           analysis
Patel, Ishika          7/14/2023     3.2   Match invoice payments from FTX entities to firms Morrison
                                           Foerster, Perkins Coie, and King Wood Mallesons
Patel, Ishika          7/14/2023     2.4   Targeted searches for invoices and engagement letters between
                                           FTX entities and law firms
Patel, Ishika          7/14/2023     0.6   Call with M. Ebrey, A. Dobbs, I. Patel (A&M) regarding
                                           summarization process for professional firms identified by QE
Patel, Ishika          7/14/2023     2.4   Continue matching payments of invoices from FTX entities to
                                           Fenwick law firm
Radis, Cameron         7/14/2023     0.4   Create internal instructions regarding new crypto/fiat AWS tables

Radis, Cameron         7/14/2023     1.7   Perform SQL based exercise to reconcile new crypto/fiat
                                           transactions to summary balances
Radis, Cameron         7/14/2023     0.5   Perform SQL based exercise to push reconciled transactions to
                                           Metabase views for new crypto/fiat account transactions
Radis, Cameron         7/14/2023     2.3   Create new staging reconciliation process for Crypto/Fiat
                                           transactions
Radis, Cameron         7/14/2023     0.2   Teleconference with E. Hoffer and C. Radis (A&M) to discuss fiat
                                           and crypto transactions in AWS
Radis, Cameron         7/14/2023     1.4   Create new staging views for Crypto/Fiat transactions

Radis, Cameron         7/14/2023     0.9   Perform quality control review of crypto/fiat transactions reconciliation


Ramanathan, Kumanan    7/14/2023     1.4   Review preference analysis materials and provide feedback

Ryan, Laureen          7/14/2023     0.5   Review and edit memo related to Silicon Valley Accountants for
                                           possible cause of action
Ryan, Laureen          7/14/2023     0.3   Correspond with A&M team regarding evaluation of consulting firm
                                           claims
Ryan, Laureen          7/14/2023     0.2   Correspond with A&M team regarding updates to workstream tracker
                                           and PMO
Ryan, Laureen          7/14/2023     0.3   Review and edit analysis related to customer preference analysis for
                                           employees


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Avoidance Actions
Professional           Date     Hours     Activity
Ryan, Laureen       7/14/2023     0.2   Correspond with QE and A&M team regarding inquiries related to
                                        related individual payment activity
Ryan, Laureen       7/14/2023     0.2   Correspond with QE and A&M team regarding audit firm analysis
                                        memo
Ryan, Laureen       7/14/2023     0.2   Correspond with QE and A&M team regarding additional
                                        professional firms located
Ryan, Laureen       7/14/2023     0.4   Correspond with S&C and A&M team regarding inquiries related to
                                        draft compliant for Brian Lee
Ryan, Laureen       7/14/2023     0.3   Correspond with A&M team regarding Lender claim analysis deck
                                        drafts
Ryan, Laureen       7/14/2023     0.2   Call with L. Ryan, A. Canale (A&M) regarding customer preference
                                        analysis for employees
Ryan, Laureen       7/14/2023     0.3   Correspond with A&M team regarding bank statements with crypto
                                        activity reflected
Ryan, Laureen       7/14/2023     0.3   Correspond with A&M team Customer Preference Data pricing and
                                        volume metrics
Ryan, Laureen       7/14/2023     0.2   Correspond with A&M team slack communications related to
                                        Customer exchange activity
Ryan, Laureen       7/14/2023     0.1   Call with L. Ryan, G. Walia (A&M) regarding FTT history and
                                        findings to date request from S&C
Ryan, Laureen       7/14/2023     0.5   Call with L. Ryan, A. Canale, P. McGrath, S. Mimms, and M.
                                        Blanchard (A&M) regarding Tesseract and Matrix Port lender
                                        analysis presentation and findings
Ryan, Laureen       7/14/2023     0.5   Call with L. Ryan, A. Canale, M. Shanahan (A&M) regarding
                                        Avoidance Action workstream strategy
Ryan, Laureen       7/14/2023     0.2   Correspond with A&M team regarding research into FTT use and
                                        activity as requested by S&C
Shanahan, Michael   7/14/2023     2.2   Review ongoing analysis of professional fee spend by the Debtor
                                        entities
Shanahan, Michael   7/14/2023     0.9   Call with D. Medway and M. Shanahan (A&M) regarding preparation
                                        of materials summarizing results of investigations of cash payments
                                        to professional firms
Shanahan, Michael   7/14/2023     0.5   Call with L. Ryan, A. Canale, M. Shanahan (A&M) regarding
                                        Avoidance Action workstream strategy
Shanahan, Michael   7/14/2023     0.3   Review response to counsel related to Signature accounts in
                                        connection with ongoing discovery
Shanahan, Michael   7/14/2023     0.6   Call with M. Shanahan, A. Canale, D. Medway (A&M) regarding
                                        summarization process for professional firms identified by QE
Shanahan, Michael   7/14/2023     0.4   Call with D. Medway and M. Shanahan (A&M) regarding edits to
                                        memo summarizing results of Silicon Valley Accountants
                                        investigation resulting from internal review comments
Shanahan, Michael   7/14/2023     0.3   Communications to/from counsel regarding related individual


Shanahan, Michael   7/14/2023     0.9   Review and revise updated Silicon Valley Accountants memo




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Avoidance Actions
Professional             Date     Hours     Activity
Shanahan, Michael     7/14/2023     0.8   Review and revise workplan for avoidance action workstream

Shanahan, Michael     7/14/2023     0.2   Review PMO slides and support for upcoming meeting


Shanahan, Michael     7/14/2023     1.1   Review supporting documents for professional fee payment schedule

Simkins, Maximilian   7/14/2023     1.2   Merge final approved summary cash database documentation with
                                          detailed cash database documentation
Sloan, Austin         7/14/2023     1.8   Convert SBI Trust pdf bank statements to excel using monarch


Strong, Nichole       7/14/2023     2.8   Review and prepare edits to Silicon Valley Accountants memo
                                          based on feedback from A&M Team
Strong, Nichole       7/14/2023     0.7   Perform targeted searches in document review platform to identify
                                          invoices supporting historical cash payments to professional firms
                                          engaged by Debtors
Strong, Nichole       7/14/2023     0.1   Call with J. Chan and N. Strong (A&M) re: exchange data for Daniel
                                          Wasserman
Strong, Nichole       7/14/2023     0.2   Call with D. Medway and N. Strong (A&M) regarding edits to memo
                                          summarizing results of Silicon Valley Accountants investigation
                                          resulting from internal review comments
Walia, Gaurav         7/14/2023     0.1   Call with L. Ryan, G. Walia (A&M) regarding FTT history and
                                          findings to date request from S&C
Canale, Alex          7/15/2023     0.4   Review FTX DAAG complaint for details relevant to professionals
                                          investigation
Canale, Alex          7/15/2023     0.8   Analysis of sources and uses of funds relating to key insider claim

Canale, Alex          7/15/2023     0.7   Analysis of LayerZero customer preference exposure using the
                                          subsequent advance approach
Canale, Alex          7/15/2023     0.4   Review Nardello memorandums regarding key insider

Canale, Alex          7/15/2023     0.4   Correspond with S&C team regarding methods for preference
                                          exposure calculations
Canale, Alex          7/15/2023     0.4   Updates to analysis regarding exchange customer preference
                                          exposure of Ecology limited
Dobbs, Aaron          7/15/2023     0.2   Call with J. Lee, A. Dobbs (A&M) regarding invoice identification for
                                          Robert Lee & Associates
Dobbs, Aaron          7/15/2023     2.1   Targeted searches for Robert Lee & Associates engagement letters
                                          to support professional firms cash transaction summarization
Dobbs, Aaron          7/15/2023     1.9   Targeted searches for Robert Lee & Associates invoices to support
                                          QE professional firms transaction summary
Dobbs, Aaron          7/15/2023     1.2   Summarization of FTX Trading invoices from Robert Lee &
                                          Associates to test for completeness
Dobbs, Aaron          7/15/2023     1.8   Summarization of Alameda Research invoices from Robert Lee &
                                          Associates to test for completeness
Dobbs, Aaron          7/15/2023     1.3   Quality control of Robert Lee & Associates internal document index
                                          to verify completeness

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Avoidance Actions
Professional              Date     Hours     Activity
Ebrey, Mason           7/15/2023     1.5   Comparison of QE produced Law Firms List

Ebrey, Mason           7/15/2023     0.4   Search Relativity database for support of professional firms
                                           payments
Helal, Aly             7/15/2023     2.1   Collect invoices for RLA Professional services firm used by FTX

Helal, Aly             7/15/2023     1.2   Review for naming accuracy of the professional services firms
                                           analysis for firms with total invoice amount above $1 Million
Hoffer, Emily          7/15/2023     0.1   Summarize engagement letters between various FTX entities and
                                           White & Case for use in nature of services rendered analysis
Hoffer, Emily          7/15/2023     0.1   Summarize engagement letters between various FTX entities and
                                           Kim & Chang for use in nature of services rendered analysis
Hoffer, Emily          7/15/2023     0.2   Summarize engagement letters between various FTX entities and
                                           King, Wood & Mallesons for use in nature of services rendered
                                           analysis
Hoffer, Emily          7/15/2023     0.4   Summarize engagement letters between various FTX entities and
                                           Latham & Watkins LLP for use in nature of services rendered
                                           analysis
Hoffer, Emily          7/15/2023     0.3   Summarize engagement letters between various FTX entities and
                                           Meyerlustenberger Lachenal Froriep AG for use in nature of services
                                           rendered analysis
Hoffer, Emily          7/15/2023     0.2   Summarize engagement letters between various FTX entities and
                                           Morrison Foerster LLP for use in nature of services rendered analysis
Hoffer, Emily          7/15/2023     0.2   Summarize engagement letters between various FTX entities and
                                           Perkins Coie for use in nature of services rendered analysis
Hoffer, Emily          7/15/2023     0.6   Summarize engagement letters between various FTX entities and
                                           Sullivan & Cromwell for use in nature of services rendered analysis
Hoffer, Emily          7/15/2023     0.3   Summarize engagement letters between various FTX entities and
                                           Hogan Lovells International LLP for use in nature of services
                                           rendered analysis
Hoffer, Emily          7/15/2023     0.1   Summarize engagement letters between various FTX entities and
                                           Silver Miller for use in nature of services rendered analysis
Hoffer, Emily          7/15/2023     0.2   Summarize engagement letters between various FTX entities and
                                           PricewaterhouseCoopers for use in nature of services rendered
                                           analysis
Hoffer, Emily          7/15/2023     0.7   Identify and document invoices from Fenwick and West with
                                           payments from various FTX entities for use in professional cash
                                           transactions review
Hoffer, Emily          7/15/2023     0.9   Identify and document invoices from Robert Lee & Associates with
                                           payments from various FTX entities for use in professional cash
                                           transactions review
Hoffer, Emily          7/15/2023     0.7   Summarize engagement letters between various FTX entities and
                                           Fenwick & West for use in nature of services rendered analysis
Hoffer, Emily          7/15/2023     0.2   Summarize engagement letters between various FTX entities and
                                           Consensus Law for use in nature of services rendered analysis
Konig, Louis           7/15/2023     1.4   Database scripting related to preference analysis for year prior to
                                           petition date


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Avoidance Actions
Professional               Date     Hours     Activity
Konig, Louis            7/15/2023     0.8   Quality control and review of output related to preference analysis
                                            for year prior to petition date
Lee, Julian             7/15/2023     0.2   Correspond with team regarding large payment from Alameda wallet
                                            to insider
Lee, Julian             7/15/2023     1.9   Review invoices supporting payments to Robert Lee & Associates
                                            re: professional service firms payment analysis
Lee, Julian             7/15/2023     0.2   Call with J. Lee, A. Dobbs (A&M) regarding invoice identification for
                                            Robert Lee & Associates
Lee, Julian             7/15/2023     0.4   Review activity for select Alameda wallet to identify affiliated bank
                                            accounts
Lee, Julian             7/15/2023     0.4   Review invoices supporting payments to Fenwick & West re:
                                            professional service firms payment analysis
Lee, Julian             7/15/2023     0.2   Correspond with team regarding professional cash payments
                                            analysis
McGrath, Patrick        7/15/2023     2.4   Review ventures investments and identify sources and uses of
                                            deposits for comparison to insider funds
Medway, David           7/15/2023     0.8   Review and edit materials summarizing results of investigation of
                                            historical cash payments to Sullivan & Cromwell
Medway, David           7/15/2023     0.3   Internal communications regarding procedures to summarize
                                            engagement letters with known professional firms
Medway, David           7/15/2023     0.4   Internal communications regarding updated list of law firms and
                                            analysis to compare against existing list
Medway, David           7/15/2023     0.4   Internal communications regarding status of Fenwick and RLA cash
                                            payments investigations
Medway, David           7/15/2023     1.8   Prepare schedule summarizing quantity, value and nature of
                                            historical payments to in scope professional firms
Medway, David           7/15/2023     0.5   Review and summarize Debtor engagement letters with Sullivan &
                                            Cromwell
Medway, David           7/15/2023     0.9   Aggregate payments data for known professional firms and results
                                            of investigations into nature of payments
Medway, David           7/15/2023     0.4   Call with M. Shanahan and D. Medway (A&M) regarding status of
                                            materials summarizing results of professionals cash payments
                                            review
Patel, Ishika           7/15/2023     2.6   Match payment of invoices from FTX entities to RLA law firm


Ryan, Laureen           7/15/2023     0.4   Correspond with S&C and A&M team regarding customer preference
                                            exposure analysis for Ecology Limited
Ryan, Laureen           7/15/2023     0.2   Review and edit draft outline for professionals report for ultimate
                                            court filing
Ryan, Laureen           7/15/2023     0.2   Correspond with S&C and A&M team regarding updated exchange
                                            exhibit analysis for compliant for compliant against Brian Lee
Shanahan, Michael       7/15/2023     0.4   Call with M. Shanahan and D. Medway (A&M) regarding status of
                                            materials summarizing results of professionals cash payments
                                            review
Shanahan, Michael       7/15/2023     0.4   Review comparative analysis of updated law firm schedule



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Avoidance Actions
Professional               Date     Hours     Activity
Shanahan, Michael       7/15/2023     0.4   Communications to/from team regarding professional fee analysis

Shanahan, Michael       7/15/2023     0.3   Review updated schedule of law firm provided by counsel


Shanahan, Michael       7/15/2023     0.9   Review documents related to professional firm analysis

Shanahan, Michael       7/15/2023     2.9   Review deck summarizing cash preference analysis

Strong, Nichole         7/15/2023     1.1   Review and summarize invoices supporting historical cash
                                            payments to professional firms engaged by Debtors
Canale, Alex            7/16/2023     1.1   Analysis related to customer exchange preferences for LayerZero

Dobbs, Aaron            7/16/2023     1.6   Targeted searches for remaining Robert Lee & Associates invoices
                                            related to Paper Bird and FTX Trading
Ebrey, Mason            7/16/2023     0.4   Search Relativity database for support of professional firms
                                            payments
Helal, Aly              7/16/2023     2.7   Search for invoices for Fenwick & West Law firm as part of the
                                            professional services claims analysis
Hoffer, Emily           7/16/2023     0.4   Locate various invoices associated with professional firm payments
                                            within debtors records for use in professional cash transactions
                                            review
Hoffer, Emily           7/16/2023     0.3   Summarize engagement letters between various FTX entities and
                                            Robert Lee & Associates for use in nature of services rendered
                                            analysis
Konig, Louis            7/16/2023     0.7   Documentation of findings related to preference analysis for year
                                            prior to petition date
Lee, Julian             7/16/2023     0.1   Review cash preference analysis related to customer classification


Lee, Julian             7/16/2023     1.2   Perform quality control of invoices supporting payments to Robert
                                            Lee & Associates
Lee, Julian             7/16/2023     0.2   Review outstanding inquiries with various banks re: historical bank
                                            data collection, cash database
Medway, David           7/16/2023     1.2   Review and edit materials summarizing results of investigation of
                                            historical cash payments to Robert Lee & Associates
Medway, David           7/16/2023     0.1   Review Silicon Valley Accountants inquiry from counsel and prepare
                                            response
Medway, David           7/16/2023     0.8   Review and edit materials summarizing results of investigation of
                                            historical cash payments to Piper Alderman
Medway, David           7/16/2023     1.6   Prepare schedule summarizing quantity, value and nature of
                                            historical payments to in scope professional firms
Medway, David           7/16/2023     0.3   Internal communications regarding materials summarizing results of
                                            investigation of historical cash payments to in scope professional
                                            services firms
Medway, David           7/16/2023     0.2   Call with M. Shanahan and D. Medway (A&M) regarding status of
                                            materials summarizing results of professionals cash payments
                                            review


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Avoidance Actions
Professional            Date     Hours     Activity
Ryan, Laureen        7/16/2023     0.3   Correspond with S&C and A&M team regarding certain customer
                                         exchange preference analysis findings
Ryan, Laureen        7/16/2023     0.2   Correspond with QE and A&M team regarding professionals report
                                         inquiries
Ryan, Laureen        7/16/2023     0.2   Correspond with QE and A&M team regarding additional firms for
                                         professionals report
Shanahan, Michael    7/16/2023     2.6   Review analysis of professional fees and supporting documents

Shanahan, Michael    7/16/2023     0.2   Call with M. Shanahan and D. Medway (A&M) regarding status of
                                         materials summarizing results of professionals cash payments
                                         review
Strong, Nichole      7/16/2023     0.3   Internal communications and response to counsel regarding
                                         inquiries into email addresses associated with Silicon Valley
                                         Accountants
Blanchard, Madison   7/17/2023     0.2   Call with M. Blanchard and N. Strong (A&M) to discuss crypto and
                                         fiat balances for select professional service firms per exchange data
Blanchard, Madison   7/17/2023     0.9   Continue to review materials relating to Ripple Labs and claim
                                         analysis
Blanchard, Madison   7/17/2023     0.3   Review materials relating to analyses which included FTT for
                                         possible relevance in ongoing workstream
Blanchard, Madison   7/17/2023     3.1   Review materials relating to Ripple Labs and plan approach to claim
                                         analysis
Blanchard, Madison   7/17/2023     0.7   Call with J. Lee, M. Blanchard (A&M) to discuss identified bank fees
                                         within vendor payments for purposes of cash preference analysis
Blanchard, Madison   7/17/2023     1.8   Analysis fiat payments within 90-preference period relating to
                                         vendors
Blanchard, Madison   7/17/2023     1.9   Analysis fiat payments within 90-preference period relating to banks


Canale, Alex         7/17/2023     0.8   Call with L. Ryan, A. Canale, M. Shanahan and D. Medway (A&M)
                                         regarding preparation for call with QE regarding professionals
                                         payments analysis status and strategy
Canale, Alex         7/17/2023     0.8   Analysis of gross fiat withdrawals during the preference period

Canale, Alex         7/17/2023     0.6   Analysis related to customer exchange preferences for employees


Canale, Alex         7/17/2023     0.5   Analysis related to FTT collateral for lending activity

Canale, Alex         7/17/2023     0.7   Call with A. Canale, M. Shanahan and D. Medway (A&M) regarding
                                         preparation for call with QE regarding professionals payments
                                         analysis status and strategy
Canale, Alex         7/17/2023     0.3   Call with A. Canale, M. Shanahan, D. Medway, J. Lee (A&M)
                                         regarding summarization of professional firms payments made by
                                         debtor entities
Canale, Alex         7/17/2023     0.6   Call with A. Canale, P. McGrath (A&M) regarding exchange
                                         transactions for key insider
Canale, Alex         7/17/2023     0.1   Call with A. Canale, S. Mimms (A&M) regarding FTX employee
                                         exchange customer preference analysis

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Professional                 Date    Hours     Activity
Canale, Alex             7/17/2023     0.8   Call with L. Ryan, A. Canale, M. Shanahan and D. Medway (A&M)
                                             and K. Lemire, S. Rand, A. Alden, and S. Hill (QE) regarding
                                             professionals payments analysis status and strategy
Canale, Alex             7/17/2023     0.2   Call with M. Shanahan, J. Lee, A. Canale (A&M) to discuss updates
                                             to cash preference analysis re: vendors
Canale, Alex             7/17/2023     0.8   Calls with M. Shanahan, A. Canale A&M) regarding update on
                                             professional services firms analysis
Canale, Alex             7/17/2023     0.7   Respond to QE queries regarding employee exchange preference
                                             exposure
Canale, Alex             7/17/2023     0.9   Review and summarize FTT related analysis embedded in lending
                                             claim reports
Canale, Alex             7/17/2023     1.4   Review documents related to insider expense reimbursements

Canale, Alex             7/17/2023     0.8   Review schedules summarizing exchange transactions for key
                                             insider
Canale, Alex             7/17/2023     0.3   Call with J. Lee, A. Canale (A&M) to discuss fiat withdrawals per
                                             customer exchange data for purposes of cash preference analysis
Chan, Jon                7/17/2023     0.2   Call with J. Lee, N. Strong, J. Chan (A&M) to discuss funding
                                             sources for crypto deposits to select professional service firm wallets
                                             per exchange data
Cox, Allison             7/17/2023     2.6   Review additional firms identified to determine if services are related
                                             to professional firms
Cox, Allison             7/17/2023     2.3   Review invoices from QuickBooks attachments in relation to
                                             professional firms analysis
Cox, Allison             7/17/2023     2.4   Review QuickBooks data for additional unidentified professional
                                             services firms
Cox, Allison             7/17/2023     0.1   Teleconference with D. Medway and A. Cox (A&M) regarding
                                             professional firm analysis
Cox, Allison             7/17/2023     0.4   Call with E. Hoffer, A. Cox, and B. Price (A&M) to further discuss the
                                             next steps regarding supporting documentation for FTX's cash
                                             payments to professional services firms
Cox, Allison             7/17/2023     0.3   Call with J. Lee, E. Hoffer, N. Strong, A. Cox (A&M) regarding
                                             summarization of professional firms payments made by debtor
                                             entities
Dobbs, Aaron             7/17/2023     1.1   Summarization of Willkie Farr and Gallagher cash transaction data
                                             as directed by QE
Dobbs, Aaron             7/17/2023     2.6   Targeted searches for Pavel Pogodin cash transaction data for
                                             professional firms analysis as requested by QE
Dobbs, Aaron             7/17/2023     1.7   Targeted searches for Gibson Dunn & Crutcher cash transaction
                                             data for professional firms analysis as requested by QE
Dobbs, Aaron             7/17/2023     2.1   Targeted searches for Willkie Farr and Gallagher cash transaction
                                             data for professional firms analysis as requested by QE
Dobbs, Aaron             7/17/2023     2.3   Targeted searches for Corporate & Trust Services engagement
                                             letters to support professional firms cash transaction summarization
Ebrey, Mason             7/17/2023     0.3   Call with A. Helal, B. Price, I. Patel, M. Ebrey (A&M) regarding
                                             summarization of professional firms payments made by debtor
                                             entities

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Avoidance Actions
Professional              Date     Hours     Activity
Ebrey, Mason           7/17/2023     0.3   Call with D. Medway, M. Ebrey (A&M) regarding grouping of QE
                                           identified professional services firms
Ebrey, Mason           7/17/2023     2.8   Search Relativity database for debtor payments made to Lindgren,
                                           Lindgren, Oehm & You
Ebrey, Mason           7/17/2023     3.1   Search Relativity database for debtor payments made to Roche
                                           Freedman LLP and Thomas John & Co
Francis, Luke          7/17/2023     0.1   Call with L. Francis, J. Lee (A&M) to discuss crypto related insider
                                           payments
Gordon, Robert         7/17/2023     0.8   Review prepaid schedule to support potential avoidance actions


Gordon, Robert         7/17/2023     0.7   Review results from customer withdrawal slack analysis

Gordon, Robert         7/17/2023     0.4   Correspondence on customer slack withdrawal analysis


Haigis, Maya           7/17/2023     0.1   Call with M. Simkins and M. Haigis (A&M) to discuss internal
                                           documentation of cash database process
Helal, Aly             7/17/2023     2.3   Construct report analysis for Anderson Kill LLP as part of the
                                           professional services claims analysis
Helal, Aly             7/17/2023     2.4   Populate Fenwick and West report analysis for potential claims

Helal, Aly             7/17/2023     2.7   Construct report analysis for Garcia de Parades Law as part of the
                                           professional services claims analysis
Helal, Aly             7/17/2023     2.2   Collect invoices that supports payments made to Anderson Kill LLP


Helal, Aly             7/17/2023     0.3   Call with A. Helal, B. Price, I. Patel, M. Ebrey (A&M) regarding
                                           summarization of professional firms payments made by debtor
                                           entities
Hoffer, Emily          7/17/2023     1.6   Identify and document invoices from Goodwin Proctor with payments
                                           from Blockfolio for use in professional cash transactions review
Hoffer, Emily          7/17/2023     0.7   Review cash preference analysis for identification of customer
                                           withdrawals by legal entity to be used in cash preference analysis
                                           deck
Hoffer, Emily          7/17/2023     1.8   Identify and document invoices from Anderson Mori & Tomotsume
                                           with payments from various FTX entities for use in professional cash
                                           transactions review
Hoffer, Emily          7/17/2023     1.7   Identify and document engagement letters from Quinn Emanuel with
                                           various FTX entities for use in professional cash transactions review
Hoffer, Emily          7/17/2023     2.4   Identify and document engagement letters from Anderson Mori &
                                           Tomotsume with various FTX entities for use in professional cash
                                           transactions review
Hoffer, Emily          7/17/2023     0.3   Call with J. Lee, E. Hoffer, N. Strong, A. Cox (A&M) regarding
                                           summarization of professional firms payments made by debtor
                                           entities
Hoffer, Emily          7/17/2023     0.4   Call with E. Hoffer, A. Cox, and B. Price (A&M) to further discuss the
                                           next steps regarding supporting documentation for FTX's cash
                                           payments to professional services firms



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Professional               Date     Hours     Activity
Hoffer, Emily           7/17/2023     0.2   Call with E. Hoffer and B. Price (A&M) to discuss the next steps
                                            regarding supporting documentation for FTX's cash payments to
                                            professional services firms
Hoffer, Emily           7/17/2023     0.6   Review classification of vendors for bank fees for quality control
                                            check for use in cash preference analysis
Hoffer, Emily           7/17/2023     1.1   Identify and document invoices from Quinn Emanuel with payments
                                            from various FTX entities for use in professional cash transactions
                                            review
Hoffer, Emily           7/17/2023     0.9   Perform manual reconciliation review of Circle accounts from AWS
                                            metabase to native source transaction reports ensuring accuracy of
                                            all data elements
Hoffer, Emily           7/17/2023     0.3   Call with E. Hoffer and B. Price (A&M) to discuss payment support
                                            for Goodwin transactions
Konig, Louis            7/17/2023     0.7   Database scripting related to preference exposure calculation logic
                                            adjustments
Lee, Julian             7/17/2023     0.7   Call with J. Lee, M. Blanchard (A&M) to discuss identified bank fees
                                            within vendor payments for purposes of cash preference analysis
Lee, Julian             7/17/2023     0.3   Call with J. Lee, E. Hoffer, N. Strong, A. Cox (A&M) regarding
                                            summarization of professional firms payments made by debtor
                                            entities
Lee, Julian             7/17/2023     0.3   Review of cash preference analysis observations, status of material
                                            transactions
Lee, Julian             7/17/2023     0.4   Call with J. Lee, N. Strong (A&M) to discuss funding sources for
                                            crypto deposits to select professional service firm wallets per
                                            exchange data
Lee, Julian             7/17/2023     0.1   Call with L. Francis, J. Lee (A&M) to discuss crypto related insider
                                            payments
Lee, Julian             7/17/2023     2.3   Update cash preference analysis with customer withdrawals analysis
                                            comparing bank data against exchange data
Lee, Julian             7/17/2023     0.3   Correspond with team regarding vendor payments preference
                                            analysis
Lee, Julian             7/17/2023     0.2   Call with M. Shanahan, J. Lee, A. Canale (A&M) to discuss updates
                                            to cash preference analysis re: vendors
Lee, Julian             7/17/2023     0.7   Correspond with S&C regarding follow-up questions with Nuvei on
                                            interest charges applied to debtor account
Lee, Julian             7/17/2023     0.2   Search for engagement letters related to Fenwick & West

Lee, Julian             7/17/2023     0.3   Call with J. Lee, A. Canale (A&M) to discuss fiat withdrawals per
                                            customer exchange data for purposes of cash preference analysis
Lee, Julian             7/17/2023     0.2   Prepare list of vendors receiving preference period payments for
                                            accounting team
Lee, Julian             7/17/2023     0.2   Call with J. Lee, N. Strong, J. Chan (A&M) to discuss funding
                                            sources for crypto deposits to select professional service firm wallets
                                            per exchange data
Lee, Julian             7/17/2023     0.3   Review payments to vendors related to fees, charges for purposes
                                            of cash preference analysis



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Avoidance Actions
Professional               Date     Hours     Activity
Lee, Julian             7/17/2023     0.5   Call with D. Medway, J. Lee, N. Strong (A&M) to discuss crypto
                                            payments to select professional service firm wallets per exchange
                                            data
Lee, Julian             7/17/2023     0.3   Review enriched exchange data for ftx.com fiat withdrawals

Lee, Julian             7/17/2023     0.3   Search for engagement letters related to Robert Lee & Associates


Lee, Julian             7/17/2023     0.3   Search for service agreements with BCB, Omnipay/Ciscal,
                                            Transfero, in relation to select non-debtor entities per request from
                                            FTX EU debtor representatives
Lee, Julian             7/17/2023     0.7   Summarize vendor payments related to marketing, sponsorships
                                            during preference period
Lee, Julian             7/17/2023     2.4   Update cash preference analysis for insider payments


Lee, Julian             7/17/2023     0.4   Update cash preference analysis for vendor classification

Lee, Julian             7/17/2023     0.6   Review AP aging balances for select vendors related to marketing,
                                            sponsorship activity
McGrath, Patrick        7/17/2023     2.3   Review and identify sources and uses of transactions to insiders at
                                            the request of counsel
McGrath, Patrick        7/17/2023     0.6   Call with A. Canale, P. McGrath (A&M) regarding exchange
                                            transactions for key insider
McGrath, Patrick        7/17/2023     1.2   Analyze transactions related to lending activity for potential recovery

McGrath, Patrick        7/17/2023     2.7   Analyze transactions Debtors sent to insiders to identify potential
                                            claims at the request of counsel
McGrath, Patrick        7/17/2023     1.6   Review transactions related to lending activity for potential recovery


Medway, David           7/17/2023     0.6   Internal communications regarding status and strategy for analysis
                                            of cash payments to second tier of professional firms
Medway, David           7/17/2023     0.4   Prepare and communicate assignments of second tier professional
                                            firms to cash payments reviewers
Medway, David           7/17/2023     3.1   Investigate differences between professionals cash payment
                                            sources data and make edits to ensure consistency
Medway, David           7/17/2023     0.7   Call with A. Canale, M. Shanahan and D. Medway (A&M) regarding
                                            preparation for call with QE regarding professionals payments
                                            analysis status and strategy
Medway, David           7/17/2023     0.3   Call with A. Canale, M. Shanahan, D. Medway, J. Lee (A&M)
                                            regarding summarization of professional firms payments made by
                                            debtor entities
Medway, David           7/17/2023     0.5   Call with D. Medway, J. Lee, N. Strong (A&M) to discuss crypto
                                            payments to select professional service firm wallets per exchange
                                            data
Medway, David           7/17/2023     0.3   Call with D. Medway, M. Ebrey (A&M) regarding grouping of QE
                                            identified professional services firms




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Medway, David          7/17/2023     0.8   Call with L. Ryan, A. Canale, M. Shanahan and D. Medway (A&M)
                                           regarding preparation for call with QE regarding professionals
                                           payments analysis status and strategy
Medway, David          7/17/2023     0.7   Prepare for call QE regarding professionals payments analysis
                                           status and strategy
Medway, David          7/17/2023     0.2   Call with M. Shanahan and D. Medway (A&M) regarding materials
                                           summarizing results of professionals cash payments analysis
Medway, David          7/17/2023     0.3   Communications with counsel regarding status of analysis of
                                           professionals cash payments
Medway, David          7/17/2023     0.8   Call with L. Ryan, A. Canale, M. Shanahan and D. Medway (A&M)
                                           and K. Lemire, S. Rand, A. Alden, and S. Hill (QE) regarding
                                           professionals payments analysis status and strategy
Medway, David          7/17/2023     0.6   Update materials summarizing results of professionals cash
                                           payments analysis based on internal review comments
Medway, David          7/17/2023     1.3   Prepare materials summarizing results of professionals cash
                                           payments analysis for discussion with QE
Medway, David          7/17/2023     1.8   Prepare professionals cash payments scoping materials for
                                           discussion with QE
Medway, David          7/17/2023     0.7   Review preliminary results of exchange activity involving accounts
                                           associate with Debtors' professionals
Medway, David          7/17/2023     0.1   Teleconference with D. Medway and A. Cox (A&M) regarding
                                           professional firm analysis
Mimms, Samuel          7/17/2023     2.2   Continue to perform targeted searches in Relativity in support of the
                                           Van Eck lender analysis
Mimms, Samuel          7/17/2023     3.2   Perform targeted searches in Relativity in support of the Van Eck
                                           lender analysis
Mimms, Samuel          7/17/2023     2.9   Update FTX employee exchange customer preference analysis for
                                           Counsel to incorporate information on all employees regardless of
                                           exchange account matching
Mimms, Samuel          7/17/2023     0.1   Call with A. Canale, S. Mimms (A&M) regarding FTX employee
                                           exchange customer preference analysis
Mosley, Ed             7/17/2023     0.9   Review of draft preference analysis presentation for the board

Mosley, Ed             7/17/2023     0.8   Review of updated draft of avoidance action presentation for the
                                           board
Patel, Ishika          7/17/2023     0.3   Call with A. Helal, B. Price, I. Patel, M. Ebrey (A&M) regarding
                                           summarization of professional firms payments made by debtor
                                           entities
Patel, Ishika          7/17/2023     1.9   Continue targeted searches on Relativity for Katten Muchen and
                                           engagement letters for select professional firms identified by QE
Patel, Ishika          7/17/2023     2.8   Targeted searches on Relativity for Katten Muchen and engagement
                                           letters for select professional firms identified by QE
Patel, Ishika          7/17/2023     2.6   Targeted searches on Relativity for McCarthy Tetrault and
                                           engagement letters for select professional firms identified by QE
Patel, Ishika          7/17/2023     0.9   Targeted searches on Relativity for Duane Morrison and
                                           engagement letters for select professional firms identified by QE


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Patel, Ishika         7/17/2023     2.1   Targeted searches on Relativity for payments to select professional
                                          firms identified by QE
Price, Breanna        7/17/2023     1.4   Search Relativity for support related to Herbert Smith Freehills
                                          transactions for the purposes of the professional services activity
                                          summary in the third interim report
Price, Breanna        7/17/2023     0.3   Call with A. Helal, B. Price, I. Patel, M. Ebrey (A&M) regarding
                                          summarization of professional firms payments made by debtor
                                          entities
Price, Breanna        7/17/2023     0.3   Call with E. Hoffer and B. Price (A&M) to discuss payment support
                                          for Goodwin transactions
Price, Breanna        7/17/2023     0.2   Call with E. Hoffer and B. Price (A&M) to discuss the next steps
                                          regarding supporting documentation for FTX's cash payments to
                                          professional services firms
Price, Breanna        7/17/2023     0.4   Call with E. Hoffer, A. Cox, and B. Price (A&M) to discuss the next
                                          steps regarding supporting documentation for FTX's cash payments
                                          to professional services firms
Price, Breanna        7/17/2023     0.3   Continue searching Relativity for support related to Goodwin
                                          transactions for the purposes of the professional services activity
                                          summary in the third interim report
Price, Breanna        7/17/2023     3.2   Search Relativity for support related to Goodwin transactions for the
                                          purposes of the professional services activity summary in the third
                                          interim report
Price, Breanna        7/17/2023     1.7   Search Relativity for support related to Lowenstein transactions for
                                          the purposes of the professional services activity summary in the
                                          third interim report
Price, Breanna        7/17/2023     0.8   Search Relativity for support related to Azora Law transactions for
                                          the purposes of the professional services activity summary in the
                                          third interim report
Radis, Cameron        7/17/2023     1.4   Perform quality control review of AWS vendor/counterparty search
                                          analysis
Ryan, Laureen         7/17/2023     0.6   Correspond with S&C and A&M team regarding cash preference
                                          payments related to sponsorships
Ryan, Laureen         7/17/2023     0.8   Call with L. Ryan, A. Canale, M. Shanahan and D. Medway (A&M)
                                          regarding preparation for call with QE regarding professionals
                                          payments analysis status and strategy
Ryan, Laureen         7/17/2023     0.3   Correspond with A&M team regarding FTT activity observations


Ryan, Laureen         7/17/2023     0.2   Correspond with A&M team regarding investigation into slack
                                          channels for additional exchange customers to pursue
Ryan, Laureen         7/17/2023     0.3   Correspond with A&M team regarding other assets that might be
                                          related to preference period payments
Ryan, Laureen         7/17/2023     0.3   Correspond with QE and A&M team regarding other names related
                                          to related individual expenses paid
Ryan, Laureen         7/17/2023     0.4   Correspond with QE and A&M team regarding professionals report
                                          findings and additional documents
Ryan, Laureen         7/17/2023     0.2   Correspond with S&C and A&M team regarding certain customer
                                          exchange preference data



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Ryan, Laureen         7/17/2023     0.2   Correspond with S&C and A&M team regarding tracing assets that
                                          went from an FTX customer to certain Tron wallets
Ryan, Laureen         7/17/2023     0.6   Review and edit draft of professional firms analysis with payments
                                          over $1 million
Ryan, Laureen         7/17/2023     0.9   Working session with L. Ryan, M. Shanahan (A&M) on the cash
                                          preference payments analysis deck
Ryan, Laureen         7/17/2023     0.8   Call with L. Ryan, A. Canale, M. Shanahan and D. Medway (A&M)
                                          and K. Lemire, S. Rand, A. Alden, and S. Hill (QE) regarding
                                          professionals payments analysis status and strategy
Ryan, Laureen         7/17/2023     0.3   Correspond with S&C and A&M team regarding customer preference
                                          exchange analysis
Shanahan, Michael     7/17/2023     1.6   Review and revise summary of professional fee spend by Debtors

Shanahan, Michael     7/17/2023     0.3   Review and summarize information related to related individual at
                                          the request of counsel
Shanahan, Michael     7/17/2023     0.6   Review status of cash preferences deck and open items


Shanahan, Michael     7/17/2023     1.1   Review and revise summary of professional firm engagement letters
                                          in connection with 3rd interim report
Shanahan, Michael     7/17/2023     0.8   Calls with M. Shanahan, A. Canale A&M) regarding update on
                                          professional services firms analysis
Shanahan, Michael     7/17/2023     0.2   Call with M. Shanahan, J. Lee, A. Canale (A&M) to discuss updates
                                          to cash preference analysis re: vendors
Shanahan, Michael     7/17/2023     0.2   Call with M. Shanahan and D. Medway (A&M) regarding materials
                                          summarizing results of professionals cash payments analysis
Shanahan, Michael     7/17/2023     0.8   Call with L. Ryan, A. Canale, M. Shanahan and D. Medway (A&M)
                                          regarding preparation for call with QE regarding professionals
                                          payments analysis status and strategy
Shanahan, Michael     7/17/2023     0.8   Call with L. Ryan, A. Canale, M. Shanahan and D. Medway (A&M)
                                          and K. Lemire, S. Rand, A. Alden, and S. Hill (QE) regarding
                                          professionals payments analysis status and strategy
Shanahan, Michael     7/17/2023     0.3   Call with A. Canale, M. Shanahan, D. Medway, J. Lee (A&M)
                                          regarding summarization of professional firms payments made by
                                          debtor entities
Shanahan, Michael     7/17/2023     0.7   Call with A. Canale, M. Shanahan and D. Medway (A&M) regarding
                                          preparation for call with QE regarding professionals payments
                                          analysis status and strategy
Shanahan, Michael     7/17/2023     0.9   Working session with L. Ryan, M. Shanahan (A&M) on the cash
                                          preference payments analysis deck
Simkins, Maximilian   7/17/2023     0.8   Merge summary cash database documentation with detailed
                                          documentation
Simkins, Maximilian   7/17/2023     0.1   Call with M. Simkins and M. Haigis (A&M) to discuss internal
                                          documentation of cash database process
Sivapalu, Anan        7/17/2023     0.3   Call with A. Canale, A. Sivapalu, G. Walia (A&M) and B. McKay, M.
                                          Evans, T. Phelan, L. Jia (AP) regarding cryptocurrency pricing
Sloan, Austin         7/17/2023     2.2   Create export of cash transactions for related to specific vendors for
                                          use in preference analysis

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Professional             Date     Hours     Activity
Sloan, Austin         7/17/2023     0.4   Teleconference with A. Sloan, C. Radis, P. Kwan, D. Wilson (A&M)
                                          to go through action items, pending requests and workstreams
Strong, Nichole       7/17/2023     0.2   Call with M. Blanchard and N. Strong (A&M) to discuss crypto and
                                          fiat balances for select professional service firms per exchange data
Strong, Nichole       7/17/2023     2.6   Identify and review invoices and other support for historical cash
                                          payments to professional services firms engaged by Debtors
Strong, Nichole       7/17/2023     1.2   Perform targeted searches in debtor records to identify invoices
                                          associated with payments to professional firms
Strong, Nichole       7/17/2023     2.1   Review and summarize exchange data (user accounts) for
                                          individuals providing professional services to Debtors
Strong, Nichole       7/17/2023     0.2   Call with J. Lee, N. Strong, J. Chan (A&M) to discuss funding
                                          sources for crypto deposits to select professional service firm wallets
                                          per exchange data
Strong, Nichole       7/17/2023     1.9   Perform additional targeted searches in debtor records to identify
                                          invoices associated with payments to professional firms
Strong, Nichole       7/17/2023     0.5   Call with D. Medway, J. Lee, N. Strong (A&M) to discuss crypto
                                          payments to select professional service firm wallets per exchange
                                          data
Strong, Nichole       7/17/2023     0.3   Call with J. Lee, E. Hoffer, N. Strong, A. Cox (A&M) regarding
                                          summarization of professional firms payments made by debtor
                                          entities
Strong, Nichole       7/17/2023     0.4   Call with J. Lee, N. Strong (A&M) to discuss funding sources for
                                          crypto deposits to select professional service firm wallets per
                                          exchange data
Arnett, Chris         7/18/2023     0.3   Prepare correspondence and deliver two preference presentations
                                          and associated analyses to S&C and J. Ray
Arnett, Chris         7/18/2023     0.2   Discuss non-customer preference actions with S. Coverick (A&M)

Arnett, Chris         7/18/2023     2.7   Review and understand underlying loan preference analysis process
                                          and initial analyses
Arnett, Chris         7/18/2023     1.7   Review and comment on lender preference decks and
                                          accompanying analysis
Arnett, Chris         7/18/2023     0.4   Prepare lender preference analysis and status tracker

Blanchard, Madison    7/18/2023     0.2   Call with J. Lee, E. Hoffer, and M. Blanchard (A&M) to discuss the
                                          fiat withdrawals from Circle accounts for purposes of updating cash
                                          preference analysis deck
Blanchard, Madison    7/18/2023     1.0   Call with J. Lee, M. Blanchard (A&M) to discuss select vendor
                                          payments, reclassification of customer FBO account disbursements
Blanchard, Madison    7/18/2023     1.1   Continue of analysis fiat payments within 90-preference period
                                          relating to vendors
Blanchard, Madison    7/18/2023     2.7   Continue review documentation, correspondence, and
                                          communication relating to Ripple Labs lending analysis
Blanchard, Madison    7/18/2023     2.9   Review documentation, correspondence, and communication
                                          relating to Ripple Labs lending analysis
Blanchard, Madison    7/18/2023     0.4   Call with J. Lee, M. Blanchard (A&M) to discuss vendor payment
                                          frequency for purposes of cash preference analysis

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Blanchard, Madison       7/18/2023     2.8   Analysis fiat payments within 90-preference period relating to insiders

Blanchard, Madison       7/18/2023     2.3   Analysis of fiat payments within 90-preference period relating to
                                             vendors for preparation of board deck
Blanchard, Madison       7/18/2023     0.5   Call with J. Lee, E. Hoffer, and M. Blanchard (A&M) to discuss the
                                             application of buckets to FBO account transactions for purposes of
                                             updating cash preference analysis deck
Canale, Alex             7/18/2023     1.1   Call with M. Shanahan, J. Lee, A. Canale (A&M) to discuss updates
                                             to cash preference analysis re: vendors
Canale, Alex             7/18/2023     0.4   Working sessions with A&M team regarding Ripple Labs lending
                                             arrangements
Canale, Alex             7/18/2023     0.9   Update deck summarizing observations regarding key insider
                                             sources and uses of exchange funds
Canale, Alex             7/18/2023     0.8   Review details regarding withdrawals between the FTX exchanges
                                             for customer exchange preference calculations
Canale, Alex             7/18/2023     2.2   Review deck summarizing observations regarding key insider
                                             sources and uses of exchange funds
Canale, Alex             7/18/2023     0.8   Responses to review comments regarding key insider sources and
                                             uses of exchange funds
Canale, Alex             7/18/2023     0.1   Correspond with A&M team regarding lending claims


Canale, Alex             7/18/2023     0.6   Call with P. McGrath, A. Canale (A&M) to discuss updates to key
                                             insider analysis
Canale, Alex             7/18/2023     0.5   Call with M. Shanahan, A. Canale, D. Medway, J. Lee (A&M)
                                             regarding summarization process for professional firms identified by
                                             QE
Canale, Alex             7/18/2023     0.3   Call with M. Shanahan, A. Canale (A&M) to discuss updates to cash
                                             preference analysis re: vendors
Canale, Alex             7/18/2023     0.2   Call with D. Medway, A. Canale (A&M) regarding professionals
                                             analysis
Canale, Alex             7/18/2023     0.9   Analysis of Ripple Labs lending transactions for potential avoidance
                                             action exposure
Canale, Alex             7/18/2023     1.3   Analysis of exchange customer preference exposure for coin pricing
                                             vendors
Canale, Alex             7/18/2023     0.9   Continue analysis of exchange customer preference exposure for
                                             coin pricing vendors
Coverick, Steve          7/18/2023     1.2   Review and provide comments on [redacted] Alameda loan
                                             preference analysis
Coverick, Steve          7/18/2023     0.2   Discuss non-customer preference actions with C. Arnett (A&M)

Cox, Allison             7/18/2023     0.1   Call with D. Medway, E. Hoffer and A. Cox (A&M) regarding results
                                             of analysis to identify missing professional payments records
Cox, Allison             7/18/2023     0.2   Call with A. Cox and N. Strong (A&M) to discuss identification of
                                             cash payments to Goodwin Proctor
Cox, Allison             7/18/2023     0.4   Call with A. Cox, N. Strong, and D. Medway (A&M) to discuss
                                             identification of cash payments to Goodwin Proctor

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Cox, Allison             7/18/2023     2.3   Review additional firms identified to determine if services are related
                                             to professional firms
Cox, Allison             7/18/2023     0.4   Call with E. Hoffer and A. Cox (A&M) regarding results of analysis to
                                             identify missing professional payments records
Cox, Allison             7/18/2023     0.5   Call with E. Hoffer, N. Strong, A. Cox, M. Ebrey (A&M) regarding
                                             summarization process for professional firms identified by QE
Cox, Allison             7/18/2023     2.8   Document review in relation to additional professional services firms
                                             identified
Cox, Allison             7/18/2023     2.1   Extract QuickBooks and Cash data for additional QE identified
                                             professional firms
Cox, Allison             7/18/2023     0.6   Call with D. Medway and A. Cox (A&M) regarding results of analysis
                                             to assess completeness of professional firms list
Dobbs, Aaron             7/18/2023     2.6   Analysis of invoice level cash transaction data for Corporate & Trust
                                             Services to assist with professional firms analysis
Dobbs, Aaron             7/18/2023     1.4   Analysis of invoice level cash transaction data for Moore Stephens
                                             to assist with professional firms analysis
Dobbs, Aaron             7/18/2023     1.8   Analysis of invoice level cash transaction data for Willkie Farr and
                                             Gallagher to assist with professional firms analysis
Dobbs, Aaron             7/18/2023     0.5   Call with A. Dobbs, I. Patel, B. Price and A. Helal (A&M) regarding
                                             summarization process for professional firms identified by QE
Dobbs, Aaron             7/18/2023     0.3   Call with D. Medway and A. Dobbs (A&M) regarding investigation of
                                             payments to Corporate & Trust Services
Dobbs, Aaron             7/18/2023     2.1   Targeted searches for Corporate & Trust Services cash transaction
                                             data for professional firms analysis as requested by QE
Dobbs, Aaron             7/18/2023     1.7   Analysis of invoice level cash transaction data for Gibson Dunn &
                                             Crutcher to assist with professional firms analysis
Ebrey, Mason             7/18/2023     0.4   Call with D. Medway, M. Ebrey (A&M) regarding categorization of
                                             professional entity identified by QE
Ebrey, Mason             7/18/2023     0.5   Call with E. Hoffer, N. Strong, A. Cox, M. Ebrey (A&M) regarding
                                             summarization process for professional firms identified by QE
Ebrey, Mason             7/18/2023     3.1   Search Relativity database for debtor payments to Triton One
                                             Limited and Sidley Austin LLP
Ebrey, Mason             7/18/2023     3.1   Search Relativity database for debtor payments made to Katten
                                             Muchin Rosenman LLP
Ebrey, Mason             7/18/2023     1.9   Search Relativity database for debtor payments to BDO USA LLP

Helal, Aly               7/18/2023     1.9   Verify payments to Garcia De Parades Law not supported by
                                             invoices
Helal, Aly               7/18/2023     1.6   Search for invoices for SKADDEN as part of the professional
                                             services claims analysis
Helal, Aly               7/18/2023     2.1   Search for invoices for Simmons & Simmons JWS Pte. Ltd. as part
                                             of the professional services claims analysis
Helal, Aly               7/18/2023     1.1   Collect invoices that supports payments made to Garcia de Parades
                                             Law




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Helal, Aly             7/18/2023     0.5   Call with A. Dobbs, I. Patel, B. Price and A. Helal (A&M) regarding
                                           summarization process for professional firms identified by QE
Hoffer, Emily          7/18/2023     0.2   Summarize engagement letters between various FTX entities and
                                           Skadden Arps Slate LLP for use in nature of services rendered
                                           analysis
Hoffer, Emily          7/18/2023     0.4   Summarize engagement letters between various FTX entities and
                                           Sidley Austin LLP for use in nature of services rendered analysis
Hoffer, Emily          7/18/2023     0.2   Call with D. Medway and E. Hoffer (A&M) regarding professionals
                                           analysis status and strategy
Hoffer, Emily          7/18/2023     0.7   Summarize engagement letters between various FTX entities and
                                           Prager Metis for use in nature of services rendered analysis
Hoffer, Emily          7/18/2023     0.1   Summarize engagement letters between various FTX entities and
                                           Triton One Ltd for use in nature of services rendered analysis
Hoffer, Emily          7/18/2023     1.8   Summarize engagement letters of various FTX entities with
                                           Armanino for use in nature of services rendered analysis
Hoffer, Emily          7/18/2023     2.7   Update cash preference analysis to break out transactions linked to
                                           identified FBO accounts to determine differences between
                                           withdrawals from FBO accounts versus exchange database
Hoffer, Emily          7/18/2023     1.2   Update professional cash transactions review to indicate which
                                           transactions came out of identified FBO accounts
Hoffer, Emily          7/18/2023     0.5   Call with E. Hoffer, N. Strong, A. Cox, M. Ebrey (A&M) regarding
                                           summarization process for professional firms identified by QE
Hoffer, Emily          7/18/2023     0.2   Summarize engagement letters between various FTX entities and
                                           McCarthy Tetrault for use in nature of services rendered analysis
Hoffer, Emily          7/18/2023     0.2   Summarize engagement letters between various FTX entities and
                                           Duane for use in nature of services rendered analysis
Hoffer, Emily          7/18/2023     0.3   Summarize engagement letters between various FTX entities and
                                           Thomas, John & Co for use in nature of services rendered analysis
Hoffer, Emily          7/18/2023     0.2   Call with D. Medway, E. Hoffer, and N. Strong (A&M) regarding
                                           investigation of sources of deposits into exchange accounts owned
                                           by professional firms engaged by Debtors
Hoffer, Emily          7/18/2023     0.6   Summarize engagement letters between various FTX entities and
                                           Katten Munchin Rosenman LLP for use in nature of services
                                           rendered analysis
Hoffer, Emily          7/18/2023     0.6   Call with J. Lee and E. Hoffer (A&M) to discuss the breakout of
                                           payments from identified FBO accounts by bucket for use in cash
                                           preference analysis deck
Hoffer, Emily          7/18/2023     0.4   Call with E. Hoffer and A. Cox (A&M) regarding results of analysis to
                                           identify missing professional payments records
Hoffer, Emily          7/18/2023     0.1   Summarize engagement letters between various FTX entities and
                                           Deacons for use in nature of services rendered analysis
Hoffer, Emily          7/18/2023     0.2   Summarize engagement letters between various FTX entities and
                                           Anderson Kill LLP for use in nature of services rendered analysis
Hoffer, Emily          7/18/2023     0.3   Summarize engagement letters between various FTX entities and
                                           Akin Gump for use in nature of services rendered analysis
Hoffer, Emily          7/18/2023     1.4   Document invoices related to Blockfolio acquisition from Goodwin
                                           Proctor for use in professional cash transactions review

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Avoidance Actions
Professional               Date     Hours     Activity
Hoffer, Emily           7/18/2023     0.2   Call with J. Lee, E. Hoffer, and M. Blanchard (A&M) to discuss the
                                            fiat withdrawals from Circle accounts for purposes of updating cash
                                            preference analysis deck
Hoffer, Emily           7/18/2023     0.5   Call with J. Lee, E. Hoffer, and M. Blanchard (A&M) to discuss the
                                            application of buckets to FBO account transactions for purposes of
                                            updating cash preference analysis deck
Hoffer, Emily           7/18/2023     0.1   Call with D. Medway, E. Hoffer and A. Cox (A&M) regarding results
                                            of analysis to identify missing professional payments records
Konig, Louis            7/18/2023     1.7   Documentation of findings related to preference exposure calculation
                                            logic adjustments
Konig, Louis            7/18/2023     1.5   Quality control and review of output related to preference exposure
                                            calculation logic adjustments
Lee, Julian             7/18/2023     1.0   Incorporate review comments re: cash preference analysis deck


Lee, Julian             7/18/2023     0.2   Call with J. Lee, E. Hoffer, and M. Blanchard (A&M) to discuss the
                                            fiat withdrawals from Circle accounts for purposes of updating cash
                                            preference analysis deck
Lee, Julian             7/18/2023     0.1   Review of professional service payments analysis

Lee, Julian             7/18/2023     0.6   Call with M. Shanahan, J. Lee (A&M) to discuss updates to cash
                                            preference analysis
Lee, Julian             7/18/2023     0.5   Call with J. Lee, E. Hoffer, and M. Blanchard (A&M) to discuss the
                                            application of buckets to FBO account transactions for purposes of
                                            updating cash preference analysis deck
Lee, Julian             7/18/2023     1.0   Call with M. Shanahan, J. Lee, A. Canale (A&M) to discuss updates
                                            to cash preference analysis re: vendors
Lee, Julian             7/18/2023     0.6   Call with J. Lee and E. Hoffer (A&M) to discuss the breakout of
                                            payments from identified FBO accounts by bucket for use in cash
                                            preference analysis deck
Lee, Julian             7/18/2023     0.6   Correspond with team regarding SOFA comparison to investments,
                                            vendors, lenders
Lee, Julian             7/18/2023     0.1   Correspond with team regarding AR aging balances for select
                                            vendors re: cash preference analysis
Lee, Julian             7/18/2023     0.3   Correspond with team regarding incorporating additional vendors in
                                            to classification for cash preference analysis
Lee, Julian             7/18/2023     0.1   Correspond with team regarding potential payments to select insiders

Lee, Julian             7/18/2023     0.2   Correspond with team regarding updates for FBO disbursement
                                            stratification for purposes of cash preference analysis
Lee, Julian             7/18/2023     0.2   Update employee bonus summary detail re: cash preference analysis

Lee, Julian             7/18/2023     0.5   Call with M. Shanahan, A. Canale, D. Medway, J. Lee (A&M)
                                            regarding summarization process for professional firms identified by
                                            QE
Lee, Julian             7/18/2023     0.4   Call with J. Lee, M. Blanchard (A&M) to discuss vendor payment
                                            frequency for purposes of cash preference analysis



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Avoidance Actions
Professional                Date    Hours     Activity
Lee, Julian             7/18/2023     0.6   Correspond with QE team regarding Signature bank responses for
                                            bank data production
Lee, Julian             7/18/2023     1.0   Call with J. Lee, M. Blanchard (A&M) to discuss select vendor
                                            payments, reclassification of customer FBO account disbursements
Lee, Julian             7/18/2023     0.3   Correspond with team regarding updates to summary table for
                                            insider payments
Lee, Julian             7/18/2023     0.6   Update cash preference analysis slide deck re: preliminary
                                            observations for insider payments
Lee, Julian             7/18/2023     2.3   Update cash preference analysis deck based on feedback from team


Lee, Julian             7/18/2023     0.4   Review investments per SOFA 3 schedule compared to cash
                                            preference analysis workpaper
Lee, Julian             7/18/2023     0.3   Correspond with team regarding vendor fuzzy match results re:
                                            disbursements from customer FBO accounts
McGrath, Patrick        7/18/2023     1.8   Review sources and uses of insider funds for potential recovery

McGrath, Patrick        7/18/2023     2.6   Identify sources and uses of funds sent to insiders at the request of
                                            counsel for potential recovery
McGrath, Patrick        7/18/2023     0.6   Call with P. McGrath, A. Canale (A&M) to discuss updates to key
                                            insider analysis
Medway, David           7/18/2023     0.3   Call with D. Medway and A. Dobbs (A&M) regarding investigation of
                                            payments to Corporate & Trust Services
Medway, David           7/18/2023     0.8   Review results of analysis to identify additional professional firms
                                            and strategize next steps
Medway, David           7/18/2023     0.1   Call with D. Medway, E. Hoffer and A. Cox (A&M) regarding results
                                            of analysis to identify missing professional payments records
Medway, David           7/18/2023     2.9   Review and edit materials summarizing results of investigations of
                                            cash payments to legal firms having received $100,000 or more
Medway, David           7/18/2023     1.6   Review and edit materials summarizing results of investigations of
                                            cash payments to legal firms having received $500,000 or more
Medway, David           7/18/2023     0.2   Call with D. Medway and E. Hoffer (A&M) regarding professionals
                                            analysis status and strategy
Medway, David           7/18/2023     0.3   Prepare for internal call regarding status of professional payments
                                            analysis
Medway, David           7/18/2023     0.9   Call with D. Medway and N. Strong (A&M) regarding investigation of
                                            sources of deposits into exchange accounts owned by professional
                                            firms engaged by Debtors
Medway, David           7/18/2023     0.6   Call with D. Medway and A. Cox (A&M) regarding results of analysis
                                            to assess completeness of professional firms list
Medway, David           7/18/2023     0.4   Call with A. Cox, N. Strong, and D. Medway (A&M) to discuss
                                            identification of cash payments to Goodwin Proctor
Medway, David           7/18/2023     0.5   Call with M. Shanahan, A. Canale, D. Medway, J. Lee (A&M)
                                            regarding summarization process for professional firms identified by
                                            QE




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Professional             Date     Hours     Activity
Medway, David         7/18/2023     1.4   Review and edit materials summarizing results of investigations of
                                          cash payments to finance and accounting firms having received
                                          $100,000 or more
Medway, David         7/18/2023     0.2   Call with D. Medway, E. Hoffer, and N. Strong (A&M) regarding
                                          investigation of sources of deposits into exchange accounts owned
                                          by professional firms engaged by Debtors
Medway, David         7/18/2023     2.2   Aggregate results of analyses of cash payments to legal, finance
                                          and accounting firms and summarize results for discussion with QE
Medway, David         7/18/2023     0.2   Call with D. Medway, A. Canale (A&M) regarding professionals
                                          analysis
Medway, David         7/18/2023     0.4   Call with D. Medway, M. Ebrey (A&M) regarding categorization of
                                          professional entity identified by QE
Mimms, Samuel         7/18/2023     2.6   Identify Van Eck FTX Exchange accounts and wallet addresses
                                          potentially involved in the lending activity between Van Eck and
                                          Alameda
Mimms, Samuel         7/18/2023     1.1   Continue to perform targeted searches in Relativity in support of the
                                          Van Eck lender analysis
Mimms, Samuel         7/18/2023     1.7   Draft data request to Database team regarding Van Eck exchange
                                          lending activity
Mimms, Samuel         7/18/2023     3.2   Perform targeted searches in Relativity in support of the Van Eck
                                          lender analysis
Patel, Ishika         7/18/2023     2.3   Continue targeted searches on Relativity for payments to Deacons
                                          and engagement letters for select professional firms identified by QE
Patel, Ishika         7/18/2023     1.9   Continue targeted searches for select professional firm payments
                                          and engagement letters as identified by QE
Patel, Ishika         7/18/2023     0.5   Call with A. Dobbs, I. Patel, B. Price and A. Helal (A&M) regarding
                                          summarization process for professional firms identified by QE
Patel, Ishika         7/18/2023     2.7   Targeted searches on Relativity for payments to Deacons and
                                          engagement letters for select professional firms identified by QE
Patel, Ishika         7/18/2023     1.4   Targeted searches for select professional firm payments and
                                          engagement letters as identified by QE
Price, Breanna        7/18/2023     0.6   Search Relativity for engagement letters related to various
                                          professional firms for the purposes of the professional services
                                          activity summary in the third interim report
Price, Breanna        7/18/2023     1.9   Search Relativity for support related to Nishith Desai Associates
                                          transactions for the purposes of the professional services activity
                                          summary in the third interim report
Price, Breanna        7/18/2023     1.9   Continue searching Relativity for support related to Nishith Desai
                                          Associates transactions for the purposes of the professional
                                          services activity summary in the third interim report
Price, Breanna        7/18/2023     2.8   Continue searching Relativity for support related to Goodwin
                                          transactions for the purposes of the professional services activity
                                          summary in the third interim report
Price, Breanna        7/18/2023     0.5   Call with A. Dobbs, I. Patel, B. Price and A. Helal (A&M) regarding
                                          summarization process for professional firms identified by QE




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Price, Breanna        7/18/2023     1.1   Search Relativity for support related to Prospera Law transactions
                                          for the purposes of the professional services activity summary in the
                                          third interim report
Ramanathan, Kumanan   7/18/2023     1.1   Review and provide feedback on preference exposure calculations

Ryan, Laureen         7/18/2023     0.3   Correspond with A&M team regarding Brian Lee deck of findings
                                          from investigation
Ryan, Laureen         7/18/2023     2.9   Review and edit draft deck of analysis related to cash preference
                                          period payments
Ryan, Laureen         7/18/2023     0.4   Review and edit draft deck of analysis related to Brian Lee
                                          investigation
Ryan, Laureen         7/18/2023     0.3   Correspond with S&C and A&M team on subsequent advance
                                          approach results on transfer between customer exchange accounts
                                          on FTX exchanges
Ryan, Laureen         7/18/2023     0.2   Correspond with A&M team regarding Brian Lee Insider analysis

Ryan, Laureen         7/18/2023     0.4   Continue to review and edit draft deck of analysis related to cash
                                          preference period payments
Ryan, Laureen         7/18/2023     0.5   Call with L. Ryan, M. Shanahan, A. Canale (A&M) to discuss
                                          avoidance actions workstream update
Ryan, Laureen         7/18/2023     0.4   Correspond with A&M team regarding Coinbase and galaxy
                                          exchange preference analysis
Ryan, Laureen         7/18/2023     0.9   Correspond with A&M team regarding analysis of each category and
                                          approach to cash preference period payments
Shanahan, Michael     7/18/2023     0.6   Call with M. Shanahan, J. Lee (A&M) to discuss updates to cash
                                          preference analysis
Shanahan, Michael     7/18/2023     2.3   Review and revise cash preferences analysis related to potential
                                          claims assessment
Shanahan, Michael     7/18/2023     1.1   Call with M. Shanahan, J. Lee, A. Canale (A&M) to discuss updates
                                          to cash preference analysis re: vendors
Shanahan, Michael     7/18/2023     1.4   Review updated summary of professional service spend by Debtors


Shanahan, Michael     7/18/2023     0.5   Call with M. Shanahan, A. Canale, D. Medway, J. Lee (A&M)
                                          regarding summarization process for professional firms identified by
                                          QE
Shanahan, Michael     7/18/2023     0.3   Call with M. Shanahan, A. Canale (A&M) to discuss updates to cash
                                          preference analysis re: vendors
Shanahan, Michael     7/18/2023     0.9   Review supporting workpapers to professional service spend analysis


Simkins, Maximilian   7/18/2023     0.9   Integrate recommended updates to detailed cash database
                                          documentation
Strong, Nichole       7/18/2023     0.2   Call with D. Medway, E. Hoffer, and N. Strong (A&M) regarding
                                          investigation of sources of deposits into exchange accounts owned
                                          by professional firms engaged by Debtors
Strong, Nichole       7/18/2023     0.9   Call with D. Medway and N. Strong (A&M) regarding investigation of
                                          sources of deposits into exchange accounts owned by professional
                                          firms engaged by Debtors

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Professional              Date    Hours     Activity
Strong, Nichole       7/18/2023     0.5   Call with E. Hoffer, N. Strong, A. Cox, M. Ebrey (A&M) regarding
                                          summarization process for professional firms identified by QE
Strong, Nichole       7/18/2023     2.3   Review and summarize invoices and other supporting
                                          documentation related to cash payments to legal firms engaged by
                                          Alameda Research
Strong, Nichole       7/18/2023     0.4   Call with A. Cox, N. Strong, and D. Medway (A&M) to discuss
                                          identification of cash payments to Goodwin Proctor
Strong, Nichole       7/18/2023     0.2   Call with A. Cox and N. Strong (A&M) to discuss identification of
                                          cash payments to Goodwin Proctor
Strong, Nichole       7/18/2023     2.2   Review and summarize invoices and other supporting
                                          documentation related to cash payments to legal firms engaged by
                                          FTX Trading
Strong, Nichole       7/18/2023     1.3   Review and summarize additional invoices and other supporting
                                          documentation related to cash payments to legal firms engaged by
                                          Alameda Research
Strong, Nichole       7/18/2023     2.3   Review and summarize additional invoices and other supporting
                                          documentation related to cash payments to legal firms engaged by
                                          FTX Trading
Strong, Nichole       7/18/2023     0.8   Review and summarize invoices and other supporting
                                          documentation related to cash payments to legal firms engaged by
                                          Blockfolio
Arnett, Chris         7/19/2023     0.3   Review progress of potential vendor avoidance actions analysis

Arnett, Chris         7/19/2023     1.2   Answer questions from S&C regarding certain amounts and
                                          sequencing of loan transfers
Arnett, Chris         7/19/2023     0.2   Prepare correspondence and deliver two preference presentations to
                                          S&C and J. Ray
Arnett, Chris         7/19/2023     1.8   Review and comment on two additional lender preference decks and
                                          accompanying analysis
Blanchard, Madison    7/19/2023     1.4   Analysis of transactions classified as fiat payments to lenders within
                                          90-day preference period
Blanchard, Madison    7/19/2023     3.1   Analysis of transactions classified as fiat payments to vendors within
                                          90-day preference period
Blanchard, Madison    7/19/2023     0.4   Call with E. Hoffer and M. Blanchard (A&M) to discuss quality control
                                          of vendor AR balances for cash preference analysis
Blanchard, Madison    7/19/2023     1.1   Continue analysis of transactions classified as fiat payments to
                                          vendors within 90-day preference period
Blanchard, Madison    7/19/2023     1.4   Continue summarize documentation, correspondence, and
                                          communication relating to Ripple Labs lending analysis
Blanchard, Madison    7/19/2023     2.7   Summarize documentation, correspondence, and communication
                                          relating to Ripple Labs lending analysis
Blanchard, Madison    7/19/2023     0.4   Call with L. Francis, J. Gany, J. Lee, E. Hoffer and M. Blanchard
                                          (A&M) to discuss SOFA classification of counterparties
Canale, Alex          7/19/2023     0.3   Call with L. Ryan, A. Canale, M. Shanahan, and D. Medway (A&M)
                                          and K. Lemire, S. Rand, A. Alden, J. Young, T. Murray, M. Lev, S.
                                          Hill, and O. Yeffet (QE) regarding professionals report status



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Professional                Date     Hours     Activity
Canale, Alex             7/19/2023     0.4   Update Matrix Port lender analysis claim deck following review
                                             comments
Canale, Alex             7/19/2023     1.2   Review of report summarizing findings regarding cash preferences
                                             analysis
Canale, Alex             7/19/2023     0.6   Review customer exchange preference analysis using current coin
                                             pricing
Canale, Alex             7/19/2023     0.4   Prepare schedule summarizing list of lender counterparties for
                                             analysis
Canale, Alex             7/19/2023     0.8   Calls with A. Canale, P. McGrath (A&M) regarding sources and uses
                                             analysis of insider exchange accounts
Canale, Alex             7/19/2023     0.6   Calls with A. Canale, M. Shanahan (A&M) regarding cash updates to
                                             cash preferences deck
Canale, Alex             7/19/2023     1.5   Call with L. Ryan, M. Shanahan, A. Canale, J. Lee (A&M) to discuss
                                             updates to cash preference analysis deck
Canale, Alex             7/19/2023     1.6   Analysis of exchange customer preferences for counterparties using
                                             current pricing
Canale, Alex             7/19/2023     0.5   Call with L. Ryan, A. Canale (A&M) regarding approach to customer
                                             exchange preference analysis
Canale, Alex             7/19/2023     0.7   Analysis of cash and crypto payments for key insiders for QE

Canale, Alex             7/19/2023     0.4   Call with L. Lambert, A. Canale, P. McGrath (A&M) regarding
                                             sources and uses analysis for key insider
Canale, Alex             7/19/2023     0.8   Analysis of sources and uses of exchange funds for key insider


Canale, Alex             7/19/2023     0.6   Call with M. Shanahan, A. Canale, J. Lee (A&M) to compare SOFA
                                             schedule reporting on investments, lenders, vendors with cash
                                             preference analysis workpaper
Canale, Alex             7/19/2023     0.2   Call with A. Canale, J. Lee (A&M) to discuss SOFA schedule
                                             reporting and cash preference classification
Chan, Jon                7/19/2023     1.1   Call with M. Sunkara, J. Chan, K. Baker, L. Konig, J. Zatz, G. Walia
                                             (A&M) to discuss updated preference analysis logic
Cox, Allison             7/19/2023     2.1   Review cash database results in relation to professional services
                                             analysis
Cox, Allison             7/19/2023     0.3   Call with D. Medway and A. Cox (A&M) regarding cash payments
                                             data for additional professional firms identified through Debtor
                                             accounting records
Cox, Allison             7/19/2023     0.5   Working session with A&M team (A. Cox and N. Strong) to discuss
                                             tracing sources of deposits identified in professional services firms'
                                             exchange accounts
Cox, Allison             7/19/2023     0.6   Update summary of professional firms for additional identified

Cox, Allison             7/19/2023     1.9   Document review in relation to additional identified professional
                                             services firms
Cox, Allison             7/19/2023     1.4   Review invoices from QuickBooks attachments in relation to
                                             professional firms analysis



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Cox, Allison             7/19/2023     2.4   Extract QuickBooks and Cash data for newly identified professional
                                             firms
Dobbs, Aaron             7/19/2023     1.3   Comparison of associated payments related to Corporate & Trust
                                             Services and Thomas John & Co to assess relationship
Dobbs, Aaron             7/19/2023     1.1   Summarize invoice level cash transaction data for Jorge Luis Lopez
                                             to assist with professional firms analysis
Dobbs, Aaron             7/19/2023     0.4   Summarization of engagement letters for Moore Stephens
                                             professional services for summary table
Dobbs, Aaron             7/19/2023     0.7   Quality control to test for completeness of account numbers for
                                             Silvergate accounts related to professional firms transactions
Dobbs, Aaron             7/19/2023     1.3   Targeted searches within QuickBooks data to assess cash
                                             transactions conversions from GBP to USD for Maxlaw Group
                                             Limited
Dobbs, Aaron             7/19/2023     0.1   Call with E. Hoffer and A. Dobbs (A&M) regarding completeness
                                             check of targeted account number for professional firms
Dobbs, Aaron             7/19/2023     0.2   Call with D. Medway and A. Dobbs (A&M) regarding quality control
                                             investigation of payments to Corporate & Trust Services
Dobbs, Aaron             7/19/2023     2.2   Analysis of invoice level cash transaction data for Max Law Group
                                             Limited to assist with professional firms analysis
Dobbs, Aaron             7/19/2023     1.8   Targeted searches for Jorge Luis Lopez cash transaction data for
                                             professional firms analysis as requested by QE
Dobbs, Aaron             7/19/2023     0.6   Summarization of engagement letters for Gibson Dunn professional
                                             services for summary table
Ebrey, Mason             7/19/2023     0.7   Search Relativity database for debtor payments to BDO USA LLP


Ebrey, Mason             7/19/2023     2.3   Search Relativity database for support related to debtor payment to
                                             professional firms in non-fiat funds
Ebrey, Mason             7/19/2023     1.2   Search Relativity database for debtor payments to S.A. Evangelou
                                             and Co
Ebrey, Mason             7/19/2023     1.5   Construct roll forward table of Turkish entity bank account balances


Ebrey, Mason             7/19/2023     0.4   Call with N. Strong, M. Ebrey (A&M) related to payment to
                                             professional firms in non-fiat funds
Ebrey, Mason             7/19/2023     0.4   Search Relativity database for documents related to Thomas John &
                                             Co. and/or Corporate & Trust Services
Francis, Luke            7/19/2023     0.4   Call with E. Hoffer, M. Blanchard, J. Gany, L. Francis (A&M) to
                                             discuss SOFA schedule updates
Gany, Jared              7/19/2023     0.4   Call with E. Hoffer, M. Blanchard, J. Gany, L. Francis (A&M) to
                                             discuss SOFA schedule updates
Haigis, Maya             7/19/2023     0.2   Review cash database process documentation

Haigis, Maya             7/19/2023     0.2   Call with C. Radis, A. Sloan, M. Haigis, M. Simkins, and E. Hoffer
                                             (A&M) to discuss progress of outstanding items for the cash
                                             database
Helal, Aly               7/19/2023     1.1   Collect support for cash payments made to Dan Fried



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Helal, Aly             7/19/2023     1.8   Construct report analysis for Annerton as part of the professional
                                           services claims analysis
Helal, Aly             7/19/2023     2.8   Construct report analysis for Skadden as part of the professional
                                           services claims analysis
Helal, Aly             7/19/2023     2.3   Collect support for cash payments made to Barbara Fried

Helal, Aly             7/19/2023     1.4   Search for invoices for Annerton as part of the professional services
                                           claims analysis
Helal, Aly             7/19/2023     3.1   Collect support for cash payments made to Can Sun


Helal, Aly             7/19/2023     1.3   Review and comment on payments made to insiders to ensure
                                           completeness
Hoffer, Emily          7/19/2023     0.4   Call with D. Medway and E. Hoffer (A&M) regarding review of
                                           additional professionals records provided by QE
Hoffer, Emily          7/19/2023     0.8   Review additional documents QE provided in relation to payments
                                           made to professional firms to determine strategy around reviewing
Hoffer, Emily          7/19/2023     1.3   Apply updates to vendor preference exposure tables for use in
                                           potential preference exposure analysis deck
Hoffer, Emily          7/19/2023     0.5   Call with D. Medway and E. Hoffer (A&M) regarding quality control
                                           review of Corporate & Trust Services and Thomas John & Co.
                                           payments data
Hoffer, Emily          7/19/2023     0.1   Call with E. Hoffer and A. Dobbs (A&M) regarding completeness
                                           check of targeted account number for professional firms
Hoffer, Emily          7/19/2023     0.1   Call with E. Hoffer and B. Price (A&M) to discuss the identification of
                                           FBO (For the benefit of) accounts using transaction data for various
                                           professional firms
Hoffer, Emily          7/19/2023     0.4   Call with E. Hoffer and M. Blanchard (A&M) to discuss quality control
                                           of vendor AR balances for cash preference analysis
Hoffer, Emily          7/19/2023     0.4   Call with L. Francis, J. Gany, J. Lee, E. Hoffer and M. Blanchard
                                           (A&M) to discuss SOFA classification of counterparties
Hoffer, Emily          7/19/2023     0.7   Call with M. Shanahan, J. Lee, and E. Hoffer (A&M) A. Toobin, and
                                           F. Crocco (S&C), M. Cilia (FTX), H. McCullough, D. Alvarez, N.
                                           Quach, and M. Gartner (Stripe) to discuss Stripe accounts
                                           transactional information
Hoffer, Emily          7/19/2023     0.4   Communicate with team about reviewing additional documents QE
                                           provided in regards to payments made to professionals
Hoffer, Emily          7/19/2023     2.1   Compile totals of transactions by bucket from preference exposure
                                           analysis to compare to SOFA schedules based
Hoffer, Emily          7/19/2023     0.3   Identify lenders in appendix of preference analysis that are being
                                           reviewed for use in preference exposure analysis
Hoffer, Emily          7/19/2023     1.2   Quality control review of account receivable balances as of petition
                                           for vendors for use in preference exposure analysis
Hoffer, Emily          7/19/2023     0.2   Call with C. Radis, A. Sloan, M. Haigis, M. Simkins, and E. Hoffer
                                           (A&M) to discuss progress of outstanding items for the cash
                                           database
Hoffer, Emily          7/19/2023     1.6   Quality control review of the preference exposure analysis for
                                           updates made to transactions regarding use of funds buckets

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Professional                Date    Hours     Activity
Konig, Louis            7/19/2023     1.1   Call with M. Sunkara, J. Chan, K. Baker, L. Konig, J. Zatz, G. Walia
                                            (A&M) to discuss updated preference analysis logic
Lambert, Leslie         7/19/2023     0.2   Working session with A&M team (L. Lambert and N. Strong) to
                                            discuss tracing sources of deposits identified in professional
                                            services firms' exchange accounts
Lambert, Leslie         7/19/2023     0.4   Call with L. Lambert, A. Canale, P. McGrath (A&M) regarding
                                            sources and uses analysis for key insider
Lee, Julian             7/19/2023     0.1   Review outstanding questions related to select Stripe accounts

Lee, Julian             7/19/2023     0.4   Call with E. Hoffer, M. Blanchard, J. Gany, L. Francis (A&M) to
                                            discuss SOFA schedule updates
Lee, Julian             7/19/2023     1.3   Update employee cash bonus analysis and lender names

Lee, Julian             7/19/2023     0.2   Call with A. Canale, J. Lee (A&M) to discuss SOFA schedule
                                            reporting and cash preference classification
Lee, Julian             7/19/2023     0.4   Call with L. Francis, J. Gany, J. Lee, E. Hoffer and M. Blanchard
                                            (A&M) to discuss SOFA classification of counterparties
Lee, Julian             7/19/2023     1.5   Call with L. Ryan, M. Shanahan, A. Canale, J. Lee (A&M) to discuss
                                            updates to cash preference analysis deck
Lee, Julian             7/19/2023     0.6   Call with M. Shanahan, A. Canale, J. Lee (A&M) to compare SOFA
                                            schedule reporting on investments, lenders, vendors with cash
                                            preference analysis workpaper
Lee, Julian             7/19/2023     0.7   Call with M. Shanahan, J. Lee, and E. Hoffer (A&M) A. Toobin, and
                                            F. Crocco (S&C), M. Cilia (FTX), H. McCullough, D. Alvarez, N.
                                            Quach, and M. Gartner (Stripe) to discuss Stripe accounts
                                            transactional information
Lee, Julian             7/19/2023     0.1   Correspond with team regarding roll forward for petition data balance
                                            by bank account
Lee, Julian             7/19/2023     0.2   Correspond with team regarding Signature bank account with FTX
                                            Europe AG
Lee, Julian             7/19/2023     0.4   Review amended SOFA 4 to update employee cash bonuses
                                            analysis
Lee, Julian             7/19/2023     0.9   Review investments per SOFA 3 schedule compared to cash
                                            preference analysis workpaper
Lee, Julian             7/19/2023     1.9   Update cash preference analysis deck per review of team comments


Lee, Julian             7/19/2023     0.3   Review Circle data staging for cash database ingestion

McGrath, Patrick        7/19/2023     0.4   Call with L. Lambert, A. Canale, P. McGrath (A&M) regarding
                                            sources and uses analysis for key insider
McGrath, Patrick        7/19/2023     2.1   Analyze Debtor transactions to insiders, including the sources and
                                            uses of those transactions for potential recovery
McGrath, Patrick        7/19/2023     0.7   Calls with A. Canale, P. McGrath (A&M) regarding sources and uses
                                            analysis of insider exchange accounts
McGrath, Patrick        7/19/2023     0.6   Call with I. Radwanski and P. McGrath (A&M) discussing tracing
                                            findings and updates


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Professional            Date     Hours     Activity
McGrath, Patrick     7/19/2023     2.8   Analyze transactions Debtors sent to insiders to identify potential
                                         claims at the request of counsel
McGrath, Patrick     7/19/2023     1.8   Review and summarize sources and uses of insider activity


Medway, David        7/19/2023     0.3   Communications with QE regarding status of professionals cash
                                         payments investigations
Medway, David        7/19/2023     0.3   Call with D. Medway and A. Cox (A&M) regarding cash payments
                                         data for additional professional firms identified through Debtor
                                         accounting records
Medway, David        7/19/2023     0.2   Call with D. Medway and A. Dobbs (A&M) regarding quality control
                                         investigation of payments to Corporate & Trust Services
Medway, David        7/19/2023     0.5   Call with D. Medway and E. Hoffer (A&M) regarding quality control
                                         review of Corporate & Trust Services and Thomas John & Co.
                                         payments data
Medway, David        7/19/2023     0.4   Call with D. Medway and E. Hoffer (A&M) regarding review of
                                         additional professionals records provided by QE
Medway, David        7/19/2023     0.2   Call with D. Medway and I. Patel (A&M) regarding review of select
                                         professional firms identified by QE and assigned for summarization.
Medway, David        7/19/2023     0.6   Call with D. Medway and N. Strong (A&M) regarding status of
                                         investigation of exchange activity involving known professional firms
Medway, David        7/19/2023     0.3   Call with L. Ryan, A. Canale, M. Shanahan, and D. Medway (A&M)
                                         and K. Lemire, S. Rand, A. Alden, J. Young, T. Murray, M. Lev, S.
                                         Hill, and O. Yeffet (QE) regarding professionals report status
Medway, David        7/19/2023     0.8   Call with M. Shanahan and D. Medway (A&M) regarding results of
                                         investigation of cash payments to professionals firms having
                                         received $500,000 or more
Medway, David        7/19/2023     0.6   Prepare for call with QE regarding status of investigations of cash
                                         payments to professionals
Medway, David        7/19/2023     0.4   Internal communications regarding investigation of payment history
                                         involving additional professionals identified in Debtors' accounting
                                         records
Medway, David        7/19/2023     1.8   Review and edit materials summarizing cash payment history
                                         involving Corporate Trust Services and Thomas John & Co
Medway, David        7/19/2023     0.8   Update materials summarizing results of professionals cash
                                         payments analysis for discussion with QE
Medway, David        7/19/2023     1.3   Review and edit materials summarizing results of investigations of
                                         cash payments to professional firms having received $100,000 or
                                         more
Medway, David        7/19/2023     0.7   Review additional professionals records provided by QE and
                                         strategize staff review
Medway, David        7/19/2023     0.4   Internal communications regarding status and strategy for analysis
                                         of cash payments to third tier of professional firms
Medway, David        7/19/2023     1.6   Investigate potentially duplicative cash payments data involving
                                         Corporate Trust Services and Thomas John & Co
Medway, David        7/19/2023     0.9   Call with M. Shanahan and D. Medway (A&M) regarding preparation
                                         for professionals report status call with QE



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Professional             Date     Hours     Activity
Medway, David         7/19/2023     0.9   Review materials summarizing initial results of investigation of
                                          exchange activity involving known professional firms
Mimms, Samuel         7/19/2023     2.1   Summarize FTX exchange customer preference analysis for Pharos
                                          Fund for S&C
Mimms, Samuel         7/19/2023     1.7   Update FTX exchange customer preference analysis for potential
                                          coin pricing vendors to incorporate current pricing on withdrawals per
                                          request of S&C
Mimms, Samuel         7/19/2023     0.1   Call with M. Sunkara, S. Mimms (A&M) regarding FTX Exchange
                                          data pull for Van Eck lender analysis
Mimms, Samuel         7/19/2023     1.4   Summarize FTX exchange customer preference analysis for
                                          potential coin pricing vendors
Mimms, Samuel         7/19/2023     2.8   Trace Van Eck assets loaned to Alameda in support of the Van Eck
                                          lender analysis
Patel, Ishika         7/19/2023     0.2   Call with D. Medway and I. Patel (A&M) regarding review of select
                                          professional firms identified by QE and assigned for summarization
Patel, Ishika         7/19/2023     1.3   Targeted searches for Teknos invoices and select professional firm
                                          payments and engagement letters as identified by QE
Patel, Ishika         7/19/2023     2.8   Targeted searches for select professional firm payments and
                                          engagement letters as identified by QE
Patel, Ishika         7/19/2023     0.9   Review bankruptcy dockets for AWS approval as vendor


Price, Breanna        7/19/2023     1.4   Identify if the accounts sending payments to professional firms are
                                          FBO, commingled, or non-FBO accounts
Price, Breanna        7/19/2023     0.4   Find engagement letters in Relativity to match the various
                                          professional firms' payments
Price, Breanna        7/19/2023     0.1   Call with E. Hoffer and B. Price (A&M) to discuss the identification of
                                          FBO (For the benefit of) accounts using transaction data for various
                                          professional firms
Price, Breanna        7/19/2023     2.2   Begin reviewing and adding professional firm invoices identified by
                                          QE to the professional firms cash transactions file
Price, Breanna        7/19/2023     1.4   Add non-debtor Silvergate bank data to the bank statement trackers


Radis, Cameron        7/19/2023     0.2   Call with C. Radis, A. Sloan, M. Haigis, M. Simkins, and E. Hoffer
                                          (A&M) to discuss progress of outstanding items for the cash
                                          database
Ramanathan, Kumanan   7/19/2023     0.8   Review of preference claim request and provide feedback

Ryan, Laureen         7/19/2023     0.3   Correspond with A&M team regarding S&C preference queries
                                          related to Lend Lender activities
Ryan, Laureen         7/19/2023     0.3   Correspond with A&M Team regarding updated Brian Lee analysis
                                          and review attachment thereto
Ryan, Laureen         7/19/2023     0.5   Call with L. Ryan, A. Canale (A&M) regarding approach to customer
                                          exchange preference analysis
Ryan, Laureen         7/19/2023     0.3   Call with L. Ryan, A. Canale, M. Shanahan, and D. Medway (A&M)
                                          and K. Lemire, S. Rand, A. Alden, J. Young, T. Murray, M. Lev, S.
                                          Hill, and O. Yeffet (QE) regarding professionals report status


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Professional           Date     Hours     Activity
Ryan, Laureen       7/19/2023     1.5   Call with L. Ryan, M. Shanahan, A. Canale, J. Lee (A&M) to discuss
                                        updates to cash preference analysis deck
Ryan, Laureen       7/19/2023     0.3   Correspond with A&M team on subsequent advance approach
                                        results on transfer between customer exchange accounts on FTX
                                        exchanges
Ryan, Laureen       7/19/2023     0.4   Correspond with A&M team regarding prepaid asset balances
                                        related to cash preferences identified
Ryan, Laureen       7/19/2023     0.4   Correspond with A&M Team regarding S&C request for alternative
                                        customer preference exchange analysis
Ryan, Laureen       7/19/2023     0.3   Review spreadsheets summarizing prepaid asset balances against
                                        vendor payment in preference period
Ryan, Laureen       7/19/2023     0.3   Correspond with QE and A&M team regarding action plan related to
                                        professionals investigation
Ryan, Laureen       7/19/2023     0.2   Correspond with QE and A&M team regarding additional discovery
                                        produced by audit firms
Ryan, Laureen       7/19/2023     0.2   Correspond with QE and A&M team regarding payments to Can Sun


Ryan, Laureen       7/19/2023     0.2   Correspond with S&C, TRM, and A&M team related to crypto tracing
                                        findings for Peng/Minhua
Ryan, Laureen       7/19/2023     3.2   Review and edit cash preference analysis deck deliverable


Ryan, Laureen       7/19/2023     0.6   Prepare summary of discussions with ASK on avoidance action
                                        assistance
Shanahan, Michael   7/19/2023     1.1   Revise cash preference analysis deck related to claim analysis


Shanahan, Michael   7/19/2023     2.3   Review documents related to professional service firms retained by
                                        Debtors in connection with 3rd interim report
Shanahan, Michael   7/19/2023     0.3   Call with L. Ryan, A. Canale, M. Shanahan, and D. Medway (A&M)
                                        and K. Lemire, S. Rand, A. Alden, J. Young, T. Murray, M. Lev, S.
                                        Hill, and O. Yeffet (QE) regarding professionals report status
Shanahan, Michael   7/19/2023     1.5   Call with L. Ryan, M. Shanahan, A. Canale, J. Lee (A&M) to discuss
                                        updates to cash preference analysis deck
Shanahan, Michael   7/19/2023     0.9   Call with M. Shanahan and D. Medway (A&M) regarding preparation
                                        for professionals report status call with QE
Shanahan, Michael   7/19/2023     0.8   Call with M. Shanahan and D. Medway (A&M) regarding results of
                                        investigation of cash payments to professionals firms having
                                        received $500,000 or more
Shanahan, Michael   7/19/2023     0.6   Call with M. Shanahan, A. Canale, J. Lee (A&M) to compare SOFA
                                        schedule reporting on investments, lenders, vendors with cash
                                        preference analysis workpaper
Shanahan, Michael   7/19/2023     0.7   Call with M. Shanahan, J. Lee, and E. Hoffer (A&M) A. Toobin, and
                                        F. Crocco (S&C), M. Cilia (FTX), H. McCullough, D. Alvarez, N.
                                        Quach, and M. Gartner (Stripe) to discuss Stripe accounts
                                        transactional information
Shanahan, Michael   7/19/2023     0.6   Calls with A. Canale, M. Shanahan (A&M) regarding cash updates to
                                        cash preferences deck



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Professional              Date    Hours     Activity
Shanahan, Michael     7/19/2023     0.4   Prepare for call with counsel regarding 3rd interim report

Simkins, Maximilian   7/19/2023     0.2   Call with C. Radis, A. Sloan, M. Haigis, M. Simkins, and E. Hoffer
                                          (A&M) to discuss progress of outstanding items for the cash
                                          database
Sloan, Austin         7/19/2023     0.2   Call with C. Radis, A. Sloan, M. Haigis, M. Simkins, and E. Hoffer
                                          (A&M) to discuss progress of outstanding items for the cash
                                          database
Sloan, Austin         7/19/2023     2.1   Create export of cash transactions for related to specific professional
                                          firms for use in preference analysis
Strong, Nichole       7/19/2023     0.4   Call with N. Strong, M. Ebrey (A&M) related to payments to
                                          professional firms in non-fiat funds
Strong, Nichole       7/19/2023     0.6   Call with D. Medway and N. Strong (A&M) regarding status of
                                          investigation of exchange activity involving known professional firms
Strong, Nichole       7/19/2023     1.1   Review and summarize additional invoices and other supporting
                                          documentation related to cash payments to legal firms engaged by
                                          West Realm Shires
Strong, Nichole       7/19/2023     1.9   Review and summarize additional invoices and other supporting
                                          documentation related to cash payments to legal firms engaged by
                                          West Realm Shires Services
Strong, Nichole       7/19/2023     2.7   Review and summarize invoices and other supporting
                                          documentation related to cash payments to legal firms engaged by
                                          West Realm Shires Services
Strong, Nichole       7/19/2023     0.5   Working session with A&M team (A. Cox and N. Strong) to discuss
                                          tracing sources of deposits identified in professional services firms'
                                          exchange accounts
Strong, Nichole       7/19/2023     0.2   Working session with A&M team (L. Lambert and N. Strong) to
                                          discuss tracing sources of deposits identified in professional
                                          services firms' exchange accounts
Strong, Nichole       7/19/2023     1.3   Review and summarize exchange data (transaction activity) for
                                          individuals providing professional services to Debtors
Strong, Nichole       7/19/2023     2.1   Review and summarize exchange data (balances) for individuals
                                          providing professional services to Debtors
Sunkara, Manasa       7/19/2023     0.1   Call with M. Sunkara, S. Mimms (A&M) regarding FTX Exchange
                                          data pull for Van Eck lender analysis
Zatz, Jonathan        7/19/2023     1.1   Call with M. Sunkara, J. Chan, K. Baker, L. Konig, J. Zatz, G. Walia
                                          (A&M) to discuss updated preference analysis logic
Arnett, Chris         7/20/2023     0.5   Discuss status of cash preference analysis with S. Coverick, A.
                                          Canale, C. Arnett, and M. Shanahan (A&M)
Arnett, Chris         7/20/2023     0.3   Direct data request from A. Dietderich (S&C) re: non-US committee
                                          tear sheets
Arnett, Chris         7/20/2023     1.3   Review and comment on draft cash preference analysis presentation


Arnett, Chris         7/20/2023     0.8   Review and comment on potential preference tear sheets for
                                          distribution to S&C
Arnett, Chris         7/20/2023     0.4   Review data and documents gathered to date on FTX employee
                                          exchange transfers


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Professional            Date     Hours     Activity
Blanchard, Madison   7/20/2023     0.8   Call with S. Mimms and M. Blanchard (A&M) to discuss updates to
                                         exchange customer preference request
Blanchard, Madison   7/20/2023     2.3   Prepare analysis relating to Ripple Labs lending claim and
                                         preference exposure
Blanchard, Madison   7/20/2023     2.8   Customer exchange preference analysis for accounts identified by
                                         counsel
Blanchard, Madison   7/20/2023     0.4   Call with E. Hoffer and M. Blanchard (A&M) to discuss quality control
                                         of cash preference analysis
Blanchard, Madison   7/20/2023     0.1   Call with A. Canale and M. Blanchard (A&M) to discuss exchange
                                         customer preference request
Blanchard, Madison   7/20/2023     1.2   Analysis of transactions classified as fiat payments to unknown
                                         within 90-day preference period
Canale, Alex         7/20/2023     1.9   Continue analysis of exchange customer preference analysis for ad
                                         hoc committee members
Canale, Alex         7/20/2023     0.6   Call with A. Canale, P. McGrath, L. Francis (A&M) regarding
                                         payments to insiders
Canale, Alex         7/20/2023     0.6   Prepare master list of avoidance actions for FTX management


Canale, Alex         7/20/2023     0.6   Review and edit memorandum summarizing preference analysis
                                         provider capabilities
Canale, Alex         7/20/2023     1.7   Review and edit schedules setting out payments made to insider for
                                         QE
Canale, Alex         7/20/2023     0.3   Teleconference with L. Ryan, M. Shanahan (all A&M) regarding
                                         framing workplan for preference payment analysis
Canale, Alex         7/20/2023     0.5   Discuss status of cash preference analysis with S. Coverick, A.
                                         Canale, C. Arnett, and M. Shanahan (A&M)
Canale, Alex         7/20/2023     0.3   Correspond with A&M team regarding payments to insiders


Canale, Alex         7/20/2023     0.6   Correspond with A&M team regarding exchange customer
                                         preference analysis
Canale, Alex         7/20/2023     0.4   Correspond with A&M team regarding analysis of exchange
                                         customer preferences for ad hoc committee members
Canale, Alex         7/20/2023     0.4   Teleconference with L. Ryan, M. Shanahan, A. Canale (all A&M)
                                         regarding strategy for vendor analysis for preference payments
Canale, Alex         7/20/2023     1.2   Prepare report summarizing exchange customer preference analysis
                                         findings for ad hoc committee member
Canale, Alex         7/20/2023     0.6   Call with M. Shanahan, A. Canale (A&M) to discuss exchange
                                         customer preference analysis
Canale, Alex         7/20/2023     0.1   Call with A. Canale and M. Blanchard (A&M) to discuss exchange
                                         customer preference request
Canale, Alex         7/20/2023     1.8   Analysis of exchange customer preference analysis for ad hoc
                                         committee members
Canale, Alex         7/20/2023     0.6   Call with M. Shanahan, A. Canale, J. Lee (A&M) to discuss cash
                                         payments to select insiders re: QE, UCC requests




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Professional                Date     Hours     Activity
Canale, Alex             7/20/2023     0.7   Calls with M. Shanahan, A. Canale (A&M) to discuss vendor
                                             preference analysis
Chan, Jon                7/20/2023     0.1   Call with N. Strong, J. Chan (A&M) regarding sources of fiat deposits
                                             on exchange
Cooper, James            7/20/2023     0.3   Call with J. Cooper and E. Taraba (A&M) re: development of
                                             avoidance actions schedule
Coverick, Steve          7/20/2023     2.3   Review and provide comments on non-customer preference analysis
                                             draft
Coverick, Steve          7/20/2023     0.1   Follow-up discussion re: non-customer preference actions with E.
                                             Mosley (A&M)
Coverick, Steve          7/20/2023     0.7   Discussion with E. Mosley (A&M) regarding non-customer
                                             preference analysis
Coverick, Steve          7/20/2023     0.5   Discuss status of cash preference analysis with S. Coverick, A.
                                             Canale, C. Arnett, and M. Shanahan (A&M)
Cox, Allison             7/20/2023     1.3   Document review to identify email handles for potential professional
                                             firms exchange accounts
Cox, Allison             7/20/2023     0.8   Review metabases for exchange wallets noted in deposits for
                                             professional firms
Cox, Allison             7/20/2023     2.8   Extract QuickBooks data in relation to specific identified vendors

Cox, Allison             7/20/2023     1.3   Document review in relation to additional professional firms identified
                                             by QE for review
Cox, Allison             7/20/2023     1.3   Call with D. Medway, N. Strong, E. Hoffer and A. Cox (A&M)
                                             regarding identified documents and accounting records in relation to
                                             professional firms analysis
Cox, Allison             7/20/2023     2.3   Review cash and QuickBooks data for additional identified firms for
                                             professional services analysis
Dobbs, Aaron             7/20/2023     1.1   Quality control review for completeness of account numbers related
                                             to MaxLaw Group transactions
Dobbs, Aaron             7/20/2023     1.3   Quality control review for completeness of account numbers related
                                             to Clement T. Maynard transactions
Ebrey, Mason             7/20/2023     0.5   Call with E. Hoffer, M. Ebrey (A&M) regarding recording of FTX
                                             Digital Markets expenditures in cash database
Ebrey, Mason             7/20/2023     0.5   Call with D. Medway, M. Ebrey (A&M) regarding investigation of
                                             various cash payments to professional firms
Ebrey, Mason             7/20/2023     0.3   Call with D. Medway, E. Hoffer, M. Ebrey, A. Helal, and B. Price
                                             (A&M) regarding the process of locating payments in the cash
                                             database for unassigned invoices from professional firms
Ebrey, Mason             7/20/2023     0.2   Call with, E. Hoffer, M. Ebrey, A. Helal, and B. Price (A&M)
                                             continuing the discussion of locating payments in the cash database
                                             for unassigned invoices from professional firms
Ebrey, Mason             7/20/2023     1.5   Compare QE identified engagement letters and invoices with
                                             previously identified engagement letters and invoices
Ebrey, Mason             7/20/2023     3.1   Compare QE identified engagement letters and invoices with
                                             previously identified Fenwick West LLP engagement letters and
                                             invoices


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Avoidance Actions
Professional              Date     Hours     Activity
Ebrey, Mason           7/20/2023     1.7   Compare QE identified engagement letters and invoices with
                                           previously identified Kim & Chang engagement letters and invoices
Ebrey, Mason           7/20/2023     1.0   Construct roll forward table of Turkish entity bank account balances


Francis, Luke          7/20/2023     0.6   Call with A. Canale, P. McGrath, L. Francis (A&M) regarding
                                           payments to insiders
Gordon, Robert         7/20/2023     0.4   Review for comments draft cash preference analysis

Helal, Aly             7/20/2023     0.6   Review documents relating to the relationship between Mario Garcia
                                           De Parades and FTX
Helal, Aly             7/20/2023     0.1   Call with A. Helal, and D. Medway (A&M) to discuss Garcia De
                                           Paredes Law HQ invoices payments confirmations
Helal, Aly             7/20/2023     1.9   Reconcile the daily balance of SBI Clearing trust bank accounts
                                           under FTX Japan KK with the bank statements identified
Helal, Aly             7/20/2023     1.9   Compare QE identified engagement letters and invoices with
                                           previously identified Garcia de parades engagement letters and
                                           invoices
Helal, Aly             7/20/2023     2.1   Compare QE identified engagement letters and invoices with
                                           previously identified Anderson Kill LLP engagement letters and
                                           invoices
Helal, Aly             7/20/2023     0.2   Call with, E. Hoffer, M. Ebrey, A. Helal, and B. Price (A&M)
                                           continuing the discussion of locating payments in the cash database
                                           for unassigned invoices from professional firms
Helal, Aly             7/20/2023     0.3   Call with J. Lee, A. Helal (A&M) to discuss vendor payment
                                           frequency analysis
Helal, Aly             7/20/2023     0.3   Call with D. Medway, E. Hoffer, M. Ebrey, A. Helal, and B. Price
                                           (A&M) regarding the process of locating payments in the cash
                                           database for unassigned invoices from professional firms
Helal, Aly             7/20/2023     1.3   Calculate FTX vendors (with $500k+ activity) payment frequency

Helal, Aly             7/20/2023     0.8   Search for the owner of the credit cards used by Barbara Fried to
                                           make company purchases
Hoffer, Emily          7/20/2023     2.1   Review documents on relativity related to payments made to
                                           Corporate Trust for use in professional firms payment analysis
Hoffer, Emily          7/20/2023     1.8   Update professional payments analysis for Corporate Trust
                                           payments based on additional documents identified in relativity
Hoffer, Emily          7/20/2023     1.3   Review invoices paid to professional firms to determine use of funds
                                           if they're related to professional services or other services rendered
Hoffer, Emily          7/20/2023     0.3   Call with D. Medway, E. Hoffer, M. Ebrey, A. Helal, and B. Price
                                           (A&M) regarding the process of locating payments in the cash
                                           database for unassigned invoices from professional firms
Hoffer, Emily          7/20/2023     0.9   Call with D. Medway and E. Hoffer (A&M) regarding investigation of
                                           payments to Corporate Trust Services Co., Arthur John & Co. and
                                           related individuals
Hoffer, Emily          7/20/2023     0.6   Communicate with team about Circle responses regarding balance
                                           reconciliation to determine if follow up questions are necessary



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Professional                Date    Hours     Activity
Hoffer, Emily           7/20/2023     0.4   Call with D. Medway and E. Hoffer (A&M) regarding status of review
                                            of additional professionals documents identified by QE
Hoffer, Emily           7/20/2023     1.2   Review documents on relativity related to payments made to Arthur
                                            Thomas for use in professional firms payment analysis
Hoffer, Emily           7/20/2023     1.3   Call with D. Medway, N. Strong, E. Hoffer and A. Cox (A&M)
                                            regarding identified documents and accounting records in relation to
                                            professional firms analysis
Hoffer, Emily           7/20/2023     0.4   Call with E. Hoffer and M. Blanchard (A&M) to discuss quality control
                                            of cash preference analysis
Hoffer, Emily           7/20/2023     0.5   Call with E. Hoffer, M. Ebrey (A&M) regarding recording of FTX
                                            Digital Markets expenditures in cash database
Hoffer, Emily           7/20/2023     0.5   Call with M. Shanahan, J. Lee, and E. Hoffer (A&M) A. Toobin, and
                                            F. Crocco (S&C), M. Cilia (FTX), H. McCullough, D. Alvarez, N.
                                            Quach, and M. Gartner (Stripe) to discuss Stripe accounts owned by
                                            FTX
Hoffer, Emily           7/20/2023     0.7   Call with N. Strong, E. Hoffer (A&M) regarding new professional
                                            services firms identified in accounting records provided by QE
Hoffer, Emily           7/20/2023     0.2   Call with, E. Hoffer, M. Ebrey, A. Helal, and B. Price (A&M)
                                            continuing the discussion of locating payments in the cash database
                                            for unassigned invoices from professional firms
Hoffer, Emily           7/20/2023     0.7   Communicate with team about follow up questions to Stripe
                                            regarding transaction reports received
Hoffer, Emily           7/20/2023     0.8   Communicate with team regarding creation of AWS table containing
                                            Circle, Signet, Stripe transactions regarding any updates necessary
                                            to make
Konig, Louis            7/20/2023     0.7   Call with L. Konig and P. McGrath (A&M) regarding exchange activity

Lee, Julian             7/20/2023     0.2   Correspond with team regarding additional vendor extracts


Lee, Julian             7/20/2023     0.3   Call with J. Lee, A. Helal (A&M) to discuss vendor payment
                                            frequency analysis
Lee, Julian             7/20/2023     0.2   Call with M. Shanahan, J. Lee (A&M) to discuss vendor analysis re:
                                            ordinary course, new value defenses
Lee, Julian             7/20/2023     0.3   Correspond with Circle re: balance reconciliation for Alameda
                                            Research Ltd account
Lee, Julian             7/20/2023     0.6   Call with M. Shanahan, A. Canale, J. Lee (A&M) to discuss cash
                                            payments to select insiders re: QE, UCC requests
Lee, Julian             7/20/2023     0.2   Correspond with team regarding reconciliation of SBI Clearing trust
                                            balances against transactional activity
Lee, Julian             7/20/2023     0.2   Correspond with team regarding SOFA 18 bank account details for
                                            closed accounts
Lee, Julian             7/20/2023     1.8   Identify vendors from SOFA 3 to compare with cash preference
                                            analysis classification
Lee, Julian             7/20/2023     0.6   Obtain agreements, invoices for select vendors for purposes of
                                            targeted preference analysis
Lee, Julian             7/20/2023     0.3   Prepare summary of vendors for review of ordinary course, new
                                            value defenses

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Professional               Date     Hours     Activity
Lee, Julian             7/20/2023     0.7   Review Stripe account to prepare outstanding follow-up questions
                                            for purposes of call with Stripe
Lee, Julian             7/20/2023     2.5   Summarize vendor payments for purposes of scoping ordinary
                                            course, new value defense analysis
Lee, Julian             7/20/2023     1.9   Update insider payment analysis in response to QE request

Lee, Julian             7/20/2023     0.3   Update insider payment analysis re: cash payments, SOFA 4
                                            amounts
Lee, Julian             7/20/2023     0.4   Correspond to QE regarding follow-up items to Signature bank


Lee, Julian             7/20/2023     0.5   Call with M. Shanahan, J. Lee, and E. Hoffer (A&M) A. Toobin, and
                                            F. Crocco (S&C), M. Cilia (FTX), H. McCullough, D. Alvarez, N.
                                            Quach, and M. Gartner (Stripe) to discuss Stripe accounts owned by
                                            FTX
McGrath, Patrick        7/20/2023     2.4   Analyze of sources and uses of insider activity at the request of
                                            counsel
McGrath, Patrick        7/20/2023     0.6   Call with A. Canale, P. McGrath, L. Francis (A&M) regarding
                                            payments to insiders
McGrath, Patrick        7/20/2023     0.7   Call with L. Konig and P. McGrath regarding exchange activity

McGrath, Patrick        7/20/2023     2.3   Review sources and uses of insider activity for potential recovery


Medway, David           7/20/2023     0.4   Call with D. Medway and E. Hoffer (A&M) regarding status of review
                                            of additional professionals documents identified by QE
Medway, David           7/20/2023     1.2   Review and edit materials results summarizing results of
                                            investigation of cash payments to Schuite Roth, Azora and Nishith
                                            Desai Law and incorporate into schedules for professionals report
Medway, David           7/20/2023     1.4   Review and edit materials results summarizing results of
                                            investigation of cash payments to Moore Stephens, Lindgren, Jorge
                                            Luis Lopez Law, and Maxlaw Global and incorporate into schedules
                                            for professionals report
Medway, David           7/20/2023     1.0   Review and edit materials results summarizing results of
                                            investigation of cash payments to Duane Morris, S.A. Evangelous
                                            and Co., Annerton, and Prospera Law and incorporate into
                                            schedules for professionals report
Medway, David           7/20/2023     0.8   Prepare for internal call regarding professional firms workstream
                                            status and strategy
Medway, David           7/20/2023     1.4   Investigate reconciling differences between schedules reporting
                                            results of investigations of cash payments to professionals
Medway, David           7/20/2023     0.3   Investigate non-Debtor payments to Fenwick & West and prepare
                                            response to related QE inquiry
Medway, David           7/20/2023     0.6   Internal communications regarding status of professionals cash
                                            payments investigations
Medway, David           7/20/2023     1.6   Review and edit materials summarizing results of investigations of
                                            cash payments to Herbert Smith Freehills, Rivers & Moorehead and
                                            Garcia de Paredes Law and incorporate into schedules for
                                            professionals report


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Professional              Date     Hours     Activity
Medway, David          7/20/2023     0.5   Call with D. Medway, M. Ebrey (A&M) regarding investigation of
                                           various cash payments to professional firms
Medway, David          7/20/2023     0.4   Internal communications regarding investigations of certain cash
                                           payments to professionals
Medway, David          7/20/2023     0.9   Call with D. Medway and E. Hoffer (A&M) regarding investigation of
                                           payments to Corporate Trust Services Co., Arthur John & Co. and
                                           related individuals
Medway, David          7/20/2023     0.1   Call with D. Medway and B. Price (A&M) regarding investigation of
                                           potentially returned payments to professional firms
Medway, David          7/20/2023     0.1   Call with A. Helal, and D. Medway (A&M) to discuss Garcia De
                                           Paredes Law HQ invoices payments confirmations
Medway, David          7/20/2023     0.2   Communications with QE regarding status of professionals cash
                                           payments investigations
Medway, David          7/20/2023     1.3   Call with D. Medway, N. Strong, E. Hoffer and A. Cox (A&M)
                                           regarding identified documents and accounting records in relation to
                                           professional firms analysis
Medway, David          7/20/2023     0.8   Review and edit materials summarizing results of investigations of
                                           cash payments to Teknos Associates, Gibson Dunn, and Deacons
                                           and incorporate into schedules for professionals report
Mimms, Samuel          7/20/2023     0.8   Call with S. Mimms and M. Blanchard (A&M) to discuss updates to
                                           exchange customer preference request
Mimms, Samuel          7/20/2023     1.8   Update FTX exchange customer preference analysis for potential
                                           coin pricing vendors to improve file performance
Mimms, Samuel          7/20/2023     1.3   Trace Van Eck assets loaned to Alameda in support of the Van Eck
                                           lender analysis
Mimms, Samuel          7/20/2023     2.3   Perform quality control of Principals NDA exchange customer
                                           preference analysis using transaction time pricing and current pricing
Mosley, Ed             7/20/2023     0.7   Discussion with S.Coverick (A&M) regarding non-customer
                                           preference analysis
Mosley, Ed             7/20/2023     0.1   Follow-up discussion re: non-customer preference actions with
                                           S.Coverick (A&M)
Price, Breanna         7/20/2023     0.1   Call with D. Medway and B. Price (A&M) regarding investigation of
                                           potentially returned payments to professional firms
Price, Breanna         7/20/2023     0.3   Call with D. Medway, E. Hoffer, M. Ebrey, A. Helal, and B. Price
                                           (A&M) regarding the process of locating payments in the cash
                                           database for unassigned invoices from professional firms
Price, Breanna         7/20/2023     2.1   Review and add Schulte Roth & Zabel International and other
                                           invoices identified by QE to the professional firms cash transactions
                                           file
Price, Breanna         7/20/2023     0.2   Call with E. Hoffer, M. Ebrey, A. Helal, and B. Price (A&M)
                                           continuing the discussion of locating payments in the cash database
                                           for unassigned invoices from professional firms
Price, Breanna         7/20/2023     2.6   Review and add BDS, Osler, and Nishith invoices identified by QE to
                                           the professional firms cash transactions file
Price, Breanna         7/20/2023     1.7   Review and add Deacon invoices identified by QE to the
                                           professional firms cash transactions file



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Professional             Date    Hours     Activity
Price, Breanna       7/20/2023     0.4   Review and add Herber Smith Freehills invoices identified by QE to
                                         the professional firms cash transactions file
Price, Breanna       7/20/2023     1.3   Review and add Mccarthy and Gibson invoices identified by QE to
                                         the professional firms cash transactions file
Price, Breanna       7/20/2023     1.6   Review and add Prospera Law invoices identified by QE to the
                                         professional firms cash transactions file
Ryan, Laureen        7/20/2023     0.2   Correspond with A&M Team regarding S&C requests for ad hoc
                                         members customer exchange analysis
Ryan, Laureen        7/20/2023     0.6   Correspond with A&M team regarding approach to scope vendor
                                         cash payments for further investigation
Ryan, Laureen        7/20/2023     0.2   Correspond with QE and A&M Team regarding payments to Can
                                         Sun inquiries
Ryan, Laureen        7/20/2023     0.4   Teleconference with L. Ryan, M. Shanahan, A. Canale (all A&M)
                                         regarding strategy for vendor analysis for preference payments
Ryan, Laureen        7/20/2023     0.3   Teleconference with L. Ryan, M. Shanahan (all A&M) regarding
                                         framing workplan for preference payment analysis
Ryan, Laureen        7/20/2023     0.2   Correspond with QE and A&M Team regarding progress on
                                         additional professional firm memos
Ryan, Laureen        7/20/2023     0.2   Correspond with QE and A&M Team regarding Armanino and Prager
                                         productions
Shanahan, Michael    7/20/2023     0.2   Communications to/from team regarding vendor analysis

Shanahan, Michael    7/20/2023     0.5   Call with M. Shanahan, J. Lee, and E. Hoffer (A&M) A. Toobin, and
                                         F. Crocco (S&C), M. Cilia (FTX), H. McCullough, D. Alvarez, N.
                                         Quach, and M. Gartner (Stripe) to discuss Stripe accounts owned by
                                         FTX
Shanahan, Michael    7/20/2023     0.5   Discuss status of cash preference analysis with S. Coverick, A.
                                         Canale, C. Arnett, and M. Shanahan (A&M)
Shanahan, Michael    7/20/2023     0.7   Preliminary review of memo summarizing Rivers & Moorehead
                                         findings
Shanahan, Michael    7/20/2023     0.7   Calls with M. Shanahan, A. Canale (A&M) to discuss vendor
                                         preference analysis
Shanahan, Michael    7/20/2023     0.2   Call with M. Shanahan, J. Lee (A&M) to discuss vendor analysis re:
                                         ordinary course, new value defenses
Shanahan, Michael    7/20/2023     0.6   Call with M. Shanahan, A. Canale (A&M) to discuss exchange
                                         customer preference analysis
Shanahan, Michael    7/20/2023     0.7   Develop strategy for avoidance action review for select vendors

Shanahan, Michael    7/20/2023     0.3   Teleconference with L. Ryan, M. Shanahan, A. Canale (all A&M)
                                         regarding framing workplan for preference payment analysis
Shanahan, Michael    7/20/2023     1.2   Review updated schedule of professional fee spend to include firms
                                         receiving in excess of $500k
Shanahan, Michael    7/20/2023     0.4   Teleconference with L. Ryan, M. Shanahan, A. Canale (all A&M)
                                         regarding strategy for vendor analysis for preference payments
Shanahan, Michael    7/20/2023     0.3   Review list of avoidance action allocated to A&M for planning
                                         purposes

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Avoidance Actions
Professional             Date     Hours     Activity
Shanahan, Michael     7/20/2023     0.7   Review documents related to related individual expense
                                          reimbursements
Shanahan, Michael     7/20/2023     0.3   Communications to/from team regarding related individual expenses


Shanahan, Michael     7/20/2023     1.3   Review and revise stratification analysis of potential vendor
                                          transactions
Strong, Nichole       7/20/2023     0.7   Call with N. Strong, E. Hoffer (A&M) regarding new professional
                                          services firms identified in accounting records provided by QE
Strong, Nichole       7/20/2023     2.9   Review and summarize invoices and other supporting
                                          documentation related to cash payments to Kim & Chang
Strong, Nichole       7/20/2023     0.1   Call with N. Strong, J. Chan (A&M) regarding sources of fiat deposits
                                          on exchange
Strong, Nichole       7/20/2023     2.8   Review and summarize invoices and other supporting
                                          documentation related to cash payments to Goodwin Proctor
Strong, Nichole       7/20/2023     1.3   Call with D. Medway, N. Strong, E. Hoffer and A. Cox (A&M)
                                          regarding identified documents and accounting records in relation to
                                          professional firms analysis
Strong, Nichole       7/20/2023     2.8   Prepare exchange data requests for newly identified professional
                                          services firms engaged by Debtors
Taraba, Erik          7/20/2023     1.9   Review docket and develop schedule of avoidance actions and
                                          adversary proceedings for discussion by management
Taraba, Erik          7/20/2023     0.3   Call with J. Cooper and E. Taraba (A&M) re: development of
                                          avoidance actions schedule
Arnett, Chris         7/21/2023     0.3   Research and distribute tear sheet on potential preference exposure
                                          to A. Kranzley (S&C)
Arnett, Chris         7/21/2023     0.3   Discussion with S. Coverick, C. Arnett, A. Canale, and M. Shanahan
                                          (A&M) regarding vendor preference analysis and process
Arnett, Chris         7/21/2023     0.1   Discuss marketing and sponsorship preference analysis with S.
                                          Coverick (A&M)
Canale, Alex          7/21/2023     0.5   Call with A. Canale, P. McGrath (A&M) T. Murray, S. Snower (QE)
                                          regarding payments to insiders
Canale, Alex          7/21/2023     0.5   Discussion with A. Canale, and M. Shanahan (A&M) regarding
                                          vendor preference analysis and process
Canale, Alex          7/21/2023     0.4   Review exchange data relating to withdrawals made between
                                          exchanges and provide comment on results
Canale, Alex          7/21/2023     0.2   PMO reporting for avoidance actions work stream

Canale, Alex          7/21/2023     0.3   Discussion with S. Coverick, C. Arnett, A. Canale, and M. Shanahan
                                          (A&M) regarding vendor preference analysis and process
Canale, Alex          7/21/2023     0.6   Discussion with J. Lee, A. Canale, and M. Shanahan (A&M)
                                          regarding vendor preference analysis and process
Canale, Alex          7/21/2023     1.3   Review schedules summarizing cash payments to insiders

Canale, Alex          7/21/2023     2.2   Calls with A. Canale, M. Shanahan (A&M) regarding scoping for
                                          vendor preference analysis


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Canale, Alex             7/21/2023     0.4   Call with L. Ryan, A. Canale (A&M) regarding workplan for vendor
                                             preference analysis
Canale, Alex             7/21/2023     0.3   Call with A. Canale, P. McGrath, (A&M) regarding payments to
                                             insiders
Canale, Alex             7/21/2023     0.4   Call with A. Canale, M. Shanahan, J. Lee, E. Hoffer (A&M) regarding
                                             payments made to identified vendors during preference period
Canale, Alex             7/21/2023     0.3   Call with A. Canale, M. Shanahan (A&M) regarding workplan for
                                             vendors analysis
Canale, Alex             7/21/2023     2.4   Analysis of payments made to insiders and documents related
                                             thereto
Canale, Alex             7/21/2023     0.4   Review schedules summarizing venture book investments for Paxos,
                                             DoraHack and Euler
Canale, Alex             7/21/2023     0.4   Call with A. Canale, P. McGrath, S. Mimms (A&M) regarding Van
                                             Eck lender analysis
Coverick, Steve          7/21/2023     0.1   Discuss marketing and sponsorship preference analysis with C.
                                             Arnett (A&M)
Coverick, Steve          7/21/2023     0.3   Discussion with S. Coverick, C. Arnett, A. Canale, and M. Shanahan
                                             (A&M) regarding vendor preference analysis and process
Cox, Allison             7/21/2023     0.1   Call with D. Medway, N. Strong, E. Hoffer, A. Cox (A&M) regarding
                                             the adjustment of payment data within the professional's cash
                                             transactions file
Cox, Allison             7/21/2023     0.4   Teleconference with A. Cox and D. Medway (A&M) memo
                                             documenting results of Rivers & Moorehead investigation
Cox, Allison             7/21/2023     2.6   Review QuickBooks data to identify additional payments to specific
                                             vendors
Cox, Allison             7/21/2023     0.4   Review QuickBooks data for potential property purchase for insiders

Cox, Allison             7/21/2023     2.7   Extract QuickBooks data for second round of newly identified
                                             vendors under review
Cox, Allison             7/21/2023     2.3   Extract QuickBooks data for newly identified vendors under review


Cox, Allison             7/21/2023     0.1   Call with D. Medway, N. Strong, E. Hoffer, A. Cox, and B. Price
                                             (A&M) regarding the adjustment of payment data within the
                                             professional's cash transactions file
Cox, Allison             7/21/2023     0.4   Working session w/ A. Helal, A. Cox, M. Ebrey, B. Price (A&M) re:
                                             vendor payments made during preference period
Cox, Allison             7/21/2023     0.2   Call with A. Cox, N. Strong (A&M) regarding targeted review of
                                             additional payments to professional services firms
Cox, Allison             7/21/2023     1.3   Document review in relation to Rivers and Moorehead analysis

Dobbs, Aaron             7/21/2023     1.2   Quality control review for completeness of transaction data related to
                                             Clement T. Maynard
Ebrey, Mason             7/21/2023     0.4   Working session w/ A. Helal, A. Cox, M. Ebrey, B. Price (A&M) re:
                                             vendor payments made during preference period
Ebrey, Mason             7/21/2023     0.1   Working session w/ M. Ebrey, and B. Price (A&M) re: discussion on
                                             cash transaction payments template

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Professional              Date     Hours     Activity
Ebrey, Mason           7/21/2023     3.2   Compare QE identified engagement letters and invoices with
                                           remaining professional firms engagement letters and invoices
Ebrey, Mason           7/21/2023     0.3   Call with E. Hoffer, M. Ebrey (A&M) regarding investigation of
                                           various cash payments to professional firms
Ebrey, Mason           7/21/2023     3.1   Compare QE identified engagement letters and invoices with
                                           previously identified King Wood & Mallesons engagement letters
                                           and invoices
Haigis, Maya           7/21/2023     0.9   Review and update cash database documentation support process

Helal, Aly             7/21/2023     0.5   Call with A. Helal, and N. Strong (A&M) to discuss support identified
                                           and next steps for payment to Mario Garcia De Parades
Helal, Aly             7/21/2023     1.1   Ensure completeness of payments made to FTX vendors with total
                                           invoices above $500k
Helal, Aly             7/21/2023     1.6   Populate insiders analysis report for cash payments made or loans
                                           given
Helal, Aly             7/21/2023     1.4   Search for payments made to Tomorrow Land as part of the
                                           agreement with FTX
Helal, Aly             7/21/2023     1.1   Search relativity for an explanation of a payment for Mario Garcia de
                                           Parades
Helal, Aly             7/21/2023     0.4   Working session w/ A. Helal, A. Cox, M. Ebrey, B. Price (A&M) re:
                                           vendor payments made during preference period
Helal, Aly             7/21/2023     0.2   Call with A. Helal, and D. Medway (A&M) to discuss support
                                           identified and next steps for payment to Mario Garcia De Parades
Hoffer, Emily          7/21/2023     1.1   Update summary of Corporate Trust payment in professional
                                           payments tab
Hoffer, Emily          7/21/2023     0.9   Quality control summary relating to S&C payments for use in
                                           professional payments analysis
Hoffer, Emily          7/21/2023     0.3   Call with E. Hoffer, M. Ebrey (A&M) regarding investigation of
                                           various cash payments to professional firms
Hoffer, Emily          7/21/2023     0.2   Call with E. Hoffer and B. Price (A&M) to discuss an additional
                                           payment from Simmons & Simmons
Hoffer, Emily          7/21/2023     0.1   Call with D. Medway, N. Strong, E. Hoffer, A. Cox, and B. Price
                                           (A&M) regarding the adjustment of payment data within the
                                           professional's cash transactions file
Hoffer, Emily          7/21/2023     0.1   Call with D. Medway, N. Strong, E. Hoffer, A. Cox (A&M) regarding
                                           the adjustment of payment data within the professional's cash
                                           transactions file
Hoffer, Emily          7/21/2023     0.6   Quality control summary relating to Simmons payments for use in
                                           professional payments analysis
Hoffer, Emily          7/21/2023     0.5   Call with J. Lee, E. Hoffer (A&M) to discuss vendor payments for
                                           preference analysis
Hoffer, Emily          7/21/2023     0.4   Call with M. Shanahan, J. Lee, E. Hoffer (A&M), E. Mostoff
                                           (AlixPartners), F. Crocco (S&C) and M. Cilia (FTX) to discuss
                                           historical bank statement collection progress
Hoffer, Emily          7/21/2023     0.1   Call with E. Hoffer, M. Ebrey, and B. Price (A&M) to discuss
                                           professional firm's payment data received from FTX representatives


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Professional                Date    Hours     Activity
Hoffer, Emily           7/21/2023     0.4   Quality control summary relating to Perkins Coie payments for use
                                            in professional payments analysis
Hoffer, Emily           7/21/2023     1.3   Review new invoices identified by team for payments to professional
                                            from QE documents received to incorporate into professional
                                            payment analysis
Hoffer, Emily           7/21/2023     1.4   Update summary of Simmons for newly identified return of retainer
                                            funds for use in professional payments analysis
Hoffer, Emily           7/21/2023     0.8   Call with D. Medway, N. Strong, E. Hoffer (A&M) regarding targeted
                                            review of additional payments to professional services firms
Hoffer, Emily           7/21/2023     0.5   Call with D. Medway, N. Strong, E. Hoffer (A&M) regarding targeted
                                            review of additional payments to professional services firms
Hoffer, Emily           7/21/2023     0.4   Call with A. Canale, M. Shanahan, J. Lee, E. Hoffer (A&M) regarding
                                            payments made to identified vendors during preference period
Hoffer, Emily           7/21/2023     2.3   Compile cash transactions for vendors to be used in vendor
                                            preference analysis
Konig, Louis            7/21/2023     2.2   Database scripting related to preference calculation and reporting for
                                            specific set of customer accounts
Konig, Louis            7/21/2023     1.9   Quality control and review of output related to preference value
                                            reporting updates related to subsequent advance logic update
Konig, Louis            7/21/2023     1.3   Documentation of findings related to preference value reporting
                                            updates related to subsequent advance logic update
Konig, Louis            7/21/2023     1.4   Database scripting related to preference value reporting updates
                                            related to subsequent advance logic update
Lee, Julian             7/21/2023     0.3   Correspond with team regarding classification of select vendors for
                                            SOFA schedule updates
Lee, Julian             7/21/2023     0.6   Update vendor payments analysis for purposes of scoping ordinary
                                            course, new value defense
Lee, Julian             7/21/2023     0.4   Call with M. Shanahan, J. Lee, E. Hoffer (A&M), E. Mostoff
                                            (AlixPartners), F. Crocco (S&C) and M. Cilia (FTX) to discuss
                                            historical bank statement collection progress
Lee, Julian             7/21/2023     0.6   Discussion with J. Lee, A. Canale, and M. Shanahan (A&M)
                                            regarding vendor preference analysis and process
Lee, Julian             7/21/2023     1.4   Prepare Fortune Media vendor tear sheet for preference analysis

Lee, Julian             7/21/2023     0.1   Prepare responses to AlixPartners inquiries re: bank accounts in
                                            cash database
Lee, Julian             7/21/2023     1.4   Prepare vendor payments workbook for 18 vendors re: preference
                                            analysis
Lee, Julian             7/21/2023     0.1   Review bank communication status tracker for weekly PMO update

Lee, Julian             7/21/2023     0.2   Review Circle data staged in database to be processed


Lee, Julian             7/21/2023     0.3   Update insider payment analysis re: cash payments, SOFA 4
                                            amounts
Lee, Julian             7/21/2023     0.5   Call with J. Lee, E. Hoffer (A&M) to discuss vendor payments for
                                            preference analysis

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Avoidance Actions
Professional               Date     Hours     Activity
Lee, Julian             7/21/2023     0.5   Review weekly bank account tracker to prepare for AlixPartners

Lee, Julian             7/21/2023     0.4   Call with A. Canale, M. Shanahan, J. Lee, E. Hoffer (A&M) regarding
                                            payments made to identified vendors during preference period
McGrath, Patrick        7/21/2023     2.7   Summarize Debtor transactions with insiders, including their sources
                                            and uses, at the request of counsel
McGrath, Patrick        7/21/2023     2.4   Perform analysis of sources and uses of insider activity at the
                                            request of counsel
McGrath, Patrick        7/21/2023     0.3   Call with A. Canale, P. McGrath, (A&M) regarding payments to
                                            insiders
McGrath, Patrick        7/21/2023     0.4   Call with A. Canale, P. McGrath, S. Mimms (A&M) regarding Van
                                            Eck lender analysis
McGrath, Patrick        7/21/2023     2.3   Review ventures investments transactions at the request of counsel


McGrath, Patrick        7/21/2023     0.5   Call with A. Canale, P. McGrath (A&M) T. Murray, S. Snower (QE)
                                            regarding payments to insiders
Medway, David           7/21/2023     0.4   Internal communication regarding memo summarizing results of
                                            Rivers & Moorehead investigation based on internal review
                                            comments
Medway, David           7/21/2023     0.2   Call with A. Helal, and D. Medway (A&M) to discuss support
                                            identified and next steps for payment to Mario Garcia De Parades
Medway, David           7/21/2023     0.4   Call with D. Medway and N. Strong (A&M) regarding planning and
                                            status of investigation of payments to known professional firms
Medway, David           7/21/2023     0.8   Call with D. Medway, N. Strong, E. Hoffer (A&M) regarding targeted
                                            review of additional payments to professional services firms
Medway, David           7/21/2023     0.1   Call with D. Medway, N. Strong, E. Hoffer, A. Cox (A&M) regarding
                                            the adjustment of payment data within the professional's cash
                                            transactions file
Medway, David           7/21/2023     0.1   Call with D. Medway, N. Strong, E. Hoffer, A. Cox, and B. Price
                                            (A&M) regarding the adjustment of payment data within the
                                            professional's cash transactions file
Medway, David           7/21/2023     3.2   Draft memo summarizing results of Rivers & Moorehead
                                            investigation
Medway, David           7/21/2023     1.6   Update memo summarizing results of Rivers & Moorehead
                                            investigation based on internal review comments
Medway, David           7/21/2023     0.3   Internal communications regarding materials summarizing results of
                                            professionals investigations
Medway, David           7/21/2023     2.7   Prepare materials summarizing results of professionals cash
                                            payments analysis for QE review
Medway, David           7/21/2023     1.2   Review updates to professionals cash payments analysis resulting
                                            from review of additional records identified by QE
Medway, David           7/21/2023     0.3   Teleconference with A. Canale, D. Medway and M. Shanahan (A&M)
                                            regarding professionals workstream status and strategy
Medway, David           7/21/2023     0.4   Teleconference with A. Cox and D. Medway (A&M) memo
                                            documenting results of Rivers & Moorehead investigation



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Professional              Date     Hours     Activity
Medway, David          7/21/2023     0.4   Teleconference with D. Medway and M. Shanahan (A&M) regarding
                                           professionals workstream status and strategy
Medway, David          7/21/2023     0.3   Communications with QE regarding materials summarizing results of
                                           professionals investigations
Mimms, Samuel          7/21/2023     0.4   Call with A. Canale, P. McGrath, S. Mimms (A&M) regarding Van
                                           Eck lender analysis
Mimms, Samuel          7/21/2023     1.4   Review updates to customer preference analysis data regarding
                                           interexchange transfers
Mimms, Samuel          7/21/2023     1.9   Draft data request to Crypto Tracing team regarding Van Eck
                                           exchange lending activity
Mimms, Samuel          7/21/2023     2.4   Summarize Van Eck lending relationship with Alameda for
                                           presentation to Counsel
Mosley, Ed             7/21/2023     1.1   Review of and prepare comments to draft presentation to Ad Hoc
                                           committee advisors regarding preferences
Price, Breanna         7/21/2023     0.1   Working session w/ M. Ebrey, and B. Price (A&M) re: discussion on
                                           cash transaction payments template
Price, Breanna         7/21/2023     1.9   Review and add Simmons invoices identified by QE to the
                                           professional firms cash transactions file
Price, Breanna         7/21/2023     1.6   Review and add Sidley invoices identified by QE to the professional
                                           firms cash transactions file
Price, Breanna         7/21/2023     2.1   Review and add Robert Lee & Associates invoices received from
                                           FTX representatives to the professional firms cash transactions file
Price, Breanna         7/21/2023     1.2   Review and add Gibson, Dunn, and Crutcher invoices identified by
                                           QE to the professional firms cash transactions file
Price, Breanna         7/21/2023     0.1   Call with E. Hoffer, M. Ebrey, and B. Price (A&M) to discuss
                                           professional firm's payment data received from FTX representatives
Price, Breanna         7/21/2023     0.2   Call with E. Hoffer and B. Price (A&M) to discuss an additional
                                           payment from Simmons & Simmons
Price, Breanna         7/21/2023     0.1   Call with D. Medway, N. Strong, E. Hoffer, A. Cox, and B. Price
                                           (A&M) regarding the adjustment of payment data within the
                                           professional's cash transactions file
Price, Breanna         7/21/2023     0.4   Working session w/ A. Helal, A. Cox, M. Ebrey, B. Price (A&M) re:
                                           vendor payments made during preference period
Radis, Cameron         7/21/2023     1.3   Perform SQL based table updates to create new views for metabase
                                           for signet/stripe/circle data
Radis, Cameron         7/21/2023     2.2   Perform SQL based updates to column and table mapping for all
                                           tables related to circle/stripe/signet
Ramanathan, Kumanan    7/21/2023     0.2   Call with G. Walia (A&M) to discuss updates on preference exposure
                                           analysis
Ruez, William          7/21/2023     0.2   Call with W. Ruez, M. Shanahan (A&M) to discuss vendor payments
                                           analysis re: Introduction to case and new assignment
Ryan, Laureen          7/21/2023     0.2   Correspond with A&M team regarding draft memo on ASK
                                           presentation for preferences
Ryan, Laureen          7/21/2023     0.9   Working session with L. Ryan, M. Shanahan (A&M) on the cash
                                           preference payments analysis deck.


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Avoidance Actions
Professional           Date     Hours     Activity
Ryan, Laureen       7/21/2023     0.6   Review draft memo of findings related to Rivers and Moorhead
                                        services to FTX and correspond with A&M team thereon
Ryan, Laureen       7/21/2023     0.2   Correspond with S&C and A&M team regarding inquiries related to
                                        Ecology Limited investigation
Ryan, Laureen       7/21/2023     0.1   Correspond with QE and A&M team regarding investigation findings
                                        related to DoraHack, Euler, and Paxos investments
Ryan, Laureen       7/21/2023     0.2   Correspond with A&M team regarding updates to workstream tracker
                                        and PMO
Ryan, Laureen       7/21/2023     0.3   Correspond with A&M team regarding cash preference analysis


Ryan, Laureen       7/21/2023     0.2   Correspond with A&M team regarding alternative approach to
                                        customer preference analysis
Ryan, Laureen       7/21/2023     0.4   Call with L. Ryan, A. Canale (A&M) regarding workplan for vendor
                                        preference analysis
Ryan, Laureen       7/21/2023     0.1   Correspond with A&M team Cash preference charity payments

Ryan, Laureen       7/21/2023     0.1   Correspond with QE and A&M team regarding audit firm additional
                                        productions
Shanahan, Michael   7/21/2023     0.5   Discussion with A. Canale, and M. Shanahan (A&M) regarding
                                        vendor preference analysis and process
Shanahan, Michael   7/21/2023     2.2   Calls with A. Canale, M. Shanahan (A&M) regarding scoping for
                                        vendor preference analysis
Shanahan, Michael   7/21/2023     0.3   Teleconference with A. Canale, D. Medway and M. Shanahan (A&M)
                                        regarding professionals workstream status and strategy
Shanahan, Michael   7/21/2023     0.2   Call with W. Ruez, M. Shanahan (A&M) to discuss vendor payments
                                        analysis re: Introduction to case and new assignment
Shanahan, Michael   7/21/2023     0.4   Call with M. Shanahan, J. Lee, E. Hoffer (A&M), E. Mostoff
                                        (AlixPartners), F. Crocco (S&C) and M. Cilia (FTX) to discuss
                                        historical bank statement collection progress
Shanahan, Michael   7/21/2023     0.2   Communications to/from counsel regarding professional firm review


Shanahan, Michael   7/21/2023     0.4   Call with A. Canale, M. Shanahan, J. Lee, E. Hoffer (A&M) regarding
                                        payments made to identified vendors during preference period
Shanahan, Michael   7/21/2023     0.3   Call with A. Canale, M. Shanahan (A&M) regarding workplan for
                                        vendors analysis
Shanahan, Michael   7/21/2023     0.4   Communications to/from team regarding avoidance action workplan

Shanahan, Michael   7/21/2023     0.9   Working session with L. Ryan, M. Shanahan (A&M) on the cash
                                        preference payments analysis deck.
Shanahan, Michael   7/21/2023     0.4   Teleconference with D. Medway and M. Shanahan (A&M) regarding
                                        professionals workstream status and strategy
Shanahan, Michael   7/21/2023     1.2   Review and revise memo summarizing Rivers & Moorehead findings

Shanahan, Michael   7/21/2023     0.3   Discussion with S. Coverick, C. Arnett, A. Canale, and M. Shanahan
                                        (A&M) regarding vendor preference analysis and process


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Avoidance Actions
Professional                Date     Hours     Activity
Shanahan, Michael        7/21/2023     0.6   Discussion with J. Lee, A. Canale, and M. Shanahan (A&M)
                                             regarding vendor preference analysis and process
Shanahan, Michael        7/21/2023     0.9   Review and revise scoping schedule for avoidance action review of
                                             vendors
Strong, Nichole          7/21/2023     1.3   Review and summarize invoices and other supporting
                                             documentation related to cash payments to Consensus Law
                                             including related individuals/entities
Strong, Nichole          7/21/2023     0.5   Call with D. Medway, N. Strong, E. Hoffer (A&M) regarding targeted
                                             review of additional payments to professional services firms
Strong, Nichole          7/21/2023     0.4   Call with D. Medway and N. Strong (A&M) regarding planning and
                                             status of investigation of payments to known professional firms
Strong, Nichole          7/21/2023     0.5   Call with A. Helal, and N. Strong (A&M) to discuss support identified
                                             and next steps for payment to Mario Garcia De Parades
Strong, Nichole          7/21/2023     0.2   Call with A. Cox, N. Strong (A&M) regarding targeted review of
                                             additional payments to professional services firms
Strong, Nichole          7/21/2023     0.1   Call with D. Medway, N. Strong, E. Hoffer, A. Cox, and B. Price
                                             (A&M) regarding the adjustment of payment data within the
                                             professional's cash transactions file
Strong, Nichole          7/21/2023     2.6   Review and summarize exchange data for newly identified
                                             professional services firms engaged by Debtors
Strong, Nichole          7/21/2023     0.1   Call with D. Medway, N. Strong, E. Hoffer, A. Cox (A&M) regarding
                                             the adjustment of payment data within the professional's cash
                                             transactions file
Walia, Gaurav            7/21/2023     0.2   Call with K. Ramanathan, G. Walia (A&M) to discuss updates on
                                             preference exposure analysis
Canale, Alex             7/22/2023     0.3   Review summary of Van Eck lending and SOL staking arrangement

Canale, Alex             7/22/2023     0.7   Review details regarding possible Fortune Media claim and prepare
                                             tear sheet
Canale, Alex             7/22/2023     0.8   Review documents related to Redwood Valuation reports

Canale, Alex             7/22/2023     1.4   Review documents related to Redwood valuations and set
                                             parameters for review
Canale, Alex             7/22/2023     0.3   Correspond with A&M team regarding vendor preference analysis


Cox, Allison             7/22/2023     1.1   Review documents in relation to Google LLC vendor relationship

Cox, Allison             7/22/2023     2.1   Review documents in relation to GMO Systems vendor relationship


Cox, Allison             7/22/2023     2.2   Review documents in relation to Majority Forward vendor relationship

Ebrey, Mason             7/22/2023     1.1   Compare QE identified engagement letters and invoices with
                                             remaining professional firms engagement letters and invoices
Ebrey, Mason             7/22/2023     0.4   Call with E. Hoffer, M. Ebrey (A&M) regarding investigation of
                                             various cash payments to professional firms



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Helal, Aly              7/22/2023     3.1   Construct a table that explains the relationship between FTX and
                                            Golden State Warriors
Helal, Aly              7/22/2023     2.1   Construct a table that explains the relationship between FTX and
                                            GameStop
Hoffer, Emily           7/22/2023     2.2   Review of documents pertaining to payments made to TL
                                            International during preference period to determine if equivalent
                                            value was received
Hoffer, Emily           7/22/2023     0.4   Call with E. Hoffer, M. Ebrey (A&M) regarding investigation of
                                            various cash payments to professional firms
Konig, Louis            7/22/2023     1.2   Quality control and review of output related to preference calculation
                                            and reporting for specific set of customer accounts
Lee, Julian             7/22/2023     0.5   Prepare response to QE inquiry regarding additional bank account
                                            requests to Wells Fargo via Rule 2004 production
Lee, Julian             7/22/2023     0.2   Extract prepaid asset balance detail for select vendors

Lee, Julian             7/22/2023     0.4   Review cash payments re: vendor preference analysis


Lee, Julian             7/22/2023     0.2   Review prepetition accounts payable balance schedule workpaper
                                            for purposes of vendor payments preference analysis
Lee, Julian             7/22/2023     0.4   Correspond with team regarding vendor payments analysis during
                                            preference period
Medway, David           7/22/2023     0.3   Internal communications regarding Redwood document production
                                            and investigation
Mosley, Ed              7/22/2023     1.7   Detailed review of status of avoidance action / preference analysis
                                            for A&M scope for use in presentation to management and counsel
Price, Breanna          7/22/2023     1.7   Add additional Robert Lee Associate invoices received from FTX
                                            representatives to the cash payment summary
Price, Breanna          7/22/2023     1.9   Begin searching Relativity for documents related to the relationship
                                            and payments between FTX and Chicago Title Insurance for the
                                            purposes of the third interim report
Price, Breanna          7/22/2023     1.6   Begin searching Relativity for documents related to the relationship
                                            and payments between FTX and NP Digital for the purposes of the
                                            third interim report
Ryan, Laureen           7/22/2023     0.3   Correspond with A&M team regarding Cash preference analysis
                                            activities
Shanahan, Michael       7/22/2023     0.4   Communications to/from team regarding review of Redwood
                                            documents
Shanahan, Michael       7/22/2023     0.3   Communications to/from team regarding avoidance action analysis
                                            progress
Shanahan, Michael       7/22/2023     0.2   Communications to/from team regarding status of related individual
                                            expense review
Canale, Alex            7/23/2023     2.7   Review documents relating to vendor preference analyses


Canale, Alex            7/23/2023     0.8   Correspond with A&M team regarding vendor preference analyses




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Professional                Date     Hours     Activity
Chambers, Henry          7/23/2023     0.4   Correspondence regarding Liquid avoidance matter

Cox, Allison             7/23/2023     0.6   Update vendor summary for contracts identified for Google LLC


Cox, Allison             7/23/2023     0.4   Update vendor summary for contracts identified for Majority Forward

Cox, Allison             7/23/2023     1.8   Review documents in relation to Chase Zimmerman vendor
                                             relationship
Cox, Allison             7/23/2023     1.6   Review documents in relation to Google LLC vendor relationship


Cox, Allison             7/23/2023     0.3   Update vendor summary for contracts identified for GMO System

Ebrey, Mason             7/23/2023     0.3   Call with E. Hoffer, M. Ebrey (A&M) regarding investigation of
                                             payments made to Meta Platforms during preference period
Ebrey, Mason             7/23/2023     2.1   Search Relativity database for information regarding debtor
                                             payments to vendors during preference period
Helal, Aly               7/23/2023     2.1   Collect all agreements, invoices, and communication documents
                                             between Debtors and Tomorrow Land
Helal, Aly               7/23/2023     1.8   Construct a report with payments made and accounting records
                                             related to Tomorrow Land during Preference Period to understand
                                             the relationship between debtors and Tomorrow Land
Hoffer, Emily            7/23/2023     2.4   Summarize newly provided engagement letters by Quinn Emanuel
                                             for Fenwick & West for use in professional firms preference analysis
Hoffer, Emily            7/23/2023     0.3   Call with E. Hoffer, M. Ebrey (A&M) regarding investigation of
                                             payments made to Meta Platforms during preference period
Hoffer, Emily            7/23/2023     0.6   Review of documents pertaining to payments made to TL
                                             International during preference period to determine if equivalent
                                             value was received
Hoffer, Emily            7/23/2023     1.3   Summarize newly provided engagement letters by Quinn Emanuel
                                             for Clement Maynard for use in professional firms preference
                                             analysis
Hoffer, Emily            7/23/2023     0.3   Summarize newly provided engagement letters by Quinn Emanuel
                                             for Deacons for use in professional firms preference analysis
Hoffer, Emily            7/23/2023     0.1   Summarize newly provided engagement letters by Quinn Emanuel
                                             for Hogan Lovells for use in professional firms preference analysis
Hoffer, Emily            7/23/2023     0.1   Summarize newly provided engagement letters by Quinn Emanuel
                                             for Kim & Chang for use in professional firms preference analysis
Hoffer, Emily            7/23/2023     0.4   Summarize newly provided engagement letters by Quinn Emanuel
                                             for Morrison Foerster LLP for use in professional firms preference
                                             analysis
Hoffer, Emily            7/23/2023     0.3   Summarize newly provided engagement letters by Quinn Emanuel
                                             for Osler, Hoskin & Harcourt LLP for use in professional firms
                                             preference analysis
Hoffer, Emily            7/23/2023     0.2   Summarize newly provided engagement letters by Quinn Emanuel
                                             for Piper Alderman for use in professional firms preference analysis




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Hoffer, Emily           7/23/2023     0.3   Summarize newly provided engagement letters by Quinn Emanuel
                                            for Sullivan & Cromwell for use in professional firms preference
                                            analysis
Konig, Louis            7/23/2023     1.3   Documentation of findings related to preference calculation and
                                            reporting for specific set of customer accounts
Lee, Julian             7/23/2023     0.3   Review of AP balance, prepaid asset balance at petition date re:
                                            Game Stop
Lee, Julian             7/23/2023     0.3   Correspond with team regarding vendor payments analysis re:
                                            Fortune Media
Lee, Julian             7/23/2023     0.2   Correspond with team regarding prepaid asset balance re: Fortune
                                            Media
Lee, Julian             7/23/2023     0.3   Correspond with team regarding payments to potential vendor GMO
                                            System Trade re: preference analysis
Lee, Julian             7/23/2023     0.1   Correspond with debtor regarding Wells Fargo requests for post-
                                            petition bank data of debtor accounts
Medway, David           7/23/2023     0.8   Prepare workplan for improvements to professionals cash payments
                                            analysis
Medway, David           7/23/2023     0.6   Reconcile professionals cash payments analysis against
                                            QuickBooks and cash database transaction data
Medway, David           7/23/2023     0.4   Communications with QE regarding professionals analyses and
                                            report preparation
Peoples, Scott          7/23/2023     1.3   Draft summary memo on findings of valuation firm work product

Peoples, Scott          7/23/2023     1.7   Review valuation firm's engagement letters and summarize


Peoples, Scott          7/23/2023     1.4   Review valuation of common equity of FTX

Peoples, Scott          7/23/2023     1.8   Review valuation of common equity of West Realm Shire

Price, Breanna          7/23/2023     0.1   Begin searching Relativity for documents related to the relationship
                                            and payments between FTX and Naomi Osaka for the purposes of
                                            the third interim report
Price, Breanna          7/23/2023     1.4   Continue searching Relativity for documents related to the
                                            relationship and payments between FTX and NP Digital for the
                                            purposes of the third interim report
Price, Breanna          7/23/2023     0.9   Continue searching Relativity for documents related to the
                                            relationship and payments between FTX and Chicago Title
                                            Insurance for the purposes of the third interim report
Ryan, Laureen           7/23/2023     0.1   Correspond with QE and A&M team regarding inquiries related to
                                            Rivers memo
Ryan, Laureen           7/23/2023     0.1   Correspond with A&M team regarding tear sheet updates and open
                                            items on Media group providing fortune cookies
Ryan, Laureen           7/23/2023     0.2   Correspond with QE and A&M team regarding inquires related to a
                                            PWC related firm for professionals report
Ryan, Laureen           7/23/2023     0.4   Review and edit preference analysis related to Media group
                                            providing fortune cookies


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Avoidance Actions
Professional             Date     Hours     Activity
Strong, Nichole       7/23/2023     0.1   Internal communications related to PwC Legal services member firm

Arnett, Chris         7/24/2023     0.4   Assist avoidance team with interpretation and explanation of
                                          contract rejection analyses
Arnett, Chris         7/24/2023     0.5   Compose update on progress of non-customer preference analysis
                                          for A. Dietderich (S&C) and J. Ray (Company)
Blanchard, Madison    7/24/2023     0.3   Prepare customer exchange preference analysis for accounts
                                          identified by counsel
Blanchard, Madison    7/24/2023     1.9   Prepare analysis relating to Ripple Labs lending claim and
                                          preference exposure of customer exchange activity
Blanchard, Madison    7/24/2023     2.8   Prepare presentation of findings re: analysis relating to Ripple Labs
                                          lending claim
Blanchard, Madison    7/24/2023     1.4   Review and analyze opinion relating to XRP and Ripple Labs


Blanchard, Madison    7/24/2023     1.3   Continue to prepare presentation of findings re: analysis relating to
                                          Ripple Labs lending claim
Canale, Alex          7/24/2023     1.4   Analysis of vendor transactions for potential avoidance action
                                          exposure
Canale, Alex          7/24/2023     0.9   Analysis of exchange accounts associated with FTX and Alameda
                                          employees
Canale, Alex          7/24/2023     0.4   Correspond with S&C and A&M teams regarding exchange
                                          customer preference analysis
Canale, Alex          7/24/2023     1.2   Continue to review documents related to vendor preference claims


Canale, Alex          7/24/2023     0.3   Review details regarding reconciliation of 90 day payments to SOFA
                                          schedules
Canale, Alex          7/24/2023     0.7   Review documents relating to valuation work performed by
                                          professionals
Canale, Alex          7/24/2023     1.7   Review Gamestop tear sheet and documents related thereto

Canale, Alex          7/24/2023     0.3   Call with M. Flynn, A. Canale, G. Walia (A&M) to discuss employee
                                          preference analysis
Canale, Alex          7/24/2023     0.2   Call with D. Medway and A. Canale (A&M) regarding review of
                                          payments to professionals from accounts of FTX Digital Markets Ltd
Canale, Alex          7/24/2023     1.4   Call with A. Canale, W. Ruez, T. Gosau, J. Lee (A&M) regarding
                                          preference payments made to vendors
Canale, Alex          7/24/2023     0.5   Call with A. Canale, S. Peoples, and D. Medway (A&M) regarding
                                          review of valuation firm's work
Canale, Alex          7/24/2023     0.5   Call with A. Canale, J. Lee , T. Gosau, W. Ruez (A&M) to discuss
                                          vendor payments preference analysis strategy
Canale, Alex          7/24/2023     0.3   Call with L. Ryan, A. Canale (A&M) regarding vendor preference
                                          analysis
Canale, Alex          7/24/2023     0.3   Analysis regarding response to NEAR settlement offer




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Professional                Date     Hours     Activity
Canale, Alex             7/24/2023     1.3   Analysis of exchange customer preference data related to inter
                                             exchange withdrawals
Canale, Alex             7/24/2023     0.3   Call with A. Canale, J. Lee (A&M) to discuss updates to Fortune
                                             Media tear sheet
Chambers, Henry          7/24/2023     0.4   Respond to queries regarding FTX Japan related avoidance actions

Chan, Jon                7/24/2023     0.3   Call with A. Helal, and J. Chan (A&M) to discuss payments made to
                                             Mario Garcia De Parades as part of professional services analysis
Coverick, Steve          7/24/2023     0.2   Call with A. Searles, J. LaBella (Alix), E. Mosley, S. Coverick (A&M)
                                             to discuss avoidance actions split between firms
Coverick, Steve          7/24/2023     0.3   Discuss avoidance action status updates with E. Mosley (A&M)

Coverick, Steve          7/24/2023     0.4   Review and provide comments on avoidance action split list for CEO


Cox, Allison             7/24/2023     0.5   Call with A. Cox, B. Price, A. Dobbs, M. Ebrey (A&M) regarding
                                             summarization process of payments made to vendors
Cox, Allison             7/24/2023     0.2   Call with E. Hoffer, A. Cox, N. Strong, and D. Medway (A&M)
                                             regarding professional firms investigations status and strategy
Cox, Allison             7/24/2023     1.8   Extract historical data in relation to vendor preference analysis for
                                             Majority Forward and Chase Zimmerman
Cox, Allison             7/24/2023     1.4   Call with E. Hoffer and A. Cox (A&M) regarding preference payments
                                             made to vendors
Cox, Allison             7/24/2023     2.8   Update vendor summary for contracts identified for Dentsu and
                                             McGarry
Cox, Allison             7/24/2023     2.4   Review documents in relation to Dentsu and McGarry Bowen vendor
                                             relationship
Cox, Allison             7/24/2023     0.1   Call with A. Cox and B. Price (A&M) to discuss accounts payable
                                             data for NP Digital
Dobbs, Aaron             7/24/2023     1.6   Continue the summarization of Redwood Valuation Partners
                                             professional analysis as directed by QE
Dobbs, Aaron             7/24/2023     0.6   Quality control review for completeness of professional firms
                                             summaries for Hassans International Law
Dobbs, Aaron             7/24/2023     0.8   Quality control review for completeness of professional firms
                                             summaries for Abrams and Abrams LLP
Dobbs, Aaron             7/24/2023     1.1   Quality control review for completeness of professional firms
                                             summaries for Adachi Henderson Miyatake Fujita
Dobbs, Aaron             7/24/2023     0.9   Quality control review for completeness of professional firms
                                             summaries for Disini & Disini Law
Dobbs, Aaron             7/24/2023     0.7   Quality control review for completeness of professional firms
                                             summaries for Wiley Rein LLP
Dobbs, Aaron             7/24/2023     1.4   Summarize transactions relating to BitGo lending analysis


Dobbs, Aaron             7/24/2023     2.2   Targeted Searches for Invoices related to Redwood Valuation
                                             Partners professional analysis as directed by QE




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Avoidance Actions
Professional              Date     Hours     Activity
Dobbs, Aaron           7/24/2023     0.2   Call with S. Mimms and A. Dobbs (A&M) regarding BitGo lender
                                           preference analysis process
Dobbs, Aaron           7/24/2023     2.7   Summarization of Redwood Valuation Partners professional analysis
                                           as directed by QE
Dobbs, Aaron           7/24/2023     0.2   Call with N. Strong and A. Dobbs (A&M) regarding quality control of
                                           professional firms analysis
Dobbs, Aaron           7/24/2023     0.3   Call with D. Medway and A. Dobbs (A&M) regarding professional
                                           firms analysis related to Redwood Valuation Partners
Dobbs, Aaron           7/24/2023     0.5   Call with A. Cox, B. Price, A. Dobbs, M. Ebrey (A&M) regarding
                                           summarization process of payments made to vendors
Ebrey, Mason           7/24/2023     0.5   Call with E. Hoffer, M. Ebrey (A&M) regarding investigation of debtor
                                           payments to Wasserman Media Group
Ebrey, Mason           7/24/2023     3.1   Updates to vendor preference payment schedules


Ebrey, Mason           7/24/2023     0.5   Call with A. Cox, B. Price, A. Dobbs, M. Ebrey (A&M) regarding
                                           summarization process of payments made to vendors
Ebrey, Mason           7/24/2023     0.2   Search Relativity database for information surrounding debtor
                                           payments to ABG-Shaq
Ebrey, Mason           7/24/2023     1.4   Call with A. Helal, B. Price, M. Ebrey (A&M) regarding preference
                                           payments made to vendors
Ebrey, Mason           7/24/2023     2.2   Search Relativity database for information surrounding debtor
                                           payments to Wasserman Media Group
Esposito, Rob          7/24/2023     0.9   Conference with B Harsh, A Holland (S&C), R Esposito, L Konig,
                                           and M Sunkara (A&M) re: customer account activity for preference
                                           actions
Flynn, Matthew         7/24/2023     0.5   Call with M. Flynn, N. Simoneaux (A&M) to discuss additional
                                           updates to employee listings
Flynn, Matthew         7/24/2023     0.3   Call with M. Flynn, A. Canale, G. Walia (A&M) to discuss employee
                                           preference analysis
Flynn, Matthew         7/24/2023     0.2   Call with M. Flynn and N. Simoneaux re: employee listings pertaining
                                           to crypto request
Gosau, Tracy           7/24/2023     0.5   Call with A. Canale, J. Lee , T. Gosau, W. Ruez (A&M) to discuss
                                           vendor payments preference analysis strategy
Gosau, Tracy           7/24/2023     1.4   Call with A. Canale, W. Ruez, T. Gosau, J. Lee (A&M) regarding
                                           preference payments made to vendors
Gosau, Tracy           7/24/2023     2.6   Review supporting vendor agreements re: TL International for
                                           vendor payments preference analysis
Gosau, Tracy           7/24/2023     0.2   Call with T. Gosau and E. Hoffer (A&M) to discuss payments made
                                           to TL International for vendor preference analysis tear sheet
Gosau, Tracy           7/24/2023     0.4   Update tear sheet summary for TL International payments re: vendor
                                           payments preference analysis
Helal, Aly             7/24/2023     1.4   Create Tear Sheet for Hoko Agency Middle East to show
                                           relationship between debtors and the agency
Helal, Aly             7/24/2023     0.4   Call with A. Helal, and E. Hoffer (A&M) to discuss updates to cash
                                           transactions counterparties status and to do list


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Avoidance Actions
Professional               Date     Hours     Activity
Helal, Aly              7/24/2023     2.6   Create a report with payments made and accounting records related
                                            to Hoko Agency Middle East during Preference Period to understand
                                            the relationship between debtors and Hoko Agency Middle East
Helal, Aly              7/24/2023     0.3   Call with A. Helal, and J. Chan (A&M) to discuss payments made to
                                            Mario Garcia De Parades as part of professional services analysis
Helal, Aly              7/24/2023     2.3   Search for documents and communications related to fulfillment of
                                            Fortune Media's obligations of the vendor agreement entered with
                                            debtors
Helal, Aly              7/24/2023     1.4   Call with A. Helal, B. Price, M. Ebrey (A&M) regarding preference
                                            payments made to vendors
Helal, Aly              7/24/2023     0.5   Call with J. Lee, E. Hoffer, A. Helal (A&M) regarding summarization
                                            process of payments made to vendors
Helal, Aly              7/24/2023     2.6   Collect all agreements, invoices, and communication documents
                                            between Debtors and Hoko Agency Middle East
Hoffer, Emily           7/24/2023     0.2   Call with T. Gosau and E. Hoffer (A&M) to discuss payments made
                                            to TL International for vendor preference analysis tear sheet
Hoffer, Emily           7/24/2023     0.4   Call with A. Helal, and E. Hoffer (A&M) to discuss updates to cash
                                            transactions counterparties status and to do list
Hoffer, Emily           7/24/2023     1.4   Call with E. Hoffer and A. Cox (A&M) regarding preference payments
                                            made to vendors
Hoffer, Emily           7/24/2023     0.4   Call with E. Hoffer and B. Price (A&M) to discuss Robert Lee
                                            Associates transactions
Hoffer, Emily           7/24/2023     0.3   Call with E. Hoffer and D. Medway (A&M) regarding results of review
                                            of professionals materials provided by the Company
Hoffer, Emily           7/24/2023     0.2   Call with E. Hoffer, A. Cox, N. Strong, and D. Medway (A&M)
                                            regarding professional firms investigations status and strategy
Hoffer, Emily           7/24/2023     0.5   Call with J. Lee, E. Hoffer, A. Helal (A&M) regarding summarization
                                            process of payments made to vendors
Hoffer, Emily           7/24/2023     1.9   Compile cash transactions for payments related to Tomorrowland
                                            sponsorship contract to be used in vendor preference analysis
Hoffer, Emily           7/24/2023     2.3   Compile documentation surrounding payments to firms involved in
                                            Tomorrowland sponsor contract for use in vendor preference analysis
Hoffer, Emily           7/24/2023     2.1   Review documents pertaining to made to Humanity 2.0 Foundation
                                            for use in vendor preference analysis tear sheets
Hoffer, Emily           7/24/2023     2.1   Review Relativity for documents relating to the relationship of
                                            Fortune Media with Blockfolio to determine any outstanding
                                            contracts for vendor preference analysis
Hoffer, Emily           7/24/2023     0.5   Call with E. Hoffer, M. Ebrey (A&M) regarding investigation of debtor
                                            payments to Wasserman Media Group
Konig, Louis            7/24/2023     0.9   Conference with B Harsh, A Holland (S&C), R Esposito, L Konig,
                                            and M Sunkara (A&M) re: customer account activity for preference
                                            actions
Kotarba, Steve          7/24/2023     1.2   Review details and update internal memo re preference causes of
                                            action
Lee, Julian             7/24/2023     0.8   Review preference period vendor payments re: Golden State
                                            Warriors to prepare tear sheet summary


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Avoidance Actions
Professional                Date    Hours     Activity
Lee, Julian             7/24/2023     1.3   Vendor payments communications for distribution re: Fortune Media

Lee, Julian             7/24/2023     0.3   Correspond with team regarding vendor payments analysis status
                                            update
Lee, Julian             7/24/2023     0.6   Prepare template for vendor payment frequency re: all time,
                                            preference period analysis
Lee, Julian             7/24/2023     0.4   Correspond with team regarding prepaid asset balance re:
                                            GameStop
Lee, Julian             7/24/2023     0.3   Correspond with team regarding communications re: GameStop
                                            marketing program status updates
Lee, Julian             7/24/2023     0.5   Call with J. Lee, E. Hoffer, A. Helal (A&M) regarding summarization
                                            process of payments made to vendors
Lee, Julian             7/24/2023     0.5   Prepare vendor payments analysis with prepaid assets, accounts
                                            payable balance, claim information
Lee, Julian             7/24/2023     0.4   Update prepaid asset, accounts payable balances at petition date for
                                            select vendors re: preference analysis
Lee, Julian             7/24/2023     1.9   Review preference period vendor payments re: GameStop to
                                            prepare tear sheet summary
Lee, Julian             7/24/2023     0.3   Call with A. Canale, J. Lee (A&M) to discuss updates to Fortune
                                            Media tear sheet
Lee, Julian             7/24/2023     0.2   Call with J. Lee, B. Price (A&M) regarding accounts payable
                                            differences when comparing QuickBooks data to Schedule F
                                            amounts for NP Digital
Lee, Julian             7/24/2023     0.1   Call with D. Medway and J. Lee (A&M) regarding status of open
                                            professionals workstream analyses
Lee, Julian             7/24/2023     1.4   Call with A. Canale, W. Ruez, T. Gosau, J. Lee (A&M) regarding
                                            preference payments made to vendors
Lee, Julian             7/24/2023     0.2   Correspond with team regarding vendor preference analysis scoping

Lee, Julian             7/24/2023     0.5   Call with A. Canale, J. Lee, T. Gosau, W. Ruez (A&M) to discuss
                                            vendor payments preference analysis strategy
McGrath, Patrick        7/24/2023     2.1   Review lenders activity for potential recovery

McGrath, Patrick        7/24/2023     2.4   Summarize the sources and uses of Debtor transactions with
                                            insiders at the request of counsel
McGrath, Patrick        7/24/2023     2.6   Identify sources and uses of funds sent to insiders at the request of
                                            counsel for potential recovery
Medway, David           7/24/2023     0.2   Call with E. Hoffer, A. Cox, N. Strong, and D. Medway (A&M)
                                            regarding professional firms investigations status and strategy
Medway, David           7/24/2023     0.4   Call with D. Medway and N. Strong (A&M) regarding review of
                                            payments to professionals from accounts of FTX Digital Markets Ltd
Medway, David           7/24/2023     2.0   Perform quality control review of completeness of transactions
                                            considered in professionals cash payments analysis
Medway, David           7/24/2023     0.5   Call with A. Canale, S. Peoples, and D. Medway (A&M) regarding
                                            review of valuation firm's work


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Professional              Date     Hours     Activity
Medway, David          7/24/2023     0.2   Call with D. Medway and A. Canale (A&M) regarding review of
                                           payments to professionals from accounts of FTX Digital Markets Ltd
Medway, David          7/24/2023     1.6   Review results of Armanino supplemental production review and
                                           consider need to update memo summarizing results of investigation
Medway, David          7/24/2023     0.3   Call with D. Medway and A. Dobbs (A&M) regarding professional
                                           firms analysis related to Redwood Valuation Partners
Medway, David          7/24/2023     0.2   Call with D. Medway and I. Patel (A&M) regarding review of
                                           payments associated with FTX Digital Markets Ltd and select
                                           professional firms identified by QE.
Medway, David          7/24/2023     0.9   Investigate professional payments recorded as expenses of FTX
                                           Lend and consider needs to include in professionals cash payments
                                           analysis
Medway, David          7/24/2023     0.3   Internal communications regarding review of payments to
                                           professionals from accounts of FTX Digital Markets Ltd
Medway, David          7/24/2023     0.3   Communications with QE regarding review of payments to
                                           professionals from accounts of FTX Digital Markets Ltd
Medway, David          7/24/2023     0.3   Call with N. Strong, and D. Medway (A&M) regarding professional
                                           firms investigations status and strategy
Medway, David          7/24/2023     0.3   Call with E. Hoffer and D. Medway (A&M) regarding results of review
                                           of professionals materials provided by the Company
Medway, David          7/24/2023     2.3   Scope FTX Digital Markets Ltd professionals payments history and
                                           prepare workplan for staff review and investigation
Medway, David          7/24/2023     1.2   Review and summarize valuation methodologies applied in Redwood
                                           valuations
Medway, David          7/24/2023     0.1   Call with D. Medway and J. Lee (A&M) regarding status of open
                                           professionals workstream analyses
Medway, David          7/24/2023     1.3   Review firm type designation for below threshold professional
                                           service firms and remove that incorrectly identified as legal or
                                           financial
Mimms, Samuel          7/24/2023     0.2   Call with S. Mimms and A. Dobbs (A&M) regarding BitGo lender
                                           preference analysis process
Mimms, Samuel          7/24/2023     2.4   Continue to draft presentation of findings on Van Eck lender analysis
                                           for Counsel at S&C
Mimms, Samuel          7/24/2023     3.2   Draft presentation of findings on Van Eck lender analysis for
                                           Counsel at S&C
Mimms, Samuel          7/24/2023     2.9   Summarize Van Eck lending activity with Alameda in support of Van
                                           Eck lender analysis
Mosley, Ed             7/24/2023     0.2   Call with A. Searles, J. LaBella (Alix), E. Mosley, S. Coverick (A&M)
                                           to discuss avoidance actions split between firms
Mosley, Ed             7/24/2023     0.3   Discuss avoidance action status updates with S.Coverick (A&M)

Patel, Ishika          7/24/2023     0.2   Call with D. Medway and I. Patel (A&M) regarding review of
                                           payments associated with FTX Digital Markets Ltd and select
                                           professional firms identified by QE
Patel, Ishika          7/24/2023     0.6   Run targeted searches on Metabase for any missed payments in the
                                           initial review of select professional firms identified by QE


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Professional             Date     Hours     Activity
Patel, Ishika         7/24/2023     2.9   Continue review of non debtor payments to professional firms
                                          related to FDM
Patel, Ishika         7/24/2023     0.3   Call with N. Strong and I. Patel (A&M) regarding review of non
                                          debtor payments to select professional firms identified by QE
Patel, Ishika         7/24/2023     0.3   Call with N. Strong and I. Patel (A&M) regarding running targeted
                                          searches on Metabase for any missed payments in the initial review
                                          of select professional firms identified by QE
Patel, Ishika         7/24/2023     2.8   Review of non debtor payments to professional firms related to FTX
                                          Digital Markets
Peoples, Scott        7/24/2023     1.2   Draft summary findings on professional firm's work product


Peoples, Scott        7/24/2023     0.8   Review FTX valuation of common equity and supporting documents

Peoples, Scott        7/24/2023     0.5   Call with A. Canale, S. Peoples, and D. Medway (A&M) regarding
                                          review of valuation firm's work
Peoples, Scott        7/24/2023     1.4   Review 2022 professional firm's valuation work product


Peoples, Scott        7/24/2023     1.8   Review 2021 professional firm's valuation work product

Peoples, Scott        7/24/2023     1.3   Review 2020 professional firm's valuation work product


Peoples, Scott        7/24/2023     1.9   Prepare tables and exhibits for analysis of professional firm
                                          valuations
Price, Breanna        7/24/2023     1.4   Call with A. Helal, B. Price, M. Ebrey (A&M) regarding preference
                                          payments made to vendors
Price, Breanna        7/24/2023     0.3   Search for emails in Relativity related to NP Digital to determine the
                                          main point of contact
Price, Breanna        7/24/2023     1.3   Continue searching Relativity for documents related to the
                                          relationship and payments between FTX and Naomi Osaka for the
                                          purposes of the third interim report
Price, Breanna        7/24/2023     0.2   Call with J. Lee and B. Price (A&M) regarding accounts payable
                                          differences when comparing QuickBooks data to Schedule F
                                          amounts for NP Digital
Price, Breanna        7/24/2023     0.8   Complete the adding of additional payment details from Relativity
                                          regarding Chicago Title Insurance for the purposes of making a tear
                                          sheet
Price, Breanna        7/24/2023     1.4   Complete the adding of additional payments and invoices for Robert
                                          Lee Associates to the cash payment summary
Price, Breanna        7/24/2023     0.4   Call with E. Hoffer and B. Price (A&M) to discuss Robert Lee
                                          Associates transactions
Price, Breanna        7/24/2023     0.9   Review and apply accounts payable and claims data related to
                                          Chicago Title Insurance to the payment summary for the purpose of
                                          making a tear sheet
Price, Breanna        7/24/2023     0.5   Call with A. Cox, B. Price, A. Dobbs, M. Ebrey (A&M) regarding
                                          summarization process of payments made to vendors




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Professional             Date    Hours     Activity
Price, Breanna       7/24/2023     1.1   Review and apply accounts payable and claims data related to NP
                                         Digital to the payment summary for the purpose of making a tear
                                         sheet
Price, Breanna       7/24/2023     1.7   Begin the review of pre-preference payment data, claims, and
                                         accounts payable information related to Swift Media for the purposes
                                         of the third interim report
Price, Breanna       7/24/2023     0.1   Call with A. Cox and B. Price (A&M) to discuss accounts payable
                                         data for NP Digital
Price, Breanna       7/24/2023     1.4   Add payment data that occurred pre-preference period for NP Digital
                                         to the payment summary for the purposes of the third interim report
Price, Breanna       7/24/2023     0.4   Add payment data that occurred pre-preference period for Chicago
                                         Title Insurance to the payment summary for the purposes of the third
                                         interim report
Price, Breanna       7/24/2023     0.4   Review and apply accounts payable and claims data related to
                                         Naomi Osaka to the payment summary for the purpose of making a
                                         tear sheet
Ruez, William        7/24/2023     3.1   Review prepaid asset supporting documents re: Neil Patel Digital for
                                         vendor payments preference analysis
Ruez, William        7/24/2023     1.4   Call with A. Canale, W. Ruez, T. Gosau, J. Lee (A&M) regarding
                                         preference payments made to vendors
Ruez, William        7/24/2023     2.1   Review prepaid asset supporting documents re: ABG Shaq for
                                         vendor payments preference analysis
Ruez, William        7/24/2023     0.5   Call with A. Canale, J. Lee , T. Gosau, W. Ruez (A&M) to discuss
                                         vendor payments preference analysis strategy
Ryan, Laureen        7/24/2023     0.8   Correspond with A&M team regarding preference action analysis for
                                         vendors
Ryan, Laureen        7/24/2023     0.3   Correspond with QE and A&M team regarding professionals report
                                         findings and additional documents
Ryan, Laureen        7/24/2023     0.2   Correspond with QE and A&M team regarding Additional venture
                                         deals for review
Ryan, Laureen        7/24/2023     0.3   Call with L. Ryan, A. Canale (A&M) regarding vendor preference
                                         analysis
Ryan, Laureen        7/24/2023     0.3   Correspond with A&M team regarding S&C inquiries related to
                                         employee related claims
Ryan, Laureen        7/24/2023     0.9   Correspond with A&M team regarding cash preference vendor
                                         analysis workplan
Ryan, Laureen        7/24/2023     0.8   Correspond with A&M team regarding approach to customer
                                         exchange preference analysis between exchanges
Ryan, Laureen        7/24/2023     0.4   Correspond with A&M team regarding rejected contracts
                                         documentation for vendor analysis
Ryan, Laureen        7/24/2023     0.4   Correspond with S&C and A&M team regarding LayerZero
                                         investigation
Ryan, Laureen        7/24/2023     0.2   Correspond with A&M team regarding reconciliation of cash
                                         payments to SOFA schedules
Ryan, Laureen        7/24/2023     0.4   Correspond with S&C and A&M team regarding additional analysis
                                         related to FTX employee activities


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Avoidance Actions
Professional             Date     Hours     Activity
Shanahan, Michael     7/24/2023     0.4   Communications to/from team regarding avoidance action analyses

Shanahan, Michael     7/24/2023     0.3   Review and revise memo summarizing ASK capabilities related to
                                          preference analyses
Shanahan, Michael     7/24/2023     1.1   Review draft tear sheets for select vendors paid within 90 days of
                                          filing
Simoneaux, Nicole     7/24/2023     0.5   Call with M. Flynn, N. Simoneaux (A&M) to discuss additional
                                          updates to employee listings
Simoneaux, Nicole     7/24/2023     0.2   Call with M. Flynn and N. Simoneaux re: employee listings pertaining
                                          to crypto request
Strong, Nichole       7/24/2023     0.3   Call with N. Strong and I. Patel (A&M) regarding review of non
                                          debtor payments to select professional firms identified by QE
Strong, Nichole       7/24/2023     0.2   Call with N. Strong and A. Dobbs (A&M) regarding quality control of
                                          professional firms analysis
Strong, Nichole       7/24/2023     0.3   Call with N. Strong, and D. Medway (A&M) regarding professional
                                          firms investigations status and strategy
Strong, Nichole       7/24/2023     2.4   Continue to review and summarize payment data for professional
                                          services firms engaged by or paid by FTX Digital Markets
Strong, Nichole       7/24/2023     2.9   Verify completeness and accuracy of payment data for professional
                                          services firms that received between $100,000 - $500,000 from FTX
                                          Digital Markets using bank statements
Strong, Nichole       7/24/2023     0.3   Call with N. Strong and I. Patel (A&M) regarding running targeted
                                          searches on Metabase for any missed payments in the initial review
                                          of select professional firms identified by QE
Strong, Nichole       7/24/2023     1.8   Review and summarize payment data for professional services firms
                                          engaged by or paid by FTX Digital Markets
Strong, Nichole       7/24/2023     2.9   Review and summarize invoices and other supporting
                                          documentation related to cash payments to Fenwick
Strong, Nichole       7/24/2023     0.2   Call with E. Hoffer, A. Cox, N. Strong, and D. Medway (A&M)
                                          regarding professional firms investigations status and strategy
Strong, Nichole       7/24/2023     0.4   Call with D. Medway and N. Strong (A&M) regarding review of
                                          payments to professionals from accounts of FTX Digital Markets Ltd
Taraba, Erik          7/24/2023     0.4   Update schedule of avoidance actions with additional case data from
                                          relevant court dockets
Taraba, Erik          7/24/2023     0.4   Research additional avoidance action cases brought by FTX


Walia, Gaurav         7/24/2023     0.3   Call with M. Flynn, A. Canale, G. Walia (A&M) to discuss employee
                                          preference analysis
Arnett, Chris         7/25/2023     0.1   Call with L. Ryan, C. Arnett, A. Canale (A&M) regarding exchange
                                          customer preference analysis
Arnett, Chris         7/25/2023     0.8   Review prior preference analyses and status on remaining items


Arnett, Chris         7/25/2023     0.7   Review and provide comment on draft vendor presentation format
                                          and analysis
Arnett, Chris         7/25/2023     0.4   Direct subsequent analysis on certain avoidance action requests
                                          from A. Dietderich (S&C)

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Avoidance Actions
Professional             Date     Hours     Activity
Arnett, Chris         7/25/2023     0.2   Discussion of status of tear sheet template and associated
                                          modifications with S. Coverick and C. Arnett (A&M)
Blanchard, Madison    7/25/2023     0.3   Call with M. Flynn, A. Canale, G. Walia, S. Mimms, M. Blanchard
                                          (A&M) to discuss customer preference requests
Blanchard, Madison    7/25/2023     2.3   Prepare customer exchange preference analysis for accounts
                                          identified by counsel using current pricing
Blanchard, Madison    7/25/2023     2.6   Continue review of documentation, correspondence, and
                                          communication relating to Bittrex lending analysis
Blanchard, Madison    7/25/2023     0.4   Call with S. Mimms, M. Blanchard (A&M) to discuss customer
                                          preference requests
Blanchard, Madison    7/25/2023     1.7   Review lending agreements and term sheets relating to Bittrex
                                          lending analysis
Blanchard, Madison    7/25/2023     1.9   Review documentation, correspondence, and communication
                                          relating to Bittrex lending analysis
Blanchard, Madison    7/25/2023     0.6   Quality control review of customer exchange preference analysis for
                                          accounts identified by counsel
Blanchard, Madison    7/25/2023     1.6   Prepare presentation of findings re: analysis relating to Ripple Labs
                                          lending claim and market maker loans
Callerio, Lorenzo     7/25/2023     0.2   Call with L. Lambert, L. Iwanski, L. Callerio, I. Radwanski, P.
                                          McGrath, M. Blanchard, S. Mimms (A&M) regarding SOL tracing in
                                          support of VanEck lender preference analysis
Canale, Alex          7/25/2023     0.6   Review documents regarding Bittrex lending claim

Canale, Alex          7/25/2023     0.2   Call with A. Canale, D. Medway and M. Shanahan (A&M) regarding
                                          memo summarizing results of Redwood Valuation Partners
                                          investigation
Canale, Alex          7/25/2023     0.7   Review and edit Golden State Warriors preference analysis and
                                          related documents
Canale, Alex          7/25/2023     0.1   Call with A. Canale and D. Medway (A&M) regarding memo
                                          summarizing results of Redwood Valuation Partners investigation
Canale, Alex          7/25/2023     0.8   Review and edit Humanity 2.0 preference analysis and related
                                          documents
Canale, Alex          7/25/2023     1.1   Review and edit Neil Patel Digital preference analysis and related
                                          documents
Canale, Alex          7/25/2023     0.6   Review LayerZero exchange customer preference analysis


Canale, Alex          7/25/2023     0.1   Call with A. Canale, P. McGrath, (A&M) regarding Mirana investment

Canale, Alex          7/25/2023     0.1   Call with L. Ryan, C. Arnett, A. Canale (A&M) regarding exchange
                                          customer preference analysis
Canale, Alex          7/25/2023     0.2   Call with A. Canale, P. McGrath, and S. Mimms (A&M) regarding
                                          lending analyses
Canale, Alex          7/25/2023     1.8   Review and edit Tomorrowland preference analysis and related
                                          documents
Canale, Alex          7/25/2023     0.7   Call with L. Ryan, A. Canale (A&M) to discuss strategy and workplan
                                          related to avoidance actions

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Avoidance Actions
Professional                 Date    Hours     Activity
Canale, Alex             7/25/2023     0.9   Review and edit ABG Shaq 2.0 preference analysis and related
                                             documents
Canale, Alex             7/25/2023     0.7   Correspond with A&M team regarding vendor preference analysis for
                                             coin pricing providers
Canale, Alex             7/25/2023     0.9   Call with L. Ryan, A. Canale, J. Lee (A&M) to discuss vendor
                                             payments scoping for purposes of preference analysis
Canale, Alex             7/25/2023     0.4   Correspond with A&M team regarding employee exchange account
                                             analyses
Canale, Alex             7/25/2023     0.3   Call with M. Flynn, A. Canale, G. Walia, S. Mimms, M. Blanchard
                                             (A&M) to discuss customer preference requests
Canale, Alex             7/25/2023     0.9   Review memorandum regarding Redwood valuation reports and
                                             documents related thereto
Chambers, Henry          7/25/2023     0.3   Respond to queries regarding FTX Japan related avoidance actions


Coverick, Steve          7/25/2023     0.2   Discussion of status of tear sheet template and associated
                                             modifications with S. Coverick and C. Arnett (A&M)
Cox, Allison             7/25/2023     2.1   Extract historical data in relation to vendor preference analysis for
                                             Google LLC and Dentsu McGarry Bowen
Cox, Allison             7/25/2023     1.7   Analysis of ordinary course defense in relation to Dentsu vendor
                                             analysis
Cox, Allison             7/25/2023     1.4   Analysis of ordinary course defense in relation to Google LLC
                                             vendor analysis
Cox, Allison             7/25/2023     2.6   Document review in relation to vendor preference analysis for
                                             Google LLC and Dentsu McGarry Bowen
Cox, Allison             7/25/2023     1.3   Review exchange data in relation to Chase Zimmerman vendor
                                             preference analysis
Dobbs, Aaron             7/25/2023     0.4   Call with N. Strong, A. Dobbs and I. Patel (A&M) regarding Clement
                                             Maynard professional payments related to FTX Digital Markets
Dobbs, Aaron             7/25/2023     2.6   Targeted searches for Clement T. Maynard cash transaction data
                                             related to FDM
Dobbs, Aaron             7/25/2023     2.7   Targeted searches for Clement T. Maynard cash transaction data for
                                             professional firms analysis as requested by QE
Dobbs, Aaron             7/25/2023     2.8   Summarize Clement T. Maynard cash transaction data related to
                                             FTX Property Holdings
Dobbs, Aaron             7/25/2023     2.2   Quality control of the summarization of professional firms analysis
                                             related to Redwood Valuation Partners
Dobbs, Aaron             7/25/2023     0.3   Call with D. Medway and A. Dobbs (A&M) regarding summarization
                                             of professional firms analysis related to Redwood Valuation Partners
Dobbs, Aaron             7/25/2023     0.3   Call with N. Strong and A. Dobbs (A&M) regarding Clement Maynard
                                             professional payments related to FTX Digital Markets
Dobbs, Aaron             7/25/2023     2.3   Transaction summarization for Clement T. Maynard cash transaction
                                             data related to FDM
Ebrey, Mason             7/25/2023     3.1   Update and review preference period vendor payments schedule




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Professional              Date     Hours     Activity
Ebrey, Mason           7/25/2023     1.6   Search Relativity database for debtor payments made to
                                           Wasserman Media Group
Ebrey, Mason           7/25/2023     1.1   Search Relativity database for debtor payments made to Neil Patel
                                           Digital
Ebrey, Mason           7/25/2023     1.4   Search Relativity database for debtor payments made to Meta
                                           Platforms
Flynn, Matthew         7/25/2023     0.9   Review customer preference analysis presentation

Flynn, Matthew         7/25/2023     0.3   Call with M. Flynn, A. Canale, G. Walia, S. Mimms, M. Blanchard
                                           (A&M) to discuss customer preference requests
Gosau, Tracy           7/25/2023     0.4   Update tear sheet summary for Naomi Osaka payments re: vendor
                                           payments preference analysis
Gosau, Tracy           7/25/2023     2.7   Review supporting vendor agreements re: Naomi Osaka for vendor
                                           payments preference analysis
Gosau, Tracy           7/25/2023     0.2   Call with T. Gosau and B. Price (A&M) discussing the preference
                                           period payment to Naomi Osaka
Gosau, Tracy           7/25/2023     0.2   Call with T. Gosau and E. Hoffer (A&M) to discuss payments made
                                           to additional Tomorrowland vendors for vendor preference analysis
                                           tear sheet
Helal, Aly             7/25/2023     1.4   Continue searching for documentation related to relationship
                                           between Debtors and Hoko Agency Middle East
Helal, Aly             7/25/2023     1.8   Create a report with payments made and accounting records related
                                           to GameStop during Preference Period to understand the
                                           relationship between debtors and GameStop
Helal, Aly             7/25/2023     2.1   Collect all agreements, invoices, and communication documents
                                           between Debtors and Golden State Warriors
Helal, Aly             7/25/2023     0.8   Spot Check AP balances to all vendor reports created as part of
                                           vendors analysis
Helal, Aly             7/25/2023     1.9   Collect all agreements, invoices, and communication documents
                                           between Debtors and GameStop
Hoffer, Emily          7/25/2023     1.8   Review documents related to payments made to Chicago Title
                                           during the preference period for use in vendor preference analysis
Hoffer, Emily          7/25/2023     1.1   Review documents relating to escrow payment to Chicago Title for
                                           Rose Garden Inn
Hoffer, Emily          7/25/2023     1.3   Review documents pertaining to escrow payment to Chicago Title for
                                           Center for Applied Rationality
Hoffer, Emily          7/25/2023     1.9   Extract cash detail for specific transactions related to payment made
                                           to professionals from Japanese entities to be used in the
                                           professional firm payment analysis
Hoffer, Emily          7/25/2023     0.7   Compile answers to questions related to the Tomorrowland contract

Hoffer, Emily          7/25/2023     1.1   Extract cash detail for specific transactions related to payment made
                                           to professionals from FTX Digital Markets entities to be used in the
                                           professional firm payment analysis
Hoffer, Emily          7/25/2023     0.5   Call with E. Hoffer and B. Price (A&M) regarding the purpose of
                                           escrows sent to Chicago Title Insurance Company durance the
                                           preference period

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Professional               Date     Hours     Activity
Hoffer, Emily           7/25/2023     0.1   Call with E. Hoffer and D. Medway (A&M) regarding cash data for
                                            international bank accounts
Hoffer, Emily           7/25/2023     0.2   Call with T. Gosau and E. Hoffer (A&M) to discuss payments made
                                            to additional Tomorrowland vendors for vendor preference analysis
                                            tear sheet
Konig, Louis            7/25/2023     2.0   Quality control and review of output related to automation of
                                            preference analysis output creation
Konig, Louis            7/25/2023     1.4   Documentation of findings related to automation of preference
                                            analysis output creation
Konig, Louis            7/25/2023     1.1   Database scripting related to automation of preference analysis
                                            output creation
Lee, Julian             7/25/2023     0.3   Call with W. Ruez, J. Lee (A&M) to discuss vendor payments
                                            analysis re: Meta Platforms
Lee, Julian             7/25/2023     0.3   Correspond with S&C regarding information request letter to Plaid

Lee, Julian             7/25/2023     0.2   Correspond with team regarding additional professional service firms
                                            identified from SOFA 3
Lee, Julian             7/25/2023     0.1   Correspond with team regarding Circle counterparty information
                                            request
Lee, Julian             7/25/2023     0.1   Correspond with database team regarding wallets associated with
                                            Golden State Warriors LLC for vendor payments preference analysis
Lee, Julian             7/25/2023     0.4   Correspond with team regarding Deltec account closure, GBTC
                                            equity holdings
Lee, Julian             7/25/2023     0.3   Correspond with team regarding FTX Digital Markets accounts at
                                            Fidelity, Equity banks for cash database purposes
Lee, Julian             7/25/2023     0.3   Correspond with team regarding potential exchange activity for Neil
                                            Patel Digital LLC re: vendor payments analysis
Lee, Julian             7/25/2023     0.1   Correspond with team regarding potential exchange activity for Swift
                                            Media re: vendor payments analysis
Lee, Julian             7/25/2023     0.1   Correspond with team regarding select FTX Digital Markets
                                            accounts at Fidelity, Equity bank
Lee, Julian             7/25/2023     0.4   Identify address, email contact information for Plaid for purposes of
                                            information request letter
Lee, Julian             7/25/2023     1.4   Review preference period vendor payments re: Chase Zimmerman
                                            to prepare tear sheet summary
Lee, Julian             7/25/2023     1.7   Review preference period vendor payments re: Humanity 2.0
                                            Foundation to prepare tear sheet summary
Lee, Julian             7/25/2023     0.9   Call with L. Ryan, A. Canale, J. Lee (A&M) to discuss vendor
                                            payments scoping for purposes of preference analysis
Lee, Julian             7/25/2023     0.1   Correspond with database team regarding wallets associated with
                                            Neil Patel Digital LLC
Lee, Julian             7/25/2023     2.3   Review preference period vendor payments re: Golden State
                                            Warriors to prepare tear sheet summary
McGrath, Patrick        7/25/2023     1.3   Perform quality control of lenders activity analysis for potential
                                            recovery


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Avoidance Actions
Professional            Date     Hours     Activity
McGrath, Patrick     7/25/2023     0.2   Call with A. Canale, P. McGrath, and S. Mimms (A&M) regarding
                                         lending analyses
McGrath, Patrick     7/25/2023     0.1   Call with A. Canale, P. McGrath, (A&M) regarding Mirana investment


McGrath, Patrick     7/25/2023     2.1   Analyze transactions Debtors sent to insiders to identify potential
                                         claims at the request of counsel
McGrath, Patrick     7/25/2023     1.8   Analyze and identify cash and cryptocurrency sent by the Debtors to
                                         insiders for potential recovery
Medway, David        7/25/2023     0.3   Communications with QE regarding memo summarizing results of
                                         investigation of Redwood Valuation Partners
Medway, David        7/25/2023     0.4   Internal communications regarding professional workstream open
                                         items
Medway, David        7/25/2023     0.4   Call with D. Medway and M. Shanahan (A&M) regarding
                                         professionals workstream status and strategy
Medway, David        7/25/2023     0.8   Review and edit updated materials summarizing results of
                                         investigation of cash payments to Robert Lee & Associates
Medway, David        7/25/2023     0.5   Review results of investigation of cash payments from FTX Digital
                                         Markets to Glinton Sweeting O'Brien and incorporate into analysis
                                         for QE
Medway, David        7/25/2023     0.6   Review results of investigation of cash payments from FTX Digital
                                         Markets to Lennox Patton and incorporate into analysis for QE
Medway, David        7/25/2023     0.8   Review results of investigation of cash payments from FTX Digital
                                         Markets to Sean B. Gallender & Co. and incorporate into analysis for
                                         QE
Medway, David        7/25/2023     0.9   Update materials summarizing results of cash payments to
                                         professional firms based on feedback from QE
Medway, David        7/25/2023     2.1   Review and edit memo summarizing results of investigation of
                                         Redwood Valuation Partners
Medway, David        7/25/2023     1.0   Review and edit materials summarizing results of investigation of
                                         cash payments to Redwood Valuation Partners
Medway, David        7/25/2023     0.7   Review and analyze historical cash payments to Grant Thornton and
                                         FCG
Medway, David        7/25/2023     0.6   Review and edit updated materials summarizing results of
                                         investigation of cash payments to Fenwick & West
Medway, David        7/25/2023     0.3   Internal communications regarding memo summarizing results of
                                         investigation of Redwood Valuation Partners
Medway, David        7/25/2023     0.4   Communications with QE regarding professional workstream open
                                         items
Medway, David        7/25/2023     0.1   Call with E. Hoffer and D. Medway (A&M) regarding cash data for
                                         international bank accounts
Medway, David        7/25/2023     0.4   Review results of investigation of cash payments from FTX Digital
                                         Markets to Graham Thompson and incorporate into analysis for QE
Medway, David        7/25/2023     0.3   Call with D. Medway and A. Dobbs (A&M) regarding summarization
                                         of professional firms analysis related to Redwood Valuation Partners




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Avoidance Actions
Professional             Date     Hours     Activity
Medway, David         7/25/2023     0.2   Call with A. Canale, D. Medway and M. Shanahan (A&M) regarding
                                          memo summarizing results of Redwood Valuation Partners
                                          investigation
Medway, David         7/25/2023     0.1   Call with A. Canale and D. Medway (A&M) regarding memo
                                          summarizing results of Redwood Valuation Partners investigation
Medway, David         7/25/2023     1.6   Update materials summarizing results of cash payments to
                                          professional firms based on review and analysis of payments from
                                          FTX Digital Markets
Mimms, Samuel         7/25/2023     0.2   Call with L. Lambert, L. Iwanski, L. Callerio, I. Radwanksi, P.
                                          McGrath, M. Blanchard, S. Mimms (A&M) regarding SOL tracing in
                                          support of VanEck lender preference analysis
Mimms, Samuel         7/25/2023     2.9   Perform quality control of Galaxy exchange customer preference
                                          analysis
Mimms, Samuel         7/25/2023     2.4   Perform LayerZero exchange customer preference analysis


Mimms, Samuel         7/25/2023     0.2   Call with A. Canale, P. McGrath, and S. Mimms (A&M) regarding
                                          lending analyses
Mimms, Samuel         7/25/2023     2.3   Incorporate updates to Van Eck lender analysis presentation

Mimms, Samuel         7/25/2023     0.4   Call with S. Mimms, M. Blanchard (A&M) to discuss customer
                                          preference requests
Mimms, Samuel         7/25/2023     0.3   Call with M. Flynn, A. Canale, G. Walia, S. Mimms, M. Blanchard
                                          (A&M) to discuss customer preference requests
Mimms, Samuel         7/25/2023     2.6   Draft presentation of findings on Van Eck lender analysis for
                                          Counsel at S&C
Mimms, Samuel         7/25/2023     0.1   Call with A. Canale, S. Mimms (A&M) regarding LayerZero exchange
                                          customer preference analysis
Patel, Ishika         7/25/2023     2.8   Review of non debtor payments to professional firms related to FTX
                                          Digital Markets
Patel, Ishika         7/25/2023     2.6   Review Clement Maynard professional payments related to FTX
                                          Digital Markets
Patel, Ishika         7/25/2023     1.4   Continue review of non debtor payments to professional firms
                                          related to FDM
Patel, Ishika         7/25/2023     2.9   Continue review of Clement Maynard professional payments related
                                          to FTX Digital Markets
Patel, Ishika         7/25/2023     0.4   Call with N. Strong, A. Dobbs and I. Patel (A&M) regarding Clement
                                          Maynard professional payments related to FTX Digital Markets
Peoples, Scott        7/25/2023     1.6   Review valuation firm's modeling and supporting calculations


Peoples, Scott        7/25/2023     1.7   Review valuation firm analysis of token valuations

Peoples, Scott        7/25/2023     0.4   Review final memo on valuation firm's work product


Peoples, Scott        7/25/2023     0.3   Review final exhibits on valuation firm's work




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Avoidance Actions
Professional            Date     Hours     Activity
Peoples, Scott       7/25/2023     2.1   Review and edit findings on professional valuation firm

Peoples, Scott       7/25/2023     0.3   Review comments related to valuation firm analysis deck


Price, Breanna       7/25/2023     0.5   Call with E. Hoffer and B. Price (A&M) regarding the purpose of
                                         escrows sent to Chicago Title Insurance Company durance the
                                         preference period
Price, Breanna       7/25/2023     0.2   Call with T. Gosau and B. Price (A&M) discussing the preference
                                         period payment to Naomi Osaka
Price, Breanna       7/25/2023     0.8   Search Relativity for details to develop a timeline related to the Rose
                                         Garden Inn purchase
Price, Breanna       7/25/2023     0.7   Search Relativity for fully executed agreements between Neil Patel
                                         Digital and FTX
Price, Breanna       7/25/2023     2.4   Search Relativity for invoices and relevant emails related to Swift
                                         Media
Price, Breanna       7/25/2023     0.3   Search Relativity for more details regarding the Naomi Osaka
                                         contract
Price, Breanna       7/25/2023     2.8   Search the cash database to define the purpose of payments
                                         coming from Swift Media Entertainment
Ruez, William        7/25/2023     2.2   Create tear sheet summary for ABG Shaq payments re: vendor
                                         payments preference analysis
Ruez, William        7/25/2023     0.3   Call with W. Ruez, J. Lee (A&M) to discuss vendor payments
                                         analysis re: Meta Platforms
Ruez, William        7/25/2023     2.6   Create tear sheet summary for Neil Patel Digital payments re:
                                         vendor payments preference analysis
Ruez, William        7/25/2023     2.1   Continue to review prepaid asset supporting documents re: ABG
                                         Shaq
Ruez, William        7/25/2023     1.9   Review prepaid asset supporting documents re: Meta for vendor
                                         payments preference analysis
Ryan, Laureen        7/25/2023     0.1   Call with L. Ryan, C. Arnett, A. Canale (A&M) regarding exchange
                                         customer preference analysis
Ryan, Laureen        7/25/2023     0.6   Correspond with S&C and A&M team on various inquiries related to
                                         LayerZero account activity on the exchange
Ryan, Laureen        7/25/2023     0.3   Correspond with A&M team regarding GameStop vendor analysis


Ryan, Laureen        7/25/2023     0.2   Correspond with A&M team regarding progress made on vendor
                                         preference analysis
Ryan, Laureen        7/25/2023     0.3   Correspond with A&M team regarding Redwood Valuation Partners
                                         inquiries
Ryan, Laureen        7/25/2023     0.2   Correspond with A&M team regarding S&C inquiries into Evergreen
                                         North Enterprises
Ryan, Laureen        7/25/2023     0.6   Correspond with A&M team regarding UCC analysis on the
                                         customer exchange
Ryan, Laureen        7/25/2023     0.7   Call with L. Ryan, A. Canale (A&M) to discuss strategy and workplan
                                         related to avoidance actions


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Avoidance Actions
Professional            Date     Hours     Activity
Ryan, Laureen        7/25/2023     0.3   Correspond with RLKS, S&C and A&M team regarding closing
                                         Deltec bank accounts
Ryan, Laureen        7/25/2023     0.3   Correspond with A&M team regarding Deltec bank account inquiries


Ryan, Laureen        7/25/2023     0.4   Review and edit draft tear sheet analysis related to Foundation 2.0
                                         vendor claim and related documentation
Ryan, Laureen        7/25/2023     0.6   Review and edit draft tear sheet analysis related to Golden Gate
                                         Warriors vendor claim and related documentation
Ryan, Laureen        7/25/2023     1.2   Review and edit draft tear sheet analysis related to NP Digital
                                         vendor claim and related documentation
Ryan, Laureen        7/25/2023     0.4   Review and edit draft tear sheet analysis related to Shaq sponsor
                                         vendor claim and related documentation
Ryan, Laureen        7/25/2023     0.7   Review and edit draft tear sheet analysis related to TL International
                                         vendor claim and related documentation
Ryan, Laureen        7/25/2023     0.4   Review draft memo on Redwood Valuation Partners services for
                                         possible claim
Ryan, Laureen        7/25/2023     0.2   Correspond with QE and A&M team regarding Redwood Valuation
                                         memo and other professional firms status
Ryan, Laureen        7/25/2023     0.2   Correspond with A&M team regarding closing Deltec bank accounts

Ryan, Laureen        7/25/2023     0.4   Correspond with A&M Team on TL International vendor claim
                                         analysis
Ryan, Laureen        7/25/2023     0.3   Correspond with A&M Team on Shaq sponsorship vendor claim
                                         analysis
Ryan, Laureen        7/25/2023     0.7   Correspond with A&M Team on NP Digital vendor claim analysis

Ryan, Laureen        7/25/2023     0.3   Correspond with A&M Team on Foundation 2.0 vendor claim analysis


Ryan, Laureen        7/25/2023     0.9   Call with L. Ryan, A. Canale, J. Lee (A&M) to discuss vendor
                                         payments scoping for purposes of preference analysis
Ryan, Laureen        7/25/2023     0.4   Correspond with A&M Team on Golden Gate Warriors vendor claim
                                         analysis
Shanahan, Michael    7/25/2023     1.1   Review summary of professional fee spend to include FDM updates

Shanahan, Michael    7/25/2023     0.2   Call with A. Canale, D. Medway and M. Shanahan (A&M) regarding
                                         memo summarizing results of Redwood Valuation Partners
                                         investigation
Shanahan, Michael    7/25/2023     0.4   Call with D. Medway and M. Shanahan (A&M) regarding
                                         professionals workstream status and strategy
Shanahan, Michael    7/25/2023     0.8   Review and revise memo summarizing findings related to Redwood
                                         valuations
Shanahan, Michael    7/25/2023     0.2   Communications to/from team regarding Redwood valuations

Sivapalu, Anan       7/25/2023     0.3   Call with A. Sivapalu and A. Canale (A&M) regarding coin data
                                         requirement


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Avoidance Actions
Professional             Date     Hours     Activity
Strong, Nichole       7/25/2023     0.4   Call with N. Strong, A. Dobbs and I. Patel (A&M) regarding Clement
                                          Maynard professional payments related to FTX Digital Markets
Strong, Nichole       7/25/2023     2.9   Review and summarize payment data for payments made by FTX
                                          Digital Markets to Clement Maynard & Co
Strong, Nichole       7/25/2023     2.3   Perform quality control review of summary of invoices and other
                                          supporting documentation related to cash payments to Glinton
                                          Sweeting O'Brian
Strong, Nichole       7/25/2023     0.6   Review and summarize exchange data for Michael Paton of Lennox
                                          Paton law firm
Strong, Nichole       7/25/2023     1.6   Review and summarize invoices and other supporting
                                          documentation related to cash payments to Lennox Paton
Strong, Nichole       7/25/2023     2.4   Review and summarize invoices and other supporting
                                          documentation related to cash payments to Graham Thompson
Strong, Nichole       7/25/2023     0.3   Call with N. Strong and A. Dobbs (A&M) regarding Clement Maynard
                                          professional payments related to FTX Digital Markets
Taraba, Erik          7/25/2023     0.3   Update schedule of avoidance actions for review by counsel per
                                          feedback from project leadership
Arnett, Chris         7/26/2023     0.7   Review and comment on revised straw man tear sheets and
                                          associated presentation
Arnett, Chris         7/26/2023     0.3   Call with S. Coverick (A&M) to discuss avoidance action workstream
                                          status
Arnett, Chris         7/26/2023     0.3   Discussion with C Arnett, D Lewandowski and R Esposito (A&M) re:
                                          preference analysis
Arnett, Chris         7/26/2023     0.2   Follow up with G. Walia (A&M) re: status of open information
                                          requests
Arnett, Chris         7/26/2023     0.5   Call with L. Ryan, M. Shanahan, A. Canale, C. Arnett, S. Coverick
                                          (A&M) regarding vendor preference analysis
Blanchard, Madison    7/26/2023     2.4   Continue analysis relating to Bittrex lending claim

Blanchard, Madison    7/26/2023     1.8   Prepare analysis relating to Ripple Labs lending claim


Blanchard, Madison    7/26/2023     2.9   Review of correspondence, invoices, and known transactions
                                          relating to Bittrex lending claim
Blanchard, Madison    7/26/2023     1.1   Prepare customer exchange preference analysis findings
                                          presentation for accounts identified by counsel using current pricing
Blanchard, Madison    7/26/2023     2.9   Prepare analysis relating to Bittrex lending claim and preference
                                          exposure
Canale, Alex          7/26/2023     0.8   Call with A. Alden, J. Young, M. Lev, T. Murray, O. Yeffet, K. Lemire,
                                          and S. Rand (QE) and L. Ryan, M. Shanahan, A. Canale and D.
                                          Medway (A&M) regarding status of professionals report and
                                          accompanying analyses
Canale, Alex          7/26/2023     0.2   Call with A. Canale and D. Medway (A&M) regarding professionals
                                          workstream status and strategy
Canale, Alex          7/26/2023     0.2   Call with A. Alden, J. Young, M. Lev, T. Murray, O. Yeffet, K. Lemire,
                                          and S. Rand (QE) and L. Ryan, M. Shanahan, S. Peoples, A. Canale
                                          and D. Medway (A&M) regarding status of professionals report and
                                          accompanying analyses

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Professional                 Date    Hours     Activity
Canale, Alex             7/26/2023     0.8   Call with L. Ryan, M. Shanahan, A. Canale (A&M) regarding vendors
                                             preference analysis
Canale, Alex             7/26/2023     0.8   Review and edit Zimmerman preference analysis and related
                                             documents
Canale, Alex             7/26/2023     1.1   Review and edit Wasserman preference analysis and related
                                             documents
Canale, Alex             7/26/2023     1.0   Call with L. Ryan, M. Shanahan, N. Strong, A. Canale (A&M) to
                                             prepare for professionals workstream call with QE
Canale, Alex             7/26/2023     0.7   Review and edit Osaka preference analysis and related documents


Canale, Alex             7/26/2023     0.2   Call with A. Canale and T. Gosau (A&M) to discuss the support for
                                             preference period payments to Wasserman Media Group
Canale, Alex             7/26/2023     0.6   Review and edit Meta preference analysis and related documents


Canale, Alex             7/26/2023     0.4   Review and edit Hoko preference analysis and related documents

Canale, Alex             7/26/2023     0.6   Review and edit Google preference analysis and related documents


Canale, Alex             7/26/2023     1.3   Prepare vendor preference exposure tear sheets using agreed
                                             template format
Canale, Alex             7/26/2023     0.9   Correspond with A&M team regarding preparation of preference
                                             exposure reports
Canale, Alex             7/26/2023     0.4   Correspond with A&M team and S&C regarding LayerZero analysis


Canale, Alex             7/26/2023     0.9   Review and edit VanEck lending claim memorandum and related
                                             documents
Canale, Alex             7/26/2023     0.4   Call with A. Canale, P. McGrath, and S. Mimms (A&M) regarding
                                             VanEck lending analysis
Canale, Alex             7/26/2023     0.6   Review and Galaxy Digital exchange preference exposure analysis
                                             and report
Canale, Alex             7/26/2023     0.5   Call with L. Ryan, M. Shanahan, A. Canale, C. Arnett, S. Coverick
                                             (A&M) regarding vendor preference analysis
Canale, Alex             7/26/2023     0.2   Call with A. Canale and T. Gosau (A&M) to discuss the support for
                                             preference period payment to Naomi Osaka
Coverick, Steve          7/26/2023     0.3   Call with C. Arnett (A&M) to discuss avoidance action workstream
                                             status
Coverick, Steve          7/26/2023     0.5   Call with L. Ryan, M. Shanahan, A. Canale, C. Arnett, S. Coverick
                                             (A&M) regarding vendor preference analysis
Coverick, Steve          7/26/2023     0.8   Review and provide comments on draft of sponsorship preference
                                             analysis
Cox, Allison             7/26/2023     1.3   Draft tear sheet in relation to Chase Zimmerman preference analysis


Cox, Allison             7/26/2023     0.2   Call with A. Cox and T. Gosau (A&M) to discuss the support for
                                             preference period payments to Google




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Cox, Allison             7/26/2023     1.8   Draft tear sheet in relation to Dentsu McGarry Bowen preference
                                             analysis
Cox, Allison             7/26/2023     2.7   Review accounts payable data in relation to vendor payments


Cox, Allison             7/26/2023     2.6   Review claims in relation to Google LLC vendor analysis

Dobbs, Aaron             7/26/2023     1.4   Summarize Hassans International cash transaction data

Dobbs, Aaron             7/26/2023     1.3   Call with N. Strong and A. Dobbs (A&M) regarding quality control of
                                             professional firms transactions under $100,000 threshold
Dobbs, Aaron             7/26/2023     0.7   Call with N. Strong, A. Dobbs and I. Patel (A&M) regarding quality
                                             control of professional firms transactions under $100,000 threshold
Dobbs, Aaron             7/26/2023     1.6   Continue quality control test of completeness for professional firms
                                             transactions under $100,000 threshold
Dobbs, Aaron             7/26/2023     1.1   Summarization of Professional firms identified by QE under 100,000
                                             cash transaction fee threshold to test for completeness
Dobbs, Aaron             7/26/2023     1.8   Summarize of Clement T. Maynard cash transaction data related to
                                             FDM as directed by QE
Dobbs, Aaron             7/26/2023     2.8   Summarize of Clement T. Maynard cash transaction data related to
                                             FTX Property Holdings as directed by QE
Dobbs, Aaron             7/26/2023     3.1   Quality control review for completeness of professional firms
                                             transactions under $100,000 threshold
Ebrey, Mason             7/26/2023     1.0   Analysis of Humanity 2.0 preferences in tear sheet format


Ebrey, Mason             7/26/2023     3.1   Search Relativity database for debtor payments made to
                                             Wasserman Media Group
Ebrey, Mason             7/26/2023     0.5   Call with T. Gosau, M. Ebrey (A&M) regarding investigation of debtor
                                             payments to Wasserman Media Group
Ebrey, Mason             7/26/2023     3.1   Analysis of Wasserman preferences in tear sheet format

Esposito, Rob            7/26/2023     0.3   Discussion with C Arnett, D Lewandowski and R Esposito (A&M) re:
                                             preference analysis
Gosau, Tracy             7/26/2023     0.2   Call with A. Canale and T. Gosau (A&M) to discuss the support for
                                             preference period payment to Naomi Osaka
Gosau, Tracy             7/26/2023     0.2   Call with T. Gosau and B. Price (A&M) discussing the support for
                                             pre-preference period payments to Naomi Osaka
Gosau, Tracy             7/26/2023     0.5   Call with T. Gosau, M. Ebrey (A&M) regarding investigation of debtor
                                             payments to Wasserman Media Group
Gosau, Tracy             7/26/2023     0.2   Call with A. Cox and T. Gosau (A&M) to discuss the support for
                                             preference period payments to Google
Gosau, Tracy             7/26/2023     0.2   Call with A. Canale and T. Gosau (A&M) to discuss the support for
                                             preference period payments to Wasserman Media Group
Gosau, Tracy             7/26/2023     2.8   Review supporting vendor agreements re: Wasserman for vendor
                                             payments preference analysis




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Professional              Date     Hours     Activity
Gosau, Tracy           7/26/2023     0.7   Update tear sheet summary for Google payments re: vendor
                                           payments preference analysis
Gosau, Tracy           7/26/2023     1.1   Update tear sheet summary for Wasserman payments re: vendor
                                           payments preference analysis
Gosau, Tracy           7/26/2023     0.3   Update tear sheet summary template for Naomi Osaka payments re:
                                           vendor payments preference analysis
Gosau, Tracy           7/26/2023     1.1   Research vendor invoices re: Google for vendor payments
                                           preference analysis
Gosau, Tracy           7/26/2023     0.4   Update tear sheet summary template for Wasserman payments re:
                                           vendor payments preference analysis
Gosau, Tracy           7/26/2023     1.9   Research vendor invoices re: Wasserman for vendor payments
                                           preference analysis
Haigis, Maya           7/26/2023     0.3   Call with C. Radis, A. Sloan, M. Haigis, M. Simkins, and E. Hoffer
                                           (A&M) to discuss progress of outstanding items for the cash
                                           database
Hainline, Drew         7/26/2023     0.6   Perform research to answer questions on vendor prepaid expenses
                                           and petition date balances
Helal, Aly             7/26/2023     1.7   Populate report required information related to Golden State
                                           Warriors to understand the relationship between debtors and Golden
                                           State Warriors
Helal, Aly             7/26/2023     1.3   Create a report with payments made and accounting records related
                                           to Golden State Warriors during Preference Period to understand
                                           the relationship between debtors and Golden State Warriors
Helal, Aly             7/26/2023     1.4   Continue searching for documentation related to relationship
                                           between Debtors and Golden State Warriors
Helal, Aly             7/26/2023     1.3   Search for additional information related to Vendor Agreements
                                           between Debtors and Hoko Agency Middle East
Helal, Aly             7/26/2023     1.7   Continue searching for documentation related to relationship
                                           between Debtors and GameStop
Helal, Aly             7/26/2023     1.3   Search for additional information related to Vendor Agreements
                                           between Debtors and GameStop
Helal, Aly             7/26/2023     1.2   Update the Tear Sheet for Golden State Warriors vendor analysis to
                                           the new template
Hoffer, Emily          7/26/2023     0.2   Call with E. Hoffer and D. Medway (A&M) regarding professionals
                                           cash payments data
Hoffer, Emily          7/26/2023     0.2   Call with E. Hoffer, N. Strong (A&M) to discuss Fidelity Bank
                                           account x0150 Jan 2021 statement
Hoffer, Emily          7/26/2023     1.8   Compile tear sheet for TL international in new format for use in
                                           preference analysis
Hoffer, Emily          7/26/2023     2.1   Create tear sheet for transactions related to payments made to
                                           Chicago Title for use in determining potential preference exposure
Hoffer, Emily          7/26/2023     2.4   Review documents related to payments made to Chicago Title on
                                           behalf of customers during the preference period for use in vendor
                                           preference analysis
Hoffer, Emily          7/26/2023     2.9   Review documents related to payments made to Chicago Title on
                                           behalf of customers prior to the preference period for use in vendor
                                           preference analysis

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Professional               Date     Hours     Activity
Hoffer, Emily           7/26/2023     3.2   Review documents related to payments made to Chicago Title
                                            regarding the purchase of Rose Garden Inn to determine use of
                                            funds for use in vendor preference analysis
Hoffer, Emily           7/26/2023     0.3   Call with C. Radis, A. Sloan, M. Haigis, M. Simkins, and E. Hoffer
                                            (A&M) to discuss progress of outstanding items for the cash
                                            database
Johnson, Robert         7/26/2023     0.6   Update cash transaction master table to update records associated
                                            with Fidelity bank and identified issue
Kearney, Kevin          7/26/2023     0.2   Call with K. Kearney and D. Medway (A&M) regarding analysis of
                                            Debtors' accounting for custodial cash
Konig, Louis            7/26/2023     1.9   Database scripting related to Alameda employee preference analysis

Konig, Louis            7/26/2023     1.7   Database scripting related to targeted individual preference analysis
                                            requests
Konig, Louis            7/26/2023     1.8   Quality control and review of output related to Alameda employee
                                            preference analysis
Konig, Louis            7/26/2023     1.2   Quality control and review of output related to targeted individual
                                            preference analysis requests
Konig, Louis            7/26/2023     1.3   Documentation of findings related to targeted individual preference
                                            analysis requests
Lee, Julian             7/26/2023     0.1   Review prepaid asset supporting documents re: Golden State
                                            Warriors LLC for vendor payments preference analysis
Lee, Julian             7/26/2023     2.6   Review preference period vendor payments re: Hoko Agency to
                                            prepare tear sheet summary
Lee, Julian             7/26/2023     2.1   Review preference period vendor payments re: Chicago Title
                                            Insurance to prepare tear sheet summary
Lee, Julian             7/26/2023     0.2   Review database team findings on wallets associated with Golden
                                            State Warriors LLC
Lee, Julian             7/26/2023     0.2   Correspond with team regarding select preference period payments
                                            in SOFA 3 for Hoko Agency
Lee, Julian             7/26/2023     0.2   Correspond with team regarding fiat activity related to Swift Media
                                            re: vendor payments preference analysis
Lee, Julian             7/26/2023     0.2   Call with J. Lee, N. Strong (A&M) to discuss select payments to
                                            Clement T. Maynard re: professional services firm analysis
Lee, Julian             7/26/2023     0.2   Review prepaid expenses per general ledger for Hoko Agency re:
                                            vendor payments preference analysis
Lee, Julian             7/26/2023     0.8   Update tear sheet summary for various vendors re: cash preference
                                            analysis
Lee, Julian             7/26/2023     0.9   Review QE inquiries on funding sources related to $500k donation to
                                            Stanford University
Lee, Julian             7/26/2023     0.3   Update tear sheet summary for Hoko Agency re: fraudulent transfer
                                            viability
Lee, Julian             7/26/2023     0.6   Update tear sheet summary for Fortune Media Group re: vendor
                                            payments preference analysis
Lee, Julian             7/26/2023     0.9   Update tear sheet summary for Chase Zimmerman payments re:
                                            vendor payments preference analysis

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Professional              Date     Hours     Activity
Lewandowski, Douglas   7/26/2023     0.3   Discussion with C Arnett, D Lewandowski and R Esposito (A&M) re:
                                           preference analysis
McGrath, Patrick       7/26/2023     2.4   Review lending activity for potential recovery


McGrath, Patrick       7/26/2023     1.8   Perform summarization of analysis of insiders sources and uses for
                                           potential recovery
McGrath, Patrick       7/26/2023     1.6   Analyze of insiders sources and uses for potential recovery

McGrath, Patrick       7/26/2023     0.3   Assist the Debtors with evaluating and analyzing potential avoidance
                                           actions
McGrath, Patrick       7/26/2023     0.4   Call with A. Canale, P. McGrath, and S. Mimms (A&M) regarding
                                           VanEck lending analysis
McGrath, Patrick       7/26/2023     0.2   Call with P. McGrath, S. Mimms (A&M) regarding VanEck lending
                                           analysis
Medway, David          7/26/2023     1.3   Investigate differences between professionals cash payments
                                           findings and original cash and QuickBooks transaction data
Medway, David          7/26/2023     1.9   Investigate independent audits of Debtors' accounting for customer
                                           custodial cash and summarize findings for internal discussion
Medway, David          7/26/2023     0.9   Prepare for call with QE regarding status and strategy for
                                           professionals report and related analyses
Medway, David          7/26/2023     1.4   Investigate Debtors' accounting for customer custodial cash and
                                           summarize findings for internal discussion
Medway, David          7/26/2023     0.5   Prepare template for proposed schedule summarizing professionals
                                           payment history to include in third interim report
Medway, David          7/26/2023     0.2   Communications with QE regarding professional workstream open
                                           items
Medway, David          7/26/2023     0.6   Prepare workplan for staff quality control review of unknown cash
                                           transactions with professionals
Medway, David          7/26/2023     0.7   Update schedule summarizing professionals payment history based
                                           on feedback from QE
Medway, David          7/26/2023     0.8   Prepare summary of findings from investigations of Debtors'
                                           accounting for customer custodial cash and related independent
                                           auditor procedures
Medway, David          7/26/2023     0.2   Call with E. Hoffer and D. Medway (A&M) regarding professionals
                                           cash payments data
Medway, David          7/26/2023     0.4   Internal communications regarding Redwood Valuation Partners
                                           follow up items
Medway, David          7/26/2023     1.0   Call with S. Peoples and D. Medway (A&M) to prepare for
                                           professionals workstream call with QE
Medway, David          7/26/2023     0.7   Call with N. Strong and D. Medway (A&M) regarding quality control
                                           review of schedules summarizing results of professionals cash
                                           payments analysis
Medway, David          7/26/2023     0.8   Call with A. Alden, J. Young, M. Lev, T. Murray, O. Yeffet, K. Lemire,
                                           and S. Rand (QE) and L. Ryan, M. Shanahan, A. Canale and D.
                                           Medway (A&M) regarding status of professionals report and
                                           accompanying analyses


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Medway, David         7/26/2023     0.4   Call with L. Ryan and D. Medway (A&M) regarding analysis of
                                          Debtors' accounting for custodial cash
Medway, David         7/26/2023     0.2   Call with A. Alden, J. Young, M. Lev, T. Murray, O. Yeffet, K. Lemire,
                                          and S. Rand (QE) and L. Ryan, M. Shanahan, S. Peoples, A. Canale
                                          and D. Medway (A&M) regarding status of professionals report and
                                          accompanying analyses
Medway, David         7/26/2023     0.2   Call with A. Canale and D. Medway (A&M) regarding professionals
                                          workstream status and strategy
Medway, David         7/26/2023     0.2   Call with K. Kearney and D. Medway (A&M) regarding analysis of
                                          Debtors' accounting for custodial cash
Medway, David         7/26/2023     0.4   Internal communications regarding summary of findings from
                                          investigations of Debtors' accounting for customer custodial cash
                                          and related independent auditor procedures
Mimms, Samuel         7/26/2023     1.6   Incorporate updates to Van Eck lender analysis presentation


Mimms, Samuel         7/26/2023     0.6   Draft request to database team for additional LayerZero exchange
                                          accounts in support of LayerZero exchange customer preference
                                          analysis
Mimms, Samuel         7/26/2023     0.2   Call with P. McGrath, S. Mimms (A&M) regarding VanEck lending
                                          analysis
Mimms, Samuel         7/26/2023     0.4   Call with A. Canale, P. McGrath, and S. Mimms (A&M) regarding
                                          VanEck lending analysis
Patel, Ishika         7/26/2023     2.8   Run targeted searches on Metabase for any missed payments in the
                                          initial review of select professional firms identified by QE
Patel, Ishika         7/26/2023     0.7   Call with N. Strong, A. Dobbs and I. Patel (A&M) regarding quality
                                          control of professional firms transactions under $100,000 threshold
Patel, Ishika         7/26/2023     1.3   Continue running targeted searches on Metabase for quality control
                                          of professional payments under 100K threshold
Patel, Ishika         7/26/2023     1.3   quality control of professional firms transactions under $100,000
                                          threshold
Patel, Ishika         7/26/2023     2.7   Run targeted searches on Metabase for quality control of
                                          professional payments under 100K threshold
Peoples, Scott        7/26/2023     0.7   Review materials provided by counsel related to valuation firm

Peoples, Scott        7/26/2023     0.2   Call with A. Alden, J. Young, M. Lev, T. Murray, O. Yeffet, K. Lemire,
                                          and S. Rand (QE) and L. Ryan, M. Shanahan, S. Peoples, A. Canale
                                          and D. Medway (A&M) regarding status of professionals report and
                                          accompanying analyses
Peoples, Scott        7/26/2023     1.0   Call with S. Peoples and D. Medway (A&M) to prepare for
                                          professionals workstream call with QE
Price, Breanna        7/26/2023     1.2   Complete the search effort in Relativity related to the Rose Garden
                                          Inn purchase
Price, Breanna        7/26/2023     2.2   Continue searching for details related to timeline of the Rose Garden
                                          Inn purchase
Price, Breanna        7/26/2023     0.2   Call with T. Gosau and B. Price (A&M) discussing the support for
                                          pre-preference period payments to Naomi Osaka



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Avoidance Actions
Professional            Date     Hours     Activity
Price, Breanna       7/26/2023     0.8   Add invoice details to pre-preference period payments to Swift
                                         Media
Price, Breanna       7/26/2023     0.4   Add invoice details to pre-preference period payments to Naomi
                                         Osaka
Price, Breanna       7/26/2023     0.6   Search Relativity to find details about the parties involved in the
                                         Rose Garden Inn purchase
Radis, Cameron       7/26/2023     0.3   Call with C. Radis, A. Sloan, M. Haigis, M. Simkins, and E. Hoffer
                                         (A&M) to discuss progress of outstanding items for the cash
                                         database
Ruez, William        7/26/2023     0.6   Update tear sheet summary for Majority Forward payments re:
                                         vendor payments preference analysis
Ruez, William        7/26/2023     0.4   Update tear sheet summary for ABG Shaq payments re: vendor
                                         payments preference analysis
Ruez, William        7/26/2023     1.2   Update tear sheet summary for Meta payments re: vendor payments
                                         preference analysis
Ruez, William        7/26/2023     2.3   Review prepaid asset supporting documents re: Majority Forward for
                                         vendor payments preference analysis
Ruez, William        7/26/2023     2.4   Create tear sheet summary for Meta payments re: vendor payments
                                         preference analysis
Ruez, William        7/26/2023     2.7   Create tear sheet summary for Majority Forward payments re:
                                         vendor payments preference analysis
Ruez, William        7/26/2023     0.7   Update tear sheet summary for Neil Patel Digital payments re:
                                         vendor payments preference analysis
Ryan, Laureen        7/26/2023     1.0   Call with L. Ryan, M. Shanahan, N. Strong, A. Canale (A&M) to
                                         prepare for professionals workstream call with QE
Ryan, Laureen        7/26/2023     0.2   Correspond with A&M Team regarding Galaxy current pricing of
                                         withdrawals difference
Ryan, Laureen        7/26/2023     0.4   Correspond with A&M Team regarding auditor related work product
                                         impact on FBO disclosures and comingled accounts
Ryan, Laureen        7/26/2023     0.2   Correspond with A&M Team on Zimmerman vendor claim analysis


Ryan, Laureen        7/26/2023     0.2   Correspond with A&M Team on Wasserman vendor claim analysis

Ryan, Laureen        7/26/2023     0.4   Correspond with A&M Team on Naomi Osaka vendor claim analysis


Ryan, Laureen        7/26/2023     0.3   Correspond with A&M Team on Meta vendor claim analysis

Ryan, Laureen        7/26/2023     0.3   Correspond with A&M Team on Hoko Agency customer exchange
                                         preference analysis claim analysis
Ryan, Laureen        7/26/2023     0.8   Call with A. Alden, J. Young, M. Lev, T. Murray, O. Yeffet, K. Lemire,
                                         and S. Rand (QE) and L. Ryan, M. Shanahan, A. Canale and D.
                                         Medway (A&M) regarding status of professionals report and
                                         accompanying analyses
Ryan, Laureen        7/26/2023     0.2   Correspond with A&M Team on Galaxy customer exchange
                                         preference analysis claim analysis



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Avoidance Actions
Professional           Date     Hours     Activity
Ryan, Laureen       7/26/2023     0.5   Call with L. Ryan, M. Shanahan, A. Canale, C. Arnett, S. Coverick
                                        (A&M) regarding vendor preference analysis
Ryan, Laureen       7/26/2023     0.4   Call with L. Ryan and D. Medway (A&M) regarding analysis of
                                        Debtors' accounting for custodial cash
Ryan, Laureen       7/26/2023     0.2   Call with A. Alden, J. Young, M. Lev, T. Murray, O. Yeffet, K. Lemire,
                                        and S. Rand (QE) and L. Ryan, M. Shanahan, S. Peoples, A. Canale
                                        and D. Medway (A&M) regarding status of professionals report and
                                        accompanying analyses
Ryan, Laureen       7/26/2023     0.3   Correspond with A&M Team regarding Majority Forward vendor
                                        preference analysis
Ryan, Laureen       7/26/2023     0.2   Correspond with A&M Team on Google customer exchange
                                        preference analysis claim analysis
Ryan, Laureen       7/26/2023     0.4   Review and edit draft tear sheet analysis related to Wasserman
                                        Media vendor claim and related documentation
Ryan, Laureen       7/26/2023     0.1   Correspond with Alix and A&M Team regarding Majority Forward
                                        political donation analysis and related documents
Ryan, Laureen       7/26/2023     0.3   Review and edit draft tear sheet analysis related to Zimmerman
                                        vendor claim and related documentation
Ryan, Laureen       7/26/2023     0.2   Review and edit draft tear sheet analysis related to Naomi Osaka
                                        vendor claim and related documentation
Ryan, Laureen       7/26/2023     0.4   Review and edit draft tear sheet analysis related to Meta vendor
                                        claim and related documentation
Ryan, Laureen       7/26/2023     0.4   Review and edit draft tear sheet analysis related to Hoko Agency
                                        customer exchange preference analysis and related documents
Ryan, Laureen       7/26/2023     0.3   Review and edit draft tear sheet analysis related to Google customer
                                        exchange preference analysis and related documents
Ryan, Laureen       7/26/2023     0.2   Correspond with S&C and A&M team regarding Alameda
                                        counterparty claim strategy
Ryan, Laureen       7/26/2023     0.3   Review and edit draft tear sheet analysis related to Galaxy customer
                                        exchange preference analysis and related documents
Ryan, Laureen       7/26/2023     0.2   Correspond with QE and A&M Team regarding auditor related
                                        inquiries and professionals report
Ryan, Laureen       7/26/2023     0.4   Correspond with S&C and A&M team regarding additional accounts
                                        and related activity located for LayerZero on the FTX US exchange
Ryan, Laureen       7/26/2023     0.1   Correspond with S&C and A&M Team regarding draft letter for
                                        Deltec bank account closure
Shanahan, Michael   7/26/2023     0.8   Call with A. Alden, J. Young, M. Lev, T. Murray, O. Yeffet, K. Lemire,
                                        and S. Rand (QE) and L. Ryan, M. Shanahan, A. Canale and D.
                                        Medway (A&M) regarding status of professionals report and
                                        accompanying analyses
Shanahan, Michael   7/26/2023     0.5   Review working draft of professionals spend exhibit in preparation
                                        for calls
Shanahan, Michael   7/26/2023     0.7   Review tear sheets for vendor analyses in preparation for calls

Shanahan, Michael   7/26/2023     1.0   Call with L. Ryan, M. Shanahan, N. Strong, A. Canale (A&M) to
                                        prepare for professionals workstream call with QE


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Avoidance Actions
Professional             Date     Hours     Activity
Shanahan, Michael     7/26/2023     1.0   Call with L. Ryan, M. Shanahan, A. Canale (A&M) regarding vendor
                                          preference analysis status
Shanahan, Michael     7/26/2023     0.2   Call with A. Alden, J. Young, M. Lev, T. Murray, O. Yeffet, K. Lemire,
                                          and S. Rand (QE) and L. Ryan, M. Shanahan, S. Peoples, A. Canale
                                          and D. Medway (A&M) regarding status of professionals report and
                                          accompanying analyses
Shanahan, Michael     7/26/2023     0.5   Call with L. Ryan, M. Shanahan, A. Canale, C. Arnett, S. Coverick
                                          (A&M) regarding vendor preference analysis
Simkins, Maximilian   7/26/2023     0.3   Call with C. Radis, A. Sloan, M. Haigis, M. Simkins, and E. Hoffer
                                          (A&M) to discuss progress of outstanding items for the cash
                                          database
Sloan, Austin         7/26/2023     0.3   Call with C. Radis, A. Sloan, M. Haigis, M. Simkins, and E. Hoffer
                                          (A&M) to discuss progress of outstanding items for the cash
                                          database
Sloan, Austin         7/26/2023     2.7   Reconcile bank statement data for Fidelity bank in relation to the
                                          cash database
Strong, Nichole       7/26/2023     0.7   Call with N. Strong and D. Medway (A&M) regarding quality control
                                          review of schedules summarizing results of professionals cash
                                          payments analysis
Strong, Nichole       7/26/2023     1.2   Continue to verify completeness and accuracy of payment data for
                                          professional services firms that received between $500,000 - $1M
                                          from FTX Digital Markets using bank statements
Strong, Nichole       7/26/2023     0.2   Call with E. Hoffer, N. Strong (A&M) to discuss Fidelity Bank
                                          account x0150 Jan 2021 statement
Strong, Nichole       7/26/2023     0.2   Call with J. Lee, N. Strong (A&M) to discuss select payments to
                                          Clement T. Maynard re: professional services firm analysis
Strong, Nichole       7/26/2023     0.6   Verify completeness and accuracy of payment data for payments to
                                          Sean B. Callender & Co
Strong, Nichole       7/26/2023     0.7   Call with N. Strong, A. Dobbs and I. Patel (A&M) regarding quality
                                          control of professional firms transactions under $100,000 threshold
Strong, Nichole       7/26/2023     1.9   Verify completeness and accuracy of payment data for professional
                                          services firms that received between $500,000 - $1M from FTX
                                          Digital Markets using bank statements
Strong, Nichole       7/26/2023     1.0   Call with L. Ryan, M. Shanahan, N. Strong, A. Canale (A&M) to
                                          prepare for professionals workstream call with QE
Strong, Nichole       7/26/2023     1.3   Perform quality control review of summary of invoices and other
                                          supporting documentation related to cash payments to Clement T
                                          Maynard
Strong, Nichole       7/26/2023     1.1   Verify completeness and accuracy of payment data for payments to
                                          Robert Lee & Associates
Strong, Nichole       7/26/2023     1.3   Call with N. Strong and A. Dobbs (A&M) regarding quality control of
                                          professional firms transactions under $100,000 threshold
Taraba, Erik          7/26/2023     1.8   Research additional avoidance action litigation and add relevant
                                          details to schedule for discussion with management and counsel
Arnett, Chris         7/27/2023     0.2   Follow-up with L. Ryan (A&M) on status of lender investigation and
                                          next steps re: same




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Avoidance Actions
Professional              Date    Hours     Activity
Arnett, Chris         7/27/2023     0.3   Review and comment on lender preference deck and accompanying
                                          analysis
Arnett, Chris         7/27/2023     0.4   Compose correspondence and distribute preference analyses on
                                          various parties
Blanchard, Madison    7/27/2023     1.1   Quality control review of analysis and findings prepared in relation to
                                          Van Eck lending claim
Blanchard, Madison    7/27/2023     2.1   Quality control review of customer exchange preference analysis
                                          including additional entities identified by counsel
Blanchard, Madison    7/27/2023     2.8   Prepare findings relating to Ripple Labs lending claim


Blanchard, Madison    7/27/2023     0.8   Continue to prepare findings relating to Ripple Labs lending claim

Blanchard, Madison    7/27/2023     0.2   Call with J. Chan, and M. Blanchard (A&M) to discuss data request
                                          related to Bittrex Inc
Blanchard, Madison    7/27/2023     0.3   Call with A. Helal, and M. Blanchard (A&M) to discuss lender activity
                                          related to Bittrex Inc
Blanchard, Madison    7/27/2023     0.5   Call with A. Canale, D. Medway, S.Mimms, and M. Blanchard (A&M)
                                          to discuss lender activity related to Alameda counterparty
Blanchard, Madison    7/27/2023     1.2   Review of correspondence, invoices, and known transactions
                                          relating to Bittrex lending claim
Canale, Alex          7/27/2023     0.5   Call with A. Canale, D. Medway, S.Mimms, and M. Blanchard (A&M)
                                          to discuss lender activity related to Alameda counterparty
Canale, Alex          7/27/2023     0.6   Review materials in preparation for call with S&C on Alameda
                                          counterparty claims
Canale, Alex          7/27/2023     0.6   Review and edit preference exposure schedules relevant to
                                          LayerZero claim
Canale, Alex          7/27/2023     0.6   Prepare vendor preference exposure tear sheets using agreed
                                          template format
Canale, Alex          7/27/2023     1.7   Prepare report summarizing findings regarding preference claim
                                          analysis
Canale, Alex          7/27/2023     0.4   Correspond with A&M team regarding report on preference claim
                                          analysis
Canale, Alex          7/27/2023     0.2   Correspond with A&M team regarding Mirana Venture Book
                                          investment
Canale, Alex          7/27/2023     1.1   Call with L. Ryan, A. Canale, P. McGrath, S. Mimms (A&M)
                                          regarding Van Eck lending claim
Canale, Alex          7/27/2023     0.4   Analysis of new value defense for GSW preference claim


Canale, Alex          7/27/2023     0.4   Review memorandum regarding key insider prepared by QE

Canale, Alex          7/27/2023     0.2   Call with A. Canale and D. Medway (A&M) regarding professionals
                                          workstream strategy
Canale, Alex          7/27/2023     0.4   Analysis of Alameda counterparty preference exposure using
                                          subsequent advance approach




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Professional                Date     Hours     Activity
Canale, Alex             7/27/2023     0.4   Call with A. Canale, J. Lee (A&M) to discuss QE inquiries re: $500k
                                             donation to Stanford University from Alameda Research Ltd, Paper
                                             Bird Prime Trust accounts
Canale, Alex             7/27/2023     0.2   Call with A. Canale, M. Ebrey (A&M) regarding valuation of debtor
                                             shares performed by professional firm
Canale, Alex             7/27/2023     0.3   Call with A. Canale, P. McGrath (A&M) regarding lending analyses


Canale, Alex             7/27/2023     0.3   Call with L. Ryan, A. Canale (A&M) regarding Avoidance action
                                             strategy and workplan
Canale, Alex             7/27/2023     0.5   Call with B. Beller (S&C), Alix and L. Ryan, A. Canale (A&M)
                                             regarding Alameda counterparty claims strategy and workplan
Canale, Alex             7/27/2023     0.4   Call with A. Helal, and A. Canale (A&M) to discuss lender activity
                                             related to Bittrex Inc
Canale, Alex             7/27/2023     0.3   Call with A. Canale, S. Glustein (A&M) A. Kutscher (QE) regarding
                                             Venture Book update
Canale, Alex             7/27/2023     1.3   Call with A. Canale, P. McGrath, M. Blanchard, S. Mimms (A&M)
                                             regarding Ripple Labs and Bittrex lending analyses
Canale, Alex             7/27/2023     1.3   Analysis of new value defense for Wasserman preference claim

Chan, Jon                7/27/2023     0.2   Call with J. Chan, and M. Blanchard (A&M) to discuss data request
                                             related to Bittrex Inc
Cox, Allison             7/27/2023     0.3   Teleconference with D. Medway, W. Ruez, N. Strong, and A.Cox
                                             (A&M) to discuss Teknos document review process
Cox, Allison             7/27/2023     2.7   Review documents in relation to Teknos analysis


Cox, Allison             7/27/2023     2.3   Review memo in relation to related individual analysis

Cox, Allison             7/27/2023     2.6   Review QuickBooks data in relation to vendor payments

Cox, Allison             7/27/2023     0.2   Call with P. McGrath and A. Cox (A&M) regarding transfers to
                                             insiders
Cox, Allison             7/27/2023     0.1   Call with N. Strong and A. Cox (A&M) regarding document review for
                                             memo summarizing investigation of Teknos
Dobbs, Aaron             7/27/2023     2.1   Review documents to identify missing wire transactions associated
                                             with Professional services firms under $100,000 threshold
Dobbs, Aaron             7/27/2023     0.7   Call with N. Strong and A. Dobbs (A&M) regarding quality control of
                                             professional firms data under $100,000 threshold
Dobbs, Aaron             7/27/2023     3.1   Quality control of professional services firms identified by QE with
                                             fees under $100,000
Dobbs, Aaron             7/27/2023     1.7   Summarization of law firms identified by QE under 100,000 cash
                                             transaction fee threshold
Dobbs, Aaron             7/27/2023     1.8   Summarization of payment data for firms identified by QE under
                                             100,000 cash transaction fee threshold
Dobbs, Aaron             7/27/2023     3.1   Continue quality control of professional services firms identified by
                                             QE with fees under $100,000


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Avoidance Actions
Professional               Date    Hours     Activity
Ebrey, Mason           7/27/2023     2.7   Search through records and relativity to determine share valuation of
                                           debtor entities
Ebrey, Mason           7/27/2023     0.2   Call with A. Canale, M. Ebrey (A&M) regarding valuation of debtor
                                           shares performed by professional firm
Ebrey, Mason           7/27/2023     1.7   Search Relativity database for information on valuation of West
                                           Realm Shires Inc
Ebrey, Mason           7/27/2023     2.1   Investigate of calculation of share value for West Realm Shires Inc

Ebrey, Mason           7/27/2023     0.2   Call with T. Gosau, M. Ebrey (A&M) regarding investigation of debtor
                                           payments to Wasserman Media Group
Ebrey, Mason           7/27/2023     0.4   Call with S. Peoples, M. Ebrey (A&M) regarding valuation of debtor
                                           shares performed by professional firm
Ebrey, Mason           7/27/2023     0.2   Call with M. Ebrey and D. Medway(A&M) regarding investigation of
                                           transactions with Robert Lee & Associates
Ebrey, Mason           7/27/2023     0.3   Search Relativity database for information related to professional
                                           firm payment to debtor
Ebrey, Mason           7/27/2023     0.2   Call with E. Hoffer, M. Ebrey (A&M) regarding valuation of debtor
                                           shares performed by professional firm
Glustein, Steven       7/27/2023     0.3   Call with A. Canale, S. Glustein (A&M) A. Kutscher (QE) regarding
                                           Venture Book update
Gosau, Tracy           7/27/2023     0.6   Review agreements for Wasserman Music re: vendor payments
                                           preference analysis
Gosau, Tracy           7/27/2023     0.1   Update tear sheet summary for TL Int'l payments re: vendor
                                           payments preference analysis
Gosau, Tracy           7/27/2023     0.2   Call with T. Gosau, M. Ebrey (A&M) regarding investigation of debtor
                                           payments to Wasserman Media Group
Gosau, Tracy           7/27/2023     1.6   Review supporting vendor agreements re: Swift Media for vendor
                                           payments preference analysis
Gosau, Tracy           7/27/2023     0.9   Update tear sheet summary for Swift Media payments re: vendor
                                           payments preference analysis
Helal, Aly             7/27/2023     0.3   Call with A. Helal, and M. Blanchard (A&M) to discuss lender activity
                                           related to Bittrex Inc
Helal, Aly             7/27/2023     0.4   Call with A. Helal, and A. Canale (A&M) to discuss lender activity
                                           related to Bittrex Inc
Helal, Aly             7/27/2023     1.2   Update the Tear Sheet for GameStop vendor analysis to the new
                                           template
Helal, Aly             7/27/2023     0.7   Search for documentation related to reasons of updates to the loan
                                           basis between debtors and Bittrex Inc
Helal, Aly             7/27/2023     2.4   Collect Loan basis updates related to agreements between debtors
                                           and Bittrex Inc
Helal, Aly             7/27/2023     1.9   Create a Loan basis updates summary report for lending activity
                                           between debtors and Bittrex Inc
Helal, Aly             7/27/2023     2.1   Create an invoice report to ensure completeness and accuracy of
                                           the invoices between Debtors and Bittrex




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Avoidance Actions
Professional               Date     Hours     Activity
Helal, Aly              7/27/2023     2.1   Collect invoices related to lender agreement between Debtors and
                                            Bittrex Inc
Hoffer, Emily           7/27/2023     1.9   Compile additional questions to be sent to Transfero regarding the
                                            fees charged to the FTX accounts
Hoffer, Emily           7/27/2023     1.1   Call with J. Lee and E. Hoffer (A&M) to discuss vendor payments to
                                            Chicago Title on behalf of Center for Effective Altruism for real
                                            estate purchases
Hoffer, Emily           7/27/2023     0.3   Call with J. Lee and E, Hoffer (A&M) to discuss transactional impact
                                            of Transfero responses to follow up questions
Hoffer, Emily           7/27/2023     0.3   Call with E. Hoffer and D. Medway(A&M) regarding professionals
                                            cash payments data and in scope transaction review
Hoffer, Emily           7/27/2023     0.6   Review bank communications tracker for any updates for use in
                                            project management meeting
Hoffer, Emily           7/27/2023     1.8   Review Transfero transaction report to determine if responses from
                                            Transfero are sufficient to answer outstanding questions
Hoffer, Emily           7/27/2023     0.2   Call with E. Hoffer, M. Ebrey (A&M) regarding valuation of debtor
                                            shares performed by professional firm
Hoffer, Emily           7/27/2023     1.6   Review Circle transaction report to determine if responses from
                                            Circle are sufficient to answer outstanding questions
Hoffer, Emily           7/27/2023     1.8   Review Relativity for documents relating to the relationship between
                                            Effective Altruism with the purchase of the Rose Garden Inn
Konig, Louis            7/27/2023     2.1   Documentation of findings related to Alameda employee preference
                                            analysis
Lee, Julian             7/27/2023     0.4   Correspond with team regarding updates to vendor classification
                                            analysis for cash preference analysis
Lee, Julian             7/27/2023     0.9   Update tear sheet summary for Chicago Title Insurance re:
                                            fraudulent transfer viability
Lee, Julian             7/27/2023     0.7   Review various vendor tear sheets to update accounts payable
                                            balances at petition date re: preference analysis
Lee, Julian             7/27/2023     0.4   Review examination notice prepare by QE re: Wells Fargo bank
                                            account request for select debtors, non-debtors
Lee, Julian             7/27/2023     0.1   Prepare response to QE inquiries on funding sources related to
                                            $500k donation to Stanford University
Lee, Julian             7/27/2023     0.7   Perform quality control review of tear sheet summaries re: vendor
                                            payments preference analysis
Lee, Julian             7/27/2023     0.3   Correspond with QE regarding inquiries for Signature Bank re:
                                            potential debtor accounts, Signet production
Lee, Julian             7/27/2023     0.3   Correspond with team regarding vendor payments to Swift Media,
                                            claim viability
Lee, Julian             7/27/2023     0.4   Correspond with team regarding prepaid asset balances at petition
                                            date, contract rejection status for various vendors
Lee, Julian             7/27/2023     0.3   Correspond with team regarding Hoko Agency prepaid asset
                                            balances
Lee, Julian             7/27/2023     0.2   Correspond with team regarding fraudulent transfer viability for
                                            Chicago Title Insurance re: vendor payments preference analysis


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Avoidance Actions
Professional               Date     Hours     Activity
Lee, Julian             7/27/2023     0.4   Call with A. Canale, J. Lee (A&M) to discuss QE inquiries re: $500k
                                            donation to Stanford University from Alameda Research Ltd, Paper
                                            Bird Prime Trust accounts
Lee, Julian             7/27/2023     0.3   Call with J. Lee and E, Hoffer (A&M) to discuss transactional impact
                                            of Transfero responses to follow up questions
Lee, Julian             7/27/2023     1.1   Call with J. Lee and E. Hoffer (A&M) to discuss vendor payments to
                                            Chicago Title on behalf of Center for Effective Altruism for real
                                            estate purchases
Lee, Julian             7/27/2023     0.3   Correspond with team to identify prepaid asset balances as of
                                            petition date for select vendors re: preference analysis
McGrath, Patrick        7/27/2023     2.3   Summarize analysis of insiders sources and uses for potential
                                            recovery
McGrath, Patrick        7/27/2023     2.1   Review analysis of lenders activity for potential recovery


McGrath, Patrick        7/27/2023     1.1   Call with L. Ryan, A. Canale, P. McGrath, S. Mimms (A&M)
                                            regarding Van Eck lending claim
McGrath, Patrick        7/27/2023     1.7   Review memorandum prepared by counsel of transfers of Debtors
                                            funds to certain insiders
McGrath, Patrick        7/27/2023     0.2   Assist the Debtors with evaluating and analyzing potential avoidance
                                            actions
McGrath, Patrick        7/27/2023     0.2   Call with P. McGrath and D. Medway(A&M) regarding professionals
                                            workstream strategy
Medway, David           7/27/2023     1.8   Investigate differences between Robert Lee & Associates cash
                                            payments findings and original cash and QuickBooks transaction
                                            data and updates schedules based on results
Medway, David           7/27/2023     0.6   Call with N. Strong and D. Medway(A&M) regarding investigation of
                                            payments from FTX Digital Markets to Clement T. Maynard law firm
Medway, David           7/27/2023     0.8   Call with N. Strong and D. Medway(A&M) regarding quality control
                                            review of materials summarizing results of investigation of
                                            professional payment history
Medway, David           7/27/2023     0.8   Prepare workplan and materials for investigation of Teknos valuation
                                            engagements
Medway, David           7/27/2023     0.4   Quantify aggregate cash payments to legal and financial firms paid
                                            less than $100,000
Medway, David           7/27/2023     1.7   Review materials summarizing results of investigation of payments
                                            from FTX Digital Markets to Clement T. Maynard law firm
Medway, David           7/27/2023     0.3   Investigate differences between Willkie Farr cash payments findings
                                            and original cash and QuickBooks transaction data and updates
                                            schedules based on results
Medway, David           7/27/2023     0.3   Investigate differences between Teknos cash payments findings and
                                            original cash and QuickBooks transaction data and updates
                                            schedules based on results
Medway, David           7/27/2023     0.5   Investigate differences between Simmons & Simmons cash
                                            payments findings and original cash and QuickBooks transaction
                                            data and updates schedules based on results
Medway, David           7/27/2023     0.2   Call with M. Ebrey and D. Medway(A&M) regarding investigation of
                                            transactions with Robert Lee & Associates


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Avoidance Actions
Professional           Date     Hours     Activity
Medway, David       7/27/2023     0.3   Internal communications regarding refresh of Alameda counterparty
                                        materials at direction of S&C
Medway, David       7/27/2023     0.2   Teleconference with D. Medway and W. Ruez (A&M) regarding
                                        Teknos investigation
Medway, David       7/27/2023     0.3   Investigate differences between Jorge Luis Law Firm cash payments
                                        findings and original cash and QuickBooks transaction data and
                                        updates schedules based on results
Medway, David       7/27/2023     0.3   Internal communications regarding investigation of Teknos valuation
                                        engagements
Medway, David       7/27/2023     0.6   Investigate differences between PwC cash payments findings and
                                        original cash and QuickBooks transaction data and updates
                                        schedules based on results
Medway, David       7/27/2023     0.8   Investigate differences between Piper Alderman cash payments
                                        findings and original cash and QuickBooks transaction data and
                                        updates schedules based on results
Medway, David       7/27/2023     0.3   Teleconference with D. Medway, W. Ruez, N. Strong, and A.Cox to
                                        discuss Teknos document review process
Medway, David       7/27/2023     0.2   Investigate differences between Pavel Pogodin entities cash
                                        payments findings and original cash and QuickBooks transaction
                                        data and updates schedules based on results
Medway, David       7/27/2023     0.4   Investigate differences between Paredes Law Firm cash payments
                                        findings and original cash and QuickBooks transaction data and
                                        updates schedules based on results
Medway, David       7/27/2023     0.5   Investigate differences between Katten Muchin cash payments
                                        findings and original cash and QuickBooks transaction data and
                                        updates schedules based on results
Medway, David       7/27/2023     0.2   Call with P. McGrath and D. Medway(A&M) regarding professionals
                                        workstream strategy
Medway, David       7/27/2023     0.2   Investigate differences between Goodwin Proctor cash payments
                                        findings and original cash and QuickBooks transaction data and
                                        updates schedules based on results
Medway, David       7/27/2023     0.5   Call with A. Canale, D. Medway, S.Mimms, and M. Blanchard (A&M)
                                        to discuss lender activity related to Alameda counterparty
Medway, David       7/27/2023     0.2   Call with A. Canale and D. Medway(A&M) regarding professionals
                                        workstream strategy
Medway, David       7/27/2023     0.3   Call with E. Hoffer and D. Medway(A&M) regarding professionals
                                        cash payments data and in scope transaction review
Mimms, Samuel       7/27/2023     1.3   Call with A. Canale, P. McGrath, M. Blanchard, S. Mimms (A&M)
                                        regarding Ripple Labs and Bittrex lending analyses
Mimms, Samuel       7/27/2023     0.5   Call with A. Canale, D. Medway, S.Mimms, and M. Blanchard (A&M)
                                        to discuss lender activity related to Alameda counterparty
Mimms, Samuel       7/27/2023     1.1   Call with L. Ryan, A. Canale, P. McGrath, S. Mimms (A&M)
                                        regarding Van Eck lending claim
Mimms, Samuel       7/27/2023     2.1   Incorporate updates to Van Eck lender analysis presentation

Mimms, Samuel       7/27/2023     1.3   Perform updated LayerZero exchange customer preference analysis



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Avoidance Actions
Professional             Date     Hours     Activity
Patel, Ishika         7/27/2023     2.7   Run targeted searches on Metabase for quality control of
                                          professional payments under 100K threshold
Patel, Ishika         7/27/2023     3.1   Continue running targeted searches on Metabase for quality control
                                          of professional payments under 100K threshold
Patel, Ishika         7/27/2023     2.7   Continue quality control by searching metabase for additional
                                          transactions not recorded in payment data of professional firms
                                          under $100,000 threshold
Patel, Ishika         7/27/2023     2.4   Search metabase for additional transactions not recorded in
                                          payment data of professional firms under $100,000 threshold
Patel, Ishika         7/27/2023     0.2   Call with N. Strong and I. Patel (A&M) regarding QuickBooks entries
                                          for professional firms payment analysis
Peoples, Scott        7/27/2023     0.4   Review and edit memo on professional valuation firm services

Peoples, Scott        7/27/2023     0.4   Call with S. Peoples, M. Ebrey (A&M) regarding valuation of debtor
                                          shares performed by professional firm
Ruez, William         7/27/2023     0.2   Teleconference with D. Medway and W. Ruez (A&M) regarding
                                          Teknos investigation
Ruez, William         7/27/2023     1.6   Update tear sheet summary for Dentsu X LLC / McGarryBowen LLC
                                          re: vendor payments preference analysis
Ruez, William         7/27/2023     2.1   Review prepaid asset supporting documents re: Dentsu X LLC /
                                          McGarryBowen LLC for vendor payments preference analysis
Ruez, William         7/27/2023     2.4   Review supporting documents re: Redwood investigation

Ruez, William         7/27/2023     0.3   Teleconference with D. Medway, W. Ruez, N. Strong, and A.Cox
                                          (A&M) to discuss Teknos document review process
Ryan, Laureen         7/27/2023     0.2   Correspond with A&M team regarding payments to Meta

Ryan, Laureen         7/27/2023     0.6   Correspond with A&M Team on Swift Media vendor preference claim
                                          analysis
Ryan, Laureen         7/27/2023     0.4   Correspond with A&M team regarding workplan for updating
                                          Alameda counterparty lender analysis
Ryan, Laureen         7/27/2023     0.2   Correspond with A&M Team on Van Eck Lender and other lender
                                          analysis
Ryan, Laureen         7/27/2023     1.1   Call with L. Ryan, A. Canale, P. McGrath, S. Mimms (A&M)
                                          regarding Van Eck lending claim
Ryan, Laureen         7/27/2023     0.9   Review and edit draft tear sheet analysis related to Swift Media
                                          vendor preference analysis and related documents
Ryan, Laureen         7/27/2023     0.4   Review and edit draft tear sheet analysis related to Dentsu vendor
                                          preference analysis and related documents
Ryan, Laureen         7/27/2023     0.2   Correspond with QE and A&M team on additional venture deals for
                                          review
Ryan, Laureen         7/27/2023     0.2   Correspond with S&C, RLKS, and A&M team regarding Bank tracker
                                          updates
Ryan, Laureen         7/27/2023     0.4   Review and edit draft tear sheet analysis related to Chicago Title
                                          vendor preference analysis and related documents


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Avoidance Actions
Professional            Date     Hours     Activity
Ryan, Laureen        7/27/2023     0.2   Correspond with S&C and A&M team regarding LayerZero exhibits
                                         for complaint
Ryan, Laureen        7/27/2023     0.3   Correspond with S&C and A&M team regarding FTX $500K
                                         Donation to Stanford details
Ryan, Laureen        7/27/2023     0.3   Call with L. Ryan, A. Canale (A&M) regarding Avoidance action
                                         strategy and workplan
Ryan, Laureen        7/27/2023     0.3   Correspond with S&C and A&M team regarding strategy related to
                                         Alameda counterparty lender claims
Ryan, Laureen        7/27/2023     0.7   Review and edit deck related to Van Eck Lender analysis


Ryan, Laureen        7/27/2023     0.2   Correspond with A&M Team on Dentsu vendor preference claim
                                         analysis
Ryan, Laureen        7/27/2023     0.2   Correspond with S&C and A&M team regarding bank documentation
                                         tracking
Ryan, Laureen        7/27/2023     0.2   Correspond with A&M Team on Chicago Title Vendor preference
                                         claim analysis
Ryan, Laureen        7/27/2023     0.5   Call with B. Beller (S&C), Alix and L. Ryan, A. Canale (A&M)
                                         regarding Alameda counterparty claims strategy and workplan
Sloan, Austin        7/27/2023     2.9   Reconcile bank statement data for Equity bank in relation to the
                                         cash database
Strong, Nichole      7/27/2023     2.2   Verify completeness and accuracy of payment data for payments to
                                         API Law Office
Strong, Nichole      7/27/2023     2.8   Verify completeness and accuracy of payment data for professional
                                         services firms that received less than $100,000 from FTX Digital
                                         Markets using bank statements
Strong, Nichole      7/27/2023     2.3   Verify completeness and accuracy of payment data for payments to
                                         ALI BUDIARDJO, NUGROHO, REKSODIPUTRO
Strong, Nichole      7/27/2023     2.9   Verify completeness and accuracy of payment data for payments to
                                         Adachi Henderson Miyatake Fujita
Strong, Nichole      7/27/2023     0.7   Call with N. Strong and A. Dobbs (A&M) regarding quality control of
                                         professional firms data under $100,000 threshold
Strong, Nichole      7/27/2023     0.6   Call with N. Strong and D. Medway (A&M) regarding investigation of
                                         payments from FTX Digital Markets to Clement T. Maynard law firm
Strong, Nichole      7/27/2023     1.2   Continue to verify completeness and accuracy of payment data for
                                         professional services firms that received less than $100,000 from
                                         FTX Digital Markets using bank statements
Strong, Nichole      7/27/2023     0.8   Call with N. Strong and D. Medway(A&M) regarding quality control
                                         review of materials summarizing results of investigation of
                                         professional payment history
Strong, Nichole      7/27/2023     1.4   Verify completeness and accuracy of payment data for payments to
                                         Steptoe & Johnson LLP
Strong, Nichole      7/27/2023     0.1   Call with N. Strong and A. Cox (A&M) regarding document review for
                                         memo summarizing investigation of Teknos
Strong, Nichole      7/27/2023     0.2   Call with N. Strong and I. Patel (A&M) regarding QuickBooks entries
                                         for professional firms payment analysis



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Avoidance Actions
Professional                 Date    Hours     Activity
Strong, Nichole          7/27/2023     0.3   Teleconference with D. Medway, W. Ruez, N. Strong, and A.Cox
                                             (A&M) to discuss Teknos document review process
Arnett, Chris            7/28/2023     0.2   Compose email and distribute lender preference presentation to
                                             debtor advisor team for review and comment
Canale, Alex             7/28/2023     0.1   Call with A. Canale and D. Medway (A&M) regarding professionals
                                             workstream strategy
Canale, Alex             7/28/2023     0.3   Prepare PMO updates for August 1 meeting

Canale, Alex             7/28/2023     0.9   Call with L. Ryan, N. Strong, A. Canale and D. Medway (A&M)
                                             regarding materials summarizing results of professionals payments
                                             analysis
Canale, Alex             7/28/2023     0.2   Call with A. Canale, M. Ebrey (A&M) regarding valuation of debtor
                                             shares performed by professional firm
Canale, Alex             7/28/2023     0.3   Call with A. Canale, J. Lee (A&M) to discuss funnel analysis for cash
                                             preference deck
Canale, Alex             7/28/2023     0.4   Call with A. Canale, D. Medway, N. Strong (A&M) regarding
                                             professional fees analysis
Canale, Alex             7/28/2023     0.9   Call with A. Canale and P. McGrath (A&M) regarding key insider
                                             investigations
Canale, Alex             7/28/2023     0.3   Correspond with A&M team regarding professionals claims analysis


Canale, Alex             7/28/2023     0.5   Call with A. Canale and P. McGrath (A&M) regarding Ecology
                                             exchange trading data
Canale, Alex             7/28/2023     1.0   Review exchange data relating to Swift Media and update
                                             preference analysis regarding same
Canale, Alex             7/28/2023     0.3   Update vendor preference claim tear sheet reports

Canale, Alex             7/28/2023     1.8   Prepare vendor preference exposure report

Canale, Alex             7/28/2023     0.4   Review Bittrex lender invoices summary prepared by colleague and
                                             provide comments
Canale, Alex             7/28/2023     0.9   Review updates to related individual memorandum and provide
                                             comments
Cox, Allison             7/28/2023     2.6   Draft memo in relation to Teknos valuation analysis


Cox, Allison             7/28/2023     1.3   Summarize engagement letters in relation to Teknos memo

Cox, Allison             7/28/2023     0.8   Review capital schedules in relation to professional fees paid
                                             through equity
Cox, Allison             7/28/2023     2.9   Document review in relation to Teknos valuation analysis

Cox, Allison             7/28/2023     0.1   Call with N. Strong, A. Cox (A&M) regarding methodology of
                                             compilation of payment data to professional firms
Cox, Allison             7/28/2023     0.9   Review documents in relation to professional firms invoices




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Avoidance Actions
Professional               Date    Hours     Activity
Dobbs, Aaron           7/28/2023     1.4   Targeted searches for agreements related to the BitGo lender
                                           relationship
Dobbs, Aaron           7/28/2023     1.2   Summarization of Professional firms under 100,000 cash transaction
                                           fee threshold to test for completeness
Dobbs, Aaron           7/28/2023     2.6   Quality control of professional firms under 100,000 cash transaction
                                           fee threshold to test for completeness
Ebrey, Mason           7/28/2023     1.2   Search in metabase and relativity for previously unidentifiable
                                           transactions involving professional firms
Ebrey, Mason           7/28/2023     0.7   Call with N. Strong, M. Ebrey (A&M) regarding investigation of
                                           payments made to professional firms
Ebrey, Mason           7/28/2023     1.8   Search Relativity database for information on valuation of West
                                           Realm Shires Inc
Ebrey, Mason           7/28/2023     0.2   Call with A. Canale, M. Ebrey (A&M) regarding valuation of debtor
                                           shares performed by professional firm
Ebrey, Mason           7/28/2023     2.3   Search Relativity database for information regarding debtor
                                           relationship with Allyson Gibson Maynard
Gosau, Tracy           7/28/2023     0.1   Review agreements for Chicago Title Insurance re: vendor payments
                                           preference analysis
Gosau, Tracy           7/28/2023     0.3   Review agreements for DentsuX McGarry Bowen re: vendor
                                           payments preference analysis
Gosau, Tracy           7/28/2023     0.5   Call with T. Gosau and P. McGrath (A&M) to discuss sources and
                                           uses for potential recovery
Gosau, Tracy           7/28/2023     2.1   Review tear sheet summaries vendor payments preference analysis


Gosau, Tracy           7/28/2023     1.1   Review potential plan recovery data sources for avoidance actions

Gosau, Tracy           7/28/2023     0.4   Review pre preference period payments for Swift Media re: vendor
                                           payments preference analysis
Helal, Aly             7/28/2023     1.3   Search for more agreements between Debtors and Bittrex Inc

Helal, Aly             7/28/2023     0.9   Perform balance rollover for Equity Bank accounts under FTX Digital
                                           Markets
Helal, Aly             7/28/2023     1.1   Collect court records related to Bittrex mentioning any of debtor
                                           entities in their bankruptcy fillings
Helal, Aly             7/28/2023     0.8   Call with E. Hoffer and A. Helal (A&M) to discuss reconciliation of
                                           Equity Bank accounts
Helal, Aly             7/28/2023     0.2   Call with A. Helal, and A. Canale (A&M) to discuss lender analysis
                                           related to Bittrex Inc
Helal, Aly             7/28/2023     1.3   Update the loan basis report for Bittrex Inc lender activity

Hoffer, Emily          7/28/2023     0.2   Call with A. Sloan and E. Hoffer (A&M) to discuss potential
                                           reconciliation issues with FTX Digital Market Equity bank accounts
Hoffer, Emily          7/28/2023     0.8   Call with E. Hoffer and A. Helal (A&M) to discuss reconciliation of
                                           Equity Bank accounts




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Professional                Date    Hours     Activity
Hoffer, Emily           7/28/2023     0.6   Call with J. Lee, E. Hoffer (A&M) to discuss SOFA 9 payments for
                                            purposes of carve out from cash preference analysis
Hoffer, Emily           7/28/2023     0.4   Call with L. Ryan, J. Lee, E. Hoffer (A&M), J. LaBella, E. Mostoff
                                            (AlixPartners), A. Toobin, R. Schutt, F. Crocco (S&C), and M. Cilia
                                            (FTX) to discuss historical bank statement progress
Hoffer, Emily           7/28/2023     0.6   Compile static versions of bank statement tracker to be shared with
                                            AlixPartners
Hoffer, Emily           7/28/2023     1.2   Quality control review of cash database counterparty overlay prior to
                                            being imported into the cash database
Hoffer, Emily           7/28/2023     0.2   Review Amex statement to confirm professional firm transaction for
                                            use in preference exposure analysis
Hoffer, Emily           7/28/2023     2.9   Update categorization of preference period withdrawals within
                                            preference exposure workbook based on vendor review to be used
                                            in preference exposure analysis
Hoffer, Emily           7/28/2023     2.8   Review cash preference analysis to carve out transactions related to
                                            SOFA 9 filing for use in the cash preference analysis
Johnson, Robert         7/28/2023     0.2   Create backup of metabase production tables in advance of data
                                            correction associated with Equity bank
Johnson, Robert         7/28/2023     0.4   Update records in cash transaction master table associated with
                                            Equity bank to correct identified issue
Johnson, Robert         7/28/2023     0.3   Remove existing records associated with Equity bank in advance of
                                            correction of data
Johnson, Robert         7/28/2023     1.3   Update counter party and notes information in combined banking
                                            data table
Konig, Louis            7/28/2023     1.0   Database scripting related to creation of preference analysis
                                            automation tool
Lee, Julian             7/28/2023     0.2   Prepare follow-up inquiries for Transfero account re: fee calculations
                                            for purposes of cash database
Lee, Julian             7/28/2023     0.4   Call with L. Ryan, J. Lee, E. Hoffer (A&M), J. LaBella, E. Mostoff
                                            (AlixPartners), A. Toobin, R. Schutt, F. Crocco (S&C), and M. Cilia
                                            (FTX) to discuss historical bank statement progress
Lee, Julian             7/28/2023     0.6   Review SOFA 9 data to carve out of cash preference analysis

Lee, Julian             7/28/2023     0.2   Review balance reconciliation for SBI Clearing Trust account for
                                            cash database purposes
Lee, Julian             7/28/2023     0.6   Call with J. Lee, E. Hoffer (A&M) to discuss SOFA 9 payments for
                                            purposes of carve out from cash preference analysis
Lee, Julian             7/28/2023     0.4   Review bank account tracker, underlying bank data for AlixPartners
                                            weekly update
Lee, Julian             7/28/2023     0.2   Review select vendors for update in 90 day preference period
                                            classification re: cash preference analysis
Lee, Julian             7/28/2023     0.4   Review select accounts to determine customer funds per QE inquiry


Lee, Julian             7/28/2023     0.4   Review professional services payment data to carve out of cash
                                            preference analysis



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Avoidance Actions
Professional               Date     Hours     Activity
Lee, Julian             7/28/2023     0.2   Review transactions within 90 day preference period related to
                                            SOFA 9 counterparties
Lee, Julian             7/28/2023     0.4   Review draft request letter to Plaid regarding debtors' customer data


Lee, Julian             7/28/2023     0.2   Call with D. Medway, J. Lee (A&M) to discuss unique counterparties
                                            from professional services payment data
Lee, Julian             7/28/2023     0.2   Update prepaid balances for select vendors re: cash preference
                                            analysis per accounting team
Lee, Julian             7/28/2023     0.2   Review accounting team prepaid balances for select vendors for
                                            purposes of preference analysis
Lee, Julian             7/28/2023     0.7   Prepare funnel analysis template re: vendor payments, cash
                                            preference analysis
Lee, Julian             7/28/2023     0.3   Call with A. Canale, J. Lee (A&M) to discuss funnel analysis for cash
                                            preference deck
Lee, Julian             7/28/2023     0.2   Review bank communication status tracker for weekly PMO status
                                            update
McGrath, Patrick        7/28/2023     0.5   Call with T. Gosau and P. McGrath (A&M) to discuss sources and
                                            uses for potential recovery
McGrath, Patrick        7/28/2023     1.4   Identify and review memorandum prepared by counsel of transfers
                                            of Debtors funds to certain insiders
McGrath, Patrick        7/28/2023     2.2   Prepare analysis of insiders sources and uses for potential recovery

McGrath, Patrick        7/28/2023     1.1   Review Debtors' lending activity for potential recovery


McGrath, Patrick        7/28/2023     0.2   Call with I. Radwanski and P. McGrath (A&M) to discus sources and
                                            uses for potential recovery
McGrath, Patrick        7/28/2023     1.2   Summarize analysis of sources and uses of insiders activity for
                                            potential recovery
McGrath, Patrick        7/28/2023     0.9   Call with A. Canale and P. McGrath (A&M) regarding key insider
                                            investigations
McGrath, Patrick        7/28/2023     0.5   Call with A. Canale and P. McGrath (A&M) regarding Ecology
                                            exchange trading data
Medway, David           7/28/2023     0.1   Call with A. Canale and D. Medway (A&M) regarding professionals
                                            workstream strategy
Medway, David           7/28/2023     0.9   Call with L. Ryan, N. Strong, A. Canale and D. Medway (A&M)
                                            regarding materials summarizing results of professionals payments
                                            analysis
Medway, David           7/28/2023     0.3   Communications with QE regarding professionals report schedule


Medway, David           7/28/2023     2.6   Edit professionals report schedule based on internal review
                                            comments
Medway, David           7/28/2023     0.2   Call with D. Medway, J. Lee (A&M) to discuss unique counterparties
                                            from professional services payment data
Medway, David           7/28/2023     0.4   Call with D. Medway and N. Strong (A&M) regarding results of
                                            investigation of payments to Allyson Gibson Maynard


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Avoidance Actions
Professional              Date     Hours     Activity
Medway, David          7/28/2023     0.8   Call with D. Medway and N. Strong (A&M) regarding edits to exhibit
                                           to professionals report
Medway, David          7/28/2023     0.4   Call with A. Canale, D. Medway, N. Strong (A&M) regarding
                                           professional fees analysis
Medway, David          7/28/2023     0.3   Internal communications regarding investigation of valuation
                                           services provided by Teknos
Medway, David          7/28/2023     0.4   Internal communications regarding results of investigation of
                                           payments to Allyson Gibson Maynard
Medway, David          7/28/2023     0.6   Prepare drafts of professionals report schedule for QE review


Medway, David          7/28/2023     0.7   Update professional report schedule for out of scope professionals
                                           with material transactions with FTX Digital Markets
Medway, David          7/28/2023     0.7   Prepare workplan for staff updates to data underlying professionals
                                           report schedule
Medway, David          7/28/2023     0.5   Prepare for internal call regarding materials summarizing results of
                                           professionals payments analysis
Medway, David          7/28/2023     0.6   Review materials summarizing results of investigation of payments
                                           to Allyson Gibson Maynard
Mimms, Samuel          7/28/2023     2.6   Summarize claims made in Alameda counterparty's proof of claim at
                                           the request of Counsel at S&C
Mimms, Samuel          7/28/2023     2.7   Update Alameda counterparty exchange customer preference
                                           analysis at the request of Counsel at S&C
Mosley, Ed             7/28/2023     1.1   Review of and prepare comments to draft of VanEck preference
                                           analysis
Peoples, Scott         7/28/2023     0.6   Review and edit memo on valuation professional services firm

Radwanski, Igor        7/28/2023     0.2   Call with I. Radwanski and P. McGrath (A&M) to discus sources and
                                           uses for potential recovery
Ruez, William          7/28/2023     3.1   Review valuation reports and supporting documents re: Teknos
                                           investigation
Ryan, Laureen          7/28/2023     0.1   Correspond with Alix and A&M team regarding bank tracker updates


Ryan, Laureen          7/28/2023     0.2   Correspond with A&M Team on PMO updates related to Avoidance
                                           activities
Ryan, Laureen          7/28/2023     0.4   Call with L. Ryan, J. Lee, E. Hoffer (A&M), J. LaBella, E. Mostoff
                                           (AlixPartners), A. Toobin, R. Schutt, F. Crocco (S&C), and M. Cilia
                                           (FTX) to discuss historical bank statement progress
Ryan, Laureen          7/28/2023     0.6   Correspond with A&M team regarding data and exhibit for
                                           professionals report exhibit
Ryan, Laureen          7/28/2023     0.2   Correspond with A&M team regarding progress on Alameda
                                           counterparty lender analysis
Ryan, Laureen          7/28/2023     0.2   Correspond with A&M team regarding QE's comments on
                                           professionals fees analysis and exhibit
Ryan, Laureen          7/28/2023     0.4   Correspond with S&C and A&M team regarding LayerZero KJYC
                                           document observations


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                             July 1, 2023 through July 31, 2023


Avoidance Actions
Professional              Date     Hours     Activity
Ryan, Laureen          7/28/2023     0.2   Review and edit updated draft tear sheet analysis related to Dentsu
                                           vendor preference analysis
Ryan, Laureen          7/28/2023     0.4   Correspond with QE and A&M team regarding professionals report
                                           matters
Ryan, Laureen          7/28/2023     0.1   Correspond with A&M Team on Dentsu vendor preference claim
                                           analysis
Ryan, Laureen          7/28/2023     0.3   Correspond with QE and A&M team regarding FTX $500K Donation
                                           to Stanford additional findings
Ryan, Laureen          7/28/2023     0.2   Correspond with QE and A&M team regarding payments to related
                                           individual
Ryan, Laureen          7/28/2023     0.9   Call with L. Ryan, N. Strong, A. Canale and D. Medway (A&M)
                                           regarding materials summarizing results of professionals payments
                                           analysis
Sloan, Austin          7/28/2023     0.2   Call with A. Sloan and E. Hoffer (A&M) to discuss potential
                                           reconciliation issues with FTX Digital Market Equity bank accounts
Strong, Nichole        7/28/2023     0.9   Call with L. Ryan, N. Strong, A. Canale and D. Medway (A&M)
                                           regarding materials summarizing results of professionals payments
                                           analysis
Strong, Nichole        7/28/2023     0.1   Call with N. Strong, A. Cox (A&M) regarding methodology of
                                           compilation of payments to professional firms
Strong, Nichole        7/28/2023     2.3   Continue to verify completeness and accuracy of payment data for
                                           professional services firms that received more than $1M from FTX
                                           Digital Markets using bank statements
Strong, Nichole        7/28/2023     1.4   Verify completeness and accuracy of payment data for payments to
                                           Hassans International Law
Strong, Nichole        7/28/2023     1.7   Verify completeness and accuracy of payment data for professional
                                           services firms that received more than $1M from FTX Digital
                                           Markets using bank statements
Strong, Nichole        7/28/2023     0.4   Call with D. Medway and N. Strong (A&M) regarding results of
                                           investigation of payments to Allyson Gibson Maynard
Strong, Nichole        7/28/2023     0.9   Call with N. Strong, A. Canale and D. Medway (A&M) regarding
                                           categorization of payments to professionals
Strong, Nichole        7/28/2023     0.8   Call with D. Medway and N. Strong (A&M) regarding edits to exhibit
                                           to professionals report
Strong, Nichole        7/28/2023     0.4   Call with A. Canale, D. Medway, N. Strong (A&M) regarding
                                           professional fees analysis
Strong, Nichole        7/28/2023     0.7   Call with N. Strong, M. Ebrey (A&M) regarding investigation of
                                           payments made to professional firms
Canale, Alex           7/29/2023     0.2   Call with A. Helal, and A. Canale (A&M) to discuss lender analysis
                                           related to Bittrex Inc
Helal, Aly             7/29/2023     1.1   Search for missing Equity Bank Accounts under FTX Digital Markets

Helal, Aly             7/29/2023     0.2   Call with A. Helal, and A. Canale (A&M) to discuss lender analysis
                                           related to Bittrex Inc
Helal, Aly             7/29/2023     1.7   Answer comments and questions regarding FTX Japan SBI Clearing
                                           bank accounts balance rollover activity


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Avoidance Actions
Professional                Date    Hours     Activity
Helal, Aly              7/29/2023     0.6   Revise transaction descriptions associated with Bittrex lending
                                            activity
Hoffer, Emily           7/29/2023     2.3   Quality control check of the preference analysis for withdrawals
                                            made to vendors for use in the cash preference analysis
Hoffer, Emily           7/29/2023     1.6   Quality control check of the preference analysis for withdrawals
                                            made to SOFA 9 entities for use in the cash preference analysis
Hoffer, Emily           7/29/2023     1.8   Quality control check of the preference analysis for withdrawals
                                            made to professional firms for use in the cash preference analysis
Hoffer, Emily           7/29/2023     3.1   Carve out transactions made to professionals from cash preference
                                            analysis
Konig, Louis            7/29/2023     1.2   Quality control and review of output related to creation of preference
                                            analysis automation tool
Lee, Julian             7/29/2023     0.1   Update funnel chart for various payment categories re: cash
                                            preference analysis
Lee, Julian             7/29/2023     0.1   Correspond with team regarding 90 day preference period payments
                                            related to professional service firms
Lee, Julian             7/29/2023     0.2   Prepare weekly bank account tracker to accounting team re: cash
                                            database status
Lee, Julian             7/29/2023     0.2   Update prepaid balances for select vendors re: cash preference
                                            analysis per accounting team
Peoples, Scott          7/29/2023     0.3   Review materials identified through document searches related to
                                            debtor stock options
Peoples, Scott          7/29/2023     0.4   Review and edit the memorandum related to valuation firm review


Ryan, Laureen           7/29/2023     0.2   Correspond with QE and A&M team regarding FTX $500K Donation
                                            to Stanford
Ebrey, Mason            7/30/2023     0.3   Review of memo related to Redwood Valuation Partners
                                            Investigation
Lee, Julian             7/30/2023     0.1   Correspond with team regarding potential post-petition payments to
                                            TriNet
Lee, Julian             7/30/2023     0.3   Correspond with team regarding comparison of SOFA 9 payments to
                                            preference period classification analysis
Lee, Julian             7/30/2023     0.4   Review West Realm Shires Services bank statements, payroll data
                                            to identify potential post-petition payments to TriNet
Medway, David           7/30/2023     1.3   Edit draft professionals report based on team feedback

Medway, David           7/30/2023     0.4   Communications with QE and A&M team regarding draft
                                            professionals report and edits to professionals report exhibit
Medway, David           7/30/2023     0.6   Review QE edits to professionals report exhibit and incorporate into
                                            master file
Ryan, Laureen           7/30/2023     0.7   Correspond with QE and A&M team regarding inquires related to
                                            professionals report
Ryan, Laureen           7/30/2023     0.9   Correspond with A&M team regarding additional information to
                                            examine for professionals report




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Avoidance Actions
Professional              Date    Hours     Activity
Ryan, Laureen         7/30/2023     0.2   Correspond with A&M team regarding cash preference analysis

Strong, Nichole       7/30/2023     1.1   Prepare updates to draft exhibit for professionals reports at the
                                          direction of counsel (QE)
Arnett, Chris         7/31/2023     0.4   Review and comment on revised lender preference analysis

Arnett, Chris         7/31/2023     0.2   Call with C. Arnett, L. Ryan, A. Canale, S. Mimms (A&M) regarding
                                          lender analysis
Blanchard, Madison    7/31/2023     0.3   Call with A. Helal, and M. Blanchard (A&M) to discuss interest and
                                          basis updates relating to Bittrex lending claim
Blanchard, Madison    7/31/2023     1.4   Continue quality control review of analysis relating to Alameda
                                          counterparty lending claim
Blanchard, Madison    7/31/2023     0.5   Call with S. Mimms, M. Blanchard (A&M) regarding updates to
                                          Alameda counterparty analysis
Blanchard, Madison    7/31/2023     0.7   Continue to prepare presentation relating to Ripple Labs lending
                                          claim
Blanchard, Madison    7/31/2023     0.3   Call with L. Konig, and M. Blanchard (A&M) to discuss data requests
                                          related to customer accounts
Blanchard, Madison    7/31/2023     0.1   Call with A. Helal, and M. Blanchard (A&M) to discuss QC process
                                          for Ripple Labs
Blanchard, Madison    7/31/2023     0.6   Review analysis related to customer exchange preferences for
                                          accounts identified by counsel
Blanchard, Madison    7/31/2023     0.3   Call with A. Canale, S. Mimms, M. Blanchard (A&M) regarding
                                          updates to Alameda counterparty analysis
Blanchard, Madison    7/31/2023     0.4   Review analysis prepared relating to Bittrex lending claim and
                                          preference exposure
Blanchard, Madison    7/31/2023     2.4   Quality control review of analysis relating to Alameda counterparty
                                          lending claim
Blanchard, Madison    7/31/2023     2.7   Prepare presentation relating to Ripple Labs lending claim and
                                          market maker loans
Canale, Alex          7/31/2023     0.9   Prepare vendor preference payments report


Canale, Alex          7/31/2023     0.8   Call with Call with A. Alden, J. Young, M. Lev, T. Murray, O. Yeffet,
                                          K. Lemire, S. Hill, and S. Rand (QE) and L. Ryan, A. Canale, M.
                                          Shanahan, N. Strong, and D. Medway (A&M) regarding
                                          professionals report review and exhibit preparation
Canale, Alex          7/31/2023     0.5   Call with L. Ryan, A. Canale, N. Strong, and D. Medway (A&M)
                                          regarding preparation for professionals report call with QE
Canale, Alex          7/31/2023     0.1   Call with A. Canale, M. Ebrey (A&M) regarding debtor retained firms
                                          and subsequent payments
Canale, Alex          7/31/2023     0.7   Call with A. Canale, M. Shanahan (A&M) to discuss preference
                                          analysis
Canale, Alex          7/31/2023     0.2   Call with A. Heric, L. Lambert, A. Canale, and M. Blanchard (A&M)
                                          to discuss XRP tracing and next steps in relation to lending claim




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Professional                 Date    Hours     Activity
Canale, Alex             7/31/2023     0.8   Call with L. Ryan, A. Canale, M. Shanahan, N. Strong, and D.
                                             Medway (A&M) regarding professionals report review and exhibit
                                             preparation
Canale, Alex             7/31/2023     1.2   Prepare Alameda counterparty claims deck including summary of
                                             claims filed against the Debtors
Canale, Alex             7/31/2023     0.4   Call with A. Canale, E. Hoffer, J. Lee, D. Hainline, M. Mirando (A&M)
                                             to discuss prepaid asset balances for select vendors
Canale, Alex             7/31/2023     0.7   Review Alameda counterparty proof of claim summary schedules

Canale, Alex             7/31/2023     0.2   Call with C. Arnett, L. Ryan, A. Canale, S. Mimms (A&M) regarding
                                             lender analysis
Canale, Alex             7/31/2023     0.3   Call with A. Canale, S. Mimms, M. Blanchard (A&M) regarding
                                             updates to Alameda counterparty analysis
Canale, Alex             7/31/2023     0.7   Call with A. Canale, and N. Strong (A&M) regarding updates to
                                             professionals exhibit to exclude retainers paid for post petition
                                             services
Canale, Alex             7/31/2023     0.8   Analysis of professionals retainer payments


Canale, Alex             7/31/2023     0.4   Review updated LayerZero exchange customer preference
                                             schedules
Canale, Alex             7/31/2023     0.4   Call with A. Canale, M. Shanahan, J. Lee and E. Hoffer (A&M) to
                                             discuss transactions during preference period related to SOFA 9
                                             counterparties for use in the preference exposure analysis
Canale, Alex             7/31/2023     1.9   Review draft professionals report prepared by QE and provide
                                             comment
Canale, Alex             7/31/2023     0.2   Call with L. Ryan, A. Canale (A&M) regarding professionals report
                                             exhibit preparation strategy
Cox, Allison             7/31/2023     0.9   Review related individual analysis to confirm proper valuation of
                                             payments received
Cox, Allison             7/31/2023     1.6   Review documents in relation to retainers paid to professional firms

Cox, Allison             7/31/2023     0.3   Call with N. Strong, I. Patel, and A. Cox (A&M) to discuss payments
                                             to professional firms
Cox, Allison             7/31/2023     0.1   Call with N. Strong, M. Ebrey, and A. Cox (A&M) to discuss retainer
                                             fees for professional firms
Cox, Allison             7/31/2023     1.1   Review valuation reports in relation to Teknos analysis

Cox, Allison             7/31/2023     2.3   Update payment summary in relation to retainers paid to
                                             professionals
Cox, Allison             7/31/2023     0.7   Working session with N. Strong and A. Cox (A&M) to discuss fees to
                                             professional firms
Cox, Allison             7/31/2023     0.9   Working session with N. Strong and A. Cox (A&M) to discuss
                                             retainer payments to professionals
Cox, Allison             7/31/2023     0.6   Review cash and QuickBooks data in relation to retainers paid to
                                             professional firms



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Avoidance Actions
Professional               Date    Hours     Activity
Dobbs, Aaron           7/31/2023     1.8   Targeted searches for signed loan agreements related to BitGo
                                           Prime assess potential preference period claims
Dobbs, Aaron           7/31/2023     1.6   Quality control of professional firms data to adjust for variance in
                                           professional fees thresholds
Dobbs, Aaron           7/31/2023     2.6   Summarize BitGo cash transaction to identify potential preference
                                           period claims relating to lending activity
Dobbs, Aaron           7/31/2023     2.2   Targeted searches for position summary statements related to BitGo
                                           lender relationship to assess potential preference period claims
Ebrey, Mason           7/31/2023     0.1   Call with N. Strong, M. Ebrey, and A. Cox (A&M) to discuss retainer
                                           fees for professional firms
Ebrey, Mason           7/31/2023     0.1   Call with A. Canale, M. Ebrey (A&M) regarding debtor retained firms
                                           and subsequent payments
Ebrey, Mason           7/31/2023     2.9   Construction of summary of firms retained by debtors as part of
                                           chapter 11 bankruptcy process
Ebrey, Mason           7/31/2023     3.1   Construct roll forward table for Turkish bank balances

Gosau, Tracy           7/31/2023     1.1   Review deposits information used for potential recovery


Hainline, Drew         7/31/2023     0.4   Response to questions on prepaid expense balances to support
                                           preference actions
Hainline, Drew         7/31/2023     0.4   Call with A. Canale, E. Hoffer, J. Lee, D. Hainline, M. Mirando (A&M)
                                           to discuss prepaid asset balances for select vendors
Helal, Aly             7/31/2023     1.3   Review the vendor analysis presentation to confirm completeness
                                           and accuracy
Helal, Aly             7/31/2023     1.6   Search in Bittrex Inc court filings for any mention of claims against
                                           FTX
Helal, Aly             7/31/2023     0.3   Call with A. Helal, and M. Blanchard (A&M) to discuss interest and
                                           basis updates relating to Bittrex lending claim
Helal, Aly             7/31/2023     0.1   Call with A. Helal, and M. Blanchard (A&M) to discuss QC process
                                           for Ripple Labs
Helal, Aly             7/31/2023     2.1   Reconcile FTX Digital Markets Equity Bank accounts


Helal, Aly             7/31/2023     1.9   Reconcile FTX Japan SBI Clearing Trust bank accounts

Helal, Aly             7/31/2023     0.6   Review the Ripple laps report analysis for completeness and
                                           accuracy
Hoffer, Emily          7/31/2023     0.4   Call with A. Canale, E. Hoffer, J. Lee, D. Hainline, M. Mirando (A&M)
                                           to discuss prepaid asset balances for select vendors
Hoffer, Emily          7/31/2023     0.4   Call with A. Canale, M. Shanahan, J. Lee and E. Hoffer (A&M) to
                                           discuss transactions during preference period related to SOFA 9
                                           counterparties for use in the preference exposure analysis
Hoffer, Emily          7/31/2023     0.4   Communicate with team regarding prepaid balances as of petition
                                           date for use in various preference exposure analyses
Hoffer, Emily          7/31/2023     1.3   Update preference period transactions for categorization of
                                           transactions paid to banks in relation to fees for use in preference
                                           exposure analysis

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Avoidance Actions
Professional               Date     Hours     Activity
Hoffer, Emily           7/31/2023     0.3   Teleconference with J. Lee, A. Sloan, C. Radis, and E. Hoffer (A&M)
                                            to discuss calculating cash database balances at petition date
Hoffer, Emily           7/31/2023     1.4   Update professional firms appendix to reflect updates to transaction
                                            bucketing for use in preference exposure analysis
Hoffer, Emily           7/31/2023     1.3   Update SOFA 9 appendix to reflect updates to transaction bucketing
                                            for use in preference exposure analysis
Hoffer, Emily           7/31/2023     1.4   Quality control review of cash preference analysis deck to determine
                                            if any updates are necessary due to updates of underlying workpaper
Hoffer, Emily           7/31/2023     1.2   Review engagement letters for various professional firms paid during
                                            the preference period for identifying retainer amounts
Hoffer, Emily           7/31/2023     0.8   Update investment appendix to reflect updates to transaction
                                            bucketing for use in preference exposure analysis
Hoffer, Emily           7/31/2023     0.9   Review preference transactions related to vendors to determine
                                            number of unique counterparties to use in preference analysis
                                            exposure deck
Hoffer, Emily           7/31/2023     0.4   Teleconference with J. Lee, E. Hoffer, C. Radis, M. Shanahan,
                                            (A&M) M. Wong, and E. Lapunzina (Circle) regarding counterparty
                                            data extracts
Konig, Louis            7/31/2023     0.3   Call with L. Konig, and M. Blanchard (A&M) to discuss data requests
                                            related to customer accounts
Lee, Julian             7/31/2023     0.2   Review of vendor payments above $1.5M preference analysis
                                            scoping
Lee, Julian             7/31/2023     0.4   Call with A. Canale, M. Shanahan, J. Lee and E. Hoffer (A&M) to
                                            discuss transactions during preference period related to SOFA 9
                                            counterparties for use in the preference exposure analysis
Lee, Julian             7/31/2023     0.4   Call with A. Canale, E. Hoffer, J. Lee, D. Hainline, M. Mirando (A&M)
                                            to discuss prepaid asset balances for select vendors
Lee, Julian             7/31/2023     0.2   Review classification workpaper for cash preference analysis


Lee, Julian             7/31/2023     1.7   Update funnel chart analysis re: cash preference analysis

Lee, Julian             7/31/2023     0.4   Teleconference with J. Lee, E. Hoffer, C. Radis, M. Shanahan
                                            (A&M) and M. Wong, E. Lapunzina (Circle) regarding counterparty
                                            data extracts
Lee, Julian             7/31/2023     0.3   Teleconference with J. Lee, A. Sloan, C. Radis, and E. Hoffer (A&M)
                                            to discuss calculating cash database balances at petition date
Lee, Julian             7/31/2023     0.1   Review petition date balances provided by accounting team for
                                            debtor accounts re: cash database balance summary table
Lee, Julian             7/31/2023     0.5   Perform quality control of prepaid asset balances for select vendors
                                            re: vendor payment preference analysis
Lee, Julian             7/31/2023     1.9   Perform quality control of cash preference analysis re: summary of
                                            classifications
Lee, Julian             7/31/2023     2.3   Perform quality control of cash preference analysis re: funnel chart

Lee, Julian             7/31/2023     1.6   Incorporate team comments for updated cash preference analysis
                                            deck


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Avoidance Actions
Professional               Date     Hours     Activity
Lee, Julian             7/31/2023     0.2   Correspond with accounting team regarding discrepancies in various
                                            vendors within prepaid asset balance files
Lee, Julian             7/31/2023     0.6   Review prepaid asset balance files provided by accounting team


McGrath, Patrick        7/31/2023     1.2   Review exchange transactions for potential recovery

Medway, David           7/31/2023     0.8   Call with Call with A. Alden, J. Young, M. Lev, T. Murray, O. Yeffet,
                                            K. Lemire, S. Hill, and S. Rand (QE) and L. Ryan, A. Canale, M.
                                            Shanahan, N. Strong, and D. Medway (A&M) regarding
                                            professionals report review and exhibit preparation
Medway, David           7/31/2023     0.8   Call with L. Ryan, A. Canale, M. Shanahan, N. Strong, and D.
                                            Medway (A&M) regarding professionals report review and exhibit
                                            preparation
Medway, David           7/31/2023     0.5   Call with L. Ryan, A. Canale, N. Strong, and D. Medway (A&M)
                                            regarding preparation for professionals report call with QE
Medway, David           7/31/2023     0.6   Communications with A&M team regarding payment data and
                                            analysis for new professionals referenced in professionals report
Medway, David           7/31/2023     0.2   Communications with A&M team regarding status of Teknos
                                            investigation and memo
Medway, David           7/31/2023     0.3   Communications with QE regarding questions from review of draft
                                            professionals report
Medway, David           7/31/2023     2.6   Final updates and review draft professionals report

Medway, David           7/31/2023     0.3   Prepare for call with QE regarding professionals report and exhibit


Medway, David           7/31/2023     0.4   Review draft Alameda counterparty claim analysis

Medway, David           7/31/2023     0.8   Review professionals retainer analysis resulting edits to
                                            professionals report exhibit
Mimms, Samuel           7/31/2023     0.5   Call with S. Mimms, M. Blanchard (A&M) regarding updates to
                                            Alameda counterparty analysis
Mimms, Samuel           7/31/2023     1.8   Update Alameda counterparty exchange preference analysis to
                                            incorporate current withdrawal pricing and latest subsequent
                                            advance data pull
Mimms, Samuel           7/31/2023     2.8   Summarize Alameda counterparty proof of claims for presentation to
                                            S&C
Mimms, Samuel           7/31/2023     0.3   Call with A. Canale, S. Mimms, M. Blanchard (A&M) regarding
                                            updates to Alameda counterparty analysis
Mimms, Samuel           7/31/2023     0.2   Call with C. Arnett, L. Ryan, A. Canale, S. Mimms (A&M) regarding
                                            lender analysis
Mimms, Samuel           7/31/2023     2.7   Perform Alameda counterparty collateral roll forward for presentation
                                            to S&C
Mimms, Samuel           7/31/2023     2.4   Perform LayerZero exchange customer preference analysis at the
                                            request of S&C
Mirando, Michael        7/31/2023     0.4   Call with A. Canale, E. Hoffer, J. Lee, D. Hainline, M. Mirando (A&M)
                                            to discuss prepaid asset balances for select vendors


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Avoidance Actions
Professional             Date     Hours     Activity
Patel, Ishika         7/31/2023     1.4   Quality control review of payments to professional firms

Patel, Ishika         7/31/2023     0.3   Call with N. Strong, I. Patel, and A. Cox (A&M) to discuss payments
                                          to professional firms
Price, Breanna        7/31/2023     2.9   Replace edited bank data in the bank data repository with the
                                          original files provided by the bank or debtor
Price, Breanna        7/31/2023     1.6   Begin the auditing of the bank data received from debtors and banks
                                          to ensure that everything is captured in the cash database
Price, Breanna        7/31/2023     0.7   Add Turicum bank data to the bank statement tracker


Price, Breanna        7/31/2023     0.9   Add Emirates bank data to the bank statement tracker

Radis, Cameron        7/31/2023     0.4   Teleconference with J. Lee, E. Hoffer, C. Radis, M. Shanahan,
                                          (A&M) M. Wong, and E. Lapunzina (Circle) regarding counterparty
                                          data extracts
Radis, Cameron        7/31/2023     0.3   Teleconference with J. Lee, A. Sloan, C. Radis, and E. Hoffer (A&M)
                                          to discuss calculating cash database balances at petition date
Ruez, William         7/31/2023     1.2   Review supporting documents re: Teknos investigation

Ryan, Laureen         7/31/2023     0.2   Call with C. Arnett, L. Ryan, A. Canale, S. Mimms (A&M) regarding
                                          lender analysis
Ryan, Laureen         7/31/2023     0.9   Review and comment on updated vendor preference analysis and
                                          cash preference deck
Ryan, Laureen         7/31/2023     0.3   Correspond with S&C and A&M team regarding updated analysis
                                          related to Alameda counterparty lender analysis
Ryan, Laureen         7/31/2023     1.9   Review and comment on insider memo report from QE

Ryan, Laureen         7/31/2023     0.2   Call with L. Ryan, A. Canale (A&M) regarding professionals report
                                          exhibit preparation strategy
Ryan, Laureen         7/31/2023     2.2   Review and comment on draft professionals report from QE


Ryan, Laureen         7/31/2023     0.4   Review and comment on updated Alameda counterparty analysis for
                                          S&C
Ryan, Laureen         7/31/2023     0.8   Call with Call with A. Alden, J. Young, M. Lev, T. Murray, O. Yeffet,
                                          K. Lemire, S. Hill, and S. Rand (QE) and L. Ryan, A. Canale, M.
                                          Shanahan, N. Strong, and D. Medway (A&M) regarding
                                          professionals report review and exhibit preparation
Ryan, Laureen         7/31/2023     0.8   Call with L. Ryan, A. Canale, M. Shanahan, N. Strong, and D.
                                          Medway (A&M) regarding professionals report review and exhibit
                                          preparation
Ryan, Laureen         7/31/2023     0.1   Correspond with QE and A&M team regarding professionals report
                                          findings and additional documents
Ryan, Laureen         7/31/2023     0.2   Correspond with QE and A&M team regarding insider memo
                                          comments
Ryan, Laureen         7/31/2023     0.2   Correspond with Alix an A&M team regarding list of parties related to
                                          donations under investigation


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Avoidance Actions
Professional            Date     Hours     Activity
Ryan, Laureen        7/31/2023     0.5   Call with L. Ryan, A. Canale, N. Strong, and D. Medway (A&M)
                                         regarding preparation for professionals report call with QE
Ryan, Laureen        7/31/2023     0.2   Call with S. Rand (QE) and L. Ryan (A&M) regarding professionals
                                         report strategy and timetable
Ryan, Laureen        7/31/2023     0.4   Correspond with A&M team regarding vendor preference analysis
                                         updates
Ryan, Laureen        7/31/2023     0.3   Correspond with A&M team regarding Alameda counterparty
                                         analysis inquiries
Ryan, Laureen        7/31/2023     0.4   Correspond with A&M team regarding political and charitable
                                         contributions workstreams isolation within cash preference
                                         payments vendor analysis
Ryan, Laureen        7/31/2023     0.4   Correspond with A&M team regarding draft insider memo comments

Ryan, Laureen        7/31/2023     0.3   Correspond with A&M team regarding cash preference vendor
                                         analysis workplan
Ryan, Laureen        7/31/2023     0.2   Correspond with S&C and A&M team regarding LayerZero
                                         investigation
Shanahan, Michael    7/31/2023     0.7   Call with A. Canale, M. Shanahan (A&M) to discuss preference
                                         analysis
Shanahan, Michael    7/31/2023     1.3   Review updated cash preference deck related to claims assessment


Shanahan, Michael    7/31/2023     0.9   Review draft report exhibit related to professional spend

Shanahan, Michael    7/31/2023     1.1   Review draft 3rd Interim report related to professionals


Shanahan, Michael    7/31/2023     0.3   Communications to/from team regarding cash preference analysis

Shanahan, Michael    7/31/2023     0.4   Call with A. Canale, M. Shanahan, J. Lee and E. Hoffer (A&M) to
                                         discuss transactions during preference period related to SOFA 9
                                         counterparties for use in the preference exposure analysis
Shanahan, Michael    7/31/2023     0.4   Teleconference with J. Lee, E. Hoffer, C. Radis, M. Shanahan
                                         (A&M) and M. Wong, E. Lapunzina (Circle) regarding counterparty
                                         data extracts
Shanahan, Michael    7/31/2023     0.8   Call with A. Alden, J. Young, M. Lev, T. Murray, O. Yeffet, K. Lemire,
                                         S. Hill, and S. Rand (QE) and L. Ryan, A. Canale, M. Shanahan, N.
                                         Strong, and D. Medway (A&M) regarding professionals report review
                                         and exhibit preparation
Shanahan, Michael    7/31/2023     0.8   Call with L. Ryan, A. Canale, M. Shanahan, N. Strong, and D.
                                         Medway (A&M) regarding professionals report review and exhibit
                                         preparation
Sloan, Austin        7/31/2023     0.3   Teleconference with J. Lee, A. Sloan, C. Radis, and E. Hoffer (A&M)
                                         to discuss calculating cash database balances at petition date
Strong, Nichole      7/31/2023     0.4   Internal communications regarding edits to professionals report
                                         exhibit to quantify retainers
Strong, Nichole      7/31/2023     0.9   Working session with N. Strong and A. Cox (A&M) to discuss
                                         retainer payments to professionals



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Avoidance Actions
Professional             Date     Hours      Activity
Strong, Nichole       7/31/2023       0.7   Call with A. Canale, and N. Strong (A&M) regarding updates to
                                            professionals exhibit to exclude retainers paid for post petition
                                            services
Strong, Nichole       7/31/2023       0.7   Working session with N. Strong and A. Cox (A&M) to discuss fees to
                                            professional firms
Strong, Nichole       7/31/2023       2.4   Compare identified retainers to retention analysis supported by
                                            documentation on Kroll claims website
Strong, Nichole       7/31/2023       2.2   Create strategy to identify and quantify retainer payments to
                                            professional firms
Strong, Nichole       7/31/2023       0.8   Call with L. Ryan, A. Canale, M. Shanahan, N. Strong, and D.
                                            Medway (A&M) regarding professionals report review and exhibit
                                            preparation
Strong, Nichole       7/31/2023       0.5   Call with L. Ryan, A. Canale, N. Strong, and D. Medway (A&M)
                                            regarding preparation for professionals report call with QE
Strong, Nichole       7/31/2023       0.8   Communications with QE and A&M team regarding draft
                                            professionals report and edits to professionals report exhibit
Strong, Nichole       7/31/2023       0.3   Call with N. Strong, I. Patel, and A. Cox (A&M) to discuss payments
                                            to professional firms
Strong, Nichole       7/31/2023       0.1   Call with N. Strong, M. Ebrey, and A. Cox (A&M) to discuss retainer
                                            fees for professional firms
Strong, Nichole       7/31/2023       0.8   Call with A. Alden, J. Young, M. Lev, T. Murray, O. Yeffet, K. Lemire,
                                            S. Hill, and S. Rand (QE) and L. Ryan, A. Canale, M. Shanahan, N.
                                            Strong, and D. Medway (A&M) regarding professionals report review
                                            and exhibit preparation

Subtotal                          2,797.6

Business Operations
Professional             Date     Hours      Activity
Chambers, Henry        7/1/2023       0.9   Provide financial information for Quoine PTE and FTX Japan for
                                            'separate subsidiary' analysis
Chambers, Henry        7/1/2023       0.3   Correspondence regarding Quoine PTE next steps


Chambers, Henry        7/1/2023       0.4   Correspondence regarding post-petition depositor KYC requirement

Chan, Jon              7/1/2023       2.2   Organize reports for withdrawal and deposit history by account

Chan, Jon              7/1/2023       1.1   Organize reports for preference analysis calculation by account for
                                            reporting
Chan, Jon              7/1/2023       2.4   Provide withdrawal and deposit history for specific accounts

Dusendschon, Kora      7/1/2023       0.2   Provide weekly deck and dashboard to R. Perubhatla (FTX) with
                                            action items discussed on call
Dusendschon, Kora      7/1/2023       0.3   Compile weekly request tracker for S&C and R. Perubhatla (FTX)




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Business Operations
Professional             Date     Hours     Activity
Iwanski, Larry         7/1/2023     0.6   Review final deliverable regarding a specific crypto tracing request

Johnston, David        7/1/2023     0.8   Review analysis relating to customer positions and claims relating to
                                          FTX Turkey
Kwan, Peter            7/1/2023     1.3   Revise customer region analysis to utilize newly amended customer
                                          schedules data to report on volumes and revenues by jurisdiction in
                                          relation to UCC request
Kwan, Peter            7/1/2023     1.1   Review revised customer region analysis containing volumes and
                                          revenues by jurisdiction in relation to UCC request
Ramanathan, Kumanan    7/1/2023     0.6   Coordinate trading confirmations and activities with market makers


Sagen, Daniel          7/1/2023     0.9   Review updated token vesting data, summarize for Coin Report
                                          inclusion
Sagen, Daniel          7/1/2023     1.2   Prepare updated fiat summary schedule for activity through June 23

Sagen, Daniel          7/1/2023     0.8   Prepare analysis summarizing impact of potential price adjustments
                                          for select tokens
Sagen, Daniel          7/1/2023     0.7   Incorporate updated Japan and Singapore transaction data into June
                                          23 Coin Report
Sagen, Daniel          7/1/2023     0.4   Correspondence with W. Walker (A&M) regarding questions on
                                          updated token vesting data
Sagen, Daniel          7/1/2023     1.4   Analyze cold storage transactions against on chain activity to identify
                                          additional third party exchange transfers to reflect in Coin Report
Sagen, Daniel          7/1/2023     1.2   Analyze category A token population without petition date pricing,
                                          research to identify available prices
Sagen, Daniel          7/1/2023     0.9   Prepare standalone crypto trade activity schedule to incorporate into
                                          Coin Report
Sivapalu, Anan         7/1/2023     0.1   Prepare correspondence regarding market maker diligence
                                          outstanding items
Sivapalu, Anan         7/1/2023     0.2   Call with A. Sivapalu and G. Walia (A&M) regarding diligence
                                          questions
Walia, Gaurav          7/1/2023     2.8   Prepare an updated bridge from the original scheduled customer
                                          claims to the amended scheduled customer claims
Walia, Gaurav          7/1/2023     2.2   Prepare a summary of the locked tokens included in the scheduled
                                          customer claims
Walia, Gaurav          7/1/2023     0.2   Call with A. Sivapalu and G. Walia (A&M) regarding diligence
                                          questions
Chan, Jon              7/2/2023     1.7   Provide database extracts for user on the exchange


Chan, Jon              7/2/2023     1.3   Quality control transactions made by users in Ohio

Chan, Jon              7/2/2023     0.6   Quality control reports made relating to ninety day preference
                                          analysis and internal accounts
Flynn, Matthew         7/2/2023     0.3   Research Bilira TRY balances and preference exposure questions




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Business Operations
Professional               Date     Hours     Activity
Johnston, David          7/2/2023     2.6   Review and update summary analysis relating to FTX Europe AG
                                            moratorium
Kwan, Peter              7/2/2023     0.4   Continue to populated customer region analysis containing volumes
                                            and revenues by jurisdiction in relation to UCC request
Kwan, Peter              7/2/2023     1.5   Test logic for creating unified subaccount level data for all sourced
                                            data with derivative positions required for customer portal reporting
                                            of user balances
Ramanathan, Kumanan      7/2/2023     0.9   Coordinate trading activities with market makers and counterparty

Ramanathan, Kumanan      7/2/2023     0.3   Call with K. Ramanathan, G. Walia (A&M) to discuss scheduled
                                            contingent claims
Ramanathan, Kumanan      7/2/2023     0.5   Review of coin report and provide feedback

Ramanathan, Kumanan      7/2/2023     0.3   Correspondence with K. Ramanathan (A&M) regarding third party
                                            exchange fiat conversions
Sagen, Daniel            7/2/2023     0.4   Revise token vesting data in Coin Report per updated information
                                            from W. Walker (A&M)
Sagen, Daniel            7/2/2023     1.6   Review and respond to feedback from K. Ramanathan (A&M)
                                            regarding June 23 Coin Report
Sagen, Daniel            7/2/2023     0.6   Prepare draft Coin Report materials, circulate for review


Sagen, Daniel            7/2/2023     1.2   Prepare bridge summarizing material changes in petition date crypto
                                            balances
Sagen, Daniel            7/2/2023     0.3   Correspondence with K. Ramanathan (A&M) regarding third party
                                            exchange fiat conversions
Sagen, Daniel            7/2/2023     1.4   Prepare variance analysis of June 23 Coin Report vs June 9

van den Belt, Mark       7/2/2023     2.1   Prepare updated waterfall analysis for FTX Europe entities

Walia, Gaurav            7/2/2023     1.3   Prepare a summary of the contingent claims included in the
                                            scheduled customer claims
Walia, Gaurav            7/2/2023     0.3   Call with K. Ramanathan, G. Walia (A&M) to discuss scheduled
                                            contingent claims
Walker, William          7/2/2023     2.1   Update token model summary chart in response to reconciliation
                                            request from D. Sagan (A&M)
Walker, William          7/2/2023     0.4   Correspond with D. Sagan (A&M) regarding updated token summary
                                            report
Arbid, Rami              7/3/2023     0.3   Prepare correspondence related to FTX Exchange FZE audit
                                            requirements
Arbid, Rami              7/3/2023     0.7   Discuss with G. Wall (A&M) related to FTX Exchange FZE steps
                                            plan - review of note for steps plan
Arbid, Rami              7/3/2023     2.6   Draft note on review of steps plan for wind-down of FTX Dubai

Arnett, Chris            7/3/2023     0.3   Update weekly workstream planning documents for HR, contract,
                                            and vendor teams


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Business Operations
Professional             Date     Hours     Activity
Balmelli, Gioele       7/3/2023     0.9   Prepare correspondence on FTX Europe AG FTX.com account
                                          transactions review
Balmelli, Gioele       7/3/2023     1.6   Set-up and Prepare FTX EU Ltd potential options teaser


Balmelli, Gioele       7/3/2023     2.4   Prepare FTX Europe AG FTX.com account transactions review

Balmelli, Gioele       7/3/2023     0.7   Prepare correspondence on FTX Europe Dropbox Backup

Chambers, Henry        7/3/2023     0.8   Consider the liquidation plan for Quoine India entity


Chambers, Henry        7/3/2023     0.4   Update FTX Japan withdrawal KPI deck

Chambers, Henry        7/3/2023     0.7   Update instructions for manual review and customer support


Chan, Jon              7/3/2023     1.6   Investigate activity relating accounts addressed in subpoena request

Chan, Jon              7/3/2023     2.4   Investigate activity relating to withdrawal and deposit history for
                                          certain accounts
Corr, Caoimhe          7/3/2023     3.2   Prepare slide deck of the situation overview in FTX EU

Corr, Caoimhe          7/3/2023     0.3   Participate in call with M. Van den Belt, C. Corr, S. Schlam, E.
                                          Dalgleish (A&M) to discuss strategic options analysis for FTX
                                          Europe and rest of world entities, as well as step plans for each entity
Dalgleish, Elizabeth   7/3/2023     0.3   Prepare correspondence with M. Lambrianou (FTX) regarding the
                                          payroll data request from the Board requesting payroll information
                                          from 12 November 2021 - 11 November 2022
Dalgleish, Elizabeth   7/3/2023     0.3   Call with M. Van den Belt, C. Corr, S. Schlam, E. Dalgleish (A&M) to
                                          discuss strategic options analysis for FTX Europe and rest of world
                                          entities, as well as step plans for each entity
Evans, Charles         7/3/2023     0.2   Correspondence with S.Li, C.Evans, H. Chambers, M.van den Belt,
                                          J. Lam (A&M) regarding liquidator queries FTX Japan Services KK
Flynn, Matthew         7/3/2023     0.4   Update crypto workstream project plan for latest status for
                                          management
Flynn, Matthew         7/3/2023     0.9   Research historical third-party Alameda exchange balances and
                                          ownership
Johnston, David        7/3/2023     0.3   Call with S. Aydin (FTX), D. Johnston, M. van den Belt (A&M) on
                                          FTX Turkey Bilira positions
Johnston, David        7/3/2023     0.7   Review historical analysis of FTX Europe AG crypto transfers


Johnston, David        7/3/2023     1.1   Review draft wind down step plans for FTX Singapore and Gibraltar

Kwan, Peter            7/3/2023     1.2   Finalize customer region analysis containing volumes and revenues
                                          by jurisdiction in relation to UCC request
Kwan, Peter            7/3/2023     1.1   Research bridging reconciliation output to confirm anomalies
                                          identified by A&M data team



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Professional               Date     Hours     Activity
Kwan, Peter              7/3/2023     0.3   Test insertion logic for subaccount level data for adjustments table
                                            used for customer portal reporting of user balances
Kwan, Peter              7/3/2023     0.2   Draft communication summarizing customer region analysis
                                            containing volumes and revenues by jurisdiction related to UCC
                                            request
Lam, James               7/3/2023     0.7   Review FTX Japan and Quoine Pte token balances


Lam, James               7/3/2023     0.4   Discuss with J. Yan & J. Lam (A&M) regarding the preparation of the
                                            summary table of FTX Japan customer withdrawal as at 2 July 2023
Lam, James               7/3/2023     0.4   Discuss with J. Yan & J. Lam (A&M) regarding the wallet data of
                                            FTX Japan, Quoine Pte and Bitgo
Li, Summer               7/3/2023     0.3   Prepare for the non-disclosure agreement for the proposed liquidator
                                            of FTX Japan Services K.K. to sign on before disclosing additional
                                            information
Li, Summer               7/3/2023     0.7   Perform research on the law that governing the liquidation procedure
                                            in Japan
Li, Summer               7/3/2023     0.9   Identify the receiving bank of the remaining funds at one of the bank
                                            accounts of Anlisya Pte
Li, Summer               7/3/2023     0.2   Correspondence with S. Mishkin (S&C) regarding the non-disclosure
                                            agreement for the proposed liquidator of FTX Japan Services K.K
Mosley, Ed               7/3/2023     0.4   Review of and prepare comments to draft staking and hedging
                                            status for board
Nadimpalli, Vamsi        7/3/2023     1.7   Gather admin processes for customer service documentation

Radwanski, Igor          7/3/2023     0.2   Cross check wallet addresses in different repositories

Ramanathan, Kumanan      7/3/2023     0.2   Call with K. Ramanathan and D. Sagen (A&M) to discuss updates to
                                            June 23 Coin Report
Sagen, Daniel            7/3/2023     0.4   Correspondence with W. Walker (A&M) regarding June 23 Coin
                                            Report updates
Sagen, Daniel            7/3/2023     0.9   Update staked token quantities per revised inputs discussed with K.
                                            Ramanathan (A&M)
Sagen, Daniel            7/3/2023     1.4   Incorporate token price edits to June 23 Coin Report

Sagen, Daniel            7/3/2023     0.2   Call with K. Ramanathan and D. Sagen (A&M) to discuss updates to
                                            June 23 Coin Report
Sagen, Daniel            7/3/2023     0.4   Prepare updated drafts of June 23 Coin Report for review

Schlam Batista, Sharon   7/3/2023     0.3   Call with M. Van den Belt, C. Corr, S. Schlam, E. Dalgleish (A&M) to
                                            discuss strategic options analysis for FTX Europe and rest of world
                                            entities, as well as step plans for each entity
Sexton, Rachel           7/3/2023     0.1   Progress update on wind-down strategy and agree next steps with J.
                                            Casey
Sivapalu, Anan           7/3/2023     0.4   Call with A. Sivapalu and G. Walia (A&M) regarding diligence
                                            questions on market maker financial metrics



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Business Operations
Professional             Date     Hours     Activity
Sivapalu, Anan         7/3/2023     1.6   Identify all tokens BULL/BEAR based tokens to gauge impact of
                                          spreads
Stockmeyer, Cullen     7/3/2023     2.1   Analyze updated information for input into trailing expense model


Stockmeyer, Cullen     7/3/2023     2.3   Update crypto tracing request tracker for requests related to KYC

van den Belt, Mark     7/3/2023     0.3   Review correspondence on historical payroll payments of FTX EU Ltd

van den Belt, Mark     7/3/2023     0.3   Call with S. Aydin (FTX), D. Johnston, M. van den Belt (A&M) on
                                          FTX Turkey BiLira positions
van den Belt, Mark     7/3/2023     1.9   Review step plan of wind down for FTX Singapore

van den Belt, Mark     7/3/2023     1.4   Review step plan of wind down for FTX Japan


van den Belt, Mark     7/3/2023     1.7   Prepare analysis on BiLira position of FTX Turkey post payment
                                          adjustments
van den Belt, Mark     7/3/2023     0.2   Prepare correspondence on FTX Japan Services NDA


van den Belt, Mark     7/3/2023     0.3   Call with M. Van den Belt, C. Corr, S. Schlam, E. Dalgleish (A&M) to
                                          discuss strategic options analysis for FTX Europe and rest of world
                                          entities, as well as step plans for each entity
van den Belt, Mark     7/3/2023     1.6   Review step plan of wind down for FTX Gibraltar

Walia, Gaurav          7/3/2023     0.8   Update the by jurisdiction analysis to share for 2.0 diligence


Walia, Gaurav          7/3/2023     1.6   Review the 3rd party exchange by account holder analysis and
                                          provide feedback
Walia, Gaurav          7/3/2023     2.4   Review the 2.0 diligence request questions and prepare responses

Walia, Gaurav          7/3/2023     0.4   Call with A. Sivapalu and G. Walia (A&M) regarding diligence
                                          questions on market maker financial metrics
Walker, William        7/3/2023     0.6   Correspond with token issuer on confirmation of A&M credentials

Wall, Guy              7/3/2023     2.8   Review of steps plan received for wind-down of FTX Exchange FZE
                                          and DWTC regulations - drafting note on plan for circulation
Wall, Guy              7/3/2023     0.2   Prepare correspondence related to FTX Exchange FZE audit
                                          requirements
Wall, Guy              7/3/2023     0.7   Meet with R. Arbid (A&M) related to FTX Exchange FZE steps
                                          plan - review of note related to steps plan
Yan, Jack              7/3/2023     0.3   Understand the summary table of customer withdrawal of FTX Japan
                                          as at 19 June 2023
Yan, Jack              7/3/2023     2.6   Understand the wallet data of FTX Japan, Quoine Pte and Bitgo

Yan, Jack              7/3/2023     0.4   Discuss with J. Yan & J. Lam (A&M) regarding the wallet data of
                                          FTX Japan, Quoine Pte and Bitgo


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Yan, Jack                7/3/2023     0.4   Discuss with J. Yan & J. Lam (A&M) regarding the preparation of the
                                            summary table of FTX Japan customer withdrawal as at 2 July 2023
Yan, Jack                7/3/2023     2.2   Prepare the FTX Japan customer withdrawal summary table as at 2
                                            July 2023
Zhang, Qi                7/3/2023     0.4   Update FTX customer portal AML/KYC deck based on new
                                            decisions on AWS data matching
Zhang, Qi                7/3/2023     0.7   Update FTX customer portal manual review SOP based on new
                                            decisions on AWS data matching
Arbid, Rami              7/4/2023     1.1   Review summary note with G. Wall (A&M) related to FTX Exchange
                                            FZE and subsequent distribution
Arbid, Rami              7/4/2023     1.9   Review and finalize summary note related to FTX Exchange FZE

Arbid, Rami              7/4/2023     1.0   Meeting with R. Kanaan (Kanaan & Associates) on steps required
                                            and discussing engagement requirements
Balmelli, Gioele         7/4/2023     0.9   Prepare correspondence on FTX Europe EG short term cash flow
                                            update
Balmelli, Gioele         7/4/2023     0.4   Prepare correspondence on available Concedus financial information


Balmelli, Gioele         7/4/2023     0.3   Prepare correspondence on FTX Europe Dropbox Backup update

Balmelli, Gioele         7/4/2023     1.4   Review of the minutes of the latest meeting with the Swiss
                                            administrator
Balmelli, Gioele         7/4/2023     3.1   Update and Prepare FTX EU Ltd potential strategic options teaser


Balmelli, Gioele         7/4/2023     0.4   Prepare correspondence on FTX Europe AG FTX.com account
                                            transactions review update
Chambers, Henry          7/4/2023     0.2   Respond to correspondence regarding Quoine India complaint


Chambers, Henry          7/4/2023     1.6   Correspondence with FTX management and A&M regarding
                                            diligence to be performed on FTX Japan market makers
Chambers, Henry          7/4/2023     0.9   Correspondence regarding setup of FTX Privacy requests Email
                                            account
Chambers, Henry          7/4/2023     1.2   Review FTX Japan and Blockfolio user eligibility deck

Chan, Jon                7/4/2023     1.6   Investigate transactions between specific jurisdictions

Corr, Caoimhe            7/4/2023     1.9   Prepare the weekly claims report for entities within the FTX Europe
                                            group
Dusendschon, Kora        7/4/2023     0.2   Review request regarding complaint and provide guidance to team
                                            on response/next steps
Evans, Charles           7/4/2023     0.3   Correspondence with S.Li, C.Evans, H. Chambers, M.van den Belt,
                                            J. Lam (A&M), K. Kawabata (Kawabata) regarding liquidator queries
                                            on FTX Japan Services KK
Evans, Charles           7/4/2023     0.4   Correspondence with ABNR team, S.Li (S&C) and C.Evans (A&M)
                                            regarding the documents requested by the regulator


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Business Operations
Professional               Date     Hours     Activity
Haigis, Maya             7/4/2023     1.8   Review KYC name field in user table to identify availability of field

Johnston, David          7/4/2023     0.4   Call with J. Bavaud, M. Cilia (FTX), E. Simpson, O. de Vito Piscicelli
                                            (S&C), D. Johnston, M. van den Belt (A&M) on FTX Crypto Services
                                            and EMEA Ltd balance sheet and director positions
Johnston, David          7/4/2023     2.4   Review and update FTX RoW wind down presentation ahead of
                                            cross functional working group meeting
Kwan, Peter              7/4/2023     0.6   Cross reference legal entities associated with targeting users related
                                            to A&M avoidance actions team request
Kwan, Peter              7/4/2023     1.1   Extract customer level detail data related to UCC jurisdiction
                                            analysis containing counts, volumes and revenues for customers
                                            from specific countries
Kwan, Peter              7/4/2023     0.7   Finalize insertion logic for subaccount level data for adjustments
                                            table used for customer portal reporting of user balances
Lam, James               7/4/2023     1.1   Review the FTX JP asset return and withdrawal eligibility materials,
                                            including the consideration of Blockfolio users
Li, Summer               7/4/2023     0.2   Correspondence with the proposed liquidator of FTX Japan Services
                                            K.K. regarding the scope of work he would take on
Li, Summer               7/4/2023     0.4   Prepare for the responses to the questions raised by the proposed
                                            liquidator of FTX Japan Services K.K
Sagen, Daniel            7/4/2023     0.4   Incorporate additional edits to Coin Report from K. Ramanathan
                                            (A&M), circulate for external distribution
Schlam Batista, Sharon   7/4/2023     0.9   Review financial information requirements for Rest of World entities

Sivapalu, Anan           7/4/2023     0.2   Call with A. Sivapalu and G. Walia (A&M) regarding diligence
                                            questions on market maker financial metrics
Sunkara, Manasa          7/4/2023     2.4   Confirm user accounts from a previous request to find additional
                                            associated user accounts for S&C
van den Belt, Mark       7/4/2023     0.4   Call with J. Bavaud, M. Cilia (FTX), E. Simpson, O. de Vito Piscicelli
                                            (S&C), D. Johnston, M. van den Belt (A&M) on FTX Crypto Services
                                            and EMEA Ltd balance sheet and director positions
van den Belt, Mark       7/4/2023     2.1   Review historical financial information pre-petition date related to
                                            FTX Europe entities
van den Belt, Mark       7/4/2023     0.3   Prepare correspondence for FTX Dubai wind down with relation to
                                            audit requirements
van den Belt, Mark       7/4/2023     0.4   Prepare correspondence on historical financial information of FTX
                                            Europe
van den Belt, Mark       7/4/2023     1.1   Prepare correspondence related to FTX Dubai on step plan


van den Belt, Mark       7/4/2023     2.9   Prepare updated analysis of wind down status for FTX Europe and
                                            rest of world entities
van den Belt, Mark       7/4/2023     0.9   Prepare updated analysis of BiLira positions with FTX Turkey


Walia, Gaurav            7/4/2023     0.2   Call with A. Sivapalu and G. Walia (A&M) regarding diligence
                                            questions on market maker financial metrics



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Walia, Gaurav            7/4/2023     1.2   Review the market maker financial metrics analysis and provide
                                            feedback
Walia, Gaurav            7/4/2023     0.7   Review the updated 3rd party exchange by account holder analysis
                                            and provide feedback
Walia, Gaurav            7/4/2023     0.2   Teleconference over 2.0 diligence requests with R. Gordon, G.
                                            Walia (A&M)
Walia, Gaurav            7/4/2023     0.9   Prepare diligence responses from M3 regarding the CIM

Walker, William          7/4/2023     0.3   Correspond with A&M team on response from inquiry@ftx.com


Walker, William          7/4/2023     0.6   Correspond with token issuer on verification of A&M advisory role

Wall, Guy                7/4/2023     1.0   Meeting with R. Kanaan (Kanaan & Associates) on steps required
                                            and discussing engagement requirements
Wall, Guy                7/4/2023     1.4   Review and finalize summary note related to FTX Exchange FZE

Wall, Guy                7/4/2023     1.1   Review summary note with G. Wall (A&M) related to FTX Exchange
                                            FZE and subsequent distribution
Wilson, David            7/4/2023     2.3   Fix bug in deposits template to ensure up to date transaction data is
                                            pulled by the function
Yan, Jack                7/4/2023     0.2   Perform sense checking of the total value of assets (fiat and crypto)
                                            returned by FTX Japan to customers as of July 2023 announced by
                                            FTX Japan
Yurchak, Lilia           7/4/2023     1.7   Conduct data searches for the Quoine-related request


Zhang, Qi                7/4/2023     0.8   Conduct analysis on FTX.com and FTX.US user account information
                                            fields
Arbid, Rami              7/5/2023     0.2   Call with G. Wall, R. Arbid, M. van den Belt (A&M) on FTX Dubai
                                            step plan, preparation for call with VARA
Arbid, Rami              7/5/2023     0.4   Call with M. Berti, E. Simpson, B. Budd (S&C), V. Shah (VARA),
                                            Hadef & Partners, B. Danhach (FTX), D. Johnston, G. Wall, R.
                                            Arbid, M. van den Belt (A&M) on FTX Dubai bank guarantee release
                                            conditions
Arbid, Rami              7/5/2023     0.3   Prepare correspondence related to FTX Exchange FZE liquidation
                                            requirements with R. Kanaan (Kanaan & Associates)
Baker, Kevin             7/5/2023     0.3   Teleconference with K. Dusendschon, K. Baker, J. Chan, M.
                                            Sunkara, J. Zatz (A&M) crypto management workstream discussion
Baker, Kevin             7/5/2023     1.4   Develop controls around KYC supplemental productions and
                                            balance recalculations for past requests with S&C
Baker, Kevin             7/5/2023     0.5   Call with J. Zatz, L. Konig, K. Baker, R. Johnson (A&M) to discuss
                                            data requests and issues
Baker, Kevin             7/5/2023     1.6   Analyze transactional data for specific customers relating to a
                                            subpoena request from the IRS in Virginia
Balmelli, Gioele         7/5/2023     1.1   Call with O. de Vito Piscicelli, E. Simpson (S&C), M. Lambrianou, M.
                                            Athinodorou, N. Ziourti, R. Matzke (FTX), O. Adamidou (ATS), G.
                                            Balmelli, D. Johnston, M. van den Belt (A&M) on FTX EU matters


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Professional             Date     Hours     Activity
Balmelli, Gioele       7/5/2023     0.4   Prepare correspondence on payments to FTX Europe AG key
                                          supplier from FTX.com account
Balmelli, Gioele       7/5/2023     0.7   Prepare correspondence on FTX Europe AG FTX.com account
                                          transactions review update
Bowles, Carl           7/5/2023     1.4   Consider strategy and discussions with respect to the wind-downs of
                                          Cypriot entities, including FTX EMEA and FTX Crypto Services Ltd
Callerio, Lorenzo      7/5/2023     0.5   Participate to a meeting with L. Callerio, L. Lambert, C. Stockmeyer
                                          (A&M) re: internal crypto tracing update for week of July 3
Callerio, Lorenzo      7/5/2023     0.7   Review the crypto tracing correspondence received today


Callerio, Lorenzo      7/5/2023     0.6   Review and approve the TRON analysis prepared by C. Stockmeyer
                                          (A&M)
Chambers, Henry        7/5/2023     0.2   Follow up Quoine PTE email search regarding India matter


Chambers, Henry        7/5/2023     1.7   Research on proposed market makers for FTX Japan

Chambers, Henry        7/5/2023     1.2   Correspondence regarding Japan Crypto exchange diligence


Chambers, Henry        7/5/2023     1.1   Call with S. Melamed (FTX) an H. Chambers (A&M) regarding FTX
                                          Japan restart and market makers
Chambers, Henry        7/5/2023     0.4   Respond to Quoine India complaint through identification of relevant
                                          emails
Chan, Jon              7/5/2023     0.9   Analyze email correspondence for incoming requests


Chan, Jon              7/5/2023     0.5   Call with M. Sunkara, D. Wilson, J. Chan (A&M) to discuss crypto
                                          management data requests
Chan, Jon              7/5/2023     2.3   Investigate specific accounts for preference period analysis


Chan, Jon              7/5/2023     1.8   Quality control code and outputs relating to account type changes

Chan, Jon              7/5/2023     0.3   Teleconference with K. Dusendschon, K. Baker, J. Chan, M.
                                          Sunkara, J. Zatz (A&M) crypto management workstream discussion
Chan, Jon              7/5/2023     1.9   Update balance code logic as it ties to preference analysis and
                                          account type changes
Chan, Jon              7/5/2023     2.6   Update ninety day preference code with updated account type logic

Corr, Caoimhe          7/5/2023     0.3   Prepare claims report summary for FTX Europe group


Coverick, Steve        7/5/2023     0.9   Review and provide comments on revised Alameda crypto
                                          ownership analysis
Coverick, Steve        7/5/2023     1.5   Participate in discussion with J.Ray (FTX), M.Rosenberg (Board
                                          member), and A&M (E. Mosley, S.Coverick, K.Ramanathan)
                                          regarding token process and UCC feedback on token management
Coverick, Steve        7/5/2023     0.8   Call with S. Coverick, R. Gordon, K. Kearney (A&M) to review
                                          updates to Alameda legal entity analysis and discuss next steps


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Dennison, Kim         7/5/2023     0.3   Attend weekly update call with M Walden, A Tantleff, N Kang (FT)
                                         regarding Bahamas Properties
Dusendschon, Kora     7/5/2023     0.1   Follow up with FTI on status of Japan data collections


Dusendschon, Kora     7/5/2023     0.3   Teleconference with K. Dusendschon, K. Baker, J. Chan, M.
                                         Sunkara, J. Zatz (A&M) crypto management workstream discussion
Dusendschon, Kora     7/5/2023     0.2   Perform detailed review of information provided by FTI regarding
                                         status of balance recalculation efforts
Dusendschon, Kora     7/5/2023     0.2   Draft email to FTI with questions/feedback on balance recalculation
                                         and KYC identification
Dusendschon, Kora     7/5/2023     0.1   Call with K. Dusendschon, L. Yurchak (A&M) and B. McMahon on
                                         email extraction request related to Quoine India-Complaint
Dusendschon, Kora     7/5/2023     0.1   Respond to inquiry regarding Relativity and FTX Europe
                                         considerations
Evans, Charles        7/5/2023     0.3   Correspondence with S.Li, C.Evans, H. Chambers, M.van den Belt,
                                         D. Johnston, C.Corr (A&M) regarding FTX Japan wind down analysis
Flynn, Matthew        7/5/2023     0.6   Provide comments on AWS data team tracking file for Management


Flynn, Matthew        7/5/2023     0.8   Update contract review status tracker for S&C meeting

Flynn, Matthew        7/5/2023     0.9   Review wallet time series database reconciliation and update status
                                         for Alix
Flynn, Matthew        7/5/2023     0.7   Review updated preference board PowerPoint presentation


Flynn, Matthew        7/5/2023     0.6   Review Fireblock supported tokens for estate crypto trading

Flynn, Matthew        7/5/2023     0.9   Review Bilira FTX.COM account and transaction details


Flynn, Matthew        7/5/2023     0.3   Review Coin Metrics supporting documentation for FTX finance

Gordon, Robert        7/5/2023     0.8   Call with S. Coverick, R. Gordon, K. Kearney (A&M) to review
                                         updates to Alameda legal entity analysis and discuss next steps
Gordon, Robert        7/5/2023     0.8   Review assignment contract in Alameda entity structure

Gordon, Robert        7/5/2023     1.1   Review alameda legal entity mapping file for mapping support

Haigis, Maya          7/5/2023     0.3   Teleconference with M. Simkins, M. Haigis, A. Sloan, J. Marshall, C.
                                         Radis (A&M) to go through action items, pending requests and
                                         workstreams
Haigis, Maya          7/5/2023     0.2   Teleconference with M. Haigis, M. Simkins (A&M) to discuss support
                                         ticket attachment files
Haigis, Maya          7/5/2023     0.2   Respond to requests for KYC files and drives for all users

Haigis, Maya          7/5/2023     1.9   Perform reconciliation of Refinitiv data to Worldcheck data




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Professional             Date     Hours     Activity
Haigis, Maya           7/5/2023     0.1   Update slide deck to include Refinitiv reconciliation metrics

Heric, Andrew          7/5/2023     0.6   Call with L. Lambert, L. Iwanski, A. Heric, and I. Radwanski (A&M)
                                          regarding workstream updates and priorities
Heric, Andrew          7/5/2023     1.8   Update request 96 deliverable based on newly identified information

Heric, Andrew          7/5/2023     0.7   Review open source information and internal documents for exited
                                          investment workstream
Heric, Andrew          7/5/2023     2.6   Conduct internal document research and crypto tracing for specific
                                          agreements related to request 97
Heric, Andrew          7/5/2023     1.1   Conduct internal document for a follow-up questions regarding
                                          request 96
Heric, Andrew          7/5/2023     0.8   Capture token receipt details based on crypto tracing conducted for
                                          specific address analysis request
Heric, Andrew          7/5/2023     0.5   Call with L. Lambert, L. Iwanski, A. Heric, and I. Radwanski (A&M)
                                          discussing crypto workstream updates
Heric, Andrew          7/5/2023     0.2   Call with I. Radwanski and A. Heric (A&M) regarding crypto tracing
                                          team priorities
Iwanski, Larry         7/5/2023     0.7   Analyze specific KYC documents regarding certain individuals

Iwanski, Larry         7/5/2023     0.3   Call with K. Baker, L. Callerio, S. Glustein, L. Lambert, L. Iwanski
                                          (A&M) regarding ventures token progress
Iwanski, Larry         7/5/2023     0.5   Call with L. Lambert, L. Iwanski, A. Heric, and I. Radwanski (A&M)
                                          discussing crypto workstream updates
Iwanski, Larry         7/5/2023     0.6   Call with L. Lambert, L. Iwanski, A. Heric, and I. Radwanski (A&M)
                                          regarding workstream updates and priorities
Johnson, Robert        7/5/2023     1.9   Adjust firewall rules for AP-NORTHEAST-1 VPC to limit access to
                                          databases and other resources from fewer endpoints
Johnson, Robert        7/5/2023     1.8   Adjust firewall rules for US-EAST-1 VPC to further limit access to
                                          databases and other resources
Johnson, Robert        7/5/2023     0.5   Call with J. Zatz, L. Konig, K. Baker, R. Johnson (A&M) to discuss
                                          data requests and issues
Johnston, David        7/5/2023     0.4   Call with M. Berti, E. Simpson, B. Budd (S&C), V. Shah (VARA),
                                          Hadef & Partners, B. Danhach (FTX), D. Johnston, G. Wall, R.
                                          Arbid, M. van den Belt (A&M) on FTX Dubai bank guarantee release
                                          conditions
Johnston, David        7/5/2023     0.4   Review equity requirement and related materials for FTX Europe AG
                                          subsidiary
Johnston, David        7/5/2023     1.1   Call with O. de Vito Piscicelli, E. Simpson (S&C), M. Lambrianou, M.
                                          Athinodorou, N. Ziourti, R. Matzke (FTX), O. Adamidou (ATS), G.
                                          Balmelli, D. Johnston, M. van den Belt (A&M) on FTX EU matters
Johnston, David        7/5/2023     0.4   Call with R. Sexton. J. Casey, H. McGoldrick, D. Johnston, M. van
                                          den Belt (A&M) on FTX rest of world strategic options analysis
Kearney, Kevin         7/5/2023     0.3   Call with G. Walia, K. Kearney, and D. Sagen (A&M) to discuss
                                          updated Alameda legal entity analysis



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Kearney, Kevin          7/5/2023     0.8   Call with S. Coverick, R. Gordon, K. Kearney (A&M) to review
                                           updates to Alameda legal entity analysis and discuss next steps
Konig, Louis            7/5/2023     2.8   Database scripting related to analysis of intercompany balances
                                           through November 2021
Konig, Louis            7/5/2023     0.5   Call with J. Zatz, L. Konig, K. Baker, R. Johnson (A&M) to discuss
                                           data requests and issues
Konig, Louis            7/5/2023     3.1   Quality control and review of output related to analysis of
                                           intercompany balances through November 2021
Lam, James              7/5/2023     0.8   Respond to enquiries about the wallet balances tracker for FTX
                                           Japan and Quoine Pte
Lam, James              7/5/2023     1.9   Review the presentation on the eligibility of FTX JP asset return and
                                           withdrawal process
Lam, James              7/5/2023     1.1   Outline the diligence scope and template for strategic options to
                                           improve exchange liquidity
Lam, James              7/5/2023     0.9   Research strategic options to improve liquidity of an exchange

Lambert, Leslie         7/5/2023     0.8   Prepare for various meetings and calls related to ongoing and/or
                                           upcoming crypto tracing workstreams
Lambert, Leslie         7/5/2023     1.2   Plan and prepare strategy for crypto tracing workstream / efforts

Lambert, Leslie         7/5/2023     1.1   Perform supplementary analysis / research to inform tracing findings

Lambert, Leslie         7/5/2023     0.6   Call with L. Lambert, L. Iwanski, A. Heric, and I. Radwanski (A&M)
                                           regarding workstream updates and priorities
Lambert, Leslie         7/5/2023     0.3   Call with K. Baker, L. Callerio, S. Glustein, L. Lambert, L. Iwanski
                                           (A&M) regarding ventures token progress
Lambert, Leslie         7/5/2023     0.5   Call with L. Lambert, L. Iwanski, A. Heric, and I. Radwanski (A&M)
                                           discussing crypto workstream updates
Lambert, Leslie         7/5/2023     1.4   Conduct quality control review of deliverable for a specific request to
                                           analyze blockchain activity
Lambert, Leslie         7/5/2023     1.6   Conduct targeted review of documentation to inform analysis of
                                           certain token positions
Lambert, Leslie         7/5/2023     0.5   Meeting with L. Callerio, L. Lambert, C. Stockmeyer (A&M) re:
                                           internal crypto tracing update for week of July 3
Li, Summer              7/5/2023     0.1   Correspondence with the local counsel of FTX Japan Services K.K.
                                           on the current directorship of the company
Marshall, Jonathan      7/5/2023     0.3   Teleconference with M. Simkins, M. Haigis, A. Sloan, J. Marshall, C.
                                           Radis (A&M) to go through action items, pending requests and
                                           workstreams
McGoldrick, Hugh        7/5/2023     0.7   Develop notes for internal meeting to discuss wind-down strategy
                                           and timeline for FTX subsidiaries in Europe
McGoldrick, Hugh        7/5/2023     0.4   Call with R. Sexton. J. Casey, H. McGoldrick, D. Johnston, M. van
                                           den Belt (A&M) on FTX rest of world strategic options analysis
Mohammed, Azmat         7/5/2023     0.2   Discuss crypto off-wallet payments routing in legacy FTX with J.
                                           Sardinha (FTX)


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Mohammed, Azmat         7/5/2023     0.3   Call with S. Maha, S. Raut (Cap Gemini) and A. Mohammed (A&M)
                                           to discuss code documentation and software development lifecycle
                                           practices
Mohammed, Azmat         7/5/2023     0.2   Run weekly FTX development team huddle to discuss project status

Montague, Katie         7/5/2023     0.4   Call with A. Sivapalu, G. Walia, K. Montague (A&M) and P. Lee
                                           (FTX) regarding diligence questions on spread differentials
Mosley, Ed              7/5/2023     1.5   Participate in discussion with J.Ray (FTX), M.Rosenberg (Board
                                           member), and A&M (S.Coverick, K.Ramanathan) regarding token
                                           process and UCC feedback on token management
Nadimpalli, Vamsi       7/5/2023     2.7   Email correspondence to coordinate development workstreams

Paterson, Warren        7/5/2023     0.2   Weekly status update with FTI consulting (Property Company)


Radis, Cameron          7/5/2023     0.3   Teleconference with M. Simkins, M. Haigis, A. Sloan, J. Marshall, C.
                                           Radis (A&M) to go through action items, pending requests and
                                           workstreams
Radwanski, Igor         7/5/2023     1.3   Analyze email correspondences to discover target transfers

Radwanski, Igor         7/5/2023     0.2   Call with I. Radwanski and A. Heric (A&M) regarding crypto tracing
                                           team priorities
Radwanski, Igor         7/5/2023     0.5   Call with L. Lambert, L. Iwanski, A. Heric, and I. Radwanski (A&M)
                                           discussing crypto workstream updates
Radwanski, Igor         7/5/2023     0.6   Call with L. Lambert, L. Iwanski, A. Heric, and I. Radwanski (A&M)
                                           regarding workstream updates and priorities
Radwanski, Igor         7/5/2023     1.7   Trace outgoing transfers to identify target wallet addresses

Radwanski, Igor         7/5/2023     0.6   Draft email regarding potential new investment agreement


Radwanski, Igor         7/5/2023     2.9   Analyze documents to identify transactions of interest

Ramanathan, Kumanan     7/5/2023     0.3   Review Solana vesting schedule and distribute to ventures team

Ramanathan, Kumanan     7/5/2023     1.5   Participate in discussion with J.Ray (FTX), M. Rosenberg (Board
                                           member), and A&M (S.Coverick, K.Ramanathan, E. Mosley)
                                           regarding token process and UCC feedback on token management
Ramanathan, Kumanan     7/5/2023     0.4   Call with S. Tang (Ledger Prime) to discuss bitcoin and ethereum
                                           hedging program
Ramanathan, Kumanan     7/5/2023     0.8   Call with K. Ramanathan, G. Walia and D. Sagen (A&M) to review
                                           updates to Alameda legal entity analysis and discuss next steps
Ramanathan, Kumanan     7/5/2023     0.3   Call with J. Kapoor (S&C) to discuss crypto asset sale motion

Ramanathan, Kumanan     7/5/2023     0.5   Call with D. Wilson (Coinbase) to discuss bitcoin and ethereum
                                           hedging options
Ryan, Laureen           7/5/2023     0.5   Weekly A&M workstream lead meeting to discuss upcoming
                                           deliverables and activities for the week and case strategy


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Business Operations
Professional               Date     Hours     Activity
Sagen, Daniel            7/5/2023     1.8   Prepare draft gantt chart of third party exchange progress for
                                            purposes of Board presentation
Sagen, Daniel            7/5/2023     1.7   Prepare draft summary of revised Alameda legal entity analysis per
                                            comments from S. Coverick (A&M)
Sagen, Daniel            7/5/2023     0.4   Provide S. Witherspoon (A&M) with requested feedback regarding
                                            budget of crypto conversions to fiat
Sagen, Daniel            7/5/2023     0.6   Review comments from K. Ramanathan (A&M) regarding updates to
                                            excess token analysis compared to exchange claims
Sagen, Daniel            7/5/2023     1.7   Prepare additional scenario analysis for Alameda legal entity
                                            analysis per comments from G. Walia (A&M)
Sagen, Daniel            7/5/2023     1.3   Incorporate updates to Alameda legal entity analysis per comments
                                            from G. Walia and K. Kearney (A&M)
Sagen, Daniel            7/5/2023     0.6   Participate in third party exchange transfer session with A. Taylor, A.
                                            Istrefi (Sygnia), J. Croke (S&C) and D. Sagen (A&M)
Sagen, Daniel            7/5/2023     0.2   Summarize follow up questions to discuss with G. Walia (A&M)
                                            regarding Alameda legal entity analysis
Sagen, Daniel            7/5/2023     0.9   Correspondence with M. Cilia (FTX) and A&M team regarding
                                            reconciliation of cash receipts from third party exchanges
Sagen, Daniel            7/5/2023     0.8   Call with K. Ramanathan, G. Walia and D. Sagen (A&M) to review
                                            updates to Alameda legal entity analysis and discuss next steps
Sagen, Daniel            7/5/2023     0.3   Call with G. Walia, K. Kearney, and D. Sagen (A&M) to discuss
                                            updated Alameda legal entity analysis
Sagen, Daniel            7/5/2023     0.6   Call with G. Walia and D. Sagen (A&M) to discuss updates to
                                            Alameda legal entity analysis
Schlam Batista, Sharon   7/5/2023     1.1   Check status of Ombudsman complaints and decisions in the
                                            intercompany and customer balances file of FTX EU Ltd
Sexton, Rachel           7/5/2023     0.4   Call with R. Sexton. J. Casey, H. McGoldrick, D. Johnston, M. van
                                            den Belt (A&M) on FTX rest of world strategic options analysis
Sexton, Rachel           7/5/2023     0.9   Review list of European and RoW subsidiaries and prepare
                                            correspondence in relation to required action points
Sexton, Rachel           7/5/2023     0.2   Update C. Bowles (A&M) on strategy for wind-down of European and
                                            RoW subsidiaries and prepare correspondence re same
Simkins, Maximilian      7/5/2023     0.3   Teleconference with M. Simkins, M. Haigis, A. Sloan, J. Marshall, C.
                                            Radis (A&M) to go through action items, pending requests and
                                            workstreams
Sivapalu, Anan           7/5/2023     0.4   Call with A. Sivapalu, G. Walia, K. Montague (A&M) and P. Lee
                                            (FTX) regarding diligence questions on spread differentials
Sivapalu, Anan           7/5/2023     0.1   Call with A. Sivapalu and G. Walia (A&M) regarding diligence
                                            questions on re-newed data
Sivapalu, Anan           7/5/2023     0.1   Call with A. Sivapalu and G. Walia (A&M) regarding diligence
                                            questions on market maker financial metrics
Slay, David              7/5/2023     1.1   Review and update the docket tracker based on activity from Kroll
                                            website for 7/1 - 7/5
Sloan, Austin            7/5/2023     0.3   Teleconference with M. Simkins, M. Haigis, A. Sloan, J. Marshall, C.
                                            Radis (A&M) to go through action items, pending requests and
                                            workstreams

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Stockmeyer, Cullen    7/5/2023     0.5   Meeting with L. Callerio, L. Lambert, C. Stockmeyer (A&M) re:
                                         internal crypto tracing update for week of July 3
Stockmeyer, Cullen    7/5/2023     1.1   Update crypto tracing request tracker for requests related to
                                         customer preferences
Sunkara, Manasa       7/5/2023     0.8   Review email correspondence for outstanding data requests from
                                         internal A&M and S&C
Sunkara, Manasa       7/5/2023     0.3   Teleconference with K. Dusendschon, K. Baker, J. Chan, M.
                                         Sunkara, J. Zatz (A&M) crypto management workstream discussion
Sunkara, Manasa       7/5/2023     0.5   Call with M. Sunkara, D. Wilson, J. Chan (A&M) to discuss crypto
                                         management data requests
Sunkara, Manasa       7/5/2023     2.7   Extract transaction data associated with specific deposit address
                                         holders for an S&C investigation
Sunkara, Manasa       7/5/2023     2.2   Query trading activing associated with specific deposit address
                                         holders
Sunkara, Manasa       7/5/2023     0.6   Correspond with FTI to pull kyc documents for an S&C request

Sunkara, Manasa       7/5/2023     2.8   Investigate transaction activity associated with users pertaining to an
                                         internal S&C investigation
van den Belt, Mark    7/5/2023     0.2   Call with G. Wall, R. Arbid, M. van den Belt (A&M) on FTX Dubai
                                         step plan, preparation for call with VARA
van den Belt, Mark    7/5/2023     0.4   Call with M. Berti, E. Simpson, B. Budd (S&C), V. Shah (VARA),
                                         Hadef & Partners, B. Danhach (FTX), D. Johnston, G. Wall, R.
                                         Arbid, M. van den Belt (A&M) on FTX Dubai bank guarantee release
                                         conditions
van den Belt, Mark    7/5/2023     1.1   Call with O. de Vito Piscicelli, E. Simpson (S&C), M. Lambrianou, M.
                                         Athinodorou, N. Ziourti, R. Matzke (FTX), O. Adamidou (ATS), G.
                                         Balmelli, D. Johnston, M. van den Belt (A&M) on FTX EU matters
van den Belt, Mark    7/5/2023     1.1   Prepare updated presentation of BiLira positions on FTX.com


van den Belt, Mark    7/5/2023     2.1   Prepare statement of liabilities for FTX Dubai

van den Belt, Mark    7/5/2023     0.4   Call with R. Sexton. J. Casey, H. McGoldrick, D. Johnston, M. van
                                         den Belt (A&M) on FTX rest of world strategic options analysis
van den Belt, Mark    7/5/2023     0.8   Prepare correspondence on FTX Dubai in relation to audit and step
                                         plan
van den Belt, Mark    7/5/2023     0.6   Prepare correspondence on FTX Gibraltar with respect to license
                                         status and remaining contracts of the legal entity
Walia, Gaurav         7/5/2023     0.8   Call with K. Ramanathan, G. Walia and D. Sagen (A&M) to review
                                         updates to Alameda legal entity analysis and discuss next steps
Walia, Gaurav         7/5/2023     0.1   Call with A. Sivapalu and G. Walia (A&M) regarding diligence
                                         questions on re-newed data
Walia, Gaurav         7/5/2023     0.4   Call with A. Sivapalu, G. Walia, K. Montague (A&M) and P. Lee
                                         (FTX) regarding diligence questions on spread differentials
Walia, Gaurav         7/5/2023     1.8   Update the Alameda legal entity ownership analysis




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Walia, Gaurav          7/5/2023     0.8   Review the UCC claims data file and provide feedback

Walia, Gaurav          7/5/2023     0.3   Call with G. Walia, K. Kearney, and D. Sagen (A&M) to discuss
                                          updated Alameda legal entity analysis
Walia, Gaurav          7/5/2023     1.2   Prepare updated analysis for 3rd party exchange legal entity
                                          ownership analysis
Walia, Gaurav          7/5/2023     0.9   Prepare a response to several questions regarding updated
                                          customer schedules from FTI
Walia, Gaurav          7/5/2023     0.6   Call with G. Walia and D. Sagen (A&M) to discuss updates to
                                          Alameda legal entity analysis
Walker, William        7/5/2023     1.4   Prepare reconciliation file of first staked tokens per issuer vs. actual
                                          receipts
Walker, William        7/5/2023     0.4   Correspond with token issuer regarding follow up to token transfer


Walker, William        7/5/2023     0.9   Prepare reconciliation file of second staked tokens per issuer vs.
                                          actual receipts
Walker, William        7/5/2023     0.6   Reconcile token vesting data with transaction information received
                                          from token issuer
Walker, William        7/5/2023     0.9   Reconcile outstanding balance of token issuer related to market
                                          maker loans
Walker, William        7/5/2023     0.4   Review new information provided by token issuer to reconcile
                                          outstanding balance
Wall, Guy              7/5/2023     0.3   Prepare correspondence related to FTX Exchange FZE liquidation
                                          requirements with R. Kanaan (Kanaan & Associates)
Wall, Guy              7/5/2023     0.4   Call with M. Berti, E. Simpson, B. Budd (S&C), V. Shah (VARA),
                                          Hadef & Partners, B. Danhach (FTX), D. Johnston, G. Wall, R.
                                          Arbid, M. van den Belt (A&M) on FTX Dubai bank guarantee release
                                          conditions
Wall, Guy              7/5/2023     0.2   Call with G. Wall, R. Arbid, M. van den Belt (A&M) on FTX Dubai
                                          step plan, preparation for call with VARA
Wilson, David          7/5/2023     1.6   Fix bugs and performed stress testing of database transfers
                                          template function
Wilson, David          7/5/2023     0.5   Call with M. Sunkara, D. Wilson, J. Chan (A&M) to discuss crypto
                                          management data requests
Wilson, David          7/5/2023     3.1   Search for related parties in database and created comprehensive
                                          table for all related parties
Wilson, David          7/5/2023     2.8   Wrote function to dynamically assign data type to loop variable in
                                          database template functions and added functionality in all templates
Yan, Jack              7/5/2023     1.7   Update the wallet data of FTX Japan and Quoine Pte Ltd, and the
                                          tokens transferred from Quoine Pte Ltd to Bitgo
Yurchak, Lilia         7/5/2023     0.1   Call with K. Dusendschon, L. Yurchak (A&M) and B. McMahon (FTI)
                                          on email extraction request related to Quoine India-Complaint
Zatz, Jonathan         7/5/2023     0.5   Call with J. Zatz, L. Konig, K. Baker, R. Johnson (A&M) to discuss
                                          data requests and issues
Zatz, Jonathan         7/5/2023     0.3   Teleconference with K. Dusendschon, K. Baker, J. Chan, M.
                                          Sunkara, J. Zatz (A&M) crypto management workstream discussion

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Zhang, Qi                7/5/2023     0.5   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, A.
                                            Mohammed (A&M), Integreon team and Sumsub team to discuss
                                            customer portal daily update
Zhang, Qi                7/5/2023     1.9   Update manual review standard operating procedures regarding
                                            newly added AWS data matching detailed flows and dashboard
                                            operation
Arbid, Rami              7/6/2023     0.5   Call with G. Wall, R. Arbid, M. van den Belt (A&M), M. Berti (S&C),
                                            B. Snaineh (Hadef) on FTX Dubai step plan
Arbid, Rami              7/6/2023     0.6   Meeting with G. Wall (A&M) on next steps re: steps plan

Arbid, Rami              7/6/2023     2.1   Preparation and discuss with G. Wall (A&M) on wider related to FTX
                                            Dubai wind-down matters and steps plan
Baker, Kevin             7/6/2023     2.3   Report specific customer balances and KYC information in support
                                            of a large crypto subpoena
Baker, Kevin             7/6/2023     2.1   Provide extracts for fiat withdrawals for all customers found on
                                            FTX.com/.us to support internal investigations
Baker, Kevin             7/6/2023     2.2   Extract specific customer information and transactions for all assets
                                            migrated from Liquid to FTX
Baker, Kevin             7/6/2023     1.9   Extract all transactions and KYC information related to specific
                                            internal FTX deposit addresses
Baker, Kevin             7/6/2023     2.4   Discuss deliverables and methodology around a large crypto
                                            subpoena with S&C
Callerio, Lorenzo        7/6/2023     0.3   Call with L. Lambert and L. Callerio (A&M) re: crypto tracing update

Callerio, Lorenzo        7/6/2023     0.6   Review and comment on the daily crypto tracing correspondence

Callerio, Lorenzo        7/6/2023     0.5   Meeting with L. Lambert, P. McGrath, A. Heric, A. Canale and L.
                                            Callerio (A&M) re: internal crypto touchpoint
Callerio, Lorenzo        7/6/2023     0.3   Call with I Leonaitis, K. Kamran, J. de Brignac, F. Ortiz (FTI), J.
                                            Sardinha, P. Lee, E. Simendinger (FTX), L. Callerio, K.
                                            Ramanathan, A. Mohammed (A&M) to discuss UCC wallet time
                                            series database dashboarding use cases and examples
Canale, Alex             7/6/2023     0.5   Meeting with L. Lambert, P. McGrath, A. Heric, A. Canale and L.
                                            Callerio (A&M) regarding internal crypto touchpoint
Casey, John              7/6/2023     1.8   Call between Mark van den Belt, Hugh McGoldrick and John Casey
                                            (A&M) re wind down strategy for Europe/RoW Entities and
                                            preparation for same
Casey, John              7/6/2023     2.1   Prepare draft standard questionnaire to be used for the wind-down
                                            of all European and RoW entities
Casey, John              7/6/2023     2.1   Prepare updated analysis for FTX Europe and rest of world
                                            involuntary wind down strategy
Chambers, Henry          7/6/2023     0.3   Correspondence regarding post petition deposits


Chambers, Henry          7/6/2023     0.6   Correspondence regarding FTX Japan KEIP

Chambers, Henry          7/6/2023     0.6   Review FTX Japan Board reporting deck


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Chambers, Henry        7/6/2023     0.4   Consider input to coin report from FTX Japan

Chambers, Henry        7/6/2023     0.2   Correspondence regarding Quoine PTE email search


Chambers, Henry        7/6/2023     0.3   Correspondence regarding post petition deposit KYC requirement

Chan, Jon              7/6/2023     1.9   Quality code prices and balances as they related to preference
                                          payments and customer totals
Chan, Jon              7/6/2023     0.9   Investigate pricing differences between last generated preference
                                          report and new calculations to code flag fields
Chan, Jon              7/6/2023     2.6   Quality control code and outputs for preference analysis relating to
                                          pricing changes
Chan, Jon              7/6/2023     2.9   Update preference analysis code to reflect updated fiat pricing logic


Chan, Jon              7/6/2023     1.8   Update summaries for tables related to confidential preference
                                          analysis
Chew, Ee Ling          7/6/2023     0.9   Review and comment on presentation in relation to strategic steps
                                          for 2 Singapore entities
Coverick, Steve        7/6/2023     1.1   Review and provide comment on Europe update presentation for
                                          board
Coverick, Steve        7/6/2023     0.7   Call with asset management fiduciary, J. Ray (FTX), E. Mosley, S.
                                          Coverick, K. Ramanathan (A&M) re: UCC hedging proposal
Dalgleish, Elizabeth   7/6/2023     0.4   Call with M. Van den Belt, S. Schlam, E. Dalgleish (A&M) to discuss
                                          cashflow update, and next steps on the strategic options analysis for
                                          FTX Europe and rest of world entities
Dennison, Kim          7/6/2023     1.2   Review and consider M Walden (FTI) request regarding Bahamas
                                          Properties and respond to same
Dusendschon, Kora      7/6/2023     0.9   Call with L. Yurchak, and K. Dusendschon (A&M) to discuss the
                                          status of the data search related to Quoine India-Complaint
Dusendschon, Kora      7/6/2023     0.4   Conduct searches in Relativity to assist with identifying document
                                          being requested by Liquid
Dusendschon, Kora      7/6/2023     0.4   Draft weekly AWS request update and distribute to team for review

Esposito, Rob          7/6/2023     0.3   Conference with D O'Hara, Z. Flegenheimer (S&C), L Francis and R
                                          Esposito (A&M) to discuss legal notice to certain vendors and
                                          service providers
Evans, Charles         7/6/2023     0.4   Correspondence with C.Evans (A&M), E. Nurmansyah (ABNR), S&C
                                          team regarding Bitocto documentation for the regulator
Evans, Charles         7/6/2023     0.1   Correspondence with S.Li, C.Evans, H. Chambers, M.van den Belt,
                                          J. Lam (A&M), K. Kawabata (Kawabata) regarding liquidator queries
                                          FTX Japan Services KK
Flynn, Matthew         7/6/2023     0.3   Call with M. Flynn, K. Ramanathan (A&M), D. Handelsman, A.
                                          Levine, J. Kapoor (S&C) to discuss current outstanding contract
                                          comments
Flynn, Matthew         7/6/2023     0.4   Call with M. Flynn, D. Sagen (A&M), C. Casey, A. Mott, M. Lee
                                          (Messari) to discuss weekly crypto holdings proposed actions and
                                          governance news

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Flynn, Matthew         7/6/2023     0.4   Review historical AML policy for market maker KYB application

Flynn, Matthew         7/6/2023     0.3   Call with M. Flynn, A. Mohammed, P. Kwan (A&M), T. Phelan, D.
                                          White (Alix), E. Simerdinger (FTX) to discuss wallet time series
                                          database reconciliation
Francis, Luke          7/6/2023     0.3   Conference with D O'Hara, Z. Flegenheimer (S&C), L Francis and R
                                          Esposito (A&M) to discuss legal notice to certain vendors and
                                          service providers
Gordon, Robert         7/6/2023     0.4   Review materials on SDNY webhost request

Haigis, Maya           7/6/2023     1.2   Prepare examples of Refinitiv reconciliation exercise results

Haigis, Maya           7/6/2023     1.9   Perform reconciliation of Refinitiv data to Worldcheck fields in AWS
                                          database, incorporating match strength
Heric, Andrew          7/6/2023     0.5   Call with L. Lambert, A. Heric, and I. Radwanski (A&M) regarding
                                          deliverable design and noted observations
Heric, Andrew          7/6/2023     2.6   Create deliverable summarizing three key observations with tracing
                                          visuals for address of concern request
Heric, Andrew          7/6/2023     0.4   Call with L. Lambert, L. Iwanski, A. Heric, and I. Radwanski (A&M)
                                          regarding workstream updates and priorities
Heric, Andrew          7/6/2023     2.7   Conduct targeted internal document research of 823 documents
                                          related to address of concern request
Heric, Andrew          7/6/2023     1.6   Update summary, tracing visuals, and transaction details for token
                                          deliverable related to request 96
Heric, Andrew          7/6/2023     0.4   Call with L. Lambert and A. Heric (A&M) discussing approach to
                                          targeted token analysis
Heric, Andrew          7/6/2023     0.5   Meeting with L. Lambert, P. McGrath, A. Heric, A. Canale and L.
                                          Callerio (A&M) re: internal crypto touchpoint
Heric, Andrew          7/6/2023     1.2   Review newly supplied documentation for applications to current
                                          address of concern workstream
Iwanski, Larry         7/6/2023     0.6   Review of memos associated with an individual for whom crypto
                                          tracing activities are underway
Iwanski, Larry         7/6/2023     0.3   Quality review of deliverable associated with Request 96

Iwanski, Larry         7/6/2023     0.4   Call with L. Lambert, L. Iwanski, A. Heric, and I. Radwanski (A&M)
                                          regarding workstream updates and priorities
Iwanski, Larry         7/6/2023     0.3   Analysis of reports regarding hack addresses

Iwanski, Larry         7/6/2023     0.4   Review of tokens and addresses associated with an individual under
                                          investigation
Johnston, David        7/6/2023     0.9   Review updated balance sheet of FTX Dubai, consider implications
                                          for wind down
Konig, Louis           7/6/2023     2.7   Documentation of findings related to analysis of intercompany
                                          balances through November 2021
Kwan, Peter            7/6/2023     1.3   Research logic related to the extraction of high level KYC level
                                          counts related to follow-ups to a UCC request

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Kwan, Peter           7/6/2023     0.4   Extract wallet tracking database counts with silo mappings for
                                         AlixPartners team to perform analysis
Kwan, Peter           7/6/2023     1.0   Revise reconciliation between addresses contained within the wallet
                                         time series database against wallet tracking database to check for
                                         additional wallets requiring loading
Kwan, Peter           7/6/2023     1.4   Additional research related to legacy request analyzing jurisdiction
                                         based figures for a previous data request
Kwan, Peter           7/6/2023     0.6   Call with A. Sivapalu, P. Kwan and K. Montague (A&M) regarding
                                         building a bridge for the calculated spread
Kwan, Peter           7/6/2023     1.2   Research code logic related to customer spreads analysis
                                         performed by FTX developer
Kwan, Peter           7/6/2023     0.3   Call with M. Flynn, A. Mohammed, P. Kwan (A&M), T. Phelan, D.
                                         White (Alix), E. Simerdinger (FTX) to discuss wallet time series
                                         database reconciliation
Kwan, Peter           7/6/2023     1.3   Perform ad hoc cursory checks on outputs of insertion logic for
                                         subaccount level data into adjustments table used for customer
                                         portal reporting of user balances
Kwan, Peter           7/6/2023     0.8   Coordinate with A&M Europe team to obtain confirmation on source
                                         of shutdown prices utilized
Lam, James            7/6/2023     0.3   Follow-up correspondences with FTX JP data team and the crypto
                                         team regarding post-petition deposits
Lam, James            7/6/2023     0.7   Respond to an enquiry about deposit transactions of Analisya Pte

Lam, James            7/6/2023     1.1   Review the Alameda's fiat balances secured from third party
                                         exchange(s)
Lambert, Leslie       7/6/2023     0.5   Meeting with L. Lambert, P. McGrath, A. Heric, A. Canale and L.
                                         Callerio (A&M) re: internal crypto touchpoint
Lambert, Leslie       7/6/2023     0.4   Call with L. Lambert, L. Iwanski, A. Heric, and I. Radwanski (A&M)
                                         regarding workstream updates and priorities
Lambert, Leslie       7/6/2023     0.9   Conduct data review to prepare for various meetings

Lambert, Leslie       7/6/2023     0.6   Prepare for calls concerning open crypto tracing efforts

Lambert, Leslie       7/6/2023     1.1   Provide feedback on approach, methodology, and preliminary
                                         findings for certain tracing efforts
Lambert, Leslie       7/6/2023     0.3   Call with L. Lambert and L. Callerio (A&M) re: crypto tracing update

Lambert, Leslie       7/6/2023     0.8   Review communications and support documentation relevant to
                                         crypto tracing efforts
Lambert, Leslie       7/6/2023     0.5   Call with L. Lambert, A. Heric, and I. Radwanski (A&M) regarding
                                         deliverable design and noted observations
Lambert, Leslie       7/6/2023     1.6   Review deliverables identifying findings and observations from
                                         tracing and underlying support documentation
Lambert, Leslie       7/6/2023     0.4   Call with L. Lambert and A. Heric (A&M) discussing approach to
                                         targeted token analysis



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Professional               Date     Hours     Activity
Lee, Julian              7/6/2023     0.1   Correspond with team regarding Relativity access to SDNY
                                            repository
Li, Summer               7/6/2023     0.2   Correspondence with the proposed liquidator of FTX Japan Services
                                            K.K. regarding the requested information for preparing a quotation
Li, Summer               7/6/2023     0.3   Understand how the remaining funds were deposited into the
                                            accounts for Anlisya Pte
McGoldrick, Hugh         7/6/2023     1.0   Call between Mark van den Belt, Hugh McGoldrick and John Casey
                                            (A&M) re wind down strategy for Europe/RoW Entities and
                                            preparation for same
McGrath, Patrick         7/6/2023     0.5   Meeting with L. Lambert, P. McGrath, A. Heric, A. Canale and L.
                                            Callerio (A&M) re: internal crypto touchpoint
Mohammed, Azmat          7/6/2023     0.3   Call with M. Flynn, A. Mohammed, P. Kwan (A&M), T. Phelan, D.
                                            White (Alix), E. Simerdinger (FTX) to discuss wallet time series
                                            database reconciliation
Montague, Katie          7/6/2023     0.6   Call with A. Sivapalu, P. Kwan and K. Montague (A&M) regarding
                                            building a bridge for the calculated spread
Mosley, Ed               7/6/2023     0.4   Discussion with A.Titus (A&M) regarding token unlocking schedule


Mosley, Ed               7/6/2023     0.4   Review of Embed financial analysis update for latest status to
                                            management
Mosley, Ed               7/6/2023     0.6   Review of FTX Japan board presentation for impact on more broad
                                            case timeline
Radwanski, Igor          7/6/2023     2.4   Investigate written correspondences to identify target transactions

Radwanski, Igor          7/6/2023     1.8   Edit deliverable regarding fund flow patterns

Radwanski, Igor          7/6/2023     2.8   Draft deliverable to summarize key findings of crypto tracing request


Radwanski, Igor          7/6/2023     1.3   Update Request 39 deliverable to include new findings

Radwanski, Igor          7/6/2023     1.4   Create appendix related to crypto tracing deliverable


Radwanski, Igor          7/6/2023     0.4   Call with L. Lambert, L. Iwanski, A. Heric, and I. Radwanski (A&M)
                                            regarding workstream updates and priorities
Radwanski, Igor          7/6/2023     0.5   Call with L. Lambert, A. Heric, and I. Radwanski (A&M) regarding
                                            deliverable design and noted observations
Ramanathan, Kumanan      7/6/2023     0.2   Correspondence with BitGo to discuss crypto insurance matters

Ramanathan, Kumanan      7/6/2023     0.4   Call with L. Abendschein (Coinbase) to discuss Solana staking and
                                            other crypto matters
Ramanathan, Kumanan      7/6/2023     0.8   Discussion with J.Ray (FTX), J. Bromley (S&C), Coinbase (E.
                                            Peters, others), and A&M (S.Coverick, K.Ramanathan) regarding
                                            UCC crypto management feedback
Ramanathan, Kumanan      7/6/2023     0.3   Call with M. Flynn, K. Ramanathan (A&M), D. Handelsman, A.
                                            Levine, J. Kapoor (S&C) to discuss current outstanding contract
                                            comments


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Professional            Date     Hours     Activity
Ramanathan, Kumanan   7/6/2023     0.3   Review and provide feedback on FTX Europe cold wallet tracing
                                         analysis
Ramanathan, Kumanan   7/6/2023     0.4   Review of potential t-bill tokenized solution for crypto asset
                                         management
Ramanathan, Kumanan   7/6/2023     1.1   Review of summary analysis of legal entity ownership of crypto and
                                         related agreements
Ramanathan, Kumanan   7/6/2023     0.2   Call with K. Ramanathan and D. Sagen (A&M) to discuss
                                         workstream questions and status update
Ramanathan, Kumanan   7/6/2023     0.8   Review of crypto exchange transaction matters and provide feedback


Ramanathan, Kumanan   7/6/2023     0.6   Prepare updated category A and B crypto asset token list and
                                         distribute to get feedback on execution
Ramanathan, Kumanan   7/6/2023     0.5   Call with J. Pennington, S. Freeman (JST) to discuss crypto liquidity
                                         matters
Ramanathan, Kumanan   7/6/2023     0.3   Call with J. Kapoor (S&C) to discuss crypto asset sale motion

Ramanathan, Kumanan   7/6/2023     0.4   Call with G. Walia (A&M) to discuss legal entity ownership of crypto


Sagen, Daniel         7/6/2023     1.1   Update located asset source data and token pricing in excess token
                                         compared to exchange claims analysis
Sagen, Daniel         7/6/2023     0.4   Update additional summary materials for third party exchange Board
                                         presentation
Sagen, Daniel         7/6/2023     1.3   Update excess token analysis compared to exchange claims based
                                         off feedback from K. Ramanathan (A&M) and J. Ray (FTX)
Sagen, Daniel         7/6/2023     1.8   Update token population in excess token analysis compared to
                                         exchange claims to cover full portfolio
Sagen, Daniel         7/6/2023     0.6   Incorporate feedback from K. Ramanathan (A&M) into third party
                                         exchange Board presentation
Sagen, Daniel         7/6/2023     1.2   Revise draft gantt chart of third party exchange progress per review
                                         of updated data from Sygnia
Sagen, Daniel         7/6/2023     0.3   Review updated Alameda legal entity allocation summary, provide
                                         feedback to G. Walia (A&M)
Sagen, Daniel         7/6/2023     0.4   Prepare updated distributable versions of June 23 Coin Report,
                                         circulate for external distribution
Sagen, Daniel         7/6/2023     1.9   Incorporate inputs from UCC token monetization proposal for
                                         comparison purposes
Sagen, Daniel         7/6/2023     0.7   Incorporate edits to June 23 Coin Report per review of cold storage
                                         transactions
Sagen, Daniel         7/6/2023     0.7   Correspondence with N. Chang (BitGo) regarding status of token
                                         bridgework
Sagen, Daniel         7/6/2023     0.4   Call with M. Flynn, D. Sagen (A&M), C. Casey, A. Mott, M. Lee
                                         (Messari) to discuss weekly crypto holdings proposed actions and
                                         governance news
Sagen, Daniel         7/6/2023     0.2   Call with K. Ramanathan and D. Sagen (A&M) to discuss
                                         workstream questions and status update


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Schlam Batista, Sharon   7/6/2023     0.4   Call with M. Van den Belt, S. Schlam, E. Dalgleish (A&M) to discuss
                                            cashflow update, and next steps on the strategic options analysis for
                                            FTX Europe and rest of world entities
Schlam Batista, Sharon   7/6/2023     1.2   Prepare a dataroom with financial requirements of Rest of World
                                            entities
Sivapalu, Anan           7/6/2023     0.6   Call with A. Sivapalu, P. Kwan and K. Montague (A&M) regarding
                                            building a bridge for the calculated spread
Sivapalu, Anan           7/6/2023     0.2   Call with A. Sivapalu and G. Walia (A&M) regarding diligence
                                            questions on differences in gross fees
Slay, David              7/6/2023     0.3   Review and update the docket tracker based on 6.28 activity from
                                            Kroll website for 7/6
Stegenga, Jeffery        7/6/2023     0.8   Review of current week PMO case update, with focus on token
                                            investments, tax and cash workstream updates
Stockmeyer, Cullen       7/6/2023     0.9   Review report related to crypto tracing request for certain token
                                            agreements
Stockmeyer, Cullen       7/6/2023     0.7   Update crypto tracing request tracker for requests related to certain
                                            new additional LEO
Stockmeyer, Cullen       7/6/2023     1.7   Strategize analysis of transactions related to .Com and .US
                                            exchanges for completion
Stockmeyer, Cullen       7/6/2023     1.2   Continue analysis of transactions related to .COM exchange for
                                            completion
Stockmeyer, Cullen       7/6/2023     1.2   Begin analysis related to transactions on .US exchange completion
                                            status
Stockmeyer, Cullen       7/6/2023     2.2   Analyze transactions related to .COM exchange for completion


Sullivan, Christopher    7/6/2023     0.6   Review and update proposed BoD slide for FTX 2.0 materials

Sunkara, Manasa          7/6/2023     3.1   Extract all exchange activity associated with a list of confirmed user
                                            accounts
Sunkara, Manasa          7/6/2023     1.7   Extract all transactions of funds being sent to specific withdrawal
                                            addresses
Sunkara, Manasa          7/6/2023     1.9   Quality check SQL queries to generate exports for each activity type

Sunkara, Manasa          7/6/2023     2.4   Query the SQL database to search for user accounts associated
                                            with a list of emails
Sunkara, Manasa          7/6/2023     1.6   Search for specific wallet addresses across the database

Sunkara, Manasa          7/6/2023     2.9   Provide insights regarding transaction activity associated with
                                            specific users
van den Belt, Mark       7/6/2023     0.8   Prepare updated statement of liabilities of FTX Dubai

van den Belt, Mark       7/6/2023     1.4   Prepare updated financial statements tracker for FTX Europe and
                                            rest of world
van den Belt, Mark       7/6/2023     2.1   Prepare updated FTX Dubai balance sheet as per May




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Professional             Date     Hours     Activity
van den Belt, Mark     7/6/2023     0.9   Prepare updated waterfall analysis of FTX Cyprus entities

van den Belt, Mark     7/6/2023     0.3   Prepare updated waterfall analysis of FTX Europe entities


van den Belt, Mark     7/6/2023     0.4   Prepare updated waterfall analysis of FTX Gibraltar entities

van den Belt, Mark     7/6/2023     1.6   Prepare updated waterfall analysis of FTX Singapore entities

van den Belt, Mark     7/6/2023     1.1   Prepare correspondence on FTX Turkey BiLira claim


van den Belt, Mark     7/6/2023     0.4   Call with M. Van den Belt, S. Schlam, E. Dalgleish (A&M) to discuss
                                          cashflow update, and next steps on the strategic options analysis for
                                          FTX Europe and rest of world entities
van den Belt, Mark     7/6/2023     1.0   Call with J. Lacey, H. McGoldrick, M. van den Belt (A&M) to discuss
                                          strategic options analysis of FTX Europe and rest of world
van den Belt, Mark     7/6/2023     0.5   Call with G. Wall, R. Arbid, M. van den Belt (A&M), M. Berti (S&C),
                                          B. Snaineh (Hadef) on FTX Dubai step plan
Walia, Gaurav          7/6/2023     0.7   Review the updated market maker spread analysis and provide
                                          feedback
Walia, Gaurav          7/6/2023     0.9   Prepare updated responses to the FTX 2.0 diligence process


Walia, Gaurav          7/6/2023     2.9   Prepare a summary analysis with all supporting documentation of
                                          Alameda legal entity mapping not mapped to Alameda Research
                                          LTD
Walia, Gaurav          7/6/2023     1.9   Prepare analysis to review all pending crypto withdrawals

Walia, Gaurav          7/6/2023     1.4   Prepare an updated by ticker customer claims analysis


Walia, Gaurav          7/6/2023     2.4   Prepare a summary analysis with all supporting documentation of
                                          Alameda legal entity mapping mapped to Alameda Research LTD
Walia, Gaurav          7/6/2023     0.4   Call with K. Ramanathan and G. Walia (A&M) to discuss legal entity
                                          ownership of crypto
Walia, Gaurav          7/6/2023     0.3   Call with J. Croke (S&C) and G. Walia (A&M) to review 3rd party
                                          exchange legal entity mapping
Walia, Gaurav          7/6/2023     0.2   Call with A. Sivapalu and G. Walia (A&M) regarding diligence
                                          questions on differences in gross fees
Walia, Gaurav          7/6/2023     0.2   Prepare an updated response to the UCC after receiving internal
                                          feedback
Walker, William        7/6/2023     0.9   Draft correspondence to token issuer outlining our current position

Wall, Guy              7/6/2023     0.6   Meet with R. Arbid (A&M) on next steps re: steps plan


Wall, Guy              7/6/2023     0.5   Call with G. Wall, R. Arbid, M. van den Belt (A&M), M. Berti (S&C),
                                          B. Snaineh (Hadef) on FTX Dubai step plan
Wall, Guy              7/6/2023     2.1   Preparation and discuss with R. Arbid (A&M) on wider related to FTX
                                          Dubai wind-down matters and steps plan

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Professional               Date     Hours     Activity
Wilson, David            7/6/2023     1.5   Fix bugs in access and refresh token function interacting with cloud
                                            storage system
Wilson, David            7/6/2023     2.2   Began drafting function allowing user to create a full file tree for a
                                            data request
Wilson, David            7/6/2023     2.2   Add capability to automation functions to concatenate portions of
                                            templates to create template PDF so user can review queries from
                                            tool
Wilson, David            7/6/2023     2.1   Add feedback loop to prevent errors and allowing user to specify
                                            different folder name after searching for an invalid folder name
Yurchak, Lilia           7/6/2023     2.1   Conduct data searches for the Quoine-related request based on the
                                            new data provided by FTI
Yurchak, Lilia           7/6/2023     0.9   Call with L. Yurchak, and K. Dusendschon (A&M) to discuss the
                                            status of the data search related to Quoine India-Complaint
Zhang, Qi                7/6/2023     2.2   Finalize FTX customer portal manual review standard operating
                                            procedures to incorporate all changes and formats
Arbid, Rami              7/7/2023     0.4   Prepare correspondence relating to FTX Dubai employment claims
                                            and review of excel calculations
Arbid, Rami              7/7/2023     1.7   Discuss with G. Wall (A&M) related to FTX Dubai wind-down plan
                                            revision
Arnett, Chris            7/7/2023     0.3   Update workstream planning document for HR, contract, and vendor
                                            teams
Baker, Kevin             7/7/2023     2.9   Investigate a specific user and the transactions and accounts
                                            associated with the individual to provide to counsel
Baker, Kevin             7/7/2023     1.8   Extract specific customer transactions related to all professional
                                            firms with customer accounts
Baker, Kevin             7/7/2023     2.4   Produce deposit, withdrawals and transfer transactions for specific
                                            lender customer accounts for internal investigation
Baker, Kevin             7/7/2023     0.5   Call with P. Kwan, J. Zatz, L. Konig, K. Baker, R. Johnson (A&M) to
                                            discuss data requests and issues
Baker, Kevin             7/7/2023     1.4   Report file level information from AWS for a large crypto subpoena
                                            in order to produce KYC documents from Relativity
Baker, Kevin             7/7/2023     2.1   Analyze transaction and activity logs for accounts associated with a
                                            specific entity for an internal investigation with counsel
Baker, Kevin             7/7/2023     0.3   Teleconference with K. Dusendschon, K. Baker, M. Sunkara, M.
                                            Haigis (A&M) to go through action items, pending requests and
                                            workstreams
Baker, Kevin             7/7/2023     2.5   Produce all transactions and customer information for a specific
                                            customer account of interest
Balmelli, Gioele         7/7/2023     0.3   Call with E. Simpson (S&C), M. Lambrianou, M. Athinodorou, N.
                                            Ziourti, R. Matzke (FTX), G. Balmelli, D. Johnston, M. van den Belt
                                            (A&M) on FTX EU matters
Bowles, Carl             7/7/2023     0.7   Consider strategy and discussions with respect to the wind-downs of
                                            various solvent subsidiaries, including Zubr Exchange Ltd and FTX
                                            Exchange FZE
Callerio, Lorenzo        7/7/2023     0.8   Review and analyze inbound crypto tracing correspondence



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Professional             Date     Hours     Activity
Callerio, Lorenzo      7/7/2023     1.1   Begin review and analyzing the unconfirmed withdrawals status
                                          analysis prepared by C. Stockmeyer (A&M)
Callerio, Lorenzo      7/7/2023     0.1   Meeting w/ A. Heric, A. Canale and L. Callerio (A&M) re: asset
                                          tracing for potential avoidance actions
Callerio, Lorenzo      7/7/2023     0.8   Meeting with A. Holland, M. Materni, K. Mayberry, S. Yeargan
                                          (S&C), L. Lambert, A. Canale, P. McGrath, S. Glustein, L. Konig and
                                          L. Callerio (A&M) re: crypto analysis walkthrough
Callerio, Lorenzo      7/7/2023     0.7   Meeting with S. Glustein, L. Lambert, P. McGrath, A. Heric, A.
                                          Canale and L. Callerio (A&M) re: internal crypto touchpoint
Canale, Alex           7/7/2023     0.7   Call with L. Lambert, A. Canale, P. McGrath, S. Glustein, A. Heric
                                          (A&M), J. Croke, A. Holland, K. Mayberry, C. Dunne M. Materni
                                          (S&C) regarding analysis of token transactions associated with
                                          insiders
Canale, Alex           7/7/2023     0.4   Meeting with L. Lambert, P. McGrath, A. Heric, and A. Canale (A&M)
                                          regarding internal crypto touchpoint
Canale, Alex           7/7/2023     0.1   Meeting w/ A. Heric, A. Canale and L. Callerio (A&M) re: asset
                                          tracing for potential avoidance actions
Canale, Alex           7/7/2023     0.7   Meeting with S. Glustein, L. Lambert, P. McGrath, A. Heric, A.
                                          Canale and L. Callerio (A&M) regarding internal crypto touchpoint
Casey, John            7/7/2023     2.1   Update draft standard questionnaire to be used for the wind-down of
                                          European and RoW subsidiaries
Casey, John            7/7/2023     1.1   Prepare correspondence in relation to next steps on wind-down of
                                          Europe and RoW subsidiaries
Casey, John            7/7/2023     0.3   Call between Hugh McGoldrick, Jack Collis, and John Casey (A&M)
                                          re next steps for wind-down strategy of Europe/RoW Entities
Chambers, Henry        7/7/2023     0.6   Correspondence regarding Quoine PTE email search

Chambers, Henry        7/7/2023     0.3   Correspondence regarding separate subsidiaries analysis


Chambers, Henry        7/7/2023     0.8   Review separate subsidiaries analysis

Chambers, Henry        7/7/2023     0.9   Provide comments on Customer Notice email regarding claims portal

Chambers, Henry        7/7/2023     0.4   Correspondence regarding KYC manuals for market maker diligence


Chan, Jon              7/7/2023     2.2   Investigate activity related to transactions performed in specific
                                          jurisdictions for S&C subpoena request
Chan, Jon              7/7/2023     2.2   Code logic to separate main account preference withdrawals and
                                          balances into fiat and crypto currency types
Chan, Jon              7/7/2023     3.1   Update preference tables and reports with the latest customer data

Chan, Jon              7/7/2023     2.2   Quality control reports and outputs related to preference analysis by
                                          main accounts
Chan, Jon              7/7/2023     0.5   Call with M. Sunkara, D. Wilson, J. Chan (A&M) to discuss crypto
                                          management data requests



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Professional                Date     Hours     Activity
Collis, Jack              7/7/2023     0.5   Call between Hugh McGoldrick, Jack Collis, and John Casey (A&M)
                                             re next steps for wind-down strategy of Europe/RoW Entities
Collis, Jack              7/7/2023     1.7   Prepare draft standard liquidation template for the wind-down of
                                             European and RoW subsidiaries
Corr, Caoimhe             7/7/2023     0.4   Participate in call with M. Van den Belt, C. Corr, S. Schlam, E.
                                             Dalgleish (A&M) to discuss waterfall analysis of FTX Europe and
                                             rest of world entities, and follow-up steps on the strategic options
                                             analysis
Coverick, Steve           7/7/2023     0.2   Discuss asset manager selection process with E. Mosley (A&M)

Coverick, Steve           7/7/2023     0.5   Call with E. Mosley, D. Johnston, M. van den Belt (A&M), M. Diaz, B.
                                             Bromberg (FTI) re: FTX Europe funding needs
Dalgleish, Elizabeth      7/7/2023     0.4   Call with M. Van den Belt, C. Corr, S. Schlam, E. Dalgleish (A&M) to
                                             discuss waterfall analysis of FTX Europe and rest of world entities,
                                             and follow-up steps on the strategic options analysis
Dennison, Kim             7/7/2023     0.7   Attend call with M Walden (FTI) regarding Bahamas Properties
                                             document queries
Dusendschon, Kora         7/7/2023     0.3   Teleconference with K. Dusendschon, K. Baker, M. Sunkara, M.
                                             Haigis (A&M) to go through action items, pending requests and
                                             workstreams
Dusendschon, Kora         7/7/2023     0.5   Teleconference with K. Dusendschon, R. Johnson (A&M), and R.
                                             Perubhatla (FTX) to discuss AWS request status and infrastructure
                                             updates
Dusendschon, Kora         7/7/2023     0.1   Follow up with FTI on status of KYC data requests


Dusendschon, Kora         7/7/2023     0.3   Compile weekly tracking spreadsheet to be shared with R.
                                             Perubhatla (FTX)
Flynn, Matthew            7/7/2023     0.8   Review crypto transfers data on the exchange for employee bonuses


Flynn, Matthew            7/7/2023     0.3   Call with M. Flynn, K. Ramanathan (A&M) to discuss UCC data
                                             request status and timing
Flynn, Matthew            7/7/2023     1.1   Review fiat transfers data on the exchange for employee bonuses
                                             against payroll files
Flynn, Matthew            7/7/2023     0.4   Call with M. Flynn, J. Lee (A&M) to discuss employee bonus fiat and
                                             payroll work performed
Flynn, Matthew            7/7/2023     1.3   Review FTX employee file for bonus request from UCC for
                                             incomplete information
Flynn, Matthew            7/7/2023     1.1   Review FTX employee transfers data on internal account detail for
                                             UCC request
Flynn, Matthew            7/7/2023     0.2   Call with M. Flynn, L. Lambert (A&M) to discuss employee bonus
                                             transfers
Flynn, Matthew            7/7/2023     0.6   Update PMO presentation for Management on crypto project status


Flynn, Matthew            7/7/2023     0.3   Call with M. Flynn, G. Walia (A&M) to discuss latest crypto team
                                             work status
Glustein, Steven          7/7/2023     0.7   Meeting with S. Glustein, L. Lambert, P. McGrath, A. Heric, A.
                                             Canale and L. Callerio (A&M) re: internal crypto touchpoint

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Professional             Date     Hours     Activity
Glustein, Steven       7/7/2023     0.8   Meeting with A. Holland, M. Materni, K. Mayberry, S. Yeargan
                                          (S&C), L. Lambert, A. Canale, P. McGrath, S. Glustein, L. Konig and
                                          L. Callerio (A&M) re: crypto analysis walkthrough
Glustein, Steven       7/7/2023     0.1   Meeting with S. Glustein, K. Ramanathan, L. Lambert, P. McGrath
                                          (A&M) re: internal crypto touchpoint
Haigis, Maya           7/7/2023     1.7   Review Refinitiv data and Worldcheck result fields in database


Haigis, Maya           7/7/2023     0.3   Teleconference with K. Dusendschon, K. Baker, M. Sunkara, M.
                                          Haigis (A&M) to go through action items, pending requests and
                                          workstreams
Heric, Andrew          7/7/2023     0.7   Meeting with S. Glustein, L. Lambert, P. McGrath, A. Heric, A.
                                          Canale and L. Callerio (A&M) re: internal crypto touchpoint
Heric, Andrew          7/7/2023     0.4   Meeting with L. Lambert, P. McGrath, A. Heric, and A. Canale (A&M)
                                          re: internal crypto touchpoint
Heric, Andrew          7/7/2023     0.9   Gather transaction details for over 60 transfers of concern for
                                          address analysis request
Heric, Andrew          7/7/2023     0.8   Finalize summarize analysis description for address of concern
                                          analysis
Heric, Andrew          7/7/2023     0.1   Meeting w/ A. Heric, A. Canale and L. Callerio (A&M) re: asset
                                          tracing for potential avoidance actions
Heric, Andrew          7/7/2023     0.4   Call with I. Radwanski and A. Heric (A&M) discussing edits to client
                                          deliverable
Heric, Andrew          7/7/2023     0.4   Call with L. Lambert, A. Heric, and I. Radwanski (A&M) discussing
                                          crypto tracing updates
Heric, Andrew          7/7/2023     0.7   Call with L. Lambert, A. Canale, P. McGrath, S. Glustein, A. Heric
                                          (A&M), J. Croke, A. Holland, K. Mayberry, C. Dunne M. Materni
                                          (S&C) regarding analysis of token transactions associated with
                                          insiders
Heric, Andrew          7/7/2023     2.7   Finalize updates to request 97 address analysis deliverable

Heric, Andrew          7/7/2023     0.3   Call with L. Lambert, A. Heric, I. Radwanski, and L. Iwanski (A&M)
                                          regarding crypto tracing team touchpoint
Heric, Andrew          7/7/2023     0.8   Concisely summarize findings from four specific observations
                                          regarding address of concern analysis
Iwanski, Larry         7/7/2023     0.2   Review of a certain analysis deck for discussion around an
                                          investigation subject
Iwanski, Larry         7/7/2023     0.3   Call with L. Lambert, A. Heric, I. Radwanski, and L. Iwanski (A&M)
                                          regarding crypto tracing team touchpoint
Iwanski, Larry         7/7/2023     0.6   Review of deliverable associated with Request 108


Johnson, Robert        7/7/2023     0.5   Teleconference with K. Dusendschon, R. Johnson (A&M), and R.
                                          Perubhatla (FTX) to discuss AWS request status and infrastructure
                                          updates
Johnson, Robert        7/7/2023     1.4   Revoke access to AM Analysis server for users no longer requiring
                                          access
Johnson, Robert        7/7/2023     0.6   Coordinate with data team regarding ongoing query needs and
                                          system performance tuning

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Professional            Date     Hours     Activity
Johnson, Robert       7/7/2023     1.2   Remove access to FTX.COM database for users no longer requiring
                                         access
Johnson, Robert       7/7/2023     1.1   Remove access to FTX US database for users no longer requiring
                                         access
Johnson, Robert       7/7/2023     0.5   Call with P. Kwan, J. Zatz, L. Konig, K. Baker, R. Johnson (A&M) to
                                         discuss data requests and issues
Johnston, David       7/7/2023     0.7   Call with M. Cilia (FTX), D. Hammon (E&Y), E. Simpson (S&C), M.
                                         van den Belt, D. Johnston (A&M) on FTX rest of world strategic
                                         options analysis status
Johnston, David       7/7/2023     0.7   Call with E. Simpson (S&C), M. Lambrianou, M. Athinodorou, N.
                                         Ziourti, R. Matzke (FTX), G. Balmelli, D. Johnston, M. van den Belt
                                         (A&M) on FTX EU matters
Konig, Louis          7/7/2023     0.8   Meeting with A. Holland, M. Materni, K. Mayberry, S. Yeargan
                                         (S&C), L. Lambert, A. Canale, P. McGrath, S. Glustein, L. Konig and
                                         L. Callerio (A&M) re: crypto analysis walkthrough
Konig, Louis          7/7/2023     0.5   Call with P. Kwan, J. Zatz, L. Konig, K. Baker, R. Johnson (A&M) to
                                         discuss data requests and issues
Kwan, Peter           7/7/2023     0.3   Working session w/ P. Kwan, J. Marshall, C. Radis, A. Sloan (A&M)
                                         re: to go through digital asset action items and pending request
Kwan, Peter           7/7/2023     1.9   Prepare summary schedule containing results of reconciliation of
                                         wallet addresses between wallet tracking database and wallet time
                                         series database
Kwan, Peter           7/7/2023     1.6   Develop logic for extraction of open derivative positions for
                                         customers of foreign non-debtor FTX entity
Kwan, Peter           7/7/2023     0.4   Call with A. Sivapalu, P. Kwan, K. Montague (A&M) and P. Lee
                                         (FTX) regarding building a bridge for the calculated spread
Kwan, Peter           7/7/2023     0.5   Call with P. Kwan, J. Zatz, L. Konig, K. Baker, R. Johnson (A&M) to
                                         discuss data requests and issues
Kwan, Peter           7/7/2023     2.4   Carve out jurisdiction based analysis (counts, volumes and
                                         revenues) for FTX.US exchange customers
Kwan, Peter           7/7/2023     1.8   Revise jurisdiction based analysis (counts, volumes and revenues)
                                         for FTX.COM exchange customers
Lam, James            7/7/2023     0.4   Respond to an enquiry about a specific customer at Quoine Pte Ltd

Lam, James            7/7/2023     1.2   Review the categorization of tokens for Quoine Pte for the
                                         recoverability analysis
Lam, James            7/7/2023     0.8   Review the subsidiary deck and separate subsidiary waterfall
                                         analysis for Japan and Singapore entities
Lam, James            7/7/2023     0.6   Discuss with J. Lam and J. Yan (A&M) regarding the separate
                                         subsidiary deck
Lambert, Leslie       7/7/2023     0.2   Call with M. Flynn, L. Lambert (A&M) to discuss employee bonus
                                         transfers
Lambert, Leslie       7/7/2023     0.7   Prepare for meetings and calls concerning status of open and
                                         requested tracing of crypto activity
Lambert, Leslie       7/7/2023     0.7   Meeting with S. Glustein, L. Lambert, P. McGrath, A. Heric, A.
                                         Canale and L. Callerio (A&M) re: internal crypto touchpoint


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Professional               Date     Hours     Activity
Lambert, Leslie          7/7/2023     0.1   Meeting with S. Glustein, K. Ramanathan, L. Lambert, P. McGrath
                                            (A&M) re: internal crypto touchpoint
Lambert, Leslie          7/7/2023     0.4   Meeting with L. Lambert, P. McGrath, A. Heric, and A. Canale (A&M)
                                            re: internal crypto touchpoint
Lambert, Leslie          7/7/2023     0.8   Meeting with A. Holland, M. Materni, K. Mayberry, S. Yeargan
                                            (S&C), L. Lambert, A. Canale, P. McGrath, S. Glustein, L. Konig and
                                            L. Callerio (A&M) re: crypto analysis walkthrough
Lambert, Leslie          7/7/2023     0.3   Draft and circulate updates on status of open tracing efforts

Lambert, Leslie          7/7/2023     0.3   Call with L. Lambert, A. Heric, I. Radwanski, and L. Iwanski (A&M)
                                            regarding crypto tracing team touchpoint
Lambert, Leslie          7/7/2023     1.4   Conduct relativity research to identify information relevant to certain
                                            on chain activity
Lambert, Leslie          7/7/2023     0.4   Call with L. Lambert, A. Heric, and I. Radwanski (A&M) discussing
                                            crypto tracing updates
Lambert, Leslie          7/7/2023     0.7   Call with L. Lambert, A. Canale, P. McGrath, S. Glustein, A. Heric
                                            (A&M), J. Croke, A. Holland, K. Mayberry, C. Dunne M. Materni
                                            (S&C) regarding analysis of token transactions associated with
                                            insiders
Lambert, Leslie          7/7/2023     1.2   Consider available documentation and approach to analysis of
                                            activity related to certain account activity
Lee, Julian              7/7/2023     0.4   Call with M. Flynn, J. Lee (A&M) to discuss employee bonus fiat and
                                            payroll work performed
Li, Summer               7/7/2023     0.2   Correspondence with J. Lam (A&M) regarding the latest financials
                                            statements of FTX Japan K.K
Marshall, Jonathan       7/7/2023     0.3   Working session w/ P. Kwan, J. Marshall, C. Radis, A. Sloan (A&M)
                                            re: to go through digital asset action items and pending request
McGrath, Patrick         7/7/2023     0.4   Meeting with L. Lambert, P. McGrath, A. Heric, and A. Canale (A&M)
                                            re: internal crypto touchpoint
McGrath, Patrick         7/7/2023     0.7   Meeting with S. Glustein, L. Lambert, P. McGrath, A. Heric, A.
                                            Canale and L. Callerio (A&M) re: internal crypto touchpoint
McGrath, Patrick         7/7/2023     0.1   Meeting with S. Glustein, K. Ramanathan, L. Lambert, P. McGrath
                                            (A&M) re: internal crypto touchpoint
Montague, Katie          7/7/2023     0.4   Call with A. Sivapalu, P. Kwan, K. Montague (A&M) and P. Lee
                                            (FTX) regarding building a bridge for the calculated spread
Mosley, Ed               7/7/2023     0.8   Participate in meeting with FTI (S.Simms, F.Risler, B.Bromberg,
                                            others), J.Ray (FTX), S&C (J.Bromley, others), Coinbase (E.Peters,
                                            D.Wilson, B.Paul, others), and A&M (K.Ramanathan, S.Coverick)
                                            regarding UCC feedback and debtors opinions on crypto manageme
Mosley, Ed               7/7/2023     0.4   Discussion with J.Ray (FTX) and K.Ramanathan (A&M) regarding
                                            next steps on crypto management
Mosley, Ed               7/7/2023     0.2   Discuss asset manager selection process with S. Coverick (A&M)


Mosley, Ed               7/7/2023     0.4   Participate in follow-up call with J.Ray (FTX), J.Romley (S&C),
                                            Coinbase (E.Peters, B.Paul, D.Wilson, S.Schroeder, others), and
                                            A&M (K.Ramanathan) regarding board communications regarding
                                            UCC and debtor ideas of crypto management


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Radis, Cameron        7/7/2023     0.3   Working session w/ P. Kwan, J. Marshall, C. Radis, A. Sloan (A&M)
                                         re: to go through digital asset action items and pending request
Radwanski, Igor       7/7/2023     0.4   Call with I. Radwanski and A. Heric (A&M) discussing edits to client
                                         deliverable
Radwanski, Igor       7/7/2023     0.3   Call with L. Lambert, A. Heric, I. Radwanski, and L. Iwanski (A&M)
                                         regarding crypto tracing team touchpoint
Radwanski, Igor       7/7/2023     2.9   Draft descriptive analysis related to priority request

Radwanski, Igor       7/7/2023     2.1   Quantify blockchain attributes for target transactions


Radwanski, Igor       7/7/2023     2.3   Update appendices related to a priority request

Radwanski, Igor       7/7/2023     0.4   Call with L. Lambert, A. Heric, and I. Radwanski (A&M) discussing
                                         crypto tracing updates
Ramanathan, Kumanan   7/7/2023     0.8   Review updated board materials and revise

Ramanathan, Kumanan   7/7/2023     0.6   Review various founder account criteria and parameters and provide
                                         feedback
Ramanathan, Kumanan   7/7/2023     0.9   Review of third party exchange presentation and provide feedback

Ramanathan, Kumanan   7/7/2023     0.6   Review of legal entity memorandum for crypto assets

Ramanathan, Kumanan   7/7/2023     0.8   Participate in meeting with FTI (S.Simms, F.Risler, others), J.Ray
                                         (FTX), S&C (J. Bromley, others), Coinbase (E. Peters, others), and
                                         A&M (K.Ramanathan, S.Coverick) regarding UCC feedback and
                                         debtors opinions on crypto management
Ramanathan, Kumanan   7/7/2023     0.1   Meeting with S. Glustein, K. Ramanathan, L. Lambert, P. McGrath
                                         (A&M) re: internal crypto touchpoint
Ramanathan, Kumanan   7/7/2023     0.4   Discussion with J.Ray (FTX) and K.Ramanathan (A&M) regarding
                                         next steps on crypto management
Ramanathan, Kumanan   7/7/2023     1.1   Develop visual illustration for Coinbase asset management structure
                                         and distribute for feedback
Ramanathan, Kumanan   7/7/2023     0.3   Call with M. Flynn, K. Ramanathan (A&M) to discuss UCC data
                                         request status and timing
Ramanathan, Kumanan   7/7/2023     0.4   Call with J. Bromley (S&C), E. Mosley, K. Ramanathan (A&M), J.
                                         Ray (FTX), E. Peters, D. Wilson, B. Tejpaul, M. Kasumovich, C.
                                         Raynercook and others (Coinbase) to discuss hedging strategies
Ramanathan, Kumanan   7/7/2023     0.4   Call with D. Wilson (Coinbase) to discuss bitcoin and ethereum
                                         hedging option
Sagen, Daniel         7/7/2023     0.3   Correspondence with S. Witherspoon (A&M) regarding historical
                                         cash receipts
Sagen, Daniel         7/7/2023     1.4   Incorporate additional updates to draft third party exchange Board
                                         materials per comments received from K. Ramanathan (A&M)
Sagen, Daniel         7/7/2023     2.1   Prepare draft presentation for Board of Directors regarding UCC
                                         token monetization strategies



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Professional               Date     Hours     Activity
Sagen, Daniel            7/7/2023     1.8   Prepare reconciliation of third party exchange transfers utilizing
                                            Sygnia and other source data sets
Sagen, Daniel            7/7/2023     1.7   Prepare summary analysis of token populations based off UCC
                                            recommended monetization strategies
Sagen, Daniel            7/7/2023     1.2   Research historical activity related to third party exchange fiat
                                            withdrawals
Sagen, Daniel            7/7/2023     0.4   Correspondence with K. Ramanathan (A&M) regarding third party
                                            exchange fiat withdrawals
Schlam Batista, Sharon   7/7/2023     0.8   Run an analysis comparing prices published by EU management vs.
                                            the ones used internally for FTX EU final customer balances
Schlam Batista, Sharon   7/7/2023     0.4   Call with M. Van den Belt, C.Corr, S. Schlam, E. Dalgleish (A&M) to
                                            discuss waterfall analysis of FTX Europe and rest of world entities,
                                            and follow-up steps on the strategic options analysis
Sivapalu, Anan           7/7/2023     0.4   Call with A. Sivapalu, P. Kwan, K. Montague (A&M) and P. Lee
                                            (FTX) regarding building a bridge for the calculated spread
Slay, David              7/7/2023     1.2   Review and update docket activity for 7.6 to 7.7 for internal
                                            discussion
Sloan, Austin            7/7/2023     0.3   Working session w/ P. Kwan, J. Marshall, C. Radis, A. Sloan (A&M)
                                            re: to go through digital asset action items and pending request
Stockmeyer, Cullen       7/7/2023     0.8   Update crypto tracing request tracker for requests related to certain
                                            law enforcement personnel
Stockmeyer, Cullen       7/7/2023     2.1   Summarize analysis related to transactions on exchanges
                                            completion status
Stockmeyer, Cullen       7/7/2023     2.3   Continue analysis related to transactions on .US exchange
                                            completion status
Sullivan, Christopher    7/7/2023     0.3   Review comments from S. Coverick (A&M) on updated BoD slides
                                            and update
Sunkara, Manasa          7/7/2023     0.5   Call with M. Sunkara, D. Wilson, J. Chan (A&M) to discuss crypto
                                            management data requests
Sunkara, Manasa          7/7/2023     2.1   Query database for user accounts associated with a list of wallet
                                            addresses
Sunkara, Manasa          7/7/2023     2.9   Extract all exchange activity for a list of confirmed user accounts
                                            used in an internal analysis
Sunkara, Manasa          7/7/2023     2.8   Analyze the interaction between multiple user accounts' transaction
                                            activity
Sunkara, Manasa          7/7/2023     0.3   Teleconference with K. Dusendschon, K. Baker, M. Sunkara, M.
                                            Haigis (A&M) to go through action items, pending requests and
                                            workstreams
Sunkara, Manasa          7/7/2023     1.8   Provide insights regarding specific transactions for an internal lender
                                            analysis data request
Sunkara, Manasa          7/7/2023     0.8   Quality check SQL queries to generate exports for each activity type


van den Belt, Mark       7/7/2023     1.8   Review presentations on wind down analysis status for the FTX rest
                                            of world entities




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van den Belt, Mark     7/7/2023     0.7   Call with E. Simpson (S&C), M. Lambrianou, M. Athinodorou, N.
                                          Ziourti, R. Matzke (FTX), G. Balmelli, D. Johnston, M. van den Belt
                                          (A&M) on FTX EU matters
van den Belt, Mark     7/7/2023     0.7   Call with M. Cilia (FTX), D.Hammon (E&Y), E. Simpson (S&C), M.
                                          van den Belt, D. Johnston (A&M) on FTX rest of world wind down
                                          analysis status
van den Belt, Mark     7/7/2023     0.7   Prepare correspondence on breakdown of severance costs for FTX
                                          Dubai
van den Belt, Mark     7/7/2023     0.4   Prepare correspondence on pricing used for FTX EU Ltd customer
                                          schedules
van den Belt, Mark     7/7/2023     0.9   Prepare presentation of FTX EU Ltd financing considerations for
                                          UCC discussion
van den Belt, Mark     7/7/2023     0.3   Prepare updated categorization of digital assets for Quoine Pte Ltd
                                          for the asset waterfall analysis
van den Belt, Mark     7/7/2023     0.9   Review correspondence on FTX Japan related to asset waterfall
                                          analysis
van den Belt, Mark     7/7/2023     0.3   Review correspondence on wind down analysis approach


Walia, Gaurav          7/7/2023     1.3   Review the preference analysis and provide feedback

Walia, Gaurav          7/7/2023     0.3   Call with M. Flynn, G. Walia (A&M) to discuss latest crypto team
                                          work status
Walia, Gaurav          7/7/2023     0.6   Prepare a response to FTI questions regarding derivative pricing on
                                          the exchange
Walia, Gaurav          7/7/2023     2.7   Prepare a memo documenting which Alameda legal entity should be
                                          representative of the default legal entity
Walia, Gaurav          7/7/2023     2.9   Prepare a memo documenting which Alameda silo assets have been
                                          mapped to a specific silo
Wall, Guy              7/7/2023     1.7   Discuss with R. Arbid (A&M) related to FTX Dubai wind-down plan
                                          revision
Wall, Guy              7/7/2023     0.4   Correspondence with M. van den Belt (A&M) related to FTX Dubai
                                          employment claims and review of excel calculations
Wilson, David          7/7/2023     2.3   Separate export function into capability to export tool results and
                                          export pre-existing database tables
Wilson, David          7/7/2023     2.9   Complete draft of function allowing user to create a file tree for data
                                          requests
Wilson, David          7/7/2023     0.5   Call with M. Sunkara, D. Wilson, J. Chan (A&M) to discuss crypto
                                          management data requests
Yan, Jack              7/7/2023     0.9   Understand the differences of the FTX Japan K.K.'s financial
                                          statements between the Softledger version and the version prepared
                                          by Japan client
Yan, Jack              7/7/2023     0.6   Understand the differences of the Quoine Indonesia's financial
                                          statements between the Softledger version and the version prepared
                                          by Japan client
Yan, Jack              7/7/2023     0.6   Discuss with J. Lam and J. Yan (A&M) regarding the separate
                                          subsidiary deck


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Yan, Jack              7/7/2023     0.3   Extract the trial balance and balance sheets of Quione Indonesia
                                          between December 2022 and April 2023
Yan, Jack              7/7/2023     0.5   Extract the trial balance and balance sheets of FTX Japan Holdings
                                          and FTX Japan K.K. between December 2022 and April 2023
Yan, Jack              7/7/2023     0.5   Understand the differences of the FTX Japan Holdings' financial
                                          statements between the Softledger version and the version prepared
                                          by Japan client
Yurchak, Lilia         7/7/2023     1.6   Conduct data searches for the Quoine-related request based on the
                                          updated indexing
Yurchak, Lilia         7/7/2023     1.7   Investigate the issues related to indexing emails for the Quoine-
                                          related request
Zatz, Jonathan         7/7/2023     0.5   Call with P. Kwan, J. Zatz, L. Konig, K. Baker, R. Johnson (A&M) to
                                          discuss data requests and issues
Baker, Kevin           7/8/2023     2.9   Extract specific employee bonus information and transactions for all
                                          known employees for a targeted UCC request
Baker, Kevin           7/8/2023     1.4   Produce a listing of user accounts associated with all professional
                                          services firms on the exchange
Baker, Kevin           7/8/2023     2.8   Analyze specific customer account information and transactions for
                                          a internal investigation on a particular user
Callerio, Lorenzo      7/8/2023     0.9   Review the new inbound crypto tracing requests / correspondence
                                          received
Casey, John            7/8/2023     1.8   Update and amend draft standard questionnaire for wind-down of
                                          European and RoW subsidiaries following comments from R. Sexton
                                          and H. McGoldrick (A&M)
Casey, John            7/8/2023     2.6   Prepare and review standard questionnaire for Rest of World entities

Casey, John            7/8/2023     2.6   Prepare and review standard questionnaire for Europe Entities


Chan, Jon              7/8/2023     2.1   Provide extracts related to several key accounts for internal
                                          preference analysis
Chan, Jon              7/8/2023     0.6   Quality control reports related to withdrawal and balance currency
                                          preference report
Chan, Jon              7/8/2023     1.6   Update code logic for withdrawal and balance currency preference
                                          report
Lam, James             7/8/2023     1.2   Update the subsidiary waterfall analysis with the updated FTX JP
                                          bank and crypto balances
Lam, James             7/8/2023     2.4   Update the inputs for the subsidiary deck and the water analysis

Lam, James             7/8/2023     0.9   Review financials received for FTX Japan Holdings, FTX Japan and
                                          Quoine Vietnam
Lam, James             7/8/2023     0.7   Match the updated bank balances, crypto assets, and customer
                                          entitlements to the balance sheet items
Lambert, Leslie        7/8/2023     1.3   Review of findings and observations related to ongoing analysis of
                                          certain blockchain activity
Sagen, Daniel          7/8/2023     1.4   Update token monetization presentation per comments received
                                          from K. Ramanathan (A&M)

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Sagen, Daniel           7/8/2023     0.8   Recirculate updated token monetization presentation with K.
                                           Ramanathan (A&M) with change log for review
Stockmeyer, Cullen      7/8/2023     0.7   Update crypto tracing request tracker for requests related to certain
                                           law enforcement personnel
Callerio, Lorenzo       7/9/2023     0.6   Respond to a request from D. Sagen (A&M) re: internal accounts

Callerio, Lorenzo       7/9/2023     0.8   Review the crypto trading correspondence received today

Chambers, Henry         7/9/2023     0.3   Correspondence regarding Customer Portal go live


Chan, Jon               7/9/2023     1.7   Provide extracts related to S&C subpoena request pertaining to
                                           users in specific jurisdiction
Evans, Charles          7/9/2023     0.2   Correspondence with S.Li, C.Evans, H. Chambers, M.van den Belt,
                                           J. Lam (A&M), K. Kawabata (Kawabata) regarding liquidator queries
                                           FTX Japan Services KK
Kwan, Peter             7/9/2023     0.2   Perform ad hoc research related to foreign FTX entity based out of
                                           Europe for customer portal
Kwan, Peter             7/9/2023     0.6   Research KYC and Fee Tiers for legacy exchange based out of the
                                           USA
Mosley, Ed              7/9/2023     0.6   Review of FTX Japan KPI and plans to update metrics for current
                                           goals
Ramanathan, Kumanan     7/9/2023     1.2   Revise updated board materials and distribute for feedback

Ramanathan, Kumanan     7/9/2023     1.1   Review and provide feedback on crypto asset motion


Ramanathan, Kumanan     7/9/2023     0.2   Call with K. Ramanathan, C. Stockmeyer, and D. Sagen (A&M) to
                                           discuss internal accounts entitlement data
Ramanathan, Kumanan     7/9/2023     0.9   Review and provide feedback on excess token analysis work

Sagen, Daniel           7/9/2023     0.2   Call with K. Ramanathan, C. Stockmeyer, and D. Sagen (A&M) to
                                           discuss internal accounts entitlement data
Sagen, Daniel           7/9/2023     1.2   Incorporate additional edits to summary tables in token monetization
                                           presentation per comments received from K. Ramanathan (A&M)
Sagen, Daniel           7/9/2023     0.7   Review additional source data materials received for entitlements
                                           data
Sagen, Daniel           7/9/2023     1.1   Revise token monetization presentation per additional comments
                                           received from K. Ramanathan (A&M)
Sagen, Daniel           7/9/2023     1.6   Summarize total entitlements by type, token, and exchange for
                                           purposes of incorporating into token monetization analysis
Sagen, Daniel           7/9/2023     1.1   Update commentary in third party exchange update presentation,
                                           circulate with S&C and Sygnia teams for review
Sagen, Daniel           7/9/2023     1.2   Update token monetization summary schedules in draft Board
                                           presentation
Stockmeyer, Cullen      7/9/2023     0.4   Update crypto tracing request tracker for requests related to certain
                                           law enforcement personnel


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Business Operations
Professional                Date    Hours     Activity
Stockmeyer, Cullen       7/9/2023     1.5   Analysis regarding internal accounts balance summaries

Stockmeyer, Cullen       7/9/2023     0.2   Call with K. Ramanathan, C. Stockmeyer, and D. Sagen (A&M) to
                                            discuss internal accounts entitlement data
Sunkara, Manasa          7/9/2023     2.6   Quality check all SQL queries to provide data extracts for an S&C
                                            investigation
van den Belt, Mark       7/9/2023     1.1   Prepare updated waterfall analysis for FTX Japan entities

Walia, Gaurav            7/9/2023     0.6   Review loan related documents to determine impact for claims
                                            purposes
Yurchak, Lilia           7/9/2023     1.6   Conduct extended searches within the email archive for the Quoine-
                                            related request
Zhang, Qi                7/9/2023     1.1   Edit the know your customer related contents on FTX bar date
                                            customer portal document per comments
Arbid, Rami             7/10/2023     2.4   Draft revised plan of FTX Dubai wind-down for review

Arbid, Rami             7/10/2023     1.6   Discuss with G. Wall (A&M) FTX Exchange FZE steps plan - review
                                            of note related to steps plan
Arbid, Rami             7/10/2023     0.3   Correspondence related to FTX Dubai liquidation engagement

Baker, Kevin            7/10/2023     0.4   Teleconference with K. Dusendschon, K. Baker, J. Chan, M.
                                            Sunkara, M. Simkins (A&M) to discuss crypto workstream initiatives
Baker, Kevin            7/10/2023     2.4   Develop methodology to respond to US States subpoena requests
                                            around Earned interest and customer account balances
Baker, Kevin            7/10/2023     2.6   Extract and analyze the total dollar amount of transmissions
                                            conducted in the state of Ohio for a specific subpoena request
Baker, Kevin            7/10/2023     2.4   Investigate specific customer name provided by counsel for an
                                            internal investigation
Baker, Kevin            7/10/2023     0.3   Call with K. Baker and P. McGrath (A&M) regarding exchange
                                            withdrawal data
Balmelli, Gioele        7/10/2023     2.3   Review and correspondence FTX EU Avoidance Complaint
                                            document
Balmelli, Gioele        7/10/2023     0.4   Prepare correspondence with S&C re administrator request

Balmelli, Gioele        7/10/2023     0.6   Prepare correspondence with P. Gruhn re FTX Europe FTX.com
                                            account
Balmelli, Gioele        7/10/2023     0.3   Prepare correspondence re FTX EU strategic options development


Bowles, Carl            7/10/2023     1.3   Review wind-down option strategy for FTX rest of world entities

Callerio, Lorenzo       7/10/2023     0.3   Participate in workstream update call with E. Mosley, S. Coverick, K.
                                            Ramanathan, A. Titus, R. Esposito, R. Gordon, L. Callerio, L. Ryan,
                                            J. Cooper (A&M)
Callerio, Lorenzo       7/10/2023     0.3   Meeting with L. Callerio, L. Lambert, L. Iwanski, C. Stockmeyer
                                            (A&M) re: internal crypto tracing update


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Business Operations
Professional                Date     Hours     Activity
Callerio, Lorenzo        7/10/2023     0.8   Review and approve REQ108 SOL Token materials prepared by C.
                                             Stockmeyer (A&M)
Chambers, Henry          7/10/2023     0.8   Prepare FTX Japan monthly reporting pack skeleton


Chambers, Henry          7/10/2023     0.3   Respond to query regarding FTX Japan postpetition deposits

Chan, Jon                7/10/2023     2.9   Investigate activity relating to a specific entity for S&C internal
                                             request
Chan, Jon                7/10/2023     2.7   Investigate entities related to professional service customers for
                                             internal A&M request
Chan, Jon                7/10/2023     2.7   Investigate transactions related to specific transactions pertaining to
                                             loan payments for A&M internal request
Chan, Jon                7/10/2023     2.8   Quality control documents for S&C subpoena request regarding Ohio


Chan, Jon                7/10/2023     0.4   Teleconference with K. Dusendschon, K. Baker, J. Chan, M.
                                             Sunkara, M. Simkins (A&M) to discuss crypto workstream initiatives
Collis, Jack             7/10/2023     0.4   Update draft standard liquidation template for the wind-down of
                                             European and RoW subsidiaries
Corr, Caoimhe            7/10/2023     1.8   Prepare claims report for all claims again sub entities Europe based
                                             on latest report
Corr, Caoimhe            7/10/2023     0.2   Participate in call with D. Johnston, M. Van den Belt, C.Corr, S.
                                             Schlam, E. Dalgleish (A&M) to discuss follow-up on strategic options
                                             of rest of world entities and customer deposits on segregated fiat
                                             accounts
Coverick, Steve          7/10/2023     0.5   Discuss crypto asset manager selection with J. Ray (FTX), E.
                                             Mosley, S. Coverick, K. Ramanathan (A&M)
Coverick, Steve          7/10/2023     0.4   Call with J. Ray (FTX), E. Mosley, S. Coverick, K. Ramanathan
                                             (A&M) to discuss crypto updates
Coverick, Steve          7/10/2023     0.2   Call with M. Diodato (FTI), S. Coverick, G. Walia, K. Ramanathan
                                             (A&M) to discuss crypto pricing matters
Coverick, Steve          7/10/2023     0.3   Call with S. Coverick, K. Ramanathan (A&M) to discuss asset
                                             management presentation
Dalgleish, Elizabeth     7/10/2023     0.2   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                             Dalgleish (A&M) to discuss follow-up on strategic options of rest of
                                             world entities and customer deposits on segregated fiat account
Dalgleish, Elizabeth     7/10/2023     2.6   Prepare template in the EU and RoW wind-down model to
                                             consolidate and analyze bank account and balance sheet
                                             information for all legal entities
Dusendschon, Kora        7/10/2023     0.1   Coordinate internally regarding responses from FTI regarding KYC
                                             efforts
Dusendschon, Kora        7/10/2023     0.4   Teleconference with K. Dusendschon, K. Baker, J. Chan, M.
                                             Sunkara, M. Simkins (A&M) to discuss crypto workstream initiatives
Dusendschon, Kora        7/10/2023     0.1   Review status of searching efforts for compliant request and provide
                                             guidance to team on status report
Dusendschon, Kora        7/10/2023     0.2   Follow-up with FTI regarding pending items on KYC requests and
                                             balance recalculation


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Business Operations
Professional             Date     Hours     Activity
Evans, Charles        7/10/2023     0.6   Correspondence with M. van den Belt, C.Evans (A&M), E.
                                          Nurmansyah (ABNR), S&C team regarding Bitocto documentation
                                          for regulatory compliance
Flynn, Matthew        7/10/2023     0.4   Update contract review tracker for meeting with S&C

Flynn, Matthew        7/10/2023     0.4   Update crypto workstream planner for latest status for management


Flynn, Matthew        7/10/2023     0.3   Call with M. Flynn, M. Sunkara (A&M) to discuss UCC employee
                                          request
Glustein, Steven      7/10/2023     0.4   Summarize missing token purchase agreements, request from W.
                                          Walker and S. Glustein (A&M)
Gordon, Robert        7/10/2023     0.4   Draft response on SDNY website request

Haigis, Maya          7/10/2023     0.7   Review script to add support ticket attachments to kyc file master
                                          table
Haigis, Maya          7/10/2023     0.4   Teleconference with M. Haigis, A. Sloan, C. Radis, P. Kwan (A&M)
                                          to go through action items, pending requests and workstreams
Haigis, Maya          7/10/2023     0.2   Update kyc file master table to include matching and export metrics

Heric, Andrew         7/10/2023     1.1   Create summary schedule of specific crypto transfer activity related
                                          to high-priority request 97
Heric, Andrew         7/10/2023     0.4   Call with L. Lambert and A. Heric (A&M) regarding approach to
                                          summarizing activity of concern for high-priority request
Heric, Andrew         7/10/2023     0.9   Call with L. Lambert, L. Iwanski, Q. Lowdermilk, A. Heric, and I.
                                          Radwanski (A&M) regarding workstream updates and priorities
Heric, Andrew         7/10/2023     0.1   Call with Q. Lowdermilk and A. Heric (A&M) regarding tracing of a
                                          token investment
Heric, Andrew         7/10/2023     2.1   Prepare and review quality control comments made by C.
                                          Stockmeyer (A&M) related to two priority request deliverables
Heric, Andrew         7/10/2023     1.7   Gather transaction detail for second batch of 33 identified transfers
                                          related to high-priority activity review
Heric, Andrew         7/10/2023     2.6   Gather transaction detail for first batch of 45 identified transfers
                                          related to high-priority activity review
Iwanski, Larry        7/10/2023     0.3   Meeting with L. Callerio, L. Lambert, L. Iwanski, C. Stockmeyer
                                          (A&M) re: internal crypto tracing update
Iwanski, Larry        7/10/2023     0.9   Call with L. Lambert, L. Iwanski, Q. Lowdermilk, A. Heric, and I.
                                          Radwanski (A&M) regarding workstream updates and priorities
Iwanski, Larry        7/10/2023     0.4   Review of data and summaries regarding an investigation subject


Iwanski, Larry        7/10/2023     0.5   Analysis of deliverable related to request 108

Johnston, David       7/10/2023     0.7   Review and prepare correspondence relating to customer emails to
                                          FTX EU Ltd. customers
Johnston, David       7/10/2023     0.3   Call with D. Johnston and E. Mosley (A&M) to discuss FTX Europe
                                          latest developments and next steps


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Professional             Date     Hours     Activity
Johnston, David       7/10/2023     0.2   Call with O. de Vito Piscicelli, E. Simpson (S&C), M. Lambrianou, M.
                                          Athinodorou (FTX), D. Johnston, M. van den Belt (A&M) on FTX EU
                                          customer portal and FTX EU Ltd equity financing
Johnston, David       7/10/2023     0.4   Review correspondence relating to FTX Dubai wind down

Johnston, David       7/10/2023     0.2   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                          Dalgleish (A&M) to discuss follow-up on strategic options of rest of
                                          world entities and customer deposits on segregated fiat accounts
Konig, Louis          7/10/2023     2.3   Quality control and review of output related to summary of transfer
                                          activity between intercompany accounts
Konig, Louis          7/10/2023     3.1   Documentation of findings related to summary of transfer activity
                                          between intercompany accounts
Konig, Louis          7/10/2023     2.8   Database scripting related to summary of transfer activity between
                                          intercompany accounts
Kwan, Peter           7/10/2023     1.8   Draft responses summarizing analysis done responding to follow-up
                                          questions from the UCC
Kwan, Peter           7/10/2023     0.7   Perform comparison between wallet groups and wallet addresses
                                          from NSS and wallet tracking databases
Kwan, Peter           7/10/2023     0.9   Research legacy fee structures of exchange operations by reviewing
                                          historical website snapshots
Kwan, Peter           7/10/2023     1.3   Stage data from NSS database to prepare for reconciliation of wallet
                                          addresses against wallet tracking database
Kwan, Peter           7/10/2023     0.4   Teleconference with M. Haigis, A. Sloan, C. Radis, P. Kwan (A&M)
                                          to go through action items, pending requests and workstreams
Kwan, Peter           7/10/2023     0.8   Test calculation of open derivative positions for customers of foreign-
                                          FTX entity
Kwan, Peter           7/10/2023     2.2   Continue to develop logic for extraction of open derivative positions
                                          for customers of foreign non-debtor FTX entity
Lam, James            7/10/2023     1.2   Review the subsidiary waterfall analysis for two Japan entities and
                                          one Vietnam entity
Lambert, Leslie       7/10/2023     0.4   Call with L. Lambert and A. Heric (A&M) regarding approach to
                                          summarizing activity of concern for high-priority request
Lambert, Leslie       7/10/2023     0.3   Call with L. Lambert and P. McGrath (A&M) regarding tracing of
                                          NEAR tokens
Lambert, Leslie       7/10/2023     0.3   Draft communications concerning certain blockchain analyses


Lambert, Leslie       7/10/2023     0.3   Meeting with L. Callerio, L. Lambert, L. Iwanski, C. Stockmeyer
                                          (A&M) re: internal crypto tracing update
Lambert, Leslie       7/10/2023     0.6   Plan and prepare approach to analyze certain transactional activity

Lambert, Leslie       7/10/2023     1.1   Revise summary of findings and observations concerning an
                                          analysis of specific crypto activity
Lambert, Leslie       7/10/2023     1.2   Conduct a quality control review of approach, data, and deliverable
                                          responsive to a specific request for analysis of on-chain activity
Lambert, Leslie       7/10/2023     0.8   Review various correspondence and supporting documentation
                                          related to open crypto tracing efforts

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Business Operations
Professional              Date     Hours     Activity
Lambert, Leslie        7/10/2023     0.9   Call with L. Lambert, L. Iwanski, Q. Lowdermilk, A. Heric, and I.
                                           Radwanski (A&M) regarding workstream updates and priorities
Lowdermilk, Quinn      7/10/2023     0.1   Call with Q. Lowdermilk and A. Heric (A&M) regarding tracing of a
                                           token investment
Lowdermilk, Quinn      7/10/2023     2.1   Adjust crypto tracing deliverable for updated transactions found from
                                           blockchain research
Lowdermilk, Quinn      7/10/2023     2.2   Blockchain research identifying debtor entity exposure to an address

Lowdermilk, Quinn      7/10/2023     1.6   Finalize crypto tracing analysis with identified transactions pertaining
                                           to request
Lowdermilk, Quinn      7/10/2023     0.9   Call with L. Lambert, L. Iwanski, Q. Lowdermilk, A. Heric, and I.
                                           Radwanski (A&M) regarding workstream updates and priorities
Lowdermilk, Quinn      7/10/2023     1.6   Create unauthorized transfer of funds redline memo to outline
                                           changes
Lowdermilk, Quinn      7/10/2023     0.3   Call with I. Radwanski and Q. Lowdermilk (A&M) discussing
                                           blockchain visuals related to a token request
Mosley, Ed             7/10/2023     0.4   Call with J. Ray (FTX), E. Mosley, S. Coverick, K. Ramanathan
                                           (A&M) to discuss crypto updates
Mosley, Ed             7/10/2023     1.1   Review of FTX 2.0 bid summary and next steps presentation

Mosley, Ed             7/10/2023     0.5   Discuss crypto asset manager selection with J. Ray (FTX), E.
                                           Mosley, S. Coverick, K. Ramanathan (A&M)
Mosley, Ed             7/10/2023     0.3   Call with D. Johnston and E. Mosley (A&M) to discuss FTX Europe
                                           latest developments and next steps
Radis, Cameron         7/10/2023     0.4   Teleconference with M. Haigis, A. Sloan, C. Radis, P. Kwan (A&M)
                                           to go through action items, pending requests and workstreams
Radwanski, Igor        7/10/2023     0.3   Call with I. Radwanski and Q. Lowdermilk (A&M) discussing
                                           blockchain visuals related to a token request
Radwanski, Igor        7/10/2023     0.9   Call with L. Lambert, L. Iwanski, Q. Lowdermilk, A. Heric, and I.
                                           Radwanski (A&M) regarding workstream updates and priorities
Radwanski, Igor        7/10/2023     2.9   Trace related transactions using blockchain tracing software


Radwanski, Igor        7/10/2023     2.4   Quantify target transactions related to Request 100

Radwanski, Igor        7/10/2023     1.6   Edit deliverable related to Request 108

Ramanathan, Kumanan    7/10/2023     0.3   Review of blocktrain explorer tracing activities


Ramanathan, Kumanan    7/10/2023     0.4   Call with S. Coverick, K. Ramanathan, G. Walia (A&M) to discuss
                                           legal entity analysis
Ramanathan, Kumanan    7/10/2023     0.4   Call with S. Kurz (Galaxy) to discuss crypto asset management
                                           service offerings
Ramanathan, Kumanan    7/10/2023     0.6   Call with S. Coverick, K. Ramanathan, G. Walia (A&M) and B.
                                           Glueckstein, J. Croke, A. Kranzley (S&C) to discuss legal entity
                                           analysis


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Business Operations
Professional             Date     Hours     Activity
Ramanathan, Kumanan   7/10/2023     0.4   Call with D. Wilson (CBAM) to discuss commercials for crypto asset
                                          management
Ramanathan, Kumanan   7/10/2023     0.8   Provide feedback on reporting framework for trading summaries and
                                          distribute to legal team
Ramanathan, Kumanan   7/10/2023     0.6   Provide feedback on crypto asset sale motion requirements

Ramanathan, Kumanan   7/10/2023     0.3   Call with S. Coverick, K. Ramanathan (A&M) to discuss asset
                                          management presentation
Ramanathan, Kumanan   7/10/2023     0.9   Prepare updated crypto asset management visual legal entity
                                          illustration
Ramanathan, Kumanan   7/10/2023     0.3   Participate in workstream update call with E. Mosley, S. Coverick, K.
                                          Ramanathan, A. Titus, R. Esposito, R. Gordon, L. Callerio, L. Ryan,
                                          J. Cooper (A&M)
Ramanathan, Kumanan   7/10/2023     0.5   Call with J. Ray (FTX), E. Mosley, S. Coverick, K. Ramanathan
                                          (A&M) to discuss crypto updates
Ramanathan, Kumanan   7/10/2023     0.4   Call with J. Ray (FTX) to discuss crypto asset manager service
                                          offerings
Ramanathan, Kumanan   7/10/2023     0.9   Revise crypto asset management presentation

Ryan, Laureen         7/10/2023     0.3   Participate in workstream update call with E. Mosley, S. Coverick, K.
                                          Ramanathan, A. Titus, R. Esposito, R. Gordon, L. Callerio, L. Ryan,
                                          J. Cooper (A&M)
Sagen, Daniel         7/10/2023     0.4   Call with N. Chang, D. Du, A. Salameh (BitGo) and D. Sagen (A&M)
                                          to discuss workstream status updates and go-forward prioritization
Sagen, Daniel         7/10/2023     1.7   Prepare scenario analysis for crypto asset ownership based off
                                          different legal entity allocation methodologies
Sagen, Daniel         7/10/2023     2.1   Prepare summary files and drafted responses regarding third party
                                          exchange account reconciliation questions to J. Croke (S&C)
Sagen, Daniel         7/10/2023     1.2   Incorporate legal entity mapping updates into Plan recovery crypto
                                          inputs summary
Sagen, Daniel         7/10/2023     0.6   Incorporate updates to proposed UST crypto trade reporting
                                          template per comments from K. Ramanathan (A&M), revert for
                                          review
Sagen, Daniel         7/10/2023     1.0   Participate in third party exchange transfer session with A. Taylor, A.
                                          Istrefi (Sygnia), S. Yeargan (S&C) and D. Sagen (A&M)
Sagen, Daniel         7/10/2023     0.6   Prepare for weekly touchpoint meeting with BitGo team to discuss
                                          workstream status and priorities
Sagen, Daniel         7/10/2023     0.4   Summarize missing token purchase agreements, request from W.
                                          Walker and S. Glustein (A&M)
Sagen, Daniel         7/10/2023     0.8   Research follow up questions from certain third party exchanges
                                          regarding account reconciliation
Sagen, Daniel         7/10/2023     0.7   Update Plan recovery crypto inputs legal entity breakout per
                                          comments received from G. Walia (A&M)
Sagen, Daniel         7/10/2023     1.1   Update Alameda legal entity summary sheet to reflect contract
                                          analysis



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Business Operations
Professional                 Date    Hours     Activity
Sagen, Daniel            7/10/2023     1.4   Review various token investment contracts to identify potential legal
                                             entity ownership of certain tokens
Schlam Batista, Sharon   7/10/2023     0.2   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                             Dalgleish (A&M) to discuss follow-up on strategic options of rest of
                                             world entities and customer deposits on segregated fiat accounts
Schlam Batista, Sharon   7/10/2023     1.3   Update and review the strategic option step plan for Zubr Exchange
                                             Ltd
Simkins, Maximilian      7/10/2023     0.4   Teleconference with K. Dusendschon, K. Baker, J. Chan, M.
                                             Sunkara, M. Simkins (A&M) to discuss crypto workstream initiatives
Simkins, Maximilian      7/10/2023     1.0   Create script to update master file_id table with files found in support
                                             messages table
Sivapalu, Anan           7/10/2023     0.2   Call with A. Sivapalu and G. Walia (A&M) regarding diligence
                                             questions on spread differentials
Slay, David              7/10/2023     2.5   Review and update workstream planner live file for new thresholds to
                                             consider availability
Slay, David              7/10/2023     0.4   Review and update the docket tracker based on activity from Kroll
                                             website for 7/11
Sloan, Austin            7/10/2023     0.4   Teleconference with M. Haigis, A. Sloan, C. Radis, P. Kwan (A&M)
                                             to go through action items, pending requests and workstreams
Stockmeyer, Cullen       7/10/2023     1.8   Prepare report related to professional tracker based on new
                                             information available on July 10
Stockmeyer, Cullen       7/10/2023     2.1   Provide comments on report related to certain individual transaction
                                             history
Stockmeyer, Cullen       7/10/2023     0.6   Update analysis of transaction statuses based on commentary from
                                             G. Walia (A&M)
Stockmeyer, Cullen       7/10/2023     1.8   Continue to provide comments on report related to certain individual
                                             transaction history
Stockmeyer, Cullen       7/10/2023     0.3   Meeting with L. Callerio, L. Lambert, L. Iwanski, C. Stockmeyer
                                             (A&M) re: internal crypto tracing update
Stockmeyer, Cullen       7/10/2023     1.3   Update crypto tracing request tracker for requests related to certain
                                             individuals as requested by K. Ramanathan (A&M)
Sunkara, Manasa          7/10/2023     2.6   Run a fuzzy lookup on the list of FTX employee names

Sunkara, Manasa          7/10/2023     3.1   Search multiple sources including the database for a listing of all
                                             FTX employee accounts
Sunkara, Manasa          7/10/2023     2.8   Create a preliminary account listing of FTX employees for an internal
                                             investigation
Sunkara, Manasa          7/10/2023     0.6   Correspond with FTI to request KYC documents


Sunkara, Manasa          7/10/2023     0.3   Call with M. Flynn, M. Sunkara (A&M) to discuss UCC employee
                                             request
Sunkara, Manasa          7/10/2023     0.4   Teleconference with K. Dusendschon, K. Baker, J. Chan, M.
                                             Sunkara, M. Simkins (A&M) to discuss crypto workstream initiatives
van den Belt, Mark       7/10/2023     0.2   Prepare correspondence on Quoine Pte Ltd with respect to strategic
                                             options analysis


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Business Operations
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van den Belt, Mark    7/10/2023     0.8   Review step plan modifications for FTX Dubai

van den Belt, Mark    7/10/2023     0.2   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                          Dalgleish (A&M) to discuss follow-up on strategic options of rest of
                                          world entities and customer deposits on segregated fiat accounts
van den Belt, Mark    7/10/2023     0.2   Call with O. de Vito Piscicelli, E. Simpson (S&C), M. Lambrianou, M.
                                          Athinodorou (FTX), D. Johnston, M. van den Belt (A&M) on FTX EU
                                          customer portal and FTX EU Ltd equity financing
van den Belt, Mark    7/10/2023     0.8   Prepare analysis on FTX wind down tracker for rest of world entities

van den Belt, Mark    7/10/2023     0.6   Prepare correspondence on FTX Dubai entities related to step plan
                                          for wind down
van den Belt, Mark    7/10/2023     0.3   Prepare correspondence on FTX Singapore wind down step plan


van den Belt, Mark    7/10/2023     0.3   Prepare correspondence on Indonesia in relation to specific
                                          payments to be made
van den Belt, Mark    7/10/2023     2.9   Prepare presentation for Board update on FTX EU Ltd


van den Belt, Mark    7/10/2023     1.1   Prepare PMO slide on FTX Europe for PMO meeting on July 11

Walia, Gaurav         7/10/2023     0.2   Call with A. Sivapalu and G. Walia (A&M) regarding diligence
                                          questions on spread differentials
Walia, Gaurav         7/10/2023     1.6   Review the pending crypto withdrawals analysis and provide
                                          feedback
Walia, Gaurav         7/10/2023     0.9   Review exchange spreads bridge and provide feedback

Walia, Gaurav         7/10/2023     1.7   Review all Ventures Alameda legal entity contracts for incorporation
                                          into Alameda legal entity analysis
Walia, Gaurav         7/10/2023     2.9   Prepare several updated responses to FTX 2.0 diligence questions

Walia, Gaurav         7/10/2023     0.3   Discussion with R. Esposito, D. Lewandowski, and G. Walia (A&M)
                                          re: customer claims issues
Walia, Gaurav         7/10/2023     0.4   Call with S. Coverick, K. Ramanathan, G. Walia (A&M) to discuss
                                          legal entity analysis
Walia, Gaurav         7/10/2023     0.6   Call with S. Coverick, K. Ramanathan, G. Walia (A&M) and B.
                                          Glueckstein, J. Croke, A. Kranzley (S&C) to discuss legal entity
                                          analysis
Walia, Gaurav         7/10/2023     2.2   Update the latest Alameda legal entity mapping presentation with
                                          the latest thinking
Walia, Gaurav         7/10/2023     0.7   Correspond with W. Walker and G. Walia (A&M) regarding venture
                                          snapshot report
Walker, William       7/10/2023     1.2   Prepare output model in response to request from G. Walia (A&M)


Walker, William       7/10/2023     0.6   Correspond with token issuers regarding the transfer of vested
                                          tokens



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Walker, William         7/10/2023     0.7   Correspond with G. Walia (A&M) regarding venture snapshot report

Wall, Guy               7/10/2023     2.2   Review of steps plan and DWTC regulations - amending comments
                                            and revised plan for review
Wall, Guy               7/10/2023     0.2   Review Correspondence related to FTX Exchange FZE liquidation
                                            requirements with R. Kanaan (Kanaan & Associates) and draft EL
                                            distributed
Wall, Guy               7/10/2023     1.6   Discuss with R.Arbid (A&M) FTX Exchange FZE steps plan - review
                                            of note related to steps plan
Wilson, David           7/10/2023     2.4   Began drafting a function that allows user to search folders to
                                            quickly save and move files in cloud storage system
Wilson, David           7/10/2023     2.9   Add capability to handle both csv and xlsx format in data tool and
                                            allow user to choose between formats
Wilson, David           7/10/2023     2.3   Fix bugs in withdrawals database function that caused incorrect
                                            query results
Wilson, David           7/10/2023     1.5   Improve authentication function to track times since last
                                            authentication so tool can automatically log user back into cloud
                                            storage
Yan, Jack               7/10/2023     1.1   Prepare the FTX Japan customer withdrawal summary table as at 9
                                            July 2023
Zatz, Jonathan          7/10/2023     1.2   Database scripting related to request to search for individual
                                            claiming to be customer
Zhang, Qi               7/10/2023     0.8   Perform final testing on FTX customer portal know your customer
                                            flow
Zhang, Qi               7/10/2023     0.6   Draft FTX customer portal KYC quality control testing working paper

Arbid, Rami             7/11/2023     0.4   Call with G. Wall, R. Arbid, D. Johnston, M. van den Belt (A&M) on
                                            FTX Dubai step plan
Arbid, Rami             7/11/2023     2.4   Draft summary wind-down plan for FTX Exchange FZE for further
                                            distribution
Baker, Kevin            7/11/2023     1.7   Search AWS exchange data for a specific customer name and
                                            return all wildcard searches to identify specific user account
Baker, Kevin            7/11/2023     2.1   Provide transaction date pricing for specific accounts and tokens
                                            found on FTX.com and .us
Baker, Kevin            7/11/2023     2.4   Create KYC AWS information for specific users regarding a large
                                            crypto subpoena
Baker, Kevin            7/11/2023     1.9   Produce user account information and transactional data for specific
                                            accounts related a large crypto subpoena
Baker, Kevin            7/11/2023     2.6   Report KYC and transactional records for users related to a specific
                                            customer for an investigation
Balmelli, Gioele        7/11/2023     1.2   Prepare correspondence re urgent Swiss administrator request


Bammert, Brett          7/11/2023     0.4   Call with M. Flynn, K. Dusendschon, (A&M) to discuss UCC
                                            employee bonus request
Callerio, Lorenzo       7/11/2023     1.3   Review the crypto tracing email traffic received today



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Professional                 Date    Hours     Activity
Callerio, Lorenzo        7/11/2023     0.5   Call with A. Canale, L. Leslie, A. Heric, P. McGrath and L. Callerio
                                             (A&M) re: internal crypto analysis touchpoint
Callerio, Lorenzo        7/11/2023     1.5   Review and provide comments to the preliminary observations deck
                                             provided by L. Lambert (A&M)
Callerio, Lorenzo        7/11/2023     0.6   Review and approve REQ108 Solana updated deck

Callerio, Lorenzo        7/11/2023     0.2   Meeting with G. Walia, L. Callerio, C. Stockmeyer (A&M) re:
                                             incomplete transactions analysis
Canale, Alex             7/11/2023     0.5   Call with A. Canale, L. Leslie, A. Heric, P. McGrath and L. Callerio
                                             (A&M) re: internal crypto analysis touchpoint
Canale, Alex             7/11/2023     0.8   Call with A. Sivapalu, A. Canale, G. Walia and L. Konig (A&M)
                                             regarding pricing retrieval for preference analysis
Canale, Alex             7/11/2023     0.3   Call with A. Canale, L. Leslie, A. Heric, P. McGrath (A&M) regarding
                                             insider claims analysis
Casey, John              7/11/2023     1.1   Review of information on intercompany balances for European and
                                             RoW subsidiaries in advance of call with D. Hainline (A&M)
Casey, John              7/11/2023     1.1   Prepare correspondence in relation to wind down questionnaires for
                                             FTX Cyprus and Gibraltar
Casey, John              7/11/2023     0.8   Call with D. Johnston, M. van den Belt, S. Schlam, D. Kuruvilla,
                                             R.Sexton, J. Casey, D. Hainline, and J. Sequeira (A&M) to discuss
                                             intercompany positions of rest of world entities. Preparations for call
Chambers, Henry          7/11/2023     0.8   Call with J. Simpson, E. Simpson, A. Courroy (S&C), A. Kumar, D.
                                             Teo (Blackoak), D. Johnston, J. Taylor, H. Chambers, E. Charles, M.
                                             van den Belt, H. McGoldrick, E. Chew, S. Li (A&M) to discuss
                                             Quoine Pte's issues
Chambers, Henry          7/11/2023     1.1   Review updated Quoine PTE latest update analysis

Chambers, Henry          7/11/2023     0.7   FTX Japan Catch up call with H. Chambers (A&M), J. Simpson, N.
                                             Mehta (S&C) B. Spitz, S. Kojima (FTX)
Chan, Jon                7/11/2023     2.7   Investigate activity related to bank transfers for S&C subpoena
                                             request
Chan, Jon                7/11/2023     0.2   Call with M. Sunkara, J. Chan, and L. Konig (A&M) to discuss
                                             preference analysis requests
Chan, Jon                7/11/2023     2.8   Investigate activity related to the exchange for specific user for A&M
                                             internal request
Chan, Jon                7/11/2023     2.2   Investigate activity relating to specific email address for S&C internal
                                             investigation request
Chan, Jon                7/11/2023     2.2   Quality control documents for S&C investigations request regarding
                                             specific entity
Chew, Ee Ling            7/11/2023     0.8   Call with J. Simpson, E. Simpson, A. Courroy (S&C), A. Kumar, D.
                                             Teo (Blackoak), D. Johnston, J. Taylor, H. Chambers, E. Charles, M.
                                             van den Belt, H. McGoldrick, E. Chew, S. Li (A&M) to discuss the
                                             current issues and next steps for Quoine Pte
Clayton, Lance           7/11/2023     1.6   Prepare detailed list of process and next steps for team alignment

Collis, Jack             7/11/2023     0.8   Review investigation reports in the context of the liquidation checklist
                                             / information request

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Professional                Date     Hours     Activity
Collis, Jack             7/11/2023     0.4   Review information relating to FZE and considering next steps for
                                             wind-down / liquidation options
Collis, Jack             7/11/2023     1.8   Review and update draft standard liquidation template for the wind-
                                             down of European and RoW subsidiaries
Corr, Caoimhe            7/11/2023     2.1   Prepare weekly claims reporting for all European entities July 11

Corr, Caoimhe            7/11/2023     1.4   Prepare claims report for all claims against FTX Exchange FZE

Dalgleish, Elizabeth     7/11/2023     1.1   Prepare summary in the EU and RoW wind-down model of the
                                             status of financials received to date for all legal entities
Dalgleish, Elizabeth     7/11/2023     2.3   Update template in the FTX EU and RoW wind-down model to
                                             include balance sheet information received for Dotcom legal entities
Dusendschon, Kora        7/11/2023     0.8   Analyze results of Relativity searches to identify patterns to leverage
                                             in searching for additional records to conduct tie-outs against
                                             Refinitiv data
Dusendschon, Kora        7/11/2023     0.1   Follow up with FTI regarding status of priority request for KYC
                                             records
Dusendschon, Kora        7/11/2023     0.4   Teleconference with K. Dusendschon, M. Simkins, M. Haigis (A&M)
                                             to discuss status of KYC tasks
Dusendschon, Kora        7/11/2023     0.5   Call with M. Simkins, M. Haigis, K. Dusendschon, C. Radis (A&M),
                                             E. Newman, N. Wolowski, C. Fanning (S&C), A. Bailey, B. Hadamik,
                                             C. Miller, D. Lee, A. Vyas, G. Hougey (FTI) to discuss updates to the
                                             overall FTX workstream
Dusendschon, Kora        7/11/2023     0.8   Review and discuss request regarding crypto bonus and employee
                                             emails
Dusendschon, Kora        7/11/2023     0.4   Call with M. Flynn, K. Dusendschon, B. Bammert (A&M) to discuss
                                             UCC employee bonus request
Dusendschon, Kora        7/11/2023     0.3   Review analysis from FTI regarding folder counts and KYC
                                             documentation
Dusendschon, Kora        7/11/2023     0.3   Conduct searches in Relativity to identify Worldcheck reports for
                                             Refinitiv tie-outs
Dusendschon, Kora        7/11/2023     0.3   Draft email communication to FTI outlining request for analytics to
                                             be conducted on Relativity data to identify certain employee email
                                             addresses
Evans, Charles           7/11/2023     0.8   Call with J. Simpson, E. Simpson, A. Courroy (S&C), A. Kumar, D.
                                             Teo (Blackoak), D. Johnston, J. Taylor, H. Chambers, E. Charles, M.
                                             van den Belt, H. McGoldrick, E. Chew, S. Li (A&M) to discuss
                                             Quoine Pte's issues
Evans, Charles           7/11/2023     0.8   Review of FTX Japan updated PMO presentation


Evans, Charles           7/11/2023     0.5   Discuss with C. Evans and J. Yan (A&M) regarding the preparation
                                             of FTX Japan reporting deck
Evans, Charles           7/11/2023     0.4   Correspondence with M. van den Belt, C.Evans (A&M), E.
                                             Nurmansyah (ABNR), S&C team regarding Bitocto documentation
                                             for the regulator
Evans, Charles           7/11/2023     0.4   Correspondence with Blackoak, S&C and A&M teams regarding
                                             Quoine Pte Ltd liquidation options planning


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Professional             Date     Hours     Activity
Flynn, Matthew        7/11/2023     0.4   Review of Fireblocks onboarding support

Flynn, Matthew        7/11/2023     0.4   Correspondence with avoidance team around employee email
                                          relativity search
Flynn, Matthew        7/11/2023     0.4   Call with M. Flynn, K. Dusendschon, B. Bammert (A&M) to discuss
                                          UCC employee bonus request
Flynn, Matthew        7/11/2023     0.3   Call with M. Flynn, G. Walia (A&M) to discuss UCC employee
                                          request
Gordon, Robert        7/11/2023     0.4   Analyze initial results of SDNY credit card search


Haigis, Maya          7/11/2023     0.6   Perform analysis on Worldcheck case report files for users with no
                                          Worldcheck data
Haigis, Maya          7/11/2023     0.5   Call with M. Simkins, M. Haigis, K. Dusendschon, C. Radis (A&M),
                                          E. Newman, N. Wolowski, C. Fanning (S&C), A. Bailey, B. Hadamik,
                                          C. Miller, D. Lee, A. Vyas, G. Hougey (FTI) to discuss updates to the
                                          overall FTX workstream
Haigis, Maya          7/11/2023     0.4   Teleconference with K. Dusendschon, M. Simkins, M. Haigis (A&M)
                                          to discuss status of KYC tasks
Haigis, Maya          7/11/2023     1.1   Perform analysis on users that failed Worldcheck screening to
                                          identify case report files
Hainline, Drew        7/11/2023     0.7   Call with D. Johnston, M. Van den Belt, S. Schlam, D. Kuruvilla, R.
                                          Sexton, J. Casey, D. Hainline, and J. Sequeira (A&M) to discuss
                                          intercompany positions of rest of world entities
Heric, Andrew         7/11/2023     0.3   Call with I. Radwanski, L. Lambert, and A. Heric (A&M) discussing
                                          deliverable updates
Heric, Andrew         7/11/2023     0.8   Design summary schedule of specific agreements of concern for
                                          high-priority request 97
Heric, Andrew         7/11/2023     1.2   Gather and summarize findings from review of 21 identified
                                          agreements related to high-priority request 97
Heric, Andrew         7/11/2023     1.1   Edit specific transfer details for over 100 transfers related to the
                                          request 97 deliverable
Heric, Andrew         7/11/2023     0.7   Update crypto tracing visuals and include appendix evidence based
                                          on review from L. Lambert and L. Callerio (A&M)
Heric, Andrew         7/11/2023     1.7   Create detailed summary schedule of all identified activity of concern
                                          related to request 97
Heric, Andrew         7/11/2023     0.4   Call with I. Radwanski, A. Heric, L. Iwanski, L. Lambert and Q.
                                          Lowdermilk (A&M) discussing crypto workstream updates
Heric, Andrew         7/11/2023     0.8   Call with L. Iwanski, L. Lambert, R. Radwanski, Q. Lowdermilk, and
                                          A. Heric (A&M) regarding final edits to externally shared deliverable
Heric, Andrew         7/11/2023     0.3   Call with A. Canale, L. Lambert, A. Heric, P. McGrath (A&M)
                                          regarding insider claims analysis
Heric, Andrew         7/11/2023     0.5   Call with A. Canale, L. Leslie, A. Heric, P. McGrath and L. Callerio
                                          (A&M) re: internal crypto analysis touchpoint
Heric, Andrew         7/11/2023     0.3   Call with I. Radwanski and A. Heric (A&M) discussing edits to
                                          deliverable



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Professional             Date     Hours     Activity
Heric, Andrew         7/11/2023     0.3   Call with L. Lambert and A. Heric (A&M) workshopping deliverable
                                          transfer analysis schedules
Iwanski, Larry        7/11/2023     0.4   Review of deliverable related to token agreements


Iwanski, Larry        7/11/2023     1.4   Review of correspondence regarding crypto tracing, investigations,
                                          and data requests
Iwanski, Larry        7/11/2023     0.8   Call with L. Iwanski, L. Lambert, R. Radwanski, Q. Lowdermilk, and
                                          A. Heric (A&M) regarding final edits to externally shared deliverable
Iwanski, Larry        7/11/2023     0.4   Call with I. Radwanski, A. Heric, L. Iwanski, L. Lambert and Q.
                                          Lowdermilk (A&M) discussing crypto workstream updates
Jacobs, Kevin         7/11/2023     0.5   Call with S. Coverick, K. Ramanathan, K. Jacobs, G. Walia, and B.
                                          Seaway (A&M) to discuss legal entity analysis
Johnson, Robert       7/11/2023     0.4   Discussion with R. Esposito, D. Lewandowski, K. Ramanathan, S.
                                          Kotarba, H. Chambers, R. Johnson (A&M), R. Perubhatla (RLKS),
                                          and Kroll re: customer claims portal and data transfer files of
                                          customer claim data
Johnston, David       7/11/2023     0.6   Review updates to timeline and sequencing for FTX Dubai wind down


Johnston, David       7/11/2023     0.2   Review tax updates relating to FTX wind down subsidiaries

Johnston, David       7/11/2023     1.3   Review latest financing proposal relating to FTX EU Ltd


Johnston, David       7/11/2023     0.8   Call with J. Simpson, E. Simpson, A. Courroy (S&C), A. Kumar, D.
                                          Teo (Blackoak), D. Johnston, J. Taylor, H. Chambers, E. Charles, M.
                                          van den Belt, H. McGoldrick, E. Chew, S. Li (A&M) to discuss the
                                          current issues and next steps for Quoine Pte
Johnston, David       7/11/2023     0.4   Call with G. Wall, R. Arbid, D. Johnston, M. van den Belt (A&M) on
                                          FTX Dubai step plan
Johnston, David       7/11/2023     0.7   Call with D. Johnston, M. Van den Belt, S. Schlam, D. Kuruvilla,
                                          R.Sexton, J. Casey, D. Hainline, and J. Sequeira (A&M) to discuss
                                          intercompany positions of rest of world entities
Konig, Louis          7/11/2023     0.8   Call with A.Sivapalu, A. Canale, G. Walia and L. Konig (A&M)
                                          regarding pricing retrieval for preference analysis
Kuruvilla, Daniel     7/11/2023     1.0   Call with D. Johnston, M. van den Belt, S. Schlam, D. Kuruvilla, R.
                                          Sexton, J. Casey, D. Hainline, and J. Sequeira (A&M) to discuss
                                          intercompany positions of rest of world entities. Preparations for call
Kuruvilla, Daniel     7/11/2023     0.7   Call with D. Johnston, M. Van den Belt, S. Schlam, D. Kuruvilla, R.
                                          Sexton, J. Casey, D. Hainline, and J. Sequeira (A&M) to discuss
                                          intercompany positions of rest of world entities
Kwan, Peter           7/11/2023     0.9   Extract listing of institutional customers and customer balances for
                                          FTX customer portal team
Kwan, Peter           7/11/2023     2.8   Develop wallet address level reconciliation between wallet tracking
                                          database and NSS database
Kwan, Peter           7/11/2023     1.3   Migrate all NSS database wallet addresses (with associated
                                          metadata) to prepare for wallet address reconciliation




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Kwan, Peter             7/11/2023     1.4   Revise reconciliation between wallet tracking database and NSS
                                            database based on additional wallet groups provided by 3rd party
                                            forensic accounting firm
Kwan, Peter             7/11/2023     1.2   Troubleshoot connectivity issues with NSS database and Wallet
                                            Tracking Database
Kwan, Peter             7/11/2023     0.3   Call with M. Flynn, P. Kwan (A&M) to discuss institutional KYC AWS
                                            data
Lam, James              7/11/2023     0.4   Discuss with J. Yan and J. Lam (A&M) regarding the preparation of
                                            FTX Japan reporting deck
Lam, James              7/11/2023     2.1   Summarize post-petition deposit records for Liquid Global


Lam, James              7/11/2023     1.8   Summarize post-petition deposit records for Liquid Japan

Lambert, Leslie         7/11/2023     0.3   Call with I. Radwanski, L. Lambert, and A. Heric (A&M) discussing
                                            deliverable updates
Lambert, Leslie         7/11/2023     0.8   Call with L. Iwanski, L. Lambert, R. Radwanski, Q. Lowdermilk, and
                                            A. Heric (A&M) regarding final edits to externally shared deliverable
Lambert, Leslie         7/11/2023     0.3   Call with L. Lambert and A. Heric (A&M) workshopping deliverable
                                            transfer analysis schedules
Lambert, Leslie         7/11/2023     0.8   Communicate requests and directives in response to an effort to
                                            analyze certain blockchain activity
Lambert, Leslie         7/11/2023     0.3   Call with A. Canale, L. Lambert, A. Heric, P. McGrath (A&M)
                                            regarding insider claims analysis
Lambert, Leslie         7/11/2023     0.6   Call with I. Radwanski and L. Lambert (A&M) discussing tracing
                                            request updates
Lambert, Leslie         7/11/2023     0.7   Provide guidance and observations concerning an approach to
                                            analyze the flow of funds related to certain transactions
Lambert, Leslie         7/11/2023     1.1   Review materials relevant to certain crypto tracing matters

Lambert, Leslie         7/11/2023     0.9   Quality control review the approach and output for a specific request
                                            for on-chain activity analysis
Lambert, Leslie         7/11/2023     0.4   Call with I. Radwanski, A. Heric, L. Iwanski, L. Lambert and Q.
                                            Lowdermilk (A&M) discussing crypto workstream updates
Lambert, Leslie         7/11/2023     0.8   Perform a detailed review of deliverables summarizing crypto tracing
                                            findings and observations
Lee, Julian             7/11/2023     0.1   Correspond with team regarding FTX Capital Markets bank
                                            statements identified in Relativity for bank account tracker
Li, Summer              7/11/2023     0.4   Understand if the outstanding account payable of FTX Japan
                                            Services K.K. has been settled
Li, Summer              7/11/2023     0.8   Call with J. Simpson, E. Simpson, A. Courroy (S&C), A. Kumar, D.
                                            Teo (Blackoak), D. Johnston, J. Taylor, H. Chambers, E. Charles, M.
                                            van den Belt, H. McGoldrick, E. Chew, S. Li (A&M) to discuss
                                            Quoine Pte's issues
Li, Summer              7/11/2023     0.2   Call with M. van den Belt and S. Li (A&M) to discuss the
                                            intercompany balances of Quoine Pte



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Li, Summer             7/11/2023     0.1   Collate daily cash balance of FTX Japan K.K. (3 July 2023 - 10 July
                                           2023) for the purpose of understanding the cash status
Li, Summer             7/11/2023     0.7   Prepare a summary of the audit status of FTX Japan K.K


Li, Summer             7/11/2023     0.3   Review the step plan for FTX Japan Services K.K

Lowdermilk, Quinn      7/11/2023     0.1   Quality control deliverable going to external recipients outlining
                                           analysis with a select insider
Lowdermilk, Quinn      7/11/2023     0.8   Call with L. Iwanski, L. Lambert, R. Radwanski, Q. Lowdermilk, and
                                           A. Heric (A&M) regarding final edits to externally shared deliverable
Lowdermilk, Quinn      7/11/2023     2.2   Craft a deliverable outlining four token purchase agreements and
                                           subsequent transactions
Lowdermilk, Quinn      7/11/2023     2.1   Create analysis files outlining identified correspondence between
                                           two parties for crypto tracing request
Lowdermilk, Quinn      7/11/2023     2.2   Outline identified transactions with a select token for crypto tracing
                                           request 109
Lowdermilk, Quinn      7/11/2023     0.4   Call with I. Radwanski, A. Heric, L. Iwanski, L. Lambert and Q.
                                           Lowdermilk (A&M) discussing crypto workstream updates
Lowdermilk, Quinn      7/11/2023     0.4   Call with I. Radwanski and Q. Lowdermilk (A&M) discussing tracing
                                           request methodology
McGoldrick, Hugh       7/11/2023     0.4   Call with Alex Lawson (A&M) regarding liquidation strategy in
                                           offshore jurisdictions
McGoldrick, Hugh       7/11/2023     0.7   Call with D Johnston (A&M) regarding liquidation planning for FTX
                                           subsidiaries
McGoldrick, Hugh       7/11/2023     0.3   Call with H. McGoldrick re: RoW subsidiary strategy workstreams

McGoldrick, Hugh       7/11/2023     0.1   Consider high level liquidation strategy for European and RoW
                                           subsidiaries and prepare correspondence re same
McGoldrick, Hugh       7/11/2023     1.1   Consider wind-down strategy for offshore jurisdictions and entities in
                                           the FTX Group
McGrath, Patrick       7/11/2023     0.3   Call with A. Canale, L. Lambert, A. Heric, P. McGrath (A&M)
                                           regarding insider claims analysis
McGrath, Patrick       7/11/2023     0.5   Call with A. Canale, L. Leslie, A. Heric, P. McGrath and L. Callerio
                                           (A&M) re: internal crypto analysis touchpoint
Montague, Katie        7/11/2023     0.5   Call with A. Sivapalu and K. Montague (A&M) regarding diligence
                                           questions on top ten customers
Radis, Cameron         7/11/2023     0.5   Call with M. Simkins, M. Haigis, K. Dusendschon, C. Radis (A&M),
                                           E. Newman, N. Wolowski, C. Fanning (S&C), A. Bailey, B. Hadamik,
                                           C. Miller, D. Lee, A. Vyas, G. Hougey (FTI) to discuss updates to the
                                           overall FTX workstream
Radwanski, Igor        7/11/2023     0.6   Call with I. Radwanski and L. Lambert (A&M) discussing tracing
                                           request updates
Radwanski, Igor        7/11/2023     0.8   Call with L. Iwanski, L. Lambert, R. Radwanski, Q. Lowdermilk, and
                                           A. Heric (A&M) regarding final edits to externally shared deliverable
Radwanski, Igor        7/11/2023     2.1   Trace target transactions using blockchain analytics tool


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Professional                Date     Hours     Activity
Radwanski, Igor          7/11/2023     1.6   Investigate written report regarding a tracing request

Radwanski, Igor          7/11/2023     0.4   Finalize PowerPoint deliverable regarding Request 108


Radwanski, Igor          7/11/2023     1.3   Update deliverable to include on-chain visuals of target transactions

Radwanski, Igor          7/11/2023     0.3   Call with I. Radwanski, L. Lambert, and A. Heric (A&M) discussing
                                             deliverable updates
Radwanski, Igor          7/11/2023     0.4   Call with I. Radwanski, A. Heric, L. Iwanski, L. Lambert and Q.
                                             Lowdermilk (A&M) discussing crypto workstream updates
Radwanski, Igor          7/11/2023     0.4   Call with I. Radwanski and Q. Lowdermilk (A&M) discussing tracing
                                             request methodology
Radwanski, Igor          7/11/2023     0.3   Call with I. Radwanski and A. Heric (A&M) discussing edits to
                                             deliverable
Ramanathan, Kumanan      7/11/2023     0.9   Review stable coin schedule and distribute for approval

Ramanathan, Kumanan      7/11/2023     0.5   Call with S. Coverick, K. Ramanathan, K. Jacobs, G. Walia, and B.
                                             Seaway (A&M) to discuss legal entity analysis
Ramanathan, Kumanan      7/11/2023     0.9   Review crypto asset management materials in advance of board
                                             presentation
Sagen, Daniel            7/11/2023     0.6   Review BitGo June invoice against activity report, provide comments
                                             to K. Ramanathan (A&M)
Sagen, Daniel            7/11/2023     1.7   Incorporate June 23 coin report into crypto asset Plan recovery input
                                             template
Sagen, Daniel            7/11/2023     1.2   Update Plan recovery crypto asset template to reflect change in
                                             token mappings
Sagen, Daniel            7/11/2023     0.8   Update master tracker of stablecoin activity and balances to include
                                             estimated balances on third party exchanges
Sagen, Daniel            7/11/2023     1.8   Review token purchase agreements to reconcile contract purchase
                                             amounts against on-chain receipts
Sagen, Daniel            7/11/2023     0.4   Review and respond to questions from L. Barbano (Embed)
                                             regarding claim balances
Sagen, Daniel            7/11/2023     0.9   Research variances in third party exchange transaction analysis

Sagen, Daniel            7/11/2023     0.2   Respond to question from E. Taraba (A&M) regarding source of
                                             cash receipt
Sagen, Daniel            7/11/2023     1.6   Prepare reconciliation of Sygnia identified third party exchange
                                             transfers against transactions in coin report to highlight variances
Sagen, Daniel            7/11/2023     0.3   Draft response to J. Croke (S&C) regarding token bridging process
                                             update
Sagen, Daniel            7/11/2023     0.3   Provide summary of token purchase contract review to G. Walia
                                             (A&M)
Schlam Batista, Sharon   7/11/2023     0.7   Call with D. Johnston, M. Van den Belt, S. Schlam, D. Kuruvilla,
                                             R.Sexton, J. Casey, D. Hainline, and J. Sequeira (A&M) to discuss
                                             intercompany positions of rest of world entities


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Professional               Date     Hours     Activity
Sequeira, Joseph        7/11/2023     0.7   Call with D. Johnston, M. Van den Belt, S. Schlam, D. Kuruvilla, R.
                                            Sexton, J. Casey, D. Hainline, and J. Sequeira (A&M) to discuss
                                            intercompany positions of rest of world entities
Sexton, Rachel          7/11/2023     0.7   Call with D. Johnston, M. van den Belt, S. Schlam, D. Kuruvilla,
                                            R.Sexton, J. Casey, D. Hainline, and J. Sequeira (A&M) to discuss
                                            intercompany positions of rest of world entities
Sexton, Rachel          7/11/2023     0.2   Call with H. McGoldrick (A&M) re strategy for wind-down of
                                            European and RoW subsidiaries
Sexton, Rachel          7/11/2023     0.3   Call with H. McGoldrick (A&M) re: RoW subsidiary strategy
                                            workstreams
Sexton, Rachel          7/11/2023     0.5   Review investigation reports and consider relevance to RoW wind
                                            down strategy
Sexton, Rachel          7/11/2023     0.4   Review queries re: Zubr and send comments to team


Simkins, Maximilian     7/11/2023     0.5   Call with M. Simkins, M. Haigis, K. Dusendschon, C. Radis (A&M),
                                            E. Newman, N. Wolowski, C. Fanning (S&C), A. Bailey, B. Hadamik,
                                            C. Miller, D. Lee, A. Vyas, G. Hougey (FTI) to discuss updates to the
                                            overall FTX workstream
Simkins, Maximilian     7/11/2023     1.3   Draft script to update master file_id table with files found in support
                                            messages table
Simkins, Maximilian     7/11/2023     0.4   Teleconference with K. Dusendschon, M. Simkins, M. Haigis (A&M)
                                            to discuss status of KYC tasks
Sivapalu, Anan          7/11/2023     0.5   Call with A. Sivapalu and K. Montague (A&M) regarding diligence
                                            questions on top ten customers
Sivapalu, Anan          7/11/2023     0.8   Call with A.Sivapalu, A. Canale, G. Walia and L. Konig (A&M)
                                            regarding pricing retrieval for preference analysis
Slay, David             7/11/2023     0.2   Review Alameda docket for relevant new docket updates

Stockmeyer, Cullen      7/11/2023     1.1   Update crypto tracing request tracker for requests related to certain
                                            individuals
Stockmeyer, Cullen      7/11/2023     1.3   Continue to update crypto transaction statuses based on new
                                            interpretation of data source
Stockmeyer, Cullen      7/11/2023     0.2   Meeting with G. Walia, L. Callerio, C. Stockmeyer (A&M) re:
                                            incomplete transactions analysis
Stockmeyer, Cullen      7/11/2023     2.1   Summarize analysis of transaction statuses


Stockmeyer, Cullen      7/11/2023     1.6   Update analysis of transaction statuses based on commentary from
                                            G. Walia (A&M)
Stockmeyer, Cullen      7/11/2023     2.2   Update crypto transaction statuses based on new interpretation of
                                            data source
Sullivan, Christopher   7/11/2023     1.7   Provide comments to tax/crypto scenario analysis

Sunkara, Manasa         7/11/2023     0.9   Correspond with A&M and S&C to confirm their data requests

Sunkara, Manasa         7/11/2023     1.6   Provide all exchange data associated with specific lender accounts



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Professional              Date    Hours     Activity
Sunkara, Manasa       7/11/2023     1.7   Search the SQL database for any user accounts associated with an
                                          entity
Sunkara, Manasa       7/11/2023     1.6   Review the SQL code to calculate the preference period data using
                                          the subsequent advance method
Sunkara, Manasa       7/11/2023     1.3   Investigate the activity between specific wallet addresses for a
                                          lender claims investigation
Sunkara, Manasa       7/11/2023     1.2   Extract a user's trading activity for an S&C internal investigation

Sunkara, Manasa       7/11/2023     0.2   Call with M. Sunkara, J. Chan, and L. Konig (A&M) to discuss
                                          preference analysis requests
Sunkara, Manasa       7/11/2023     2.1   Extract all transaction activity for a list of confirmed user accounts
                                          for an S&C internal investigation
van den Belt, Mark    7/11/2023     3.1   Prepare analysis of Quoine Pte Ltd intercompany categorization


van den Belt, Mark    7/11/2023     1.1   Prepare correspondence on ZUBR wind down steps

van den Belt, Mark    7/11/2023     0.8   Prepare correspondence on FTX India related to strategic options
                                          analysis
van den Belt, Mark    7/11/2023     0.1   Prepare correspondence on BVI entity liquidation status

van den Belt, Mark    7/11/2023     0.4   Call with G. Wall, R. Arbid, D. Johnston, M. van den Belt (A&M) on
                                          FTX Dubai step plan
van den Belt, Mark    7/11/2023     0.2   Call with M. van den Belt and S. Li (A&M) to discuss the
                                          intercompany balances of Quoine Pte
van den Belt, Mark    7/11/2023     0.8   Call with J. Simpson, E. Simpson, A. Courroy (S&C), A. Kumar, D.
                                          Teo (Blackoak), D. Johnston, J. Taylor, H. Chambers, C. Evans, M.
                                          van den Belt, H. McGoldrick, E. Chew, S. Li (A&M) to discuss the
                                          current issues and next steps for Quoine Pte
van den Belt, Mark    7/11/2023     0.7   Call with D. Johnston, M. Van den Belt, S. Schlam, D. Kuruvilla,
                                          R.Sexton, J. Casey, D. Hainline, and J. Sequeira (A&M) to discuss
                                          intercompany positions of rest of world entities
van den Belt, Mark    7/11/2023     0.8   Review correspondence on tax due diligence topics for FTX rest of
                                          world entities
Walia, Gaurav         7/11/2023     0.4   Review the updated pending crypto withdrawal analysis and provide
                                          feedback
Walia, Gaurav         7/11/2023     1.7   Review the latest Alameda legal entity mapping exercise and
                                          provide feedback
Walia, Gaurav         7/11/2023     0.4   Review list of employees with exchange accounts and provide
                                          feedback
Walia, Gaurav         7/11/2023     0.2   Meeting with G. Walia, L. Callerio, C. Stockmeyer (A&M) re:
                                          incomplete transactions analysis
Walia, Gaurav         7/11/2023     0.5   Call with S. Coverick, K. Ramanathan, K. Jacobs, G. Walia, and B.
                                          Seaway (A&M) to discuss legal entity analysis
Walia, Gaurav         7/11/2023     0.3   Call with M. Flynn, G. Walia (A&M) to discuss UCC employee
                                          request



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Walia, Gaurav         7/11/2023     0.8   Call with A.Sivapalu, A. Canale, G. Walia and L. Konig (A&M)
                                          regarding pricing retrieval for preference analysis
Walia, Gaurav         7/11/2023     0.8   Prepare a preference analysis for specific customers provided by
                                          S&C
Walia, Gaurav         7/11/2023     1.9   Update the Alameda legal entity memo based on the latest thinking

Wall, Guy             7/11/2023     1.6   Review and amend summary wind-down plan for FTX Exchange
                                          FZE for further distribution
Wall, Guy             7/11/2023     0.4   Call with G. Wall, R. Arbid, D. Johnston, M. van den Belt (A&M) on
                                          FTX Dubai step plan
Wilson, David         7/11/2023     2.9   Fix bugs in query function and added error handling prompts to
                                          avoid tool crashes
Wilson, David         7/11/2023     2.7   Add data type flexibility in automation functions in database to allow
                                          tool to accept different values in loop
Wilson, David         7/11/2023     2.8   Complete find folder function that allows tool user to quickly navigate
                                          folders and move items in cloud storage
Yan, Jack             7/11/2023     0.3   Discuss with C. Evans and J. Yan (A&M) regarding the preparation
                                          of FTX Japan reporting deck
Yan, Jack             7/11/2023     0.4   Discuss with J. Yan and J. Lam (A&M) regarding the preparation of
                                          FTX Japan reporting deck
Yan, Jack             7/11/2023     2.5   Prepare FTX Japan's regular reporting deck regarding the migration
                                          and withdrawal
Yan, Jack             7/11/2023     1.4   Prepare FTX Japan's regular reporting deck regarding the regulatory
                                          issues concerned by Japan Financial Services Agency
Zatz, Jonathan        7/11/2023     1.6   Database script execution related to request for all Alameda fills
                                          past a certain date
Zatz, Jonathan        7/11/2023     2.9   Database scripting related to request for all Alameda fills past a
                                          certain date
Zhang, Qi             7/11/2023     0.3   Draft standard email templates for manual reviewers to reach out to
                                          customers
Zhang, Qi             7/11/2023     0.7   Update customer portal manual review standard operating
                                          procedures on AWS data matching and standard email template
Zhang, Qi             7/11/2023     0.3   Update customer portal manual review standard operating
                                          procedures on documents upload procedures
Baker, Kevin          7/12/2023     2.1   Analyze bank records and transactions within AWS for specific
                                          transaction hashes
Baker, Kevin          7/12/2023     0.4   Teleconference with K. Dusendschon, K. Baker, J. Chan, M. Haigis,
                                          A. Sloan, C. Radis, P. Kwan, J. Zatz, L. Konig (A&M) to go through
                                          action items, pending requests and workstreams
Baker, Kevin          7/12/2023     0.4   Teleconference with K. Baker, J. Chan (A&M) and B. Harsch (S&C)
                                          to discuss new subpoena request from the FBI
Baker, Kevin          7/12/2023     2.2   Identify specific accounts related to a specific fund and investigate
                                          any internal transfers from these accounts
Baker, Kevin          7/12/2023     0.6   Call with M. Sunkara, J. Chan, J. Zatz, K. Baker (A&M) to discuss
                                          data requests and issues


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Baker, Kevin          7/12/2023     2.4   Extract transactional records and account information relating to a
                                          subpoena request from the FBI in the middle district of North
                                          Carolina
Balmelli, Gioele      7/12/2023     1.9   Review Swiss administrator report to the Swiss court

Balmelli, Gioele      7/12/2023     0.9   Prepare correspondence with S&C re employment arrangements of
                                          FTX Europe key employees
Balmelli, Gioele      7/12/2023     2.1   Collect documents backing FTX EU Avoidance Complaint

Balmelli, Gioele      7/12/2023     0.4   Call with O. de Vito Piscicelli, E. Simpson (S&C), M. Lambrianou, M.
                                          Athinodorou, N. Ziourti, R. Matzke (FTX), D. Johnston, M. van den
                                          Belt, G. Balmelli (A&M) on FTX EU equity financing status and
                                          customer balances
Balmelli, Gioele      7/12/2023     0.6   Call with J. Bavaud re preparation financials and employment
                                          arrangements
Bowles, Carl          7/12/2023     0.7   Review of liquidation questionnaire and information requests for
                                          wind-down planning
Callerio, Lorenzo     7/12/2023     0.4   Call with L. Lambert and L. Callerio (A&M) re: crypto tracing
                                          activities coordination
Callerio, Lorenzo     7/12/2023     0.7   Final review of the updated preliminary observation deck provided by
                                          L. Lambert (A&M)
Callerio, Lorenzo     7/12/2023     0.4   Meeting with Q. Lowdermilk, L. Callerio, C. Stockmeyer (A&M) re:
                                          internal crypto tracing update
Callerio, Lorenzo     7/12/2023     2.1   Review and integrate the crypto tracing preliminary findings deck
                                          provided by L. Lambert (A&M)
Callerio, Lorenzo     7/12/2023     0.3   Call with L. Iwanski, L. Callerio, P. McGrath, A. Canale, S. Glustein
                                          (A&M) regarding progress touchpoint surrounding ventures
                                          avoidance tracing efforts
Canale, Alex          7/12/2023     0.3   Call with L. Iwanski, L. Callerio, P. McGrath, A. Canale, S. Glustein
                                          (A&M) regarding progress touchpoint surrounding ventures
                                          avoidance tracing efforts
Casey, John           7/12/2023     0.3   Review prioritization of European and RoW subsidiary entities and
                                          prepare correspondence to D. Johnston and M. van den Belt (A&M)
                                          re same
Casey, John           7/12/2023     0.6   Review materials on FTX Exchange FZE and wind-down options


Casey, John           7/12/2023     0.6   Call with H. McGoldrick, J. Casey and J. Collis re: wind down
                                          strategy for Europe and RoW
Chan, Jon             7/12/2023     2.4   Investigate additional accounts related to professional service
                                          customers for internal A&M request
Chan, Jon             7/12/2023     1.8   Investigate activity related to specific bank accounts on the
                                          exchange for internal A&M investigation
Chan, Jon             7/12/2023     0.6   Call with M. Sunkara, J. Chan, J. Zatz, K. Baker (A&M) to discuss
                                          data requests and issues
Chan, Jon             7/12/2023     1.7   Investigate activity related to specific transactions that may have
                                          occurred for token purchase agreements



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Chan, Jon                7/12/2023     1.9   Provide data related to ninety day preference period for S&C internal
                                             request
Chan, Jon                7/12/2023     0.4   Teleconference with K. Dusendschon, K. Baker, J. Chan, M. Haigis,
                                             A. Sloan, C. Radis, P. Kwan, J. Zatz, L. Konig (A&M) to go through
                                             action items, pending requests and workstreams
Chan, Jon                7/12/2023     0.4   Teleconference with K. Baker, J. Chan (A&M) and B. Harsch (S&C)
                                             to discuss new subpoena request from the FBI
Clayton, Lance           7/12/2023     2.9   Reconcile investment model to the token model

Collis, Jack             7/12/2023     0.6   Call with H. McGoldrick, J. Casey and J. Collis (A&M) re: wind down
                                             strategy for Europe and RoW
Collis, Jack             7/12/2023     2.6   Consider prioritization of wind-down for European and RoW
                                             subsidiaries, discuss with J Casey (A&M) and update standard draft
                                             liquidation checklist for subsidiaries following same
Dalgleish, Elizabeth     7/12/2023     2.9   Prepare analysis of current restricted and unrestricted bank account
                                             balances as of w/e 7 July for each legal entity
Dalgleish, Elizabeth     7/12/2023     2.7   Prepare analysis of payments made by each legal entity by payment
                                             type per the payment trackers from petition date to 7 July 2023
Dalgleish, Elizabeth     7/12/2023     1.9   Update the FTX EU and RoW wind-down model to include the
                                             balance sheet financials of all legal entities to be wound down
Dennison, Kim            7/12/2023     0.3   Attend call with M Walden, A Tantleff, N Kang (FTI), K Dennison
                                             (A&M) regarding Bahamas Properties strategy
Dusendschon, Kora        7/12/2023     0.4   Teleconference with K. Dusendschon, K. Baker, J. Chan, M.
                                             Simkins, A. Sloan, C. Radis, P. Kwan, J. Zatz, L. Konig (A&M) to go
                                             through action items, pending requests and workstreams
Dusendschon, Kora        7/12/2023     0.9   Teleconference with K. Dusendschon, M. Haigis, C. Radis (A&M) B.
                                             Hadamik, and G. Hougey (FTI) regarding KYC requests
Dusendschon, Kora        7/12/2023     0.1   Review status of open items and close out completed requests


Dusendschon, Kora        7/12/2023     0.2   Compile email outlining findings of review of FTI KYC reports/saved
                                             searches to be sent to internal team and FTI
Dusendschon, Kora        7/12/2023     0.2   Review results of name normalization from FTI for crypto bonus
                                             request
Dusendschon, Kora        7/12/2023     0.1   Provide insight/summary on activities completed by team


Dusendschon, Kora        7/12/2023     0.2   Follow-up with FTI regarding pending items on KYC requests for
                                             subpoena requests
Dusendschon, Kora        7/12/2023     0.1   Confer with FTI on next steps for name normalization for crypto
                                             bonus request
Dusendschon, Kora        7/12/2023     0.9   Conduct detailed review of KYC reference reports compared to KYC
                                             searches provided by FTI for balance recalculation and re-
                                             production efforts
Dusendschon, Kora        7/12/2023     0.1   Review status of lender review request and inquire on next steps

Dusendschon, Kora        7/12/2023     0.3   Review analysis conducted on Refinitiv data and provide feedback to
                                             team


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Evans, Charles        7/12/2023     0.3   Discuss with C. Evans and J. Yan (A&M) regarding the skeleton of
                                          FTX Japan reporting deck
Evans, Charles        7/12/2023     0.3   Correspondence with S.Li, C.Evans, H. Chambers, M.van den Belt,
                                          J. Lam (A&M), K. Kawabata (Kawabata) regarding liquidator queries
                                          FTX Japan Services KK
Flynn, Matthew        7/12/2023     0.3   Review of employee information provided by FTI for UCC request


Flynn, Matthew        7/12/2023     0.4   Review crypto workstream status items for Management update

Flynn, Matthew        7/12/2023     0.2   Call with M. Flynn, P. Kwan (A&M) to discuss wallet time series
                                          database updates
Gordon, Robert        7/12/2023     0.2   A&M workstream lead meeting to discuss strategy for deliverables
                                          and activities for the next two months
Gordon, Robert        7/12/2023     0.7   Edit presentation over website payments for SDNY

Gordon, Robert        7/12/2023     0.4   Correspondence on SDNY website payments request


Haigis, Maya          7/12/2023     2.4   Prepare exports of potential Worldcheck files with metrics on
                                          completeness
Haigis, Maya          7/12/2023     0.9   Teleconference with K. Dusendschon, M. Haigis, C. Radis (A&M) B.
                                          Hadamik, and G. Hougey (FTI) regarding KYC requests
Haigis, Maya          7/12/2023     0.4   Teleconference with K. Dusendschon, K. Baker, J. Chan, M. Haigis,
                                          A. Sloan, C. Radis, P. Kwan, J. Zatz, L. Konig (A&M) to go through
                                          action items, pending requests and workstreams
Haigis, Maya          7/12/2023     1.1   Perform analysis of Refinitiv reports available in AWS database

Heric, Andrew         7/12/2023     0.4   Meeting with L. Lambert, L. Iwanski, I. Radwanski, A. Heric (A&M)
                                          re: internal crypto tracing update
Heric, Andrew         7/12/2023     1.4   Update two repositories of information based on final observations
                                          from request 97 analysis
Heric, Andrew         7/12/2023     0.8   Gather historical token pricing data for 6 different tokens related to a
                                          high-priority request
Heric, Andrew         7/12/2023     0.8   Call with L. Lambert, R. Radwanski, Q. Lowdermilk, and A. Heric
                                          (A&M) regarding final edits to externally shared deliverable
Heric, Andrew         7/12/2023     2.2   Conduct final quality control review updates to footnotes, summary
                                          analysis, and tracing visuals for request 97 deliverable
Heric, Andrew         7/12/2023     0.8   Make edits to transfer summary schedule and notate 8 supporting
                                          documents of concern related to request 97
Heric, Andrew         7/12/2023     1.9   Notate newly identified observation and conduct crypto tracing of the
                                          observation related to request 97
Iwanski, Larry        7/12/2023     0.2   Review of a deliverable regarding on-chain activity for certain
                                          individuals
Iwanski, Larry        7/12/2023     0.4   Meeting with L. Lambert, L. Iwanski, I. Radwanski, A. Heric (A&M)
                                          re: internal crypto tracing update




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Iwanski, Larry        7/12/2023     0.3   Call with L. Iwanski, L. Callerio, P. McGrath, A. Canale, S. Glustein
                                          (A&M) regarding progress touchpoint surrounding ventures
                                          avoidance tracing efforts
Iwanski, Larry        7/12/2023     0.8   Correspondence related to transactions connected to an analysis of
                                          an investigated person
Johnson, Robert       7/12/2023     0.6   Call with D. Wilson, P. Kwan, L. Konig, R. Johnson (A&M) to discuss
                                          data requests and issues
Johnston, David       7/12/2023     1.2   Review and update FTX Europe AG draft Swiss court report

Johnston, David       7/12/2023     0.4   Review and analyze updates relating to potential incremental claim
                                          at FTX Bitocto as part of wind down analysis
Johnston, David       7/12/2023     0.6   Prepare summary presentation skeleton and related correspondence
                                          relating to FTX Europe historical activity
Johnston, David       7/12/2023     0.4   Call with O. de Vito Piscicelli, E. Simpson (S&C), M. Lambrianou, M.
                                          Athinodorou, N. Ziourti, R. Matzke (FTX), D. Johnston, M. van den
                                          Belt, G. Balmelli (A&M) on FTX EU equity financing status and
                                          customer balances
Johnston, David       7/12/2023     0.3   Prepare correspondence relating to historical accounting approach
                                          at FTX Europe
Konig, Louis          7/12/2023     0.4   Teleconference with K. Dusendschon, K. Baker, J. Chan, M.
                                          Simkins, A. Sloan, C. Radis, P. Kwan, J. Zatz, L. Konig (A&M) to go
                                          through action items, pending requests and workstreams
Konig, Louis          7/12/2023     0.6   Call with D. Wilson, P. Kwan, L. Konig, R. Johnson (A&M) to discuss
                                          data requests and issues
Konig, Louis          7/12/2023     2.1   Database scripting related to exchange summary of cash account
                                          activity
Konig, Louis          7/12/2023     2.7   Documentation of findings related to exchange summary of cash
                                          account activity
Konig, Louis          7/12/2023     2.6   Quality control and review of output related to exchange summary of
                                          cash account activity
Kwan, Peter           7/12/2023     2.3   Stage data required for preparing a derivatives breakout for the
                                          foreign FTX entity based out of the Asia-Pacific region
Kwan, Peter           7/12/2023     0.6   Call with D. Wilson, P. Kwan, L. Konig, R. Johnson (A&M) to discuss
                                          data requests and issues
Kwan, Peter           7/12/2023     0.2   Call with M. Flynn, P. Kwan (A&M) to discuss wallet time series
                                          database updates
Kwan, Peter           7/12/2023     1.0   Call with T. Phelan (AlixPartners), P. Lee, E. Simendinger (FTX), P.
                                          Kwan, M. Flynn, A. Mohammed to discuss UCC data access to
                                          wallet time series database
Kwan, Peter           7/12/2023     0.4   Coordinate with FTX data engineering team regarding the inclusion
                                          of additional addresses into the NSS database
Kwan, Peter           7/12/2023     3.1   Prepare revised schedule of derivatives positions values based on
                                          amended claims relating to UCC request
Kwan, Peter           7/12/2023     0.4   Teleconference with K. Dusendschon, K. Baker, J. Chan, M. Haigis,
                                          A. Sloan, C. Radis, P. Kwan, J. Zatz, L. Konig (A&M) to go through
                                          action items, pending requests and workstreams



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Business Operations
Professional               Date     Hours     Activity
Kwan, Peter             7/12/2023     1.3   Perform research around the availability of blockchain information
                                            for addresses in the wallet tracking database
Lam, James              7/12/2023     1.9   Review the Japan reporting decks and the new reporting template


Lam, James              7/12/2023     0.6   Correspondence with the Crypto team regarding NFT pricing data
                                            sources
Lam, James              7/12/2023     1.8   Calls with J. Yan and J. Lam (A&M) to discuss FTX Japan reporting
                                            deck
Lambert, Leslie         7/12/2023     0.4   Call with L. Lambert and L. Callerio (A&M) re: crypto tracing
                                            activities coordination
Lambert, Leslie         7/12/2023     0.6   Prepare detailed responses to multiple inquiries related to crypto
                                            tracing efforts
Lambert, Leslie         7/12/2023     1.3   Review data underlying findings and observations for a request for
                                            tracing on-chain activity
Lambert, Leslie         7/12/2023     0.8   Plan and prepare methodology for an analysis of certain transaction
                                            activity
Lambert, Leslie         7/12/2023     0.4   Meeting with L. Lambert, L. Iwanski, I. Radwanski, A. Heric (A&M)
                                            re: internal crypto tracing update
Lambert, Leslie         7/12/2023     1.1   Conduct a quality control review of the deliverable and underlying
                                            documentation for a crypto tracing exercise
Lambert, Leslie         7/12/2023     1.3   Perform review of information and documentation relevant to certain
                                            token investments
Lambert, Leslie         7/12/2023     0.8   Call with L. Lambert, R. Radwanski, Q. Lowdermilk, and A. Heric
                                            (A&M) regarding final edits to externally shared deliverable
Lambert, Leslie         7/12/2023     0.3   Call with L. Lambert, W. Walker, A. Liv-Feyman (A&M) regarding
                                            progress touchpoint surrounding ventures avoidance tracing efforts
Lee, Julian             7/12/2023     0.1   Correspond with team regarding Lemma Technologies in relation to
                                            creditor claim
Li, Summer              7/12/2023     0.7   Call with M. Van den Belt, S. Schlam, and S.Li (A&M) to discuss
                                            strategic options for FTX Japan Services
Li, Summer              7/12/2023     0.4   Prepare a summary of the audit status and compliance issues of
                                            Quoine Pte
Li, Summer              7/12/2023     0.1   Correspondence with R. Rita (FTX) regarding the transaction history
                                            of the custodial accounts of FTX Japan K.K
Li, Summer              7/12/2023     0.2   Correspondence with S. Kojima (FTX) regarding the effective
                                            contracts and off-book assets of FTX Japan Services K.K
Li, Summer              7/12/2023     0.3   Correspondence with the proposed liquidator of FTX Japan K.K. on
                                            the requirements to start the liquidation in Japan and the timing of
                                            the official appointment of a liquidator
Li, Summer              7/12/2023     0.2   Identify the set-off agreement for the third parties set off of Quoine
                                            Pte
Li, Summer              7/12/2023     0.3   Summarize my classification of the intercompany balance between
                                            FTX Japan K.K. and Quoine Pte for intercompany set off purposes
Li, Summer              7/12/2023     0.4   Review the breakdown of intercompany positions of Quoine Pte




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Li, Summer             7/12/2023     2.3   Review the classification of the intercompany balance between FTX
                                           Japan K.K. and Quoine Pte for intercompany set off purposes
Lowdermilk, Quinn      7/12/2023     2.2   Prepare analysis file with crypto tracing findings regarding a token
                                           purchase agreement and subsequent movement
Lowdermilk, Quinn      7/12/2023     2.4   Research blockchain information for particular transactions in
                                           question to request 109
Lowdermilk, Quinn      7/12/2023     0.4   Meeting with Q. Lowdermilk, L. Callerio, C. Stockmeyer (A&M) re:
                                           internal crypto tracing update
Lowdermilk, Quinn      7/12/2023     1.8   Create crypto tracing deliverable outlining blockchain information for
                                           two token purchase agreements
Lowdermilk, Quinn      7/12/2023     0.8   Call with L. Lambert, R. Radwanski, Q. Lowdermilk, and A. Heric
                                           (A&M) regarding final edits to externally shared deliverable
Lowdermilk, Quinn      7/12/2023     0.6   Analyze wallet activity for a previously unknown insider wallet
                                           pertaining to a specific request
McGoldrick, Hugh       7/12/2023     0.9   Consider high level liquidation strategy for European and RoW
                                           subsidiaries and prepare correspondence re same
McGoldrick, Hugh       7/12/2023     0.6   Call with H. McGoldrick, J. Casey and J. Collis (A&M) re: wind down
                                           strategy for Europe and RoW
McGrath, Patrick       7/12/2023     0.3   Call with L. Iwanski, L. Callerio, P. McGrath, A. Canale, S. Glustein
                                           (A&M) regarding progress touchpoint surrounding ventures
                                           avoidance tracing efforts
Montague, Katie        7/12/2023     0.7   Review summary of initial proposals and process next steps for FTX
                                           2.0 from PWP
Mosley, Ed             7/12/2023     1.3   Review of updated FTX 2.0 bid summaries for management


Paterson, Warren       7/12/2023     0.3   Attend call with M Walden, A Tantleff, N Kang (FTI), K Dennison
                                           (A&M) regarding Bahamas Properties strategy
Radis, Cameron         7/12/2023     0.4   Teleconference with K. Dusendschon, K. Baker, J. Chan, M. Haigis,
                                           A. Sloan, C. Radis, P. Kwan, J. Zatz, L. Konig (A&M) to go through
                                           action items, pending requests and workstreams
Radis, Cameron         7/12/2023     0.9   Teleconference with K. Dusendschon, M. Haigis, C. Radis (A&M) B.
                                           Hadamik, and G. Hougey (FTI) regarding KYC requests
Radwanski, Igor        7/12/2023     1.3   Update visuals in deliverable associated with Request 97

Radwanski, Igor        7/12/2023     0.8   Call with L. Lambert, R. Radwanski, Q. Lowdermilk, and A. Heric
                                           (A&M) regarding final edits to externally shared deliverable
Radwanski, Igor        7/12/2023     0.4   Meeting with L. Lambert, L. Iwanski, I. Radwanski, A. Heric (A&M)
                                           re: internal crypto tracing update
Radwanski, Igor        7/12/2023     2.4   Triage incoming transaction details related to request 118

Radwanski, Igor        7/12/2023     2.9   Trace transactions of interest using blockchain analytics


Ramanathan, Kumanan    7/12/2023     0.4   Call with S. Coverick, R. Johnson, E. Mosley and others (A&M) to
                                           discuss new workstream administration request
Ramanathan, Kumanan    7/12/2023     0.4   Call with S. Freeman, J. Pennington (JST) to discuss crypto liquidity
                                           analysis

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Ramanathan, Kumanan      7/12/2023     0.6   Correspond re: market maker onboarding

Ryan, Laureen            7/12/2023     0.3   A&M workstream lead meeting to discuss strategy for deliverables
                                             and activities for the next two months
Sagen, Daniel            7/12/2023     0.4   Provide C. McGee (A&M) response to questions regarding
                                             bridgework cadence and projections
Sagen, Daniel            7/12/2023     1.6   Update third party exchange transaction analysis to reflect latest
                                             transfer session details from Sygnia
Sagen, Daniel            7/12/2023     1.8   Prepare bridge for category B and other tokens to summarize price
                                             and quantity changes at token level
Sagen, Daniel            7/12/2023     2.1   Update token bridges to compare original and market maker
                                             adjusted prices
Sagen, Daniel            7/12/2023     0.7   Correspondence with N. Chang (BitGo) regarding questions on
                                             BitGo transaction report
Sagen, Daniel            7/12/2023     0.6   Update July 7 Coin Report for current Singapore and Japan data

Sagen, Daniel            7/12/2023     0.9   Respond to questions from J. Croke (S&C) regarding status of
                                             bridgework
Sagen, Daniel            7/12/2023     1.8   Research and respond to comments from J. Croke (S&C) regarding
                                             third party account reconciliation
Sagen, Daniel            7/12/2023     2.4   Prepare category A token bridge for Plan recovery crypto inputs to
                                             summarize price and quantity changes at token level
Schlam Batista, Sharon   7/12/2023     0.7   Call with M. Van den Belt, S. Schlam, and S.Li (A&M) to discuss
                                             strategic options for FTX Japan Services
Schlam Batista, Sharon   7/12/2023     1.4   Build a table of directors and local counsel per entity considered for
                                             the strategic options analysis, including FTX Europe and RoW
Schlam Batista, Sharon   7/12/2023     1.7   Update the strategic option step plan based on information received
                                             from local counsel
Sexton, Rachel           7/12/2023     0.6   Call with H. McGoldrick, J. Casey and J. Collis (A&M) re: wind down
                                             strategy for Europe and RoW
Sexton, Rachel           7/12/2023     0.8   Revisit key points of call with financial and intercompany team as
                                             relevant to wind down strategy and consider action points
Sexton, Rachel           7/12/2023     2.8   Detailed review of liquidation questionnaire and checklist for Zubr
                                             Exchange Ltd
Sexton, Rachel           7/12/2023     1.9   Cross reference to, and review of, information already received from
                                             financial and intercompany workstream
Sivapalu, Anan           7/12/2023     1.3   Call with A. Sivapalu and M. Andrade and L. Macdonald
                                             (CoinMetrics) regarding coin retrieval process
Sloan, Austin            7/12/2023     0.4   Teleconference with K. Dusendschon, K. Baker, J. Chan, M. Haigis,
                                             A. Sloan, C. Radis, P. Kwan, J. Zatz, L. Konig (A&M) to go through
                                             action items, pending requests and workstreams
Stegenga, Jeffery        7/12/2023     1.2   Review of latest PMO weekly update, with focus on crypto, ops and
                                             hedging workstream updates
Stockmeyer, Cullen       7/12/2023     1.9   Update crypto tracing request tracker for requests related to certain
                                             individuals


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Stockmeyer, Cullen    7/12/2023     0.4   Meeting with Q. Lowdermilk, L. Callerio, C. Stockmeyer (A&M) re:
                                          internal crypto tracing update
Stockmeyer, Cullen    7/12/2023     2.2   Analyze crypto tracing data to consolidate crypto address
                                          information into repository
Sunkara, Manasa       7/12/2023     0.6   Call with M. Sunkara, J. Chan, J. Zatz, K. Baker (A&M) to discuss
                                          data requests and issues
Sunkara, Manasa       7/12/2023     0.4   Teleconference with K. Dusendschon, K. Baker, J. Chan, M. Haigis,
                                          A. Sloan, C. Radis, P. Kwan, J. Zatz, L. Konig (A&M) to go through
                                          action items, pending requests and workstreams
Sunkara, Manasa       7/12/2023     2.9   Parse out user account data associated with certain bank accounts


Sunkara, Manasa       7/12/2023     2.6   Investigate the list of bank accounts provided by internal A&M in the
                                          SQL database
Sunkara, Manasa       7/12/2023     2.4   Analyze the fiat withdrawal activity to understand the bank account
                                          records data
Sunkara, Manasa       7/12/2023     2.7   Investigate specific bank record transactions to identify how they’re
                                          recorded in the database
van den Belt, Mark    7/12/2023     3.1   Prepare updated analysis of Quoine Pte Ltd related to strategic
                                          options analysis and intercompany classifications
van den Belt, Mark    7/12/2023     0.4   Call with O. de Vito Piscicelli, E. Simpson (S&C), M. Lambrianou, M.
                                          Athinodorou, N. Ziourti, R. Matzke (FTX), D. Johnston, M. van den
                                          Belt, G. Balmelli (A&M) on FTX EU equity financing status and
                                          customer balances
van den Belt, Mark    7/12/2023     3.2   Prepare analysis on non-EU bank accounts descriptions and
                                          purposes related to customer deposits
van den Belt, Mark    7/12/2023     0.4   Prepare correspondence on claims report of FTX Dubai

van den Belt, Mark    7/12/2023     0.7   Call with M. Van den Belt, S. Schlam, and S.Li (A&M) to discuss
                                          strategic options for FTX Japan Services
van den Belt, Mark    7/12/2023     0.4   Prepare correspondence on FTX Japan liquidator compliance checks

van den Belt, Mark    7/12/2023     1.1   Review claims report for FTX Europe based on newest claims added

van den Belt, Mark    7/12/2023     0.6   Review Swiss Administrator report related to status of FTX Europe
                                          and its subsidiaries
van den Belt, Mark    7/12/2023     1.1   Prepare presentation on assumptions related to separate
                                          subsidiaries waterfall analysis
van den Belt, Mark    7/12/2023     0.9   Prepare updated analysis of Quoine Pte Ltd related to intercompany
                                          netting in strategic options analysis
Walia, Gaurav         7/12/2023     0.7   Review several tokenized equities based on request from FTI

Walia, Gaurav         7/12/2023     1.6   Update the Alameda legal entity deck based on feedback


Walia, Gaurav         7/12/2023     2.4   Summarize all contract detail for the Alameda legal entity analysis to
                                          share with counsel



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Walia, Gaurav         7/12/2023     0.6   Review funding payments as it relates to calculation to petition date

Walia, Gaurav         7/12/2023     2.9   Review several diligence questions from FTI and provide feedback


Walia, Gaurav         7/12/2023     2.7   Prepare an updated draft presentation deck for the Alameda legal
                                          entity analysis
Wilson, David         7/12/2023     0.6   Call with D. Wilson, P. Kwan, L. Konig, R. Johnson (A&M) to discuss
                                          data requests and issues
Wilson, David         7/12/2023     1.8   Wrote function that creates and returns the path of a file as a string


Wilson, David         7/12/2023     2.8   Wrote query to run wildcard searches related to entities in an
                                          internal data request
Wilson, David         7/12/2023     2.9   Add search functionality to allow user to search for files by name,
                                          path and folder ID
Yan, Jack             7/12/2023     0.7   Prepare FTX Japan's regular reporting deck regarding the audit
                                          progress
Yan, Jack             7/12/2023     1.8   Prepare FTX Japan's regular reporting deck regarding the migration
                                          and withdrawal issues
Yan, Jack             7/12/2023     1.1   Perform weekly update on wallet balances for FTX Japan and
                                          Quoine Pte
Yan, Jack             7/12/2023     0.9   Prepare FTX Japan's regular reporting deck regarding the Quoine
                                          Pte Ltd's issues
Yan, Jack             7/12/2023     1.8   Calls with J. Yan and J. Lam (A&M) to discuss FTX Japan reporting
                                          deck
Yan, Jack             7/12/2023     1.0   Prepare FTX Japan's regular reporting deck regarding the regulatory
                                          issues concerned by Japan Financial Services Agency
Yan, Jack             7/12/2023     0.8   Prepare FTX Japan's regular reporting deck regarding the
                                          preparatory works for the relaunch
Yan, Jack             7/12/2023     0.3   Discuss with C. Evans and J. Yan (A&M) regarding the skeleton of
                                          FTX Japan reporting deck
Zatz, Jonathan        7/12/2023     2.3   Identify which notes from Alameda have implications regarding
                                          which database tables are relevant for future analyses
Zatz, Jonathan        7/12/2023     0.6   Call with M. Sunkara, J. Chan, J. Zatz, K. Baker (A&M) to discuss
                                          data requests and issues
Zatz, Jonathan        7/12/2023     0.4   Teleconference with K. Dusendschon, K. Baker, J. Chan, M. Haigis,
                                          A. Sloan, C. Radis, P. Kwan, J. Zatz, L. Konig (A&M) to go through
                                          action items, pending requests and workstreams
Zatz, Jonathan        7/12/2023     1.7   Database script testing related to request for all Alameda fills past a
                                          certain date
Zhang, Qi             7/12/2023     0.6   Draft FTX customer portal know your customer daily reporting
                                          metrics
Zhang, Qi             7/12/2023     0.2   Update customer portal manual review standard operating
                                          procedure on KYC rejection procedures
Zhang, Qi             7/12/2023     0.4   Draft daily summary email on observations and issued identified in
                                          review


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Zhang, Qi               7/12/2023     2.2   Perform daily review of Sumsub system auto approval cases to see
                                            if there are any issues for 12 July 2023
Zhang, Qi               7/12/2023     2.1   Perform daily review Sumsub system auto rejection cases to record
                                            down issues identified for 12 July 2023
Zhang, Qi               7/12/2023     0.8   Review KYC cases escalated as enhanced due diligence

Zhang, Qi               7/12/2023     1.4   Review system auto rejection cases to see if there are any issues

Zhang, Qi               7/12/2023     2.1   Monitor Sumsub platform to see the status of customers coming
                                            through KYC process
Arbid, Rami             7/13/2023     1.0   Meeting with B. Danhach (FTX) and G. Wall, R. Arbid (A&M) related
                                            to next steps for FTX Exchange FZE
Arbid, Rami             7/13/2023     0.2   Prepare correspondence related to FTX Exchange FZE EL
                                            requirements with R. Kanaan (Kanaan & Associates)
Baker, Kevin            7/13/2023     1.6   Extract user account records and all transactional data from AWS
                                            regarding specific email addresses
Baker, Kevin            7/13/2023     2.2   Investigate specific user account related to a withdrawal wallet
                                            address to provide transactional records for an internal investigation
Balmelli, Gioele        7/13/2023     0.9   Call with J. Bavaud (FTX), E. Muller, A. Pellizzari, T. Luginbuehl
                                            (L&S), E. Simpson, T. Hill, O. de Vito Piscicelli (S&C), D. Knezevic,
                                            F. Lorandi (HB), G. Balmelli, D. Johnston, M. van den Belt (A&M) on
                                            FTX Europe AG Swiss Moratorium matters
Bowles, Carl            7/13/2023     0.4   Consider and discuss wind-down strategy for FTX subsidiaries and
                                            use of a protocol between the Chapter 11 and liquidation estates
Callerio, Lorenzo       7/13/2023     0.3   Meeting with L. Lambert, L. Iwanski, L. Callerio (A&M) re: internal
                                            crypto tracing update call
Callerio, Lorenzo       7/13/2023     1.1   Review the inbound crypto tracing communications


Chambers, Henry         7/13/2023     1.1   Respond to Japan market maker diligence matters

Chambers, Henry         7/13/2023     1.1   Provide input in regards to creation of FTX Japan Cash deck matters


Chambers, Henry         7/13/2023     0.8   Correspondence regarding separate subsidiaries analysis

Chambers, Henry         7/13/2023     0.4   Correspondence regarding Bitgo communication on customer KYC
                                            status
Chambers, Henry         7/13/2023     0.6   Review FTX Japan reporting template update

Chan, Jon               7/13/2023     2.7   Update code relating to ninety day preference summaries to include
                                            additional related party accounts
Chan, Jon               7/13/2023     2.3   Investigate transactions performed on specific dates for S&C
                                            subpoena request
Chan, Jon               7/13/2023     1.1   Provide data related to confidential account for preference analysis

Chan, Jon               7/13/2023     2.9   Investigate additional activity related to specific transactions that
                                            may have occurred for token purchase agreements

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Chew, Ee Ling          7/13/2023     0.2   Additional comment on presentation in relation to strategic steps for
                                           2 Singapore entities
Chew, Ee Ling          7/13/2023     0.2   Call with E. Chew and J. Yan (A&M) regarding the regulatory
                                           updates of Quoine Pte Ltd
Corr, Caoimhe          7/13/2023     0.8   Prepare summary for selected claims across all European entities
                                           and corresponding links to claim
Dalgleish, Elizabeth   7/13/2023     1.6   Prepare wind-down tracker template to analyze and track the
                                           detailed actions required to wind down FTX entities
Dusendschon, Kora      7/13/2023     0.2   Review draft email to Refinitiv and make comments/edits


Dusendschon, Kora      7/13/2023     0.5   Call with M. Flynn, L. Konig, R. Johnson, K. Dusendschon (A&M) to
                                           discuss latest AWS and data request status
Dusendschon, Kora      7/13/2023     0.4   Create and internally distribute deck for weekly call with R.
                                           Perubhatla (FTX)
Dusendschon, Kora      7/13/2023     1.0   Teleconference with K. Dusendschon, M. Haigis (A&M) to discuss
                                           Refinitiv analysis and next steps
Dusendschon, Kora      7/13/2023     0.3   Review draft email to devs regarding Refinitiv observations and
                                           questions
Evans, Charles         7/13/2023     0.7   Correspondence with M. van den Belt, C.Evans (A&M), E.
                                           Nurmansyah (ABNR), S&C team regarding Bitocto documentation
                                           for the regulator
Evans, Charles         7/13/2023     0.4   Correspondence with Blackoak, S&C and A&M teams regarding
                                           Quoine Pte Ltd options planning
Evans, Charles         7/13/2023     0.3   Discuss with C. Evans and J. Yan (A&M) regarding the revision of
                                           FTX Japan reporting deck and draft questions to FTX Japan
Flynn, Matthew         7/13/2023     0.6   Create crypto workstream project related forecast for management

Flynn, Matthew         7/13/2023     0.8   Provide feedback on third-party vendor cash flow forecast

Flynn, Matthew         7/13/2023     0.3   Call with M. Flynn, D. Sagen (A&M) to discuss 3P Exchange
                                           presentation
Flynn, Matthew         7/13/2023     0.3   Call with M. Flynn, S. Witherspoon (A&M) to discuss project hour
                                           forecasting
Flynn, Matthew         7/13/2023     0.5   Call with M. Flynn, L. Konig, R. Johnson, K. Dusendschon (A&M) to
                                           discuss latest AWS and data request status
Flynn, Matthew         7/13/2023     0.5   Call with M. Flynn, K. Ramanathan, D. Sagen (A&M) and Messari
                                           team for weekly crypto update
Gordon, Robert         7/13/2023     0.2   Review SDNY talking points for potential edits


Gordon, Robert         7/13/2023     0.6   Teleconference with J. Rosenfeld(S&C), H. Nachmias(Sygnia) over
                                           response to SDNY request
Gordon, Robert         7/13/2023     0.3   Call with J. LaBella(Alix) over historical balance sheet alignment

Haigis, Maya           7/13/2023     1.0   Teleconference with K. Dusendschon, M. Haigis (A&M) to discuss
                                           Refinitiv analysis and next steps


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Professional              Date    Hours     Activity
Haigis, Maya          7/13/2023     0.2   Review draft email to request support ticket table information

Haigis, Maya          7/13/2023     0.4   Prepare email to request additional information on Refinitiv data
                                          source
Haigis, Maya          7/13/2023     2.8   Perform analysis of Refinitiv case report document availability

Heric, Andrew         7/13/2023     0.1   Call with Q. Lowdermilk and A. Heric (A&M) regarding identified
                                          addresses of concern and associated activity
Heric, Andrew         7/13/2023     2.4   Begin analysis of first batch of 16 targeted withdrawals related to
                                          high-priority request 97
Heric, Andrew         7/13/2023     0.1   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                          correspondence
Heric, Andrew         7/13/2023     0.4   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, and L.
                                          Iwanski (A&M) regarding crypto tracing workstream priorities
Heric, Andrew         7/13/2023     0.6   Provide analysis to follow-up question regarding specific agreements
                                          of concern for request 39
Heric, Andrew         7/13/2023     0.6   Conduct further analysis of second batch of 21 targeted withdrawals
                                          related to high-priority request 97
Heric, Andrew         7/13/2023     0.3   Meeting with I. Radwanski, Q. Lowdermilk, A. Heric, C. Stockmeyer
                                          (A&M) re: internal crypto tracing update call
Heric, Andrew         7/13/2023     0.3   Call with L. Lambert and A. Heric (A&M) regarding specific
                                          withdrawal analysis workstream
Heric, Andrew         7/13/2023     2.6   Conduct crypto tracing, summary analysis, and transaction detail
                                          updates to token deliverable related to request 39
Heric, Andrew         7/13/2023     0.9   Formulate methodology and design workbook for targeted
                                          withdrawal analysis
Iwanski, Larry        7/13/2023     0.3   Meeting with L. Lambert, L. Iwanski, L. Callerio (A&M) re: internal
                                          crypto tracing update call
Iwanski, Larry        7/13/2023     0.4   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, and L.
                                          Iwanski (A&M) regarding crypto tracing workstream priorities
Iwanski, Larry        7/13/2023     0.3   Review hack memo provided by team to analyze for updates in flow
                                          of funds
Iwanski, Larry        7/13/2023     0.3   Call with L. Lambert and L. Iwanski (A&M) to discuss crypto tracing
                                          plan and priorities
Jacobs, Kevin         7/13/2023     0.8   Call to discuss Alameda crypto asset legal entity ownership with J.
                                          Ray, M. Cilia (FTX), A. Dietderich, B. Glueckstein, J. Bromley, J.
                                          Croke, A. Kranzley, D. Hariton (S&C), T. Shea, D. Bailey (EY), E.
                                          Mosley, S. Coverick, K. Ramanathan, K. Jacobs, and G.
Johnson, Robert       7/13/2023     0.5   Call with M. Flynn, L. Konig, R. Johnson, K. Dusendschon (A&M) to
                                          discuss latest AWS and data request status
Johnston, David       7/13/2023     1.2   Review and update FTX global wind down status update
                                          presentation ahead of call to review with counsel and management
Johnston, David       7/13/2023     1.4   Review and update strategic options analysis including latest
                                          intercompany analysis for FTX Quoine Singapore
Johnston, David       7/13/2023     0.2   Coordinate and prepare correspondence relating to FTX Europe
                                          data security

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Johnston, David       7/13/2023     0.9   Call with J. Bavaud (FTX), E. Muller, A. Pellizzari, T. Luginbuehl
                                          (Lenz & Staehelin), E. Simpson, T. Hill, O. de Vito Piscicelli (S&C),
                                          D. Knezevic, F. Lorandi (Holenstein Brusa), G. Balmelli, D.
                                          Johnston, M. van den Belt (A&M) on FTX Europe AG Swiss Mor
Johnston, David       7/13/2023     0.5   Call with E. Simpson, O. de Vito Piscicelli, T. Hill (S&C), O.
                                          Adamidou, S. Triantafyllides, M. Hadjigavriel (ATS), D. Johnston, M.
                                          van den Belt (A&M) on FTX EU Ltd matters
Johnston, David       7/13/2023     1.0   Meeting with E. Simpson, O. de Vito Piscicelli (S&C), D. Johnston,
                                          M. van den Belt (A&M) on FTX Europe and rest of world wind down
                                          analysis
Konig, Louis          7/13/2023     0.5   Call with M. Flynn, L. Konig, R. Johnson, K. Dusendschon (A&M) to
                                          discuss latest AWS and data request status
Konig, Louis          7/13/2023     2.4   Documentation of findings related to transaction summary of
                                          targeted exchange account activity
Konig, Louis          7/13/2023     2.2   Database scripting related to transaction summary of targeted
                                          exchange account activity
Konig, Louis          7/13/2023     2.5   Quality control and review of output related to transaction summary
                                          of targeted exchange account activity
Kwan, Peter           7/13/2023     1.4   Perform research around fiat deposit and withdrawal activity linking
                                          to bank accounts data
Kwan, Peter           7/13/2023     2.4   Continue to aggregate data required to prepare revised schedule of
                                          derivatives positions values based on amended claims relating to
                                          UCC request
Kwan, Peter           7/13/2023     1.1   Continue to draft responses summarizing analysis done responding
                                          to follow-up questions from the UCC regarding derivatives breakout
                                          schedule
Kwan, Peter           7/13/2023     2.7   Test quantity as well as pricing data to support required for preparing
                                          a derivatives breakout for the foreign FTX entity based out of the
                                          Asia-Pacific region
Kwan, Peter           7/13/2023     1.3   Research pricing discrepancies in revised schedule of derivatives
                                          positions values in relation to UCC request
Kwan, Peter           7/13/2023     1.2   Perform quality review of sampled customers related to revised
                                          schedule of derivatives positions for UCC request
Lam, James            7/13/2023     0.7   Draft follow-up questions on the weekly Japan update

Lam, James            7/13/2023     1.8   Verify ticker pricing information used in the amended customer
                                          schedules
Lam, James            7/13/2023     1.8   Review the project management reporting deck template and
                                          updates
Lam, James            7/13/2023     2.4   Prepare the diligence requests for options to manage liquidity of FTX
                                          Japan
Lambert, Leslie       7/13/2023     0.9   Provide guidance and direction concerning open crypto tracing efforts


Lambert, Leslie       7/13/2023     0.8   Consider data and documentation relevant to an analysis of certain
                                          blockchain activity
Lambert, Leslie       7/13/2023     0.3   Meeting with L. Lambert, L. Iwanski, L. Callerio (A&M) re: internal
                                          crypto tracing update call


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Lambert, Leslie        7/13/2023     0.7   Plan and prepare for meetings and calls

Lambert, Leslie        7/13/2023     0.4   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, and L.
                                           Iwanski (A&M) regarding crypto tracing workstream priorities
Lambert, Leslie        7/13/2023     0.5   Call with Q. Lowdermilk and L. Lambert (A&M) regarding token
                                           purchase agreement deliverable details
Lambert, Leslie        7/13/2023     0.3   Call with L. Lambert and L. Iwanski (A&M) to discuss crypto tracing
                                           plan and priorities
Lambert, Leslie        7/13/2023     1.1   Review workpaper supporting findings and conclusions for a crypto
                                           tracing request
Lambert, Leslie        7/13/2023     0.6   Call with L. Lambert and I. Radwanski (A&M) regarding next steps
                                           for priority tracing request
Lambert, Leslie        7/13/2023     0.3   Call with L. Lambert and A. Heric (A&M) regarding specific
                                           withdrawal analysis workstream
Lambert, Leslie        7/13/2023     1.2   Conduct detailed review of crypto tracing outputs and supporting
                                           workpapers and data relevant to a request for crypto tracing
Li, Summer             7/13/2023     0.4   Review audit adjustments proposed by S. Kojima (FTX) for FTX
                                           Japan K.K
Li, Summer             7/13/2023     0.7   Review the bank statements of trust accounts of FTX Japan K.K and
                                           cross check the entries to another bank statements for user activities
Lowdermilk, Quinn      7/13/2023     1.7   Create an appendix of identified transactions associated with a
                                           token purchase agreement
Lowdermilk, Quinn      7/13/2023     1.9   Research blockchain information for debtor exposure to a certain
                                           address
Lowdermilk, Quinn      7/13/2023     1.6   Prepare analysis file with crypto tracing findings regarding a token
                                           purchase agreement and subsequent movement
Lowdermilk, Quinn      7/13/2023     2.1   Outline crypto tracing deliverable with identified addresses for
                                           request 109
Lowdermilk, Quinn      7/13/2023     0.3   Meeting with I. Radwanski, Q. Lowdermilk, A. Heric, C. Stockmeyer
                                           (A&M) re: internal crypto tracing update call
Lowdermilk, Quinn      7/13/2023     0.4   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, and L.
                                           Iwanski (A&M) regarding crypto tracing workstream priorities
Lowdermilk, Quinn      7/13/2023     0.5   Call with Q. Lowdermilk and L. Lambert (A&M) regarding token
                                           purchase agreement deliverable details
Lowdermilk, Quinn      7/13/2023     0.1   Call with Q. Lowdermilk and A. Heric (A&M) regarding identified
                                           addresses of concern and associated activity
Lowdermilk, Quinn      7/13/2023     0.1   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                           correspondence
McGoldrick, Hugh       7/13/2023     0.8   Review of draft liquidation questionnaire and framework to be
                                           implemented for determining liquidation strategy of FTX entities
Montague, Katie        7/13/2023     0.2   Call with A. Sivapalu and K. Montague (A&M) regarding diligence
                                           questions on top ten customers
Mosley, Ed             7/13/2023     0.2   Discussion with A.Kranzley (FTX) regarding Alameda crypto
                                           ownership considerations




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Paterson, Warren      7/13/2023     0.3   Collate Property Taxes schedule for FTX PH Bahamas properties

Radwanski, Igor       7/13/2023     0.4   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, and L.
                                          Iwanski (A&M) regarding crypto tracing workstream priorities
Radwanski, Igor       7/13/2023     0.6   Call with L. Lambert and I. Radwanski (A&M) regarding next steps
                                          for priority tracing request
Radwanski, Igor       7/13/2023     0.3   Meeting with I. Radwanski, Q. Lowdermilk, A. Heric, C. Stockmeyer
                                          (A&M) re: internal crypto tracing update call
Radwanski, Igor       7/13/2023     0.7   Triage related parties associated to different wallet addresses


Radwanski, Igor       7/13/2023     2.8   Trace transfers of interest using blockchain tracing software

Radwanski, Igor       7/13/2023     1.9   Quantify transaction details pertaining to Request 100


Radwanski, Igor       7/13/2023     1.4   Trace the source of funds related to 3 different transactions

Ramanathan, Kumanan   7/13/2023     0.5   Call with M. Flynn, K. Ramanathan, D. Sagen (A&M) and Messari
                                          team for weekly crypto update
Ramanathan, Kumanan   7/13/2023     0.3   Review Alameda legal entity ownership materials and provide
                                          feedback
Ramanathan, Kumanan   7/13/2023     0.3   Correspond re: crypto token mending process

Ramanathan, Kumanan   7/13/2023     0.4   Review of Metalabs updated change order and provide approval


Ramanathan, Kumanan   7/13/2023     0.4   Call with S. Kurz (Galaxy) to discuss crypto asset management
                                          service offerings
Ramanathan, Kumanan   7/13/2023     0.4   Call with J. Ray (FTX) to discuss crypto asset management services


Ramanathan, Kumanan   7/13/2023     0.6   Call with A. Taylor, H. Nachmias, L. Farazis (Sygnia) to discuss
                                          cybersecurity issues
Ramanathan, Kumanan   7/13/2023     0.4   Call with S. Kurz, W. Burt, M. Marcantonio and others (Galaxy) to
                                          discuss crypto asset management services
Ramanathan, Kumanan   7/13/2023     0.2   Review and provide feedback on crypto custodian insurance matters

Sagen, Daniel         7/13/2023     0.4   Correspondence with J. Yan (A&M) regarding Japan Coin Report
                                          inputs
Sagen, Daniel         7/13/2023     0.3   Correspondence with L. Barbano (Embed) regarding account
                                          reconciliation
Sagen, Daniel         7/13/2023     0.4   Correspondence with K. Ramanathan (A&M) regarding updates to
                                          staked assets in Coin Report
Sagen, Daniel         7/13/2023     0.5   Call with M. Flynn, K. Ramanathan, D. Sagen (A&M) and Messari
                                          team for weekly crypto update
Sagen, Daniel         7/13/2023     0.3   Call with M. Flynn, D. Sagen (A&M) to discuss 3P Exchange
                                          presentation




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Sagen, Daniel            7/13/2023     0.6   Correspondence with A&M ventures team regarding token vesting
                                             inputs for Coin Report
Sagen, Daniel            7/13/2023     0.9   Incorporate Coinbase transaction data into July 7 coin report


Sagen, Daniel            7/13/2023     1.3   Incorporate BitGo transaction data into July 7 coin report

Sagen, Daniel            7/13/2023     0.9   Incorporate updates per Sygnia trackers to staked assets in July 7
                                             Coin Report
Sagen, Daniel            7/13/2023     0.8   Update token vesting schedule in July 7 coin report


Sagen, Daniel            7/13/2023     1.1   Update fiat summary schedule in July 7 Coin Report

Sagen, Daniel            7/13/2023     1.4   Review Sygnia updates to staked asset population


Sagen, Daniel            7/13/2023     0.4   Prepare distributable versions of July 7 Coin Report materials,
                                             circulate for external distribution
Sagen, Daniel            7/13/2023     1.4   Review cold storage transactions against third party exchange
                                             transfer analysis to flag transfers in coin report
Sagen, Daniel            7/13/2023     1.2   Incorporate updates to token bridges in Plan recovery input file per
                                             comments received from H. Trent (A&M)
Sagen, Daniel            7/13/2023     1.4   Prepare bridge summarizing material changes in petition date assets
                                             between June 23 and July 7 Coin Reports
Sagen, Daniel            7/13/2023     1.6   Prepare variance analysis of July 7 vs June 23 Coin Report to
                                             identify material changes
Sagen, Daniel            7/13/2023     0.3   Provide K. Kearney (A&M) with requested inputs regarding Alameda
                                             legal entity asset mappings
Schlam Batista, Sharon   7/13/2023     0.7   Review and compare the latest UCC file vs. Statement of Schedules
                                             and verify consistency of prices and amounts for FTX EU Ltd
Schlam Batista, Sharon   7/13/2023     2.1   Update the strategic option step plan for Quoine PTE Ltd based on
                                             latest findings, considering processes shared by local counsel
Sexton, Rachel           7/13/2023     0.1   Review M. van den Belt queries re: Zubr and send comments to
                                             team
Sexton, Rachel           7/13/2023     0.1   Review information available in relation to debtors to have been
                                             dismissed from Chapter 11 proceedings and prepare
                                             correspondence re same
Simkins, Maximilian      7/13/2023     0.8   Compile what categories should be used to find KYC information in
                                             support messages table
Simkins, Maximilian      7/13/2023     0.9   Review recommendations to update master file id script


Simkins, Maximilian      7/13/2023     0.9   Incorporate edits to update master file id script

Sivapalu, Anan           7/13/2023     0.2   Call with A. Sivapalu and K. Montague (A&M) regarding diligence
                                             questions on top ten customers
Sivapalu, Anan           7/13/2023     0.3   Call with A. Sivapalu and G. Walia regarding status of coin price
                                             retrieval


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Stockmeyer, Cullen      7/13/2023     0.3   Meeting with I. Radwanski, Q. Lowdermilk, A. Heric, C. Stockmeyer
                                            (A&M) re: internal crypto tracing update call
Stockmeyer, Cullen      7/13/2023     1.1   Comment on updated report produced by A. Heric (A&M) regarding
                                            certain venture investment
Stockmeyer, Cullen      7/13/2023     2.3   Prepare tracker of requests related to certain individual to
                                            consolidate information available currently
Stockmeyer, Cullen      7/13/2023     1.4   Strategize analysis of existing crypto knowledge for central repository

Stockmeyer, Cullen      7/13/2023     1.1   Update crypto tracing request tracker for requests related to certain
                                            individuals
Stockmeyer, Cullen      7/13/2023     1.2   Comment on report related to certain ventures produced by Q.
                                            Lowdermilk (A&M)
Sullivan, Christopher   7/13/2023     0.6   Review first draft of the LedgerPrime wind down analysis


Sunkara, Manasa         7/13/2023     2.4   Search for an individual's user account on the exchange for a
                                            subpoena request
Sunkara, Manasa         7/13/2023     1.8   Summarize insights regarding the relationship between bank
                                            account withdrawals and the exchange data
Sunkara, Manasa         7/13/2023     2.1   Investigate a known transaction as specified in the subpoena

Sunkara, Manasa         7/13/2023     1.4   Extract all exchange data associated the confirmed user for a
                                            subpoena request
Sunkara, Manasa         7/13/2023     1.7   Compare the status results of the transaction recorded in the cash
                                            database
van den Belt, Mark      7/13/2023     1.0   Meeting with E. Simpson, O. de Vito Piscicelli (S&C), D. Johnston,
                                            M. van den Belt (A&M) on FTX Europe and rest of world wind down
                                            analysis
van den Belt, Mark      7/13/2023     0.5   Call with E. Simpson, O. de Vito Piscicelli, T. Hill (S&C), O.
                                            Adamidou, S. Triantafyllides, M. Hadjigavriel (ATS), D. Johnston, M.
                                            van den Belt (A&M) on FTX EU Ltd matters
van den Belt, Mark      7/13/2023     0.9   Call with J. Bavaud (FTX), E. Muller, A. Pellizzari, T. Luginbuehl
                                            (Lenz & Staehelin), E. Simpson, T. Hill, O. de Vito Piscicelli (S&C),
                                            D. Knezevic, F. Lorandi (Holenstein Brusa), G. Balmelli, D.
                                            Johnston, M. van den Belt (A&M) on FTX Europe AG Swiss Mor
van den Belt, Mark      7/13/2023     0.5   Call with E. Simpson (S&C), M. Cilia (FTX), J. Bavaud (FTX), M.
                                            Tofali (Haviaras & Philippou), M. van den Belt (A&M) on FTX Cyprus
                                            entities
van den Belt, Mark      7/13/2023     0.4   Prepare correspondence on Bitocto related matters


van den Belt, Mark      7/13/2023     1.3   Review slides on legal process for strategic options analysis for FTX
                                            Singapore
van den Belt, Mark      7/13/2023     0.8   Review initial model setup for wind down tracker for FTX rest of
                                            world entities
Walia, Gaurav           7/13/2023     0.8   Call to discuss Alameda crypto asset legal entity ownership with J.
                                            Ray, M. Cilia (FTX), A. Dietderich, B. Glueckstein, J. Bromley, J.
                                            Croke, A. Kranzley, D. Hariton (S&C), T. Shea, D. Bailey (EY), E.
                                            Mosley, S. Coverick, K. Ramanathan, K. Jacobs, and G.


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Walia, Gaurav         7/13/2023     0.9   Review the latest derivatives summary and provide feedback

Walia, Gaurav         7/13/2023     0.9   Review the historical Alameda wallet transfers analysis prepared by
                                          Tres Finance
Walia, Gaurav         7/13/2023     0.8   Review post-petition transaction activity and provide feedback

Walia, Gaurav         7/13/2023     0.8   Prepare on-chain tracing of several tokens in a contribution
                                          agreement
Walia, Gaurav         7/13/2023     1.4   Prepare for the Alameda legal entity ownership meeting


Walia, Gaurav         7/13/2023     1.1   Prepare a summary of all backstop liquidity provider analyses

Walia, Gaurav         7/13/2023     0.3   Call with A. Sivapalu and G. Walia regarding status of coin price
                                          retrieval
Walia, Gaurav         7/13/2023     1.1   Review the financials bridge for FTX 2.0 diligence purposes and
                                          provide feedback
Walker, William       7/13/2023     0.2   Correspond with D. Sagan (A&M) regarding coin report


Wall, Guy             7/13/2023     1.0   Meeting with B. Danhach (FTX) and G. Wall, R. Arbid (A&M) related
                                          to next steps for FTX Exchange FZE
Wall, Guy             7/13/2023     0.1   Prepare correspondence related to FTX Exchange FZE EL
                                          requirements with R. Kanaan (Kanaan & Associates)
Wilson, David         7/13/2023     2.6   Revise KYC automation functions to align with new template updates


Wilson, David         7/13/2023     2.7   Add balance_changes function to tool automation capabilities

Wilson, David         7/13/2023     1.2   Revise spot margin borrows automation function to align with new
                                          template updates
Wilson, David         7/13/2023     2.4   Add airdrops function to tool automation capabilities

Wilson, David         7/13/2023     2.4   Revise spot margin lends automation function to align with new
                                          template updates
Witherspoon, Samuel   7/13/2023     0.3   Call with M. Flynn, S. Witherspoon (A&M) to discuss project hour
                                          forecasting
Yan, Jack             7/13/2023     0.4   Understand the regulatory updates of Quoine Pte Ltd

Yan, Jack             7/13/2023     0.8   Understand the latest updates of FTX Japan regarding its relaunch
                                          preparatory relaunch work and regulatory updates as of 12 July 2023
Yan, Jack             7/13/2023     1.8   Revise FTX Japan's regular reporting deck regarding the regulatory
                                          updates
Yan, Jack             7/13/2023     2.4   Revise FTX Japan's regular reporting deck regarding the preparatory
                                          work for the relaunch
Yan, Jack             7/13/2023     0.3   Discuss with C. Evans and J. Yan (A&M) regarding the revision of
                                          FTX Japan reporting deck and draft questions to FTX Japan




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Yan, Jack               7/13/2023     0.2   Call with E. Chew and J. Yan (A&M) regarding the regulatory
                                            updates of Quoine Pte Ltd
Zatz, Jonathan          7/13/2023     2.8   Database scripting related to request to pull transactions from OTC
                                            database for specific users
Zatz, Jonathan          7/13/2023     0.5   Call with A. Holland (S&C), J. Zatz (A&M) to walk through Alameda
                                            fills data for SDNY request
Zatz, Jonathan          7/13/2023     1.4   Correspondence with A. Holland (S&C) regarding Alameda fills data
                                            for SDNY request
Zatz, Jonathan          7/13/2023     0.6   Database script execution related to request to pull transactions
                                            from OTC database for specific users
Zhang, Qi               7/13/2023     2.1   Perform daily review Sumsub system auto approve cases to record
                                            down issues identified for 13 July 2023
Zhang, Qi               7/13/2023     2.6   Perform daily review of Sumsub system auto rejection cases to
                                            record down issues identified for 13 July 2023
Zhang, Qi               7/13/2023     0.4   Perform daily review of Sumsub system manual escalation cases to
                                            record down issues identified for 13 July 2023
Arbid, Rami             7/14/2023     0.5   Call with M. Berti, E. Simpson, (S&C), B. Snaineh (Hadef &
                                            Partners), D. Johnston, G. Wall, R. Arbid, M. van den Belt (A&M) on
                                            FTX Dubai liquidation plan
Arbid, Rami             7/14/2023     0.3   Call with G. Wall (A&M) to discuss next steps on FTX Dubai
                                            liquidation plan
Baker, Kevin            7/14/2023     1.4   Process final supplemental KYC and balance productions to deliver
                                            to counsel for all subpoena requests
Baker, Kevin            7/14/2023     1.9   Review and discuss final data points relating to a large crypto
                                            subpoena before producing it over to S&C
Baker, Kevin            7/14/2023     2.6   Provide description to counsel regarding the AWS environment, the
                                            data contained within it and the different types of information located
                                            within it
Baker, Kevin            7/14/2023     0.3   Teleconference with K. Dusendschon, K. Baker, J. Chan, M.
                                            Sunkara (A&M) to go through action items, pending requests and
                                            workstreams
Baker, Kevin            7/14/2023     2.4   Prepare initial customer list for top 5000 account balances on
                                            FTX.com
Baker, Kevin            7/14/2023     0.5   Call with P. Kwan, L. Konig, K. Baker, R. Johnson (A&M) to discuss
                                            data requests and issues
Balmelli, Gioele        7/14/2023     3.1   Prepare FTX Europe AG FTX.com account overview

Balmelli, Gioele        7/14/2023     1.3   Review motion to dismiss FTX Europe debtor


Balmelli, Gioele        7/14/2023     2.8   Review FTX Europe AG financials per Apr 12 provided to the Swiss
                                            court
Balmelli, Gioele        7/14/2023     0.3   Call with E. Simpson (S&C), D. Johnston, G. Balmelli (A&M), M.
                                            Lambrianou, N. Ziouti (FTX), O. Adamidou (Triantafyllides) on FTX
                                            EU Ltd. next steps
Balmelli, Gioele        7/14/2023     0.6   Prepare correspondence re FTX Europe AG financials per Apr 12
                                            provided to the Swiss court


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Bammert, Brett        7/14/2023     0.4   Teleconference with K. Dusendschon, B. Bammert, M. Simkins, M.
                                          Haigis (A&M), A. Bailey, E. Langdon, A. Vyas (FTI) to discuss
                                          employee email address search
Bowles, Carl          7/14/2023     0.5   Consider and discuss wind-down strategy for FTX subsidiaries and
                                          the wider group in relation to FTX Europe entities
Callerio, Lorenzo     7/14/2023     0.3   Call with S. Witherspoon and L. Callerio (A&M) re: crypto tracing
                                          activities overview
Callerio, Lorenzo     7/14/2023     0.2   Call with L. Lambert and L. Callerio (A&M) re: crypto tracing update

Callerio, Lorenzo     7/14/2023     0.6   Review the crypto tracing correspondence traffic received today


Callerio, Lorenzo     7/14/2023     1.2   Prepare a detailed overview of the crypto tracing activities

Callerio, Lorenzo     7/14/2023     0.7   Review the Unconfirmed Withdrawals Status analysis prepared by
                                          C. Stockmeyer (A&M)
Casey, John           7/14/2023     0.3   Catch up call with Rachel Sexton and Hugh McGoldrick to discuss
                                          wind down questionnaire
Casey, John           7/14/2023     1.1   Review of information provided by D. Hainline (A&M) in relation to
                                          intercompany balances of European and RoW subsidiaries
Casey, John           7/14/2023     0.6   Email to Grant Noble at Grant Thornton re wind down of Maltese and
                                          Gibraltarian entities and discussion re same
Casey, John           7/14/2023     1.1   Call with D. Johnson, M. van den Belt, H. McGoldrick, J. Casey
                                          (A&M) re: protocol and prioritization of European and RoW Subs
Casey, John           7/14/2023     0.9   Review of available information in relation to Zubr Exchange Ltd in
                                          advance of preparation of standard liquidation questionnaire
Chambers, Henry       7/14/2023     1.7   Finalize FTX Japan Cash position PowerPoint deck

Chambers, Henry       7/14/2023     0.6   Review FTX Japan cash position PowerPoint slides

Chambers, Henry       7/14/2023     0.4   Correspondence re location of director email in connection with
                                          Quoine India complaint
Chan, Jon             7/14/2023     2.6   Investigate activity related to professional service customers for
                                          internal A&M request
Chan, Jon             7/14/2023     0.3   Teleconference with K. Dusendschon, K. Baker, J. Chan, M.
                                          Sunkara (A&M) to go through action items, pending requests and
                                          workstreams
Chan, Jon             7/14/2023     2.6   Investigate additional transactions performed on specific dates for
                                          S&C subpoena request
Chan, Jon             7/14/2023     2.6   Investigate activity related to specific accounts using emails and
                                          usernames for S&C investigation request
Chan, Jon             7/14/2023     0.5   Call with M. Sunkara, D. Wilson, J. Chan (A&M) to discuss data
                                          requests and issues
Chan, Jon             7/14/2023     2.1   Investigate activity related to a specific set of users for S&C
                                          investigation
Chew, Ee Ling         7/14/2023     0.1   Review letter of engagement from liquidator for Singapore entities



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Business Operations
Professional               Date    Hours     Activity
Clayton, Lance         7/14/2023     1.3   Update venture PMO deck for weekly changes

Corr, Caoimhe          7/14/2023     0.2   Prepare claims report summary for FTX Europe / Dotcom group


Dalgleish, Elizabeth   7/14/2023     0.2   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                           Dalgleish (A&M) to discuss FTX EU next steps and handover, as
                                           well as strategic options for Singapore Entities
Dalgleish, Elizabeth   7/14/2023     1.0   Call with J. Casey, R. Sexton, H. McGoldrick, E. Dalgleish, D.
                                           Johnston, M. van den Belt (A&M) on FTX wind down matters
Dalgleish, Elizabeth   7/14/2023     0.8   Update wind-down tracker to include all the detailed actions and
                                           status of those actions for all relevant FTX entities
Dusendschon, Kora      7/14/2023     0.3   Teleconference with K. Dusendschon, K. Baker, J. Chan, M.
                                           Sunkara (A&M) to go through action items, pending requests and
                                           workstreams
Dusendschon, Kora      7/14/2023     0.3   Internal discussions regarding crypto bonus searches by FTI

Dusendschon, Kora      7/14/2023     0.4   Teleconference with K. Dusendschon, M. Haigis (A&M), World-
                                           Check support team to discuss Refinitiv data questions
Dusendschon, Kora      7/14/2023     0.4   Teleconference with K. Dusendschon, B. Bammert, M. Simkins, M.
                                           Haigis (A&M), A. Bailey, E. Langdon, A. Vyas (FTI) to discuss
                                           employee email address search
Dusendschon, Kora      7/14/2023     0.5   Call with M. Flynn, K. Dusendschon (A&M) to discuss UCC
                                           employee bonus request status
Dusendschon, Kora      7/14/2023     0.3   Follow up with S&C regarding KYC vendors and contract termination
                                           status
Dusendschon, Kora      7/14/2023     0.4   Finalize weekly deck and tracker to be provided to R. Perubhatla
                                           (FTX)
Dusendschon, Kora      7/14/2023     0.6   Teleconference with K. Dusendschon (A&M) and R. Perubhatla to
                                           discuss AWS requests and update on KYC
Evans, Charles         7/14/2023     0.3   Correspondence with Blackoak, S&C and A&M teams regarding
                                           Quoine Pte Ltd options planning
Evans, Charles         7/14/2023     0.4   Calls with C. Evans and J. Lam (A&M) to discuss FTX Japan
                                           matters for FTX business go-forward planning
Evans, Charles         7/14/2023     0.7   Correspondence with C.Evans, S. Li, J. Lam, H. Chambers
                                           regarding FTX Japan go forward planning
Evans, Charles         7/14/2023     0.2   Correspondence with K. Montague, G. Walia, K. Ramanathan, S. Li,
                                           H. Chambers, C. Evans, J. Lam (A&M) regarding FTX Japan status
                                           update
Evans, Charles         7/14/2023     0.6   Correspondence with M. van den Belt, C.Evans (A&M), E.
                                           Nurmansyah (ABNR), S&C team regarding Bitocto documentation
                                           for the regulator
Evans, Charles         7/14/2023     0.8   Review of FTX Japan go forward planning presentation


Flynn, Matthew         7/14/2023     0.4   Update workstream forecast by project for management

Flynn, Matthew         7/14/2023     0.5   Call with M. Flynn, K. Dusendschon (A&M) to discuss UCC
                                           employee bonus request status

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Haigis, Maya          7/14/2023     0.4   Teleconference with K. Dusendschon, B. Bammert, M. Simkins, M.
                                          Haigis (A&M), A. Bailey, E. Langdon, A. Vyas (FTI) to discuss
                                          employee email address search
Haigis, Maya          7/14/2023     0.3   Teleconference with M. Simkins, M. Haigis, A. Sloan, C. Radis
                                          (A&M) to go through action items, pending requests and
                                          workstreams
Haigis, Maya          7/14/2023     0.3   Call with M. Simkins and M. Haigis (A&M) to discuss next steps of
                                          KYC tasks
Haigis, Maya          7/14/2023     0.9   Perform analysis of availability of Worldcheck screening reports

Haigis, Maya          7/14/2023     0.8   Review Refinitiv database tables to identify links between tables

Haigis, Maya          7/14/2023     0.6   Review script to add support ticket attachments to master file table


Haigis, Maya          7/14/2023     0.4   Teleconference with K. Dusendschon, M. Haigis (A&M), World-
                                          Check support team to discuss Refinitiv data questions
Heric, Andrew         7/14/2023     0.7   Finalize and gather four unique crypto tracing visuals for the
                                          withdrawal analysis request
Heric, Andrew         7/14/2023     2.8   Finalize tracing of second batch of 21 targeted withdrawals related to
                                          high-priority request 97
Heric, Andrew         7/14/2023     0.4   Notate interactions of priority related to withdrawal analysis


Heric, Andrew         7/14/2023     1.4   Summarize final tracing destinations of 32 targeted withdrawals
                                          related to request 97
Heric, Andrew         7/14/2023     0.6   Call with L. Lambert, L. Iwanski, Q. Lowdermilk, A. Heric, and I.
                                          Radwanski (A&M) regarding workstream updates and priorities
Heric, Andrew         7/14/2023     1.1   Conduct an internal document review for information surrounding a
                                          transfer of concern for withdrawal request
Heric, Andrew         7/14/2023     1.2   Create repository document for identified addresses and transfers of
                                          concern related to request 97
Iwanski, Larry        7/14/2023     0.6   Call with L. Lambert, L. Iwanski, Q. Lowdermilk, A. Heric, and I.
                                          Radwanski (A&M) regarding workstream updates and priorities
Johnson, Robert       7/14/2023     0.3   Teleconference with P. Kwan, R. Johnson, L. Konig, D. Wilson
                                          (A&M) to go through action items, pending requests and
                                          workstreams
Johnson, Robert       7/14/2023     0.5   Call with P. Kwan, L. Konig, K. Baker, R. Johnson (A&M) to discuss
                                          data requests and issues
Johnston, David       7/14/2023     1.0   Call with J. Casey, R. Sexton, H. McGoldrick, E. Dalgleish, D.
                                          Johnston, M. van den Belt (A&M) on FTX wind down matters
Johnston, David       7/14/2023     1.2   Review materials and correspondence ahead of cross functional
                                          group call on wind downs
Johnston, David       7/14/2023     0.3   Call with E. Simpson (S&C), D. Johnston, G. Balmelli (A&M), M.
                                          Lambrianou, N. Ziouti (FTX), O. Adamidou (Triantafyllides) on FTX
                                          EU Ltd. next steps
Johnston, David       7/14/2023     0.5   Call with E. Simpson (S&C), D. Hammon (E&Y), D. Johnston, M.
                                          van den Belt (A&M) on wind down matters of FTX rest of world
                                          entities

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Professional             Date     Hours     Activity
Johnston, David       7/14/2023     0.2   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                          Dalgleish (A&M) to discuss FTX EU next steps and handover, as
                                          well as strategic options for Singapore Entities
Johnston, David       7/14/2023     0.5   Call with E. Simpson, M. Berti (S&C), B. Snaineh (Hadef), A. Rami,
                                          G. Wall, D. Johnston, M. van den Belt (A&M) on FTX Dubai wind
                                          down step plan
Johnston, David       7/14/2023     0.7   Review, update and distribute Quoine Pte Ltd. strategic options
                                          presentation
Konig, Louis          7/14/2023     2.1   Documentation of findings related to summary of post-petition
                                          transaction activity
Konig, Louis          7/14/2023     0.5   Call with P. Kwan, L. Konig, K. Baker, R. Johnson (A&M) to discuss
                                          data requests and issues
Konig, Louis          7/14/2023     1.2   Database scripting related to summary of post-petition transaction
                                          activity
Konig, Louis          7/14/2023     0.3   Teleconference with P. Kwan, R. Johnson, L. Konig, D. Wilson
                                          (A&M) to go through action items, pending requests and
                                          workstreams
Konig, Louis          7/14/2023     2.3   Quality control and review of output related to summary of post-
                                          petition transaction activity
Kwan, Peter           7/14/2023     2.1   Research potential cost components required for adding an
                                          additional 50M wallet address to the NSS database
Kwan, Peter           7/14/2023     0.3   Teleconference with P. Kwan, R. Johnson, L. Konig, D. Wilson
                                          (A&M) to go through action items, pending requests and
                                          workstreams
Kwan, Peter           7/14/2023     1.1   Distribute final outputs to 3rd party upload site in relation to
                                          completed requests for foreign FTX entity based out of the Asia-
                                          Pacific region
Kwan, Peter           7/14/2023     0.5   Call with P. Kwan, L. Konig, K. Baker, R. Johnson (A&M) to discuss
                                          data requests and issues
Kwan, Peter           7/14/2023     1.6   Extract balance adjustments impacting customers from foreign FTX
                                          entity based out of the Asia-Pacific region
Kwan, Peter           7/14/2023     1.9   Prepare final output of derivatives positions as of pre-petition
                                          valuations for the foreign FTX entity based out of the Asia-Pacific
                                          region
Kwan, Peter           7/14/2023     0.4   Draft descriptions of cumulative data requests distributed to 3rd
                                          party upload site in relation to foreign FTX entity based out of Asia-
                                          Pacific
Lam, James            7/14/2023     2.6   Update FTX Japan strategic go-forward planning analysis

Lam, James            7/14/2023     1.1   Update FTX Japan cash balance records and the interest revenue
                                          information
Lam, James            7/14/2023     1.9   Prepare the Asia team workstreams analysis, planning and forecast


Lam, James            7/14/2023     1.1   Meeting with J. Lam and S. Li (A&M) to discuss the significance of
                                          FTX Japan K.K. to FTX Trading
Lam, James            7/14/2023     0.8   Identify relevant operational and financial information for FTX Japan
                                          in preparation of a summary deck


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Lam, James             7/14/2023     0.4   Calls with C. Evans and J. Lam (A&M) to discuss FTX Japan
                                           matters for FTX business go-forward planning
Lambert, Leslie        7/14/2023     1.2   Review and respond to correspondence related to crypto tracing and
                                           analysis requests
Lambert, Leslie        7/14/2023     0.6   Prepare communications regarding ongoing crypto tracing
                                           workstreams
Lambert, Leslie        7/14/2023     1.6   Conduct quality control review of crypto tracing output and
                                           deliverables
Lambert, Leslie        7/14/2023     0.6   Call with L. Lambert, L. Iwanski, Q. Lowdermilk, A. Heric, and I.
                                           Radwanski (A&M) regarding workstream updates and priorities
Lambert, Leslie        7/14/2023     0.2   Call with L. Lambert and L. Callerio (A&M) re: crypto tracing update

Lambert, Leslie        7/14/2023     0.9   Review of crypto tracing output and workplan to look into remaining
                                           crypto tracing efforts responsive to request
Li, Summer             7/14/2023     1.1   Meeting with J. Lam and S. Li (A&M) to discuss the significance of
                                           FTX Japan K.K. to FTX Trading
Li, Summer             7/14/2023     1.8   Prepare for the projected cash flow of FTX Japan K.K. for the past
                                           13 weeks
Li, Summer             7/14/2023     0.4   Prepare for the questions to obtain information in assessing the
                                           significance of FTX Japan K.K. to FTX Trading
Li, Summer             7/14/2023     1.1   Prepare for the actual cash flow of FTX Japan K.K. for the past 13
                                           weeks
Li, Summer             7/14/2023     1.6   Prepare for the slides on FTX Japan K.K. role in context of FTX
                                           Trading
Li, Summer             7/14/2023     0.3   Correspondence with the team regarding the importance of FTX
                                           Japan K.K. to FTX Trading
Li, Summer             7/14/2023     0.4   Align on the formatting of the slides for the updates on FTX Japan


Li, Summer             7/14/2023     1.9   Prepare for the slides on the updates on FTX Japan K.K. relating to
                                           the actual and projected cash flow
Lowdermilk, Quinn      7/14/2023     2.6   Outline identified transactions with descriptions to annotate the flow
                                           of funds
Lowdermilk, Quinn      7/14/2023     0.6   Call with L. Lambert, L. Iwanski, Q. Lowdermilk, A. Heric, and I.
                                           Radwanski (A&M) regarding workstream updates and priorities
Lowdermilk, Quinn      7/14/2023     1.4   Finish crypto tracing request 109 deliverable highlighting identified
                                           blockchain information
Lowdermilk, Quinn      7/14/2023     2.1   Prepare crypto tracing deliverable with identified transactions
                                           pertaining to request
Lowdermilk, Quinn      7/14/2023     1.7   Finalize crypto tracing deliverable regarding request 39

McGoldrick, Hugh       7/14/2023     0.2   Prepare for calls in regards to FTX wind-down matters and template
                                           questionnaire
McGoldrick, Hugh       7/14/2023     1.0   Call with J. Casey, R. Sexton, H. McGoldrick, E. Dalgleish, D.
                                           Johnston, M. van den Belt (A&M) on FTX wind down matters




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McGoldrick, Hugh         7/14/2023     0.3   Call with R. Sexton and H. McGoldrick in relation to progress of
                                             standard template questionnaire for wind down of European and
                                             RoW subsidiaries
McGrath, Patrick         7/14/2023     0.5   Teleconference with P. McGrath and M. Sunkara (A&M) to discuss
                                             wallet address activity for a previous request
Radis, Cameron           7/14/2023     0.3   Teleconference with M. Simkins, M. Haigis, A. Sloan, C. Radis
                                             (A&M) to go through action items, pending requests and
                                             workstreams
Radwanski, Igor          7/14/2023     2.6   Trace source of deposits using blockchain analytics tool

Radwanski, Igor          7/14/2023     0.6   Call with L. Lambert, L. Iwanski, Q. Lowdermilk, A. Heric, and I.
                                             Radwanski (A&M) regarding workstream updates and priorities
Radwanski, Igor          7/14/2023     2.7   Quantify transfer details related to Request 100


Radwanski, Igor          7/14/2023     2.3   Extract select deposits to trace further

Ramanathan, Kumanan      7/14/2023     0.7   Call with S. Kurz (Galaxy) to discuss crypto asset management
                                             services
Ramanathan, Kumanan      7/14/2023     0.2   Review hiring matters related to FTX JP and provide feedback

Ramanathan, Kumanan      7/14/2023     0.7   Review materials for Coinbase third party exchange holdings prior to
                                             the bankruptcy date
Sagen, Daniel            7/14/2023     1.1   Review prior budget for forecasted crypto asset fiat conversions,
                                             actualize against observed activity
Sagen, Daniel            7/14/2023     0.6   Provide guidance to A&M team regarding status and open items
                                             related to third party exchange Board materials
Sagen, Daniel            7/14/2023     1.8   Prepare revised budget of forecasted crypto asset fiat conversions,
                                             circulate with A&M cash team for review
Schlam Batista, Sharon   7/14/2023     0.2   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                             Dalgleish (A&M) to discuss FTX EU next steps and handover, as
                                             well as strategic options for Singapore Entities
Sexton, Rachel           7/14/2023     1.7   Review of European and RoW subsidiaries and consider
                                             prioritization for wind-down of those subsidiaries
Sexton, Rachel           7/14/2023     0.1   Review query regarding choice of Cyprus liquidator and relationships
                                             with CYSEC for FTX EMEA Ltd and FTX Crypto Services Ltd
Sexton, Rachel           7/14/2023     1.0   Call with D. Johnson, M. van den Belt, H. McGoldrick, J. Casey
                                             (A&M) re: protocol and prioritization of European and RoW Subs
Simkins, Maximilian      7/14/2023     0.3   Call with M. Simkins and M. Haigis (A&M) to discuss next steps of
                                             KYC tasks
Simkins, Maximilian      7/14/2023     0.4   Teleconference with K. Dusendschon, B. Bammert, M. Simkins, M.
                                             Haigis (A&M), A. Bailey, E. Langdon, A. Vyas (FTI) to discuss
                                             employee email address search
Simkins, Maximilian      7/14/2023     0.3   Teleconference with M. Simkins, M. Haigis, A. Sloan, C. Radis
                                             (A&M) to go through action items, pending requests and
                                             workstreams
Simkins, Maximilian      7/14/2023     0.4   Incorporate edits to update master file id script


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Slay, David             7/14/2023     2.2   Working session w/ C. Stockmeyer & D. Slay (A&M) Develop
                                            individual assets balance sheet mapping mechanic for
                                            presentational purposes
Sloan, Austin           7/14/2023     0.3   Teleconference with M. Simkins, M. Haigis, A. Sloan, C. Radis
                                            (A&M) to go through action items, pending requests and
                                            workstreams
Stockmeyer, Cullen      7/14/2023     2.3   Update transaction status report based on additional information
                                            provided by data team
Stockmeyer, Cullen      7/14/2023     1.4   Prepare and submit additional items for UCC box provided by PWP

Stockmeyer, Cullen      7/14/2023     2.2   Working session w/ C. Stockmeyer & D. Slay (A&M) Develop
                                            individual assets balance sheet mapping mechanic for
                                            presentational purposes
Stockmeyer, Cullen      7/14/2023     2.3   Review reports produced by Q. Lowdermilk (A&M) regarding token
                                            venture agreements regarding a certain individual
Stockmeyer, Cullen      7/14/2023     2.1   Comment on report related to certain ventures produced by Q.
                                            Lowdermilk (A&M)
Sullivan, Christopher   7/14/2023     0.9   Provide comments to the update crypto bridge as of 7/7

Sunkara, Manasa         7/14/2023     0.3   Teleconference with K. Dusendschon, K. Baker, J. Chan, M.
                                            Sunkara (A&M) to go through action items, pending requests and
                                            workstreams
Sunkara, Manasa         7/14/2023     0.5   Call with M. Sunkara, D. Wilson, J. Chan (A&M) to discuss data
                                            requests and issues
Sunkara, Manasa         7/14/2023     2.7   Extract all transaction activity for a list of user accounts for an
                                            internal analysis
Sunkara, Manasa         7/14/2023     2.9   Investigate specific wallet addresses to provide their transaction
                                            activity for an S&C investigation analysis
Sunkara, Manasa         7/14/2023     1.4   Quality check sql queries to provide data extracts

Sunkara, Manasa         7/14/2023     0.5   Teleconference with P. McGrath and M. Sunkara (A&M) to discuss
                                            wallet address activity for a previous request
Sunkara, Manasa         7/14/2023     1.9   Provide the preference analysis using the subsequent advance
                                            method for a specific entity
van den Belt, Mark      7/14/2023     0.2   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                            Dalgleish (A&M) to discuss FTX EU next steps and handover, as
                                            well as strategic options for Singapore Entities
van den Belt, Mark      7/14/2023     0.5   Call with E. Simpson (S&C), D. Hammon (E&Y), D. Johnston, M.
                                            van den Belt (A&M) on wind down matters of FTX rest of world
                                            entities
van den Belt, Mark      7/14/2023     0.5   Call with E. Simpson, M. Berti (S&C), B. Snaineh (Hadef), A. Rami,
                                            G. Wall, D. Johnston, M. van den Belt (A&M) on FTX Dubai wind
                                            down step plan
van den Belt, Mark      7/14/2023     1.0   Call with J. Casey, R. Sexton, H. McGoldrick, E. Dalgleish, D.
                                            Johnston, M. van den Belt (A&M) on FTX wind down matters
van den Belt, Mark      7/14/2023     2.1   Prepare executive summary of the situation of Quoine Pte Ltd



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Professional              Date    Hours     Activity
van den Belt, Mark    7/14/2023     0.9   Prepare updated wind down tracker presentation on FTX rest of
                                          world
van den Belt, Mark    7/14/2023     1.4   Prepare summary on wind down status related to FTX Gibraltar,
                                          Japan and Singapore
van den Belt, Mark    7/14/2023     1.8   Prepare updated template for tracker of wind down entities

Walia, Gaurav         7/14/2023     0.7   Prepare responses to Japan FTX 2.0 analysis

Walia, Gaurav         7/14/2023     0.3   Prepare a claims analysis regarding a specific customer in response
                                          to a request from S&C
Walia, Gaurav         7/14/2023     2.4   Update the 3rd party exchange analysis support analysis

Walia, Gaurav         7/14/2023     0.2   Correspondence with K. Montague, G. Walia, K. Ramanathan, S. Li,
                                          H. Chambers, C. Evans, J. Lam (A&M) regarding FTX Japan status
                                          update
Walia, Gaurav         7/14/2023     0.6   Prepare an initial analysis on all FTT related exchange data
                                          available to the debtors
Walia, Gaurav         7/14/2023     2.7   Update the 3rd party exchange analysis deck based on the latest
                                          feedback from S&C
Walia, Gaurav         7/14/2023     0.8   Review the preference period board deck and provide feedback


Wall, Guy             7/14/2023     0.5   Call with E. Simpson, M. Berti (S&C), B. Snaineh (Hadef), A. Rami,
                                          G. Wall, D. Johnston, M. van den Belt (A&M) on FTX Dubai wind
                                          down step plan
Wall, Guy             7/14/2023     0.3   Call with R.Arbid (A&M) to discuss next steps on FTX Dubai
                                          liquidation plan
Wilson, David         7/14/2023     2.9   Tweak automation tool to align with needs of internal database
                                          request and ensure tool produced same output as manual templates
Wilson, David         7/14/2023     2.4   Complete database request to pull all account detail components for
                                          multiple accounts
Wilson, David         7/14/2023     0.5   Call with M. Sunkara, D. Wilson, J. Chan (A&M) to discuss data
                                          requests and issues
Wilson, David         7/14/2023     1.4   Add funding_payments template to tool automation capabilities

Witherspoon, Samuel   7/14/2023     0.3   Call with S. Witherspoon and L. Callerio (A&M) re: crypto tracing
                                          activities overview
Yan, Jack             7/14/2023     1.8   Revise FTX Japan's regular reporting deck

Yan, Jack             7/14/2023     2.9   Perform forecast estimation to be involved in FTX Japan wind-down
                                          process
Zatz, Jonathan        7/14/2023     2.6   Database scripting related to request to determine whether
                                          previously provided Alameda transfers for specific counterparty are
                                          related to OTC activity
Zatz, Jonathan        7/14/2023     3.1   Database scripting related to incorporating notes from Alameda's
                                          explanation of various tables into Alameda data profiling



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Professional              Date    Hours     Activity
Zhang, Qi             7/14/2023     0.5   Call with Q. Zhang (A&M), A. Powel (Integreon), M. Skrebets
                                          (Sumsub) to discuss Sumsub processing issues identified
Zhang, Qi             7/14/2023     2.1   Perform daily review of Sumsub system approval cases to record
                                          down issues identified for 14 July 2023
Zhang, Qi             7/14/2023     0.7   Perform daily review of Sumsub system reject cases to record down
                                          issues identified for 14 July 2023
Zhang, Qi             7/14/2023     1.1   Perform daily review of Sumsub system manual escalation cases to
                                          record down issues identified for 14 July 2023
Zhang, Qi             7/14/2023     1.2   Review customer profiles related to customer service questions


Chambers, Henry       7/15/2023     0.4   Respond to FTX Japan hiring queries

Chan, Jon             7/15/2023     1.4   Provide database extracts for S&C investigation request related to
                                          specific users
Chan, Jon             7/15/2023     0.9   Quality control documents for S&C data pull related to several
                                          entities
Evans, Charles        7/15/2023     0.3   Correspondence with Blackoak, S&C and A&M teams regarding
                                          Quoine Pte Ltd options planning
Evans, Charles        7/15/2023     0.4   Correspondence with K. Montague, G. Walia, K. Ramanathan, S. Li,
                                          H. Chambers, C. Evans, J. Lam (A&M) regarding FTX Japan status
                                          update
Johnston, David       7/15/2023     2.6   Analyze historical pre-acquisition profitability of FTX Europe

Kwan, Peter           7/15/2023     1.5   Extract revised set of deposits and withdrawals regard A&M
                                          avoidance actions request related to preference claims
Stockmeyer, Cullen    7/15/2023     0.3   Update transaction status report based on additional information
                                          provided by data team
Sunkara, Manasa       7/15/2023     2.7   Provide all exchange activity associated with specific user accounts
                                          for an S&C investigation
Sunkara, Manasa       7/15/2023     2.1   Write a python script to combine the data exports from previous
                                          requests
Walia, Gaurav         7/15/2023     0.4   Correspondence with K. Montague, G. Walia, K. Ramanathan, S. Li,
                                          H. Chambers, C. Evans, J. Lam (A&M) regarding FTX Japan status
                                          update
Walia, Gaurav         7/15/2023     0.4   Review the updated preference data analysis and underlying
                                          summary to provide feedback
Walia, Gaurav         7/15/2023     2.4   Update the 3rd party exchange analysis deck based on the latest
                                          feedback from S&C
Zhang, Qi             7/15/2023     2.6   Verify customer KYC status in order to update customer service log
                                          in issue tickets
Zhang, Qi             7/15/2023     0.4   Update FTX customer KYC manual review standard operating
                                          procedures on newly added instructions
Zhang, Qi             7/15/2023     2.4   Perform daily review of Sumsub system KYC cases to record down
                                          and investigate issues identified for 15 July 2023
Chambers, Henry       7/16/2023     0.3   Update to management on FTX Japan matters



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Chambers, Henry         7/16/2023     0.3   Correspondence regarding FTX Japan postpetition deposits and
                                            statutory requirements
Chambers, Henry         7/16/2023     1.7   Review Blockfolio eligibility criteria deck prepared by FTX Japan
                                            management
Chambers, Henry         7/16/2023     0.4   Correspondence regarding Blockfolio eligibility criteria deck

Chambers, Henry         7/16/2023     0.6   Follow ups on Japan market maker diligence

Chambers, Henry         7/16/2023     0.4   Respond to queries regarding Liquid database acquisition


Johnson, Robert         7/16/2023     0.4   Create Metabase model to allow for review of staging Circle Signet
                                            Stripe data
Kwan, Peter             7/16/2023     0.5   Draft responses to clarifying questions from internal quality review of
                                            schedule of derivatives positions in relation to UCC request
Sunkara, Manasa         7/16/2023     3.1   Provide all exchange activity associated with specific user accounts
                                            for an S&C investigation
Sunkara, Manasa         7/16/2023     1.1   Quality check sql queries to provide data extracts


Zhang, Qi               7/16/2023     1.3   Perform daily review of Sumsub system KYC cases to record down
                                            and investigate issues identified for 15 July 2023
Arbid, Rami             7/17/2023     0.4   Meeting with G. Wall (A&M) on FTX Dubai next steps and discussion
                                            with proposed liquidator
Arbid, Rami             7/17/2023     0.3   Call with R. Kanaan (Kanaan & Associates) related to liquidation
                                            requirements of FTX Exchange FZE
Arbid, Rami             7/17/2023     0.3   Draft NDA and summary of call with proposed liquidator for FTX
                                            Dubai
Baker, Kevin            7/17/2023     0.4   Teleconference with K. Dusendschon, K. Baker (A&M) to go through
                                            action items, pending requests and workstreams
Baker, Kevin            7/17/2023     1.1   Provide reporting for all transactions and account information for
                                            customers relating to the SOFA token
Baker, Kevin            7/17/2023     2.7   Further investigate transaction dates and KYC information for a
                                            large crypto subpoena for a specific request from counsel
Baker, Kevin            7/17/2023     2.4   Extract transactional records and account information relating to
                                            lenders for internal investigation
Balmelli, Gioele        7/17/2023     2.6   Prepare FTX Europe AG receivables against Chapter 11 creditors
                                            overview
Balmelli, Gioele        7/17/2023     1.0   Call with E. Simpson, de Vito Piscicelli (S&C), F. Lorandi, D.
                                            Knezevic (HB), D. Johnston, M. van den Belt, G. Balmelli (A&M), T.
                                            Luginbühl, E. Müller (L&S) J. Bavaud (FTX) on Swiss moratorium
                                            updates FTX Europe AG
Balmelli, Gioele        7/17/2023     0.6   Review FTX data and materials for information relating to FTX
                                            Europe
Callerio, Lorenzo       7/17/2023     0.8   Review and approve REQ39 ROCO materials provided by Q.
                                            Lowdermilk (A&M)
Callerio, Lorenzo       7/17/2023     1.2   Review and approve REQ109 materials provided by Q. Lowdermilk
                                            (A&M)

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Callerio, Lorenzo     7/17/2023     0.9   Review the crypto tracing correspondence received today from the
                                          different teams
Canale, Alex          7/17/2023     0.4   Call with A. Sivapalu, G. Walia, A. Canale (A&M) and B. Mackay, T.
                                          Phelan, L. Jia (Alix) regarding pricing vendor
Casey, John           7/17/2023     0.3   Call with R Sexton, H McGoldrick, and J Collis in relation to priority
                                          entities for wind down
Casey, John           7/17/2023     1.6   Review of information provided by D. Hainline in relation to post
                                          petition intercompany cash balances for European and RoW
                                          subsidiaries
Casey, John           7/17/2023     0.6   Update Standard Questionnaire for wind-down of European and
                                          Rest of World subsidiaries with cryptocurrency considerations
Casey, John           7/17/2023     0.9   Prepare list of actions to be completed following call with D Johnston
                                          and M. van den Belt in relation to European and RoW subsidiaries
Casey, John           7/17/2023     2.1   Update Standard Questionnaire for wind-down of European and
                                          Rest of World subsidiaries with intercompany considerations
Chambers, Henry       7/17/2023     0.8   Review Sumsub unverified KYC applications


Chambers, Henry       7/17/2023     0.9   Call with J. Masters (FTX), K. Ramanathan and H. Chambers
                                          regarding new Liquid Japan matching engine
Chambers, Henry       7/17/2023     0.6   Call with E. Simpson, B. Simpson, N. Mehta (FTX), S. Melamed, S.
                                          Kojima (FTX), H. Chambers (A&M) regarding FTX Japan operations
Chambers, Henry       7/17/2023     1.1   Add input to Quoine PTE next steps analysis

Chambers, Henry       7/17/2023     0.6   Participate in meeting with PWP (K.Cofsky, others), S&C
                                          (A.Dietderich, others), and A&M (S.Coverick, K.Ramanathan,
                                          H.Chambers, others) regarding FTX 2.0 bidder diligence, plan
                                          implementation process
Chambers, Henry       7/17/2023     0.8   Respond to queries regarding FTX Japan go-forward plan


Chambers, Henry       7/17/2023     0.5   Meeting with E. Mosely, S. Coverick, K. Ramanathan, C. Sullivan, C.
                                          Stockmeyer, H. Chambers (A&M), PWP, S&C re: FTX2.0 diligence
                                          and sale process
Chan, Jon             7/17/2023     2.2   Investigate activity related to Ohio subpoena request

Chan, Jon             7/17/2023     1.1   Analyze email correspondence to incoming requests from internal
                                          sources and S&C
Chan, Jon             7/17/2023     2.9   Investigate specific set of accounts for S&C internal investigation
                                          request
Chan, Jon             7/17/2023     2.6   Provide documents for specific entity for S&C internal investigation


Chan, Jon             7/17/2023     0.4   Teleconference with J. Chan, M. Sunkara, M. Simkins, M. Haigis
                                          (A&M) to go through action items, pending requests and
                                          workstreams
Chan, Jon             7/17/2023     2.6   Investigate specific entity for S&C internal investigation




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Collis, Jack             7/17/2023     0.6   Consider information sources required for standard template
                                             liquidation questionnaire for European and RoW subsidiaries and
                                             update template for same
Collis, Jack             7/17/2023     0.5   Call with R Sexton, H McGoldrick, and J Casey in relation to priorities

Corr, Caoimhe            7/17/2023     0.2   Participate in Call with D. Johnston, M. Van den Belt, C.Corr, S.
                                             Schlam, E. Dalgleish (A&M) to discuss FTX EU handover schedules,
                                             and strategic options follow-up
Coverick, Steve          7/17/2023     0.5   Call with J. Ray (FTX), S. Coverick, E. Mosley, K. Ramanathan
                                             (A&M) to discuss crypto matters
Coverick, Steve          7/17/2023     0.5   Call with J. Ray, M. Cilia (FTX), D. Johnston, S. Coverick (A&M) to
                                             discuss Quoine balance sheet issues
Dalgleish, Elizabeth     7/17/2023     2.3   Prepare summary tracker tab in the wind-down tracker to review and
                                             analyze the status of wind-down actions by legal entity
Dalgleish, Elizabeth     7/17/2023     0.2   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                             Dalgleish (A&M) to discuss FTX EU handover schedules, and
                                             strategic options follow-up
Dusendschon, Kora        7/17/2023     0.8   Conduct analysis of KYC folders as part of KYC/balance
                                             recalculation efforts
Dusendschon, Kora        7/17/2023     0.1   Confer on crypto bonus analysis and mechanisms to leverage within
                                             Relativity
Dusendschon, Kora        7/17/2023     0.4   Teleconference with K. Dusendschon, K. Baker (A&M) to go through
                                             action items, pending requests and workstreams
Dusendschon, Kora        7/17/2023     0.1   Follow up on open request on crypto bonus and employee email
                                             address extractions
Dusendschon, Kora        7/17/2023     0.3   Coordinate Relativity account activation and deactivation for team
                                             members
Flynn, Matthew           7/17/2023     0.3   Call with M. Flynn, K. Ramanathan (A&M) to discuss current crypto
                                             workstream status
Flynn, Matthew           7/17/2023     0.3   Call with M. Flynn, K. Ramanathan (A&M), N. Chang, A. Thakur, A.
                                             Salameh (BitGo) to discuss latest bridging efforts
Flynn, Matthew           7/17/2023     0.6   Review latest status on wallet time series database build out

Flynn, Matthew           7/17/2023     0.8   Review updated employee preference analysis for S&C


Flynn, Matthew           7/17/2023     0.4   Update contract review tracker for weekly meeting with S&C

Flynn, Matthew           7/17/2023     0.7   Call with M. Flynn (A&M), A. Istrefi, A. Taylor (Sygnia), A. Holland
                                             (S&C) to confirm transfer of assets to BitGO cold storage
Flynn, Matthew           7/17/2023     0.8   Review 3P exchange board PowerPoint presentation

Haigis, Maya             7/17/2023     0.6   Review information provided by FTX Developers regarding Refinitiv
                                             analysis
Haigis, Maya             7/17/2023     0.2   Call with M. Simkins and M. Haigis (A&M) to prepare for upcoming
                                             status update about support messages task



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Haigis, Maya          7/17/2023     1.7   Update script to add support ticket KYC files to master file listing

Haigis, Maya          7/17/2023     0.4   Teleconference with J. Chan, M. Sunkara, M. Simkins, M. Haigis
                                          (A&M) to go through action items, pending requests and
                                          workstreams
Haigis, Maya          7/17/2023     0.9   Review script to add support ticket KYC files to master file listing


Haigis, Maya          7/17/2023     0.4   Review information provided by FTX Developers regarding support
                                          ticket table
Heric, Andrew         7/17/2023     0.2   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                          repositories of information
Heric, Andrew         7/17/2023     1.1   Conduct tracing of specific post-petition transfers related to request
                                          97
Heric, Andrew         7/17/2023     1.2   Conduct open source research for information regarding 30
                                          identified transfers of concern
Heric, Andrew         7/17/2023     0.8   Call with L. Lambert and A. Heric (A&M) workshopping action items
                                          for deliverable follow-up questions
Heric, Andrew         7/17/2023     0.3   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, and L.
                                          Iwanski (A&M) regarding crypto tracing workstream updates
Heric, Andrew         7/17/2023     1.3   Gather and summarize transfer details of concern related to a
                                          request 39 deliverable
Heric, Andrew         7/17/2023     0.4   Review internal documentation for a specific funding transfer of
                                          concern
Heric, Andrew         7/17/2023     0.9   Conduct updates to a request 39 deliverable based on newly
                                          identified information
Heric, Andrew         7/17/2023     1.9   Notate and conduct tracing of seven address of concern related to
                                          request 39
Heric, Andrew         7/17/2023     0.7   Conduct blockchain tracing related to a specific fundings transfer of
                                          concern
Iwanski, Larry        7/17/2023     0.6   Review of deliverable associated with Request 39


Iwanski, Larry        7/17/2023     0.5   Review of deliverable associated with Request 109

Iwanski, Larry        7/17/2023     0.3   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, and L.
                                          Iwanski (A&M) regarding crypto tracing workstream updates
Johnson, Robert       7/17/2023     1.4   Review RDS configuration to identify any improvements to be made
                                          to environment
Johnson, Robert       7/17/2023     0.8   Resize Alameda RDS servers to reduce monthly cost


Johnson, Robert       7/17/2023     0.2   Adjust firewall rule to allow for new IP address for FTX Turkey team
                                          on the Turkey RDP instance
Johnson, Robert       7/17/2023     0.3   Create user account for Kathryn Schultea on Metabase and confirm
                                          accessibility
Johnson, Robert       7/17/2023     0.4   Migrate data from AM SQL server to AWS RDS Server for Other
                                          Vendor Analysis


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Johnston, David       7/17/2023     0.5   Call with S. Aydin (FTX), B. Harsch, E. Simpson, D. Hisarli, S.
                                          Ehrenberg, F. Weinberg Crocco (S&C), B. Kahraman, B. Ozaydin, F.
                                          Ergun (Durukan), D. Johnston, M. van den Belt (A&M) on MASAK
                                          investigation status
Johnston, David       7/17/2023     0.2   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                          Dalgleish (A&M) to discuss FTX EU handover schedules, and
                                          strategic options follow-up
Johnston, David       7/17/2023     1.0   Call with E. Simpson, de Vito Piscicelli (S&C), F. Lorandi, D.
                                          Knezevic (HB), D. Johnston, M. van den Belt, G. Balmelli (A&M), T.
                                          Luginbühl, E. Müller (L&S) J. Bavaud (FTX) on Swiss moratorium
                                          updates FTX Europe AG
Johnston, David       7/17/2023     0.5   Call with J. Ray, M. Cilia (FTX), E. Simpson, S. Ehrenberg, A.
                                          Kranzley (S&C), S. Coverick, D. Johnston, M. van den Belt (A&M) on
                                          Quoine Pte matters
Johnston, David       7/17/2023     0.4   Coordinate responses to requests relating to FTX filed motion


Johnston, David       7/17/2023     0.3   Prepare correspondence relating to FTX EU Ltd. data security

Johnston, David       7/17/2023     0.3   Prepare for call with Swiss administrator, review relevant materials

Johnston, David       7/17/2023     0.6   Review correspondence relating to updates from FTX Dubai, plan
                                          next steps
Johnston, David       7/17/2023     0.3   Call with E. Simpson, O. de Vito Piscicelli, T. Hill (S&C), M.
                                          Lambrianou, M. Athinodorou (FTX), M. Hadjigavriel (ATS), D.
                                          Johnston, M. van den Belt (A&M) on FTX EU matters
Konig, Louis          7/17/2023     1.2   Quality control and review of output related to diligence requests
                                          related to customer balances
Konig, Louis          7/17/2023     2.0   Documentation of findings related to diligence requests related to
                                          customer balances
Konig, Louis          7/17/2023     2.3   Database scripting related to diligence requests related to customer
                                          balances
Kwan, Peter           7/17/2023     0.8   Research into disabling shared folder access for conflicted parties of
                                          the FTX debtors
Kwan, Peter           7/17/2023     1.6   Enrich schedule of derivative positions with bankruptcy filing
                                          anonymized customer identifiers in relation to UCC request
Kwan, Peter           7/17/2023     0.4   Teleconference with A. Sloan, C. Radis, P. Kwan, D. Wilson (A&M)
                                          to go through action items, pending requests and workstreams
Kwan, Peter           7/17/2023     1.6   Perform quality review on revised schedule of derivative positions
                                          containing additional data points in relation to UCC request
Kwan, Peter           7/17/2023     0.8   Draft revised footnotes / clarifying caveats related to revised
                                          schedule of derivative positions regarding UCC request
Kwan, Peter           7/17/2023     1.1   Draft responses to follow up questions posed in UCC requests
                                          regarding schedule of derivative positions
Kwan, Peter           7/17/2023     1.4   Revisit the mapping of wallet addresses to blockchains within the
                                          wallet tracking database
Lam, James            7/17/2023     0.8   Review FTX Japan board updates and the proposed reporting
                                          template


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Lam, James              7/17/2023     1.1   Summarize a list of key issues to discuss and review for FTX Japan

Lambert, Leslie         7/17/2023     0.2   Meeting with L. Lambert, C. Stockmeyer (A&M) re: internal crypto
                                            tracing update
Lambert, Leslie         7/17/2023     1.6   Perform a quality control review of approach, documentation, and
                                            deliverable responsive to tracing requests
Lambert, Leslie         7/17/2023     0.4   Draft various communications regarding ongoing crypto tracing
                                            efforts
Lambert, Leslie         7/17/2023     0.3   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, and L.
                                            Iwanski (A&M) regarding crypto tracing workstream updates
Lambert, Leslie         7/17/2023     0.3   Call with Q. Lowdermilk and L. Lambert (A&M) regarding crypto
                                            tracing deliverable for select token purchase agreement
Lambert, Leslie         7/17/2023     0.8   Call with L. Lambert and A. Heric (A&M) workshopping action items
                                            for deliverable follow-up questions
Lambert, Leslie         7/17/2023     1.4   Call with I. Radwanski, L. Lambert, and Q. Lowdermilk (A&M)
                                            discussing findings related to tracing request
Lambert, Leslie         7/17/2023     1.1   Review of summary schedule detailing findings and observations
                                            from tracing request
Lee, Julian             7/17/2023     0.2   Search for service agreements with Signature bank, BCB, Klarpay in
                                            relation to select non-debtor entities per request from FTX EU debtor
                                            representatives
Li, Summer              7/17/2023     2.3   Understand the movement of the hedge fund account of Quoine Pte

Li, Summer              7/17/2023     1.6   Perform analysis on the recoverability of the intercompany balance
                                            of FTX Japan K.K for audit purpose
Li, Summer              7/17/2023     0.3   Add explanation on the presentation for FTX Japan K.K regarding
                                            the major line items of the historical cash forecast
Li, Summer              7/17/2023     0.4   Update the presentation on FTX Japan K.K regarding the size of
                                            Japan crypto market
Li, Summer              7/17/2023     0.5   Review the trading volume and revenue file of Dotcom by jurisdiction


Li, Summer              7/17/2023     0.7   Perform research on forecast for the Japan and Global crypto market

Lowdermilk, Quinn       7/17/2023     0.6   Call with I. Radwanski and Q. Lowdermilk (A&M) discussing findings
                                            related to a crypto tracing request
Lowdermilk, Quinn       7/17/2023     1.4   Call with I. Radwanski, L. Lambert, and Q. Lowdermilk (A&M)
                                            discussing findings related to tracing request
Lowdermilk, Quinn       7/17/2023     0.2   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                            repositories of information
Lowdermilk, Quinn       7/17/2023     0.3   Call with Q. Lowdermilk and L. Lambert (A&M) regarding crypto
                                            tracing deliverable for select token purchase agreement
Lowdermilk, Quinn       7/17/2023     0.3   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, and L.
                                            Iwanski (A&M) regarding crypto tracing workstream updates
Lowdermilk, Quinn       7/17/2023     1.3   Outline identified addresses exposure to third party exchanges




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Professional              Date     Hours     Activity
Lowdermilk, Quinn      7/17/2023     2.1   Prepare crypto tracing analysis file with identified transactions
                                           related to the request
Lowdermilk, Quinn      7/17/2023     2.2   Analyze blockchain activity for a select individual in attempts to
                                           locate suspect transactions
McGoldrick, Hugh       7/17/2023     0.5   Call with H. McGoldrick, J. Casey and J. Collis re: strategy for
                                           subsidiaries and GT engagement over priority entities
McGoldrick, Hugh       7/17/2023     0.3   Call with H. McGoldrick and J. Casey re: optimal GT engagement
                                           structure in light of new wind down priority entities and status to date
McGoldrick, Hugh       7/17/2023     0.2   Review of standard template draft liquidation questionnaire for
                                           European and RoW subsidiaries
McGoldrick, Hugh       7/17/2023     0.6   Review Grant Thornton engagement letter and consider implications
                                           / considerations for global role
Montague, Katie        7/17/2023     0.6   Participate in meeting with PWP (K.Cofsky, M.Rahmani,
                                           B.Mendelsohn, others), S&C (A.Dietderich, A.Cohen, M.Wu, others),
                                           and A&M (S.Coverick, K.Ramanathan, H.Chambers, C.Sullivan,
                                           K.Montague, others) regarding FTX 2.0 bidder diligence, plan
                                           implementation
Mosley, Ed             7/17/2023     0.5   Call with J. Ray (FTX), S. Coverick, E. Mosley, K. Ramanathan
                                           (A&M) to discuss crypto matters
Mosley, Ed             7/17/2023     0.7   Review of draft presentation of comparison of Galaxy vs Coinbase
                                           for the board
Mosley, Ed             7/17/2023     1.1   Review of 3rd party exchange update for the board

Mosley, Ed             7/17/2023     0.6   Participate in meeting with PWP (K.Cofsky, M.Rahmani,
                                           B.Mendelsohn, others), S&C (A.Dietderich, A.Cohen, M.Wu, others),
                                           and A&M (S.Coverick, K.Ramanathan, H.Chambers, C.Sullivan,
                                           K.Montague, others) regarding FTX 2.0 bidder diligence, plan
                                           implementation
Radis, Cameron         7/17/2023     0.4   Teleconference with A. Sloan, C. Radis, P. Kwan, D. Wilson (A&M)
                                           to go through action items, pending requests and workstreams
Radwanski, Igor        7/17/2023     0.6   Call with I. Radwanski and Q. Lowdermilk (A&M) discussing findings
                                           related to a crypto tracing request
Radwanski, Igor        7/17/2023     2.6   Quantify transfer details pertaining to a priority tracing request

Radwanski, Igor        7/17/2023     0.3   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, and L.
                                           Iwanski (A&M) regarding crypto tracing workstream updates
Radwanski, Igor        7/17/2023     2.8   Trace transactions of interest using blockchain analytics tool

Radwanski, Igor        7/17/2023     1.4   Call with I. Radwanski, L. Lambert, and Q. Lowdermilk (A&M)
                                           discussing findings related to tracing request
Radwanski, Igor        7/17/2023     0.6   Edit working deliverable to showcase tracing findings

Ramanathan, Kumanan    7/17/2023     0.5   Call with J. Ray (FTX), S. Coverick, E. Mosley, K. Ramanathan
                                           (A&M) to discuss crypto matters
Ramanathan, Kumanan    7/17/2023     0.4   Call with E. Simpson, A. Lavine, J. Kapoor (S&C), I. Wright, A.
                                           Drysdale (Walkers), M. Cilia (FTX) to discuss BVI licensing
                                           requirements


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Ramanathan, Kumanan      7/17/2023     0.3   Call with M. Flynn, K. Ramanathan (A&M) to discuss current crypto
                                             workstream status
Ramanathan, Kumanan      7/17/2023     0.3   Call with M. Flynn, K. Ramanathan (A&M), N. Chang, A. Thakur, A.
                                             Salameh (BitGo) to discuss latest bridging efforts
Ramanathan, Kumanan      7/17/2023     0.1   Call with C. Rhines (Galaxy) to discuss commercial terms for asset
                                             management services
Ramanathan, Kumanan      7/17/2023     0.9   Call with J. Masters (FTX), K. Ramanathan and H. Chambers
                                             regarding new Liquid Japan matching engine
Ramanathan, Kumanan      7/17/2023     0.3   Call with S. Kurz (Galaxy) to discuss crypto asset management
                                             services
Ramanathan, Kumanan      7/17/2023     0.4   Review and provide feedback on pricing source matters for crypto

Ramanathan, Kumanan      7/17/2023     0.9   Review category B assets and correspond with JST to schedule
                                             additional liquidity analysis
Ramanathan, Kumanan      7/17/2023     0.9   Review of Coinbase asset management engagement letter and
                                             provide feedback
Ramanathan, Kumanan      7/17/2023     0.9   Revise board materials and circulate on crypto


Ramanathan, Kumanan      7/17/2023     0.5   Call with J. Kapoor, A. Lavine, G. Pacia (S&C) to discuss Coinbase
                                             and Galaxy engagement letter for crypto asset management services
Ramanathan, Kumanan      7/17/2023     1.1   Review of Galaxy engagement letter and provide feedback

Schlam Batista, Sharon   7/17/2023     0.2   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                             Dalgleish (A&M) to discuss FTX EU handover schedules, and
                                             strategic options follow-up
Schlam Batista, Sharon   7/17/2023     2.9   Build an schedule for the FTX EU customer balances handover
                                             based on trading activity
Schlam Batista, Sharon   7/17/2023     0.6   Review methodology of trading book from transactions to waterfall of
                                             FTX EU customers
Sexton, Rachel           7/17/2023     0.6   Call with H. McGoldrick, J. Casey and J. Collis (A&M) re: strategy for
                                             wind-down of European and RoW subsidiaries and relevant
                                             Insolvency Practitioners
Sexton, Rachel           7/17/2023     0.3   Consider appropriate Insolvency Practitioners in Cyprus for wind-
                                             down of Cypriot entities and prepare correspondence re same
Sexton, Rachel           7/17/2023     0.3   Call with H. McGoldrick and J. Casey (A&M) re: optimal GT
                                             engagement structure in light of new wind down priority entities and
                                             status to date
Simkins, Maximilian      7/17/2023     1.4   Create new list of support ticket categories containing KYC
                                             information
Simkins, Maximilian      7/17/2023     0.9   Test script to update master file id table with support messages file
                                             ids
Simkins, Maximilian      7/17/2023     0.6   Review new additions to support ticket categories


Simkins, Maximilian      7/17/2023     0.2   Call with M. Simkins and M. Haigis (A&M) to prepare for upcoming
                                             status update about support messages task



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Simkins, Maximilian     7/17/2023     0.4   Teleconference with J. Chan, M. Sunkara, M. Simkins, M. Haigis
                                            (A&M) to go through action items, pending requests and
                                            workstreams
Sivapalu, Anan          7/17/2023     0.4   Call with A. Sivapalu, G. Walia, A. Canale (A&M) and B. Mackay, T.
                                            Phelan, L. Jia (Alix) regarding pricing vendor
Slay, David             7/17/2023     2.3   Develop ad hoc data base folder and table of contents to capture all
                                            related source files to Plan
Slay, David             7/17/2023     0.9   Review docket for potential items to be included in the Ad Hoc
                                            database folder
Slay, David             7/17/2023     0.7   Update and review professional fee model for latest forecast


Stockmeyer, Cullen      7/17/2023     1.3   Update transaction status report based on additional requests
                                            related to law enforcement personnel
Stockmeyer, Cullen      7/17/2023     0.4   Update crypto tracing tracker related to additional information
                                            received from S&C
Stockmeyer, Cullen      7/17/2023     0.8   Prepare crypto tracker related to certain requested individuals


Stockmeyer, Cullen      7/17/2023     0.2   Meeting with L. Lambert, C. Stockmeyer (A&M) re: internal crypto
                                            tracing update
Stockmeyer, Cullen      7/17/2023     2.3   Update professional tracker related to information for week ending
                                            7/15
Sunkara, Manasa         7/17/2023     0.4   Teleconference with J. Chan, M. Sunkara, M. Simkins, M. Haigis
                                            (A&M) to go through action items, pending requests and
                                            workstreams
Sunkara, Manasa         7/17/2023     1.7   Analyze outstanding data requests from S&C and internal A&M

Sunkara, Manasa         7/17/2023     1.6   Correspond with internal A&M to explain the mapped stablecoin logic


Sunkara, Manasa         7/17/2023     3.2   Rerun the queries to provide all exchange data for a list of user
                                            accounts for an S&C investigation
Sunkara, Manasa         7/17/2023     2.8   Update SQL query to provide balance components for the Swiss
                                            administrator
Sunkara, Manasa         7/17/2023     1.5   Quality check all SQL queries along with their deliverables

van den Belt, Mark      7/17/2023     1.3   Prepare tracker model for FTX rest of world entities marked for wind
                                            down
van den Belt, Mark      7/17/2023     0.2   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                            Dalgleish (A&M) to discuss FTX EU handover schedules, and
                                            strategic options follow-up
van den Belt, Mark      7/17/2023     0.3   Call with E. Simpson, O. de Vito Piscicelli, T. Hill (S&C), M.
                                            Lambrianou, M. Athinodorou (FTX), M. Hadjigavriel (ATS), D.
                                            Johnston, M. van den Belt (A&M) on FTX EU matters
van den Belt, Mark      7/17/2023     0.5   Call with J. Ray, M. Cilia (FTX), E. Simpson, S. Ehrenberg, A.
                                            Kranzley (S&C), S. Coverick, D. Johnston, M. van den Belt (A&M) on
                                            Quoine Pte matters




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van den Belt, Mark    7/17/2023     0.5   Call with S. Aydin (FTX), B. Harsch, E. Simpson, D. Hisarli, S.
                                          Ehrenberg, F. Weinberg Crocco (S&C), B. Kahraman, B. Ozaydin, F.
                                          Ergun (Durukan), D. Johnston, M. van den Belt (A&M) on MASAK
                                          investigation status
van den Belt, Mark    7/17/2023     0.3   Prepare correspondence on FTX Singapore engagement letter with
                                          potential liquidator
van den Belt, Mark    7/17/2023     0.4   Review short-term cash flow forecast of FTX Cyprus


van den Belt, Mark    7/17/2023     0.4   Review access of EU defendants & access to Box folders

van den Belt, Mark    7/17/2023     2.6   Prepare updated analysis on FTX EU deposits into non-EU bank
                                          accounts
van den Belt, Mark    7/17/2023     0.4   Prepare correspondence related to Quoine Pte Ltd strategic options
                                          analysis
van den Belt, Mark    7/17/2023     1.1   Prepare presentation on FTX rest of world for PMO meeting of July
                                          18
Walia, Gaurav         7/17/2023     0.9   Update the 3rd party exchange support tables based on latest
                                          feedback
Walia, Gaurav         7/17/2023     0.4   Call with A. Sivapalu, G. Walia, A. Canale (A&M) and B. Mackay, T.
                                          Phelan, L. Jia (Alix) regarding pricing vendor
Walia, Gaurav         7/17/2023     0.4   Prepare a summary of an account balance requested by S&C


Walia, Gaurav         7/17/2023     2.7   Update the 3rd party exchange analysis deck based on the latest
                                          feedback from S&C
Walia, Gaurav         7/17/2023     0.8   Review the Alix presentation for otc accounts to prepare for meeting
                                          with S&C
Walia, Gaurav         7/17/2023     2.2   Review several UCC diligence responses and provide feedback


Walia, Gaurav         7/17/2023     0.7   Call with G. Walia (A&M), B. Mackay, T. Phelan, L. Jia (Alix), B.
                                          Glueckstein, and K. MacAurther (S&C) to discuss Alameda
                                          exchange balances
Walker, William       7/17/2023     1.8   Review token outreach report to develop upcoming correspondence
                                          universe
Wall, Guy             7/17/2023     0.5   Meeting with R.Arbid (A&M) on FTX Dubai next steps and discussion
                                          with proposed liquidator
Wall, Guy             7/17/2023     0.5   Review NDA and summary of call with proposed liquidator for FTX
                                          Dubai
Wilson, David         7/17/2023     2.1   Improve execute_query function to provide user with timestamps
                                          and other details stored in summary
Wilson, David         7/17/2023     2.2   Separate authentication function from main function to seamlessly
                                          authenticate user connection to data sources
Wilson, David         7/17/2023     2.4   Script query to pull deposit, withdrawal and transfer account details
                                          for wallet addresses for internal data request
Wilson, David         7/17/2023     2.7   Organize tool capabilities by creating a main menu and navigation
                                          system for flexible use of tool



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Wilson, David         7/17/2023     0.4   Teleconference with A. Sloan, C. Radis, P. Kwan, D. Wilson (A&M)
                                          to go through action items, pending requests and workstreams
Wilson, David         7/17/2023     2.4   Wrote function that provides user with all columns and data types of
                                          user specified table
Yan, Jack             7/17/2023     0.2   Design the working of FTX Japan's crypto migration and withdrawal
                                          as at 16 July 2023 by adopting petition date pricing
Yan, Jack             7/17/2023     1.0   Prepare the FTX Japan customer withdrawal summary table as at 9
                                          July 2023
Yan, Jack             7/17/2023     1.3   Revise the presentation deck regarding FTX Japan latest updates on
                                          audit issues
Yan, Jack             7/17/2023     3.1   Revise the presentation deck regarding FTX Japan latest updates on
                                          background information of regulatory issues
Yan, Jack             7/17/2023     0.6   Revise the presentation deck regarding FTX Japan latest updates on
                                          preparatory works for the relaunch
Yan, Jack             7/17/2023     0.8   Revise the presentation deck regarding FTX Japan latest updates on
                                          Quoine Pte Ltd
Yan, Jack             7/17/2023     0.1   Update FTX Japan's crypto migration and withdrawal as at 16 July
                                          2023 in FTX Japan presentation deck
Yan, Jack             7/17/2023     0.8   Understand the regulatory issues confronted by FTX Japan

Zatz, Jonathan        7/17/2023     0.8   Correspondence with A&M and EY regarding inquiry about Alameda
                                          trial balances
Zatz, Jonathan        7/17/2023     2.9   Database scripting related to request for Alameda OTC transactions
                                          of a certain amount on a specific date
Zatz, Jonathan        7/17/2023     2.6   Database scripting related to request to search for specific account
                                          ID's for Liquid user
Zhang, Qi             7/17/2023     1.8   Perform daily review of Sumsub system auto approve cases to
                                          record down issues identified for 17 July 2023
Zhang, Qi             7/17/2023     1.9   Perform daily review of Sumsub system manual escalation cases to
                                          record down issues identified for 17 July 2023
Zhang, Qi             7/17/2023     0.6   Prepare daily stats on KYC numbers of high balance customer
                                          details
Zhang, Qi             7/17/2023     2.3   Perform daily review of Sumsub system auto rejection cases to
                                          record down issues identified for 17 July 2023
Baker, Kevin          7/18/2023     2.6   Report account balances for a specific customer accounts relating to
                                          an entity of interest
Baker, Kevin          7/18/2023     2.8   Investigate accounts on AWS that relate to a wildcard customer
                                          search specific to entity names
Baker, Kevin          7/18/2023     2.3   Analyze customer accounts relating to specific lenders and extract
                                          transactional records for investigation
Baker, Kevin          7/18/2023     2.0   Investigate customer accounts and transactions relating to FBI
                                          Oakland request
Balmelli, Gioele      7/18/2023     1.9   Prepare correspondence re FTX Europe AG FTX.com balances




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Balmelli, Gioele      7/18/2023     1.3   Call with J. Bavaud (FTX) and G. Balmelli (A&M) to revie FTX
                                          Europe AG Apr 11th financials
Balmelli, Gioele      7/18/2023     2.5   Call with F. Lorandi, D. Knezevic (HB), A. Farsaci, G. Balmelli
                                          (A&M), T. Luginbühl, A. Pellizzari (L&S) J. Bavaud (FTX) on Swiss
                                          moratorium updates FTX Europe AG
Balmelli, Gioele      7/18/2023     0.8   Prepare correspondence re FTX Europe AG receivables against
                                          Chapter 11 creditors overview
Bowles, Carl          7/18/2023     1.5   Review of liquidation questionnaire and information request

Callerio, Lorenzo     7/18/2023     1.4   Review the crypto tracing inbound communications received today


Callerio, Lorenzo     7/18/2023     0.3   Meeting with G. Walia, L. Callerio, C. Stockmeyer (A&M) re:
                                          unconfirmed withdrawals status
Callerio, Lorenzo     7/18/2023     0.6   Meeting with L. Callerio and C. Stockmeyer (A&M) re: prep for
                                          meeting with counsel regarding certain user activity
Callerio, Lorenzo     7/18/2023     0.2   Call with L. Callerio and L. Lambert (A&M) re: crypto analysis call
                                          debrief
Callerio, Lorenzo     7/18/2023     0.8   Call with A. Holland, M. Materni, J. Croke, K. Mayberry (S&C), S.
                                          Glustein, A. Heric and L. Callerio (A&M) re: crypto analysis overview
Canale, Alex          7/18/2023     0.8   Call with A. Holland, M. Materni, J. Croke, K. Mayberry (S&C), L.
                                          Ryan, L. Iwanski, L. Lambert, A. Canale (A&M) re: crypto analysis
                                          overview
Casey, John           7/18/2023     0.8   Prepare updates and emails in relation to standard questionnaires
                                          for Quoine Pte Ltd and Zubr Exchange Ltd
Casey, John           7/18/2023     2.1   Prepare standard European and RoW liquidation questionnaire for
                                          the proposed wind-down of Zubr Exchange Ltd
Casey, John           7/18/2023     2.1   Prepare standard European and RoW liquidation questionnaire for
                                          the proposed wind-down of Quoine Pte Ltd
Chambers, Henry       7/18/2023     0.4   Correspondence regarding FTX Japan updates from PWP

Chambers, Henry       7/18/2023     0.4   Correspondence regarding Liquid collection


Chambers, Henry       7/18/2023     0.4   Call with H. Chambers, S. Li, D. Johnston, M. van den Belt (A&M) on
                                          Quoine Pte Ltd matters
Chan, Jon             7/18/2023     2.2   Quality control documents regarding an entity for S&C internal
                                          investigation
Chan, Jon             7/18/2023     1.6   Investigate preference payments for six accounts for internal A&M
                                          analysis
Chan, Jon             7/18/2023     2.9   Provide information related to preference payments for S&C internal
                                          investigation request
Chan, Jon             7/18/2023     2.1   Investigate activity from follow up questions regarding Ohio
                                          subpoena for S&C
Chan, Jon             7/18/2023     1.8   Provide documents related to preference payments for six accounts

Chan, Jon             7/18/2023     1.4   Investigate know your customer information for subpoena request



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Chew, Ee Ling            7/18/2023     0.2   Review comments on the resolutions of directors and shareholders
                                             for 2 Singapore entities
Collis, Jack             7/18/2023     0.4   Update standard template liquidation questionnaire for European
                                             and RoW subsidiaries for intercompany information, bank account
                                             information and customer information received
Corr, Caoimhe            7/18/2023     0.3   Participate in call with D. Johnston, M. Van den Belt, C.Corr, S.
                                             Schlam, E. Dalgleish (A&M) to discuss FTX EU segregated fiat
                                             deposits and strategic options' priorities for Rest of World Entities
Coverick, Steve          7/18/2023     0.2   Discuss crypto liquidation process with E. Mosley (A&M)

Coverick, Steve          7/18/2023     0.5   Discuss crypto asset manager selection and upcoming related
                                             meeting with UCC with E. Mosley (A&M)
Dalgleish, Elizabeth     7/18/2023     0.3   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                             Dalgleish (A&M) to discuss FTX EU segregated fiat deposits and
                                             strategic options' priorities for Rest of World Entities
Dalgleish, Elizabeth     7/18/2023     3.1   Prepare analysis to set out additional and dormant entities to be
                                             considered to wind down
Dalgleish, Elizabeth     7/18/2023     1.7   Update the FTX EU and RoW wind-down model to include the
                                             summary balance sheet financials received for all legal entities
Dusendschon, Kora        7/18/2023     0.3   Review support ticket information analysis and frame feedback with
                                             follow up action items for the team
Dusendschon, Kora        7/18/2023     0.5   Teleconference with M. Simkins, K. Dusendschon, M. Haigis, C.
                                             Radis (A&M), N. Wolowski, C. Fanning (S&C), A. Bailey, B.
                                             Hadamik, G. Hougey, D. Lee, C. Miller, A. Vyas (FTI), to discuss
                                             overall FTX workstream updates
Dusendschon, Kora        7/18/2023     0.1   Review information provided by FTI for KYC re-production efforts
                                             and follow up with FTI for additional information required
Dusendschon, Kora        7/18/2023     0.1   Review and provide guidance to team on open items regarding KYC
                                             requests
Dusendschon, Kora        7/18/2023     0.2   Call with M. Flynn, K. Dusendschon, P. Kwan, R. Johnson, L. Konig
                                             (A&M) to discuss latest AWS and data status
Dusendschon, Kora        7/18/2023     0.2   Confer internally regarding balance calculations and status of KYC
                                             efforts in anticipation of call with S&C
Dusendschon, Kora        7/18/2023     0.4   Confer internally regarding the status of employee email address
                                             extraction for crypto bonus effort, including review of FTI proposal
                                             and follow-up items
Dusendschon, Kora        7/18/2023     0.3   Draft email to B. Harsch (S&C) and set up meeting to discuss action
                                             items regarding balance calculations and KYC efforts
Dusendschon, Kora        7/18/2023     0.4   Review status of Japan data collection and preservation efforts and
                                             confer internally
Farsaci, Alessandro      7/18/2023     2.5   Call with F. Lorandi, D. Knezevic (HB), A. Farsaci, G. Balmelli
                                             (A&M), T. Luginbühl, A. Pellizzari (L&S) J. Bavaud (FTX) on Swiss
                                             moratorium updates FTX Europe AG
Flynn, Matthew           7/18/2023     0.8   Review updated employee e-mail master file for bonus analysis for
                                             UCC
Flynn, Matthew           7/18/2023     1.0   Call with M. Flynn (A&M), Sygnia and Fireblocks teams to discuss
                                             admin setup of Fireblocks


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Business Operations
Professional             Date     Hours     Activity
Flynn, Matthew        7/18/2023     0.2   Call with M. Flynn, K. Dusendschon, P. Kwan, R. Johnson, L. Konig
                                          (A&M) to discuss latest AWS and data status
Flynn, Matthew        7/18/2023     0.4   Review fireblocks security parameters for account setup


Flynn, Matthew        7/18/2023     0.3   Review Coin Metrics agreement for sharing terms for S&C

Glustein, Steven      7/18/2023     0.8   Call with A. Holland, M. Materni, J. Croke, K. Mayberry (S&C), S.
                                          Glustein, A. Heric and L. Callerio (A&M) re: crypto analysis overview
Haigis, Maya          7/18/2023     0.5   Teleconference with M. Simkins, K. Dusendschon, M. Haigis, C.
                                          Radis (A&M), N. Wolowski, C. Fanning (S&C), A. Bailey, B.
                                          Hadamik, G. Hougey, D. Lee, C. Miller, A. Vyas (FTI), to discuss
                                          overall FTX workstream updates
Heric, Andrew         7/18/2023     0.4   Gather blockchain details for 18 identified addresses of interest


Heric, Andrew         7/18/2023     0.6   Review and designate address transfer metrics and summary tables
                                          related to request 97
Heric, Andrew         7/18/2023     1.4   Update summary schedule with newly identified metrics related to
                                          request 97
Heric, Andrew         7/18/2023     0.6   Summarize findings from address designation review

Heric, Andrew         7/18/2023     0.6   Meeting with L. Lambert, L. Iwanski, A. Heric (A&M) re: prep for
                                          meeting with counsel regarding certain user activity
Heric, Andrew         7/18/2023     0.2   Call with A. Heric and Q. Lowdermilk (A&M) regarding updates to
                                          request 96 deliverable
Heric, Andrew         7/18/2023     0.7   Gather and summarize transaction detail across 11 blockchains
                                          related to request 97
Heric, Andrew         7/18/2023     0.8   Conduct targeted internal document research related to two
                                          exchange addresses of concern
Heric, Andrew         7/18/2023     0.6   Call with L. Lambert and A. Heric (A&M) regarding follow-up analysis
                                          to crypto tracing team deliverable
Heric, Andrew         7/18/2023     0.6   Call with L. Lambert and A. Heric (A&M) regarding crypto tracing
                                          analysis and deliverable updates
Heric, Andrew         7/18/2023     0.3   Call with L. Iwanski, Q. Lowdermilk, A. Heric, and I. Radwanski
                                          (A&M) regarding workstream updates and priorities
Heric, Andrew         7/18/2023     0.8   Call with A. Holland, M. Materni, J. Croke, K. Mayberry (S&C), S.
                                          Glustein, A. Heric and L. Callerio (A&M) re: crypto analysis overview
Heric, Andrew         7/18/2023     0.8   Notate net position in comparison of crypto activity across 18
                                          addresses of concern
Iwanski, Larry        7/18/2023     0.2   Meeting with L. Lambert, L. Iwanski, A. Heric (A&M) re: prep for
                                          meeting with counsel regarding certain user activity
Iwanski, Larry        7/18/2023     0.2   Quality review of deliverable related to Request 97


Iwanski, Larry        7/18/2023     0.1   Review of appendices to preliminary findings of on chain activity
                                          related to an investigation
Iwanski, Larry        7/18/2023     0.3   Call with L. Iwanski, Q. Lowdermilk, A. Heric, and I. Radwanski
                                          (A&M) regarding workstream updates and priorities

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Iwanski, Larry        7/18/2023     0.8   Call with A. Holland, M. Materni, J. Croke, K. Mayberry (S&C), L.
                                          Ryan, L. Iwanski, L. Lambert, A. Canale (A&M) re: crypto analysis
                                          overview
Johnson, Robert       7/18/2023     0.2   Call with M. Flynn, K. Dusendschon, P. Kwan, R. Johnson, L. Konig
                                          (A&M) to discuss latest AWS and data status
Johnson, Robert       7/18/2023     0.8   Review metabase tables to ensure current data is displayed through
                                          the metabase portal
Johnson, Robert       7/18/2023     1.4   Respond to questions in relation to customer balances and
                                          customer portal
Johnson, Robert       7/18/2023     0.6   Adjust accessibility settings on RDS servers to appropriately limit
                                          access to internal VPC endpoints where necessary
Johnson, Robert       7/18/2023     0.9   Review accessibility settings on RDS environment

Johnston, David       7/18/2023     1.3   Review FTX EU Ltd. customer balance legal analysis relating to
                                          prioritization of customer claims, consider implications for customer
                                          funds return
Johnston, David       7/18/2023     1.6   Review and make comments to non disclosure agreement and
                                          engagement letter for insolvency practitioner relating to wind down
                                          entities
Johnston, David       7/18/2023     0.4   Call with H. Chambers, S. Li, D. Johnston, M. van den Belt (A&M) on
                                          Quoine Pte Ltd matters
Johnston, David       7/18/2023     0.9   Call with E. Simpson, O. de Vito Piscicelli (S&C), M.Lambrianou,
                                          P.Ziourti, M.Athinodorou (FTX), G. Theocharides, G. Karatzias
                                          (CySEC), D. Johnston (A&M) on FTX EU customer return process
Johnston, David       7/18/2023     0.3   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                          Dalgleish (A&M) to discuss FTX EU segregated fiat deposits and
                                          strategic options' priorities for Rest of World Entities
Johnston, David       7/18/2023     1.1   Review and update FTX Quione Pte analysis ahead of call to
                                          discuss next steps
Konig, Louis          7/18/2023     0.2   Call with M. Flynn, K. Dusendschon, P. Kwan, R. Johnson, L. Konig
                                          (A&M) to discuss latest AWS and data status
Kwan, Peter           7/18/2023     0.2   Call with M. Flynn, K. Dusendschon, P. Kwan, R. Johnson, L. Konig
                                          (A&M) to discuss latest AWS and data status
Kwan, Peter           7/18/2023     1.5   Continue to perform mapping of wallet addresses to blockchains
                                          within the wallet tracking database
Kwan, Peter           7/18/2023     2.1   Distribute finalized schedule of derivative positions after quality
                                          review in relation to UCC request
Kwan, Peter           7/18/2023     1.2   Prepare background information with key points of contact in relation
                                          to bank account linking work performed to date for new bank
                                          reconciliation workstream
Kwan, Peter           7/18/2023     1.6   Prepare extracts of fiat activities (deposits, withdrawals) for new
                                          bank reconciliation workstream
Kwan, Peter           7/18/2023     1.8   Prepare full listing of exchange customer accounts with targeted
                                          data points for new bank reconciliation workstream
Kwan, Peter           7/18/2023     0.4   Research analysis performed on customer spreads, VIP or other
                                          market maker facing benefits in relation to UCC request



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Professional               Date     Hours     Activity
Kwan, Peter             7/18/2023     1.1   Review quality control file used to substantiate the schedule of
                                            derivative positions in relation to UCC request
Lam, James              7/18/2023     0.4   Draft the recommended reporting skeleton for FTX Japan regular
                                            updates to management
Lam, James              7/18/2023     0.7   Discuss with J. Lam and J. Yan (A&M) regarding the amendments
                                            on the presentation deck of FTX Japan
Lam, James              7/18/2023     1.4   Prepare the presentation materials in relation to FTX Japan
                                            customer withdrawals, cash flow, and regulatory updates
Lam, James              7/18/2023     0.6   Respond to enquires about Liquid customer data provided to the
                                            claim team
Lam, James              7/18/2023     0.8   Review FTX Japan asset return and withdrawal summary reports

Lambert, Leslie         7/18/2023     0.6   Call with L. Lambert and A. Heric (A&M) regarding follow-up analysis
                                            to crypto tracing team deliverable
Lambert, Leslie         7/18/2023     0.6   Call with L. Lambert and A. Heric (A&M) regarding crypto tracing
                                            analysis and deliverable updates
Lambert, Leslie         7/18/2023     0.9   Review blockchain transactions related to certain users and/or
                                            addresses
Lambert, Leslie         7/18/2023     1.6   Prepare observations and objectives for various calls related to
                                            crypto tracing and blockchain analysis
Lambert, Leslie         7/18/2023     0.6   Meeting with L. Lambert, L. Iwanski, A. Heric (A&M) re: prep for
                                            meeting with counsel regarding certain user activity
Lambert, Leslie         7/18/2023     0.2   Consider findings and observations from blockchain analysis


Lambert, Leslie         7/18/2023     0.2   Call with L. Callerio and L. Lambert (A&M) re: crypto analysis call
                                            debrief
Lambert, Leslie         7/18/2023     0.8   Call with A. Holland, M. Materni, J. Croke, K. Mayberry (S&C), L.
                                            Ryan, L. Iwanski, L. Lambert, A. Canale (A&M) re: crypto analysis
                                            overview
Lee, Julian             7/18/2023     0.1   Correspond with team regarding FTX Digital Markets BCB account
                                            status of production
Li, Summer              7/18/2023     0.6   Understand the nature of the transfer pricing adjustment in
                                            September 2019 of Quoine Pte
Li, Summer              7/18/2023     0.3   Understand Quoine Pte's crypto asset held at FTX.com


Li, Summer              7/18/2023     0.4   Call with H. Chambers, S. Li, D. Johnston, M. van den Belt (A&M) on
                                            Quoine Pte Ltd matters
Lowdermilk, Quinn       7/18/2023     2.7   Finalize crypto tracing deliverable outlining select token purchase
                                            agreements
Lowdermilk, Quinn       7/18/2023     0.3   Call with L. Iwanski, Q. Lowdermilk, A. Heric, and I. Radwanski
                                            (A&M) regarding workstream updates and priorities
Lowdermilk, Quinn       7/18/2023     0.2   Call with A. Heric and Q. Lowdermilk (A&M) regarding updates to
                                            request 96 deliverable
Lowdermilk, Quinn       7/18/2023     2.2   Blockchain research in attempts to identify wallet exposure to
                                            different tokens


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Lowdermilk, Quinn      7/18/2023     0.4   Call with Q. Lowdermilk and I. Radwanski (A&M) discussing
                                           methodology of tracing request
Lowdermilk, Quinn      7/18/2023     2.6   Outline identified wallet exposure to crypto tracing deliverable


McGoldrick, Hugh       7/18/2023     0.3   Emails with Grant Thornton re: Cyprus liquidations

McGoldrick, Hugh       7/18/2023     0.8   Call with Grant Noble (Grant Thornton) re: engagement mechanics
                                           and next steps
McGoldrick, Hugh       7/18/2023     0.4   Discussion with H. McGoldrick re: GT NDA, engagement mechanics
                                           and actions needed re: Singaporean and Cypriot entities
McGoldrick, Hugh       7/18/2023     0.3   Consider strategy and implementation of standard liquidation
                                           questionnaire for European and RoW subsidiaries
Mosley, Ed             7/18/2023     0.2   Discuss crypto liquidation process with S.Coverick (A&M)


Radis, Cameron         7/18/2023     0.5   Teleconference with M. Simkins, K. Dusendschon, M. Haigis, C.
                                           Radis (A&M), N. Wolowski, C. Fanning (S&C), A. Bailey, B.
                                           Hadamik, G. Hougey, D. Lee, C. Miller, A. Vyas (FTI), to discuss
                                           overall FTX workstream updates
Radwanski, Igor        7/18/2023     0.3   Call with L. Iwanski, Q. Lowdermilk, A. Heric, and I. Radwanski
                                           (A&M) regarding workstream updates and priorities
Radwanski, Igor        7/18/2023     2.8   Trace incoming transfers to identify source of funds


Radwanski, Igor        7/18/2023     1.7   Quantify swaps made to different wallet addresses associated with
                                           Request 100
Radwanski, Igor        7/18/2023     2.9   Extract wallet group tags to matchup with target wallet addresses

Radwanski, Igor        7/18/2023     0.4   Call with Q. Lowdermilk and I. Radwanski (A&M) discussing
                                           methodology of tracing request
Ramanathan, Kumanan    7/18/2023     0.5   Call with S. Freeman, P. Angsupun (JST) to discuss crypto asset
                                           sale motion and parameters
Ramanathan, Kumanan    7/18/2023     0.3   Coordinate with BitGo on institutional account openings


Ramanathan, Kumanan    7/18/2023     0.4   Review crypto tracing analysis and provide direction on control of
                                           wallets
Ramanathan, Kumanan    7/18/2023     0.5   Call with S. Freeman (JST) to discuss crypto liquidity matters


Ramanathan, Kumanan    7/18/2023     0.4   Call with B. Zonenshayn, J. Kapoor (S&C) to discuss crypto asset
                                           sale motion
Ramanathan, Kumanan    7/18/2023     1.9   Prepare and revise updated FTT analysis

Ramanathan, Kumanan    7/18/2023     0.4   Prepare updated comparison slides for crypto asset management
                                           services
Ramanathan, Kumanan    7/18/2023     0.2   Provide updated feedback on crypto asset sale motion

Ramanathan, Kumanan    7/18/2023     0.3   Review of plan recovery liquidation metrics


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Ramanathan, Kumanan      7/18/2023     0.9   Review of various AWS data team request and responses and
                                             provide feedback
Ramanathan, Kumanan      7/18/2023     0.8   Review FTT token memorandum and analysis and provide feedback


Ryan, Laureen            7/18/2023     0.8   Call with A. Holland, M. Materni, J. Croke, K. Mayberry (S&C), L.
                                             Ryan, L. Iwanski, L. Lambert, A. Canale (A&M) re: crypto analysis
                                             overview
Schlam Batista, Sharon   7/18/2023     2.4   Build an schedule for all the FTX EU unmapped users in original
                                             coins
Schlam Batista, Sharon   7/18/2023     2.3   Prepare customer balances deck with the methodology used to
                                             calculate final balances
Schlam Batista, Sharon   7/18/2023     0.3   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                             Dalgleish (A&M) to discuss FTX EU segregated fiat deposits and
                                             strategic options' priorities for Rest of World Entities
Sexton, Rachel           7/18/2023     0.4   Call with H. McGoldrick (A&M) re: engagement letter and NDA for
                                             wind-down of European and RoW subsidiaries
Simkins, Maximilian      7/18/2023     0.5   Teleconference with M. Simkins, K. Dusendschon, M. Haigis, C.
                                             Radis (A&M), N. Wolowski, C. Fanning (S&C), A. Bailey, B.
                                             Hadamik, G. Hougey, D. Lee, C. Miller, A. Vyas (FTI), to discuss
                                             overall FTX workstream updates
Simkins, Maximilian      7/18/2023     1.1   Prepare a set of samples from support messages table for
                                             upcoming meeting
Slay, David              7/18/2023     1.2   Review and update Ad Hoc Committee support materials based on
                                             comments from C. Sullivan (A&M)
Stegenga, Jeffery        7/18/2023     0.8   Review of ROW workstream progress, including winddown status
                                             update and potential recoveries/entity
Stockmeyer, Cullen       7/18/2023     0.3   Meeting with G. Walia, L. Callerio, C. Stockmeyer (A&M) re:
                                             unconfirmed withdrawals status
Stockmeyer, Cullen       7/18/2023     0.6   Meeting with L. Callerio and C. Stockmeyer (A&M) re: prep for
                                             meeting with counsel regarding certain user activity
Stockmeyer, Cullen       7/18/2023     0.9   Update crypto tracing tracker related to additional information
                                             received from S&C
Stockmeyer, Cullen       7/18/2023     0.3   Update professional tracker related to information for week ending
                                             7/15
Stockmeyer, Cullen       7/18/2023     1.7   Review crypto tracing report related to certain venture investment
                                             updated by Q. Lowdermilk (A&M)
Stockmeyer, Cullen       7/18/2023     1.6   Prepare items related to FTX2.0 phase 2 diligence process for share

Sunkara, Manasa          7/18/2023     2.7   Investigate transfers activity related to bonus payments for an
                                             internal analysis
Sunkara, Manasa          7/18/2023     2.9   Extract all transfers being made to a confirmed list of FTX
                                             employees after a specific time period
Sunkara, Manasa          7/18/2023     2.4   Create a master table for all withdrawals using transaction date
                                             pricing logic
Sunkara, Manasa          7/18/2023     0.3   Analyze outstanding data requests from S&C and internal A&M



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Sunkara, Manasa       7/18/2023     2.1   Update SQL scripts for golden source master tables using
                                          transaction date pricing
van den Belt, Mark    7/18/2023     0.3   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                          Dalgleish (A&M) to discuss FTX EU segregated fiat deposits and
                                          strategic options' priorities for Rest of World Entities
van den Belt, Mark    7/18/2023     0.3   Call with E. Simpson, O. de Vito Piscicelli (S&C), M. van den Belt, D.
                                          Johnston (A&M) on FTX EU customer waterfall
van den Belt, Mark    7/18/2023     0.4   Call with H. Chambers, S. Li, D. Johnston, M. van den Belt (A&M) on
                                          Quoine Pte Ltd matters
van den Belt, Mark    7/18/2023     0.6   Prepare correspondence to local management related to Quoine Pte
                                          Ltd
van den Belt, Mark    7/18/2023     1.2   Prepare presentation on Quoine Pte Ltd financial situation for local
                                          management
van den Belt, Mark    7/18/2023     1.2   Prepare updated financial slides on Crypto Services and EMEA Ltd

van den Belt, Mark    7/18/2023     0.9   Prepare updated presentation on FTX EU Ltd 13-week short term
                                          cash flow forecast for discussion with cySEC
van den Belt, Mark    7/18/2023     0.4   Review and Prepare an analysis of FTX Japan trial balance sheets

van den Belt, Mark    7/18/2023     0.9   Review bank agreements related to bank accounts with EU
                                          customer deposits and withdrawals
van den Belt, Mark    7/18/2023     1.6   Review EU customer balance handover documents

van den Belt, Mark    7/18/2023     1.2   Review financials availability tracker for FTX rest of world


Walia, Gaurav         7/18/2023     1.4   Review several loan agreements utilizing FTT as collateral for
                                          inclusion into FTT memo
Walia, Gaurav         7/18/2023     0.5   Call with E. Lotem (Tres Finance) , G. Walia (A&M) to discuss
                                          Alameda hot wallet balance
Walia, Gaurav         7/18/2023     0.3   Meeting with G. Walia, L. Callerio, C. Stockmeyer (A&M) re:
                                          unconfirmed withdrawals status
Walia, Gaurav         7/18/2023     0.4   Review the unconfirmed crypto withdrawals analysis and provide
                                          feedback
Walia, Gaurav         7/18/2023     2.8   Prepare responses to several UCC diligence questions


Walia, Gaurav         7/18/2023     1.1   Prepare an updated summary of the FTT buy and burn program

Walia, Gaurav         7/18/2023     1.6   Prepare a summary response for an FTT Alameda legal entity
                                          analysis
Walia, Gaurav         7/18/2023     1.7   Prepare a summary of the top FTT holders

Walia, Gaurav         7/18/2023     1.9   Prepare a summarized FTT presentation deck

Wilson, David         7/18/2023     0.9   Implement QC feedback on internal data request related to wallet
                                          addresses


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Wilson, David           7/18/2023     2.8   Expand summary function to organize results by a multiindex and
                                            dynamically update after multiple queries
Wilson, David           7/18/2023     2.1   Wrote function to handle user input and provide feedback on data
                                            requests from the tool
Wilson, David           7/18/2023     2.3   Wrote a generate_summary function to separate from main function
                                            and make tool more flexible
Yan, Jack               7/18/2023     0.2   Update the draft question to FTX Japan regarding FTX Japan's
                                            latest updates
Yan, Jack               7/18/2023     0.7   Discuss with J. Lam and J. Yan (A&M) regarding the amendments
                                            on the presentation deck of FTX Japan
Yan, Jack               7/18/2023     1.4   Amend the presentation deck regarding FTX Japan's status update
                                            as a whole
Yan, Jack               7/18/2023     0.3   Correspondence with H. Chambers (A&M) regarding the FTX Japan
                                            status update reporting deck
Yan, Jack               7/18/2023     0.8   Research on FTX Japan's recent company announcements and
                                            outreach activities
Yan, Jack               7/18/2023     0.6   Revise the presentation deck regarding FTX Japan's latest updates
                                            on audit issues
Yan, Jack               7/18/2023     0.8   Revise the presentation deck regarding FTX Japan's latest updates
                                            on preparatory works for relaunch
Yan, Jack               7/18/2023     0.6   Revise the presentation deck regarding FTX Japan's latest updates
                                            on external communication and outreach
Zatz, Jonathan          7/18/2023     0.7   Correspondence regarding prior request for single transaction to
                                            foreign official
Zatz, Jonathan          7/18/2023     1.7   Database scripting related to request for Alameda OTC user's
                                            deposit addresses
Zatz, Jonathan          7/18/2023     1.8   Database scripting related to request for user information for specific
                                            Alameda OTC customer
Zhang, Qi               7/18/2023     1.9   Perform daily review of Sumsub system manual escalation cases to
                                            record down issues identified for 18 July 2023
Zhang, Qi               7/18/2023     1.7   Perform daily review of Sumsub system auto approve cases to
                                            record down issues identified for 18 July 2023
Zhang, Qi               7/18/2023     2.7   Perform daily review of Integreon manual review team's work to
                                            record down issues identified for 18 July 2023
Zhang, Qi               7/18/2023     0.6   Draft review strategy on different KYC cases as part of manual
                                            review daily teaching session 18 July 2023
Zhang, Qi               7/18/2023     1.9   Perform daily review of Sumsub system auto rejection cases to
                                            record down issues identified for 18 July 2023
Arbid, Rami             7/19/2023     0.3   Review with G. Wall (A&M) on liquidation requirements for FTX
                                            Exchange FZE
Arbid, Rami             7/19/2023     0.3   Prepare correspondence with R. Kanaan (Kanaan & Associates)
                                            related to liquidation requirements of FTX Exchange FZE
Baker, Kevin            7/19/2023     1.1   Call with M. Sunkara, J. Chan, K. Baker, L. Konig, J. Zatz, G. Walia
                                            (A&M) to discuss updated preference analysis logic




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Baker, Kevin          7/19/2023     0.5   Call with M. Sunkara, D. Wilson, J. Chan, P. Kwan, L. Konig, K.
                                          Baker, R. Johnson, J. Zatz (A&M) to discuss data requests and
                                          issues
Baker, Kevin          7/19/2023     2.5   Deliver extracts from customer accounts and transactional data to
                                          counsel for a USAO western division of Pennsylvania subpoena
                                          request
Baker, Kevin          7/19/2023     0.4   Participate in a teleconference with S. Yeargan, B. Harsch, J.
                                          Sutton, M. Scales, L. Van Allen (S&C), J. Chan, K. Baker and L.
                                          Callerio (A&M) re: Ohio money transmitter data
Baker, Kevin          7/19/2023     2.8   Investigate customer accounts and transactions relating to FBI
                                          Cleveland request
Balmelli, Gioele      7/19/2023     1.2   Call with D. Knezevic (HB) and G. Balmelli (A&M) on FTX Europe
                                          AG main assets and liabilities
Balmelli, Gioele      7/19/2023     0.7   Call with E. Simpson, O. de Vito Piscicelli (S&C), M. Hadjigavriel, O.
                                          Adamidou (ATS), G. Balmelli, D. Johnston, M. van den Belt (A&M)
                                          on FTX EU Ltd return of customer funds
Balmelli, Gioele      7/19/2023     0.2   Call with E. Simpson, T. Hill (S&C), M. Lambrianou, M. Athinodorou,
                                          N. Ziourti (FTX), M. Hadjigavriel (ATS), G. Balmelli, D. Johnston, M.
                                          van den Belt (A&M) on FTX EU matters
Balmelli, Gioele      7/19/2023     2.1   Review provided FTX Europe AG FTX.com balances

Balmelli, Gioele      7/19/2023     1.9   Review Swiss Administrator 19. Aug meeting minutes

Balmelli, Gioele      7/19/2023     0.7   Call with J. Bavaud on FTX Crypto Services Ltd available documents


Callerio, Lorenzo     7/19/2023     0.7   Review recently-provided inbound crypto tracing email threads

Callerio, Lorenzo     7/19/2023     0.4   Review the preliminary observation deck provided by L. Lambert
                                          (A&M)
Callerio, Lorenzo     7/19/2023     0.5   Meeting with L. Iwanski, L. Lambert, L. Callerio, C. Stockmeyer
                                          (A&M) re: crypto tracing update call
Callerio, Lorenzo     7/19/2023     0.4   Participate in a teleconference with S. Yeargan, B. Harsch, J.
                                          Sutton, M. Scales, L. Van Allen (S&C), J. Chan, K. Baker and L.
                                          Callerio (A&M) re: Ohio money transmitter data
Callerio, Lorenzo     7/19/2023     0.7   Review and approve REQ96 materials provided by Q. Lowdermilk
                                          (A&M)
Casey, John           7/19/2023     2.2   Review and update action plan and priority list in relation to wind
                                          down of European and RoW subsidiaries
Casey, John           7/19/2023     1.9   Reviews and updates in relation to standard questionnaire for
                                          Quoine Pte Ltd
Casey, John           7/19/2023     1.6   Reviews and updates in relation to standard questionnaire for Zubr
                                          Exchange Ltd
Casey, John           7/19/2023     0.3   Call with R Sexton, H McGoldrick, and J Collis in relation to
                                          questionnaires and next steps
Chambers, Henry       7/19/2023     1.1   Updates to FTX Japan reporting template




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Professional                 Date    Hours     Activity
Chambers, Henry          7/19/2023     0.9   Updates to FTX Japan external interview question script

Chambers, Henry          7/19/2023     0.7   Respond to queries regarding data sources for FTX Japan data
                                             preservation exercise
Chambers, Henry          7/19/2023     0.6   Call with H. Chambers, J. Lam (A&M) and S. Melamed (FTX JP) to
                                             discuss FTX Japan reporting deck
Chan, Jon                7/19/2023     1.2   Investigate know your customer information for S&C internal request

Chan, Jon                7/19/2023     2.4   Investigate activity related to specific entity for A&M internal request
                                             for avoidance team
Chan, Jon                7/19/2023     0.4   Participate in a teleconference with S. Yeargan, B. Harsch, J.
                                             Sutton, M. Scales, L. Van Allen (S&C), J. Chan, K. Baker and L.
                                             Callerio (A&M) re: Ohio money transmitter data
Chan, Jon                7/19/2023     2.8   Provide documents related to an entity for S&C internal investigation
                                             request
Chan, Jon                7/19/2023     1.2   Provide information related to preference payments for A&M internal
                                             investigation request
Chan, Jon                7/19/2023     2.7   Investigate activity related to S&C subpoena request related to two
                                             wallets
Chan, Jon                7/19/2023     2.2   Quality control documents and reports related to A&M internal
                                             requests
Chan, Jon                7/19/2023     0.5   Call with M. Sunkara, D. Wilson, J. Chan, P. Kwan, L. Konig, K.
                                             Baker, R. Johnson, J. Zatz (A&M) to discuss data requests and
                                             issues
Collis, Jack             7/19/2023     2.7   Review of investigations working files on Box and FTX Europe AG
                                             complaint to assist with liquidation planning / key considerations
                                             from a wind-down perspective
Collis, Jack             7/19/2023     2.4   Collate entity specific information received and questionnaires,
                                             prepare filing structure, combine information sources for future wind-
                                             down reviews
Collis, Jack             7/19/2023     0.5   Call with R Sexton, H McGoldrick, and J Casey in relation to
                                             questionnaires and next steps
Corr, Caoimhe            7/19/2023     1.0   Prepare FTX Exchange FZE claims summary report (July 14th latest
                                             update)
Coverick, Steve          7/19/2023     0.5   Call with E. Mosley, S. Coverick, D. Johnston (A&M) to discuss FTX
                                             Europe data security and next steps
Dalgleish, Elizabeth     7/19/2023     3.1   Prepare reconciliation between the intercompany receivable and
                                             payable balance sheet amounts in the legal entities to be wound
                                             down
Dalgleish, Elizabeth     7/19/2023     0.8   Review intercompany reconciliation to identify discrepancies
                                             between the balances sheets and intercompany schedule that
                                             require further analysis
Dusendschon, Kora        7/19/2023     0.1   Answer question re Relativity access issues encountered


Dusendschon, Kora        7/19/2023     0.3   Teleconference with M. Simkins, K. Dusendschon, M. Haigis (A&M)
                                             to discuss status of kyc tasks



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Dusendschon, Kora     7/19/2023     0.2   Review request for Sumsub flagging and discuss with team to
                                          determine open questions
Dusendschon, Kora     7/19/2023     0.1   Review open KYC requests to determine action items for team


Dusendschon, Kora     7/19/2023     0.1   Draft email to B. Hadamik (FTI) regarding folder spreadsheet

Dusendschon, Kora     7/19/2023     0.3   Conduct follow up review on KYC folders in response to FTI email

Dusendschon, Kora     7/19/2023     1.8   Detailed review of updated folder spreadsheet provided by FTI and
                                          determination of which folders fall under KYC scope
Dusendschon, Kora     7/19/2023     0.3   Review KYC Relativity-Dynamic-Object to provide team with request
                                          for additional fields for overlay
Flynn, Matthew        7/19/2023     0.4   Call with M. Flynn, K. Ramanathan (A&M) and Messari team to
                                          discuss weekly crypto updates
Flynn, Matthew        7/19/2023     0.3   Review wallet timeseries yearly running cost estimate

Glustein, Steven      7/19/2023     0.2   Call with A. Titus, S. Glustein, K. Ramanathan (A&M) to discuss
                                          ledger prime crypto
Haigis, Maya          7/19/2023     0.3   Teleconference with M. Simkins, K. Dusendschon, M. Haigis (A&M)
                                          to discuss status of kyc tasks
Haigis, Maya          7/19/2023     0.2   Teleconference with M. Simkins, M. Haigis (A&M) to discuss
                                          updates to support messages task in preparation for upcoming
                                          meeting
Haigis, Maya          7/19/2023     0.5   Review support ticket table scripts to pull KYC related files


Haigis, Maya          7/19/2023     0.2   Teleconference with M. Simkins, M. Haigis (A&M) to discuss status
                                          of kyc tasks
Heric, Andrew         7/19/2023     0.2   Call with L. Lambert and A. Heric (A&M) regarding findings of data
                                          analysis comparison
Heric, Andrew         7/19/2023     0.8   Review and respond to quality control review comments on
                                          deliverable related to internal account activity of concern
Heric, Andrew         7/19/2023     2.9   Gather over 4,200 crypto transactions across 14 blockchains for
                                          address review request
Heric, Andrew         7/19/2023     0.3   Call with Q. Lowdermilk and A. Heric (A&M) regarding presentation
                                          of crypto tracing findings
Heric, Andrew         7/19/2023     1.2   Gather specific blockchain metrics for 19 addresses of interest

Heric, Andrew         7/19/2023     1.7   Devise and notate methodology and sample specifics related to
                                          address review request
Heric, Andrew         7/19/2023     0.4   Call with L. Iwanski, L. Lambert, Q. Lowdermilk, A. Heric, and I.
                                          Radwanski (A&M) regarding workstream updates and priorities
Iwanski, Larry        7/19/2023     0.1   Review of communications related to crypto tracing priorities

Iwanski, Larry        7/19/2023     0.4   Call with L. Iwanski, L. Lambert, Q. Lowdermilk, A. Heric, and I.
                                          Radwanski (A&M) regarding workstream updates and priorities


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Iwanski, Larry        7/19/2023     0.5   Meeting with L. Iwanski, L. Lambert, L. Callerio, C. Stockmeyer
                                          (A&M) re: crypto tracing update call
Iwanski, Larry        7/19/2023     0.1   Quality review of deliverable related to Request 96


Johnson, Robert       7/19/2023     0.5   Call with M. Sunkara, D. Wilson, J. Chan, P. Kwan, L. Konig, K.
                                          Baker, R. Johnson, J. Zatz (A&M) to discuss data requests and
                                          issues
Johnson, Robert       7/19/2023     0.8   Work with Sygnia team regarding YubiKey authentication issues on
                                          Customer Portal
Johnson, Robert       7/19/2023     1.6   Work with Metalab and Sygnia teams to answer questions relating to
                                          customer balance portal functionality
Johnson, Robert       7/19/2023     0.8   Migrate data from AM SQL server to AWS RDS server for
                                          professional firm analysis
Johnson, Robert       7/19/2023     0.9   Perform review of current metabase tables to identify any tables
                                          requiring maintenance or updates
Johnston, David       7/19/2023     0.7   Call with E. Simpson, O. de Vito Piscicelli (S&C), M. Hadjigavriel, O.
                                          Adamidou (ATS), G. Balmelli, D. Johnston, M. van den Belt (A&M)
                                          on FTX EU Ltd return of customer funds
Johnston, David       7/19/2023     1.1   Review balance sheet and wind down analysis for dormant
                                          Japanese entity
Johnston, David       7/19/2023     1.0   Call with S. Kojima (FTX), E. Simpson, J. Simpson (S&C), D.
                                          Johnston, M. van den Belt (A&M) on Quoine Pte Ltd balance sheet
                                          entries
Johnston, David       7/19/2023     0.5   Call with E. Mosley, S. Coverick, D. Johnston (A&M) to discuss FTX
                                          Europe data security and next steps
Johnston, David       7/19/2023     0.2   Call with E. Simpson, T. Hill (S&C), M. Lambrianou, M. Athinodorou,
                                          N. Ziourti (FTX), M. Hadjigavriel (ATS), G. Balmelli, D. Johnston, M.
                                          van den Belt (A&M) on FTX EU matters
Johnston, David       7/19/2023     2.2   Review trial balances of Quoine Pte Ltd. and also FTX Japan K.K. in
                                          order to assess customer assets vs liabilities and also intercompany
                                          positions
Johnston, David       7/19/2023     0.1   Call with D. Hammon, M. Borts, C. MacLean (E&Y), J. Sequeira, D.
                                          Johnston, M. van den Belt (A&M), E. Simpson (S&C) on FTX
                                          financial reporting
Johnston, David       7/19/2023     0.3   Coordinate and prepare correspondence in relation to GDPR
                                          compliance
Johnston, David       7/19/2023     0.5   Call with D. Hammon, M. Borts, C. MacLean (E&Y), D. Johnston, M.
                                          van den Belt (A&M) on FTX wind down manners
Johnston, David       7/19/2023     0.1   Analyze materials and presentation relating to Quoine Pte ahead of
                                          call to discuss with local management
Konig, Louis          7/19/2023     1.1   Database scripting related to intercompany account historical
                                          balances reporting
Konig, Louis          7/19/2023     1.8   Quality control and review of output related to intercompany account
                                          historical balances reporting
Konig, Louis          7/19/2023     1.2   Documentation of findings related to intercompany account historical
                                          balances reporting



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Kwan, Peter             7/19/2023     0.6   Revise draft findings from bank reconciliation research regarding
                                            analysis performed by avoidance actions team
Kwan, Peter             7/19/2023     0.4   Perform quality review of automated reconciliation logic between
                                            wallet address tracking database and NSS database
Kwan, Peter             7/19/2023     1.2   Review legacy address lists sent by cybersecurity firm to compare
                                            against wallet tracking database for completeness
Kwan, Peter             7/19/2023     1.1   Develop summary report logic to quantify volume of wallet
                                            addresses mapping or missing blockchain information within the
                                            wallet tracking database
Kwan, Peter             7/19/2023     0.5   Call with M. Sunkara, D. Wilson, J. Chan, P. Kwan, L. Konig, K.
                                            Baker, R. Johnson, J. Zatz (A&M) to discuss data requests and
                                            issues
Kwan, Peter             7/19/2023     1.6   Research different option for prioritizing the loading of additional
                                            wallet addresses from the wallet address database into the NSS
                                            database
Kwan, Peter             7/19/2023     0.6   Perform quality review of request #724 for in relation to request from
                                            internal A&M team preparing analysis for S&C
Kwan, Peter             7/19/2023     1.2   Revise automated reconciliation logic between wallet address
                                            tracking database and NSS database in preparation for subsequent
                                            runs
Lam, James              7/19/2023     1.1   Review the proposed reporting template and weekly updates from
                                            FTX Japan
Lam, James              7/19/2023     0.6   Call with H. Chambers, J. Lam (A&M) and S. Melamed (FTX JP) to
                                            discuss FTX Japan reporting deck
Lam, James              7/19/2023     1.3   Update the reporting template with information and data from
                                            various sources
Lam, James              7/19/2023     0.4   Revise the reporting template in accordance with FTX Japan team'
                                            suggestions
Lambert, Leslie         7/19/2023     0.5   Meeting with L. Iwanski, L. Lambert, L. Callerio, C. Stockmeyer
                                            (A&M) re: crypto tracing update call
Lambert, Leslie         7/19/2023     0.4   Call with L. Iwanski, L. Lambert, Q. Lowdermilk, A. Heric, and I.
                                            Radwanski (A&M) regarding workstream updates and priorities
Lambert, Leslie         7/19/2023     0.2   Call with L. Lambert and A. Heric (A&M) regarding findings of data
                                            analysis comparison
Lambert, Leslie         7/19/2023     1.2   Draft observations from analysis of transactional activity for certain
                                            users and/or addresses
Lambert, Leslie         7/19/2023     1.2   Review deliverables and underlying support documentation
                                            responsive to current crypto tracing requests
Lambert, Leslie         7/19/2023     1.6   Review documentation and information relevant to an analysis of
                                            certain user activity
Lambert, Leslie         7/19/2023     0.7   Review materials and information relevant to and in preparation for
                                            various meetings and calls
Lambert, Leslie         7/19/2023     0.3   Call with Q. Lowdermilk and L. Lambert (A&M) regarding crypto
                                            tracing deliverable updates
Lee, Julian             7/19/2023     0.3   Review correspondence regarding Signature bank wire to Kroll in
                                            November 2022


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Li, Summer             7/19/2023     0.1   Correspondence with S. Kojima (FTX) regarding the cash flow
                                           forecast of FTX Japan
Li, Summer             7/19/2023     1.4   Understand how the transfer pricing adjustment in September 2019
                                           of Quoine Pte was calculated
Lowdermilk, Quinn      7/19/2023     0.4   Call with L. Iwanski, L. Lambert, Q. Lowdermilk, A. Heric, and I.
                                           Radwanski (A&M) regarding workstream updates and priorities
Lowdermilk, Quinn      7/19/2023     0.3   Call with Q. Lowdermilk and A. Heric (A&M) regarding presentation
                                           of crypto tracing findings
Lowdermilk, Quinn      7/19/2023     0.3   Call with I. Radwanski and Q. Lowdermilk (A&M) discussing
                                           methodology related to Request 110
Lowdermilk, Quinn      7/19/2023     0.3   Call with Q. Lowdermilk and L. Lambert (A&M) regarding crypto
                                           tracing deliverable updates
Lowdermilk, Quinn      7/19/2023     2.2   Outline crypto tracing analysis file with identified relativity findings


Lowdermilk, Quinn      7/19/2023     2.1   Research relativity for correspondence between two parties in a
                                           token purchase agreement
Lowdermilk, Quinn      7/19/2023     2.6   Analyze blockchain activity for wallet addresses tied to a token
                                           purchase agreement
McGoldrick, Hugh       7/19/2023     0.5   Call with H. McGoldrick, J. Casey and J. Collis re: Quoine & Zubr
                                           next steps
Mohammed, Azmat        7/19/2023     1.3   Coordinate development efforts related to wallet time series
                                           database for additional Alameda wallets
Mohammed, Azmat        7/19/2023     0.4   Meet with FTX Development team on weekly huddle


Mohammed, Azmat        7/19/2023     0.4   Development team huddle with Cap Gemini developers to discuss
                                           documenting codebase and wallet time series development work
Montague, Katie        7/19/2023     0.2   Call with A. Sivapalu and K. Montague (A&M) regarding due
                                           diligence items related to spreads
Montague, Katie        7/19/2023     0.5   Call with A. Sivapalu, G. Walia, K. Montague (A&M) and P. Lee
                                           (FTX) regarding due diligence requests
Mosley, Ed             7/19/2023     0.5   Call with S. Coverick, D. Johnston (A&M) to discuss FTX Europe
                                           data security and next steps
Mosley, Ed             7/19/2023     0.7   Review of draft presentation of status for Embed wind down to
                                           management
Radwanski, Igor        7/19/2023     2.8   Trace incoming transactions to target addresses

Radwanski, Igor        7/19/2023     2.9   Trace source of transfers related to Request 110


Radwanski, Igor        7/19/2023     1.6   Identify related agreements to incoming crypto transfers

Radwanski, Igor        7/19/2023     0.4   Call with L. Iwanski, L. Lambert, Q. Lowdermilk, A. Heric, and I.
                                           Radwanski (A&M) regarding workstream updates and priorities
Radwanski, Igor        7/19/2023     0.3   Call with I. Radwanski and Q. Lowdermilk (A&M) discussing
                                           methodology related to Request 110




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Radwanski, Igor          7/19/2023     0.6   Call with I. Radwanski and P. McGrath (A&M) discussing tracing
                                             findings and updates
Ramanathan, Kumanan      7/19/2023     1.1   Review of NSS wallet database list of addresses and counts and
                                             correspond with cybersecurity team
Ramanathan, Kumanan      7/19/2023     0.4   Review indemnification motion and order and provide feedback

Ramanathan, Kumanan      7/19/2023     0.3   Review legal entity agreements with Cold Storage custodian and
                                             provide feedback on next steps
Ramanathan, Kumanan      7/19/2023     0.2   Call with A. Titus, S. Glustein, K. Ramanathan (A&M) to discuss
                                             ledger prime crypto
Ramanathan, Kumanan      7/19/2023     1.1   Review of liquidity analysis prepared by JST and distribute to counsel

Ramanathan, Kumanan      7/19/2023     0.3   Call with L. Abendschein (Coinbase) to discuss Coinbase prime and
                                             exchange fees
Ramanathan, Kumanan      7/19/2023     0.4   Call with M. Flynn, K. Ramanathan (A&M) and Messari team to
                                             discuss weekly crypto updates
Ramanathan, Kumanan      7/19/2023     0.5   Call with T. Pheelan, D. White, J. Labella (Alex Partners) to discuss
                                             wallet database matters
Ramanathan, Kumanan      7/19/2023     2.4   Prepare updated crypto asset management materials

Schlam Batista, Sharon   7/19/2023     1.9   Build an schedule for all the FTX EU total mapped users in original
                                             coins
Schlam Batista, Sharon   7/19/2023     2.9   Map pending users of the bank statements of FTX EU Ltd


Schlam Batista, Sharon   7/19/2023     1.8   Update the trading book file of FTX EU based on the recently
                                             mapped users
Schlam Batista, Sharon   7/19/2023     1.8   Build an schedule for all the FTX EU unmapped users in euros


Sequeira, Joseph         7/19/2023     0.1   Call with D. Hammon, M. Borts, C. MacLean (E&Y), J. Sequeira, D.
                                             Johnston, M. van den Belt (A&M), E. Simpson (S&C) on FTX
                                             financial reporting
Sexton, Rachel           7/19/2023     0.4   Call with H. McGoldrick re priorities and action points for wind-down
                                             of multiple Singapore and Cyprus subsidiaries
Sexton, Rachel           7/19/2023     0.6   Call with H. McGoldrick, J. Casey and J. Collis re: Quoine & Zubr
                                             next steps
Sexton, Rachel           7/19/2023     0.2   Discuss Cyprus insolvency experience with the team for wind down
                                             strategy consideration
Sexton, Rachel           7/19/2023     2.1   Review of standard liquidation questionnaire for Quoine Pte Ltd and
                                             prepare correspondence re: next steps
Sexton, Rachel           7/19/2023     0.2   Review Quoine Pte liquidation checklist and prepare correspondence

Simkins, Maximilian      7/19/2023     0.3   Teleconference with M. Simkins, K. Dusendschon, M. Haigis (A&M)
                                             to discuss status of kyc tasks
Simkins, Maximilian      7/19/2023     0.2   Teleconference with M. Simkins, M. Haigis (A&M) to discuss status
                                             of kyc tasks


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Simkins, Maximilian     7/19/2023     0.9   Strategize to make a list of sample context KYC hits for different
                                            support ticket categories
Simkins, Maximilian     7/19/2023     0.6   Prepare code for a list of sample context KYC hits for different
                                            support ticket categories
Simkins, Maximilian     7/19/2023     0.2   Teleconference with M. Simkins, M. Haigis (A&M) to discuss
                                            updates to support messages task in preparation for upcoming
                                            meeting
Simoneaux, Nicole       7/19/2023     0.3   Call with G. Walia and N. Simoneaux (A&M) re: employee wallet
                                            tracing diligence request
Sivapalu, Anan          7/19/2023     0.3   Call with A. Sivapalu and G. Walia (A&M) regarding coin data
                                            progress
Sivapalu, Anan          7/19/2023     0.2   Call with A. Sivapalu and K. Montague (A&M) regarding due
                                            diligence items related to spreads
Sivapalu, Anan          7/19/2023     0.5   Call with A. Sivapalu, G. Walia, K. Montague (A&M) and P. Lee
                                            (FTX) regarding due diligence requests
Slay, David             7/19/2023     1.5   Working session with D. Slay, C. Stockmeyer (A&M) re: professional
                                            tracker summary
Stockmeyer, Cullen      7/19/2023     0.5   Meeting with L. Iwanski, L. Lambert, L. Callerio, C. Stockmeyer
                                            (A&M) re: crypto tracing update call
Stockmeyer, Cullen      7/19/2023     1.1   Investigate certain token IPO / auction process for venture
                                            investment
Stockmeyer, Cullen      7/19/2023     0.6   Finalize certain user request tracker to consolidate known
                                            information
Stockmeyer, Cullen      7/19/2023     1.1   Update crypto tracing professional tracker regarding new data
                                            provided to certain law enforcement personnel
Stockmeyer, Cullen      7/19/2023     1.5   Working session with D. Slay, C. Stockmeyer (A&M) re: professional
                                            tracker summary
Stockmeyer, Cullen      7/19/2023     0.6   Review crypto tracing report related to certain venture investment
                                            updated by Q. Lowdermilk (A&M)
Stockmeyer, Cullen      7/19/2023     2.1   Review report related to certain venture investment at request of L.
                                            Callerio (A&M)
Sunkara, Manasa         7/19/2023     1.8   Correspond with internal A&M to explain negative balances and USD
                                            exchange rates
Sunkara, Manasa         7/19/2023     0.9   Correspond with S&C to confirm their request on extracting certain
                                            trading data
Sunkara, Manasa         7/19/2023     2.7   Cross reference account id's provided by S&C to the list of 28
                                            entities
Sunkara, Manasa         7/19/2023     0.8   Quality check SQL scripts to search wallet addressees for an
                                            internal investigation
Sunkara, Manasa         7/19/2023     2.9   Search SQL database for user accounts associated with 28 entities
                                            for an S&C investigation
Sunkara, Manasa         7/19/2023     0.3   Update internal tracker to accurately reflect the status of data
                                            requests
Sunkara, Manasa         7/19/2023     1.1   Call with M. Sunkara, J. Chan, K. Baker, L. Konig, J. Zatz, G. Walia
                                            (A&M) to discuss updated preference analysis logic


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Business Operations
Professional                Date    Hours     Activity
Sunkara, Manasa         7/19/2023     0.5   Call with M. Sunkara, D. Wilson, J. Chan, P. Kwan, L. Konig, K.
                                            Baker, R. Johnson, J. Zatz (A&M) to discuss data requests and
                                            issues
Titus, Adam             7/19/2023     0.2   Call with A. Titus, S. Glustein, K. Ramanathan (A&M) to discuss
                                            ledger prime crypto
van den Belt, Mark      7/19/2023     2.4   Prepare financial trial balance analysis of FTX Japan and Quoine
                                            Pte Ltd
van den Belt, Mark      7/19/2023     1.1   Review questionnaire for Gibraltar wind down

van den Belt, Mark      7/19/2023     1.4   Review intercompany matrix comparison for FTX rest of world
                                            entities
van den Belt, Mark      7/19/2023     0.8   Prepare topics on FTX wind down entities for discussion with E&Y

van den Belt, Mark      7/19/2023     0.7   Call with E. Simpson, O. de Vito Piscicelli (S&C), M. Hadjigavriel, O.
                                            Adamidou (ATS), G. Balmelli, D. Johnston, M. van den Belt (A&M)
                                            on FTX EU Ltd return of customer funds
van den Belt, Mark      7/19/2023     0.4   Prepare correspondence on Quoine Pte Ltd positions with FTX
                                            Trading Ltd
van den Belt, Mark      7/19/2023     0.6   Prepare correspondence on intercompany positions of FTX Japan
                                            and Quoine Pte Ltd
van den Belt, Mark      7/19/2023     0.9   Prepare correspondence on entities considered for wind down
                                            protocol
van den Belt, Mark      7/19/2023     1.2   Prepare and plan analysis on FTX EU customer balance waterfall
                                            changes
van den Belt, Mark      7/19/2023     1.0   Call with S. Kojima (FTX), E. Simpson, J. Simpson (S&C), D.
                                            Johnston, M. van den Belt (A&M) on Quoine Pte Ltd balance sheet
                                            entries
van den Belt, Mark      7/19/2023     0.1   Call with D. Hammon, M. Borts, C. MacLean (E&Y), J. Sequeira, D.
                                            Johnston, M. van den Belt (A&M), E. Simpson (S&C) on FTX
                                            financial reporting
van den Belt, Mark      7/19/2023     0.5   Call with D. Hammon, M. Borts, C. MacLean (E&Y), D. Johnston, M.
                                            van den Belt (A&M) on FTX wind down manners
van den Belt, Mark      7/19/2023     0.2   Call with E. Simpson, T. Hill (S&C), M. Lambrianou, M. Athinodorou,
                                            N. Ziourti (FTX), M. Hadjigavriel (ATS), G. Balmelli, D. Johnston, M.
                                            van den Belt (A&M) on FTX EU matters
van den Belt, Mark      7/19/2023     0.3   Prepare correspondence on NDA for FTX Singapore with identified
                                            liquidator
Walia, Gaurav           7/19/2023     0.6   Prepare an analysis summarizing the derivates and post-petition
                                            transaction activity on the exchange for the UCC
Walia, Gaurav           7/19/2023     0.9   Review the CM pricing assumptions and provide feedback

Walia, Gaurav           7/19/2023     0.3   Call with A. Sivapalu and G. Walia (A&M) regarding coin data
                                            progress
Walia, Gaurav           7/19/2023     0.5   Call with A. Sivapalu, G. Walia, K. Montague (A&M) and P. Lee
                                            (FTX) regarding due diligence requests
Walia, Gaurav           7/19/2023     0.3   Call with G. Walia and N. Simoneaux (A&M) re: employee wallet
                                            tracing diligence request

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Professional                Date    Hours     Activity
Walia, Gaurav           7/19/2023     1.3   Review a preference analysis of specific customers and provide
                                            feedback
Wall, Guy               7/19/2023     0.3   Review Correspondence with R. Kanaan (Kanaan & Associates)
                                            related to liquidation requirements of FTX Exchange FZE
Wall, Guy               7/19/2023     0.3   Review with R.Arbid (A&M) on liquidation requirements for FTX
                                            Exchange FZE
Wilson, David           7/19/2023     0.9   Complete analysis on data request for account details related to
                                            wallet addresses supplied for internal data request
Wilson, David           7/19/2023     0.5   Call with M. Sunkara, D. Wilson, J. Chan, P. Kwan, L. Konig, K.
                                            Baker, R. Johnson, J. Zatz (A&M) to discuss data requests and
                                            issues
Wilson, David           7/19/2023     2.1   Wrote function to streamline connecting to database and cloud file
                                            storage
Wilson, David           7/19/2023     2.7   Organize and enhanced main function to increase flexibility by giving
                                            users options to choose from the possible tool actions
Wilson, David           7/19/2023     2.9   Separate export function from main function in separate script to
                                            improve tool flexibility
Zatz, Jonathan          7/19/2023     2.1   Search for previous data requests relating to specific wallet provider
                                            per Alix request
Zatz, Jonathan          7/19/2023     0.5   Call with M. Sunkara, D. Wilson, J. Chan, P. Kwan, L. Konig, K.
                                            Baker, R. Johnson, J. Zatz (A&M) to discuss data requests and
                                            issues
Zhang, Qi               7/19/2023     1.1   Perform daily review of Sumsub system auto approve cases to
                                            record down issues identified for 19 July 2023
Zhang, Qi               7/19/2023     1.7   Perform daily review of Sumsub system auto rejection cases to
                                            record down issues identified for 19 July 2023
Zhang, Qi               7/19/2023     1.2   Perform daily review of Sumsub system manual escalation cases to
                                            record down issues identified for 19 July 2023
Zhang, Qi               7/19/2023     1.1   Perform daily review of Integreon manual review team's work to
                                            record down issues identified for 19 July 2023
Zhang, Qi               7/19/2023     1.3   Draft review strategy on different KYC cases as part of manual
                                            review daily teaching session 19 July 2023
Zhang, Qi               7/19/2023     0.3   Check if issues identified in daily quality check has been fixed by
                                            Integreon manual team 19 July 2023
Zhang, Qi               7/19/2023     1.3   Perform daily review of Sumsub rejection cases due to duplicates
                                            and AML screening hits to record down issues identified for 19 July
                                            2023
Arbid, Rami             7/20/2023     0.2   Call with M. van den Belt (A&M) related to FTX Dubai steps


Arbid, Rami             7/20/2023     0.1   Prepare correspondence with M. van den Belt (A&M) related to FTX
                                            Dubai steps
Arbid, Rami             7/20/2023     0.1   Prepare correspondence with B. Danhach (FTX) related to VARA


Arnett, Chris           7/20/2023     0.1   Call with C. Arnett and L. Callerio (A&M) re: Embed wind down




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Professional              Date    Hours     Activity
Baker, Kevin          7/20/2023     0.8   Create reporting metrics and summaries around supplemental
                                          balance and KYC productions delivered to S&C
Baker, Kevin          7/20/2023     2.7   Investigate transactions for a specific insider account to report to
                                          counsel
Baker, Kevin          7/20/2023     2.8   Analyze customer accounts and transactions relating to a subpoena
                                          request from the IRS for the western district of Virginia
Baker, Kevin          7/20/2023     2.4   Extract transaction records for specific customers related to wallet
                                          address for a subpoena request from the northern district of Ohio
Baker, Kevin          7/20/2023     2.1   Develop language summary around customer balances and the
                                          methodology used to calculate account balances around negative
                                          balances
Baker, Kevin          7/20/2023     0.3   Teleconference with B. Harsch (S&C), K. Baker, M. Haigis, and K.
                                          Dusendschon (A&M) to discuss balance calculations and KYC
                                          requests
Balmelli, Gioele      7/20/2023     0.6   Call with D. Knezevic (HB) and G. Balmelli (A&M) on FTX Europe
                                          AG main assets and liabilities (follow-up)
Balmelli, Gioele      7/20/2023     0.3   Call with J. Bavaud (FTX) and G. Balmelli (A&M) on the preparation
                                          of intercompany receivables overview
Balmelli, Gioele      7/20/2023     1.1   Call with J. Bavaud (FTX), R. Hoskins (RLKS), D. Mosdzin, M. Borts,
                                          N .Hernandez, V. Bouza (EY) and G. Balmelli (A&M) on the
                                          preparation of MOR Timeline
Balmelli, Gioele      7/20/2023     1.4   Prepare correspondence re FTX Europe AG main liabilities

Balmelli, Gioele      7/20/2023     1.4   Prepare intercompany receivables overview analysis for FTX Europe


Balmelli, Gioele      7/20/2023     0.4   Review (final) Swiss Administrator 19. Aug meeting minutes

Balmelli, Gioele      7/20/2023     2.8   Update FTX Europe AG FTX.com account balance overview for
                                          Swiss administrator
Callerio, Lorenzo     7/20/2023     0.1   Call with C. Arnett and L. Callerio (A&M) re: Embed wind down

Callerio, Lorenzo     7/20/2023     0.9   Review the crypto tracing correspondence received today

Casey, John           7/20/2023     0.4   Call with M van den Belt and J Collis to review subsidiary information
                                          available on Box
Casey, John           7/20/2023     2.1   Review of information on Box in relation to various European and
                                          Rest of World subsidiaries
Casey, John           7/20/2023     0.3   Call with J Collis to discuss liquidation planning for Europe and Rest
                                          of World entities
Chambers, Henry       7/20/2023     0.6   Follow up on status of FTX Japan KK Audit

Chan, Jon             7/20/2023     1.1   Update templates based on new preference analysis logic


Chan, Jon             7/20/2023     2.1   Investigate wallet activity related to additional entities for S&C
                                          internal investigation



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Professional                Date     Hours     Activity
Collis, Jack             7/20/2023     2.1   Prepare first draft of standard liquidation questionnaire for FTX
                                             Japan Services KK and prepare correspondence in relation to same
Collis, Jack             7/20/2023     0.5   Call with M van den Belt and J Casey re subsidiary information
                                             available on Box
Collis, Jack             7/20/2023     0.3   Call with J Casey to coordinate priorities in relation to wind-down of
                                             European and RoW subsidiaries
Corr, Caoimhe            7/20/2023     1.5   Prepare all European entity claims report summary as of 20th July
                                             live report
Corr, Caoimhe            7/20/2023     0.5   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                             Dalgleish (A&M) to discuss strategic options' priorities for Rest of
                                             World Entities and updates on cash flow forecast for European
                                             entities
Dalgleish, Elizabeth     7/20/2023     1.7   Prepare slide summarizing latest balance sheet and bank account
                                             balances available for PT Triniti Investama Berkat (Bitocto)
Dalgleish, Elizabeth     7/20/2023     0.8   Prepare slide one-pager template to set out key financials and
                                             information for dormant entities to be considered to wind down
Dalgleish, Elizabeth     7/20/2023     2.6   Prepare bank account and balances analysis as of 7 July for
                                             dormant entities to be considered to wind down
Dalgleish, Elizabeth     7/20/2023     2.8   Prepare balance sheet analysis for dormant entities to be
                                             considered to wind down
Dalgleish, Elizabeth     7/20/2023     0.5   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                             Dalgleish (A&M) to discuss strategic options' priorities for Rest of
                                             World Entities and updates on cash flow forecast for European
                                             entities
Dennison, Kim            7/20/2023     0.4   Attend meeting with A Lawson regarding strategy for One Cable
                                             Beach (FTX Property Holdings)
Dennison, Kim            7/20/2023     0.3   Meet with W Paterson (A&M) regarding liquidation value analysis for
                                             Bahamas Properties
Dusendschon, Kora        7/20/2023     0.3   Teleconference with B. Harsch (S&C), K. Baker, M. Haigis, and K.
                                             Dusendschon (A&M) to discuss balance calculations and KYC
                                             requests
Dusendschon, Kora        7/20/2023     0.3   Compile weekly deck for meeting with R. Perubhatla (FTX) and
                                             provide to team for feedback
Haigis, Maya             7/20/2023     0.4   Review output for support tickets that mention KYC

Haigis, Maya             7/20/2023     0.6   Review script to create customer overlay for Relativity

Haigis, Maya             7/20/2023     0.3   Teleconference with B. Harsch (S&C), K. Baker, M. Haigis, and K.
                                             Dusendschon (A&M) to discuss balance calculations and KYC
                                             requests
Haigis, Maya             7/20/2023     0.2   Prepare talking points regarding Refinitiv analysis for upcoming call

Heric, Andrew            7/20/2023     2.6   Gather sub-category specifics regarding the type of counterparty in
                                             over 1,000 transfers related to request 97
Heric, Andrew            7/20/2023     1.8   Summarize identified activity within a summary schedule for each
                                             address of concern



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Heric, Andrew         7/20/2023     1.4   Finalize gathering and recording over 4,200 crypto transactions of
                                          concern
Heric, Andrew         7/20/2023     2.1   Conduct initial crypto tracing of two addresses of concern related to
                                          request 97
Heric, Andrew         7/20/2023     0.2   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                          priorities
Johnson, Robert       7/20/2023     0.9   Migrate requested table data from Athena database catalog to CSV
                                          files for loading to RDS
Johnson, Robert       7/20/2023     1.1   Review RDS activity to identify any issues preventing timely
                                          completion of analysis queries
Johnson, Robert       7/20/2023     0.7   Disable unused accounts on FTX COM looker instance to reduce
                                          possible login vectors
Johnson, Robert       7/20/2023     0.8   Disable additional accounts on FTX US looker instance to reduce
                                          the possible logins
Johnson, Robert       7/20/2023     0.7   Apply upgrades to old orders RDS instance in AP-NORTHEAST-1
                                          vpc
Johnson, Robert       7/20/2023     0.4   Apply updates to Turkey RDS instance in AP-NORTHEAST-1 region


Johnson, Robert       7/20/2023     0.7   Apply security updates to OpenVPN server in AWS VPC to ensure
                                          security of server
Johnson, Robert       7/20/2023     0.6   Apply updates to current orders RDS instance in AP-NORTHEAST-1
                                          region
Johnston, David       7/20/2023     0.5   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                          Dalgleish (A&M) to discuss strategic options' priorities for Rest of
                                          World Entities and updates on cash flow forecast for European
                                          entities
Johnston, David       7/20/2023     0.7   Review and analyze next steps for Zubr Exchange wind down
                                          questionnaire
Johnston, David       7/20/2023     1.1   Review and analyze next steps for FTX Singapore wind down
                                          questionnaire
Johnston, David       7/20/2023     0.2   Call with J. Eckhart (Falkensteg), D. Johnston, M. van den Belt
                                          (A&M) on FTX Trading GmbH wind down matters
Johnston, David       7/20/2023     2.3   Analyze FTX EU Ltd. customer prioritization model and assess
                                          changes required to update for latest prioritization
Konig, Louis          7/20/2023     2.1   Database scripting related to support ticket database research in
                                          support of wallet address lookup request
Konig, Louis          7/20/2023     1.9   Quality control and review of output related to diligence requests
                                          related to historical customer balances
Konig, Louis          7/20/2023     2.1   Documentation of findings related to diligence requests related to
                                          historical customer balances
Konig, Louis          7/20/2023     1.9   Database scripting related to diligence requests related to historical
                                          customer balances
Konig, Louis          7/20/2023     1.2   Quality control and review of output related to support ticket
                                          database research in support of wallet address lookup request
Kwan, Peter           7/20/2023     2.3   Develop preliminary queries for pulling data related to customer
                                          orders in relation to due diligence questions

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Professional               Date     Hours     Activity
Kwan, Peter             7/20/2023     1.3   Finalize script to execute automate reconciliation process between
                                            wallet address tracking database and NSS database in preparation
                                            for subsequent runs
Kwan, Peter             7/20/2023     1.4   Research potential sources of data to respond to multi-part diligence
                                            questions related to exchange performance
Kwan, Peter             7/20/2023     0.9   Perform adhoc query support to quality check KYC information
                                            related to customers with missing email or identifying information
Kwan, Peter             7/20/2023     1.2   Research customers with negative balances to quality check
                                            reported balance to customer portal
Kwan, Peter             7/20/2023     0.4   Coordinate with FTX developers to plan out responses to multi-part
                                            diligence questions related to exchange performance
Lam, James              7/20/2023     0.6   Call with J. Lam and S. Li (A&M) to discuss the factors that should
                                            be considered when assessing the significance of FTX Japan to FTX
                                            group
Lam, James              7/20/2023     2.4   Review the content and the presentation of a new reporting template
                                            for FTX Japan
Lam, James              7/20/2023     1.4   Prepare a summary deck on FTX Japan's significance to the FTX
                                            Group
Lam, James              7/20/2023     0.7   Calls with J. Lam and J. Yan (A&M) regarding the token migration
                                            and withdrawal records for FTX Japan
Lawson, Alex            7/20/2023     0.4   Attend meeting with A Lawson regarding strategy for One Cable
                                            Beach (FTX Property Holdings)
Lee, Julian             7/20/2023     0.1   Prepare inquiry related to failed wire to Kroll on petition date from
                                            West Realm Shires Inc
Lee, Julian             7/20/2023     0.1   Correspond with debtor regarding Plaid data

Li, Summer              7/20/2023     0.2   Update the presentation on FTX Japan K.K. regarding its trading
                                            volume and users as compared to the FTX Group
Li, Summer              7/20/2023     1.1   Review the updates made on the presentation of FTX Japan K.K

Li, Summer              7/20/2023     0.6   Review the investment deck of FTX Japan Holdings K.K


Li, Summer              7/20/2023     0.6   Call with J. Lam and S. Li (A&M) to discuss the factors that should
                                            be considered when assessing the significance of FTX Japan to FTX
                                            group
Li, Summer              7/20/2023     0.6   Update the presentation on FTX Japan K.K regarding the size of
                                            Japan crypto market in terms of revenue
Lowdermilk, Quinn       7/20/2023     0.6   Prepare crypto tracing request 110 analysis file with identified
                                            transactions
Lowdermilk, Quinn       7/20/2023     2.2   Trace the flow of funds for tokens held in cold storage to identify
                                            source
Lowdermilk, Quinn       7/20/2023     0.2   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                            priorities
Lowdermilk, Quinn       7/20/2023     2.6   Blockchain research for transactions tied to crypto tracing request
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Lowdermilk, Quinn      7/20/2023     0.6   Call with Q. Lowdermilk and I. Radwanski (A&M) regarding identified
                                           crypto tracing activity
Lowdermilk, Quinn      7/20/2023     2.1   Outline identified token purchase agreement to see if related to cold
                                           storage funds
McGoldrick, Hugh       7/20/2023     0.4   Call with J. Collis, H. McGoldrick, J. Casey, M. van den Belt (A&M)
                                           on FTX financials
McGoldrick, Hugh       7/20/2023     1.1   Review of Singapore entities and emails to A&M team on liquidation
                                           considerations and next steps
McGoldrick, Hugh       7/20/2023     0.4   Further review of Grant Thornton engagement letter and discussions
                                           with team
McGoldrick, Hugh       7/20/2023     0.3   Update standard liquidation questionnaire for Zubr Exchange Ltd
                                           following review
Montague, Katie        7/20/2023     0.3   Call with A. Sivapalu and K. Montague (A&M) regarding due
                                           diligence items related to exchange data
Mosley, Ed             7/20/2023     0.6   Review of draft KPI template for FTX Japan

Mosley, Ed             7/20/2023     0.2   Discuss coin management next steps with S.Simms (FTI)


Paterson, Warren       7/20/2023     0.3   Attend call with K Dennison (A&M) regarding Bahamas Properties
                                           liquidation value assessment for FTI
Paterson, Warren       7/20/2023     0.6   Preparation of FTX Bahamas Properties liquidation value
                                           assessment for FTI
Paterson, Warren       7/20/2023     0.6   Attend call with M Walden, A Tantleff, N Kang (FTI), K Dennison
                                           (A&M) regarding Bahamas Properties strategy
Radwanski, Igor        7/20/2023     0.6   Call with Q. Lowdermilk and I. Radwanski (A&M) regarding identified
                                           crypto tracing activity
Radwanski, Igor        7/20/2023     1.8   Extract key information from blockchain analytics tool related to
                                           Request 110
Radwanski, Igor        7/20/2023     2.9   Identify relevant token agreements related to Request 110

Radwanski, Igor        7/20/2023     2.8   Trace token transfers from cold storage to their source


Ramanathan, Kumanan    7/20/2023     0.3   Correspond with market makers on onboarding activities

Ramanathan, Kumanan    7/20/2023     0.4   Review of BitGo side letter for bridging activities and provide
                                           feedback
Ramanathan, Kumanan    7/20/2023     0.4   Call with S. Kurz (Galaxy) to discuss updated crypto asset
                                           management service pricing and review of e-mail correspondence
Ramanathan, Kumanan    7/20/2023     0.3   Call with H. Nachmias (Sygnia) to discuss wallet time series Bitcoin
                                           change addresses
Ramanathan, Kumanan    7/20/2023     0.3   Call with G. Walia (A&M) to discuss execution method for crypto
                                           asset management services
Ramanathan, Kumanan    7/20/2023     0.3   Correspond with market makers on supportable crypto asset trading
                                           schedule




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Ramanathan, Kumanan      7/20/2023     1.3   Prepare updated analysis on bridging activity for crypto assets

Schlam Batista, Sharon   7/20/2023     0.5   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                             Dalgleish (A&M) to discuss strategic options' priorities for Rest of
                                             World Entities and updates on cash flow forecast for European
                                             entities
Schlam Batista, Sharon   7/20/2023     1.9   Validate and review changes of previous vs. new methodology of
                                             FTX EU trading book
Schlam Batista, Sharon   7/20/2023     2.6   Build an schedule for all the FTX EU total mapped users in original
                                             euros
Schlam Batista, Sharon   7/20/2023     2.6   Run the trading book analysis using bank statements data as base
                                             for fiat transactions for FTX EU Ltd customers
Sexton, Rachel           7/20/2023     0.1   Consider engagement mechanics for Insolvency Practitioner in
                                             Singapore for wind down of Singapore subsidiaries
Simkins, Maximilian      7/20/2023     1.2   Create script to update master listing of KYC information for users

Simkins, Maximilian      7/20/2023     0.2   Review information for specific user checking that information being
                                             discussed in an email is correct
Simkins, Maximilian      7/20/2023     1.6   Prepare code to make a list of sample context KYC hits for different
                                             support ticket categories
Simkins, Maximilian      7/20/2023     0.7   Strategize approach for creating an updated master listing of KYC
                                             information for users
Simkins, Maximilian      7/20/2023     0.2   Prepare a set of possible mappings for master listing of KYC
                                             information
Simkins, Maximilian      7/20/2023     0.9   Review list of sample context KYC hits for completeness

Sivapalu, Anan           7/20/2023     0.1   Call with A. Sivapalu and G. Walia (A&M) regarding customer
                                             analytics summaries
Sivapalu, Anan           7/20/2023     0.3   Call with A. Sivapalu and K. Montague (A&M) regarding due
                                             diligence items related to exchange data
Sivapalu, Anan           7/20/2023     0.5   Call with A. Sivapalu, G. Walia (A&M) and P. Lee (FTX) regarding
                                             due diligence requests on new dataset on pairs data
Sivapalu, Anan           7/20/2023     0.9   Call with A. Sivapalu, G. Walia (A&M), E. Domi, S. Gaygle and I.
                                             McLaughlin (CoinMetrics) regarding price retrieval
Stegenga, Jeffery        7/20/2023     0.6   Review of latest draft of non-customer/exchange cash preference
                                             analysis and follow-up
Stockmeyer, Cullen       7/20/2023     2.2   Consolidate learned information from various crypto tracing reports

Stockmeyer, Cullen       7/20/2023     0.8   Update transaction status report based on additional requests
                                             related to law enforcement personnel
Sunkara, Manasa          7/20/2023     1.2   Query to extract all otc fills for a list of user accounts during a
                                             specific time period for S&C
Sunkara, Manasa          7/20/2023     0.9   Query to extract the one year preference period for a certain
                                             individual
Sunkara, Manasa          7/20/2023     2.7   Investigate debtor wallet addresses and accounts associated with an
                                             entity for a lender analysis

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Professional              Date    Hours     Activity
Sunkara, Manasa       7/20/2023     3.1   Extract all transactions associated with confirmed users for a lender
                                          analysis
Sunkara, Manasa       7/20/2023     0.6   Correspond with S&C to confirm which data extracts relate to the
                                          cash records database
Sunkara, Manasa       7/20/2023     1.4   Calculate summary statistics of user accounts on the ftx.com
                                          platform for an adversarial claim
Sunkara, Manasa       7/20/2023     2.2   Analyze the wallet address activity to uncover additional users of
                                          interest
van den Belt, Mark    7/20/2023     0.6   Prepare and plan dormant entity presentation on FTX rest of world
                                          entities
van den Belt, Mark    7/20/2023     0.6   Review financial slide on Bitocto entity

van den Belt, Mark    7/20/2023     2.1   Prepare updated status presentation on wind down entities for
                                          meeting on July 21
van den Belt, Mark    7/20/2023     1.6   Prepare updated schedule on bank account nature of accounts
                                          having received EU customer deposits
van den Belt, Mark    7/20/2023     3.1   Prepare updated analysis on customer balances waterfall for FTX
                                          EU Ltd
van den Belt, Mark    7/20/2023     0.2   Prepare correspondence on financials of Alameda subsidiaries

van den Belt, Mark    7/20/2023     1.1   Review analysis on net deposits per user by FTX EU Ltd bank
                                          accounts
van den Belt, Mark    7/20/2023     0.2   Call with J. Eckhart (Falkensteg), D. Johnston, M. van den Belt
                                          (A&M) on FTX Trading GmbH wind down matters
van den Belt, Mark    7/20/2023     0.4   Call with J. Collis, H. McGoldrick, J. Casey, M. van den Belt (A&M)
                                          on FTX financials
van den Belt, Mark    7/20/2023     0.5   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                          Dalgleish (A&M) to discuss strategic options' priorities for Rest of
                                          World Entities and updates on cash flow forecast for European
                                          entities
van den Belt, Mark    7/20/2023     0.3   Prepare correspondence related to purchaser claim of Bitocto entity


Walia, Gaurav         7/20/2023     0.3   Call with M. Diodato (FTI) to discuss CM pricing assumptions

Walia, Gaurav         7/20/2023     1.9   Update the pricing assumptions into the latest asset valuation model


Walia, Gaurav         7/20/2023     1.4   Review the preliminary exchange coin balances file and provide
                                          feedback
Walia, Gaurav         7/20/2023     2.6   Prepare an updated summary schedule of customer entitlements by
                                          legal entity
Walia, Gaurav         7/20/2023     0.9   Prepare an analysis of tokens requiring input from JST


Walia, Gaurav         7/20/2023     2.3   Import updated coins report balances into latest asset valuation
                                          model
Walia, Gaurav         7/20/2023     2.8   Finalize the asset valuation model for review


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Professional             Date     Hours     Activity
Walia, Gaurav         7/20/2023     0.3   Call with K. Ramanathan, G. Walia (A&M) to discuss execution
                                          method for crypto asset management services
Walia, Gaurav         7/20/2023     0.2   Call with G. Walia and L. Callerio (A&M) re: FTX2.0 diligence process


Walia, Gaurav         7/20/2023     0.9   Call with A. Sivapalu, G. Walia (A&M), E. Domi, S. Gaygle and I.
                                          McLaughlin (CoinMetrics) regarding price retrieval
Walia, Gaurav         7/20/2023     0.5   Call with A. Sivapalu, G. Walia (A&M) and P. Lee (FTX) regarding
                                          due diligence requests on new dataset on pairs data
Walia, Gaurav         7/20/2023     0.1   Call with A. Sivapalu and G. Walia (A&M) regarding customer
                                          analytics summaries
Walker, William       7/20/2023     0.8   Correspond with token issuer regarding outstanding token claiming
                                          procedures
Walker, William       7/20/2023     0.4   Correspond with token issuer regarding token claiming procedures


Walker, William       7/20/2023     0.6   Correspond with token issuer regarding transferred tokens

Walker, William       7/20/2023     0.5   Correspond with Y. Yogev (Sygnia) regarding token claiming


Wilson, David         7/20/2023     0.9   Debug export results script to organize result spreadsheets into
                                          correct folder structure
Wilson, David         7/20/2023     2.2   Implement changes to data query templates into database functions
                                          (account activity, deposits)
Wilson, David         7/20/2023     2.4   Implement changes to data query templates into database functions
                                          (transfers, withdrawals)
Wilson, David         7/20/2023     2.7   Stress tested database automation query function to ensure
                                          consistent results across multiple data requests
Yan, Jack             7/20/2023     0.7   Calls with J. Lam and J. Yan (A&M) regarding the token migration
                                          and withdrawal records for FTX Japan
Yan, Jack             7/20/2023     0.8   Update the wallet data of FTX Japan and Quoine Pte Ltd

Yan, Jack             7/20/2023     2.1   Amend the fiat and crypto withdrawals of FTX Japan as of 16 July
                                          2023 for FTX Japan regular status report purpose
Zatz, Jonathan        7/20/2023     3.1   Database scripting related to request for OTC trades for list of
                                          specific users
Zhang, Qi             7/20/2023     0.8   Perform daily review of Sumsub system auto rejection cases to
                                          record down issues identified for 20 July 2023
Zhang, Qi             7/20/2023     0.7   Perform daily review of Sumsub system auto approve cases to
                                          record down issues identified for 20 July 2023
Zhang, Qi             7/20/2023     2.2   Review customer KYC details related to customer service KYC link
                                          issue to see if any have been compromised
Zhang, Qi             7/20/2023     0.9   Check if issues identified in daily quality check has been fixed by
                                          Integreon manual team 20 July 2023
Zhang, Qi             7/20/2023     0.3   Clear customer service tickets with Sumsub/portal status
                                          discrepancy cases




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Professional              Date    Hours     Activity
Zhang, Qi             7/20/2023     2.1   Perform daily review of Integreon manual review team's work to
                                          record down issues identified for 20 July 2023
Baker, Kevin          7/21/2023     0.3   Teleconference with K. Dusendschon, K. Baker, M. Sunkara, M.
                                          Simkins, M. Haigis, C. Radis, P. Kwan, D. Wilson, J. Zatz (A&M) to
                                          go through action items, pending requests and workstreams
Baker, Kevin          7/21/2023     0.7   Working session w/ K. Baker & J. Zatz (A&M) re: consolidation of
                                          data request issues for review
Baker, Kevin          7/21/2023     2.6   Follow up to the methodology on reporting Earn and balance
                                          summary for the US State subpoena requests
Baker, Kevin          7/21/2023     2.4   Extract customer accounts and balance summary data relating to
                                          user accounts located in the US to support the States subpoena
                                          requests
Baker, Kevin          7/21/2023     2.9   Develop methodology to respond to US States subpoena requests
                                          and the customer balances and summary reports
Baker, Kevin          7/21/2023     1.3   Investigate KYC documents and AWS data related a specific
                                          customer relating to a subpoena request from the USAO of Maryland
Balmelli, Gioele      7/21/2023     0.8   Prepare correspondence re entity name of the receiver of the FTX
                                          Europe AG loan
Balmelli, Gioele      7/21/2023     2.8   Analyze FTX Europe AG FTX.com balance development

Balmelli, Gioele      7/21/2023     0.3   Call with E. Simpson (S&C), M. Athinodorou, M. Lambrianou, N.
                                          Ziourti (FTX), D. Johnston, G. Balmelli, M. van den Belt (A&M) on
                                          FTX EU matters
Balmelli, Gioele      7/21/2023     2.6   Analyze intercompany receivables at FTX Europe AG


Balmelli, Gioele      7/21/2023     1.8   Prepare correspondence re FTX Europe AG FTX.com balance
                                          development
Callerio, Lorenzo     7/21/2023     0.3   Review and approve REQ110 Cold Storage Token Analysis
                                          materials prepared by Q. Lowdermilk (A&M)
Callerio, Lorenzo     7/21/2023     0.9   Crypto tracing correspondence review

Callerio, Lorenzo     7/21/2023     0.3   Meeting with L. Lambert, L. Iwanski, L. Callerio, A. Heric (A&M) re:
                                          crypto tracing status update
Callerio, Lorenzo     7/21/2023     0.6   Meeting with L. Lambert, L. Iwanski, L. Callerio, A. Heric, Q.
                                          Lowdermilk, I. Radwanski, C. Stockmeyer (A&M) re: crypto tracing
                                          status update
Callerio, Lorenzo     7/21/2023     0.1   Call with D. Hainline and L. Callerio (A&M) re: FTX2.0 diligence items

Callerio, Lorenzo     7/21/2023     0.3   Review and approve the outlining PRT auction prices analysis
                                          prepared by Q. Lowdermilk (A&M)
Casey, John           7/21/2023     1.9   Preparation of standard questionnaire for FTX Japan Services KK

Casey, John           7/21/2023     2.1   Prepare standard European and RoW liquidation questionnaire for
                                          the proposed wind-down of Quoine India Pte Ltd
Casey, John           7/21/2023     0.6   Catch-up call with H McGoldrick and J Collis in relation to next steps
                                          for wind down entities


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Professional                 Date    Hours     Activity
Casey, John              7/21/2023     0.8   Update standard European and RoW liquidation questionnaire for
                                             the wind-down of FTX Japan Services KK, following comments from
                                             R. Sexton
Casey, John              7/21/2023     1.6   Update standard European and RoW liquidation questionnaire for
                                             the wind-down of Quoine India Pte Ltd, following comments from R.
                                             Sexton
Chambers, Henry          7/21/2023     0.6   Follow up on Quoine PTE go-forward plan


Chambers, Henry          7/21/2023     0.2   Correspondence regarding KYC weekly meeting record keeping

Chambers, Henry          7/21/2023     1.8   Review matching engine analysis provided by FTX Japan
                                             management
Chan, Jon                7/21/2023     2.2   Investigate wallet activity related to specific entity for S&C internal
                                             investigation
Chan, Jon                7/21/2023     0.9   Investigate activity related to fiat deposits made on the exchange for
                                             A&M internal loan investigation
Chan, Jon                7/21/2023     1.1   Investigate accounts related to specific entity for A&M internal
                                             avoidance request
Collis, Jack             7/21/2023     0.9   Review Box for information on Quoine India, assist J Casey with
                                             preparation of the liquidation checklist
Collis, Jack             7/21/2023     0.4   Update draft liquidation questionnaire / information request list with
                                             information sources / workbook data for Europe entities
Collis, Jack             7/21/2023     0.8   Update draft liquidation questionnaire / information request list with
                                             information sources for rest of world entities
Collis, Jack             7/21/2023     0.6   Update standard liquidation questionnaire for FTX Japan Services
                                             KK following review
Collis, Jack             7/21/2023     0.5   Catch-up call with H McGoldrick and J Collis in relation to next steps


Corr, Caoimhe            7/21/2023     0.6   Correspondence with storage unit for Zubr exchange

Corr, Caoimhe            7/21/2023     0.2   Participate in call with D. Johnston, M. Van den Belt, C.Corr, S.
                                             Schlam, E. Dalgleish (A&M) to discuss FTX EU customers' final
                                             balances and trading book new methodology
Dalgleish, Elizabeth     7/21/2023     0.2   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                             Dalgleish (A&M) to discuss FTX EU customers' final balances and
                                             trading book new methodology
Dalgleish, Elizabeth     7/21/2023     0.8   Prepare slide summarizing latest balance sheet and bank account
                                             balances available for Cottonwood Grove Ltd
Dennison, Kim            7/21/2023     0.4   Attend call with W Paterson (A&M) to discuss liquidation analysis
                                             requested by FTI regarding Bahamas Properties
Dusendschon, Kora        7/21/2023     0.1   Provide status update on Japan data collections to internal team

Dusendschon, Kora        7/21/2023     0.3   Analyze data inquiry from B. Harsch (S&C) for requests 290 and 308
                                             and confer with team
Dusendschon, Kora        7/21/2023     0.6   Confer with team regarding request from FTX EU to transfer KYC
                                             records


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Dusendschon, Kora      7/21/2023     0.3   Draft weekly AWS and request tracker for R. Perubhatla (FTX)

Dusendschon, Kora      7/21/2023     0.3   Teleconference with K. Dusendschon, K. Baker, M. Sunkara, M.
                                           Simkins, M. Haigis, C. Radis, P. Kwan, D. Wilson, J. Zatz (A&M) to
                                           go through action items, pending requests and workstreams
Dusendschon, Kora      7/21/2023     0.1   Provide status update to R. Perubhatla (FTX) on action items
                                           discussed on prior call
Dusendschon, Kora      7/21/2023     0.5   Teleconference with K. Dusendschon (A&M), B. Bangerter, R.
                                           Perubhatla (FTX), S. McDermott, B. McMahon, A. Vyas, A. Bailey
                                           (FTI), and Z. Flegenheimer (S&C) to discuss status of data
                                           collection and preservation efforts
Dusendschon, Kora      7/21/2023     0.2   Respond to inquiries regarding Cognito data and procurement of
                                           access to conduct analysis
Dusendschon, Kora      7/21/2023     0.3   Teleconference with R. Johnson, K. Dusendschon (A&M) and R.
                                           Perubhatla (FTX) to discuss the status of AWS requests and KYC
                                           related items
Haigis, Maya           7/21/2023     0.9   Review support ticket category sample messages to identify
                                           potential KYC files
Haigis, Maya           7/21/2023     0.3   Teleconference with K. Dusendschon, K. Baker, M. Sunkara, M.
                                           Simkins, M. Haigis, C. Radis, P. Kwan, D. Wilson, J. Zatz (A&M) to
                                           go through action items, pending requests and workstreams
Hainline, Drew         7/21/2023     0.1   Call with D. Hainline and L. Callerio (A&M) re: FTX2.0 diligence items

Helal, Aly             7/21/2023     2.4   Update the cash counterparties with newly spotted updates by the
                                           team
Heric, Andrew          7/21/2023     1.8   Calculate and summarize counterparty data based on identified
                                           crypto interactions
Heric, Andrew          7/21/2023     0.4   Review internal documentation for information regarding addresses
                                           of concern
Heric, Andrew          7/21/2023     0.6   Meeting with L. Lambert, L. Iwanski, L. Callerio, A. Heric, Q.
                                           Lowdermilk, I. Radwanski, C. Stockmeyer (A&M) re: crypto tracing
                                           status update
Heric, Andrew          7/21/2023     1.1   Call with L. Lambert, Q. Lowdermilk, A. Heric, and I. Radwanski
                                           (A&M) regarding workstream updates
Heric, Andrew          7/21/2023     2.7   Conduct crypto tracing to identify flow of funds related to two
                                           addresses of interest
Heric, Andrew          7/21/2023     1.1   Create general counterparty categories related to transfer review
                                           request
Heric, Andrew          7/21/2023     0.3   Meeting with L. Lambert, L. Iwanski, L. Callerio, A. Heric (A&M) re:
                                           crypto tracing status update
Iwanski, Larry         7/21/2023     0.3   Review of document related to crypto tracing and the outlining of
                                           auction prices
Iwanski, Larry         7/21/2023     0.3   Meeting with L. Lambert, L. Iwanski, L. Callerio, A. Heric (A&M) re:
                                           crypto tracing status update
Iwanski, Larry         7/21/2023     0.8   Quality review of deliverable related to Request 110




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Professional             Date     Hours     Activity
Iwanski, Larry        7/21/2023     0.8   Review of deliverable related to 5 separate tokens

Iwanski, Larry        7/21/2023     0.2   Review of hack memo analysis from outside vendor


Iwanski, Larry        7/21/2023     0.3   Review of communications related to KYC documents and actions

Johnson, Robert       7/21/2023     0.2   Move circle signet stripe staging table from Cash Schema to Staging
                                          schema on Metabase RDS server
Johnson, Robert       7/21/2023     0.3   Teleconference with R. Johnson, K. Dusendschon (A&M) and R.
                                          Perubhatla (FTX) to discuss the status of AWS requests and KYC
                                          related items
Johnson, Robert       7/21/2023     1.1   Work with Sygnia and Metalab to enable flagging of EU customer
                                          balances to allow for appropriate display of claims buttons
Johnson, Robert       7/21/2023     0.3   Perform quality check on metabase production tables to ensure
                                          complete migration of banking summary data
Johnson, Robert       7/21/2023     0.4   Migrate summary level banking data from staging to production
                                          metabase tables
Johnson, Robert       7/21/2023     1.3   Generate listing of FTX EU categories of customers to allow for
                                          flagging of debtor to balance tie out in customer portal
Johnson, Robert       7/21/2023     0.9   Data import of CSV files exported from Athena database catalog to
                                          RDS database on Alameda Analysis server
Johnson, Robert       7/21/2023     1.3   Create metabase model for Circle Signet Stripe data to allow for
                                          review of transactional data
Johnson, Robert       7/21/2023     0.2   Create backup of metabase production tables in advance of data
                                          migration
Johnson, Robert       7/21/2023     0.6   Apply updates to Govt COM RDS instance to ensure latest patches
                                          are applied
Johnston, David       7/21/2023     0.2   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                          Dalgleish (A&M) to discuss FTX EU customers' final balances and
                                          trading book new methodology
Johnston, David       7/21/2023     0.6   Review employee severance calculation for FTX wind down entity


Johnston, David       7/21/2023     1.2   Review and update summary presentation relating to wind down
                                          entities ahead of working session
Johnston, David       7/21/2023     0.8   Review and update analysis relating to Quoine Pte Ltd., related
                                          correspondence
Johnston, David       7/21/2023     0.3   Call with E. Simpson (S&C), M. Athinodorou, M. Lambrianou, N.
                                          Ziourti (FTX), D. Johnston, G. Balmelli, M. van den Belt (A&M) on
                                          FTX EU matters
Johnston, David       7/21/2023     2.6   Analyze FTX EU Ltd. customer balance positions and prioritization

Johnston, David       7/21/2023     0.7   Review wind down questionnaire and analysis for Quoine India


Johnston, David       7/21/2023     0.5   Call with M. Cilia (FTX), D. Hammon, M Borts (E&Y), E. Simpson, A.
                                          Kranzley (S&C) on FTX wind down matters



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Konig, Louis          7/21/2023     2.1   Documentation of findings related to support ticket database
                                          research in support of wallet address lookup request
Konig, Louis          7/21/2023     1.1   Quality control and review of output related to account-to-
                                          anonymous identifier data extract
Konig, Louis          7/21/2023     1.9   Documentation of findings related to account-to-anonymous
                                          identifier data extract
Konig, Louis          7/21/2023     1.1   Database scripting related to account-to-anonymous identifier data
                                          extract
Konig, Louis          7/21/2023     0.7   Call with M. Sunkara, D. Wilson, P. Kwan, L. Konig (A&M) to discuss
                                          data requests and issues
Kwan, Peter           7/21/2023     0.3   Teleconference with K. Dusendschon, K. Baker, M. Sunkara, M.
                                          Simkins, M. Haigis, C. Radis, P. Kwan, D. Wilson, J. Zatz (A&M) to
                                          go through action items, pending requests and workstreams
Kwan, Peter           7/21/2023     1.8   Develop queries related to pulling geolocation data regarding
                                          customer interactions with the exchange
Kwan, Peter           7/21/2023     1.4   Prepare revised schedule summarizing the current reconciliation
                                          between wallet address database and NSS database
Kwan, Peter           7/21/2023     2.3   Revise preliminary queries for pulling data related to customer
                                          orders from the ftx.com exchange
Kwan, Peter           7/21/2023     0.7   Call with M. Sunkara, D. Wilson, P. Kwan, L. Konig (A&M) to discuss
                                          data requests and issues
Kwan, Peter           7/21/2023     1.9   Continue to develop queries for pulling data related to customer
                                          orders in relation to due diligence questions
Lam, James            7/21/2023     1.7   Consolidate Liquid Global and Japan user information received


Lam, James            7/21/2023     2.3   Identify further data points to confirm customer's correspondence
                                          addresses
Lambert, Leslie       7/21/2023     0.6   Consider information relevant to various crypto tracing efforts in
                                          preparation for meetings and calls
Lambert, Leslie       7/21/2023     0.4   Call with I. Radwanski, Q. Lowdermilk, and L. Lambert (A&M)
                                          discussing updates for Request 110 deliverable
Lambert, Leslie       7/21/2023     0.8   Call with I. Radwanski, Q. Lowdermilk, and L. Lambert (A&M)
                                          discussing edits to final deliverable for Request 110
Lambert, Leslie       7/21/2023     1.7   Review deliverables and supporting documentation responsive to
                                          current crypto tracing requests
Lambert, Leslie       7/21/2023     0.2   Call with L. Lambert, A. Liv-Feyman (A&M) regarding crypto tracing
                                          token request
Lambert, Leslie       7/21/2023     0.4   Call with Q. Lowdermilk and L. Lambert (A&M) regarding the pricing
                                          of token auctions for a select token
Lambert, Leslie       7/21/2023     1.1   Call with L. Lambert, Q. Lowdermilk, A. Heric, and I. Radwanski
                                          (A&M) regarding workstream updates
Lambert, Leslie       7/21/2023     0.9   Review documents and data related to open crypto tracing requests

Lambert, Leslie       7/21/2023     0.3   Meeting with L. Lambert, L. Iwanski, L. Callerio, A. Heric (A&M) re:
                                          crypto tracing status update


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Lambert, Leslie        7/21/2023     0.6   Meeting with L. Lambert, L. Iwanski, L. Callerio, A. Heric, Q.
                                           Lowdermilk, I. Radwanski, C. Stockmeyer (A&M) re: crypto tracing
                                           status update
Li, Summer             7/21/2023     1.4   Review the updates made on the presentation of FTX Japan K.K
                                           regarding its significance to FTX Japan
Li, Summer             7/21/2023     0.1   Correspondence with the team regarding the financial statements of
                                           Quoine Pte in FY2021
Li, Summer             7/21/2023     0.6   Summarize the disagreements regarding FTT loan option of FTX
                                           Japan K.K
Lowdermilk, Quinn      7/21/2023     0.4   Call with Q. Lowdermilk and L. Lambert (A&M) regarding the pricing
                                           of token auctions for a select token
Lowdermilk, Quinn      7/21/2023     1.1   Call with L. Lambert, Q. Lowdermilk, A. Heric, and I. Radwanski
                                           (A&M) regarding workstream updates
Lowdermilk, Quinn      7/21/2023     0.4   Call with I. Radwanski, Q. Lowdermilk, and L. Lambert (A&M)
                                           discussing updates for Request 110 deliverable
Lowdermilk, Quinn      7/21/2023     0.8   Call with I. Radwanski, Q. Lowdermilk, and L. Lambert (A&M)
                                           discussing edits to final deliverable for Request 110
Lowdermilk, Quinn      7/21/2023     0.7   Call with I. Radwanski and Q. Lowdermilk (A&M) discussing Request
                                           110 updates
Lowdermilk, Quinn      7/21/2023     1.6   Analyze blockchain information to identify associated transactions to
                                           request 110
Lowdermilk, Quinn      7/21/2023     2.1   Prepare crypto tracing analysis file with associated transactions to
                                           request 110
Lowdermilk, Quinn      7/21/2023     0.3   Meeting with Q. Lowdermilk, I. Radwanski (A&M) re: crypto tracing
                                           status update
Lowdermilk, Quinn      7/21/2023     0.7   Finalize crypto tracing summary of identified cold storage funds for
                                           request 110
McGoldrick, Hugh       7/21/2023     0.3   Review of Cyprus liquidation legislation and considerations for FTX
                                           entities
McGoldrick, Hugh       7/21/2023     0.9   Prepare agenda and provide feedback for call with A&M Turnaround
                                           / Singapore
McGoldrick, Hugh       7/21/2023     0.5   Catch-up call with H McGoldrick and J Collis in relation to next steps

Montague, Katie        7/21/2023     0.3   Call with A. Sivapalu and K. Montague (A&M) regarding due
                                           diligence items related to exchange data
Mosley, Ed             7/21/2023     0.7   Review of and provide comments to draft sale and hedging protocol
                                           of crypto assets
Paterson, Warren       7/21/2023     0.4   Attend call with K Dennison (A&M) to discuss liquidation analysis
                                           requested by FTI regarding Bahamas Properties
Radis, Cameron         7/21/2023     0.3   Teleconference with K. Dusendschon, K. Baker, M. Sunkara, M.
                                           Simkins, M. Haigis, C. Radis, P. Kwan, D. Wilson, J. Zatz (A&M) to
                                           go through action items, pending requests and workstreams
Radwanski, Igor        7/21/2023     0.3   Meeting with Q. Lowdermilk, I. Radwanski (A&M) re: crypto tracing
                                           status update
Radwanski, Igor        7/21/2023     1.1   Call with L. Lambert, Q. Lowdermilk, A. Heric, and I. Radwanski
                                           (A&M) regarding workstream updates

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Professional                Date     Hours     Activity
Radwanski, Igor          7/21/2023     2.1   Quantify metrics related to the transfers in Request 110

Radwanski, Igor          7/21/2023     0.6   Scope tracing requirements related to a priority tracing request


Radwanski, Igor          7/21/2023     0.7   Call with I. Radwanski and Q. Lowdermilk (A&M) discussing Request
                                             110 updates
Radwanski, Igor          7/21/2023     2.1   Trace source of transactions on blockchain analytics tool

Radwanski, Igor          7/21/2023     0.8   Call with I. Radwanski, Q. Lowdermilk, and L. Lambert (A&M)
                                             discussing edits to final deliverable for Request 110
Radwanski, Igor          7/21/2023     0.4   Call with I. Radwanski, Q. Lowdermilk, and L. Lambert (A&M)
                                             discussing updates for Request 110 deliverable
Ramanathan, Kumanan      7/21/2023     0.3   Call with C. Dougherty (TRM) to discuss Bitcoin change address
                                             matters
Ramanathan, Kumanan      7/21/2023     0.4   Prepare updates to PMO presentation for crypto updates

Ramanathan, Kumanan      7/21/2023     0.6   Review and provide feedback on post-petition deposit matters


Ramanathan, Kumanan      7/21/2023     0.9   Review and correspond re: Cybersecurity incident

Schlam Batista, Sharon   7/21/2023     1.2   Clean fiat deposits and withdrawals files that include bank
                                             information of FTX EU
Schlam Batista, Sharon   7/21/2023     0.2   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                             Dalgleish (A&M) to discuss FTX EU customers' final balances and
                                             trading book new methodology
Schlam Batista, Sharon   7/21/2023     1.3   Add claims and priority of claims to the bank statements schedule of
                                             FTX EU customers
Schlam Batista, Sharon   7/21/2023     1.9   Update Cysec presentation based on the updated trading book
                                             methodology for FTX EU customers
Schlam Batista, Sharon   7/21/2023     0.7   Review trading book methodology and check differences vs.
                                             previous version of FTX EU
Simkins, Maximilian      7/21/2023     0.3   Teleconference with K. Dusendschon, K. Baker, M. Sunkara, M.
                                             Simkins, M. Haigis, C. Radis, P. Kwan, D. Wilson, J. Zatz (A&M) to
                                             go through action items, pending requests and workstreams
Simkins, Maximilian      7/21/2023     0.8   Clean list of sample context KYC hits for completeness


Sivapalu, Anan           7/21/2023     0.3   Call with A. Sivapalu and K. Montague (A&M) regarding due
                                             diligence items related to exchange data
Sivapalu, Anan           7/21/2023     0.1   Call with A. Sivapalu and G. Walia (A&M) regarding customer
                                             analytics summaries
Sivapalu, Anan           7/21/2023     0.1   Call with A. Sivapalu and G. Walia (A&M) regarding due diligence
                                             items related to exchange data
Stockmeyer, Cullen       7/21/2023     0.8   Update crypto tracing request tracker with additional
                                             correspondences related to certain law enforcement personnel
Stockmeyer, Cullen       7/21/2023     1.3   Consolidate learned information from various crypto tracing reports
                                             related to certain individual with suspicious activity

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Stockmeyer, Cullen    7/21/2023     0.6   Meeting with L. Lambert, L. Iwanski, L. Callerio, A. Heric, Q.
                                          Lowdermilk, I. Radwanski, C. Stockmeyer (A&M) re: crypto tracing
                                          status update
Stockmeyer, Cullen    7/21/2023     2.2   Consolidate learned information from various crypto tracing reports
                                          related to ventures
Stockmeyer, Cullen    7/21/2023     0.4   Correspondences regarding professional tracker updates for new
                                          information available week ending 7/22
Sunkara, Manasa       7/21/2023     2.1   Analyze the trading data to limit the amount of records to 30 days
                                          prior to petition date
Sunkara, Manasa       7/21/2023     0.2   Call with M. Sunkara, J. Zatz (A&M) to discuss request for OTC
                                          trade data
Sunkara, Manasa       7/21/2023     0.3   Teleconference with K. Dusendschon, K. Baker, M. Sunkara, M.
                                          Simkins, M. Haigis, C. Radis, P. Kwan, D. Wilson, J. Zatz (A&M) to
                                          go through action items, pending requests and workstreams
Sunkara, Manasa       7/21/2023     3.2   Query to extract all exchange data related to a specific user for an
                                          S&C investigation
Sunkara, Manasa       7/21/2023     0.8   Quality check SQL queries to prepare data request exports for S&C


Sunkara, Manasa       7/21/2023     0.7   Call with M. Sunkara, D. Wilson, P. Kwan, L. Konig (A&M) to discuss
                                          data requests and issues
Sunkara, Manasa       7/21/2023     1.1   Update the balances SQL template to use the new balances table


Sunkara, Manasa       7/21/2023     1.4   Investigate a users with large negative balances in relation to loan
                                          agreements for S&C
van den Belt, Mark    7/21/2023     0.9   Prepare adjusted balance sheet analysis of Quoine Pte Ltd

van den Belt, Mark    7/21/2023     0.2   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                          Dalgleish (A&M) to discuss FTX EU customers' final balances and
                                          trading book new methodology
van den Belt, Mark    7/21/2023     0.5   Call with M. Cilia (FTX), D. Hammon, M Borts (E&Y), E. Simpson, A.
                                          Kranzley (S&C) on FTX wind down matters
van den Belt, Mark    7/21/2023     1.1   Prepare presentation on FTX Dubai employee severance analysis

van den Belt, Mark    7/21/2023     1.8   Prepare updated analysis of the customer waterfall of FTX EU Ltd


van den Belt, Mark    7/21/2023     1.6   Prepare updated analysis on Quoine Pte Ltd balance sheet in
                                          relation to customer shortfall
van den Belt, Mark    7/21/2023     1.1   Prepare updated analysis on Quoine Pte Ltd balance sheet in
                                          relation to net intercompany position
van den Belt, Mark    7/21/2023     1.2   Review analysis of customer level changes of FTX EU Ltd waterfall
                                          adjustments
van den Belt, Mark    7/21/2023     0.2   Review presentation on FTX EU customer balances


van den Belt, Mark    7/21/2023     1.1   Review presentation on Cottonwood Grove financials




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van den Belt, Mark    7/21/2023     0.3   Call with E. Simpson (S&C), M. Athinodorou, M. Lambrianou, N.
                                          Ziourti (FTX), D. Johnston, G. Balmelli, M. van den Belt (A&M) on
                                          FTX EU matters
Walia, Gaurav         7/21/2023     0.7   Review the crypto assets variance schedule and provide feedback

Walia, Gaurav         7/21/2023     0.1   Call with A. Sivapalu and G. Walia (A&M) regarding due diligence
                                          items related to exchange data
Walia, Gaurav         7/21/2023     2.7   Prepare the preference analysis for the top 50 COM customers
                                          under the adjusted methodology
Walia, Gaurav         7/21/2023     0.1   Call with A. Sivapalu and G. Walia (A&M) regarding customer
                                          analytics summaries
Walia, Gaurav         7/21/2023     0.4   Update the financial advisor post-petition work document

Walia, Gaurav         7/21/2023     1.9   Summarize the updated preference methodology

Walia, Gaurav         7/21/2023     2.7   Prepare a template model for the adjusted preference exposure
                                          methodology
Walia, Gaurav         7/21/2023     0.4   Prepare an analysis of tokens requiring pricing from CM

Walia, Gaurav         7/21/2023     0.6   Prepare responses for a request about a certain customer's
                                          exchange balances and provide feedback
Walia, Gaurav         7/21/2023     0.9   Review the customer entitlements summary and provide feedback

Walia, Gaurav         7/21/2023     0.4   Review the CM pricing legal assessment and provide feedback


Walia, Gaurav         7/21/2023     0.8   Review several preference exposure analysis and provide feedback

Wilson, David         7/21/2023     2.4   Analyze results of wildcard search queries to remove false positives
                                          and find all accounts for entities
Wilson, David         7/21/2023     1.7   Implement QC feedback into wildcard search query for data request


Wilson, David         7/21/2023     2.9   Draft and executed query to perform wildcard searches to identify
                                          accounts associated with entities for a data request
Wilson, David         7/21/2023     1.4   Update balances function for database automation to align with new
                                          balances template
Wilson, David         7/21/2023     0.3   Teleconference with K. Dusendschon, K. Baker, M. Sunkara, M.
                                          Simkins, M. Haigis, C. Radis, P. Kwan, D. Wilson, J. Zatz (A&M) to
                                          go through action items, pending requests and workstreams
Wilson, David         7/21/2023     0.7   Call with M. Sunkara, D. Wilson, P. Kwan, L. Konig (A&M) to discuss
                                          data requests and issues
Zatz, Jonathan        7/21/2023     0.2   Call with M. Sunkara, J. Zatz (A&M) to discuss request for OTC
                                          trade data
Zatz, Jonathan        7/21/2023     1.3   Create mapping between requestors and response owners going
                                          forward
Zatz, Jonathan        7/21/2023     2.6   Database scripting related to request for OTC transactions for
                                          accounts belonging to list of entities

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Zatz, Jonathan        7/21/2023     3.1   Debug format issues of results of request for Alameda fills in certain
                                          time frame
Zatz, Jonathan        7/21/2023     0.3   Teleconference with K. Dusendschon, K. Baker, M. Sunkara, M.
                                          Simkins, M. Haigis, C. Radis, P. Kwan, D. Wilson, J. Zatz (A&M) to
                                          go through action items, pending requests and workstreams
Zatz, Jonathan        7/21/2023     0.7   Working session w/ K. Baker & J. Zatz (A&M) re: consolidation of
                                          data request issues for review
Zhang, Qi             7/21/2023     3.2   Perform daily review of Integreon manual review team's work to
                                          record down issues identified for 21 July 2023
Zhang, Qi             7/21/2023     0.4   Perform daily review of Sumsub system auto approve cases to
                                          record down issues identified for 21 July 2023
Baker, Kevin          7/22/2023     1.3   Create summary report for all S&C subpoena requests that contain
                                          KYC components for supplemental productions
Chan, Jon             7/22/2023     0.9   Investigate activity related to specific accounts for A&M avoidance
                                          loan request
Chan, Jon             7/22/2023     2.2   Investigate activity related to specific accounts for S&C internal
                                          investigation
Kwan, Peter           7/22/2023     0.9   Develop preliminary queries that were pulling data related to
                                          customer API interactions in relation to due diligence questions
Lam, James            7/22/2023     0.4   Respond to enquiry on Liquid's post-petition deposits


Lam, James            7/22/2023     0.7   Prepare a summary of FTX Japan customer withdrawal for the
                                          customer entitlement analysis
Lambert, Leslie       7/22/2023     1.1   Review approach and output related to a request for tracing the flow
                                          of funds on-chain
Radwanski, Igor       7/22/2023     0.7   Quantify information needed to conduct a tracing analysis for
                                          request 111
Radwanski, Igor       7/22/2023     2.6   Trace source of funds related to Request 111

Stockmeyer, Cullen    7/22/2023     0.4   Update crypto tracing request tracker with additional
                                          correspondences related to certain accounts
Stockmeyer, Cullen    7/22/2023     0.7   Update crypto tracing request tracker with additional
                                          correspondences related to professional services firms
Sunkara, Manasa       7/22/2023     1.1   Cross reference account id's provided by S&C to the list of 28
                                          entities
Sunkara, Manasa       7/22/2023     2.4   Search SQL database for user accounts associated with 28 entities
                                          for an S&C investigation
Zhang, Qi             7/22/2023     1.4   Perform daily review of Sumsub system KYC cases to record down
                                          issues identified for 22 July 2023
Baker, Kevin          7/23/2023     2.1   Project management and organization of the data request queue to
                                          prioritize outstanding high priority data requests
Chambers, Henry       7/23/2023     0.9   Perform finalization of FTX Japan Cash deck

Kwan, Peter           7/23/2023     0.5   Review results from queries that were pulling data related to
                                          customer API interactions in relation to due diligence questions


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Professional                Date    Hours     Activity
Marshall, Jonathan      7/23/2023     0.1   Teleconference with J. Marshall, M. Simkins, M. Haigis, C. Radis, D.
                                            Wilson, A.Sloan (A&M) to go through action items, pending requests
                                            and workstreams
Sunkara, Manasa         7/23/2023     2.7   Continue to search for user accounts related to the list of entities for
                                            S&C
Walia, Gaurav           7/23/2023     1.2   Review S&C questions around FTT and prepare initial responses


Zhang, Qi               7/23/2023     0.9   Perform daily review of Sumsub system KYC cases to record down
                                            issues identified for 23 July 2023
Arbid, Rami             7/24/2023     0.3   Review with G. Wall (A&M) severance calculation for employee of
                                            FTX Dubai
Arbid, Rami             7/24/2023     0.4   Review and edit severance calculation for employee of FTX Dubai

Arbid, Rami             7/24/2023     0.2   Correspondence related to severance calculation for employee of
                                            FTX Dubai
Arbid, Rami             7/24/2023     0.1   Call with M. van den Belt, G. Wall, R. Arbid (A&M) related to FTX
                                            Dubai severance calculations for employee
Arbid, Rami             7/24/2023     0.6   Call with M. Berti, G. Opris, C. Howard (S&C), R. Arbid, G. Wall, D.
                                            Johnston, M. van den Belt (A&M) on FTX Dubai wind down
                                            framework
Arbid, Rami             7/24/2023     0.2   Review with G. Wall (A&M) following call on FTX Dubai and next
                                            steps
Balmelli, Gioele        7/24/2023     3.1   Further analysis of intercompany receivables at FTX Europe AG

Balmelli, Gioele        7/24/2023     0.3   Call with E. Simpson, O. de Vito Piscicelli (S&C), M. Lambrianou, M.
                                            Athinodorou, N. Ziourti (FTX), G. Balmelli, D. Johnston, M. van den
                                            Belt (A&M) on FTX EU matters
Balmelli, Gioele        7/24/2023     0.4   Call with J. Bavaud (FTX) and G. Balmelli (A&M) re FTX Europe AG
                                            IT hardware
Balmelli, Gioele        7/24/2023     0.3   Prepare correspondence re intercompany receivables at FTX
                                            Europe AG
Callerio, Lorenzo       7/24/2023     0.2   Call with L. Callerio and I. Radwanski (A&M) discussing findings of
                                            Request 111
Callerio, Lorenzo       7/24/2023     0.7   Review the crypto tracing requests / correspondence


Callerio, Lorenzo       7/24/2023     0.4   Meeting with L. Callerio, L. Iwanski, L. Lambert, C. Stockmeyer
                                            (A&M) re: internal crypto tracing process update
Casey, John             7/24/2023     0.8   Review and update entity schedule for European and RoW
                                            subsidiaries with J. Collis (A&M)
Casey, John             7/24/2023     3.2   Review and update Zubr Exchange Questionnaire and prepare email
                                            to directors
Chambers, Henry         7/24/2023     0.4   Correspondence regarding Quoine India director


Chambers, Henry         7/24/2023     0.3   Review Liquid data preservation priorities




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Chan, Jon                7/24/2023     2.7   Investigate activity related to subpoena request for S&C relating to
                                             provided transaction hashes
Chan, Jon                7/24/2023     1.8   Investigate activity related to individuals and FTX employees for
                                             A&M internal investigation
Chan, Jon                7/24/2023     0.1   Teleconference with K. Dusendschon, M. Sunkara, J. Chan (A&M)
                                             to go through action items, pending requests and workstreams
Chan, Jon                7/24/2023     0.9   Quality control reports generated for S&C subpoena request

Chan, Jon                7/24/2023     2.4   Investigate activity related to individuals that may be related to entity
                                             investigation for S&C
Chan, Jon                7/24/2023     1.3   Provide extracts for S&C internal investigation related to specific
                                             entity
Chan, Jon                7/24/2023     0.9   Analyze email correspondence for S&C requests and kyc document
                                             requests
Chan, Jon                7/24/2023     2.3   Investigate activity related to subpoena request for S&C relating to
                                             an individual and email provided
Chan, Jon                7/24/2023     1.6   Investigate activity related to specific account on the exchange for
                                             A&M internal request
Chan, Jon                7/24/2023     1.1   Provide preference analysis data for a set of individuals for A&M
                                             internal investigation
Clayton, Lance           7/24/2023     1.4   Venture sale tracker updates based on investee correspondence

Clayton, Lance           7/24/2023     0.5   Update venture PMO deck for weekly changes


Clayton, Lance           7/24/2023     1.2   Update venture board deck materials

Collis, Jack             7/24/2023     0.3   Review solvency position for Singapore entities


Collis, Jack             7/24/2023     0.3   Prepare updated consolidated entity schedule for priority entities and
                                             discuss with J Casey (A&M)
Collis, Jack             7/24/2023     0.6   Prepare list of actions following call with D. Johnston and M. van den
                                             Belt (A&M) in relation to wind down of European and RoW
                                             subsidiaries
Collis, Jack             7/24/2023     1.2   Update liquidation questionnaire for new sources of information and
                                             additional review points
Collis, Jack             7/24/2023     0.8   Call with R. Sexton, J. Casey, H. McGoldrick, J. Collis, D. Johnston,
                                             M. van den Belt (A&M) on FTX wind down questionnaire related to
                                             FTX rest of world entities
Corr, Caoimhe            7/24/2023     0.2   Participate in call with D. Johnston, M. Van den Belt, C.Corr, S.
                                             Schlam, E. Dalgleish (A&M) to discuss FTX Europe STCFF variance
                                             analysis, strategic options follow-up of Rest of World entities and
                                             customer balances priorities of FTX EU
Coverick, Steve          7/24/2023     0.5   Call with E. Mosley, S. Coverick and D. Johnston (A&M) to discuss
                                             FTX Europe next steps and upcoming motions
Coverick, Steve          7/24/2023     0.8   Call with J. Ray (FTX), E. Mosley, S. Coverick, K. Ramanathan
                                             (A&M) to discuss crypto asset management


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Professional               Date    Hours     Activity
Dalgleish, Elizabeth   7/24/2023     0.2   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                           Dalgleish (A&M) to discuss FTX Europe STCFF variance analysis,
                                           strategic options follow-up of Rest of World entities and customer
                                           balances priorities of FTX EU
Dalgleish, Elizabeth   7/24/2023     0.7   Prepare balance sheet overview for FTX Exchange FZE to compare
                                           May 2023 and June 2023 balance sheets
Dennison, Kim          7/24/2023     0.3   Emails with P Hickman (PWC) regarding planning meeting to
                                           discuss August in-person meetings agenda
Dusendschon, Kora      7/24/2023     0.1   Provide assistance and guidance to team on KYC related requests

Dusendschon, Kora      7/24/2023     0.1   Teleconference with K. Dusendschon, M. Sunkara, J. Chan (A&M)
                                           to go through action items, pending requests and workstreams
Dusendschon, Kora      7/24/2023     0.2   Review support tickets information provided and provide feedback


Dusendschon, Kora      7/24/2023     0.3   Review information provided by FTI regarding KYC folders and
                                           provide additional guidance
Dusendschon, Kora      7/24/2023     0.4   Review request from G. Walia (A&M) from S&C to identify
                                           documents within Relativity
Dusendschon, Kora      7/24/2023     2.4   Execute searches and review results in response to request from G.
                                           Walia (A&M)
Flynn, Matthew         7/24/2023     0.4   Call with M. Flynn, A. Mohammed, K. Ramanathan (A&M) to discuss
                                           latest development status
Flynn, Matthew         7/24/2023     0.3   Correspond on coinmetrics pricing data

Flynn, Matthew         7/24/2023     0.3   Call with M. Flynn, D. Sagen (A&M) and BitGo team to discuss token
                                           bridging and KYB matters
Flynn, Matthew         7/24/2023     1.1   Create market maker contract tracker for Management


Flynn, Matthew         7/24/2023     0.9   Review OTC agreement and provide comments for S&C

Flynn, Matthew         7/24/2023     1.2   Review post-petition deposit detail for S&C


Flynn, Matthew         7/24/2023     2.1   Analyze employee listing compilation for S&C request

Francis, Luke          7/24/2023     1.4   Review of premium payments for surety bond providers


Glustein, Steven       7/24/2023     0.3   Correspondence with S. Glustein (A&M) regarding postpetition
                                           venture token receipts
Gordon, Robert         7/24/2023     0.7   Draft edits for FTT support presentation and analysis

Haigis, Maya           7/24/2023     1.1   Review data mapping for Relativity user information overlay


Haigis, Maya           7/24/2023     0.5   Call with M. Simkins and M. Haigis (A&M) to discuss information
                                           overlay mappings




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Professional             Date     Hours     Activity
Haigis, Maya          7/24/2023     0.1   Teleconference with J. Marshall, M. Simkins, M. Haigis, C. Radis, D.
                                          Wilson, A.Sloan (A&M) to go through action items, pending requests
                                          and workstreams
Heric, Andrew         7/24/2023     1.4   Conduct internal document research of over 380 documents related
                                          to request 112
Heric, Andrew         7/24/2023     1.9   Conduct detailed crypto tracing of withdrawals to two addresses for
                                          request 97
Heric, Andrew         7/24/2023     1.4   Conduct crypto tracing related to investment 1 for request 112

Heric, Andrew         7/24/2023     0.2   Call with Q. Lowdermilk, I. Radwanski, and A. Heric (A&M) regarding
                                          crypto tracing team updates
Heric, Andrew         7/24/2023     0.4   Call with L. Lambert and A. Heric (A&M) regarding findings of
                                          withdrawal analysis and next steps
Heric, Andrew         7/24/2023     0.5   Call with L. Iwanski, L. Lambert, Q. Lowdermilk, A. Heric, and I.
                                          Radwanski (A&M) regarding workstream updates and priorities
Heric, Andrew         7/24/2023     1.3   Identify address interactions of concern for multiple addresses for
                                          request 97
Heric, Andrew         7/24/2023     0.8   Notate summary findings from analysis conducted on investment 1
                                          of request 112
Heric, Andrew         7/24/2023     0.4   Review incoming request and attached documents for request 112


Iwanski, Larry        7/24/2023     0.4   Meeting with L. Callerio, L. Iwanski, L. Lambert, C. Stockmeyer
                                          (A&M) re: internal crypto tracing process update
Iwanski, Larry        7/24/2023     0.5   Call with L. Iwanski, L. Lambert, Q. Lowdermilk, A. Heric, and I.
                                          Radwanski (A&M) regarding workstream updates and priorities
Iwanski, Larry        7/24/2023     0.2   Quality review of a document related to a fee schedule and lending
                                          agreement
Johnson, Robert       7/24/2023     1.9   Migrate requested table associated with unique fills from Athena to
                                          Postgres
Johnston, David       7/24/2023     0.8   Call with R. Sexton, J. Casey, H. McGoldrick, J. Collis, D. Johnston,
                                          M. van den Belt (A&M) on FTX wind down questionnaire related to
                                          FTX rest of world entities
Johnston, David       7/24/2023     0.3   Review correspondence and materials relating to FTX Singapore
                                          wind down engagement
Johnston, David       7/24/2023     2.3   Analyze FTX EU Ltd. segregated cash activity to update for latest
                                          customer claims prioritization
Johnston, David       7/24/2023     0.2   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                          Dalgleish (A&M) to discuss FTX Europe STCFF variance analysis,
                                          strategic options follow-up of Rest of World entities and customer
                                          balances priorities of FTX EU
Johnston, David       7/24/2023     0.5   Call with E. Mosley, S. Coverick and D. Johnston (A&M) to discuss
                                          FTX Europe next steps and upcoming motions
Johnston, David       7/24/2023     0.3   Call with E. Simpson, O. de Vito Piscicelli (S&C), M. Lambrianou, M.
                                          Athinodorou, N. Ziourti (FTX), G. Balmelli, D. Johnston, M. van den
                                          Belt (A&M) on FTX EU matters




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Professional             Date     Hours     Activity
Johnston, David       7/24/2023     0.6   Call with M. Berti, G. Opris, C. Howard (S&C), R. Arbid, G. Wall, D.
                                          Johnston, M. van den Belt (A&M) on FTX Dubai wind down
                                          framework
Johnston, David       7/24/2023     1.7   Review and update FTX EU Ltd. presentation relating to customer
                                          claims and waterfall
Konig, Louis          7/24/2023     2.3   Database scripting related to search for additional employee
                                          accounts based on wallet activity
Konig, Louis          7/24/2023     0.7   Database scripting related to incorporating daily transaction pricing
                                          into database environment
Konig, Louis          7/24/2023     1.7   Quality control and review of output related to incorporating daily
                                          transaction pricing into database environment
Konig, Louis          7/24/2023     2.0   Documentation of findings related to search for additional employee
                                          accounts based on wallet activity
Konig, Louis          7/24/2023     1.2   Quality control and review of output related to search for additional
                                          employee accounts based on wallet activity
Kwan, Peter           7/24/2023     0.6   Coordinate with A&M data team to design a methodology for
                                          automating the research of claims research requests
Kwan, Peter           7/24/2023     2.6   Research data sourcing avenues for questions related to customer
                                          IP address interactions in relation to diligence requests
Kwan, Peter           7/24/2023     1.0   Call with P. Kwan, A.Mohammed (A&M) R. Perubhatla, J. Sardinha,
                                          T. Cheam, E. Simendinger (FTX) to discuss network scanning
                                          service
Kwan, Peter           7/24/2023     0.9   Coordinate with FTX data engineering team to develop response
                                          plan with respect to due diligence requests
Kwan, Peter           7/24/2023     1.7   Research data sourcing avenues for questions related to 3rd party
                                          referral program volumes in relation to diligence requests
Kwan, Peter           7/24/2023     1.6   Research data sourcing avenues for questions related to Application
                                          Programming Interface performance in relation to diligence requests
Kwan, Peter           7/24/2023     2.3   Research data sourcing avenues for questions related to bandwidth
                                          of typical customer interactions in relation to diligence requests
Lam, James            7/24/2023     0.6   Review the KYC and claim processes for the preparation of
                                          management reporting and customer communications
Lam, James            7/24/2023     1.2   Prepare the information and data requests for preference exposure
                                          analysis, refresh of customer entitlements for FTX Japan and
                                          Quoine Pte
Lam, James            7/24/2023     1.6   Analyze the changes in asset balances and customer entitlements
                                          for FTX Japan and Quoine Pte
Lam, James            7/24/2023     2.9   Update the customer fiat and crypto customer entitlements for FTX
                                          Japan and Quoine Pte
Lam, James            7/24/2023     2.6   Update the fiat and crypto asset positions for FTX Japan and Quoine
                                          Pte based on local records
Lambert, Leslie       7/24/2023     1.1   Review documents and communications relevant to an analysis of
                                          certain token acquisitions
Lambert, Leslie       7/24/2023     1.2   Perform supplementary review to identify information relevant to an
                                          open analysis of on-chain activity



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Professional               Date    Hours     Activity
Lambert, Leslie        7/24/2023     0.4   Call with L. Lambert and A. Heric (A&M) regarding findings of
                                           withdrawal analysis and next steps
Lambert, Leslie        7/24/2023     0.2   Call with L. Lambert and I. Radwanski (A&M) discussing Request
                                           111 findings
Lambert, Leslie        7/24/2023     0.9   Call with L. Lambert and I. Radwanski (A&M) discussing Request
                                           111 findings and observations
Lambert, Leslie        7/24/2023     0.3   Call with Q. Lowdermilk and L. Lambert (A&M) regarding crypto
                                           tracing request 112 methodology
Lambert, Leslie        7/24/2023     0.5   Call with L. Iwanski, L. Lambert, Q. Lowdermilk, A. Heric, and I.
                                           Radwanski (A&M) regarding workstream updates and priorities
Lambert, Leslie        7/24/2023     0.8   Provide feedback on approach, methodology, and preliminary
                                           findings for an analysis of certain blockchain activity
Li, Summer             7/24/2023     0.7   Correspondence with the team regarding the findings on the nature
                                           of the outgoing payments made by FTX Japan K.K. to a vendor
Li, Summer             7/24/2023     2.3   Review the user transactions reports to ascertain that the outgoing
                                           payments are in fact withdrawal made by customers for FTX Japan
                                           K.K
Li, Summer             7/24/2023     1.2   Understand the nature of some of the outgoing payments by
                                           reviewing the reconciliation of a bank account for FTX Japan K.K
Li, Summer             7/24/2023     0.1   Understand the signatory of FTX Japan Services K.K.'s bank account


Lowdermilk, Quinn      7/24/2023     0.3   Call with Q. Lowdermilk and L. Lambert (A&M) regarding crypto
                                           tracing request 112 methodology
Lowdermilk, Quinn      7/24/2023     1.2   Review the provided agreements to understand terms and
                                           conditions of the contracts
Lowdermilk, Quinn      7/24/2023     0.5   Call with L. Iwanski, L. Lambert, Q. Lowdermilk, A. Heric, and I.
                                           Radwanski (A&M) regarding workstream updates and priorities
Lowdermilk, Quinn      7/24/2023     1.3   Prepare crypto tracing analysis file with supplied information for
                                           request 112
Lowdermilk, Quinn      7/24/2023     2.2   Annotate identified transactions withing the analysis file to reconcile
                                           investments
Lowdermilk, Quinn      7/24/2023     0.2   Call with Q. Lowdermilk, I. Radwanski, and A. Heric (A&M) regarding
                                           crypto tracing team updates
Lowdermilk, Quinn      7/24/2023     2.7   Blockchain research identifying transactions tied to select token
                                           purchase agreements for request 112
McGoldrick, Hugh       7/24/2023     0.9   Consider next steps with respect to wind-down of priority entities

McGoldrick, Hugh       7/24/2023     0.3   Catch-up call with J Casey, R Sexton, and J Collis (A&M)


McGoldrick, Hugh       7/24/2023     0.8   Call with R. Sexton, J. Casey, J. Collis, D. Johnston, M. van den Belt
                                           (A&M) on FTX wind down questionnaire related to FTX rest of world
                                           entities
Mohammed, Azmat        7/24/2023     1.0   Call with P. Kwan, A.Mohammed (A&M) R. Perubhatla, J. Sardinha,
                                           T. Cheam, E. Simendinger (FTX) to discuss network scanning
                                           service



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Professional              Date     Hours     Activity
Mohammed, Azmat        7/24/2023     0.4   Call with M. Flynn, A. Mohammed, K. Ramanathan (A&M) to discuss
                                           latest development status
Mohammed, Azmat        7/24/2023     0.3   Develop engineering team velocity and projects dashboard for
                                           technology leadership
Montague, Katie        7/24/2023     0.9   Call with A. Sivapalu, G. Walia and K. Montague (A&M) regarding
                                           due diligence questions related to customer analytics
Mosley, Ed             7/24/2023     1.9   Review of and prepre comments to draft FTX Japan presentation
                                           requested by management on next steps with regard to its inclusion
                                           in FTX 2.0
Mosley, Ed             7/24/2023     0.8   Discuss crypto workstream status with J.Ray (FTX) and A&M
                                           (K.Ramanathan, S.Coverick)
Mosley, Ed             7/24/2023     0.7   Review of and provide comments to customer portal issues and
                                           remediation plans
Mosley, Ed             7/24/2023     0.9   Review of crypto trading approval process feedback to the UCC

Paterson, Warren       7/24/2023     2.9   Draft FTX Property Holding Ltd. liquidation value assessment part 2


Paterson, Warren       7/24/2023     2.9   Draft FTX Property Holding Ltd. liquidation value assessment part 1

Radwanski, Igor        7/24/2023     0.2   Call with Q. Lowdermilk, I. Radwanski, and A. Heric (A&M) regarding
                                           crypto tracing team updates
Radwanski, Igor        7/24/2023     2.7   Identify written correspondences between debtor entities and third
                                           parties
Radwanski, Igor        7/24/2023     0.2   Call with L. Callerio and I. Radwanski (A&M) discussing findings of
                                           Request 111
Radwanski, Igor        7/24/2023     2.9   Trace outgoing transfer payments to third party addresses

Radwanski, Igor        7/24/2023     0.5   Call with L. Iwanski, L. Lambert, Q. Lowdermilk, A. Heric, and I.
                                           Radwanski (A&M) regarding workstream updates and priorities
Radwanski, Igor        7/24/2023     0.9   Call with L. Lambert and I. Radwanski (A&M) discussing Request
                                           111 findings and observations
Radwanski, Igor        7/24/2023     0.2   Call with L. Lambert and I. Radwanski (A&M) discussing Request
                                           111 findings
Radwanski, Igor        7/24/2023     0.7   Quantify payments made to third party in relation to Request 111


Ramanathan, Kumanan    7/24/2023     0.4   Review of board materials in advance of meeting for crypto related
                                           matters
Ramanathan, Kumanan    7/24/2023     0.6   Provide edits to crypto asset management memorandum for board
                                           materials
Ramanathan, Kumanan    7/24/2023     0.3   Provide update to S&C re: on-chain tracing status

Ramanathan, Kumanan    7/24/2023     1.3   Review FTT memorandum and provide feedback and edits

Ramanathan, Kumanan    7/24/2023     0.7   Correspond with S&C team re: next steps for crypto asset
                                           management related motions and review materials


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Professional                 Date    Hours     Activity
Ramanathan, Kumanan      7/24/2023     0.8   Call with J. Ray (FTX), E. Mosley, S. Coverick, K. Ramanathan
                                             (A&M) to discuss crypto asset management
Ramanathan, Kumanan      7/24/2023     0.2   Call with K. Ramanathan and D. Sagen (A&M) to discuss
                                             workstream status update
Ramanathan, Kumanan      7/24/2023     0.2   Review of subpoena request and distribute

Ramanathan, Kumanan      7/24/2023     0.4   Call with M. Flynn, A. Mohammed, K. Ramanathan (A&M) to discuss
                                             latest development status
Ramanathan, Kumanan      7/24/2023     0.3   Review investment materials relating to Worldcoin


Ramanathan, Kumanan      7/24/2023     0.4   Correspond and provide feedback re: post-petition deposits

Ramanathan, Kumanan      7/24/2023     0.5   Call with S. Kurz, C. Rhine, N. Marcantonio (Galaxy) to discuss
                                             commercials for crypto asset management services
Ramanathan, Kumanan      7/24/2023     0.3   Call with S. Kurz (Galaxy) to discuss commercials for crypto asset
                                             management
Sagen, Daniel            7/24/2023     0.3   Call with M. Flynn, D. Sagen (A&M) and BitGo team to discuss token
                                             bridging and KYB matters
Sagen, Daniel            7/24/2023     0.2   Call with K. Ramanathan and D. Sagen (A&M) to discuss
                                             workstream status update
Sagen, Daniel            7/24/2023     0.4   Call with G. Walia and D. Sagen (A&M) to discuss updates to Coin
                                             Report token pricing
Sagen, Daniel            7/24/2023     0.3   Correspondence with S. Glustein (A&M) regarding postpetition
                                             venture token receipts
Sagen, Daniel            7/24/2023     1.2   Review BitGo audit letters to validate token balances in specified
                                             wallets
Sagen, Daniel            7/24/2023     2.4   Prepare postpetition token adjustment in crypto asset plan input
                                             summary
Sagen, Daniel            7/24/2023     0.9   Working session with H. Trent and D. Sagen (A&M) to review crypto
                                             asset plan inputs and bridge
Sagen, Daniel            7/24/2023     0.2   Provide debrief of token bridging workstream updates to K.
                                             Ramanathan (A&M)
Sagen, Daniel            7/24/2023     0.3   Review status of token bridgework correspondence for upcoming
                                             call with BitGo team
Schlam Batista, Sharon   7/24/2023     2.6   Update the trading book file of FTX EU with withdrawals information
                                             from Bank Statements
Schlam Batista, Sharon   7/24/2023     2.2   Build a variance file to check the difference in outputs of the FTX EU
                                             customer balances
Schlam Batista, Sharon   7/24/2023     0.2   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                             Dalgleish (A&M) to discuss FTX Europe STCFF variance analysis,
                                             strategic options follow-up of Rest of World entities and customer
                                             balances priorities of FTX EU
Sexton, Rachel           7/24/2023     0.4   Prepare correspondence re: subsidiary strategy and progression of
                                             questionnaire for priority entities




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Professional             Date     Hours     Activity
Sexton, Rachel        7/24/2023     0.8   Call with R. Sexton, J. Casey, H. McGoldrick, J. Collis, D. Johnston,
                                          M. van den Belt (A&M) on FTX wind down questionnaire related to
                                          FTX rest of world entities
Sexton, Rachel        7/24/2023     0.6   Prepare for A&M Singapore call and call re: Quoine and Zubr

Simkins, Maximilian   7/24/2023     0.1   Teleconference with J. Marshall, M. Simkins, M. Haigis, C. Radis, D.
                                          Wilson, A.Sloan (A&M) to go through action items, pending requests
                                          and workstreams
Simkins, Maximilian   7/24/2023     0.9   Strategize information Overlay task create mappings for comparison

Simkins, Maximilian   7/24/2023     0.7   Review script for overlay mappings task

Simkins, Maximilian   7/24/2023     1.3   Create script to create mappings for overlay task


Simkins, Maximilian   7/24/2023     0.5   Call with M. Simkins and M. Haigis (A&M) to discuss information
                                          overlay mappings
Sivapalu, Anan        7/24/2023     0.9   Call with A. Sivapalu, G. Walia and K. Montague (A&M) regarding
                                          due diligence questions related to customer analytics
Sloan, Austin         7/24/2023     0.1   Teleconference with J. Marshall, M. Simkins, M. Haigis, C. Radis, D.
                                          Wilson, A.Sloan (A&M) to go through action items, pending requests
                                          and workstreams
Stegenga, Jeffery     7/24/2023     0.4   Discuss workstream coordination and communication with E. Mosley
                                          (A&M)
Stockmeyer, Cullen    7/24/2023     1.6   Update professional tracker related to crypto tracing requests for
                                          certain venture
Stockmeyer, Cullen    7/24/2023     1.1   Prepare professional tracker related to invoice based on additional
                                          information available for week ending 7/22
Stockmeyer, Cullen    7/24/2023     0.4   Meeting with L. Callerio, L. Iwanski, L. Lambert, C. Stockmeyer
                                          (A&M) re: internal crypto tracing process update
Stockmeyer, Cullen    7/24/2023     1.3   Continue to consolidate information related to various crypto tracing
                                          reports provided for venture investments
Sunkara, Manasa       7/24/2023     0.1   Teleconference with K. Dusendschon, M. Sunkara, J. Chan (A&M)
                                          to go through action items, pending requests and workstreams
Sunkara, Manasa       7/24/2023     0.7   Review email correspondence for outstanding data requests from
                                          internal A&M and S&C
Sunkara, Manasa       7/24/2023     2.3   Run wildcard searches for any additional user accounts associated
                                          with an entity name
Sunkara, Manasa       7/24/2023     0.9   Conference with B. Harsh, A. Holland (S&C), R. Esposito, L. Konig,
                                          and M. Sunkara (A&M) re: customer account activity for preference
                                          actions
Sunkara, Manasa       7/24/2023     2.8   Query the database to search for accounts as part of an S&C
                                          investigation
Sunkara, Manasa       7/24/2023     3.1   Query the database to extract all exchange data associated with the
                                          confirmed user accounts
Sunkara, Manasa       7/24/2023     1.4   Quality check SQL queries to prepare deliverables for S&C



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Professional              Date    Hours     Activity
Sunkara, Manasa       7/24/2023     0.4   Extract KYC file listing to request FTI for the KYC documents

Sunkara, Manasa       7/24/2023     0.8   Correspond with S&C to provide insights on additional users' activity


Trent, Hudson         7/24/2023     0.9   Working session with H. Trent and D. Sagen (A&M) to review crypto
                                          asset plan inputs and bridge
van den Belt, Mark    7/24/2023     0.1   Call with M. van den Belt, G. Wall, R. Arbid (A&M) related to FTX
                                          Dubai severance calculations for employee
van den Belt, Mark    7/24/2023     0.2   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                          Dalgleish (A&M) to discuss FTX Europe STCFF variance analysis,
                                          strategic options follow-up of Rest of World entities and customer
                                          balances priorities of FTX EU
van den Belt, Mark    7/24/2023     0.3   Call with E. Simpson, O. de Vito Piscicelli (S&C), M. Lambrianou, M.
                                          Athinodorou, N. Ziourti (FTX), G. Balmelli, D. Johnston, M. van den
                                          Belt (A&M) on FTX EU matter
van den Belt, Mark    7/24/2023     0.6   Call with M. Berti, G. Opris, C. Howard (S&C), R. Arbid, G. Wall, D.
                                          Johnston, M. van den Belt (A&M) on FTX Dubai wind down
                                          framework
van den Belt, Mark    7/24/2023     0.8   Call with R. Sexton, J. Casey, H. McGoldrick, J. Collis, D. Johnston,
                                          M. van den Belt (A&M) on FTX wind down questionnaire related to
                                          FTX rest of world entities
van den Belt, Mark    7/24/2023     0.1   Prepare correspondence on bank account signatories on FTX Japan

van den Belt, Mark    7/24/2023     0.3   Prepare presentation on FTX Europe and rest of world for PMO
                                          meeting on July 25
van den Belt, Mark    7/24/2023     2.1   Prepare updated analysis of FTX EU segregated waterfall

van den Belt, Mark    7/24/2023     1.6   Prepare updated analysis on severance calculation of FTX Dubai
                                          employee
van den Belt, Mark    7/24/2023     3.1   Prepare updated presentation on FTX EU customer return
                                          methodology
van den Belt, Mark    7/24/2023     2.1   Prepare updated user example of new FTX EU customer waterfall


Walia, Gaurav         7/24/2023     0.4   Call with G. Walia and D. Sagen (A&M) to discuss updates to Coin
                                          Report token pricing
Walia, Gaurav         7/24/2023     2.8   Research additional FTT inputs as required by S&C

Walia, Gaurav         7/24/2023     1.1   Review several preference exposure related questions and provide
                                          feedback on updated methodology
Walia, Gaurav         7/24/2023     0.4   Review the final list of employee accounts and provide feedback

Walia, Gaurav         7/24/2023     2.6   Review the FTT memo prepared by S&C and provide inputs


Walia, Gaurav         7/24/2023     1.3   Review the Japan and Singapore customer entitlements outputs and
                                          provide feedback
Walia, Gaurav         7/24/2023     0.1   Call with C. Kerin (S&C) to discuss Alameda account settings


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Walker, William       7/24/2023     0.6   Review coin report variance to venture team data

Walker, William       7/24/2023     0.8   Correspond with D. Sagan (A&M) regarding certain tokens in the
                                          vesting section of the coin report
Wall, Guy             7/24/2023     0.1   Call with M. van den Belt, G. Wall, R. Arbid (A&M) related to FTX
                                          Dubai severance calculations for employee
Wall, Guy             7/24/2023     0.2   Review with R. Arbid (A&M) following call on FTX Dubai and next
                                          steps
Wall, Guy             7/24/2023     0.3   Review with R. Arbid (A&M) severance calculation for employee of
                                          FTX Dubai
Wall, Guy             7/24/2023     0.2   Prepare correspondence related to severance calculation for
                                          employee of FTX Dubai
Wall, Guy             7/24/2023     0.6   Call with M. Berti, G. Opris, C. Howard (S&C), R. Arbid, G. Wall, D.
                                          Johnston, M. van den Belt (A&M) on FTX Dubai wind down
                                          framework
Wall, Guy             7/24/2023     0.4   Review and edit severance calculation for employee of FTX Dubai


Wilson, David         7/24/2023     2.6   Began drafting and executing query for follow up request for
                                          information on wildcard search account number results
Wilson, David         7/24/2023     3.1   Fix bugs in folder tree creation function for database scripting
                                          automation
Wilson, David         7/24/2023     2.6   Translate formatting excel macro into Python to connect automation
                                          tool to macro
Yan, Jack             7/24/2023     0.2   Perform token price checking of crypto assets and liabilities of FTX
                                          Japan
Yan, Jack             7/24/2023     1.4   Perform BitGo token transfer process calculation

Yan, Jack             7/24/2023     0.4   Participate in sense check of the FTX Japan crypto assets and
                                          liabilities announced by FTX Japan
Zatz, Jonathan        7/24/2023     2.7   Update database script related to request for Alameda fills in certain
                                          time frame
Zatz, Jonathan        7/24/2023     2.2   Database scripting related to request to search Alameda OTC
                                          database for specific transaction
Zatz, Jonathan        7/24/2023     0.8   Reproduce results related to request for Alameda fills in certain time
                                          frame
Zhang, Qi             7/24/2023     0.1   Communicate with Sumsub team on various KYC issues and plans
                                          to follow-up implementations
Zhang, Qi             7/24/2023     1.7   Perform daily review of Sumsub system auto approve cases to
                                          record down issues identified for 24 July 2023
Zhang, Qi             7/24/2023     1.4   Perform daily review of Sumsub system manual escalation cases to
                                          record down issues identified for 24 July 2023
Zhang, Qi             7/24/2023     2.3   Perform daily review of Integreon manual review team's work to
                                          record down issues identified for 24 July 2023
Zhang, Qi             7/24/2023     1.6   Perform daily review of Sumsub system auto rejection cases to
                                          record down issues identified for 24 July 2023


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Business Operations
Professional                Date    Hours     Activity
Zhang, Qi               7/24/2023     0.4   Update know your customer process PowerPoint deck to be sent to
                                            potential investors
Zhang, Qi               7/24/2023     0.7   Check customer KYC details to see if there is any potential wrong
                                            links sent to customers
Arbid, Rami             7/25/2023     0.3   Discuss additional shareholder resolution related to FTX Dubai
                                            liquidation with G. Wall (A&M)
Arbid, Rami             7/25/2023     0.3   Discuss revisions to liquidation timeline with G. Wall (A&M)

Arbid, Rami             7/25/2023     0.4   Review of additional shareholder resolution related to FTX Dubai
                                            liquidation
Baker, Kevin            7/25/2023     2.7   Extract customer balances for 2021 and petition date for all US
                                            customers to support subpoena request
Balmelli, Gioele        7/25/2023     1.8   Call with J. Bavaud (FTX) and G. Balmelli (A&M) re FTX Europe AG
                                            Receivables overview
Balmelli, Gioele        7/25/2023     2.8   Update of the intercompany receivables at FTX Europe AG

Balmelli, Gioele        7/25/2023     0.3   Review FTX EU Ltd short term cash flow forecast


Balmelli, Gioele        7/25/2023     1.6   Prepare correspondence re review intercompany receivables at FTX
                                            Europe AG
Balmelli, Gioele        7/25/2023     0.4   Prepare correspondence re FTX Trading GmbH invoices Jan to Mar
                                            23
Blanchard, Madison      7/25/2023     0.2   Call with L. Lambert, L. Iwanski, L. Callerio, I. Radwanksi, P.
                                            McGrath, M. Blanchard, S. Mimms (A&M) regarding SOL tracing in
                                            support of VanEck lender preference analysis
Bowles, Carl            7/25/2023     1.1   Consider wider strategy on wind-downs within the FTX Group and
                                            impact on litigation / asset realizations
Callerio, Lorenzo       7/25/2023     0.7   Review and approve REQ111 materials prepared by I. Radwanski
                                            (A&M)
Callerio, Lorenzo       7/25/2023     1.0   Review the crypto tracing inbound correspondence


Canale, Alex            7/25/2023     0.3   Call with A. Sivapalu and A. Canale (A&M) regarding coin data
                                            requirement
Casey, John             7/25/2023     0.3   Catch-up call with H McGoldrick, R Sexton, and J Collis (A&M) to
                                            discuss FTX wind down entities
Casey, John             7/25/2023     0.9   Call with R. Sexton, J. Casey, H. McGoldrick, J. Collis, D. Johnston,
                                            M. van den Belt (A&M) on FTX wind down questionnaire related to
                                            FTX rest of world entities
Casey, John             7/25/2023     0.4   Call with J. Taylor, D. Johnston, M. Van Den Belt, J. Casey, J.
                                            Collis and R. Sexton (A&M) re: wind down strategy for Singapore
                                            subsidiaries
Casey, John             7/25/2023     0.6   Prepare list of actions following call with D. Johnston, M van den
                                            Belt and J. Taylor (A&M)
Casey, John             7/25/2023     1.2   Review of information provided by J. Lee in relation to bank
                                            accounts for European and RoW subsidiaries



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Professional                Date     Hours     Activity
Casey, John              7/25/2023     1.2   Review of standard liquidation questionnaire for FTX Japan Services
                                             K.K. and prepare correspondence in relation to same
Casey, John              7/25/2023     2.4   Update standard European and RoW liquidation questionnaire for
                                             the wind-down of Zubr Exchange Ltd, following comments from R.
                                             Sexton and prepare correspondence re same
Chambers, Henry          7/25/2023     0.4   Call regarding FTX Japan operations with S. Melamed, S. Kojima
                                             (FTX), N. Mehta, E. Simpson, J. Simpson, (S&C) and H. Chambers
                                             (A&M)
Chambers, Henry          7/25/2023     0.4   Call with H. Chambers and D. Johnston (A&M) to discuss Rest of
                                             World wind downs and KYC updates
Chambers, Henry          7/25/2023     0.7   Manage comments on FTX Japan Cash deck

Chambers, Henry          7/25/2023     0.9   Review updated separate subsidiaries analysis


Chambers, Henry          7/25/2023     0.3   Correspondence regarding Liquid Japan data preservation

Chan, Jon                7/25/2023     2.8   Investigate activity related to transaction hashes and wallets for
                                             A&M tracing investigation
Chan, Jon                7/25/2023     0.8   Provide know your customer information for subpoena request for
                                             S&C
Chan, Jon                7/25/2023     1.2   Provide preference analysis data for a set of individuals for A&M
                                             preference analysis
Chan, Jon                7/25/2023     1.2   Provide preference analysis data for a set of individuals for S&C
                                             internal investigation
Chan, Jon                7/25/2023     1.3   Quality control reports generated for A&M request locating wallet
                                             transactions
Chan, Jon                7/25/2023     0.9   Analyze email correspondence for S&C requests and kyc document
                                             requests to prioritize request queue
Chan, Jon                7/25/2023     3.1   Investigate activity related to S&C subpoena request relating to
                                             names and pii information
Chan, Jon                7/25/2023     2.9   Investigate activity related to subpoena request for S&C relating to
                                             provided transaction hashes and bank wires
Chew, Ee Ling            7/25/2023     0.5   Call with E. Chew, J. Taylor, R. Sexton, H. McGoldrick, J. Collis, J.
                                             Casey, D. Johnston, M. van den Belt (A&M) on FTX Singapore wind
                                             down strategy
Collis, Jack             7/25/2023     0.5   Call with J. Taylor, E. Chew, D. Johnston, M. Van Den Belt, J. Casey
                                             and R. Sexton re: wind down strategy for Singapore subsidiaries
Collis, Jack             7/25/2023     1.8   Prepare updated consolidated entity schedule for priority entities and
                                             discuss with J Casey (A&M)
Collis, Jack             7/25/2023     0.4   Prepare file note of call with A&M Singapore

Dalgleish, Elizabeth     7/25/2023     1.4   Prepare Gantt chart summarizing the liquidation timeline and steps
                                             for Zubr Exchange Ltd
Dalgleish, Elizabeth     7/25/2023     1.9   Prepare Gantt chart summarizing the liquidation timeline and steps
                                             for Japan Services KK



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Dennison, Kim         7/25/2023     0.4   Meet with W Paterson (A&M) to discuss liquidation analysis of
                                          Bahamas Properties requested by FTI
Dennison, Kim         7/25/2023     0.4   Review and consider legal letter received from One Cable Beach
                                          attorneys
Dusendschon, Kora     7/25/2023     0.4   Strategize on baseline searching strategies in Relativity

Dusendschon, Kora     7/25/2023     0.2   Respond to request from KYC vendor regarding active employee
                                          accounts
Dusendschon, Kora     7/25/2023     0.3   Confer internally on request for subpoena information for S&C


Dusendschon, Kora     7/25/2023     0.3   Teleconference with M. Simkins, K. Dusendschon (A&M), N.
                                          Wolowski, G. Joseph (S&C), A. Bailey, B. Hadamik, G. Hougey, D.
                                          Lee, C. Miller, A. Vyas (FTI), to discuss overall FTX workstream
                                          updates
Dusendschon, Kora     7/25/2023     0.4   Review folder request response from FTI and provide feedback on
                                          next steps
Dusendschon, Kora     7/25/2023     0.1   Request additional information from FTI in regards to FTX EU KYC
                                          export request
Dusendschon, Kora     7/25/2023     0.1   Follow up on request for subpoena information and crime related
                                          requests
Dusendschon, Kora     7/25/2023     0.3   Draft email to FTI and outline baseline searching questions and
                                          needed information
Dusendschon, Kora     7/25/2023     0.3   Coordinate internally regarding request to provide FTX EU with
                                          export of KYC documents
Dusendschon, Kora     7/25/2023     0.3   Call with M. Flynn, P. Kwan, L. Konig, J. Marshall, K. Dusendschon,
                                          R. Johnson (A&M) to discuss AWS data request status
Dusendschon, Kora     7/25/2023     0.2   Confer on Refinitiv data exports and analysis


Flynn, Matthew        7/25/2023     0.2   Update customer portal status and findings presentation for
                                          management
Flynn, Matthew        7/25/2023     1.1   Create fireblocks account and complete initial onboarding


Flynn, Matthew        7/25/2023     0.8   Research relativity for FTT token details

Flynn, Matthew        7/25/2023     1.2   Review employee name and email files provided by S&C


Flynn, Matthew        7/25/2023     0.6   Review updated employee name and email files provided for S&C

Flynn, Matthew        7/25/2023     0.3   Call with M. Flynn, P. Kwan, L. Konig, J. Marshall, K. Dusendschon,
                                          R. Johnson (A&M) to discuss AWS data request status
Francis, Luke         7/25/2023     1.6   Review of notice to vendors for comparison to provided report


Heric, Andrew         7/25/2023     1.1   Research internal documents related to investments for request 112

Heric, Andrew         7/25/2023     0.6   Populate and finalize request 97 deliverable related to withdrawals
                                          analysis

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Heric, Andrew         7/25/2023     0.5   Call with Q. Lowdermilk and A. Heric (A&M) regarding updates to
                                          high priority request deliverables
Heric, Andrew         7/25/2023     0.7   Conduct open source research of investment related to request 112


Heric, Andrew         7/25/2023     1.9   Finalize deliverable for token related to request 112

Heric, Andrew         7/25/2023     0.6   Note summary findings from research of token of concern related to
                                          request 112
Heric, Andrew         7/25/2023     1.2   Review internal documents in three targeted searches related to
                                          request 112
Heric, Andrew         7/25/2023     0.3   Call with L. Iwanski, L. Lambert, Q. Lowdermilk, A. Heric, and I.
                                          Radwanski (A&M) regarding workstream updates and priorities
Heric, Andrew         7/25/2023     0.3   Review request 39 token analysis and apply findings to request 112
                                          summary
Heric, Andrew         7/25/2023     0.4   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                          request 112 analysis
Heric, Andrew         7/25/2023     0.6   Summarize request 112 analysis findings for token of concern


Iwanski, Larry        7/25/2023     0.3   Call with L. Iwanski, L. Lambert, Q. Lowdermilk, A. Heric, and I.
                                          Radwanski (A&M) regarding workstream updates and priorities
Iwanski, Larry        7/25/2023     0.4   Review of deliverable related to Request 111

Iwanski, Larry        7/25/2023     0.2   Call with L. Lambert, L. Iwanski, L. Callerio, I. Radwanksi, P.
                                          McGrath, M. Blanchard, S. Mimms (A&M) regarding SOL tracing in
                                          support of VanEck lender preference analysis
Johnson, Robert       7/25/2023     0.3   Call with M. Flynn, P. Kwan, L. Konig, J. Marshall, K. Dusendschon,
                                          R. Johnson (A&M) to discuss AWS data request status
Johnson, Robert       7/25/2023     1.3   Review results associated with debtor categorization for customer
                                          portal
Johnson, Robert       7/25/2023     1.2   Execute query to categorize claimants by debtor for customer portal


Johnston, David       7/25/2023     2.6   Review FTX EU Ltd. customer claims priority analysis and confirm
                                          outstanding questions
Johnston, David       7/25/2023     0.4   Call with H. Chambers and D. Johnston (A&M) to discuss Rest of
                                          World wind downs and KYC updates
Johnston, David       7/25/2023     0.5   Call with E. Chew, J. Taylor, R. Sexton, H. McGoldrick, J. Collis, J.
                                          Casey, D. Johnston, M. van den Belt (A&M) on FTX Singapore wind
                                          down strategy
Konig, Louis          7/25/2023     0.3   Call with M. Flynn, P. Kwan, L. Konig, J. Marshall, K. Dusendschon,
                                          R. Johnson (A&M) to discuss AWS data request status
Konig, Louis          7/25/2023     1.7   Documentation of findings related to incorporating daily transaction
                                          pricing into database environment
Kwan, Peter           7/25/2023     1.5   Perform analysis of BTC wallet node addresses to determine if there
                                          was any actual Blockchain activity for reporting purposes
Kwan, Peter           7/25/2023     0.6   Continue to coordinate with FTX data engineering team to develop
                                          response plan with respect to due diligence requests

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Professional              Date     Hours     Activity
Kwan, Peter            7/25/2023     1.3   Setup connectivity to open source BigQuery data set to download
                                           full blockchain data for wallet tracking database research
Kwan, Peter            7/25/2023     0.3   Call with M. Flynn, P. Kwan, L. Konig, J. Marshall, K. Dusendschon,
                                           R. Johnson (A&M) to discuss AWS data request status
Kwan, Peter            7/25/2023     1.2   Export listing of targeting BTC wallet node addresses from wallet
                                           tracking database into BigQuery data store in preparation for
                                           research
Kwan, Peter            7/25/2023     0.9   Develop preliminary data staging tables to analyze legacy
                                           Application Programming Interface interactions or performance in
                                           relation to diligence requests
Kwan, Peter            7/25/2023     1.1   Develop preliminary data staging tables to understand the bandwidth
                                           of typical customer interactions in relation to diligence requests
Kwan, Peter            7/25/2023     2.2   Develop preliminary data staging tables to enable the ability to
                                           perform comparative analysis on 3rd party referral program volumes
                                           in relation to diligence requests
Kwan, Peter            7/25/2023     1.4   Develop preliminary data staging tables to analyze process of
                                           reporting on customer IP address interactions in relation to diligence
                                           requests
Lam, James             7/25/2023     1.3   Revise the updated customer entitlements for FTX Japan and
                                           Quoine Pte
Lam, James             7/25/2023     1.6   Analyze crypto asset transfers from Quoine Pte to BitGo


Lam, James             7/25/2023     0.1   Call with S. Witherspoon and J. Lam (A&M) to discuss FTX cash
                                           management matters
Lam, James             7/25/2023     0.6   Consider the cash management options for FTX Japan


Lam, James             7/25/2023     1.1   Review the changes in customer entitlement for FTX Japan

Lam, James             7/25/2023     1.2   Review the pricing sources for Solana NFT collections

Lam, James             7/25/2023     1.8   Review the KYC procedure guide, instruction, and walkthroughs


Lambert, Leslie        7/25/2023     0.7   Review data and prepare analysis workplan

Lambert, Leslie        7/25/2023     1.4   Quality control review of observations identified from an analysis of
                                           certain flows of crypto
Lambert, Leslie        7/25/2023     1.1   Provide revisions and directives concerning a summary of findings
                                           and observations for a flow of funds analysis
Lambert, Leslie        7/25/2023     1.3   Conduct detailed review of approach, deliverable, and associated
                                           data for an analysis of certain on-chain activity
Lambert, Leslie        7/25/2023     0.2   Call with L. Lambert, L. Iwanski, L. Callerio, I. Radwanski, P.
                                           McGrath, M. Blanchard, S. Mimms (A&M) regarding SOL tracing in
                                           support of VanEck lender preference analysis
Lambert, Leslie        7/25/2023     0.3   Call with L. Iwanski, L. Lambert, Q. Lowdermilk, A. Heric, and I.
                                           Radwanski (A&M) regarding workstream updates and priorities
Li, Summer             7/25/2023     0.6   Prepare for the monthly actual cash flow of FTX Japan K.K


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Professional               Date    Hours     Activity
Li, Summer             7/25/2023     0.4   Review one of the customer balances with FTX Japan in April 2023

Li, Summer             7/25/2023     0.6   Update the chart on Japanese crypto market for the presentation
                                           about FTX Japan
Li, Summer             7/25/2023     0.8   Review the separate subsidiary overview for FTX Japan

Li, Summer             7/25/2023     0.3   Review the audit confirmation prepared by FTX Japan K.K for West
                                           Realm Shires Services and FTX Japan Services
Lowdermilk, Quinn      7/25/2023     2.1   Analyze token purchase agreement details to understand
                                           investments
Lowdermilk, Quinn      7/25/2023     2.4   Research blockchain activity for transactions tied to select token
                                           purchase agreements
Lowdermilk, Quinn      7/25/2023     2.9   Create crypto tracing deliverable outlining identified transactions


Lowdermilk, Quinn      7/25/2023     0.5   Call with Q. Lowdermilk and A. Heric (A&M) regarding updates to
                                           high priority request deliverables
Lowdermilk, Quinn      7/25/2023     0.4   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                           request 112 analysis
Lowdermilk, Quinn      7/25/2023     0.3   Call with L. Iwanski, L. Lambert, Q. Lowdermilk, A. Heric, and I.
                                           Radwanski (A&M) regarding workstream updates and priorities
Paterson, Warren       7/25/2023     3.1   Amend FTX Property Holding Ltd. liquidation value assessment

Paterson, Warren       7/25/2023     0.4   Attend meeting with K Dennison (A&M) to discuss FTX Property
                                           Holding Ltd. liquidation value assessment
Radwanski, Igor        7/25/2023     0.2   Call with L. Lambert, L. Iwanski, L. Callerio, I. Radwanski, P.
                                           McGrath, M. Blanchard, S. Mimms (A&M) regarding SOL tracing in
                                           support of VanEck lender preference analysis
Radwanski, Igor        7/25/2023     0.3   Call with L. Iwanski, L. Lambert, Q. Lowdermilk, A. Heric, and I.
                                           Radwanski (A&M) regarding workstream updates and priorities
Radwanski, Igor        7/25/2023     2.9   Edit Request 111 deliverable to reflect comments made


Radwanski, Igor        7/25/2023     2.9   Prepare Request 111 deliverable to reflect blockchain activity

Radwanski, Igor        7/25/2023     2.3   Trace suspicious blockchain activity regarding Request 113


Ramanathan, Kumanan    7/25/2023     0.3   Review of historical pre-petition custody accounts at FTX

Ramanathan, Kumanan    7/25/2023     0.4   Call with R. Perubhatla (FTX) to discuss IT matters


Ramanathan, Kumanan    7/25/2023     0.9   Review and provide feedback on FTT memo

Ramanathan, Kumanan    7/25/2023     0.7   Review of correspondence and plan regarding securing assets from
                                           third party exchange and provide feedback
Ramanathan, Kumanan    7/25/2023     0.4   Call with S. Kurz, C. Rhine (Galaxy) to discuss term sheet for asset
                                           management


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Professional                 Date    Hours     Activity
Ramanathan, Kumanan      7/25/2023     2.5   Prepare outline of crypto asset management terms and revise based
                                             on discussions
Sagen, Daniel            7/25/2023     0.6   Prepare updated July 7 coin report output files with revised pricing
                                             included
Sagen, Daniel            7/25/2023     0.4   Call with A. Sivapalu, G. Walia and D. Sagen (A&M) regarding coin
                                             data analysis
Sagen, Daniel            7/25/2023     0.2   Correspondence with A. Istrefi (Sygnia) regarding debtor exchange
                                             accounts
Sagen, Daniel            7/25/2023     0.4   Correspondence with J. Lam (A&M) regarding NFT pricing analysis
                                             for purposes of calculating storage fees
Sagen, Daniel            7/25/2023     0.7   Draft responses to 3rd party exchange questions, circulate with S&C
                                             team for review
Sagen, Daniel            7/25/2023     0.6   Prepare template to analyze petition and current pricing impacts
                                             from change in token pricing source
Sagen, Daniel            7/25/2023     0.3   Provide G. Walia (A&M) with requested summary details regarding
                                             FTT token
Sagen, Daniel            7/25/2023     1.7   Research questions received from 3rd party exchange regarding
                                             transfer of remaining assets
Sagen, Daniel            7/25/2023     1.3   Revise crypto asset pricing adjustment analysis prepared by Plan
                                             recovery team, circulate for review
Sagen, Daniel            7/25/2023     0.6   Review analysis of token vesting schedule, respond to questions
                                             from D. Slay and H. Trent (A&M)
Sagen, Daniel            7/25/2023     0.9   Prepare file summarizing LedgerPrime asset transfers for D. Nizhner
                                             (A&M)
Sagen, Daniel            7/25/2023     1.3   Revise pricing inputs in July 7 coin report

Schlam Batista, Sharon   7/25/2023     2.6   Prepare a mapping tab for the handover of bank statements analysis
                                             for FTX EU Ltd
Schlam Batista, Sharon   7/25/2023     2.6   Consolidate all the bank statements into one tab file in order to
                                             prepare the handover for FTX EU Ltd
Schlam Batista, Sharon   7/25/2023     2.8   Calculate the withdrawals after fiat max balance based on bank
                                             statements of FTX EU Ltd
Sexton, Rachel           7/25/2023     0.4   Meeting with C. Bowles (A&M) re: progress of wind down priorities.
                                             Relay to team
Sexton, Rachel           7/25/2023     0.4   Follow-up call with H. McGoldrick and J. Casey (A&M) re: refined
                                             books and records request. Discussion with D. Johnston (A&M) re:
                                             same
Sexton, Rachel           7/25/2023     0.6   Call with J. Taylor, D. Johnston, M. Van Den Belt, J. Casey, J.
                                             Collis and R. Sexton re: wind down strategy for Singapore
                                             subsidiaries
Sexton, Rachel           7/25/2023     0.9   Review standard liquidation questionnaire for Quoine Pte Ltd and
                                             prepare correspondence re same
Simkins, Maximilian      7/25/2023     0.3   Teleconference with M. Simkins, K. Dusendschon (A&M), N.
                                             Wolowski, G. Joseph (S&C), A. Bailey, B. Hadamik, G. Hougey, D.
                                             Lee, C. Miller, A. Vyas (FTI), to discuss overall FTX workstream
                                             updates


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Sivapalu, Anan        7/25/2023     0.4   Call with A. Sivapalu, G. Walia and D. Sagen (A&M) regarding coin
                                          data analysis
Stegenga, Jeffery     7/25/2023     0.9   Review of PMO reporting workstream summary, including S&S
                                          amendments and deliverable milestone dates
Stockmeyer, Cullen    7/25/2023     1.3   Update crypto tracing request tracker with additional
                                          correspondences related to professional services firms
Sunkara, Manasa       7/25/2023     0.9   Correspond with S&C to leverage data provided in previous requests

Sunkara, Manasa       7/25/2023     3.2   Extract all exchange data for all users as part of an S&C
                                          investigation
Sunkara, Manasa       7/25/2023     2.8   Investigate large volumes of user activity to deliver ingestible trading
                                          activity for S&C
Sunkara, Manasa       7/25/2023     2.3   Quality check SQL queries to confirm all user accounts associated
                                          with the 28 entities
Sunkara, Manasa       7/25/2023     2.7   Search the SQL database for any user accounts associated with an
                                          individual for S&C
van den Belt, Mark    7/25/2023     0.9   Review wind down timelines for FTX Japan


van den Belt, Mark    7/25/2023     0.9   Prepare updated presentation on FTX EU customer waterfall
                                          including maximum cash balances on exchange
van den Belt, Mark    7/25/2023     0.7   Review financial model related to the separate subsidiary analysis
                                          for FTX Europe and rest of world
van den Belt, Mark    7/25/2023     1.1   Review financial information in motion to dismiss for FTX Exchange
                                          FZE
van den Belt, Mark    7/25/2023     1.2   Prepare correspondence on wrap-up on Quoine Pte Ltd strategic
                                          options analysis for local management
van den Belt, Mark    7/25/2023     0.6   Prepare latest statement of liabilities for FTX Dubai as per July


van den Belt, Mark    7/25/2023     2.1   Prepare updated customer EU waterfall analysis based on updated
                                          maximum fiat methodology
van den Belt, Mark    7/25/2023     0.5   Call with E. Chew, J. Taylor, R. Sexton, H. McGoldrick, J. Collis, J.
                                          Casey, D. Johnston, M. van den Belt (A&M) on FTX Singapore wind
                                          down strategy
van den Belt, Mark    7/25/2023     0.9   Prepare correspondence on assumptions under participations of
                                          FTX Japan Holdings
van den Belt, Mark    7/25/2023     0.1   Prepare correspondence on Bitocto indemnification claims

van den Belt, Mark    7/25/2023     0.1   Prepare correspondence related to FTX Gibraltar wind down queries


van den Belt, Mark    7/25/2023     2.4   Review presentation on separate subsidiaries analysis for FTX
                                          Europe
van den Belt, Mark    7/25/2023     0.9   Consolidate commentary on presentation on separate subsidiaries
                                          analysis for FTX Europe
Walia, Gaurav         7/25/2023     1.3   Review the open list of preference exposure requests and prepare
                                          templates in response


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Business Operations
Professional              Date    Hours     Activity
Walia, Gaurav         7/25/2023     0.3   Call regarding separate subsidiaries analysis with M. van den Belt,
                                          C. Sullivan, G. Walia, B. Tenney, and H. Trent (A&M)
Walia, Gaurav         7/25/2023     0.4   Call with A. Sivapalu, G. Walia and D. Sagen (A&M) regarding coin
                                          data analysis
Walia, Gaurav         7/25/2023     0.8   Prepare a summary analysis of the FTT sent to the Bahamas

Walia, Gaurav         7/25/2023     1.3   Update the customer entitlements for Singapore

Walia, Gaurav         7/25/2023     1.2   Update the customer entitlements for Japan


Walia, Gaurav         7/25/2023     0.7   Update the customer entitlements for FTX.US based on updated
                                          pricing assumptions
Walia, Gaurav         7/25/2023     2.4   Prepare template for preference exposure analysis


Walia, Gaurav         7/25/2023     0.4   Review the Relativity outputs for certain FTT documents

Walia, Gaurav         7/25/2023     0.3   Call with M. Flynn, A. Canale, G. Walia, S. Mimms, M. Blanchard
                                          (A&M) to discuss customer preference requests
Walker, William       7/25/2023     0.5   Correspond with token issuer regarding outstanding tokens

Wall, Guy             7/25/2023     0.3   Discuss additional shareholder resolution related to FTX Dubai
                                          liquidation with R.Arbid(A&M)
Wall, Guy             7/25/2023     0.3   Discuss revisions to liquidation timeline with R. Arbid (A&M)


Wall, Guy             7/25/2023     0.4   Review of additional shareholder resolution related to FTX Dubai
                                          liquidation
Wilson, David         7/25/2023     2.2   Complete query and analysis for request for additional information
                                          on wildcard search account number results
Wilson, David         7/25/2023     2.8   Implement QC feedback on account detail information request for
                                          wallet addresses
Wilson, David         7/25/2023     3.1   Wrote and executed query for request for account detail information
                                          for multiple wallet addresses
Witherspoon, Samuel   7/25/2023     0.1   Call with S. Witherspoon and J. Lam (A&M) to discuss FTX cash
                                          management matters
Zatz, Jonathan        7/25/2023     3.1   Database scripting related to request for all OTC transactions for list
                                          of entities after specific date
Zatz, Jonathan        7/25/2023     2.4   Database scripting related to request for account names of
                                          unmatched exchange emails
Zatz, Jonathan        7/25/2023     0.9   Log inbound requests for exchange and Alameda data related to
                                          various subpoenas
Zatz, Jonathan        7/25/2023     0.7   Produce results related to request for account names of unmatched
                                          exchange emails
Zhang, Qi             7/25/2023     0.4   Clear KYC and Sumsub related customer service tickets issues




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Professional                Date    Hours     Activity
Zhang, Qi               7/25/2023     0.5   Perform daily review of Sumsub system manual escalation cases to
                                            record down issues identified for 25 July 2023
Zhang, Qi               7/25/2023     1.7   Perform daily review of Sumsub system auto approve cases to
                                            record down issues identified for 25 July 2023
Zhang, Qi               7/25/2023     0.6   Analyze cases under geo-location and address mismatch to see if
                                            there is any need to keep that trigger
Zhang, Qi               7/25/2023     2.4   Perform daily review of Integreon manual review team's work to
                                            record down issues identified for 25 July 2023
Zhang, Qi               7/25/2023     1.1   Draft plans on how to deal with KYC rejection cases going forward


Zhang, Qi               7/25/2023     1.2   Perform daily review of Sumsub system auto rejection cases to
                                            record down issues identified for 25 July 2023
Arbid, Rami             7/26/2023     0.4   Discuss with G. Wall (A&M) steps for liquidation and upcoming calls


Baker, Kevin            7/26/2023     2.1   Create summary report containing all customer containing deposits
                                            and withdrawals without any trading activity
Balmelli, Gioele        7/26/2023     0.4   Call with O. de Vito Piscicelli, T. Hill (S&C), M. Lambrianou, M.
                                            Athinodorou (FTX), M. Hadjigavriel, O. Adamidou (ATS), G. Balmelli,
                                            D. Johnston, M. van den Belt (A&M) on FTX EU matters
Balmelli, Gioele        7/26/2023     0.5   Call with O. Adamidou, M. Hadijgavriel (ATS), O. de Vito Piscicelli,
                                            T. Hill (S&C), G. Balmelli, D. Johnston, M. van den Belt (A&M) on
                                            FTX EU customer claim
Balmelli, Gioele        7/26/2023     0.3   Prepare correspondence re FTX Europe October 2022 Trial Balances

Balmelli, Gioele        7/26/2023     0.4   Review FTX EU Ltd. June trial balances

Balmelli, Gioele        7/26/2023     1.7   Prepare FTX Trading GmbH invoices and bank statements pack for
                                            Jan to Mar 23
Bammert, Brett          7/26/2023     0.2   Teleconference with B. Bammert, G. Walia, and K. Dusendschon
                                            (A&M) to discuss strategies to enhance searching within Relativity
Callerio, Lorenzo       7/26/2023     0.6   Meeting with L. Lambert, L. Callerio, L. Iwanski, I. Radwanski, C.
                                            Stockmeyer (A&M) re: crypto tracing process updates
Callerio, Lorenzo       7/26/2023     0.4   Perform final review of crypto tracing request 111 materials

Callerio, Lorenzo       7/26/2023     1.4   Review and analyze the preference analysis prepared by C.
                                            Stockmeyer (A&M)
Callerio, Lorenzo       7/26/2023     1.2   Review and approve REQ112 Elfin, REQ112 Dio, REQ112 GOG,
                                            REQ112 Manta and REQ112 PERC materials received from L.
                                            Lambert (A&M)
Callerio, Lorenzo       7/26/2023     0.3   Meeting with L. Callerio, G. Walia, C. Stockmeyer (A&M) re:
                                            preference analysis model
Callerio, Lorenzo       7/26/2023     0.6   Review and approve the ad hoc analysis prepared by I. Radwanski
                                            requested by K. Ramanathan (A&M)
Callerio, Lorenzo       7/26/2023     0.7   Review the recently-received inbound crypto tracing correspondence




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Professional                 Date    Hours     Activity
Casey, John              7/26/2023     3.1   Update template standard liquidation questionnaire for sources of
                                             information
Casey, John              7/26/2023     2.4   Update standard European and RoW liquidation questionnaire for
                                             the wind-down of Quoine Pte Ltd and prepare correspondence re
                                             same
Casey, John              7/26/2023     0.4   Emails to M van den Belt (A&M) and Grant Thornton Cyprus re:
                                             liquidations of Cypriot entities
Casey, John              7/26/2023     0.6   Follow up call with H. McGoldrick and R. Sexton (A&M) re: refined
                                             books and records request
Chambers, Henry          7/26/2023     0.9   Review separate subsidiary waterfall analysis


Chambers, Henry          7/26/2023     0.6   Amend FTX Japan deck for submission to FTX Management

Chambers, Henry          7/26/2023     0.2   Correspondence regarding Quoine India director

Chan, Jon                7/26/2023     1.9   Investigate activity related to several individuals that may be
                                             connected to relevant institution for S&C investigation
Chan, Jon                7/26/2023     2.1   Investigate activity related to a specific individual for Illinois
                                             subpoena request
Chan, Jon                7/26/2023     2.1   Investigate activity related to specific professional services firm for
                                             A&M internal analysis
Chan, Jon                7/26/2023     1.3   Investigate activity related to trading activity for A&M internal analysis

Chan, Jon                7/26/2023     1.2   Provide transaction date pricing for withdrawals and deposits made
                                             by specific entity
Chan, Jon                7/26/2023     0.3   Teleconference with K. Dusendschon and J. Chan (A&M) to go
                                             through action items, pending requests and workstreams
Chan, Jon                7/26/2023     0.8   Call with M. Sunkara, J. Chan, J. Zatz (A&M) to discuss data
                                             requests and issues
Collis, Jack             7/26/2023     2.8   Review of Quoine PTE Ltd information and prepare liquidation
                                             questionnaire
Collis, Jack             7/26/2023     1.7   Review of Zubr information, update questionnaire and discuss with J
                                             Casey (A&M)
Dalgleish, Elizabeth     7/26/2023     0.8   Prepare wind-down recovery analysis for FTX EMEA Ltd


Dalgleish, Elizabeth     7/26/2023     1.3   Review and update liquidation timelines for Zubr Exchange Ltd and
                                             Japan Services KK for cross-functional working group RoW update
                                             for 28 July
Dalgleish, Elizabeth     7/26/2023     1.6   Prepare wind-down recovery analysis for FTX Crypto Services Ltd

Dalgleish, Elizabeth     7/26/2023     0.7   Prepare analysis of payments made by and on behalf of FTX
                                             Exchange FZE from petition date to 21 July 2023
Dusendschon, Kora        7/26/2023     0.2   Teleconference with B. Bammert, G. Walia, and K. Dusendschon
                                             (A&M) to discuss strategies to enhance searching within Relativity
Dusendschon, Kora        7/26/2023     0.4   Teleconference with J. Marshall to discuss pending request for
                                             subpoena listing for S&C and review considerations

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Dusendschon, Kora     7/26/2023     0.3   Teleconference with K. Dusendschon and J. Chan (A&M) to go
                                          through action items, pending requests and workstreams
Dusendschon, Kora     7/26/2023     0.7   Teleconference with K. Dusendschon, C. Radis, M. Haigis, and M.
                                          Simkins (A&M) to discuss status of KYC tasks
Dusendschon, Kora     7/26/2023     0.1   Remediate issues with data received from FTI

Dusendschon, Kora     7/26/2023     0.3   Review feedback from FTI and draft message to Martha regarding
                                          data transfer
Dusendschon, Kora     7/26/2023     0.2   Review information from FTI and provide guidance to team on
                                          request response
Dusendschon, Kora     7/26/2023     0.3   Provide update to team regarding subpoena and crime related
                                          requests for KYC information
Dusendschon, Kora     7/26/2023     0.3   Prepare deck for weekly meeting with R. Perubhatla (FTX) and
                                          distribute for comments
Dusendschon, Kora     7/26/2023     0.1   Prepare and compile information to discuss with R. Perubhatla (FTX)

Dusendschon, Kora     7/26/2023     0.1   Identify KYC related action items for following day and send to team


Dusendschon, Kora     7/26/2023     0.1   Confer and provide guidance to team on KYC related requests

Dusendschon, Kora     7/26/2023     0.2   Strategize internally on searching strategies for baseline searches in
                                          Relativity
Flynn, Matthew        7/26/2023     0.8   Review employee preference deliverable for S&C


Flynn, Matthew        7/26/2023     0.2   Call with M. Flynn, K. Ramanathan (A&M), S. Freeman (JST) to
                                          discuss hedging findings
Flynn, Matthew        7/26/2023     0.9   Call with M. Flynn, K. Ramanathan (A&M), H. Nachmias, L. Farazis,
                                          A. Taylor (Sygnia) to discuss latest security and crypto status
Flynn, Matthew        7/26/2023     0.2   Call with D. White and others (AlixPartners), R. Perubhatla, J.
                                          Sardinha, P. Lee (FTX), M. Flynn, P. Kwan, A. Mohammed(A&M) to
                                          discuss wallet time series data scoping and review of ingesting more
                                          wallet addresses
Flynn, Matthew        7/26/2023     0.8   Draft customer portal status and findings presentation for
                                          management
Flynn, Matthew        7/26/2023     0.7   Correspond on employee preference request from S&C


Flynn, Matthew        7/26/2023     0.3   Correspond with Fireblocks on next steps for onboarding

Flynn, Matthew        7/26/2023     0.9   Review data provided on employee related accounts for master file
                                          inclusion
Haigis, Maya          7/26/2023     0.3   Teleconference with J. Marshall, M. Haigis, P. Kwan, A.Sloan (A&M)
                                          to go through action items, pending requests and workstreams
Haigis, Maya          7/26/2023     0.7   Review cash database fields for Relativity overlay

Haigis, Maya          7/26/2023     0.7   Teleconference with K. Dusendschon, C. Radis, M. Haigis, and M.
                                          Simkins (A&M) to discuss status of KYC tasks

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Professional             Date     Hours     Activity
Haigis, Maya          7/26/2023     0.6   Draft questions for FTI regarding KYC process to add to KYC slide
                                          deck
Heric, Andrew         7/26/2023     0.4   Call with Q. Lowdermilk and A. Heric (A&M) regarding updates and
                                          findings to multiple request deliverables
Heric, Andrew         7/26/2023     1.1   Gather blockchain data for multiple addresses and transaction for
                                          request 114
Heric, Andrew         7/26/2023     1.4   Notate summary findings from request 114 analysis

Heric, Andrew         7/26/2023     1.2   Gather transaction detail for five specific tokens related to request
                                          110 deliverable
Heric, Andrew         7/26/2023     0.7   Craft methodology for incoming request 114

Heric, Andrew         7/26/2023     0.9   Conduct crypto tracing of two addresses of concern related to
                                          request 114
Heric, Andrew         7/26/2023     1.2   Review open source information related to request 114

Heric, Andrew         7/26/2023     0.3   Call with L. Iwanski, L. Lambert, Q. Lowdermilk, A. Heric, and I.
                                          Radwanski (A&M) regarding workstream updates and priorities
Heric, Andrew         7/26/2023     1.1   Research internal documentation related to request 114

Iwanski, Larry        7/26/2023     0.7   Review of 3 separate deliverables related to Request 112

Iwanski, Larry        7/26/2023     0.3   Call with L. Iwanski, L. Lambert, Q. Lowdermilk, A. Heric, and I.
                                          Radwanski (A&M) regarding workstream updates and priorities
Iwanski, Larry        7/26/2023     1.9   Review of deliverables related to 6 separate tokens

Iwanski, Larry        7/26/2023     0.6   Meeting with L. Lambert, L. Callerio, L. Iwanski, I. Radwanski, C.
                                          Stockmeyer (A&M) re: crypto tracing process updates
Iwanski, Larry        7/26/2023     0.3   Call with L. Iwanski, L. Lambert, A. Canale, P. McGrath (A&M)
                                          regarding crypto tracing avoidance ventures internal updates
Johnson, Robert       7/26/2023     1.3   Apply modifications to Python script to allow for daily pricing pulls
                                          into Postgres database from coinmetrics
Johnson, Robert       7/26/2023     0.8   Call with D. Wilson, P. Kwan, L. Konig, and R. Johnson (A&M) to
                                          discuss data requests and issues
Johnston, David       7/26/2023     0.3   Review FTX EU Ltd. steps plan and related materials

Johnston, David       7/26/2023     0.4   Call with D. Hammon, C. Maclean (E&Y), D. Johnston, M. van den
                                          Belt (A&M) on FTX wind down matters
Johnston, David       7/26/2023     0.5   Call with O. Adamidou, M. Hadijgavriel (ATS), O. de Vito Piscicelli,
                                          T. Hill (S&C), G. Balmelli, D. Johnston, M. van den Belt (A&M) on
                                          FTX EU customer claim
Johnston, David       7/26/2023     0.4   Call with O. de Vito Piscicelli, T. Hill (S&C), M. Lambrianou, M.
                                          Athinodorou (FTX), M. Hadjigavriel, O. Adamidou (ATS), G. Balmelli,
                                          D. Johnston, M. van den Belt (A&M) on FTX EU matters
Johnston, David       7/26/2023     0.8   Coordinate retrieval of Zubr Exchange from storage unit, prepare
                                          related correspondence

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Professional              Date    Hours     Activity
Johnston, David       7/26/2023     0.7   Review updates to FTX EU Ltd. balance sheet, prepare
                                          correspondence including queries of movements
Johnston, David       7/26/2023     1.1   Review global wind down checklist and provide comments


Konig, Louis          7/26/2023     0.8   Call with D. Wilson, P. Kwan, L. Konig, and R. Johnson (A&M) to
                                          discuss data requests and issues
Kwan, Peter           7/26/2023     1.7   Continue to develop logic to analyze historical Order flow and
                                          origination channels for responding to due diligence requests
Kwan, Peter           7/26/2023     0.7   Draft response summarizing historical knowledge of the technology
                                          infrastructure of foreign FTX entity based out of Europe
Kwan, Peter           7/26/2023     2.4   Continue to develop logic to analyze customer IP address patterns
                                          for responding to due diligence requests
Kwan, Peter           7/26/2023     1.1   Continue to develop logic to analyze Application Programming
                                          Interface patterns for responding to due diligence requests
Kwan, Peter           7/26/2023     0.3   Teleconference with J. Marshall, M. Haigis, P. Kwan, A.Sloan (A&M)
                                          to go through action items, pending requests and workstreams
Kwan, Peter           7/26/2023     0.8   Call with D. Wilson, P. Kwan, L. Konig, and R. Johnson (A&M) to
                                          discuss data requests and issues
Kwan, Peter           7/26/2023     0.4   Communicate to creditor's counsel to clarify wallet custody
                                          considerations
Kwan, Peter           7/26/2023     0.2   Call with D. White and others (AlixPartners), R. Perubhatla, J.
                                          Sardinha, P. Lee (FTX), M. Flynn, P. Kwan, A. Mohammed(A&M) to
                                          discuss wallet time series data scoping and review of ingesting more
                                          wallet addresses
Lam, James            7/26/2023     0.9   Review the BitGo transfer records for the separate subsidiary
                                          analysis
Lam, James            7/26/2023     0.9   Review KYC vendor workflow and procedure manual


Lam, James            7/26/2023     2.6   Conduct and review preference analysis for Liquid customers

Lam, James            7/26/2023     1.4   Review the digital assets and customer entitlements for the separate
                                          subsidiary analysis
Lam, James            7/26/2023     2.4   Update the reporting deck on FTX Japan operation, business plan,
                                          and financials
Lambert, Leslie       7/26/2023     0.8   Conduct research and scope analysis for a crypto tracing request


Lambert, Leslie       7/26/2023     0.6   Draft comments and observations based on a review of data and on-
                                          chain activity relevant to a crypto tracing request
Lambert, Leslie       7/26/2023     0.8   Prepare for update on crypto tracing workstream

Lambert, Leslie       7/26/2023     0.6   Review correspondence and attachments relevant to crypto
                                          management workstream
Lambert, Leslie       7/26/2023     0.5   Call with Q. Lowdermilk and L. Lambert (A&M) regarding crypto
                                          tracing deliverable for request 110
Lambert, Leslie       7/26/2023     0.4   Call with Q. Lowdermilk and L. Lambert (A&M) regarding
                                          adjustments to crypto tracing deliverable for request 112

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Lambert, Leslie        7/26/2023     0.3   Call with L. Iwanski, L. Lambert, Q. Lowdermilk, A. Heric, and I.
                                           Radwanski (A&M) regarding workstream updates and priorities
Lambert, Leslie        7/26/2023     0.6   Meeting with L. Lambert, L. Callerio, L. Iwanski, I. Radwanski, C.
                                           Stockmeyer (A&M) re: crypto tracing process updates
Li, Summer             7/26/2023     2.3   Review the underlying figures for the separate subsidiaries overview

Li, Summer             7/26/2023     1.2   Update the weekly forecast cash flow of FTX Japan K.K to the
                                           monthly cash flow
Li, Summer             7/26/2023     0.3   Correspondence with S. Kojima (FTX) regarding the audit
                                           confirmations between FTX Japan K.K. and FTX Japan Services
                                           and West Realm Shires Services
Li, Summer             7/26/2023     0.3   Understand the nature of two cash withdrawals of FTX Japan K.K on
                                           the petition date
Li, Summer             7/26/2023     2.2   Update the presentation on FTX Japan K.K. to reflect the comments
                                           from A&M team
Li, Summer             7/26/2023     1.1   Update the weekly actual flow of FTX Japan K.K to the monthly cash
                                           flow
Lowdermilk, Quinn      7/26/2023     2.4   Analyze blockchain activity to create deliverable for cold storage
                                           funds analysis regarding crypto tracing request 112
Lowdermilk, Quinn      7/26/2023     2.7   Create a deliverable outlining receipt of tokens associated with token
                                           purchase agreements
Lowdermilk, Quinn      7/26/2023     0.5   Call with Q. Lowdermilk and L. Lambert (A&M) regarding crypto
                                           tracing deliverable for request 110
Lowdermilk, Quinn      7/26/2023     0.4   Call with Q. Lowdermilk and L. Lambert (A&M) regarding
                                           adjustments to crypto tracing deliverable for request 112
Lowdermilk, Quinn      7/26/2023     0.4   Call with Q. Lowdermilk and A. Heric (A&M) regarding updates and
                                           findings to multiple request deliverables
Lowdermilk, Quinn      7/26/2023     0.3   Call with L. Iwanski, L. Lambert, Q. Lowdermilk, A. Heric, and I.
                                           Radwanski (A&M) regarding workstream updates and priorities
Lowdermilk, Quinn      7/26/2023     2.4   Annotate crypto tracing analysis file with identified transactions


Marshall, Jonathan     7/26/2023     0.4   Teleconference with J. Marshall and K. Dusenchon to discuss
                                           pending request for subpoena listing for S&C and review
                                           considerations
Marshall, Jonathan     7/26/2023     0.3   Teleconference with J. Marshall, M. Haigis, P. Kwan, A.Sloan (A&M)
                                           to go through action items, pending requests and workstreams
McGoldrick, Hugh       7/26/2023     0.5   Follow up call with J. Casey and R. Sexton re: refined books and
                                           records request
Mohammed, Azmat        7/26/2023     0.2   Call with D. White and others (AlixPartners), R. Perubhatla, J.
                                           Sardinha, P. Lee (FTX), M. Flynn, P. Kwan, A. Mohammed(A&M) to
                                           discuss wallet time series data scoping and review of ingesting more
                                           wallet addresses
Mohammed, Azmat        7/26/2023     0.2   Call with Cap Gemini developers to discuss status on documenting
                                           code base and the wallet time series database projects
Mohammed, Azmat        7/26/2023     0.2   Call with J. Sardinha, T. Cheam, P. Lee, E. Simendinger (FTX) and
                                           A. Mohammed (A&M) to discuss development efforts and overall
                                           velocity during weekly engineering call

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Business Operations
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Mohammed, Azmat       7/26/2023     0.3   Share findings of BTC node wallet research with development team
                                          and coordinate efforts related to capturing transaction history for
                                          other advisors
Mohammed, Azmat       7/26/2023     0.3   Select and purchase chain node plan from data vendor which will
                                          supply chain data to the wallet time series database
Radis, Cameron        7/26/2023     0.7   Teleconference with K. Dusendschon, C. Radis, M. Haigis, and M.
                                          Simkins (A&M) to discuss status of KYC tasks
Radwanski, Igor       7/26/2023     0.3   Call with L. Callerio, I. Radwanski, J. Chan, M. Sunkara (A&M)
                                          regarding crypto tracing avoidance ventures internal updates
Radwanski, Igor       7/26/2023     0.3   Call with L. Iwanski, L. Lambert, Q. Lowdermilk, A. Heric, and I.
                                          Radwanski (A&M) regarding workstream updates and priorities
Radwanski, Igor       7/26/2023     1.4   Draft email deliverable regarding findings of Request 113

Radwanski, Igor       7/26/2023     2.7   Investigate open source reports on target address

Radwanski, Igor       7/26/2023     0.6   Meeting with L. Lambert, L. Callerio, L. Iwanski, I. Radwanski, C.
                                          Stockmeyer (A&M) re: crypto tracing process updates
Radwanski, Igor       7/26/2023     2.8   Trace flow of funds activity related to Request 113

Ramanathan, Kumanan   7/26/2023     0.4   Review Galaxy asset management marketing materials and distribute


Ramanathan, Kumanan   7/26/2023     0.8   Review of crypto asset liquidation methods and provide feedback

Ramanathan, Kumanan   7/26/2023     1.1   Review of crypto coin report and provide feedback


Ramanathan, Kumanan   7/26/2023     0.2   Review of updated side letter and distribute for feedback

Ramanathan, Kumanan   7/26/2023     0.2   Call with A. Kranzley (S&C) to discuss post petition deposit
                                          mechanisms
Ramanathan, Kumanan   7/26/2023     0.2   Review vendor invoices and distribute for payment


Ramanathan, Kumanan   7/26/2023     0.9   Revise term sheet for crypto asset management and circulate for
                                          comments
Ramanathan, Kumanan   7/26/2023     0.2   Correspond re: bridging activities for crypto asset


Ramanathan, Kumanan   7/26/2023     0.9   Call with M. Flynn, K. Ramanathan (A&M), H. Nachmias, L. Farazis,
                                          A. Taylor (Sygnia) to discuss latest security and crypto status
Ramanathan, Kumanan   7/26/2023     0.2   Call with M. Flynn, K. Ramanathan (A&M), S. Freeman (JST) to
                                          discuss hedging findings
Ramanathan, Kumanan   7/26/2023     0.3   Call with S. Kurz, C. Rhine (Galaxy) to discuss updated term sheet
                                          for crypto asset management
Ramanathan, Kumanan   7/26/2023     0.2   Correspond and review BVI entity licensing requirements

Sagen, Daniel         7/26/2023     0.7   Research select tokens with material variances in source comparison




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Business Operations
Professional                Date     Hours     Activity
Sagen, Daniel            7/26/2023     1.1   Incorporate feedback from J. Lam (A&M) regarding subsidiary crypto
                                             assets
Sagen, Daniel            7/26/2023     0.9   Incorporate LedgerPrime updates into Plan recovery crypto asset
                                             inputs
Sagen, Daniel            7/26/2023     0.8   Prepare summary of material token price changes with new pricing
                                             source
Sagen, Daniel            7/26/2023     1.6   Analyze variances in petition date and current pricing for potential
                                             new token pricing source agreed upon with UCC
Sagen, Daniel            7/26/2023     0.3   Prepare variance analysis for revised July 7 coin report


Sagen, Daniel            7/26/2023     1.3   Analyze LedgerPrime digital asset reconciliation from D. Nizhner
                                             (A&M), research variances
Sagen, Daniel            7/26/2023     0.4   Summarize key results and takeaways of token price comparison,
                                             circulate with G. Walia (A&M) for review
Sagen, Daniel            7/26/2023     2.4   Update digital asset bridge for Plan recovery model to separate
                                             subsidiary assets
Sagen, Daniel            7/26/2023     0.8   Prepare updated bridge of crypto asset inputs for Plan recovery
                                             model based off revised July 7 pricing
Schlam Batista, Sharon   7/26/2023     1.9   Run the trading book with the new fiat balances of FTX EU Ltd

Schlam Batista, Sharon   7/26/2023     1.2   Build a consolidated file for all the bank statements available for
                                             Rest of World entities and prepare a summary
Schlam Batista, Sharon   7/26/2023     1.4   Build a customer balances schedule based on the latest
                                             methodology for FTX EU customers
Schlam Batista, Sharon   7/26/2023     2.3   Build a template to calculate total withdrawals after the new max fiat
                                             balance date based on bank statements of FTX EU Ltd
Schlam Batista, Sharon   7/26/2023     1.6   Calculate the max fiat balance per user per transaction for FTX EU
                                             Ltd
Schlam Batista, Sharon   7/26/2023     1.6   Validate the main changes of FTX EU Ltd customer balances based
                                             on the new fiat balance calculation
Sexton, Rachel           7/26/2023     0.6   Review correspondence received from M. Van Den Belt (A&M) re
                                             intercompany balances, bank accounts, and customer profiles for
                                             certain European and RoW subsidiaries
Simkins, Maximilian      7/26/2023     0.7   Teleconference with K. Dusendschon, C. Radis, M. Haigis, and M.
                                             Simkins (A&M) to discuss status of KYC tasks
Slay, David              7/26/2023     1.4   Develop global excel document with UCC questions and responses

Slay, David              7/26/2023     0.6   Review and update latest professional model and forecast with latest
                                             data drop
Sloan, Austin            7/26/2023     0.3   Teleconference with J. Marshall, M. Haigis, P. Kwan, A.Sloan (A&M)
                                             to go through action items, pending requests and workstreams
Stockmeyer, Cullen       7/26/2023     1.8   Audit preference analysis for new dataset to ensure accuracy

Stockmeyer, Cullen       7/26/2023     1.8   Continue to update preference analysis based on commentary from
                                             G. Walia (A&M)


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Business Operations
Professional              Date    Hours     Activity
Stockmeyer, Cullen    7/26/2023     1.2   Develop variance report for latest information related to various
                                          crypto tracing
Stockmeyer, Cullen    7/26/2023     0.3   Meeting with L. Callerio, G. Walia, C. Stockmeyer (A&M) re:
                                          preference analysis model
Stockmeyer, Cullen    7/26/2023     2.3   update preference analysis utilizing new dataset

Stockmeyer, Cullen    7/26/2023     1.8   Finalize preference analysis of official committee members

Stockmeyer, Cullen    7/26/2023     2.2   Update preference analysis based on commentary from G. Walia
                                          (A&M)
Stockmeyer, Cullen    7/26/2023     2.2   Prepare round of updates for preference analysis based on
                                          additional commentary from G. Walia (A&M)
Sunkara, Manasa       7/26/2023     0.8   Call with M. Sunkara, J. Chan, J. Zatz (A&M) to discuss data
                                          requests and issues
Sunkara, Manasa       7/26/2023     2.4   Query the top 500 users on the exchange based on their 90 day
                                          preference exposure
Sunkara, Manasa       7/26/2023     2.4   Analyze subpoena requests from S&C


Sunkara, Manasa       7/26/2023     1.8   Correspond with FTI to request KYC documents for subpoena
                                          requests
Sunkara, Manasa       7/26/2023     0.8   Provide KYC documents to S&C for an internal investigation

van den Belt, Mark    7/26/2023     0.5   Call with O. Adamidou, M. Hadijgavriel (ATS), O. de Vito Piscicelli,
                                          T. Hill (S&C), G. Balmelli, D. Johnston, M. van den Belt (A&M) on
                                          FTX EU customer claim
van den Belt, Mark    7/26/2023     1.1   Review updated max fiat balance calculations

van den Belt, Mark    7/26/2023     1.6   Prepare schedule of EU customer balance calculation for handover
                                          materials
van den Belt, Mark    7/26/2023     0.6   Review updated motion to dismiss of FTX Exchange FZE


van den Belt, Mark    7/26/2023     1.3   Prepare comparison analysis of the balance sheet of FTX EU Ltd

van den Belt, Mark    7/26/2023     0.7   Prepare correspondence on FTX EU Ltd June'23 client fee positions


van den Belt, Mark    7/26/2023     1.3   Review liquidation timelines of FTX Gibraltar

van den Belt, Mark    7/26/2023     1.1   Review liquidation timelines of FTX Japan services


van den Belt, Mark    7/26/2023     0.4   Call with D. Hammon, C. Maclean (E&Y), D. Johnston, M. van den
                                          Belt (A&M) on FTX wind down matters
van den Belt, Mark    7/26/2023     0.3   Prepare correspondence on director employment status of FTX
                                          Japan services
van den Belt, Mark    7/26/2023     0.4   Call with O. de Vito Piscicelli, T. Hill (S&C), M. Lambrianou, M.
                                          Athinodorou (FTX), M. Hadjigavriel, O. Adamidou (ATS), G. Balmelli,
                                          D. Johnston, M. van den Belt (A&M) on FTX EU matters

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Business Operations
Professional             Date     Hours     Activity
van den Belt, Mark    7/26/2023     0.9   Prepare correspondence on liquidator appointment in Cyprus

Walia, Gaurav         7/26/2023     0.6   Call with E. Broderick (ES) to discuss open derivative balances


Walia, Gaurav         7/26/2023     2.9   Review the updated preference exposure analysis template and
                                          provide feedback
Walia, Gaurav         7/26/2023     2.8   Prepare scenario analysis for open derivative positions

Walia, Gaurav         7/26/2023     2.1   Prepare summary output of the impact of open derivative positions
                                          on a specific customer
Walia, Gaurav         7/26/2023     0.8   Review the preference exposure analysis for a specific customer
                                          and provide feedback
Walia, Gaurav         7/26/2023     0.2   Teleconference with B. Bammert, G. Walia, and K. Dusendschon
                                          (A&M) to discuss strategies to enhance searching within Relativity
Walia, Gaurav         7/26/2023     2.2   Review responses to several diligence questions and provide
                                          feedback
Walia, Gaurav         7/26/2023     2.8   Prepare the preference exposure analysis for UCC members


Walia, Gaurav         7/26/2023     0.3   Meeting with L. Callerio, G. Walia, C. Stockmeyer (A&M) re:
                                          preference analysis model
Walia, Gaurav         7/26/2023     1.1   Prepare preference analysis for a Quoine customer

Walia, Gaurav         7/26/2023     0.4   Prepare a data request for the data team related to preference
                                          exposure
Walker, William       7/26/2023     0.4   Review weekly correspondence with token issuers for any missed
                                          notes
Walker, William       7/26/2023     0.9   Correspond with token issuers regarding outstanding tokens


Walker, William       7/26/2023     0.9   Draft memo to Y. Yogev (Sygnia) regarding question from issuers on
                                          new wallets for token claiming
Wall, Guy             7/26/2023     0.4   Discuss with R. Arbid (A&M) steps for liquidation and upcoming calls


Wilson, David         7/26/2023     0.8   Call with D. Wilson, P. Kwan, L. Konig, and R. Johnson (A&M) to
                                          discuss data requests and issues
Wilson, David         7/26/2023     2.4   Began initial version of tear sheet macro for preference analysis
                                          automation to generate tear sheets for each account with positive
                                          preference exposure
Wilson, David         7/26/2023     3.1   Complete first version of table summary macro for preference
                                          analysis automation to create table of preference exposure for each
                                          main account in request
Wilson, David         7/26/2023     2.8   Draft a preference analysis report summary for requested main
                                          account IDs
Yan, Jack             7/26/2023     0.8   Perform sense check of the tokens held by Liquid Japan as of July
                                          24, 2023
Yan, Jack             7/26/2023     1.2   Update the wallet data of FTX Japan and Quoine Pte Limited



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Professional               Date     Hours     Activity
Zatz, Jonathan          7/26/2023     3.1   Database scripting related to request for exchange accounts without
                                            any fills activity
Zatz, Jonathan          7/26/2023     0.6   Produce results related to request for exchange accounts without
                                            any fills activity
Zatz, Jonathan          7/26/2023     2.9   Database scripting related to request to search databases for
                                            specific transfer
Zatz, Jonathan          7/26/2023     0.8   Call with M. Sunkara, J. Chan, J. Zatz (A&M) to discuss data
                                            requests and issues
Zatz, Jonathan          7/26/2023     0.4   Produce results related to request to search databases for specific
                                            transfer
Zhang, Qi               7/26/2023     1.6   Perform daily review of Sumsub system auto approve cases to
                                            record down issues identified for 26 July 2023
Zhang, Qi               7/26/2023     0.9   Perform daily review of Sumsub system auto rejection cases to
                                            record down issues identified for 26 July 2023
Zhang, Qi               7/26/2023     0.6   Perform daily review of Sumsub system manual escalation cases to
                                            record down issues identified for 26 July 2023
Zhang, Qi               7/26/2023     1.3   Review court documents on people with potential fraud aspect to
                                            check their identify and presence on Sumsub
Zhang, Qi               7/26/2023     1.4   Review customer KYC status to answer questions raised by
                                            customer service team
Zhang, Qi               7/26/2023     3.1   Perform daily review of Integreon manual review team's work to
                                            record down issues identified for 26 July 2023
Arbid, Rami             7/27/2023     0.3   Review of liquidator framework agreement related to FTX Dubai


Arbid, Rami             7/27/2023     0.6   Call with M. Berti, G. Opris, C. Howard (S&C), R. Arbid, G. Wall, M.
                                            van den Belt (A&M) on FTX Dubai liquidator engagement letter
Arbid, Rami             7/27/2023     0.1   Discuss with M. van den Belt (A&M) liquidation timeline


Arbid, Rami             7/27/2023     0.2   Discuss with G. Wall (A&M) feedback related to FTX Dubai EL for
                                            liquidation and audit
Arbid, Rami             7/27/2023     0.4   Debrief with G. Wall (A&M) on next steps related to FTX Dubai
                                            liquidation plan
Baker, Kevin            7/27/2023     2.3   Run final quality control and assurance around US States subpoena
                                            request to confirm balance calculations and interest earned for
                                            enrollment in Earn
Balmelli, Gioele        7/27/2023     1.2   Prepare correspondence re finalized intercompany receivables
                                            overview at FTX Europe AG
Balmelli, Gioele        7/27/2023     0.6   Prepare correspondence re K-DNA acquisition documentation


Bowles, Carl            7/27/2023     0.4   Review wind-down option strategy for FTX Europe entities

Callerio, Lorenzo       7/27/2023     0.9   Review and analyze the inbound tracing correspondence

Callerio, Lorenzo       7/27/2023     0.4   Review and approve REQ112 BRG materials provided by Q.
                                            Lowdermilk (A&M)


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Professional                Date     Hours     Activity
Callerio, Lorenzo        7/27/2023     0.8   Review and approve REQ110 deliverable prepared by Q.
                                             Lowdermilk (A&M)
Callerio, Lorenzo        7/27/2023     0.4   Meeting with L. Iwanski, A. Heric, I. Radwanski, Q. Lowdermilk
                                             (A&M) re: crypto tracing update call
Casey, John              7/27/2023     0.3   Discussion with R Sexton re: Quoine key next steps and
                                             presentation of output
Casey, John              7/27/2023     0.6   Call with R. Sexton (A&M) in relation to updated template standard
                                             liquidation questionnaire and progress on completion of
                                             questionnaires
Casey, John              7/27/2023     2.9   Review of additional Quoine Pte information for liquidation planning
                                             purposes
Casey, John              7/27/2023     2.2   Review and update entity schedule and action list in relation to each
                                             of the priority European and RoW subsidiaries in advance of weekly
                                             update call with D. Johnston and M. van den Belt (A&M)
Casey, John              7/27/2023     2.6   Review and update standard European and RoW liquidation
                                             questionnaire for the wind-down of Quoine Pte Ltd following
                                             comments from R. Sexton
Casey, John              7/27/2023     0.6   Call with D. Johnson, M. Van Den Belt, J. Casey, J. Collis (A&M)
                                             regarding entity wind down strategy and next steps
Chambers, Henry          7/27/2023     0.2   Call with D. Johnston, H. Chambers. M. van den Belt and J. Lam
                                             (A&M) to discuss Quoine Pte's token balances
Chambers, Henry          7/27/2023     0.9   Finalization of FTX Japan update deck

Chambers, Henry          7/27/2023     0.4   Direct team on next steps update for FTX Japan deck


Chan, Jon                7/27/2023     2.6   Investigate activity related to professional services firm for A&M
                                             professional services preference analysis
Chan, Jon                7/27/2023     2.4   Investigate activity related to S&C internal analysis for specific
                                             entities and individuals
Chan, Jon                7/27/2023     2.8   Investigate activity related to subpoena request relating to specific
                                             transactions given bank account information
Chan, Jon                7/27/2023     2.9   Investigate activity related to Missouri subpoena request for S&C

Chan, Jon                7/27/2023     2.7   Investigate activity related to lending analysis for A&M avoidance
                                             analysis
Chew, Ee Ling            7/27/2023     0.4   Review presentation slide for Quoine Pte by local solicitor and
                                             provide comments
Clayton, Lance           7/27/2023     1.1   Final updates to venture board deck


Collis, Jack             7/27/2023     0.3   Prepare list of action points for wind-down preparation of Quoine Pte
                                             Ltd following call with D. Johnston and M. van den Belt (A&M)
Collis, Jack             7/27/2023     1.4   Update standard liquidation questionnaire for Zubr Exchange Ltd
                                             and prepare correspondence re same
Collis, Jack             7/27/2023     0.6   Review of framework agreement for FTX Exchange FZE and prepare
                                             correspondence in relation to same



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Professional                 Date    Hours     Activity
Collis, Jack             7/27/2023     1.9   Review and update standard liquidation questionnaire for FTX EU
                                             Ltd and prepare correspondence re same
Collis, Jack             7/27/2023     0.8   Call with D. Johnson, M. Van Den Belt, J. Casey, J. Collis regarding
                                             entity wind down strategy and next steps
Collis, Jack             7/27/2023     0.7   Review of customer profile information available for FTX EU Ltd and
                                             prepare note to team re same
Corr, Caoimhe            7/27/2023     1.1   Summarize located claims for Europe vs latest claims report

Coverick, Steve          7/27/2023     0.2   Discuss matching engine review with K. Ramanathan (A&M)


Coverick, Steve          7/27/2023     1.6   Review and provide comments on asset marshalling analysis

Dalgleish, Elizabeth     7/27/2023     1.3   Prepare updated bank statement analysis to categorize transactions
                                             for FTX Trading GmbH
Dalgleish, Elizabeth     7/27/2023     0.7   Prepare analysis of the bank account activity detail for FTX Europe
                                             entities from 11 November 2022 to 30 November 2022
Dalgleish, Elizabeth     7/27/2023     1.1   Prepare analysis of the payment activity detail for FTX Europe
                                             entities from 11 November 2022 to 30 November 2022
Dalgleish, Elizabeth     7/27/2023     1.1   Prepare Gantt chart summarizing the liquidation timeline and steps
                                             for FTX Crypto Services Ltd and FTX EMEA Ltd
Dalgleish, Elizabeth     7/27/2023     1.6   Prepare updated bank statement analysis to categorize transactions
                                             for FTX Exchange FZE
Dennison, Kim            7/27/2023     0.3   Review draft response to One Cable Beach attorneys prepared by
                                             Maynard Law
Dennison, Kim            7/27/2023     0.2   Respond to J Maynard (Maynard Law) regarding response to One
                                             Cable Beach attorneys
Dennison, Kim            7/27/2023     0.6   Attend call with J Maynard (Maynard Law) regarding FTX PH
                                             response to One Cable Beach letter of demand
Dennison, Kim            7/27/2023     0.4   Attend call with M Walden, A Tantleff, N Kang (FTI), A Lawson, K
                                             Dennison (A&M) regarding Bahamas Properties strategy
Dusendschon, Kora        7/27/2023     0.1   Confer on KYC overlay and draft questions for FTI


Dusendschon, Kora        7/27/2023     0.1   Confer internally on review of Refinitiv data and additional exports
                                             needed
Dusendschon, Kora        7/27/2023     0.1   Review responses provided by FTX EU for KYC export

Dusendschon, Kora        7/27/2023     0.2   Draft instructions for FTI to perform extraction of information for FTX
                                             EU
Dusendschon, Kora        7/27/2023     0.4   Teleconference with R. Johnson, P. Kwan, K. Dusendschon (A&M)
                                             and R. Perubhatla (FTX) to discuss AWS requests and ongoing
                                             AWS related items
Dusendschon, Kora        7/27/2023     0.6   Review draft questions for FTI and draft final message with
                                             questions on overall KYC mapping
Dusendschon, Kora        7/27/2023     0.3   Compile weekly tracker for R. Perubhatla (FTX) and distribute




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Dusendschon, Kora     7/27/2023     0.1   Teleconference with M. Flynn, L. Konig, R. Johnson, P. Kwan and J.
                                          Marshall (A&M) to discuss ongoing AWS items and KYC requests
Dusendschon, Kora     7/27/2023     0.3   Teleconference with K. Dusendschon, M. Haigis (A&M), and B.
                                          Bangerter (FTX) to discuss Refinitiv export process
Dusendschon, Kora     7/27/2023     0.2   Review KYC overlay file and provide hand off to FTI

Flynn, Matthew        7/27/2023     1.2   Review data team support for employee preferences for S&C

Flynn, Matthew        7/27/2023     0.8   Review source documents for FTX employee master file


Flynn, Matthew        7/27/2023     0.9   Call with R. Perubhatla (FTX), M. Flynn, K. Ramanathan, A.
                                          Mohammed (A&M) to discuss technology projects
Flynn, Matthew        7/27/2023     0.1   Teleconference with M. Flynn and R. Johnson (A&M) to discuss
                                          ongoing AWS items and KYC requests
Flynn, Matthew        7/27/2023     0.5   Call with M. Flynn, D. Sagen (A&M), A. Mott (Messari), J. Croke
                                          (S&C) to discuss latest crypto news and governance
Flynn, Matthew        7/27/2023     1.1   Review UCC member preference analysis updates


Haigis, Maya          7/27/2023     0.8   Compile notes and questions regarding KYC file identification
                                          process
Haigis, Maya          7/27/2023     0.2   Review KYC Relativity overlay exports for ftxcom and ftxus

Haigis, Maya          7/27/2023     0.3   Teleconference with K. Dusendschon, M. Haigis (A&M), and B.
                                          Bangerter (FTX) to discuss Refinitiv export process
Haigis, Maya          7/27/2023     1.8   Perform analysis of Refinitiv data for cases that do not have
                                          matches in the data
Haigis, Maya          7/27/2023     0.9   Review KYC folder search discussion notes to identify questions for
                                          KYC slide deck
Heric, Andrew         7/27/2023     1.2   Review and design methodology for incoming request 115

Heric, Andrew         7/27/2023     1.7   Review over 400 internal documents related to request 115


Heric, Andrew         7/27/2023     1.1   Trace additional transactions of concern related to request 115
                                          based on newly identified information
Heric, Andrew         7/27/2023     0.4   Meeting with L. Iwanski, A. Heric, I. Radwanski, Q. Lowdermilk
                                          (A&M) re: crypto tracing update call
Heric, Andrew         7/27/2023     0.7   Plot over 300 addresses within TRM for data of concern related to
                                          ongoing individuals of concern request
Heric, Andrew         7/27/2023     1.6   Analyze on-chain activity of two addresses and their transactions for
                                          request 115
Heric, Andrew         7/27/2023     0.8   Conduct a first-level quality control review of request 110 deliverable


Heric, Andrew         7/27/2023     0.2   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                          deliverable for request 110




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Heric, Andrew         7/27/2023     0.4   Call with Q. Lowdermilk, I. Radwanski, L. Lambert, L. Iwanski, and
                                          A. Heric (A&M) regarding crypto tracing team updates and request
                                          progress
Iwanski, Larry        7/27/2023     0.4   Meeting with L. Iwanski, A. Heric, I. Radwanski, Q. Lowdermilk
                                          (A&M) re: crypto tracing update call
Iwanski, Larry        7/27/2023     0.3   Call with L. Iwanski and L. Lambert (A&M) regarding crypto tracing
                                          efforts
Iwanski, Larry        7/27/2023     0.4   Call with Q. Lowdermilk, I. Radwanski, L. Lambert, L. Iwanski, and
                                          A. Heric (A&M) regarding crypto tracing team updates and request
                                          progress
Iwanski, Larry        7/27/2023     0.6   Review of 3 additional deliverables related to Request 112

Iwanski, Larry        7/27/2023     0.6   Communications review of items related to crypto tracing requests
                                          and deliverables
Johnson, Robert       7/27/2023     1.2   Include additional functionality in daily pricing script to migrate data
                                          from staging table to production table
Johnson, Robert       7/27/2023     0.1   Teleconference with M. Flynn and R. Johnson (A&M) to discuss
                                          ongoing AWS items and KYC requests
Johnson, Robert       7/27/2023     0.4   Teleconference with R. Johnson, P. Kwan, K. Dusendschon (A&M)
                                          and R. Perubhatla (FTX) to discuss AWS requests and ongoing
                                          AWS related items
Johnson, Robert       7/27/2023     0.8   Adjust script to suppress warnings and allow for ad hoc days to be
                                          downloaded from coinmetrics reference pricing
Johnson, Robert       7/27/2023     0.4   Add functionality to auto run script at 3am daily to pull latest coin
                                          reference pricing
Johnston, David       7/27/2023     0.4   Review strategic options checklist and questionnaire relating to
                                          Quoine Pte
Johnston, David       7/27/2023     0.8   Meeting with R. Sexton, J. Collis, J. Casey, D. Johnston, M. van den
                                          Belt (A&M) on FTX wind down matters
Johnston, David       7/27/2023     0.2   Call with D. Johnston, H. Chambers. M. van den Belt and J. Lam
                                          (A&M) to discuss Quoine Pte's token balances
Johnston, David       7/27/2023     1.6   Analyze Quoine Pte balance sheet and prepare list of outstanding
                                          items for local management
Johnston, David       7/27/2023     0.4   Prepare correspondence relating to Zubr Exchange asset recovery


Johnston, David       7/27/2023     1.7   Review latest plan recovery analysis for FTX Europe, FTX Europe
                                          subsidiaries and rest of world wind down entities
Johnston, David       7/27/2023     0.7   Review framework agreement for FTX Exchange FZE


Johnston, David       7/27/2023     0.3   Prepare correspondence relating to FTX Europe data preservation

Johnston, David       7/27/2023     0.6   Prepare summary of discussion points ahead of FTX Europe review
                                          meeting
Johnston, David       7/27/2023     0.4   Review and distribute FTX Europe and subsidiaries claims update




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Business Operations
Professional              Date    Hours     Activity
Konig, Louis          7/27/2023     0.1   Teleconference with L. Konig, P. Kwan and J. Marshall (A&M) to
                                          discuss ongoing AWS items and KYC requests
Konig, Louis          7/27/2023     1.8   Quality control and review of output related to database requests for
                                          last trade by ticker from AWS order book
Konig, Louis          7/27/2023     2.6   Documentation of findings related to database requests for last trade
                                          by ticker from AWS order book
Konig, Louis          7/27/2023     2.1   Database scripting related to database requests for last trade by
                                          ticker from AWS order book
Kwan, Peter           7/27/2023     0.4   Teleconference with R. Johnson, P. Kwan, K. Dusendschon (A&M)
                                          and R. Perubhatla (FTX) to discuss AWS requests and ongoing
                                          AWS related items
Kwan, Peter           7/27/2023     1.2   Extract listing of incremental wallets to be loaded into the NSS
                                          database containing some Blockchain activity
Kwan, Peter           7/27/2023     1.1   Prepare final summary analysis of BTC wallet node addresses to
                                          determine if there was any actual Blockchain activity for reporting
                                          purposes
Kwan, Peter           7/27/2023     0.1   Teleconference with L. Konig, P. Kwan and J. Marshall (A&M) to
                                          discuss ongoing AWS items and KYC requests
Kwan, Peter           7/27/2023     1.3   Develop additional reference lookup data tables to support customer
                                          IP address analysis in relation to responding to due diligence
                                          requests
Lam, James            7/27/2023     0.2   Call with D. Johnston, H. Chambers. M. van den Belt and J. Lam
                                          (A&M) to discuss Quoine Pte's token balances
Lam, James            7/27/2023     0.4   Correspondences with D. Sagen (A&M) for Quoine Pte's token
                                          pricing matters
Lam, James            7/27/2023     1.3   Review the crypto database records used for the separate subsidiary
                                          analysis
Lam, James            7/27/2023     0.7   Review and reconcile crypto team's Bitgo records to local team's
                                          records
Lam, James            7/27/2023     2.3   Review the supporting data in relation to Quoine Pte crypto assets
                                          and customer entitlements
Lam, James            7/27/2023     2.8   Design the reporting deck template for the customer KYC process

Lam, James            7/27/2023     0.2   Review the historical profitability analysis for FTX Japan


Lambert, Leslie       7/27/2023     0.4   Call with Q. Lowdermilk, I. Radwanski, L. Lambert, L. Iwanski, and
                                          A. Heric (A&M) regarding crypto tracing team updates and request
                                          progress
Lambert, Leslie       7/27/2023     0.3   Call with I. Radwanski and L. Lambert (A&M) regarding crypto
                                          tracing updates
Lambert, Leslie       7/27/2023     0.3   Call with L. Iwanski and L. Lambert (A&M) regarding crypto tracing
                                          efforts
Lambert, Leslie       7/27/2023     0.3   Call with Q. Lowdermilk and L. Lambert (A&M) regarding crypto
                                          tracing deliverable adjustments
Lambert, Leslie       7/27/2023     0.9   Consider documents, approach, and observations identified
                                          responsive to a request to analyze certain user activity


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Lambert, Leslie        7/27/2023     0.4   Meeting with L. Iwanski, A. Heric, I. Radwanski, Q. Lowdermilk
                                           (A&M) re: crypto tracing update call
Lambert, Leslie        7/27/2023     0.8   Plan and prepare for ongoing and anticipated crypto tracing efforts


Lambert, Leslie        7/27/2023     1.1   Provide comments and revisions to schedule summarizing analysis
                                           of blockchain transactional activity
Lambert, Leslie        7/27/2023     0.6   Read communications and materials relevant to crypto management
                                           workstream
Lawson, Alex           7/27/2023     0.4   Attend call with M Walden, A Tantleff, N Kang (FTI), A Lawson, K
                                           Dennison (A&M) regarding Bahamas Properties strategy
Li, Summer             7/27/2023     1.6   Understand the reasons for the increase in selling and administrative
                                           cost in FY2022 for FTX Japan K.K
Li, Summer             7/27/2023     0.2   Review the updates on the separate subsidiaries overview


Li, Summer             7/27/2023     3.1   Prepare a summary of historical financial performances of FTX
                                           Japan K.K
Lowdermilk, Quinn      7/27/2023     0.2   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                           deliverable for request 110
Lowdermilk, Quinn      7/27/2023     2.6   Update crypto tracing deliverable with descriptions outlining
                                           transactions tied to request 110
Lowdermilk, Quinn      7/27/2023     0.7   Research supplied transactions for sending addresses for crypto
                                           tracing request 116
Lowdermilk, Quinn      7/27/2023     0.4   Meeting with L. Iwanski, A. Heric, I. Radwanski, Q. Lowdermilk
                                           (A&M) re: crypto tracing update call
Lowdermilk, Quinn      7/27/2023     2.2   Create crypto tracing analysis identifying activity tied to request 112

Lowdermilk, Quinn      7/27/2023     0.3   Call with Q. Lowdermilk and L. Lambert (A&M) regarding crypto
                                           tracing deliverable adjustments
Lowdermilk, Quinn      7/27/2023     2.1   Analyze blockchain information for transactions tied to request 112

Lowdermilk, Quinn      7/27/2023     0.4   Call with Q. Lowdermilk, I. Radwanski, L. Lambert, L. Iwanski, and
                                           A. Heric (A&M) regarding crypto tracing team updates and request
                                           progress
Marshall, Jonathan     7/27/2023     0.1   Teleconference with L. Konig, P. Kwan and J. Marshall (A&M) to
                                           discuss ongoing AWS items and KYC requests
Mohammed, Azmat        7/27/2023     0.9   Call with R. Perubhatla (FTX), M. Flynn, K. Ramanathan, A.
                                           Mohammed (A&M) to discuss technology projects
Montague, Katie        7/27/2023     0.4   Call with A. Sivapalu and K. Montague (A&M) regarding due
                                           diligence item on customer data
Paterson, Warren       7/27/2023     0.6   Finalize FTX Property Holding Ltd. liquidation value assessment

Paterson, Warren       7/27/2023     0.4   Attend call with M Walden, A Tantleff, N Kang (FTI), A Lawson, K
                                           Dennison (A&M) regarding Bahamas Properties strategy
Radwanski, Igor        7/27/2023     0.3   Call with I. Radwanski and L. Lambert (A&M) regarding crypto
                                           tracing updates


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Radwanski, Igor       7/27/2023     0.4   Call with Q. Lowdermilk, I. Radwanski, L. Lambert, L. Iwanski, and
                                          A. Heric (A&M) regarding crypto tracing team updates and request
                                          progress
Radwanski, Igor       7/27/2023     0.4   Meeting with L. Iwanski, A. Heric, I. Radwanski, Q. Lowdermilk
                                          (A&M) re: crypto tracing update call
Radwanski, Igor       7/27/2023     1.6   Trace transfers related to a potential token agreement


Ramanathan, Kumanan   7/27/2023     0.7   Review on chain tracing activity for Solana transaction

Ramanathan, Kumanan   7/27/2023     0.7   Review of ethereum deposit address analysis and provide feedback


Ramanathan, Kumanan   7/27/2023     0.3   Review of current employee list and discuss re: additional support
                                          for customer operations
Ramanathan, Kumanan   7/27/2023     0.6   Review of JST capital presentation and provide feedback

Ramanathan, Kumanan   7/27/2023     0.3   Review crypto securing effort to BitGo and provide feedback


Ramanathan, Kumanan   7/27/2023     0.2   Discuss matching engine review with S. Coverick (A&M)

Ramanathan, Kumanan   7/27/2023     0.3   Review Wintermute's bridging analysis and distribute


Ramanathan, Kumanan   7/27/2023     0.9   Call with R. Perubhatla (FTX), M. Flynn, K. Ramanathan, A.
                                          Mohammed (A&M) to discuss technology projects
Ramanathan, Kumanan   7/27/2023     0.6   Review of updated planned crypto inputs


Sagen, Daniel         7/27/2023     1.4   Analyze cold storage transactions against Sygnia transfer logs to
                                          identify additional third party transfers for purposes of July 21 coin
                                          report
Sagen, Daniel         7/27/2023     1.2   Analyze stablecoin transactions, update master fiat and stablecoin
                                          tracker to reflect recent activity through July 21
Sagen, Daniel         7/27/2023     0.5   Call with M. Flynn, D. Sagen (A&M), A. Mott (Messari), J. Croke
                                          (S&C) to discuss latest crypto news and governance
Sagen, Daniel         7/27/2023     0.8   Research token prices for new tokens for purposes of July 21 coin
                                          report
Sagen, Daniel         7/27/2023     1.2   Update pricing assumptions for select digital assets for entitlement
                                          analysis in Plan recovery materials
Sagen, Daniel         7/27/2023     0.7   Review updated Separate Subsidiary Plan materials, provide
                                          commentary to H. Trent (A&M)
Sagen, Daniel         7/27/2023     0.4   Review updated crypto plan inputs, provide commentary to H. Trent
                                          (A&M)
Sagen, Daniel         7/27/2023     1.2   Incorporate BitGo transaction data for purposes of July 21 coin
                                          report preparation
Sagen, Daniel         7/27/2023     0.6   Incorporate Coinbase transaction data for purposes of July 21 coin
                                          report preparation
Sagen, Daniel         7/27/2023     1.1   Review Quoine Pte digital asset summary in plan materials, provide
                                          feedback to H. Trent (A&M) regarding updates

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Sagen, Daniel            7/27/2023     0.8   Incorporate updates to digital asset Japan calculations for Plan
                                             Recovery purposes
Sagen, Daniel            7/27/2023     0.9   Incorporate updates to digital asset pricing assumptions per
                                             feedback from Quoine Pte team
Sagen, Daniel            7/27/2023     0.8   Prepare legal entity bridge for token receivable inputs for Plan
                                             recovery model
Sagen, Daniel            7/27/2023     1.2   Update token pricing comparison to include source
                                             recommendations, recirculate for review
Schlam Batista, Sharon   7/27/2023     2.6   Review main changes of the trading book and update the
                                             methodology of withdrawals after max fiat balance for FTX EU Ltd
Schlam Batista, Sharon   7/27/2023     1.6   Build a file with all the transactions registered after petition date on
                                             the bank statements of FTX EU Ltd
Schlam Batista, Sharon   7/27/2023     1.7   Prepare a file with all the bank transactions of FTX Exchange FZE,
                                             FTX Japan Services K.K, FTX Trading and Quoine India Private
Schlam Batista, Sharon   7/27/2023     1.1   Prepare analysis on FTX EU customer balance reconciliation
                                             considering latest information
Sexton, Rachel           7/27/2023     0.3   Call with J. Casey (A&M) re presentation of output for strategy of
                                             wind-down of European and RoW subsidiaries
Sexton, Rachel           7/27/2023     0.8   Call with D. Johnson, M. Van Den Belt, J. Casey, J. Collis (A&M)
                                             regarding entity wind down strategy and next steps
Simkins, Maximilian      7/27/2023     1.2   Conduct new analysis on support messages for possible inclusion in
                                             master file id list
Simkins, Maximilian      7/27/2023     1.1   Conduct analysis on support messages for possible inclusion in
                                             master file id list
Simkins, Maximilian      7/27/2023     1.8   Compile KYC data for FTI to overlay data

Sivapalu, Anan           7/27/2023     0.4   Call with A. Sivapalu and K. Montague (A&M) regarding due
                                             diligence item on customer data
Stockmeyer, Cullen       7/27/2023     0.4   Prepare summary of UCC diligence process for management based
                                             on recent requests and provided data
Stockmeyer, Cullen       7/27/2023     2.2   Update preference analysis for FTX and Alameda employees based
                                             on commentary from G. Walia (A&M)
Stockmeyer, Cullen       7/27/2023     0.6   Provide documents related to FTX Vault Trust to UCC advisors

Stockmeyer, Cullen       7/27/2023     1.2   Compile recent crypto tracing communications related to certain
                                             LEO requests for ease of access
Stockmeyer, Cullen       7/27/2023     2.1   Develop automation macro for various preference analyses to
                                             reduce manual processing time
Stockmeyer, Cullen       7/27/2023     1.6   Make adjustments to preference analysis for FTX employees and
                                             insiders
Stockmeyer, Cullen       7/27/2023     1.2   Prepare preference analysis related to FTX employees


Stockmeyer, Cullen       7/27/2023     0.9   Prepare documents related to FTX vault trust for sharing with UCC




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Stockmeyer, Cullen    7/27/2023     0.4   Meeting with L. Iwanski, A. Heric, I. Radwanski, Q. Lowdermilk
                                          (A&M) re: crypto tracing update call
Stockmeyer, Cullen    7/27/2023     1.2   Continue to develop automation macro for various preference
                                          analyses to reduce manual processing time
Sunkara, Manasa       7/27/2023     1.2   Create a field in the user accounts data to reference the source of
                                          each user requested
Sunkara, Manasa       7/27/2023     2.8   Extract all exchange data for a subpoena request

Sunkara, Manasa       7/27/2023     3.1   Query the database to extract all exchange data for an S&C
                                          investigation
Sunkara, Manasa       7/27/2023     2.1   Quality check the SQL scripts to prepare deliverables for subpoena
                                          requests
Sunkara, Manasa       7/27/2023     2.6   Provide all deposits using a specific ticker between a certain time
                                          period for S&C
van den Belt, Mark    7/27/2023     0.6   Call with M. Berti, G. Opris, C. Howard (S&C), R. Arbid, G. Wall, M.
                                          van den Belt (A&M) on FTX Dubai liquidator engagement letter
van den Belt, Mark    7/27/2023     0.3   Review post-petition cash flows for FTX Europe


van den Belt, Mark    7/27/2023     0.8   Meeting with R. Sexton, J. Collis, J. Casey, D. Johnston, M. van den
                                          Belt (A&M) on FTX wind down matters
van den Belt, Mark    7/27/2023     2.6   Prepare correspondence on BDO valuation report assumptions on
                                          FTX Europe
van den Belt, Mark    7/27/2023     2.1   Review maximum fiat balance calculation methodology for FTX EU


van den Belt, Mark    7/27/2023     0.2   Call with D. Johnston, H. Chambers. M. van den Belt and J. Lam
                                          (A&M) to discuss Quoine Pte's token balances
van den Belt, Mark    7/27/2023     2.3   Prepare updated CySEC presentation on customer return process of
                                          FTX EU Ltd. based on updated legal advice
van den Belt, Mark    7/27/2023     2.1   Prepare presentation on wind downs for cross-functional work group
                                          meeting on July 28
Walia, Gaurav         7/27/2023     1.1   Update the tax memo based on feedback from S. Coverick (A&M)


Walia, Gaurav         7/27/2023     1.8   Prepare a 1-year preference analysis for a customer account

Walia, Gaurav         7/27/2023     2.6   Review the updated preference exposure analysis template and
                                          provide feedback
Walia, Gaurav         7/27/2023     2.8   Prepare the tax memo regarding the treatment of legal entity
                                          ownership for Alameda crypto assets
Walia, Gaurav         7/27/2023     1.4   Review the source coin pricing variance analysis and provide
                                          feedback
Walia, Gaurav         7/27/2023     2.6   Prepare a one-pager to outline the treatment of derivative positions
                                          on the claims
Walker, William       7/27/2023     0.6   Review correspondence between S. Glustein (A&M) and token issuer




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Wall, Guy               7/27/2023     0.6   Call with M. Berti, G. Opris, C. Howard (S&C), R. Arbid, G. Wall, M.
                                            van den Belt (A&M) on FTX Dubai liquidator engagement letter
Wall, Guy               7/27/2023     0.4   Debrief with R.Arbid (A&M) on next steps related to FTX Dubai
                                            liquidation plan
Wall, Guy               7/27/2023     0.1   Discuss with M. van den Belt (A&M) liquidation timeline

Wall, Guy               7/27/2023     0.2   Discuss with R. Arbid (A&M) feedback related to FTX Dubai EL for
                                            liquidation and audit
Wall, Guy               7/27/2023     0.3   Review of liquidator framework agreement related to FTX Dubai


Wilson, David           7/27/2023     2.2   Complete initial version of tear sheet macro for preference analysis
                                            automation
Wilson, David           7/27/2023     1.6   Implement QC feedback on prior day's preference analysis report


Wilson, David           7/27/2023     2.9   Draft additional information for preference analysis in response to
                                            follow up request for preference analysis information
Wilson, David           7/27/2023     2.1   Wrote initial portion of DTL sheet macro to pull transaction details
                                            and put them into new sheets
Zatz, Jonathan          7/27/2023     2.1   Review FTX's code to determine petition date staking balances

Zatz, Jonathan          7/27/2023     0.5   Monthly call between crypto and management teams to discuss
                                            coordination of efforts related to highest priority items
Zatz, Jonathan          7/27/2023     1.6   Flag responses from Alameda to be used to update Alameda data
                                            profiling parameters
Zhang, Qi               7/27/2023     1.3   Data clean up and statistical tagging of documents for S&C review

Zhang, Qi               7/27/2023     0.3   Investigate sumsub back-end tagging issues


Zhang, Qi               7/27/2023     2.1   Perform daily review of Integreon manual review team's work to
                                            record down issues identified for 27 July 2023 for the new hires
Zhang, Qi               7/27/2023     2.6   Perform daily review of Integreon manual review team's work to
                                            record down issues identified for 27 July 2023 for the old hires
Zhang, Qi               7/27/2023     1.1   Perform daily review of Sumsub system auto rejection cases to
                                            record down issues identified for 27 July 2023
Zhang, Qi               7/27/2023     1.8   Perform daily review of Sumsub system auto approve cases to
                                            record down issues identified for 27 July 2023
Arbid, Rami             7/28/2023     0.3   Call with B. Snaineh (Hadef), M. Berti, A. Courroy, E. Simpson, T.
                                            Hill (S&C), B. Danhach (FTX), G. Wall, R. Arbid, M. van den Belt, D.
                                            Johnston (A&M), V. Shah (VARA) on FTX Dubai cash collateral for
                                            license matters
Arbid, Rami             7/28/2023     0.3   Call with G. Wall (A&M) related to liquidation timeline and revisions


Arbid, Rami             7/28/2023     0.1   Call with G. Wall (A&M) related to approach to provide liquidator with
                                            update
Arbid, Rami             7/28/2023     0.1   Prepare correspondence with M. van den Belt (A&M) re: liquidation
                                            timeline for FTX Dubai

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Arbid, Rami              7/28/2023     0.3   Review of FTX Dubai employee termination agreement

Baker, Kevin             7/28/2023     0.7   Call with K. Baker, J. Chan, J. Zatz, and M Sunkara (A&M) to
                                             discuss data requests and issues
Baker, Kevin             7/28/2023     1.5   Extract customer account and balance information for the US States
                                             subpoena request after updating logic
Balmelli, Gioele         7/28/2023     1.2   Prepare correspondence re commentary to FTX Europe AGs DAG
                                             valuation report
Balmelli, Gioele         7/28/2023     0.2   Prepare correspondence re next steps and plan following
                                             administrator meeting
Callerio, Lorenzo        7/28/2023     0.9   Review and approve REQ116 analysis prepared by Q. Lowdermilk
                                             (A&M)
Callerio, Lorenzo        7/28/2023     1.1   Prepare internal correspondence re: crypto tracing activities


Casey, John              7/28/2023     1.4   Review and update entity schedule and list of actions for all priority
                                             European and RoW subsidiaries
Casey, John              7/28/2023     2.8   Update standard European and RoW liquidation questionnaire for
                                             the wind-down of FTX Crypto Services Ltd, following comments from
                                             R. Sexton and prepare correspondence re same
Casey, John              7/28/2023     0.2   Call with J. Casey, M. van den Belt (A&M) on Quoine Pte strategic
                                             options analysis and Zubr Ltd. Wind down questionnaire
Casey, John              7/28/2023     3.1   Updates to standard questionnaire, updates for R Sexton (A&M)
                                             comments, email to D Johnston (A&M) re same
Chambers, Henry          7/28/2023     0.3   Provide input on correspondence regarding FTX Japan cost saving
                                             proposal
Chan, Jon                7/28/2023     0.7   Call with K. Baker, J. Chan, J. Zatz, and M Sunkara (A&M) to
                                             discuss data requests and issues
Chan, Jon                7/28/2023     2.7   Develop code to split files into separate documents for US States
                                             request
Chan, Jon                7/28/2023     1.9   Provide extracts for S&C subpoena request related to transaction
                                             hashes with updated parameters
Chan, Jon                7/28/2023     2.9   Investigate activity related to specific individual for S&C investigation
                                             request relating to specific wallet
Chan, Jon                7/28/2023     2.8   Investigate activity related to specific wallets for A&M internal
                                             investigation
Chan, Jon                7/28/2023     2.8   Investigate activity relating to individuals that may be related parties
                                             to specific entities for S&C investigation
Collis, Jack             7/28/2023     2.8   Prepare standard liquidation questionnaire for FTX Crypto Services
                                             Ltd and prepare correspondence re same
Collis, Jack             7/28/2023     2.6   Prepare standard liquidation questionnaire for FTX EMEA Ltd and
                                             prepare correspondence re same
Collis, Jack             7/28/2023     0.7   Review of claims submitted for FTX EU Ltd and prepare
                                             correspondence re same
Collis, Jack             7/28/2023     0.4   Review of intercompany position, claims, and post petition
                                             intercompany cash balance for FTX EU Ltd and It's impact on
                                             liquidation of the entity

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                           Time Detail by Activity by Professional
                             July 1, 2023 through July 31, 2023


Business Operations
Professional              Date     Hours     Activity
Dalgleish, Elizabeth   7/28/2023     0.8   Prepare FY23 year-to-date Profit & Loss statement for FTX
                                           Exchange FZE
Dalgleish, Elizabeth   7/28/2023     1.2   Prepare Gantt chart summarizing the liquidation timeline and steps
                                           for PT Triniti Investama Berkat (Bitocto)
Dalgleish, Elizabeth   7/28/2023     2.1   Prepare support schedule for the FTX Exchange FZE Mosley
                                           Declaration
Dalgleish, Elizabeth   7/28/2023     0.3   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                           Dalgleish (A&M) to discuss timeline and analysis of strategic options
                                           for Rest of World Entities
Dalgleish, Elizabeth   7/28/2023     1.9   Prepare support schedule for the FTX Exchange FZE Motion to
                                           Dismiss
Dennison, Kim          7/28/2023     0.7   Review & discuss Liquidation Analysis of Bahamas Properties
                                           prepared by W Paterson (A&M)
Dennison, Kim          7/28/2023     0.6   Draft email to S&C property team regarding One Cable Beach rental
                                           agreement
Dennison, Kim          7/28/2023     0.8   Email S&C property team regarding rental agreement for One Cable
                                           Beach property
Flynn, Matthew         7/28/2023     0.6   Draft crypto workstream PMO update for Management

Flynn, Matthew         7/28/2023     1.3   Prepare Liquid customer summary for post-petition deposits for
                                           management
Flynn, Matthew         7/28/2023     0.4   Review third-party exchange wallet information

Flynn, Matthew         7/28/2023     0.8   Update customer portal status presentation for management


Haigis, Maya           7/28/2023     0.6   Review additional case matches files for Refinitiv

Haigis, Maya           7/28/2023     0.8   Review script to pull samples of support ticket KYC files

Helal, Aly             7/28/2023     2.1   Update counterparties for cash bank transactions based on newly
                                           identified sources
Helal, Aly             7/28/2023     1.8   Populate counterparties for new cash bank statements collected

Heric, Andrew          7/28/2023     1.3   Gather crypto token metrics of concern related to heightened
                                           address population request
Heric, Andrew          7/28/2023     1.1   Craft summary findings and respond to requestors for requests 115
                                           and 116
Heric, Andrew          7/28/2023     0.6   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M) regarding
                                           approach to high priority request 116
Heric, Andrew          7/28/2023     1.6   Identify and notate blockchain detail for 39 transactions related to
                                           request 116
Heric, Andrew          7/28/2023     2.4   Review and collect on-chain data for multiple addresses related to
                                           request 116
Heric, Andrew          7/28/2023     0.7   Call with L. Lambert and A. Heric (A&M) regarding crypto tracing
                                           team updates and request progress


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Business Operations
Professional              Date    Hours     Activity
Heric, Andrew         7/28/2023     0.2   Call with I. Radwanski, A. Heric, Q. Lowdermilk, and L. Lambert
                                          (A&M) regarding high priority request analysis
Iwanski, Larry        7/28/2023     0.3   Review of analysis regarding crypto tracing Request 116


Iwanski, Larry        7/28/2023     0.9   Review of correspondence for investigation work related to crypto
                                          tracing
Iwanski, Larry        7/28/2023     0.5   Review of documents and deliverables related to Request 110

Johnson, Robert       7/28/2023     0.6   Expand disk of linux remote analysis server to allow for export of data


Johnson, Robert       7/28/2023     0.8   Troubleshoot export of data from table to CSV file on remote
                                          environment
Johnson, Robert       7/28/2023     0.4   Test disk and server following expansion of volume and partition on
                                          Linux analysis server
Johnson, Robert       7/28/2023     0.7   Expand volume of partition on Linux remote analysis server to allow
                                          for exporting data
Johnson, Robert       7/28/2023     0.7   Call with D. Wilson, P. Kwan, L. Konig, R. Johnson (A&M) to discuss
                                          data requests and issues
Johnston, David       7/28/2023     0.3   Call with B. Snaineh (Hadef), M. Berti, A. Courroy, E. Simpson, T.
                                          Hill (S&C), B. Danhach (FTX), G. Wall, R. Arbid, M. van den Belt, D.
                                          Johnston (A&M), V. Shah (VARA) on FTX Dubai cash collateral for
                                          license matters
Johnston, David       7/28/2023     0.3   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                          Dalgleish (A&M) to discuss timeline and analysis of strategic options
                                          for Rest of World Entities
Johnston, David       7/28/2023     1.3   Review and update presentation materials relating to Quoine Pte

Johnston, David       7/28/2023     0.2   Call with M. Athinodorou (FTX), O. de Vito Piscicelli (S&C), D.
                                          Johnston, M. van den Belt (A&M) on FTX EU Ltd matters
Johnston, David       7/28/2023     0.4   Prepare correspondence relating to Quoine Pte next steps

Johnston, David       7/28/2023     0.8   Review and update global wind down weekly update materials and
                                          plan next steps
Johnston, David       7/28/2023     0.3   Call with E. Mosley, D. Johnston, M. van den Belt (A&M) on FTX EU
                                          and Exchange FZE motions to dismiss
Johnston, David       7/28/2023     0.7   Review supporting declaration for motion to dismiss for FTX debtor
                                          entity and highlight supporting materials required
Johnston, David       7/28/2023     2.7   Review FTX Exchange FZE motion and supporting declaration
                                          supporting materials pack
Konig, Louis          7/28/2023     1.4   Database scripting related to database requests for last 5 days
                                          trading history from AWS
Konig, Louis          7/28/2023     1.3   Documentation of findings related to database requests for last 5
                                          days trading history from AWS
Konig, Louis          7/28/2023     0.7   Call with D. Wilson, P. Kwan, L. Konig, R. Johnson (A&M) to discuss
                                          data requests and issues



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Business Operations
Professional              Date     Hours     Activity
Konig, Louis           7/28/2023     1.9   Quality control and review of output related to database requests for
                                           last 5 days trading history from AWS
Kwan, Peter            7/28/2023     0.7   Call with D. Wilson, P. Kwan, L. Konig, R. Johnson (A&M) to discuss
                                           data requests and issues
Kwan, Peter            7/28/2023     2.3   Revise logic to analyze historical customer IP address patterns to
                                           include targeted country analysis in response to due diligence
                                           request
Kwan, Peter            7/28/2023     1.1   Prepare schedule of preliminary results from customer IP address
                                           pattern analysis regarding due diligence request
Kwan, Peter            7/28/2023     1.3   Continue to aggregate results from Order flow analysis in relation to
                                           due diligence requests
Kwan, Peter            7/28/2023     0.3   Teleconference with K.Dusendschon, J. Marshall, M. Sunkara, J.
                                           Chan, M. Simkins, M. Haigis, P. Kwan, A.Sloan (A&M) to go through
                                           action items, pending requests and workstreams
Lam, James             7/28/2023     0.9   Call with H. Chambers, Q. Zhang, J. Yan, J. Lam (A&M) to discuss
                                           KYC flow and customer communication issues
Lam, James             7/28/2023     0.7   Identify issues for the customer KYC and claim filing processes


Lam, James             7/28/2023     2.6   Prepare the reporting deck on customer KYC status and process

Lam, James             7/28/2023     0.7   Review and challenge the proposed calculation of the crypto assets
                                           controlled by Quoine Pte and FTX Japan
Lam, James             7/28/2023     0.9   Review the adjustments applied to the separate subsidiary analysis
                                           for Quoine Pte
Lam, James             7/28/2023     0.6   Review the separate subsidiary overview analysis and the underlying
                                           model inputs and assumptions
Lambert, Leslie        7/28/2023     0.7   Call with L. Lambert and A. Heric (A&M) regarding crypto tracing
                                           team updates and request progress
Lambert, Leslie        7/28/2023     1.2   Review crypto tracing output, documentation, and deliverable
                                           responsive to a crypto tracing request
Lambert, Leslie        7/28/2023     0.2   Call with I. Radwanski, A. Heric, Q. Lowdermilk, and L. Lambert
                                           (A&M) regarding high priority request analysis
Li, Summer             7/28/2023     0.8   Review the table that summarizes the historical financial
                                           performance of FTX Japan K.K
Lowdermilk, Quinn      7/28/2023     2.7   Create crypto tracing analysis summary highlighting identified
                                           transactions
Lowdermilk, Quinn      7/28/2023     1.7   Adjust crypto tracing deliverable for request 116 ensuring metabase
                                           tags are associated with addresses
Lowdermilk, Quinn      7/28/2023     2.2   Blockchain research identifying transaction hashes that relate to
                                           crypto tracing request 116
Lowdermilk, Quinn      7/28/2023     0.2   Call with I. Radwanski, A. Heric, Q. Lowdermilk, and L. Lambert
                                           (A&M) regarding high priority request analysis
Lowdermilk, Quinn      7/28/2023     0.6   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M) regarding
                                           approach to high priority request 116




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Business Operations
Professional               Date    Hours     Activity
Marshall, Jonathan     7/28/2023     0.3   Teleconference with K.Dusendschon, J. Marshall, M. Sunkara, J.
                                           Chan, M. Simkins, M. Haigis, P. Kwan, A.Sloan (A&M) to go through
                                           action items, pending requests and workstreams
Mosley, Ed             7/28/2023     0.3   Call with E. Mosley, D. Johnston, M. van den Belt (A&M) on FTX EU
                                           and Exchange FZE motions to dismiss
Paterson, Warren       7/28/2023     0.7   Review & discuss Liquidation Analysis of Bahamas Properties with K
                                           Dennison (A&M)
Radwanski, Igor        7/28/2023     0.6   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M) regarding
                                           approach to high priority request 116
Radwanski, Igor        7/28/2023     1.7   Quantify transfer details in relation to Request 116


Radwanski, Igor        7/28/2023     2.8   Edit deliverable relating to Request 116

Radwanski, Igor        7/28/2023     0.2   Call with I. Radwanski, A. Heric, Q. Lowdermilk, and L. Lambert
                                           (A&M) regarding high priority request analysis
Ramanathan, Kumanan    7/28/2023     0.8   Review of Japan matching engine analysis and provide feedback


Ramanathan, Kumanan    7/28/2023     0.7   Review of BitGo bridging exercises and provide feedback

Ramanathan, Kumanan    7/28/2023     0.6   Review of JST capital crypto asset management execution method
                                           presentation and provide feedback
Ramanathan, Kumanan    7/28/2023     0.8   Review of Liquidcoin pricing and provide feedback

Ramanathan, Kumanan    7/28/2023     0.3   Review of post-petition deposit data


Ramanathan, Kumanan    7/28/2023     0.7   Correspond re: securing various crypto assets

Sagen, Daniel          7/28/2023     0.6   Correspondence with A. Liv-Feyman and W. Walker (A&M)
                                           regarding coin report token pricing updates
Sagen, Daniel          7/28/2023     0.8   Incorporate July 21 Coin Report inputs into Coin Report presentation
                                           model
Sagen, Daniel          7/28/2023     0.4   Prepare draft outputs for July 21 Coin Report, distribute with K.
                                           Ramanathan (A&M) for review
Sagen, Daniel          7/28/2023     1.9   Prepare July 21 vs July 7 Coin Report variance analysis for petition
                                           date Category A tokens
Sagen, Daniel          7/28/2023     1.6   Research select token pricing questions identified by W. Walker
                                           (A&M), revert with responses
Sagen, Daniel          7/28/2023     0.4   Provide G. Walia (A&M) requested inputs for Alameda legal entity
                                           analysis memo
Sagen, Daniel          7/28/2023     1.2   Provide summary of revised petition date token prices to utilize for
                                           purposes of statements and schedules amendments
Sagen, Daniel          7/28/2023     0.9   Correspondence with N. Chan (BitGo) regarding BitGo transaction
                                           log questions
Sagen, Daniel          7/28/2023     0.4   Correspondence with K. Ramanathan (A&M) regarding updates in
                                           July 21 coin report


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Business Operations
Professional                Date     Hours     Activity
Sagen, Daniel            7/28/2023     1.3   Perform quality control check on July 21 Coin Report

Sagen, Daniel            7/28/2023     2.1   Analyze Sygnia manual transfer log, incorporate transaction updates
                                             in July 21 coin report
Schlam Batista, Sharon   7/28/2023     0.3   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                             Dalgleish (A&M) to discuss timeline and analysis of strategic options
                                             for Rest of World Entities
Simkins, Maximilian      7/28/2023     1.4   Conduct new analysis on support documentation

Stockmeyer, Cullen       7/28/2023     1.1   Update current pricing of certain tokens for preference analyses


Stockmeyer, Cullen       7/28/2023     0.7   Update crypto tracing request tracker with additional
                                             correspondences related to professional services firms
Stockmeyer, Cullen       7/28/2023     1.8   Make adjustments to preference analysis for FTX employees and
                                             insiders
Stockmeyer, Cullen       7/28/2023     2.3   Prepare updated preference analysis based on commentary from
                                             S&C
Stockmeyer, Cullen       7/28/2023     1.9   Prepare preference analysis summary related for related to all
                                             employee preferences
Sunkara, Manasa          7/28/2023     0.3   Teleconference with K.Dusendschon, J. Marshall, M. Sunkara, J.
                                             Chan, M. Simkins, M. Haigis, P. Kwan, A.Sloan (A&M) to go through
                                             action items, pending requests and workstreams
Sunkara, Manasa          7/28/2023     2.7   Search the SQL database for certain user accounts for a vendor
                                             payments analysis
Sunkara, Manasa          7/28/2023     2.9   Investigate the crypto deposit activity for certain wallet addresses

Sunkara, Manasa          7/28/2023     2.6   Extract user's exchange activity for a lender payments analysis


Sunkara, Manasa          7/28/2023     0.7   Call with K. Baker, J. Chan, J. Zatz, and M Sunkara (A&M) to
                                             discuss data requests and issues
Sunkara, Manasa          7/28/2023     1.2   Extract all exchange data available related to users for a subpoena
                                             request
van den Belt, Mark       7/28/2023     1.6   Prepare updated cross functional workstream presentation for July
                                             28 meeting
van den Belt, Mark       7/28/2023     1.3   Prepare updated wind down analysis for FTX Exchange FZE


van den Belt, Mark       7/28/2023     0.4   Prepare presentation on Quoine for discussion with local
                                             management
van den Belt, Mark       7/28/2023     2.9   Prepare presentation on BDO valuation of Digital Assets AG

van den Belt, Mark       7/28/2023     0.2   Call with M. Athinodorou (FTX), O. de Vito Piscicelli (S&C), D.
                                             Johnston, M. van den Belt (A&M) on FTX EU Ltd matters
van den Belt, Mark       7/28/2023     0.2   Call with J. Casey, M. van den Belt (A&M) on Quoine Pte strategic
                                             options analysis and Zubr Ltd. Wind down questionnaire
van den Belt, Mark       7/28/2023     0.3   Call with E. Mosley, D. Johnston, M. van den Belt (A&M) on FTX EU
                                             and Exchange FZE motions to dismiss

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Business Operations
Professional             Date     Hours     Activity
van den Belt, Mark    7/28/2023     1.0   Call with E. Dalgleish, M. Van den Belt (A&M) to review the
                                          November MOR cash reconciliation for Europe
van den Belt, Mark    7/28/2023     0.3   Call with D. Johnston, M. Van den Belt, C.Corr, S. Schlam, E.
                                          Dalgleish (A&M) to discuss timeline and analysis of strategic options
                                          for Rest of World Entities
van den Belt, Mark    7/28/2023     0.3   Call with B. Snaineh (Hadef), M. Berti, A. Courroy, E. Simpson, T.
                                          Hill (S&C), B. Danhach (FTX), G. Wall, R. Arbid, M. van den Belt, D.
                                          Johnston (A&M), V. Shah (VARA) on FTX Dubai cash collateral for
                                          license matters
van den Belt, Mark    7/28/2023     3.1   Review support schedule for motion to dismiss of FTX Exchange
                                          FZE
Walia, Gaurav         7/28/2023     0.4   Call with M. Diodato, F. Risler, B. Bromberg, V. Rousskikh (FTI), K.
                                          Ramanathan, G. Walia and L. Callerio (A&M) re: derivatives analysis
Walia, Gaurav         7/28/2023     0.4   Prepare a summary of the LOC interest incurred by Alameda on the
                                          exchange
Walia, Gaurav         7/28/2023     2.8   Update the preference analysis based on feedback from S&C

Walia, Gaurav         7/28/2023     0.6   Update the tax memo based on feedback from E. Mosley (A&M)

Walia, Gaurav         7/28/2023     0.7   Update the tax memo based on feedback from J. Stegenga (A&M)


Walker, William       7/28/2023     0.6   Correspond with A. Titus (A&M) regarding updated pricing
                                          reconciliation with coin report
Walker, William       7/28/2023     0.8   Correspond with D. Saga (A&M) regarding inclusion of recent token
                                          ICO pricing in next iteration of the coin report
Walker, William       7/28/2023     1.1   Correspond with token issuer regarding outstanding questions on
                                          claiming procedures
Walker, William       7/28/2023     0.8   Review staking proposal related to tokens in our wallets


Walker, William       7/28/2023     1.3   Prepare reconciliation of petition date pricing outputs in coin report
                                          vs. venture deck
Walker, William       7/28/2023     0.4   Review pricing for recently ICO'd token of inclusion in coin report
                                          pricing
Wall, Guy             7/28/2023     0.3   Call with B. Snaineh (Hadef), M. Berti, A. Courroy, E. Simpson, T.
                                          Hill (S&C), B. Danhach (FTX), G. Wall, R. Arbid, M. van den Belt, D.
                                          Johnston (A&M), V. Shah (VARA) on FTX Dubai cash collateral for
                                          license matters
Wall, Guy             7/28/2023     0.1   Call with R. Arbid (A&M) related to approach to provide liquidator
                                          with update
Wall, Guy             7/28/2023     0.3   Call with R. Arbid (A&M) related to liquidation timeline and revisions

Wall, Guy             7/28/2023     0.1   Prepare correspondence with M. van den Belt (A&M) re: liquidation
                                          timeline for FTX Dubai
Wall, Guy             7/28/2023     0.3   Review of FTX Dubai employee termination agreement

Wilson, David         7/28/2023     2.9   Complete draft of DTL sheet macro to pull transaction details and
                                          put them into new sheets

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Business Operations
Professional             Date     Hours     Activity
Wilson, David         7/28/2023     0.4   Began macro for appropriately formatting DTL sheets produced by
                                          the macro
Wilson, David         7/28/2023     3.1   Perform stress testing on DTL macro to ensure correct transactions
                                          for each main account ID are pulled
Wilson, David         7/28/2023     0.7   Call with D. Wilson, P. Kwan, L. Konig, R. Johnson (A&M) to discuss
                                          data requests and issues
Wilson, David         7/28/2023     2.3   Script and initiated query to identify deposit, withdrawal, and transfer
                                          details for request pertaining to deposit and withdrawal wallet
                                          addresses
Yan, Jack             7/28/2023     0.9   Call with H. Chambers, Q. Zhang, J. Yan, J. Lam (A&M) to discuss
                                          KYC flow and customer communication issues
Zatz, Jonathan        7/28/2023     0.7   Call with K. Baker, J. Chan, J. Zatz, and M Sunkara (A&M) to
                                          discuss data requests and issues
Zatz, Jonathan        7/28/2023     0.6   Correspondence regarding prior Alameda data requests for specific
                                          email address
Zatz, Jonathan        7/28/2023     1.4   Database scripting to update Alameda data profiling parameters
                                          based on responses
Zatz, Jonathan        7/28/2023     1.3   Flag responses from Alameda to be used to update Alameda data
                                          profiling parameters
Zatz, Jonathan        7/28/2023     1.9   Review FTX's code to determine shutdown date staking balances


Zhang, Qi             7/28/2023     2.3   Perform daily review of Integreon manual review team's work to
                                          record down issues identified for 28 July 2023 for the old hires
Zhang, Qi             7/28/2023     0.7   Perform daily review of Sumsub system auto approve cases to
                                          record down issues identified for 28 July 2023
Zhang, Qi             7/28/2023     0.9   Call with H. Chambers, Q. Zhang, J. Yan, J. Lam (A&M) to discuss
                                          KYC flow and customer communication issues
Zhang, Qi             7/28/2023     2.9   Review customer service tickets related to Sumsub matters

Zhang, Qi             7/28/2023     1.8   Perform daily review of Integreon manual review team's work to
                                          record down issues identified for 28 July 2023 for the new hires
Zhang, Qi             7/28/2023     0.4   Check rejection caused by duplication to see if they are caused by
                                          wrong sourcekey
Chan, Jon             7/29/2023     1.1   Develop code to split files into separate documents for US States
                                          request with updated instructions from S&C
Chan, Jon             7/29/2023     0.9   Investigate balance activity for account on the exchange for S&C
                                          investigation
Chan, Jon             7/29/2023     1.4   Quality control reports to send to S&C relating to subpoena requests


Kwan, Peter           7/29/2023     0.5   Develop enhancement to summary Order flow analysis to include
                                          associated Trades in relation to due diligence requests
Sunkara, Manasa       7/29/2023     1.8   Search for user accounts associated with names provided in a
                                          subpoena
van den Belt, Mark    7/29/2023     1.1   Prepare analysis of YTD Nov'22 P&L for FTX Exchange FZE




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Business Operations
Professional             Date     Hours     Activity
Zhang, Qi             7/29/2023     0.8   Perform daily review of Sumsub system auto rejection cases to
                                          record down issues identified for 29 July 2023
Zhang, Qi             7/29/2023     1.6   Perform daily review of Sumsub system auto approve cases to
                                          record down issues identified for 29 July 2023
Chambers, Henry       7/30/2023     2.6   Review FTX Japan cost saving proposal

Chambers, Henry       7/30/2023     0.4   Call with O. Wortman, A. Taylor (Sygnia) and H. Chambers (A&M)
                                          regarding security considerations of cost saving measures
Kwan, Peter           7/30/2023     1.4   Continue to develop enhancements to summary Order flow analysis
                                          to include associated Trades in relation to due diligence requests
Stockmeyer, Cullen    7/30/2023     0.2   Prepare professional tracker related to team members based on
                                          correspondence for week ending 7/29
Stockmeyer, Cullen    7/30/2023     0.7   Audit crypto tracing request tracker based on additional information
                                          provided related to LEO requests
Wilson, David         7/30/2023     2.9   Complete formatting the DTL sheets in preference analysis macro
                                          template
Wilson, David         7/30/2023     0.8   Wrote macro to delete all templates from workbook after generating
                                          report for preference analysis automation
Wilson, David         7/30/2023     2.6   Merge pref viewer macro into report generator macros for preference
                                          analysis automation
Zhang, Qi             7/30/2023     1.3   Perform daily review of Sumsub system KYC cases to record down
                                          issues identified for 30 July 2023
Ardizzoni, Heather    7/31/2023     1.7   Add comments and qualitative feedback to third interim report draft
                                          section IV
Ardizzoni, Heather    7/31/2023     1.3   Add comments and qualitative feedback to third interim report draft
                                          section III
Ardizzoni, Heather    7/31/2023     1.2   Research various AICPA procedures and professional standards for
                                          reference and inclusion in third interim report sections
Ardizzoni, Heather    7/31/2023     1.6   Review underlying documents referenced in third interim report draft
                                          section III for accurate representation and accurate details
Ardizzoni, Heather    7/31/2023     1.8   Review underlying documents referenced in third interim report draft
                                          section IV for accurate representation and accurate details
Ardizzoni, Heather    7/31/2023     1.7   Read and review third interim report draft (45 pgs) to support
                                          accuracy
Arnett, Chris         7/31/2023     0.4   Participate in weekly A&M leadership call with team leads

Arnett, Chris         7/31/2023     0.3   Prepare for weekly A&M team workstream call


Arnett, Chris         7/31/2023     0.4   Update weekly workstream planning document for HR, contract, and
                                          vendor teams
Baker, Kevin          7/31/2023     2.4   Discuss deliverable requirements for an additional crypto subpoena
                                          related to specific FTX internal deposit addresses
Baker, Kevin          7/31/2023     0.4   Teleconference with K.Dusendschon, M. Sunkara, J. Chan,
                                          K.Baker (A&M) to go through action items, pending requests and
                                          workstreams


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Business Operations
Professional              Date    Hours     Activity
Baker, Kevin          7/31/2023     0.4   Teleconference with K. Dusendschon, M. Sunkara, and K. Baker
                                          (A&M) to discuss request to compile subpoena information and KYC
                                          productions for S&C
Baker, Kevin          7/31/2023     2.4   Extract the top 5000 customer user balances from FTX.com and
                                          report details at the coin/ticker level
Baker, Kevin          7/31/2023     2.9   Investigate customer account and transaction data for specific
                                          accounts related to names responsive to a Warsaw Cyber subpoena
                                          request
Baker, Kevin          7/31/2023     1.8   Provide data extracts from AWS related to specific FTX deposit
                                          addresses provided as part of subpoena request
Balmelli, Gioele      7/31/2023     0.4   Prepare correspondence re payroll ex FTX Trading GmbH employees

Balmelli, Gioele      7/31/2023     0.4   Prepare correspondence re overview of FTX Europe AGs DAAG
                                          valuation report
Balmelli, Gioele      7/31/2023     1.8   Prepare correspondence re FTX EU Ltd year end trial balances

Blanchard, Madison    7/31/2023     0.2   Call with A. Heric, L. Lambert, A. Canale, and M. Blanchard (A&M)
                                          to discuss XRP tracing and next steps in relation to lending claim
Blanchard, Madison    7/31/2023     0.2   Call with M. Blanchard, J. Zatz (A&M) to discuss Alameda OTC
                                          transaction
Callerio, Lorenzo     7/31/2023     0.6   Review the recently received inbound tracing correspondence
                                          received re: crypto
Callerio, Lorenzo     7/31/2023     0.2   Meeting with L. Lambert, L. Callerio, L. Iwanski, A. Heric, C.
                                          Stockmeyer (A&M) re: crypto tracing update call
Casey, John           7/31/2023     0.3   Prepare note of call with EY tax team in relation to Zubr Exchange
                                          Ltd
Casey, John           7/31/2023     0.3   Call with A. Jakes (A&M) in relation to insolvent liquidation
                                          procedures available in Cyprus for FTX EU Ltd
Casey, John           7/31/2023     0.6   Call with J. Casey, M. Van den Belt, D. Johnston (A&M), D.
                                          Hammon, N. Rumford, E. Perez, C. MacLean, N. Srivastava and N.
                                          Hernandez (EY) in relation to Zubr Exchange Ltd
Casey, John           7/31/2023     0.4   Call with H. McGoldrick (A&M) in relation to standard liquidation
                                          questionnaires for priority European and RoW subsidiaries
Casey, John           7/31/2023     2.9   Prepare standard European and RoW liquidation questionnaire for
                                          the proposed wind-down of FTX EMEA Ltd
Chambers, Henry       7/31/2023     0.4   Update to management on security implications of FTX Japan cost
                                          saving measures
Chambers, Henry       7/31/2023     0.4   Correspondence with FTX Japan Management regarding audit status


Chambers, Henry       7/31/2023     0.6   Provide input on review of post-petition deposit analysis

Chambers, Henry       7/31/2023     0.5   Call with H. Nachmias, L. Farazis (Sygnia), S. Melamed, J. Masters
                                          (FTX) and H. Chambers (A&M) regarding next steps for acquisition
                                          of Liquid structured data
Chambers, Henry       7/31/2023     0.4   Provide input on preparation of diligence on FTX Japan cost saving
                                          measures and matching engine


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Business Operations
Professional                 Date    Hours     Activity
Chambers, Henry          7/31/2023     0.6   Provide input on collation of documentation pertaining to FTX legacy
                                             KYC processes
Chan, Jon                7/31/2023     2.6   Investigate activity for S&C state subpoena request


Chan, Jon                7/31/2023     2.6   Investigate activity for S&C subpoena request regarding Lexington
                                             and searching for transactions on the exchange
Chan, Jon                7/31/2023     1.6   Create reports for subpoena request for S&C regulatory request

Chan, Jon                7/31/2023     2.4   Investigate accounts for S&C internal analysis involving transfer
                                             activity
Chan, Jon                7/31/2023     0.4   Teleconference with K.Dusendschon, M. Sunkara, J. Chan,
                                             K.Baker (A&M) to go through action items, pending requests and
                                             workstreams
Chan, Jon                7/31/2023     1.4   Create reports for subpoena request for S&C investigation request

Clayton, Lance           7/31/2023     1.1   Review token tracing report and update investment master


Collis, Jack             7/31/2023     1.8   Update standard liquidation questionnaire for FTX EU Ltd and
                                             prepare correspondence re same to J. Casey (A&M)
Corr, Caoimhe            7/31/2023     1.0   Summarize located claims for Europe vs latest claims report


Coverick, Steve          7/31/2023     0.3   Review and provide comments on FTX EU update deck for
                                             management
Dalgleish, Elizabeth     7/31/2023     1.4   Update support schedule for FTX Exchange FZE Motion to Dismiss
                                             and Mosley Declaration
Dalgleish, Elizabeth     7/31/2023     2.4   Prepare support schedule for the FTX EU Ltd court motion and
                                             Mosley Declaration
Dalgleish, Elizabeth     7/31/2023     1.7   Prepare updated bank statement analysis to categorize transactions
                                             for Zubr Exchange Ltd
Dusendschon, Kora        7/31/2023     0.2   Review information provided to S&C for request 760 and provide
                                             guidance on response to S&C
Dusendschon, Kora        7/31/2023     0.4   Teleconference with K. Dusendschon, M. Sunkara, and K. Baker
                                             (A&M) to discuss request to compile subpoena information and KYC
                                             productions for S&C
Dusendschon, Kora        7/31/2023     0.3   Review information provided to S&C for request 758 to determine
                                             what additional KYC files were identified and provide guidance to
                                             team
Dusendschon, Kora        7/31/2023     0.1   Follow up on request to FTI to export documents for FTX EU


Dusendschon, Kora        7/31/2023     0.1   Follow up on request related to KYC overlays from FTI and provide
                                             update
Dusendschon, Kora        7/31/2023     0.4   Teleconference with K.Dusendschon, M. Sunkara, J. Chan,
                                             K.Baker (A&M) to go through action items, pending requests and
                                             workstreams
Flynn, Matthew           7/31/2023     0.6   Review Fireblocks private key storage process for Management



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Flynn, Matthew        7/31/2023     1.2   Review of data on FTX Japan K.K. post-petition deposit customers

Flynn, Matthew        7/31/2023     0.2   Call with M. Flynn, G. Walia (A&M) to discuss FTX Australia request


Flynn, Matthew        7/31/2023     0.4   Call with M. Flynn, D. Sagen (A&M), N. Chang (BitGo) to discuss
                                          latest crypto bridging and KYC workstream status
Flynn, Matthew        7/31/2023     0.5   Call with M. Flynn (A&M), R. Perubhatla (FTX), E. Toledano
                                          (Fireblocks) to discuss Fireblocks onboarding process
Gordon, Robert        7/31/2023     1.9   Preliminary read through of third interim report on professionals


Gordon, Robert        7/31/2023     1.8   Draft mark-ups to third interim report on professionals

Haigis, Maya          7/31/2023     0.1   Call with M. Simkins and M. Haigis (A&M) to discuss status of
                                          support tickets task
Haigis, Maya          7/31/2023     0.4   Teleconference with M. Haigis, J. Marshall, P. Kwan (A&M) to go
                                          through action items, pending requests and workstreams
Haigis, Maya          7/31/2023     0.4   Teleconference with M. Simkins, M. Haigis (A&M) to review support
                                          ticket KYC attachment workbook
Haigis, Maya          7/31/2023     0.4   Review support ticket KYC attachment workbook and email draft

Haigis, Maya          7/31/2023     0.4   Review Refinitiv case matches date range in comparison to case
                                          summary
Haigis, Maya          7/31/2023     0.3   Prepare metrics on KYC users with no KYC files


Haigis, Maya          7/31/2023     0.4   Prepare summary of Refinitiv date range so additional files can be
                                          appended to database tables
Heric, Andrew         7/31/2023     0.5   Call with L. Lambert, Q. Lowdermilk, A. Heric, and I. Radwanski
                                          (A&M) regarding workstream updates and priorities
Heric, Andrew         7/31/2023     0.8   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                          discussing analysis for Request 117
Heric, Andrew         7/31/2023     1.1   Formulate address data to prepare for upload to proprietary database


Heric, Andrew         7/31/2023     0.6   Summarize findings for follow-up analysis related to request 114

Heric, Andrew         7/31/2023     1.1   Conduct crypto tracing of 24 deposits of concern and identify the
                                          flow of funds
Heric, Andrew         7/31/2023     3.1   Gather counterparty detail for over 140 transfers of concern related
                                          to request 117
Heric, Andrew         7/31/2023     0.4   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                          discussing updates to the Request 117 deliverable
Heric, Andrew         7/31/2023     0.2   Meeting with L. Lambert, L. Callerio, L. Iwanski, A. Heric, C.
                                          Stockmeyer (A&M) re: crypto tracing update call
Heric, Andrew         7/31/2023     0.2   Call with A. Heric, L. Lambert, A. Canale, and M. Blanchard (A&M)
                                          to discuss XRP tracing and next steps in relation to lending claim




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Business Operations
Professional              Date    Hours     Activity
Heric, Andrew         7/31/2023     0.2   Call with A. Heric and Q. Lowdermilk (A&M) regarding approach to
                                          address-of-concern analysis
Iwanski, Larry        7/31/2023     0.2   Meeting with L. Lambert, L. Callerio, L. Iwanski, A. Heric, C.
                                          Stockmeyer (A&M) re: crypto tracing update call
Johnson, Robert       7/31/2023     1.1   Migrate RDS data for Request 752 to AP-Northeast-1 Athena
                                          instance
Johnson, Robert       7/31/2023     1.2   Include functionality to update preference tables based on stored
                                          procedures after daily pull of coin reference pricing
Johnston, David       7/31/2023     1.8   Review motions relating to FTX EU Ltd. and prepare notes of
                                          supporting materials required
Johnston, David       7/31/2023     0.4   Review latest developments and plan next steps in relation to FTX
                                          EU Ltd
Johnston, David       7/31/2023     0.4   Prepare correspondence and research FTX Exchange FZE
                                          remaining liabilities
Johnston, David       7/31/2023     0.5   Call with D. Johnston, M. Van den Belt, S. Schlam, E. Dalgleish
                                          (A&M) to FTX EU Ltd. timeline, handover and customer balances
                                          examples, as well as strategic options and cashflow variances for
                                          Rest of World entities
Johnston, David       7/31/2023     0.8   Review analysis of FTX EU Ltd. balance sheet movements

Johnston, David       7/31/2023     0.7   Review Japan Services KK wind down timeline


Johnston, David       7/31/2023     0.3   Call with S.Aydin (FTX), D. Johnston, M. van den Belt (A&M) on FTX
                                          Turkey operational running costs
Johnston, David       7/31/2023     1.4   Review and update final presentation relating to FTX Exchange FZE
                                          wind down
Johnston, David       7/31/2023     0.4   Call with D. Hammon, N. Rumford, E. Perez, C. Maclean (E&Y), D.
                                          Johnston, J. Casey, M. van den Belt (A&M) on Zubr Exchange
                                          compliance status
Johnston, David       7/31/2023     0.6   Prepare analysis and related correspondence relating to Quoine Pte
                                          customer balances
Johnston, David       7/31/2023     0.1   Coordinate collection of IT hardware from storage unit related to
                                          Zubr Exchange
Johnston, David       7/31/2023     1.2   Review latest claims summary for items relating to FTX Europe and
                                          wind down entities
Konig, Louis          7/31/2023     0.3   Call with E. Broderick (ES), K. Ramanathan, G. Walia, L. Konig
                                          (A&M) to discuss treatment of open derivative positions
Kwan, Peter           7/31/2023     0.4   Teleconference with M. Haigis, J. Marshall, P. Kwan (A&M) to go
                                          through action items, pending requests and workstreams
Kwan, Peter           7/31/2023     1.2   Develop query logic to identify intercompany transfers between the
                                          two primary legal entities associate with foreign FTX entity based out
                                          of the Asia-Pacific region
Kwan, Peter           7/31/2023     1.6   Develop repurposed query logic to begin responding to an additional
                                          set of due diligence requests received
Kwan, Peter           7/31/2023     2.4   Perform quality review of preliminary results from historical customer
                                          IP address patterns in response to due diligence request


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Professional              Date     Hours     Activity
Kwan, Peter            7/31/2023     0.4   Coordinate with FTX data team working with foreign FTX entity
                                           based out of Asia-Pacific to obtain legal entity mappings
Kwan, Peter            7/31/2023     3.1   Revise analysis of customer IP address pattern analysis to include
                                           summarization logic in relation to due diligence request
Kwan, Peter            7/31/2023     1.7   Prepare initial reporting outputs from aggregate Order flow analysis
                                           in relation to due diligence requests
Lam, James             7/31/2023     2.2   Review research and analyses on exchange matching engines
                                           option
Lam, James             7/31/2023     0.9   Consolidate Liquid Global customer entitlement records as of June
                                           2023
Lam, James             7/31/2023     1.3   Review post-petition deposit records for FTX Japan customers

Lam, James             7/31/2023     0.8   Review users migrated from Liquid Global to FTX


Lam, James             7/31/2023     1.4   Review FTX Japan cost control improvement initiatives

Lambert, Leslie        7/31/2023     0.5   Call with L. Lambert, Q. Lowdermilk, A. Heric, and I. Radwanski
                                           (A&M) regarding workstream updates and priorities
Lambert, Leslie        7/31/2023     1.2   Review materials and data relevant to open and anticipated crypto
                                           tracing analyses
Lambert, Leslie        7/31/2023     1.1   Review documentation repository for relevant information to inform
                                           certain crypto tracing efforts
Lambert, Leslie        7/31/2023     0.2   Meeting with L. Lambert, L. Callerio, L. Iwanski, A. Heric, C.
                                           Stockmeyer (A&M) re: crypto tracing update call
Lambert, Leslie        7/31/2023     0.9   Draft communications concerning open analyses of on-chain activity

Lambert, Leslie        7/31/2023     0.2   Call with A. Heric, L. Lambert, A. Canale, and M. Blanchard (A&M)
                                           to discuss XRP tracing and next steps in relation to lending claim
Li, Summer             7/31/2023     0.7   Review the timeline for the liquidation of FTX Japan Services K.K

Li, Summer             7/31/2023     1.3   Review the revenue forecast and assumption prepared by FTX
                                           Japan K.K
Li, Summer             7/31/2023     0.7   Review the Liquid Matching Engine Proposal

Li, Summer             7/31/2023     1.9   Review the cost saving plan of FTX Japan K.K

Li, Summer             7/31/2023     0.1   Correspondence with the proposed liquidator of FTX Japan Services
                                           K.K. regarding the draft engagement letter
Lowdermilk, Quinn      7/31/2023     1.3   Outline identified information from researching blockchain activity for
                                           supplied transactions for crypto tracing request 117
Lowdermilk, Quinn      7/31/2023     0.5   Call with L. Lambert, Q. Lowdermilk, A. Heric, and I. Radwanski
                                           (A&M) regarding workstream updates and priorities
Lowdermilk, Quinn      7/31/2023     1.7   Identify sending addresses for supplied AWS transactions




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Professional              Date     Hours     Activity
Lowdermilk, Quinn      7/31/2023     0.4   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing updates to the Request 117 deliverable
Lowdermilk, Quinn      7/31/2023     1.1   Call with I. Radwanski and Q. Lowdermilk (A&M) discussing
                                           methodology for Request 117
Lowdermilk, Quinn      7/31/2023     0.2   Call with A. Heric and Q. Lowdermilk (A&M) regarding approach to
                                           address-of-concern analysis
Lowdermilk, Quinn      7/31/2023     2.1   Research blockchain activity for transactions that were provided for
                                           crypto tracing request 117
Lowdermilk, Quinn      7/31/2023     0.8   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing analysis for Request 117
Marshall, Jonathan     7/31/2023     0.4   J. Marshall, D. Wilson, K.Baker, P. Kwan (A&M) to go through action
                                           items, pending requests and workstreams
Marshall, Jonathan     7/31/2023     0.4   Teleconference with M. Haigis, J. Marshall, P. Kwan (A&M) to go
                                           through action items, pending requests and workstreams
McGoldrick, Hugh       7/31/2023     0.5   Review liquidation planning in relation to Singapore and Cyprus
                                           involuntary wind downs
Mohammed, Azmat        7/31/2023     0.4   Call with A. Sathe, P. Singh, M. Simms, T. Sathaye (Cap Gemini)
                                           and A. Mohammed (A&M) discussing recommendation practices for
                                           modern software development and deployment
Mosley, Ed             7/31/2023     1.1   Discussion with PH (E.Gilad, other), FTI (F.Risler, B.Bromberg,
                                           others), J.Ray (FTX), Galaxy (S.Kurz, others), S&C (A.Dietderich,
                                           J.Croke, others), DPW (T.Graulich, others) and A&M
                                           (K.Ramanathan, S.Coverick) regarding crypto management
Paterson, Warren       7/31/2023     0.6   Amendments to FTX Property Holding Ltd. liquidation value
                                           assessment
Radwanski, Igor        7/31/2023     0.4   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing updates to the Request 117 deliverable
Radwanski, Igor        7/31/2023     2.7   Matchup sending entity information to appropriate sending wallet
                                           addresses
Radwanski, Igor        7/31/2023     0.5   Call with L. Lambert, Q. Lowdermilk, A. Heric, and I. Radwanski
                                           (A&M) regarding workstream updates and priorities
Radwanski, Igor        7/31/2023     0.8   Call with I. Radwanski, A. Heric, and Q. Lowdermilk (A&M)
                                           discussing analysis for Request 117
Radwanski, Igor        7/31/2023     1.1   Call with I. Radwanski and Q. Lowdermilk (A&M) discussing
                                           methodology for Request 117
Radwanski, Igor        7/31/2023     2.8   Quantify deposit data to reflect sending entities

Ramanathan, Kumanan    7/31/2023     0.4   Review of historical KYC AML materials and distribute to counsel


Ramanathan, Kumanan    7/31/2023     0.4   Correspond re: Solana validator proposed method

Ramanathan, Kumanan    7/31/2023     0.4   Review of various crypto vendor invoices and provide feedback


Ramanathan, Kumanan    7/31/2023     0.3   Call with E. Broderick (ES), K. Ramanathan, G. Walia, L. Konig
                                           (A&M) to discuss treatment of open derivative positions



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Professional                 Date    Hours     Activity
Ramanathan, Kumanan      7/31/2023     1.6   Correspond and facilitate trading activities for certain crypto asset

Ramanathan, Kumanan      7/31/2023     0.8   Call with S. Kurz (Galaxy) to discuss crypto asset management
                                             service offering and term sheet
Ryan, Laureen            7/31/2023     0.4   Weekly A&M workstream lead meeting to discuss upcoming
                                             deliverables and activities for the week and case strategy
Sagen, Daniel            7/31/2023     0.2   Call with G. Walia and D. Sagen (A&M) regarding token price source
                                             analysis
Sagen, Daniel            7/31/2023     0.3   Call with Sygnia team, A. Holland (S&C), D. Sagen (A&M) to
                                             facilitate asset transfers from third party exchanges and discuss
                                             questions
Sagen, Daniel            7/31/2023     0.9   Correspondence with BitGo and Sygnia teams regarding select
                                             token liquidity metrics
Sagen, Daniel            7/31/2023     0.6   Correspondence with BitGo team regarding preparation for
                                             additional stablecoin settlements
Sagen, Daniel            7/31/2023     0.4   Correspondence with R. Perubhatla (FTX) regarding details of
                                             stablecoin conversions
Sagen, Daniel            7/31/2023     0.4   Respond to questions from H. Trent (A&M) regarding crypto asset
                                             balance diligence questions
Sagen, Daniel            7/31/2023     0.8   Perform quality control checks on 7/21 coin report


Sagen, Daniel            7/31/2023     0.4   Prepare distributable version of 7/21 coin report, circulate for
                                             external sharing
Sagen, Daniel            7/31/2023     0.3   Prepare distributable version of 7/7 coin report with revised pricing,
                                             circulate for external sharing
Sagen, Daniel            7/31/2023     0.8   Prepare summary with details and instructions for additional
                                             upcoming stablecoin settlements
Sagen, Daniel            7/31/2023     1.6   Correspondence with market making partners regarding conversion
                                             of select stablecoin to fiat
Sagen, Daniel            7/31/2023     1.4   Research token liquidity metrics for potential trade settlement
                                             requested by Sygnia and S&C teams
Sagen, Daniel            7/31/2023     0.4   Call with M. Flynn, D. Sagen (A&M), N. Chang (BitGo) to discuss
                                             latest crypto bridging and KYC workstream status
Sagen, Daniel            7/31/2023     0.2   Provide A. Istrefi (Sygnia) with requested information pertaining to
                                             select token wallet addresses
Schlam Batista, Sharon   7/31/2023     2.4   Prepare the example of one user of FTX EU Ltd to validate the
                                             customer balances latest methodology
Schlam Batista, Sharon   7/31/2023     2.2   Build a file including country and jurisdiction of each FTX EU user


Schlam Batista, Sharon   7/31/2023     0.5   Call with D. Johnston, M. Van den Belt, S. Schlam, E. Dalgleish
                                             (A&M) to FTX EU Ltd. timeline, handover and customer balances
                                             examples, as well as strategic options and cashflow variances for
                                             Rest of World entities
Schlam Batista, Sharon   7/31/2023     1.9   Create a summary of bank statements in local currency and EUR of
                                             all FTX EU customer accounts



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Sexton, Rachel        7/31/2023     0.3   Update H. McGoldrick (A&M) re: strategy and review of emails
                                          relevant to priority wind down entities and contingency planning
Simkins, Maximilian   7/31/2023     2.2   Prepare deliverable of support metrics for crypto presentation


Simkins, Maximilian   7/31/2023     0.1   Call with M. Simkins and M. Haigis (A&M) to discuss status of
                                          support tickets task
Simkins, Maximilian   7/31/2023     0.4   Teleconference with M. Simkins, A.Sloan (A&M) to go through action
                                          items, pending requests and workstreams
Simkins, Maximilian   7/31/2023     0.4   Teleconference with M. Simkins, M. Haigis (A&M) to review support
                                          ticket KYC attachment workbook
Sloan, Austin         7/31/2023     0.4   Teleconference with M. Simkins, A.Sloan (A&M) to go through action
                                          items, pending requests and workstreams
Stockmeyer, Cullen    7/31/2023     0.2   Meeting with L. Lambert, L. Callerio, L. Iwanski, A. Heric, C.
                                          Stockmeyer (A&M) re: crypto tracing update call
Stockmeyer, Cullen    7/31/2023     1.4   Prepare professional tracker related to invoices based on additional
                                          information for week ending 7/29
Stockmeyer, Cullen    7/31/2023     1.1   Audit crypto tracing request tracker based on additional information
                                          provided related to LEO requests
Stockmeyer, Cullen    7/31/2023     1.9   Prepare summary of preference analysis for request related to
                                          employees
Stockmeyer, Cullen    7/31/2023     1.6   Update current pricing of certain tokens for preference analyses

Sunkara, Manasa       7/31/2023     1.4   Update the internal automation file to include sql statements used
                                          for requests
Sunkara, Manasa       7/31/2023     2.1   Investigate user account's kyc identity verification forms for a
                                          subpoena request
Sunkara, Manasa       7/31/2023     2.8   Search for user accounts associated with transaction hashes
                                          provided in a subpoena
Sunkara, Manasa       7/31/2023     3.1   Extract all exchange data available related to users for a subpoena
                                          request
Sunkara, Manasa       7/31/2023     0.6   Quality check the SQL scripts to prepare deliverables for subpoena
                                          requests
Sunkara, Manasa       7/31/2023     0.4   Teleconference with K.Dusendschon, M. Sunkara, J. Chan,
                                          K.Baker (A&M) to go through action items, pending requests and
                                          workstreams
Sunkara, Manasa       7/31/2023     0.4   Teleconference with K. Dusendschon, M. Sunkara, and K. Baker
                                          (A&M) to discuss request to compile subpoena information and KYC
                                          productions for S&C
van den Belt, Mark    7/31/2023     0.3   Call with S.Aydin (FTX), D. Johnston, M. van den Belt (A&M) on FTX
                                          Turkey operational running costs
van den Belt, Mark    7/31/2023     0.5   Call with D. Johnston, M. Van den Belt, S. Schlam, E. Dalgleish
                                          (A&M) to FTX EU Ltd. timeline, handover and customer balances
                                          examples, as well as strategic options and cashflow variances for
                                          Rest of World entities
van den Belt, Mark    7/31/2023     0.4   Call with D. Hammon, N. Rumford, E. Perez, C. Maclean (E&Y), D.
                                          Johnston, J. Casey, M. van den Belt (A&M) on Zubr Exchange
                                          compliance status

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                            July 1, 2023 through July 31, 2023


Business Operations
Professional              Date    Hours     Activity
van den Belt, Mark    7/31/2023     0.2   Prepare correspondence on Cottonwood Grove Ltd aptos valuation

van den Belt, Mark    7/31/2023     1.6   Prepare board package on wind down for FTX Exchange FZE


van den Belt, Mark    7/31/2023     1.3   Prepare analysis on FTX EU Ltd. YTD P&L for Nov'22

van den Belt, Mark    7/31/2023     0.3   Prepare correspondence on litigation items and change in directors
                                          of FTX Europe entities
van den Belt, Mark    7/31/2023     3.1   Review FTX EU support schedule for court motion


van den Belt, Mark    7/31/2023     0.3   Prepare correspondence on engagement letter of FTX Japan
                                          Services
van den Belt, Mark    7/31/2023     0.6   Review correspondence on Quoine Pte Ltd from local management


van den Belt, Mark    7/31/2023     0.9   Prepare PMO presentation on update of FTX Europe and rest of
                                          world for PMO meeting on August 01
Walia, Gaurav         7/31/2023     0.2   Call with G. Walia and D. Sagen (A&M) regarding token price source
                                          analysis
Walia, Gaurav         7/31/2023     0.2   Call with M. Flynn, G. Walia (A&M) to discuss FTX Australia request

Walia, Gaurav         7/31/2023     0.3   Call with E. Broderick (ES), K. Ramanathan, G. Walia, L. Konig
                                          (A&M) to discuss treatment of open derivative positions
Walia, Gaurav         7/31/2023     1.6   Review the automated preference output and provide feedback


Walia, Gaurav         7/31/2023     0.9   Review the latest CoinMetrics pricing analysis and provide feedback

Walia, Gaurav         7/31/2023     1.4   Review the employee preference analysis and provide feedback


Walia, Gaurav         7/31/2023     1.6   Review the updated M3 diligence request list and coordinate with
                                          team
Walia, Gaurav         7/31/2023     0.7   Review the FTX Australia customer balances data request and
                                          memorandum
Walia, Gaurav         7/31/2023     0.3   Prepare for the open derivate positions meeting

Wilson, David         7/31/2023     1.1   Fix bugs in query execution function in automation tool

Wilson, David         7/31/2023     2.7   Implement QC feedback into preference analysis excel macros


Wilson, David         7/31/2023     1.8   Automate preference analysis data request and reviewed output to
                                          ensure consistency with data
Wilson, David         7/31/2023     2.9   Wrote executed queries related to database request for identifying
                                          account numbers related to wallet addresses
Yan, Jack             7/31/2023     0.7   Perform checking of the FTX data with customer withdrawal record
                                          announced by Liquid Global as of July 18, 2023




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Business Operations
Professional             Date     Hours      Activity
Yan, Jack             7/31/2023       1.4   Prepare FTX Japan customer withdrawal summary table as at July
                                            30, 2023
Zatz, Jonathan        7/31/2023       0.2   Call with M. Blanchard, J. Zatz (A&M) to discuss Alameda OTC
                                            transaction
Zatz, Jonathan        7/31/2023       2.1   Database scripting related to request for Alameda OTC transaction
                                            data
Zatz, Jonathan        7/31/2023       2.9   Database scripting to update Alameda data profiling parameters
                                            based on Alameda responses
Zhang, Qi             7/31/2023       1.9   Daily review Sumsub system auto approve cases to record down
                                            issues identified for 31 July 2023
Zhang, Qi             7/31/2023       0.7   Draft know your customer frequent asked questions to be added on
                                            customer portal
Zhang, Qi             7/31/2023       2.7   Daily review of Integreon manual review team's work to record down
                                            issues identified for 31 July 2023 for the old hires
Zhang, Qi             7/31/2023       1.8   Daily review of Integreon manual review team's work to record down
                                            issues identified for 31 July 2023 for the new hires
Zhang, Qi             7/31/2023       1.2   Review rejections due to AML hits to see if they are true hits or not


Zhang, Qi             7/31/2023       2.1   Review all rejections caused by selfie mismatch to identify which
                                            ones may be reversed

Subtotal                          4,039.2

Case Administration
Professional             Date     Hours      Activity
Callerio, Lorenzo      7/5/2023       0.5   Participate in workstream update call with E. Mosley, D. Johnston, J.
                                            Cooper, K. Ramanathan, A. Titus, R. Gordon, R. Esposito, C. Arnett,
                                            L. Ryan, C. Howe, S. Coverick and L. Callerio (A&M)
Cooper, James          7/5/2023       0.5   Participate in workstream update call with E. Mosley, D. Johnston, J.
                                            Cooper, K. Ramanathan, A. Titus, R. Gordon, R. Esposito, C. Arnett,
                                            L. Ryan, C. Howe, S. Coverick and L. Callerio (A&M)
Coverick, Steve        7/5/2023       0.5   Participate in workstream update call with E. Mosley, S. Coverick, K.
                                            Ramanathan, A. Titus, R. Esposito, R. Gordon, L. Callerio, L. Ryan,
                                            J. Cooper, C. Arnett (A&M)
Coverick, Steve        7/5/2023       1.0   Participate in steering committee call with J.Ray (FTX), PWP
                                            (B.Mendelsohn, K.Cofsky), S&C (A.Dietderich, J.Bromley,
                                            B.Glueckstein, J.Croke), Quinn (S.Rand), and A&M (E. Mosley,
                                            S.Coverick, K.Ramanathan) regarding FTX 2.0 process updates,
                                            crypto managemen
Esposito, Rob          7/5/2023       0.5   Participate in workstream lead call with E Mosley, S Coverick, L
                                            Ryan, R Esposito, A Titus, L Callerio, R Gordon, J Cooper and D
                                            Johnston (A&M)
Esposito, Rob          7/5/2023       0.4   Review of weekly PMO presentation for case updates


Esposito, Rob          7/5/2023       0.3   Discussion with R. Esposito and D. Lewandowski (A&M) re:
                                            technology fees related to the FTX matter



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Case Administration
Professional               Date     Hours     Activity
Gordon, Robert           7/5/2023     0.5   Participate in workstream update call with E. Mosley, S. Coverick, K.
                                            Ramanathan, A. Titus, R. Esposito, R. Gordon, L. Callerio, L. Ryan,
                                            J. Cooper, C. Arnett (A&M)
Howe, Christopher        7/5/2023     0.5   Participate in workstream update call with E. Mosley, D. Johnston, J.
                                            Cooper, K. Ramanathan, A. Titus, R. Gordon, R. Esposito, C. Arnett,
                                            L. Ryan, C. Howe, S. Coverick and L. Callerio (A&M)
Johnston, David          7/5/2023     0.5   Participate in workstream update call with E. Mosley, D. Johnston, J.
                                            Cooper, K. Ramanathan, A. Titus, R. Gordon, R. Esposito, C. Arnett,
                                            L. Ryan, C. Howe, S. Coverick and L. Callerio (A&M)
Lewandowski, Douglas     7/5/2023     0.3   Discussion with R. Esposito and D. Lewandowski (A&M) re:
                                            technology fees related to the FTX matter
Mosley, Ed               7/5/2023     0.5   Participate in workstream update with A&M workstream leads
                                            (S.Coverick, K.Ramanathan, A.Titus, L.Ryan, D.Johnston, C.Arnett,
                                            J.Cooper, others)
Mosley, Ed               7/5/2023     1.0   Participate in steering committee call with J.Ray (FTX), PWP
                                            (B.Mendelsohn, K.Cofsky), S&C (A.Dietderich, J.Bromley,
                                            B.Glueckstein, J.Croke), Quinn (S.Rand), and A&M (S.Coverick,
                                            K.Ramanathan) regarding FTX 2.0 process updates, crypto
                                            management
Mosley, Ed               7/5/2023     0.3   Review of draft presentation to management and board regarding
                                            status of open workstreams
Ramanathan, Kumanan      7/5/2023     1.0   Participate in call with J.Ray (FTX), PWP (B.Mendelsohn, K.Cofsky),
                                            S&C (A.Dietderich, others), Quinn (S.Rand), and A&M (E. Mosley,
                                            S.Coverick, K.Ramanathan) regarding FTX 2.0 process updates,
                                            crypto management
Ramanathan, Kumanan      7/5/2023     0.5   Participate in workstream update with A&M workstream leads
                                            (S.Coverick, K.Ramanathan, A.Titus, L. Ryan, D. Johnston,
                                            C.Arnett, J. Cooper, others)
Ryan, Laureen            7/5/2023     0.5   Participate in workstream update call with E. Mosley, S. Coverick, K.
                                            Ramanathan, A. Titus, R. Esposito, R. Gordon, L. Callerio, L. Ryan,
                                            J. Cooper, C. Arnett (A&M)
Titus, Adam              7/5/2023     0.5   Participate in workstream update call with E. Mosley, D. Johnston, J.
                                            Cooper, K. Ramanathan, A. Titus, R. Gordon, R. Esposito, C. Arnett,
                                            L. Ryan, C. Howe, S. Coverick and L. Callerio (A&M)
Sullivan, Christopher    7/6/2023     0.1   Review daily docket tracker for 7/6

Trent, Hudson            7/6/2023     1.1   Coordinate agenda and materials for 7/11 Board meeting


Coverick, Steve          7/7/2023     1.2   Review and provide comments on materials compiled for 7/11 board
                                            meeting
Esposito, Rob            7/7/2023     0.4   Prepare detailed updates to the PMO calendar and reporting slides


Esposito, Rob            7/7/2023     0.3   Teleconference between R. Gordon, R. Esposito(A&M) over
                                            reporting pmo updates
Gordon, Robert           7/7/2023     0.3   Teleconference between R. Gordon, R. Esposito(A&M) over
                                            reporting pomp updates
Gordon, Robert           7/7/2023     0.6   Update PMO materials for reporting updates



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                                   FTX Trading Ltd., et al.,
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Case Administration
Professional               Date     Hours     Activity
Mosley, Ed               7/7/2023     1.4   Review of draft board materials for 7/11 meeting.

Sullivan, Christopher    7/7/2023     0.2   Review daily docket tracker for 7/7


Trent, Hudson            7/7/2023     1.1   Coordinate materials and updated schedule for 7/11 Board meeting

Callerio, Lorenzo       7/10/2023     0.2   Review and summarize internal workstream status

Cooper, James           7/10/2023     0.3   Participate in workstream update call with E. Mosley, S. Coverick, K.
                                            Ramanathan, A. Titus, R. Esposito, R. Gordon, L. Callerio, L. Ryan,
                                            J. Cooper (A&M)
Cooper, James           7/10/2023     0.1   Draft updates to PMO materials for the liquidity forecasting
                                            workstream
Coverick, Steve         7/10/2023     1.2   Review and provide comments on updated materials for 7/11 board
                                            meeting
Coverick, Steve         7/10/2023     0.8   Prepare list of workstream updates for J. Ray


Coverick, Steve         7/10/2023     0.3   Participate in workstream update call with E. Mosley, S. Coverick, K.
                                            Ramanathan, A. Titus, R. Esposito, R. Gordon, L. Callerio, L. Ryan,
                                            J. Cooper (A&M)
Esposito, Rob           7/10/2023     0.3   Participate in workstream lead call with E Mosley, S Coverick, L
                                            Ryan, R Esposito, A Titus, L Callerio, R Gordon, J Cooper and D
                                            Johnston (A&M)
Gordon, Robert          7/10/2023     0.3   Participate in workstream lead call with E Mosley, S Coverick, L
                                            Ryan, R Esposito, A Titus, L Callerio, R Gordon, J Cooper and D
                                            Johnston (A&M)
Johnston, David         7/10/2023     0.6   Review and update weekly update presentation materials relating to
                                            FTX Europe
Johnston, David         7/10/2023     2.3   Prepare summary presentation of latest developments with FTX EU
                                            Ltd. for board meeting
Mosley, Ed              7/10/2023     0.3   Participate in workstream update call with E. Mosley, S. Coverick, K.
                                            Ramanathan, A. Titus, R. Esposito, R. Gordon, L. Callerio, L. Ryan,
                                            J. Cooper (A&M)
Titus, Adam             7/10/2023     0.3   Participate in workstream update call with E. Mosley, S. Coverick, K.
                                            Ramanathan, A. Titus, R. Esposito, R. Gordon, L. Callerio, L. Ryan,
                                            J. Cooper (A&M)
Trent, Hudson           7/10/2023     0.9   Coordinate logistics for 7/11 Board call with additional party invited
                                            to meeting
Coverick, Steve         7/11/2023     1.3   Participate in steering committee call with J.Ray (FTX), S&C
                                            (A.Dietderich, J.Bromley, B.Glueckstein, A.Kranzley, J.Croke),
                                            Quinn (S.Rand, W.Burck), and A&M (E.Mosley S.Coverick)
                                            regarding board agenda
Coverick, Steve         7/11/2023     2.3   Participate in weekly Board meeting with K. Knipp, R. Jain, M.
                                            Rosenberg, M. Sonkin, J. Farnan, M. Doheny (BoD), J. Ray, M.
                                            Cilia, K. Schultea, R. Perubhatla (FTX), K. Cofsky, K. Flinn, M.
                                            Rahmani, B. Mendelsoh (PWP), E. Simpson, A. Dietderich, B.
                                            Gluecks



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                                   FTX Trading Ltd., et al.,
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Case Administration
Professional               Date     Hours     Activity
Esposito, Rob           7/11/2023     0.3   Review of weekly PMO presentation for case updates

Gordon, Robert          7/11/2023     0.4   Review PMO materials for latest overall case update, week of 7/10


Johnston, David         7/11/2023     0.4   Review weekly case updates from PMO presentation and consider
                                            implications for FTX Europe
Johnston, David         7/11/2023     2.3   Participate in weekly Board meeting with K. Knipp, R. Jain, M.
                                            Rosenberg, M. Sonkin, J. Farnan, M. Doheny (BoD), J. Ray, M.
                                            Cilia, K. Schultea, R. Perubhatla (FTX), K. Cofsky, K. Flinn, M.
                                            Rahmani, B. Mendelsohn (PWP), E. Simpson, A. Dietderich, B.
                                            Glueck
Mosley, Ed              7/11/2023     0.2   Call with S.Coverick (A&M) to discuss plan related inquiries from
                                            board members
Mosley, Ed              7/11/2023     2.3   Particiapte in board meeting regarding crypto management, UCC
                                            feedback, tax considerations, plan update, and claims portal with
                                            Board members (M.Sonkin, M.Doheny, M.Rosenberg, R.Jain,
                                            K.Knipp), FTX (J.Ray, M.Cilia, R.Perubhatla, K.Shultea), S&C
                                            (A.Dietder
Mosley, Ed              7/11/2023     0.8   Review of status update presentation to management and the board
                                            for week of 7/11
Mosley, Ed              7/11/2023     1.3   Participate in steering committee call with J.Ray (FTX), S&C
                                            (A.Dietderich, J.Bromley, B.Glueckstein, A.Kranzley, J.Croke),
                                            Quinn (S.Rand, W.Burck), and A&M (E.Mosley S.Coverick)
                                            regarding board agenda
Ramanathan, Kumanan     7/11/2023     2.3   Participate in weekly Board meeting with K. Knipp, R. Jain and
                                            others (BoD), J. Ray, M. Cilia and others (FTX), K. Cofsky and
                                            others (PWP), E. Simpson and others (S&C), S. Rand, J. Shaffer
                                            (QE), E. Mosley, S. Coverick, K. Ramanathan and others (A&M)
Sullivan, Christopher   7/11/2023     0.2   Review daily docket tracker for 7/11


Trent, Hudson           7/11/2023     2.3   Participate in weekly Board meeting with K. Knipp, R. Jain, M.
                                            Rosenberg, M. Sonkin, J. Farnan, M. Doheny (BoD), J. Ray, M.
                                            Cilia, K. Schultea, R. Perubhatla (FTX), K. Cofsky, K. Flinn, M.
                                            Rahmani, B. Mendelsohn (PWP), E. Simpson, A. Dietderich, B.
                                            Glueck
Callerio, Lorenzo       7/12/2023     0.5   Participate in workstream coordination call with E. Mosley, S.
                                            Coverick, K. Ramanathan, A. Titus, R. Esposito, R. Gordon, L.
                                            Callerio, L. Ryan, J. Cooper (A&M)
Cooper, James           7/12/2023     0.5   Participate in workstream coordination call with S. Coverick, K.
                                            Ramanathan, A. Titus, R. Esposito, R. Gordon, L. Callerio, L. Ryan,
                                            J. Cooper (A&M)
Coverick, Steve         7/12/2023     0.2   Call with A. Kranzley (S&C) to discuss debtor professional
                                            workstream coordination
Coverick, Steve         7/12/2023     0.5   Participate in workstream coordination call with E. Mosley, S.
                                            Coverick, K. Ramanathan, A. Titus, R. Esposito, R. Gordon, L.
                                            Callerio, L. Ryan, J. Cooper (A&M)
Esposito, Rob           7/12/2023     0.5   Discussion with R. Esposito, D. Lewandowski, and S. Kotarba
                                            (A&M) re: case management tasks and workstreams




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                                   FTX Trading Ltd., et al.,
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Case Administration
Professional               Date     Hours     Activity
Esposito, Rob           7/12/2023     0.5   Participate in workstream coordination call with E. Mosley, S.
                                            Coverick, K. Ramanathan, A. Titus, R. Esposito, R. Gordon, L.
                                            Callerio, L. Ryan, J. Cooper (A&M)
Gordon, Robert          7/12/2023     0.5   Participate in workstream coordination call with E. Mosley, S.
                                            Coverick, K. Ramanathan, A. Titus, R. Esposito, R. Gordon, L.
                                            Callerio, L. Ryan, J. Cooper (A&M)
Kotarba, Steve          7/12/2023     0.5   Discussion with R. Esposito, D. Lewandowski, and S. Kotarba
                                            (A&M) re: case management tasks and workstreams
Lewandowski, Douglas    7/12/2023     0.5   Discussion with R. Esposito, D. Lewandowski, and S. Kotarba
                                            (A&M) re: case management tasks and workstreams
Mosley, Ed              7/12/2023     0.5   Participate in workstream coordination call with S. Coverick, K.
                                            Ramanathan, A. Titus, R. Esposito, R. Gordon, L. Callerio, L. Ryan,
                                            J. Cooper (A&M)
Ramanathan, Kumanan     7/12/2023     0.5   Participate in workstream coordination call with E. Mosley, S.
                                            Coverick, K. Ramanathan, A. Titus, R. Esposito, R. Gordon, L.
                                            Callerio, L. Ryan, J. Cooper (A&M)
Ryan, Laureen           7/12/2023     0.5   Participate in workstream coordination call with S. Coverick, K.
                                            Ramanathan, A. Titus, R. Esposito, R. Gordon, L. Callerio, L. Ryan,
                                            J. Cooper (A&M)
Sullivan, Christopher   7/12/2023     0.1   Review daily docket tracker for 7/12

Titus, Adam             7/12/2023     0.5   Participate in workstream coordination call with E. Mosley, S.
                                            Coverick, K. Ramanathan, A. Titus, R. Esposito, R. Gordon, L.
                                            Callerio, L. Ryan, J. Cooper (A&M)
Mosley, Ed              7/13/2023     0.2   Discussion with J.Ray (FTX) regarding customer noticing and Crypto
                                            tax considerations
Mosley, Ed              7/13/2023     0.2   Discussion with J.Ray (FTX) regarding Alameda crypto tax
                                            considerations and FTX Japan
Esposito, Rob           7/14/2023     0.5   Discussion with D. Lewandowski, R. Esposito, and S. Kotarba
                                            (A&M) re: July/August workstream planning and budgeting
Gordon, Robert          7/14/2023     0.4   Update PMO material for reporting and intercompany for week
                                            ending 7/16
Kotarba, Steve          7/14/2023     1.1   Analyze reports and summarize workstreams to prepare for internal
                                            discussions re budget
Kotarba, Steve          7/14/2023     0.5   Discussion with D. Lewandowski, R. Esposito, and S. Kotarba
                                            (A&M) re: July/August workstream planning and budgeting
Lewandowski, Douglas    7/14/2023     0.5   Discussion with D. Lewandowski, R. Esposito, and S. Kotarba
                                            (A&M) re: July/August workstream planning and budgeting
Sullivan, Christopher   7/14/2023     0.2   Review daily docket tracker for 7/14


Gordon, Robert          7/16/2023     0.4   Update PMO presentation for reporting/intercompany

Callerio, Lorenzo       7/17/2023     0.3   Review and approve the diligence PMO materials provided by C.
                                            Stockmeyer (A&M)
Coverick, Steve         7/17/2023     1.3   Prepare weekly restructuring workstream summary for CEO




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Case Administration
Professional                Date    Hours     Activity
Esposito, Rob           7/17/2023     0.3   Prepare weekly updates to the PMO presentation

Esposito, Rob           7/17/2023     0.3   Review of data for response to creditor inquiry from S&C team


Coverick, Steve         7/18/2023     1.4   Participate in weekly Board meeting with K. Knipp, R. Jain, M.
                                            Rosenberg, M. Sonkin, J. Farnan, M. Doheny (BoD), J. Ray, M.
                                            Cilia, K. Schultea, R. Perubhatla (FTX), K. Flinn (PWP), E. Simpson,
                                            A. Dietderich, B. Glueckstein, J. Bromley, J. Croke, B. Baker,
Coverick, Steve         7/18/2023     1.1   Participate in steering committee call with J.Ray (FTX), S&C
                                            (A.Dietderich, J.Bromley, B.Glueckstein, A.Kranzley, J.Croke),
                                            Quinn (S.Rand, W.Burck), and A&M (E.Mosley S.Coverick)
                                            regarding board agenda
Coverick, Steve         7/18/2023     0.4   Discuss cross-professional workstream coordinatation with A.
                                            Kranzley (S&C)
Coverick, Steve         7/18/2023     0.9   Review and provide comments on final draft of workstream
                                            reconciliation analysis for CEO
Esposito, Rob           7/18/2023     0.3   Review of weekly PMO presentation to understand case updates


Gordon, Robert          7/18/2023     0.3   Read through PMO update for 7.17 for latest updates

Mosley, Ed              7/18/2023     1.1   Participate in steering committee meeting with J.Ray (FTX), S&C
                                            (A.Dietdersich, J.Bromley, B.Glueckstein, A.Kranzley, J.Croke),
                                            PWP (B.Mendelsohn, K.Cofsky), Quinn (S.Rand, W.Burck) and
                                            A&M (S.Coverick) regarding UCC proposed plan
Mosley, Ed              7/18/2023     1.4   Participate in board meeting with J.Ray (FTX), S&C (A.Dietderich,
                                            J.Croke, B.Glueckstein, others), A&M (S.Coverick, K.Ramanathan)
                                            and BOD members (M.Doheny, M.Sonkin, A.Rosenberg, K.Knipp,
                                            R.Jain, J.Farnan)
Mosley, Ed              7/18/2023     1.1   Review of status presentation to management regarding crypto,
                                            cash projections, and other workstream updates
Ramanathan, Kumanan     7/18/2023     1.4   Prepare and participate in board meeting with M. Rosenberg, M.
                                            Sonkin and others (BOD), J. Ray, R. Perubhatla and others (FTX),
                                            A. Dietderich and others (S&C), E. Mosley, S. Coverick, K.
                                            Ramanathan, H. Trent (A&M), S. Rand (QE), K. Flinn (PWP)
Sullivan, Christopher   7/18/2023     0.1   Review daily docket tracker for 7/18

Trent, Hudson           7/18/2023     1.4   Participate in weekly Board meeting with K. Knipp, R. Jain, M.
                                            Rosenberg, M. Sonkin, J. Farnan, M. Doheny (BoD), J. Ray, M.
                                            Cilia, K. Schultea, R. Perubhatla (FTX), K. Flinn (PWP), E. Simpson,
                                            A. Dietderich, B. Glueckstein, J. Bromley, J. Croke, B. Baker,
Sullivan, Christopher   7/19/2023     0.2   Review daily docket tracker for 7/19


Esposito, Rob           7/20/2023     0.3   Prepare response for diligence inquiry from S&C related to specific
                                            non-customer creditors
Sullivan, Christopher   7/20/2023     0.2   Review daily docket tracker for 7/20

Callerio, Lorenzo       7/21/2023     0.2   Review and approve the PMO diligence materials provided by C.
                                            Stockmeyer (A&M)


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Case Administration
Professional               Date     Hours     Activity
Coverick, Steve         7/21/2023     0.2   Discuss workstream coordination with J. LaBella, A. Searles, M.
                                            Jacques, M. Evans (Alix)
Esposito, Rob           7/21/2023     0.2   Prepare updates to the weekly PMO presentation


Gordon, Robert          7/23/2023     0.4   Update PMO material for reporting as of the week ending 7/21

Arnett, Chris           7/24/2023     0.4   Participate in workstream coordination call with C. Arnett, D.
                                            Johnston, A. Lawson, K. Ramanathan (A&M)
Callerio, Lorenzo       7/24/2023     0.4   Participate in workstream coordination call with E. Mosley, L.
                                            Callerio and S. Coverick (A&M)
Cooper, James           7/24/2023     0.4   Participate in workstream coordination call with A. Titus, R.
                                            Esposito, R. Gordon, J. Cooper (A&M)
Cooper, James           7/24/2023     0.5   Draft weekly PMO material updates for the liquidity workstream


Coverick, Steve         7/24/2023     0.4   Participate in workstream coordination call with E. Mosley, L.
                                            Callerio and S. Coverick (A&M)
Coverick, Steve         7/24/2023     1.1   Prepare restructuring workstream status summary for CEO


Coverick, Steve         7/24/2023     0.9   Review and provide comments on board materials for 7/25 meeting

Esposito, Rob           7/24/2023     0.2   Discussion with R Gordon and R Esposito (A&M) re: weekly PMO
                                            updates
Esposito, Rob           7/24/2023     0.4   Participate in workstream coordination call with A. Titus, R.
                                            Esposito, R. Gordon, J. Cooper (A&M)
Esposito, Rob           7/24/2023     0.4   Prepare detailed updates to the weekly PMO presentation

Esposito, Rob           7/24/2023     0.2   Prepare for and document status of tasks for workstream lead call


Gordon, Robert          7/24/2023     0.2   Discussion with R Gordon and R Esposito (A&M) re: weekly PMO
                                            updates
Gordon, Robert          7/24/2023     0.4   Participate in workstream coordination call with A. Titus, R.
                                            Esposito, R. Gordon, J. Cooper (A&M)
Lawson, Alex            7/24/2023     0.4   Participate in workstream coordination call with C. Arnett, D.
                                            Johnston, A. Lawson, K. Ramanathan (A&M)
Mosley, Ed              7/24/2023     0.4   Participate in workstream coordination call with E. Mosley, L.
                                            Callerio and S. Coverick (A&M)
Mosley, Ed              7/24/2023     0.4   Discuss workstream coordination and communication with
                                            J.Stegenga (A&M)
Ramanathan, Kumanan     7/24/2023     0.4   Participate in workstream coordination call with C. Arnett, D.
                                            Johnston, A. Lawson, K. Ramanathan (A&M)
Sullivan, Christopher   7/24/2023     0.2   Review the daily docket tracker for 7/31


Coverick, Steve         7/25/2023     1.7   Participate in steering committee call with J.Ray (FTX), S&C
                                            (A.Dietderich, J.Bromley, B.Glueckstein, A.Kranzley, J.Croke),
                                            Quinn (S.Rand, W.Burck), and A&M (E.Mosley S.Coverick)
                                            regarding board agenda

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Case Administration
Professional               Date     Hours     Activity
Coverick, Steve         7/25/2023     0.9   Participate in weekly Board meeting with K. Knipp, R. Jain, M.
                                            Rosenberg, M. Sonkin, J. Farnan, M. Doheny (BoD), J. Ray, and
                                            others (FTX), B. Mendelsohn, K. Cofsky, M. Rahmani (PWP), E.
                                            Simpson, A. Dietderich, and others (S&C), S. Rand, J. Shaffer (QE),
                                            E
Esposito, Rob           7/25/2023     0.4   Review and prepare vendor/supplier service request for S&C team


Gordon, Robert          7/25/2023     1.2   Draft workstream updates based on request from FTX leadership

Gordon, Robert          7/25/2023     0.3   Review weekly PMO materials for case updates


Mosley, Ed              7/25/2023     1.4   Review of other materials provided to board regarding crypto
                                            management, plan comparisons
Mosley, Ed              7/25/2023     1.7   Participate in Steering Committee call with J.Ray (FTX), PWP
                                            (K.Cofsky, B.Mendelsohn), S&C (A.Dietderich, B.Glueckstein,
                                            J.Bromley, A.Kranzley), Quinn (S.Rand, W.Burck), and A&M
                                            (E.Mosley, S.Coverick)
Mosley, Ed              7/25/2023     0.9   Participate in board meeting with FTX (J.Ray, R.Perubhatla,
                                            K.Shultea, M.Cilia), S&C (A.Dietderich, J.Bromley, B.Glueckstein,
                                            E.Simpson, J.Croke, others), Quinn (S.Rand, others), PWP
                                            (B.Mendelsohn, K.Cofsky), BOD members (J.Farnan, R.Jain,
                                            M.Doheny, M.Son
Mosley, Ed              7/25/2023     1.3   Review of memo provided to board regarding certain crypto tokens
                                            and treatment in other cases
Mosley, Ed              7/25/2023     0.6   Review of management presentation for workstream updates
                                            including crypto, cash, claims, plan analyses and wind down
                                            processes
Mosley, Ed              7/25/2023     0.3   Discuss workstream coordiantion with J.Ray (FTX)

Ramanathan, Kumanan     7/25/2023     0.9   Participate in weekly Board meeting with K. Knipp, R. Jain and
                                            others (BoD), J. Ray, and others (FTX), B. Mendelsohn, and others
                                            (PWP), E. Simpson, A. Dietderich, and others (S&C), S. Rand, J.
                                            Shaffer (QE), E. Mosley and others (A&M)
Sullivan, Christopher   7/25/2023     0.1   Review daily docket tracker for 7/25

Trent, Hudson           7/25/2023     0.9   Participate in weekly Board meeting with K. Knipp, R. Jain, M.
                                            Rosenberg, M. Sonkin, J. Farnan, M. Doheny (BoD), J. Ray, and
                                            others (FTX), B. Mendelsohn, K. Cofsky, M. Rahmani (PWP), E.
                                            Simpson, A. Dietderich, and others (S&C), S. Rand, J. Shaffer (QE),
                                            E
Sullivan, Christopher   7/26/2023     0.6   Review daily docket tracker for 7/26


Esposito, Rob           7/30/2023     0.2   Teleconference with R. Esposito, R. Gordon(A&M) over updates
                                            weekly PMO
Gordon, Robert          7/30/2023     0.2   Teleconference with R. Esposito, R. Gordon(A&M) over updates
                                            weekly PMO
Gordon, Robert          7/30/2023     0.4   Update PMO materials for reporting and calendars, week of 7/30




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Case Administration
Professional              Date     Hours     Activity
Callerio, Lorenzo      7/31/2023     0.5   Participate in workstream coordination call with E. Mosley, S.
                                           Coverick, C. Arnett, D. Johnston, L. Ryan, C. Howe, K.
                                           Ramanathan, A. Titus, R. Esposito, R. Gordon, L. Callerio, J.
                                           Cooper (A&M)
Cooper, James          7/31/2023     0.5   Participate in workstream coordination call with E. Mosley, S.
                                           Coverick, C. Arnett, D. Johnston, L. Ryan, C. Howe, K.
                                           Ramanathan, A. Titus, R. Esposito, R. Gordon, L. Callerio, J.
                                           Cooper (A&M)
Coverick, Steve        7/31/2023     1.2   Review and provide comments on board materials for 8/1 meeting

Coverick, Steve        7/31/2023     0.5   Participate in workstream coordination call with E. Mosley, S.
                                           Coverick, C. Arnett, D. Johnston, L. Ryan, C. Howe, K.
                                           Ramanathan, A. Titus, R. Esposito, R. Gordon, L. Callerio, J.
                                           Cooper (A&M)
Coverick, Steve        7/31/2023     0.7   Review and provide comments on public case update deck draft


Coverick, Steve        7/31/2023     0.6   Prepare weekly restructuring workstream status summary for CEO

Esposito, Rob          7/31/2023     0.5   Participate in workstream coordination call with C. Howe, S.
                                           Coverick, J. Cooper, R. Esposito (A&M)
Esposito, Rob          7/31/2023     0.3   Prepare detailed updates to the weekly PMO presentation


Gordon, Robert         7/31/2023     0.4   Participate in workstream leads for A&M (E. Mosley, S.Coverick, R.
                                           Gordon, R. Esposito, A.Titus, J. Cooper, K.Ramanathan, C. Arnett,
                                           others) regarding broader deal updates and implications for other
                                           workstreams
Howe, Christopher      7/31/2023     0.5   Participate in workstream coordination call with E. Mosley, S.
                                           Coverick, C. Arnett, D. Johnston, L. Ryan, C. Howe, K.
                                           Ramanathan, A. Titus, R. Esposito, R. Gordon, L. Callerio, J.
                                           Cooper (A&M)
Johnston, David        7/31/2023     0.5   Participate in workstream coordination call with E. Mosley, S.
                                           Coverick, C. Arnett, D. Johnston, L. Ryan, C. Howe, K.
                                           Ramanathan, A. Titus, R. Esposito, R. Gordon, L. Callerio, J.
                                           Cooper (A&M)
Mosley, Ed             7/31/2023     0.9   Review and provide comments on draft presentation of case
                                           accomplishements for debtor website
Mosley, Ed             7/31/2023     0.4   Participate in workstream leads for A&M (E.Mosley, S.Coverick,
                                           R.Gordon, R.Esposito, A.Titus, J.Cooper, K.Ramanathan, C.Arnett,
                                           others) regarding broader deal updates and implications for other
                                           workstreams
Ramanathan, Kumanan    7/31/2023     0.4   Participate in workstream leads for A&M (E. Mosley, S.Coverick,
                                           R.Gordon, R.Esposito, A.Titus, J. Cooper, K.Ramanathan, C.Arnett,
                                           others) regarding broader deal updates and implications for other
                                           workstreams
Ramanathan, Kumanan    7/31/2023     0.5   Participate in workstream coordination call with E. Mosley, S.
                                           Coverick, C. Arnett, D. Johnston, L. Ryan, C. Howe, K.
                                           Ramanathan, A. Titus, R. Esposito, R. Gordon, L. Callerio, J.
                                           Cooper (A&M)




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Case Administration
Professional               Date     Hours     Activity
Ryan, Laureen           7/31/2023      0.5   Participate in workstream coordination call with E. Mosley, S.
                                             Coverick, C. Arnett, D. Johnston, L. Ryan, C. Howe, K.
                                             Ramanathan, A. Titus, R. Esposito, R. Gordon, L. Callerio, J.
                                             Cooper (A&M)
Sullivan, Christopher   7/31/2023      0.2   Review daily docket tracker for 7/31

Titus, Adam             7/31/2023      0.5   Participate in workstream coordination call with E. Mosley, S.
                                             Coverick, C. Arnett, D. Johnston, L. Ryan, C. Howe, K.
                                             Ramanathan, A. Titus, R. Esposito, R. Gordon, L. Callerio, J.
                                             Cooper (A&M)

Subtotal                              97.2

Cash Management
Professional               Date     Hours     Activity
Cooper, James            7/1/2023      0.9   Draft updates to T-bill illustrative sizing board materials

Cooper, James            7/1/2023      1.7   Draft updates to T-bill assessment and risks board materials


Dalgleish, Elizabeth     7/3/2023      0.2   Call with E. Dalgleish, J. Bavaud (FTX), to discuss FTX Europe AG
                                             Mazars invoices and payments for w/e 23 June and w/e 30 June
Dalgleish, Elizabeth     7/3/2023      0.8   Update FTX Europe payment trackers for bank accounts and
                                             invoices received from J. Bavaud (FTX) for w/e 30 June
Dalgleish, Elizabeth     7/3/2023      1.2   Update FTX Europe open payments file for invoices and bank
                                             accounts received from J. Bavaud (FTX) for w/e 30 June
Taraba, Erik             7/3/2023      0.4   Update slides for weekly cash meeting with Company Finance Team

Taraba, Erik             7/3/2023      0.7   Update long-term professional fees forecast with revised
                                             assumptions
Taraba, Erik             7/3/2023      0.6   Preparation for call with cash team re: long-term liquidity forecast

Witherspoon, Samuel      7/3/2023      1.2   Finalize reconciliation of intercompany post petition cash transfers


Witherspoon, Samuel      7/3/2023      0.8   Review previous week's variance report for intersilo cash movements

Witherspoon, Samuel      7/3/2023      1.6   Analyze the impact of non-debtor post petition transfers to the
                                             intercompany matrix
Balmelli, Gioele         7/4/2023      0.4   Call with E. Dalgleish, G. Balmelli (A&M) to discuss FTX Europe AG
                                             and FTX Trading GmbH short term cash flow updates for w/e 30
                                             June
Dalgleish, Elizabeth     7/4/2023      2.1   Update FTX Europe short term cash flow forecast for w/e 30 June
                                             from feedback received from J. Bavaud (FTX) and B. Danhach (FTX)
Dalgleish, Elizabeth     7/4/2023      0.4   Call with E. Dalgleish, G. Balmelli (A&M) to discuss FTX Europe AG
                                             and FTX Trading GmbH short term cash flow updates for w/e 30
                                             June
Nizhner, David           7/4/2023      0.6   Update month end FX rates for RLKS and cash team



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Cash Management
Professional             Date     Hours     Activity
Taraba, Erik           7/4/2023     0.2   Update slides for cash meeting with Company Finance Team with
                                          inputs from Vendor Team
Taraba, Erik           7/4/2023     0.5   Call with E. Taraba (A&M) and M. Cilia (FTX) re: weekly cash touch
                                          point and discussion of open items
Taraba, Erik           7/4/2023     0.3   Update professional fees forecast model with month end foreign
                                          exchange rates for June
Taraba, Erik           7/4/2023     0.4   Coordinate update of foreign exchange rates across all internal and
                                          Company financials
Balmelli, Gioele       7/5/2023     0.5   Call with E. Dalgleish, G. Balmelli (A&M) to discuss FTX Europe AG
                                          short term cash flow for w/e 30 June compared to the forecast as of
                                          14 April
Cooper, James          7/5/2023     0.3   Call with J. Cooper, S. Witherspoon, and E. Taraba (A&M) re: cash
                                          variance reporting for WE 6/23
Cooper, James          7/5/2023     0.5   Call with J. Cooper, S. Witherspoon, and E. Taraba (A&M) re:
                                          liquidity workstream priorities for WE 7/7
Cooper, James          7/5/2023     0.3   Discuss administrative cost reduction exercise with S. Coverick, J.
                                          Cooper (A&M)
Cooper, James          7/5/2023     1.8   Prepare changes to T-bill assessment and risks board materials
                                          based on internal comments
Cooper, James          7/5/2023     0.9   Prepare changes to T-bill illustrative sizing materials based on
                                          internal comments
Cooper, James          7/5/2023     0.4   Prepare for weekly UCC cash discussion re: variance report

Cooper, James          7/5/2023     0.4   Prepare weekly PMO update slide for cash and liquidity workstream


Cooper, James          7/5/2023     1.4   Review initial draft of weekly cash variance report and commentary

Cooper, James          7/5/2023     0.9   Review prior week's cash by bank account tracker file for variance
                                          reporting
Cooper, James          7/5/2023     0.6   Review weekly disbursement listing file for input into variance
                                          reporting
Cooper, James          7/5/2023     0.6   Working session with J. Cooper, S. Witherspoon (A&M) re:
                                          walkthrough of fee analysis for debtor advisors
Cooper, James          7/5/2023     0.8   Prepare initial template for administrative cost reduction analysis


Coverick, Steve        7/5/2023     1.1   Review and provide comments on revised t-bill analysis

Coverick, Steve        7/5/2023     0.9   Review and provide comments on cash transaction database
                                          documentation
Dalgleish, Elizabeth   7/5/2023     0.5   Call with E. Dalgleish, G. Balmelli (A&M) to discuss FTX Europe AG
                                          short term cash flow for w/e 30 June compared to the forecast as of
                                          14 April
Dalgleish, Elizabeth   7/5/2023     0.3   Call with E. Dalgleish, J. Bavaud (FTX), to discuss questions
                                          regarding the FTX Europe AG and FTX Trading GmbH short term
                                          cash flow forecasts for w/e 30 June



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Cash Management
Professional              Date     Hours     Activity
Dalgleish, Elizabeth    7/5/2023     0.6   Update FTX Europe open payments file for feedback received from
                                           B. Danhach (FTX) and M. Lambrianou (FTX) for w/e 30 June
Dalgleish, Elizabeth    7/5/2023     0.3   Update FTX Europe short term cash flow forecast for feedback
                                           received from M. Lambrianou (FTX) for w/e 30 June
Dalgleish, Elizabeth    7/5/2023     1.1   Update FTX Europe short term cash flow forecast variance analysis
                                           and commentary for w/e 30 June vs. forecast as of 16 June
Mosley, Ed              7/5/2023     1.1   Review and provide comments to draft cash database
                                           documentation for counsel
Simoneaux, Nicole       7/5/2023     1.4   Reconcile June cash disbursements to requested payroll data


Simoneaux, Nicole       7/5/2023     0.7   Prepare summary of variances for employee-related disbursements
                                           in June
Taraba, Erik            7/5/2023     1.6   Update TWCF model with payments, bank account balance, and
                                           bank account activity through 6/30
Taraba, Erik            7/5/2023     1.2   Review variances and provide supporting commentary to weekly
                                           variance report
Taraba, Erik            7/5/2023     1.4   Review and reconcile weekly bank account activity provided by
                                           Company Finance Team to internal bank account model
Taraba, Erik            7/5/2023     1.1   Review and provide commentary on professional fees variances to
                                           support weekly variance reporting
Taraba, Erik            7/5/2023     1.3   Reconcile payments data provided by Company Finance Team to
                                           internal payments tracker
Taraba, Erik            7/5/2023     2.1   Reconcile bank balances as of 6/30 to calculated balances as of
                                           same date
Taraba, Erik            7/5/2023     0.8   Develop weekly variance report for period ending 6/30

Taraba, Erik            7/5/2023     0.6   Correspondence with Company Finance Team re: prior period
                                           adjustments to payments
Taraba, Erik            7/5/2023     0.9   Develop schedule of professional fee variances to Budget 6 for
                                           period ending 6/30
Taraba, Erik            7/5/2023     0.3   Call with J. Cooper, S. Witherspoon, and E. Taraba (A&M) re: cash
                                           variance reporting for WE 6/23
Taraba, Erik            7/5/2023     0.4   Coordinate with Crypto Operations Team re: sales and conversions
                                           of coins/tokens for WE 6/30
Taraba, Erik            7/5/2023     0.5   Call with J. Cooper, S. Witherspoon, and E. Taraba (A&M) re:
                                           liquidity workstream priorities for WE 7/7
Taraba, Erik            7/5/2023     0.4   Coordinate with Ventures Team re: asset sales and other investment
                                           monetizations for WE 6/30
Witherspoon, Samuel     7/5/2023     0.6   Working session with J. Cooper, S. Witherspoon (A&M) re:
                                           walkthrough of fee analysis for debtor advisors
Witherspoon, Samuel     7/5/2023     0.3   Call with J. Cooper, S. Witherspoon, and E. Taraba (A&M) re: cash
                                           variance reporting for WE 6/23
Witherspoon, Samuel     7/5/2023     0.5   Call with J. Cooper, S. Witherspoon, and E. Taraba (A&M) re:
                                           liquidity workstream priorities for WE 7/7




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Cash Management
Professional               Date     Hours     Activity
Witherspoon, Samuel      7/5/2023     0.9   Create monthly cash workplan for multiple liquidity based objectives

Witherspoon, Samuel      7/5/2023     1.0   Update supporting schedules for post petition forecasted
                                            intercompany balances
Witherspoon, Samuel      7/5/2023     0.8   Analyze bank transaction details for May 2023

Witherspoon, Samuel      7/5/2023     1.3   Analyze previous week's variance report for changes from prior
                                            report
Witherspoon, Samuel      7/5/2023     0.7   Update intercompany forecast matrix by legal entity


Balmelli, Gioele         7/6/2023     0.7   Prepare correspondence re FTX Europe short term cash flow
                                            forecast update
Cooper, James            7/6/2023     1.6   Review November MOR template example and provide comments


Cooper, James            7/6/2023     0.3   Discuss administrative cost reduction analysis with S. Coverick, J.
                                            Cooper (A&M)
Cooper, James            7/6/2023     0.3   Prepare internal distribution of T-bill materials for review


Cooper, James            7/6/2023     1.3   Prepare outline and structure of weekly cash review package

Cooper, James            7/6/2023     2.3   Review revised weekly cash variance report and finalize

Cooper, James            7/6/2023     0.9   Working session with E. Taraba, S. Witherspoon, J. Cooper (A&M)
                                            re: weekly variance report review
Cooper, James            7/6/2023     0.8   Working session with J. Cooper, S. Witherspoon (A&M) re: changes
                                            to cash forecast and variance reporting
Cooper, James            7/6/2023     0.7   Review and respond to internal comments re: T-bill board materials


Mosley, Ed               7/6/2023     0.8   Review of and provide comments to draft cash management
                                            presentation to management and ultimately the board
Mosley, Ed               7/6/2023     0.8   Review of and provide comments to draft cash variance report for
                                            week ending 6/30
Slay, David              7/6/2023     1.5   Working Session with D. Slay, C. Stockmeyer (A&M) re: CASH
                                            invoice tracker update for June end of month data
Stockmeyer, Cullen       7/6/2023     1.5   Working Session with D. Slay, C. Stockmeyer (A&M) re: CASH
                                            invoice tracker update for June end of month data
Taraba, Erik             7/6/2023     0.3   Correspondence with Company Finance Team re: payment of UCC
                                            advisor fees
Taraba, Erik             7/6/2023     1.1   Update weekly variance report per feedback from workstream

Taraba, Erik             7/6/2023     0.3   Respond to questions re: variance report for WE 6/30


Taraba, Erik             7/6/2023     0.6   Correspondence with Company Finance Team and project
                                            leadership re: weekly variance reporting




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Professional              Date     Hours     Activity
Taraba, Erik            7/6/2023     1.1   Update weekly variance report per feedback from workstream
                                           leadership
Taraba, Erik            7/6/2023     0.6   Update OCP allocation schedule to include latest feedback from
                                           counsel and Company Finance Team
Taraba, Erik            7/6/2023     0.9   Working session with E. Taraba, S. Witherspoon, J. Cooper (A&M)
                                           re: weekly variance report review
Taraba, Erik            7/6/2023     0.7   Update professional fees variance report support schedule to match
                                           formatting of weekly variance report
Taraba, Erik            7/6/2023     0.7   Update weekly variance report with feedback from team call


Taraba, Erik            7/6/2023     0.4   Update bank account files with latest month end foreign exchange
                                           rates for June
Witherspoon, Samuel     7/6/2023     0.9   Working session with E. Taraba, S. Witherspoon, J. Cooper (A&M)
                                           re: weekly variance report review
Witherspoon, Samuel     7/6/2023     1.8   Compile initial draft of weekly supporting materials on cash
                                           movements
Witherspoon, Samuel     7/6/2023     2.1   Create weekly cash reporting package cash asset transfer variance
                                           summary
Witherspoon, Samuel     7/6/2023     0.9   Create weekly cash reporting package FX adjustments summary

Witherspoon, Samuel     7/6/2023     1.7   Prepare one pager on yield differences between treasury bills and
                                           bank interest
Witherspoon, Samuel     7/6/2023     0.8   Working session with J. Cooper, S. Witherspoon (A&M) re: changes
                                           to cash forecast and variance reporting
Witherspoon, Samuel     7/6/2023     0.8   Prepare commentary on operating disbursements cash variance

Cooper, James           7/7/2023     0.3   Call with J. Cooper and E. Taraba (A&M) re: near-term cash
                                           workstream priorities
Cooper, James           7/7/2023     1.9   Draft template for administrative cost reduction analysis

Cooper, James           7/7/2023     0.8   Working session with J. Cooper, S. Witherspoon (A&M) re:
                                           adjustments to fee analysis
Cooper, James           7/7/2023     1.5   Prepare outline of case update materials

Cooper, James           7/7/2023     0.4   Call with H. Trent, J. Cooper, and E. Taraba (A&M) re:
                                           synchronization of Plan and Cash team demonstrative presentations
Cooper, James           7/7/2023     0.9   Distribute template for administrative cost reduction analysis


Coverick, Steve         7/7/2023     0.3   Call with A. Kranzley (S&C) re: t-bill purchases

Mosley, Ed              7/7/2023     0.2   Review of and respond to correspondence with S&C regarding cash
                                           management and the draft presentation to the board
Taraba, Erik            7/7/2023     1.9   Research certain measures of effectiveness in comparable Ch 11
                                           cases and note similarities and differences for review by leadership




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Cash Management
Professional             Date     Hours     Activity
Taraba, Erik           7/7/2023     0.3   Call with J. Cooper and E. Taraba (A&M) re: near-term cash
                                          workstream priorities
Taraba, Erik           7/7/2023     0.4   Call with S. Witherspoon and E. Taraba (A&M) re: professional fees
                                          inputs to weekly cash package
Taraba, Erik           7/7/2023     0.4   Call with H. Trent, J. Cooper, and E. Taraba (A&M) re:
                                          synchronization of Plan and Cash team demonstrative presentations
Trent, Hudson          7/7/2023     0.4   Call with H. Trent, J. Cooper, and E. Taraba (A&M) re:
                                          synchronization of Plan and Cash team demonstrative presentations
Witherspoon, Samuel    7/7/2023     1.1   Analyze changes in custodial cash by week through 2023


Witherspoon, Samuel    7/7/2023     0.4   Call with S. Witherspoon and E. Taraba (A&M) re: professional fees
                                          inputs to weekly cash package
Witherspoon, Samuel    7/7/2023     1.3   Finalize cash asset transfer summary with edits from A&M team


Witherspoon, Samuel    7/7/2023     0.8   Working session with J. Cooper, S. Witherspoon (A&M) re:
                                          adjustments to fee analysis
Witherspoon, Samuel    7/7/2023     1.8   Prepare additional supporting materials on forecasted and actual
                                          weekly disbursements
Cooper, James          7/8/2023     1.8   Draft initial slides for case update materials

Cooper, James          7/8/2023     1.2   Review recoveries to-date calculation for case update materials

Cooper, James          7/8/2023     0.7   Research cost benchmarking for ad-hoc analysis


Taraba, Erik           7/8/2023     1.1   Develop demonstrative presentation materials re: professional fees
                                          spending
Taraba, Erik           7/8/2023     0.6   Update professional fees variance support schedule formatting to
                                          match weekly cash variance package
Balmelli, Gioele      7/10/2023     0.3   Call with E. Dalgleish, G. Balmelli (A&M) to discuss payment tracker
                                          updates for invoices and bank accounts received for w/e 7 July
Cooper, James         7/10/2023     1.4   Review and provide comments on initial draft of case update
                                          materials
Cooper, James         7/10/2023     1.3   Working session with J. Cooper , S. Witherspoon (A&M) re: weekly
                                          cash planning and objectives
Cooper, James         7/10/2023     0.4   Call with J. Cooper and E. Taraba (A&M) re: professional fees
                                          support demonstrative
Cooper, James         7/10/2023     1.8   Draft updates to the administrative cost analysis based on
                                          submissions
Cooper, James         7/10/2023     0.2   Call with J. Cooper and E. Taraba (A&M) re: workstream priorities
                                          for WE 7/14
Cooper, James         7/10/2023     0.3   Discuss revisions to 13-week cash forecast with S. Coverick, J.
                                          Cooper (A&M)
Coverick, Steve       7/10/2023     0.3   Discuss revisions to 13-week cash forecast with J. Cooper (A&M)




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Cash Management
Professional              Date     Hours     Activity
Dalgleish, Elizabeth   7/10/2023     2.1   Update FTX Europe payment trackers for bank accounts and
                                           invoices received from J. Bavaud (FTX) for w/e 7 July for payments
                                           made and new invoices sent for the period
Dalgleish, Elizabeth   7/10/2023     0.3   Call with E. Dalgleish, G. Balmelli (A&M) to discuss payment tracker
                                           updates for invoices and bank accounts received for w/e 7 July
Dalgleish, Elizabeth   7/10/2023     1.9   Update FTX Europe open payments file for invoices and bank
                                           accounts received from J. Bavaud (FTX) for w/e 7 July
Taraba, Erik           7/10/2023     1.2   Update bank account master file with new data from Company
                                           Finance Team
Taraba, Erik           7/10/2023     0.8   Update cash actuals data in professional fees forecast model


Taraba, Erik           7/10/2023     0.7   Update TWCF model with latest bank account balances as of 7/7

Taraba, Erik           7/10/2023     0.4   Call with J. Cooper and E. Taraba (A&M) re: professional fees
                                           support demonstrative
Taraba, Erik           7/10/2023     0.2   Call with J. Cooper and E. Taraba (A&M) re: workstream priorities
                                           for WE 7/14
Taraba, Erik           7/10/2023     1.4   Reconcile bank account balances provided by Company Finance
                                           Team to internal bank account balances
Taraba, Erik           7/10/2023     1.2   Reconcile cash payment activity through 7/7 to updated bank
                                           account balances as of same date
Witherspoon, Samuel    7/10/2023     0.6   Analyze historical payroll payments to inform latest cash forecast

Witherspoon, Samuel    7/10/2023     0.7   Compile prior week's variance report and other supporting
                                           summaries
Witherspoon, Samuel    7/10/2023     1.4   Create detailed professional fee forecast template to share with
                                           external parties
Witherspoon, Samuel    7/10/2023     2.3   Create initial plan of cash variance weekly reporting package

Witherspoon, Samuel    7/10/2023     1.8   Create templates for weekly cash variance package including
                                           custodial cash analysis
Witherspoon, Samuel    7/10/2023     0.8   Update intercompany cash transfers summary for previous week's
                                           disbursements
Witherspoon, Samuel    7/10/2023     1.3   Working session with J. Cooper , S. Witherspoon (A&M) re: weekly
                                           cash planning and objectives
Witherspoon, Samuel    7/10/2023     0.9   Analyze professional fee payments for ordinary course professionals

Broskay, Cole          7/11/2023     0.4   Call to discuss cash account categorization process with C.
                                           Broskay, S. Witherspoon, M. Jones (A&M)
Cooper, James          7/11/2023     0.8   Review updated bank balance listing for cash reporting

Cooper, James          7/11/2023     0.5   Call with S. Coverick, J. Cooper (A&M) to discuss case update and
                                           administrative cost reduction analysis
Cooper, James          7/11/2023     0.4   Working session with J. Cooper and E. Taraba (A&M) re:
                                           professional fees analysis slides


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Cash Management
Professional              Date     Hours     Activity
Cooper, James          7/11/2023     1.6   Working session with J. Cooper, S. Witherspoon (A&M) re:
                                           professional fee forecast detailed workstream output
Cooper, James          7/11/2023     1.9   Working session with N. Simoneaux (A&M) re: case update materials


Cooper, James          7/11/2023     2.6   Prepare summary and commentary for administrative cost reduction
                                           analysis
Cooper, James          7/11/2023     1.6   Draft initial shell template of professional fee product analysis

Cooper, James          7/11/2023     0.3   Call with E. Taraba and J. Cooper (A&M) re: updated status of
                                           weekly variance reporting
Cooper, James          7/11/2023     0.4   Review weekly payment listing schedule for cash reporting

Cooper, James          7/11/2023     0.5   Call with S. Coverick, J. Cooper (A&M) to discuss cash forecast
                                           updates
Cooper, James          7/11/2023     1.2   Review and provide comments re: case update materials

Coverick, Steve        7/11/2023     0.3   Call with E. Mosley (A&M) to discuss updated liquidity projections


Coverick, Steve        7/11/2023     0.1   Call with E. Mosley (A&M) to discuss t-bill analysis

Coverick, Steve        7/11/2023     0.5   Call with J. Cooper (A&M) to discuss cash forecast updates

Coverick, Steve        7/11/2023     0.3   Call with M. Cilia (FTX) to discuss professional fee forecast


Coverick, Steve        7/11/2023     0.5   Call with S. Coverick, J. Cooper (A&M) to discuss case update and
                                           administrative cost reduction analysis
Dalgleish, Elizabeth   7/11/2023     2.1   Update FTX Europe short term cash flow forecast for feedback
                                           received from country CFOs for w/e 7 July
Jones, Mackenzie       7/11/2023     0.4   Call to discuss cash account categorization process with C.
                                           Broskay, S. Witherspoon, M. Jones (A&M)
Mosley, Ed             7/11/2023     0.1   Call with S.Coverick (A&M) to discuss t-bill analysis


Mosley, Ed             7/11/2023     0.3   Call with S.Coverick (A&M) to discuss updated liquidity projections

Mosley, Ed             7/11/2023     0.3   Discuss cash account database documentation with B.Glueckstein
                                           (S&C) and S.Coverick (A&M)
Mosley, Ed             7/11/2023     0.6   Review of FTX EU management responses to liquidity shortfall of
                                           certain foreign entities
Simoneaux, Nicole      7/11/2023     1.4   Consolidate A&M professional fees for the month of June for
                                           disbursement actuals and forecasting
Taraba, Erik           7/11/2023     0.4   Working session with J. Cooper and E. Taraba (A&M) re:
                                           professional fees analysis slides
Taraba, Erik           7/11/2023     1.7   Develop weekly cash variance report for WE 7/7 for internal review




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Cash Management
Professional             Date     Hours     Activity
Taraba, Erik          7/11/2023     0.3   Call with E. Taraba and J. Cooper (A&M) re: updated status of
                                          weekly variance reporting
Taraba, Erik          7/11/2023     0.9   Call with E. Taraba and S. Witherspoon (A&M) re: reconciliation of
                                          Japan bank balances
Taraba, Erik          7/11/2023     0.7   Call with S. Witherspoon, E. Taraba (A&M), and M. Cilia (FTX) re:
                                          weekly cash touchpoint and other open items
Taraba, Erik          7/11/2023     0.8   Update TWCF model with foreign entity bank balances

Taraba, Erik          7/11/2023     1.2   Develop professional fees forecast schedules to support analysis of
                                          professional fees
Taraba, Erik          7/11/2023     1.1   Working session with E. Taraba and S. Witherspoon (A&M) re:
                                          professional fees forecast analysis
Taraba, Erik          7/11/2023     1.4   Reconcile foreign entity bank balances to USD bank files


Taraba, Erik          7/11/2023     1.6   Update bank account master file with bank activity through 7/7

Taraba, Erik          7/11/2023     0.2   Respond to questions about weekly variance report package


Taraba, Erik          7/11/2023     1.8   Update TWCF model with new intercompany formulas for
                                          streamlined reporting
Witherspoon, Samuel   7/11/2023     1.8   Review Budget 7 crypto and other cash asset transfers for upcoming
                                          budget refresh
Witherspoon, Samuel   7/11/2023     1.6   Working session with J. Cooper, S. Witherspoon (A&M) re:
                                          professional fee forecast detailed workstream output
Witherspoon, Samuel   7/11/2023     0.9   Review final June 2023 payments tracker for payments made on
                                          behalf of other entities
Witherspoon, Samuel   7/11/2023     1.3   Finalize draft materials of workstream by product fee forecast


Witherspoon, Samuel   7/11/2023     1.8   Create template of professional fee firm fee reductions implemented
                                          by the fee examiner
Witherspoon, Samuel   7/11/2023     2.5   Create initial draft of workstream by product template for review by
                                          internal team
Witherspoon, Samuel   7/11/2023     0.7   Call with S. Witherspoon, E. Taraba (A&M), and M. Cilia (FTX) re:
                                          weekly cash touchpoint and other open items
Witherspoon, Samuel   7/11/2023     0.9   Call with E. Taraba and S. Witherspoon (A&M) re: reconciliation of
                                          Japan bank balances
Witherspoon, Samuel   7/11/2023     1.1   Working session with E. Taraba and S. Witherspoon (A&M) re:
                                          professional fees forecast analysis
Clayton, Lance        7/12/2023     3.0   Prepare update schedule for the cash forecast re: Venture predicted
                                          sales
Clayton, Lance        7/12/2023     1.3   Provide insight to methodology to cash team on forecasts


Cooper, James         7/12/2023     1.3   Review instructions for the professional fee product analysis template




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Professional               Date    Hours     Activity
Cooper, James          7/12/2023     2.8   Draft and outline the professional fee product analysis template

Cooper, James          7/12/2023     1.8   Review preliminary draft of weekly cash package and variance report


Cooper, James          7/12/2023     1.6   Call with J. Cooper, S. Witherspoon, and E. Taraba (A&M) re:
                                           walkthrough of weekly variance reporting package
Cooper, James          7/12/2023     0.7   Call with E. Taraba and J. Cooper (A&M) re: status updates of
                                           professional fees analysis
Cooper, James          7/12/2023     0.7   Review administrative cost reduction analysis based on internal
                                           comments
Cooper, James          7/12/2023     0.1   Distribute initial template for professional fee product analysis

Coverick, Steve        7/12/2023     0.2   Call with E. Mosley (A&M) to discuss professional forecast


Dalgleish, Elizabeth   7/12/2023     1.3   Update FTX Europe short term cash flow forecast variance analysis
                                           and commentary for w/e 7 July vs. forecast as of 16 June
Johnston, David        7/12/2023     0.6   Review weekly variance analysis and updated short term cash flow
                                           forecast for FTX Europe
Sagen, Daniel          7/12/2023     0.2   Call with D. Sagen and E. Taraba (A&M) re: crypto pricing analysis

Taraba, Erik           7/12/2023     0.6   Develop schedule of historical payment activity for June and July for
                                           distribution to Vendor Team
Taraba, Erik           7/12/2023     0.2   Call with D. Sagen and E. Taraba (A&M) re: crypto pricing analysis


Taraba, Erik           7/12/2023     1.6   Call with J. Cooper, S. Witherspoon, and E. Taraba (A&M) re:
                                           walkthrough of weekly variance reporting package
Taraba, Erik           7/12/2023     0.4   Conduct outreach to Vendor Team re: updated forecast for KYC
                                           vendors
Taraba, Erik           7/12/2023     0.6   Develop schedule of bank wire activity pertaining to cryptocurrency
                                           sales and conversions
Taraba, Erik           7/12/2023     0.7   Call with E. Taraba and J. Cooper (A&M) re: status updates of
                                           professional fees analysis
Taraba, Erik           7/12/2023     0.3   Coordinate with Crypto Team re: inputs to professional fees support
                                           analysis
Taraba, Erik           7/12/2023     1.3   Update professional fees support analysis per feedback from
                                           leadership for inclusion in case accomplishments deck
Taraba, Erik           7/12/2023     1.3   Update professional fees support analysis presentation materials per
                                           feedback from management
Taraba, Erik           7/12/2023     1.8   Update professional fees schedules for professional fees support
                                           analysis per feedback from workstream leadership
Taraba, Erik           7/12/2023     1.6   Update weekly cash variance report per outputs from call with cash
                                           team
Witherspoon, Samuel    7/12/2023     1.6   Update variance reporting package for weekly actuals as of the
                                           previous week end




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Professional               Date    Hours     Activity
Witherspoon, Samuel    7/12/2023     1.2   Update methodology of allocation professional firms monthly
                                           forecast to product group
Witherspoon, Samuel    7/12/2023     1.8   Update latest professional fee forecast through May 2024 with latest
                                           by product assumptions
Witherspoon, Samuel    7/12/2023     1.7   Review submitted professional fee forecasts by product and monthly
                                           hours
Witherspoon, Samuel    7/12/2023     1.5   Finalize materials of professional fee forecast by workstream

Witherspoon, Samuel    7/12/2023     1.6   Call with J. Cooper, S. Witherspoon, and E. Taraba (A&M) re:
                                           walkthrough of weekly variance reporting package
Witherspoon, Samuel    7/12/2023     1.3   Compile submitted professional fee forecasts by product and
                                           monthly hours
Balmelli, Gioele       7/13/2023     0.4   Call with E. Dalgleish, G. Balmelli (A&M) to discuss the reforecast of
                                           the FTX Europe short term cash flow required for the monthly budget
                                           submission
Balmelli, Gioele       7/13/2023     0.2   Review FTX Europe short term cash flow forecast update


Clayton, Lance         7/13/2023     2.1   Prepare updated budget for cash team re: venture investment
                                           schedule
Cooper, James          7/13/2023     1.1   Draft updates to case update materials and distribute internally


Cooper, James          7/13/2023     0.4   Correspondence re: professional fee product analysis

Cooper, James          7/13/2023     1.7   Draft updates to the T-bill board materials based on internal
                                           comments
Cooper, James          7/13/2023     0.5   Review and provide comments on final weekly cash variance
                                           reporting
Cooper, James          7/13/2023     0.8   Review responses re: professional fee product analysis

Cooper, James          7/13/2023     2.3   Working session with J. Cooper, S. Witherspoon (A&M) re: review of
                                           monthly professional fee forecast by product
Coverick, Steve        7/13/2023     0.8   Review and provide comments on revised treasury bill analysis
                                           inclusive of S&C feedback
Coverick, Steve        7/13/2023     0.6   Review and provide comments on weekly cash variance report


Dalgleish, Elizabeth   7/13/2023     2.8   Prepare re-forecast of the FTX Europe short term cash flow and
                                           associated variance analysis to be submitted for the monthly budget
Dalgleish, Elizabeth   7/13/2023     0.8   Prepare list of proposed re-forecast updates for the FTX Europe
                                           short term cash flow re-forecast required for the monthly budget
                                           submission
Dalgleish, Elizabeth   7/13/2023     0.4   Prepare correspondence with J. Bavaud (FTX) regarding the
                                           reforecast updates for the FTX Trading GmbH, FTX Crypto Services
                                           Ltd and FTX Derivatives GmbH STCFF
Dalgleish, Elizabeth   7/13/2023     0.4   Call with E. Dalgleish, G. Balmelli (A&M) to discuss the reforecast of
                                           the FTX Europe short term cash flow required for the monthly budget
                                           submission


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Professional              Date     Hours     Activity
Gonzalez, Johnny       7/13/2023     3.2   Develop a cash forecast for the go-forward plan recovery analysis

Mosley, Ed             7/13/2023     1.3   Review of and provide comments to draft cash variance report for
                                           week ending 7/7
Simoneaux, Nicole      7/13/2023     1.2   Align with FTX HR on headcount forecasting in regards to wind-
                                           downs and entity sales
Simoneaux, Nicole      7/13/2023     1.8   Refine forecasting for headcount-related disbursements used in the
                                           cash forecast
Simoneaux, Nicole      7/13/2023     2.1   Align with FTX HR on personnel related cash forecast assumptions
                                           through December
Taraba, Erik           7/13/2023     0.9   Develop professional fee schedules for June Interim Financial
                                           Update report
Taraba, Erik           7/13/2023     0.4   Develop and distribute weekly variance analysis to project leadership
                                           and Company Finance Team leadership
Taraba, Erik           7/13/2023     0.7   Update weekly variance analysis per feedback from workstream
                                           leadership
Taraba, Erik           7/13/2023     0.6   Develop long-term professional fees forecast schedule to support
                                           ongoing plan and recovery analysis
Taraba, Erik           7/13/2023     1.2   Call with S. Witherspoon and E. Taraba (A&M) re: reconciliation of
                                           bank account balances
Witherspoon, Samuel    7/13/2023     0.8   Implement additional edits to professional fee forecast by product
                                           from internal team
Witherspoon, Samuel    7/13/2023     0.3   Review final weekly variance package for submission to the UCC


Witherspoon, Samuel    7/13/2023     2.3   Working session with J. Cooper, S. Witherspoon (A&M) re: review of
                                           monthly professional fee forecast by product
Witherspoon, Samuel    7/13/2023     1.3   Implement edits from internal A&M team on weekly variance
                                           reporting package for final submission
Witherspoon, Samuel    7/13/2023     1.4   Implement edits to workstream forecast for updated product group

Witherspoon, Samuel    7/13/2023     1.2   Call with S. Witherspoon and E. Taraba (A&M) re: reconciliation of
                                           bank account balances
Witherspoon, Samuel    7/13/2023     1.2   Clean bank actuals model to streamline weekly cash reporting
                                           process
Witherspoon, Samuel    7/13/2023     0.9   Communicate with internal parties on cash flow forecast inputs to
                                           Budget 8 forecast
Witherspoon, Samuel    7/13/2023     2.0   Compile submitted professional fee forecasts to update presentation
                                           materials
Cooper, James          7/14/2023     1.4   Review latest schedule and responses re: professional fee product
                                           analysis
Cooper, James          7/14/2023     1.3   Review initial by product matrix re: professional fee product analysis


Cooper, James          7/14/2023     1.8   Working session with J. Cooper, S. Witherspoon (A&M) re:
                                           finalization of initial by product forecast




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Professional              Date     Hours     Activity
Cooper, James          7/14/2023     1.7   Respond to inquiries re: professional fee product analysis

Cooper, James          7/14/2023     1.4   Update for comments and distribute re: administrative cost reduction
                                           analysis
Cooper, James          7/14/2023     1.9   Update latest tracker for outstanding templates re: professional fee
                                           product analysis
Cooper, James          7/14/2023     2.2   Review and revise template re: professional fee product analysis

Dalgleish, Elizabeth   7/14/2023     1.1   Update FTX Europe payment trackers for bank accounts and
                                           invoices received from J. Bavaud (FTX) for w/e 14 July
Mosley, Ed             7/14/2023     1.8   Review of draft presentation to management and board regarding
                                           potential investment in T-bills
Simoneaux, Nicole      7/14/2023     1.1   Prepare headcount bridges and variance reporting for interim
                                           financial update
Simoneaux, Nicole      7/14/2023     1.9   Prepare variance report for updated payroll cash forecast

Taraba, Erik           7/14/2023     1.2   Reconcile historical bank balances for mid-east entities


Taraba, Erik           7/14/2023     3.1   Reconcile historical bank balances for European entities

Taraba, Erik           7/14/2023     0.4   Develop schedule of needed bank records to support additional
                                           reconciliation of European entities
Witherspoon, Samuel    7/14/2023     1.8   Working session with J. Cooper, S. Witherspoon (A&M) re:
                                           finalization of initial by product forecast
Witherspoon, Samuel    7/14/2023     1.8   Communicate with internal and external parties on latest
                                           professional fee forecast to inform Budget 8
Witherspoon, Samuel    7/14/2023     0.8   Update monthly professional fee forecast with edits from latest
                                           update from workstream leads
Witherspoon, Samuel    7/14/2023     1.8   Compile updated forecast by workstream with latest adjusted inputs
                                           from workstream leads
Witherspoon, Samuel    7/14/2023     0.9   Adjust categorization of product descriptions based on latest
                                           feedback from internal team
Witherspoon, Samuel    7/15/2023     1.9   Finalize first draft of professional fee forecast with new allocation of
                                           specific product groups
Witherspoon, Samuel    7/15/2023     0.8   Working session with J. Cooper, S. Witherspoon (A&M) re: review of
                                           updated by product forecast
Witherspoon, Samuel    7/15/2023     2.3   Update professional fee forecast for latest submissions by
                                           workstream lead for June - August fees
Cooper, James          7/16/2023     1.6   Draft initial materials re: professional fee workstream analysis

Cooper, James          7/16/2023     2.0   Working session with J. Cooper, S. Witherspoon (A&M) re: model
                                           development of professional fee forecast
Cooper, James          7/16/2023     2.3   Draft initial materials re: professional fee by product




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Cash Management
Professional              Date     Hours     Activity
Cooper, James          7/16/2023     0.8   Review latest professional fee model and provide comments

Cooper, James          7/16/2023     1.9   Draft initial materials re: professional fee headcount analysis


Cooper, James          7/16/2023     2.1   Working session with J. Cooper, S. Witherspoon (A&M) re: creation
                                           of detailed professional fee summaries by workstream
Witherspoon, Samuel    7/16/2023     2.0   Working session with J. Cooper, S. Witherspoon (A&M) re: model
                                           development of professional fee forecast
Witherspoon, Samuel    7/16/2023     2.1   Working session with J. Cooper, S. Witherspoon (A&M) re: creation
                                           of detailed professional fee summaries by workstream
Witherspoon, Samuel    7/16/2023     1.9   Create professional fee forecast materials by individual and
                                           estimated run rates
Witherspoon, Samuel    7/16/2023     0.6   Create detailed waterfall bridges of variances between cash
                                           estimates of professional fees
Clayton, Lance         7/17/2023     2.4   Review cash budget re: venture sales forecast

Clayton, Lance         7/17/2023     2.9   Update the cash forecast for venture sales per internal comments


Cooper, James          7/17/2023     1.8   Revise professional fee product analysis materials to reflect internal
                                           comments
Cooper, James          7/17/2023     2.3   Working session with J. Cooper, S. Witherspoon (A&M) re: update
                                           of professional fee forecast outputs by workstream
Cooper, James          7/17/2023     2.5   Working session with J. Cooper, S. Witherspoon (A&M) re: analyze
                                           outputs of professional fee forecast by product
Cooper, James          7/17/2023     0.3   Working session with J. Cooper, S. Witherspoon (A&M) re: weekly
                                           cash team objectives
Cooper, James          7/17/2023     0.3   Review weekly cash variance report and commentary to prepare for
                                           weekly UCC call
Cooper, James          7/17/2023     0.5   Draft workstream updates for liquidity workstream in PMO materials

Cooper, James          7/17/2023     0.9   Working session with S. Coverick, J. Cooper, S. Witherspoon (A&M)
                                           re: professional fee detailed by product forecast
Coverick, Steve        7/17/2023     0.9   Working session with S. Coverick, J. Cooper, S. Witherspoon (A&M)
                                           re: professional fee detailed by product forecast
Dalgleish, Elizabeth   7/17/2023     1.3   Prepare summary of the 13-week short term cash flow forecast for
                                           FTX EU Ltd
Dalgleish, Elizabeth   7/17/2023     1.8   Update FTX Europe open payments file for invoices and bank
                                           accounts received from J. Bavaud (FTX) for w/e 14 July
Gonzalez, Johnny       7/17/2023     0.2   Working session with C. Sullivan, J. Gonzalez, S. Witherspoon
                                           (A&M) to review Plan workstream cash forecast
Gonzalez, Johnny       7/17/2023     2.3   Process revisions to the cash forecast for the go-forward plan
                                           recovery analysis
Johnston, David        7/17/2023     0.6   Review historical funding received by FTX EU Ltd. post petition




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Cash Management
Professional               Date     Hours     Activity
Johnston, David         7/17/2023     1.1   Review and update presentation relating to FTX EU Ltd. deposit
                                            receiving bank accounts
Johnston, David         7/17/2023     0.6   Review and update presentation relating to FTX EU Ltd. cash
                                            forecast
Nizhner, David          7/17/2023     0.6   Update ventures cash receipt forecast for LedgerPrime receipts

Simoneaux, Nicole       7/17/2023     1.1   Quantify expected sick leave payouts for upcoming cash forecast

Sullivan, Christopher   7/17/2023     0.2   Working session with C. Sullivan, J. Gonzalez, S. Witherspoon
                                            (A&M) to review Plan workstream cash forecast
Sullivan, Christopher   7/17/2023     0.4   Updates to revised Plan product forecast

Sullivan, Christopher   7/17/2023     0.6   Review updates to Plan model feeder for latest cash budget


Taraba, Erik            7/17/2023     0.6   Reconcile bank account balances for FTX Japan entities to internal
                                            bank account tracker
Taraba, Erik            7/17/2023     0.6   Continue reconciliation of FTX European entity bank accounts to
                                            statement balances provided by Company Finance Team
Taraba, Erik            7/17/2023     1.3   Update professional fees forecast model with latest assumptions for
                                            OCP timing and forecast amounts
Taraba, Erik            7/17/2023     1.6   Update TWCF model with relevant inputs for next budget period

Taraba, Erik            7/17/2023     0.8   Develop overlay schedule of OCP payment allocation for current and
                                            previous budget
Taraba, Erik            7/17/2023     0.3   Correspondence with FTX Japan team re: needed data to complete
                                            account reconciliation
Taraba, Erik            7/17/2023     1.3   Reconcile historical bank account balances for certain FTX Asia
                                            entities for May-June
Taraba, Erik            7/17/2023     0.7   Develop overlay schedule of professional fee payments comparing
                                            current to upcoming budget
Taraba, Erik            7/17/2023     0.6   Develop schedule of historical payments for FTX EU Ltd at request
                                            of counsel
Taraba, Erik            7/17/2023     0.6   Produce schedule of forecast professional fee payments to support
                                            upcoming budget
Taraba, Erik            7/17/2023     0.4   Update schedule of missing bank account statements per feedback
                                            from workstream
Witherspoon, Samuel     7/17/2023     0.9   Compare Budget 7 to Budget 8 crypto cash transfers for timing
                                            variances
Witherspoon, Samuel     7/17/2023     0.3   Review current cash workstream priorities including MOR and
                                            Budget 8 refresh
Witherspoon, Samuel     7/17/2023     1.3   Consolidate professional fee workstreams into condensed
                                            summarized groupings
Witherspoon, Samuel     7/17/2023     1.6   Update monthly professional fee forecast by workstream with edits
                                            to product estimates




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Cash Management
Professional             Date     Hours     Activity
Witherspoon, Samuel   7/17/2023     2.0   Update presentation materials of product forecast through August
                                          2023
Witherspoon, Samuel   7/17/2023     0.2   Working session with C. Sullivan, J. Gonzalez, S. Witherspoon
                                          (A&M) to review Plan workstream cash forecast
Witherspoon, Samuel   7/17/2023     2.5   Working session with J. Cooper, S. Witherspoon (A&M) re: analyze
                                          outputs of professional fee forecast by product
Witherspoon, Samuel   7/17/2023     2.3   Working session with J. Cooper, S. Witherspoon (A&M) re: update
                                          of professional fee forecast outputs by workstream
Witherspoon, Samuel   7/17/2023     0.3   Working session with J. Cooper, S. Witherspoon (A&M) re: weekly
                                          cash team objectives
Witherspoon, Samuel   7/17/2023     0.9   Working session with S. Coverick, J. Cooper, S. Witherspoon (A&M)
                                          re: professional fee detailed by product forecast
Witherspoon, Samuel   7/17/2023     2.1   Create initial draft presentation of professional fee forecast by
                                          workstream products
Witherspoon, Samuel   7/17/2023     2.1   Analyze final outputs of professional fee forecast for recurring and
                                          one-time products
Witherspoon, Samuel   7/17/2023     0.8   Finalize initial draft of professional fee forecast by workstream


Clayton, Lance        7/18/2023     1.3   Update and send schedule of closed venture investments to cash
                                          team
Cooper, James         7/18/2023     0.8   Review latest listing of payroll and contractors disbursements

Cooper, James         7/18/2023     1.3   Correspondence with firms for latest thinking updates to professional
                                          fee forecast for input into budget update
Cooper, James         7/18/2023     0.7   Review weekly bank account balance tracker for weekly reporting

Cooper, James         7/18/2023     0.5   Review weekly cash disbursement tracker for weekly reporting


Cooper, James         7/18/2023     0.6   Revise case update materials for internal comments and distribution

Cooper, James         7/18/2023     0.6   Working session with J. Cooper, S. Witherspoon (A&M) re: TWCF
                                          budget 8 priorities
Cooper, James         7/18/2023     2.6   Draft revisions to professional fee product analysis materials from
                                          internal comments
Cooper, James         7/18/2023     2.1   Working session with J. Cooper, S. Witherspoon (A&M) re:
                                          adjustments to final professional fee forecast by workstream
Cooper, James         7/18/2023     0.4   Respond to internal questions re: treatment of converted stablecoin
                                          in cash reporting
Cooper, James         7/18/2023     0.8   Examine latest KYC vendor disbursement estimates for input into
                                          budget
Cooper, James         7/18/2023     0.8   Analysis and reconciliation of WAL interest income summary


Cooper, James         7/18/2023     0.1   Review latest assumptions and cash flow forecast for select entities
                                          under strategic review




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Professional              Date     Hours     Activity
Cooper, James          7/18/2023     0.8   Call with S. Witherspoon, J. Cooper, E. Taraba (A&M), M. Cilia, and
                                           D. Tollefsen (FTX) re: weekly cash check in
Cooper, James          7/18/2023     0.7   Review FTX Europe entities updated cash flow forecast for input into
                                           latest budget
Cooper, James          7/18/2023     0.4   Analysis and provide comments re: IT spend schedule

Dalgleish, Elizabeth   7/18/2023     1.2   Update FTX Europe open payments file for feedback received from
                                           M. Lambrianou, B. Danhach (FTX) for w/e 14 July
Dalgleish, Elizabeth   7/18/2023     2.2   Update FTX Europe short term cash flow forecast for feedback
                                           received from country CFOs for w/e 14 July
Johnston, David        7/18/2023     0.3   Review updated FTX EU Ltd. short term cash forecast ahead of call
                                           with Cysec
Johnston, David        7/18/2023     0.4   Review bank account agreement for non FTX EU Ltd. bank that
                                           received FTX EU Ltd. deposits
Li, Summer             7/18/2023     0.3   Call with S. Li, E. Taraba, S. Witherspoon (A&M) re: weekly Japan
                                           KK cash forecast
Ramanathan, Kumanan    7/18/2023     0.2   Review of cash forecast items and provide feedback


Simoneaux, Nicole      7/18/2023     0.7   Finalize variance report for June actuals and forecasted months in
                                           regards to employees and benefits
Taraba, Erik           7/18/2023     0.4   Update TWCF model with updated Deck Technologies budget inputs

Taraba, Erik           7/18/2023     0.3   Update TWCF model with updated IT budget per feedback from
                                           Company IT Team leadership
Taraba, Erik           7/18/2023     1.2   Develop weekly variance report for WE 7/14

Taraba, Erik           7/18/2023     0.6   Update internal bank account tracker with latest bank balance data
                                           from Company Finance Team
Taraba, Erik           7/18/2023     1.2   Update balances for FTX Asia entities

Taraba, Erik           7/18/2023     0.7   Reconcile July payments data provided by Company Finance Team
                                           to internal payment tracker
Taraba, Erik           7/18/2023     0.4   Call with E. Taraba (A&M) and R. Perubhatla (FTX) re: IT forecast
                                           support to next budget period
Taraba, Erik           7/18/2023     0.3   Call with S. Li, E. Taraba, S. Witherspoon (A&M) re: weekly Japan
                                           KK cash forecast
Taraba, Erik           7/18/2023     0.8   Call with S. Witherspoon, J. Cooper, E. Taraba (A&M), M. Cilia, and
                                           D. Tollefsen (FTX) re: weekly cash matters and other open items
Taraba, Erik           7/18/2023     0.2   Conduct outreach to diligence team on unknown variance items to
                                           support weekly variance reporting
Taraba, Erik           7/18/2023     1.6   Develop overlay for historical intercompany transactions for FTX
                                           European entity
Taraba, Erik           7/18/2023     0.7   Update June Interim Financial Update materials per feedback from
                                           workstream




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Cash Management
Professional             Date     Hours     Activity
Taraba, Erik          7/18/2023     1.3   Reconcile bank account balances for FTX European entities

Taraba, Erik          7/18/2023     0.7   Reconcile bank account balances for Deck Technologies


Witherspoon, Samuel   7/18/2023     0.3   Call with S. Li, E. Taraba, S. Witherspoon (A&M) re: weekly Japan
                                          KK cash forecast
Witherspoon, Samuel   7/18/2023     2.1   Working session with J. Cooper, S. Witherspoon (A&M) re:
                                          adjustments to final professional fee forecast by workstream
Witherspoon, Samuel   7/18/2023     0.9   Update professional fee forecast estimated run rates through May
                                          2024
Witherspoon, Samuel   7/18/2023     1.6   Review cash flow variance reporting package with latest cumulative
                                          actuals through mid-June
Witherspoon, Samuel   7/18/2023     1.5   Reconcile petition date balances of payment service provider bank
                                          accounts through May 2023
Witherspoon, Samuel   7/18/2023     0.6   Working session with J. Cooper, S. Witherspoon (A&M) re: TWCF
                                          budget 8 priorities
Witherspoon, Samuel   7/18/2023     1.5   Prepare and compile data for the seventh interim financial update


Witherspoon, Samuel   7/18/2023     0.9   Finalize initial draft of the seventh interim financial update

Witherspoon, Samuel   7/18/2023     0.9   Coordinate with RLKS team on petition date balances for WRS
                                          siloed entities
Witherspoon, Samuel   7/18/2023     0.4   Coordinate on cash asset transfer assumptions with Crypto and
                                          Ventures teams
Witherspoon, Samuel   7/18/2023     0.5   Communicate with internal parties on inputs for the Budget 8 cash
                                          flow
Witherspoon, Samuel   7/18/2023     0.8   Call with S. Witherspoon, J. Cooper, E. Taraba (A&M), M. Cilia, and
                                          D. Tollefsen (FTX) re: weekly cash check in
Clayton, Lance        7/19/2023     1.2   Update cash forecast for internal comments

Clayton, Lance        7/19/2023     1.6   Finalize receipts forecast for cash team


Cooper, James         7/19/2023     0.4   Review and provide comments on draft materials for administrative
                                          cost assessment
Cooper, James         7/19/2023     1.2   Review preliminary weekly cash package materials and variance
                                          report
Cooper, James         7/19/2023     0.6   Review and respond to internal inquiries re: UDA, WAL collateral


Cooper, James         7/19/2023     0.6   Working session with D. Slay (A&M) re: administrative cost
                                          assessment
Cooper, James         7/19/2023     0.9   Review and provide comments re: crypto cash conversion for budget
                                          update
Cooper, James         7/19/2023     0.4   Finalize and distribute initial draft of case update materials




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Cash Management
Professional               Date     Hours     Activity
Cooper, James           7/19/2023     0.4   Draft initial materials for administrative cost assessment

Cooper, James           7/19/2023     1.2   Call with J. Cooper and E. Taraba (A&M) re: walkthrough of weekly
                                            variance report for WE 7/14
Cooper, James           7/19/2023     0.4   Analysis of budget variances for select entities and commentary

Cooper, James           7/19/2023     0.9   Analysis of budget variances for FTX Europe entity cash flow
                                            submission
Cooper, James           7/19/2023     0.8   Review and respond to internal inquiries re: Signature bank retainer
                                            wires
Cooper, James           7/19/2023     0.9   Working session with D. Slay & J. Cooper (A&M) re: Update
                                            professional fee tracker for latest workstream allocation
Cooper, James           7/19/2023     0.2   Working session with E. Taraba (A&M) re: administrative cost
                                            assessment
Cooper, James           7/19/2023     1.1   Working session with E. Taraba, S. Witherspoon, J. Cooper (A&M)
                                            re: cash flow forecast review
Cooper, James           7/19/2023     1.3   Working session with J. Cooper, E. Taraba, S. Witherspoon (A&M)
                                            re: Budget 8 professional fee forecast by firm
Cooper, James           7/19/2023     0.8   Review professional fee budget variance report by firm

Dalgleish, Elizabeth    7/19/2023     2.1   Update FTX Europe short term cash flow forecast variance analysis
                                            and commentary for w/e 14 July vs. forecast as of 7 July
Dalgleish, Elizabeth    7/19/2023     0.2   Correspondence with M. Cilia and J. Bavaud (FTX) regarding FTX
                                            Europe AG bank accounts
Simoneaux, Nicole       7/19/2023     0.5   Call with S. Witherspoon and N. Simoneaux re: payroll cash forecast
                                            and variance report
Simoneaux, Nicole       7/19/2023     2.1   Incorporate further comments and finalize payroll cash forecast for
                                            FTX US and Dotcom
Slay, David             7/19/2023     1.6   Develop professional fee presentation with latest trends and
                                            projections
Slay, David             7/19/2023     0.6   Working session with J. Cooper (A&M) re:administrative cost
                                            assessment
Slay, David             7/19/2023     0.9   Working session with D. Slay & J. Cooper (A&M) re: Update
                                            professional fee tracker for latest workstream allocation
Taraba, Erik            7/19/2023     0.9   Review and provide supporting commentary for intercompany
                                            activity for WE 7/14
Taraba, Erik            7/19/2023     1.2   Call with J. Cooper and E. Taraba (A&M) re: walkthrough of weekly
                                            variance report for WE 7/14
Taraba, Erik            7/19/2023     1.3   Working session with J. Cooper, E. Taraba, S. Witherspoon (A&M)
                                            re: Budget 8 professional fee forecast by firm
Taraba, Erik            7/19/2023     0.2   Working session with J. Cooper and E. Taraba (A&M) re:
                                            administrative cost assessment
Taraba, Erik            7/19/2023     1.3   Reconcile historical bank account balances to provided statements
                                            for Alameda entity




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Professional              Date    Hours     Activity
Taraba, Erik          7/19/2023     0.4   Review and update Budget 8 presentation materials with latest
                                          forecast data
Taraba, Erik          7/19/2023     0.4   Update commentary for Budget 8 presentation materials


Taraba, Erik          7/19/2023     1.7   Update long-term professional fees forecast schedule to plan
                                          recovery model with actuals through EOM June
Taraba, Erik          7/19/2023     0.4   Update variance report for WE 7/14 per outputs from earlier call with
                                          Cash Team
Taraba, Erik          7/19/2023     0.4   Update weekly variance report for WE 7/14 per feedback from
                                          workstream leadership
Taraba, Erik          7/19/2023     1.1   Working session with E. Taraba, S. Witherspoon, J. Cooper (A&M)
                                          re: cash flow forecast review
Taraba, Erik          7/19/2023     1.9   Develop professional fees overlay comparing current to future budget


Witherspoon, Samuel   7/19/2023     0.8   Reconcile variances of Ventures monetization schedules between
                                          current and prior cash budgets
Witherspoon, Samuel   7/19/2023     0.9   Adjust Budget 8 cash flow for latest assumptions on payroll and
                                          contractor spend
Witherspoon, Samuel   7/19/2023     1.3   Update Budget 8 cash flow for adjusted Japan KK and subsidiaries
                                          forecast
Witherspoon, Samuel   7/19/2023     1.3   Update Budget 8 cash flow materials for distribution to external
                                          parties
Witherspoon, Samuel   7/19/2023     0.7   Update Budget 8 cash flow materials for consolidated and silo
                                          forecast summaries
Witherspoon, Samuel   7/19/2023     0.8   Update commentary in Budget 8 to Budget 7 cash flow bridge

Witherspoon, Samuel   7/19/2023     1.1   Working session with E. Taraba, S. Witherspoon, J. Cooper (A&M)
                                          re: cash flow forecast review
Witherspoon, Samuel   7/19/2023     0.5   Call with S. Witherspoon and N. Simoneaux re: payroll cash forecast
                                          and variance report
Witherspoon, Samuel   7/19/2023     1.3   Working session with J. Cooper, E. Taraba, S. Witherspoon (A&M)
                                          re: Budget 8 professional fee forecast by firm
Witherspoon, Samuel   7/19/2023     0.9   Create external professional fee summary file of forecast through
                                          August 2023
Witherspoon, Samuel   7/19/2023     1.4   Finalize external summary of professional fee detail through August
                                          2023
Witherspoon, Samuel   7/19/2023     1.4   Update Budget 8 cash flow with latest European subsidiary forecast


Arnett, Chris         7/20/2023     0.3   Review and comment on latest cash budget draft

Cooper, James         7/20/2023     0.5   Call with J. Cooper, S. Witherspoon (A&M) re: Budget 8 cash flow
                                          finalization
Cooper, James         7/20/2023     0.4   Correspondence re: summary and list of actions filed




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Cash Management
Professional               Date    Hours     Activity
Cooper, James          7/20/2023     2.3   Review draft of cash flow budget presentation materials and provide
                                           comments
Cooper, James          7/20/2023     0.8   Review initial draft of list and amounts of actions filed case to date


Cooper, James          7/20/2023     0.8   Revise materials for internal comments re: administrative cost
                                           assessment
Cooper, James          7/20/2023     0.4   Review draft email and provide comments re: signature bank wire
                                           return
Cooper, James          7/20/2023     0.5   Finalize latest professional fee forecast by firm based on responses
                                           from outreach
Cooper, James          7/20/2023     1.1   Review and finalize weekly cash variance report for distribution to FTI

Coverick, Steve        7/20/2023     0.6   Review and provide comments on weekly cash variance report


Coverick, Steve        7/20/2023     1.3   Review and provide comments on updated cash flow budget draft

Coverick, Steve        7/20/2023     0.3   Discuss administrative expense forecast with E. Mosley (A&M)


Mosley, Ed             7/20/2023     0.3   Discuss administrative expense forecast with S.Coverick (A&M)

Mosley, Ed             7/20/2023     0.9   Review of and prepare comments to draft cash variance report for
                                           week ending 7/14
Taraba, Erik           7/20/2023     0.7   Update weekly variance report for WE 7/14 pr feedback from project
                                           leadership
Taraba, Erik           7/20/2023     0.6   Update Budget 8 presentation materials per feedback from project
                                           leadership
Taraba, Erik           7/20/2023     0.6   Update TWCF forecast for Budget 8 with revised estimate from
                                           professional firm
Taraba, Erik           7/20/2023     0.3   Develop schedule of payments made in prior week for internal
                                           distribution
Taraba, Erik           7/20/2023     0.3   Respond to questions re: weekly variance reporting for WE 7/14


Taraba, Erik           7/20/2023     0.4   Update professional fees forecast model per feedback from cash
                                           team
Taraba, Erik           7/20/2023     0.8   Update professional fees budget support schedules to reflect latest
                                           data
Taraba, Erik           7/20/2023     0.6   Update presentation materials for Budget 8 per feedback from
                                           workstream leadership
Taraba, Erik           7/20/2023     0.4   Review final weekly variance report for WE 7/14 and confirm final
                                           amounts
Witherspoon, Samuel    7/20/2023     0.3   Review FTX Europe cash payments post petition by vendor


Witherspoon, Samuel    7/20/2023     0.9   Update cash flow budget for commentary edits from A&M team




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Cash Management
Professional                Date    Hours     Activity
Witherspoon, Samuel     7/20/2023     0.8   Refresh Budget 8 cash flow materials with commentary on key
                                            changes from prior budget
Witherspoon, Samuel     7/20/2023     0.5   Call with J. Cooper, S. Witherspoon (A&M) re: Budget 8 cash flow
                                            finalization
Cooper, James           7/21/2023     0.8   Working session with D. Slay & J. Cooper (A&M) re: Update
                                            professional fee tracker forecast by workstream
Cooper, James           7/21/2023     1.6   Draft analysis re: comparison of administrative costs

Cooper, James           7/21/2023     0.3   Distribute cash flow budget presentation and forecast model to FTI


Cooper, James           7/21/2023     1.6   Review final updates to cash flow budget presentation materials and
                                            provide comments
Cooper, James           7/21/2023     0.9   Prepare instructions and distribute professional fee reporting
                                            materials
Dalgleish, Elizabeth    7/21/2023     0.8   Update FTX Crypto Services short term cash flow forecast for June
                                            bank accounts received w/e 21 July
Dalgleish, Elizabeth    7/21/2023     0.4   Update FTX EU Ltd short term cash flow forecast for feedback
                                            received from M. Lambrianou (FTX)
Dalgleish, Elizabeth    7/21/2023     0.8   Update FTX Europe payment trackers for bank accounts and
                                            invoices received from J. Bavaud (FTX) for w/e 21 July
Mosley, Ed              7/21/2023     0.9   Review of draft 13 week cash flow budget #8 in connection with the
                                            cash management order
Mosley, Ed              7/21/2023     0.7   Review of cash collateral questions from UCC to banking partners
                                            and responses
Slay, David             7/21/2023     1.4   Create professional fee summary by related work product for forecast

Slay, David             7/21/2023     0.8   Working session with D. Slay & J. Cooper (A&M) re: Update
                                            professional fee tracker forecast by workstream
Taraba, Erik            7/21/2023     0.8   Develop additional materials for discussion re: OCP assumptions,
                                            forecasts, and status
Taraba, Erik            7/21/2023     0.4   Prepare for call re: Budget 8 walkthrough and open items


Taraba, Erik            7/21/2023     0.2   Respond to crypto custodian audit letters re: historical
                                            cryptocurrency balances
Taraba, Erik            7/21/2023     0.3   Update professional fees forecast model with feedback from call
                                            with Company Finance Team
Taraba, Erik            7/21/2023     0.6   Develop summary schedule of cash asset transfers to support
                                            Budget 8
Witherspoon, Samuel     7/21/2023     2.3   Finalize template for balance reconciliation of individually owned
                                            bank accounts
Witherspoon, Samuel     7/21/2023     0.8   Reconcile bank transactions of WRS entities to submitted IFU 3rd
                                            party disbursements
Cooper, James           7/24/2023     1.9   Prepare for weekly FTI cash discussion re: variance report




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Cash Management
Professional              Date     Hours     Activity
Cooper, James          7/24/2023     0.5   Draft comments to working list of actions filed and amounts

Cooper, James          7/24/2023     0.1   Discuss MOR status update with S. Coverick, J. Cooper (A&M)


Cooper, James          7/24/2023     1.9   Revise slides for professional fee reporting materials based on
                                           internal comments
Cooper, James          7/24/2023     0.6   Call with J. Cooper, S. Witherspoon (A&M) re: current week cash
                                           team objectives and variance report review
Cooper, James          7/24/2023     0.5   Respond to internal inquiries re: restricted cash balance


Coverick, Steve        7/24/2023     0.1   Discuss MOR status update with J. Cooper (A&M)

Dalgleish, Elizabeth   7/24/2023     1.6   Update FTX Europe open payments file for feedback received from
                                           country CFOs for w/e 21 July
Taraba, Erik           7/24/2023     0.7   Incorporate additional legal entity into TWCF model and supporting
                                           files
Taraba, Erik           7/24/2023     0.4   Correspondence with Company Finance Team re: additional
                                           transaction history requests
Taraba, Erik           7/24/2023     0.8   Develop draft weekly variance report package for WE 7/21

Taraba, Erik           7/24/2023     0.7   Reconcile bank balances for FTX Japan entities to internal bank
                                           account file
Taraba, Erik           7/24/2023     0.6   Reconcile bank account activity for WE 7/21 to cash roll forwards in
                                           TWCF model
Taraba, Erik           7/24/2023     0.9   Update TWCF model formulas to account for structural changes to
                                           model
Taraba, Erik           7/24/2023     0.6   Update professional fees variance support schedule with data
                                           through WE 7/14
Taraba, Erik           7/24/2023     0.7   Review professional fee variances and provide supporting
                                           commentary
Taraba, Erik           7/24/2023     0.8   Reconcile payment activity for July to internal bank account roll
                                           forwards
Taraba, Erik           7/24/2023     0.9   Reconcile debtor bank activity for WE 7/14 to latest bank account
                                           balance file
Witherspoon, Samuel    7/24/2023     0.6   Call with J. Cooper, S. Witherspoon (A&M) re: current week cash
                                           team objectives and variance report review
Witherspoon, Samuel    7/24/2023     0.6   Summarize MOR reconciliation process in daily entity tracker


Witherspoon, Samuel    7/24/2023     1.3   Finalize June Interim Financial Update and distribute to internal
                                           team for review
Cooper, James          7/25/2023     0.3   Review weekly vendor payments and WAL bank activity files for
                                           cash reporting
Cooper, James          7/25/2023     0.6   Review bank account balance tracker for weekly reporting




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Cash Management
Professional               Date     Hours     Activity
Cooper, James           7/25/2023     0.2   Call with J. Cooper and E. Taraba (A&M) re: liquidity workstream
                                            priorities and deliverables for WE 7/28
Cooper, James           7/25/2023     1.2   Revise and distribute draft list of actions filed for internal review


Cooper, James           7/25/2023     0.3   Review long-term cash flow forecast for input in the plan update

Cooper, James           7/25/2023     0.8   Draft slide for professional fee reporting materials

Dalgleish, Elizabeth    7/25/2023     2.3   Update FTX Europe short term cash flow forecast for feedback
                                            received from country CFOs for w/e 21 July
Taraba, Erik            7/25/2023     1.3   Review variance report for WE 7/21 and add supporting commentary
                                            for material variances
Taraba, Erik            7/25/2023     1.6   Reconcile bank account balances for accounts converted to USD
                                            WE 7/21
Taraba, Erik            7/25/2023     0.4   Correspondence with Company Finance Team re: changes in
                                            certain bank account balances
Taraba, Erik            7/25/2023     0.2   Call with J. Cooper and E. Taraba (A&M) re: liquidity workstream
                                            priorities and deliverables for WE 7/28
Taraba, Erik            7/25/2023     0.6   Update OCP allocation per historical payment data and feedback
                                            from counsel and project leadership
Taraba, Erik            7/25/2023     0.4   Update internal bank account files with transaction feedback
                                            provided by Company Finance Team
Witherspoon, Samuel     7/25/2023     0.4   Update bank account listing for FBAR filing due in October 2023


Cooper, James           7/26/2023     1.5   Draft updates case accomplishments materials based on internal
                                            feedback
Cooper, James           7/26/2023     1.6   Review initial draft of weekly cash reporting and variance
                                            commentary
Cooper, James           7/26/2023     2.6   Review OCP by firm analysis and provide comments

Cooper, James           7/26/2023     0.4   Call with J. Cooper, S. Witherspoon (A&M) re: weekly cash team
                                            objectives
Dalgleish, Elizabeth    7/26/2023     1.8   Update FTX Europe short term cash flow forecast variance analysis
                                            and commentary for w/e 21 July vs. forecast as of 7 July
Johnston, David         7/26/2023     0.3   Review short term cash flow variance analysis for FTX Europe,
                                            provide comments and questions
Simoneaux, Nicole       7/26/2023     1.8   Conduct inquiries with FTX finance team and incorporate support in
                                            regards to additional employee taxes non-reconciled
Sullivan, Christopher   7/26/2023     0.2   Call with C. Sullivan, S. Witherspoon (A&M) re: cash inputs for plan
                                            recoveries
Taraba, Erik            7/26/2023     0.7   Update weekly variance report with feedback from workstream
                                            leadership
Taraba, Erik            7/26/2023     0.6   Respond to questions from workstream leadership re: weekly
                                            variance report for WE 7/21




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Cash Management
Professional              Date     Hours     Activity
Witherspoon, Samuel    7/26/2023     0.8   Create reconciliation of FBAR bank accounts

Witherspoon, Samuel    7/26/2023     0.2   Call with C. Sullivan, S. Witherspoon (A&M) re: cash inputs for plan
                                           recoveries
Witherspoon, Samuel    7/26/2023     0.4   Call with J. Cooper, S. Witherspoon (A&M) re: weekly cash team
                                           objectives
Witherspoon, Samuel    7/26/2023     1.3   Analyze weekly payments actuals run rates for U.S. and foreign
                                           subsidiaries
Witherspoon, Samuel    7/26/2023     1.3   Finalize initial draft of MOR reconciliation by legal entity silo


Cooper, James          7/27/2023     0.9   Additional revisions to case accomplishments materials based on
                                           internal feedback
Cooper, James          7/27/2023     0.4   Call with J. Cooper and E. Taraba (A&M) re: professional fee
                                           forecast summary schedule
Cooper, James          7/27/2023     2.2   Review and finalize weekly cash flow variance report for distribution
                                           to FTI
Cooper, James          7/27/2023     0.9   Working session with E. Taraba and J. Cooper (A&M) re:
                                           development of schedule of professional fees accruals and
                                           collections
Cooper, James          7/27/2023     1.6   Review latest professional fee variance analysis by firm


Mosley, Ed             7/27/2023     0.6   Review of and provide comments to draft cash variance report for
                                           week ending 7/21
Taraba, Erik           7/27/2023     1.1   Prepare schedule of professional fee allocation by business unit for
                                           case fees to-date
Taraba, Erik           7/27/2023     0.9   Working session with E. Taraba and J. Cooper (A&M) re:
                                           development of schedule of professional fees accruals and
                                           collections
Taraba, Erik           7/27/2023     0.6   Update TWCF model with additional bank reconciliations

Taraba, Erik           7/27/2023     0.4   Call with J. Cooper and E. Taraba (A&M) re: professional fee
                                           forecast summary schedule
Taraba, Erik           7/27/2023     0.3   Correspondence with Company Finance Team re: additional bank
                                           statements needed for reconciliation
Taraba, Erik           7/27/2023     1.1   Develop weekly variance report for WE 7/21 for external distribution


Taraba, Erik           7/27/2023     2.1   Develop schedule of professional fee accrual and collections for
                                           debtor professional
Taraba, Erik           7/27/2023     0.3   Respond to management's questions re: WE 7/21 variance report

Taraba, Erik           7/27/2023     0.3   Respond to questions from Crypto Team re: historical wire activity
                                           for debtor accounts
Taraba, Erik           7/27/2023     0.4   Update schedule of professional fee accruals and payments per
                                           feedback from workstream leadership
Taraba, Erik           7/27/2023     0.4   Update weekly variance report for WE 7/21 with feedback from
                                           leadership

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Cash Management
Professional                Date    Hours     Activity
Witherspoon, Samuel     7/27/2023     0.9   Update latest cash reconciliation of petition date balances

Simoneaux, Nicole       7/28/2023     1.9   Prepare allocation of payroll-related disbursements in June and July
                                            for cash team reporting
Taraba, Erik            7/28/2023     0.3   Respond to questions from Crypto Team re: wire activity associated
                                            with conversion of certain assets
Taraba, Erik            7/28/2023     0.9   Review and reconcile historical intrasilo transfer activity with updated
                                            bank statement data
Taraba, Erik            7/28/2023     0.8   Review professional fee allocation schedule and provide feedback to
                                            leadership on variances
Taraba, Erik            7/28/2023     0.6   Develop summary long-term schedule of professional fees to inform
                                            plan recovery analysis
Taraba, Erik            7/28/2023     0.7   Reconcile bank statements for Japanese entities to historical
                                            transaction history for January and February
Callerio, Lorenzo       7/31/2023     0.2   Call with J. Cooper, S. Witherspoon, E. Taraba, L. Callerio (A&M),
                                            M. Dawson, M. Gray, and D. Sveen (FTI) re: weekly variance report
                                            walkthrough and discussion of other open items
Cooper, James           7/31/2023     0.5   Correspondence with banking partner re: deposit interest rate

Cooper, James           7/31/2023     0.2   Call with J. Cooper, S. Witherspoon, E. Taraba, L. Callerio (A&M),
                                            M. Dawson, M. Gray, and D. Sveen (FTI) re: weekly variance report
                                            walkthrough and discussion of other open items
Cooper, James           7/31/2023     0.5   Draft changes to weekly PMO update materials for the cash
                                            workstream
Cooper, James           7/31/2023     2.4   Draft revisions to case accomplishments deck

Cooper, James           7/31/2023     0.7   Internal correspondence re: pursuit of venture investment cash


Cooper, James           7/31/2023     0.3   Prepare for weekly UCC call re: cash flow

Cooper, James           7/31/2023     0.6   Working session with S. Witherspoon, J. Cooper (A&M) re: weekly
                                            cash team objectives
Dalgleish, Elizabeth    7/31/2023     0.8   Update FTX Europe payment trackers for bank accounts received
                                            from J. Bavaud (FTX) for w/e 28 July
Dalgleish, Elizabeth    7/31/2023     0.9   Update FTX Europe open payments file for feedback received from
                                            J. Bavaud (FTX) for w/e 28 July
Mosley, Ed              7/31/2023     0.8   Review of draft memorandum to board of directors regarding
                                            treasury options
Slay, David             7/31/2023     1.3   Working session with D. Slay, C. Stockmeyer (A&M) re: professional
                                            fee summary update
Stockmeyer, Cullen      7/31/2023     1.3   Working session with D. Slay, C. Stockmeyer (A&M) re: professional
                                            fee summary update
Taraba, Erik            7/31/2023     0.7   Update variance report for WE 7/28 with updated intercompany data

Taraba, Erik            7/31/2023     0.8   Update PMO slide for liquidity team with latest variance and other
                                            workstream highlights

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Cash Management
Professional             Date     Hours     Activity
Taraba, Erik          7/31/2023      0.6   Develop liquidity team PMO update slide for WE 8/4

Witherspoon, Samuel   7/31/2023      0.2   Call with J. Cooper, S. Witherspoon, E. Taraba, L. Callerio (A&M),
                                           M. Dawson, M. Gray, and D. Sveen (FTI) re: weekly variance report
                                           walkthrough and discussion of other open items
Witherspoon, Samuel   7/31/2023      1.3   Create requested outputs of cash flows from case inception to date
                                           for the UCC
Witherspoon, Samuel   7/31/2023      1.3   Reconcile historical interim financial update information with
                                           submitted reports
Witherspoon, Samuel   7/31/2023      1.3   Review prior weeks variance reports cash balances by legal entity


Witherspoon, Samuel   7/31/2023      0.6   Working session with S. Witherspoon, J. Cooper (A&M) re: weekly
                                           cash team objectives
Witherspoon, Samuel   7/31/2023      1.1   Update FBAR filing data with latest bank account information

Witherspoon, Samuel   7/31/2023      2.8   Update TWCF model for adjustments to intercompany and operating
                                           disbursements

Subtotal                           558.3

Claims
Professional             Date     Hours     Activity
Hubbard, Taylor        6/7/2023      2.4   Carry out a comprehensive quality control examination of fuzzy
                                           lookup matches for customers by leveraging the Levenshtein value
Hubbard, Taylor        6/7/2023      1.6   Conduct a quality control assessment of fuzzy lookup matches for
                                           customers through the utilization of the Levenshtein value
Hubbard, Taylor        6/7/2023      2.1   Perform quality control review of fuzzy lookup matches for
                                           customers by utilizing the levenshtein value
Hubbard, Taylor        6/7/2023      2.9   Utilize the Levenshtein value to conduct a meticulous quality control
                                           review of fuzzy lookup matches for customers
Hubbard, Taylor        6/8/2023      0.6   Execute a thorough quality assessment of fuzzy lookup results for
                                           customer name matching
Hubbard, Taylor        6/8/2023      2.1   Perform an in-depth quality control analysis of fuzzy lookup outputs
                                           for customer name matching
Hubbard, Taylor        6/8/2023      3.1   Undertake a meticulous review process to assess the accuracy of
                                           fuzzy lookup customer name matches
Hubbard, Taylor        6/9/2023      1.6   Run report and check for non-contract type of 'investment' see if
                                           there's a more global issue
Hubbard, Taylor        6/9/2023      1.4   Execute a meticulous examination of customer name matches
                                           generated by a fuzzy lookup, ensuring optimal quality standards
Hubbard, Taylor        6/9/2023      2.9   Conduct a thorough assessment of fuzzy lookup customer name
                                           matches through a quality control review
Hubbard, Taylor        6/9/2023      2.6   Engage in a detailed assessment of customer name matches
                                           generated by a fuzzy lookup, focusing on maintaining high-quality
                                           standards



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Claims
Professional              Date     Hours     Activity
Chambers, Henry         7/1/2023     0.7   Correspondence regarding the display of KYC status and AWS
                                           matching for Customer portal
Esposito, Rob           7/1/2023     0.2   Review and response to claim objection inquiry related to unverified
                                           claims
Kotarba, Steve          7/1/2023     1.2   Review status of filed claims and compare to schedules to prepare
                                           for internal call re same
Mosley, Ed              7/1/2023     0.7   Review of communication plan draft around customer portal

Esposito, Rob           7/2/2023     0.3   Review of locked token holder summary


Esposito, Rob           7/2/2023     1.7   Review of newly filed claims to prepare summary of the more
                                           notable claims
Esposito, Rob           7/2/2023     2.9   Prepare updated claims reports for non-customer related claims


Francis, Luke           7/2/2023     1.7   Updates to claims summary from updated claims register for non-
                                           customer claims
Negus, Matthew          7/2/2023     1.5   Review and drafting of customer claims portal DPIA


Chambers, Henry         7/3/2023     0.3   Follow up on data preservation progress for Liquid databases

Chambers, Henry         7/3/2023     0.5   Call with H. Chambers, R. Grosvenor, M. Negus, D. Sarmiento, Q.
                                           Zhang (A&M) to discuss customer portal privacy notice
Chambers, Henry         7/3/2023     0.3   Call with M. Flynn, K. Ramanathan, A. Mohammed, H. Chambers
                                           (A&M) to discuss KYC customer status
Chambers, Henry         7/3/2023     0.3   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, H. Chambers
                                           (A&M), J. Masters (FTX) to discuss status of KYC/AML customer
                                           portal
Chambers, Henry         7/3/2023     1.0   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, H. Chambers,
                                           A. Mohammed (A&M), Integreon team, MetaLab team and Sumsub
                                           team to discuss customer portal daily update
Chambers, Henry         7/3/2023     1.2   Correspondence regarding AML requirements of customer portal


Chamma, Leandro         7/3/2023     1.0   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, H. Chambers,
                                           A. Mohammed (A&M), Integreon team, MetaLab team and Sumsub
                                           team to discuss customer portal daily update
Chamma, Leandro         7/3/2023     0.3   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, H. Chambers
                                           (A&M), J. Masters (FTX) to discuss status of KYC/AML customer
                                           portal
Chamma, Leandro         7/3/2023     1.2   Test of customer portal KYC workflow in preparation for portal launch


Esposito, Rob           7/3/2023     0.3   Call with S. Perry, B. Steele, D. Mapplethorpe, R. Vyskocil, J.
                                           Hughes, V. Pratap (Kroll), R. Esposito, D. Lewandowski,
                                           A.Mohammed (A&M), D. Longan (MetaLab) to discuss progress on
                                           customer claims portal
Esposito, Rob           7/3/2023     0.9   Prepare and communicate claims summary report




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Claims
Professional              Date     Hours     Activity
Esposito, Rob           7/3/2023     1.6   Review of additional claims docketed to prepare communication to
                                           FTX management and S&C
Esposito, Rob           7/3/2023     0.4   Review of selected non-customer claims to prepare for S&C
                                           diligence discussion
Flynn, Matthew          7/3/2023     0.3   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, H. Chambers
                                           (A&M), J. Masters (FTX) to discuss status of KYC/AML customer
                                           portal
Flynn, Matthew          7/3/2023     0.3   Call with M. Flynn, K. Ramanathan, A. Mohammed, H. Chambers
                                           (A&M) to discuss KYC customer status
Flynn, Matthew          7/3/2023     1.0   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, H. Chambers,
                                           A. Mohammed (A&M), Integreon team, MetaLab team and Sumsub
                                           team to discuss customer portal daily update
Flynn, Matthew          7/3/2023     1.2   Review AWS name fields for KYC matching process


Grosvenor, Robert       7/3/2023     0.5   Call with H. Chambers, R. Grosvenor, M. Negus, D. Sarmiento, Q.
                                           Zhang (A&M) to discuss customer portal privacy notice
Johnson, Robert         7/3/2023     1.6   Review balances table to identify how various tickers are
                                           represented to allow for conveyance of information to Sygnia/Metalab
Johnson, Robert         7/3/2023     0.4   Review categories of adjustments for customer balances and map to
                                           table for customer portal
Kotarba, Steve          7/3/2023     0.7   Evaluate claim review summary and status re no-customer claims
                                           and reporting re same
Kotarba, Steve          7/3/2023     1.1   Review newly filed claims in the cases to summary reporting
                                           purposes
Lewandowski, Douglas    7/3/2023     0.3   Call with S. Perry, B. Steele, D. Mapplethorpe, R. Vyskocil, J.
                                           Hughes, V. Pratap (Kroll), R. Esposito, D. Lewandowski,
                                           A.Mohammed (A&M), D. Longan (MetaLab) to discuss progress on
                                           customer claims portal
Mohammed, Azmat         7/3/2023     0.3   Call with S. Perry, B. Steele, D. Mapplethorpe, R. Vyskocil, J.
                                           Hughes, V. Pratap (Kroll), R. Esposito, D. Lewandowski,
                                           A.Mohammed (A&M), D. Longan (MetaLab) to discuss progress on
                                           customer claims portal
Mohammed, Azmat         7/3/2023     1.0   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, H. Chambers,
                                           A. Mohammed (A&M), Integreon team, MetaLab team and Sumsub
                                           team to discuss customer portal daily update
Mohammed, Azmat         7/3/2023     0.3   Call with M. Flynn, K. Ramanathan, A. Mohammed, H. Chambers
                                           (A&M) to discuss KYC customer status
Mohammed, Azmat         7/3/2023     1.1   Coordinate portal development efforts related to change of customer
                                           data, KYC flows, and vendor access controls
Mohammed, Azmat         7/3/2023     0.5   Call with S. Lynch, D. Longan, C. Candan, C. Cox (MetaLab), I.
                                           Weinberger, (Sygnia), A. Mohammed (A&M) to discuss claims portal
                                           workstream progress
Mosley, Ed              7/3/2023     1.3   Review of initial analysis of certain non-customer claims


Mosley, Ed              7/3/2023     0.9   Review of initial claims filing status for non-customer




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Claims
Professional             Date     Hours     Activity
Nadimpalli, Vamsi      7/3/2023     2.3   Email and Slack communications to coordinate workstreams with
                                          development/devops teams
Negus, Matthew         7/3/2023     0.5   Call with H. Chambers, R. Grosvenor, M. Negus, D. Sarmiento, Q.
                                          Zhang (A&M) to discuss customer portal privacy notice
Negus, Matthew         7/3/2023     0.2   Additional review and drafting of customer claims portal DPIA

Ramanathan, Kumanan    7/3/2023     0.3   Call with M. Flynn, K. Ramanathan, A. Mohammed, H. Chambers
                                          (A&M) to discuss KYC customer status
Sarmiento, Dubhe       7/3/2023     0.5   Call with H. Chambers, R. Grosvenor, M. Negus, D. Sarmiento, Q.
                                          Zhang (A&M) to discuss customer portal privacy notice
Sarmiento, Dubhe       7/3/2023     0.9   Review M. Negus feedback on the Privacy Impact Assessment for
                                          the claims portal
Sarmiento, Dubhe       7/3/2023     3.1   Edit in accordance with M. Negus feedback on the Privacy Impact
                                          Assessment for the claims portal
Yurchak, Lilia         7/3/2023     0.3   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, H. Chambers
                                          (A&M), J. Masters (FTX) to discuss status of KYC/AML customer
                                          portal
Yurchak, Lilia         7/3/2023     1.0   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, H. Chambers,
                                          A. Mohammed (A&M), Integreon team, MetaLab team and Sumsub
                                          team to discuss customer portal daily update
Zatz, Jonathan         7/3/2023     1.3   Suggest edits to recap of bridge between schedule and portal values


Zhang, Qi              7/3/2023     0.5   Call with H. Chambers, R. Grosvenor, M. Negus, D. Sarmiento, Q.
                                          Zhang (A&M) to discuss customer portal privacy notice
Zhang, Qi              7/3/2023     1.0   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, H. Chambers,
                                          A. Mohammed (A&M), Integreon team, MetaLab team and Sumsub
                                          team to discuss customer portal daily update
Chambers, Henry        7/4/2023     1.3   Consider the permutations of the AWS name matching flow for
                                          Customer Portal
Chambers, Henry        7/4/2023     0.9   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, H. Chambers,
                                          A. Mohammed (A&M), Integreon team and Sumsub team to discuss
                                          customer portal daily update
Chamma, Leandro        7/4/2023     0.9   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, H. Chambers,
                                          A. Mohammed (A&M), Integreon team and Sumsub team to discuss
                                          customer portal daily update
Chamma, Leandro        7/4/2023     0.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M), Integreon team
                                          and Sumsub team to discuss AWS data matching process flow
Esposito, Rob          7/4/2023     0.9   Review and analysis of claims for response to S&C team


Esposito, Rob          7/4/2023     0.8   Review and analysis of duplicate and amended claims

Flynn, Matthew         7/4/2023     0.4   Review of FTX.COM admin portal access rights and login issues


Flynn, Matthew         7/4/2023     0.3   Call with M. Flynn, A. Mohammed (A&M) to discuss FTX customer
                                          portal access




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Claims
Professional              Date     Hours     Activity
Flynn, Matthew          7/4/2023     0.9   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, H. Chambers,
                                           A. Mohammed (A&M), Integreon team and Sumsub team to discuss
                                           customer portal daily update
Francis, Luke           7/4/2023     1.8   Updates to claims summary reporting based on new claims register

Gordon, Robert          7/4/2023     0.4   Review claims at Ledger Prime against petition financials


Johnson, Robert         7/4/2023     1.0   Call with M. O'Rourke, D. Longan, M. Carson, J. Espinosa, M.
                                           Kenny, C. Candan, J. Zaleski, E. Coward, E. Swedberg, P. Bodnar
                                           (MetaLab), I. Weinberger,D. Litwak (Sygnia), R. Johnson, A.
                                           Mohammed (A&M) to discuss claims portal workstream progress
Johnson, Robert         7/4/2023     1.6   Work with Sygnia and Metalab team on display of customer
                                           balances in Customer portal
Kotarba, Steve          7/4/2023     2.0   Evaluate recently-filed claims to respond to counsel inquiry


Lewandowski, Douglas    7/4/2023     0.7   Work on customer bar date notice email draft

Lewandowski, Douglas    7/4/2023     0.3   Review new Kroll claims register in claims management system

Mohammed, Azmat         7/4/2023     0.9   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, H. Chambers,
                                           A. Mohammed (A&M), Integreon team, MetaLab team and Sumsub
                                           team to discuss customer portal daily update
Mohammed, Azmat         7/4/2023     0.3   Call with M. Flynn, A. Mohammed (A&M) to discuss FTX customer
                                           portal access
Mohammed, Azmat         7/4/2023     1.0   Call with M. O'Rourke, D. Longan, M. Carson, J. Espinosa, M.
                                           Kenny, C. Candan, J. Zaleski, E. Coward, E. Swedberg, P. Bodnar
                                           (MetaLab), I. Weinberger,D. Litwak (Sygnia), R. Johnson, A.
                                           Mohammed (A&M) to discuss claims portal workstream progress
Mohammed, Azmat         7/4/2023     1.2   Coordinate portal development efforts related to change of KYC
                                           flows, team access to portal, and KYC data
Mosley, Ed              7/4/2023     0.8   Review of outstanding claims for specific creditor for S&C

Mosley, Ed              7/4/2023     0.2   Discussion with S.Kotarba (A&M) regarding claims research for S&C

Negus, Matthew          7/4/2023     1.0   Review and drafting of customer claims portal DPIA


Sarmiento, Dubhe        7/4/2023     0.8   Review and further edits of the Privacy Policy for claims portal in
                                           accordance with A&M feedback
Sarmiento, Dubhe        7/4/2023     1.8   Review and further edits in accordance with M. Negus feedback on
                                           the Privacy Impact Assessment for the claims portal
Yurchak, Lilia          7/4/2023     0.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M), Integreon team
                                           and Sumsub team to discuss AWS data matching process flow
Yurchak, Lilia          7/4/2023     0.9   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, H. Chambers,
                                           A. Mohammed (A&M), Integreon team and Sumsub team to discuss
                                           customer portal daily update
Zhang, Qi               7/4/2023     0.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M), Integreon team
                                           and Sumsub team to discuss AWS data matching process flow


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                                 FTX Trading Ltd., et al.,
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Claims
Professional             Date     Hours     Activity
Zhang, Qi              7/4/2023     0.3   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, H. Chambers
                                          (A&M), J. Masters (FTX) to discuss status of KYC/AML customer
                                          portal
Zhang, Qi              7/4/2023     0.9   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, H. Chambers,
                                          A. Mohammed (A&M), Integreon team and Sumsub team to discuss
                                          customer portal daily update
Chambers, Henry        7/5/2023     0.3   Correspondence regarding Integreon training


Chambers, Henry        7/5/2023     1.6   Review standard operating procedures documents for Customer
                                          Service and Manual Reviewer
Chamma, Leandro        7/5/2023     2.2   Draft of KYC standard operating procedures based on AWS data
                                          flow update for customer claim portal
Chamma, Leandro        7/5/2023     0.5   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, A.
                                          Mohammed (A&M), Integreon team and Sumsub team to discuss
                                          customer portal daily update
Chamma, Leandro        7/5/2023     0.2   Call with M. Flynn, L. Chamma (A&M) to discuss KYC training
                                          material
DiNatale, Trevor       7/5/2023     0.5   Conference call with T. DiNatale and C. Myers (A&M) re: claims
                                          reconciliation process updates
Esposito, Rob          7/5/2023     0.7   Coordination of non-customer claims review process


Esposito, Rob          7/5/2023     0.9   Discussion with D. Lewandowski and R. Esposito (A&M) re: non-
                                          customer claims review and reporting
Esposito, Rob          7/5/2023     0.4   Call with S. Perry, O.Bitman, B. Steele, D. Mapplethorpe, J.
                                          Hughes, V. Pratap (Kroll), R. Esposito, K. Ramanathan, D.
                                          Lewandowski, A.Mohammed, M. Flynn (A&M), D. Longan (MetaLab)
                                          to discuss progress on customer claims portal
Esposito, Rob          7/5/2023     0.3   Discussion with R. Esposito and D. Lewandowski (A&M) re: claims
                                          reporting and categorization
Esposito, Rob          7/5/2023     0.6   Prepare non-customer claims summary for discussion with S&C to
                                          identify next steps for reconciliation purposes
Esposito, Rob          7/5/2023     1.2   Review and modification to the updated claims summary


Esposito, Rob          7/5/2023     2.1   Review and summary of notable claims to provide updates to A&M
                                          and S&C teams
Flynn, Matthew         7/5/2023     0.4   Coordinate in-person KYC/AML trainings with Integreon

Flynn, Matthew         7/5/2023     0.4   Call with S. Perry, O.Bitman, B. Steele, D. Mapplethorpe, J.
                                          Hughes, V. Pratap (Kroll), R. Esposito, K. Ramanathan, D.
                                          Lewandowski, A.Mohammed, M. Flynn (A&M), D. Longan (MetaLab)
                                          to discuss progress on customer claims portal
Flynn, Matthew         7/5/2023     0.5   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, A.
                                          Mohammed (A&M), Integreon team and Sumsub team to discuss
                                          customer portal daily update
Flynn, Matthew         7/5/2023     0.2   Call with M. Flynn, L. Yurchak (A&M) to discuss KYC status and
                                          trainings




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Claims
Professional             Date     Hours     Activity
Flynn, Matthew         7/5/2023     2.9   Call with M. Flynn, A. Mohammed (A&M), FTX Customer Service
                                          and Integreon teams reviewing operating processes and training
                                          materials
Flynn, Matthew         7/5/2023     0.2   Call with M. Flynn, L. Chamma (A&M) to discuss KYC training
                                          material
Grosvenor, Robert      7/5/2023     0.7   Review of Data Protection Impact Assessment Report and Findings
                                          for the AML/KYC CUSTOMER CLAIMS PORTAL
Johnson, Robert        7/5/2023     1.1   Call with M. O'Rourke, D. Longan and others (MetaLab), N. Molina,
                                          D. Chiu, R. Perubhatla (FTX) O.Weinberger, I.Weinberger, D. Litwak
                                          (Sygnia), V. Nadimpalli, R. Johnson, A. Mohammed (A&M) to
                                          discuss claims portal workstream progress
Johnston, David        7/5/2023     0.4   Review updated analysis of FTX Turkey potential claims

Kotarba, Steve         7/5/2023     1.3   Review recently filed claims to include in reconciliation protocol


Lewandowski, Douglas   7/5/2023     2.1   Review Kroll customer proof of claim form against website copy for
                                          diligence purposes
Lewandowski, Douglas   7/5/2023     0.9   Discussion with D. Lewandowski and R. Esposito (A&M) re: non-
                                          customer claims review and reporting
Lewandowski, Douglas   7/5/2023     0.4   Call with S. Perry, O.Bitman, B. Steele, D. Mapplethorpe, J.
                                          Hughes, V. Pratap (Kroll), R. Esposito, K. Ramanathan, D.
                                          Lewandowski, A.Mohammed, M. Flynn (A&M), D. Longan (MetaLab)
                                          to discuss progress on customer claims portal
Lewandowski, Douglas   7/5/2023     0.3   Discussion with R. Esposito and D. Lewandowski (A&M) re: claims
                                          reporting and categorization
Lewandowski, Douglas   7/5/2023     0.4   Review and comment on customer bar date notice communications

Lewandowski, Douglas   7/5/2023     1.5   Review duplicative claims filed into the FTX cases so that estimated
                                          amounts can be reported correctly
Lewandowski, Douglas   7/5/2023     1.3   Review Kroll claims register for updates to docketed debtors to
                                          identify docketing inconsistencies
Lewandowski, Douglas   7/5/2023     1.2   Work on customer claim open issues from FTX portal team


Lewandowski, Douglas   7/5/2023     1.1   Work on reviewing Kroll portal claim form and documentation in
                                          preparation for epoc launch
Lewandowski, Douglas   7/5/2023     0.3   Review estimates for notable claims related to reporting disclosures

Mohammed, Azmat        7/5/2023     1.8   Coordinate portal development efforts related to regression testing
                                          and integration testing with third parties
Mohammed, Azmat        7/5/2023     1.1   Call with D. Longan, M. Kenny, C. Cox, M. O'Rourke, J. Espinosa
                                          (MetaLab), K. Ramanathan, A. Mohammed (A&M) to discuss FTX
                                          backlog prioritization effort
Mohammed, Azmat        7/5/2023     2.9   Call with M. Flynn, A. Mohammed (A&M), FTX Customer Service
                                          and Integreon teams reviewing operating processes and training
                                          materials




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Claims
Professional             Date     Hours     Activity
Mohammed, Azmat        7/5/2023     0.5   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, A.
                                          Mohammed (A&M), Integreon team and Sumsub team to discuss
                                          customer portal daily update
Mohammed, Azmat        7/5/2023     1.1   Call with M. O'Rourke, D. Longan and others (MetaLab), N. Molina,
                                          D. Chiu, R. Perubhatla (FTX) O.Weinberger, I.Weinberger, D. Litwak
                                          (Sygnia), V. Nadimpalli, R. Johnson, A. Mohammed (A&M) to
                                          discuss claims portal workstream progress
Mohammed, Azmat        7/5/2023     0.4   Call with R. Perubhatla (FTX) K. Ramanathan, A.Mohammed (A&M)
                                          to discuss production testing and launch readiness
Mohammed, Azmat        7/5/2023     0.7   Call with R. Perubhatla (FTX) to discuss production testing and
                                          launch readiness
Mohammed, Azmat        7/5/2023     0.4   Call with S. Perry, O.Bitman, B. Steele, D. Mapplethorpe, J.
                                          Hughes, V. Pratap (Kroll), R. Esposito, K. Ramanathan, D.
                                          Lewandowski, A.Mohammed, M. Flynn (A&M), D. Longan (MetaLab)
                                          to discuss progress on customer claims portal
Mohammed, Azmat        7/5/2023     0.3   Coordinate connectivity and access controls with Integreon team
                                          members
Mohammed, Azmat        7/5/2023     2.4   Coordinate development activities around production data access
                                          and day 1 launch readiness
Mohammed, Azmat        7/5/2023     0.2   Call with C. Cox (MetaLab), O. Weinberger (Sygnia), A. Mohammed
                                          (A&M) to discuss production bug related to admin portal and
                                          resolution
Myers, Claire          7/5/2023     1.9   Analyze claims register to triage filed tax claims

Myers, Claire          7/5/2023     0.5   Conference call with T. DiNatale and C. Myers (A&M) re: claims
                                          reconciliation process updates
Myers, Claire          7/5/2023     0.8   Analyze filed claims to triage filed litigation claims

Nadimpalli, Vamsi      7/5/2023     1.6   Work with customer service on post-launch Zendesk procedures


Nadimpalli, Vamsi      7/5/2023     1.1   Call with M. O'Rourke, D. Longan and others (MetaLab), N. Molina,
                                          D. Chiu, R. Perubhatla (FTX) O.Weinberger, I.Weinberger, D. Litwak
                                          (Sygnia), V. Nadimpalli, R. Johnson, A. Mohammed (A&M) to
                                          discuss claims portal workstream progress
Nadimpalli, Vamsi      7/5/2023     2.6   Update copy document for claims portal based on copy editing from
                                          Legal team
Negus, Matthew         7/5/2023     2.4   Review and drafting of customer claims portal DPIA

Negus, Matthew         7/5/2023     1.6   Review and drafting of customer claims portal privacy and cookies
                                          notice
Ramanathan, Kumanan    7/5/2023     0.4   Review and compare Bittrex withdrawal process and support articles

Ramanathan, Kumanan    7/5/2023     1.1   Call with M. O'Rourke, D. Longan and others (MetaLab), N. Molina,
                                          D. Chiu, R. Perubhatla (FTX) O.Weinberger, I.Weinberger, D. Litwak
                                          (Sygnia), V. Nadimpalli, R. Johnson, A. Mohammed (A&M) to
                                          discuss claims portal workstream progress
Ramanathan, Kumanan    7/5/2023     0.4   Call with R. Perubhatla (FTX) K. Ramanathan, A.Mohammed (A&M)
                                          to discuss production testing and launch readiness

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Claims
Professional             Date     Hours     Activity
Ramanathan, Kumanan    7/5/2023     0.4   Call with S. Perry, O.Bitman, B. Steele, D. Mapplethorpe, J. Hughes,
                                          V. Pratap (Kroll), R. Esposito, K. Ramanathan, D. Lewandowski,
                                          A.Mohammed, M. Flynn (A&M), D. Longan (MetaLab) to discuss
                                          progress on customer claims portal
Yurchak, Lilia         7/5/2023     0.5   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, A.
                                          Mohammed (A&M), Integreon team and Sumsub team to discuss
                                          customer portal daily update
Yurchak, Lilia         7/5/2023     0.2   Call with M. Flynn, L. Yurchak (A&M) to discuss KYC status and
                                          trainings
Zatz, Jonathan         7/5/2023     1.2   Correspondence related to reconciliation of account level balances
                                          with main account level balances
Chambers, Henry        7/6/2023     0.4   Review BitTrex Chapter 11 process to compare with FTX process

Chambers, Henry        7/6/2023     1.1   Review updated Customer Portal Language


Chamma, Leandro        7/6/2023     0.5   Call with L. Yurchak, L. Chamma (A&M) re: internal customer portal
                                          update
Clayton, Lance         7/6/2023     2.4   Prepare LP schedule of claims for external advisors

Coverick, Steve        7/6/2023     0.6   Call with O. Bitman, G. Faust, J. Hughes, D. Mapplethorpe, S. Perry,
                                          R. Stitt (Kroll), M. Kenny, D. Longan (MetaLab), R. Perubhatla
                                          (FTX), S. Coverick, K. Ramanathan, M.Flynn, R. Esposito (A&M) to
                                          walk through end to end claims process demo
Coverick, Steve        7/6/2023     0.9   Review non-customer claims register for inclusion in plan analysis


Coverick, Steve        7/6/2023     0.2   Call with S. Perry, B. Steele, D. Mapplethorpe, D.Malo, J. Hughes,
                                          V. Pratap (Kroll), S. Coverick, S. Kotarba, M. Flynn, K. Ramanathan,
                                          V. Nadimpalli, R. Esposito, A.Mohammed (A&M), D. Longan
                                          (MetaLab), R. Perubhatla (FTX) to discuss progress on customer
Esposito, Rob          7/6/2023     0.7   Work on claims triage process and procedures

Esposito, Rob          7/6/2023     0.3   Review of comments and responses to the Kroll portal screenshots


Esposito, Rob          7/6/2023     0.6   Review and work on communication materials for the FTX portal
                                          FAQs
Esposito, Rob          7/6/2023     2.1   Review and summary of notable claims for updates to A&M, FTX
                                          and S&C teams
Esposito, Rob          7/6/2023     2.2   Review and analysis of filed claims and claim report estimates

Esposito, Rob          7/6/2023     0.6   Call with O. Bitman, G. Faust, J. Hughes, D. Mapplethorpe, S. Perry,
                                          R. Stitt (Kroll), M. Kenny, D. Longan (MetaLab), R. Perubhatla
                                          (FTX), S. Coverick, K. Ramanathan, M. Flynn, R. Esposito (A&M) to
                                          walk through end to end claims process demo
Esposito, Rob          7/6/2023     0.2   Call with S. Perry, B. Steele, D. Mapplethorpe, D.Malo, J. Hughes,
                                          V. Pratap (Kroll), S. Coverick, S. Kotarba, M. Flynn, K. Ramanathan,
                                          R. Esposito, V Nadimpalli (A&M), D. Longan (MetaLab), R.
                                          Perubhatla (FTX) to discuss progress on customer claims portal



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Claims
Professional               Date     Hours     Activity
Esposito, Rob            7/6/2023     0.4   Discussion with R. Esposito, S. Kotarba, and D. Lewandowski
                                            (A&M) re: claims reconciliation status, amendment updates, and
                                            customer claims process
Esposito, Rob            7/6/2023     0.4   Conference with D Lewandowski and R Esposito (A&M) to discuss
                                            claims triage and reconciliation
Esposito, Rob            7/6/2023     0.9   Review of Statements/Schedules data to prepare for amendments


Esposito, Rob            7/6/2023     0.2   Conference with G Walia and R Esposito (A&M) to discuss pending
                                            customer withdrawals and claim reconciliation
Esposito, Rob            7/6/2023     0.3   Prepare and communicate Kroll portal questions to S&C team


Faett, Jack              7/6/2023     1.2   Working session to review third party loan claims for Alameda
                                            Research Ltd with K. Kearney, J. Faett (A&M)
Flynn, Matthew           7/6/2023     0.5   Call with K. Ramanathan, M. Flynn, A. Mohammed (A&M) and R.
                                            Perubhatla (FTX) to discuss production environment access
Flynn, Matthew           7/6/2023     3.1   Call with M. Flynn, A. Mohammed (A&M), FTX Customer Service
                                            and Integreon teams reviewing operating processes and training
                                            materials
Flynn, Matthew           7/6/2023     0.2   Call with M. Flynn, K. Ramanathan (A&M) to discuss latest customer
                                            support team status
Flynn, Matthew           7/6/2023     0.5   Call with M. Flynn, Q. Zhang, A. Mohammed, V. Nadimpalli (A&M),
                                            Integreon team and Sumsub team to discuss customer portal daily
                                            update
Flynn, Matthew           7/6/2023     0.6   Call with O. Bitman, G. Faust, J. Hughes, D. Mapplethorpe, S. Perry,
                                            R. Stitt (Kroll), M. Kenny, D. Longan (MetaLab), R. Perubhatla
                                            (FTX), S. Coverick, K. Ramanathan, M. Flynn, R. Esposito (A&M) to
                                            walk through end to end claims process demo
Flynn, Matthew           7/6/2023     0.2   Call with S. Perry, B. Steele, D. Mapplethorpe, D. Malo, J. Hughes,
                                            V. Pratap (Kroll), S. Coverick, S. Kotarba, M. Flynn, K. Ramanathan,
                                            R. Esposito, V Nadimpalli (A&M), D. Longan (MetaLab), R.
                                            Perubhatla (FTX) to discuss progress on customer claims porta
Flynn, Matthew           7/6/2023     1.2   Create comparison of Bittrex customer support items against FTX
                                            customer portal
Flynn, Matthew           7/6/2023     1.1   Draft edits on customer support FAQs for customer portal for S&C

Flynn, Matthew           7/6/2023     0.6   Review customer support team access to AWS database fields


Flynn, Matthew           7/6/2023     0.7   Review edits from S&C on legal disclosures for customer claims
                                            portal
Flynn, Matthew           7/6/2023     0.8   Review of Bittrex customer support platform and FAQs

Flynn, Matthew           7/6/2023     0.7   Review of Sumsub KYC/AML test flows for customer portal


Flynn, Matthew           7/6/2023     0.7   Call with D. Chiu, R. Perubhatla, B. Bangerter (FTX), O. Weinberger
                                            (Sygnia), K. Ramanathan, M. Flynn, A. Mohammed (A&M) to
                                            discuss sensitive data access for FTX Customer Service team




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Claims
Professional             Date     Hours     Activity
Francis, Luke          7/6/2023     1.4   Preparation of summary claims updates based on new claims filed

Johnson, Robert        7/6/2023     2.6   Call with M. O'Rourke, D. Longan, M. Carson, J. Espinosa, M.
                                          Kenny, C. Candan, J. Zaleski, E. Coward, E. Swedberg, P. Bodnar
                                          (MetaLab), N. Molina, D. Chiu, R. Perubhatla (FTX) O.Weinberger,
                                          I.Weinberger, D. Litwak (Sygnia), V. Nadimpalli, R. Johnson, A. M
Johnson, Robert        7/6/2023     0.8   Work with portal team on data needs and requests for sample data
                                          for staging environment
Johnson, Robert        7/6/2023     1.3   Respond to questions from Sygnia relating to identification of
                                          customer populations in Customer Portal
Johnson, Robert        7/6/2023     1.6   Review customer balances with Sygnia to confirm accuracy of
                                          display in portal
Kearney, Kevin         7/6/2023     1.2   Working session to review third party loan claims for Alameda
                                          Research Ltd with K. Kearney, J. Faett (A&M)
Konig, Louis           7/6/2023     1.1   Call with L. Konig, P. Kwan, J. Zatz (A&M) to review database script
                                          reconciling main account-level balances with account-level balances
Kotarba, Steve         7/6/2023     1.8   Review and respond to inquiries re filed claims triage


Kotarba, Steve         7/6/2023     1.2   Prepare objection template and protocols re claim objections

Kotarba, Steve         7/6/2023     0.4   Discussion with R. Esposito, S. Kotarba, and D. Lewandowski
                                          (A&M) re: claims reconciliation status, amendment updates, and
                                          customer claims process
Kotarba, Steve         7/6/2023     0.2   Call with S. Perry, B. Steele, D. Mapplethorpe, D.Malo, J. Hughes,
                                          V. Pratap (Kroll), S. Coverick, S. Kotarba, M. Flynn, K. Ramanathan,
                                          R. Esposito, V Nadimpalli (A&M), D. Longan (MetaLab), R.
                                          Perubhatla (FTX) to discuss progress on customer claims portal
Kotarba, Steve         7/6/2023     1.6   Review claims to respond to reviewer inquiries re claim acceptance /
                                          objection
Kwan, Peter            7/6/2023     1.1   Call with L. Konig, P. Kwan, J. Zatz (A&M) to review database script
                                          reconciling main account-level balances with account-level balances
Lewandowski, Douglas   7/6/2023     1.9   Review discrepancies between Kroll creditor information and claims
                                          management creditor contact information to update records in
                                          claims management system
Lewandowski, Douglas   7/6/2023     0.4   Conference with D Lewandowski and R Esposito (A&M) to discuss
                                          claims triage and reconciliation
Lewandowski, Douglas   7/6/2023     0.4   Discussion with R. Esposito, S. Kotarba, and D. Lewandowski
                                          (A&M) re: claims reconciliation status, amendment updates, and
                                          customer claims process
Lewandowski, Douglas   7/6/2023     1.6   Prepare reporting template for claims summary by claim type and
                                          class
Mohammed, Azmat        7/6/2023     0.2   Call with S. Perry, B. Steele and others(Kroll), S. Coverick, S.
                                          Kotarba, M. Flynn, K. Ramanathan, V. Nadimpalli, R. Esposito,
                                          A.Mohammed (A&M), D. Longan (MetaLab), R. Perubhatla (FTX) to
                                          discuss progress on customer claims portal
Mohammed, Azmat        7/6/2023     0.7   Call with D. Chiu, R. Perubhatla, B. Bangerter (FTX), O. Weinberger
                                          (Sygnia), K. Ramanathan, M. Flynn, A. Mohammed (A&M) to
                                          discuss sensitive data access for FTX Customer Service team

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                                  FTX Trading Ltd., et al.,
                           Time Detail by Activity by Professional
                             July 1, 2023 through July 31, 2023


Claims
Professional              Date     Hours     Activity
Mohammed, Azmat         7/6/2023     0.5   Call with D. Longan, M. Kenny, J. Zaleski, P. Bodnar, M. O'Rourke,
                                           J. Espinosa, E.Swedberg, C.Cox, J. Siswick-Clark, E. Coward,
                                           (MetaLab),A. Mohammed (A&M) to discuss regression testing
                                           findings
Mohammed, Azmat         7/6/2023     0.5   Call with K. Ramanathan, M. Flynn, A. Mohammed (A&M) and R.
                                           Perubhatla (FTX) to discuss production environment access
Mohammed, Azmat         7/6/2023     3.1   Call with M. Flynn, A. Mohammed (A&M), FTX Customer Service
                                           and Integreon teams reviewing operating processes and training
                                           materials
Mohammed, Azmat         7/6/2023     2.6   Call with M. O'Rourke, D. Longan, and others (MetaLab), N. Molina,
                                           D. Chiu, R. Perubhatla (FTX) O.Weinberger, I.Weinberger, D. Litwak
                                           (Sygnia), V. Nadimpalli, R. Johnson, A. Mohammed (A&M) to
                                           discuss claims portal workstream progress
Mohammed, Azmat         7/6/2023     0.8   Review and revise portal customer support article language and
                                           copy received from legal and share with FTX Customer Support team
Mohammed, Azmat         7/6/2023     0.2   Call with M. O'Rourke, M. Day, S. Lynch, J. Moore, (MetaLab), K.
                                           Ramanathan, A.Mohammed (A&M) to discuss Metalab production
                                           data access
Mohammed, Azmat         7/6/2023     0.5   Call with M. Flynn, Q. Zhang, A. Mohammed, V. Nadimpalli (A&M),
                                           Integreon team and Sumsub team to discuss customer portal daily
                                           update
Mohammed, Azmat         7/6/2023     0.6   Call with O. Bitman, G. Faust, J. Hughes, D. Mapplethorpe, S. Perry,
                                           R. Stitt (Kroll), M. Kenny, D. Longan (MetaLab), R. Perubhatla
                                           (FTX), S. Coverick, K. Ramanathan, M. Flynn, R. Esposito (A&M) to
                                           walk through end to end claims process demo
Mohammed, Azmat         7/6/2023     1.8   Coordinate development activities around production data access
                                           and cookie/privacy policy content
Mosley, Ed              7/6/2023     0.4   Discussion with J.Stegenga (A&M) regarding claims reconciliation
                                           procedures
Myers, Claire           7/6/2023     1.2   Compare employee wages filed claims to scheduled claims for
                                           claims reconciliation
Myers, Claire           7/6/2023     2.6   Compare employee wages filed claims for claims reconciliation


Myers, Claire           7/6/2023     1.3   Compare open ap filed claims to scheduled claims for claims
                                           reconciliation
Myers, Claire           7/6/2023     2.1   Analyze claims POC to triage filed tax claims


Nadimpalli, Vamsi       7/6/2023     0.5   Call with M. Flynn, Q. Zhang, A. Mohammed, V. Nadimpalli (A&M),
                                           Integreon team and Sumsub team to discuss customer portal daily
                                           update
Nadimpalli, Vamsi       7/6/2023     0.2   Update customer support procedure documentation based on new
                                           information
Nadimpalli, Vamsi       7/6/2023     0.4   Update Jira project board based on work with Metalab


Nadimpalli, Vamsi       7/6/2023     2.9   Update workstreams via email and slack to maintain coordination




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                                FTX Trading Ltd., et al.,
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                           July 1, 2023 through July 31, 2023


Claims
Professional            Date     Hours     Activity
Nadimpalli, Vamsi     7/6/2023     2.6   Call with M. O'Rourke, D. Longan, M. Carson, J. Espinosa, M.
                                         Kenny, C. Candan, J. Zaleski, E. Coward, E. Swedberg, P. Bodnar
                                         (MetaLab), N. Molina, D. Chiu, R. Perubhatla (FTX) O.Weinberger,
                                         I.Weinberger, D. Litwak (Sygnia), V. Nadimpalli, R. Johnson, A. M
Nadimpalli, Vamsi     7/6/2023     0.2   Call with S. Perry, B. Steele, D. Mapplethorpe, D. Malo, J. Hughes,
                                         V. Pratap (Kroll), S. Coverick, S. Kotarba, M. Flynn, K. Ramanathan,
                                         R. Esposito, V Nadimpalli (A&M), D. Longan (MetaLab), R.
                                         Perubhatla (FTX) to discuss progress on customer claims porta
Nadimpalli, Vamsi     7/6/2023     1.2   Work with Metalab on requirements honing for liquid balances

Negus, Matthew        7/6/2023     0.6   Review and drafting of customer claims portal privacy and cookies
                                         notice
Negus, Matthew        7/6/2023     0.9   Further review and drafting of customer claims portal DPIA

Ramanathan, Kumanan   7/6/2023     1.1   Review of legal language on customer portal draft pages and
                                         provide feedback
Ramanathan, Kumanan   7/6/2023     0.6   Call with O. Bitman, G. Faust, J. Hughes, D. Mapplethorpe, S. Perry,
                                         R. Stitt (Kroll), M. Kenny, D. Longan (MetaLab), R. Perubhatla
                                         (FTX), S. Coverick, K. Ramanathan, M. Flynn, R. Esposito (A&M) to
                                         walk through end to end claims process demo
Ramanathan, Kumanan   7/6/2023     0.7   Call with D. Chiu, R. Perubhatla, B. Bangerter (FTX), O. Weinberger
                                         (Sygnia), K. Ramanathan and others (A&M) to discuss sensitive
                                         data access for FTX Customer Service team
Ramanathan, Kumanan   7/6/2023     0.5   Call with K. Ramanathan, M. Flynn, A. Mohammed (A&M) and R.
                                         Perubhatla (FTX) to discuss production environment access
Ramanathan, Kumanan   7/6/2023     0.2   Call with M. O'Rourke, M. Day, S. Lynch, J. Moore, (MetaLab), K.
                                         Ramanathan, A.Mohammed (A&M) to discuss Metalab production
                                         data access
Ramanathan, Kumanan   7/6/2023     0.8   Review of customer bar date e-mail communication graph and
                                         provide feedback
Ramanathan, Kumanan   7/6/2023     0.2   Call with S. Perry, B. Steele, D. Mapplethorpe, D. Malo, J. Hughes,
                                         V. Pratap (Kroll), S. Coverick, S. Kotarba, M. Flynn, K. Ramanathan,
                                         R. Esposito, V Nadimpalli (A&M), D. Longan (MetaLab), R.
                                         Perubhatla (FTX) to discuss progress on customer claims porta
Ramanathan, Kumanan   7/6/2023     0.4   Call with R. Perubhatla (FTX) to discuss customer claims portal
                                         matters
Ramanathan, Kumanan   7/6/2023     0.2   Call with M. Flynn, K. Ramanathan (A&M) to discuss latest customer
                                         support team status
Simoneaux, Nicole     7/6/2023     0.7   Trace employee crypto compensation in regards to filed claims

Simoneaux, Nicole     7/6/2023     0.6   Research employee compensation inquiries in regards to filed claims

Simoneaux, Nicole     7/6/2023     1.8   Size anticipated wages claims based on contractual terms


Simoneaux, Nicole     7/6/2023     0.3   Research prepetition employee listings to track potential claims

Stegenga, Jeffery     7/6/2023     0.4   Discussion w/ Ed Mosley (A&M) re: claims reconciliation procedures



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Claims
Professional             Date     Hours     Activity
Walia, Gaurav          7/6/2023     0.2   Conference with G Walia and R Esposito (A&M) to discuss pending
                                          customer withdrawals and claim reconciliation
Yurchak, Lilia         7/6/2023     0.5   Call with L. Yurchak, L. Chamma (A&M) re: internal customer portal
                                          update
Zatz, Jonathan         7/6/2023     0.9   Correspondence related to reconciliation of account level balances
                                          with main account level balances
Zatz, Jonathan         7/6/2023     1.1   Call with L. Konig, P. Kwan, J. Zatz (A&M) to review database script
                                          reconciling main account-level balances with account-level balances
Zhang, Qi              7/6/2023     0.5   Call with M. Flynn, Q. Zhang, A. Mohammed, V. Nadimpalli (A&M),
                                          Integreon team and Sumsub team to discuss customer portal daily
                                          update
Arora, Rohan           7/7/2023     1.1   Discuss claim structure with R. Arora, C. Okuzu, C. Myers, L.
                                          Francis (A&M)
Arora, Rohan           7/7/2023     0.4   Claims triage kickoff discussion with D. Lewandowski, R. Arora, C.
                                          Okuzu, K. Pestano, L. Hill, and S. Pecen (A&M)
Chambers, Henry        7/7/2023     1.3   Review data protection impact assessment for customer portal


Chambers, Henry        7/7/2023     0.5   Call with H. Chamber Q. Zhang (A&M) and S. Levin (S&C) to
                                          conduct KYC system walk through
Chambers, Henry        7/7/2023     0.4   Correspondence on customer notice for customer portal


Chambers, Henry        7/7/2023     0.7   Correspondence with FTX Japan Management regarding Kroll
                                          customer notice
Chambers, Henry        7/7/2023     0.7   Respond to queries regarding AWS matching in customer portal


Chamma, Leandro        7/7/2023     1.2   Call with Q. Zhang, L. Chamma, L. Yurchak, M. Flynn, A.
                                          Mohammed (A&M), R. Wendlick, A. Porwal, A.Baldwin, I. Anumudu
                                          (Integreon) reviewing KYC standard operating procedures and
                                          policies
Chamma, Leandro        7/7/2023     0.6   Call with R. Perubhatla, P. Laurie (FTX), M. Flynn, Q. Zhang, L.
                                          Chamma, V. Nadimpalli, A. Mohammed (A&M), Integreon, Sumsub,
                                          and MetaLab teams to discuss customer portal daily update
Chamma, Leandro        7/7/2023     1.8   Review of manual review standard operating procedures final
                                          version in the scope of the customer portal manual review vendor
                                          guidance
Chamma, Leandro        7/7/2023     1.4   Test of customer portal KYC workflow in preparation for portal
                                          launch based on latest edits
Coverick, Steve        7/7/2023     1.1   Review and provide comments on ad hoc group holdings analysis
                                          for board
DiNatale, Trevor       7/7/2023     0.3   Review noticing inquiry from S&C related to creditor inclusion in
                                          matrix
DiNatale, Trevor       7/7/2023     0.6   Review claims triage analysis detail


Esposito, Rob          7/7/2023     1.1   Work on non-customer claims reporting presentation

Esposito, Rob          7/7/2023     0.6   Review and comment on the customer claims portal
                                          communications and FAQs

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Claims
Professional            Date     Hours     Activity
Esposito, Rob         7/7/2023     0.3   Research and response to creditor inquiry from the S&C team

Esposito, Rob         7/7/2023     0.8   Review and prepare suggested language to the customer email
                                         notice
Esposito, Rob         7/7/2023     0.7   Call with L Francis and R Esposito (A&M) to discuss claims
                                         reconciliations
Esposito, Rob         7/7/2023     0.4   Review and response to claims triage related questions

Esposito, Rob         7/7/2023     1.2   Review of the updates claims summary report for distribution to
                                         S&C, A&M and FTX mgmt
Esposito, Rob         7/7/2023     0.4   Discussion with R. Esposito, D. Lewandowski, and G. Walia (A&M)
                                         re: treatment of claims related to customers with pending withdrawals
Esposito, Rob         7/7/2023     0.5   Call with S. Perry, B. Steele, D. Mapplethorpe, E. Echevarria, J.
                                         Hughes (Kroll), D. Lewandowski, S. Kotarba, K. Ramanathan, R.
                                         Esposito, A.Mohammed (A&M), R. Perubhatla (FTX) to discuss
                                         progress on customer claims portal
Esposito, Rob         7/7/2023     1.1   Claims triage kickoff discussion with D. Lewandowski, R. Esposito,
                                         K. Pestano, L. Hill and S. Kotarba (A&M)
Esposito, Rob         7/7/2023     0.8   Review of newly filed claims to prepare summary of the more
                                         notable claims
Esposito, Rob         7/7/2023     0.3   Prepare claims review plan and workstream tasks


Flynn, Matthew        7/7/2023     1.2   Perform test on SumSub using test account information for
                                         customer portal
Flynn, Matthew        7/7/2023     1.0   Call with M. Flynn (A&M), E. Swedberg (Metalab), M. Skrebets
                                         (Sumsub) to discuss KYC user flow
Flynn, Matthew        7/7/2023     0.6   Call with M. Flynn, Q. Zhang, A. Mohammed (A&M) to walkthrough
                                         KYC module issues with customer portal
Flynn, Matthew        7/7/2023     1.2   Call with Q. Zhang, L. Chamma, L. Yurchak, M. Flynn, A.
                                         Mohammed (A&M), R. Wendlick, A. Porwal, A.Baldwin, I. Anumudu
                                         (Integreon) reviewing KYC standard operating procedures and
                                         policies
Flynn, Matthew        7/7/2023     0.6   Correspond with FTX finance to finalize SumSub legal entity and
                                         payment wire for customer portal
Flynn, Matthew        7/7/2023     1.2   Review Zendesk application and customer support flow against
                                         training procedures
Flynn, Matthew        7/7/2023     0.5   Review comments regarding customer claims portal

Flynn, Matthew        7/7/2023     0.9   Test customer portal production workflow for bug issues


Flynn, Matthew        7/7/2023     0.7   Call with M. Flynn, Q. Zhang (A&M) to walkthrough KYC test cases
                                         on Sumsub
Flynn, Matthew        7/7/2023     0.6   Call with R. Perubhatla, P. Laurie (FTX), M. Flynn, Q. Zhang, L.
                                         Chamma, V. Nadimpalli, A. Mohammed (A&M), Integreon, Sumsub,
                                         and MetaLab teams to discuss customer portal daily update
Francis, Luke         7/7/2023     0.7   Call with L Francis and R Esposito (A&M) to discuss claims
                                         reconciliations

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Claims
Professional              Date     Hours     Activity
Francis, Luke           7/7/2023     1.3   Updates to claims summary from new claims register for non-
                                           customer claims
Francis, Luke           7/7/2023     1.1   Discuss claim structure with R. Arora, C. Okuzu, C. Myers, L.
                                           Francis (A&M)
Hill, Liam              7/7/2023     0.4   Claims triage kickoff discussion with D. Lewandowski, R. Arora, C.
                                           Okuzu, K. Pestano, L. Hill, and S. Pecen (A&M)
Hill, Liam              7/7/2023     0.2   Claims triage discussion with L. Hill and K. Pestano to discuss
                                           process and approach to reviewing cases
Hill, Liam              7/7/2023     2.7   Claims triage review of non-customer claims for creditor names
                                           starting with "P" & "S" for docketing errors and duplicates
Hill, Liam              7/7/2023     1.1   Claims triage kickoff discussion with D. Lewandowski, R. Esposito,
                                           K. Pestano, L. Hill and S. Kotarba (A&M)
Johnson, Robert         7/7/2023     0.6   Call with O. Weinberger (Sygnia), R. Johnson, J. Zatz, L. Konig,
                                           A.Mohammed (A&M) to discuss balance adjustments for claims
                                           portal
Johnson, Robert         7/7/2023     0.8   Call with M. O'Rourke, D. Longan, M. Carson, J. Espinosa, M.
                                           Kenny, C.Cox, C. Candan, J. Zaleski, E. Coward, E. Swedberg, P.
                                           Bodnar (MetaLab), R. Perubhatla, D. ChiU (FTX) O.Weinberger,
                                           I.Weinberger, D. Litwak (Sygnia), V. Nadimpalli, R. Johnson, A.
                                           Moham
Konig, Louis            7/7/2023     0.6   Call with O. Weinberger (Sygnia), R. Johnson, J. Zatz, L. Konig,
                                           A.Mohammed (A&M) to discuss balance adjustments for claims
                                           portal
Kotarba, Steve          7/7/2023     0.5   Call with S. Perry, B. Steele, D. Mapplethorpe, E. Echevarria, J.
                                           Hughes (Kroll), D. Lewandowski, S. Kotarba, K. Ramanathan, R.
                                           Esposito, A.Mohammed (A&M), R. Perubhatla (FTX) to discuss
                                           progress on customer claims portal
Kotarba, Steve          7/7/2023     1.4   Research customer withdrawals for claims reconciliation


Kotarba, Steve          7/7/2023     1.1   Claims triage kickoff discussion with D. Lewandowski, R. Esposito,
                                           K. Pestano, L. Hill and S. Kotarba (A&M)
Kotarba, Steve          7/7/2023     1.1   Prepare responses to inquiries from the team on the non-customer
                                           claim deck
Lewandowski, Douglas    7/7/2023     0.5   Call with S. Perry, B. Steele, D. Mapplethorpe, E. Echevarria, J.
                                           Hughes (Kroll), D. Lewandowski, S. Kotarba, K. Ramanathan, R.
                                           Esposito, A.Mohammed (A&M), R. Perubhatla (FTX) to discuss
                                           progress on customer claims portal
Lewandowski, Douglas    7/7/2023     0.4   Claims triage kickoff discussion with D. Lewandowski, R. Arora, C.
                                           Okuzu, K. Pestano, L. Hill, and S. Pecen (A&M)
Lewandowski, Douglas    7/7/2023     1.1   Claims triage kickoff discussion with D. Lewandowski, R. Esposito,
                                           K. Pestano, L. Hill and S. Kotarba (A&M)
Lewandowski, Douglas    7/7/2023     0.4   Discussion with R. Esposito, D. Lewandowski, and G. Walia (A&M)
                                           re: treatment of claims related to customers with pending withdrawals
Lewandowski, Douglas    7/7/2023     0.4   Update customer bar date FAQs related to customer portal and
                                           claims submission
Lewandowski, Douglas    7/7/2023     1.6   Work on questions from triage review team related to claims
                                           docketing


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                                  FTX Trading Ltd., et al.,
                           Time Detail by Activity by Professional
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Claims
Professional              Date     Hours     Activity
Mohammed, Azmat         7/7/2023     0.4   Call with J. Espinosa, D. Longan, C.Cox, S.Lynch (MetaLab)
                                           K.Ramanathan, A.Mohammed (A&M) to discuss customer feedback
                                           on claims portal
Mohammed, Azmat         7/7/2023     1.7   Coordinate development activities around production data access,
                                           launch operations, and data environments
Mohammed, Azmat         7/7/2023     0.8   Call with K. Ramanathan, A.Mohammed (A&M) D.Longan, C.Cox,
                                           E.Coward, P. Bodnar, M. Kenny, J. Espinosa (MetaLab) to discuss
                                           final regression testing triage
Mohammed, Azmat         7/7/2023     0.6   Call with M. Flynn, Q. Zhang, A. Mohammed (A&M) to walkthrough
                                           KYC module issues with customer portal
Mohammed, Azmat         7/7/2023     0.8   Call with M. O'Rourke, D. Longan and others (MetaLab), R.
                                           Perubhatla, D. ChiU (FTX) O.Weinberger, I.Weinberger, D. Litwak
                                           (Sygnia), V. Nadimpalli, R. Johnson, A. Mohammed (A&M) to
                                           discuss claims portal workstream progress
Mohammed, Azmat         7/7/2023     0.6   Call with O. Weinberger (Sygnia), R. Johnson, J. Zatz, L. Konig,
                                           A.Mohammed (A&M) to discuss balance adjustments for claims
                                           portal
Mohammed, Azmat         7/7/2023     1.2   Call with Q. Zhang, L. Chamma, L. Yurchak, M. Flynn, A.
                                           Mohammed (A&M), R. Wendlick, A. Porwal, A.Baldwin, I. Anumudu
                                           (Integreon) reviewing KYC standard operating procedures and
                                           policies
Mohammed, Azmat         7/7/2023     0.6   Call with R. Perubhatla, P. Laurie (FTX), M. Flynn, Q. Zhang, L.
                                           Chamma, V. Nadimpalli, A. Mohammed (A&M), Integreon, Sumsub,
                                           and MetaLab teams to discuss customer portal daily update
Mohammed, Azmat         7/7/2023     0.5   Call with S. Perry, B. Steele, D. Mapplethorpe, E. Echevarria, J.
                                           Hughes (Kroll), D. Lewandowski, S. Kotarba, K. Ramanathan, R.
                                           Esposito, A.Mohammed (A&M), R. Perubhatla (FTX) to discuss
                                           progress on customer claims portal
Mohammed, Azmat         7/7/2023     2.4   Coordinate development efforts related to customer feedback and
                                           customer service article copy
Mohammed, Azmat         7/7/2023     1.2   Review queries and discuss data model adjustments to coins and
                                           futures data for claims portal transactional view
Mohammed, Azmat         7/7/2023     0.8   Call with D. Litwak, I. Weinberger (Sygnia), R. Perubhatla (FTX), A.
                                           Mohammed (A&M) to discuss production support access options for
                                           various team members
Mohammed, Azmat         7/7/2023     1.7   Coordinate development efforts related to regression testing
                                           feedback
Mosley, Ed              7/7/2023     1.1   Review of latest update for new material claims and impact on the
                                           plan
Myers, Claire           7/7/2023     1.6   Analyze indemnification claims in order to triage


Myers, Claire           7/7/2023     2.1   Confirm treasury claim details to triage file claims

Myers, Claire           7/7/2023     1.1   Discuss claim structure with R. Arora, C. Okuzu, C. Myers, L.
                                           Francis (A&M)
Nadimpalli, Vamsi       7/7/2023     3.1   Email and slack to maintain coordination between Claims portal
                                           workstreams



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Claims
Professional            Date     Hours     Activity
Nadimpalli, Vamsi     7/7/2023     0.9   Iterate further on customer support procedures documentation and
                                         presentation
Nadimpalli, Vamsi     7/7/2023     0.8   Call with M. O'Rourke, D. Longan, M. Carson, J. Espinosa, M.
                                         Kenny, C.Cox, C. Candan, J. Zaleski, E. Coward, E. Swedberg, P.
                                         Bodnar (MetaLab), R. Perubhatla, D. ChiU (FTX) O.Weinberger,
                                         I.Weinberger, D. Litwak (Sygnia), V. Nadimpalli, R. Johnson, A.
                                         Moham
Nadimpalli, Vamsi     7/7/2023     1.1   Iterate on customer support procedures documentation and
                                         presentation
Nadimpalli, Vamsi     7/7/2023     0.4   Update Jira project board to reflect new changes


Nadimpalli, Vamsi     7/7/2023     1.1   Work with Metalab on requirements gathering for customer support
                                         integration
Nadimpalli, Vamsi     7/7/2023     0.6   Call with R. Perubhatla, P. Laurie (FTX), M. Flynn, Q. Zhang, L.
                                         Chamma, V. Nadimpalli, A. Mohammed (A&M), Integreon, Sumsub,
                                         and MetaLab teams to discuss customer portal daily update
Okuzu, Ciera          7/7/2023     2.6   Review claims for the claims triage process for creditors who start
                                         with GO-MO
Okuzu, Ciera          7/7/2023     1.1   Discuss claim structure with R. Arora, C. Okuzu, C. Myers, L.
                                         Francis (A&M)
Okuzu, Ciera          7/7/2023     0.4   Claims triage kickoff discussion with D. Lewandowski, R. Arora, C.
                                         Okuzu, K. Pestano, L. Hill, and S. Pecen (A&M)
Okuzu, Ciera          7/7/2023     1.4   Analyze claims from non customers who filed against debtor

Pecen, Sena           7/7/2023     1.5   Review latest claims report filed against Debtors and provide
                                         comments
Pestano, Kyle         7/7/2023     2.7   Review claims filed by claimants beginning with S, T, and U for
                                         docketing errors and amend/dupe matches
Pestano, Kyle         7/7/2023     0.9   Review claims triage PowerPoint/excel files related to onboarding
                                         and to understand and finalize approach, and consistency
Pestano, Kyle         7/7/2023     0.2   Claims triage discussion with L. Hill and K. Pestano to discuss
                                         process and approach to reviewing cases
Pestano, Kyle         7/7/2023     0.4   Claims triage kickoff discussion with D. Lewandowski, R. Arora, C.
                                         Okuzu, K. Pestano, L. Hill, and S. Pecen (A&M)
Pestano, Kyle         7/7/2023     1.1   Claims triage kickoff discussion with D. Lewandowski, R. Esposito,
                                         K. Pestano, L. Hill and S. Kotarba (A&M)
Pestano, Kyle         7/7/2023     1.3   Review claims filed by claimants beginning with U, V, and W for
                                         docketing errors and amend/dupe matches
Ramanathan, Kumanan   7/7/2023     0.5   Call with S. Perry, B. Steele, D. Mapplethorpe, E. Echevarria, J.
                                         Hughes (Kroll), D. Lewandowski, S. Kotarba, K. Ramanathan, R.
                                         Esposito, A.Mohammed (A&M), R. Perubhatla (FTX) to discuss
                                         progress on customer claims portal
Ramanathan, Kumanan   7/7/2023     0.8   Call with K. Ramanathan, A.Mohammed (A&M) D.Longan, C.Cox,
                                         E.Coward, P. Bodnar, M. Kenny, J. Espinosa (MetaLab) to discuss
                                         final regression testing triage




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Claims
Professional             Date     Hours     Activity
Ramanathan, Kumanan    7/7/2023     0.4   Call with J. Espinosa, D. Longan, C.Cox, S.Lynch (MetaLab)
                                          K.Ramanathan, A.Mohammed (A&M) to discuss customer feedback
                                          on claims portal
Walia, Gaurav          7/7/2023     0.4   Discussion with R. Esposito, D. Lewandowski, and G. Walia (A&M)
                                          re: treatment of claims related to customers with pending withdrawals
Yurchak, Lilia         7/7/2023     1.7   Review standard operating procedures in preparation for the
                                          customer portal launch
Yurchak, Lilia         7/7/2023     1.2   Call with Q. Zhang, L. Chamma, L. Yurchak, M. Flynn, A.
                                          Mohammed (A&M), R. Wendlick, A. Porwal, A.Baldwin, I. Anumudu
                                          (Integreon) reviewing KYC standard operating procedures and
                                          policies
Zatz, Jonathan         7/7/2023     1.8   Database scripting related to request for top 300 scheduled
                                          customers
Zatz, Jonathan         7/7/2023     0.7   Correspondence related to reconciliation of account level balances
                                          with main account level balances
Zatz, Jonathan         7/7/2023     0.6   Call with O. Weinberger (Sygnia), R. Johnson, J. Zatz, L. Konig,
                                          A.Mohammed (A&M) to discuss balance adjustments for claims
                                          portal
Zhang, Qi              7/7/2023     1.2   Call with Q. Zhang, L. Chamma, L. Yurchak, M. Flynn, A.
                                          Mohammed (A&M), R. Wendlick, A. Porwal, A.Baldwin, I. Anumudu
                                          (Integreon) reviewing KYC standard operating procedures and
                                          policies
Zhang, Qi              7/7/2023     0.6   Call with R. Perubhatla, P. Laurie (FTX), M. Flynn, Q. Zhang, L.
                                          Chamma, V. Nadimpalli, A. Mohammed (A&M), Integreon, Sumsub,
                                          and MetaLab teams to discuss customer portal daily update
Zhang, Qi              7/7/2023     0.5   Call with H. Chamber Q. Zhang (A&M) and S. Levine (S&C) to
                                          conduct KYC system walk through
Chambers, Henry        7/8/2023     0.4   Correspondence with FTX Japan Management regarding Kroll
                                          customer notice
Chambers, Henry        7/8/2023     0.4   Correspondence regarding BitGo communication on customer KYC
                                          status
Esposito, Rob          7/8/2023     0.3   Prepare A&M team comments to customer portal
                                          communications/FAQs to provide to Joele Frank team
Esposito, Rob          7/8/2023     0.8   Work detailed summary for the claim reporting presentation

Esposito, Rob          7/8/2023     1.1   Review administrative claims in preparation of the claims reporting
                                          presentation
Esposito, Rob          7/8/2023     0.2   Correspond with EU team to confirm customer email communication
                                          language
Esposito, Rob          7/8/2023     1.9   Review and triage of customer typed claims to identify loan and
                                          market maker claims
Esposito, Rob          7/8/2023     0.6   Review of secured claims to prepare for claims reporting
                                          presentation
Flynn, Matthew         7/8/2023     0.2   Review updated KYC copy for customer portal

Flynn, Matthew         7/8/2023     0.6   Call with M. Flynn, Q. Zhang, A. Mohammed (A&M) to walkthrough
                                          KYC module issues with customer portal


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Professional             Date     Hours     Activity
Flynn, Matthew         7/8/2023     0.7   Call with M. Flynn, Q. Zhang (A&M) to walkthrough KYC test cases
                                          on Sumsub
Flynn, Matthew         7/8/2023     0.5   Call with A. Gryaznov (Sumsub), S.Lynch, J. Espinosa, J. Zaleski,
                                          D. Longan, M. Kenny (MetaLab), M. Flynn, Q. Zhang, A. Mohammed
                                          (A&M) to discuss changes to Sumsub copy edits and updates for
                                          KYC dialog
Flynn, Matthew         7/8/2023     0.8   Call with M. Flynn, A. Mohammed, K. Ramanathan (A&M) to discuss
                                          SumSub KYC status landing page
Lewandowski, Douglas   7/8/2023     1.3   Review claim typing and update where necessary for claims
                                          summary reporting purposes
Lewandowski, Douglas   7/8/2023     1.2   Review claims asserting secured, priority, or admin status for
                                          potential docketing issues
Mohammed, Azmat        7/8/2023     0.8   Call with M. Flynn, A. Mohammed, K. Ramanathan (A&M) to discuss
                                          SumSub KYC status landing page
Mohammed, Azmat        7/8/2023     0.5   Call with A. Gryaznov (Sumsub), S.Lynch, J. Espinosa, J. Zaleski,
                                          D. Longan, M. Kenny (MetaLab), M. Flynn, Q. Zhang, A. Mohammed
                                          (A&M) to discuss changes to Sumsub copy edits and updates for
                                          KYC dialog
Mohammed, Azmat        7/8/2023     0.8   Coordinate development efforts related to KYC integration of FTX
                                          portal
Ramanathan, Kumanan    7/8/2023     0.8   Call with M. Flynn, A. Mohammed, K. Ramanathan (A&M) to discuss
                                          SumSub KYC status landing page
Zhang, Qi              7/8/2023     0.5   Call with A. Gryaznov (Sumsub), S.Lynch, J. Espinosa, J. Zaleski,
                                          D. Longan, M. Kenny (MetaLab), M. Flynn, Q. Zhang, A. Mohammed
                                          (A&M) to discuss changes to Sumsub copy edits and updates for
                                          KYC dialog
Zhang, Qi              7/8/2023     0.7   Call with M. Flynn, Q. Zhang (A&M) to walkthrough KYC test cases
                                          on Sumsub
Zhang, Qi              7/8/2023     0.6   Call with M. Flynn, Q. Zhang, A. Mohammed (A&M) to walkthrough
                                          KYC module issues with customer portal
Chambers, Henry        7/9/2023     0.9   Review S&C markup on customer claims portal copy

Chambers, Henry        7/9/2023     0.6   Run through of AML go-live checklist pre go live date of customer
                                          portal
Chambers, Henry        7/9/2023     1.4   Update customer service frequently asked questions and stock
                                          responses
Esposito, Rob          7/9/2023     0.1   Prepare and send email to Kroll team for status of the customer
                                          claims portal
Esposito, Rob          7/9/2023     0.9   Review of non-customer claims reporting deck to provide
                                          comments/changes to A&M team
Flynn, Matthew         7/9/2023     0.9   Edit Sumsub workflow for AWS e-mail verification

Flynn, Matthew         7/9/2023     1.2   Review top 200 customer entitlements detail for KYC process


Johnson, Robert        7/9/2023     0.8   Discuss positions balances with Sygnia and how they will be
                                          displayed in Portal



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Professional              Date     Hours     Activity
Johnson, Robert         7/9/2023     0.4   Provide list of EU customers to Sygnia to allow for temporary
                                           blocking of EU customer login
Johnson, Robert         7/9/2023     1.4   Review examples of customer balances to reconcile against
                                           customer portal
Johnson, Robert         7/9/2023     1.2   Review examples of customer balances to confirm balances per
                                           Sygnia request
Kotarba, Steve          7/9/2023     0.6   Review open items and prepare for go-live of customer portal

Lewandowski, Douglas    7/9/2023     1.3   Work on top customers for KYC flagging as manual review in FTX
                                           portal
Lewandowski, Douglas    7/9/2023     1.5   Prepare revised claims summary/detail of currently filed non-
                                           customer claims
Mohammed, Azmat         7/9/2023     0.6   Coordinate development efforts for readying production environment
                                           including user data
Mohammed, Azmat         7/9/2023     0.4   Update comments and review content for customer support FAQ
                                           and articles language
Pestano, Kyle           7/9/2023     1.5   Update claim types for claims filed by claimants beginning with D


Pestano, Kyle           7/9/2023     1.7   Continue to update claim types for claims filed by claimants
                                           beginning with D
Pestano, Kyle           7/9/2023     0.7   Review claims filed by claimants beginning with B and flagged
                                           duplicate claims
Pestano, Kyle           7/9/2023     1.2   Review newly filed claims by claimants beginning with C and D for
                                           docketing errors and amend/dupe matches
Pestano, Kyle           7/9/2023     0.3   Examine claims filed by specific claimants beginning with W, X and
                                           Y and flagged docketing errors and made amend/dupe matches
Pestano, Kyle           7/9/2023     1.4   Perform a high level review of claims filed by claimants beginning
                                           with B-D and S-V
Ramanathan, Kumanan     7/9/2023     1.1   Draft instructions on KYC process for high value accounts

Arora, Rohan           7/10/2023     1.7   Continue claims triage for non-customer claims to identify claim
                                           duplicates and docketing errors
Arora, Rohan           7/10/2023     1.4   Identify and flag duplicates among non customer trade claims

Arora, Rohan           7/10/2023     1.8   Complete initial triage of non-customer trade claims for duplicates
                                           and docketing errors
Arora, Rohan           7/10/2023     2.2   Complete claims triage for non-customer claims to identify claim
                                           duplicates and docketing errors
Arora, Rohan           7/10/2023     0.5   Call with C. Myers, L. Hill, K. Perstano, R. Arora, S. Pecen, C.
                                           Okuzu, T. Hubbard, and D. Lewandowski (A&M) re: claims triage
                                           questions
Chambers, Henry        7/10/2023     0.3   Call with M. Flynn, A. Mohammed, H. Chambers (A&M) to discuss
                                           Sumsub AWS data match workflow
Chambers, Henry        7/10/2023     0.5   Call with H. Chambers, Q. Zhang, M. Negus, D. Sarmiento, R.
                                           Grosvenor (A&M) to discuss customer claims portal privacy impact
                                           assessment

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Claims
Professional            Date    Hours     Activity
Chambers, Henry     7/10/2023     0.7   Call with M. Flynn, H. Chambers, A. Mohammed (A&M), S. Levin
                                        (S&C), FTX customer support, Integreon, Sumsub and Metalab
                                        teams to discuss latest customer portal
Chambers, Henry     7/10/2023     0.3   Call with M. Flynn, H. Chambers, A. Mohammed, Q. Zhang (A&M),
                                        Metalab and Sumsub teams to discuss next steps on fast follow for
                                        AWS match in customer portal
Chambers, Henry     7/10/2023     0.4   Call with M. Flynn, R. Esposito, D. Lewandowski, H. Chambers, A.
                                        Mohammed (A&M) team to discuss customer claims portal and
                                        claims administrator integration
Chambers, Henry     7/10/2023     1.3   Correspondence regarding final KYC flow before go-live


Chambers, Henry     7/10/2023     0.6   Correspondence with FTX Japan management regarding customer
                                        bar date notice
Chambers, Henry     7/10/2023     0.7   Guide team on KYC policy decisions and issues


Chambers, Henry     7/10/2023     1.0   Respond to queries on customer portal KYC process

Chambers, Henry     7/10/2023     0.8   Test Sumsub KYC flow in customer claims portal

Chambers, Henry     7/10/2023     2.9   Troubleshoot KYC vendor and flow issues in run-up to customer
                                        portal go live
Chambers, Henry     7/10/2023     0.4   Call with E. Echevarria, S. Perry and others(Kroll), R. Perubhatla
                                        (FTX), S. Lynch (Metalab), M. Flynn, R. Esposito, D. Lewandowski,
                                        H. Chambers, A. Mohammed (A&M) team to discuss customer
                                        claims portal issues
Chambers, Henry     7/10/2023     0.4   Call with H. Chambers, D. Johnston, M. van den Belt (A&M) to
                                        discuss FTX EU customer portal
Chamma, Leandro     7/10/2023     1.1   Review of excel spreadsheet with rules for quality control of manual
                                        review work in the customer portal scope
Chamma, Leandro     7/10/2023     1.3   Working session with Integreon team to coordinate execution of
                                        customer portal KYC manual review
Chamma, Leandro     7/10/2023     0.7   Working session w/ M. Negus, L. Yurchak, Q. Zhang, L. Chamma
                                        (A&M) re: FTX customer support to discuss KYC status
Chamma, Leandro     7/10/2023     1.2   Test of customer portal flow and logic in preparation for launch

Chamma, Leandro     7/10/2023     1.0   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                        team to discuss KYC manual review process and questions
Chamma, Leandro     7/10/2023     0.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Sumsub
                                        teams on various customer portal testing and KYC flow
Chamma, Leandro     7/10/2023     1.9   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to discuss AWS
                                        data matching flow and testing
Chamma, Leandro     7/10/2023     0.3   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to review
                                        customer support scripts for Integreon
Chamma, Leandro     7/10/2023     0.5   Call with M. Flynn, A. Mohammed, L. Yurchak, Q. Zhang, L.
                                        Chamma (A&M) and Sumsub teams to discuss customer portal KYC
                                        flow fix



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Claims
Professional             Date    Hours     Activity
Esposito, Rob        7/10/2023     0.4   Call with E. Echevarria, S. Perry, V. Pratap, J. Hughes, B. Steele
                                         (Kroll), R. Perubhatla (FTX), S. Lynch (Metalab), M. Flynn, R.
                                         Esposito, D. Lewandowski, H. Chambers, A. Mohammed (A&M)
                                         team to discuss customer claims portal and claims administrator inte
Esposito, Rob        7/10/2023     0.8   Discussion with R. Esposito and D. Lewandowski (A&M) re: portal
                                         status, claims review and reporting
Esposito, Rob        7/10/2023     0.3   Discussion with R. Esposito, D. Lewandowski, and G. Walia (A&M)
                                         re: customer claims issues
Esposito, Rob        7/10/2023     0.3   Research and review on diligence requests for discussion with S&C

Esposito, Rob        7/10/2023     0.4   Prepare draft plan for claimant deposit reconciliations

Esposito, Rob        7/10/2023     0.7   Conference with D Lewandowski and R Esposito (A&M) re: claims
                                         triage and reporting
Esposito, Rob        7/10/2023     0.4   Call with M. Flynn, R. Esposito, D. Lewandowski, H. Chambers, A.
                                         Mohammed (A&M) team to discuss customer claims portal and
                                         claims administrator integration
Esposito, Rob        7/10/2023     0.7   Review communications and prepare for customer bar date mailing

Flynn, Matthew       7/10/2023     0.3   Call with M. Flynn, A. Mohammed, H. Chambers (A&M) to discuss
                                         sumsub AWS data match workflow
Flynn, Matthew       7/10/2023     0.5   Call with M. Flynn, A. Mohammed, L. Yurchak, Q. Zhang, L.
                                         Chamma (A&M) and Sumsub teams to discuss customer portal KYC
                                         flow fix
Flynn, Matthew       7/10/2023     0.4   Call with M. Flynn, A. Mohammed, Q. Zhang (A&M) to discuss FTX
                                         EU customer portal
Flynn, Matthew       7/10/2023     0.7   Call with M. Flynn, H. Chambers, A. Mohammed (A&M), S. Levin
                                         (S&C), FTX customer support, Integreon, Sumsub and Metalab
                                         teams to discuss latest customer portal
Flynn, Matthew       7/10/2023     0.3   Call with M. Flynn, H. Chambers, A. Mohammed, Q. Zhang (A&M),
                                         Metalab and Sumsub teams to discuss next steps on fast follow for
                                         AWS match in customer portal
Flynn, Matthew       7/10/2023     0.2   Call with M. Flynn, Q. Zhang (A&M) to discuss SumSub admin portal

Flynn, Matthew       7/10/2023     0.4   Call with M. Flynn, R. Esposito, D. Lewandowski, H. Chambers, A.
                                         Mohammed (A&M) team to discuss customer claims portal and
                                         claims administrator integration
Flynn, Matthew       7/10/2023     1.6   Conduct tests of retail KYC uploads and provide feedback to Sumsub

Flynn, Matthew       7/10/2023     1.4   Conduct trial runs of users within FTX customer portal

Flynn, Matthew       7/10/2023     0.6   Review and provide comments on customer support unique
                                         customer tracker for portal launch
Flynn, Matthew       7/10/2023     0.9   Review and provide edits on customer support FAQ legal copy




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Claims
Professional              Date     Hours     Activity
Flynn, Matthew         7/10/2023     0.4   Call with E. Echevarria, S. Perry, V. Pratap, J.Huges, B. Steele
                                           (Kroll), R. Perubhatla (FTX), S. Lynch (Metalab), M. Flynn, R.
                                           Esposito, D. Lewandowski, H. Chambers, A. Mohammed (A&M)
                                           team to discuss customer claims portal and claims administrator
                                           integr
Flynn, Matthew         7/10/2023     0.2   Call with M. Flynn, A. Mohammed (A&M) to discuss customer portal
                                           tenant testing
Flynn, Matthew         7/10/2023     0.8   Update customer entitlements tagging in customer portal based on
                                           S&C comments
Flynn, Matthew         7/10/2023     0.6   Review changes made to top customer entitlements data request for
                                           BitGo
Grosvenor, Robert      7/10/2023     0.5   Call with H. Chambers, Q. Zhang, M. Negus, D. Sarmiento, R.
                                           Grosvenor (A&M) to discuss customer claims portal privacy impact
                                           assessment
Hill, Liam             7/10/2023     0.5   Call with C. Myers, L. Hill, K. Perstano, R. Arora, S. Pecen, C.
                                           Okuzu, T. Hubbard, and D. Lewandowski (A&M) re: claims triage
                                           questions
Hill, Liam             7/10/2023     2.9   Review of claims filed by a specific claimant with cross debtor
                                           duplicates - claims were then matched in claims management
                                           system
Hill, Liam             7/10/2023     0.3   Claims triage discussion with L. Hill and K. Pestano re: claims
                                           review and questions
Hill, Liam             7/10/2023     1.3   Continue review of claims filed by a specific claimant with cross
                                           debtor duplicates - claims were then matched in claims
                                           management system
Hubbard, Taylor        7/10/2023     0.5   Call with C. Myers, L. Hill, K. Perstano, R. Arora, S. Pecen, C.
                                           Okuzu, T. Hubbard, and D. Lewandowski (A&M) re: claims triage
                                           questions
Hubbard, Taylor        7/10/2023     3.1   Perform claims triage focusing on the identification of Cross-Debtor
                                           Duplicates
Hubbard, Taylor        7/10/2023     2.6   Conduct claims triage with a primary emphasis on detecting Cross-
                                           Debtor Duplicates
Johnson, Robert        7/10/2023     0.9   Troubleshoot login with YubiKey to live customer portal


Johnson, Robert        7/10/2023     0.8   Discuss display of very small balances and adjustments in portal

Johnston, David        7/10/2023     0.4   Call with H. Chambers, D. Johnston, M. van den Belt (A&M) to
                                           discuss FTX EU customer portal
Kotarba, Steve         7/10/2023     1.1   Assist with go-live of customer portal


Kotarba, Steve         7/10/2023     0.8   Call to discuss customer claim reconciliation platform

Lewandowski, Douglas   7/10/2023     0.4   Call with M. Flynn, R. Esposito, D. Lewandowski, H. Chambers, A.
                                           Mohammed (A&M) team to discuss customer claims portal and
                                           claims administrator integration
Lewandowski, Douglas   7/10/2023     0.8   Review communication materials related to customer bar date
                                           noticing



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Claims
Professional               Date    Hours     Activity
Lewandowski, Douglas   7/10/2023     0.8   Discussion with R. Esposito and D. Lewandowski (A&M) re: portal
                                           status, claims review and reporting
Lewandowski, Douglas   7/10/2023     0.5   Prepare new claim review file for the triage team to prioritize which
                                           will ultimately impact claims reporting and bucketing
Lewandowski, Douglas   7/10/2023     2.1   Revise claims containing multiple components and break out in
                                           claims system for reporting purposes
Lewandowski, Douglas   7/10/2023     1.7   Work on physical address for customer with invalid/bad email
                                           addresses for Kroll noticing
Lewandowski, Douglas   7/10/2023     0.3   Discussion with R. Esposito, D. Lewandowski, and G. Walia (A&M)
                                           re: customer claims issues
Lewandowski, Douglas   7/10/2023     0.3   Correspond with Kroll re: docketing questions on claims filed by
                                           specific claimants
Lewandowski, Douglas   7/10/2023     0.5   Call with C. Myers, L. Hill, K. Perstano, R. Aroara, S. Pecen, C.
                                           Okuzu, T. Hubbard, and D. Lewandowski (A&M) re: claims triage
                                           questions
Lewandowski, Douglas   7/10/2023     0.2   Call with C. Okuzu and D. Lewandowski (A&M) re: claims triage
                                           questions
Lewandowski, Douglas   7/10/2023     0.4   Call with E. Echevarria, S. Perry, V. Pratap, J.Huges, B. Steele
                                           (Kroll), R. Perubhatla (FTX), S. Lynch (Metalab), M. Flynn, R.
                                           Esposito, D. Lewandowski, H. Chambers, A. Mohammed (A&M)
                                           team to discuss customer claims portal and claims administrator
                                           integr
Lewandowski, Douglas   7/10/2023     1.1   Prepare presentation/training materials for FTX non-customer claims
                                           triage review kickoff
Mohammed, Azmat        7/10/2023     1.4   Coordinate portal development efforts related to privacy policy edits
                                           and loading help center
Mohammed, Azmat        7/10/2023     2.6   Coordinate development efforts related to production release and
                                           deployment
Mohammed, Azmat        7/10/2023     0.8   Test production environment integration with claims administrator

Mohammed, Azmat        7/10/2023     1.9   Coordinate portal development efforts related to customer record
                                           tenancy in production data model
Mohammed, Azmat        7/10/2023     1.9   Coordinate portal development efforts related to customer balances
                                           shown in customer claims portal
Mohammed, Azmat        7/10/2023     0.3   Call with M. Flynn, H. Chambers, A. Mohammed, Q. Zhang (A&M),
                                           Metalab and Sumsub teams to discuss next steps on fast follow for
                                           AWS match in customer portal
Mohammed, Azmat        7/10/2023     0.7   Call with M. Flynn, H. Chambers, A. Mohammed (A&M), S. Levin
                                           (S&C), FTX customer support, Integreon, Sumsub and Metalab
                                           teams to discuss latest customer portal
Mohammed, Azmat        7/10/2023     0.4   Call with M. Flynn, A. Mohammed, Q. Zhang (A&M) to discuss FTX
                                           EU customer portal
Mohammed, Azmat        7/10/2023     0.5   Call with M. Flynn, A. Mohammed, L. Yurchak, Q. Zhang, L.
                                           Chamma (A&M) and Sumsub teams to discuss customer portal KYC
                                           flow fix
Mohammed, Azmat        7/10/2023     0.3   Call with M. Flynn, A. Mohammed, H. Chambers (A&M) to discuss
                                           sumsub AWS data match workflow


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Claims
Professional             Date     Hours     Activity
Mohammed, Azmat       7/10/2023     0.2   Call with M. Flynn, A. Mohammed (A&M) to discuss customer portal
                                          tenant testing
Mohammed, Azmat       7/10/2023     0.4   Call with E. Echevarria, S. Perry and others(Kroll), R. Perubhatla
                                          (FTX), S. Lynch (Metalab), M. Flynn, R. Esposito, D. Lewandowski,
                                          H. Chambers, A. Mohammed (A&M) team to discuss customer
                                          claims portal and claims administrator integration
Mohammed, Azmat       7/10/2023     0.2   Call with B. Steele, J. Hughes, E. Echevarria (Kroll) M, Kenny
                                          (MetaLab), R. Esposito, D. Lewandowski, K. Ramanathan, A.
                                          Mohammed (A&M) to discuss claims administration portal testing
Mohammed, Azmat       7/10/2023     0.6   Update mock up screens for FTX EU customer claim portal
                                          customers
Mohammed, Azmat       7/10/2023     0.4   Call with M. Flynn, R. Esposito, D. Lewandowski, H. Chambers, A.
                                          Mohammed (A&M) team to discuss customer claims portal and
                                          claims administrator integration
Myers, Claire         7/10/2023     0.7   Analyze creditor matrix entry for inquiry question from Kroll

Myers, Claire         7/10/2023     0.5   Call with C. Myers, L. Hill, K. Perstano, R. Aroara, S. Pecen, C.
                                          Okuzu, T. Hubbard, and D. Lewandowski (A&M) re: claims triage
                                          questions
Myers, Claire         7/10/2023     1.2   Analyze treasury - equity claims for docketing errors and duplicates

Negus, Matthew        7/10/2023     0.5   Call with H. Chambers, Q. Zhang, M. Negus, D. Sarmiento, R.
                                          Grosvenor (A&M) to discuss customer claims portal privacy impact
                                          assessment
Negus, Matthew        7/10/2023     0.9   Working session w/ M. Negus, L. Yurchak, Q. Zhang, L. Chamma
                                          (A&M) re: FTX customer support to discuss KYC status
Negus, Matthew        7/10/2023     0.8   Modify contents of customer claims portal PIA

Okuzu, Ciera          7/10/2023     1.8   Review of non customer claims for docketing errors and duplicates


Okuzu, Ciera          7/10/2023     2.1   Review of claims to discover docketing errors and duplicates

Okuzu, Ciera          7/10/2023     0.5   Call with C. Myers, L. Hill, K. Perstano, R. Arora, S. Pecen, C.
                                          Okuzu, T. Hubbard, and D. Lewandowski (A&M) re: claims triage
                                          questions
Okuzu, Ciera          7/10/2023     2.4   Focus on accounts payable trade claims for claims triage process


Okuzu, Ciera          7/10/2023     0.2   Call with C. Okuzu and D. Lewandowski (A&M) re: claims triage
                                          questions
Okuzu, Ciera          7/10/2023     1.7   Continue reviewing non customer claims to identify any duplicates
                                          and docketing errors
Pecen, Sena           7/10/2023     0.5   Provide variance of latest claims report filed against Debtors


Pestano, Kyle         7/10/2023     2.3   Flagg duplicate claims filed by claimants beginning with B and
                                          continue to update claims filed by claimants beginning with D
Pestano, Kyle         7/10/2023     1.9   Review bulk claims filed by claimants beginning with B and make
                                          amend/dupe matches


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Claims
Professional             Date     Hours     Activity
Pestano, Kyle         7/10/2023     1.8   Review claims filed by claimants beginning with G, O, and P for
                                          docketing errors and amend/dupe matches
Pestano, Kyle         7/10/2023     0.5   Call with C. Myers, L. Hill, K. Perstano, R. Arora, S. Pecen, C.
                                          Okuzu, T. Hubbard, and D. Lewandowski (A&M) re: claims triage
                                          questions
Pestano, Kyle         7/10/2023     2.7   Review similar claims filed by claimants beginning with P that had
                                          similar subsidiaries and made amend/dupe matches
Pestano, Kyle         7/10/2023     0.3   Claims triage discussion with L. Hill and K. Pestano (A&M) re:
                                          claims review and response to questions
Ramanathan, Kumanan   7/10/2023     1.9   Review and provide direction on customer claims portal issues


Ramanathan, Kumanan   7/10/2023     0.1   Call with J. Ray (FTX), S. Coverick, K. Ramanathan (A&M) to
                                          discuss customer portal
Ramanathan, Kumanan   7/10/2023     0.2   Call with B. Steele, J. Hughes, E. Echevarria (Kroll) M, Kenny
                                          (MetaLab), R. Esposito, D. Lewandowski, K. Ramanathan, A.
                                          Mohammed (A&M) to discuss claims administration portal testing
Ramanathan, Kumanan   7/10/2023     0.7   Review of press release materials for portal launch and provide
                                          feedback
Sarmiento, Dubhe      7/10/2023     0.5   Call with H. Chambers, Q. Zhang, M. Negus, D. Sarmiento, R.
                                          Grosvenor (A&M) to discuss customer claims portal privacy impact
                                          assessment
Sarmiento, Dubhe      7/10/2023     0.3   Set up of DataPrivacy inbox to process data subject rights requests

Sarmiento, Dubhe      7/10/2023     0.2   Review of DataPrivacy inbox to process data subject rights requests


van den Belt, Mark    7/10/2023     0.4   Call with H. Chambers, D. Johnston, M. van den Belt (A&M) to
                                          discuss FTX EU customer portal
Yurchak, Lilia        7/10/2023     1.0   Client travel to Charlotte, NC from New York, NY at 50% billable time


Yurchak, Lilia        7/10/2023     0.5   Call with M. Flynn, A. Mohammed, L. Yurchak, Q. Zhang, L.
                                          Chamma (A&M) and Sumsub teams to discuss customer portal KYC
                                          flow fix
Yurchak, Lilia        7/10/2023     1.0   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                          team to discuss KYC manual review process and questions
Yurchak, Lilia        7/10/2023     0.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Sumsub
                                          teams on various customer portal testing and KYC flow
Yurchak, Lilia        7/10/2023     0.3   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to review
                                          customer support scripts for Integreon
Yurchak, Lilia        7/10/2023     0.7   Working session w/ M. Negus, L. Yurchak, Q. Zhang, L. Chamma
                                          (A&M) re: FTX customer support to discuss KYC status
Yurchak, Lilia        7/10/2023     1.9   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to discuss AWS
                                          data matching flow and testing
Yurchak, Lilia        7/10/2023     1.6   Draft scripts for Integreon's interaction with users

Zatz, Jonathan        7/10/2023     0.9   Database scripting related to request for scheduled customers
                                          above certain threshold


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Professional             Date     Hours     Activity
Zatz, Jonathan        7/10/2023     1.8   Database scripting related to request for evidence of user deposit on
                                          exchange
Zatz, Jonathan        7/10/2023     1.3   Database scripting related to request for list of tickers and their types


Zatz, Jonathan        7/10/2023     0.4   Correspondence related to request to search for individual claiming
                                          to be customer
Zhang, Qi             7/10/2023     0.4   Call with M. Flynn, A. Mohammed, Q. Zhang (A&M) to discuss FTX
                                          EU customer portal
Zhang, Qi             7/10/2023     0.2   Call with M. Flynn, Q. Zhang (A&M) to discuss SumSub admin portal


Zhang, Qi             7/10/2023     0.5   Call with H. Chambers, Q. Zhang, M. Negus, D. Sarmiento, R.
                                          Grosvenor (A&M) to discuss customer claims portal privacy impact
                                          assessment
Zhang, Qi             7/10/2023     0.7   Working session w/ M. Negus, L. Yurchak, Q. Zhang, L. Chamma
                                          (A&M) re: FTX customer support to discuss KYC status
Zhang, Qi             7/10/2023     0.5   Call with M. Flynn, A. Mohammed, L. Yurchak, Q. Zhang, L.
                                          Chamma (A&M) and Sumsub teams to discuss customer portal KYC
                                          flow fix
Arora, Rohan          7/11/2023     1.3   Complete claims triage for customer claims to find docketing errors
                                          and duplicates
Arora, Rohan          7/11/2023     0.7   Identify and flag duplicates among priority customer claims


Arora, Rohan          7/11/2023     1.7   Continue claims triage for customer claims to find docketing errors
                                          and duplicate claims within the claims management system
Arora, Rohan          7/11/2023     1.2   Complete claims triage for non-individual customer claims to find
                                          docketing errors and duplicates
Arora, Rohan          7/11/2023     0.9   Complete claims triage for high priority customer claims to find
                                          docketing errors and duplicates
Chambers, Henry       7/11/2023     0.1   Call with E. Echevarria, S. Perry and others (Kroll), R. Perubhatla
                                          (FTX), S. Lynch, C. Cox (Metalab), M. Flynn, R. Esposito, D.
                                          Lewandowski, H. Chambers, A. Mohammed (A&M) team to discuss
                                          customer claims portal issues
Chambers, Henry       7/11/2023     0.4   Call with H. Chambers, Q. Zhang, L. Chamma (A&M), regarding next
                                          steps on customer portal
Chambers, Henry       7/11/2023     0.8   Correspondence regarding preparation of FTX Japan reporting deck


Chambers, Henry       7/11/2023     0.3   Correspondence regarding KYB vendor contacts

Chambers, Henry       7/11/2023     0.4   Discuss with R. Esposito, D. Lewandowski, K. Ramanathan, S.
                                          Kotarba, H. Chambers, V. Nadimpalli, R. Johnson, M. Flynn (A&M),
                                          R. Perubhatla (RLKS), and Kroll re: customer claims portal and data
                                          transfer files of customer claim data
Chambers, Henry       7/11/2023     0.4   Respond to S&C queries re KYC information request


Chambers, Henry       7/11/2023     1.0   Draft new integreon scripts for customer service response




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Claims
Professional            Date     Hours     Activity
Chambers, Henry      7/11/2023     2.6   Review initial KYC applications via Sumsub on portal go-live for
                                         quality control
Chambers, Henry      7/11/2023     3.1   Troubleshoot KYC vendor and flow issues in run-up to new customer
                                         portal go live date
Chambers, Henry      7/11/2023     0.4   Follow up on Quoine India complaint issue

Chamma, Leandro      7/11/2023     1.2   Monitor customer portal KYC applications after official launch

Chamma, Leandro      7/11/2023     1.7   Draft of customer portal launch day KYC verification metrics


Chamma, Leandro      7/11/2023     2.8   Review of customer profiles automatically rejected by customer
                                         portal KYC system to identify potential issues on the KYC flow
Chamma, Leandro      7/11/2023     2.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                         team to review KYC profiles
Chamma, Leandro      7/11/2023     0.3   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                         team to discuss manual review work
Chamma, Leandro      7/11/2023     0.4   Call with H. Chambers, Q. Zhang, L. Chamma (A&M), regarding next
                                         steps on customer portal
Chamma, Leandro      7/11/2023     1.9   Review of customer profiles automatically approved by customer
                                         portal KYC system to identify potential issues on the KYC flow
Esposito, Rob        7/11/2023     1.2   Manage multiple team issues and workstreams for launch of FTX
                                         and Kroll customer portal
Esposito, Rob        7/11/2023     1.4   Coordination of the FTX customer claims portal launch and open
                                         issues
Esposito, Rob        7/11/2023     0.1   Call with E. Echevarria, S. Perry, V. Pratap, J. Hughes, B. Steele
                                         (Kroll), R. Perubhatla (FTX), S. Lynch, C. Cox (Metalab), M. Flynn,
                                         R. Esposito, D. Lewandowski, H. Chambers, A. Mohammed (A&M)
                                         team to discuss customer claims portal and claims administra
Esposito, Rob        7/11/2023     0.2   Call with A. Mohammed, R. Esposito, K. Ramanathan (A&M) to
                                         discuss portal launch timing
Esposito, Rob        7/11/2023     1.8   Work on and response to customer portal launch workstreams


Esposito, Rob        7/11/2023     0.4   Call with K. Ramanathan, R.Esposito, D. Lewandowski, A.
                                         Mohammed (A&M) to discuss claims data reconciliation process
Esposito, Rob        7/11/2023     0.9   Review and analysis of newly filed claims for report to FTX Mgmt


Esposito, Rob        7/11/2023     0.4   Discussion with R. Esposito, D. Lewandowski, K. Ramanathan, S.
                                         Kotarba, H. Chambers, R. Johnson (A&M), R. Perubhatla (RLKS),
                                         and Kroll re: customer claims portal and data transfer files of
                                         customer claim data
Flynn, Matthew       7/11/2023     0.9   Review institutional customer list for BitGo KYC

Flynn, Matthew       7/11/2023     0.3   Call with M. Flynn, Q. Zhang, A. Mohammed, R. Johnson (A&M) and
                                         Metalab team to discuss customer balances to SumSub
Flynn, Matthew       7/11/2023     1.2   Review database support for sumsub customer balance flags



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Claims
Professional               Date    Hours     Activity
Flynn, Matthew         7/11/2023     0.4   Review and propose solutions for KYC tagging issues with sumsub
                                           team
Flynn, Matthew         7/11/2023     1.3   Monitor production customer portal for customer issues and bugs


Flynn, Matthew         7/11/2023     0.1   Call with E. Echevarria, S. Perry, V. Pratap, J.Huges, B. Steele
                                           (Kroll), R. Perubhatla (FTX), S. Lynch, C. Cox (Metalab), M. Flynn,
                                           R. Esposito, D. Lewandowski, H. Chambers, A. Mohammed (A&M)
                                           team to discuss customer claims portal and claims administrato
Flynn, Matthew         7/11/2023     1.8   Monitor and review customer portal customer support claims on
                                           Zendesk
Flynn, Matthew         7/11/2023     1.1   Review of FTX employee account details for customer portal

Flynn, Matthew         7/11/2023     0.2   Correspondence with SumSub on KYC contract start


Flynn, Matthew         7/11/2023     0.3   Call with M. Flynn, Q. Zhang (A&M) to discuss customer portal KYC
                                           testing
Flynn, Matthew         7/11/2023     0.3   Call with M. Flynn, P. Kwan (A&M) to discuss institutional KYC AWS
                                           data
Flynn, Matthew         7/11/2023     1.9   Review customer portal KYC applications for quality control

Flynn, Matthew         7/11/2023     0.3   Call with M. Flynn, H. Chambers, A. Mohammed, Q. Zhang (A&M),
                                           Metalab and Sumsub teams to discuss next steps on fast follow for
                                           AWS match in customer portal
Flynn, Matthew         7/11/2023     0.4   Call with M. Flynn, A. Mohammed, V. Nadimpalli (A&M), J. Masters
                                           (FTX), Metalab and Sumsub teams to discuss next steps on
                                           customer portal
Flynn, Matthew         7/11/2023     0.4   Discussion with V. Nadimpalli, M. Flynn (A&M)re: data transfer files
                                           of customer claim data
Francis, Luke          7/11/2023     1.1   Updates to claims summary reporting for new claims register

Francis, Luke          7/11/2023     1.4   Review of liabilities for trade payables for alameda silo to compare
                                           to claims
Hill, Liam             7/11/2023     0.4   Claims triage discussion with L. Hill and K. Pestano re: claims
                                           review and questions
Hill, Liam             7/11/2023     2.9   Claims triage review of customer claims for various creditors that
                                           filed claims against debtor
Hill, Liam             7/11/2023     2.7   Continue the claims triage review for customer claims belonging to
                                           various claimants
Hubbard, Taylor        7/11/2023     2.1   Place an emphasis on customer claims while conducting claims
                                           triage
Hubbard, Taylor        7/11/2023     1.4   Conduct claims triage process, directing attention towards customer
                                           claims for claimant names beginning with B for reporting purposes
Hubbard, Taylor        7/11/2023     2.6   Concentrate on customer claims during the claims triage process

Hubbard, Taylor        7/11/2023     1.3   Work on an initial review of customer claims with claimant names
                                           beginning with A for classification and reporting purposes


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Claims
Professional              Date     Hours     Activity
Johnson, Robert        7/11/2023     0.3   Call with M. Flynn, Q. Zhang, A. Mohammed, R. Johnson (A&M) and
                                           Metalab team to discuss customer balances to SumSub
Johnson, Robert        7/11/2023     1.8   Provide list of USD balances to allow for flagging of customers for
                                           SumSub calls
Johnston, David        7/11/2023     0.7   Review and prepare correspondence relating to FTX EU Ltd.
                                           updates to customer balance website
Kotarba, Steve         7/11/2023     1.7   Work preparation and readiness of go-live of customer portal

Kotarba, Steve         7/11/2023     0.4   Discussion with R. Esposito, D. Lewandowski, K. Ramanathan, S.
                                           Kotarba, H. Chambers, R. Johnson (A&M), R. Perubhatla (RLKS),
                                           and Kroll re: customer claims portal and data transfer files of
                                           customer claim data
Lewandowski, Douglas   7/11/2023     1.6   Work on summarizing quantum of specific customer ticker


Lewandowski, Douglas   7/11/2023     0.8   Working session with triage review team on open issues/questions

Lewandowski, Douglas   7/11/2023     2.6   Work on open issues related to customer claims portal launch


Lewandowski, Douglas   7/11/2023     1.5   Work on incorporating Kroll's revised claims register in claims
                                           management system
Lewandowski, Douglas   7/11/2023     0.4   Discussion with R. Esposito, D. Lewandowski, K. Ramanathan, S.
                                           Kotarba, H. Chambers, R. Johnson (A&M), R. Perubhatla (RLKS),
                                           and Kroll re: customer claims portal and data transfer files of
                                           customer claim data
Lewandowski, Douglas   7/11/2023     0.4   Call with K. Ramanathan, R.Esposito, D. Lewandowski, A.
                                           Mohammed (A&M) to discuss claims data reconciliation process
Lewandowski, Douglas   7/11/2023     0.1   Call with E. Echevarria, S. Perry, V. Pratap, J.Huges, B. Steele
                                           (Kroll), R. Perubhatla (FTX), S. Lynch, C. Cox (Metalab), M. Flynn,
                                           R. Esposito, D. Lewandowski, H. Chambers, A. Mohammed (A&M)
                                           team to discuss customer claims portal and claims administrato
Lewandowski, Douglas   7/11/2023     1.3   Prepare high level summary of remaining initial claims review tasks

Mohammed, Azmat        7/11/2023     0.1   Call with E. Echevarria, S. Perry and others (Kroll), R. Perubhatla
                                           (FTX), S. Lynch, C. Cox (Metalab), M. Flynn, R. Esposito, D.
                                           Lewandowski, H. Chambers, A. Mohammed (A&M) team to discuss
                                           customer claims portal and claims administrator integration
Mohammed, Azmat        7/11/2023     1.1   Call with C. Cox, D. Longan, J. Zaleski and others (Metalab), K.
                                           Ramanathan, A. Mohammed (A&M), O. Weinberger (Sygnia), D.
                                           Chiu (FTX) to discuss customer portal launch
Mohammed, Azmat        7/11/2023     0.4   Call with M. Flynn, A. Mohammed, V. Nadimpalli (A&M), J. Masters
                                           (FTX), Metalab and Sumsub teams to discuss next steps on
                                           customer portal
Mohammed, Azmat        7/11/2023     0.2   Call with A. Mohammed, R. Esposito, K. Ramanathan (A&M) to
                                           discuss portal launch timing
Mohammed, Azmat        7/11/2023     0.4   Call with K. Ramanathan, R.Esposito, D. Lewandowski, A.
                                           Mohammed (A&M) to discuss claims data reconciliation process
Mohammed, Azmat        7/11/2023     0.3   Call with M. Flynn, Q. Zhang, A. Mohammed, R. Johnson (A&M) and
                                           Metalab team to discuss customer balances to SumSub

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Claims
Professional             Date     Hours     Activity
Mohammed, Azmat       7/11/2023     2.9   Coordinate development efforts for production deployment of
                                          customer claims portal
Mohammed, Azmat       7/11/2023     1.4   Coordinate development efforts related to disabling potential risk
                                          vectors on customer claims portal
Mohammed, Azmat       7/11/2023     2.6   Coordinate development efforts related to distributing load and
                                          scaling infrastructure for customer claims portal
Mohammed, Azmat       7/11/2023     1.1   Coordinate development efforts related to KYC integration and
                                          tagging logic with developers
Mohammed, Azmat       7/11/2023     1.7   Coordinate development efforts related to switching email providers
                                          used for customer claims portal
Mohammed, Azmat       7/11/2023     1.3   Coordinate portal development efforts related to production
                                          integration testing with claims administrator
Mohammed, Azmat       7/11/2023     0.3   Review customer support article copy and share with legal


Nadimpalli, Vamsi     7/11/2023     0.4   Call with M. Flynn, A. Mohammed, V. Nadimpalli (A&M), J. Masters
                                          (FTX), Metalab and Sumsub teams to discuss next steps on
                                          customer portal
Nadimpalli, Vamsi     7/11/2023     0.4   Discussion with V. Nadimpalli, M. Flynn (A&M)re: data transfer files
                                          of customer claim data
Negus, Matthew        7/11/2023     1.5   Further modified contents of customer claims portal PIA


Okuzu, Ciera          7/11/2023     2.6   Prioritize claims triage for legal and accounts payable claims from
                                          non customers
Okuzu, Ciera          7/11/2023     2.8   Analyze claims made by creditors identifying as non customers


Pestano, Kyle         7/11/2023     2.3   Review claims filed by claimants beginning with AN-AR for docketing
                                          errors and duplicates
Pestano, Kyle         7/11/2023     0.4   Review claims filed by claimants beginning with BE - BO to identify
                                          docketing errors
Pestano, Kyle         7/11/2023     2.8   Investigate claims filed by claimants with similar subsidiaries
                                          beginning with P to find duplicates
Pestano, Kyle         7/11/2023     0.4   Claims triage discussion with L. Hill and K. Pestano (A&M) re:
                                          claims review and response to questions
Pestano, Kyle         7/11/2023     0.9   Continue to examine bulk claims filed by claimants beginning with B
                                          to find docketing errors and matches
Pestano, Kyle         7/11/2023     2.8   Examine claims filed by claimants beginning with Be - Bo, to identify
                                          duplicates and flag docketing errors
Pestano, Kyle         7/11/2023     2.4   Examine claims filed by claimants beginning with AM-AN for
                                          docketing errors and duplicates
Ramanathan, Kumanan   7/11/2023     2.8   Review, monitor and provide feedback on various customer portal
                                          launch issues
Ramanathan, Kumanan   7/11/2023     1.1   Call with C. Cox, D. Longan, J. Zaleski and others (Metalab), K.
                                          Ramanathan, A. Mohammed (A&M), O. Weinberger (Sygnia), D.
                                          Chiu (FTX) to discuss customer portal launch
Ramanathan, Kumanan   7/11/2023     0.4   Call with K. Ramanathan, R.Esposito, D. Lewandowski, A.
                                          Mohammed (A&M) to discuss claims data reconciliation process

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Claims
Professional              Date    Hours     Activity
Ramanathan, Kumanan   7/11/2023     0.5   Call with R. Perubhatla (FTX) to discuss customer claims portal

Ramanathan, Kumanan   7/11/2023     0.6   Coordinate with JF team on public tweet and press release materials
                                          for claims portal
Ramanathan, Kumanan   7/11/2023     0.2   Call with A. Mohammed, R. Esposito, K. Ramanathan (A&M) to
                                          discuss portal launch timing
Ramanathan, Kumanan   7/11/2023     0.8   Research and correspond on limitations of portal infrastructure

Ramanathan, Kumanan   7/11/2023     1.6   Various discussions with portal launch development team as issues
                                          arise
Ramanathan, Kumanan   7/11/2023     0.4   Discussion with R. Esposito, D. Lewandowski, K. Ramanathan, S.
                                          Kotarba, H. Chambers, R. Johnson (A&M), R. Perubhatla (RLKS),
                                          and Kroll re: customer claims portal and data transfer files of
                                          customer claim data
Sarmiento, Dubhe      7/11/2023     1.8   Preparation of Amendment to Data Processing Agreement to ensure
                                          an adequate level of protection for EU/UK personal data transferred
                                          to Integreon’s US operations
Sarmiento, Dubhe      7/11/2023     0.2   Preparation of the EU approved standard contractual clauses and
                                          UK SCC Addendum, to ensure an adequate level of protection for
                                          EU/UK personal data transferred to Integreon’s US operations
Yurchak, Lilia        7/11/2023     2.1   Review KYC applications submitted by Russian and Ukrainian
                                          nationals for POA from embargoed jurisdictions
Yurchak, Lilia        7/11/2023     1.7   Review KYC applications for abnormalities in Sumsub's process flow

Yurchak, Lilia        7/11/2023     2.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                          team to review KYC profiles
Zatz, Jonathan        7/11/2023     0.8   Correspondence regarding query to aggregate balances by main
                                          account ID to match portal
Zhang, Qi             7/11/2023     0.4   Call with H. Chambers, Q. Zhang, L. Chamma (A&M), regarding next
                                          steps on customer portal
Zhang, Qi             7/11/2023     1.0   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                          team to discuss KYC manual review process and questions
Zhang, Qi             7/11/2023     0.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Sumsub
                                          teams on various customer portal testing and KYC flow
Zhang, Qi             7/11/2023     1.9   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to discuss AWS
                                          data matching flow and testing
Zhang, Qi             7/11/2023     0.3   Call with M. Flynn, H. Chambers, A. Mohammed, Q. Zhang (A&M),
                                          Metalab and Sumsub teams to discuss next steps on fast follow for
                                          AWS match in customer portal
Zhang, Qi             7/11/2023     0.3   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to review
                                          customer support scripts for Integreon
Arora, Rohan          7/12/2023     0.3   Identify and flag duplicates among non customer legal claims


Arora, Rohan          7/12/2023     1.3   Complete claims triage for newly filed non customer legal claims to
                                          identify claim duplicates and docketing errors
Arora, Rohan          7/12/2023     0.9   Complete claims triage for non customer legal claims to identify
                                          claim duplicates and docketing errors

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Claims
Professional           Date     Hours     Activity
Arora, Rohan        7/12/2023     1.4   Continue claims triage for non customer legal claims to identify
                                        claim duplicates and docketing errors
Arora, Rohan        7/12/2023     0.3   Discussion with D. Lewandowski, T. Hubbard, K. Pestano, R. Arora
                                        (A&M) re: claims triage
Arora, Rohan        7/12/2023     2.2   Complete claims triage for non customer Legal claims from a single
                                        claimant to identify claim duplicates and docketing errors
Arora, Rohan        7/12/2023     1.8   Review non customer legal claims to identify claim duplicates and
                                        docketing errors
Arora, Rohan        7/12/2023     1.9   Continue the review of non customer legal claims to identify claim
                                        duplicates and docketing errors
Chambers, Henry     7/12/2023     1.0   Call with L. Yurchak, H. Chambers, L. Chamma, M. Flynn, V.
                                        Nadimpalli, Q. Zhang, A. Mohammed (A&M) and Sumsub, MetaLab,
                                        and Integreon team to discuss customer claims portal collaborative
                                        integration on daily touchbase
Chambers, Henry     7/12/2023     0.9   Review updated privacy impact assessment

Chambers, Henry     7/12/2023     1.2   Respond to queries on customer portal KYC process


Chambers, Henry     7/12/2023     0.6   Update daily KYC statistics template

Chambers, Henry     7/12/2023     0.2   Call with S. Perry, D. Mapplethorpe and others (Kroll), R. Perubhatla
                                        (FTX), C. Cox (Metalab), S. Kotarba, M. Flynn, R. Esposito, D.
                                        Lewandowski, H. Chambers, A. Mohammed (A&M) team to discuss
                                        customer claims portal issues
Chambers, Henry     7/12/2023     1.8   Correspondence regarding update to portal privacy language


Chambers, Henry     7/12/2023     1.7   Review Sumsub KYC applications for any flow issues

Chambers, Henry     7/12/2023     0.8   Finalize integreon customer service scripts for customer portal
                                        queries
Chambers, Henry     7/12/2023     0.2   Call with M. Flynn, H, Chambers, Q. Zhang (A&M) to discuss KYC
                                        customer balance flag
Chambers, Henry     7/12/2023     0.4   Correspondence with S&C regarding customer portal launch

Chamma, Leandro     7/12/2023     0.2   Call with Q. Zhang and L. Chamma (A&M) to discuss AML hits
                                        issues found on customer portal KYC review
Chamma, Leandro     7/12/2023     3.2   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                        team to facilitate training on manual review approach
Chamma, Leandro     7/12/2023     1.0   Call with L. Yurchak, H. Chambers, L. Chamma, M. Flynn, V.
                                        Nadimpalli, Q. Zhang, A. Mohammed (A&M) and Sumsub, MetaLab,
                                        and Integreon team to discuss customer claims portal collaborative
                                        integration on daily touchbase
Chamma, Leandro     7/12/2023     1.7   Monitor customer portal KYC applications after customer portal
                                        relaunch
Chamma, Leandro     7/12/2023     0.8   Review of customer profiles rejected by KYC vendor because of
                                        possible forgery



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Claims
Professional            Date     Hours     Activity
Chamma, Leandro      7/12/2023     0.6   Review of customer profiles rejected by KYC vendor because of
                                         possible invalid proof of address provided
Chamma, Leandro      7/12/2023     2.1   Review of customer profiles rejected by KYC vendor because of
                                         possible duplicate application
Esposito, Rob        7/12/2023     0.6   Prepare for Customer Claims Portal relaunch

Esposito, Rob        7/12/2023     1.6   Review and analysis of timely filed legal claims

Esposito, Rob        7/12/2023     0.2   Call with S. Perry, D. Mapplethorpe,V. Pratap, J. Karotkin, J.
                                         Hughes, B. Steele (Kroll), R. Perubhatla (FTX), C. Cox (Metalab), S.
                                         Kotarba, M. Flynn, R. Esposito, D. Lewandowski, H. Chambers, A.
                                         Mohammed (A&M) team to discuss customer claims portal
Esposito, Rob        7/12/2023     1.3   Work on customer portal launch issues, workstreams and status
                                         reporting thereof
Esposito, Rob        7/12/2023     0.7   Work on claims portal communications and FAQs

Flynn, Matthew       7/12/2023     1.4   Review Zendesk support tickets with customer support


Flynn, Matthew       7/12/2023     1.4   Troubleshoot customer portal issues on relaunch

Flynn, Matthew       7/12/2023     1.0   Call with H. Chambers, L. Chamma, M. Flynn, V. Nadimpalli, Q.
                                         Zhang, A. Mohammed (A&M) and Sumsub, MetaLab, and Integreon
                                         team to discuss customer claims portal collaborative integration on
                                         daily touchbase
Flynn, Matthew       7/12/2023     1.2   Review SumSub admin portal for customer rejections


Flynn, Matthew       7/12/2023     0.4   Review S&C KYC reporting results and template

Flynn, Matthew       7/12/2023     1.4   Review KYC tagging with updated customer balances in sumsub

Flynn, Matthew       7/12/2023     0.3   Review BitGo institutional KYC landing page for customer portal


Flynn, Matthew       7/12/2023     0.3   Review API feed of Liquid balances in the customer balance tables
                                         for customer portal
Flynn, Matthew       7/12/2023     0.6   Reconcile changes made within sumsub based on enhanced due
                                         diligence customer flags
Flynn, Matthew       7/12/2023     1.2   Investigate differences between balance and positions tables for
                                         USD equivalent values for customer portal
Flynn, Matthew       7/12/2023     0.4   Call with M. Flynn, R. Johnson, A. Mohammed (A&M) and Metalab
                                         team to discuss liquid customer data for portal
Flynn, Matthew       7/12/2023     1.0   Call with L. Yurchak, H. Chambers, L. Chamma, M. Flynn, V.
                                         Nadimpalli, Q. Zhang, A. Mohammed (A&M) and Sumsub, MetaLab,
                                         and Integreon team to discuss customer claims portal collaborative
                                         integration on daily touch base
Flynn, Matthew       7/12/2023     0.3   Call with M. Flynn, A. Mohammed, R. Johnson (A&M), FTX and
                                         Metalab teams to discuss customer balance data



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Claims
Professional              Date     Hours     Activity
Flynn, Matthew         7/12/2023     0.2   Call with M. Flynn, H, Chambers, Q. Zhang (A&M) to discuss KYC
                                           customer balance flag
Flynn, Matthew         7/12/2023     0.3   Call with M. Flynn, Q. Zhang (A&M) to discuss customer portal KYC
                                           testing
Flynn, Matthew         7/12/2023     0.3   Call with M. Flynn, R. Johnson (A&M) to discuss liquid customer
                                           data
Flynn, Matthew         7/12/2023     0.6   Call with O. Weinberger (Sygnia) J. Zaleski, J. Espinosa, C. Cox
                                           (MetaLab), R. Johnson, Q. Zhang, M. Flynn, A.Mohammed (A&M) to
                                           discuss kyc vendor flag for high net worth accounts
Flynn, Matthew         7/12/2023     0.3   Call with M. Flynn, Q. Zhang, A. Mohammed, R. Johnson (A&M) and
                                           Metalab team to discuss customer balances to SumSub
Flynn, Matthew         7/12/2023     0.2   Call with S. Perry, D. Mapplethorpe,V. Pratap, J. Karotkin, J.
                                           Hughes, B. Steele (Kroll), R. Perubhatla (FTX), C. Cox (Metalab), S.
                                           Kotarba, M. Flynn, R. Esposito, D. Lewandowski, H. Chambers, A.
                                           Mohammed (A&M) team to discuss customer claims portal and c
Francis, Luke          7/12/2023     1.1   Provide summary updates for claims filed based on latest claims
                                           register
Hill, Liam             7/12/2023     1.6   Continue review of claims filed by specific creditor to identify cross-
                                           debtor duplicates and complete corresponding matching field in the
                                           claims management system
Hill, Liam             7/12/2023     3.1   Review claims filed by specific claimant to identify cross-debtor
                                           duplicates and update matching in the claims management system
Hill, Liam             7/12/2023     1.5   Claims triage review of customer claims for various creditors

Hill, Liam             7/12/2023     0.3   Discussion with S. Kotarba, C. Myers, C. Okuzu, and L. Hill (A&M)
                                           re: claims triage
Hill, Liam             7/12/2023     2.4   Review claims filed by specific claimant to identify cross-debtor
                                           duplicates and complete corresponding matching in claims
                                           management system
Hubbard, Taylor        7/12/2023     2.9   Perform claims triage process focusing on Legal-Contract Claims

Hubbard, Taylor        7/12/2023     0.6   Execute a claims triage process with a primary emphasis on Legal-
                                           Contract Claims
Hubbard, Taylor        7/12/2023     1.6   Give priority to customer claims as the main focus of claims triage

Hubbard, Taylor        7/12/2023     0.3   Discussion with D. Lewandowski, T. Hubbard, K. Pestano, R. Arora
                                           (A&M) re: claims triage
Hubbard, Taylor        7/12/2023     3.1   Place a primary focus on handling Legal-Contract Claims during the
                                           claims triage procedure
Hubbard, Taylor        7/12/2023     0.4   Prioritize Legal-Contract Claims during the claims triage process

Johnson, Robert        7/12/2023     0.4   Call with V. Nadimpalli, R. Johnson, A. Mohammed (A&M), R.
                                           Perubhatla, D. Chiud, N. Molina (FTX) and MetaLab team to discuss
                                           development activities related to customer claims portal on daily
                                           standup
Johnson, Robert        7/12/2023     0.9   Confirm zero balance for 15 customers to confirm results being
                                           displayed in Customer Portal


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Claims
Professional              Date     Hours     Activity
Johnson, Robert        7/12/2023     0.6   Call with O. Weinberger (Sygnia) J. Zaleski, J. Espinosa, C. Cox
                                           (MetaLab), R. Johnson, Q. Zhang, M. Flynn, A.Mohammed (A&M) to
                                           discuss kyc vendor flag for high net worth accounts
Johnson, Robert        7/12/2023     0.4   Call with M. Flynn, R. Johnson, A. Mohammed (A&M) and Metalab
                                           team to discuss liquid customer data for portal
Johnson, Robert        7/12/2023     0.3   Call with M. Flynn, R. Johnson (A&M) to discuss liquid customer data


Johnson, Robert        7/12/2023     0.3   Call with M. Flynn, A. Mohammed, R. Johnson (A&M), FTX and
                                           Metalab teams to discuss customer balance data
Johnston, David        7/12/2023     0.6   Review and update weekly claims report for FTX Europe, prepare
                                           related correspondence
Johnston, David        7/12/2023     0.4   Review updated claims summary for FTX Europe, provide comments

Kotarba, Steve         7/12/2023     0.2   Call with S. Perry, D. Mapplethorpe,V. Pratap, J. Karotkin, J.
                                           Hughes, B. Steele (Kroll), R. Perubhatla (FTX), C. Cox (Metalab), S.
                                           Kotarba, M. Flynn, R. Esposito, D. Lewandowski, H. Chambers, A.
                                           Mohammed (A&M) team to discuss customer claims portal and c
Kotarba, Steve         7/12/2023     0.3   Discussion with S. Kotarba, C. Myers, C. Okuzu, and L. Hill (A&M)
                                           re: claims triage
Kotarba, Steve         7/12/2023     1.0   Respond to inquiries and review results re non-customer claim
                                           review
Lewandowski, Douglas   7/12/2023     1.7   Work on customer claims portal issues in preparation for go live

Lewandowski, Douglas   7/12/2023     1.2   Work on revised claims triage schedule to prioritize certain claim
                                           type review
Lewandowski, Douglas   7/12/2023     0.9   Review customer claims portal documentation for FAQs

Lewandowski, Douglas   7/12/2023     0.1   Work on S&C questions related to specific customer scheduling
                                           diligence
Lewandowski, Douglas   7/12/2023     1.1   Work on triage reviewer questions related to specific claims and
                                           matching strategy to correctly report estimated claim amounts
Lewandowski, Douglas   7/12/2023     1.7   Review contract claims to identify claims filed by rejected contract
                                           counterparties
Lewandowski, Douglas   7/12/2023     2.1   Review claims that were recategorized to identify variances


Lewandowski, Douglas   7/12/2023     0.3   Discussion with D. Lewandowski, T. Hubbard, K. Pestano, R. Arora
                                           (A&M) re: claims triage
Lewandowski, Douglas   7/12/2023     0.2   Call with S. Perry, D. Mapplethorpe,V. Pratap, J. Karotkin, J.
                                           Hughes, B. Steele (Kroll), R. Perubhatla (FTX), C. Cox (Metalab), S.
                                           Kotarba, M. Flynn, R. Esposito, D. Lewandowski, H. Chambers, A.
                                           Mohammed (A&M) team to discuss customer claims portal and c
Mohammed, Azmat        7/12/2023     1.0   Call with L. Yurchak, H. Chambers, L. Chamma, M. Flynn, V.
                                           Nadimpalli, Q. Zhang, A. Mohammed (A&M) and Sumsub, MetaLab,
                                           and Integreon team to discuss customer claims portal collaborative
                                           integration on daily touchbase
Mohammed, Azmat        7/12/2023     0.7   Call with K. Ramanathan, A. Mohammed (A&M) and MetaLab team
                                           to review regression testing feedback and portal launch features


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Claims
Professional             Date     Hours     Activity
Mohammed, Azmat       7/12/2023     0.4   Call with M. Flynn, R. Johnson, A. Mohammed (A&M) and Metalab
                                          team to discuss liquid customer data for portal
Mohammed, Azmat       7/12/2023     0.6   Call with K. Ramanathan, A. Mohammed (A&M) and MetaLab team
                                          to review CAPTCHA functionality for customer portal launch
Mohammed, Azmat       7/12/2023     0.3   Call with M. Flynn, A. Mohammed, R. Johnson (A&M), FTX and
                                          Metalab teams to discuss customer balance data
Mohammed, Azmat       7/12/2023     0.6   Call with O. Weinberger (Sygnia) J. Zaleski, J. Espinosa, C. Cox
                                          (MetaLab), R. Johnson, Q. Zhang, M. Flynn, A.Mohammed (A&M) to
                                          discuss kyc vendor flag for high net worth accounts
Mohammed, Azmat       7/12/2023     0.2   Call with S. Perry, D. Mapplethorpe and others (Kroll), R. Perubhatla
                                          (FTX), C. Cox (Metalab), S. Kotarba, M. Flynn, R. Esposito, D.
                                          Lewandowski, H. Chambers, A. Mohammed (A&M) team to discuss
                                          customer claims portal and claims administrator integration
Mohammed, Azmat       7/12/2023     0.4   Call with V. Nadimpalli, R. Johnson, A. Mohammed (A&M), R.
                                          Perubhatla, D. Chiud, N. Molina (FTX) and MetaLab team to discuss
                                          development activities related to customer claims portal on daily
                                          standup
Mohammed, Azmat       7/12/2023     1.8   Coordinate development efforts related to KYC integration and
                                          tagging logic with developers
Mohammed, Azmat       7/12/2023     2.2   Coordinate development efforts related to production data and
                                          environment testing
Mohammed, Azmat       7/12/2023     2.7   Coordinate development efforts related to production launch and
                                          release
Mohammed, Azmat       7/12/2023     1.4   Monitor production environment and infrastructure compute loads


Mohammed, Azmat       7/12/2023     1.7   Monitor production usage of production portal users accessing the
                                          kyc vendor and errors generated
Mohammed, Azmat       7/12/2023     1.8   Review customer service support flows and admin portal
                                          functionality
Mohammed, Azmat       7/12/2023     1.3   Test production environment integration for CAPTCHA flow bugs

Myers, Claire         7/12/2023     0.3   Discussion with S. Kotarba, C. Myers, C. Okuzu, and L. Hill (A&M)
                                          re: claims triage
Nadimpalli, Vamsi     7/12/2023     1.0   Call with L. Yurchak, H. Chambers, L. Chamma, M. Flynn, V.
                                          Nadimpalli, Q. Zhang, A. Mohammed, L. Yurchak (A&M) and
                                          Sumsub, MetaLab, and Integreon team to discuss customer claims
                                          portal collaborative integration on daily touch base
Nadimpalli, Vamsi     7/12/2023     0.4   Call with V. Nadimpalli, R. Johnson, A. Mohammed (A&M), R.
                                          Perubhatla, D. Chiud, N. Molina (FTX) and MetaLab team to discuss
                                          development activities related to customer claims portal on daily
                                          standup
Okuzu, Ciera          7/12/2023     2.6   Conduct a preliminary assessment of non customer claims for
                                          claims triage
Okuzu, Ciera          7/12/2023     2.9   Continue the examination of claims from non customers for
                                          docketing errors
Okuzu, Ciera          7/12/2023     0.3   Discussion with S. Kotarba, C. Myers, C. Okuzu, and L. Hill (A&M)
                                          re: claims triage


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Claims
Professional             Date     Hours     Activity
Okuzu, Ciera          7/12/2023     1.2   Execute claims triage to identify docketing errors for claims that are
                                          labeled as priority
Pestano, Kyle         7/12/2023     2.8   Examine claims filed by claimants with similar subsidiaries beginning
                                          with P to find duplicates
Pestano, Kyle         7/12/2023     2.7   Continue to examine claims filed by claimants with similar
                                          subsidiaries beginning with P to identify duplicates and docketing
                                          errors
Pestano, Kyle         7/12/2023     1.2   Triage indemnification claims filed by claimants beginning with B

Pestano, Kyle         7/12/2023     0.3   Discussion with D. Lewandowski, T. Hubbard, K. Pestano, R. Arora
                                          (A&M) re: claims triage
Pestano, Kyle         7/12/2023     2.3   Review claims filed by claimants beginning with B, C, and P to
                                          identify docketing errors and duplicate claims
Pestano, Kyle         7/12/2023     2.6   Prioritize the review of claims filed by C and P claimants to identify
                                          docketing errors and amend/dupe matches
Ramanathan, Kumanan   7/12/2023     0.7   Call with K. Ramanathan, A. Mohammed (A&M) and MetaLab team
                                          to review regression testing feedback and portal launch features
Ramanathan, Kumanan   7/12/2023     1.2   Review and provide feedback on various customer portal related
                                          support issues
Ramanathan, Kumanan   7/12/2023     1.5   Review and provide feedback on customer portal launch issues


Ramanathan, Kumanan   7/12/2023     0.6   Call with K. Ramanathan, A. Mohammed (A&M) and MetaLab team
                                          to review CAPTCHA functionality for customer portal launch
Ramanathan, Kumanan   7/12/2023     0.7   Review tokenized equity claims on customer portal and provide
                                          feedback
Sarmiento, Dubhe      7/12/2023     3.1   Preparation of Amendment to Data Processing Agreement to ensure
                                          an adequate level of protection for EU/UK personal data transferred
                                          to Integreon’s US operations
Sarmiento, Dubhe      7/12/2023     0.4   Preparation of the EU approved standard contractual clauses and
                                          UK SCC Addendum, to ensure an adequate level of protection for
                                          EU/UK personal data transferred to Integreon’s US operations
Simoneaux, Nicole     7/12/2023     1.9   Review employment contracts for potential claim liabilities due to
                                          severance
Simoneaux, Nicole     7/12/2023     1.7   Review employment contracts for potential claim liabilities due to
                                          fixed terms employment
Simoneaux, Nicole     7/12/2023     1.3   Quantify claims based on available contracts to bridge to filed
                                          amounts
Yurchak, Lilia        7/12/2023     1.9   Review customer service tickets related to Sumsub status


Yurchak, Lilia        7/12/2023     3.2   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                          team to facilitate training on manual review approach
Yurchak, Lilia        7/12/2023     1.0   Client travel to New York, NY to Charlotte, NC at 50% billable time


Yurchak, Lilia        7/12/2023     1.1   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to go through
                                          KYC related customer service questions



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Claims
Professional             Date     Hours     Activity
Yurchak, Lilia        7/12/2023     0.3   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                          team to discuss manual review work
Yurchak, Lilia        7/12/2023     1.0   Call with L. Yurchak, H. Chambers, L. Chamma, M. Flynn, V.
                                          Nadimpalli, Q. Zhang, A. Mohammed (A&M) and Sumsub, MetaLab,
                                          and Integreon team to discuss customer claims portal collaborative
                                          integration on daily touchbase
Yurchak, Lilia        7/12/2023     0.5   Call with H. Chambers, L. Yurchak, Q. Zhang, L. Chamma, A.
                                          Mohammed (A&M) to discuss customer portal source key issue
Yurchak, Lilia        7/12/2023     0.5   Call with H. Chambers, L. Yurchak, Q. Zhang, L. Chamma (A&M) to
                                          discuss customer KYC rejection caused by duplication
Zhang, Qi             7/12/2023     1.0   Call with L. Yurchak, H. Chambers, L. Chamma, M. Flynn, V.
                                          Nadimpalli, Q. Zhang, A. Mohammed (A&M) and Sumsub, MetaLab,
                                          and Integreon team to discuss customer claims portal collaborative
                                          integration on daily touchbase
Zhang, Qi             7/12/2023     0.3   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                          team to discuss manual review work
Zhang, Qi             7/12/2023     3.2   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                          team to facilitate training on manual review approach
Zhang, Qi             7/12/2023     2.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                          team to review KYC profiles
Zhang, Qi             7/12/2023     0.2   Call with M. Flynn, H, Chambers, Q. Zhang (A&M) to discuss KYC
                                          customer balance flag
Zhang, Qi             7/12/2023     0.3   Call with M. Flynn, Q. Zhang (A&M) to discuss customer portal KYC
                                          testing
Zhang, Qi             7/12/2023     0.3   Call with M. Flynn, Q. Zhang, A. Mohammed, R. Johnson (A&M) and
                                          Metalab team to discuss customer balances to SumSub
Zhang, Qi             7/12/2023     0.6   Call with O. Weinberger (Sygnia) J. Zaleski, J. Espinosa, C. Cox
                                          (MetaLab), R. Johnson, Q. Zhang, M. Flynn, A.Mohammed (A&M) to
                                          discuss kyc vendor flag for high net worth accounts
Zhang, Qi             7/12/2023     0.2   Call with Q. Zhang and L. Chamma (A&M) to discuss AML hits
                                          issues found on customer portal KYC review
Arora, Rohan          7/13/2023     1.9   Continue claims triage for non customer intercompany agreement
                                          claims to identify claim duplicates and docketing errors
Arora, Rohan          7/13/2023     1.1   Complete claims triage for non customer trade claims to identify
                                          claim duplicates and docketing errors
Arora, Rohan          7/13/2023     2.7   Complete claims triage for non customer intercompany agreement
                                          claims to identify claim duplicates and docketing errors
Arora, Rohan          7/13/2023     2.6   Complete claims triage for non customer intercompany agreement
                                          claims to identify claim duplicates and docketing errors and
                                          duplicates identification
Arora, Rohan          7/13/2023     2.2   Complete claims triage for non customer intercompany agreement
                                          claims to identify docketing errors and claim duplicates
Chambers, Henry       7/13/2023     0.8   Form conclusions in regards to Data privacy matters in respect of
                                          customer portal copy




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Claims
Professional            Date     Hours     Activity
Chambers, Henry      7/13/2023     1.0   Call with M. Flynn, H. Chambers, L. Chamma, Q. Zhang, A.
                                         Mohammed (A&M) and Sumsub, MetaLab, and Integreon team to
                                         discuss customer claims portal collaborative integration on daily
                                         touchbase
Chambers, Henry      7/13/2023     0.5   Call with H. Chambers, L. Yurchak, Q. Zhang, L. Chamma, A.
                                         Mohammed (A&M) to discuss customer portal source key issue
Chambers, Henry      7/13/2023     1.1   Respond to customer queries via S&C on KYC process


Chambers, Henry      7/13/2023     1.8   Respond to correspondence regarding blocked emails for customer
                                         portal
Chambers, Henry      7/13/2023     0.4   Correspondence regarding customer portal fast follow priorities

Chambers, Henry      7/13/2023     0.5   Call with H. Chambers, L. Yurchak, Q. Zhang, L. Chamma (A&M) to
                                         discuss customer KYC rejection caused by duplication
Chambers, Henry      7/13/2023     0.7   Correspondence with S&C regarding queries on kyc process

Chamma, Leandro      7/13/2023     1.0   Call with M. Flynn, H. Chambers, L. Chamma, Q. Zhang, A.
                                         Mohammed (A&M) and Sumsub, MetaLab, and Integreon team to
                                         discuss customer claims portal collaborative integration on daily
                                         touchbase
Chamma, Leandro      7/13/2023     0.5   Call with H. Chambers, L. Yurchak, Q. Zhang, L. Chamma (A&M) to
                                         discuss customer KYC rejection caused by duplication
Chamma, Leandro      7/13/2023     1.3   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to discuss
                                         customer portal customer support KYC tickets
Chamma, Leandro      7/13/2023     1.7   Review of customer portal applicants tagged for S&C review


Chamma, Leandro      7/13/2023     1.4   Review of customer portal KYC related support tickets

Chamma, Leandro      7/13/2023     0.4   Call with Q. Zhang and L. Chamma (A&M) to discuss customer
                                         portal daily metrics
Chamma, Leandro      7/13/2023     0.5   Call with H. Chambers, L. Yurchak, Q. Zhang, L. Chamma, A.
                                         Mohammed (A&M) to discuss customer portal source key issue
Chamma, Leandro      7/13/2023     1.1   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to go through
                                         KYC related customer service questions
Chamma, Leandro      7/13/2023     0.5   Call with M. Flynn, L. Chamma, A. Mohammed, Q. Zhang (A&M),
                                         Sumsub and Metalab team to discuss tenant tagging
Chamma, Leandro      7/13/2023     1.3   Call with Q. Zhang, L. Chamma (A&M) and Integreon team to do
                                         KYC manual review and training on AWS mismatch cases
Chamma, Leandro      7/13/2023     2.5   Call with Q. Zhang, L. Chamma (A&M) and Integreon team to do
                                         KYC manual review and training on EDD and rejection cases
Chamma, Leandro      7/13/2023     0.4   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, A.
                                         Mohammed (A&M) and Sumsub to discuss customer portal metrics
                                         reporting
Clayton, Lance       7/13/2023     1.2   Prepare LP schedule of claims for external advisors

Coverick, Steve      7/13/2023     0.2   Call with K. Ramanathan and R. Gordon (A&M) re: claims portal
                                         status

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                                FTX Trading Ltd., et al.,
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Claims
Professional            Date     Hours     Activity
Coverick, Steve      7/13/2023     0.7   Review and provide comments on revised customer FAQ

Esposito, Rob        7/13/2023     0.7   Work with Kroll team to coordinate relaunch of claims portal


Esposito, Rob        7/13/2023     0.6   D. Lewandowski, R. Esposito, S. Kotarba, A. Mohammed, K.
                                         Ramanathan (A&M), E. Echevarria, J. Hughes, J. Karotkin, D.
                                         Mapplethorpe, S. Perry, V. Pratap (Kroll), C. Cox (MetaLab), and R.
                                         Perubhatla (FTX) to discuss customer claims portal and claims
                                         administ
Esposito, Rob        7/13/2023     0.7   Discussion with S. Kotarba, R. Esposito, D. Lewandowski, and K.
                                         Pestano (A&M) re: claim summary decks
Esposito, Rob        7/13/2023     0.3   Review of additional changes to the customer FAQs

Esposito, Rob        7/13/2023     0.3   Review of final customer bar date notice materials


Esposito, Rob        7/13/2023     2.6   Coordinate and management multiple team issues and workstreams
                                         to relaunch the customer claims portal
Esposito, Rob        7/13/2023     0.2   Discuss customer service inquiries with R Navarro (FTX)

Esposito, Rob        7/13/2023     1.1   Review of newly filed claims to prepare summary of the notable
                                         claims
Flynn, Matthew       7/13/2023     0.3   Research Kroll NFT reporting issues identified by customers

Flynn, Matthew       7/13/2023     1.4   Research customer handoff issues with the Kroll portal


Flynn, Matthew       7/13/2023     1.2   Investigate differences between Kroll claims balances and customer
                                         portal displayed balances
Flynn, Matthew       7/13/2023     1.1   Review customer support tickets with differences in derivative
                                         positions
Flynn, Matthew       7/13/2023     0.3   Review SumSub admin portal for customer rejections on duplicates

Flynn, Matthew       7/13/2023     1.0   Call with J. Zaleski, C. Cox, D. Longan, M. Kenny (MetaLab) and M.
                                         Flynn, A. Mohammed (A&M) to discuss claims administrator
                                         integration
Flynn, Matthew       7/13/2023     0.5   Call with M. Flynn, L. Chamma, A. Mohammed, Q. Zhang (A&M),
                                         Sumsub and Metalab team to discuss tenant tagging
Flynn, Matthew       7/13/2023     1.0   Call with M. Flynn, H. Chambers, L. Chamma, Q. Zhang, A.
                                         Mohammed (A&M) and Sumsub, MetaLab, and Integreon team to
                                         discuss customer claims portal collaborative integration on daily
                                         touch base
Flynn, Matthew       7/13/2023     0.5   Call with M. Flynn, A. Mohammed (A&M), Metalab team to discuss
                                         fast follow up requests for customer portal
Flynn, Matthew       7/13/2023     0.8   Call with M. Flynn, R. Johnson (A&M) to discuss customer portal
                                         balances versus claims form data reconciliation
Flynn, Matthew       7/13/2023     0.4   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, A.
                                         Mohammed (A&M) and Sumsub to discuss customer portal metrics
                                         reporting


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Claims
Professional               Date    Hours     Activity
Francis, Luke          7/13/2023     1.1   Review for new filed claims for non-customers from claims register

Francis, Luke          7/13/2023     1.6   Provide summary updates to non-customer claims tracking for timely
                                           filed claims
Gordon, Robert         7/13/2023     0.2   Call with K. Ramanathan and S. Coverick (A&M) re: claims portal
                                           status
Gordon, Robert         7/13/2023     0.8   Review claim at Alameda Ltd from Bittrex

Hill, Liam             7/13/2023     1.8   Claims triage review focusing on Legal-Contract claims filed by non
                                           customers
Hill, Liam             7/13/2023     1.4   Perform claims triage review for varying customer claims to identify
                                           docketing errors and duplicates
Hill, Liam             7/13/2023     2.3   Continue review of claims filed by a specific claimant to identify
                                           cross-debtor duplicates and update the matching field in the claims
                                           management system
Hubbard, Taylor        7/13/2023     1.7   Search names in BART to determine if claims were filed for claims
                                           reporting analysis purposes
Hubbard, Taylor        7/13/2023     2.2   Place a particular emphasis on handling AP-Trade Claims during the
                                           claims triage evaluation
Hubbard, Taylor        7/13/2023     1.4   Channel specific attention towards AP-Trade Claims during the
                                           claims triage procedure
Hubbard, Taylor        7/13/2023     2.1   Give priority to AP-Trade Claims in the claims triage workflow

Hubbard, Taylor        7/13/2023     1.9   Perform claims triage process with a dedicated focus on AP-Trade
                                           Claims
Johnson, Robert        7/13/2023     0.9   Call with R. Johnson, A. Mohammed (A&M), D. Chiu, N. Shay, N.
                                           Molina (FTX) and MetaLab to discuss development efforts on daily
                                           standup
Johnson, Robert        7/13/2023     0.6   Discuss future positions with Sygnia to confirm the balances are
                                           being accurately captured and displayed
Johnson, Robert        7/13/2023     0.8   Call with M. Flynn, R. Johnson (A&M) to discuss customer portal
                                           balances versus claims form data reconciliation
Johnson, Robert        7/13/2023     0.9   Troubleshoot login with YubiKey and test possible solution to reset
                                           2FA on customer portal
Johnson, Robert        7/13/2023     1.2   Reconcile subaccount and main account futures positions for
                                           customer to confirm that all balances are being displayed accurately
Kotarba, Steve         7/13/2023     0.7   Discussion with S. Kotarba, R. Esposito, D. Lewandowski, and K.
                                           Pestano (A&M) re: claim summary decks
Kotarba, Steve         7/13/2023     0.6   D. Lewandowski, R. Esposito, S. Kotarba, A. Mohammed, K.
                                           Ramanathan (A&M), E. Echevarria, J. Hughes, J. Karotkin, D.
                                           Mapplethorpe, S. Perry, V. Pratap (Kroll), C. Cox (MetaLab), and R.
                                           Perubhatla (FTX) to discuss customer claims portal and claims
                                           administ
Kotarba, Steve         7/13/2023     0.7   Discussion with S. Kotarba and K. Pestano (A&M) re claims
                                           reporting templates
Kotarba, Steve         7/13/2023     0.7   Prepare claim reporting template for claims reconciliation


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Claims
Professional              Date     Hours     Activity
Kotarba, Steve         7/13/2023     1.2   Review non-customer claims summary slides and detail in
                                           preparation for discussion with team
Lewandowski, Douglas   7/13/2023     0.7   Working session with D. Lewandowski and C. Okuzu (A&M) re:
                                           review docketing errors
Lewandowski, Douglas   7/13/2023     1.4   Work on resolving issues submitted to FTX helpdesk related to
                                           claims
Lewandowski, Douglas   7/13/2023     1.4   Work on Kroll customer portal inquiry related to scheduled
                                           customer/locked crypto
Lewandowski, Douglas   7/13/2023     1.5   Review non-customer newly filed claims from Kroll


Lewandowski, Douglas   7/13/2023     1.6   Review litigation schedule against filed claims for claims reporting
                                           summary
Lewandowski, Douglas   7/13/2023     0.7   Discussion with S. Kotarba, R. Esposito, D. Lewandowski, and K.
                                           Pestano (A&M) re: claim summary decks
Lewandowski, Douglas   7/13/2023     0.4   Discussion with D. Lewandowski and K. Pestano (A&M) re:
                                           uncategorized claims
Lewandowski, Douglas   7/13/2023     0.6   Discussion with D. Lewandowski and C. Okuzu (A&M) re: claims
                                           reconciliation status update
Lewandowski, Douglas   7/13/2023     0.6   D. Lewandowski, R. Esposito, S. Kotarba, A. Mohammed, K.
                                           Ramanathan (A&M), E. Echevarria, J. Hughes, J. Karotkin, D.
                                           Mapplethorpe, S. Perry, V. Pratap (Kroll), C. Cox (MetaLab), and R.
                                           Perubhatla (FTX) to discuss customer claims portal and claims
                                           administ
Lowe, Sam              7/13/2023     0.5   Call with M. Negus, D. Sarmiento, R. Grosvenor, S. Lowe (A&M) to
                                           discuss customer claims portal Data Privacy inbox
Lowe, Sam              7/13/2023     1.0   Review draft workflow for handling portal data privacy requests

Mohammed, Azmat        7/13/2023     0.5   Call with M. Flynn, A. Mohammed (A&M), Metalab team to discuss
                                           fast follow up requests for customer portal
Mohammed, Azmat        7/13/2023     1.0   Call with K. Ramanathan, A. Mohammed (A&M) and to discuss hot
                                           fix grooming and prioritization with MetaLab team
Mohammed, Azmat        7/13/2023     1.0   Call with M. Flynn, H. Chambers, L. Chamma, Q. Zhang, A.
                                           Mohammed (A&M) and Sumsub, MetaLab, and Integreon team to
                                           discuss customer claims portal collaborative integration on daily
                                           touchbase
Mohammed, Azmat        7/13/2023     1.0   Call with J. Zaleski, C. Cox, D. Longan, M. Kenny (MetaLab) and M.
                                           Flynn, A. Mohammed (A&M) to discuss claims administrator
                                           integration
Mohammed, Azmat        7/13/2023     0.6   Call with D. Lewandowski, R. Esposito, S. Kotarba, A. Mohammed,
                                           K. Ramanathan (A&M), E. Echevarria, J. Hughes and others(Kroll),
                                           C. Cox (MetaLab), and R. Perubhatla (FTX) to discuss customer
                                           claims portal and claims administrator integration
Mohammed, Azmat        7/13/2023     1.4   Monitor production environment and infrastructure compute loads for
                                           Day two of portal launch
Mohammed, Azmat        7/13/2023     0.5   Call with M. Flynn, L. Chamma, A. Mohammed, Q. Zhang (A&M),
                                           Sumsub and Metalab team to discuss tenant tagging




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Claims
Professional            Date     Hours     Activity
Mohammed, Azmat      7/13/2023     0.4   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, A.
                                         Mohammed (A&M) and Sumsub to discuss customer portal metrics
                                         reporting
Mohammed, Azmat      7/13/2023     0.9   Call with R. Johnson, A. Mohammed (A&M), D. Chiu, N. Shay, N.
                                         Molina (FTX) and MetaLab to discuss development efforts on daily
                                         standup
Mohammed, Azmat      7/13/2023     1.4   Coordinate development efforts related to privacy, cookie, and
                                         consent policy notifications
Mohammed, Azmat      7/13/2023     1.6   Coordinate development efforts with production routes and paths on
                                         customer claims portal
Mohammed, Azmat      7/13/2023     0.4   Weekly development huddle and discussion with FTX development
                                         team
Mohammed, Azmat      7/13/2023     0.5   Call with H. Chambers, L. Yurchak, Q. Zhang, L. Chamma, A.
                                         Mohammed (A&M) to discuss customer portal source key issue
Negus, Matthew       7/13/2023     1.9   Support resolving issue relating to privacy notice and consent
                                         wording on claims portal
Negus, Matthew       7/13/2023     1.1   Draft outline of workflow for handling customer data privacy requests
                                         received via claims portal
Okuzu, Ciera         7/13/2023     0.6   Discussion with D. Lewandowski and C. Okuzu (A&M) re: claims
                                         reconciliation status update
Okuzu, Ciera         7/13/2023     2.9   Review of non customer claims to identify docketing errors and
                                         potential duplicates
Okuzu, Ciera         7/13/2023     0.3   Review claims from non customers who filed against the debtor

Okuzu, Ciera         7/13/2023     0.7   Working session with D. Lewandowski and C. Okuzu (A&M) re:
                                         review docketing errors
Okuzu, Ciera         7/13/2023     2.2   Review accounts payable, loan, and contract claims in the claims
                                         management system for docketing errors
Okuzu, Ciera         7/13/2023     1.9   Focus on identifying docketing errors and duplicates for non-
                                         customer claims
Pestano, Kyle        7/13/2023     1.9   Investigate claims filed by claimants with beginning with PO and PC
                                         to ensure non customer claims were amend/dupe matches
Pestano, Kyle        7/13/2023     2.2   Continue the classification of newly filed claims added to the claims
                                         management system
Pestano, Kyle        7/13/2023     0.4   Discuss claim triage questions with team members to determine if
                                         claims were accurately classified
Pestano, Kyle        7/13/2023     0.4   Discussion with D. Lewandowski and K. Pestano (A&M) re:
                                         uncategorized claims
Pestano, Kyle        7/13/2023     0.7   Discussion with S. Kotarba, R. Esposito, D. Lewandowski, and K.
                                         Pestano (A&M) re: claim summary decks
Pestano, Kyle        7/13/2023     1.9   Classify newly filed claims added to the claims management system


Pestano, Kyle        7/13/2023     0.7   Discussion with S. Kotarba and K. Pestano (A&M) re claims
                                         reporting templates
Pestano, Kyle        7/13/2023     2.4   Examine claims filed by claimants beginning with letter A, F, R, P
                                         with large filing amounts to check for docketing errors and duplicates

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Claims
Professional             Date     Hours     Activity
Ramanathan, Kumanan   7/13/2023     2.1   Review and provide feedback on customer portal executive issues

Ramanathan, Kumanan   7/13/2023     1.8   Review and provide feedback on customer claims portal matters


Ramanathan, Kumanan   7/13/2023     0.6   Discussion with D. Lewandowski, R. Esposito, S. Kotarba, A.
                                          Mohammed, K. Ramanathan (A&M), E. Echevarria, J. Hughes, J.
                                          Karotkin, D. Mapplethorpe, S. Perry, V. Pratap (Kroll), C. Cox
                                          (MetaLab), and R. Perubhatla (FTX) to discuss customer claims
                                          portal and
Ramanathan, Kumanan   7/13/2023     0.2   Call with S. Coverick and R. Gordon (A&M) re: claims portal status


Ramanathan, Kumanan   7/13/2023     0.4   Call with R. Perubhatla (FTX) to discuss customer claims portal

Ramanathan, Kumanan   7/13/2023     0.6   Review and provide feedback on customer portal KPI dashboard
                                          metrics
Ramanathan, Kumanan   7/13/2023     1.0   Call with K. Ramanathan, A. Mohammed (A&M) and to discuss hot
                                          fix grooming and prioritization with MetaLab team
Sarmiento, Dubhe      7/13/2023     0.5   Call with M. Negus, D. Sarmiento, R. Grosvenor, S. Lowe (A&M) to
                                          discuss customer claims portal DataPrivacy inbox
Yurchak, Lilia        7/13/2023     1.3   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to discuss
                                          customer portal customer support KYC tickets
Yurchak, Lilia        7/13/2023     0.4   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, A.
                                          Mohammed (A&M) and Sumsub to discuss customer portal metrics
                                          reporting
Zhang, Qi             7/13/2023     0.4   Call with Q. Zhang and L. Chamma (A&M) to discuss customer
                                          portal daily metrics
Zhang, Qi             7/13/2023     1.3   Call with Q. Zhang, L. Chamma (A&M) and Integreon team to do
                                          KYC manual review and training on AWS mismatch cases
Zhang, Qi             7/13/2023     0.4   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma, A.
                                          Mohammed (A&M) and Sumsub to discuss customer portal metrics
                                          reporting
Zhang, Qi             7/13/2023     1.0   Call with M. Flynn, H. Chambers, L. Chamma, Q. Zhang, A.
                                          Mohammed (A&M) and Sumsub, MetaLab, and Integreon team to
                                          discuss customer claims portal collaborative integration on daily
                                          touchbase
Zhang, Qi             7/13/2023     1.1   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to go through
                                          KYC related customer service questions
Zhang, Qi             7/13/2023     0.5   Call with H. Chambers, L. Yurchak, Q. Zhang, L. Chamma (A&M) to
                                          discuss customer KYC rejection caused by duplication
Zhang, Qi             7/13/2023     0.5   Call with H. Chambers, L. Yurchak, Q. Zhang, L. Chamma, A.
                                          Mohammed (A&M) to discuss customer portal source key issue
Zhang, Qi             7/13/2023     2.5   Call with Q. Zhang, L. Chamma (A&M) and Integreon team to do
                                          KYC manual review and training on EDD and rejection cases
Zhang, Qi             7/13/2023     0.5   Call with M. Flynn, L. Chamma, A. Mohammed, Q. Zhang (A&M),
                                          Sumsub and Metalab team to discuss tenant tagging
Arora, Rohan          7/14/2023     1.1   Complete claims triage for non customer trade and legal claims to
                                          identify claim duplicates and docketing errors


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Claims
Professional              Date     Hours     Activity
Arora, Rohan           7/14/2023     0.7   Analyze and provide summary of claims triage for FTX customer
                                           claims
Arora, Rohan           7/14/2023     1.4   Review high priority customer claims to find docketing errors and
                                           duplicates
Arora, Rohan           7/14/2023     2.3   Complete claims triage for specific high priority customer claims to
                                           find docketing errors and duplicates
Arora, Rohan           7/14/2023     2.1   Continue claims triage for high priority customer claims to find
                                           docketing errors and duplicate claims
Arora, Rohan           7/14/2023     0.2   Discussion with D. Lewandowski, T. Hubbard, R. Arora, C. Okuzu,
                                           K. Petano, L. Hill, and C. Myers (A&M) re: claims triage updates
Arora, Rohan           7/14/2023     1.9   Review non customer treasury claims for docketing errors and claim
                                           duplicates
Arora, Rohan           7/14/2023     1.1   Continue claims triage for non customer treasury claims to identify
                                           claim duplicates and docketing errors
Broskay, Cole          7/14/2023     0.6   Call to discuss how to classify potential pre-petition claims and
                                           impact with R. Esposito, C. Broskay, K. Kearney, L. Francis, R.
                                           Bruck (A&M)
Bruck, Ran             7/14/2023     0.5   Call to discuss how to classify potential pre-petition claims and
                                           impact with R. Esposito, C. Broskay, K. Kearney, L. Francis, R.
                                           Bruck (A&M)
Chambers, Henry        7/14/2023     0.4   Amend FAQs for email receipt issues from customer portal


Chambers, Henry        7/14/2023     0.6   Correspondence regarding updates to KYC statistics

Chambers, Henry        7/14/2023     0.3   Update team on customer portal fast follow items

Chambers, Henry        7/14/2023     1.9   Review sumsub KYC applications for flow quality control


Chambers, Henry        7/14/2023     0.5   Call with E. Echevarria, S. Perry and others (Kroll), R. Perubhatla
                                           (FTX), C. Cox (Metalab), M. Flynn, R. Esposito, D. Lewandowski, H.
                                           Chambers, A. Mohammed (A&M) team to discuss customer claims
                                           portal issues
Chambers, Henry        7/14/2023     1.1   Call with Q. Zhang, H. Chambers, L. Chamma, M. Flynn, A.
                                           Mohammed (A&M), R. Perubhatla, R.Navarro (FTX), C. Cox
                                           (MetaLab) A. Porwal (Integreon) on daily call to discuss collaboration
                                           on FTX Customer Service and KYC matters
Chambers, Henry        7/14/2023     0.7   Call with A. Kranzley, S. Levin (S&C), J. Yan, L. Chamma, M. Flynn
                                           (A&M) to discuss KYC items and resolutions on process
Chamma, Leandro        7/14/2023     1.1   Call with Q. Zhang, H. Chambers, L. Chamma, M. Flynn, A.
                                           Mohammed (A&M), R. Perubhatla, R.Navarro (FTX), C. Cox
                                           (MetaLab) A. Porwal (Integreon) on daily call to discuss collaboration
                                           on FTX Customer Service and KYC matters
Chamma, Leandro        7/14/2023     0.7   Call with A. Kranzley, S. Levin (S&C), J. Yan, L. Chamma, M. Flynn
                                           (A&M) to discuss KYC items and resolutions on process
Chamma, Leandro        7/14/2023     1.1   Call with Q. Zhang, L. Chamma (A&M) and Integreon team to do
                                           KYC manual review on rejects and EDD items




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                                   FTX Trading Ltd., et al.,
                            Time Detail by Activity by Professional
                              July 1, 2023 through July 31, 2023


Claims
Professional                Date    Hours     Activity
Chamma, Leandro         7/14/2023     1.2   Monitor customer portal KYC application that got automatically
                                            rejected by KYC vendor
Chamma, Leandro         7/14/2023     2.1   Draft of customer portal daily KYC quality control guidelines
                                            regarding system and manual review performance
Chamma, Leandro         7/14/2023     0.2   Call with L. Chamma and A. Mohammed (A&M) to discuss customer
                                            portal duplicate claim rejection and tenant logic
Chamma, Leandro         7/14/2023     2.1   Call with Q. Zhang, L. Chamma (A&M) and Integreon team to do
                                            KYC manual review on customer service tickets applicants
Chamma, Leandro         7/14/2023     1.3   Review of customer portal KYC rejections based on duplicate
                                            applications in order to ascertain whether the user tenant fixes were
                                            successfully applied
Chamma, Leandro         7/14/2023     0.3   Draft email to customer portal development team reporting issues
                                            encountered on customer portal auto rejection for customers that
                                            were tagged as duplicates
Esposito, Rob           7/14/2023     0.6   Discussion with D. Lewandowski, K. Ramanathan, R. Esposito, and
                                            S. Kotarba (A&M) re: customer claim reconciliation
Esposito, Rob           7/14/2023     0.6   Work on updated communications for customer bar date and portal
                                            launch
Esposito, Rob           7/14/2023     1.3   Review and modification to the claims summary and presentation
                                            notes for S&C and FTX
Esposito, Rob           7/14/2023     1.8   Manage and coordinate customer claims portal relaunch updates
                                            and reporting
Esposito, Rob           7/14/2023     0.5   Call with E. Echevarria, S. Perry, J. Hughes, J. Founts, R. Stitt, S.
                                            Corr-Irvine, B. Steele (Kroll), R. Perubhatla (FTX), C. Cox (Metalab),
                                            M. Flynn, R. Esposito, D. Lewandowski, H. Chambers, A.
                                            Mohammed (A&M) team to discuss customer claims portal and c
Esposito, Rob           7/14/2023     0.7   Call with A. Kranzley, S. Levin (S&C), R. Esposito, K. Ramanathan,
                                            H. Chambers (A&M) to discuss KYC items and resolutions on
                                            process
Esposito, Rob           7/14/2023     0.6   Call to discuss how to classify potential pre-petition claims and
                                            impact with R. Esposito, C. Broskay, K. Kearney, L. Francis, R.
                                            Bruck (A&M)
Esposito, Rob           7/14/2023     0.6   Prepare draft communication for C/U/D scheduled customers

Faett, Jack             7/14/2023     1.1   Working session to review employee liability claims against Alameda
                                            silo entities between K. Kearney, J. Faett (A&M)
Flynn, Matthew          7/14/2023     0.5   Call with E. Echevarria, S. Perry, J.Huges, J. Founts, R. Stitt, S.
                                            Corr-Irvine, B. Steele (Kroll), R. Perubhatla (FTX), C. Cox (Metalab),
                                            M. Flynn, R. Esposito, D. Lewandowski, H. Chambers, A.
                                            Mohammed (A&M) team to discuss customer claims portal and cla
Flynn, Matthew          7/14/2023     1.2   Review zendesk customer support tickets and provide feedback

Flynn, Matthew          7/14/2023     1.6   Review rejected KYC applications and understand edits needed to
                                            workflow
Flynn, Matthew          7/14/2023     1.3   Create customer portal KPI dashboard for workstreams for
                                            management




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                              July 1, 2023 through July 31, 2023


Claims
Professional               Date     Hours     Activity
Flynn, Matthew          7/14/2023     0.4   Call with Q. Zhang, M. Flynn (A&M) and Sumsub team to discuss
                                            previously FTX frozen account and bad POA KYC process
Flynn, Matthew          7/14/2023     1.1   Call with Q. Zhang, H. Chambers, L. Chamma, M. Flynn, A.
                                            Mohammed (A&M), R. Perubhatla, R.Navarro (FTX), C. Cox
                                            (MetaLab) A. Porwal (Integreon) on daily call to discuss collaboration
                                            on FTX Customer Service and KYC matters
Flynn, Matthew          7/14/2023     0.3   Call with M. Flynn, Q. Zhang (A&M) to discuss KYC reject
                                            applications
Flynn, Matthew          7/14/2023     0.7   Call with A. Kranzley, S. Levin (S&C), J. Yan, L. Chamma, M. Flynn
                                            (A&M) to discuss KYC items and resolutions on process
Francis, Luke           7/14/2023     0.6   Call to discuss how to classify potential pre-petition claims and
                                            impact with R. Esposito, C. Broskay, K. Kearney, L. Francis, R.
                                            Bruck (A&M)
Gany, Jared             7/14/2023     0.3   Discussion with J. Gany and C. Myers (A&M) re: filed claims related
                                            to schedule F
Gordon, Robert          7/14/2023     0.6   Begin reviewing latest claims posted by Kroll

Hill, Liam              7/14/2023     1.9   Claims triage review with primary emphasis on Legal/Contract type
                                            claims
Hill, Liam              7/14/2023     1.6   Claims triage review for various creditors to identify docketing errors


Hill, Liam              7/14/2023     2.1   Review of customer claims starting with "B" for claims filed against
                                            debtors
Hill, Liam              7/14/2023     0.2   Discussion with D. Lewandowski, T. Hubbard, R. Arora, C. Okuzu,
                                            K. Petano, L. Hill, and C. Myers (A&M) re: claims triage updates
Hubbard, Taylor         7/14/2023     0.2   Discussion with D. Lewandowski, T. Hubbard, R. Arora, C. Okuzu,
                                            K. Pestano, L. Hill, and C. Myers (A&M) re: claims triage updates
Hubbard, Taylor         7/14/2023     1.1   Direct significant attention towards AP-Trade Claims throughout the
                                            claims triage process
Hubbard, Taylor         7/14/2023     1.9   Conduct claims triage with a goal of identifying Legal-Contract
                                            Rejection Damages Claims
Hubbard, Taylor         7/14/2023     1.6   Perform claims triage with a central focus on effectively managing
                                            Treasury-Market Maker Loans Claims
Hubbard, Taylor         7/14/2023     2.1   Make Legal-Contract Claims the primary target for analysis and
                                            resolution during claims triage
Johnson, Robert         7/14/2023     1.2   Call with R. Johnson, A. Mohammed (A&M), D. Chiu, N. Shay, N.
                                            Molina (FTX) and MetaLab to discuss development efforts on daily
                                            standup
Johnson, Robert         7/14/2023     1.4   Create script to allow Sygnia and Metalab to identify FTX EU
                                            customers requiring COM/EU claims buttons on Customer Portal
Kearney, Kevin          7/14/2023     1.6   Review of claim detail for targeted lender against Alameda Research
                                            Ltd for petition date balance sheet calculation considerations
Kearney, Kevin          7/14/2023     0.6   Call to discuss how to classify potential pre-petition claims and
                                            impact with R. Esposito, C. Broskay, K. Kearney, L. Francis, R.
                                            Bruck (A&M)
Kearney, Kevin          7/14/2023     1.1   Working session to review employee liability claims against Alameda
                                            silo entities between K. Kearney, J. Faett (A&M)

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Claims
Professional              Date     Hours     Activity
Kotarba, Steve         7/14/2023     0.6   Discussion with D. Lewandowski, K. Ramanathan, R. Esposito, and
                                           S. Kotarba (A&M) re: customer claim reconciliation
Lewandowski, Douglas   7/14/2023     0.8   Match customer claims data from Kroll register to scheduled
                                           customer data
Lewandowski, Douglas   7/14/2023     1.4   Working session with D. Lewandowski and K. Pestano (A&M) re:
                                           non-customer claims reporting
Lewandowski, Douglas   7/14/2023     1.3   Work on reviewing docketing issues raised by the claims triage team

Lewandowski, Douglas   7/14/2023     1.1   Work on customer claims portal open issues in Zendesk


Lewandowski, Douglas   7/14/2023     1.4   Review customer claims for potential programmatic matching to
                                           identify dupes
Lewandowski, Douglas   7/14/2023     0.2   Discussion with D. Lewandowski, T. Hubbard, R. Arora, C. Okuzu,
                                           K. Petano, L. Hill, and C. Myers (A&M) re: claims triage updates
Lewandowski, Douglas   7/14/2023     0.6   Discussion with D. Lewandowski, K. Ramanathan, R. Esposito, and
                                           S. Kotarba (A&M) re: customer claim reconciliation
Lewandowski, Douglas   7/14/2023     0.5   Call with E. Echevarria, S. Perry, J.Huges, J. Founts, R. Stitt, S.
                                           Corr-Irvine, B. Steele (Kroll), R. Perubhatla (FTX), C. Cox (Metalab),
                                           M. Flynn, R. Esposito, D. Lewandowski, H. Chambers, A.
                                           Mohammed (A&M) team to discuss customer claims portal and cla
Lewandowski, Douglas   7/14/2023     0.9   Review customer portal tickets for issues to raise to Kroll


Mohammed, Azmat        7/14/2023     1.2   Call with R. Johnson, A. Mohammed (A&M), D. Chiu, N. Shay, N.
                                           Molina (FTX) and MetaLab to discuss development efforts on daily
                                           standup
Mohammed, Azmat        7/14/2023     1.6   Coordinate development efforts related to multi-factor authentication
                                           and suspicious accounts on claims portal
Mohammed, Azmat        7/14/2023     0.9   Call with R. Perubhatla (FTX) and A. Mohammed (A&M) discussing
                                           Claims admin portal and functionality
Mohammed, Azmat        7/14/2023     1.7   Coordinate development efforts related to duplicate rejections in
                                           KYC of customer accounts across multiple tenants
Mohammed, Azmat        7/14/2023     0.5   Call with E. Echevarria, S. Perry and others (Kroll), R. Perubhatla
                                           (FTX), C. Cox (Metalab), M. Flynn, R. Esposito, D. Lewandowski, H.
                                           Chambers, A. Mohammed (A&M) team to discuss customer claims
                                           portal and claims administrator integration
Mohammed, Azmat        7/14/2023     0.7   Call with A. Kranzley, S. Levin (S&C), L. Yurchak, Q. Zhang,
                                           A.Mohammed (A&M) to discuss KYC items and resolutions on
                                           process
Mohammed, Azmat        7/14/2023     0.2   Call with L. Chamma and A. Mohammed (A&M) to discuss customer
                                           portal duplicate claim rejection and tenant logic
Mohammed, Azmat        7/14/2023     1.1   Call with Q. Zhang, H. Chambers, L. Chamma, M. Flynn, A.
                                           Mohammed (A&M), R. Perubhatla, R.Navarro (FTX), C. Cox
                                           (MetaLab) A. Porwal (Integreon) on daily call to discuss collaboration
                                           on FTX Customer Service and KYC matters
Mohammed, Azmat        7/14/2023     0.5   Call with M. O'Rourke ,D. Langan (MetaLab) K. Ramanathan and A.
                                           Mohammed (A&M) to discuss staffing changes of MetaLab team
                                           structure for post-launch support


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Claims
Professional              Date     Hours     Activity
Mohammed, Azmat        7/14/2023     0.3   Call with D. Goralczyk, S. Maha, S. Raut (Cap Gemini) and A.
                                           Mohammed (A&M) to discuss documenting code base efforts
Mohammed, Azmat        7/14/2023     2.3   Coordinate development efforts related to kyc integration and claims
                                           portal bugs
Mohammed, Azmat        7/14/2023     0.5   Call with J. Espinosa, D. Longan, C. Cox, M. Kenny (MetaLab) and
                                           A. Mohammed (A&M) to discuss portal analytics efforts
Mosley, Ed             7/14/2023     0.4   Review of updated claims status analysis for management

Myers, Claire          7/14/2023     2.8   Analyze claim's register for filed claims by schedule F parties


Myers, Claire          7/14/2023     0.2   Discussion with D. Lewandowski, T. Hubbard, R. Arora, C. Okuzu,
                                           K. Petano, L. Hill, and C. Myers (A&M) re: claims triage updates
Myers, Claire          7/14/2023     0.3   Discussion with J. Gany and C. Myers (A&M) re: filed claims related
                                           to schedule F
Negus, Matthew         7/14/2023     0.9   Response to FTX DPO on privacy compliance questions raised
                                           relating to claims portal
Negus, Matthew         7/14/2023     1.1   Review of draft data transfer agreement between FTX and Integreon


Okuzu, Ciera           7/14/2023     1.4   Conduct claims triage for non customer claims to capture duplicates
                                           and docketing errors
Okuzu, Ciera           7/14/2023     2.4   Conduct assessment of non customer claims for claims triage to
                                           identify claims that have docketing errors and/or duplicates
Okuzu, Ciera           7/14/2023     2.9   Continue the claims triage review for non customer claims to capture
                                           docketing errors and duplicates
Okuzu, Ciera           7/14/2023     0.2   Discussion with D. Lewandowski, T. Hubbard, R. Arora, C. Okuzu,
                                           K. Petano, L. Hill, and C. Myers (A&M) re: claims triage updates
Okuzu, Ciera           7/14/2023     2.2   Perform review of claims made by creditors to identify discrepancies
                                           between the claims management system and proof of claim
Pestano, Kyle          7/14/2023     1.5   Triage the remaining claims for claimants beginning with the letter A,
                                           F, R, P, and K for docketing errors and matches
Pestano, Kyle          7/14/2023     2.6   Set up and link all cases reviewed by team members between excel
                                           and PowerPoint
Pestano, Kyle          7/14/2023     2.5   Review of claims filed against Debtors to summarize into PowerPoint

Pestano, Kyle          7/14/2023     2.7   Review complex non-customer cases labeled as Legal-Contract
                                           Claims
Pestano, Kyle          7/14/2023     0.4   Link summary of claims filed against the Debtors by utilizing Excel
                                           add in (Macabacus) and PowerPoint
Pestano, Kyle          7/14/2023     1.6   Continue the examination of claims filed by claimants beginning with
                                           letter A, F, R, P and K with large dollar amounts for docketing errors
                                           and amend/dupe matches
Pestano, Kyle          7/14/2023     1.4   Working session with D. Lewandowski and K. Pestano (A&M) re:
                                           non-customer claims reporting
Ramanathan, Kumanan    7/14/2023     0.6   Review of customer portal KPI metrics and provide approval for
                                           distribution


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                            July 1, 2023 through July 31, 2023


Claims
Professional             Date     Hours     Activity
Ramanathan, Kumanan   7/14/2023     0.7   Call with A. Kranzley, S. Levin (S&C), R. Esposito, K. Ramanathan,
                                          H. Chambers (A&M) to discuss KYC items and resolutions on
                                          process
Ramanathan, Kumanan   7/14/2023     0.5   Call with M. O'Rourke ,D. Langan (MetaLab) K. Ramanathan and A.
                                          Mohammed (A&M) to discuss staffing changes of MetaLab team
                                          structure for post-launch support
Ramanathan, Kumanan   7/14/2023     0.6   Discussion with D. Lewandowski, K. Ramanathan, R. Esposito, and
                                          S. Kotarba (A&M) re: customer claim reconciliation
Ramanathan, Kumanan   7/14/2023     0.6   Review of material claims filed on docket and correspond with S&C

Ramanathan, Kumanan   7/14/2023     0.3   Review of vendor contract and provide approval

Ramanathan, Kumanan   7/14/2023     0.3   Correspond re: user accounts that were frozen


Yan, Jack             7/14/2023     2.2   Understand the Customer Portal KYC Manual Review Procedures

Yan, Jack             7/14/2023     0.7   Call with A. Kranzley, S. Levin (S&C), J. Yan, L. Chamma, M. Flynn
                                          (A&M) to discuss KYC items and resolutions on process
Yurchak, Lilia        7/14/2023     0.7   Call with A. Kranzley, S. Levin (S&C), L. Yurchak, Q. Zhang,
                                          A.Mohammed (A&M) to discuss KYC items and resolutions on
                                          process
Zhang, Qi             7/14/2023     2.1   Call with Q. Zhang, L. Chamma (A&M) and Integreon team to do
                                          KYC manual review on customer service tickets applicants
Zhang, Qi             7/14/2023     1.1   Call with Q. Zhang, L. Chamma (A&M) and Integreon team to do
                                          KYC manual review on rejects and EDD items
Zhang, Qi             7/14/2023     1.1   Call with Q. Zhang, H. Chambers, L. Chamma, M. Flynn, A.
                                          Mohammed (A&M), R. Perubhatla, R.Navarro (FTX), C. Cox
                                          (MetaLab) A. Porwal (Integreon) on daily call to discuss collaboration
                                          on FTX Customer Service and KYC matters
Zhang, Qi             7/14/2023     0.3   Call with M. Flynn, Q. Zhang (A&M) to discuss KYC reject
                                          applications
Zhang, Qi             7/14/2023     1.3   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to discuss
                                          customer portal customer support KYC tickets
Zhang, Qi             7/14/2023     0.7   Call with A. Kranzley, S. Levin (S&C), L. Yurchak, Q. Zhang,
                                          A.Mohammed (A&M) to discuss KYC items and resolutions on
                                          process
Chambers, Henry       7/15/2023     1.8   Perform preliminary review Sumsub unverified KYC applications

Chamma, Leandro       7/15/2023     2.2   Review customer portal pending KYC support tickets and give
                                          instructions on how to escalate such tickets
Chamma, Leandro       7/15/2023     1.7   Review of customer KYC application for quality control analysis

Chamma, Leandro       7/15/2023     0.8   Review of customer portal new KYC rejections based on duplicate
                                          applications
Esposito, Rob         7/15/2023     0.4   Work on customer scheduled claim related issues for customer
                                          portal modifications



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Claims
Professional               Date     Hours     Activity
Flynn, Matthew          7/15/2023     0.9   Update customer claims portal dashboard based on comments
                                            received
Flynn, Matthew          7/15/2023     0.4   Call with Q. Zhang, M. Flynn (A&M) and Sumsub team to discuss
                                            previously FTX frozen account and bad POA KYC process
Francis, Luke           7/15/2023     2.1   Analysis of claims summary for non-customer claims filed prior to
                                            the bar date
Gany, Jared             7/15/2023     0.2   Discussion with J. Gany and C. Myers (A&M) re: schedule F claims

Johnson, Robert         7/15/2023     1.9   Test and created additional script for the identification and
                                            segregation of three populations of EU customers requiring different
                                            claims buttons
Lewandowski, Douglas    7/15/2023     0.4   Review non-customer bar date noticing package

Lewandowski, Douglas    7/15/2023     1.6   Work on customer portal issues related to users that had frozen
                                            accounts
Mohammed, Azmat         7/15/2023     1.1   Coordinate development efforts related to permitting closed frozen
                                            accounts
Mohammed, Azmat         7/15/2023     1.2   File requirements and coordinate development efforts related to
                                            filing submissions to claims administrator and tax reporting
                                            downloads on claims portal
Myers, Claire           7/15/2023     0.2   Discussion with J. Gany and C. Myers (A&M) re: schedule F claims


Myers, Claire           7/15/2023     2.9   Analyze and reconcile treasury-equity claims filed on 6/29

Okuzu, Ciera            7/15/2023     2.0   Examine customer claims with goal of capturing docketing errors
                                            and identifying duplicates
Pestano, Kyle           7/15/2023     2.5   Finalize outstanding non-customer cases by making updates to
                                            claims that were not filed consistently that stood out during my final
                                            summary review
Yan, Jack               7/15/2023     0.9   Understand the Customer Portal KYC Manual Review Procedures

Yan, Jack               7/15/2023     1.9   Draft the minutes for the weekly meeting of the discussion of KYC
                                            items and resolutions on process
Yurchak, Lilia          7/15/2023     2.7   Review customer support tickets for systemic issues requiring
                                            escalation
Yurchak, Lilia          7/15/2023     0.6   Review minutes of meetings from S&C meeting

Zhang, Qi               7/15/2023     0.4   Call with Q. Zhang, M. Flynn (A&M) and Sumsub team to discuss
                                            previously FTX frozen account and bad POA KYC process
Chambers, Henry         7/16/2023     0.6   Respond to queries on frozen users KYC requirements

Esposito, Rob           7/16/2023     1.2   Review of claim presentation to provide feedback to A&M team


Lewandowski, Douglas    7/16/2023     2.4   Work on claims summary deck language for legal and litigation
                                            claims



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Claims
Professional               Date    Hours     Activity
Lewandowski, Douglas   7/16/2023     0.4   Working session with D. Lewandowski and K. Pestano (A&M) re:
                                           non-customer claims reporting
Okuzu, Ciera           7/16/2023     1.3   Continue review of claims for creditors beginning with BOH


Okuzu, Ciera           7/16/2023     1.7   Review of claims for creditors beginning with BO-BH to identify
                                           docketing errors and duplicates
Pestano, Kyle          7/16/2023     2.8   Continue the excel analysis of claims filed against the Debtors and
                                           summarized the information into a PowerPoint deck that would
                                           eventually be sent to lawyers/UCC
Pestano, Kyle          7/16/2023     2.0   Excel analysis and review of distinct counts of claims filed against
                                           the Debtors
Pestano, Kyle          7/16/2023     0.4   Working session with D. Lewandowski and K. Pestano (A&M) re:
                                           non-customer claims reporting
Pestano, Kyle          7/16/2023     1.8   Analyze the data extract of all claims filed against the debtors

Yurchak, Lilia         7/16/2023     1.1   Review minutes of meetings from S&C meeting


Arora, Rohan           7/17/2023     0.3   Continue claims triage for medium priority customer claims to find
                                           docketing errors and duplicates
Arora, Rohan           7/17/2023     1.6   Continue claims triage for low priority customer claims to find
                                           docketing errors and duplicates in the claims management system
Arora, Rohan           7/17/2023     1.9   Review low priority customer claims for docketing errors and claim
                                           duplicates
Arora, Rohan           7/17/2023     0.9   Complete claims triage for medium priority customer claims


Arora, Rohan           7/17/2023     0.4   Complete claims triage for customer claims to identify claim
                                           duplicates and docketing errors
Arora, Rohan           7/17/2023     1.2   Review of medium priority customer claims to find docketing errors
                                           and duplicates
Arora, Rohan           7/17/2023     2.1   Complete claims triage for certain priority customer claims to find
                                           docketing errors and duplicates
Arora, Rohan           7/17/2023     1.1   Focus claims triage on high priority customer claims

Arora, Rohan           7/17/2023     0.6   Finish claims triage of assigned non customer trade and legal claims


Arora, Rohan           7/17/2023     0.2   Discussion with D. Lewandowski, T. Hubbard, R. Arora, C. Okuzu,
                                           K. Petano, L. Hill, and C. Myers (A&M) re: claims triage updates
Chambers, Henry        7/17/2023     1.3   Correspondence regarding customer portal KYC feedback and
                                           remediations
Chambers, Henry        7/17/2023     0.9   Rationalize KYC updates for customer portal

Chambers, Henry        7/17/2023     0.7   Call with H. Chambers, L. Chamma, M. Flynn (A&M), Sumsub,
                                           MetaLab, and Integreon to discuss customer claims portal
                                           collaborative integration on daily touchbase
Chamma, Leandro        7/17/2023     2.4   Review customer portal support tickets escalated to A&M review due
                                           to KYC issues

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Claims
Professional             Date    Hours     Activity
Chamma, Leandro      7/17/2023     0.8   Prepare list of applications and correlated data regarding customer
                                         portal KYC issues identified to escalate to KYC vendor analysis
Chamma, Leandro      7/17/2023     0.7   Call with H. Chambers, L. Chamma, M. Flynn (A&M), Sumsub,
                                         MetaLab, and Integreon to discuss customer claims portal
                                         collaborative integration on daily touchbase
Chamma, Leandro      7/17/2023     0.6   Monitor customer portal KYC applications that got auto rejected
                                         based on duplicate applications
Chamma, Leandro      7/17/2023     2.4   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                         team to do KYC manual review on customers identified by customer
                                         support
Chamma, Leandro      7/17/2023     0.7   Call with J. Zaleski (MetaLab), L. Chamma, M. Flynn, A.Mohammed
                                         (A&M) to discuss duplication rejection workflows in KYC vendor
                                         solution
Chamma, Leandro      7/17/2023     0.4   Draft tables with summary of customer portal profiles auto rejected
                                         as duplicates
Chamma, Leandro      7/17/2023     0.3   Call with Q. Zhang, L. Chamma, L. Yurchak (A&M), and Sumsub to
                                         discuss acceptable POIs for various jurisdictions
Chamma, Leandro      7/17/2023     0.2   Call with Q. Zhang and L. Chamma (A&M) to discuss approach
                                         related to customers rejected for duplicate accounts
Chamma, Leandro      7/17/2023     0.7   Edit customer portal manual review standard operating procedures
                                         to implement updates based on latest discussions
Esposito, Rob        7/17/2023     0.6   Call with D Mapplethorpe, E Echevarria, J Hughes, J Founts, B
                                         Steele (Kroll), R Perubhatla (FTX), C Cox (Metalab), R Esposito, D
                                         Lewandowski, A Mohammed (A&M) team to discuss customer
                                         claims portal and claims administrator integration
Esposito, Rob        7/17/2023     2.2   Prepare details updates to the filed non-customer claims
                                         presentation
Esposito, Rob        7/17/2023     0.6   Coordinate communications to customer for portal launch


Esposito, Rob        7/17/2023     0.6   Summary and distribution of Kroll Portal updates

Esposito, Rob        7/17/2023     0.8   Manage and interact with Kroll team re: modifications


Esposito, Rob        7/17/2023     1.4   Review and analysis of administrative and priority claims for claims
                                         summaries
Flynn, Matthew       7/17/2023     0.7   Call with H. Chambers, L. Chamma, M. Flynn (A&M), Sumsub,
                                         MetaLab, and Integreon to discuss customer claims portal
                                         collaborative integration on daily touchbase
Flynn, Matthew       7/17/2023     0.9   Review outstanding customer support tickets on Zendesk


Flynn, Matthew       7/17/2023     0.8   Review institutional flagged customers for KYC analysis

Flynn, Matthew       7/17/2023     0.9   Create BitGo institutional KYC/AML tracking template


Flynn, Matthew       7/17/2023     0.9   Compile and update customer portal dashboard presentation for
                                         management



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Claims
Professional               Date    Hours     Activity
Flynn, Matthew         7/17/2023     0.3   Call with M. Flynn, Q. Zhang (A&M), FTX Customer Support, Kroll
                                           teams to discuss current customer support FAQs
Flynn, Matthew         7/17/2023     0.7   Call with J. Zaleski (MetaLab), L. Chamma, M. Flynn, A.Mohammed
                                           (A&M) to discuss duplication rejection workflows in KYC vendor
                                           solution
Francis, Luke          7/17/2023     1.2   Review of new non-customer claims for reconciliation of corrected
                                           types
Hill, Liam             7/17/2023     2.0   Continue claims triage review of claimants with last names
                                           beginning with "cy" through "cd" to identify docketing errors and
                                           duplicate claims
Hill, Liam             7/17/2023     0.2   Discussion with D. Lewandowski, T. Hubbard, R. Arora, C. Okuzu,
                                           K. Pestano, L. Hill, and C. Myers (A&M) re: claims triage updates
Hill, Liam             7/17/2023     0.4   Review questions from L. Hill (A&M) and resolve/triage his complex
                                           non-customer cases related to equity and legal claims
Hill, Liam             7/17/2023     0.9   Triage review of claimants beginning with "cs" through "cy" for
                                           claims filed against debtors
Hill, Liam             7/17/2023     2.7   Continue claims triage review of claimants starting with "D" to
                                           identify docketing errors and duplicate claims
Hill, Liam             7/17/2023     2.2   Conduct review of claims filed by non-customer creditors beginning
                                           with "C" to find docketing errors and duplicate claims
Hubbard, Taylor        7/17/2023     2.1   Review remaining priority claims for triage purposes


Hubbard, Taylor        7/17/2023     2.6   Execute claims triage with a specific focus on customer claims

Hubbard, Taylor        7/17/2023     0.2   Discussion with D. Lewandowski, T. Hubbard, R. Arora, C. Okuzu,
                                           K. Pestano, L. Hill, and C. Myers (A&M) re: claims triage updates
Hubbard, Taylor        7/17/2023     2.2   Conduct triage of customer claims to identify docketing errors and
                                           duplicate claims
Johnson, Robert        7/17/2023     0.2   Follow up with FTX Japan/Liquid on amended API response for USD
                                           balances
Johnson, Robert        7/17/2023     0.4   Provide sample accounts for Sygnia representing user with positions
                                           and without to test copy language display
Johnson, Robert        7/17/2023     1.5   Call with R. Johnson, A. Mohammed (A&M) and MetaLab/FTX team
                                           to discuss development efforts during daily standup
Johnston, David        7/17/2023     0.6   Prepare correspondence relating to FTX EU Ltd. customer queries


Lewandowski, Douglas   7/17/2023     1.3   Update docketing discrepancies for claims where the filed date on
                                           the ePOC differed from the docketed date
Lewandowski, Douglas   7/17/2023     1.4   Work on customer inquiries from S&C related to contingent flags
                                           and customer entitlement schedules
Lewandowski, Douglas   7/17/2023     1.1   Review proposed plan classes against current non-customer claims
                                           data
Lewandowski, Douglas   7/17/2023     0.6   Review escalated customer inquiries from Kroll in FTX customer
                                           database to identify and resolve issue
Lewandowski, Douglas   7/17/2023     0.2   Discussion with D. Lewandowski, T. Hubbard, R. Arora, C. Okuzu,
                                           K. Petano, L. Hill, and C. Myers (A&M) re: claims triage updates

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Claims
Professional              Date     Hours     Activity
Lewandowski, Douglas   7/17/2023     0.1   Discussion with D. Lewandowski and C. Okuzu (A&M) re: claims
                                           triage for scheduled claims
Lewandowski, Douglas   7/17/2023     0.6   Call with D. Mapplethorpe, E. Echevarria, J.Huges, J. Founts, B.
                                           Steele (Kroll), R. Perubhatla (FTX), C. Cox (Metalab), R. Esposito,
                                           D. Lewandowski, A. Mohammed (A&M) team to discuss customer
                                           claims portal and claims administrator integration
Lewandowski, Douglas   7/17/2023     2.1   Work on reviewing AP schedules to filed claims


Lewandowski, Douglas   7/17/2023     1.1   Work on Kroll customer portal customer correspondence related to
                                           scheduled claims
Lowe, Sam              7/17/2023     1.1   Review emails received to claims portal Privacy Inbox and
                                           corresponding response approaches
Mohammed, Azmat        7/17/2023     0.7   Call with J. Zaleski (MetaLab), L. Chamma, M. Flynn, A.Mohammed
                                           (A&M) to discuss duplication rejection workflows in KYC vendor
                                           solution
Mohammed, Azmat        7/17/2023     0.4   Review code changes related to realign customer's tenant to their
                                           jurisdiction in order to reduce duplicates during KYC vendor AWS
                                           data match
Mohammed, Azmat        7/17/2023     1.2   Review backlog and gather requirements related to claims
                                           administrator integration to the FTX portal
Mohammed, Azmat        7/17/2023     0.6   Coordinate development efforts related to unflagging statuses of
                                           customer claims
Mohammed, Azmat        7/17/2023     1.1   Coordinate development efforts related to Liquid customers being
                                           unable to proceed to claims administrator portal
Mohammed, Azmat        7/17/2023     1.8   Coordinate development efforts related to integration with claims
                                           administrator portal (email change, status updates, and multiple
                                           debtors)
Mohammed, Azmat        7/17/2023     0.7   Call with Q. Zhang, A. Mohammed, L. Yurchak (A&M), Sumsub,
                                           Metalab, and Integreon to discuss customer claims portal
                                           collaborative integration on daily touchbase
Mohammed, Azmat        7/17/2023     0.5   Call with development firm discussing contractor resource status
                                           and staffing
Mohammed, Azmat        7/17/2023     0.6   Call with D. Mapplethorpe, E. Echevarria, J.Huges, J. Founts, B.
                                           Steele (Kroll), R. Perubhatla (FTX), C. Cox (Metalab), R. Esposito,
                                           D. Lewandowski, A. Mohammed (A&M) team to discuss customer
                                           claims portal and claims administrator integration
Mohammed, Azmat        7/17/2023     0.2   Call with B. Bangerter to discuss resolutions around KYC reviewed
                                           documents and shared links
Mohammed, Azmat        7/17/2023     1.5   Call with R. Johnson, A. Mohammed (A&M) and MetaLab/FTX team
                                           to discuss development efforts during daily standup
Myers, Claire          7/17/2023     0.1   Discussion with D. Lewandowski, T. Hubbard, R. Arora, C. Okuzu,
                                           K. Petano, L. Hill, and C. Myers (A&M) re: claims triage updates
Myers, Claire          7/17/2023     0.2   Analyze POC to triage customer claims for reconciliation


Okuzu, Ciera           7/17/2023     0.1   Discussion with D. Lewandowski and C. Okuzu (A&M) re: claims
                                           triage for scheduled claims




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Claims
Professional             Date     Hours     Activity
Okuzu, Ciera          7/17/2023     2.8   Continue review of creditor claims to identify docketing errors and
                                          duplicated for creditors that have a last name beginning with CH
Okuzu, Ciera          7/17/2023     0.2   Discussion with D. Lewandowski, T. Hubbard, R. Arora, C. Okuzu,
                                          K. Pestano, L. Hill, and C. Myers (A&M) re: claims triage updates
Okuzu, Ciera          7/17/2023     1.6   Review of creditor claims to identify docketing errors and duplicated
                                          for creditors that have a last name beginning with CH
Pestano, Kyle         7/17/2023     2.6   Non-customer excel summary analysis of claims filed against the
                                          Debtors and investigated issues identified
Pestano, Kyle         7/17/2023     1.8   Examine claims filed by claimants beginning with BA-BI for
                                          docketing errors, amend/dupe matching
Pestano, Kyle         7/17/2023     2.8   Incorporate comments made by R. Esposito (A&M) in the
                                          PowerPoint deck summary
Pestano, Kyle         7/17/2023     0.2   Discussion with D. Lewandowski, T. Hubbard, R. Arora, C. Okuzu,
                                          K. Petano, L. Hill, and C. Myers (A&M) re: claims triage updates
Pestano, Kyle         7/17/2023     0.4   Review questions from L. Hill (A&M) and resolve/triage his complex
                                          non-customer cases related to equity and legal claims
Pestano, Kyle         7/17/2023     0.9   Review the remaining high priority non-customer cases outstanding
                                          by the staff that there was pending questions
Ramanathan, Kumanan   7/17/2023     0.6   Provide changes to customer portal presentation

Sarmiento, Dubhe      7/17/2023     3.1   Creation of response templates and data subject requests tracker to
                                          manage the Privacy Inbox
Sarmiento, Dubhe      7/17/2023     0.9   Management of Privacy Inbox on 17 July


Yan, Jack             7/17/2023     0.9   Revise the draft minutes for the Weekly KYC and Decision Meeting
                                          held on 14 July 2023
Yan, Jack             7/17/2023     0.3   Call with Q. Zhang and J. Yan (A&M) regarding the updates of
                                          Manual Review Ticket Tracker
Yurchak, Lilia        7/17/2023     0.7   Call with Q. Zhang, A. Mohammed, L. Yurchak (A&M), Sumsub,
                                          Metalab, and Integreon to discuss customer claims portal
                                          collaborative integration on daily touchbase
Yurchak, Lilia        7/17/2023     1.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to go through
                                          customer service tickets related to Sumsub issues
Yurchak, Lilia        7/17/2023     0.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to discuss
                                          response to S&C request and reporting template
Yurchak, Lilia        7/17/2023     0.3   Call with Q. Zhang, L. Chamma, L. Yurchak (A&M), and Sumsub to
                                          discuss acceptable POIs for various jurisdictions
Yurchak, Lilia        7/17/2023     2.4   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                          team to do KYC manual review on customers identified by customer
                                          support
Zhang, Qi             7/17/2023     0.3   Call with Q. Zhang and J. Yan (A&M) regarding the updates of
                                          Manual Review Ticket Tracker
Zhang, Qi             7/17/2023     0.7   Call with Q. Zhang, A. Mohammed, L. Yurchak (A&M), Sumsub,
                                          Metalab, and Integreon to discuss customer claims portal
                                          collaborative integration on daily touchbase



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Claims
Professional              Date    Hours     Activity
Zhang, Qi             7/17/2023     0.5   Call with Q. Zhang (A&M) and A. Powel (Integreon) to discuss
                                          manual review team issues and progress going forward
Zhang, Qi             7/17/2023     2.4   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                          team to do KYC manual review on customers identified by customer
                                          support
Zhang, Qi             7/17/2023     0.3   Call with Q. Zhang, L. Chamma, L. Yurchak (A&M), and Sumsub to
                                          discuss acceptable POIs for various jurisdictions
Arora, Rohan          7/18/2023     1.4   Complete claims triage for medium/low priority customer claims to
                                          find docketing errors and duplicates
Arora, Rohan          7/18/2023     1.8   Continue claims triage for high priority customer claims to find
                                          docketing errors and duplicates
Arora, Rohan          7/18/2023     0.7   Continue claims triage for low priority customer claims to find
                                          docketing errors and duplicates
Arora, Rohan          7/18/2023     1.2   Continue claims triage for medium/low priority customer claims to
                                          find docketing errors and duplicate claims
Arora, Rohan          7/18/2023     1.9   Continue claims triage for medium/low priority customer claims to
                                          find docketing errors and duplicates
Arora, Rohan          7/18/2023     1.6   Focus claims triage on low priority customer claims

Arora, Rohan          7/18/2023     0.8   Focus on claims triage for medium/low priority customer claims to
                                          find docketing errors and duplicates
Arora, Rohan          7/18/2023     0.4   Identify and flag duplicates among customer claims

Chambers, Henry       7/18/2023     1.1   Respond to S&C queries following creditor enquiry on KYC process


Chambers, Henry       7/18/2023     0.8   Correspondence regarding data privacy compliance for customer
                                          portal
Chambers, Henry       7/18/2023     0.2   Call with M. Flynn, H. Chambers (A&M) to discuss current KYC
                                          status
Chambers, Henry       7/18/2023     0.4   Call with M. Flynn, H. Chambers (A&M) to discuss changes to KYC
                                          portal copy
Chambers, Henry       7/18/2023     0.8   Call with H. Chambers, L. Chamma, M. Flynn (A&M), Sumsub,
                                          MetaLab, and Integreon to discuss customer claims portal
                                          collaborative integration on daily touchbase
Chambers, Henry       7/18/2023     1.6   Provide input on troubleshooting of KYC process in customer portal


Chambers, Henry       7/18/2023     0.6   Update to S&C on requested statistics and Sumsub flags

Chambers, Henry       7/18/2023     1.3   Respond to issues regarding customer portal and KYC feedback

Chambers, Henry       7/18/2023     0.9   Prepare updates to customer portal FAQ


Chambers, Henry       7/18/2023     1.3   Perform review Sumsub unverified KYC applications

Chambers, Henry       7/18/2023     0.4   Correspondence regarding updates to Zendesk articles



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Claims
Professional            Date     Hours     Activity
Chamma, Leandro      7/18/2023     1.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to go through
                                         customer service tickets related to Sumsub issues
Chamma, Leandro      7/18/2023     0.3   Review of email templates for customer service and KYC vendor to
                                         use when reaching out to customers with applications that require
                                         additional documentation
Chamma, Leandro      7/18/2023     0.5   Call with Q. Zhang, L. Chamma (A&M) and Integreon team for daily
                                         manual review check in
Chamma, Leandro      7/18/2023     0.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to discuss
                                         response to S&C request and reporting template
Chamma, Leandro      7/18/2023     0.3   Verify KYC application flagged by manual review vendor as
                                         containing approval issues
Chamma, Leandro      7/18/2023     0.8   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma (A&M), and
                                         Sumsub to discuss customer portal dashboard and Sumsub status
                                         issue
Chamma, Leandro      7/18/2023     0.8   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M), and Sumsub to
                                         discuss KYC system issues identified in daily review
Chamma, Leandro      7/18/2023     0.8   Call with H. Chambers, L. Chamma, M. Flynn (A&M), Sumsub,
                                         MetaLab, and Integreon to discuss customer claims portal
                                         collaborative integration on daily touchbase
Chamma, Leandro      7/18/2023     2.4   Analyze KYC applications manually reviewed by vendor in order to
                                         perform daily quality control verification
Esposito, Rob        7/18/2023     1.4   Review and prepare updates to the non-customer claims overview

Esposito, Rob        7/18/2023     0.5   Call with D Mapplethorpe, O Bitman, E Echevarria, J Hughes, R
                                         Stitt, (Kroll), C Cox, J Zaleski (Metalab), R Esposito, D
                                         Lewandowski, A Mohammed, R Johnson, L Konig, S Kotarba, J
                                         Zatz, (A&M) to discuss claims portal & claims administrator
                                         integration
Esposito, Rob        7/18/2023     1.0   Discussion with D. Lewandowski, R. Esposito, K. Pestano, and J.
                                         Francis (A&M) re: non-customer claims reporting deck
Esposito, Rob        7/18/2023     0.6   Prepare detailed response to claim transfer questions

Esposito, Rob        7/18/2023     0.8   Research and summary of claim transfer scenarios and defective
                                         transfers
Esposito, Rob        7/18/2023     0.7   Review and management of the claims summary status and
                                         presentation
Esposito, Rob        7/18/2023     0.4   Review of contingent claims for response to S&C team

Flynn, Matthew       7/18/2023     0.9   Compile daily customer portal dashboard presentation for
                                         management
Flynn, Matthew       7/18/2023     0.5   Call with M. Flynn, Q. Zhang, A.Mohammed (A&M) MetaLab and
                                         Sumsub teams to discuss KYC status technical implementation
Flynn, Matthew       7/18/2023     0.7   Review social media posts and work with FTX communications team
                                         on response
Flynn, Matthew       7/18/2023     0.2   Call with M. Flynn, H. Chambers (A&M) to discuss current KYC
                                         status



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Claims
Professional              Date     Hours     Activity
Flynn, Matthew         7/18/2023     0.8   Draft updated KYC customer portal copy

Flynn, Matthew         7/18/2023     0.3   Review FTX TR account status for 2FA reset for S&C


Flynn, Matthew         7/18/2023     0.3   Call with M. Flynn, Q. Zhang (A&M), FTX Customer Support, Kroll
                                           teams to discuss current customer support FAQs
Flynn, Matthew         7/18/2023     0.7   Call with C. Cox, D. Longan, J. Zaleski, E. Swedberg (Metalab), and
                                           M. Flynn, Q. Zhang, A. Mohammed (A&M) to discuss FTX portal
                                           KYC vendor technology integration and requirements
Flynn, Matthew         7/18/2023     0.8   Call with H. Chambers, L. Chamma, M. Flynn (A&M), Sumsub,
                                           MetaLab, and Integreon to discuss customer claims portal
                                           collaborative integration on daily touchbase
Flynn, Matthew         7/18/2023     0.3   Call with M. Flynn, Q. Zhang (A&M), A. Porwal, R. Wendlick
                                           (Integreon) to discuss KYC processing times
Flynn, Matthew         7/18/2023     0.8   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma (A&M), and
                                           Sumsub to discuss customer portal dashboard and Sumsub status
                                           issue
Flynn, Matthew         7/18/2023     0.4   Call with M. Flynn, H. Chambers (A&M) to discuss changes to KYC
                                           portal copy
Francis, Luke          7/18/2023     0.4   Working session with K. Pestano, D. Lewandowski, and L. Francis
                                           (A&M) re: claim summary/detail reporting updates
Francis, Luke          7/18/2023     1.0   Discussion with D. Lewandowski, R. Esposito, K. Pestano, and L.
                                           Francis (A&M) re: non-customer claims reporting deck
Francis, Luke          7/18/2023     0.4   Working session with L Francis and R Esposito (A&M) to discuss
                                           creditor redactions for Statements/Schedules amendments
Grosvenor, Robert      7/18/2023     0.4   Review of proposed response to FTX claims consent withdrawal
                                           requests
Grosvenor, Robert      7/18/2023     0.4   Call with R. Grosvenor, S. Lowe, D. Sarmiento, A. Mohammed
                                           (A&M) R. Logan (S&C) to discuss consent withdrawal requests and
                                           process
Hill, Liam             7/18/2023     1.3   Perform review of claims filed by non-customer creditors beginning
                                           with "F" to find docketing errors and duplicate claims
Hill, Liam             7/18/2023     1.6   Conduct review of claims filed by non-customer creditors beginning
                                           with "s" to find docketing errors and duplicate claims
Hill, Liam             7/18/2023     1.7   Execute the review of claims filed by non-customer creditors
                                           beginning with "E" to identify any docketing errors and duplicate
                                           claims
Hill, Liam             7/18/2023     2.6   Continue to conduct review of claims filed by non-customer creditors
                                           beginning with "s" to find docketing errors and duplicate claims
Hubbard, Taylor        7/18/2023     1.3   Give primary focus to customer claims during triage

Hubbard, Taylor        7/18/2023     3.1   Perform customer claim triage to find docketing errors


Hubbard, Taylor        7/18/2023     1.6   Center the triage process around identifying customer claims




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Claims
Professional              Date     Hours     Activity
Johnson, Robert        7/18/2023     0.5   Call with D. Mapplethorpe, O.Bitman, E. Echevarria, J.Huges, R.
                                           Stitt, (Kroll), C. Cox, J. Zaleski (Metalab), R. Esposito, D.
                                           Lewandowski, A. Mohammed, R. Johnson, L. Konig, S. Kotarba, J.
                                           Zatz, (A&M) team to discuss customer claims portal and claims a
Johnson, Robert        7/18/2023     1.1   Call with R. Johnson, A. Mohammed (A&M) and MetaLab/FTX team
                                           to discuss development efforts during daily standup
Konig, Louis           7/18/2023     1.8   Database scripting related to customer balance component
                                           breakdowns
Konig, Louis           7/18/2023     1.4   Quality control and review of output related to customer balance
                                           component breakdowns
Konig, Louis           7/18/2023     0.5   Call with D. Mapplethorpe, O.Bitman, E. Echevarria, J.Huges, R.
                                           Stitt, (Kroll), C. Cox, J. Zaleski (Metalab), R. Esposito, D.
                                           Lewandowski, A. Mohammed, R. Johnson, L. Konig, S. Kotarba, J.
                                           Zatz, (A&M) team to discuss customer claims portal and claims a
Kotarba, Steve         7/18/2023     0.5   Call with D. Mapplethorpe, O.Bitman, E. Echevarria, J.Huges, R.
                                           Stitt, (Kroll), C. Cox, J. Zaleski (Metalab), R. Esposito, D.
                                           Lewandowski, A. Mohammed, R. Johnson, L. Konig, S. Kotarba, J.
                                           Zatz, (A&M) team to discuss customer claims portal and claims a
Lewandowski, Douglas   7/18/2023     0.4   Working session with K. Pestano, D. Lewandowski, and L. Francis
                                           (A&M) re: claim summary/detail reporting updates
Lewandowski, Douglas   7/18/2023     0.3   Working session with K. Pestano and D. Lewandowski (A&M) re:
                                           claim summary/detail reporting updates
Lewandowski, Douglas   7/18/2023     2.1   Work on summary slides by claim type and claim class for
                                           management presentation
Lewandowski, Douglas   7/18/2023     1.7   Work on applying Kroll register updates to A&M claims register


Lewandowski, Douglas   7/18/2023     0.5   Call with D. Mapplethorpe, O.Bitman, E. Echevarria, J.Huges, R.
                                           Stitt, (Kroll), C. Cox, J. Zaleski (Metalab), R. Esposito, D.
                                           Lewandowski, A. Mohammed, R. Johnson, L. Konig, S. Kotarba, J.
                                           Zatz, (A&M) team to discuss customer claims portal and claims a
Lewandowski, Douglas   7/18/2023     1.6   Update claim matches for legal related contract claims for amend
                                           and duplicative claims
Lewandowski, Douglas   7/18/2023     1.0   Discussion with D. Lewandowski, R. Esposito, K. Pestano, and J.
                                           Francis (A&M) re: non-customer claims reporting deck
Lewandowski, Douglas   7/18/2023     1.6   Work on customer inquiries related to contingent flag from S&C

Lowe, Sam              7/18/2023     0.4   Call with R. Grosvenor, S. Lowe, D. Sarmiento, A. Mohammed
                                           (A&M) R. Logan (S&C) to discuss consent withdrawal requests and
                                           process
Lowe, Sam              7/18/2023     0.9   Review of response templates and data subject requests tracker to
                                           manage the Privacy Inbox
Lowe, Sam              7/18/2023     0.4   Gather information from customer services for handling of the claims
                                           portal Privacy Inbox requests
Lowe, Sam              7/18/2023     2.4   Prepare communications on management of privacy matters

Mohammed, Azmat        7/18/2023     0.7   Integrate help desk center with translation service for FAQ and help
                                           articles


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                             July 1, 2023 through July 31, 2023


Claims
Professional              Date     Hours     Activity
Mohammed, Azmat        7/18/2023     0.2   Call with 3rd party development shop regarding increasing
                                           development capacity for claims portal
Mohammed, Azmat        7/18/2023     0.4   Call with R. Grosvenor, S. Lowe, D. Sarmiento, A. Mohammed
                                           (A&M) R. Logan (S&C) to discuss consent withdrawal requests and
                                           process
Mohammed, Azmat        7/18/2023     0.7   Coordinate development efforts related to web server issue logging
                                           on the Claims Administrator API
Mohammed, Azmat        7/18/2023     1.2   Coordinate development efforts related to KYC vendor API status
                                           updates
Mohammed, Azmat        7/18/2023     0.5   Call with D. Mapplethorpe, O.Bitman and others (Kroll) C. Cox, J.
                                           Zaleski (Metalab), R. Esposito, D. Lewandowski, A. Mohammed, R.
                                           Johnson, L. Konig, S. Kotarba, J. Zatz, (A&M) team to discuss
                                           customer claims portal and claims administrator integration
Mohammed, Azmat        7/18/2023     1.1   Call with R. Johnson, A. Mohammed (A&M) and MetaLab/FTX team
                                           to discuss development efforts during daily standup
Mohammed, Azmat        7/18/2023     0.5   Call with M. Flynn, Q. Zhang, A.Mohammed (A&M) MetaLab and
                                           Sumsub teams to discuss KYC status technical implementation
Mohammed, Azmat        7/18/2023     0.6   Call with J. Zaleski, C.Cox, D. Longan (MetaLab) and A. Mohammed
                                           (A&M) to discuss 7/18 release list and hot fixes
Mohammed, Azmat        7/18/2023     0.6   Call with C. Cox, D. Longan, J. Zaleski (Metalab), and A.
                                           Mohammed (A&M) to discuss FTX portal backlog grooming
Mohammed, Azmat        7/18/2023     0.7   Call with C. Cox, D. Longan, J. Zaleski, E. Swedberg (Metalab), and
                                           M. Flynn, Q. Zhang, A. Mohammed (A&M) to discuss FTX portal
                                           KYC vendor technology integration and requirements
Mohammed, Azmat        7/18/2023     0.8   Call with Q. Zhang, A. Mohammed, L. Yurchak (A&M), Sumsub,
                                           MetaLab, and Integreon to discuss customer claims portal
                                           collaborative integration on daily touchbase
Mosley, Ed             7/18/2023     0.9   Review and provide comments to draft presentation of proposed
                                           debtor's communication tool
Myers, Claire          7/18/2023     0.3   Triage customer claims against FTX Trading

Okuzu, Ciera           7/18/2023     1.6   Review of creditor claims to identify docketing errors and duplicates
                                           for creditors with last name beginning with CI-CO
Okuzu, Ciera           7/18/2023     1.4   Continue review of creditor claims to identify docketing errors and
                                           duplicated for creditors that have a last name beginning with CO
Okuzu, Ciera           7/18/2023     1.7   Review of creditor claims to identify docketing errors and duplicates
                                           for creditors with last name beginning with CHU-CHI
Okuzu, Ciera           7/18/2023     1.1   Review of creditor claims to identify docketing errors and duplicates
                                           for creditors with last name beginning with CHO-CHU
Pestano, Kyle          7/18/2023     0.4   Working discussion with K. Pestano, D. Lewandowski, and L.
                                           Francis (A&M) re: claim summary/detail reporting updates
Pestano, Kyle          7/18/2023     2.4   Discussion with D. Lewandowski (A&M) re: using macro to update
                                           the claim detail in the master summary file
Pestano, Kyle          7/18/2023     1.0   Discussion with D. Lewandowski, R. Esposito, K. Pestano, and J.
                                           Francis (A&M) re: non-customer claims reporting deck
Pestano, Kyle          7/18/2023     0.3   Prepare updated summary for discussion with team that
                                           incorporates newly identified claim sub-types

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Claims
Professional             Date     Hours     Activity
Pestano, Kyle         7/18/2023     2.5   Review claims filed by claimants beginning with BA-BI for docketing
                                          errors, amend/dupe matching and Review excel summary
Pestano, Kyle         7/18/2023     2.1   Update formulas in the excel summary of non-customer claims,
                                          linked the master summary to PowerPoint deck, and answered
                                          questions/comments by R. Esposito and D. Lewandowski (A&M)
Pestano, Kyle         7/18/2023     0.3   Working session with K. Pestano and D. Lewandowski (A&M) re:
                                          claim summary/detail reporting updates
Ramanathan, Kumanan   7/18/2023     0.3   Call with R. Perubhatla (FTX) to discuss claims portal matters

Ramanathan, Kumanan   7/18/2023     0.9   Review of customer claims portal issues and provide feedback


Sarmiento, Dubhe      7/18/2023     0.6   Management of Privacy Inbox on 18 July

Sarmiento, Dubhe      7/18/2023     0.4   Call with R. Grosvenor, S. Lowe, D. Sarmiento, A. Mohammed
                                          (A&M) R. Logan (S&C) to discuss consent withdrawal requests and
                                          process
Yan, Jack             7/18/2023     0.3   Understand the Manual Review Ticket Tracker of Customer Portal


Yurchak, Lilia        7/18/2023     0.7   Call with L. Yurchak, Q. Zhang (A&M) to discuss manual review
                                          work issues
Yurchak, Lilia        7/18/2023     0.8   Draft scripts for KYC resubmission emails


Yurchak, Lilia        7/18/2023     0.8   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M), and Sumsub to
                                          discuss current KYC process flow issues
Yurchak, Lilia        7/18/2023     0.8   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma (A&M), and
                                          Sumsub to discuss customer portal dashboard and Sumsub status
                                          issue
Yurchak, Lilia        7/18/2023     1.1   Conduct QC of manual review performed by Integreon


Yurchak, Lilia        7/18/2023     1.8   Continue QC of manual review performed by Integreon

Yurchak, Lilia        7/18/2023     0.8   Call with Q. Zhang, A. Mohammed, L. Yurchak (A&M), Sumsub,
                                          MetaLab, and Integreon to discuss customer claims portal
                                          collaborative integration on daily touchbase
Zatz, Jonathan        7/18/2023     0.5   Call with D. Mapplethorpe, O.Bitman, E. Echevarria, J.Huges, R.
                                          Stitt, (Kroll), C. Cox, J. Zaleski (Metalab), R. Esposito, D.
                                          Lewandowski, A. Mohammed, R. Johnson, L. Konig, S. Kotarba, J.
                                          Zatz, (A&M) team to discuss customer claims portal and claims a
Zatz, Jonathan        7/18/2023     1.6   Database scripting related to request to confirm reason behind
                                          contingency flag for specific users
Zatz, Jonathan        7/18/2023     2.4   Database scripting related to request to search for specific account
                                          ID's for Liquid user
Zhang, Qi             7/18/2023     0.3   Call with M. Flynn, Q. Zhang (A&M), FTX Customer Support, Kroll
                                          teams to discuss current customer support FAQs
Zhang, Qi             7/18/2023     0.5   Call with Q. Zhang, L. Chamma (A&M) and Integreon team for daily
                                          manual review check in



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Claims
Professional             Date     Hours     Activity
Zhang, Qi             7/18/2023     0.2   Call with Q. Zhang and L. Chamma (A&M) to discuss approach
                                          related to customers rejected for duplicate accounts
Zhang, Qi             7/18/2023     0.3   Call with M. Flynn, Q. Zhang (A&M), A. Porwal, R. Wendlick
                                          (Integreon) to discuss KYC processing times
Zhang, Qi             7/18/2023     0.8   Call with M. Flynn, L. Yurchak, Q. Zhang, L. Chamma (A&M), and
                                          Sumsub to discuss customer portal dashboard and Sumsub status
                                          issue
Zhang, Qi             7/18/2023     0.8   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M), and Sumsub to
                                          discuss KYC system issues identified in daily review
Zhang, Qi             7/18/2023     1.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to go through
                                          customer service tickets related to Sumsub issues
Zhang, Qi             7/18/2023     0.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to discuss
                                          response to S&C request and reporting template
Zhang, Qi             7/18/2023     0.8   Call with Q. Zhang, A. Mohammed, L. Yurchak (A&M), Sumsub,
                                          MetaLab, and Integreon to discuss customer claims portal
                                          collaborative integration on daily touchbase
Arora, Rohan          7/19/2023     1.4   Complete claims triage for specific low priority customer claims to
                                          identify claim duplicates and docketing errors
Arora, Rohan          7/19/2023     1.8   Complete claims triage for customer claims for duplicates, errors
                                          and omissions
Arora, Rohan          7/19/2023     0.2   Discussion with D. Lewandowski, S. Kotarba, T. Hubbard, R. Arora,
                                          C. Okuzu, K. Petano, L. Hill, and C. Myers (A&M) re: claims triage
                                          updates
Arora, Rohan          7/19/2023     0.8   Complete claims triage for customer claims to find docketing errors
                                          and duplicate claims
Arora, Rohan          7/19/2023     1.2   Complete claims triage for low priority customer claims to find
                                          docketing errors and duplicates
Arora, Rohan          7/19/2023     2.1   Complete claims triage for specific customer claims to find
                                          docketing errors and duplicates
Arora, Rohan          7/19/2023     0.9   Continue claims triage for customer claims to find docketing errors
                                          and duplicates
Chambers, Henry       7/19/2023     0.8   Updates to supplemental KYC email templates

Chambers, Henry       7/19/2023     0.6   Update additional email template for KYC reminders


Chambers, Henry       7/19/2023     0.3   Review and provide comments to claim information acquisition for
                                          KYC submission outside of portal
Chambers, Henry       7/19/2023     0.3   Correspondence regarding alignment of Liquid Customer Service
                                          and FTX Customer Japan Service
Chambers, Henry       7/19/2023     0.4   Updates to FTX Japan monthly reporting deck

Chambers, Henry       7/19/2023     0.4   Correspondence regarding additional S&C flags for Sumsub data


Chambers, Henry       7/19/2023     0.3   Respond to S&C queries regarding KYC matters




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Claims
Professional             Date    Hours     Activity
Chambers, Henry      7/19/2023     0.3   Correspondence regarding FTX Japan reporting deck

Chambers, Henry      7/19/2023     0.1   Correspondence regarding Liquid data acquisition


Chambers, Henry      7/19/2023     0.7   Correspondence with S&C regarding KYC email update templates

Chambers, Henry      7/19/2023     0.3   Respond to comments on FTX Japan template

Chambers, Henry      7/19/2023     0.4   Respond to queries regarding data for subpoenas


Chambers, Henry      7/19/2023     1.0   Call with H. Chambers, L. Chamma, M. Flynn (A&M), Sumsub,
                                         MetaLab, and Integreon to discuss customer claims portal
                                         collaborative integration on daily touchbase
Chamma, Leandro      7/19/2023     1.2   Review new rejections for duplicates claims in order to verify
                                         whether database fixes are working as intended
Chamma, Leandro      7/19/2023     0.7   Draft summary of findings related to customer portal KYC
                                         applications that got rejected for being duplicated applications
Chamma, Leandro      7/19/2023     2.3   Analyze KYC applications manually approved by vendor and
                                         verification of whether issues identified in previous quality control
                                         checks were corrected
Chamma, Leandro      7/19/2023     1.7   Analyze KYC applications manually approved by vendor in order to
                                         perform daily quality control verification
Chamma, Leandro      7/19/2023     1.0   Call with H. Chambers, L. Chamma, M. Flynn (A&M), Sumsub,
                                         MetaLab, and Integreon to discuss customer claims portal
                                         collaborative integration on daily touchbase
Chamma, Leandro      7/19/2023     0.3   Call with L. Chamma and A. Mohammed (A&M) to discuss customer
                                         portal duplicate claim rejection findings
Chamma, Leandro      7/19/2023     0.8   Call with L. Chamma, Q. Zhang (A&M) to discuss manual review
                                         work issues
Chamma, Leandro      7/19/2023     1.6   Call with Q. Zhang, L. Chamma, L. Yurchak (A&M) and Integreon
                                         team to go through manual review issues identified in quality check
Chamma, Leandro      7/19/2023     1.8   Review of customer portal customer tickets escalated to KYC review
                                         team
Esposito, Rob        7/19/2023     0.6   Discussion with D. Lewandowski, R. Esposito, K. Ramanathan
                                         (A&M), O. Bitman, G. Brunswick, T. Evangelista, J. Hughes, A.
                                         Jaffar, D. Mapplethorpe, J. Searles, and B. Steele (Kroll) re:
                                         scheduled claim transfers
Esposito, Rob        7/19/2023     1.4   Working session with D. Lewandowski and R. Esposito (A&M) re:
                                         claim updates
Esposito, Rob        7/19/2023     0.6   Review of secured claims to prepare for claims reporting
                                         presentation
Esposito, Rob        7/19/2023     0.3   Call with J. Hughes, J. Searles, R. Stitt, B. Steele (Kroll) C. Cox
                                         (Metalab), R. Esposito, D. Lewandowski, A. Mohammed (A&M) team
                                         to discuss customer claims portal and claims administrator
                                         integration
Esposito, Rob        7/19/2023     0.2   Discussion with M Cilia (FTX) and R Esposito (A&M) re: the claims
                                         portal process


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Claims
Professional              Date     Hours     Activity
Esposito, Rob          7/19/2023     0.6   Coordination of filed claims review process with team members

Esposito, Rob          7/19/2023     0.3   Review of Kroll claim transfer memo to prepare for meeting


Esposito, Rob          7/19/2023     0.2   Review of customer claims stats for response to A&M team

Flynn, Matthew         7/19/2023     0.4   Review updated customer portal KYC copy from S&C

Flynn, Matthew         7/19/2023     0.6   Call with Q. Zhang, M. Flynn (A&M) and Integreon team to discuss
                                           customer service and KYC link issue
Flynn, Matthew         7/19/2023     1.0   Call with Q. Zhang, M. Flynn (A&M) and Sumsub team to discuss
                                           customer service and KYC link issue fixes
Flynn, Matthew         7/19/2023     0.3   Review and respond to claims questions from Management


Flynn, Matthew         7/19/2023     1.2   Review customer support KYC tracking file and conduct QA on
                                           output against customer applications
Flynn, Matthew         7/19/2023     0.5   Call with M. Flynn, Q. Zhang, A.Mohammed (A&M) MetaLab and
                                           Sumsub teams to discuss KYC status technical implementation
Flynn, Matthew         7/19/2023     0.3   Review SumSub tagging for justice inquires

Flynn, Matthew         7/19/2023     0.3   Correspond with customer support team on updated policies and
                                           procedures on recording new KYC applications
Flynn, Matthew         7/19/2023     0.4   Update daily customer portal tracking for Management


Flynn, Matthew         7/19/2023     0.4   Review Liquid customer portal questions

Flynn, Matthew         7/19/2023     0.2   Call with M. Flynn, K. Ramanathan (A&M) to discuss Sumsub KYC
                                           links
Flynn, Matthew         7/19/2023     1.0   Call with H. Chambers, L. Chamma, M. Flynn (A&M), Sumsub,
                                           MetaLab, and Integreon to discuss customer claims portal
                                           collaborative integration on daily touchbase
Flynn, Matthew         7/19/2023     0.7   Call with C. Cox, D. Longan, J. Zaleski, E. Swedberg (Metalab), and
                                           M. Flynn, Q. Zhang, A. Mohammed (A&M) to discuss FTX portal
                                           KYC vendor technology integration and requirements
Flynn, Matthew         7/19/2023     1.4   Assess issues with unique links for customers within SumSub


Flynn, Matthew         7/19/2023     1.0   Call with M. Flynn, A. Mohammed (A&M) to discuss updates to daily
                                           customer portal dashboard
Flynn, Matthew         7/19/2023     0.3   Call with M. Flynn, Q. Zhang (A&M) to discuss customer service
                                           KYC process and procedures
Flynn, Matthew         7/19/2023     0.3   Review comments by S&C on new customer support macros


Hill, Liam             7/19/2023     1.9   Claims triage of customer specific claims filed against debtors to find
                                           docketing errors and duplicate claims




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Claims
Professional              Date     Hours     Activity
Hill, Liam             7/19/2023     3.2   Continue conducting review of claims filed by non-customer
                                           creditors beginning with "s" to identify any docketing errors and
                                           duplicate claims
Hill, Liam             7/19/2023     1.3   Continue claims triage for claims filed by non-customer creditors
                                           beginning with "F" to find duplicate claims and docketing errors
Hill, Liam             7/19/2023     0.2   Discussion with D. Lewandowski, S. Kotarba, T. Hubbard, R. Arora,
                                           C. Okuzu, K. Petano, L. Hill, and C. Myers (A&M) re: claims triage
                                           updates
Hubbard, Taylor        7/19/2023     1.8   Conduct claims triage process, directing attention towards customer
                                           claims for claimant names beginning with C for reporting purposes
Hubbard, Taylor        7/19/2023     1.7   Prioritize customer claims throughout the triage process

Hubbard, Taylor        7/19/2023     1.1   Concentrate on customer claims as a central aspect of the triage
                                           process
Hubbard, Taylor        7/19/2023     0.2   Discussion with D. Lewandowski, S. Kotarba, T. Hubbard, R. Arora,
                                           C. Okuzu, K. Pestano, L. Hill, and C. Myers (A&M) re: claims triage
                                           updates
Johnson, Robert        7/19/2023     1.0   Call with K. Ramanathan, R. Johnson, A. Mohammed (A&M) and
                                           MetaLab/FTX team to discuss development efforts during daily
                                           standup
Konig, Louis           7/19/2023     1.7   Database scripting related to customer balance research and
                                           reporting
Konig, Louis           7/19/2023     1.1   Documentation of findings related to customer balance component
                                           breakdowns
Kotarba, Steve         7/19/2023     0.2   Discussion with D. Lewandowski, S. Kotarba, T. Hubbard, R. Arora,
                                           C. Okuzu, K. Petano, L. Hill, and C. Myers (A&M) re: claims triage
                                           updates
Lewandowski, Douglas   7/19/2023     0.2   Discussion with D. Lewandowski, S. Kotarba, T. Hubbard, R. Arora,
                                           C. Okuzu, K. Petano, L. Hill, and C. Myers (A&M) re: claims triage
                                           updates
Lewandowski, Douglas   7/19/2023     0.3   Work on unliquidated schedule/claim matching for reporting
                                           purposes
Lewandowski, Douglas   7/19/2023     0.5   Correspond with claims triage team re: modifications to triage
                                           process and claim typing
Lewandowski, Douglas   7/19/2023     0.1   Discussion with D. Lewandowski and C. Okuzu (A&M) re: claims
                                           reconciliation unliquidated questions
Lewandowski, Douglas   7/19/2023     0.6   Discussion with D. Lewandowski, R. Esposito, K. Ramanathan
                                           (A&M), O. Bitman, G. Brunswick, T. Evangelista, J. Hughes, A.
                                           Jaffar, D. Mapplethorpe, J. Searles, and B. Steele (Kroll) re:
                                           scheduled claim transfers
Lewandowski, Douglas   7/19/2023     0.7   Working session with D. Lewandowski and K. Pestano (A&M) re:
                                           claim updates
Lewandowski, Douglas   7/19/2023     2.1   Work on reviewing schedule D/F loans against filed claims


Lewandowski, Douglas   7/19/2023     1.8   Update newly filed customer claim docketing per revised Kroll file




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Claims
Professional              Date     Hours     Activity
Lewandowski, Douglas   7/19/2023     0.3   Call with J. Hughes, J. Searles, R. Stitt, B. Steele (Kroll) C. Cox
                                           (Metalab), R. Esposito, D. Lewandowski, A. Mohammed (A&M) team
                                           to discuss customer claims portal and claims administrator
                                           integration
Lewandowski, Douglas   7/19/2023     1.4   Working session with D. Lewandowski and R. Esposito (A&M) re:
                                           claim updates
Lowe, Sam              7/19/2023     1.4   Review emails received to claims portal Privacy Inbox and draft
                                           initial responses
Mohammed, Azmat        7/19/2023     1.0   Call with M. Flynn, A. Mohammed (A&M) to discuss updates to daily
                                           customer portal dashboard
Mohammed, Azmat        7/19/2023     0.8   Review server health and production environment/infrastructure for
                                           FTX Claims portal with Sygnia
Mohammed, Azmat        7/19/2023     0.3   Call with J. Hughes, J. Searles, R. Stitt, B. Steele (Kroll) C. Cox
                                           (Metalab), R. Esposito, D. Lewandowski, A. Mohammed (A&M) team
                                           to discuss customer claims portal and claims administrator
                                           integration
Mohammed, Azmat        7/19/2023     1.0   Call with Q. Zhang, L. Yurchak, and A. Mohammed (A&M), Sumsub,
                                           MetaLab, and Integreon to discuss customer claims portal
                                           collaborative integration on daily touchbase
Mohammed, Azmat        7/19/2023     0.3   Call with L. Chamma and A. Mohammed (A&M) to discuss customer
                                           portal duplicate claim rejection findings
Mohammed, Azmat        7/19/2023     1.0   Call with K. Ramanathan, R. Johnson, A. Mohammed (A&M) and
                                           MetaLab/FTX team to discuss development efforts during daily
                                           standup
Mohammed, Azmat        7/19/2023     0.3   Research chatbot capabilities to augment and supplement FTX
                                           Customer Service team
Mohammed, Azmat        7/19/2023     3.1   Coordinate development efforts related to Claims Admin, KYC
                                           vendor, and FTX collaborative analytics platform
Myers, Claire          7/19/2023     0.2   Discussion with D. Lewandowski, S. Kotarba, T. Hubbard, R. Arora,
                                           C. Okuzu, K. Petano, L. Hill, and C. Myers (A&M) re: claims triage
                                           updates
Okuzu, Ciera           7/19/2023     0.1   Discussion with D. Lewandowski and C. Okuzu (A&M) re: claims
                                           reconciliation unliquidated questions
Okuzu, Ciera           7/19/2023     0.2   Discussion with D. Lewandowski, S. Kotarba, T. Hubbard, R. Arora,
                                           C. Okuzu, K. Pestano, L. Hill, and C. Myers (A&M) re: claims triage
                                           updates
Okuzu, Ciera           7/19/2023     1.0   Review of creditor claims to identify docketing errors and duplicates
                                           for creditors with last name beginning with CO-CR
Okuzu, Ciera           7/19/2023     2.1   Review of creditor claims to identify docketing errors and duplicates
                                           for creditors with last name beginning with CR-CFE
Pestano, Kyle          7/19/2023     2.9   Identify duplication issues during high level review of claims and
                                           Update approach to the master summary of claims to be more
                                           granular and account for this issue
Pestano, Kyle          7/19/2023     0.2   Discussion with D. Lewandowski, S. Kotarba, T. Hubbard, R. Arora,
                                           C. Okuzu, K. Pestano, L. Hill, and C. Myers (A&M) re: claims triage
                                           updates
Pestano, Kyle          7/19/2023     0.7   Working session with D. Lewandowski and K. Pestano (A&M) re:
                                           claim updates

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                                   FTX Trading Ltd., et al.,
                            Time Detail by Activity by Professional
                              July 1, 2023 through July 31, 2023


Claims
Professional                Date    Hours     Activity
Pestano, Kyle           7/19/2023     0.7   Work discussion with D. Lewandowski and K. Pestano (A&M) re:
                                            claim updates
Pestano, Kyle           7/19/2023     2.7   Prepare summary of Top 10 Non-Customer Creditors for 503(b)(9)
                                            and Admin
Pestano, Kyle           7/19/2023     0.1   Update the current summary with amount report by claim class

Ramanathan, Kumanan     7/19/2023     1.0   Call with K. Ramanathan, R. Johnson, A. Mohammed (A&M) and
                                            MetaLab/FTX team to discuss development efforts during daily
                                            standup
Ramanathan, Kumanan     7/19/2023     0.2   Call with M. Flynn, K. Ramanathan (A&M) to discuss Sumsub KYC
                                            links
Ramanathan, Kumanan     7/19/2023     0.6   Discussion with D. Lewandowski, R. Esposito, K. Ramanathan
                                            (A&M), O. Bitman, G. Brunswick, T. Evangelista, J. Hughes, A.
                                            Jaffar, D. Mapplethorpe, J. Searles, and B. Steele (Kroll) re:
                                            scheduled claim transfers
Ramanathan, Kumanan     7/19/2023     0.4   Prepare updated draft template e-mail for KYC communication

Ramanathan, Kumanan     7/19/2023     0.3   Review of customer portal KPI dashboard and provide feedback

Ramanathan, Kumanan     7/19/2023     0.4   Review various open tickets on customer claims portal and provide
                                            direction to development team on resolution
Sarmiento, Dubhe        7/19/2023     0.2   Respond to individuals' technical queries received on the Privacy
                                            Inbox regarding the claims portal
Sarmiento, Dubhe        7/19/2023     0.3   Management of Privacy Inbox on 19 July


Sullivan, Christopher   7/19/2023     0.6   Working session with G. Walia & C. Sullivan (A&M) to discuss
                                            customer entitlement updates
Walia, Gaurav           7/19/2023     0.6   Working session with G. Walia & C. Sullivan (A&M) to discuss
                                            customer entitlement updates
Yan, Jack               7/19/2023     0.6   Call with J. Yan, Q. Zhang (A&M) to conduct manual review quality
                                            check training
Yan, Jack               7/19/2023     2.7   Monitor and update the manual review ticker tracker

Yan, Jack               7/19/2023     1.3   Perform manual review quality checking as of July 19, 2023


Yurchak, Lilia          7/19/2023     1.0   Call with Q. Zhang, L. Yurchak, and A. Mohammed (A&M), Sumsub,
                                            MetaLab, and Integreon to discuss customer claims portal
                                            collaborative integration on daily touchbase
Yurchak, Lilia          7/19/2023     1.6   Call with Q. Zhang, L. Chamma, L. Yurchak (A&M) and Integreon
                                            team to go through manual review issues identified in quality check
Zatz, Jonathan          7/19/2023     2.2   Database scripting to related to request to determine reason behind
                                            specific user's negative balance
Zatz, Jonathan          7/19/2023     1.9   Database scripting to related to request for specific user's petition
                                            balances and components
Zhang, Qi               7/19/2023     0.7   Call with C. Cox, D. Longan, J. Zaleski, E. Swedberg (Metalab), and
                                            M. Flynn, Q. Zhang, A. Mohammed (A&M) to discuss FTX portal
                                            KYC vendor technology integration and requirements

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                                 FTX Trading Ltd., et al.,
                          Time Detail by Activity by Professional
                            July 1, 2023 through July 31, 2023


Claims
Professional             Date     Hours     Activity
Zhang, Qi             7/19/2023     1.0   Call with Q. Zhang, L. Yurchak, and A. Mohammed (A&M), Sumsub,
                                          MetaLab, and Integreon to discuss customer claims portal
                                          collaborative integration on daily touchbase
Zhang, Qi             7/19/2023     0.8   Call with L. Chamma, Q. Zhang (A&M) to discuss manual review
                                          work issues
Zhang, Qi             7/19/2023     0.7   Call with L. Yurchak, Q. Zhang (A&M) to discuss manual review
                                          work issues
Zhang, Qi             7/19/2023     0.5   Call with M. Flynn, Q. Zhang, A.Mohammed (A&M) MetaLab and
                                          Sumsub teams to discuss KYC status technical implementation
Zhang, Qi             7/19/2023     1.6   Call with Q. Zhang, L. Chamma, L. Yurchak (A&M) and Integreon
                                          team to go through manual review issues identified in quality check
Zhang, Qi             7/19/2023     0.6   Call with J. Yan, Q. Zhang (A&M) to conduct manual review quality
                                          check training
Arora, Rohan          7/20/2023     0.7   Finish claims triage for high/medium priority customer claims

Arora, Rohan          7/20/2023     1.1   Complete claims triage for medium priority customer claims to find
                                          claim duplicates and docketing errors
Arora, Rohan          7/20/2023     0.7   Complete claims triage for high/medium priority customer claims to
                                          find docketing errors and duplicates
Arora, Rohan          7/20/2023     1.6   Continue claims triage for medium priority customer claims


Arora, Rohan          7/20/2023     2.1   Continue claims triage for high/medium priority customer claims for
                                          duplicates errors and omissions
Arora, Rohan          7/20/2023     1.4   Complete claims triage for medium priority customer claims to find
                                          docketing errors and duplicate claims in the claims management
                                          system
Arora, Rohan          7/20/2023     2.2   Continue claims triage for high/medium priority customer claims to
                                          find docketing errors and duplicates
Chambers, Henry       7/20/2023     0.7   Call with H. Chambers, S. Lowe, R. Grosvenor, D. Sarmiento, Q.
                                          Zhang (A&M) to discuss customer consent withdrawal
Chambers, Henry       7/20/2023     0.3   Correspondence with S&C on KYC queries for creditors


Chambers, Henry       7/20/2023     0.4   Correspondence regarding data privacy matters

Chambers, Henry       7/20/2023     1.6   Review unverified KYC applications within Sumsub


Chambers, Henry       7/20/2023     0.6   Respond to queries on KYC process flow

Chambers, Henry       7/20/2023     0.4   Call with H. Chambers, Q. Zhang (A&M) and Integreon to discuss
                                          manual reviewer issues
Chambers, Henry       7/20/2023     0.2   Call with K. Ramanathan, H. Chambers, and A. Mohammed (A&M)
                                          to discuss PII data security measures
Chambers, Henry       7/20/2023     0.7   Call with L. Chamma, H. Chambers, Q. Zhang, A. Mohammed
                                          (A&M), Sumsub, Metalab, and Integreon to discuss customer claims
                                          portal collaborative integration on daily touchbase



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                                  FTX Trading Ltd., et al.,
                           Time Detail by Activity by Professional
                             July 1, 2023 through July 31, 2023


Claims
Professional               Date    Hours     Activity
Chambers, Henry        7/20/2023     0.8   Manage customer service team queries regarding pro forma
                                           responses to customers
Chambers, Henry        7/20/2023     0.3   Correspondence regarding FTX password reset emails


Chamma, Leandro        7/20/2023     2.3   Review of customer portal customer tickets escalated to KYC review
                                           team on July 20
Chamma, Leandro        7/20/2023     1.3   Update Sumsub issue log further to customer portal support tickets
                                           escalated to KYC team on July 20
Chamma, Leandro        7/20/2023     0.9   Update Sumsub issue log further to customer portal support tickets
                                           escalated to KYC team on July 19
Chamma, Leandro        7/20/2023     1.0   Call with L. Chamma, Q. Zhang (A&M) and R. Navarro (FTX) to
                                           discuss customer service link issues
Chamma, Leandro        7/20/2023     0.7   Call with H. Chambers, Q. Zhang, A. Mohammed, L. Chamma
                                           (A&M), Sumsub, MetaLab, and Integreon to discuss customer
                                           claims portal collaborative integration on daily touchbase
Chamma, Leandro        7/20/2023     1.6   Monitor customer portal KYC customer support chat to identify
                                           potential issues related to KYC applications
Chamma, Leandro        7/20/2023     0.4   Call with L. Chamma, Q. Zhang (A&M) to discuss manual reviewer
                                           speed issue and tracker
Esposito, Rob          7/20/2023     1.2   Work on details summary of the claims by priority overview


Esposito, Rob          7/20/2023     0.6   Call with C Cox, J Zalenski, D Longan, S Kissling (ML), A Gryaznov
                                           (Sumsub), J Hughes, E Eschavarria (Kroll), K Ramanathan, R
                                           Esposito, Q Zhang (A&M), I Weinberger, O Weinberger (Sygnia) R
                                           Perubhatla (FTX) to discuss analytics dashboard reporting
Esposito, Rob          7/20/2023     0.2   Draft response to transfer agent related questions

Esposito, Rob          7/20/2023     0.2   Call with D Mapplethorpe, B Steele, J Hughes, J Searles, Kroll team
                                           (Kroll), C Cox, J Zaleski (Metalab), R Esposito, D Lewandowski, A
                                           Mohammed, K Ramanathan, S Kotarba (A&M) team to discuss
                                           customer claims portal and claims administrator integration
Esposito, Rob          7/20/2023     0.5   Call with R. Esposito, D. Lewandowski, S. Lowe, D. Sarmiento, A.
                                           Mohammed (A&M) to discus consent withdrawal case and process
Esposito, Rob          7/20/2023     1.9   Review and estimation of priority, admin and secured claims

Flynn, Matthew         7/20/2023     0.3   Respond to Liquid follow up questions on customer portal

Flynn, Matthew         7/20/2023     0.4   Review updated KYC automated e-mails for S&C


Flynn, Matthew         7/20/2023     0.9   Research KYC unique links for customer support

Grosvenor, Robert      7/20/2023     0.7   Call with H. Chambers, S. Lowe, R. Grosvenor, D. Sarmiento, Q.
                                           Zhang (A&M) to discuss customer consent withdrawal
Hill, Liam             7/20/2023     2.6   Match creditor claims to each other as part of the name
                                           standardization process
Hill, Liam             7/20/2023     0.2   Discussion with L. Hill, D. Lewandowski, C. Okuzu, and C. Myers
                                           (A&M) re: common creditor matching

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                                  FTX Trading Ltd., et al.,
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Claims
Professional              Date     Hours     Activity
Hubbard, Taylor        7/20/2023     2.2   Conduct Market Maker and Loans Payable matching assignment

Hubbard, Taylor        7/20/2023     2.1   Perform Market Maker and Loans Payable matching exercise


Hubbard, Taylor        7/20/2023     0.8   Execute Market Maker and Loans Payable matching exercise
                                           focusing on calculation of estimates
Hubbard, Taylor        7/20/2023     0.5   Discussion with D. Lewandowski and T. Hubbard (A&M) re: Market
                                           Maker/Loans Payable matching
Hubbard, Taylor        7/20/2023     1.6   Conduct claims triage process, directing attention towards customer
                                           claims for claimant names beginning with D for reporting purposes
                                           and to ensure accuracy
Johnson, Robert        7/20/2023     0.9   Call with R. Johnson, A. Mohammed (A&M) and MetaLab/FTX team
                                           to discuss development efforts during daily standup
Konig, Louis           7/20/2023     1.2   Quality control and review of output related to customer balance
                                           research and reporting
Konig, Louis           7/20/2023     2.1   Documentation of findings related to customer balance research and
                                           reporting
Kotarba, Steve         7/20/2023     0.2   Call with D. Mapplethorpe, O.Bitman, B. Steele, J.Huges, R. Stitt,
                                           J. Searles, V. Pratap (Kroll), C. Cox, J. Zaleski (Metalab), R.
                                           Esposito, D. Lewandowski, A. Mohammed, K.. Ramanathan, S.
                                           Kotarba (A&M) team to discuss customer claims portal and claims
Lewandowski, Douglas   7/20/2023     0.2   Call with D. Mapplethorpe, O.Bitman, B. Steele, J.Huges, R. Stitt,
                                           J. Searles, V. Pratap (Kroll), C. Cox, J. Zaleski (Metalab), R.
                                           Esposito, D. Lewandowski, A. Mohammed, K.. Ramanathan, S.
                                           Kotarba (A&M) team to discuss customer claims portal and claims
Lewandowski, Douglas   7/20/2023     1.7   Review docketing issues raised by the triage team for discussion
                                           with Kroll
Lewandowski, Douglas   7/20/2023     0.5   Call with R. Esposito, D. Lewandowski, S. Lowe, D. Sarmiento, A.
                                           Mohammed (A&M) to discus consent withdrawal case and process
Lewandowski, Douglas   7/20/2023     1.7   Create revised summary of claims by priority for management deck

Lewandowski, Douglas   7/20/2023     0.4   Discussion with D. Lewandowski and T. Hubbard (A&M) re: Market
                                           Maker/Loans Payable matching
Lewandowski, Douglas   7/20/2023     1.7   Work on diligence requests related to specific customers for
                                           discussion with S&C
Lewandowski, Douglas   7/20/2023     0.2   Discussion with L. Hill, D. Lewandowski, C. Okuzu, and C. Myers
                                           (A&M) re: common creditor matching
Lewandowski, Douglas   7/20/2023     0.5   Discussion with A. Mohammed, D. Lewandowski and R. Esposito
                                           (A&M) re: customer dashboard reporting
Lewandowski, Douglas   7/20/2023     1.4   Work on diligence requests related to customer scheduled identifiers
                                           for S&C
Lewandowski, Douglas   7/20/2023     1.5   Update transferred claims in the claims management and reporting
                                           system
Lowe, Sam              7/20/2023     0.7   Call with H. Chambers, S. Lowe, R. Grosvenor, D. Sarmiento, Q.
                                           Zhang (A&M) to discuss customer consent withdrawal
Lowe, Sam              7/20/2023     0.9   Gather information from customer services for handling of the claims
                                           portal Privacy Inbox requests

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                          Time Detail by Activity by Professional
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Claims
Professional              Date    Hours     Activity
Lowe, Sam             7/20/2023     2.4   Prepare research and communications on management of privacy
                                          matters
Lowe, Sam             7/20/2023     0.5   Call with R. Esposito, D. Lewandowski, S. Lowe, D. Sarmiento, A.
                                          Mohammed (A&M) to discus consent withdrawal case and process
Mohammed, Azmat       7/20/2023     0.3   Review institutional know your customer (KYC) form from
                                          institutional KYC vendor
Mohammed, Azmat       7/20/2023     1.6   Meet with MetaLab development team to discuss production
                                          deployment for July 20th release
Mohammed, Azmat       7/20/2023     0.3   Executive dashboard reporting for ftx claims portal


Mohammed, Azmat       7/20/2023     0.7   Call with L. Chamma, H. Chambers, Q. Zhang, A. Mohammed
                                          (A&M), Sumsub, MetaLab, and Integreon to discuss customer
                                          claims portal collaborative integration on daily touchbase
Mohammed, Azmat       7/20/2023     3.1   Coordinate development efforts related to PII data security
                                          measures
Mohammed, Azmat       7/20/2023     0.2   Call with K. Ramanathan, H. Chambers, and A. Mohammed (A&M)
                                          to discuss PII data security measures
Mohammed, Azmat       7/20/2023     0.9   Call with R. Johnson, A. Mohammed (A&M) and MetaLab/FTX team
                                          to discuss development efforts during daily standup
Mohammed, Azmat       7/20/2023     0.5   Call with R. Esposito, D. Lewandowski, S. Lowe, D. Sarmiento, A.
                                          Mohammed (A&M) to discus consent withdrawal case and process
Mohammed, Azmat       7/20/2023     0.6   Call with C. Cox, J. Zalenski and others (MetaLab), A. Gryaznov
                                          (Sumsub), J. Hughes, E. Eschavarria (Kroll), K. Ramanathan, R.
                                          Esposito, Q. Zhang (A&M), I. Weinberger, O. Weinberger (Sygnia)
                                          R. Perubhatla (FTX) to discuss analytics dashboard reporting
Mohammed, Azmat       7/20/2023     2.7   Coordinate development efforts related to vulnerability hardening
                                          processes and technology
Mohammed, Azmat       7/20/2023     0.2   Call with D. Mapplethorpe, O.Bitman and others (Kroll), C. Cox, J.
                                          Zaleski (Metalab), R. Esposito, D. Lewandowski, A. Mohammed, K..
                                          Ramanathan, S. Kotarba (A&M) team to discuss customer claims
                                          portal and claims administrator integration
Mohammed, Azmat       7/20/2023     0.5   Call with A. Mohammed (A&M) D. Longan, C. Cox (MetaLab) to
                                          discuss backlog prioritization on FTX Claims portal
Myers, Claire         7/20/2023     0.2   Discussion with L. Hill, D. Lewandowski, C. Okuzu, and C. Myers
                                          (A&M) re: common creditor matching
Okuzu, Ciera          7/20/2023     0.2   Discussion with L. Hill, D. Lewandowski, C. Okuzu, and C. Myers
                                          (A&M) re: common creditor matching
Okuzu, Ciera          7/20/2023     1.8   Review creditors that have similar names and create consolidated
                                          name
Pestano, Kyle         7/20/2023     3.0   Analyze claims summary detail and investigate/summarize the top
                                          10 non-customer claims that had priority and secured amounts
Pestano, Kyle         7/20/2023     2.7   Analysis of the unsecured claims summary detail to determine the
                                          top 10 non-customer creditors
Pestano, Kyle         7/20/2023     2.8   Perform QC review of unsecured claims filed against the Debtors
                                          and wrote formulas to summarize the claims by claim type




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                          Time Detail by Activity by Professional
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Claims
Professional              Date    Hours     Activity
Pestano, Kyle         7/20/2023     2.9   Update formulas and QC review performed for master summary of
                                          claims filed against the Debtors classified as priority, secured and
                                          admin
Ramanathan, Kumanan   7/20/2023     0.6   Call with C. Cox, J. Zalenski, D. Longan, S. Kissling (MetaLab), A.
                                          Gryaznov (Sumsub), J. Hughes and others (Kroll), K. Ramanathan,
                                          and others (A&M), I. Weinberger, O. Weinberger (Sygnia), R.
                                          Perubhatla (FTX) to discuss analytics dashboard reporting
Ramanathan, Kumanan   7/20/2023     1.2   Correspond and investigate customer claims portal e-mail matter

Ramanathan, Kumanan   7/20/2023     0.2   Call with K. Ramanathan, H. Chambers, and A. Mohammed (A&M)
                                          to discuss PII data security measures
Ramanathan, Kumanan   7/20/2023     0.2   Call with D. Mapplethorpe, O.Bitman, and others (Kroll), C. Cox, J.
                                          Zaleski (Metalab), R. Esposito, and others (A&M) team to discuss
                                          customer claims portal and claims administrator integration
Ramanathan, Kumanan   7/20/2023     0.5   Review of customer support and FTX developer issues relating to
                                          customer claims portal and provide feedback
Ramanathan, Kumanan   7/20/2023     0.3   Call with R. Perubhatla (FTX) to discuss customer claims portal
                                          matters
Sarmiento, Dubhe      7/20/2023     0.7   Call with H. Chambers, S. Lowe, R. Grosvenor, D. Sarmiento, Q.
                                          Zhang (A&M) to discuss customer consent withdrawal
Sarmiento, Dubhe      7/20/2023     0.5   Call with R. Esposito, D. Lewandowski, S. Lowe, D. Sarmiento, A.
                                          Mohammed (A&M) to discus consent withdrawal case and process
Sarmiento, Dubhe      7/20/2023     0.4   Management of Privacy Inbox on 20 July

Simoneaux, Nicole     7/20/2023     1.9   Commence research in relativity regarding potential claims liability
                                          for known employees terminated since filing
Yan, Jack             7/20/2023     1.2   Perform manual review quality checking as of July 20, 2023

Yan, Jack             7/20/2023     0.5   Monitor and update the manual review ticker tracker as of July 20,
                                          2023
Yurchak, Lilia        7/20/2023     0.9   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to discuss
                                          manual review issue and plan
Yurchak, Lilia        7/20/2023     1.9   Conduct QC of manual review performed by Integreon

Yurchak, Lilia        7/20/2023     0.2   Call with L. Yurchak, Q. Zhang (A&M) and Integreon team for daily
                                          manual review check in
Yurchak, Lilia        7/20/2023     1.6   Draft manual review plan for Integreon

Zatz, Jonathan        7/20/2023     2.3   Database scripting related to request to provide country for
                                          addresses missing country
Zhang, Qi             7/20/2023     0.2   Call with L. Yurchak, Q. Zhang (A&M) and Integreon team for daily
                                          manual review check in
Zhang, Qi             7/20/2023     0.7   Clear customer service tickets with updated Sumsub status

Zhang, Qi             7/20/2023     1.0   Call with Q. Zhang, M. Flynn (A&M) and Sumsub team to discuss
                                          customer service and KYC link issue fixes


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                                 FTX Trading Ltd., et al.,
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Claims
Professional              Date    Hours     Activity
Zhang, Qi             7/20/2023     0.3   Call with M. Flynn, Q. Zhang (A&M) to discuss customer service
                                          KYC process and procedures
Zhang, Qi             7/20/2023     0.4   Call with L. Chamma, Q. Zhang (A&M) to discuss manual reviewer
                                          speed issue and tracker
Zhang, Qi             7/20/2023     1.0   Call with L. Chamma, Q. Zhang (A&M) and R. Navarro (FTX) to
                                          discuss customer service link issues
Zhang, Qi             7/20/2023     0.7   Call with L. Chamma, H. Chambers, Q. Zhang, A. Mohammed
                                          (A&M), Sumsub, MetaLab, and Integreon to discuss customer
                                          claims portal collaborative integration on daily touchbase
Zhang, Qi             7/20/2023     0.7   Call with H. Chambers, S. Lowe, R. Grosvenor, D. Sarmiento, Q.
                                          Zhang (A&M) to discuss customer consent withdrawal
Zhang, Qi             7/20/2023     0.4   Call with H. Chambers, Q. Zhang (A&M) and Integreon to discuss
                                          manual reviewer issues
Zhang, Qi             7/20/2023     0.6   Call with Q. Zhang, M. Flynn (A&M) and Integreon team to discuss
                                          customer service and KYC link issue
Arora, Rohan          7/21/2023     1.2   Finish the review of low priority customer claims


Arora, Rohan          7/21/2023     2.1   Refocus efforts to triage low priority customer claims to find
                                          docketing errors and duplicates
Arora, Rohan          7/21/2023     1.3   Complete the review of for low priority customer claims to find
                                          docketing errors and duplicate claims
Arora, Rohan          7/21/2023     0.9   Continue claims triage for low priority customer claims

Arora, Rohan          7/21/2023     1.6   Conduct claims triage for low priority customer claims to find
                                          docketing errors and duplicates
Arora, Rohan          7/21/2023     0.7   Continue claims triage for low priority customer claims to find
                                          docketing errors and duplicates, and Identification of duplicates
                                          claims
Chambers, Henry       7/21/2023     0.7   Call with A, Kranzley, S. Levin, R. Logan, (S&C), H. Chambers, R.
                                          Grosvenor, L. Chamma, R. Esposito (A&M) to discuss KYC updates
                                          and decision making call on KYC matters
Chambers, Henry       7/21/2023     0.6   Correspondence regarding FTX Password reset emails

Chambers, Henry       7/21/2023     0.4   Correspondence regarding Liquid Customer service questions


Chambers, Henry       7/21/2023     1.3   Correspondence regarding ongoing KYC operations and PII matters

Chambers, Henry       7/21/2023     0.8   Respond to S&C queries following creditor enquiry on KYC process


Chambers, Henry       7/21/2023     0.4   Review Liquid customer service questions

Chambers, Henry       7/21/2023     0.4   Call with D. Mapplethorpe, E. Echevarria, O and others (Kroll), R.
                                          Perubhatla (FTX), C. Cox (Metalab), H. Chambers, and others
                                          (A&M) team to discuss customer claims portal and claims
                                          administrator integration
Chambers, Henry       7/21/2023     0.4   Correspondence regarding Customer Service password reset


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                                   FTX Trading Ltd., et al.,
                            Time Detail by Activity by Professional
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Claims
Professional                Date    Hours     Activity
Chamma, Leandro         7/21/2023     1.0   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                            team to do manual review training and go through issues
Chamma, Leandro         7/21/2023     2.2   Monitor and escalate customer portal support tickets sent for A&M
                                            KYC team review
Chamma, Leandro         7/21/2023     0.8   Draft customer portal KYC daily metrics

Chamma, Leandro         7/21/2023     0.6   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to discuss
                                            manual review issues identified during quality control check
Chamma, Leandro         7/21/2023     1.0   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Sumsub to
                                            discuss processes to be implemented
Chamma, Leandro         7/21/2023     0.5   Call with L. Chamma, Q. Zhang, A. Mohammed, L. Yurchak (A&M),
                                            Sumsub, MetaLab, and Integreon to discuss customer claims portal
                                            collaborative integration on daily touchbase
Chamma, Leandro         7/21/2023     0.7   Call with A, Kranzley, S. Levin, R. Logan, (S&C), H. Chambers, R.
                                            Grosvenor, L. Chamma, R. Esposito (A&M) to discuss KYC updates
                                            and decision making call on KYC matters
Chamma, Leandro         7/21/2023     2.5   Analyze KYC applications manually resolved by vendor in order to
                                            perform daily quality control verification and adjust issues identified
Chamma, Leandro         7/21/2023     0.9   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to discuss
                                            manual review issue and plan
Esposito, Rob           7/21/2023     1.7   Review and analysis of fully unliquidated claims for estimations and
                                            summary presentation
Esposito, Rob           7/21/2023     0.8   Prepare details claims summaries for claims overview presentation

Esposito, Rob           7/21/2023     0.4   Call with Kroll team, R Perubhatla (FTX), C Cox (Metalab), H
                                            Chambers, R Esposito, S Kotarba, D Lewandowski, K Ramanathan,
                                            A Mohammed (A&M) team to discuss customer claims portal and
                                            claims administrator integration
Esposito, Rob           7/21/2023     0.2   Discussion with D. Lewandowski, S. Kotarba, R. Esposito, R. Arora,
                                            C. Okuzu, K. Pestano, L. Hill, and C. Myers (A&M) re: claims triage
                                            updates
Esposito, Rob           7/21/2023     0.2   Discussion with D Lewandowski and R Esposito (A&M) re: claims
                                            overview presentation
Esposito, Rob           7/21/2023     0.7   Call with A, Kranzley, S. Levin, R. Logan, (S&C), H. Chambers, R.
                                            Grosvenor, L. Chamma, R. Esposito (A&M) to discuss KYC updates
                                            and decision making call on KYC matters
Esposito, Rob           7/21/2023     0.5   Discussion with A. Mohammed, D. Lewandowski and R. Esposito
                                            (A&M) re: customer dashboard reporting
Esposito, Rob           7/21/2023     1.8   Review and analysis of legal claims for estimation and summary
                                            presentation
Faett, Jack             7/21/2023     0.9   Call to discuss updated third party lender claims reconciliation to
                                            petition date balances between K. Kearney, J. Faett (A&M)
Grosvenor, Robert       7/21/2023     0.7   Call with A, Kranzley, S. Levin, R. Logan, (S&C), H. Chambers, R.
                                            Grosvenor, L. Chamma, R. Esposito (A&M) to discuss KYC updates
                                            and decision making call on KYC matters




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Claims
Professional              Date     Hours     Activity
Hill, Liam             7/21/2023     0.2   Discussion with D. Lewandowski, S. Kotarba, R. Esposito, R. Arora,
                                           C. Okuzu, K. Petano, L. Hill, and C. Myers (A&M) re: claims triage
                                           updates
Hill, Liam             7/21/2023     0.8   Match rejected contracts against the filed proofs of claim

Hill, Liam             7/21/2023     2.6   Customer claim triage review of claimants beginning with "g" to
                                           identify docketing errors
Hill, Liam             7/21/2023     2.0   Customer claim triage review of claims filed against the debtors to
                                           identify docketing errors
Johnson, Robert        7/21/2023     1.5   Call with R. Johnson, A. Mohammed (A&M) and MetaLab/FTX team
                                           to discuss development efforts during daily standup
Kearney, Kevin         7/21/2023     0.9   Call to discuss updated third party lender claims reconciliation to
                                           petition date balances between K. Kearney, J. Faett (A&M)
Kotarba, Steve         7/21/2023     0.2   Discussion with D. Lewandowski, S. Kotarba, R. Esposito, R. Arora,
                                           C. Okuzu, K. Petano, L. Hill, and C. Myers (A&M) re: claims triage
                                           updates
Kotarba, Steve         7/21/2023     0.4   Call with D. Mapplethorpe, E. Echevarria, O. Bitrman, J.Huges, J.
                                           Founts, B. Steele, S.Rafael, V.Pratap, V. Lavanya, (Kroll), R.
                                           Perubhatla (FTX), C. Cox (Metalab), H. Chambers, R. Esposito, S.
                                           Kotarba, D. Lewandowski, K. Ramanathan, A. Mohammed (A&M) te
Lewandowski, Douglas   7/21/2023     2.2   Review and update claims matching for amend/dupe legal related
                                           claims
Lewandowski, Douglas   7/21/2023     2.3   Review docketing errors related to unliquidated flags and debtor
                                           names - update where appropriate
Lewandowski, Douglas   7/21/2023     1.4   Prepare revised claims summary/detail for discussion with FTX
                                           management
Lewandowski, Douglas   7/21/2023     0.2   Discussion with D. Lewandowski, S. Kotarba, R. Esposito, R. Arora,
                                           C. Okuzu, K. Petano, L. Hill, and C. Myers (A&M) re: claims triage
                                           updates
Lewandowski, Douglas   7/21/2023     0.2   Discussion with D Lewandowski and R Esposito (A&M) re: claims
                                           overview presentation
Lewandowski, Douglas   7/21/2023     0.8   Review claim status updates from claims triage team to be
                                           consistent for claims summary reporting deck
Lowe, Sam              7/21/2023     1.3   Review of FTX privacy mailbox for most recent queries and
                                           correspond with team on next steps
Lowe, Sam              7/21/2023     2.9   Review information and prepare communications on management of
                                           privacy matters
Lowe, Sam              7/21/2023     0.7   Review emails received to the claims portal Privacy Inbox


Mohammed, Azmat        7/21/2023     0.5   Discussion with A. Mohammed, D. Lewandowski and R. Esposito
                                           (A&M) re: customer dashboard reporting
Mohammed, Azmat        7/21/2023     0.4   Call with D. Mapplethorpe, E. Echevarria and others (Kroll), R.
                                           Perubhatla (FTX), C. Cox (Metalab), H. Chambers, R. Esposito, S.
                                           Kotarba, D. Lewandowski, K. Ramanathan, A. Mohammed (A&M)
                                           team to discuss FTX portal and claims administrator integration




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Claims
Professional             Date     Hours     Activity
Mohammed, Azmat       7/21/2023     0.5   Call with L. Chamma, Q. Zhang, A. Mohammed, L. Yurchak (A&M),
                                          Sumsub, MetaLab, and Integreon to discuss customer claims portal
                                          collaborative integration on daily touchbase
Mohammed, Azmat       7/21/2023     0.7   Working sessions w/ L. Yurchak, J. Yan, Q. Zhang, A. Mohammed
                                          (A&M) to discuss KYC summary on KYC matters
Mohammed, Azmat       7/21/2023     0.3   Review testing of EU/COM customers there were blocked due to
                                          positions and balances across tenants
Mohammed, Azmat       7/21/2023     0.4   Review protocol for allowing customer service ability to review and
                                          assist current and/or former customers
Mohammed, Azmat       7/21/2023     0.4   Meet with P. Bodnar (MetaLab) to discuss portal translations and
                                          languages
Mohammed, Azmat       7/21/2023     0.3   Executive dashboard reporting for ftx claims portal

Mohammed, Azmat       7/21/2023     0.4   Call with R. Stitt, S. Corr-Irvine (Kroll), M. Repko, A. Palash
                                          (JoelFrank), A. Treshcheva (Sumsub), K. Ramanathan, A.
                                          Mohammed (A&M) to discuss public relations approach and
                                          technique
Mohammed, Azmat       7/21/2023     0.4   Coordinate development efforts related to comparing data between
                                          FTX database and Sumsub pulled data
Mohammed, Azmat       7/21/2023     1.1   Coordinate development efforts related to capturing KYC status from
                                          KYC vendor correctly and deploying into production
Mohammed, Azmat       7/21/2023     2.2   Coordinate development efforts related to production support issues
                                          such as email functionality and CAPTCHA
Mohammed, Azmat       7/21/2023     1.5   Call with R. Johnson, A. Mohammed (A&M) and MetaLab/FTX team
                                          to discuss development efforts during daily standup
Myers, Claire         7/21/2023     0.2   Discussion with D. Lewandowski, S. Kotarba, R. Esposito, R. Arora,
                                          C. Okuzu, K. Petano, L. Hill, and C. Myers (A&M) re: claims triage
                                          updates
Okuzu, Ciera          7/21/2023     0.2   Discussion with D. Lewandowski, S. Kotarba, R. Esposito, R. Arora,
                                          C. Okuzu, K. Pestano, L. Hill, and C. Myers (A&M) re: claims triage
                                          updates
Okuzu, Ciera          7/21/2023     0.9   Review of creditor claims to identify docketing errors and duplicates
                                          for creditors with last name beginning with FE-FI
Okuzu, Ciera          7/21/2023     2.6   Review of creditor claims to identify docketing errors and duplicates
                                          for creditors with last name beginning with FT-GR
Okuzu, Ciera          7/21/2023     0.2   Review of creditor claims to identify docketing errors and duplicates
                                          for creditors with last name beginning with GR-GE
Okuzu, Ciera          7/21/2023     2.8   Review of creditor claims to identify docketing errors and duplicates
                                          for creditors with last name beginning with FI-FR
Pestano, Kyle         7/21/2023     0.2   Discussion with D. Lewandowski, S. Kotarba, R. Esposito, R. Arora,
                                          C. Okuzu, K. Petano, L. Hill, and C. Myers (A&M) re: claims triage
                                          updates
Pestano, Kyle         7/21/2023     2.3   Make updates to the top 10 Creditors Summary for each of the
                                          classification types; 503(b)(9), Admin, Priority, Secured, and General
                                          Unsecured
Pestano, Kyle         7/21/2023     1.4   Discussion with D. Lewandowski (A&M) re: claim summary,
                                          discussing necessary updates and summarizing analysis limitations


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Professional              Date    Hours     Activity
Pestano, Kyle         7/21/2023     2.9   Analyze counts and corresponding sub components of the claims
                                          filed against the Debtors, and summarize the claim class and claim
                                          type/subtypes
Pestano, Kyle         7/21/2023     2.8   Review Non-Customer claims filed against the Debtors that were
                                          listed as top 10 Creditors to identify claims with multiple
                                          claims/classification types
Pestano, Kyle         7/21/2023     2.6   Summarize claims filed against the Debtors by classification type
                                          and provided various scenarios to D. Lewandowski (A&M) to
                                          account for filing differences and adjustments
Ramanathan, Kumanan   7/21/2023     0.4   Call with D. Mapplethorpe, E. Echevarria, O and others (Kroll), R.
                                          Perubhatla (FTX), C. Cox (Metalab), H. Chambers, and others
                                          (A&M) team to discuss customer claims portal and claims
                                          administrator integration
Ramanathan, Kumanan   7/21/2023     0.4   Call with R. Stitt, S. Corr-Irvine (Kroll), M. Repko, A. Palash
                                          (JoelFrank), A. Treshcheva (Sumsub), K. Ramanathan, A.
                                          Mohammed (A&M) to discuss public relations approach and
                                          technique
Ramanathan, Kumanan   7/21/2023     0.6   Call with C. Cox, J. Zalenski, others (MetaLab), A. Gryaznov
                                          (Sumsub), J. Hughes, others (Kroll), K. Ramanathan, others (A&M),
                                          I. Weinberger, others (Sygnia) R. Perubhatla (FTX) to discuss
                                          analytics dashboard reporting
Sarmiento, Dubhe      7/21/2023     0.4   Management of Privacy Inbox on 21 July


Yan, Jack             7/21/2023     0.8   Perform manual review quality checking as of July 21, 2023

Yan, Jack             7/21/2023     2.6   Monitor and update the manual review ticker tracker as of July 21,
                                          2023
Yan, Jack             7/21/2023     0.7   Working sessions w/ L. Yurchak, J. Yan, Q. Zhang, A. Mohammed
                                          (A&M) to discuss KYC summary on KYC matters
Yan, Jack             7/21/2023     0.6   Update the tracker of AML Rules and Guidelines

Yurchak, Lilia        7/21/2023     1.0   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Sumsub to
                                          discuss processes to be implemented
Yurchak, Lilia        7/21/2023     0.6   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to discuss
                                          manual review issues identified during quality control check
Yurchak, Lilia        7/21/2023     1.0   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                          team to do manual review training and go through issues
Yurchak, Lilia        7/21/2023     0.5   Call with L. Chamma, Q. Zhang, A. Mohammed, L. Yurchak (A&M),
                                          Sumsub, MetaLab, and Integreon to discuss customer claims portal
                                          collaborative integration on daily touchbase
Yurchak, Lilia        7/21/2023     0.7   Working sessions w/ L. Yurchak, J. Yan, Q. Zhang, A. Mohammed
                                          (A&M) to discuss KYC summary on KYC matters
Zhang, Qi             7/21/2023     0.7   Working sessions w/ L. Yurchak, J. Yan, Q. Zhang, A. Mohammed
                                          (A&M) to discuss KYC summary on KYC matters
Zhang, Qi             7/21/2023     0.7   Call with Q. Zhang (A&M) R. Navarro (FTX) and Integreon to discuss
                                          customer service procedure issue




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Claims
Professional               Date     Hours     Activity
Zhang, Qi               7/21/2023     0.6   Call with C. Cox and others (MetaLab), A. Gryaznov (Sumsub), J.
                                            Hughes and others (Kroll), K. Ramanathan, R. Esposito, Q. Zhang
                                            (A&M), I. Weinberger and others (Sygnia) R. Perubhatla (FTX) to
                                            discuss analytics dashboard reporting
Zhang, Qi               7/21/2023     0.6   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to discuss
                                            manual review issues identified during quality control check
Zhang, Qi               7/21/2023     1.0   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Sumsub to
                                            discuss processes to be implemented
Zhang, Qi               7/21/2023     0.9   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to discuss
                                            manual review issue and plan
Zhang, Qi               7/21/2023     0.5   Call with L. Chamma, Q. Zhang, A. Mohammed, L. Yurchak (A&M),
                                            Sumsub, MetaLab, and Integreon to discuss customer claims portal
                                            collaborative integration on daily touchbase
Zhang, Qi               7/21/2023     1.0   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                            team to do manual review training and go through issues
Chambers, Henry         7/22/2023     0.4   Correspondence regarding Sumsub requirements for S&C subpoena
                                            requests
Chambers, Henry         7/22/2023     1.7   Plan KYC key priorities for update and remediation

Chambers, Henry         7/22/2023     0.6   Consider the go forward plan for customer service outsourcing


Chamma, Leandro         7/22/2023     0.9   Review recent KYC application reject by KYC vendor in order to
                                            identify potential issues
Chamma, Leandro         7/22/2023     0.2   Monitor customer portal KYC customer support chat to identify
                                            potential issues related to KYC applications
Chamma, Leandro         7/22/2023     2.1   Analyze KYC applications manually reviewed by vendor related to
                                            cases in which customer had discrepant KYC data
Esposito, Rob           7/22/2023     0.3   Work on and coordination of data requests and open issues thereof


Esposito, Rob           7/22/2023     0.4   Working session with C. Sullivan & R. Esposito (A&M) to discuss
                                            updates to the claims register
Hill, Liam              7/22/2023     1.0   Claims triage for customer claims filed against the debtors

Lewandowski, Douglas    7/22/2023     1.8   Review docketing discrepancies identified by the triage team for
                                            discussion with Kroll
Lewandowski, Douglas    7/22/2023     1.5   Review docketing errors related to amount inquiries for Kroll to
                                            review
Lewandowski, Douglas    7/22/2023     2.1   Work on rejected contract to claims population matching to flag
                                            these claims for reporting purposes
Sullivan, Christopher   7/22/2023     0.4   Working session with C. Sullivan & R. Esposito to discuss updates
                                            to the claims register
Yan, Jack               7/22/2023     2.3   Update the tracker of AML Rules and Guidelines


Yurchak, Lilia          7/22/2023     2.8   Conduct analysis of the progress on KYC manual review




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Claims
Professional               Date    Hours     Activity
Zhang, Qi              7/22/2023     0.4   Call with Q. Zhang (A&M) and D. Chiu (FTX) to discus test function
                                           and upgrade
Chambers, Henry        7/23/2023     1.3   Correspondence regarding KYC screenshots to provide to Paul
                                           Hastings
Chambers, Henry        7/23/2023     0.2   Answer queries on KYC screenshots provided to Paul Hastings

Chambers, Henry        7/23/2023     0.8   Draft clarifications on customer KYC status

Chambers, Henry        7/23/2023     0.4   Manage Data Privacy matters from the KYC process


Chamma, Leandro        7/23/2023     1.4   Monitor customer portal cases that got auto rejected by Sumsub to
                                           identify potential issues and cases that need escalation
Chamma, Leandro        7/23/2023     0.2   Call with L. Chamma, Q. Zhang (A&M) to discuss customer portal
                                           KYC updates
Esposito, Rob          7/23/2023     0.2   Review of KYC email for response to A&M team

Esposito, Rob          7/23/2023     0.4   Review of A&M proposed claims docketing changes


Esposito, Rob          7/23/2023     0.6   Review and analysis of loan payable claims to propose recording of
                                           other related claims
Esposito, Rob          7/23/2023     0.3   Discussion with D Lewandowski and R Esposito (A&M) re: claims
                                           triage and docketing errors
Lewandowski, Douglas   7/23/2023     1.4   Review debtor docketing errors and update where applicable


Lewandowski, Douglas   7/23/2023     0.3   Discussion with D Lewandowski and R Esposito (A&M) re: claims
                                           triage and docketing errors
Lewandowski, Douglas   7/23/2023     0.8   Review claim type recommendations from customer claim review
                                           and update where applicable
Yan, Jack              7/23/2023     0.6   Monitor and update the manual review ticker tracker as of July 21,
                                           2023
Zhang, Qi              7/23/2023     0.2   Call with L. Chamma, Q. Zhang (A&M) to discuss customer portal
                                           KYC updates
Arora, Rohan           7/24/2023     2.1   Focus claims triage on certain low priority customer claims to find
                                           docketing errors and duplicates
Arora, Rohan           7/24/2023     0.2   Discussion with D. Lewandowski, R. Esposito, and R. Arora (A&M)
                                           re: claims triage updates
Arora, Rohan           7/24/2023     2.4   Continue claims triage for low priority customer claims to find
                                           duplicate claims and docketing errors
Arora, Rohan           7/24/2023     2.2   Conduct claims triage for low priority customer claims to find
                                           duplicate claims and docketing errors
Arora, Rohan           7/24/2023     1.6   Complete claims triage for low priority customer claims to find
                                           docketing errors and duplicate claims
Chambers, Henry        7/24/2023     0.8   Call with H. Chambers, L. Chamma, M. Flynn, Q. Zhang, A.
                                           Mohammed, L. Yurchak (A&M), Sumsub, MetaLab, and Integreon to
                                           discuss customer claims portal collaborative integration on daily
                                           touch base

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Claims
Professional           Date     Hours     Activity
Chambers, Henry     7/24/2023     0.3   Prepare KYC & AML latest update deck

Chambers, Henry     7/24/2023     0.2   Review data privacy update correspondence


Chambers, Henry     7/24/2023     0.9   Update to management on customer portal matters

Chambers, Henry     7/24/2023     0.9   Prepare decision tree analysis for KYC customer sets

Chambers, Henry     7/24/2023     0.8   Consider historical AML process for court update


Chambers, Henry     7/24/2023     0.6   Call with H. Chambers, D. Lewandowski, R. Esposito (A&M) to
                                        discuss approach on communications to unverified customers
Chambers, Henry     7/24/2023     0.3   Correspondence with UCC advisors re KYC process


Chambers, Henry     7/24/2023     0.6   Deal with remediation of KYC customer communication issues

Chambers, Henry     7/24/2023     0.4   Call with D. Mapplethorpe, E. Echevarria, O. Bitrman, J.Huges, J
                                        and others (Kroll), R. Perubhatla (FTX), C. Cox (Metalab), H.
                                        Chambers, R. Esposito, and others (A&M) team to discuss customer
                                        claims portal issues
Chambers, Henry     7/24/2023     0.4   Perform analysis of KYC status per customer


Chambers, Henry     7/24/2023     0.7   Review the feedbacks on Customer Portal

Chamma, Leandro     7/24/2023     1.9   Review of KYC applications resolved on manual review for quality
                                        control purposes and to spot potential issues
Chamma, Leandro     7/24/2023     1.2   Update KYC issue tracker related to customer support tickets that
                                        A&M identified potential issues with automated KYC verification
Chamma, Leandro     7/24/2023     0.6   Review of Bitgo know your business preliminary questions in the
                                        scope of KYC of corporate customers
Chamma, Leandro     7/24/2023     2.7   Review customer support tickets escalated to A&M KYC team
                                        review and follow-up
Chamma, Leandro     7/24/2023     1.2   Monitor customer portal customer support chat to identify and review
                                        potential KYC related escalations
Chamma, Leandro     7/24/2023     0.7   Draft of quality control spreadsheet regarding manual review vendor
                                        work
Chamma, Leandro     7/24/2023     0.4   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                        team to do manual review daily catch up
Chamma, Leandro     7/24/2023     1.1   Call with L. Chamma, L. Yurchak, M. Flynn, A. Mohammed (A&M) N.
                                        Chang, D. Chachanko, M. Wang (BitGo) to discuss Know Your
                                        Business integration between BitGo and FTX
Chamma, Leandro     7/24/2023     0.8   Call with H. Chambers, L. Chamma, M. Flynn, Q. Zhang, A.
                                        Mohammed, L. Yurchak (A&M), Sumsub, MetaLab, and Integreon to
                                        discuss customer claims portal collaborative integration on daily
                                        touchbase
Chamma, Leandro     7/24/2023     0.3   Analyze KYC applicant escalated to A&M for review of issues
                                        identified during manual review

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Claims
Professional            Date     Hours     Activity
Chamma, Leandro      7/24/2023     0.8   Update Sumsub issue tracker based on matters identified on review
                                         of manual reviewer outputs
Coverick, Steve      7/24/2023     0.5   Working Session w/ S. Coverick, D. Lewandowski, and C. Sullivan
                                         (A&M) re: Discuss claims register for Plan inputs
Coverick, Steve      7/24/2023     1.4   Review and provide comments on latest draft of amended non-
                                         customer claims register
Coverick, Steve      7/24/2023     0.2   Discuss claims analysis status with C. Sullivan (A&M)

Esposito, Rob        7/24/2023     0.6   Review of non-customer claims triage status and docketing errors


Esposito, Rob        7/24/2023     0.2   Discussion with D. Lewandowski, R. Esposito, and R. Arora (A&M)
                                         re: claims triage updates
Esposito, Rob        7/24/2023     0.4   Discussion with D. Lewandowski, R. Esposito, S. Kotarba, A.
                                         Mohammed (A&M), O. Bitman, J. Hughes, V. Lavanya, D.
                                         Mapplethorpe, J. Searles, B. Steel, R. Stitt (Kroll), J. Zaleski, and C.
                                         Cox (ML) re: customer claim and portal status
Esposito, Rob        7/24/2023     0.6   Discussion with R Esposito and D Lewandowski (A&M) re: claims
                                         reporting
Esposito, Rob        7/24/2023     0.6   Call with H. Chambers, D. Lewandowski, R. Esposito (A&M) to
                                         discuss approach on communications to unverified customers
Esposito, Rob        7/24/2023     0.7   Review of claims detail report data for distribution to A&M team


Esposito, Rob        7/24/2023     0.4   Review of accounts payable data to prepare for review

Flynn, Matthew       7/24/2023     0.8   Call with H. Chambers, L. Chamma, M. Flynn, Q. Zhang, A.
                                         Mohammed, L. Yurchak (A&M), Sumsub, MetaLab, and Integreon to
                                         discuss customer claims portal collaborative integration on daily
                                         touchbase
Flynn, Matthew       7/24/2023     0.7   Correspond on BitGo KYC questions and outstanding items

Flynn, Matthew       7/24/2023     0.9   Update customer portal status and findings presentation for
                                         management
Flynn, Matthew       7/24/2023     0.4   Correspond with FTX employees on customer support scheduling for
                                         portal
Flynn, Matthew       7/24/2023     1.1   Call with L. Chamma, L. Yurchak, M. Flynn, A. Mohammed (A&M) N.
                                         Chang, D. Chachanko, M. Wang (BitGo) to discuss Know Your
                                         Business integration between BitGo and FTX
Flynn, Matthew       7/24/2023     0.6   Call with K. Ramanathan, M. Flynn, A. Mohammed (A&M) to discuss
                                         approach on communications to unverified customers
Gonzalez, Johnny     7/24/2023     1.4   Develop an analysis for the removal of duplicated & objected claims

Gonzalez, Johnny     7/24/2023     2.8   Working session with D. Slay & J. Gonzalez (A&M) re: claims
                                         reporter variance to plan materials
Gonzalez, Johnny     7/24/2023     1.2   Working session with D. Slay, B. Tenney & J. Gonzalez (A&M) re:
                                         Develop Top claims commentary from claims reporter
Gonzalez, Johnny     7/24/2023     2.7   Prepare a comparison for the claims analysis from the Kroll claims
                                         register

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                                  FTX Trading Ltd., et al.,
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Claims
Professional               Date    Hours     Activity
Gonzalez, Johnny       7/24/2023     1.9   Draft commentary for the variances in the claims comparison
                                           analysis
Gonzalez, Johnny       7/24/2023     0.5   Working Session w/ H. Trent, B. Tenney, J. Gonzalez, & D. Slay
                                           (A&M) re: Discuss claims register for Plan inputs
Grosvenor, Robert      7/24/2023     0.6   Discuss draft communication on PII matters with R. Grosvenor, M.
                                           Negus and S. Lowe (A&M)
Hill, Liam             7/24/2023     0.2   Discussion with C. Okuzu, L. Hill, and C. Myers (A&M) re: claims
                                           triage updates
Hill, Liam             7/24/2023     0.9   Review of miscellaneous customer claims filed for the claims triage
                                           process
Hill, Liam             7/24/2023     2.3   Perform review of customer specific claims beginning with "H" filed
                                           against debtors
Hill, Liam             7/24/2023     3.2   Review of customer claims starting with 'h" filed against Debtors for
                                           claims triage
Johnson, Robert        7/24/2023     1.4   Investigate customer claim of mismatched balances and determine
                                           likely root cause of claim
Johnson, Robert        7/24/2023     0.8   Call with R. Johnson, A. Mohammed (A&M) and MetaLab/FTX team
                                           to discuss development efforts during daily standup
Johnson, Robert        7/24/2023     0.7   Review zendesk customer support tickets to identify any issues
                                           relating to balance calculations
Kotarba, Steve         7/24/2023     1.3   Review claims status and prepare objection notes

Kotarba, Steve         7/24/2023     0.4   Discussion with D. Lewandowski, R. Esposito, S. Kotarba, A.
                                           Mohammed (A&M), O. Bitman, J. Hughes, V. Lavanya, D.
                                           Mapplethorpe, J. Searles, B. Steel, R. Stitt (Kroll), J. Zaleski, and C.
                                           Cox (ML) re: customer claim and portal status
Lewandowski, Douglas   7/24/2023     0.4   Discussion with D. Lewandowski, R. Esposito, S. Kotarba, A.
                                           Mohammed (A&M), O. Bitman, J. Hughes, V. Lavanya, D.
                                           Mapplethorpe, J. Searles, B. Steel, R. Stitt (Kroll), J. Zaleski, and C.
                                           Cox (ML) re: customer claim and portal status
Lewandowski, Douglas   7/24/2023     0.2   Discussion with D. Lewandowski, R. Esposito, and R. Arora (A&M)
                                           re: claims triage updates
Lewandowski, Douglas   7/24/2023     0.5   Working Session w/ S. Coverick, D. Lewandowski, and C. Sullivan
                                           (A&M) re: Discuss claims register for Plan inputs
Lewandowski, Douglas   7/24/2023     0.6   Discussion with R Esposito and D Lewandowski (A&M) re: claims
                                           reporting
Lewandowski, Douglas   7/24/2023     0.8   Prepare revised claims detail report for discussion with A&M team

Lewandowski, Douglas   7/24/2023     0.8   Work on customer claims register from Kroll and matching to
                                           scheduled data
Lewandowski, Douglas   7/24/2023     1.8   Work on docketing issues related to claim classes and amounts for
                                           discussion with Kroll
Lewandowski, Douglas   7/24/2023     1.1   Work on matching up rejected contracts to filed proofs of claim

Lewandowski, Douglas   7/24/2023     1.3   Work on reviewing "customer" claims that need to be recategorized
                                           for reporting purposes


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Claims
Professional              Date     Hours     Activity
Lewandowski, Douglas   7/24/2023     0.6   Call with H. Chambers, D. Lewandowski, R. Esposito (A&M) to
                                           discuss approach on communications to unverified customers
Lowe, Sam              7/24/2023     0.7   Call with Q. Zhang, S. Lowe (A&M) to discuss private personal
                                           information issue during KYC
Lowe, Sam              7/24/2023     2.2   Gather information from customer services for handling of the claims
                                           portal Privacy Inbox requests
Lowe, Sam              7/24/2023     0.4   Discuss draft communication to individual who complained to FTX
                                           about use of PII with R. Grosvenor, M. Negus and S. Lowe (A&M)
Mohammed, Azmat        7/24/2023     0.8   Call with R. Johnson, A. Mohammed (A&M) and MetaLab/FTX team
                                           to discuss development efforts during daily standup
Mohammed, Azmat        7/24/2023     0.6   Coordinate development efforts related to institutional client KYC
                                           vendor integration
Mohammed, Azmat        7/24/2023     0.6   Call with K. Ramanathan, M. Flynn, A. Mohammed (A&M) to discuss
                                           approach on communications to unverified customers
Mohammed, Azmat        7/24/2023     0.8   Call with H. Chambers, L. Chamma, M. Flynn, Q. Zhang, A.
                                           Mohammed, L. Yurchak (A&M), Sumsub, MetaLab, and Integreon to
                                           discuss customer claims portal collaborative integration on daily
                                           touchbase
Mohammed, Azmat        7/24/2023     1.1   Call with L. Chamma, L. Yurchak, M. Flynn, A. Mohammed (A&M) N.
                                           Chang, D. Chachanko, M. Wang (BitGo) to discuss Know Your
                                           Business integration between BitGo and FTX
Mohammed, Azmat        7/24/2023     0.4   Discussion with D. Lewandowski, R. Esposito, S. Kotarba, A.
                                           Mohammed (A&M), O. Bitman, J. Hughes, V. Lavanya, D.
                                           Mapplethorpe, J. Searles, B. Steel, R. Stitt (Kroll), J. Zaleski, and C.
                                           Cox (ML) re: customer claim and portal status
Mohammed, Azmat        7/24/2023     0.5   Discuss remediations to further harden KYC link sharing functionality
                                           with Q. Zhang, S. Lowe, and A. Mohammed (A&M)
Mohammed, Azmat        7/24/2023     0.4   Coordinate development efforts related to translations of FAQ articles


Mohammed, Azmat        7/24/2023     2.2   Coordinate development efforts related to integration with claims
                                           administrator portal (email change, status updates, and multiple
                                           debtors)
Myers, Claire          7/24/2023     0.2   Discussion with C. Okuzu, L. Hill, and C. Myers (A&M) re: claims
                                           triage updates
Negus, Matthew         7/24/2023     0.6   Discuss draft communication to individual who complained to FTX
                                           about use of PII with R. Grosvenor, M. Negus and S. Lowe (A&M)
Negus, Matthew         7/24/2023     0.7   Evaluate queries submitted by FTX Europe DPO

Negus, Matthew         7/24/2023     0.3   Evaluate customer claims portal queries


Okuzu, Ciera           7/24/2023     2.4   Perform claims triage for claims in the claims management system
                                           for customers with names beginning with ZH through ZU
Okuzu, Ciera           7/24/2023     0.2   Discussion with C. Okuzu, L. Hill, and C. Myers (A&M) re: claims
                                           triage updates
Okuzu, Ciera           7/24/2023     1.7   Conduct claims triage for claims in the claims management system
                                           for creditors beginning with ZU-YA



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Claims
Professional               Date     Hours     Activity
Okuzu, Ciera            7/24/2023     2.7   Continue the review of customer claims with primary focus on
                                            identifying duplicates and docketing errors
Ramanathan, Kumanan     7/24/2023     0.6   Call with K. Ramanathan, M. Flynn, A. Mohammed (A&M) to discuss
                                            approach on communications to unverified customers
Ramanathan, Kumanan     7/24/2023     0.4   Call with D. Mapplethorpe, E. Echevarria, O. Bitrman, J.Huges, J
                                            and others (Kroll), R. Perubhatla (FTX), C. Cox (Metalab), H.
                                            Chambers, R. Esposito, and others (A&M) team to discuss customer
                                            claims portal and claims administrator integration
Sarmiento, Dubhe        7/24/2023     0.9   Management of Privacy Inbox on 24 July

Sarmiento, Dubhe        7/24/2023     0.3   Research of consent requirements under US privacy laws to
                                            respond to the consent withdrawals requests
Slay, David             7/24/2023     2.5   Review and develop comparison summary for latest claims register
                                            against prior assumptions
Slay, David             7/24/2023     1.2   Working session with D. Slay, B. Tenney & J. Gonzalez (A&M) re:
                                            Develop Top claims commentary from claims reporter
Slay, David             7/24/2023     0.5   Working Session w/ H. Trent, B. Tenney, J. Gonzalez, & D. Slay
                                            (A&M) re: Discuss claims register for Plan inputs
Slay, David             7/24/2023     2.8   Working session with D. Slay & J. Gonzalez (A&M) re: claims
                                            reporter variance to plan materials
Sullivan, Christopher   7/24/2023     0.2   Discuss claims analysis status with S. Coverick (A&M)


Sullivan, Christopher   7/24/2023     2.1   Create claims reconciliation to Plan materials for passing of non-
                                            customer bar date
Sullivan, Christopher   7/24/2023     1.3   Review updates to the claims register

Sullivan, Christopher   7/24/2023     0.5   Working Session w/ S. Coverick, D. Lewandowski, and C. Sullivan
                                            (A&M) re: Discuss claims register for Plan inputs
Sullivan, Christopher   7/24/2023     0.8   Provide additional comments to revised claims comparison

Tenney, Bridger         7/24/2023     0.5   Working Session w/ H. Trent, B. Tenney, J. Gonzalez, & D. Slay
                                            (A&M) re: Discuss claims register for Plan inputs
Tenney, Bridger         7/24/2023     0.3   Search claims register for sponsorship agreements previously
                                            deleted
Tenney, Bridger         7/24/2023     1.2   Working session with D. Slay, B. Tenney & J. Gonzalez (A&M) re:
                                            Develop Top claims commentary from claims reporter
Tenney, Bridger         7/24/2023     0.3   Reconcile contract claims with damages estimates for rejected
                                            contracts
Trent, Hudson           7/24/2023     0.5   Working Session w/ H. Trent, B. Tenney, J. Gonzalez, & D. Slay
                                            (A&M) re: Discuss claims register for Plan inputs
Yan, Jack               7/24/2023     0.3   Discuss with Q. Zhang and J. Yan (A&M) regarding the manual
                                            review quality checking for auto-approval claims
Yan, Jack               7/24/2023     1.1   Perform manual review quality checking as of July 24, 2023




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Claims
Professional             Date     Hours     Activity
Yurchak, Lilia        7/24/2023     0.8   Call with H. Chambers, L. Chamma, M. Flynn, Q. Zhang, A.
                                          Mohammed, L. Yurchak (A&M), Sumsub, MetaLab, and Integreon to
                                          discuss customer claims portal collaborative integration on daily
                                          touchbase
Yurchak, Lilia        7/24/2023     2.3   Review customer tickets for potential escalation

Yurchak, Lilia        7/24/2023     1.8   Continue reviewing customer tickets for potential escalation


Yurchak, Lilia        7/24/2023     0.4   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                          team to do manual review daily catch up
Yurchak, Lilia        7/24/2023     1.1   Call with L. Chamma, L. Yurchak, M. Flynn, A. Mohammed (A&M) N.
                                          Chang, D. Chachanko, M. Wang (BitGo) to discuss Know Your
                                          Business integration between BitGo and FTX
Zhang, Qi             7/24/2023     0.5   Discuss remediations to further harden KYC link sharing functionality
                                          with Q. Zhang, S. Lowe, and A. Mohammed (A&M)
Zhang, Qi             7/24/2023     0.7   Call with Q. Zhang, S. Lowe (A&M) to discuss personal information
                                          matters
Zhang, Qi             7/24/2023     0.4   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                          team to do manual review daily catch up
Zhang, Qi             7/24/2023     0.8   Call with H. Chambers, L. Chamma, M. Flynn, Q. Zhang, A.
                                          Mohammed, L. Yurchak (A&M), Sumsub, MetaLab, and Integreon to
                                          discuss customer claims portal collaborative integration on daily
                                          touchbase
Zhang, Qi             7/24/2023     0.3   Discuss with Q. Zhang and J. Yan (A&M) regarding the manual
                                          review quality checking for auto-approval claims
Arora, Rohan          7/25/2023     2.7   Focus claims triage on low priority customer claims to find duplicate
                                          claims and docketing errors
Arora, Rohan          7/25/2023     2.1   Focus claims triage on the assigned low priority customer claims to
                                          identify docketing errors and duplicate claims
Arora, Rohan          7/25/2023     0.9   Finish the claims triage for specific low priority customer claims

Arora, Rohan          7/25/2023     1.8   Continue claims triage for specific low priority customer claims to
                                          find docketing errors and duplicates
Arora, Rohan          7/25/2023     0.6   Identify and mark claims that are cross-debtor duplicates

Chambers, Henry       7/25/2023     0.3   Manage Data privacy matters in respect of customer portal

Chambers, Henry       7/25/2023     0.2   Discussion with A. Mohammed, M. Flynn, H. Chambers, Q. Zhang,
                                          L. Chamma, L. Yurchak (A&M), R. Navarro (FTX), D. Chahanko
                                          (BitGo), and C. Cox (ML) regarding the BitGo SOP
Chambers, Henry       7/25/2023     0.5   Call with H. Chambers, L. Chamma, M. Flynn, Q. Zhang, A.
                                          Mohammed, L. Yurchak (A&M), Sumsub, MetaLab, and Integreon to
                                          discuss customer claims portal collaborative integration on daily
                                          touch base
Chambers, Henry       7/25/2023     0.4   Review feedback on customer portal/KYC AML process




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Claims
Professional            Date     Hours     Activity
Chambers, Henry      7/25/2023     0.3   Review Sumsub unverified KYC applications

Chambers, Henry      7/25/2023     0.4   Obtain screenshots of know-your-business process


Chambers, Henry      7/25/2023     0.7   Call with M. Flynn, H. Chambers, Q. Zhang, A. Mohammed, L.
                                         Yurchak (A&M), S. Levin (S&C), BitGo team to discuss KYB process
                                         and questions
Chamma, Leandro      7/25/2023     0.8   Call with Q. Zhang, L. Chamma (A&M) to discuss manual review
                                         issues identified in quality check
Chamma, Leandro      7/25/2023     0.2   Discussion with A. Mohammed, M. Flynn, H. Chambers, Q. Zhang,
                                         L. Chamma, L. Yurchak (A&M), R. Navarro (FTX), D. Chahanko
                                         (BitGo), and C. Cox (ML) regarding the BitGo SOP
Chamma, Leandro      7/25/2023     2.2   Review customer support tickets escalated to A&M KYC team
                                         review and follow-up on July 25
Chamma, Leandro      7/25/2023     0.3   Review KYC applicant profile escalated from manual review for
                                         further compliance investigation
Chamma, Leandro      7/25/2023     0.2   Review of Bitgo final questions sent in preparation for discussion in
                                         conference call
Chamma, Leandro      7/25/2023     1.3   Update Sumsub KYC issue tracker related to customer support
                                         tickets that A&M identified potential issues with automated KYC
                                         verification on July 25
Chamma, Leandro      7/25/2023     0.3   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Sumsub
                                         team to go through applicant data reporting format
Chamma, Leandro      7/25/2023     2.1   Review of KYC applications resolved on manual review for quality
                                         control purposes and to spot potential issues
Chamma, Leandro      7/25/2023     0.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                         team to do manual review daily catch up
Chamma, Leandro      7/25/2023     0.5   Call with H. Chambers, L. Chamma, M. Flynn, Q. Zhang, A.
                                         Mohammed, L. Yurchak (A&M), Sumsub, MetaLab, and Integreon to
                                         discuss customer claims portal collaborative integration on daily
                                         touchbase
Chamma, Leandro      7/25/2023     1.1   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to go through
                                         issues and questions raised on entity KYC
Chamma, Leandro      7/25/2023     0.7   Call with M. Flynn, H. Chambers, Q. Zhang, A. Mohammed, L.
                                         Yurchak (A&M), S. Levin (S&C), BitGo team to discuss KYB process
                                         and questions
Coverick, Steve      7/25/2023     0.4   Call w/ S. Coverick, R. Esposito, D. Lewandowski, C. Sullivan, J.
                                         Gonzalez (A&M) to review the claims comparison summary
Esposito, Rob        7/25/2023     0.3   Discussion with D. Lewandowski, R. Esposito, K. Ramanathan, A.
                                         Mohammed (A&M), O. Bitman, J. Hughes, V. Lavanya, V. Pratap, D.
                                         Mapplethorpe, J. Searles, R. Stitt (Kroll), C. Cox (ML) re: customer
                                         claim and portal status
Esposito, Rob        7/25/2023     0.9   Review and analysis of the updated claims summary report for
                                         distribution to S&C, A&M and FTX Mgmt
Esposito, Rob        7/25/2023     1.1   Review and comment on claim data for plan estimates comparison




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Claims
Professional            Date     Hours     Activity
Esposito, Rob        7/25/2023     0.6   Review of claims for claim classification reporting

Esposito, Rob        7/25/2023     1.6   Work on claim classification slides for the claims overview
                                         presentation
Esposito, Rob        7/25/2023     0.8   Working session with D. Lewandowski and R. Esposito (A&M) re:
                                         claims reporting and customer claims process
Esposito, Rob        7/25/2023     0.4   Call w/ S. Coverick, R. Esposito, D. Lewandowski, C. Sullivan, J.
                                         Gonzalez (A&M) to review the claims comparison summary
Esposito, Rob        7/25/2023     0.4   Discussion with D. Lewandowski and R. Esposito (A&M) re: claims
                                         updates
Esposito, Rob        7/25/2023     0.2   Review of claim docketing response from Kroll team

Flynn, Matthew       7/25/2023     0.7   Call with M. Flynn, H. Chambers, Q. Zhang, A. Mohammed, L.
                                         Yurchak (A&M), S. Levin (S&C), BitGo team to discuss KYB process
                                         and questions
Flynn, Matthew       7/25/2023     0.4   Review KYC and customer support ticket performance


Flynn, Matthew       7/25/2023     0.6   Call with C. Cox and others (MetaLab), and M. Flynn, A. Mohammed
                                         (A&M) to discuss FTX Claims Portal dashboard analytics
Flynn, Matthew       7/25/2023     0.5   Call with H. Chambers, L. Chamma, M. Flynn, Q. Zhang, A.
                                         Mohammed, L. Yurchak (A&M), Sumsub, MetaLab, and Integreon to
                                         discuss customer claims portal collaborative integration on daily
                                         touchbase
Flynn, Matthew       7/25/2023     0.6   Call with K. Ramanathan, H. Chambers, D. Lewandowski, R.
                                         Esposito, Q. Zhang, M. Flynn, A. Mohammed (A&M) to discuss
                                         approach on communications to unverified customers
Flynn, Matthew       7/25/2023     0.3   Call with M. Flynn (A&M), Integreon team to discuss the KYC
                                         onboarding process
Flynn, Matthew       7/25/2023     0.3   Correspond on Bitgo KYC questions on bar date timing

Flynn, Matthew       7/25/2023     0.3   Correspond on subpoena request from S&C


Flynn, Matthew       7/25/2023     0.4   Create institutional customer balance listing for BitGo

Flynn, Matthew       7/25/2023     0.3   Correspond on subpoena listing for KYC tracking


Flynn, Matthew       7/25/2023     1.2   Review customer support tickets for customer portal issues

Flynn, Matthew       7/25/2023     0.9   Review SumSub KYC applicates for duplicate source key issues


Flynn, Matthew       7/25/2023     0.3   Review updated automated KYC responses for S&C

Flynn, Matthew       7/25/2023     0.2   Discussion with A. Mohammed, M. Flynn, H. Chambers, Q. Zhang,
                                         L. Chamma, L. Yurchak (A&M), R. Navarro (FTX), D. Chahanko
                                         (BitGo), and C. Cox (ML) regarding the BitGo SOP
Francis, Luke        7/25/2023     1.6   Review of updated claims register for new non-customer claims for
                                         triage

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Claims
Professional              Date     Hours     Activity
Gonzalez, Johnny       7/25/2023     0.4   Call w/ S. Coverick, R. Esposito, D. Lewandowski, C. Sullivan, J.
                                           Gonzalez (A&M) to review the claims comparison summary
Gonzalez, Johnny       7/25/2023     1.4   Update claims model roll-up summary based on discussions with the
                                           CMS team
Gonzalez, Johnny       7/25/2023     1.4   Update the claims comparison analysis based on comments from C.
                                           Sullivan (A&M)
Gonzalez, Johnny       7/25/2023     1.4   Update the claims comparison analysis based on comments from
                                           the CMS team
Gonzalez, Johnny       7/25/2023     1.8   Draft claims commentary for the variances from prior version based
                                           on discussions with C. Sullivan (A&M)
Gonzalez, Johnny       7/25/2023     1.2   Update claims commentary based on discussions with the CMS
                                           team
Gonzalez, Johnny       7/25/2023     1.7   Working session with D. Slay & J. Gonzalez (A&M) re: claims
                                           register updates based on comments from CMS
Gordon, Robert         7/25/2023     1.4   Read through latest claims report to identify potential new
                                           adjustments
Grosvenor, Robert      7/25/2023     0.6   Call to discuss European PII issues raised by FTX Europe DPO with
                                           R. Logan (S&C), R. Grosvenor, M. Negus and S. Lowe (A&M)
Hill, Liam             7/25/2023     1.9   Continue the customer claim triage review for claimant names
                                           beginning with "j"
Hill, Liam             7/25/2023     0.9   Continue matching the rejected contracts against the filed proofs of
                                           claim
Hill, Liam             7/25/2023     1.6   Customer claim triage review for claimant names beginning with "j"


Hill, Liam             7/25/2023     1.9   Customer claim triage review for claimant names beginning with "z"

Hill, Liam             7/25/2023     1.4   Triage review of claimants "C" through "D" filed against debtors


Hill, Liam             7/25/2023     0.3   Working session with L. Hill and D. Lewandowski (A&M) re: contract
                                           rejection claims
Johnson, Robert        7/25/2023     1.2   Investigate report of missing/mismatched balance based on
                                           customer report in zendesk ticket
Johnson, Robert        7/25/2023     0.9   Create query to identify debtor for each claimant to update database
                                           for Customer portal
Johnson, Robert        7/25/2023     1.0   Call with R. Johnson, A. Mohammed (A&M), C. Cox and others
                                           (MetaLab), and D. Chiu and others (FTX) ,and I. Weinberger and
                                           others (Sygnia) to discuss development efforts during daily standup
Kotarba, Steve         7/25/2023     1.1   Analyze updated claim report to assist with claims reconciliation


Lewandowski, Douglas   7/25/2023     0.8   Working session with D. Lewandowski and R. Esposito (A&M) re:
                                           claims reporting and customer claims process
Lewandowski, Douglas   7/25/2023     0.4   Discussion with D. Lewandowski and R. Esposito (A&M) re: claims
                                           updates
Lewandowski, Douglas   7/25/2023     0.3   Prepare bridge between Sunday claim report and 7/25 report and
                                           detail largest variances


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Claims
Professional              Date     Hours     Activity
Lewandowski, Douglas   7/25/2023     1.3   Prepare revised claims report for discussion with A&M/FTX
                                           management
Lewandowski, Douglas   7/25/2023     1.3   Work on claims triage and reviewing docketing errors from claims
                                           review team
Lewandowski, Douglas   7/25/2023     0.7   Call with D. Lewandowski, A. Mohammed (A&M) and E. Swedberg
                                           (MetaLab) to discuss claims status logic and flows
Lewandowski, Douglas   7/25/2023     0.8   Work on customer claim data export from Kroll

Lewandowski, Douglas   7/25/2023     1.4   Work on customer inquiry related to claim transfers


Lewandowski, Douglas   7/25/2023     0.9   Work on customer claim status memo to Kroll/A&M team for
                                           updates to FTX portal
Lewandowski, Douglas   7/25/2023     0.3   Working session with L. Hill and D. Lewandowski (A&M) re: contract
                                           rejection claims
Lewandowski, Douglas   7/25/2023     1.3   Prepare revised claims summary and detail file for discussion with
                                           A&M team
Lowe, Sam              7/25/2023     0.6   Call to discuss European PII issues raised by FTX Europe DPO with
                                           R. Logan (S&C), R. Grosvenor, M. Negus and S. Lowe (A&M)
Lowe, Sam              7/25/2023     1.8   Prepare responses to claims portal Privacy Inbox requests

Mohammed, Azmat        7/25/2023     0.7   Call with D. Lewandowski, A. Mohammed (A&M) and E. Swedberg
                                           (MetaLab) to discuss claims status logic and flows
Mohammed, Azmat        7/25/2023     0.2   Discussion with A. Mohammed, M. Flynn, H. Chambers, Q. Zhang,
                                           L. Chamma, L. Yurchak (A&M), R. Navarro (FTX), D. Chahanko
                                           (BitGo), and C. Cox (ML) regarding the BitGo SOP
Mohammed, Azmat        7/25/2023     0.6   Call with C. Cox and others (MetaLab), and M. Flynn, A. Mohammed
                                           (A&M) to discuss FTX Claims Portal dashboard analytics
Mohammed, Azmat        7/25/2023     0.3   Discuss claims process data visualization and executive dashboard
                                           with I. Weinberger (Sygnia)
Mohammed, Azmat        7/25/2023     0.3   Call with L. Chang (GeeTest), A. Mohammed (A&M) to discuss
                                           CAPTCHA service offering and products
Mohammed, Azmat        7/25/2023     1.0   Call with R. Johnson, A. Mohammed (A&M), C. Cox and others
                                           (MetaLab), and D. Chiu and others (FTX) ,and I. Weinberger and
                                           others (Sygnia) to discuss development efforts during daily standup
Mohammed, Azmat        7/25/2023     1.8   Coordinate development efforts related to CAPTCHA solution on
                                           password reset functionality
Mohammed, Azmat        7/25/2023     0.3   Review technical cases with FTX customer service leads (R.
                                           Navarro and P. Laurie)
Mohammed, Azmat        7/25/2023     0.3   Discussion with D. Lewandowski, R. Esposito, K. Ramanathan, A.
                                           Mohammed (A&M), O. Bitman, J. Hughes, V. Lavanya, V. Pratap, D.
                                           Mapplethorpe, J. Searles, R. Stitt (Kroll), C. Cox (ML) re: customer
                                           claim and portal status
Mohammed, Azmat        7/25/2023     0.4   Call with C. Cox, D. Longan (MetaLab) and A. Mohammed (A&M) to
                                           discuss development efforts deploying to production
Mohammed, Azmat        7/25/2023     0.9   Coordinate development efforts related to Liquid Global customers
                                           access to the FTX Customer Claims portal


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                                   FTX Trading Ltd., et al.,
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                              July 1, 2023 through July 31, 2023


Claims
Professional               Date     Hours     Activity
Mohammed, Azmat         7/25/2023     0.8   Coordinate development efforts related to KYC status from retail
                                            KYC vendor
Mohammed, Azmat         7/25/2023     0.7   Call with M. Flynn, H. Chambers, Q. Zhang, A. Mohammed, L.
                                            Yurchak (A&M), S. Levin (S&C), BitGo team to discuss KYB process
                                            and questions
Mohammed, Azmat         7/25/2023     0.5   Call with H. Chambers, L. Chamma, M. Flynn, Q. Zhang, A.
                                            Mohammed, L. Yurchak (A&M), Sumsub, MetaLab, and Integreon to
                                            discuss customer claims portal collaborative integration on daily
                                            touchbase
Negus, Matthew          7/25/2023     0.7   Review of updated data transfer agreement between FTX and
                                            Integreon
Negus, Matthew          7/25/2023     1.4   Draft of response to privacy questions raised by FTX Europe DPO

Negus, Matthew          7/25/2023     0.6   Call to discuss European PII issues raised by FTX Europe DPO with
                                            R. Logan (S&C), R. Grosvenor, M. Negus and S. Lowe (A&M)
Okuzu, Ciera            7/25/2023     1.3   Focus on claims labeled as medium priority to identify duplicates
                                            and docketing errors
Okuzu, Ciera            7/25/2023     0.6   Review customer claims to identify docketing errors and duplicates
                                            for creditors with last name beginning with CR-GU
Okuzu, Ciera            7/25/2023     1.3   Review customer claims to identify docketing errors and duplicates
                                            for creditors with last name beginning with BR-CO
Okuzu, Ciera            7/25/2023     2.2   Perform claims triage for claims in the claims management system
                                            for customers with last names that begin with ZH through ZU
Okuzu, Ciera            7/25/2023     0.9   Review claims filed against debtor for docketing errors and
                                            duplicates
Okuzu, Ciera            7/25/2023     1.1   Review customer claims for docketing errors and claim duplicates

Ramanathan, Kumanan     7/25/2023     0.6   Call with K. Ramanathan, H. Chambers, D. Lewandowski, R.
                                            Esposito, Q. Zhang, M. Flynn, A. Mohammed (A&M) to discuss
                                            approach on communications to unverified customers
Ramanathan, Kumanan     7/25/2023     0.3   Discussion with D. Lewandowski, R. Esposito, K. Ramanathan, A.
                                            Mohammed (A&M), O. Bitman, J. Hughes, V. Lavanya, V. Pratap, D.
                                            Mapplethorpe, J. Searles, R. Stitt (Kroll), C. Cox (ML) re: customer
                                            claim and portal status
Sarmiento, Dubhe        7/25/2023     0.9   Management of Privacy Inbox on 25 July


Slay, David             7/25/2023     0.6   Review and update support model with the latest claims register data

Slay, David             7/25/2023     1.6   Working session with D. Slay & J. Gonzalez (A&M) re: claims
                                            register updates based on comments from CMS
Sullivan, Christopher   7/25/2023     0.4   Call w/ S. Coverick, R. Esposito, D. Lewandowski, C. Sullivan, J.
                                            Gonzalez (A&M) to review the claims comparison summary
Yan, Jack               7/25/2023     2.2   Review Kroll's claim portal and process


Yan, Jack               7/25/2023     1.3   Perform manual review quality checking as of July 25, 2023




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                            July 1, 2023 through July 31, 2023


Claims
Professional             Date     Hours     Activity
Yurchak, Lilia        7/25/2023     1.1   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to go through
                                          issues and questions raised on entity KYC
Yurchak, Lilia        7/25/2023     0.3   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Sumsub
                                          team to go through applicant data reporting format
Yurchak, Lilia        7/25/2023     0.5   Call with H. Chambers, L. Chamma, M. Flynn, Q. Zhang, A.
                                          Mohammed, L. Yurchak (A&M), Sumsub, MetaLab, and Integreon to
                                          discuss customer claims portal collaborative integration on daily
                                          touchbase
Yurchak, Lilia        7/25/2023     0.7   Call with M. Flynn, H. Chambers, Q. Zhang, A. Mohammed, L.
                                          Yurchak (A&M), S. Levin (S&C), BitGo team to discuss KYB process
                                          and questions
Yurchak, Lilia        7/25/2023     0.2   Discussion with A. Mohammed, M. Flynn, H. Chambers, Q. Zhang,
                                          L. Chamma, L. Yurchak (A&M), R. Navarro (FTX), D. Chahanko
                                          (BitGo), and C. Cox (ML) regarding the BitGo SOP
Yurchak, Lilia        7/25/2023     2.1   Review customer tickets for potential escalation

Yurchak, Lilia        7/25/2023     0.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                          team to do manual review daily catch up
Zhang, Qi             7/25/2023     0.2   Discussion with A. Mohammed, M. Flynn, H. Chambers, Q. Zhang,
                                          L. Chamma, L. Yurchak (A&M), R. Navarro (FTX), D. Chahanko
                                          (BitGo), and C. Cox (ML) regarding the BitGo SOP
Zhang, Qi             7/25/2023     0.8   Call with Q. Zhang, L. Chamma (A&M) to discuss manual review
                                          issues identified in quality check
Zhang, Qi             7/25/2023     0.3   Call with Q. Zhang (A&M) and A. Powel (Integreon) to discuss
                                          manual review team issues
Zhang, Qi             7/25/2023     1.1   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to go through
                                          issues and questions raised on entity KYC
Zhang, Qi             7/25/2023     0.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Integreon
                                          team to do manual review daily catch up
Zhang, Qi             7/25/2023     0.6   Call with K. Ramanathan, H. Chambers, D. Lewandowski, R.
                                          Esposito, Q. Zhang, M. Flynn, A. Mohammed (A&M) to discuss
                                          approach on communications to unverified customers
Zhang, Qi             7/25/2023     0.5   Call with H. Chambers, L. Chamma, M. Flynn, Q. Zhang, A.
                                          Mohammed, L. Yurchak (A&M), Sumsub, MetaLab, and Integreon to
                                          discuss customer claims portal collaborative integration on daily
                                          touchbase
Arora, Rohan          7/26/2023     2.6   Complete claims triage for new low priority customer claims to find
                                          docketing errors and duplicates
Arora, Rohan          7/26/2023     2.1   Finish triage of remaining new low priority customer claims to find
                                          docketing errors and duplicates
Arora, Rohan          7/26/2023     0.3   Discussion with D. Lewandowski, S. Kotarba , R. Arora, C. Okuzu, L.
                                          Hill, and C. Myers (A&M) re: claims triage updates
Arora, Rohan          7/26/2023     1.7   Continue claims triage for new low priority customer claims to find
                                          docketing errors and duplicates
Arora, Rohan          7/26/2023     1.2   Complete claims triage for the remaining new low priority customer
                                          claims to find docketing errors and duplicates




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Claims
Professional            Date     Hours     Activity
Chambers, Henry      7/26/2023     0.3   Review know-your-business flow screenshots provided by BitGo

Chambers, Henry      7/26/2023     0.2   Respond to S&C queries regarding list of Subpoenas to flag in KYC
                                         process
Chambers, Henry      7/26/2023     0.6   Call with H. Chambers, L. Chamma, M. Flynn, Q. Zhang, L. Yurchak,
                                         A. Mohammed (A&M), Sumsub, MetaLab, and Integreon to discuss
                                         customer claims portal collaborative integration on daily touch base
Chambers, Henry      7/26/2023     0.4   Correspondence regarding Claims register time lag

Chambers, Henry      7/26/2023     0.3   Correspondence regarding KYB standard operating procedures


Chambers, Henry      7/26/2023     0.7   Manage Data Privacy matters from the KYC process

Chambers, Henry      7/26/2023     0.9   Manage manual KYC operating procedure updates

Chambers, Henry      7/26/2023     0.7   Respond to customer service queries on KYC process


Chambers, Henry      7/26/2023     0.3   Manage review of S&C Sumsub enquires

Chambers, Henry      7/26/2023     0.4   Correspondence regarding Claims outside portal KYC process


Chamma, Leandro      7/26/2023     0.7   Review of reporting excel spreadsheet regarding customers flagged
                                         by S&C for further review
Chamma, Leandro      7/26/2023     0.8   Update KYC issue tracker related to customer support tickets from
                                         July 26 that A&M identified potential issues with automated KYC
                                         verification
Chamma, Leandro      7/26/2023     0.6   Verify implementation of fixes by Sumsub regarding customer
                                         source key and rejection status
Chamma, Leandro      7/26/2023     0.6   Call with H. Chambers, L. Chamma, M. Flynn, Q. Zhang, L. Yurchak,
                                         A. Mohammed (A&M), Sumsub, MetaLab, and Integreon to discuss
                                         customer claims portal collaborative integration on daily touchbase
Chamma, Leandro      7/26/2023     0.5   Call with Q. Zhang, L. Chamma, L. Yurchak (A&M) and Integreon
                                         team to go through manual review issues identified in quality check
Chamma, Leandro      7/26/2023     0.4   Monitor customer portal customer support chat and answers
                                         questions raised related to KYC issues
Chamma, Leandro      7/26/2023     2.7   Review customer support tickets escalated to A&M KYC team
                                         review and follow-up on July 26
Coverick, Steve      7/26/2023     0.6   Call with E. Mosley (A&M) to discuss claims register analysis


Coverick, Steve      7/26/2023     1.8   Review and provide comments on preliminary non-customer claims
                                         assessment
Esposito, Rob        7/26/2023     1.4   Review and summary distribution of the claims summary report to
                                         S&C, A&M and FTX Mgmt
Esposito, Rob        7/26/2023     1.1   Review and analysis of proposed claims docketing changes




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Claims
Professional              Date     Hours     Activity
Esposito, Rob          7/26/2023     0.9   Review of priority claims to prepare for claims overview presentation

Esposito, Rob          7/26/2023     0.3   Review of data to summarize response to open data request


Esposito, Rob          7/26/2023     0.6   Conference with D Mapplethorpe, B Steele (Kroll), D Lewandowski
                                           and R Esposito (A&M) to discuss claim transfers and docketing
Esposito, Rob          7/26/2023     0.3   Review and response to claims review questions

Esposito, Rob          7/26/2023     0.2   Discussion with D Lewandowski and R Esposito (A&M) re: claims
                                           docketing changes
Esposito, Rob          7/26/2023     0.6   Discussion with D. Lewandowski, R. Esposito, S. Kotarba, A.
                                           Mohammed (A&M), O. Bitman, J. Hughes, V. Lavanya, D.
                                           Mapplethorpe, J. Searles, B. Steele, R. Stitt (Kroll), J. Zaleski, and
                                           C. Cox (ML) re: customer claim and portal status
Esposito, Rob          7/26/2023     0.3   Review and prepare claim request from A Kranzley (S&C)

Esposito, Rob          7/26/2023     0.7   Review of administrative claims for claims overview presentation


Esposito, Rob          7/26/2023     1.9   Work on detailed summary of the claims overview presentation

Flynn, Matthew         7/26/2023     0.4   Draft language for Sumsub KYC application deletion form


Flynn, Matthew         7/26/2023     0.8   Review Integreon resumes for KYC manual review onboarding

Flynn, Matthew         7/26/2023     0.4   Correspondence of building subpoena listing for S&C

Flynn, Matthew         7/26/2023     0.6   Correspond with BitGo on customer service issues


Flynn, Matthew         7/26/2023     0.6   Correspond on portal security performance

Flynn, Matthew         7/26/2023     0.6   Call with M. Flynn, K. Ramanathan, A. Mohammed (A&M), Metalab
                                           team to discuss portal navigation
Flynn, Matthew         7/26/2023     0.2   Call with M. Flynn, K. Ramanathan (A&M) to discuss BitGo KYC
                                           timing
Flynn, Matthew         7/26/2023     0.6   Call with H. Chambers, L. Chamma, M. Flynn, Q. Zhang, L. Yurchak,
                                           A. Mohammed (A&M), Sumsub, MetaLab, and Integreon to discuss
                                           customer claims portal collaborative integration on daily touchbase
Flynn, Matthew         7/26/2023     0.7   Review Kroll direct claims reporting process to enable customers to
                                           KYC
Grosvenor, Robert      7/26/2023     0.4   Review of PII matters raised in relation to claims process

Hill, Liam             7/26/2023     2.2   Customer Claims Triage of claimants beginning with "Z"


Hill, Liam             7/26/2023     1.3   Perform review of claims filed against Debtors specific to customers
                                           starting "L"



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Claims
Professional              Date     Hours     Activity
Hill, Liam             7/26/2023     2.9   Execute triage review of claims filed by claimants beginning with "K"

Hill, Liam             7/26/2023     0.3   Discussion with D. Lewandowski, S. Kotarba , R. Arora, C. Okuzu, L.
                                           Hill, and C. Myers (A&M) re: claims triage updates
Hill, Liam             7/26/2023     1.8   Customer Claims Triage review for claimants beginning with "M"

Johnson, Robert        7/26/2023     0.9   Call with R. Johnson, A. Mohammed (A&M), C. Cox and others
                                           (MetaLab), and D. Chiu and others (FTX) ,and I. Weinberger and
                                           others (Sygnia) to discuss development efforts during daily standup
Kotarba, Steve         7/26/2023     0.6   Discussion with D. Lewandowski, R. Esposito, S. Kotarba, A.
                                           Mohammed (A&M), O. Bitman, J. Hughes, V. Lavanya, D.
                                           Mapplethorpe, J. Searles, B. Steele, R. Stitt (Kroll), J. Zaleski, and
                                           C. Cox (ML) re: customer claim and portal status
Kotarba, Steve         7/26/2023     0.3   Discussion with D. Lewandowski, S. Kotarba , R. Arora, C. Okuzu, L.
                                           Hill, and C. Myers (A&M) re: claims triage updates
Kotarba, Steve         7/26/2023     1.5   Evaluate non-customer claims for internal update re plan process

Lewandowski, Douglas   7/26/2023     0.6   Conference with D Mapplethorpe, B Steele (Kroll), D Lewandowski
                                           and R Esposito (A&M) to discuss claim transfers and docketing
Lewandowski, Douglas   7/26/2023     1.3   Review foreign currency claims for discussion with Kroll and
                                           docketing updates
Lewandowski, Douglas   7/26/2023     0.6   Correspond with Kroll re: updated claims register changes

Lewandowski, Douglas   7/26/2023     0.7   Work on claim status workflow for the FTX customer portal


Lewandowski, Douglas   7/26/2023     0.6   Discussion with D. Lewandowski, R. Esposito, S. Kotarba, A.
                                           Mohammed (A&M), O. Bitman, J. Hughes, V. Lavanya, D.
                                           Mapplethorpe, J. Searles, B. Steele, R. Stitt (Kroll), J. Zaleski, and
                                           C. Cox (ML) re: customer claim and portal status
Lewandowski, Douglas   7/26/2023     1.7   Review docketing errors related to amount updates based on the
                                           new Kroll claims register and update where appropriate
Lewandowski, Douglas   7/26/2023     0.8   Prepare updates to claims database with changes from R. Esposito
                                           (A&M)
Lewandowski, Douglas   7/26/2023     1.4   Prepare new claims summary/detail report for discussion with A&M
                                           team
Lewandowski, Douglas   7/26/2023     0.4   Prepare extract of claims filed by certain claimants for discussion
                                           with S&C
Lewandowski, Douglas   7/26/2023     0.3   Discussion with D. Lewandowski, S. Kotarba , R. Arora, C. Okuzu, L.
                                           Hill, and C. Myers (A&M) re: claims triage updates
Lewandowski, Douglas   7/26/2023     0.2   Discussion with D Lewandowski and R Esposito (A&M) re: claims
                                           docketing changes
Lowe, Sam              7/26/2023     0.5   Review emails received to the claims portal Privacy Inbox


Mohammed, Azmat        7/26/2023     0.3   Call with R. Stitt, G. Faust (Kroll), P. Laurie, R. Navarro (FTX), Q.
                                           Zhang, A.Mohammed (A&M) to discuss case resolution on issues
                                           raised by customers to FTX CS to Kroll



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Claims
Professional              Date     Hours     Activity
Mohammed, Azmat        7/26/2023     0.7   Coordinate development efforts related to Apple and Google
                                           authentication methods on claims portal
Mohammed, Azmat        7/26/2023     0.9   Coordinate development efforts related to enhancing security
                                           controls and production deployment for 7/26
Mohammed, Azmat        7/26/2023     1.2   Coordinate development efforts related to integration between
                                           claims administrator and FTX portal around the display of Claims'
                                           statuses
Mohammed, Azmat        7/26/2023     0.6   Diagnose a Liquid Global Institutional client's connectivity issues to
                                           the customer claims portal
Mohammed, Azmat        7/26/2023     0.6   Discussion with D. Lewandowski, R. Esposito, S. Kotarba, A.
                                           Mohammed (A&M), O. Bitman, J. Hughes, V. Lavanya, D.
                                           Mapplethorpe, J. Searles, B. Steele, R. Stitt (Kroll), J. Zaleski, and
                                           C. Cox (ML) re: customer claim and portal status
Mohammed, Azmat        7/26/2023     0.8   Call with R. Perubhatla (FTX), I. Weinberger, O. Weinberger
                                           (Sygnia) A. Mohammed (A&M) to discuss infrastructure
                                           improvements after launch to unlock scaling
Mohammed, Azmat        7/26/2023     0.9   Call with R. Johnson, A. Mohammed (A&M), C. Cox and others
                                           (MetaLab), and D. Chiu and others (FTX) ,and I. Weinberger and
                                           others (Sygnia) to discuss development efforts during daily standup
Mohammed, Azmat        7/26/2023     0.6   Call with M. Flynn, K. Ramanathan, A. Mohammed (A&M), Metalab
                                           team to discuss portal navigation
Mohammed, Azmat        7/26/2023     0.6   Call with H. Chambers, L. Chamma, M. Flynn, Q. Zhang, L. Yurchak,
                                           A. Mohammed (A&M), Sumsub, MetaLab, and Integreon to discuss
                                           customer claims portal collaborative integration on daily touchbase
Montague, Katie        7/26/2023     1.1   Research contracts related to two vendors based on request from C.
                                           Sullivan (A&M) related to claims reporting
Mosley, Ed             7/26/2023     0.6   Call with S.Coverick (A&M) to discuss claims register analysis

Myers, Claire          7/26/2023     0.3   Discussion with D. Lewandowski, S. Kotarba , R. Arora, C. Okuzu, L.
                                           Hill, and C. Myers (A&M) re: claims triage updates
Negus, Matthew         7/26/2023     1.0   Review of responses to queries received via the FTX data privacy
                                           claims portal mailbox
Okuzu, Ciera           7/26/2023     2.1   Review customer claims to identify docketing errors and duplicates
                                           for creditors with last name beginning with HA-HO
Okuzu, Ciera           7/26/2023     0.6   Review customer claims to identify docketing errors and duplicates
                                           for creditors with last name beginning with GU-HA
Okuzu, Ciera           7/26/2023     1.1   Review customer claims to identify docketing errors and duplicates
                                           for creditors with last name beginning with HO-HU
Okuzu, Ciera           7/26/2023     0.3   Discussion with D. Lewandowski, S. Kotarba , R. Arora, C. Okuzu, L.
                                           Hill, and C. Myers (A&M) re: claims triage updates
Ramanathan, Kumanan    7/26/2023     1.2   Create illustrative example on perpetual features per the customer
                                           portal
Ramanathan, Kumanan    7/26/2023     0.6   Call with M. Flynn, K. Ramanathan, A. Mohammed (A&M), Metalab
                                           team to discuss portal navigation
Ramanathan, Kumanan    7/26/2023     0.3   Call with E. Broderick (Eversheds) to discuss customer claim
                                           reconciliation



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Claims
Professional               Date     Hours     Activity
Ramanathan, Kumanan     7/26/2023     0.2   Call with M. Flynn, K. Ramanathan (A&M) to discuss BitGo KYC
                                            timing
Sarmiento, Dubhe        7/26/2023     0.3   Management of Privacy Inbox on 26 July


Sullivan, Christopher   7/26/2023     0.8   Provide comments to refreshed claims reconciliation per the
                                            updated claims register
Sullivan, Christopher   7/26/2023     1.1   Provide comments to the revised claims analysis for latest non-
                                            customer claims
Yan, Jack               7/26/2023     0.7   Understand the statuses of FTX AML/CTF regime


Yan, Jack               7/26/2023     0.9   Perform manual review quality checking as of July 26, 2023

Yan, Jack               7/26/2023     0.4   Review customer feedback on KYC process and claim portal login


Yurchak, Lilia          7/26/2023     0.7   Call with M. Flynn, H. Chambers, Q. Zhang, A. Mohammed, L.
                                            Yurchak (A&M), S. Levin (S&C), BitGo team to discuss KYB process
                                            and questions
Yurchak, Lilia          7/26/2023     0.6   Call with H. Chambers, L. Chamma, M. Flynn, Q. Zhang, L. Yurchak,
                                            A. Mohammed (A&M), Sumsub, MetaLab, and Integreon to discuss
                                            customer claims portal collaborative integration on daily touchbase
Yurchak, Lilia          7/26/2023     0.5   Call with Q. Zhang, L. Chamma, L. Yurchak (A&M) and Integreon
                                            team to go through manual review issues identified in quality check
Zhang, Qi               7/26/2023     0.5   Call with Q. Zhang, L. Chamma, L. Yurchak (A&M) and Integreon
                                            team to go through manual review issues identified in quality check
Zhang, Qi               7/26/2023     0.7   Call with M. Flynn, H. Chambers, Q. Zhang, A. Mohammed, L.
                                            Yurchak (A&M), S. Levin (S&C), BitGo team to discuss KYB process
                                            and questions
Zhang, Qi               7/26/2023     0.3   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and Sumsub
                                            team to go through applicant data reporting format
Zhang, Qi               7/26/2023     0.6   Call with H. Chambers, L. Chamma, M. Flynn, Q. Zhang, L. Yurchak,
                                            A. Mohammed (A&M), Sumsub, MetaLab, and Integreon to discuss
                                            customer claims portal collaborative integration on daily touchbase
Zhang, Qi               7/26/2023     0.3   Call with R. Stitt, G. Faust (Kroll), P. Laurie, R. Navarro (FTX), Q.
                                            Zhang, A.Mohammed (A&M) to discuss case resolution on issues
                                            raised by customers to FTX CS to Kroll
Arora, Rohan            7/27/2023     1.7   Complete claims triage for the remaining low priority customer
                                            claims to find claim duplicates and docketing errors
Arora, Rohan            7/27/2023     2.1   Review the low priority customer claims to find docketing errors and
                                            duplicate claims
Arora, Rohan            7/27/2023     1.8   Review low priority customer claims to find docketing errors and
                                            duplicates
Arora, Rohan            7/27/2023     2.2   Identify and started triage of Remaining low priority customer claims
                                            to find docketing errors and duplicates
Arora, Rohan            7/27/2023     2.8   Finish claims triage of the remaining low priority customer claims to
                                            find docketing errors and duplicates
Chambers, Henry         7/27/2023     0.5   Call to discuss European PII issues with H. Chambers, M. Negus
                                            and S. Lowe (A&M)

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                         Time Detail by Activity by Professional
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Claims
Professional            Date     Hours     Activity
Chambers, Henry      7/27/2023     0.2   Correspondence regarding KYC screenshots

Chambers, Henry      7/27/2023     0.4   Review Sumsub unverified KYC applications


Chambers, Henry      7/27/2023     0.6   Correspondence regarding KYC status of users

Chambers, Henry      7/27/2023     0.5   Call with H. Chambers, R. Esposito, L. Chamma, and A. Mohammed
                                         (A&M), S. Levin, A. Kranzley (S&C) to discuss KYC updates
Chambers, Henry      7/27/2023     0.6   Correspondence regarding KYC of customers outside of claims
                                         portal
Chamma, Leandro      7/27/2023     0.4   Update Sumsub issues tracker based on daily review done on July
                                         27
Chamma, Leandro      7/27/2023     1.8   Draft spreadsheet with identification of issues regarding all rejected
                                         KYC applications due to duplication
Chamma, Leandro      7/27/2023     0.9   Prepare response to Metalab request related to information of
                                         corporate customers that were routed by mistake to the natural
                                         persons KYC flow
Chamma, Leandro      7/27/2023     3.3   Review of all KYC application rejected as duplicates in order to
                                         identify issues related to source key tagging
Chamma, Leandro      7/27/2023     1.3   Review customer support tickets escalated to A&M KYC team
                                         review and follow-up on July 27
Chamma, Leandro      7/27/2023     0.5   Call with H. Chambers, R. Esposito, L. Chamma, and A. Mohammed
                                         (A&M), S. Levin, A. Kranzley (S&C) to discuss KYC updates
Chamma, Leandro      7/27/2023     0.3   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and A. Powel
                                         and others (Integreon) to do manual review daily catch up
Chamma, Leandro      7/27/2023     0.9   Call with M. Flynn, L. Yurchak, L. Chamma, Q. Zhang, A.
                                         Mohammed (A&M), A. Prwal (Integreon), C. Cox (MetaLab), R.
                                         Navarro (FTX) to discuss current customer portal, customer support
                                         and KYC status
Chamma, Leandro      7/27/2023     1.9   Review of KYC applications resolved on manual review for quality
                                         control purposes and to spot potential issues
Coverick, Steve      7/27/2023     0.9   Review and provide comments on preliminary analysis of Australia
                                         customer claim components
Esposito, Rob        7/27/2023     0.8   Work on executive summary of non-customer claims overview


Esposito, Rob        7/27/2023     0.5   Discussion with R. Esposito, K. Ramanathan, A. Mohammed, S.
                                         Kotarba, D. Lewandowski (A&M), J. Hughes, B. Steele, D.
                                         Mapplethorpe, R. Stitt, V. Lavanya, E. Echevarria, O. Bitman, J.
                                         Searles (Kroll), C. Cox, J. Zaleski (ML) re: customer portal status
Esposito, Rob        7/27/2023     0.8   Review of unsecured claims to prepare summary for claims overview
                                         presentation
Esposito, Rob        7/27/2023     0.2   Discussion with L Francis and R Esposito (A&M) to discuss the
                                         claims presentation tasks
Esposito, Rob        7/27/2023     1.4   Review of claim summary tables for claims overview presentation

Esposito, Rob        7/27/2023     0.7   Discussion with D. Lewandowski and R. Esposito (A&M) re: claims
                                         reporting and presentation updates

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                                  FTX Trading Ltd., et al.,
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Claims
Professional              Date     Hours     Activity
Esposito, Rob          7/27/2023     0.6   Discussion with D. Lewandowski and R. Esposito (A&M) re: claim
                                           updates for reporting purposes
Esposito, Rob          7/27/2023     0.6   Conference with L Francis, D Lewandowski and R Esposito (A&M) to
                                           review claims reporting tables
Esposito, Rob          7/27/2023     1.4   Review and prepare secured claims summary for claim overview
                                           presentation
Esposito, Rob          7/27/2023     0.9   Prepare summary of treasury related claims for the claims overview
                                           presentation
Esposito, Rob          7/27/2023     0.7   Prepare excluded claim slide for the claim overview presentation


Esposito, Rob          7/27/2023     0.8   Prepare detailed updates to the claims overview presentation

Esposito, Rob          7/27/2023     1.1   Prepare detailed summary of employee related claims


Esposito, Rob          7/27/2023     0.5   Discussion with S. Kotarba, L. Francis, D. Lewandowski, and R.
                                           Esposito (A&M) re: claim presentation updates
Esposito, Rob          7/27/2023     1.2   Prepare detailed summary of accounts payable related claims


Esposito, Rob          7/27/2023     0.5   Call with H. Chambers, R. Esposito, L. Chamma, and A. Mohammed
                                           (A&M), S. Levin, A. Kranzley (S&C) to discuss KYC updates
Flynn, Matthew         7/27/2023     0.7   Review customer support tickets on customer balance ticket
                                           responses
Flynn, Matthew         7/27/2023     0.9   Call with M. Flynn, L. Yurchak, L. Chamma, Q. Zhang, A.
                                           Mohammed (A&M), A. Prwal (Integreon), C. Cox (MetaLab), R.
                                           Navarro (FTX) to discuss current customer portal, customer support
                                           and KYC status
Flynn, Matthew         7/27/2023     0.8   Update daily portal status and findings presentation for management


Flynn, Matthew         7/27/2023     0.6   Correspond with Metalab team on claims status presentation in
                                           customer portal
Flynn, Matthew         7/27/2023     0.5   Call with M. Flynn, L. Yurchak, Q. Zhang, A. Mohammed (A&M), S.
                                           Levin, A. Kranzley (S&C) to discuss KYC updates
Francis, Luke          7/27/2023     0.6   Conference with L Francis, D Lewandowski and R Esposito (A&M) to
                                           review claims reporting tables
Francis, Luke          7/27/2023     0.2   Discussion with L Francis and R Esposito (A&M) to discuss the
                                           claims presentation tasks
Francis, Luke          7/27/2023     0.4   Discussion with D. Lewandowski and L. Francis (A&M) re: claim
                                           summary deck and report updates
Francis, Luke          7/27/2023     0.6   Discussion with D. Lewandowski and L. Francis (A&M) re: additional
                                           claim summary deck and report updates
Francis, Luke          7/27/2023     0.5   Discussion with S. Kotarba, L. Francis, D. Lewandowski, and R.
                                           Esposito (A&M) re: claim presentation updates
Grosvenor, Robert      7/27/2023     0.5   Call to discuss PII matters with R. Logan, W. Bekker (S&C) R.
                                           Grosvenor, M. Negus, S. Lowe and D. Sarmiento (A&M)
Hill, Liam             7/27/2023     2.1   Focus on triage customer type claimants beginning with "K"


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Claims
Professional              Date     Hours     Activity
Hill, Liam             7/27/2023     1.5   Triage review of customer claims starting with "W"

Hill, Liam             7/27/2023     2.4   Review of customer type creditors claims beginning with "L"


Hill, Liam             7/27/2023     1.1   Review of customer specific claims while noting docketing errors in
                                           claims management system
Johnson, Robert        7/27/2023     1.1   Call with K. Ramanathan, R. Johnson, A. Mohammed (A&M), C. Cox
                                           and others (MetaLab) to discuss development efforts during daily
                                           standup
Johnston, David        7/27/2023     0.6   Review and distribute weekly claims report relating to FTX Europe


Kotarba, Steve         7/27/2023     1.3   Review material claims including litigation for reporting

Kotarba, Steve         7/27/2023     2.2   Work on legal claim summary for the non-customer claims reporting
                                           deck
Kotarba, Steve         7/27/2023     0.5   Discussion with R. Esposito, K. Ramanathan, A. Mohammed, S.
                                           Kotarba, D. Lewandowski (A&M), J. Hughes, B. Steele, D.
                                           Mapplethorpe, R. Stitt, V. Lavanya, E. Echevarria, O. Bitman, J.
                                           Searles (Kroll), C. Cox, J. Zaleski (ML) re: customer portal status
Kotarba, Steve         7/27/2023     0.5   Discussion with S. Kotarba, L. Francis, D. Lewandowski, and R.
                                           Esposito (A&M) re: claim presentation updates
Lewandowski, Douglas   7/27/2023     1.4   Review various legal related claims in preparation of the claims
                                           summary slide
Lewandowski, Douglas   7/27/2023     0.7   Review specific legal related claims to summarize for claims deck


Lewandowski, Douglas   7/27/2023     1.3   Review legal claims for matching and to update estimates for the
                                           claims overview presentation
Lewandowski, Douglas   7/27/2023     0.8   Review and update the executive summary for the non-customer
                                           claims deck
Lewandowski, Douglas   7/27/2023     0.6   Discussion with D. Lewandowski and L. Francis (A&M) re: additional
                                           claim summary deck and report updates
Lewandowski, Douglas   7/27/2023     0.9   Prepare legal claim overview slide for the non-customer claims
                                           summary deck
Lewandowski, Douglas   7/27/2023     0.5   Discussion with S. Kotarba, L. Francis, D. Lewandowski, and R.
                                           Esposito (A&M) re: claim presentation updates
Lewandowski, Douglas   7/27/2023     0.5   Discussion with R. Esposito, K. Ramanathan, A. Mohammed, S.
                                           Kotarba, D. Lewandowski (A&M), J. Hughes, B. Steele, D.
                                           Mapplethorpe, R. Stitt, V. Lavanya, E. Echevarria, O. Bitman, J.
                                           Searles (Kroll), C. Cox, J. Zaleski (ML) re: customer portal status
Lewandowski, Douglas   7/27/2023     0.7   Discussion with D. Lewandowski and R. Esposito (A&M) re: claims
                                           reporting and presentation updates
Lewandowski, Douglas   7/27/2023     0.6   Discussion with D. Lewandowski and R. Esposito (A&M) re: claim
                                           updates for reporting purposes
Lewandowski, Douglas   7/27/2023     0.4   Discussion with D. Lewandowski and L. Francis (A&M) re: claim
                                           summary deck and report updates
Lewandowski, Douglas   7/27/2023     0.8   Incorporate changes from A&M team into the claim summary
                                           presentation

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Claims
Professional              Date     Hours     Activity
Lewandowski, Douglas   7/27/2023     0.2   Discussion with C. Okuzu and D. Lewandowski (A&M) re: triage and
                                           claim classification updates
Lewandowski, Douglas   7/27/2023     0.6   Conference with L Francis, D Lewandowski and R Esposito (A&M) to
                                           review claims reporting tables
Lewandowski, Douglas   7/27/2023     1.3   Prepare revised claim amount file for claims presentation deck

Lewandowski, Douglas   7/27/2023     0.5   Discussion with C. Okuzu and D. Lewandowski (A&M) re: triage and
                                           claim duplicates
Lowe, Sam              7/27/2023     0.5   Call to discuss PII matters with R. Logan, W. Bekker (S&C) R.
                                           Grosvenor, M. Negus, S. Lowe and D. Sarmiento (A&M)
Lowe, Sam              7/27/2023     2.6   Review standard responses and request tracker for claims portal
                                           Privacy Inbox
Lowe, Sam              7/27/2023     0.5   Call to discuss European PII issues with H. Chambers, M. Negus
                                           and S. Lowe (A&M)
Mohammed, Azmat        7/27/2023     0.6   Coordinate development efforts related to securing admin portal and
                                           adding functionality for customer service agents
Mohammed, Azmat        7/27/2023     0.5   Discussion with R. Esposito, K. Ramanathan, A. Mohammed, S.
                                           Kotarba, D. Lewandowski (A&M), J. Hughes, B. Steele, D.
                                           Mapplethorpe, R. Stitt, V. Lavanya, E. Echevarria, O. Bitman, J.
                                           Searles (Kroll), C. Cox, J. Zaleski (ML) re: customer portal status
Mohammed, Azmat        7/27/2023     0.4   Coordinate development efforts related to Kroll and Sumsub
                                           integrations
Mohammed, Azmat        7/27/2023     0.5   Call with M. Flynn, L. Yurchak, Q. Zhang, A. Mohammed (A&M), S.
                                           Levin, A. Kranzley (S&C) to discuss KYC updates
Mohammed, Azmat        7/27/2023     1.1   Call with K. Ramanathan, R. Johnson, A. Mohammed (A&M), C. Cox
                                           and others (MetaLab) to discuss development efforts during daily
                                           standup
Mosley, Ed             7/27/2023     0.9   Review of and prepare comments to draft claims variance in
                                           connection with plan analysis
Negus, Matthew         7/27/2023     0.5   Call to discuss PII matters with R. Logan, W. Bekker (S&C) R.
                                           Grosvenor, M. Negus, S. Lowe and D. Sarmiento (A&M)
Negus, Matthew         7/27/2023     0.4   Review of privacy requests received from consumers via claims
                                           portal
Negus, Matthew         7/27/2023     0.5   Call to discuss European PII issues with H. Chambers, M. Negus
                                           and S. Lowe (A&M)
Okuzu, Ciera           7/27/2023     0.9   Evaluate claims from customers to identify docketing errors and
                                           duplicates
Okuzu, Ciera           7/27/2023     0.1   Review claims to capture docketing errors and duplicates for
                                           creditors beginning with LI
Okuzu, Ciera           7/27/2023     2.0   Review customer claims to identify docketing errors and duplicates
                                           for creditors with last name beginning with HU-JE
Okuzu, Ciera           7/27/2023     0.5   Discussion with C. Okuzu and D. Lewandowski (A&M) re: triage and
                                           claim duplicates
Okuzu, Ciera           7/27/2023     2.0   Review claims to capture docketing errors and duplicates for
                                           creditors beginning with KR-KU



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Claims
Professional             Date     Hours     Activity
Okuzu, Ciera          7/27/2023     0.7   Prioritize the review of customer claims in the claims management
                                          system
Okuzu, Ciera          7/27/2023     2.1   Review customer claims to identify docketing errors and duplicates
                                          for creditors with last name beginning with JU-KR
Okuzu, Ciera          7/27/2023     1.0   Review claims to capture docketing errors and duplicates for
                                          creditors beginning with KU-LA
Okuzu, Ciera          7/27/2023     0.2   Discussion with C. Okuzu and D. Lewandowski (A&M) re: triage and
                                          claim classification updates
Ramanathan, Kumanan   7/27/2023     0.5   Discussion with R. Esposito, K. Ramanathan, A. Mohammed, S.
                                          Kotarba, D. Lewandowski (A&M), J. Hughes, B. Steele, D.
                                          Mapplethorpe, R. Stitt, V. Lavanya, E. Echevarria, O. Bitman, J.
                                          Searles (Kroll), C. Cox, J. Zaleski (ML) re: customer portal status
Ramanathan, Kumanan   7/27/2023     0.3   Call with G. Walia (A&M) to discuss derivative illustration


Ramanathan, Kumanan   7/27/2023     1.1   Call with K. Ramanathan, R. Johnson, A. Mohammed (A&M), C. Cox
                                          and others (MetaLab) to discuss development efforts during daily
                                          standup
Ramanathan, Kumanan   7/27/2023     0.7   Revise derivative position illustrative example

Sarmiento, Dubhe      7/27/2023     0.4   Management of Privacy Inbox on 27 July


Sarmiento, Dubhe      7/27/2023     0.7   Track and management of correction request received via the
                                          Privacy Inbox
Sarmiento, Dubhe      7/27/2023     0.5   Call to discuss PII matters with R. Logan, W. Bekker (S&C) R.
                                          Grosvenor, M. Negus, S. Lowe and D. Sarmiento (A&M)
Walia, Gaurav         7/27/2023     0.3   Call with K. Ramanathan, G. Walia (A&M) to discuss derivative
                                          illustration
Yan, Jack             7/27/2023     0.5   Call with H. Chambers, R. Esposito, L. Chamma, and A. Mohammed
                                          (A&M), S. Levin, A. Kranzley (S&C) to discuss KYC updates
Yan, Jack             7/27/2023     1.3   Perform manual review quality checking as of July 27, 2023

Yurchak, Lilia        7/27/2023     0.3   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and A. Powel
                                          and others (Integreon) to do manual review daily catch up
Yurchak, Lilia        7/27/2023     0.5   Call with M. Flynn, L. Yurchak, Q. Zhang, A. Mohammed (A&M), S.
                                          Levin, A. Kranzley (S&C) to discuss KYC updates
Yurchak, Lilia        7/27/2023     2.7   Review user issues related to incorrect Sumsub flow

Yurchak, Lilia        7/27/2023     0.9   Call with M. Flynn, L. Yurchak, L. Chamma, Q. Zhang, A.
                                          Mohammed (A&M), A. Prwal (Integreon), C. Cox (MetaLab), R.
                                          Navarro (FTX) to discuss current customer portal, customer support
                                          and KYC status
Yurchak, Lilia        7/27/2023     2.9   Review customer tickets for potential escalation to Sumsub, S&C, or
                                          CS
Yurchak, Lilia        7/27/2023     0.7   Draft agenda for upcoming weekly call with Sumsub

Zhang, Qi             7/27/2023     0.3   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and A. Powel
                                          and others (Integreon) to do manual review daily catch up

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Claims
Professional              Date    Hours     Activity
Zhang, Qi             7/27/2023     0.9   Call with M. Flynn, L. Yurchak, L. Chamma, Q. Zhang, A.
                                          Mohammed (A&M), A. Prwal (Integreon), C. Cox (MetaLab), R.
                                          Navarro (FTX) to discuss current customer portal, customer support
                                          and KYC status
Zhang, Qi             7/27/2023     0.5   Call with M. Flynn, L. Yurchak, Q. Zhang, A. Mohammed (A&M), S.
                                          Levin, A. Kranzley (S&C) to discuss KYC updates
Arora, Rohan          7/28/2023     1.6   Conduct claims triage for low priority customer claims to find
                                          docketing errors and duplicate claims
Arora, Rohan          7/28/2023     2.2   Complete claims triage for low priority customer claims to find claim
                                          duplicates and docketing errors
Arora, Rohan          7/28/2023     2.6   Finish claims triage for the remaining customer claims to find
                                          docketing errors and duplicates
Arora, Rohan          7/28/2023     2.8   Continue claims triage for low priority customer claims to find claim
                                          duplicates and docketing errors
Arora, Rohan          7/28/2023     0.1   Discussion with R. Arora, C. Okuzu, and C. Myers (A&M) re: claims
                                          triage updates
Chambers, Henry       7/28/2023     0.9   Provide input on process for KYC of customers filing claims outside
                                          customer portal
Chambers, Henry       7/28/2023     0.2   Manage correspondence regarding data privacy matters

Chambers, Henry       7/28/2023     1.6   Correspondence regarding customer communication for portal


Chambers, Henry       7/28/2023     0.6   Clarify expectations of KYB process

Chambers, Henry       7/28/2023     0.9   Call with H. Chambers, Q. Zhang, J. Yan, J. Lam (A&M) to discuss
                                          KYC flow and customer communication issues
Chamma, Leandro       7/28/2023     2.6   Review of KYC applications resolved on manual review for quality
                                          control purposes and to spot potential issues
Chamma, Leandro       7/28/2023     0.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M), A. Powel and
                                          others (Integreon) do manual review daily catch up
Chamma, Leandro       7/28/2023     1.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M), A. Powel and
                                          others (Integreon) to do manual review training for new hires
Chamma, Leandro       7/28/2023     0.5   Call with L. Yurchak, Q. Zhang, L. Chamma, J. Yan (A&M), M.
                                          Skrebets and A. Gryaznov (Sumsub) for weekly Sumsub issue
                                          discussion
Chamma, Leandro       7/28/2023     0.5   Call with M. Flynn, L. Chamma, Q. Zhang, L. Yurchak (A&M), R.
                                          Perubhatla (FTX), C. Cox (Metalab), A. Porwal (Integreon), M.
                                          Skrebets (Sumsub) to discuss latest portal and KYC status
Chamma, Leandro       7/28/2023     0.9   Call with Q. Zhang, M. Flynn, L. Yurchak, L. Chamma, A.
                                          Mohammed (A&M) P. Laurie, R. Navarro (FTX) N. Chang, D.
                                          Chachanko (BitGo), and D. Longan (MetaLab) to discuss
                                          Institutional KYC and FTX Customer Service standard operating
                                          procedures
Chamma, Leandro       7/28/2023     1.1   Review and update status of customer support tickets escalated to
                                          A&M KYC team review on July 28
Chamma, Leandro       7/28/2023     0.3   Review of Bitgo issue tracker related to corporate customer KYC
                                          issues and remediation


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Claims
Professional            Date     Hours     Activity
Esposito, Rob        7/28/2023     1.3   Review and prepare updates to the claim class slides for the non-
                                         customer claims overview
Esposito, Rob        7/28/2023     0.9   Working session with R. Esposito, D. Lewandowski and L. Francis
                                         (A&M) on claims summary presentation
Esposito, Rob        7/28/2023     0.7   Work on executive summary of non-customer claims overview

Esposito, Rob        7/28/2023     0.8   Review of claims data to confirm proper review and estimation of
                                         claims
Esposito, Rob        7/28/2023     0.4   Discussion with D Lewandowski and R Esposito (A&M) re: claims
                                         and schedules workstreams
Esposito, Rob        7/28/2023     0.6   Review of proposed changes to the non-customer claims
                                         presentation
Esposito, Rob        7/28/2023     0.3   Discussion with D. Lewandowski and R. Esposito (A&M) re:
                                         PowerPoint layout and executive summary
Esposito, Rob        7/28/2023     0.7   Discussion with S Kotarba, D Lewandowski and R Esposito (A&M)
                                         re: claims reconciliation workstreams
Esposito, Rob        7/28/2023     0.7   Review and analysis of reconciled claim data to confirm objection
                                         reasons
Esposito, Rob        7/28/2023     1.2   Review and prepare detailed updates to the claims by type slides for
                                         the non-customer claims overview
Esposito, Rob        7/28/2023     0.3   Discussion with D. Lewandowski, R. Esposito, S. Kotarba (A&M), J.
                                         Hughes, B. Steele, J. Searles, R. Stitt, S. Perry, V. Lavanya, V.
                                         Pratap (Kroll), R. Perubhatla (RLKS), J. Zaleski, and C. Cox (ML)
Flynn, Matthew       7/28/2023     0.8   Review customer support issues on KYC and customer portal to
                                         draft additional copy edits for S&C
Flynn, Matthew       7/28/2023     1.1   Review FTX customer support website and macro responses and
                                         provide feedback
Flynn, Matthew       7/28/2023     0.4   Review customer service FAQ portal edits for S&C

Flynn, Matthew       7/28/2023     0.9   Review BitGo process flow and portal copy for S&C


Flynn, Matthew       7/28/2023     0.5   Call with M. Flynn, L. Chamma, Q. Zhang, L. Yurchak (A&M), R.
                                         Perubhatla (FTX), C. Cox (Metalab), A. Porwal (Integreon), M.
                                         Skrebets (Sumsub) to discuss latest portal and KYC status
Flynn, Matthew       7/28/2023     0.7   Research Liquid customer support service tickets


Flynn, Matthew       7/28/2023     0.3   Discussion with M. Flynn, A. Mohammed, K. Ramanathan (A&M), J.
                                         Hughes, B. Steele, J. Searles, R. Stitt, S. Perry, V. Lavanya, V.
                                         Pratap (Kroll), R. Perubhatla (RLKS), J. Zaleski, and C. Cox (ML)
Flynn, Matthew       7/28/2023     0.6   Correspond with BitGo on KYC timing and flow questions

Flynn, Matthew       7/28/2023     0.9   Call with Q. Zhang, M. Flynn, L. Yurchak, L. Chamma, A.
                                         Mohammed (A&M) P. Laurie, R. Navarro (FTX) N. Chang, D.
                                         Chachanko (BitGo), and D. Longan (MetaLab) to discuss
                                         Institutional KYC and FTX Customer Service standard operating
                                         procedures



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                                  FTX Trading Ltd., et al.,
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                             July 1, 2023 through July 31, 2023


Claims
Professional              Date     Hours     Activity
Francis, Luke          7/28/2023     0.9   Working session with R. Esposito, D. Lewandowski and L. Francis
                                           (A&M) on claims summary presentation
Francis, Luke          7/28/2023     1.1   Review of Sch F unsecured loan payables for claims matching to
                                           scheduled claims
Grosvenor, Robert      7/28/2023     0.5   Call with R. Grosvenor, M. Negus, S. Lowe, Q. Zhang (A&M) to
                                           discuss personal privacy matters in KYC process
Hill, Liam             7/28/2023     1.2   Focus on claims triage for newly filed customer claims

Hill, Liam             7/28/2023     0.1   Discussion with D. Lewandowski, S. Kotarba , L. Hill (A&M) re:
                                           claims triage updates
Hill, Liam             7/28/2023     3.2   Continue claims triage for newly filed customer claims

Hill, Liam             7/28/2023     1.7   Claims triage for creditors beginning with "L"


Johnson, Robert        7/28/2023     1.1   Call with R. Johnson, A. Mohammed (A&M), C. Cox and others
                                           (MetaLab), and I. Weinberger (Sygnia) to discuss development
                                           efforts during daily standup
Johnson, Robert        7/28/2023     0.3   Discussion with D. Lewandowski and R. Johnson (A&M) re: non-
                                           schedule party filed proofs of claim process
Johnson, Robert        7/28/2023     0.2   Call with R. Johnson and A.Mohammed (A&M) to discuss mapping
                                           customers across debtor entities and approach to sharing these
                                           accounts with claims administrator
Johnson, Robert        7/28/2023     0.8   Work with Metalab to identify what debtor string to be provided in the
                                           Kroll API call depending on the source customer
Kotarba, Steve         7/28/2023     0.7   Review and prepare updates to non-customer claim summary

Kotarba, Steve         7/28/2023     0.6   Internal discussions re claim triage and next steps


Kotarba, Steve         7/28/2023     0.3   Discussion with D. Lewandowski, R. Esposito, S. Kotarba (A&M), J.
                                           Hughes, B. Steele, J. Searles, R. Stitt, S. Perry, V. Lavanya, V.
                                           Pratap (Kroll), R. Perubhatla (RLKS), J. Zaleski, and C. Cox (ML)
Kotarba, Steve         7/28/2023     0.1   Discussion with D. Lewandowski, S. Kotarba , L. Hill (A&M) re:
                                           claims triage updates
Lewandowski, Douglas   7/28/2023     0.3   Discussion with D. Lewandowski and R. Johnson (A&M) re: non-
                                           schedule party filed proofs of claim process
Lewandowski, Douglas   7/28/2023     0.8   Add newly added filed claims to the triage review spreadsheet for
                                           discussion with team
Lewandowski, Douglas   7/28/2023     0.3   Discussion with D. Lewandowski and R. Esposito (A&M) re:
                                           PowerPoint layout and executive summary
Lewandowski, Douglas   7/28/2023     0.7   Work on FTX portal status FAQ and customer service talking points
                                           for discussion with team
Lewandowski, Douglas   7/28/2023     0.3   Discussion with D. Lewandowski, R. Esposito, S. Kotarba (A&M), J.
                                           Hughes, B. Steele, J. Searles, R. Stitt, S. Perry, V. Lavanya, V.
                                           Pratap (Kroll), R. Perubhatla (RLKS), J. Zaleski, and C. Cox (ML)
Lewandowski, Douglas   7/28/2023     0.1   Discussion with D. Lewandowski, S. Kotarba , L. Hill (A&M) re:
                                           claims triage updates


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                                  FTX Trading Ltd., et al.,
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Claims
Professional              Date     Hours     Activity
Lewandowski, Douglas   7/28/2023     0.7   Discussion with S Kotarba, D Lewandowski and R Esposito (A&M)
                                           re: claims reconciliation workstreams
Lewandowski, Douglas   7/28/2023     1.7   Review and reconcile claims summary slides to claim detail file


Lewandowski, Douglas   7/28/2023     0.9   Update claims based on review/categorization for claims
                                           presentation
Lewandowski, Douglas   7/28/2023     0.9   Working session with R. Esposito, D. Lewandowski and L. Francis
                                           (A&M) on claims summary presentation
Lewandowski, Douglas   7/28/2023     0.8   Work on reviewing newly filed claims from the Kroll register


Lewandowski, Douglas   7/28/2023     0.4   Discussion with D Lewandowski and R Esposito (A&M) re: claims
                                           and schedules workstreams
Lowe, Sam              7/28/2023     0.5   Call with R. Grosvenor, M. Negus, S. Lowe, Q. Zhang (A&M) to
                                           discuss personal privacy matters in KYC process
Lowe, Sam              7/28/2023     0.7   Call with M. Negus, S. Lowe, A. Mohammed (A&M) to discuss KYC
                                           process deep dive
Lowe, Sam              7/28/2023     1.2   Call with M. Negus, S. Lowe, D. Sarmiento, (A&M) to discuss
                                           privacy inbox requests and process
Mohammed, Azmat        7/28/2023     0.5   Call with M. Flynn, L. Chamma, Q. Zhang, L. Yurchak, A.
                                           Mohammed (A&M), R. Perubhatla (FTX), C. Cox (Metalab), A.
                                           Porwal (Integreon), M. Skrebets (Sumsub) to discuss latest portal
                                           and KYC status
Mohammed, Azmat        7/28/2023     0.5   Call with S. Lynch, M. O'Rourke, D. Longan (MetaLab), K.
                                           Ramanathan, A.Mohammed (A&M) to discuss development efforts
                                           outlook
Mohammed, Azmat        7/28/2023     0.3   Collate documents on explaining and describe the claims process
                                           for the claims portal help center
Mohammed, Azmat        7/28/2023     1.1   Call with R. Johnson, A. Mohammed (A&M), C. Cox and others
                                           (MetaLab), and I. Weinberger (Sygnia) to discuss development
                                           efforts during daily standup
Mohammed, Azmat        7/28/2023     0.6   Coordinate development activities related to claims administrator
                                           integration
Mohammed, Azmat        7/28/2023     0.3   Discussion with M. Flynn, A. Mohammed, K. Ramanathan (A&M), J.
                                           Hughes, B. Steele, J. Searles, R. Stitt, S. Perry, V. Lavanya, V.
                                           Pratap (Kroll), R. Perubhatla (RLKS), J. Zaleski, and C. Cox (ML)
Mohammed, Azmat        7/28/2023     0.3   Review requirements for text based multi factor authentication bug
                                           and issues on the claims portal
Mohammed, Azmat        7/28/2023     0.2   Call with R. Johnson and A.Mohammed (A&M) to discuss mapping
                                           customers across debtor entities and approach to sharing these
                                           accounts with claims administrator
Mohammed, Azmat        7/28/2023     0.9   Call with Q. Zhang, M. Flynn, L. Yurchak, L. Chamma (A&M) P.
                                           Laurie, R. Navarro (FTX) N. Chang, D. Chachanko (BitGo), and D.
                                           Longan (MetaLab) to discuss Institutional KYC and FTX Customer
                                           Service standard operating procedures
Mohammed, Azmat        7/28/2023     0.7   Call with M. Negus, S. Lowe, A. Mohammed (A&M) to discuss KYC
                                           process deep dive




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Claims
Professional             Date     Hours     Activity
Myers, Claire         7/28/2023     0.1   Discussion with R. Arora, C. Okuzu, and C. Myers (A&M) re: claims
                                          triage updates
Negus, Matthew        7/28/2023     0.8   Review of draft template responses to customer privacy requests
                                          submitted via claims portal
Negus, Matthew        7/28/2023     0.7   Review of draft communications to customer privacy requests
                                          submitted through customer claims portal
Negus, Matthew        7/28/2023     0.5   Call with R. Grosvenor, M. Negus, S. Lowe, Q. Zhang (A&M) to
                                          discuss personal privacy issues in KYC process
Negus, Matthew        7/28/2023     0.7   Call with M. Negus, S. Lowe, A. Mohammed (A&M) to discuss KYC
                                          process deep dive
Okuzu, Ciera          7/28/2023     2.9   Review claims to capture docketing errors and duplicates for
                                          creditors beginning with LI-MA
Okuzu, Ciera          7/28/2023     2.0   Perform claims triage to find docketing errors and duplicates in
                                          claims management system
Okuzu, Ciera          7/28/2023     0.1   Discussion with R. Arora, C. Okuzu, and C. Myers (A&M) re: claims
                                          triage updates
Ramanathan, Kumanan   7/28/2023     0.5   Call with S. Lynch, M. O'Rourke, D. Longan (MetaLab), K.
                                          Ramanathan, A.Mohammed (A&M) to discuss development efforts
                                          outlook
Ramanathan, Kumanan   7/28/2023     0.3   Discussion with M. Flynn, A. Mohammed, K. Ramanathan (A&M), J.
                                          Hughes, B. Steele, J. Searles, R. Stitt, S. Perry, V. Lavanya, V.
                                          Pratap (Kroll), R. Perubhatla (RLKS), J. Zaleski, and C. Cox (ML)
Sarmiento, Dubhe      7/28/2023     0.4   Call with M. Negus, S. Lowe, D. Sarmiento, (A&M) to discuss
                                          privacy inbox requests and process
Sarmiento, Dubhe      7/28/2023     1.7   Draft template responses to data right requests received via the
                                          Privacy Inbox
Yan, Jack             7/28/2023     2.1   Update the Weekly KYC Decision Tracker


Yan, Jack             7/28/2023     0.5   Call with L. Yurchak, Q. Zhang, L. Chamma, J. Yan (A&M), M.
                                          Skrebets and A. Gryaznov (Sumsub) for weekly Sumsub issue
                                          discussion
Yan, Jack             7/28/2023     1.2   Perform manual review quality checking as of July 28, 2023

Yurchak, Lilia        7/28/2023     0.5   Call with L. Yurchak, Q. Zhang, L. Chamma, J. Yan (A&M), M.
                                          Skrebets and A. Gryaznov (Sumsub) for weekly Sumsub issue
                                          discussion
Yurchak, Lilia        7/28/2023     0.9   Call with Q. Zhang, M. Flynn, L. Yurchak, L. Chamma, A.
                                          Mohammed (A&M) P. Laurie, R. Navarro (FTX) N. Chang, D.
                                          Chachanko (BitGo), and D. Longan (MetaLab) to discuss
                                          Institutional KYC and FTX Customer Service standard operating
                                          procedures
Yurchak, Lilia        7/28/2023     0.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M), A. Powel and
                                          others (Integreon) do manual review daily catch up
Yurchak, Lilia        7/28/2023     0.5   Call with M. Flynn, L. Chamma, Q. Zhang, L. Yurchak (A&M), R.
                                          Perubhatla (FTX), C. Cox (Metalab), A. Porwal (Integreon), M.
                                          Skrebets (Sumsub) to discuss latest portal and KYC status




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Claims
Professional               Date    Hours     Activity
Yurchak, Lilia         7/28/2023     1.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M), A. Powel and
                                           others (Integreon) to do manual review training for new hires
Zhang, Qi              7/28/2023     0.4   Call with Q. Zhang (A&M) and R. Navarro (FTX) to discuss customer
                                           service ticket escalation issues
Zhang, Qi              7/28/2023     0.5   Call with R. Grosvenor, M. Negus, S. Lowe, Q. Zhang (A&M) to
                                           discuss data privacy matter in KYC process
Zhang, Qi              7/28/2023     0.9   Call with Q. Zhang, M. Flynn, L. Yurchak, L. Chamma, A.
                                           Mohammed (A&M) P. Laurie, R. Navarro (FTX) N. Chang, D.
                                           Chachanko (BitGo), and D. Longan (MetaLab) to discuss
                                           Institutional KYC and FTX Customer Service standard operating
                                           procedures
Zhang, Qi              7/28/2023     1.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M), A. Powel and
                                           others (Integreon) to do manual review training for new hires
Zhang, Qi              7/28/2023     0.5   Call with M. Flynn, L. Chamma, Q. Zhang, L. Yurchak (A&M), R.
                                           Perubhatla (FTX), C. Cox (Metalab), A. Porwal (Integreon), M.
                                           Skrebets (Sumsub) to discuss latest portal and KYC status
Zhang, Qi              7/28/2023     0.5   Call with L. Yurchak, Q. Zhang, L. Chamma, J. Yan (A&M), M.
                                           Skrebets and A. Gryaznov (Sumsub) for weekly Sumsub issue
                                           discussion
Zhang, Qi              7/28/2023     0.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M), A. Powel and
                                           others (Integreon) do manual review daily catch up
Chamma, Leandro        7/29/2023     0.9   Review and update status of customer support tickets escalated to
                                           A&M KYC team review on July 29
Chamma, Leandro        7/29/2023     0.8   Review of Sumsub issue tracker to analyze comments and
                                           remediation done
Coverick, Steve        7/29/2023     1.2   Review and provide comments on updated draft of non-customer
                                           claims summary deck for board
Francis, Luke          7/29/2023     1.3   Updates to claim summary reporting for presentation purposes on
                                           non-customers
Lewandowski, Douglas   7/29/2023     1.1   Create summary slide of claims data by claim class and objection
                                           type for claims summary deck
Lewandowski, Douglas   7/29/2023     0.6   Work on copy related to claim statuses in the FTX portal


Lewandowski, Douglas   7/29/2023     0.8   Prepare revised claims slide to breakout objections by type

Lewandowski, Douglas   7/29/2023     0.8   Work on breaking out reconciliation adjustment for claims reporting
                                           deck by objection type
Lewandowski, Douglas   7/29/2023     1.1   Work on updates to unliquidated scheduled claims for reporting
                                           purposes
Mosley, Ed             7/29/2023     1.7   Review of and prepare comments to draft claims register analysis for
                                           management and the board
Yan, Jack              7/29/2023     1.7   Update the Weekly Sumsub Check-in Tracker


Chambers, Henry        7/30/2023     0.6   Review feedback in regards to FTX KYC process

Chambers, Henry        7/30/2023     1.1   Provide input on updates on FAQ for customer portal


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                                  FTX Trading Ltd., et al.,
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Claims
Professional              Date     Hours     Activity
Esposito, Rob          7/30/2023     2.8   Prepare detailed updates to the claims overview for adjusted
                                           reconciled amounts
Esposito, Rob          7/30/2023     0.6   Working session with R. Esposito, and L. Francis (A&M) to prepare
                                           updates to the claims overview presentation
Esposito, Rob          7/30/2023     1.2   Prepare updates to the claims overview presentation

Esposito, Rob          7/30/2023     0.6   Prepare updated presentation slide to adjusted reconciled amount
                                           descriptions
Esposito, Rob          7/30/2023     0.6   Discussion with D Lewandowski and R Esposito (A&M) to review
                                           final changes to the claims overview presentation
Francis, Luke          7/30/2023     0.6   Working session with R. Esposito, and L. Francis (A&M) to prepare
                                           updates to the claims overview presentation
Kotarba, Steve         7/30/2023     2.2   Prepare updates to Board materials re status of non-customer claims


Lewandowski, Douglas   7/30/2023     1.2   Work on revisions to the claims deck to breakout reductions on
                                           account of amended, duplicate, and withdrawn claims
Lewandowski, Douglas   7/30/2023     0.6   Discussion with D Lewandowski and R Esposito (A&M) to review
                                           final changes to the claims overview presentation
Yan, Jack              7/30/2023     1.4   Update the weekly KYC decision tracker as of July 27, 2023

Yurchak, Lilia         7/30/2023     0.8   Draft request to Susmub for information on certain unverified users

Chambers, Henry        7/31/2023     0.9   Call with H. Chambers, M. Flynn, L. Chamma, Q. Zhang, L. Yurchak,
                                           A. Mohammed (A&M), R. Navarro (FTX), C. Cox (Metalab), A.
                                           Porwal (Integreon), M. Skrebets (Sumsub) to discuss latest portal
                                           and KYC status
Chambers, Henry        7/31/2023     0.4   Prepare proposed updates to customer claims portal


Chambers, Henry        7/31/2023     0.2   Respond to queries on know-your-business process

Chambers, Henry        7/31/2023     0.7   Provide input on correspondence regarding outstanding KYC
                                           process implementations
Chambers, Henry        7/31/2023     0.4   Review customer feedback on customer claims portal

Chamma, Leandro        7/31/2023     1.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to discuss KYC
                                           frequently asked question sheet, various KYC issues and customer
                                           service issues
Chamma, Leandro        7/31/2023     0.9   Review and update status of customer support tickets escalated to
                                           A&M KYC team review on July 31
Chamma, Leandro        7/31/2023     3.1   Review of KYC applications resolved on manual review on July 31
                                           for quality control purposes and to spot potential issues
Chamma, Leandro        7/31/2023     0.9   Update daily manual review quality control spreadsheet


Chamma, Leandro        7/31/2023     0.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and A. Powel
                                           and others (Integreon) to do manual review daily catch up



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                                FTX Trading Ltd., et al.,
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Claims
Professional             Date    Hours     Activity
Chamma, Leandro      7/31/2023     0.2   Call with L. Chamma (A&M) and R. Wendlick (Integreon) to discuss
                                         customer support tracker and manual review prioritization
Chamma, Leandro      7/31/2023     0.9   Call with H. Chambers, M. Flynn, L. Chamma, Q. Zhang, L. Yurchak,
                                         A. Mohammed (A&M), R. Navarro (FTX), C. Cox (Metalab), A.
                                         Porwal (Integreon), M. Skrebets (Sumsub) to discuss latest portal
                                         and KYC status
Chamma, Leandro      7/31/2023     2.1   Draft updated frequently asked question sheet regarding KYC
                                         process and requirements
Chamma, Leandro      7/31/2023     0.3   Update Sumsub issues tracker pursuant to new issues identified in
                                         KYC applications
Coverick, Steve      7/31/2023     1.1   Review and provide comments on updated draft of non-customer
                                         claims summary deck for UCC
Esposito, Rob        7/31/2023     0.7   Working session with L Francis, R Esposito and D Lewandowski
                                         (A&M) to finalize changes to the claims deck
Esposito, Rob        7/31/2023     1.0   Working session with L Francis, D Lewandowski and R Esposito
                                         (A&M) to work on the claims overview presentation
Esposito, Rob        7/31/2023     1.1   Work on adjusted reconciled claims data for the claims overview
                                         presentation
Esposito, Rob        7/31/2023     0.5   Discussion with R. Esposito, D. Lewandowski, J. Zatz, S. Kotarba
                                         (A&M), J. Hughes, E. Echevarria, D. Mapplethorpe, S. Perry (Kroll)
                                         re: customer claims data files
Esposito, Rob        7/31/2023     1.1   Coordinate team tasks related to non-customer claims reconciliations

Esposito, Rob        7/31/2023     0.4   Conference with L Francis and R Esposito (A&M) to review and
                                         discuss claim modifications
Esposito, Rob        7/31/2023     0.5   Working session with D. Lewandowski, R. Esposito, and L. Francis
                                         (A&M) re: claim reporting updates for amends/dupe
Flynn, Matthew       7/31/2023     0.9   Call with H. Chambers, M. Flynn, L. Chamma, Q. Zhang, L. Yurchak,
                                         A. Mohammed (A&M), R. Navarro (FTX), C. Cox (Metalab), A.
                                         Porwal (Integreon), M. Skrebets (Sumsub) to discuss latest portal
                                         and KYC status
Flynn, Matthew       7/31/2023     0.4   Call with M. Flynn, A. Mohammed (A&M), C. Cox (Metalab), M.
                                         Wang (BitGo) to discuss institutional KYC statuses
Flynn, Matthew       7/31/2023     1.1   Review FTX Express and FTX Australia customer entitlement data

Flynn, Matthew       7/31/2023     0.8   Draft customer portal status presentation for management

Flynn, Matthew       7/31/2023     0.5   Call with M. Flynn, K. Ramanathan, A. Mohammed (A&M) to discuss
                                         latest development status
Flynn, Matthew       7/31/2023     0.9   Draft FTX support copy edits on KYC process

Flynn, Matthew       7/31/2023     0.7   Review legal documents submitted in customer support tickets


Francis, Luke        7/31/2023     0.8   Working session with D. Lewandowski, L. Francis, and R. Esposito
                                         (A&M) re: dupe/amendment claims presentation updates
Francis, Luke        7/31/2023     0.7   Working session with L Francis, R Esposito and D Lewandowski
                                         (A&M) to finalize changes to the claims deck

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Claims
Professional            Date     Hours     Activity
Francis, Luke        7/31/2023     0.6   Teleconference with D. Lewandowski, L. Francis, and R. Esposito
                                         (A&M) re: restated/unredacted S&S refile open issues and status
Francis, Luke        7/31/2023     0.5   Working session with D. Lewandowski, R. Esposito, and L. Francis
                                         (A&M) re: claim reporting updates for amends/dupe
Francis, Luke        7/31/2023     1.0   Working session with L Francis, D Lewandowski and R Esposito
                                         (A&M) to work on the claims overview presentation
Francis, Luke        7/31/2023     0.3   Working session with D. Lewandowski and L. Francis (A&M) re:
                                         claim reporting updates for amends/dupe
Francis, Luke        7/31/2023     0.9   Discussion with D. Lewandowski, L. Francis, and R. Esposito (A&M)
                                         re: claims summary deck detailed review
Francis, Luke        7/31/2023     0.4   Conference with L Francis and R Esposito (A&M) to review and
                                         discuss claim modifications
Grosvenor, Robert    7/31/2023     0.7   Call to discuss EU Privacy matters related to Customer Service
                                         portal with H. Raatz (FTX), R. Logan (S&C), D. Johnston, R.
                                         Grosvenor, M. Negus and S. Lowe (A&M)
Grosvenor, Robert    7/31/2023     1.8   Call to discuss PII matters related to Customer Service processes
                                         with R. Navarro (FTX) R. Grosvenor, M. Negus and S. Lowe (A&M)
Hubbard, Taylor      7/31/2023     0.4   Discussion with S. Kotarba and T. Hubbard (A&M) re claim review
                                         for objection
Johnson, Robert      7/31/2023     0.5   Discussion with R. Johnson, K Ramanathan, A. Mohammed (A&M),
                                         J. Hughes, E. Echevarria, D. Mapplethorpe, S. Perry (Kroll), C. Cox
                                         and J. Zaleski (ML) re: customer claims portal
Johnson, Robert      7/31/2023     0.5   Discussion with R. Johnson, L. Konig, K Ramanathan (A&M), J.
                                         Hughes, E. Echevarria, D. Mapplethorpe, S. Perry (Kroll) re:
                                         customer claims data files
Johnson, Robert      7/31/2023     0.9   Investigate functionality of AWS WAF Captcha to confirm
                                         functionality of Captcha in China
Johnson, Robert      7/31/2023     1.0   Call with C. Cox, D. Longan and others (MetaLab) N. Molina, D. Chiu
                                         (FTX), R. Johnson, A. Mohammed (A&M) to discuss development
                                         on daily standup
Johnson, Robert      7/31/2023     1.2   Review debtor information to be sent to Kroll in request string for
                                         COM & EU customers
Konig, Louis         7/31/2023     0.5   Discussion with R. Johnson, L. Konig, K Ramanathan (A&M), J.
                                         Hughes, E. Echevarria, D. Mapplethorpe, S. Perry (Kroll) re:
                                         customer claims data files
Kotarba, Steve       7/31/2023     0.4   Discussion with S. Kotarba and T. Hubbard (A&M) re claim review
                                         for objection
Kotarba, Steve       7/31/2023     1.1   Updates to Board deck re claim estimates


Kotarba, Steve       7/31/2023     0.9   Review claims to start objection workstreams

Kotarba, Steve       7/31/2023     0.5   Discussion with R. Esposito, D. Lewandowski, J. Zatz, S. Kotarba
                                         (A&M), J. Hughes, E. Echevarria, D. Mapplethorpe, S. Perry (Kroll)
                                         re: customer claims data files
Kotarba, Steve       7/31/2023     0.5   Create collection templates re claim objections




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Claims
Professional              Date     Hours     Activity
Lewandowski, Douglas   7/31/2023     0.5   Working session with D. Lewandowski, R. Esposito, and L. Francis
                                           (A&M) re: claim reporting updates for amends/dupe
Lewandowski, Douglas   7/31/2023     0.9   Discussion with D. Lewandowski, L. Francis, and R. Esposito (A&M)
                                           re: claims summary deck detailed review
Lewandowski, Douglas   7/31/2023     0.7   Working session with L Francis, R Esposito and D Lewandowski
                                           (A&M) to finalize changes to the claims deck
Lewandowski, Douglas   7/31/2023     0.8   Working session with D. Lewandowski, L. Francis, and R. Esposito
                                           (A&M) re: dupe/amendment claims presentation updates
Lewandowski, Douglas   7/31/2023     0.3   Working session with D. Lewandowski and L. Francis (A&M) re:
                                           claim reporting updates for amends/dupe
Lewandowski, Douglas   7/31/2023     1.4   Update claim relationships of duplicative claims for
                                           reporting/estimate purposes
Lewandowski, Douglas   7/31/2023     0.6   Teleconference with D. Lewandowski, L. Francis, and R. Esposito
                                           (A&M) re: restated/unredacted S&S refile open issues and status
Lewandowski, Douglas   7/31/2023     0.8   Review legal related documentation from FTX Customer service
                                           reps for discussion with S&C
Lewandowski, Douglas   7/31/2023     0.5   Discussion with R. Esposito, D. Lewandowski, J. Zatz (A&M), J.
                                           Hughes, E. Echevarria, D. Mapplethorpe, S. Perry (Kroll) re:
                                           customer claims data files
Lewandowski, Douglas   7/31/2023     0.5   Discussion with D. Lewandowski, J. Zatz (A&M), J. Hughes, E.
                                           Echevarria, D. Mapplethorpe, S. Perry (Kroll), C. Cox and J. Zaleski
                                           (ML) re: customer claims portal
Lewandowski, Douglas   7/31/2023     0.2   Discussion with D. Lewandowski and C. Okuzu (A&M) re: claimant
                                           name register updates
Lewandowski, Douglas   7/31/2023     1.3   Review Kroll register updates for discussion with C. Okuzu (A&M)

Lowe, Sam              7/31/2023     1.2   Update draft responses to claims portal Privacy Inbox requests


Lowe, Sam              7/31/2023     1.8   Call to discuss PII matters related to Customer Service processes
                                           with R. Navarro (FTX) R. Grosvenor, M. Negus and S. Lowe (A&M)
Lowe, Sam              7/31/2023     0.7   Call to discuss EU Privacy matters related to Customer Service
                                           portal with H. Raatz (FTX), R. Logan (S&C), D. Johnston, R.
                                           Grosvenor, M. Negus and S. Lowe (A&M)
Lowe, Sam              7/31/2023     0.5   Call to cover overview of FTX claims portal back-end with A.
                                           Mohammed, M. Negus and S. Lowe (A&M)
Mohammed, Azmat        7/31/2023     0.8   Review integration and flows related to providing Sumsub KYC links
                                           to non FTX customers
Mohammed, Azmat        7/31/2023     0.5   Discussion with R. Johnson, K Ramanathan, A. Mohammed (A&M),
                                           J. Hughes, E. Echevarria, D. Mapplethorpe, S. Perry (Kroll), C. Cox
                                           and J. Zaleski (ML) re: customer claims portal
Mohammed, Azmat        7/31/2023     0.6   Coordinate development efforts related to translating support articles
                                           and claims portal help desk content
Mohammed, Azmat        7/31/2023     0.5   Call with M. Flynn, K. Ramanathan, A. Mohammed (A&M) to discuss
                                           latest development status




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Claims
Professional              Date     Hours     Activity
Mohammed, Azmat        7/31/2023     0.9   Call with M. Flynn, L. Chamma, Q. Zhang, L. Yurchak, A.
                                           Mohammed (A&M), R. Navarro (FTX), C. Cox (Metalab), A. Porwal
                                           (Integreon), M. Skrebets (Sumsub) to discuss latest portal and KYC
                                           status
Mohammed, Azmat        7/31/2023     0.4   Call with M. Flynn, A. Mohammed (A&M), C. Cox (Metalab), M.
                                           Wang (BitGo) to discuss institutional KYC statuses
Mohammed, Azmat        7/31/2023     0.6   Coordinate development efforts related to scaling production
                                           environment and monitoring compute resources
Mohammed, Azmat        7/31/2023     0.6   Coordinate development efforts related to claims administration
                                           integration
Mohammed, Azmat        7/31/2023     0.5   Call to cover overview of FTX claims portal back-end with A.
                                           Mohammed, M. Negus and S. Lowe (A&M)
Mohammed, Azmat        7/31/2023     1.0   Call with C. Cox, D. Longan and others (MetaLab) N. Molina, D. Chiu
                                           (FTX), R. Johnson, A. Mohammed (A&M) to discuss development
                                           on daily standup
Mohammed, Azmat        7/31/2023     0.5   Call with C. Cox, D. Longan (MetaLab) and A. Mohammed (A&M) to
                                           discuss development topics on weekly status call
Mosley, Ed             7/31/2023     0.3   Discussion with S.Jensen (A&M) regarding creditor resolution
                                           process for conflicts cited in our retention
Mosley, Ed             7/31/2023     1.4   Review of updated draft of claims register analysis for management,
                                           board, and UCC
Myers, Claire          7/31/2023     1.7   Analyze certain claims and find related contracts for R. Esposito

Negus, Matthew         7/31/2023     0.7   Call to discuss EU Privacy matters related to Customer Service
                                           portal with H. Raatz (FTX), R. Logan (S&C), D. Johnston, R.
                                           Grosvenor, M. Negus and S. Lowe (A&M)
Negus, Matthew         7/31/2023     0.5   Call to cover overview of FTX claims portal back-end with A.
                                           Mohammed, M. Negus and S. Lowe (A&M)
Negus, Matthew         7/31/2023     1.8   Call to discuss PII matters related to Customer Service processes
                                           with R. Navarro (FTX) R. Grosvenor, M. Negus and S. Lowe (A&M)
Okuzu, Ciera           7/31/2023     1.2   Examine the claim report to understand claim differences between
                                           claims in the claims management system and proof of claim
Okuzu, Ciera           7/31/2023     0.2   Discussion with D. Lewandowski and C. Okuzu (A&M) re: claimant
                                           name register updates
Ramanathan, Kumanan    7/31/2023     0.5   Discussion with R. Johnson, L. Konig, K Ramanathan (A&M), J.
                                           Hughes, E. Echevarria, D. Mapplethorpe, S. Perry (Kroll) re:
                                           customer claims data files
Ramanathan, Kumanan    7/31/2023     0.5   Discussion with R. Johnson, K Ramanathan, A. Mohammed (A&M),
                                           J. Hughes, E. Echevarria, D. Mapplethorpe, S. Perry (Kroll), C. Cox
                                           and J. Zaleski (ML) re: customer claims portal
Ramanathan, Kumanan    7/31/2023     0.5   Call with M. Flynn, K. Ramanathan, A. Mohammed (A&M) to discuss
                                           latest development status
Sarmiento, Dubhe       7/31/2023     1.3   Draft, review and amend template responses to data right requests
                                           received via the Privacy Inbox
Sarmiento, Dubhe       7/31/2023     0.3   Management of Privacy Inbox on 31 July




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Claims
Professional             Date     Hours      Activity
Yan, Jack             7/31/2023       3.1   Monitor and update the manual review ticker tracker as of July 30,
                                            2023
Yurchak, Lilia        7/31/2023       0.9   Call with H. Chambers, M. Flynn, L. Chamma, Q. Zhang, L. Yurchak,
                                            A. Mohammed (A&M), R. Navarro (FTX), C. Cox (Metalab), A.
                                            Porwal (Integreon), M. Skrebets (Sumsub) to discuss latest portal
                                            and KYC status
Yurchak, Lilia        7/31/2023       0.7   Instruct customer support regarding users with pending KYC


Yurchak, Lilia        7/31/2023       0.4   Draft follow up to Sumsub regarding disclosing information on users
                                            tagged for alleged forgery and block list
Yurchak, Lilia        7/31/2023       1.2   Draft customer portal flow chart for FAQ

Yurchak, Lilia        7/31/2023       1.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to discuss KYC
                                            frequently asked question sheet, various KYC issues and customer
                                            service issues
Yurchak, Lilia        7/31/2023       0.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and A. Powel
                                            and others (Integreon) to do manual review daily catch up
Zatz, Jonathan        7/31/2023       0.5   Discussion with D. Lewandowski, J. Zatz (A&M), J. Hughes, E.
                                            Echevarria, D. Mapplethorpe, S. Perry (Kroll), C. Cox and J. Zaleski
                                            (ML) re: customer claims portal
Zatz, Jonathan        7/31/2023       0.5   Discussion with R. Esposito, D. Lewandowski, J. Zatz (A&M), J.
                                            Hughes, E. Echevarria, D. Mapplethorpe, S. Perry (Kroll) re:
                                            customer claims data files
Zhang, Qi             7/31/2023       0.9   Call with H. Chambers, M. Flynn, L. Chamma, Q. Zhang, L. Yurchak,
                                            A. Mohammed (A&M), R. Navarro (FTX), C. Cox (Metalab), A.
                                            Porwal (Integreon), M. Skrebets (Sumsub) to discuss latest portal
                                            and KYC status
Zhang, Qi             7/31/2023       0.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) and A. Powel
                                            and others (Integreon) to do manual review daily catch up
Zhang, Qi             7/31/2023       1.5   Call with L. Yurchak, Q. Zhang, L. Chamma (A&M) to discuss KYC
                                            frequently asked question sheet, various KYC issues and customer
                                            service issues

Subtotal                          2,234.9

Contracts
Professional             Date     Hours      Activity
Hubbard, Taylor        6/8/2023       0.4   Review duplicate contracts in eBrevia to determine if they were
                                            incorrectly identified as non-contracts
Hubbard, Taylor        6/8/2023       0.9   Utilize report generated from eBrevia to check for non-contract type
                                            of 'investment' to see if there's a more global issue of incorrectly
                                            excluding contracts from Schedule G
Hubbard, Taylor        6/8/2023       0.2   Perform review of newly added contracts in eBrevia in order to
                                            gather key counterparty information for schedule G purposes
Hubbard, Taylor        6/8/2023       0.6   Change Amendment flag of contracts that were incorrectly excluded
                                            from Schedule G for being deemed as non-contracts (Folder Priority
                                            Entities: Apr 16)



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Contracts
Professional              Date    Hours     Activity
Simoneaux, Nicole      7/3/2023     0.9   Rationalize termination of contracts tied to outstanding remnant
                                          entity invoices
Arnett, Chris          7/5/2023     0.4   Solicit from R. Perubhatla (Company) status of additional contracts
                                          for potential rejection
Francis, Luke          7/8/2023     1.4   Searches for fact patterns based on donations made on behalf of
                                          insiders
Arnett, Chris          7/9/2023     0.4   Review and comment on summary and analysis of rejected
                                          contracts to date
Tenney, Bridger        7/9/2023     0.8   Provide internal team with damages estimates for all rejected
                                          contracts
Arnett, Chris         7/11/2023     0.3   Direct next actions on potential contract rejection with vendor
                                          counterparty
Simoneaux, Nicole     7/19/2023     2.2   Review employment agreements related to payments to assess
                                          possibility of rejection
Arnett, Chris         7/25/2023     0.3   Participate in discussion with B. Tenney and C. Arnett (A&M)
                                          regarding rejection damage claim issues and documentation
Tenney, Bridger       7/25/2023     1.1   Review correspondence from counsel re: contract rejections for next
                                          motion
Tenney, Bridger       7/25/2023     0.3   Participate in discussion with B. Tenney and C. Arnett (A&M)
                                          regarding rejection damage claim issues and documentation
Tenney, Bridger       7/25/2023     1.1   Determine claim amounts filed for all previously rejected contracts

Arnett, Chris         7/26/2023     0.6   Review newly identified contracts for potential rejection and direct
                                          analysis accordingly
Montague, Katie       7/26/2023     1.1   Research and review two vendor contracts related to claims process

Montague, Katie       7/26/2023     0.6   Review Dubai contract for rejection consideration


Tenney, Bridger       7/26/2023     0.7   Review contract master model for active open contracts

Arnett, Chris         7/27/2023     0.7   Read and analyze contracts for elevation to S&C for possible
                                          rejection
Arnett, Chris         7/27/2023     0.3   Review and comment on status of potential contract rejections

Montague, Katie       7/27/2023     1.9   Review contracts related to preference payments to assess
                                          possibility of rejection
Montague, Katie       7/27/2023     2.2   Review contracts for potential rejection at upcoming omnibus hearing


Simoneaux, Nicole     7/27/2023     1.6   Conduct contract search in relativity for vendor agreements in
                                          consideration of rejection
Montague, Katie       7/28/2023     0.2   Review request from FTX Europe team regarding key contracts in
                                          place or rejected
Arnett, Chris         7/31/2023     0.3   Summarize rationale for potential contract rejections for distribution
                                          to S&C




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Contracts
Professional             Date     Hours     Activity
Arnett, Chris         7/31/2023      0.5   Review and comment on R. Schutt (S&C) inquiries re: contract
                                           rejections for August omnibus

Subtotal                            22.0

Court and UST Reporting
Professional             Date     Hours     Activity
Broskay, Cole          7/5/2023      0.4   Correspondence related to expected timing of financial data for MOR
                                           compilation
Broskay, Cole          7/5/2023      0.3   Call with S. Coverick, R. Gordon, C. Broskay, J .Cooper, S.
                                           Witherspoon (A&M) re: preparation of MOR timeline
Broskay, Cole          7/5/2023      0.7   Correspondence regarding insiders for inclusion in MOR payments
                                           search
Broskay, Cole          7/5/2023      0.6   Draft updated MOR timeline with R. Gordon, C. Broskay(A&M)

Cooper, James          7/5/2023      0.3   Call with S. Coverick, R. Gordon, C. Broskay, J .Cooper, S.
                                           Witherspoon (A&M) re: preparation of MOR timeline
Coverick, Steve        7/5/2023      0.3   Call with S. Coverick, R. Gordon, C. Broskay, J .Cooper, S.
                                           Witherspoon (A&M) re: preparation of MOR timeline
Gordon, Robert         7/5/2023      0.3   Call with S. Coverick, R. Gordon, C. Broskay, J .Cooper, S.
                                           Witherspoon (A&M) re: preparation of MOR timeline
Gordon, Robert         7/5/2023      0.6   Draft updated MOR timeline with R. Gordon, C. Broskay(A&M)

Gordon, Robert         7/5/2023      1.8   Develop updated MOR timeline scenarios


Witherspoon, Samuel    7/5/2023      0.3   Call with S. Coverick, R. Gordon, C. Broskay, J .Cooper, S.
                                           Witherspoon (A&M) re: preparation of MOR timeline
Witherspoon, Samuel    7/5/2023      0.8   Organize November MOR supporting data on bank balances and
                                           transactions
Witherspoon, Samuel    7/5/2023      1.2   Refresh November MOR cash data for WRS entities


Gordon, Robert         7/6/2023      0.6   Correspondence with J. Ray(FTX), A. Kranzley(S&C) over updated
                                           MOR timeline
Broskay, Cole         7/10/2023      0.4   Discussion with C. Broskay and R. Gordon (A&M) regarding MOR
                                           data expected
Broskay, Cole         7/10/2023      0.2   Respond to questions regarding MOR compilation timeline

Cooper, James         7/10/2023      0.4   Teleconference with R. Gordon, J. Cooper(A&M) over updates to
                                           section 1 of the MOR
Gordon, Robert        7/10/2023      0.4   Discussion with C. Broskay and R. Gordon (A&M) regarding MOR
                                           data expected
Gordon, Robert        7/10/2023      0.4   Teleconference with R. Gordon, J. Cooper(A&M) over updates to
                                           section 1 of the MOR
Broskay, Cole         7/11/2023      0.3   Teleconference with R. Gordon, C. Broskay(A&M) over changes to
                                           the MOR timeline


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Court and UST Reporting
Professional               Date    Hours     Activity
Gordon, Robert         7/11/2023     0.3   Teleconference with R. Gordon, C. Broskay(A&M) over changes to
                                           the MOR timeline
Broskay, Cole          7/13/2023     0.2   Correspondence regarding multi-currency setup for MOR bank
                                           reconciliations
Coverick, Steve        7/13/2023     0.2   Discuss MOR filing schedule with A. Kranzley (S&C)

Witherspoon, Samuel    7/14/2023     1.3   Communicate with internal parties on cash inputs for MOR
                                           November reconciliation
Broskay, Cole          7/15/2023     0.2   Correspondence regarding timing of MOR data


Broskay, Cole          7/17/2023     0.7   Correspondence regarding expected timing of MOR draft reports

Broskay, Cole          7/18/2023     1.1   Provide commentary regarding mapping of account data for MOR
                                           template
Broskay, Cole          7/18/2023     1.4   Review of information provided for MOR templates

Broskay, Cole          7/18/2023     0.3   Correspondence regarding MOR template compilation progress


Broskay, Cole          7/19/2023     2.3   Review of MOR templates for WRS silo entities

Broskay, Cole          7/19/2023     0.3   Correspondence regarding expected timing of Dotcom silo TB data

Broskay, Cole          7/19/2023     0.4   Correspondence regarding petition date cash balance differences


Gordon, Robert         7/19/2023     0.6   Review initial post petition financials for WRSS to support the MOR

Broskay, Cole          7/20/2023     1.2   Teleconference with R. Gordon, C. Broskay(A&M) over updates to
                                           the MOR timeline
Broskay, Cole          7/20/2023     2.1   Review draft MOR template for WRS silo entities

Bruck, Ran             7/20/2023     0.7   Map November trial balance for WRSS to support MOR development


Bruck, Ran             7/20/2023     0.9   Map November trial balance for WRS to support MOR development

Cooper, James          7/20/2023     0.2   Discuss MOR cash reconciliation with S. Coverick, J. Cooper and R.
                                           Gordon (A&M)
Cooper, James          7/20/2023     0.6   Teleconference with J. Cooper(A&M) over changes to the section 1
                                           template
Cooper, James          7/20/2023     0.6   Call with J. Cooper, S. Witherspoon (A&M) re: cash section of
                                           monthly operating report process review
Coverick, Steve        7/20/2023     0.2   Discuss MOR cash reconciliation with J. Cooper and R. Gordon
                                           (A&M)
Gordon, Robert         7/20/2023     1.2   Teleconference with R. Gordon, C. Broskay(A&M) over updates to
                                           the MOR timeline




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Court and UST Reporting
Professional             Date     Hours     Activity
Gordon, Robert        7/20/2023     0.6   Teleconference with J. Cooper(A&M) over changes to the section 1
                                          template
Gordon, Robert        7/20/2023     0.2   Discuss MOR cash reconciliation with J. Cooper and S. Coverick
                                          (A&M)
Witherspoon, Samuel   7/20/2023     1.1   Update QuickBooks data reconciliations to inform the November
                                          MOR
Witherspoon, Samuel   7/20/2023     2.2   Develop template to reconcile silo bank accounts for MOR cash
                                          reporting
Witherspoon, Samuel   7/20/2023     0.6   Call with J. Cooper, S. Witherspoon (A&M) re: cash section of
                                          monthly operating report process review
Broskay, Cole         7/21/2023     1.4   Review revised WRS files provided by RLKS team

Broskay, Cole         7/21/2023     0.6   Correspondence related to update of MOR template for new trial
                                          balance data
Cooper, James         7/21/2023     1.3   Call with M. Cilia (FTX), J. Cooper, S. Witherspoon, E. Taraba
                                          (A&M) re: MOR cash reconciliation schedule process planning
Cooper, James         7/21/2023     0.4   Internal correspondence re: MOR process and timing


Cooper, James         7/21/2023     0.4   Call with J. Cooper, S. Witherspoon (A&M) re: MOR status and
                                          detail next steps
Hainline, Drew        7/21/2023     0.3   Review questions on November post-petition analysis for Digital
                                          Holdings to support MORs
Hainline, Drew        7/21/2023     0.3   Draft responses to questions on November post-petition income
                                          statement impact for DOTCOM-silo entities
Jones, Mackenzie      7/21/2023     1.1   Pull NAICS codes from first day motions for MOR

Kuruvilla, Daniel     7/21/2023     0.8   Discussion with S. Witherspoon, and D. Kuruvilla (A&M) to discuss
                                          Cash MOR reconciliation process
Kuruvilla, Daniel     7/21/2023     2.1   Review of cash reconciliation process for petition date to November
                                          month end
Taraba, Erik          7/21/2023     1.3   Call with M. Cilia (FTX), J. Cooper, S. Witherspoon, E. Taraba
                                          (A&M) re: MOR cash reconciliation schedule process planning
Witherspoon, Samuel   7/21/2023     2.1   Reconcile additional bank accounts at WRS silo without QuickBooks
                                          data
Witherspoon, Samuel   7/21/2023     0.8   Discussion with S. Witherspoon, and D. Kuruvilla (A&M) to discuss
                                          Cash MOR reconciliation process
Witherspoon, Samuel   7/21/2023     0.8   Create detailed instructions of MOR reconciliation file


Witherspoon, Samuel   7/21/2023     1.3   Call with M. Cilia (FTX), J. Cooper, S. Witherspoon, E. Taraba
                                          (A&M) re: MOR cash reconciliation schedule process planning
Witherspoon, Samuel   7/21/2023     0.4   Call with J. Cooper, S. Witherspoon (A&M) re: MOR status and
                                          detail next steps
Broskay, Cole         7/22/2023     0.1   Respond to question regarding MOR data received to date




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Court and UST Reporting
Professional               Date    Hours     Activity
Broskay, Cole          7/24/2023     0.6   Discussion with C. Broskay, R. Gordon(A&M) over MORs for WRS
                                           entities
Broskay, Cole          7/24/2023     0.4   Call to discuss MOR status, next steps and missing items with C.
                                           Broskay, R. Bruck (A&M)
Broskay, Cole          7/24/2023     0.4   Call with M. Cilia, R. Hoskins (FTX), R. Gordon, C. Broskay, J.
                                           Cooper, D. Kuruvilla (A&M) re: MOR cash reconciliation and next
                                           steps
Broskay, Cole          7/24/2023     2.4   Continue review of MOR templates for account mapping

Bruck, Ran             7/24/2023     1.3   Incorporate into MOR the trial balances with new QBO extracts


Bruck, Ran             7/24/2023     0.4   Call to discuss MOR status, next steps and missing items with C.
                                           Broskay, R. Bruck (A&M)
Bruck, Ran             7/24/2023     1.8   Review cash disbursement form from interim financial update to use
                                           in MOR
Bruck, Ran             7/24/2023     1.2   Review interim financial update to identify relevant questions for
                                           MOR questions
Bruck, Ran             7/24/2023     1.1   Review questions from MOR part seven to send for related parties

Cooper, James          7/24/2023     0.2   Teleconference with J. Cooper(A&M) and R. Gordon(A&M) over
                                           status of cash reconciliations
Cooper, James          7/24/2023     0.4   Call with M. Cilia, R. Hoskins (FTX), R. Gordon, C. Broskay, J.
                                           Cooper, D. Kuruvilla (A&M) re: MOR cash reconciliation and next
                                           steps
Cooper, James          7/24/2023     0.7   Review latest MOR process tracker and correspondence with M.
                                           Cilia (FTX) re: same
Gordon, Robert         7/24/2023     0.4   Call with M. Cilia, R. Hoskins (FTX), R. Gordon, C. Broskay, J.
                                           Cooper, D. Kuruvilla (A&M) re: MOR cash reconciliation and next
                                           steps
Gordon, Robert         7/24/2023     0.6   Discussion with C. Broskay, R. Gordon(A&M) over MORs for WRS
                                           entities
Gordon, Robert         7/24/2023     0.8   Review MOR section 1 tracker for latest cash reconciliation status

Gordon, Robert         7/24/2023     0.2   Teleconference with J. Cooper(A&M) and R. Gordon(A&M) over
                                           status of cash reconciliations
Hainline, Drew         7/24/2023     0.2   Respond to questions regarding post-petition November activity for
                                           DOTCOM-silo entities to support activity for MORs
Kuruvilla, Daniel      7/24/2023     1.1   Update FTX Switzerland GmbH cash reconciliations for November
                                           post petition activity
Kuruvilla, Daniel      7/24/2023     0.9   Working session with D. Kuruvilla, S. Witherspoon, E. Taraba (A&M)
                                           re: MOR reconciliation next steps for Dotcom entities
Kuruvilla, Daniel      7/24/2023     1.4   Update FTX Trading GmbH cash reconciliations for November post
                                           petition activity
Kuruvilla, Daniel      7/24/2023     0.7   Call with J. Cooper, E. Taraba, S. Witherspoon, and D. Kuruvilla
                                           (A&M) re: MOR reconciliation process and timeline (left early)



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Professional               Date    Hours     Activity
Kuruvilla, Daniel      7/24/2023     0.4   Call with M. Cilia, R. Hoskins (FTX), R. Gordon, C. Broskay, J.
                                           Cooper, D. Kuruvilla (A&M) re: MOR cash reconciliation and next
                                           steps
Kuruvilla, Daniel      7/24/2023     0.8   Discussion with S. Witherspoon, and D. Kuruvilla (A&M) to discuss
                                           Cash MOR reconciliation process
Kuruvilla, Daniel      7/24/2023     2.9   Update FTX EU Ltd cash reconciliations for November post petition
                                           activity
Taraba, Erik           7/24/2023     0.7   Call with J. Cooper, E. Taraba, S. Witherspoon, and D. Kuruvilla
                                           (A&M) re: MOR reconciliation process and timeline (left early)
Taraba, Erik           7/24/2023     0.9   Working session with D. Kuruvilla, S. Witherspoon, E. Taraba (A&M)
                                           re: MOR reconciliation next steps for Dotcom entities
Witherspoon, Samuel    7/24/2023     0.9   Working session with D. Kuruvilla, S. Witherspoon, E. Taraba (A&M)
                                           re: MOR reconciliation next steps for Dotcom entities
Witherspoon, Samuel    7/24/2023     0.4   Call with M. Cilia, R. Hoskins (FTX), R. Gordon, C. Broskay, J.
                                           Cooper, D. Kuruvilla (A&M) re: MOR cash reconciliation and next
                                           steps
Witherspoon, Samuel    7/24/2023     0.7   Communicate with RLKS and A&M team on next steps for the
                                           November MOR
Witherspoon, Samuel    7/24/2023     0.3   Diligence bank statements of foreign subsidiaries for November
                                           month end
Witherspoon, Samuel    7/24/2023     2.3   Finalize reconciliation for FTX Trading and other Dotcom entities for
                                           the November MOR
Witherspoon, Samuel    7/24/2023     1.5   Reconcile FTX Trading QuickBooks trial balances to inform
                                           November MOR
Witherspoon, Samuel    7/24/2023     1.8   Update MOR tracker and reconciliation model for adjustments to
                                           reconcile bank transactions
Broskay, Cole          7/25/2023     1.6   Meeting to discuss employee headcount split between DOTCOM
                                           entities for MOR with C. Broskay, R. Bruck (A&M)
Broskay, Cole          7/25/2023     1.1   Working session to review MOR income statement items for the
                                           WRS silo with C. Broskay, R. Bruck (A&M)
Broskay, Cole          7/25/2023     1.4   Working session to review MOR insurance documentation with C.
                                           Broskay, R. Bruck (A&M)
Broskay, Cole          7/25/2023     1.7   Working session to review MOR cash flow reconciliation of WRS silo
                                           with C. Broskay, R. Bruck (A&M)
Broskay, Cole          7/25/2023     1.1   Working session to work through insider payments within WRS Silo
                                           for MOR questions with C. Broskay, R. Bruck (A&M)
Broskay, Cole          7/25/2023     1.3   Working session to work through insider payments within Dotcom
                                           Silo for MOR questions with C. Broskay, R. Bruck (A&M)
Broskay, Cole          7/25/2023     0.4   Respond to questions regarding MOR template account mapping

Bruck, Ran             7/25/2023     1.1   Working session to review MOR income statement items for the
                                           WRS silo with C. Broskay, R. Bruck (A&M)
Bruck, Ran             7/25/2023     1.7   Working session to review MOR cash flow reconciliation of WRS silo
                                           with C. Broskay, R. Bruck (A&M)
Bruck, Ran             7/25/2023     1.6   Review and match Balance sheet cash accounts with cash flow
                                           model

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Bruck, Ran             7/25/2023     1.2   Reconcile MOR cash disbursement file to IFU presentation

Bruck, Ran             7/25/2023     2.3   Create reconciliation formula for cash statement/disbursement tab to
                                           Cash team's files
Bruck, Ran             7/25/2023     1.8   Create cash flow model for MOR template

Bruck, Ran             7/25/2023     0.8   Add new trial balances to MOR template

Bruck, Ran             7/25/2023     1.4   Working session to review MOR insurance documentation with C.
                                           Broskay, R. Bruck (A&M)
Cooper, James          7/25/2023     0.3   Call with J. Cooper, S. Witherspoon (A&M) re: status of MOR
                                           process and tracker
Cooper, James          7/25/2023     0.6   Working session with J. Cooper, D. Kuruvilla (A&M) re: reconciliation
                                           of FTX Europe and subsidiary entities
Cooper, James          7/25/2023     1.1   Working session with J. Cooper, S. Witherspoon (A&M) re: MOR
                                           reconciliation and review
Cooper, James          7/25/2023     0.6   Working session with J. Cooper, D. Kuruvilla (A&M) re: reconciliation
                                           of FTX Europe and Dotcom entities
Cooper, James          7/25/2023     1.3   Prepare outline and review initial MOR tracker

Cooper, James          7/25/2023     0.3   Call with J. Cooper, S. Witherspoon (A&M) re: MOR entity tracker
                                           and process review
Kuruvilla, Daniel      7/25/2023     2.0   Review LedgerPrime MOR reconciliations from QuickBooks against
                                           the MOR Cash balances
Kuruvilla, Daniel      7/25/2023     1.4   Review WRS MOR reconciliations from Quickbooks against the
                                           MOR Cash balances
Kuruvilla, Daniel      7/25/2023     2.4   Update FTX Europe AG cash reconciliations for November post
                                           petition activity
Kuruvilla, Daniel      7/25/2023     0.6   Working session with J. Cooper, D. Kuruvilla (A&M) re: reconciliation
                                           of FTX Europe and subsidiary entities
Kuruvilla, Daniel      7/25/2023     2.6   Review FTX Trading Ltd MOR reconciliations from QuickBooks
                                           against the MOR Cash balances
Witherspoon, Samuel    7/25/2023     1.1   Working session with J. Cooper, S. Witherspoon (A&M) re: MOR
                                           reconciliation and review
Witherspoon, Samuel    7/25/2023     0.6   Working session with J. Cooper, D. Kuruvilla (A&M) re: reconciliation
                                           of FTX Europe and subsidiary entities
Witherspoon, Samuel    7/25/2023     0.7   Update summary tracker of MOR cash reconciliation model


Witherspoon, Samuel    7/25/2023     1.7   Update reconciliation of foreign denominated bank accounts with
                                           latest bank statement information
Witherspoon, Samuel    7/25/2023     0.8   Finalize daily tracker of MOR and distribute to internal parties


Witherspoon, Samuel    7/25/2023     1.3   Reconcile Quoine PTE bank accounts to November month end




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Witherspoon, Samuel    7/25/2023     0.3   Call with J. Cooper, S. Witherspoon (A&M) re: status of MOR
                                           process and tracker
Witherspoon, Samuel    7/25/2023     2.6   Reconcile Japan entity and subsidiaries bank statements with latest
                                           available data
Witherspoon, Samuel    7/25/2023     0.3   Call with J. Cooper, S. Witherspoon (A&M) re: MOR entity tracker
                                           and process review
Broskay, Cole          7/26/2023     1.1   Working session to walk through MOR sections with C. Broskay, R.
                                           Bruck, M. Jones (A&M)
Broskay, Cole          7/26/2023     0.2   Meeting to review outstanding items for MOR process C. Broskay,
                                           R. Gordon, R. Bruck, M. Jones (A&M)
Broskay, Cole          7/26/2023     1.1   Working session to work through insider payments within WRS Silo
                                           for MOR questions with C. Broskay, R. Bruck (A&M)
Broskay, Cole          7/26/2023     1.1   Working session to review employee data for MOR questions C.
                                           Broskay, R. Bruck, M. Jones (A&M)
Broskay, Cole          7/26/2023     0.7   Working session to debrief and review action items with C. Broskay,
                                           R. Bruck, M. Jones (A&M)
Broskay, Cole          7/26/2023     1.2   Meeting to walkthrough MOR format with R. Hoskins, M. Cilia (FTX)
                                           C. Broskay, R. Gordon, R. Bruck, M. Jones (A&M)
Broskay, Cole          7/26/2023     0.7   Correspondence regarding outstanding questions based on MOR
                                           review
Broskay, Cole          7/26/2023     0.3   Correspondence related to headcount by entity for MOR cover sheet

Broskay, Cole          7/26/2023     1.3   Meeting to analyze employee splits for MOR questions C. Broskay,
                                           R. Bruck, M. Jones (A&M)
Broskay, Cole          7/26/2023     1.6   Meeting to discuss employee headcount split between DOTCOM
                                           entities for MOR with C. Broskay, R. Bruck (A&M)
Broskay, Cole          7/26/2023     0.4   Meeting to discuss MOR mapping to cash file with C. Broskay, R.
                                           Bruck, M. Jones (A&M)
Broskay, Cole          7/26/2023     1.3   Working session to work through insider payments within Dotcom
                                           Silo for MOR questions with C. Broskay, R. Bruck (A&M)
Bruck, Ran             7/26/2023     1.1   Working session to review employee data for MOR questions C.
                                           Broskay, R. Bruck, M. Jones (A&M)
Bruck, Ran             7/26/2023     1.3   Meeting to analyze employee splits for MOR questions C. Broskay,
                                           R. Bruck, M. Jones (A&M)
Bruck, Ran             7/26/2023     1.6   Meeting to discuss employee headcount split between DOTCOM
                                           entities for MOR with C. Broskay, R. Bruck (A&M)
Bruck, Ran             7/26/2023     0.4   Meeting to discuss MOR mapping to cash file with C. Broskay, R.
                                           Bruck, M. Jones (A&M)
Bruck, Ran             7/26/2023     0.2   Meeting to review outstanding items for MOR process C. Broskay,
                                           R. Gordon, R. Bruck, M. Jones (A&M)
Bruck, Ran             7/26/2023     1.2   Meeting to walkthrough MOR format with R. Hoskins, M. Cilia (FTX)
                                           C. Broskay, R. Gordon, R. Bruck, M. Jones (A&M)
Bruck, Ran             7/26/2023     1.4   Research in relativity individual employees contract for determination
                                           of insider status




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Professional              Date     Hours     Activity
Bruck, Ran             7/26/2023     0.7   Working session to debrief and review action items with C. Broskay,
                                           R. Bruck, M. Jones (A&M)
Bruck, Ran             7/26/2023     1.1   Working session to walk through MOR sections with C. Broskay, R.
                                           Bruck, M. Jones (A&M)
Bruck, Ran             7/26/2023     1.3   Working session to work through insider payments within Dotcom
                                           Silo for MOR questions with C. Broskay, R. Bruck (A&M)
Bruck, Ran             7/26/2023     1.1   Working session to work through insider payments within WRS Silo
                                           for MOR questions with C. Broskay, R. Bruck (A&M)
Bruck, Ran             7/26/2023     1.7   Review headcount allocation for DOTCOM entities


Cooper, James          7/26/2023     1.9   Review updated MOR reconciliation file and provide comments

Cooper, James          7/26/2023     0.7   Working session with J. Cooper, S. Witherspoon (A&M) re: MOR
                                           process and next steps
Cooper, James          7/26/2023     0.8   Review MOR process tracker and provide comments

Gordon, Robert         7/26/2023     1.2   Meeting to walkthrough MOR format with R. Hoskins, M. Cilia (FTX)
                                           C. Broskay, R. Gordon, R. Bruck, M. Jones (A&M)
Gordon, Robert         7/26/2023     0.2   Meeting to review outstanding items for MOR process C. Broskay,
                                           R. Gordon, R. Bruck, M. Jones (A&M)
Gordon, Robert         7/26/2023     0.5   Call with M. Cilia(FTX) over status of MOR preparation

Jones, Mackenzie       7/26/2023     1.2   Meeting to walkthrough MOR format with R. Hoskins, M. Cilia (FTX)
                                           C. Broskay, R. Gordon, R. Bruck, M. Jones (A&M)
Jones, Mackenzie       7/26/2023     1.1   Working session to walk through MOR sections with C. Broskay, R.
                                           Bruck, M. Jones (A&M)
Jones, Mackenzie       7/26/2023     1.1   Working session to review employee data for MOR questions C.
                                           Broskay, R. Bruck, M. Jones (A&M)
Jones, Mackenzie       7/26/2023     0.7   Working session to debrief and review action items with C. Broskay,
                                           R. Bruck, M. Jones (A&M)
Jones, Mackenzie       7/26/2023     0.6   Update Dotcom silo insurance information on MOR Part 7


Jones, Mackenzie       7/26/2023     1.3   Meeting to analyze employee splits for MOR questions C. Broskay,
                                           R. Bruck, M. Jones (A&M)
Jones, Mackenzie       7/26/2023     1.4   Remap MOR balance sheet attachment to use case number rather
                                           than entity name
Jones, Mackenzie       7/26/2023     0.7   Compare MOR Part 1 to cash balances file


Jones, Mackenzie       7/26/2023     0.2   Meeting to review outstanding items for MOR process C. Broskay,
                                           R. Gordon, R. Bruck, M. Jones (A&M)
Jones, Mackenzie       7/26/2023     0.4   Meeting to discuss MOR mapping to cash file with C. Broskay, R.
                                           Bruck, M. Jones (A&M)
Jones, Mackenzie       7/26/2023     0.7   Create entity mapping for bank file and MOR file




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Jones, Mackenzie       7/26/2023     0.8   Research individual employment details for MOR Part 7 questions

Kuruvilla, Daniel      7/26/2023     1.3   Analyze bank statements for petition date balances and month end
                                           balances - FTX EU Ltd Klarpay
Kuruvilla, Daniel      7/26/2023     2.2   Analyze bank statements for petition date balances and month end
                                           balances - FTX EU Ltd Bank of Cyprus
Kuruvilla, Daniel      7/26/2023     1.4   Analyze bank statements for petition date balances and month end
                                           balances - FTX Europe AG
Kuruvilla, Daniel      7/26/2023     2.8   Review LedgerPrime MOR reconciliations from QuickBooks against
                                           the MOR Cash balances
Witherspoon, Samuel    7/26/2023     1.3   Finalize Dotcom silo MOR account reconciliation

Witherspoon, Samuel    7/26/2023     0.7   Working session with J. Cooper, S. Witherspoon (A&M) re: MOR
                                           process and next steps
Witherspoon, Samuel    7/26/2023     0.7   Review MOR reconciliations for Europe and Japan subsidiaries

Balmelli, Gioele       7/27/2023     0.3   Call with G. Balmelli, M. Van Den Belt, E. Dalgleish, D. Kuruvilla
                                           (A&M) re: November MOR cash reconciliation for Europe
Broskay, Cole          7/27/2023     0.2   Call to discuss personnel data for MOR reporting with N.
                                           Simoneaux, C. Broskay, R. Bruck, M. Jones (A&M)
Broskay, Cole          7/27/2023     1.3   Meeting to discuss pre/post split for all silos for MOR with C.
                                           Broskay, R. Bruck (A&M)
Broskay, Cole          7/27/2023     1.8   Meeting to review insiders by entity for all silos for MOR with C.
                                           Broskay, R. Bruck (A&M)
Broskay, Cole          7/27/2023     1.2   Meeting to review payroll payments for all entities for MOR C.
                                           Broskay, R. Bruck (A&M)
Bruck, Ran             7/27/2023     1.3   Meeting to discuss pre/post split for all silos for MOR with C.
                                           Broskay, R. Bruck (A&M)
Bruck, Ran             7/27/2023     1.2   Meeting to review payroll payments for all entities for MOR C.
                                           Broskay, R. Bruck (A&M)
Bruck, Ran             7/27/2023     1.8   Meeting to review insiders by entity for all silos for MOR with C.
                                           Broskay, R. Bruck (A&M)
Bruck, Ran             7/27/2023     1.9   Reconcile cash positions on the MOR for new entities on QBO to
                                           cash file
Bruck, Ran             7/27/2023     0.2   Call to discuss personnel data for MOR reporting with N.
                                           Simoneaux, C. Broskay, R. Bruck, M. Jones (A&M)
Cooper, James          7/27/2023     1.8   Research case examples re: MOR cash disbursement presentation
                                           and treatment
Cooper, James          7/27/2023     0.3   Call with J. Cooper, S. Witherspoon (A&M) re: November MOR cash
                                           reconciliation for Europe
Cooper, James          7/27/2023     0.4   Call with M. Cilia (FTX), J. Cooper, S. Witherspoon, S. Li, D.
                                           Kuruvilla (A&M), re: November MOR cash reconciliation for Japan
Cooper, James          7/27/2023     1.3   Conduct analysis of daily updates to MOR reconciliation file and
                                           provide comments




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Dalgleish, Elizabeth   7/27/2023     0.3   Call with G. Balmelli, M. Van Den Belt, E. Dalgleish, D. Kuruvilla
                                           (A&M) re: November MOR cash reconciliation for Europe
Hainline, Drew         7/27/2023     0.2   Respond to questions on MOR format for FSLI presentation


Jones, Mackenzie       7/27/2023     0.6   Investigate income statement discrepancies between QBO export
                                           and MOR attachment
Jones, Mackenzie       7/27/2023     1.8   Remap MOR income statement attachment to use case number
                                           rather than entity name
Jones, Mackenzie       7/27/2023     0.4   Remap MOR cash flow attachment to use case number rather than
                                           entity name
Jones, Mackenzie       7/27/2023     0.8   Investigate balance sheet discrepancies between QBO export and
                                           MOR attachment
Jones, Mackenzie       7/27/2023     1.4   Create analytics on current progress of outstanding MOR items


Jones, Mackenzie       7/27/2023     0.3   Condense entities on MOR financial statement attachments

Jones, Mackenzie       7/27/2023     1.9   Compare MOR outputs to input data for accuracy


Jones, Mackenzie       7/27/2023     1.1   Assess variances between MOR attachments and QBO exports

Jones, Mackenzie       7/27/2023     0.2   Call to discuss personnel data for MOR reporting with N.
                                           Simoneaux, C. Broskay, R. Bruck, M. Jones (A&M)
Kuruvilla, Daniel      7/27/2023     2.1   Review Cottonwood Grove MOR reconciliations from QuickBooks
                                           against the MOR Cash balances
Kuruvilla, Daniel      7/27/2023     1.2   Review Deck Technologies MOR reconciliations from QuickBooks
                                           against the MOR Cash balances
Kuruvilla, Daniel      7/27/2023     2.2   Compare MOR Cash balances to QuickBooks data for FTX Trading
                                           Ltd
Kuruvilla, Daniel      7/27/2023     1.4   Compare MOR Cash balances to QuickBooks data for FTX EU Ltd

Kuruvilla, Daniel      7/27/2023     1.8   Compare MOR Cash balances to QuickBooks data for dotcom
                                           entities
Kuruvilla, Daniel      7/27/2023     0.3   Call with G. Balmelli, M. Van Den Belt, E. Dalgleish, D. Kuruvilla
                                           (A&M) re: November MOR cash reconciliation for Europe
Kuruvilla, Daniel      7/27/2023     0.4   Call with M. Cilia (FTX), J. Cooper, S. Witherspoon, S. Li, D.
                                           Kuruvilla (A&M), re: November MOR cash reconciliation for Japan
Li, Summer             7/27/2023     0.4   Call with M. Cilia (FTX), J. Cooper, S. Witherspoon, S. Li, D.
                                           Kuruvilla (A&M), re: November MOR cash reconciliation for Japan
Simoneaux, Nicole      7/27/2023     0.2   Call to discuss personnel data for MOR reporting with N.
                                           Simoneaux, C. Broskay, R. Bruck, M. Jones (A&M)
van den Belt, Mark     7/27/2023     0.3   Call with G. Balmelli, M. Van Den Belt, E. Dalgleish, D. Kuruvilla
                                           (A&M) re: November MOR cash reconciliation for Europe
Witherspoon, Samuel    7/27/2023     0.4   Call with M. Cilia (FTX), J. Cooper, S. Witherspoon, S. Li, D.
                                           Kuruvilla (A&M), re: November MOR cash reconciliation for Japan




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Witherspoon, Samuel    7/27/2023     2.6   Update MOR reconciliation for outstanding items to complete
                                           November 2022 balances
Witherspoon, Samuel    7/27/2023     2.3   Update MOR reconciliation with edits from FTX and A&M teams


Witherspoon, Samuel    7/27/2023     0.3   Call with J. Cooper, S. Witherspoon (A&M) re: November MOR cash
                                           reconciliation for Europe
Broskay, Cole          7/28/2023     2.3   Compile general notes for contribution to the MORs

Broskay, Cole          7/28/2023     0.4   Meeting to walkthrough MOR finalization process on BART with D.
                                           Lewandowski, C. Broskay, R. Bruck, M. Jones (A&M)
Broskay, Cole          7/28/2023     0.4   Meeting to discuss MOR progress C. Broskay, R. Bruck, M. Jones
                                           (A&M)
Broskay, Cole          7/28/2023     0.4   Teleconference with C. Broskay, R. Gordon(A&M) over weekend
                                           plan for MORS
Broskay, Cole          7/28/2023     2.1   Continue review of MOR questionnaires for WRS silo

Bruck, Ran             7/28/2023     0.5   Meeting to review cash reconciliation items with J. Cooper, D.
                                           Kuruvilla, R. Bruck, M. Jones (A&M)
Bruck, Ran             7/28/2023     1.9   Review Dotcom entities cash positions as compared to cash
                                           reconciliation file
Bruck, Ran             7/28/2023     1.7   Review bank account status as of 11/30/2022 for Dotcom entities

Bruck, Ran             7/28/2023     1.3   Reconcile cash flow positions with balance sheet and MOR
                                           document
Bruck, Ran             7/28/2023     0.4   Review Quoine Vietnam and Deck technologies cash positions

Bruck, Ran             7/28/2023     0.4   Meeting to walkthrough MOR finalization process on BART with D.
                                           Lewandowski, C. Broskay, R. Bruck, M. Jones (A&M)
Bruck, Ran             7/28/2023     0.6   Call to discuss MOR template updates with R. Bruck and M. Jones
                                           (A&M)
Bruck, Ran             7/28/2023     0.4   Meeting to discuss MOR progress C. Broskay, R. Bruck, M. Jones
                                           (A&M)
Cooper, James          7/28/2023     0.9   Review updated format and progress in MOR summary tracker and
                                           provide comments
Cooper, James          7/28/2023     0.3   Teleconference with R. Gordon, J. Cooper(A&M) over alameda cash
                                           reconciliation
Cooper, James          7/28/2023     0.5   Meeting to review cash reconciliation items with J. Cooper, D.
                                           Kuruvilla, R. Bruck, M. Jones (A&M)
Cooper, James          7/28/2023     2.3   Conduct analysis of daily updates to MOR reconciliation file and
                                           provide comments
Cooper, James          7/28/2023     1.3   Working session with J. Cooper, S. Witherspoon, and D. Kuruvilla
                                           (A&M) re: finalization of November cash reconciliations
Dalgleish, Elizabeth   7/28/2023     0.3   Prepare correspondence on the November MOR cash reconciliation
                                           for Europe




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Court and UST Reporting
Professional              Date     Hours     Activity
Dalgleish, Elizabeth   7/28/2023     1.0   Call with E. Dalgleish, M. Van den Belt (A&M) to review the
                                           November MOR cash reconciliation for Europe
Gordon, Robert         7/28/2023     0.3   Teleconference with R. Gordon, J. Cooper(A&M) over alameda cash
                                           reconciliation
Gordon, Robert         7/28/2023     0.4   Teleconference with C. Broskay, R. Gordon(A&M) over weekend
                                           plan for MORS
Gordon, Robert         7/28/2023     0.3   Call with M. Cilia(FTX) over tax changes for MORS

Jones, Mackenzie       7/28/2023     0.4   Review MOR financial statement attachments for Deck Technologies


Jones, Mackenzie       7/28/2023     0.2   Update MOR template with Deck Technologies data

Jones, Mackenzie       7/28/2023     0.6   Update MOR template for new data received


Jones, Mackenzie       7/28/2023     1.1   Review MOR financial statement outputs

Jones, Mackenzie       7/28/2023     0.5   Meeting to review cash reconciliation items with J. Cooper, D.
                                           Kuruvilla, R. Bruck, M. Jones (A&M)
Jones, Mackenzie       7/28/2023     0.6   Review MOR financial statement attachments for Quoine Vietnam

Jones, Mackenzie       7/28/2023     0.6   Research status of FTX silo entities to determine dormant status for
                                           MOR
Jones, Mackenzie       7/28/2023     0.4   Meeting to walkthrough MOR finalization process on BART with D.
                                           Lewandowski, C. Broskay, R. Bruck, M. Jones (A&M)
Jones, Mackenzie       7/28/2023     0.4   Compare new cash balances file to MOR cash balances

Jones, Mackenzie       7/28/2023     0.6   Call to discuss MOR template updates with R. Bruck and M. Jones
                                           (A&M)
Jones, Mackenzie       7/28/2023     0.4   Meeting to discuss MOR progress C. Broskay, R. Bruck, M. Jones
                                           (A&M)
Kuruvilla, Daniel      7/28/2023     2.6   Finalize MOR November cash reconciliations to provide to CFO


Kuruvilla, Daniel      7/28/2023     1.8   Compare MOR Cash balances to Quickbooks data for WRS entities

Kuruvilla, Daniel      7/28/2023     1.0   Split out cash disbursement activity by intercompany for MOR
                                           November Cash reconciliation
Kuruvilla, Daniel      7/28/2023     1.3   Working session with J. Cooper, S. Witherspoon, and D. Kuruvilla
                                           (A&M) re: finalization of November cash reconciliations
Kuruvilla, Daniel      7/28/2023     0.5   Meeting to review cash reconciliation items with J. Cooper, D.
                                           Kuruvilla, R. Bruck, M. Jones (A&M)
Li, Summer             7/28/2023     0.3   Review the November cash reconciliation for Quoine Vietnam


Li, Summer             7/28/2023     3.0   Review the November cash reconciliation for Quoine Pte




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Court and UST Reporting
Professional              Date     Hours     Activity
Li, Summer             7/28/2023     3.1   Review the November cash reconciliation for FTX Japan K.K

Li, Summer             7/28/2023     0.6   Review the November cash reconciliation for FTX Japan Holdings


Li, Summer             7/28/2023     0.4   Correspondence with D. Kuruvilla (A&M) regarding the MOR cash
                                           reconciliation for Japan
Witherspoon, Samuel    7/28/2023     1.3   Working session with J. Cooper, S. Witherspoon, and D. Kuruvilla
                                           (A&M) re: finalization of November cash reconciliations
Witherspoon, Samuel    7/28/2023     0.6   Update MOR cash reconciliation for FX adjustments to foreign cash
                                           balances
Witherspoon, Samuel    7/28/2023     1.1   Finalize reconciliation of the November MOR to filed statements and
                                           schedules
Broskay, Cole          7/29/2023     1.1   Working session to review status of MOR including check of
                                           pre/post split of payments with C. Broskay, M. Jones, R. Bruck
                                           (A&M)
Broskay, Cole          7/29/2023     2.4   Conduct review of MOR templates to ensure client adjustments
                                           included
Broskay, Cole          7/29/2023     0.3   Correspondence related to outstanding items in the MOR for WRS
                                           silo
Bruck, Ran             7/29/2023     1.4   Review payments made for payroll in November for Dotcom entities


Bruck, Ran             7/29/2023     1.8   Review Dotcom entities financial statements compared to trial
                                           balances/MOR
Bruck, Ran             7/29/2023     1.2   Review payments made for payroll in November for Alameda entities


Bruck, Ran             7/29/2023     1.1   Working session to review status of MOR including check of
                                           pre/post split of payments with C. Broskay, M. Jones, R. Bruck
                                           (A&M)
Jones, Mackenzie       7/29/2023     1.1   Working session to review status of MOR including check of
                                           pre/post split of payments with C. Broskay, M. Jones, R. Bruck
                                           (A&M)
Jones, Mackenzie       7/29/2023     0.2   Add newly inputted trial balances to MOR template

Jones, Mackenzie       7/29/2023     0.9   Compare Dotcom silo MOR attachments to QuickBooks outputs


Jones, Mackenzie       7/29/2023     0.8   Reconcile MOR cash balances with cash file Quoine Pte Ltd

Jones, Mackenzie       7/29/2023     0.3   Review intercompany accounts for entities that should have a trial
                                           balance
Jones, Mackenzie       7/29/2023     0.3   Review MOR financial statement attachments for Quoine Pte Ltd

Bruck, Ran             7/30/2023     0.4   Add new cash reconciliation file to MOR form template


Bruck, Ran             7/30/2023     2.2   Reconcile new cash file with balance sheet items to mark changes
                                           from previous version



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Court and UST Reporting
Professional              Date     Hours     Activity
Cooper, James          7/30/2023      0.4   Review by entity reconciliation for cash reporting in draft November
                                            MOR for Alameda
Cooper, James          7/30/2023      0.7   Review by entity reconciliation for cash reporting in draft November
                                            MOR for WRS
Cooper, James          7/30/2023      0.3   Review by entity reconciliation for cash reporting in draft November
                                            MOR for Ventures
Cooper, James          7/30/2023      0.2   Review by entity reconciliation for cash reporting in draft November
                                            MOR for Deck
Cooper, James          7/30/2023      1.1   Provide comments re: current status of November MOR and tracking


Cooper, James          7/30/2023      1.2   Review by entity reconciliation for cash reporting in draft November
                                            MOR for Dotcom
Witherspoon, Samuel    7/30/2023      1.8   Update MOR reconciliation with edits to the Alameda silo accounts


Broskay, Cole          7/31/2023      1.1   Discussion with R. Gordon, C. Broskay(A&M) over approach for
                                            MOR global notes
Broskay, Cole          7/31/2023      1.8   Continue compilation of general notes to the MOR


Bruck, Ran             7/31/2023      1.7   Review cash balances compared to trial balances for Dotcom entities

Cooper, James          7/31/2023      0.5   Review MOR tracker and provide comments

Cooper, James          7/31/2023      1.7   Review latest updates to cash flow reconciling items in MOR by
                                            entity
Cooper, James          7/31/2023      1.3   Review changes to MOR reconciliation file and provide comments

Gordon, Robert         7/31/2023      1.1   Discussion with R. Gordon, C. Broskay(A&M) over approach for
                                            MOR global notes
Jones, Mackenzie       7/31/2023      2.9   Analyze latest MOR outputs compared to source data

Jones, Mackenzie       7/31/2023      1.8   Compare WRS silo MOR attachment subtotals to MOR form columns



Subtotal                            290.2

Creditor Cooperation
Professional              Date     Hours     Activity
Taraba, Erik            7/2/2023      0.6   Provide response re: Budget 7 professional fees to UCC advisors


Mosley, Ed              7/3/2023      0.3   Review of UCC response to debtors regarding crypto management

Mosley, Ed              7/3/2023      1.1   Review of UCC crypto management memo

Callerio, Lorenzo       7/5/2023      0.1   Meeting with L. Callerio, C. Stockmeyer (A&M) re: diligence process
                                            updates for week of July 3


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Creditor Cooperation
Professional              Date     Hours     Activity
Mosley, Ed              7/5/2023     0.3   Discuss amended SOFA / SOALs with E.Broderick (Eversheds)

Ramanathan, Kumanan     7/5/2023     0.2   Assemble UCC materials and distribute to CBAM for review


Stockmeyer, Cullen      7/5/2023     0.1   Meeting with L. Callerio, C. Stockmeyer (A&M) re: diligence process
                                           updates for week of July 3
Stockmeyer, Cullen      7/5/2023     2.2   Update diligence request tracker for additional items published on
                                           July 4, 2023
Stockmeyer, Cullen      7/5/2023     0.4   Correspondence regarding certain network analysis report


Taraba, Erik            7/5/2023     0.3   Call with E. Taraba, S. Witherspoon (A&M), M. Dawson, M.
                                           Greyson, and B. Bromberg (FTI) re: weekly call to discuss weekly
                                           variance report and open items
Witherspoon, Samuel     7/5/2023     0.3   Call with E. Taraba, S. Witherspoon (A&M), M. Dawson, M.
                                           Greyson, and B. Bromberg (FTI) re: weekly call to discuss weekly
                                           variance report and open items
Arnett, Chris           7/6/2023     0.4   Call with C. Arnett, H. Trent, and N. Simoneaux (A&M) re: UCC
                                           bonus request follow-up
Arnett, Chris           7/6/2023     0.2   Call regarding UCC request on employee bonuses with L. Baer, K.
                                           Steven, J. Marsella (FTI), E. Mosley, C. Arnett, S. Coverick, N.
                                           Simoneaux, and H. Trent (A&M)
Coverick, Steve         7/6/2023     0.2   Call regarding UCC request on employee bonuses with L. Baer, K.
                                           Steven, J. Marsella (FTI), E. Mosley, C. Arnett, S. Coverick, N.
                                           Simoneaux, and H. Trent (A&M)
Mohammed, Azmat         7/6/2023     0.3   Call with I Leonaitis, K. Kamran, J. de Brignac, F. Ortiz (FTI), J.
                                           Sardinha, P. Lee, E. Simendinger (FTX), L. Callerio, K.
                                           Ramanathan, A. Mohammed (A&M) to discuss UCC wallet time
                                           series database dashboarding use cases and examples
Mosley, Ed              7/6/2023     0.2   Discussion with FTI (L.Baer, K.Steven, others), and A&M
                                           (S.Coverick, C.Arnett, H.Trent, N.Simoneaux) regarding payroll
                                           questions from UCC
Mosley, Ed              7/6/2023     0.8   Discussion with J.Ray (FTX), J.Bromley (S&C), Coinbase (E.Peters,
                                           others), and A&M (S.Coverick, K.Ramanathan) regarding UCC
                                           crypto management feedback
Mosley, Ed              7/6/2023     0.4   Review of communications to UCC regarding FTX EU and financial
                                           anaysis of options
Ramanathan, Kumanan     7/6/2023     0.3   Call with I Leonaitis, K. Kamran, J. de Brignac, F. Ortiz (FTI), J.
                                           Sardinha, P. Lee, E. Simendinger (FTX), L. Callerio, K.
                                           Ramanathan, A. Mohammed (A&M) to discuss UCC wallet time
                                           series database dashboarding use cases and examples
Simoneaux, Nicole       7/6/2023     2.2   Prepare preliminary reconciliation between FTI and A&M employee
                                           bonus data on a cash basis
Simoneaux, Nicole       7/6/2023     2.1   Consolidate and analyze payroll data provided by FTI in regards to
                                           employee bonuses
Simoneaux, Nicole       7/6/2023     1.7   Align with crypto and avoidance teams on needed requests and
                                           action-items for USD quantification of employee compensation
Simoneaux, Nicole       7/6/2023     0.4   Call with C. Arnett, H. Trent, and N. Simoneaux (A&M) re: UCC
                                           bonus request follow-up

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Creditor Cooperation
Professional              Date     Hours     Activity
Simoneaux, Nicole       7/6/2023     0.2   Call regarding UCC request on employee bonuses with L. Baer, K.
                                           Steven, J. Marsella (FTI), E. Mosley, C. Arnett, S. Coverick, N.
                                           Simoneaux, and H. Trent (A&M)
Stockmeyer, Cullen      7/6/2023     0.6   Prepare documents related to certain fund process information as
                                           requested by UCC
Stockmeyer, Cullen      7/6/2023     0.4   Update coin report for June 23 in UCC data room


Trent, Hudson           7/6/2023     0.4   Call regarding UCC requests with C. Arnett, N. Simoneaux, and H.
                                           Trent (A&M)
Trent, Hudson           7/6/2023     0.2   Call regarding UCC request on employee bonuses with L. Baer, K.
                                           Steven, J. Marsella (FTI), E. Mosley, C. Arnett, S. Coverick, N.
                                           Simoneaux, and H. Trent (A&M)
Callerio, Lorenzo       7/7/2023     0.5   Participate in a call with M. Diodato, F. Risler, J. de Brignac, I.
                                           Leonaitis, V. Kubali (FTI), K. Ramanathan and L. Callerio (A&M) re:
                                           weekly crypto update
Coverick, Steve         7/7/2023     0.9   Call with J. Bromley (S&C), E. Mosley, S. Coverick, K. Ramanathan
                                           (A&M), J. Ray (FTX), E. Peters, D. Wilson, B. Tejpaul and others
                                           (Coinbase), B. Bromberg, F. Risler, J. de Brignac, M. Diodato, S.
                                           Simms and others (FTI) to discuss crypto management
Johnston, David         7/7/2023     0.6   Call with B. Bromberg, M. Diaz (FTI), E. Mosley, S. Coverick, D.
                                           Johnston, M. van den Belt (A&M) on FTX EU Ltd financing
                                           considerations
Johnston, David         7/7/2023     1.2   Review and update summary slides relating to FTX EU Ltd. ahead of
                                           call with UCC advisers
Mosley, Ed              7/7/2023     0.3   Discussion with D.Johnston (A&M) regarding UCC information follow
                                           up regarding FTX EU
Mosley, Ed              7/7/2023     0.2   Participate in call with FTI (B.Bromberg, M.Diaz) and A&M
                                           (D.Johnston, S.Coverick) regarding FTX EU situation
Ramanathan, Kumanan     7/7/2023     0.2   Correspondence with UCC re: crypto asset managers


Ramanathan, Kumanan     7/7/2023     0.5   M. Diodato, F. Risler, J. de Brignac, I. Leonaitis, V. Kubali (FTI), K.
                                           Ramanathan and L. Callerio (A&M) re: weekly crypto update
Simoneaux, Nicole       7/7/2023     0.4   Prepare data request for crypto transactions in regards to identified
                                           employee listing
Simoneaux, Nicole       7/7/2023     0.8   Update personnel bonus summary and schedules for UCC
                                           distribution
Simoneaux, Nicole       7/7/2023     0.9   Incorporate FTI-provided analysis into headcount listing for crypto
                                           transaction request
Simoneaux, Nicole       7/7/2023     1.1   Incorporate comments from H. Trent (A&M) in regards to FTI bonus
                                           request and response
Simoneaux, Nicole       7/7/2023     0.8   Correspond with M. Flynn (A&M) re: crypto data direct and indirect
                                           account matching
Simoneaux, Nicole       7/7/2023     1.4   Analyze avoidance schedules for per-person reconciliation to UCC
                                           bonus request
Stockmeyer, Cullen      7/7/2023     2.7   Prepare documents related to certain fund process information as
                                           requested by UCC



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Creditor Cooperation
Professional              Date     Hours     Activity
Taraba, Erik            7/7/2023     0.3   Respond to questions from UCC advisors re: professional fees
                                           included in latest budget
Trent, Hudson           7/7/2023     2.1   Incorporate recent docket filings related to Ad Hoc Committee
                                           composition into latest draft of materials
Trent, Hudson           7/7/2023     1.2   Provide feedback on analysis of employee bonuses related to UCC
                                           request
Trent, Hudson           7/7/2023     0.4   Update Ad Hoc Committee composition materials based on
                                           feedback from J. Ray (FTX)
Trent, Hudson           7/7/2023     0.8   Update Ad Hoc Committee composition materials based on
                                           feedback from S&C
Trent, Hudson           7/7/2023     1.2   Update Ad Hoc Committee composition materials based on internal
                                           A&M feedback
Trent, Hudson           7/7/2023     2.2   Prepare analysis and summary materials of potential Ad Hoc
                                           Committee composition
van den Belt, Mark      7/7/2023     0.6   Call with B. Bromberg, M. Diaz (FTI), E. Mosley, S. Coverick, D.
                                           Johnston, M. van den Belt (A&M) on FTX EU Ltd financing
                                           considerations
Mosley, Ed              7/8/2023     1.1   Review of and prepare comments to Ad Hoc Group holding
                                           presentation for management and the board
Mosley, Ed              7/8/2023     0.4   Review of and respond to correspondance regarding customer
                                           noticing
Trent, Hudson           7/8/2023     0.4   Correspond regarding Ad Hoc Committee composition materials

Trent, Hudson           7/8/2023     1.2   Prepare additional overview of Ad Hoc Committee composition
                                           based on internal A&M feedback
Ramanathan, Kumanan     7/9/2023     0.6   Review liquidity analysis by JST and request feedback on additional
                                           questions from UCC
Stockmeyer, Cullen      7/9/2023     0.6   Prepare documents related to certain fund process information as
                                           requested by UCC
Trent, Hudson           7/9/2023     0.6   Review updated analysis of employee bonuses related to UCC
                                           request
Callerio, Lorenzo      7/10/2023     0.2   Call with J. Cooper, S. Witherspoon, E. Taraba, L. Callerio (A&M), B.
                                           Bromberg, D. Sveen, M. Dawson, and M. Gray (FTI) re: weekly
                                           variance reporting and other open items
Cooper, James          7/10/2023     2.3   Review prior week variance report in preparation for weekly UCC call


Cooper, James          7/10/2023     0.6   Internal correspondence re: FTI cash flow update requests

Cooper, James          7/10/2023     0.2   Call with J. Cooper, S. Witherspoon, E. Taraba, L. Callerio (A&M), B.
                                           Bromberg, D. Sveen, M. Dawson, and M. Gray (FTI) re: weekly
                                           variance reporting and other open items
Mosley, Ed             7/10/2023     0.7   Review of Ad Hoc group holdings and feedback on plan structure


Ramanathan, Kumanan    7/10/2023     0.2   Call with M. Diodato (FTI), S. Coverick, G. Walia, K. Ramanathan
                                           (A&M) to discuss crypto pricing matters



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Professional               Date    Hours     Activity
Simoneaux, Nicole      7/10/2023     1.3   Map and analyze available crypto compensation for employees in
                                           2021 and 2022
Simoneaux, Nicole      7/10/2023     1.4   Review initial crypto transfer data output from personnel account
                                           direct matches
Simoneaux, Nicole      7/10/2023     1.1   Perform changes to FTI Bonus Summary based on review from
                                           avoidance workstream
Simoneaux, Nicole      7/10/2023     0.3   Incorporate comments to personnel descriptions based on entity
                                           outreach
Simoneaux, Nicole      7/10/2023     1.7   Prepare active personnel description and rationalization analysis per
                                           FTI request
Stockmeyer, Cullen     7/10/2023     2.3   Prepare diligence approval correspondences related to FTX2.0

Taraba, Erik           7/10/2023     0.2   Call with J. Cooper, S. Witherspoon, E. Taraba, L. Callerio (A&M), B.
                                           Bromberg, D. Sveen, M. Dawson, and M. Gray (FTI) re: weekly
                                           variance reporting and other open items
Trent, Hudson          7/10/2023     1.4   Update Ad Hoc Committee composition materials following
                                           additional updates
Walia, Gaurav          7/10/2023     0.2   Call with M. Diodato (FTI), S. Coverick, G. Walia, K. Ramanathan
                                           (A&M) to discuss crypto pricing matters
Witherspoon, Samuel    7/10/2023     0.2   Call with J. Cooper, S. Witherspoon, E. Taraba, L. Callerio (A&M), B.
                                           Bromberg, D. Sveen, M. Dawson, and M. Gray (FTI) re: weekly
                                           variance reporting and other open items
Coverick, Steve        7/11/2023     0.3   Call with H. Trent (A&M) to discuss ah hoc group holdings analysis

Gordon, Robert         7/11/2023     0.2   Review for edits UCC employee bonus request

Simoneaux, Nicole      7/11/2023     0.9   Summarize bonus analysis for avoidance team review


Simoneaux, Nicole      7/11/2023     1.2   Continue identification efforts for employee compensation in crypto
                                           wildcard search
Trent, Hudson          7/11/2023     0.3   Call with S. Coverick and H. Trent (A&M) to discuss ah hoc group
                                           holdings analysis
van den Belt, Mark     7/11/2023     0.6   Prepare correspondence on FTX Turkey status for UCC

Flynn, Matthew         7/12/2023     1.0   Call with T. Phelan (AlixPartners), P. Lee, E. Simendinger (FTX) P.
                                           Kwan, M. Flynn, A. Mohammed to discuss UCC data access to
                                           wallet time series database
Mohammed, Azmat        7/12/2023     1.0   Call with T. Phelan (AlixPartners), P. Lee, E. Simendinger (FTX) P.
                                           Kwan, M. Flynn, A. Mohammed to discuss UCC data access to
                                           wallet time series database
Ramanathan, Kumanan    7/12/2023     0.5   Call with M. Diodato, B. Bromberg, F. Risler (FTI) to discuss UCC
                                           crypto request
Trent, Hudson          7/12/2023     2.9   Prepare scenario variance comparison analyses between UCC and
                                           Debtor proposals
Trent, Hudson          7/12/2023     2.2   Incorporate scenario variance comparison analyses between UCC
                                           and Debtor proposals into materials outlining differences


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Professional                Date    Hours     Activity
Simoneaux, Nicole       7/13/2023     1.6   Finalize list of wildcard exchange account IDs and send for transfer
                                            extraction by data team
Stockmeyer, Cullen      7/13/2023     1.1   Prepare items provided by PWP for share with the UCC related to
                                            certain de minimis offer
Montague, Katie         7/14/2023     0.6   Finalize critical and foreign vendor reporting for the UCC

Montague, Katie         7/14/2023     1.1   Analysis of vendor payments for critical and foreign vendor reporting
                                            for the UCC
Montague, Katie         7/14/2023     0.3   Revise footnotes on critical and foreign vendor reporting for UCC


Simoneaux, Nicole       7/14/2023     0.2   Outline needed correspondence for legal review of FTI employee
                                            description request
Trent, Hudson           7/14/2023     1.7   Update UCC scenario comparison materials and analyses based on
                                            internal A&M feedback
Cooper, James           7/17/2023     0.6   Review responses and provide comments re: FTI cash flow diligence
                                            requests
Cooper, James           7/17/2023     0.2   Call with J. Cooper, S. Witherspoon, E. Taraba (A&M) and B.
                                            Bromberg, M. Gray, and M. Dawson (FTI) re: weekly variance report
                                            and other open items
Coverick, Steve         7/17/2023     1.0   Call with J. Ray (FTX), A. Dietderich, B. Glueckstein, J. Bromley, A.
                                            Kranzley (S&C), E. Mosley, S. Coverick (A&M) and members of
                                            Eversheds AHG to discuss plan negotiations
Mosley, Ed              7/17/2023     1.0   Call with J. Ray (FTX), A. Dietderich, B. Glueckstein, J. Bromley, A.
                                            Kranzley (S&C), E. Mosley, S. Coverick (A&M) and members of
                                            Eversheds AHG to discuss plan negotiations
Stockmeyer, Cullen      7/17/2023     0.6   Prepare updated summary of diligence process based on latest
                                            information for management presentation
Stockmeyer, Cullen      7/17/2023     1.7   Prepare documents for share with UCC based on responses from J.
                                            Ray (FTX)
Sullivan, Christopher   7/17/2023     1.3   Review supporting files in motion workbook for Ad Hoc committee
                                            analysis
Taraba, Erik            7/17/2023     0.2   Call with J. Cooper, S. Witherspoon, E. Taraba (A&M) and B.
                                            Bromberg, M. Gray, and M. Dawson (FTI) re: weekly variance report
                                            and other open items
Witherspoon, Samuel     7/17/2023     0.2   Call with J. Cooper, S. Witherspoon, E. Taraba (A&M) and B.
                                            Bromberg, M. Gray, and M. Dawson (FTI) re: weekly variance report
                                            and other open items
Callerio, Lorenzo       7/18/2023     0.3   Call with F. Risler, M. Diodato, and others (FTI), K. Ramanathan, L.
                                            Callerio (A&M) to discuss crypto matters
Coverick, Steve         7/18/2023     1.1   Call with F. Risler, S. Simms and others (FTI), E. Mosley, S.
                                            Coverick, K. Ramanathan (A&M), J. Ray (FTX), A. Kranzley, A.
                                            Dietderich (S&C), and G. Sasson (PH) to discuss crypto asset
                                            management
Mohammed, Azmat         7/18/2023     0.5   Call with FTX wallet time series team designing wallet time series
                                            database and approach for UCC's advisor's data needs
Mohammed, Azmat         7/18/2023     0.7   Review efforts and resource levels for wallet time series database
                                            needed for UCC advisors


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Creditor Cooperation
Professional                Date    Hours     Activity
Mosley, Ed              7/18/2023     1.2   Review of data to provide Ad Hoc financial advisors regarding plan
                                            for purposes of their plan analysis
Mosley, Ed              7/18/2023     1.1   Call with F. Risler, S. Simms and others (FTI), E. Mosley, S.
                                            Coverick, K. Ramanathan (A&M), J. Ray (FTX), A. Kranzley, A.
                                            Dietderich (S&C), and G. Sasson (PH) to discuss crypto asset
                                            management
Ramanathan, Kumanan     7/18/2023     1.1   Call with F. Risler, S. Simms and others (FTI), E. Mosley, S.
                                            Coverick, K. Ramanathan (A&M), J. Ray (FTX), A. Kranzley, A.
                                            Dietderich (S&C), and G. Sasson (PH) to discuss crypto asset
                                            management
Ramanathan, Kumanan     7/18/2023     0.3   Call with F. Risler, M. Diodato, and others (FTI), K. Ramanathan, L.
                                            Callerio (A&M) to discuss crypto matters
Sullivan, Christopher   7/18/2023     0.9   Respond to additional creditor diligence questions

Cooper, James           7/19/2023     0.7   Call with A. Kranzley (S&C), C. Hansen, G. Sasson, E. Gilad (PH),
                                            M. Diaz, B. Bromberg (FTI), E. Mosley, S. Coverick, J. Cooper
                                            (A&M) re: treasury bill risk assessment
Coverick, Steve         7/19/2023     0.6   Call re: UCC plan term sheet with E. Mosley, S. Coverick, C.
                                            Sullivan (A&M), M. Diaz, S. Simms, B. Bromberg, M. Dawson (FTI)
Coverick, Steve         7/19/2023     0.7   Call with A. Kranzley (S&C), C. Hansen, G. Sasson, E. Gilad (PH),
                                            M. Diaz, B. Bromberg (FTI), E. Mosley, S. Coverick, J. Cooper
                                            (A&M) re: treasury bill risk assessment
Coverick, Steve         7/19/2023     0.7   Call with J. Ray (FTX), E. Mosley, S. Coverick, K. Ramanathan
                                            (A&M) to discuss upcoming meeting with UCC re: crypto
                                            management
Mosley, Ed              7/19/2023     0.3   Discuss T-Bills, plan structure, and financial model of proposed
                                            plans with FTI (M.Diaz)
Mosley, Ed              7/19/2023     0.1   Discuss T-Bills and plan structure with PH (E.Gilad)


Mosley, Ed              7/19/2023     0.3   Discuss plan structure and negotiation with PH (G.Sasson)

Mosley, Ed              7/19/2023     0.7   Discuss crypto management presentation to UCC with J.Ray (FTX)
                                            and A&M (K.Ramanathan, S.Coverick)
Mosley, Ed              7/19/2023     0.6   Call re: UCC plan term sheet with E. Mosley, S. Coverick, C.
                                            Sullivan (A&M), M. Diaz, S. Simms, B. Bromberg, M. Dawson (FTI)
Mosley, Ed              7/19/2023     0.7   Call with A. Kranzley (S&C), C. Hansen, G. Sasson, E. Gilad (PH),
                                            M. Diaz, B. Bromberg (FTI), E. Mosley, S. Coverick, J. Cooper
                                            (A&M) re: treasury bill risk assessment
Ramanathan, Kumanan     7/19/2023     0.7   Call with J. Ray (FTX), E. Mosley, S. Coverick, K. Ramanathan
                                            (A&M) to discuss upcoming meeting with UCC re: crypto
                                            management
Simoneaux, Nicole       7/19/2023     1.2   Reconcile transaction data in regards to avoidance analysis of
                                            related individual
Sullivan, Christopher   7/19/2023     0.6   Call re: UCC plan term sheet with E. Mosley, S. Coverick, C.
                                            Sullivan (A&M), M. Diaz, S. Simms, B. Bromberg, M. Dawson (FTI)
Sullivan, Christopher   7/19/2023     0.4   Update and review diligence tracker for AHG




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Creditor Cooperation
Professional               Date    Hours     Activity
Trent, Hudson          7/19/2023     2.9   Prepare updated UCC scenario comparison materials based on
                                           feedback from various advisors
Coverick, Steve        7/20/2023     0.6   Call with E. Mosley, S. Coverick (A&M), C. Delo, S. Shnayder, C.
                                           Heidkamp, L. Munoz, H. Parkhill (Rothschild) to discuss plan
                                           recovery analysis
Coverick, Steve        7/20/2023     1.1   Call with J. Ray, M. Rosenberg (FTX), E. Mosley, K. Ramanathan,
                                           S. Coverick (A&M), S. Simms, M. Diaz, F. Risler (FTI), C. Hansen
                                           (PH), A. Dietderich (S&C) and UCC members to discuss asset
                                           manager selection process
Mosley, Ed             7/20/2023     0.6   Introductory call with Rothschild (H.Parkhill, L.Munoz, S.Shnayder,
                                           C.Heidkamp, C.Delo) and A&M (S.Coverick) regarding plan diligence
                                           and structure
Mosley, Ed             7/20/2023     1.1   Discussion with UCC subcommittee (various), FTI (S.Simms,
                                           F.Risler, B.Bromberg, others), PH (E.Gilad, K.Pasquale, K.Hansen,
                                           others), S&C (J.Bromley, A.Dietderich, others), J.Ray (FTX),
                                           M.Rosenberg (FTX Board member), A&M (K.Ramanathan, others)
                                           regarding
Ramanathan, Kumanan    7/20/2023     0.2   Call with M. Diodato (FTI) to discuss crypto asset management
                                           pricing
Ramanathan, Kumanan    7/20/2023     1.1   Call with J. Ray, M. Rosenberg (FTX), E. Mosley, K. Ramanathan,
                                           S. Coverick (A&M), S. Simms, M. Diaz, F. Risler (FTI), C. Hansen
                                           (PH), A. Dietderich (S&C) and UCC members to discuss asset
                                           manager selection process
Stockmeyer, Cullen     7/20/2023     1.1   Prepare items related to certain venture investment contracts and
                                           financials for share with UCC
Stockmeyer, Cullen     7/20/2023     0.4   Prepare correspondence related to additional diligence requests by
                                           UCC for FTX review
Arnett, Chris          7/21/2023     0.6   Review and provide commentary on personnel bonus requests by
                                           UCC / FTI
Mosley, Ed             7/21/2023     1.1   Review of Ad Hoc group information requests for individual holdings

Ramanathan, Kumanan    7/21/2023     2.3   Prepare UCC trading approvals guideline response presentation


Simoneaux, Nicole      7/21/2023     1.7   Prepare bridging analysis for reconciliation of employee bonus
                                           transactions and SOFA 4 amendments
Simoneaux, Nicole      7/21/2023     0.4   Request and inquire about previously compiled related individual
                                           transaction summary from avoidance team
Simoneaux, Nicole      7/21/2023     0.8   Trace insider exchange withdrawal history with special attention to
                                           joint accounts
Simoneaux, Nicole      7/21/2023     1.2   Incorporate changes to FTI bonus request in regards to SOFA 4
                                           amendments
Stockmeyer, Cullen     7/21/2023     0.4   Prepare management summary of diligence progress

Stockmeyer, Cullen     7/21/2023     0.9   Update UCC diligence tracker based on additional published /
                                           received information to share with UCC
Taraba, Erik           7/21/2023     0.4   Develop Budget 8 materials for distribution to UCC advisors




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Creditor Cooperation
Professional               Date     Hours     Activity
Taraba, Erik            7/21/2023     0.6   Develop professional fees detail schedule to support Budget 8
                                            forecast for UCC advisors
Callerio, Lorenzo       7/24/2023     0.5   Call with J. Cooper, E. Taraba, S. Witherspoon, L. Callerio (A&M),
                                            M. Gray, D. Sveen, and B. Bromberg (FTI) re: weekly variance touch
                                            point and other open items
Cooper, James           7/24/2023     0.5   Call with J. Cooper, E. Taraba, S. Witherspoon, L. Callerio (A&M),
                                            M. Gray, D. Sveen, and B. Bromberg (FTI) re: weekly variance touch
                                            point and other open items
Sullivan, Christopher   7/24/2023     1.7   Draft initial responses to UCC diligence questions on Plan

Sullivan, Christopher   7/24/2023     0.7   Respond to additional diligence questions from Rothschild

Taraba, Erik            7/24/2023     0.6   Develop schedule of forecast professional fee payments to support
                                            Budget 8 for UCC advisors
Taraba, Erik            7/24/2023     0.5   Call with J. Cooper, E. Taraba, S. Witherspoon, L. Callerio (A&M),
                                            M. Gray, D. Sveen, and B. Bromberg (FTI) re: weekly variance touch
                                            point and other open items
Taraba, Erik            7/24/2023     0.4   Develop schedule of forecast cash asset transfers to support Budget
                                            8 for UCC advisors
Trent, Hudson           7/24/2023     1.2   Provide feedback on employee bonus analysis requested by UCC


Witherspoon, Samuel     7/24/2023     0.5   Call with J. Cooper, E. Taraba, S. Witherspoon, L. Callerio (A&M),
                                            M. Gray, D. Sveen, and B. Bromberg (FTI) re: weekly variance touch
                                            point and other open items
Arnett, Chris           7/25/2023     0.4   Call with C. Arnett and N. Simoneaux (A&M) re: FTI compensation
                                            request and related schedules
Callerio, Lorenzo       7/25/2023     0.4   Participate in a call with F. Risler, B. Bromberg, I. Leonaitis, M.
                                            Diodato (FTI), K. Ramanathan and L. Callerio (A&M) re: Weekly
                                            crypto update
Ramanathan, Kumanan     7/25/2023     0.4   Participate in a call with F. Risler, B. Bromberg, I. Leonaitis, M.
                                            Diodato (FTI), K. Ramanathan and L. Callerio (A&M) re: Weekly
                                            crypto update
Simoneaux, Nicole       7/25/2023     1.1   Incorporate comments to FTI Bonus Reconciliation request in
                                            regards to confidentiality and updated SOFA items
Simoneaux, Nicole       7/25/2023     2.3   Prepare updated Bonus Reconciliation Schedules to include non-
                                            debtor data provided by FTI
Stockmeyer, Cullen      7/25/2023     0.7   Audit UCC diligence tracker based on additional provided items in
                                            past week
Stockmeyer, Cullen      7/25/2023     0.9   Audit UCC diligence data room backup based on additional provided
                                            items in past week
Taraba, Erik            7/25/2023     0.4   Update schedule of forecast cash asset transfers in response to
                                            request from UCC advisors
Taraba, Erik            7/25/2023     0.4   Update schedule of forecast professional fee payments in response
                                            to request from UCC advisors
Trent, Hudson           7/25/2023     1.9   Provide feedback to tracker of inbound diligence questions from
                                            UCC regarding Plan recovery analysis



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Creditor Cooperation
Professional               Date     Hours     Activity
Witherspoon, Samuel     7/26/2023     0.8   Review of cash asset transfer summary for distribution to the UCC

Cooper, James           7/27/2023     0.8   Provide comments re: FTI cash flow diligence requests


Lawson, Alex            7/27/2023     0.3   Teleconference over the Bahamas cooperation agreement with R.
                                            Gordon, C. Arnett, S. Coverick, A. Lawson(A&M)
Simoneaux, Nicole       7/27/2023     0.9   Conduct outreach for sign-off with S&C and QE in regards to
                                            alignment on FTI Bonus Reconciliation
Simoneaux, Nicole       7/27/2023     1.1   Update known transfer data from insiders in regards to updated
                                            support provided by avoidance team
Sullivan, Christopher   7/27/2023     2.1   Prepare responses to Rothschild diligence questions

Taraba, Erik            7/27/2023     2.3   Update schedule of accrued and unpaid balances of professional
                                            fees with additional OCP firms and data through 7/21
Callerio, Lorenzo       7/28/2023     0.4   Call with M. Diodato, F. Risler, B. Bromberg, V. Rousskikh (FTI), K.
                                            Ramanathan, G. Walia and L. Callerio (A&M) re: derivatives analysis
Cooper, James           7/28/2023     0.6   Review and finalize FTI cash flow diligence request schedules


Ramanathan, Kumanan     7/28/2023     0.4   Call with M. Diodato, F. Risler, B. Bromberg, V. Rousskikh (FTI), K.
                                            Ramanathan, G. Walia and L. Callerio (A&M) re: derivatives analysis
Ramanathan, Kumanan     7/28/2023     0.7   Review UCC mark-up of crypto asset management term sheet

Sullivan, Christopher   7/28/2023     0.7   Prepare for and attended diligence call with Rothschild and C.
                                            Sullivan and H. Trent (A&M) to discuss Plan mechanics questions
Sullivan, Christopher   7/28/2023     0.8   Diligence call with FTI and C. Sullivan and H. Trent (A&M) to discuss
                                            Plan mechanics questions
Trent, Hudson           7/28/2023     0.8   Diligence call with FTI and C. Sullivan and H. Trent (A&M) to discuss
                                            Plan mechanics questions
Trent, Hudson           7/28/2023     0.7   Prepare for and attended diligence call with Rothschild and C.
                                            Sullivan and H. Trent (A&M) to discuss Plan mechanics questions
Mosley, Ed              7/30/2023     0.5   Discussion with J.Ray (FTX) regarding ventures workstream and
                                            next steps with the UCC
Callerio, Lorenzo       7/31/2023     0.8   Meeting with L. Callerio, C. Stockmeyer (A&M) re: UCC diligence
                                            process update
Mosley, Ed              7/31/2023     0.5   Discuss approach to UCC for crypto management with J.Ray (FTX),
                                            S&C (A.Dietderich, J.Croke), Galaxy (S.Kurz, C.Rhine, P.Cappelli,
                                            C.Ferraro, others), and A&M (S.Coverick, K.Ramanathan)
Ramanathan, Kumanan     7/31/2023     1.1   Call with J. Ray (FTX), S. Kurz, C. Rhines and others (Galaxy), E.
                                            Gilad and others (PH), S. Coverick, E. Mosley, K. Ramanathan
                                            (A&M), J. Croke and others (S&C), T. Graulich (DPW) to discuss
                                            asset management term sheet
Ramanathan, Kumanan     7/31/2023     0.5   Discuss approach to UCC for crypto management with J. Ray (FTX),
                                            S&C (A.Dietderich, J. Croke), Galaxy (S.Kurz, C.Rhine, P. Cappelli,
                                            C.Ferraro, others), and A&M (S.Coverick, K.Ramanathan)
Simoneaux, Nicole       7/31/2023     0.4   Respond to inquiries from QE in regards to FTI Bonus Reconciliation
                                            and aligned courses of action


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Creditor Cooperation
Professional               Date     Hours     Activity
Stockmeyer, Cullen      7/31/2023      0.6   Prepare request related to final order book prices for share with UCC

Stockmeyer, Cullen      7/31/2023      0.4   Meeting with L. Callerio, C. Stockmeyer (A&M) re: UCC diligence
                                             process update
Stockmeyer, Cullen      7/31/2023      1.4   Audit UCC data room tracker for updates made week ending 7/29

Stockmeyer, Cullen      7/31/2023      1.2   Prepare files related to custodial matters for updates in recent
                                             weeks to share with UCC
Stockmeyer, Cullen      7/31/2023      0.4   Prepare request related to customer claims for share with UCC


Sullivan, Christopher   7/31/2023      0.6   Create support schedule per creditor diligence requests

Taraba, Erik            7/31/2023      1.7   Develop schedule of case-to-date weekly cash flows through 7/21
                                             for UCC advisors
Taraba, Erik            7/31/2023      0.4   Respond to questions from UCC advisors re: accrual periods
                                             associated with Budget 8
Taraba, Erik            7/31/2023      2.9   Reconcile schedule of professional fee payments to weekly cash
                                             flows for UCC requested deliverable
Taraba, Erik            7/31/2023      2.6   Perform variance analysis on case-to-date professional fees and
                                             weekly cash flows to support UCC-requested schedule
Taraba, Erik            7/31/2023      0.2   Call with J. Cooper, S. Witherspoon, E. Taraba, L. Callerio (A&M),
                                             M. Dawson, M. Gray, and D. Sveen (FTI) re: weekly variance report
                                             walkthrough and discussion of other open items
Taraba, Erik            7/31/2023      1.3   Develop schedule of case-to-date professional fee payments
                                             through 7/21 for UCC advisors

Subtotal                             163.3

Disclosure Statement and Plan
Professional               Date     Hours     Activity
Slay, David              7/1/2023      0.4   Working session with C. Sullivan, J. Gonzalez & D. Slay (A&M) on
                                             updates to customer entitlements bridge
Trent, Hudson            7/1/2023      0.6   Review Petition Date balance sheets received to date

Trent, Hudson            7/3/2023      0.8   Correspond regarding separate subsidiaries analysis next steps

Coverick, Steve          7/5/2023      0.8   Review and provide comments on plan model revisions document


Coverick, Steve          7/5/2023      0.5   Call re: plan negotiations with UCC with A. Dietderich, J. Bromley, B.
                                             Glueckstein (S&C), J. Ray (FTX), E. Mosley, S. Coverick (A&M)
Esposito, Rob            7/5/2023      0.9   Review draft Plan of Reorganization to understand the impact on the
                                             currently filed non-customer claim classes
Gonzalez, Johnny         7/5/2023      2.7   Develop the master model for the DeCon calculations

Gonzalez, Johnny         7/5/2023      1.9   Continue model development for the SubCon calculations


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Disclosure Statement and Plan
Professional               Date     Hours     Activity
Gonzalez, Johnny         7/5/2023     1.7   Format the SubCon model calculations sheet based on updated
                                            assumptions
Gonzalez, Johnny         7/5/2023     2.4   Develop the master model for the SubCon calculations


Gonzalez, Johnny         7/5/2023     2.6   Continue model development for the DeCon calculations

Mosley, Ed               7/5/2023     0.6   Participate in discussion with J.Ray (FTX), S&C (A.Dietderich,
                                            J.Bromley, B.Glueckstein, others) and S.Coverick (A&M) regarding
                                            plan considerations
Slay, David              7/5/2023     1.8   Develop Petition Date balance sheet variance for latest updates
                                            from accounting team
Slay, David              7/5/2023     1.2   Working session with D. Slay, H. Trent B. Tenney (A&M) re: discuss
                                            next steps for reconciliation of petition date balance sheets
Slay, David              7/5/2023     1.4   Update master Petition Date mapping tab with new accounts from
                                            latest balance sheets from accounting team
Slay, David              7/5/2023     2.8   Working session with D. Slay, B. Tenney (A&M) re: reconciliation of
                                            petition date balance sheets
Sullivan, Christopher    7/5/2023     1.3   Update crypto schedules in the Plan model for the latest coin report

Sullivan, Christopher    7/5/2023     1.7   Review latest updates for the Plan model for additional scenarios


Sullivan, Christopher    7/5/2023     0.8   Review and update plan model workflow deck

Tenney, Bridger          7/5/2023     2.8   Working session with D. Slay, B. Tenney (A&M) re: reconciliation of
                                            petition date balance sheets
Tenney, Bridger          7/5/2023     1.2   Working session with D. Slay, H. Trent B. Tenney (A&M) re: discuss
                                            next steps for reconciliation of petition date balance sheets
Tenney, Bridger          7/5/2023     1.6   Prepare comparison analysis between asset and claims values at
                                            each silo
Tenney, Bridger          7/5/2023     2.1   Build template to reconcile current balances in plan model with
                                            petition date balance sheets
Tenney, Bridger          7/5/2023     2.4   Build variance summary between current plan model and updated
                                            petition date balance sheets
Tenney, Bridger          7/5/2023     1.7   Categorize payments in petition date balance sheets to align with
                                            plan model
Trent, Hudson            7/5/2023     2.8   Prepare draft template of separate subsidiaries analysis waterfalls

Trent, Hudson            7/5/2023     0.6   Prepare feedback on initial review of Petition Date balance sheet
                                            reconciliation
Trent, Hudson            7/5/2023     1.2   Working session with D. Slay, H. Trent B. Tenney (A&M) re: discuss
                                            next steps for reconciliation of petition date balance sheets
Trent, Hudson            7/5/2023     1.1   Review variance of latest intercompany matrix provided by
                                            accounting team
Trent, Hudson            7/5/2023     2.4   Prepare template for preparation of Petition Date balance sheet
                                            reconciliation


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Disclosure Statement and Plan
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Trent, Hudson            7/5/2023     1.8   Review initial draft of Petition Date balance sheet reconciliation
                                            output for one silo
Trent, Hudson            7/5/2023     1.9   Prepare revised shell of separate subsidiaries presentation following
                                            feedback
Trent, Hudson            7/5/2023     0.7   Prepare questions and feedback regarding latest intercompany
                                            matrix
Coverick, Steve          7/6/2023     1.3   Call with S. Coverick, C. Sullivan, H. Trent, J. Gonzalez, D. Slay, B.
                                            Tenney (A&M) to discuss plan support analyses
Gonzalez, Johnny         7/6/2023     0.4   Working session with C. Sullivan, H. Trent, J. Gonzalez, D. Slay, B.
                                            Tenney (A&M) re: update plan supporting analyses
Gonzalez, Johnny         7/6/2023     2.9   Link up the SubCon calculations to the plan waterfall sheet

Gonzalez, Johnny         7/6/2023     2.7   Develop the SubCon waterfall for the plan recovery model


Gonzalez, Johnny         7/6/2023     0.7   Develop the Singapore carve out waterfall for the plan recovery
                                            model
Gonzalez, Johnny         7/6/2023     0.4   Develop the LedgerPrime carve out waterfall for the plan recovery
                                            model
Gonzalez, Johnny         7/6/2023     0.9   Develop the Europe carve out waterfall for the plan recovery model

Gonzalez, Johnny         7/6/2023     0.6   Develop the Cyprus carve out waterfall for the plan recovery model

Gonzalez, Johnny         7/6/2023     1.2   Develop an adjustments section in the SubCon analysis to account
                                            for proforma changes
Gonzalez, Johnny         7/6/2023     1.2   Develop the Japan carve out waterfall for the plan recovery model

Gonzalez, Johnny         7/6/2023     1.3   Call with S. Coverick, C. Sullivan, H. Trent, J. Gonzalez, D. Slay, B.
                                            Tenney (A&M) to discuss plan support analyses
Mosley, Ed               7/6/2023     1.7   Review of and prepare comments to draft presentation of separate
                                            entities excluded from the Plan analysis in response to UCC request
Slay, David              7/6/2023     2.3   Working session with D. Slay, B. Tenney (A&M) re: support analyses
                                            for Plan model
Slay, David              7/6/2023     0.4   Working session with C. Sullivan, H. Trent, J. Gonzalez, D. Slay, B.
                                            Tenney (A&M) re: update plan supporting analyses
Slay, David              7/6/2023     1.7   Update petition date balances for Alameda and Venture silo based
                                            on latest statement and schedules
Slay, David              7/6/2023     1.3   Update and review support model separate subsidiaries balances
                                            based on latest data provided
Slay, David              7/6/2023     1.3   Call with S. Coverick, C. Sullivan, H. Trent, J. Gonzalez, D. Slay, B.
                                            Tenney (A&M) to discuss plan support analyses
Sullivan, Christopher    7/6/2023     1.2   Review initial waterfalls provided by local teams


Sullivan, Christopher    7/6/2023     0.4   Working session with C. Sullivan and H. Trent (A&M) to update the
                                            separate subsidiary presentation




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Professional              Date     Hours     Activity
Sullivan, Christopher   7/6/2023     0.7   Working session with C. Sullivan and H. Trent (A&M) to incorporate
                                           further comments from S. Coverick (A&M) on the separate
                                           subsidiary analysis
Sullivan, Christopher   7/6/2023     0.6   Working session with C. Sullivan & H. Trent (A&M) to update
                                           scenario comparisons for UCC tear sheet analysis
Sullivan, Christopher   7/6/2023     0.4   Working session with C. Sullivan & H. Trent (A&M) to incorporate S.
                                           Coverick (A&M) comments to the UCC variance analysis
Sullivan, Christopher   7/6/2023     0.8   Update commentary in the UCC vs. Plan variance analysis

Sullivan, Christopher   7/6/2023     0.8   Provide comments to waterfall template for separate sub analysis


Sullivan, Christopher   7/6/2023     1.3   Call with S. Coverick, C. Sullivan, H. Trent, J. Gonzalez, D. Slay, B.
                                           Tenney (A&M) to discuss plan support analysis
Tenney, Bridger         7/6/2023     1.2   Create link formulas to connect analysis tables to source data in
                                           plan model
Tenney, Bridger         7/6/2023     0.4   Working session with C. Sullivan, H. Trent, J. Gonzalez, D. Slay, B.
                                           Tenney (A&M) re: updates to plan supporting models
Tenney, Bridger         7/6/2023     2.3   Working session with D. Slay, B. Tenney (A&M) re: support analyses
                                           for Plan model
Tenney, Bridger         7/6/2023     1.3   Call with S. Coverick, C. Sullivan, H. Trent, J. Gonzalez, D. Slay, B.
                                           Tenney (A&M) to discuss plan support analyses
Tenney, Bridger         7/6/2023     2.4   Build summary table of UCC waterfall scenarios

Tenney, Bridger         7/6/2023     1.9   Create summary tables for each asset and claim item in plan model


Trent, Hudson           7/6/2023     0.6   Working session with C. Sullivan & H. Trent (A&M) to update
                                           scenario comparisons for UCC tear sheet analysis
Trent, Hudson           7/6/2023     1.1   Review change summary for updated asset and claim values in Plan
                                           analysis
Trent, Hudson           7/6/2023     0.4   Working session with C. Sullivan and H. Trent (A&M) to update the
                                           separate subsidiary presentation
Trent, Hudson           7/6/2023     1.3   Call with S. Coverick, C. Sullivan, H. Trent, J. Gonzalez, D. Slay, B.
                                           Tenney (A&M) to discuss plan support analysis
Trent, Hudson           7/6/2023     1.3   Prepare bridge overview related to Plan asset inputs


Trent, Hudson           7/6/2023     2.1   Prepare consolidation model for separate subsidiary inputs

Trent, Hudson           7/6/2023     2.7   Prepare term sheet comparison materials between Debtors and
                                           UCC Plan proposals
Trent, Hudson           7/6/2023     1.2   Update separate subsidiary templates based on feedback from C.
                                           Sullivan (A&M)
Trent, Hudson           7/6/2023     0.4   Working session with C. Sullivan & H. Trent (A&M) to incorporate S.
                                           Coverick (A&M) comments to the UCC variance analysis
Trent, Hudson           7/6/2023     0.7   Working session with C. Sullivan and H. Trent (A&M) to incorporate
                                           further comments from S. Coverick (A&M) on the separate
                                           subsidiary analysis

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Professional               Date     Hours     Activity
Trent, Hudson            7/6/2023     0.4   Working session with C. Sullivan, H. Trent, J. Gonzalez, D. Slay, B.
                                            Tenney (A&M) re: updates to plan supporting models
Trent, Hudson            7/6/2023     0.4   Working session with C. Sullivan, H. Trent, J. Gonzalez, D. Slay, B.
                                            Tenney (A&M) re: update plan supporting analyses
Gonzalez, Johnny         7/7/2023     1.8   Link the consolidated waterfall to the plan waterfall proforma section

Gonzalez, Johnny         7/7/2023     0.7   Link the consolidated waterfall to the plan waterfall wind-down
                                            reserve section
Gonzalez, Johnny         7/7/2023     1.6   Link the consolidated waterfall to the plan waterfall petition date
                                            section
Gonzalez, Johnny         7/7/2023     1.9   Working session with D. Slay, J. Gonzalez (A&M) re: review support
                                            model updates from prior analysis
Gonzalez, Johnny         7/7/2023     1.8   Link the consolidated waterfall to the plan waterfall Chapter 11 costs
                                            section
Slay, David              7/7/2023     2.6   Working session with D. Slay, B. Tenney (A&M) re: update WRS
                                            and Dotcom Petition Date balance sheet reconciliation
Slay, David              7/7/2023     2.1   Investigate Alameda petition date balance sheet and identify
                                            variances with provided data
Slay, David              7/7/2023     1.3   Investigate dotcom petition date balance sheet and identify
                                            variances with provided data
Slay, David              7/7/2023     1.9   Working session with D. Slay, J. Gonzalez (A&M) re: review support
                                            model updates from prior analysis
Sullivan, Christopher    7/7/2023     0.7   Provide comments to the Plan support model


Sullivan, Christopher    7/7/2023     0.8   Working session with H. Trent & C. Sullivan (A&M) to discuss further
                                            development of the separate subsidiary analysis
Sullivan, Christopher    7/7/2023     0.8   Review updates to the cash bridge for latest balances


Tenney, Bridger          7/7/2023     1.2   Coordinate with internal team re: discrepancies in updated
                                            prepetition balance sheets
Tenney, Bridger          7/7/2023     2.6   Working session with D. Slay, B. Tenney (A&M) re: update WRS
                                            and Dotcom Petition Date balance sheet reconciliation
Tenney, Bridger          7/7/2023     0.9   Categorize WRS trial balance line items to align with Plan materials

Tenney, Bridger          7/7/2023     1.3   Build petition date variance analysis for each silo and recovery group

Tenney, Bridger          7/7/2023     0.6   Prepare variance analysis for petition date liabilities / claims values


Tenney, Bridger          7/7/2023     0.9   Review prepetition balance sheets for changes in currency exchange
                                            rates
Tenney, Bridger          7/7/2023     1.8   Update prepetition balance sheet reconciliation file with revised
                                            DOTCOM balance sheet
Tenney, Bridger          7/7/2023     1.2   Continue build of variance summary for entities in the general
                                            recovery pool




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Trent, Hudson            7/7/2023     0.8   Working session with H. Trent & C. Sullivan (A&M) to discuss further
                                            development of the separate subsidiary analysis
Trent, Hudson            7/8/2023     0.4   Prepare overview of impacts related to potential changes in
                                            adjustments to digital asset balances in Plan recovery analysis
Trent, Hudson            7/8/2023     0.7   Prepare analysis of updated digital asset balances following
                                            additional reconciliation
Trent, Hudson            7/8/2023     0.9   Prepare questions related to digital asset balance adjustments for
                                            Plan recovery analysis
Trent, Hudson            7/9/2023     1.6   Prepare shell of materials outlining changes in digital assets in Plan
                                            recovery analysis
Coverick, Steve         7/10/2023     1.6   Review and provide comments on updated analysis of UCC plan
                                            scenarios proposal
Gonzalez, Johnny        7/10/2023     1.8   Prepare a variance comparison to the BoD version of the
                                            deconsolidated waterfall analysis
Gonzalez, Johnny        7/10/2023     1.9   Working session with J. Gonzalez, D. Slay, B. Tenney (A&M) re:
                                            plan and liquidation model data inputs
Gonzalez, Johnny        7/10/2023     1.8   Working session with J. Gonzalez, B. Tenney, D. Slay (A&M) re:
                                            discuss and develop excel to match submitted model support deck
Gonzalez, Johnny        7/10/2023     2.2   Working session with J. Gonzalez, D. Slay (A&M) re: discuss model
                                            support deck inputs for petition date, adjustments & Proforma
Gonzalez, Johnny        7/10/2023     1.4   Update the plan recovery analysis model inputs sheet for updated
                                            legal entity mapping
Gonzalez, Johnny        7/10/2023     2.9   Develop a Gantt chart to strategize key deliverable timelines for the
                                            plan analysis
Gonzalez, Johnny        7/10/2023     1.3   Continue development of a Gantt chart to strategize key deliverable
                                            timelines for the plan analysis
Gonzalez, Johnny        7/10/2023     1.2   Update the plan recovery analysis model based on comments from
                                            C. Sullivan (A&M)
Johnston, David         7/10/2023     2.6   Review recovery analysis for potential carve out entities

Sagen, Daniel           7/10/2023     0.7   Working session with D. Sagen and H. Trent (A&M) regarding digital
                                            asset entity allocations
Slay, David             7/10/2023     1.9   Working session with J. Gonzalez, D. Slay, B. Tenney (A&M) re:
                                            plan and liquidation model data inputs
Slay, David             7/10/2023     1.8   Working session with J. Gonzalez, B. Tenney, D. Slay (A&M) re:
                                            discuss and develop excel to match submitted model support deck
Slay, David             7/10/2023     2.2   Working session with J. Gonzalez, D. Slay (A&M) re: discuss model
                                            support deck inputs for petition date, adjustments & Proforma
Sullivan, Christopher   7/10/2023     1.6   Working session with C. Sullivan & H. Trent (A&M) to make edits to
                                            the UCC vs. Plan comparison analysis
Sullivan, Christopher   7/10/2023     2.8   Update commentary for scenario analysis against Plan recovery


Sullivan, Christopher   7/10/2023     0.4   Review updated Plan model and workstream timeline template




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Sullivan, Christopher   7/10/2023     0.7   Provide comments to H. Trent (A&M) for edits in the Plan scenario
                                            analysis
Sullivan, Christopher   7/10/2023     1.4   Update commentary in the model workflow deck


Sullivan, Christopher   7/10/2023     0.9   Provide comments to the model workflow presentation

Tenney, Bridger         7/10/2023     1.7   Prepare asset and claims support tables for use in recovery deck

Tenney, Bridger         7/10/2023     1.9   Working session with J. Gonzalez, D. Slay, B. Tenney (A&M) re:
                                            plan and liquidation model data inputs
Tenney, Bridger         7/10/2023     1.8   Working session with J. Gonzalez, B. Tenney, D. Slay (A&M) re:
                                            discuss and develop excel to match submitted model support deck
Tenney, Bridger         7/10/2023     1.1   Update Bahamian real estate analyses in support model


Tenney, Bridger         7/10/2023     1.5   Update separate subsidiaries master list and support tables in Plan
                                            support model
Tenney, Bridger         7/10/2023     1.8   Update executory contract claims estimates as of the most recent
                                            omnibus hearing in plan model
Tenney, Bridger         7/10/2023     0.6   Update support model Gantt chart for upcoming deadlines

Trent, Hudson           7/10/2023     2.7   Incorporate updates into comparison of Plan recovery scenarios to
                                            UCC scenarios based on internal A&M feedback
Trent, Hudson           7/10/2023     2.2   Incorporate anticipated timing of milestones in Plan recovery
                                            analysis preparation timeline
Trent, Hudson           7/10/2023     0.4   Prepare summary of changes in venture investments database

Trent, Hudson           7/10/2023     1.3   Review Plan recovery analysis outputs with updated model structure


Trent, Hudson           7/10/2023     1.9   Update separate subsidiary consolidation model using latest
                                            analyses
Trent, Hudson           7/10/2023     1.6   Working session with C. Sullivan & H. Trent (A&M) to make edits to
                                            the UCC vs. Plan comparison analysis
Trent, Hudson           7/10/2023     0.7   Working session with D. Sagen and H. Trent (A&M) regarding digital
                                            asset entity allocations
Trent, Hudson           7/10/2023     0.9   Correspond regarding entity pending potential de minimis asset sale
                                            operations
Coverick, Steve         7/11/2023     0.3   Call with C. Sullivan (A&M) to discuss tax scenarios for plan model


Coverick, Steve         7/11/2023     0.2   Call with E. Mosley (A&M) to discuss plan related inquiries from
                                            board members
Gonzalez, Johnny        7/11/2023     1.3   Develop the SubCon output waterfall sheet in the plan recovery
                                            analysis model
Gonzalez, Johnny        7/11/2023     0.9   Call with J. Gonzalez, H. Trent, C. Sullivan, B. Tenney, & D. Slay
                                            (A&M) re: updates to the plan & liquidation analysis model




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Gonzalez, Johnny        7/11/2023     0.6   Discuss Plan digital asset inputs with D. Sagen, J. Gonzalez, and H.
                                            Trent (A&M)
Gonzalez, Johnny        7/11/2023     1.2   Modify the allocation of Chapter 11 fees in the plan recovery
                                            analysis model
Gonzalez, Johnny        7/11/2023     1.7   Working session with J. Gonzalez, B. Tenney re: build index for
                                            subcon model materials
Gonzalez, Johnny        7/11/2023     2.1   Working session with D. Slay, B. Tenney, J. Gonzalez re: recovery
                                            support model review
Gonzalez, Johnny        7/11/2023     2.1   Working session with J. Gonzalez, B. Tenney, D. Slay (A&M) re:
                                            review inputs tab for updated toggles for different scenarios
Gonzalez, Johnny        7/11/2023     2.9   Working session with J. Gonzalez, D. Slay (A&M) re: discuss and
                                            update claims tagging between support and master model
Gonzalez, Johnny        7/11/2023     0.8   Develop the Plan output waterfall sheet in the plan recovery analysis
                                            model
Mosley, Ed              7/11/2023     0.2   Discussion with J.Bromley (S&C) regarding plan recovery analysis
                                            for board
Sagen, Daniel           7/11/2023     0.6   Discuss Plan digital asset inputs with D. Sagen, J. Gonzalez, and H.
                                            Trent (A&M)
Slay, David             7/11/2023     0.9   Call with J. Gonzalez, H. Trent, C. Sullivan, B. Tenney, & D. Slay
                                            (A&M) re: updates to the plan & liquidation analysis model
Slay, David             7/11/2023     1.6   Working session with D. Slay, B. Tenney (A&M) re: prepare
                                            supporting model for new data inputs
Slay, David             7/11/2023     2.1   Working session with D. Slay, B. Tenney, J. Gonzalez (A&M) re:
                                            recovery support model review
Slay, David             7/11/2023     0.3   Working session with H. Trent, B. Tenney, D. Slay (A&M) re: discuss
                                            process for Petition Date balance sheets updates from accounting
Slay, David             7/11/2023     2.9   Working session with J. Gonzalez, D. Slay (A&M) re: discuss and
                                            update claims tagging between support and master model
Slay, David             7/11/2023     2.1   Working session with J. Gonzalez, B. Tenney, D. Slay (A&M) re:
                                            review inputs tab for updated toggles for different scenarios
Sullivan, Christopher   7/11/2023     0.9   Call with J. Gonzalez, H. Trent, C. Sullivan, B. Tenney, & D. Slay
                                            (A&M) re: updates to the plan & liquidation analysis model
Sullivan, Christopher   7/11/2023     0.3   Call with S. Coverick (A&M) to discuss tax scenarios for plan model

Sullivan, Christopher   7/11/2023     1.7   Detailed updates to the separate subsidiary presentation

Tenney, Bridger         7/11/2023     2.1   Working session with J. Gonzalez, B. Tenney, D. Slay (A&M) re:
                                            review inputs tab for updated toggles for different scenarios
Tenney, Bridger         7/11/2023     1.7   Working session with J. Gonzalez, B. Tenney (A&M) re: build index
                                            for subcon model materials
Tenney, Bridger         7/11/2023     0.3   Working session with H. Trent, B. Tenney, D. Slay (A&M) re: discuss
                                            process for Petition Date balance sheets updates from accounting
Tenney, Bridger         7/11/2023     2.1   Working session with D. Slay, B. Tenney, J. Gonzalez (A&M) re:
                                            recovery support model review




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Tenney, Bridger        7/11/2023     1.6   Working session with D. Slay, B. Tenney (A&M) re: prepare
                                           supporting model for new data inputs
Tenney, Bridger        7/11/2023     2.0   Prepare flow chart to illustrate plan model capabilities


Tenney, Bridger        7/11/2023     0.9   Call with J. Gonzalez, H. Trent, C. Sullivan, B. Tenney, & D. Slay
                                           (A&M) re: updates to the plan & liquidation analysis model
Trent, Hudson          7/11/2023     0.9   Call with J. Gonzalez, H. Trent, C. Sullivan, B. Tenney, & D. Slay
                                           (A&M) re: updates to the plan & liquidation analysis model
Trent, Hudson          7/11/2023     0.3   Working session with H. Trent, B. Tenney, D. Slay (A&M) re: discuss
                                           process for Petition Date balance sheets updates from accounting
Trent, Hudson          7/11/2023     0.6   Discuss Plan digital asset inputs with D. Sagen, J. Gonzalez, and H.
                                           Trent (A&M)
Coverick, Steve        7/12/2023     0.6   Call with E. Mosley (A&M) to discuss crypto ownership attribution
                                           and related intercompany impacts to plan analysis
Coverick, Steve        7/12/2023     0.6   Call with A. Dietderich, B. Glueckstein, A. Kranzley (S&C), J. Ray
                                           (FTX), E. Mosley, S. Coverick, C. Sullivan (A&M) to discuss revised
                                           plan analysis for board
Coverick, Steve        7/12/2023     1.9   Review and provide comments on revised plan analysis deck for
                                           7/18 board meeting
Coverick, Steve        7/12/2023     2.1   Review and provide comments on deconsolidated plan scenario
                                           analysis with revised crypto and intercompany assumptions
Coverick, Steve        7/12/2023     0.2   Call with C. Sullivan (A&M) to discuss updates to plan analysis deck
                                           for 7/18 board meeting
Gonzalez, Johnny       7/12/2023     1.3   Modify the subcon output waterfall based on latest mapping toggles


Gonzalez, Johnny       7/12/2023     2.8   Working session with J. Gonzalez, D. Slay (A&M) re: Review all silo
                                           balance sheets to develop allocation process for ongoing updates
Gonzalez, Johnny       7/12/2023     2.6   Working session with J. Gonzalez, B. Tenney (A&M) re: build
                                           separate subsidiary support tabs for master plan model
Gonzalez, Johnny       7/12/2023     1.6   Update the mapping of the petition date assets in the plan model
                                           redevelopment
Gonzalez, Johnny       7/12/2023     1.2   Update the mapping of the claims section in the plan model
                                           redevelopment
Gonzalez, Johnny       7/12/2023     0.5   Call with J. Gonzalez, H. Trent & C. Sullivan (A&M) re: review the
                                           plan & liquidation analysis model
Gonzalez, Johnny       7/12/2023     0.9   Modify the separate subsidiary waterfalls based on latest mapping
                                           toggles
Gonzalez, Johnny       7/12/2023     1.2   Update the mapping of the proforma assets in the plan model
                                           redevelopment
Mosley, Ed             7/12/2023     2.8   Review of counsel memorandum to board regarding plan
                                           considerations for impact on financial analysis of plan
Mosley, Ed             7/12/2023     0.2   Discuss plan analysis requested by the board with S.Coverick (A&M)

Mosley, Ed             7/12/2023     0.6   Call with A. Dietderich, B. Glueckstein, A. Kranzley (S&C), J. Ray
                                           (FTX), S.Coverick, S. Coverick, C. Sullivan (A&M) to discuss revised
                                           plan analysis for board

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Mosley, Ed              7/12/2023     1.8   Review of distributed plan term sheet to creditor groups from debtors

Mosley, Ed              7/12/2023     0.6   Call with S.Coverick (A&M) to discuss crypto ownership attribution
                                            and related intercompany impacts to plan analysis
Slay, David             7/12/2023     2.4   Develop global legal entity petition date trial balance workbook for
                                            recent updates
Slay, David             7/12/2023     1.8   Build checks from updated petition date balance sheets to
                                            consolidated balance sheet
Slay, David             7/12/2023     2.1   Develop petition date variance file with workstream inputs vs
                                            consolidated balance sheet
Slay, David             7/12/2023     2.8   Working session with J. Gonzalez, D. Slay (A&M) re: Review all silo
                                            balance sheets to develop allocation process for ongoing updates
Slay, David             7/12/2023     1.7   Develop global mapping key off chart of accounts for balance sheet
                                            updates
Sullivan, Christopher   7/12/2023     0.2   Call with S. Coverick (A&M) to discuss updates to plan analysis deck
                                            for 7/18 board meeting
Sullivan, Christopher   7/12/2023     0.5   Call with J. Gonzalez, H. Trent & C. Sullivan (A&M) re: review the
                                            plan & liquidation analysis model
Sullivan, Christopher   7/12/2023     0.6   Call with A. Dietderich, B. Glueckstein, A. Kranzley (S&C), J. Ray
                                            (FTX), E. Mosley, S. Coverick, C. Sullivan (A&M) to discuss revised
                                            plan analysis for board
Tenney, Bridger         7/12/2023     1.4   Input recovery adjustments to Japanese separate subsidiaries into
                                            adjustment matrix
Tenney, Bridger         7/12/2023     1.3   Prepare recovery percentage summary tables for each separate
                                            subsidiary
Tenney, Bridger         7/12/2023     1.2   Create analysis showing ownership groups for each separate
                                            subsidiary
Tenney, Bridger         7/12/2023     1.9   Update balance sheet reconciliation analysis with updated balance
                                            sheets from internal A&M team
Tenney, Bridger         7/12/2023     2.1   Update separate subsidiaries recovery deck per comments from
                                            counsel
Tenney, Bridger         7/12/2023     2.6   Working session with J. Gonzalez, B. Tenney (A&M) re: build
                                            separate subsidiary support tabs for master plan model
Tenney, Bridger         7/12/2023     1.9   Build separate subsidiary adjustment matrix to be sent to Europe
                                            A&M professionals
Trent, Hudson           7/12/2023     0.5   Call with J. Gonzalez, H. Trent & C. Sullivan (A&M) re: review the
                                            plan & liquidation analysis model
Trent, Hudson           7/12/2023     1.6   Provide feedback on updated separate subsidiary materials


Trent, Hudson           7/12/2023     1.9   Incorporate updates to separate subsidiaries consolidation model
                                            per latest analyses
Trent, Hudson           7/12/2023     2.3   Prepare updated deconsolidated Plan analysis materials

Trent, Hudson           7/12/2023     1.4   Review updated intercompany analysis prior to incorporating into
                                            Plan analysis


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Trent, Hudson           7/12/2023     2.2   Update deconsolidated Plan analysis materials based on internal
                                            A&M feedback
Coverick, Steve         7/13/2023     0.2   Discuss decon plan analysis with C. Sullivan and H. Trent (A&M)


Gonzalez, Johnny        7/13/2023     1.8   Working session w/ J. Gonzalez, D. Slay (A&M) re: prepare
                                            adjustments to the plan model inputs
Gonzalez, Johnny        7/13/2023     1.7   Develop error checks between the plan model and the plan output
                                            waterfall
Gonzalez, Johnny        7/13/2023     1.7   Update the toggles in the plan model rebuild


Gonzalez, Johnny        7/13/2023     1.6   Develop error checks between the plan model and the subcon
                                            output waterfall
Gonzalez, Johnny        7/13/2023     1.6   Working session w/ C. Sullivan, J. Gonzalez, D. Slay & B. Tenney
                                            (A&M) re: review and discuss ongoing plan model feeder progress
Gonzalez, Johnny        7/13/2023     1.4   Update the mapping of inputs in the plan model rebuild

Mosley, Ed              7/13/2023     2.6   Review of draft presentation of tax and plan impacts of Alameda
                                            crypto ownership
Mosley, Ed              7/13/2023     2.9   Review of and prepare comments to draft finnacial analysis of plan
                                            considerations for potential presentation to the board
Slay, David             7/13/2023     2.4   Identify and support hardcodes in silo trial balance sheets

Slay, David             7/13/2023     1.8   Review and update Chart of account master tagging sheet to flow
                                            into support model
Slay, David             7/13/2023     1.8   Working session w/ J. Gonzalez, D. Slay (A&M) re: prepare
                                            adjustments to the plan model inputs
Slay, David             7/13/2023     1.6   Working session w/ C. Sullivan, J. Gonzalez, D. Slay & B. Tenney
                                            (A&M) re: review and discuss ongoing plan model feeder progress
Slay, David             7/13/2023     1.3   Update support model template and remove unused tabs for size
                                            control
Sullivan, Christopher   7/13/2023     1.3   Review updates to various crypto scenarios for the Plan


Sullivan, Christopher   7/13/2023     1.1   Detailed updates to the revised Plan workstream timeline

Sullivan, Christopher   7/13/2023     1.6   Working session w/ C. Sullivan, J. Gonzalez, D. Slay & B. Tenney
                                            (A&M) re: review and discuss ongoing plan model feeder progress
Sullivan, Christopher   7/13/2023     0.2   Discuss decon plan analysis with S. Coverick, C. Sullivan and H.
                                            Trent (A&M)
Tenney, Bridger         7/13/2023     1.4   Prepare mapping mechanism for statements of accounts in
                                            prepetition balance sheets
Tenney, Bridger         7/13/2023     1.6   Working session w/ C. Sullivan, J. Gonzalez, D. Slay & B. Tenney
                                            (A&M) re: review and discuss ongoing plan model feeder progress
Tenney, Bridger         7/13/2023     1.3   Consolidate statements of accounts into summary balance sheet




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Disclosure Statement and Plan
Professional               Date     Hours     Activity
Tenney, Bridger         7/13/2023     1.6   Determine variance of each balance sheet accounts compared to
                                            previous months balances
Tenney, Bridger         7/13/2023     1.1   Review updates from Europe and Asian teams regarding separate
                                            subsidiaries operations
Trent, Hudson           7/13/2023     2.6   Incorporate latest digital asset database into Plan recovery analysis

Trent, Hudson           7/13/2023     0.2   Discuss decon plan analysis with C. Sullivan and H. Trent (A&M)

Trent, Hudson           7/13/2023     2.2   Prepare analysis of changes in digital asset database between prior
                                            and latest versions
Trent, Hudson           7/13/2023     1.3   Prepare comparison materials between deconsolidated Plan
                                            recovery analysis and Plan structure for review
Trent, Hudson           7/13/2023     1.4   Review summary of outstanding invoices at subsidiary slated for
                                            potential de minimis asset sale
Trent, Hudson           7/13/2023     0.9   Update Plan recovery analysis timeline based on latest thinking
                                            milestone timing
Trent, Hudson           7/13/2023     1.9   Update deconsolidated Plan analysis materials per internal A&M
                                            feedback
Trent, Hudson           7/13/2023     2.3   Update deconsolidated Plan analysis materials to account for
                                            updated assumptions and additional feedback
Coverick, Steve         7/14/2023     2.3   Review and provide comments on revised deconsolidated plan model

Coverick, Steve         7/14/2023     1.8   Review and provide comments on deconsolidated plan presentation
                                            for board
Gonzalez, Johnny        7/14/2023     0.8   Review the deconsolidated model to distribute commentary to team

Gonzalez, Johnny        7/14/2023     2.6   Develop plan model mechanics for the hypothetical chapter 7
                                            adjustments
Gonzalez, Johnny        7/14/2023     1.4   Continue development of plan model mechanics for the hypothetical
                                            chapter 7 adjustments
Gonzalez, Johnny        7/14/2023     0.3   Working session with D. Slay, B. Tenney, J. Gonzalez re: review
                                            format changes to Model feeder for master model linking
Mosley, Ed              7/14/2023     0.9   Review of draft plan analysis provided to other advisors and
                                            management
Mosley, Ed              7/14/2023     2.3   Review of draft bridging presentation of UCC plan scenarios versus
                                            debtors plan proposal
Mosley, Ed              7/14/2023     1.1   Review of counsel paper regarding token treatment in other
                                            bankruptcies for use in FTX proposed plan
Slay, David             7/14/2023     0.9   Develop commentary for Petition Date balance sheet variance
                                            discussion from prior plan analysis
Slay, David             7/14/2023     1.8   Update plan support model checks for revamped data set


Slay, David             7/14/2023     0.3   Working session with D. Slay, B. Tenney, J. Gonzalez (A&M) re:
                                            review format changes to Model feeder for master model linking




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Disclosure Statement and Plan
Professional               Date     Hours     Activity
Slay, David             7/14/2023     2.1   Review and update Venture Investments and Non-Debtor Subs
                                            Balance sheet mapping for reconciliation purposes
Slay, David             7/14/2023     1.3   Review brokerage investments in latest balance sheet to determine
                                            appropriate treatment in Plan
Sullivan, Christopher   7/14/2023     1.1   Review updates to the Plan model for the latest coin report as of 7/7

Sullivan, Christopher   7/14/2023     0.6   Update UCC vs. Plan scenario analysis per comments from S.
                                            Coverick (A&M)
Sullivan, Christopher   7/14/2023     0.7   Update separate subsidiaries presentation for latest assumptions


Tenney, Bridger         7/14/2023     0.3   Working session with D. Slay, B. Tenney, J. Gonzalez (A&M) re:
                                            review format changes to Model feeder for master model linking
Tenney, Bridger         7/14/2023     0.9   Review comments from Europe A&M team re: assumptions for
                                            Europe separate subsidiaries
Tenney, Bridger         7/14/2023     2.2   Prepare table of assumptions for each separate subsidiary in
                                            separate subsidiary model
Tenney, Bridger         7/14/2023     0.9   Prepare list of vague separate subsidiary assumptions for
                                            distribution to A&M Europe
Tenney, Bridger         7/14/2023     1.0   Update assumptions to align with current separate subsidiary
                                            information
Tenney, Bridger         7/14/2023     2.5   Prepare separate subsidiary assumptions slides for separate
                                            subsidiaries deck
Trent, Hudson           7/14/2023     2.2   Prepare outputs for updated Liquidation Analysis model


Trent, Hudson           7/14/2023     1.9   Prepare analysis of 7/7 coin report for incorporation into Plan
                                            recovery analysis
Trent, Hudson           7/14/2023     1.8   Update Liquidation Analysis model outputs based on internal A&M
                                            feedback
Gonzalez, Johnny        7/17/2023     0.4   Develop a summary of the claims classes for members of the CMS
                                            team
Gonzalez, Johnny        7/17/2023     1.3   Discussion with J. Gonzalez & H. Trent (A&M) to review plan &
                                            liquidation model mechanics
Gonzalez, Johnny        7/17/2023     0.6   Continue model development of the customer claims priority scenario

Gonzalez, Johnny        7/17/2023     0.3   Call with C. Sullivan, H. Trent, J. Gonzalez, B. Tenney, D. Slay
                                            (A&M) to discuss next steps in the Plan/Liquidation model
Gonzalez, Johnny        7/17/2023     2.2   Develop the customer claims priority scenario in the plan analysis
                                            model
Gonzalez, Johnny        7/17/2023     2.1   Incorporate model changes to the proforma section of the Subcon
                                            waterfall
Gonzalez, Johnny        7/17/2023     2.8   Model the priority shortfall scenario brought forth by the UCC's plan
                                            analysis materials
Gonzalez, Johnny        7/17/2023     2.3   Review the deconsolidated model for adjustments to the plan
                                            recovery analysis




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Disclosure Statement and Plan
Professional                Date    Hours     Activity
Mosley, Ed              7/17/2023     2.1   Review of presentation to board of plan financial analysis for the
                                            board on 7/18
Mosley, Ed              7/17/2023     0.9   Review of customer portal status KPI and assess impact on plan


Slay, David             7/17/2023     1.8   Update Inputs tab in support model to reflect changes in
                                            plan/liquidation model
Slay, David             7/17/2023     2.2   Convert Dotcom's chart of accounts into USD for all foreign entities

Slay, David             7/17/2023     0.3   Call with C. Sullivan, H. Trent, J. Gonzalez, B. Tenney, D. Slay
                                            (A&M) to discuss next steps in the Plan/Liquidation model
Sullivan, Christopher   7/17/2023     0.6   Revisions to Plan recovery assumptions in model

Sullivan, Christopher   7/17/2023     1.1   Provide comments to the separate subsidiary support workbook


Sullivan, Christopher   7/17/2023     0.3   Call with C. Sullivan, H. Trent, J. Gonzalez, B. Tenney, D. Slay
                                            (A&M) to discuss next steps in the Plan/Liquidation model
Sullivan, Christopher   7/17/2023     1.3   Update separate subsidiaries presentation for LedgerPrime analysis


Tenney, Bridger         7/17/2023     1.9   Review petition date balance sheet variances after most recent
                                            update
Tenney, Bridger         7/17/2023     1.8   Prepare reconciliation between venture investment numbers in
                                            prepetition balance sheet
Tenney, Bridger         7/17/2023     1.3   Determine token receivable balances that differ from previous
                                            balance sheet
Tenney, Bridger         7/17/2023     1.7   Continue reconciliation of line items for each entity in Plan model

Tenney, Bridger         7/17/2023     2.1   Categorize token receivables as category A and B to assist with
                                            reconciliation effort
Tenney, Bridger         7/17/2023     0.3   Call with C. Sullivan, H. Trent, J. Gonzalez, B. Tenney, D. Slay
                                            (A&M) to discuss next steps in the Plan/Liquidation model
Trent, Hudson           7/17/2023     2.8   Incorporate updated assumptions by entity into separate
                                            subsidiaries model and materials
Trent, Hudson           7/17/2023     1.3   Prepare overview of digital assets included in prior Plan recovery
                                            analysis
Trent, Hudson           7/17/2023     1.3   Discussion with J. Gonzalez & H. Trent (A&M) to review plan &
                                            liquidation model mechanics
Trent, Hudson           7/17/2023     1.8   Review assumptions utilized in separate subsidiaries analyses


Trent, Hudson           7/17/2023     0.9   Correspond regarding pending invoices at subsidiary slated for
                                            potential de minimis asset sale
Trent, Hudson           7/17/2023     0.3   Call with C. Sullivan, H. Trent, J. Gonzalez, B. Tenney, D. Slay
                                            (A&M) to discuss next steps in the Plan/Liquidation model
Trent, Hudson           7/17/2023     2.9   Update separate subsidiaries consolidation model with intercompany
                                            assumptions




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Coverick, Steve         7/18/2023     0.2   Discuss updates to plan recovery analysis with E. Mosley (A&M)

Coverick, Steve         7/18/2023     0.4   Provide comments to plan modeling team regarding updates for
                                            latest financial information
Gonzalez, Johnny        7/18/2023     0.6   Develop the claims section of the UCC shortfall priority waterfall in
                                            the plan model
Gonzalez, Johnny        7/18/2023     0.4   Call with C. Sullivan & J. Gonzalez (A&M) to discuss preparation of
                                            the shortfall priority waterfall scenario
Gonzalez, Johnny        7/18/2023     0.8   Call with C. Sullivan, H. Trent, J. Gonzalez, B. Tenney, D. Slay
                                            (A&M) to discuss next steps in the Petition Date assets reconciliation
Gonzalez, Johnny        7/18/2023     0.4   Call with J. Gonzalez, B. Tenney, D. Slay (A&M) to review the
                                            Petition Date assets reconciliation model
Gonzalez, Johnny        7/18/2023     0.4   Develop the claims section of the customer priority waterfall in the
                                            plan model
Gonzalez, Johnny        7/18/2023     1.6   Develop the modeling mechanics for a new scenario related to
                                            Dotcom customer entitlements
Gonzalez, Johnny        7/18/2023     2.4   Develop the recoveries section of the customer priority waterfall in
                                            the plan model
Gonzalez, Johnny        7/18/2023     2.7   Develop the recoveries section of the UCC shortfall priority waterfall
                                            in the plan model
Gonzalez, Johnny        7/18/2023     2.3   Modify the plan recovery mechanics of the SubCon waterfall

Gonzalez, Johnny        7/18/2023     2.7   Prepare the UCC shortfall waterfall scenario output page in the plan
                                            support model
Gordon, Robert          7/18/2023     0.6   Review UCC plan term sheet for comparison against debtor plan

Kotarba, Steve          7/18/2023     1.4   Analyze competing plan term sheet to assist with the filing of the
                                            Plan of Reorganization
Mosley, Ed              7/18/2023     1.3   Review of the UCC proposed term sheet for the plan of
                                            reorganization settlement
Mosley, Ed              7/18/2023     2.1   Prepare for presentation to the board of financial analysis of
                                            hypotetical silo plan recoveries
Mosley, Ed              7/18/2023     0.2   Discussion with K.Cofsky (PWP ) regarding plan structure

Mosley, Ed              7/18/2023     0.2   Discuss updates to plan recovery analysis with S. Coverick (A&M)

Slay, David             7/18/2023     0.4   Call with J. Gonzalez, B. Tenney, D. Slay (A&M) to review the
                                            Petition Date assets reconciliation model
Slay, David             7/18/2023     0.8   Call with C. Sullivan, H. Trent, J. Gonzalez, B. Tenney, D. Slay
                                            (A&M) to discuss next steps in the Petition Date assets reconciliation
Slay, David             7/18/2023     2.6   Update Asset account tags for petition date balance sheets based
                                            on internal discussions
Slay, David             7/18/2023     2.4   Update Claims account tags for petition date balance sheets based
                                            on internal discussions




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Slay, David             7/18/2023     2.3   Update petition date support model based on comments from H.
                                            Trent (A&M)
Slay, David             7/18/2023     3.1   Working session with D. Slay, B. Tenney (A&M) re: reconcile petition
                                            date balance sheets for each silo
Sullivan, Christopher   7/18/2023     0.6   Working session with C. Sullivan and H. Trent (A&M) to discuss the
                                            UCC Plan term sheet
Sullivan, Christopher   7/18/2023     1.3   Provide comments to updated separate subsidiary presentation

Sullivan, Christopher   7/18/2023     0.8   Call with C. Sullivan, H. Trent, J. Gonzalez, B. Tenney, D. Slay
                                            (A&M) to discuss next steps in the Petition Date assets reconciliation
Sullivan, Christopher   7/18/2023     0.8   Provide detailed comments to updated petition date balance tracker

Sullivan, Christopher   7/18/2023     0.7   Review UCC vs. Debtor Plan comparison


Sullivan, Christopher   7/18/2023     0.4   Call with C. Sullivan & J. Gonzalez (A&M) to discuss preparation of
                                            the shortfall priority waterfall scenario
Sullivan, Christopher   7/18/2023     0.9   Review updated venture book reconciliation


Sullivan, Christopher   7/18/2023     1.6   Review UCC proposed Plan term sheet

Tenney, Bridger         7/18/2023     0.8   Call with C. Sullivan, H. Trent, J. Gonzalez, B. Tenney, D. Slay
                                            (A&M) to discuss next steps in the Petition Date assets reconciliation
Tenney, Bridger         7/18/2023     1.7   Review and categorize token receivable balances to match Plan
                                            material categories
Tenney, Bridger         7/18/2023     2.5   Update separate subsidiary summary table in master plan model
                                            with new LedgerPrime figures
Tenney, Bridger         7/18/2023     3.1   Working session with D. Slay, B. Tenney (A&M) re: reconcile petition
                                            date balance sheets for each silo
Tenney, Bridger         7/18/2023     2.3   Prepare recovery analysis for LedgerPrime to be included in
                                            separate subsidiary break out
Tenney, Bridger         7/18/2023     0.4   Call with J. Gonzalez, B. Tenney, D. Slay (A&M) to review the
                                            Petition Date assets reconciliation model
Trent, Hudson           7/18/2023     1.4   Prepare draft outline of additional Plan recovery analysis materials
                                            for eventual delivery to the Board
Trent, Hudson           7/18/2023     0.8   Call with C. Sullivan, H. Trent, J. Gonzalez, B. Tenney, D. Slay
                                            (A&M) to discuss next steps in the Petition Date assets reconciliation
Trent, Hudson           7/18/2023     2.4   Prepare consolidated listing of questions for accounting team
                                            regarding initial draft of Petition Date balance sheet reconciliation
                                            analysis
Trent, Hudson           7/18/2023     0.6   Working session with C. Sullivan and H. Trent (A&M) to discuss the
                                            UCC Plan term sheet
Coverick, Steve         7/19/2023     0.5   Call with R. Gordon, C. Brosky, S. Coverick (A&M) re: lowest
                                            intermediate balance analysis
Coverick, Steve         7/19/2023     1.8   Review and provide comments on comparison analysis of UCC vs
                                            Debtor plan term sheets


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Coverick, Steve         7/19/2023     0.5   Call regarding Plan recovery analysis with B. Baker, K. Flinn, S.
                                            Saferstein, N. Velivela (PWP), S. Coverick, K. Ramanathan, C.
                                            Sullivan, and H. Trent (A&M)
Coverick, Steve         7/19/2023     1.9   Review and provide comments on plan care package for Rothschild

Gonzalez, Johnny        7/19/2023     1.4   Update the recovery mechanics for Dotcom priority recovery


Gonzalez, Johnny        7/19/2023     1.8   Model the Mid scenario recovery treatment for Dotcom customer
                                            entitlements in the UCC Plan
Gonzalez, Johnny        7/19/2023     2.4   Develop a comparison for the updated term sheet from the UCC


Gonzalez, Johnny        7/19/2023     1.4   Develop a summary database for the updated customer entitlement
                                            claims
Gonzalez, Johnny        7/19/2023     2.7   Develop an output waterfall for the UCC Plan scenario

Gonzalez, Johnny        7/19/2023     1.7   Model the High scenario recovery treatment for Dotcom customer
                                            entitlements in the UCC Plan
Gonzalez, Johnny        7/19/2023     1.6   Model the Low scenario recovery treatment for Dotcom customer
                                            entitlements in the UCC Plan
Gordon, Robert          7/19/2023     0.5   Call with R. Gordon, C. Broskay, S. Coverick (A&M) re: lowest
                                            intermediate balance analysis
Mosley, Ed              7/19/2023     1.4   Review of plan proposal comparison document prepared for
                                            mnagement
Ramanathan, Kumanan     7/19/2023     0.5   Call regarding Plan recovery analysis with B. Baker, K. Flinn, S.
                                            Saferstein, N. Velivela (PWP), S. Coverick, K. Ramanathan, C.
                                            Sullivan, and H. Trent (A&M)
Slay, David             7/19/2023     0.6   Working session with D. Slay, H. Trent (A&M) re: Discuss data
                                            request for support model refresh
Slay, David             7/19/2023     1.7   Update Petition date balance sheet by legal entity for the liquidation
                                            model
Slay, David             7/19/2023     2.6   Support tab update for PD balances in Other assets, AR, PPE and
                                            Non Debtor
Slay, David             7/19/2023     0.8   Create Plan Model overlay for distributed 6/20 materials to current
                                            materials
Sullivan, Christopher   7/19/2023     1.6   Review updates to the Plan model for waterfall analysis of the UCC
                                            Plan term sheet
Sullivan, Christopher   7/19/2023     1.1   Detail review latest turn of model refreshes for Plan

Sullivan, Christopher   7/19/2023     0.7   Provide comments to updated tokens receivable to crypto coin
                                            report reconciliation
Sullivan, Christopher   7/19/2023     0.9   Review updates to Embed wind-down estimates


Sullivan, Christopher   7/19/2023     0.5   Call regarding Plan recovery analysis with B. Baker, K. Flinn, S.
                                            Saferstein, N. Velivela (PWP), S. Coverick, K. Ramanathan, C.
                                            Sullivan, and H. Trent (A&M)



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Sullivan, Christopher   7/19/2023     0.3   Review updates to brokerage investments

Tenney, Bridger         7/19/2023     0.9   Revise separate subsidiaries recovery analysis summary slides per
                                            comments from leadership
Tenney, Bridger         7/19/2023     1.7   Create summary table listing operations for each Japan subsidiary

Tenney, Bridger         7/19/2023     2.3   Prepare descriptions of operations and licensing for Japan separate
                                            subsidiaries
Tenney, Bridger         7/19/2023     2.5   Revise separate subsidiaries recovery analysis deck per comments
                                            from leadership
Tenney, Bridger         7/19/2023     1.7   Prepare summary table of updated claims estimates relating to
                                            executory contracts
Tenney, Bridger         7/19/2023     2.3   Add PEO designation and sanitize sensitive information to be shared
                                            externally
Trent, Hudson           7/19/2023     0.5   Call regarding Plan recovery analysis with B. Baker, K. Flinn, S.
                                            Saferstein, N. Velivela (PWP), S. Coverick, K. Ramanathan, C.
                                            Sullivan, and H. Trent (A&M)
Trent, Hudson           7/19/2023     2.4   Prepare analysis of Plan recovery changes based on latest
                                            assumptions
Trent, Hudson           7/19/2023     2.2   Prepare Plan recovery analysis input related to separate subsidiaries
                                            analysis
Trent, Hudson           7/19/2023     0.9   Discuss cash Plan inputs with S. Witherspoon and H. Trent (A&M)

Trent, Hudson           7/19/2023     2.2   Prepare summary file of inputs included in initial Plan recovery
                                            discussion materials
Trent, Hudson           7/19/2023     0.6   Working session with D. Slay, H. Trent (A&M) re: Discuss data
                                            request for support model refresh
Witherspoon, Samuel     7/19/2023     0.9   Discuss cash Plan inputs with S. Witherspoon and H. Trent (A&M)

Cooper, James           7/20/2023     0.5   Call with J. Ray (FTX), E. Mosley, J. Cooper, S. Coverick (A&M) re:
                                            recovery progress analysis
Coverick, Steve         7/20/2023     0.5   Call with J. Ray (FTX), E. Mosley, J. Cooper, S. Coverick (A&M) re:
                                            recovery progress analysis
Coverick, Steve         7/20/2023     0.7   Discussion with E. Mosley (A&M) regarding plan and coin
                                            management
Gonzalez, Johnny        7/20/2023     1.9   Develop a summary table for the updated customer entitlement
                                            claims
Gonzalez, Johnny        7/20/2023     2.8   Working session with D. Slay & J. Gonzalez (A&M) on the
                                            development of the updated customer entitlement claims
Gonzalez, Johnny        7/20/2023     2.7   Develop the SubCon model for the various claims scenarios

Mosley, Ed              7/20/2023     0.5   Call with J. Ray (FTX), E. Mosley, J. Cooper, S. Coverick (A&M) re:
                                            recovery progress analysis
Mosley, Ed              7/20/2023     0.7   Discussion with S.Coverick (A&M) regarding plan and coin
                                            management


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Slay, David             7/20/2023     1.2   Reformat Balance sheet output by Pool and recovery pool

Slay, David             7/20/2023     1.6   Develop supporting model global checks page for summary tables in
                                            distributed plan materials
Slay, David             7/20/2023     1.1   Develop comparison against prior Balance sheets to recently update
                                            balance sheets
Slay, David             7/20/2023     2.1   Develop supporting model global checks page for supporting tabs

Slay, David             7/20/2023     2.8   Working session with D. Slay & J. Gonzalez (A&M) on the
                                            development of the updated customer entitlement claims
Slay, David             7/20/2023     1.2   Working session with D. Slay, H. Trent (A&M) re: Review and
                                            update master support model with latest petition date data
Slay, David             7/20/2023     0.4   Working session with D. Slay, H. Trent (A&M) re: Review PP&E &
                                            Non-Debtor Subs support model updates
Sullivan, Christopher   7/20/2023     0.4   Review reconciliation for Bahamas properties value

Sullivan, Christopher   7/20/2023     1.3   Provide comments to latest crypto bridge as of 7/7


Sullivan, Christopher   7/20/2023     0.7   Review updated reconciliation for separate subsidiary customer
                                            entitlements
Sullivan, Christopher   7/20/2023     0.9   Provide comment to revised wind-down for FTX Japan

Sullivan, Christopher   7/20/2023     1.1   Incorporate revised recovery ranges for funded investments


Sullivan, Christopher   7/20/2023     1.1   Review model scenario updates for the AHG term sheet

Sullivan, Christopher   7/20/2023     0.6   Working session with C. Sullivan & G. Walia (A&M) to discuss
                                            revised customer entitlement estimates
Sullivan, Christopher   7/20/2023     0.8   Review reconciled variances with in the venture book

Sullivan, Christopher   7/20/2023     1.2   Review updated analysis for ledger prime wind down


Sullivan, Christopher   7/20/2023     1.1   Provide comment to revised wind-down for Quoine

Sullivan, Christopher   7/20/2023     0.4   Review petition date reconciliation for WRS PP&E

Tenney, Bridger         7/20/2023     2.9   Prepare intercompany breakout for each separate subsidiary


Tenney, Bridger         7/20/2023     3.1   Prepare separate subsidiary midpoint recovery analysis

Tenney, Bridger         7/20/2023     0.4   Build intercompany toggle in separate subsidiary model


Tenney, Bridger         7/20/2023     1.0   Prepare table of separate subsidiaries general unsecured claims
                                            balances




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Disclosure Statement and Plan
Professional               Date     Hours     Activity
Tenney, Bridger         7/20/2023     2.6   Update separate subsidiaries recovery analysis deck per comments
                                            from A&M Europe team
Trent, Hudson           7/20/2023     2.6   Provide feedback on latest separate subsidiaries materials and
                                            model
Trent, Hudson           7/20/2023     1.6   Prepare summary of questions related to latest Dotcom Petition
                                            Date balance sheet reconciliation
Trent, Hudson           7/20/2023     2.2   Incorporate latest intercompany matrices and link in Liquidation
                                            Analysis
Trent, Hudson           7/20/2023     1.6   Review analysis of potential recoveries of various investment assets
                                            for incorporation into Plan recovery analysis
Trent, Hudson           7/20/2023     1.2   Working session with D. Slay, H. Trent (A&M) re: Review and
                                            update master support model with latest petition date data
Trent, Hudson           7/20/2023     0.4   Working session with D. Slay, H. Trent (A&M) re: Review PP&E &
                                            Non-Debtor Subs support model updates
Trent, Hudson           7/20/2023     1.1   Prepare dataroom to be shared with Ad Hoc Committee
                                            professionals
Witherspoon, Samuel     7/20/2023     0.9   Refresh long term cash flow inputs as of June 30th to assist with the
                                            plan model
Witherspoon, Samuel     7/20/2023     0.3   Update custodial cash treatment for cash inputs to plan / best
                                            interest test model
Coverick, Steve         7/21/2023     1.3   Review and provide comments on revised separate subsidiary
                                            recovery analysis
Coverick, Steve         7/21/2023     1.4   Review and provide comments on updated asset recovery analysis
                                            for refreshed plan analysis
Gonzalez, Johnny        7/21/2023     2.9   Develop the plan analysis output waterfalls to include revised
                                            treatment for separate subsidiaries
Gonzalez, Johnny        7/21/2023     1.2   Modify the summary table for the updated customer entitlement
                                            claims
Gonzalez, Johnny        7/21/2023     0.6   Call with D. Slay, J. Gonzalez, & H. Trent (A&M) to modify the plan
                                            support model for review
Gonzalez, Johnny        7/21/2023     1.8   Develop the plan analysis output waterfalls to include revised
                                            treatment for separate subsidiaries in the UCC scenarios
Gonzalez, Johnny        7/21/2023     0.7   Draft comprehensive plan recovery analysis email to project
                                            leadership with key updates
Gonzalez, Johnny        7/21/2023     1.3   Working session with D. Slay & J. Gonzalez (A&M) re: development
                                            of non-debtor investments bridge
Gonzalez, Johnny        7/21/2023     1.3   Update the model treatment for the UCC Plan scenario


Gonzalez, Johnny        7/21/2023     1.2   Call with D. Slay, B. Tenney, J. Gonzalez, H. Trent & C. Sullivan
                                            (A&M) to review the latest data incorporated into the plan support
                                            model
Gonzalez, Johnny        7/21/2023     1.4   Working session with D. Slay & J. Gonzalez (A&M) re: review latest
                                            customer entitlements data against filed statements & schedules
Slay, David             7/21/2023     1.6   Develop non-debtor sub bridge from prior Trial balance to latest
                                            petition date balance sheet


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Slay, David             7/21/2023     0.6   Call with D. Slay, J. Gonzalez, & H. Trent (A&M) to modify the plan
                                            support model for review
Slay, David             7/21/2023     1.4   Working session with D. Slay & J. Gonzalez (A&M) re: review latest
                                            customer entitlements data against filed statements & schedules
Slay, David             7/21/2023     1.3   Working session with D. Slay & J. Gonzalez (A&M) re: development
                                            of non-debtor investments bridge
Slay, David             7/21/2023     1.2   Call with D. Slay, B. Tenney, J. Gonzalez, H. Trent & C. Sullivan
                                            (A&M) to review the latest data incorporated into the plan support
                                            model
Slay, David             7/21/2023     2.3   Develop token receivable bridge from ventures team to latest
                                            petition date balance sheet
Sullivan, Christopher   7/21/2023     0.8   Review updated crypto inputs overlay

Sullivan, Christopher   7/21/2023     1.1   Provide comments to the latest draft of the separate subsidiaries
                                            analysis
Sullivan, Christopher   7/21/2023     1.2   Call with D. Slay, B. Tenney, J. Gonzalez, H. Trent & C. Sullivan
                                            (A&M) to review the latest data incorporated into the plan support
                                            model
Sullivan, Christopher   7/21/2023     0.6   Call with D. Slay, J. Gonzalez, & H. Trent (A&M) to modify the plan
                                            support model for review
Sullivan, Christopher   7/21/2023     0.7   Working session with C. Sullivan & H. Trent (A&M) to map in the
                                            latest customer entitlements estimates into the Plan model
Sullivan, Christopher   7/21/2023     1.2   Provide detailed comments to the Plan recovery support variance
                                            analysis
Sullivan, Christopher   7/21/2023     1.6   Provide detailed comments to proforma asset updates for latest plan
                                            materials
Sullivan, Christopher   7/21/2023     0.7   Provide comments to customer entitlement bridge for FTX Japan


Tenney, Bridger         7/21/2023     1.2   Call with D. Slay, B. Tenney, J. Gonzalez, H. Trent & C. Sullivan
                                            (A&M) to review the latest data incorporated into the plan support
                                            model
Tenney, Bridger         7/21/2023     0.4   Compare separate subsidiary local recovery estimates with current
                                            separate subsidiary model analysis
Tenney, Bridger         7/21/2023     2.2   Continue build of intercompany toggle in separate subsidiary
                                            recovery waterfalls
Tenney, Bridger         7/21/2023     2.5   Prepare claims shortfall analysis for each separate subsidiary

Tenney, Bridger         7/21/2023     2.2   Update customer entitlement figures for FTX Japan entities


Tenney, Bridger         7/21/2023     2.6   Update monthly run rate calculations for LedgerPrime entities

Trent, Hudson           7/21/2023     1.3   Review venture investment schedule prior to incorporation into Plan
                                            recovery analysis inputs
Trent, Hudson           7/21/2023     0.7   Working session with C. Sullivan & H. Trent (A&M) to map in the
                                            latest customer entitlements estimates into the Plan model



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Trent, Hudson           7/21/2023     0.8   Review separate subsidiary analysis for specific entities

Trent, Hudson           7/21/2023     1.2   Provide feedback on latest Plan support model inputs


Trent, Hudson           7/21/2023     2.6   Prepare updated Plan recovery analysis inputs for refreshed digital
                                            asset values
Trent, Hudson           7/21/2023     2.9   Prepare refreshed intercompany sensitivity analysis between
                                            separate subsidiaries
Trent, Hudson           7/21/2023     0.9   Incorporate latest separate subsidiary analysis into consolidation
                                            model
Trent, Hudson           7/21/2023     0.3   Call with H. Trent, S. Witherspoon (A&M) re: June cash flow
                                            reconciliation and refresh
Trent, Hudson           7/21/2023     0.6   Call with D. Slay, J. Gonzalez, & H. Trent (A&M) to modify the plan
                                            support model for review
Trent, Hudson           7/21/2023     1.2   Call with D. Slay, B. Tenney, J. Gonzalez, H. Trent & C. Sullivan
                                            (A&M) to review the latest data incorporated into the plan support
                                            model
Witherspoon, Samuel     7/21/2023     0.3   Call with H. Trent, S. Witherspoon (A&M) re: June cash flow
                                            reconciliation and refresh
Trent, Hudson           7/22/2023     1.4   Incorporate feedback into latest separate subsidiaries analysis and
                                            materials
Sullivan, Christopher   7/23/2023     0.4   Review latest cash bridge for updated Plan materials

Trent, Hudson           7/23/2023     1.8   Prepare updated summary of Plan inputs related to digital assets for
                                            internal A&M review
Trent, Hudson           7/23/2023     1.4   Prepare updated set of bridging items related to refreshed asset
                                            values in Plan recovery analysis
Trent, Hudson           7/23/2023     1.8   Prepare consolidated output analysis for separate subsidiary
                                            waterfalls
Coverick, Steve         7/24/2023     0.5   Discuss plan model update status with J. Gonzalez (A&M)


Coverick, Steve         7/24/2023     0.6   Working Session w/ S. Coverick and C. Sullivan (A&M) re: Separate
                                            Subsidiary presentation review
Gonzalez, Johnny        7/24/2023     0.5   Discuss plan model update status with S. Coverick (A&M)


Gonzalez, Johnny        7/24/2023     0.6   Working Session w/ H. Trent, B. Tenney, J. Gonzalez, & D. Slay
                                            (A&M) re: Separate Subsidiary presentation review
Gonzalez, Johnny        7/24/2023     3.1   Modify the model mechanics for the separate subsidiary roll up in
                                            the plan model
Slay, David             7/24/2023     0.6   Working Session w/ H. Trent, B. Tenney, J. Gonzalez, & D. Slay
                                            (A&M) re: Separate Subsidiary presentation review
Slay, David             7/24/2023     2.9   Update supporting model with latest separate subs data and
                                            allocation
Slay, David             7/24/2023     1.9   Update non-debtor subsidiary bridge based on comments from H.
                                            Trent (A&M)


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Sullivan, Christopher   7/24/2023     1.3   Create reconciliation of assets by pool for Plan materials

Sullivan, Christopher   7/24/2023     1.1   Provide detailed comments for updated wind-down analysis of Japan
                                            and Singapore
Sullivan, Christopher   7/24/2023     0.6   Review updated separate subs asset variance analysis provided by
                                            the Japan team
Sullivan, Christopher   7/24/2023     0.9   Detail review updated assumptions for separate subsidiary wind-
                                            downs
Sullivan, Christopher   7/24/2023     0.6   Working Session w/ S. Coverick and C. Sullivan (A&M) re: Separate
                                            Subsidiary presentation review
Sullivan, Christopher   7/24/2023     0.6   Review revisions to assumptions for LedgerPrime wind-down

Tenney, Bridger         7/24/2023     2.7   Consolidate waterfall analyses into one singular model


Tenney, Bridger         7/24/2023     1.2   Build recovery percentage analysis into each separate subsidiary
                                            waterfall
Tenney, Bridger         7/24/2023     1.2   Edit waterfall base assumptions for separate subsidiaries


Tenney, Bridger         7/24/2023     1.4   Prepare subsidiary waterfalls for consolidation into updated model

Tenney, Bridger         7/24/2023     0.8   Summarize claim shortfalls in separate subsidiary summary deck

Tenney, Bridger         7/24/2023     0.6   Working Session w/ H. Trent, B. Tenney, J. Gonzalez, & D. Slay
                                            (A&M) re: Separate Subsidiary presentation review
Tenney, Bridger         7/24/2023     2.9   Build consolidated model for each waterfall in separate subsidiary
                                            analysis
Trent, Hudson           7/24/2023     1.9   Prepare updated analyses for separate subsidiaries materials based
                                            on internal A&M feedback
Trent, Hudson           7/24/2023     2.6   Update separate subsidiaries analysis following updated feedback
                                            on various foreign asset balances
Trent, Hudson           7/24/2023     1.9   Provide feedback on non-debtor subsidiary bridge


Trent, Hudson           7/24/2023     2.4   Prepare overview of refreshed analyses related to digital assets
                                            included in Plan recovery analysis
Trent, Hudson           7/24/2023     0.6   Working Session w/ H. Trent, B. Tenney, J. Gonzalez, & D. Slay
                                            (A&M) re: Separate Subsidiary presentation review
Trent, Hudson           7/24/2023     2.2   Review claims register prior to incorporation into Plan recovery
                                            analysis
Coverick, Steve         7/25/2023     1.9   Review and provide comments on AHG term sheet comparison
                                            analysis
Coverick, Steve         7/25/2023     2.3   Review and provide comments on revised draft of plan model with
                                            UCC / AHG scenarios
Coverick, Steve         7/25/2023     0.3   Call with C. Sullivan and H. Trent (A&M) to discuss AHG term sheet
                                            analysis




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Professional               Date     Hours     Activity
Gonzalez, Johnny        7/25/2023     3.1   Continue development of the Ad Hoc plan model scenario based on
                                            the Ad Hoc term sheet
Gonzalez, Johnny        7/25/2023     0.8   Call with C. Sullivan & J. Gonzalez (A&M) re: review of the claims
                                            register comparison
Gonzalez, Johnny        7/25/2023     3.2   Develop the Ad Hoc plan model scenario based on the Ad Hoc term
                                            sheet
Johnston, David         7/25/2023     1.2   Review and update plan analysis for Rest of World entities

Johnston, David         7/25/2023     2.1   Review and update plan analysis for FTX Europe AG and
                                            subsidiaries
Mosley, Ed              7/25/2023     0.9   Review of Ad Hoc mark-up of debtors proposed draft plan

Mosley, Ed              7/25/2023     0.3   Discuss plan comparisons of Ad Hoc / UCC vs debtor plans with
                                            C.Sullivan (A&M)
Slay, David             7/25/2023     1.7   Develop and comment on the petition date variance analysis

Slay, David             7/25/2023     2.4   Update support model with latest petition date balance sheet based
                                            on C. Sullivan (A&M) comments
Slay, David             7/25/2023     1.3   Update summary tables in the latest plan comparison deck with
                                            macabacus
Slay, David             7/25/2023     0.9   Develop checks for all summary tables based on Waterfall Plan
                                            inputs
Slay, David             7/25/2023     1.1   Review petition date variance analysis and ensure accounts have
                                            been tagged correctly
Slay, David             7/25/2023     2.3   Review and update venture investments comparison from trial
                                            balance to latest petition date balance sheet
Slay, David             7/25/2023     1.9   Review and update token receivables reconciliation from trial
                                            balance to latest petition date balance sheet
Slay, David             7/25/2023     0.9   Review and update digital assets reconciliation from workstream
                                            data to latest petition date balance sheet
Sullivan, Christopher   7/25/2023     0.3   Working session with E. Mosely & C. Sullivan (A&M) to discuss UCC
                                            & AHC proposed Plan term sheets and other Plan related
                                            workstreams
Sullivan, Christopher   7/25/2023     2.1   Provide comments to detailed legal entity view of separate
                                            subsidiary wind-down analyses
Sullivan, Christopher   7/25/2023     1.4   Review detail petition date reconciliation analysis

Sullivan, Christopher   7/25/2023     1.8   Review debtor to AHG Plan comparison


Sullivan, Christopher   7/25/2023     1.3   Review and compare AHC proposed Plan

Sullivan, Christopher   7/25/2023     0.9   Provide comments to AHC vs. Debtor Plan comparison

Sullivan, Christopher   7/25/2023     0.9   Prepare for and attended working session with the PWP team to
                                            discuss asset recoveries for the venture book


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Sullivan, Christopher   7/25/2023     0.4   Draft additional responses to UCC diligence questions

Sullivan, Christopher   7/25/2023     1.1   Create template for updated Plan variance analysis


Sullivan, Christopher   7/25/2023     0.3   Call with C. Sullivan, S. Coverick and H. Trent (A&M) to discuss
                                            AHG term sheet analysis
Sullivan, Christopher   7/25/2023     1.7   Review detailed bridge analysis for reconciliation of proforma asset
                                            balances
Sullivan, Christopher   7/25/2023     0.3   Call regarding separate subsidiaries analysis with M. van den Belt,
                                            C. Sullivan, G. Walia, B. Tenney, and H. Trent (A&M)
Sullivan, Christopher   7/25/2023     0.8   Call with C. Sullivan & J. Gonzalez (A&M) re: review of the claims
                                            register comparison
Tenney, Bridger         7/25/2023     1.7   Build summary slides detailing every local process for each separate
                                            subsidiary
Tenney, Bridger         7/25/2023     0.3   Call regarding separate subsidiaries analysis with M. van den Belt,
                                            C. Sullivan, G. Walia, B. Tenney, and H. Trent (A&M)
Tenney, Bridger         7/25/2023     0.4   Coordinate with internal A&M teams re: Quoine entity sep sub
                                            analysis
Tenney, Bridger         7/25/2023     2.3   Link all consolidated sep subs waterfalls into recovery analysis
                                            presentation
Tenney, Bridger         7/25/2023     1.4   Prepare follow-up correspondence regarding edits to sep subs
                                            recovery analysis
Tenney, Bridger         7/25/2023     2.6   Update separate subsidiaries recovery analysis per comments from
                                            Europe advisors
Tenney, Bridger         7/25/2023     1.4   Update Vietnam entity operations description

Trent, Hudson           7/25/2023     1.3   Review updated venture investments ledger to be included in Plan
                                            recovery analysis
Trent, Hudson           7/25/2023     1.7   Prepare outline of Ad Hoc Committee term sheet proposal

Trent, Hudson           7/25/2023     2.1   Prepare comparison of Ad Hoc Committee and Debtors' Plan term
                                            sheet
Trent, Hudson           7/25/2023     1.6   Incorporate updated separate subsidiary digital asset balances into
                                            Plan recovery analysis
Trent, Hudson           7/25/2023     2.6   Incorporate feedback from various A&M teams into separate
                                            subsidiaries materials
Trent, Hudson           7/25/2023     0.3   Call with C. Sullivan and H. Trent (A&M) to discuss AHG term sheet
                                            analysis
Trent, Hudson           7/25/2023     0.3   Call regarding separate subsidiaries analysis with M. van den Belt,
                                            C. Sullivan, G. Walia, B. Tenney, and H. Trent (A&M)
Trent, Hudson           7/25/2023     2.9   Update Plan recovery analysis inputs based on detailed review of
                                            refreshed figures
van den Belt, Mark      7/25/2023     0.9   Prepare updated analysis of Quoine balance for purposes of
                                            separate subsidiary analysis




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van den Belt, Mark     7/25/2023     0.3   Prepare correspondence on FTX Europe entities strategic options
                                           processes
van den Belt, Mark     7/25/2023     0.3   Call regarding separate subsidiaries analysis with M. van den Belt,
                                           C. Sullivan, G. Walia, B. Tenney, and H. Trent (A&M)
Coverick, Steve        7/26/2023     0.4   Call with C. Sullivan (A&M) to discuss claims adjustments to plan
                                           model
Coverick, Steve        7/26/2023     2.9   Review and provide comments on debtor plan recovery analysis vs
                                           UCC and AHG recovery analysis
Coverick, Steve        7/26/2023     1.1   Call with E. Mosley, S. Coverick (A&M), A. Dietderich, B.
                                           Glueckstein (S&C), J. Ray (FTX) re: plan negotiations with UCC
Coverick, Steve        7/26/2023     0.2   Call with E. Mosley (A&M) to discuss plan term sheet comparison
                                           deck
Gonzalez, Johnny       7/26/2023     1.8   Call with H. Trent, C. Sullivan & J. Gonzalez (A&M) re: model
                                           development of the Ad Hoc group plan scenario
Gonzalez, Johnny       7/26/2023     1.4   Working session with D. Slay & J. Gonzalez (A&M) re: updates to
                                           the Petition Date assets
Gonzalez, Johnny       7/26/2023     2.3   Prepare a recovery comparison for the Debtors' Plan and the UCC
                                           Plan
Gonzalez, Johnny       7/26/2023     2.9   Prepare a recovery comparison for the Debtors' Plan and the Ad
                                           Hoc group Plan
Gonzalez, Johnny       7/26/2023     1.2   Model the incorporation of the Superpriority cash to the Ad Hoc
                                           scenario
Gonzalez, Johnny       7/26/2023     0.7   Prepare a variance overlay between the Plan model scenario to the
                                           UCC model scenario
Gonzalez, Johnny       7/26/2023     0.8   Prepare a variance overlay between the Plan model scenario to the
                                           Ad Hoc group model scenario
Gonzalez, Johnny       7/26/2023     2.2   Model the incorporation of the post-petition intercompany cash to the
                                           Ad Hoc scenario
Gonzalez, Johnny       7/26/2023     1.7   Call with C. Sullivan & J. Gonzalez (A&M) re: development of the Ad
                                           Hoc group plan scenario
Gonzalez, Johnny       7/26/2023     2.1   Call with B. Tenney, D. Slay, & J. Gonzalez (A&M) re: development
                                           of bridges for the plan presentation changes
Johnston, David        7/26/2023     1.8   Review latest separate subsidiary plan materials and provide
                                           comments
Mosley, Ed             7/26/2023     1.4   Review of UCC markup of plan term sheet

Mosley, Ed             7/26/2023     0.7   Review of and provide comments to draft updated FTX Japan
                                           presentation for management regarding relevence to FTX 2.0
Mosley, Ed             7/26/2023     1.3   Review of and provide comments to draft plan comparison for
                                           management of various Ad Hoc / UCC / Debtor plan proposals
Mosley, Ed             7/26/2023     1.1   Discuss plan strategy with J.Ray (FTX), S&C (A.Dietderich,
                                           B.Glueckstein), and A&M (S.Coverick, E.Mosley)
Mosley, Ed             7/26/2023     0.2   Call with S.Coverick (A&M) to discuss plan term sheet comparison
                                           deck




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Slay, David             7/26/2023     1.3   Reconcile Ventures Petition date balances with latest consolidated
                                            balance sheets
Slay, David             7/26/2023     2.1   Call with B. Tenney, D. Slay, & J. Gonzalez (A&M) re: development
                                            of bridges for the plan presentation changes
Slay, David             7/26/2023     2.2   Review and update latest plan materials summary tables and
                                            commentary for latest data
Slay, David             7/26/2023     1.4   Working session with D. Slay & J. Gonzalez (A&M) re: updates to
                                            the Petition Date assets
Slay, David             7/26/2023     2.8   Working session w/ B. Tenney & D. Slay (A&M) re: Develop pro
                                            forma asset bridge templates in latest for latest plan materials to
                                            prior version
Slay, David             7/26/2023     2.4   Working session w/ B. Tenney & D. Slay (A&M) re: Develop petition
                                            date asset bridge templates in latest for latest plan materials to prior
                                            version
Sullivan, Christopher   7/26/2023     0.8   Review updated IC analysis for separate subsidiaries

Sullivan, Christopher   7/26/2023     1.7   Call with C. Sullivan & J. Gonzalez (A&M) re: development of the Ad
                                            Hoc group plan scenario
Sullivan, Christopher   7/26/2023     1.8   Call with H. Trent, C. Sullivan & J. Gonzalez (A&M) re: model
                                            development of the Ad Hoc group plan scenario
Sullivan, Christopher   7/26/2023     2.1   Create template for revised Plan deck


Sullivan, Christopher   7/26/2023     0.9   Review and provide comments on the latest recovery model

Sullivan, Christopher   7/26/2023     0.7   Review updated commentary from the EU team on wind-down
                                            assumptions
Sullivan, Christopher   7/26/2023     0.4   Call with S. Coverick (A&M) to discuss claims adjustments to plan
                                            model
Sullivan, Christopher   7/26/2023     0.9   Review updates to the Plan model for AHG scenario

Sullivan, Christopher   7/26/2023     0.9   Review updates to the Plan term sheet comparison analysis


Sullivan, Christopher   7/26/2023     0.3   Update non-debtor sub schedule for LedgerX sale

Sullivan, Christopher   7/26/2023     1.4   Review comments from S. Coverick (A&M) for various term sheet
                                            reconciliations
Sullivan, Christopher   7/26/2023     0.6   Provide detailed comments to structure of the Plan scenario
                                            comparison
Tenney, Bridger         7/26/2023     1.4   Build asset bridges for token receivable A and B to compare with
                                            previous plan materials
Tenney, Bridger         7/26/2023     1.4   Prepare asset bridges to compare petition date and pro forma
                                            balances in the plan materials
Tenney, Bridger         7/26/2023     1.2   Recategorize digital assets for intercompany balances

Tenney, Bridger         7/26/2023     0.3   Update Vietnam entity recovery analysis with new assumptions



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Professional             Date     Hours     Activity
Tenney, Bridger       7/26/2023     2.4   Working session w/ B. Tenney & D. Slay (A&M) re: Develop petition
                                          date asset bridge templates in latest for latest plan materials to prior
                                          version
Tenney, Bridger       7/26/2023     2.8   Working session w/ B. Tenney & D. Slay (A&M) re: Develop pro
                                          forma asset bridge templates in latest for latest plan materials to
                                          prior version
Tenney, Bridger       7/26/2023     0.3   Build Quoine Sep Subs summary analysis


Tenney, Bridger       7/26/2023     1.6   Build bridge graphic between previous plan non-debtor subsidiaries
                                          balances to current figures
Tenney, Bridger       7/26/2023     2.1   Call with B. Tenney, D. Slay, & J. Gonzalez (A&M) re: development
                                          of bridges for the plan presentation changes
Tenney, Bridger       7/26/2023     0.9   Build bridge graphic between previous plan loans receivables
                                          balances to current figures
Trent, Hudson         7/26/2023     2.2   Conduct detailed review of Plan recovery model inputs

Trent, Hudson         7/26/2023     0.8   Incorporate analysis of Ad Hoc Committee Plan scenario versus
                                          Debtors' Plan into comparison materials
Trent, Hudson         7/26/2023     1.6   Prepare analysis of Ad Hoc Committee Plan scenario versus
                                          Debtors' Plan
Trent, Hudson         7/26/2023     1.7   Prepare outline of preference analysis tear sheet and executive
                                          summary
Trent, Hudson         7/26/2023     2.9   Prepare reconciliation of ventures and crypto tokens receivable
                                          databases
Trent, Hudson         7/26/2023     0.9   Prepare updated loans receivable analysis to be incorporated into
                                          Plan recovery support model
Trent, Hudson         7/26/2023     2.2   Prepare updated UCC Plan term sheet comparison based on latest
                                          redline
Trent, Hudson         7/26/2023     1.8   Review updated digital asset inputs prior to incorporating into Plan
                                          recovery support model
Trent, Hudson         7/26/2023     1.8   Call with H. Trent, C. Sullivan & J. Gonzalez (A&M) re: model
                                          development of the Ad Hoc group plan scenario
Trent, Hudson         7/26/2023     0.9   Incorporate updated operating expenses analysis into Plan recovery
                                          support model
van den Belt, Mark    7/26/2023     1.4   Review updated presentation on separate subsidiary analysis


Witherspoon, Samuel   7/26/2023     0.7   Reconcile cash plan inputs as of June 30th cash actuals

Coverick, Steve       7/27/2023     0.5   Discuss cash account database documentation with B.Glueckstein
                                          (S&C) and E. Mosley (A&M)
Coverick, Steve       7/27/2023     0.7   Call with J. Ray (FTX), E. Mosley, S. Coverick (A&M) re: Australia
                                          plan term sheet
Coverick, Steve       7/27/2023     1.3   Review and provide comments on draft chapter 11 plan for UCC

Coverick, Steve       7/27/2023     1.1   Review and provide comments on latest draft of plan term sheet
                                          recovery comparison analysis

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Coverick, Steve         7/27/2023     1.2   Review and provide comments on venture asset recovery analysis

Gonzalez, Johnny        7/27/2023     2.3   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent & C.
                                            Sullivan (A&M) review and update plan inputs for latest Claims
                                            register data
Gonzalez, Johnny        7/27/2023     1.9   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, & H. Trent
                                            (A&M) review and update plan recovery comparison deck prior to
                                            distribution
Gonzalez, Johnny        7/27/2023     1.7   Develop a toggle for the incorporation of the separate subsidiary
                                            waterfall recoveries
Gonzalez, Johnny        7/27/2023     0.5   Call with C. Sullivan & J. Gonzalez (A&M) re: modifications to the
                                            Superpriority cash in Ad Hoc group plan scenario
Gonzalez, Johnny        7/27/2023     2.8   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent
                                            (A&M) incorporate latest changes to the Plan presentation for case
                                            leads review
Gonzalez, Johnny        7/27/2023     1.8   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent & C.
                                            Sullivan (A&M) review and update model mechanics for latest plan
                                            term sheet
Gonzalez, Johnny        7/27/2023     1.1   Incorporate the latest model changes to the Ad Hoc group
                                            Superpriority cash
Gonzalez, Johnny        7/27/2023     1.9   Update the Ad Hoc scenario for the separate subsidiary residual
                                            value incorporation
Gonzalez, Johnny        7/27/2023     0.8   Update the commentary for the claims comparison variances
                                            summary
Gonzalez, Johnny        7/27/2023     2.1   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent & C.
                                            Sullivan (A&M) review and update FTX recovery comparison deck
Gonzalez, Johnny        7/27/2023     2.7   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, & H. Trent
                                            (A&M) review and update plan recovery comparison model for latest
                                            adjustments
Johnston, David         7/27/2023     0.4   Call with D. Johnston, M. van den Belt, C. Sullivan, D. Sagen, H.
                                            Trent (A&M) re: separate subsidiary recovery analysis
Mosley, Ed              7/27/2023     0.5   Call with S.Coverick (A&M) to discuss plan recovery deck for board


Mosley, Ed              7/27/2023     2.2   Review of draft plan of reorganization

Mosley, Ed              7/27/2023     0.7   Discuss avoidance actions and plan consideration with J.Ray (FTX)
                                            and A&M (E.Mosley, S.Coverick)
Ramanathan, Kumanan     7/27/2023     1.4   Review plan of reorganization term sheet and provide feedback to
                                            S&C
Sagen, Daniel           7/27/2023     1.1   Working session with D. Sagen & H. Trent (A&M) to review digital
                                            asset calculations for Plan recovery materials
Sagen, Daniel           7/27/2023     0.4   Call with D. Johnston, M. van den Belt, C. Sullivan, D. Sagen, H.
                                            Trent (A&M) re: separate subsidiary recovery analysis
Slay, David             7/27/2023     2.7   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, & H. Trent
                                            (A&M) review and update plan recovery comparison model for latest
                                            adjustments



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Slay, David             7/27/2023     2.2   Working session with D. Slay and B. Tenney (A&M) re: update asset
                                            comparison bridges from 6/20 analysis to 7/28 analysis for latest
                                            cash adjustments
Slay, David             7/27/2023     2.8   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent
                                            (A&M) incorporate latest changes to the Plan presentation for case
                                            leads review
Slay, David             7/27/2023     2.3   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent & C.
                                            Sullivan (A&M) review and update plan inputs for latest Claims
                                            register data
Slay, David             7/27/2023     2.1   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent & C.
                                            Sullivan (A&M) review and update FTX recovery comparison deck
Slay, David             7/27/2023     1.9   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, & H. Trent
                                            (A&M) review and update plan recovery comparison deck prior to
                                            distribution
Slay, David             7/27/2023     0.8   Develop variance summary for Petition Date ventures balances to
                                            consolidated balance sheet
Slay, David             7/27/2023     0.7   Update support model for latest claims reporter data


Slay, David             7/27/2023     1.7   Review and update claims variance model for current claims to
                                            claims reporter
Slay, David             7/27/2023     1.8   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent & C.
                                            Sullivan (A&M) review and update model mechanics for latest plan
                                            term sheet
Sullivan, Christopher   7/27/2023     0.5   Call with C. Sullivan & J. Gonzalez (A&M) re: modifications to the
                                            Superpriority cash in Ad Hoc group plan scenario
Sullivan, Christopher   7/27/2023     2.1   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent & C.
                                            Sullivan (A&M) review and update FTX recovery comparison deck
Sullivan, Christopher   7/27/2023     0.3   Review model refreshed for FBO treatment


Sullivan, Christopher   7/27/2023     0.1   Review daily docket tracker for 7/27

Sullivan, Christopher   7/27/2023     0.9   Review crypto tracing updates for the Plan model


Sullivan, Christopher   7/27/2023     1.3   Review crypto tracing updates for separate subs

Sullivan, Christopher   7/27/2023     1.2   Research claims variances to previously shared Plan materials

Sullivan, Christopher   7/27/2023     2.4   Provide detailed comments to the Plan refresh materials


Sullivan, Christopher   7/27/2023     1.4   Detail review the draft memo of advice for the AUS administrators

Sullivan, Christopher   7/27/2023     0.7   Create template for claims waterfall bridge


Sullivan, Christopher   7/27/2023     0.4   Call with D. Johnston, M. van den Belt, C. Sullivan, D. Sagen, H.
                                            Trent (A&M) re: separate subsidiary recovery analysis




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Sullivan, Christopher   7/27/2023     1.8   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent & C.
                                            Sullivan (A&M) review and update model mechanics for latest plan
                                            term sheet
Sullivan, Christopher   7/27/2023     0.8   Create template for asset waterfall bridge

Tenney, Bridger         7/27/2023     1.9   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, & H. Trent
                                            (A&M) review and update plan recovery comparison deck prior to
                                            distribution
Tenney, Bridger         7/27/2023     2.7   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, & H. Trent
                                            (A&M) review and update plan recovery comparison model for latest
                                            adjustments
Tenney, Bridger         7/27/2023     2.1   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent & C.
                                            Sullivan (A&M) review and update FTX recovery comparison deck
Tenney, Bridger         7/27/2023     1.8   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent & C.
                                            Sullivan (A&M) review and update model mechanics for latest plan
                                            term sheet
Tenney, Bridger         7/27/2023     2.3   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent & C.
                                            Sullivan (A&M) review and update plan inputs for latest Claims
                                            register data
Tenney, Bridger         7/27/2023     3.1   Review and update pro forma asset bridges to current plan materials
                                            as of 7/27
Tenney, Bridger         7/27/2023     2.8   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent
                                            (A&M) incorporate latest changes to the Plan presentation for case
                                            leads review
Tenney, Bridger         7/27/2023     2.2   Working session with D. Slay and B. Tenney (A&M) re: update asset
                                            comparison bridges from 6/20 analysis to 7/28 analysis for latest
                                            cash adjustments
Trent, Hudson           7/27/2023     1.8   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent & C.
                                            Sullivan (A&M) review and update model mechanics for latest plan
                                            term sheet
Trent, Hudson           7/27/2023     0.4   Discuss cash inputs for the plan and best interest test with H. Trent,
                                            S. Witherspoon (A&M)
Trent, Hudson           7/27/2023     1.4   Incorporate feedback from various A&M teams regarding various
                                            foreign entities in separate subsidiaries materials
Trent, Hudson           7/27/2023     0.4   Prepare summary of outstanding items related to separate
                                            subsidiaries analyses
Trent, Hudson           7/27/2023     1.4   Prepare updated inputs for Plan recovery model based on latest
                                            separate subsidiaries model
Trent, Hudson           7/27/2023     0.9   Update separate subsidiaries materials based on internal A&M
                                            feedback
Trent, Hudson           7/27/2023     1.9   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, & H. Trent
                                            (A&M) review and update plan recovery comparison deck prior to
                                            distribution
Trent, Hudson           7/27/2023     0.4   Call with D. Johnston, M. van den Belt, C. Sullivan, D. Sagen, H.
                                            Trent (A&M) re: separate subsidiary recovery analysis
Trent, Hudson           7/27/2023     2.1   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent & C.
                                            Sullivan (A&M) review and update FTX recovery comparison deck



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Trent, Hudson          7/27/2023     2.3   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent & C.
                                           Sullivan (A&M) review and update plan inputs for latest Claims
                                           register data
Trent, Hudson          7/27/2023     2.8   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent
                                           (A&M) incorporate latest changes to the Plan presentation for case
                                           leads review
Trent, Hudson          7/27/2023     1.1   Working session with D. Sagen & H. Trent (A&M) to review digital
                                           asset calculations for Plan recovery materials
Trent, Hudson          7/27/2023     2.7   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, & H. Trent
                                           (A&M) review and update plan recovery comparison model for latest
                                           adjustments
van den Belt, Mark     7/27/2023     0.4   Call with D. Johnston, M. van den Belt, C. Sullivan, D. Sagen, H.
                                           Trent (A&M) re: separate subsidiary recovery analysis
van den Belt, Mark     7/27/2023     0.6   Prepare correspondence on Quoine digital asset position for
                                           separate subsidiary analysis
van den Belt, Mark     7/27/2023     1.1   Prepare updated Quoine balance sheet position for separate
                                           subsidiary analysis purposes
Witherspoon, Samuel    7/27/2023     0.9   Create May 2024 cash bridge between latest version of the Plan and
                                           previous version
Witherspoon, Samuel    7/27/2023     0.4   Discuss cash inputs for the plan and best interest test with H. Trent,
                                           S. Witherspoon (A&M)
Coverick, Steve        7/28/2023     3.2   Review and provide comments on updated plan recovery analysis
                                           deck for board
Gonzalez, Johnny       7/28/2023     1.4   Incorporate the subordinated claims into the plan model


Gonzalez, Johnny       7/28/2023     0.6   Prepare a bridge for the Dotcom pool net proceeds for the plan
                                           presentation
Gonzalez, Johnny       7/28/2023     2.2   Develop a variance overlay for the various Plan scenarios


Gonzalez, Johnny       7/28/2023     0.4   Prepare a bridge for the General pool net proceeds for the plan
                                           presentation
Gonzalez, Johnny       7/28/2023     0.9   Prepare a bridge for the US pool net proceeds for the plan
                                           presentation
Gonzalez, Johnny       7/28/2023     2.7   Working session to update claims assumptions in the Plan model
                                           refresh presentation with C. Sullivan, J. Gonzalez & H. Trent (A&M)
Gonzalez, Johnny       7/28/2023     2.4   Working session to update asset bridges in the Plan model refresh
                                           presentation with C. Sullivan, J. Gonzalez & H. Trent (A&M)
Gonzalez, Johnny       7/28/2023     2.9   Working session with H. Trent, J. Gonzalez, D. Slay, B. Tenney
                                           (A&M) re: review and update asset and claims bridging analyses
Gonzalez, Johnny       7/28/2023     1.4   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent & C.
                                           Sullivan (A&M) review recovery comparison deck with latest
                                           comments
Gonzalez, Johnny       7/28/2023     0.7   Prepare a bridge for the global net proceeds for the plan presentation

Mosley, Ed             7/28/2023     1.4   Review of plan markup document with UCC comments



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Slay, David             7/28/2023     2.9   Working session with H. Trent, J. Gonzalez, D. Slay, B. Tenney
                                            (A&M) re: review and update asset and claims bridging analyses
Slay, David             7/28/2023     0.8   Develop executive summary to asset and claims bridges for the plan
                                            comparison presentation
Slay, David             7/28/2023     1.8   Update latest comparison bridges based on comments from Senior
                                            management
Slay, David             7/28/2023     0.9   Update latest comparison bridges commentary based on comments
                                            from Senior management
Slay, David             7/28/2023     2.3   Working session with D. Slay and B. Tenney (A&M) re: update
                                            claims comparison bridges from 6/20 analysis to 7/28 analysis
Slay, David             7/28/2023     1.4   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent & C.
                                            Sullivan (A&M) review recovery comparison deck with latest
                                            comments
Sullivan, Christopher   7/28/2023     1.1   Working session with C. Sullivan and H. Trent (A&M) to incorporate
                                            feedback from local teams in the separate sub deck
Sullivan, Christopher   7/28/2023     2.4   Working session to update asset bridges in the Plan model refresh
                                            presentation with C. Sullivan, J. Gonzalez & H. Trent (A&M)
Sullivan, Christopher   7/28/2023     0.2   Summarize related party exchange updates

Sullivan, Christopher   7/28/2023     0.9   Review updates to venture book assumptions


Sullivan, Christopher   7/28/2023     0.8   Review further revisions to the crypto separate sub bridge

Sullivan, Christopher   7/28/2023     1.3   Working session with C. Sullivan & H. Trent (A&M) to address
                                            comments from S. Coverick (A&M) on revised Plan materials
Sullivan, Christopher   7/28/2023     1.1   Provide detailed comments on the updated Plan materials

Sullivan, Christopher   7/28/2023     1.4   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent & C.
                                            Sullivan (A&M) review recovery comparison deck with latest
                                            comments
Sullivan, Christopher   7/28/2023     0.7   Provide comments to updated cash waterfall for Plan materials


Sullivan, Christopher   7/28/2023     2.7   Working session to update claims assumptions in the Plan model
                                            refresh presentation with C. Sullivan, J. Gonzalez & H. Trent (A&M)
Tenney, Bridger         7/28/2023     2.9   Working session with H. Trent, J. Gonzalez, D. Slay, B. Tenney
                                            (A&M) re: review and update asset and claims bridging analyses
Tenney, Bridger         7/28/2023     2.3   Working session with D. Slay and B. Tenney (A&M) re: update
                                            claims comparison bridges from 6/20 analysis to 7/28 analysis
Tenney, Bridger         7/28/2023     2.3   Prepare commentary to explain and provide background information
                                            on each asset bridging item
Tenney, Bridger         7/28/2023     1.4   Update claims bridge graphic after receiving items after receiving
                                            comments from leadership
Tenney, Bridger         7/28/2023     1.4   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent & C.
                                            Sullivan (A&M) review recovery comparison deck with latest
                                            comments



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Trent, Hudson           7/28/2023     0.4   Review updated cash bridge for reallocation of FBO cash

Trent, Hudson           7/28/2023     0.6   Provide feedback on updated separate subsidiaries materials


Trent, Hudson           7/28/2023     2.4   Working session to update asset bridges in the Plan model refresh
                                            presentation with C. Sullivan, J. Gonzalez & H. Trent (A&M)
Trent, Hudson           7/28/2023     2.9   Working session with H. Trent, J. Gonzalez, D. Slay, B. Tenney
                                            (A&M) re: review and update asset and claims bridging analyses
Trent, Hudson           7/28/2023     2.7   Working session to update claims assumptions in the Plan model
                                            refresh presentation with C. Sullivan, J. Gonzalez & H. Trent (A&M)
Trent, Hudson           7/28/2023     1.4   Working Session w/ D. Slay, B. Tenney, J. Gonzalez, H. Trent & C.
                                            Sullivan (A&M) review recovery comparison deck with latest
                                            comments
Trent, Hudson           7/28/2023     1.3   Working session with C. Sullivan & H. Trent (A&M) to incorporate
                                            comments from S. Coverick (A&M) on revised Plan materials
Trent, Hudson           7/28/2023     1.1   Working session with C. Sullivan and H. Trent (A&M) to incorporate
                                            feedback from local teams in the separate sub deck
Coverick, Steve         7/29/2023     1.8   Review and provide comments on updated draft of plan recovery
                                            deck for board
Coverick, Steve         7/29/2023     0.5   Call with E. Mosley (A&M) to discuss plan recovery deck for board


Coverick, Steve         7/29/2023     0.5   Call with C. Sullivan, H. Trent (A&M) to discuss plan recovery deck
                                            for board
Gonzalez, Johnny        7/29/2023     0.4   Review the operating cash bridge for the plan presentation


Gonzalez, Johnny        7/29/2023     1.2   Refresh all net proceeds bridges for the plan presentation

Gonzalez, Johnny        7/29/2023     0.2   Review the General Unsecured Claims bridge for the plan
                                            presentation
Gonzalez, Johnny        7/29/2023     1.2   Working session with D. Slay & J. Gonzalez (A&M) re: update bridge
                                            commentary
Mosley, Ed              7/29/2023     2.3   Review of and prepare comments to plan update deck to
                                            management and the board
Mosley, Ed              7/29/2023     0.5   Call with S. Coverick (A&M) to discuss plan recovery deck for board


Slay, David             7/29/2023     1.2   Working session with D. Slay & J. Gonzalez (A&M) re: update bridge
                                            commentary
Sullivan, Christopher   7/29/2023     2.1   Working session with C. Sullivan & H. Trent (A&M) to address
                                            comments from E. Mosely (A&M) on the revised Plan materials
Sullivan, Christopher   7/29/2023     0.5   Call with S. Coverick, C. Sullivan, H. Trent (A&M) to discuss plan
                                            recovery deck for board
Trent, Hudson           7/29/2023     1.2   Review Plan recovery analysis variance following updates

Trent, Hudson           7/29/2023     2.1   Working session with C. Sullivan & H. Trent (A&M) to incorporate
                                            comments from E. Mosely (A&M) on the revised Plan materials


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Trent, Hudson           7/29/2023     0.5   Call with C. Sullivan, H. Trent (A&M) to discuss plan recovery deck
                                            for board
Trent, Hudson           7/29/2023     1.4   Prepare feedback on draft Plan prior to filing


Sullivan, Christopher   7/30/2023     1.1   Revisions to the Plan materials per commentary from J. Ray (FTX)

Trent, Hudson           7/30/2023     0.4   Update Plan recovery analysis support materials based on feedback
                                            from J. Ray (FTX)
Coverick, Steve         7/31/2023     1.3   Review and provide comments on updated draft of separate
                                            subsidiaries deck for UCC
Gonzalez, Johnny        7/31/2023     2.4   Working session with J. Gonzalez and B. Tenney (A&M) re: update
                                            plan model support analyses
Gonzalez, Johnny        7/31/2023     2.6   Develop a summary data tracker for the plan support model


Gonzalez, Johnny        7/31/2023     2.1   Prepare a model manipulation manual for the plan support model

Gonzalez, Johnny        7/31/2023     2.8   Working session with D. Slay & J. Gonzalez (A&M) re: Plan support
                                            model refresh for latest filed statements & schedules
Gonzalez, Johnny        7/31/2023     1.6   Review of the latest Plan term sheet for updates to the Plan analysis
                                            model
Mosley, Ed              7/31/2023     0.5   Discussion with FTI (M.Diaz, B.Bromberg) regarding plan process

Slay, David             7/31/2023     2.4   Develop supporting materials for UCC diligence folder related to
                                            statements and schedules
Slay, David             7/31/2023     2.4   Develop petition date variance file with against prior provided
                                            balance sheets provided
Slay, David             7/31/2023     2.8   Working session with D. Slay & J. Gonzalez (A&M) re: Plan support
                                            model refresh for latest filed statements & schedules
Sullivan, Christopher   7/31/2023     0.4   Review updates to latest crypto coin report

Sullivan, Christopher   7/31/2023     1.1   Review comments to separate subsidiary presentation per
                                            commentary from E. Mosely (A&M)
Tenney, Bridger         7/31/2023     1.6   Update and sanitize plan support tables for distribution

Tenney, Bridger         7/31/2023     2.4   Working session with J. Gonzalez and B. Tenney (A&M) re: update
                                            plan model support analyses
Tenney, Bridger         7/31/2023     1.8   Continue update of plan support tables for pro forma data through
                                            7/28
Tenney, Bridger         7/31/2023     1.8   Consolidate all 7/28 recovery analysis tables for distribution

Tenney, Bridger         7/31/2023     2.3   Compile supporting tables pertaining to 6/20 initial plan discussion
                                            materials
Trent, Hudson           7/31/2023     2.1   Prepare responses to questions related to Separate Subsidiaries
                                            analysis materials




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Disclosure Statement and Plan
Professional                Date    Hours      Activity
Trent, Hudson           7/31/2023       1.2   Prepare summary of intercompany positions in separate subsidiaries
                                              analysis
Trent, Hudson           7/31/2023       2.3   Prepare updated materials on go-forward expectations for separate
                                              subsidiaries in analysis materials
Trent, Hudson           7/31/2023       1.8   Review considerations related to entities undergoing separate
                                              processes for purposes of the Plan recovery analysis
Trent, Hudson           7/31/2023       2.1   Conduct detailed Plan recovery analysis materials prior to circulation



Subtotal                            1,060.6

Due Diligence
Professional                Date    Hours      Activity
Callerio, Lorenzo        7/3/2023       0.6   Draft a new UCC approval list to be circulated to J. Ray (FTX)

Callerio, Lorenzo        7/3/2023       0.3   Correspondence with PWP and S&C re: additional items to be
                                              added to the UCC data room
Gordon, Robert           7/3/2023       1.7   Draft response for 2.0 diligence requests covering historical financial
                                              mapping
Callerio, Lorenzo        7/4/2023       0.4   Prepare certain new documents for being published and update the
                                              internal and external trackers and the UCC diligence index
Gordon, Robert           7/4/2023       0.2   Teleconference over 2.0 diligence requests with R. Gordon, G.
                                              Walia(A&M)
Callerio, Lorenzo        7/5/2023       0.6   Prepare additional documents with appropriate disclosures /
                                              disclaimers prior to add them to the UCC data room
Callerio, Lorenzo        7/5/2023       0.4   Draft an FTX2.0 approval request list to be sent to M. Wu (S&C) and
                                              J. Ray (FTX)
Callerio, Lorenzo        7/5/2023       1.1   Prepare for a meeting with one of the FTX2.0 bidders, reviewing the
                                              outstanding questions / responses
Sullivan, Christopher    7/5/2023       1.2   Review updated responses for 2.0 licensing diligence questions


Arnett, Chris            7/6/2023       0.6   Follow up on request from B. Bromberg (FTI) re: payroll data
                                              discrepancies
Callerio, Lorenzo        7/6/2023       0.3   Review and approve the diligence PMO materials


Callerio, Lorenzo        7/6/2023       0.4   Review certain additional new documents prior to publish them to
                                              the UCC data room
Callerio, Lorenzo        7/6/2023       0.4   Start drafting the weekly update re: open items with the UCC to be
                                              circulated to J. Ray (FTX)
Sullivan, Christopher    7/6/2023       1.1   Review comments from E. Mosely (A&M) on the separate
                                              subsidiaries analysis
Arnett, Chris            7/7/2023       0.3   Direct response to FTI request for supplemental data on potential
                                              bonus payments to employees
Callerio, Lorenzo        7/7/2023       0.4   Draft a new UCC diligence approval list to be circulated to J. Ray
                                              (FTX)


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                                  FTX Trading Ltd., et al.,
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                             July 1, 2023 through July 31, 2023


Due Diligence
Professional               Date    Hours     Activity
Callerio, Lorenzo      7/10/2023     0.8   Collect info / responses to FTX2.0 diligence items prior to preparing
                                           an approval list to be circulated to J. Ray (FTX)
Callerio, Lorenzo      7/10/2023     0.6   Draft a new document approval list to be circulated to S&C and J.
                                           Ray (FTX)
Callerio, Lorenzo      7/10/2023     0.7   Prepare certain new documents prior to uploading them to the UCC
                                           data room and updating the VDR trackers and index
Callerio, Lorenzo      7/10/2023     0.4   Review the initial plan supporting analysis and request R. Gordon
                                           (A&M) for clarifications as discussed with FTI
Francis, Luke          7/10/2023     1.2   Respond to request of if specific creditors were included within
                                           debtors Statements and schedules or creditor matrix
Gordon, Robert         7/10/2023     0.3   Review UCC response over SAFT documents

Callerio, Lorenzo      7/11/2023     0.8   Draft a new FTX 2.0 data request approval to be sent to J. Ray (FTX)


Callerio, Lorenzo      7/12/2023     0.6   Respond to inquiries received from S&C re: FTX2.0 diligence items

Callerio, Lorenzo      7/12/2023     0.3   Meeting with L. Callerio, C. Stockmeyer (A&M), K. Flinn, H.
                                           Rangaraju, B. Baker, C. Hough, E. Newton, S. Saferstein, M.
                                           Rahmani (PWP) re: FTX2.0 phase 2 VDR alignment
Callerio, Lorenzo      7/12/2023     0.9   Meeting with L. Callerio, C. Stockmeyer (A&M) re: FTX2.0 phase 2
                                           diligence preparation
Lewandowski, Douglas   7/12/2023     0.3   Discuss customer schedule data with D Lewandowski and R
                                           Esposito (A&M)
Stockmeyer, Cullen     7/12/2023     0.9   Meeting with L. Callerio, C. Stockmeyer (A&M) re: FTX2.0 phase 2
                                           diligence preparation
Stockmeyer, Cullen     7/12/2023     0.3   Meeting with L. Callerio, C. Stockmeyer (A&M), K. Flinn, H.
                                           Rangaraju, B. Baker, C. Hough, E. Newton, S. Saferstein, M.
                                           Rahmani (PWP) re: FTX2.0 phase 2 VDR alignment
Callerio, Lorenzo      7/13/2023     0.3   Meeting with L. Callerio, C. Stockmeyer (A&M) re: diligence update

Callerio, Lorenzo      7/13/2023     0.3   Call with J. Cooper and L. Callerio (A&M) re: UCC diligence items


Callerio, Lorenzo      7/13/2023     0.2   Teleconference with J. Cooper and L. Callerio (A&M) re: UCC
                                           diligence update
Cooper, James          7/13/2023     0.2   Teleconference with J. Cooper and L. Callerio (A&M) re: UCC
                                           diligence update
Cooper, James          7/13/2023     0.3   Call with J. Cooper and L. Callerio (A&M) re: UCC diligence items

Francis, Luke          7/13/2023     1.1   Provide analysis on specific creditor fact pattern for why they were
                                           included in creditor matrix
Francis, Luke          7/13/2023     1.3   Provide analysis on specific creditor payments based on request


Stockmeyer, Cullen     7/13/2023     0.3   Meeting with L. Callerio, C. Stockmeyer (A&M) re: diligence update

Callerio, Lorenzo      7/14/2023     0.4   Call with C. Stockmeyer and L. Callerio (A&M) re: FTX2.0 diligence
                                           update

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Due Diligence
Professional               Date     Hours     Activity
Callerio, Lorenzo       7/14/2023     0.4   Review the FTX2.0 updated tracker and internally share some
                                            additional documents with PWP
Callerio, Lorenzo       7/14/2023     0.8   Prepare certain documents prior to publishing the to the UCC data
                                            room
Callerio, Lorenzo       7/14/2023     0.4   Prepare the updated list of open items to be discussed with the UCC
                                            to be circulated to J. Ray (FTX)
Callerio, Lorenzo       7/14/2023     0.6   Draft a new UCC documents approval list to be circulated to J. Ray
                                            (FTX)
Stockmeyer, Cullen      7/14/2023     0.4   Call with C. Stockmeyer and L. Callerio (A&M) re: FTX2.0 diligence
                                            update
Lewandowski, Douglas    7/15/2023     1.5   Work on customer claims diligence related questions from S&C for
                                            specific insiders
Callerio, Lorenzo       7/17/2023     0.8   Draft a new UCC documents approval list to be circulated to J. Ray
                                            (FTX)
Callerio, Lorenzo       7/17/2023     1.1   Start reviewing a new FTX2.0 info request list received from PWP

Callerio, Lorenzo       7/17/2023     0.6   Draft a communication to the UCC to keep them up to date re: latest
                                            documents published
Francis, Luke           7/17/2023     1.8   Review of connections to counter party and FTX group for diligence
                                            request
Francis, Luke           7/17/2023     1.4   Review of escrow claims based on filed proof of claims for diligence
                                            request
Callerio, Lorenzo       7/18/2023     0.9   Review the different info requests lists provided by K. Flinn (PWP)
                                            re: FTX2.0
Callerio, Lorenzo       7/18/2023     0.5   Review and approve the updated preliminary observation deck and
                                            analysis prepared by A. Heric (A&M)
Callerio, Lorenzo       7/18/2023     0.2   Meeting with L. Callerio, C. Stockmeyer (A&M) re: FTX2.0 diligence
                                            questions updates from additional bank
Callerio, Lorenzo       7/18/2023     1.2   Review the updated FTX2.0 materials received from C. Stockmeyer
                                            (A&M)
Callerio, Lorenzo       7/18/2023     0.4   Correspondence with PWP re: FTX2.0 diligence process


Esposito, Rob           7/18/2023     0.7   Review and response to creditor inquiries from the S&C team

Francis, Luke           7/18/2023     1.4   Analysis of if counter party was included in S&S or if they were
                                            included in creditor matrix
Stockmeyer, Cullen      7/18/2023     1.2   Consolidate additional bank diligence questions with existing tracker


Stockmeyer, Cullen      7/18/2023     0.6   Meeting with L. Callerio, C. Stockmeyer (A&M) re: FTX2.0 diligence
                                            questions updates from additional bank
Sullivan, Christopher   7/18/2023     0.6   Develop and distribute diligence tracker for AHG


Callerio, Lorenzo       7/19/2023     0.2   Call with G. Walia and L. Callerio (A&M) re: FTX2.0 info request list




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Due Diligence
Professional                Date    Hours     Activity
Callerio, Lorenzo       7/19/2023     0.8   Draft an updated FTX2.0 document approval list for J. Ray (FTX)

Callerio, Lorenzo       7/19/2023     0.2   Call with C. Stockmeyer and L. Callerio (A&M) re: FTX2.0 diligence
                                            items
Callerio, Lorenzo       7/19/2023     1.3   Review and update the FTX2.0 master trackers including all the
                                            requests received from the different bidders
Faett, Jack             7/19/2023     1.3   Working session to compile underlying information in response to
                                            UCC requests between K. Kearney, J. Faett (A&M)
Gordon, Robert          7/19/2023     0.4   Teleconference with K. Kearney, R. Gordon(A&M) to review 2.0
                                            diligence request list for accounting
Gordon, Robert          7/19/2023     0.4   Review 2.0 diligence request to determine assignments

Kearney, Kevin          7/19/2023     0.4   Teleconference with K. Kearney, R. Gordon(A&M) to review 2.0
                                            diligence request list for accounting
Kearney, Kevin          7/19/2023     1.3   Working session to compile underlying information in response to
                                            UCC requests between K. Kearney, J. Faett (A&M)
Stockmeyer, Cullen      7/19/2023     0.2   Call with C. Stockmeyer and L. Callerio (A&M) re: FTX2.0 diligence
                                            items
Stockmeyer, Cullen      7/19/2023     1.7   Prepare diligence request responses to share externally related to
                                            FTX2.0 asset sale
Stockmeyer, Cullen      7/19/2023     1.1   Prepare diligence requests for responsible individuals

Sullivan, Christopher   7/19/2023     0.8   Respond to diligence questions related to the Plan


Walia, Gaurav           7/19/2023     0.2   Call with G. Walia and L. Callerio (A&M) re: FTX2.0 info request list

Arnett, Chris           7/20/2023     0.8   Answer diligence questions re: FTX 2.0 go-forward operations


Callerio, Lorenzo       7/20/2023     0.9   Update the FTX2.0 trackers reflecting the latest information received

Callerio, Lorenzo       7/20/2023     0.9   Review the FTX2.0 diligence trackers prepared by C. Stockmeyer
                                            (A&M) prior to circulating them to the different workstream leads
Callerio, Lorenzo       7/20/2023     0.3   Draft an updated weekly report of the open items with the UCC to be
                                            circulated to J. Ray (FTX)
Callerio, Lorenzo       7/20/2023     0.2   Call with G. Walia and L. Callerio (A&M) re: FTX2.0 diligence process

Callerio, Lorenzo       7/20/2023     0.2   Call with K. Flinn (PWP) and L. Callerio (A&M) re: FTX2.0 requests


Cooper, James           7/20/2023     0.8   Review IT payments schedule for FTX 2.0 diligence request

Esposito, Rob           7/20/2023     0.5   Work on diligence request related to claims against digital asset
                                            companies
Esposito, Rob           7/20/2023     0.4   Review and summarize creditor diligence requests to S&C




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Due Diligence
Professional              Date    Hours     Activity
Francis, Luke         7/20/2023     1.3   Review of if counterparty was included within S&S or if they were
                                          included in creditor matrix
Stockmeyer, Cullen    7/20/2023     2.1   Audit diligence tracker related to FTX2.0 sale process for provided
                                          responses
Stockmeyer, Cullen    7/20/2023     1.4   Initiate correspondences related to FTX2.0 phase two diligence
                                          process
Stockmeyer, Cullen    7/20/2023     1.3   Prepare additional tracker for FTX2.0 items which are pending legal
                                          approval and client approval to provide
Callerio, Lorenzo     7/21/2023     0.2   Call with C. Stockmeyer and L. Callerio (A&M) re: update diligence
                                          process
Callerio, Lorenzo     7/21/2023     0.2   Correspondence with J. Ray (FTX) re: certain requests received on
                                          FTX2.0
Callerio, Lorenzo     7/21/2023     0.9   Review and update the FTX2.0 diligence trackers


Esposito, Rob         7/21/2023     0.2   Discussion with L Francis and R Esposito (A&M) re: diligence
                                          request
Esposito, Rob         7/21/2023     0.2   Discussion with D Lewandowski and R Esposito (A&M) re: customer
                                          diligence request
Francis, Luke         7/21/2023     1.6   Review of creditor within customer entitlements base on diligence
                                          request
Francis, Luke         7/21/2023     0.2   Discussion with L Francis and R Esposito (A&M) re: diligence
                                          request
Francis, Luke         7/21/2023     0.1   Discussion with C. Okuzu and L. Francis re: diligence request
                                          instructions
Gordon, Robert        7/21/2023     0.3   Analyze initial updates to 2.0 responses prepare by A&M team

Hainline, Drew        7/21/2023     0.3   Analyze available information for requested expense activity related
                                          to DOTCOM-silo entities for 2021 and 2021
Hainline, Drew        7/21/2023     0.3   Call to review diligence request for historical expense detail for WRS
                                          and DOTCOM with M. Jones, D. Hainline (A&M)
Hainline, Drew        7/21/2023     0.3   Call to review diligence request for historical expense detail for WRS
                                          and DOTCOM with M. Jones, M. Mirando D. Hainline (A&M)
Hainline, Drew        7/21/2023     1.3   Gather information for historical expense details for DOTCOM-silo
                                          entities to support diligence requests
Jones, Mackenzie      7/21/2023     0.2   Aggregate expense details for Blockfolio Inc in response to due
                                          diligence request
Jones, Mackenzie      7/21/2023     0.9   Aggregate expense details for Dotcom entities in response to due
                                          diligence request
Jones, Mackenzie      7/21/2023     1.4   Aggregate expense details for WRS entities in response to due
                                          diligence request
Jones, Mackenzie      7/21/2023     0.3   Call to review diligence request for historical expense detail for WRS
                                          and DOTCOM with M. Jones, D. Hainline (A&M)
Jones, Mackenzie      7/21/2023     0.3   Call to review diligence request for historical expense detail for WRS
                                          and DOTCOM with M. Jones, M. Mirando D. Hainline (A&M)




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Due Diligence
Professional              Date     Hours     Activity
Lewandowski, Douglas   7/21/2023     0.2   Discussion with D Lewandowski and R Esposito (A&M) re: customer
                                           diligence request
Lewandowski, Douglas   7/21/2023     0.4   Work on customer inquiry requests from S&C for specific customers
                                           to identify scheduled claim status
Mirando, Michael       7/21/2023     0.3   Call to review diligence request for historical expense detail for WRS
                                           and DOTCOM with M. Jones, M. Mirando D. Hainline (A&M)
Mirando, Michael       7/21/2023     1.6   Compile a detail of 2022 expense transactions for non QBO Entities

Mirando, Michael       7/21/2023     1.7   Compile a detail of 2021 expense transactions for non QBO Entities


Okuzu, Ciera           7/21/2023     1.4   Perform due diligence and gather information on claims filed against
                                           certain debtors
Okuzu, Ciera           7/21/2023     0.1   Discussion with C. Okuzu and L. Francis (A&M) re: due diligence
                                           request instructions
Stockmeyer, Cullen     7/21/2023     1.4   Prepare diligence requests related to FTX2.0 sale process for
                                           completion by various internal parties
Stockmeyer, Cullen     7/21/2023     0.2   Call with C. Stockmeyer and L. Callerio (A&M) re: update diligence
                                           process
Callerio, Lorenzo      7/22/2023     0.8   Review the FTX2.0 diligence items received from the different teams
                                           prior to running them through the internal approval process
Francis, Luke          7/22/2023     1.2   Preparation of vendor analysis based on filed S&S for diligence
                                           request
Jones, Mackenzie       7/22/2023     0.3   Complete due diligence request for historical trial balances


Stockmeyer, Cullen     7/22/2023     0.4   Correspondences related to responses to diligence requests from
                                           various third parties in preparation for phase 2 of the FTX2.0 bid
                                           process
Callerio, Lorenzo      7/24/2023     0.6   Prepare certain additional document prior or publishing them to the
                                           UCC data room
Callerio, Lorenzo      7/24/2023     1.2   Review the additional FTX2.0 items received


Callerio, Lorenzo      7/24/2023     0.3   Draft an approval email to be sent to the UCC as discussed with A.
                                           Titus (A&M)
Callerio, Lorenzo      7/24/2023     0.2   Correspondence with PWP re: FTX2.0 process


Callerio, Lorenzo      7/24/2023     0.3   Call with G. Walia and L. Callerio (A&M) re: FTX2.0 diligence items

Callerio, Lorenzo      7/24/2023     0.7   Call with C. Stockmeyer and L. Callerio (A&M) re: FTX2.0 diligence
                                           process
Callerio, Lorenzo      7/24/2023     0.8   Review the updated FTX2.0 trackers updated by C. Stockmeyer
                                           (A&M)
Clayton, Lance         7/24/2023     3.1   Updates to venture investment diligence schedule

Francis, Luke          7/24/2023     1.6   Review of creditor records found within statements and schedules
                                           for diligence request


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Due Diligence
Professional              Date     Hours     Activity
Hainline, Drew         7/24/2023     0.4   Review status of historical expense detail compilation for WRS and
                                           DOTCOM-silo entities
Mosley, Ed             7/24/2023     0.8   Review of information for use in memo regarding FTT for
                                           management and the board
Stockmeyer, Cullen     7/24/2023     0.7   Prepare follow up correspondence requesting approval from S&C for
                                           sharing items in relation to phase 2 of the diligence process
Stockmeyer, Cullen     7/24/2023     0.7   Call with C. Stockmeyer and L. Callerio (A&M) re: FTX2.0 diligence
                                           process
Stockmeyer, Cullen     7/24/2023     1.2   Audit diligence tracker related to FTX2.0 asset sale process for best
                                           assignment of diligence questions between various parties
Stockmeyer, Cullen     7/24/2023     0.9   Prepare responses related to taxes in diligence process for FTX2.0
                                           asset sale
Stockmeyer, Cullen     7/24/2023     1.2   Prepare responses related to claims in diligence process for FTX2.0
                                           asset sale
Stockmeyer, Cullen     7/24/2023     1.1   Correspondence regarding approval to provide information
                                           requested by third party for diligence phase 2
Callerio, Lorenzo      7/25/2023     0.8   Respond to certain questions received from PWP re: FTX2.0
                                           diligence items
Callerio, Lorenzo      7/25/2023     0.1   Call with G. Walia and L. Callerio (A&M) re: updated FTX2.0 requests

Callerio, Lorenzo      7/25/2023     0.9   Draft a new UCC documents approval list to be circulated to S&C
                                           and J. Ray (FTX)
Callerio, Lorenzo      7/25/2023     0.8   Internal correspondence re: new FTX2.0 diligence requests


Callerio, Lorenzo      7/25/2023     0.6   Meeting with L. Callerio, C. Stockmeyer (A&M) re: FTX2.0 diligence
                                           process changes
Callerio, Lorenzo      7/25/2023     0.7   Prepare certain new document prior to adding them to the UCC data
                                           room
Cooper, James          7/25/2023     0.6   Revise IT spend schedule for FTX 2.0 diligence request

Mosley, Ed             7/25/2023     0.7   Review of updated FTT memorandum and provide comments


Stockmeyer, Cullen     7/25/2023     0.9   Prepare responses provided by S&C for diligence process related to
                                           phase 2 of asset sale
Stockmeyer, Cullen     7/25/2023     1.2   Prepare follow up correspondence requesting approval from S&C for
                                           sharing items in relation to phase 2 of the diligence process
Stockmeyer, Cullen     7/25/2023     0.6   Meeting with L. Callerio, C. Stockmeyer (A&M) re: FTX2.0 diligence
                                           process changes
Walia, Gaurav          7/25/2023     0.1   Call with G. Walia and L. Callerio (A&M) re: updated FTX2.0 requests

Callerio, Lorenzo      7/26/2023     0.2   Call with C. Stockmeyer and L. Callerio (A&M) re: updated FTX2.0
                                           approval lists
Callerio, Lorenzo      7/26/2023     1.3   Review the updated FTX2.0 items / responses provided by G. Walia
                                           (A&M)




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Due Diligence
Professional             Date     Hours     Activity
Callerio, Lorenzo     7/26/2023     0.3   Correspondence with PWP re: certain FTX2.0 items

Clayton, Lance        7/26/2023     1.9   External advisor support re: Alameda investment UCC request


Esposito, Rob         7/26/2023     0.3   Prepare diligence response re: litigation parties who have filed
                                          claims against the Debtors
Jones, Mackenzie      7/26/2023     0.4   Research entity status related to potential employment entity

Stockmeyer, Cullen    7/26/2023     1.1   Prepare follow up correspondence requesting approval from S&C for
                                          sharing items in relation to phase 2 of the diligence process
Stockmeyer, Cullen    7/26/2023     0.2   Call with C. Stockmeyer and L. Callerio (A&M) re: updated FTX2.0
                                          approval lists
Callerio, Lorenzo     7/27/2023     0.7   Draft an updated UCC diligence documents approval list to be sent
                                          to J. Ray (FTX)
Callerio, Lorenzo     7/27/2023     0.2   Meeting with L. Callerio, C. Stockmeyer (A&M) re: FTX2.0 diligence
                                          process
Callerio, Lorenzo     7/27/2023     0.3   Prepare draft of weekly list of open items with the UCC to be
                                          discussed with J. Ray (FTX)
Clayton, Lance        7/27/2023     2.1   Update diligence request for UCC re: Venture investment

Coverick, Steve       7/27/2023     1.4   Review and provide comment on AHG plan questions response list

Coverick, Steve       7/27/2023     1.3   Review and provide comment on UCC plan questions response list


Stockmeyer, Cullen    7/27/2023     0.2   Meeting with L. Callerio, C. Stockmeyer (A&M) re: FTX2.0 diligence
                                          process
Stockmeyer, Cullen    7/27/2023     0.3   Correspondence regarding FTX2.0 diligence process


Callerio, Lorenzo     7/28/2023     0.7   Call with C. Stockmeyer and L. Callerio (A&M) re: FTX2.0 diligence
                                          items
Callerio, Lorenzo     7/28/2023     0.6   Update the internal and external UCC diligence trackers and VDR
                                          index
Callerio, Lorenzo     7/28/2023     0.6   Prepare documents with headers / disclaimers prior to publishing
                                          them to the UCC data room
Callerio, Lorenzo     7/28/2023     0.9   Review certain new FTX2.0 responses received from K. Montague
                                          (A&M)
Callerio, Lorenzo     7/28/2023     0.2   Respond to certain question received from FTI re: derivatives


Callerio, Lorenzo     7/28/2023     0.6   Draft a revised FTX2.0 document approval list to be sent to J. Ray
                                          (FTX)
Callerio, Lorenzo     7/28/2023     1.2   Prepare a revised FTX2.0 approval list as discussed with S.
                                          Coverick (A&M)
Hainline, Drew        7/28/2023     1.3   Perform updates to files for the VDR to cleanse sensitive information
                                          for expense summaries by entity




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Due Diligence
Professional              Date    Hours     Activity
Stockmeyer, Cullen    7/28/2023     0.8   Audit FTX2.0 sale process diligence file based on updates in
                                          progress made week ending 7/29
Stockmeyer, Cullen    7/28/2023     0.6   Correspondence regarding FTX2.0 diligence process updates


Stockmeyer, Cullen    7/28/2023     0.7   Call with C. Stockmeyer and L. Callerio (A&M) re: FTX2.0 diligence
                                          items
Stockmeyer, Cullen    7/28/2023     1.3   Prepare updated correspondence for approval related to phase 2
                                          diligence process
Walia, Gaurav         7/28/2023     2.3   Prepare a summary of pricing sources and exchange transaction
                                          information in response to a UCC diligence request
Callerio, Lorenzo     7/29/2023     0.9   Draft an updated FTX2.0 document approval list including comments
                                          received from S. Coverick and K. Ramanathan (A&M)
Callerio, Lorenzo     7/29/2023     0.3   Meeting with L. Callerio, C. Stockmeyer (A&M) re: process update
                                          for phase 2 diligence requests
Stockmeyer, Cullen    7/29/2023     0.3   Meeting with L. Callerio, C. Stockmeyer (A&M) re: process update
                                          for phase 2 diligence requests
Callerio, Lorenzo     7/30/2023     0.9   Prepare the FTX2.0 documents prior to transmit them to PWP


Stockmeyer, Cullen    7/30/2023     0.4   Update diligence tracker based on additional approvals provided by
                                          FTX
Stockmeyer, Cullen    7/30/2023     1.4   Prepare items related to phase two of diligence process for share
                                          with bidders through VDR
Callerio, Lorenzo     7/31/2023     0.7   Draft a new UCC document approval list to be circulated to J. Ray
                                          (FTX)
Callerio, Lorenzo     7/31/2023     0.5   Call with J. Cooper and L. Callerio (A&M) re: updated cash
                                          projections
Callerio, Lorenzo     7/31/2023     0.4   Meeting with L. Callerio, C. Stockmeyer (A&M) re: UCC diligence
                                          process update
Callerio, Lorenzo     7/31/2023     0.9   Review all the FTX2.0 documents provided by D. Hainline (A&M)

Clayton, Lance        7/31/2023     2.8   Continue efforts on venture investment data room diligence support


Clayton, Lance        7/31/2023     1.8   Update venture book diligence list for changes in underlying data

Cooper, James         7/31/2023     0.5   Call with J. Cooper and L. Callerio (A&M) re: updated cash
                                          projections
Hainline, Drew        7/31/2023     0.4   Provide additional information related to expense summaries to
                                          support diligence data rooms
Konig, Louis          7/31/2023     1.2   Quality control and review of output related to due diligence
                                          customer revenue analysis
Konig, Louis          7/31/2023     2.0   Database scripting related to due diligence customer revenue
                                          analysis
Konig, Louis          7/31/2023     2.0   Documentation of findings related to due diligence customer
                                          revenue analysis




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Due Diligence
Professional             Date     Hours     Activity
Konig, Louis          7/31/2023      1.3   Database scripting related to due diligence customer jurisdictional
                                           analysis
Stockmeyer, Cullen    7/31/2023      0.3   Correspondence regarding certain bidding party diligence request for
                                           FTX2.0
Stockmeyer, Cullen    7/31/2023      1.4   Audit request related to expense detail history for FTX2.0 sale
                                           process
Walia, Gaurav         7/31/2023      1.1   Prepare a response to a UCC diligence request



Subtotal                           149.9

Employee Matters
Professional             Date     Hours     Activity
Simoneaux, Nicole      7/2/2023      1.2   Reallocate payroll processor invoices to debtor entities for cash
                                           reporting
Simoneaux, Nicole      7/2/2023      0.8   Analyze employer paid tax contributions for reporting purposes


Simoneaux, Nicole      7/3/2023      0.3   Review employment contracts and transfers for start dates

Simoneaux, Nicole      7/3/2023      0.4   Prepare weekly payroll disbursement schedule in regards to updated
                                           resignations
Simoneaux, Nicole      7/3/2023      0.6   Prepare employee equity schedule raw data for compensation
                                           analysis
Simoneaux, Nicole      7/3/2023      1.9   Further review of employment contracts in Relativity to assess
                                           length of employment
Simoneaux, Nicole      7/4/2023      0.8   Prepare payment requests for 7/5 pay-run

Arnett, Chris          7/5/2023      0.8   Continue to review and comment on revised drafts of Japan KEIP
                                           agreement
Simoneaux, Nicole      7/5/2023      1.6   Manage HR / personnel requests related to the November MOR


Simoneaux, Nicole      7/5/2023      2.1   Reconcile June headcount to end-of-month actuals and known
                                           resignations
Simoneaux, Nicole      7/5/2023      0.8   Update international employee rationalization file for updated sale /
                                           wind-down timelines
Simoneaux, Nicole      7/5/2023      0.3   Prepare payment requests for 7/6 pay-run

Simoneaux, Nicole      7/5/2023      0.9   Create organizational chart of remaining FTX headcount


Simoneaux, Nicole      7/6/2023      1.1   Analyze new headcount additions to prepetition employee master
                                           based on 2021 payrolls
Ramanathan, Kumanan    7/7/2023      0.4   Review request for bonus payments via the FTX exchange and
                                           provide feedback
Simoneaux, Nicole      7/7/2023      0.7   Track beneficiary bank withholding of international payroll wires



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Employee Matters
Professional              Date    Hours     Activity
Simoneaux, Nicole      7/9/2023     1.3   Prepare weekly payroll disbursement schedule in regards mid-month
                                          payrolls
Simoneaux, Nicole      7/9/2023     1.1   Prepare payment requests for mid-month payrolls


Arnett, Chris         7/10/2023     0.6   Review and comment on updated payroll and bonus analysis

Arnett, Chris         7/10/2023     0.4   Direct updated payroll and bonus analysis at request of FTI

Simoneaux, Nicole     7/10/2023     0.7   Review Japan KK July payroll for processing and internal approval


Simoneaux, Nicole     7/10/2023     1.2   Finalize avoidance personnel listings by mapping to documents
                                          found in Relativity
Simoneaux, Nicole     7/11/2023     1.6   Incorporate comments from FTX HR in regards to FTI employee
                                          descriptions request
Simoneaux, Nicole     7/11/2023     1.1   Identify and track master exchange account listing for employees
                                          and contractors
Simoneaux, Nicole     7/11/2023     0.8   Clean payroll actuals for tax reporting in regards to SOFAs


Simoneaux, Nicole     7/11/2023     0.4   Analyze and recommend approval for foreign-funded payrolls

Simoneaux, Nicole     7/11/2023     2.3   Tag exchange transfer data for potential bonus payments or
                                          compensation
Simoneaux, Nicole     7/11/2023     2.1   Prepare mapping for wildcard crypto search in regards to employee
                                          transfers
Simoneaux, Nicole     7/11/2023     1.3   Prepare same-day payroll funding for mid-month payrolls

Simoneaux, Nicole     7/11/2023     1.2   Add compensation actuals to FTI employee description requests


Arnett, Chris         7/12/2023     0.8   Review and comment remaining headcount descriptions and
                                          analysis in response to FTI request
Simoneaux, Nicole     7/12/2023     2.1   Form list of outstanding items in regards to headcount bridge for
                                          FTX HR review
Simoneaux, Nicole     7/12/2023     2.3   Draft employee reference letters to provide former personnel with
                                          proof of employment
Simoneaux, Nicole     7/12/2023     1.8   Analyze mid-month payrolls to populate headcount bridge
                                          outstanding items
Simoneaux, Nicole     7/12/2023     1.1   Prepare headcount rationalization support for foreign contractors not
                                          paid through payroll processors
Simoneaux, Nicole     7/12/2023     0.3   Request per-entity rationalization in regards to foreign contractors
                                          via email
Simoneaux, Nicole     7/12/2023     0.6   Attain wire confirmations for mid-month payrolls to avoid processing
                                          late fees
Simoneaux, Nicole     7/13/2023     0.3   Arrange access to FTX Cash Investigation Team database for
                                          internal use




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Employee Matters
Professional             Date     Hours     Activity
Simoneaux, Nicole     7/13/2023     1.1   Confirm details pertaining to FTX US employees regarding a request
                                          from S&C
Simoneaux, Nicole     7/13/2023     0.7   Incorporate changes to former employee reference letters and proof
                                          of employment
Simoneaux, Nicole     7/13/2023     0.6   Incorporate comments to payroll cash forecast and employee
                                          descriptions
Simoneaux, Nicole     7/14/2023     1.3   Allocate mid-month payroll amounts to benefits, taxes, and fees for
                                          reporting
Simoneaux, Nicole     7/14/2023     1.7   Prepare payroll cash forecast assumptions summary for FTX review


Simoneaux, Nicole     7/14/2023     0.8   Research foreign contractor agreements to assess notice periods for
                                          forecast
Simoneaux, Nicole     7/14/2023     1.4   Incorporate comments to interim financial report deck in regards to
                                          headcount
Simoneaux, Nicole     7/14/2023     1.5   Prepare forecast adjustments due to comments from FTX HR and
                                          wind-down / sale status updates
Simoneaux, Nicole     7/14/2023     0.7   Rationalize per-entity variance in regards to cash forecast


Simoneaux, Nicole     7/14/2023     0.3   Request additional clarification in regards to foreign contractor
                                          payroll for headcount reconciliation
Trent, Hudson         7/14/2023     0.8   Correspond regarding employee related request with J. Paranyuk
                                          (S&C)
Simoneaux, Nicole     7/16/2023     1.8   Research retirement benefit plans utilized by FTX US


Arnett, Chris         7/17/2023     0.6   Review and comment on employee and contractor headcount
                                          analysis for J. Ray (Company)
Simoneaux, Nicole     7/17/2023     0.9   Prepare updates to identified active personnel descriptions per FTI
                                          request
Simoneaux, Nicole     7/17/2023     0.3   Prepare assumption summary in regards to payroll forecast

Simoneaux, Nicole     7/17/2023     0.3   Compile list of outstanding items in regards to sick leave payout
                                          forecasting
Simoneaux, Nicole     7/17/2023     0.4   Review employment agreements for anticipated payouts upon
                                          personnel termination
Simoneaux, Nicole     7/17/2023     2.1   Prepare summary of payroll allocations and support for MORs

Simoneaux, Nicole     7/18/2023     1.2   Perform tax allocation analysis for June disbursement activity


Simoneaux, Nicole     7/18/2023     1.1   Refine cash forecast based on headcount and benefits insight from
                                          Europe team
Simoneaux, Nicole     7/18/2023     1.2   Prepare payment requests and approval recommendations for
                                          Japan KK and Quoine payrolls
Simoneaux, Nicole     7/18/2023     0.4   Follow up with FTX HR in regards to outstanding dotcom payroll
                                          approvals




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Employee Matters
Professional              Date    Hours     Activity
Simoneaux, Nicole     7/19/2023     1.1   Prepare first draft of comprehensive bonus summary for all
                                          personnel since 2021
Simoneaux, Nicole     7/19/2023     0.2   Respond to outstanding items in regards to European personnel for
                                          avoidance calculations
Simoneaux, Nicole     7/19/2023     0.6   Provide crypto team with analysis on potential bonus activity on the
                                          exchange
Simoneaux, Nicole     7/19/2023     1.3   Prepare unpaid prepetition employee expense analysis to compare
                                          with SOFAs
Simoneaux, Nicole     7/19/2023     1.1   Prepare responses and support for headcount variance inquiries in
                                          regards to the Interim Financial Update
Simoneaux, Nicole     7/19/2023     2.4   Compile master employee trading account and email listing for
                                          investigations
Simoneaux, Nicole     7/20/2023     1.3   Provide data to assist in quantification of 10-year fixed term
                                          employment claims filed
Simoneaux, Nicole     7/20/2023     1.1   Respond to inquiries for Cottonwood Grove payroll funds not
                                          released by intermediary bank
Simoneaux, Nicole     7/20/2023     2.7   Draft and support responses to inquiries provided by Links payroll
                                          processor counsel in regards to foreign payroll funding under
                                          chapter 11
Simoneaux, Nicole     7/20/2023     1.8   Prepare disbursement schedule for end of month dotcom and FTX
                                          US payrolls
Simoneaux, Nicole     7/20/2023     0.4   Retrieve wire confirmations for Cottonwood Grove payroll funds not
                                          released by intermediary bank
Simoneaux, Nicole     7/20/2023     0.7   Relay approvals for Asian and European dotcom end-of-month
                                          payrolls as recommended by HR
Simoneaux, Nicole     7/21/2023     1.7   Incorporate known transaction history for FTX Digital Markets
                                          employees into compensation analysis
Simoneaux, Nicole     7/21/2023     1.6   Gather support in regards to insider transaction history on the
                                          exchange for summary
Simoneaux, Nicole     7/23/2023     0.9   Clean newly received data in regards to potential employee
                                          exchange account wildcard matches
Simoneaux, Nicole     7/23/2023     1.3   Prepare end-of-month payroll payment requests and weekly
                                          disbursement calendar
Simoneaux, Nicole     7/24/2023     1.1   Prepare initial prepetition employee roster with wallet account
                                          information based on documents provided by avoidance
Simoneaux, Nicole     7/24/2023     1.3   Incorporate additional SOFA 4 amended schedule support into
                                          employee compensation actuals for 2021 and 2022 where relevant
Simoneaux, Nicole     7/24/2023     1.8   Compare wildcard FTX US wallet search to personnel listings found
                                          in relativity for any activity after 2021
Simoneaux, Nicole     7/24/2023     2.2   Compare wildcard Dotcom wallet search to personnel listings found
                                          in relativity for any activity after 2021
Simoneaux, Nicole     7/24/2023     0.6   Compile rationalization summary for Cottonwood Grove contractors
                                          as requested by S&C
Arnett, Chris         7/25/2023     0.6   Review and provide comment re: draft compensation analysis




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Employee Matters
Professional             Date     Hours     Activity
Simoneaux, Nicole     7/25/2023     1.8   Perform outreach and compile data from avoidance and case
                                          management teams to reconcile employee transfers in 2021 and
                                          2022
Simoneaux, Nicole     7/25/2023     1.3   Prepare FTX 2.0 headcount listing with all active personnel start
                                          dates
Simoneaux, Nicole     7/25/2023     0.9   Manage new workstream request in regards to identifying employee
                                          wallet information on the FTX US exchange
Simoneaux, Nicole     7/25/2023     1.6   Continue contract review on Relativity to compile FTX 2.0 headcount
                                          listing with personnel start dates
Simoneaux, Nicole     7/25/2023     2.1   Manage and consolidate working prepetition employee listing with
                                          emails and exchange account identifiers for transaction tracking
Arnett, Chris         7/26/2023     0.6   Review and comment on revised HR bonus analysis and direct
                                          additional actions on same
Simoneaux, Nicole     7/26/2023     1.4   Prepare PwP request in regards to headcount bridges from
                                          December with per-individual listing
Simoneaux, Nicole     7/26/2023     0.7   Identify admin / test accounts related to potential employee
                                          withdrawal activity on the exchange
Simoneaux, Nicole     7/26/2023     1.7   Prepare monthly employee schedules from interim financial updates
                                          for use in MORs
Simoneaux, Nicole     7/26/2023     0.8   Extract Western Alliance payroll provider taxes paid from
                                          disbursement data
Simoneaux, Nicole     7/26/2023     0.3   Extract master services agreements for identified insiders in regards
                                          to SOFA 4 amendments
Simoneaux, Nicole     7/26/2023     1.9   Allocate payroll taxes by using per-payroll PEO support for MORs


Simoneaux, Nicole     7/26/2023     1.4   Continue analysis in regards to identifying dotcom employee wallet
                                          information based on newly provided documents
Arnett, Chris         7/27/2023     0.3   Review and comment on HR payment analysis requested by UCC

Simoneaux, Nicole     7/27/2023     0.6   Review FTX Turkey payroll for approval to wire given recent
                                          headcount changes
Simoneaux, Nicole     7/27/2023     1.1   Review available exchange withdrawal data from avoidance team to
                                          incorporate into employee compensation actuals
Simoneaux, Nicole     7/27/2023     1.9   Incorporate additional sources found in relativity into FTX 2.0
                                          employee wallet information tracker
Simoneaux, Nicole     7/28/2023     0.3   Respond to headcount inquiries and current status of personnel from
                                          A&M Europe and RoW team
Simoneaux, Nicole     7/28/2023     1.6   Troubleshoot payroll wire delays and processing times to avoid late
                                          penalties with US PEOs
Simoneaux, Nicole     7/28/2023     0.9   Prepare payment requests and disbursement summary for FTX US
                                          end-of-month payrolls
Simoneaux, Nicole     7/31/2023     1.4   Prepare monthly payroll disbursement actuals by entity for future
                                          variance reporting
Simoneaux, Nicole     7/31/2023     1.8   Gather and summarize per-invoice support for MOR tax reporting in
                                          regards to personnel


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Employee Matters
Professional              Date    Hours     Activity
Simoneaux, Nicole     7/31/2023      0.6   Extract and summarize payrolls from Salameda prepetition and
                                           Cottonwood Grove postpetition for FTX HR

Subtotal                           116.1

Fee Application
Professional              Date    Hours     Activity
Witherspoon, Samuel    7/5/2023      1.1   Create summary schedule of categories of contested fees

Grussing, Bernice     7/25/2023      1.7   Update database in accornce with fee application entries and format
                                           for Access
Coverick, Steve       7/26/2023      1.4   Review and provide comments on draft of June fee application

Grussing, Bernice     7/26/2023      3.2   Pull and review June expense raw data for language, category,
                                           update for caps
Grussing, Bernice     7/27/2023      1.6   Finalize June expense data review and format for database


Grussing, Bernice     7/27/2023      2.1   Prepare draft of June exhibits A - F and forward to team for review

Grussing, Bernice     7/28/2023      1.2   Prepare draft of June exhibits A -F with updated data from team and
                                           forward to team for review
Grussing, Bernice     7/31/2023      0.8   Incorporate minor edits to June data from counsel and send updated
                                           exhibits for review

Subtotal                            13.1

Financial Analysis
Professional              Date    Hours     Activity
Hershan, Robert       4/25/2023      0.7   Call regarding subsidiary wind down analysis with J. Sime, J. Ray
                                           (FTX), G. Posses, N. Nussbaum, A. Arora, R. Mekala (PWP), R.
                                           Simmons, A. Levine (S&C), E. Mosley, C. Arnett, R. Hershan, S.
                                           Coverick, and H. Trent (A&M)
Clayton, Lance         7/1/2023      2.4   Prepare equity investment outreach tracker

Liv-Feyman, Alec       7/2/2023      2.2   Review token receipts outstanding schedule for OS tokens


Liv-Feyman, Alec       7/2/2023      1.2   Update tokens confirmed receipt in token model

Clayton, Lance         7/3/2023      1.7   Update master investment model for newly identified funded
                                           investments
Clayton, Lance         7/3/2023      2.6   Perform updates to venture deck based on comments from internal
                                           team
Glustein, Steven       7/3/2023      0.6   Prepare weekend update summary for internal meeting relating to
                                           venture team updates




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Financial Analysis
Professional            Date     Hours     Activity
Glustein, Steven      7/3/2023     0.8   Email correspondence on token investment provide responses to
                                         daily efforts regarding venture workstream with A. Titus and S.
                                         Glustein (A&M)
Glustein, Steven      7/3/2023     0.4   Correspondence with A. Alden (QE) regarding token investments
                                         relating to potential avoidance actions
Glustein, Steven      7/3/2023     0.3   Correspondence with J. MacDonald (S&C) regarding constitution
                                         documents relating to fund investment
Glustein, Steven      7/3/2023     0.1   Finalize PMO slides relating to venture team updates

Glustein, Steven      7/3/2023     0.4   Correspondence with J. MacDonald and M. Wu (S&C) regarding
                                         token outreach relating to token venture investment
Glustein, Steven      7/3/2023     1.3   Discussion with A. Titus and S. Glustein (A&M) on venture
                                         workstream and finalization of presentation materials
Glustein, Steven      7/3/2023     1.3   Discussion with A. Titus and S. Glustein on venture workstream and
                                         finalization of presentation materials
Glustein, Steven      7/3/2023     0.3   Update PMO slide relating to trade settlement transaction


Glustein, Steven      7/3/2023     0.6   Prepare summary of trade settlement transaction regarding realized
                                         profits relating to LedgerPrime
Glustein, Steven      7/3/2023     0.8   Research Relativity regarding fund constitution documents relating
                                         to venture investments
Glustein, Steven      7/3/2023     0.6   Draft email to token issuer regarding vested unreceived tokens
                                         relating to token venture investments
Glustein, Steven      7/3/2023     0.3   Research Relativity regarding token purchase agreements relating to
                                         token venture investments
Glustein, Steven      7/3/2023     1.9   Summarize token purchase agreements relating to debtor and non-
                                         debtor vesting schedule
Liv-Feyman, Alec      7/3/2023     1.4   Update token warrant information within vesting schedule

Liv-Feyman, Alec      7/3/2023     1.8   Update token vesting schedule for tokens confirmed receipts


Liv-Feyman, Alec      7/3/2023     1.2   Update token tracker for wallet address information related to tokens

Liv-Feyman, Alec      7/3/2023     1.1   Update outstanding token receipts of tokens unconfirmed


Liv-Feyman, Alec      7/3/2023     0.6   Update daily media alerts and pricing for ventures team

Liv-Feyman, Alec      7/3/2023     2.3   Review outstanding token receipts for tokens pre/post-ico


Liv-Feyman, Alec      7/3/2023     1.7   Review third party site for additional token vesting information

Sivapalu, Anan        7/3/2023     1.4   Create model to summarize market maker financial results

Sivapalu, Anan        7/3/2023     1.6   Write sql script to eliminate outlier LUNA based traded pairs on
                                         spreads


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Financial Analysis
Professional               Date     Hours     Activity
Sivapalu, Anan           7/3/2023     2.5   Identify all tokens LUNA based tokens to gauge impact of spreads

Sivapalu, Anan           7/3/2023     2.4   Recalculate all measures regarding market maker results


Titus, Adam              7/3/2023     2.2   Develop tear sheet for monetization of token investment with
                                            summary details on situation and issuer
Titus, Adam              7/3/2023     1.7   Diligence details needed to respond to requests for information from
                                            3rd parties on token investment details to support monetization
Titus, Adam              7/3/2023     1.3   Discussion with S. Glustein on venture workstream and finalization
                                            of presentation materials
Titus, Adam              7/3/2023     0.8   email correspondence on token investment provide responses to
                                            daily efforts regarding venture workstream S. Glustein [A&M]
Titus, Adam              7/3/2023     1.0   Provide comments to email correspondence from W. Walker [A&M]
                                            on venture token outreach campaign
Walker, William          7/3/2023     1.1   Update token outreach list with additional data from weekend
                                            communication
Walker, William          7/3/2023     0.7   Correspond with venture team re: updated contact data


Walker, William          7/3/2023     2.1   Update venture token deck with latest pricing for internal review

Glustein, Steven         7/4/2023     1.8   Review analysis provided by A&M DI team regarding token tracing
                                            efforts relating to exited token investments
Glustein, Steven         7/4/2023     0.8   Correspondence with token issuers regarding vested tokens not yet
                                            received
Glustein, Steven         7/4/2023     0.6   Update outstanding items list regarding token outreach process
                                            relating to token venture investments
Glustein, Steven         7/4/2023     1.3   Summarize cost basis analysis regarding select fund investment
                                            relating to the venture book
Glustein, Steven         7/4/2023     0.6   Correspondence with token issuer regarding frozen tokens
                                            associated with venture token investments
Glustein, Steven         7/4/2023     0.2   Correspondence with J. MacDonald (S&C) regarding Relativity
                                            findings relating to fund investment documents
Glustein, Steven         7/4/2023     0.3   Correspondence with R. Perubhatla (RLKS) regarding emails
                                            received from the FTX inquiry hotline
Sivapalu, Anan           7/4/2023     2.2   Create python script to store new data file into the database

Sivapalu, Anan           7/4/2023     2.2   Write sql script to exclude tokens with incorrect pricing applied to
                                            recalculate spreads
Sivapalu, Anan           7/4/2023     1.9   Check through format of each file uploaded to gauge congruence
                                            with previous versions
Sivapalu, Anan           7/4/2023     0.8   Check on progress of storage of initial files into the database


Baker, Kevin             7/5/2023     0.3   Call with K. Baker, L. Callerio, S. Glustein, L. Lambert, L. Iwanski
                                            (A&M) regarding ventures token progress




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Callerio, Lorenzo      7/5/2023     0.3   Call with K. Baker, L. Callerio, S. Glustein, L. Lambert, L. Iwanski
                                          (A&M) regarding ventures token progress
Canale, Alex           7/5/2023     0.3   Call with P. McGrath, A. Canale, W. Walker (A&M) regarding
                                          avoidance token tracing progress
Clayton, Lance         7/5/2023     0.3   Call with A. Titus, S. Glustein, L. Clayton (A&M), S&C, and PWP re:
                                          Venture investment update
Clayton, Lance         7/5/2023     1.9   Update investment master for new events from advisor call

Clayton, Lance         7/5/2023     1.9   Continue work on equity outreach tracker


Clayton, Lance         7/5/2023     0.4   Call with L. Clayton, A. Liv-Feyman (A&M) regarding venture
                                          investments portfolio updates
Coverick, Steve        7/5/2023     0.3   Discuss administrative cost reduction exercise with J. Cooper (A&M)


Coverick, Steve        7/5/2023     0.3   Discuss administrative cost reduction exercise with E. Mosley (A&M)

Glustein, Steven       7/5/2023     0.3   Call with A. Titus, S. Glustein, A. Liv-Feyman (A&M), W. Syed, K.
                                          Flinn, B. Baker, S. Saferstein (PWP), B. O'Reilly, J. MacDonald
                                          (S&C) regarding FTX Venture Investments process timeline efforts
Glustein, Steven       7/5/2023     0.3   Call with K. Baker, L. Callerio, S. Glustein, L. Lambert, L. Iwanski
                                          (A&M) regarding ventures token progress
Glustein, Steven       7/5/2023     2.3   Prepare T-Minus schedule for venture investments workstream
                                          relating to Equity Investments
Glustein, Steven       7/5/2023     1.1   Prepare T-Minus schedule for venture investments workstream
                                          relating to Token Investments
Glustein, Steven       7/5/2023     2.6   Prepare workplan for venture investments workstream relating to
                                          LedgerPrime
Glustein, Steven       7/5/2023     1.7   Prepare workplan for venture investments workstream relating to the
                                          venture portfolio
Kearney, Kevin         7/5/2023     0.4   Review token vesting schedule for targeted token investment


Liv-Feyman, Alec       7/5/2023     1.4   Update token model for new post-petition token receivable
                                          information
Liv-Feyman, Alec       7/5/2023     0.4   Call with L. Clayton, A. Liv-Feyman (A&M) regarding venture
                                          investments portfolio updates
Liv-Feyman, Alec       7/5/2023     2.3   Update token tracker for new token deliverable tracing information
                                          updates
Liv-Feyman, Alec       7/5/2023     2.1   Update transaction information for token contact letter received


Liv-Feyman, Alec       7/5/2023     1.7   Update token receivable information based on crypto tracing
                                          deliverable
Liv-Feyman, Alec       7/5/2023     0.6   Update media alert updates and token price/24h volume pulling for
                                          investments
Liv-Feyman, Alec       7/5/2023     0.4   Review legal agreement for token receivable discrepancy




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Professional               Date     Hours     Activity
Liv-Feyman, Alec         7/5/2023     1.9   Develop analysis between ventures and other agreements variance

Liv-Feyman, Alec         7/5/2023     0.3   Call with I. Radwanski, A. Liv-Feyman (A&M) regarding avoidance
                                            ventures token tracing ventures updates
Liv-Feyman, Alec         7/5/2023     0.3   Call with A. Titus, S. Glustein, A. Liv-Feyman (A&M), W. Syed, K.
                                            Flinn, B. Baker, S. Saferstein (PWP), B. O'Reilly, J. MacDonald
                                            (S&C) regarding FTX Venture Investments process timeline efforts
Liv-Feyman, Alec         7/5/2023     0.7   Develop bridging for ventures token agreements versus other
                                            agreements
McGrath, Patrick         7/5/2023     0.3   Call with P. McGrath, A. Canale, W. Walker (A&M) regarding
                                            avoidance token tracing progress
Mosley, Ed               7/5/2023     0.3   Discuss administrative cost reduction exercise with S. Coverick
                                            (A&M)
Mosley, Ed               7/5/2023     1.3   Review of updated FTX EU presentation to UCC and other
                                            constiuency for financial analysis of next steps
Nizhner, David           7/5/2023     0.4   Correspond with A&M venture team regarding LedgerPrime claims


Radwanski, Igor          7/5/2023     0.3   Call with I. Radwanski, A. Liv-Feyman (A&M) regarding avoidance
                                            ventures token tracing ventures updates
Sivapalu, Anan           7/5/2023     0.8   Write sql scripts to run analysis on top ten customer by perpetual
                                            futures
Sivapalu, Anan           7/5/2023     1.2   Check impact of leverage token on overall spread

Sivapalu, Anan           7/5/2023     1.7   Write sql scripts to run analysis on top ten customer by spot
                                            instruments
Sivapalu, Anan           7/5/2023     0.9   Write sql scripts to run analysis on top ten customers

Sivapalu, Anan           7/5/2023     1.6   Write script to identify bullish instruments to gauge spreads

Sivapalu, Anan           7/5/2023     0.7   Run sql scrip to generate new data on instruments to be input into
                                            model
Sivapalu, Anan           7/5/2023     0.8   Run sql scrip to generate new data on customers accounts to be
                                            input into model
Sivapalu, Anan           7/5/2023     1.0   Run analytics on each of the top ten customers by product at lower
                                            level of granularity
Sivapalu, Anan           7/5/2023     1.0   Run sql scrip to generate new data on products to be input into
                                            model
Sivapalu, Anan           7/5/2023     0.5   Modify excel model to reflect new set of data input derived from
                                            updated dataset
Sivapalu, Anan           7/5/2023     0.4   Analyze perpetual futures by running lower level of granularity to
                                            verify results
Titus, Adam              7/5/2023     1.6   Build schedule and supporting summary including next steps for
                                            token vesting position not yet received
Titus, Adam              7/5/2023     0.3   Call with A. Titus, S. Glustein, A. Liv-Feyman (A&M), W. Syed, K.
                                            Flinn, B. Baker, S. Saferstein (PWP), B. O'Reilly, J. MacDonald
                                            (S&C) regarding FTX Venture Investments process timeline efforts

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Titus, Adam              7/5/2023     1.3   Provide closing documentation for fund closing, ensure team has
                                            correct files for distribution
Titus, Adam              7/5/2023     1.5   Review transactional documentation and draft summary of
                                            agreement for token investment closing
Titus, Adam              7/5/2023     0.8   Draft email correspondence for Ledger Prime update regarding next
                                            steps with Teneo and winddown process
Titus, Adam              7/5/2023     1.9   Draft summary overview of token investment by summary of issuer,
                                            investment funding amount and next steps
Titus, Adam              7/5/2023     1.3   Review vesting schedule of specific token investment against
                                            Venture team to ensure accurate based on reflection of transaction
                                            documents
Titus, Adam              7/5/2023     0.9   Review contact letter requested information from token issuer in
                                            support of gathering tokens
Walia, Gaurav            7/5/2023     0.4   Correspond with G. Walia (A&M) regarding investments by legal
                                            entity
Walker, William          7/5/2023     1.4   Prepare outline of vesting schedule for major token holdings in
                                            response to request from K. Ramanathan (A&M)
Walker, William          7/5/2023     2.2   Reconcile major token balance-in-wallet provided by issuer with
                                            historical transaction data in response to request from K.
                                            Ramanathan (A&M)
Walker, William          7/5/2023     0.4   Correspond with G. Walia (A&M) regarding investments by legal
                                            entity
Walker, William          7/5/2023     0.6   Draft memo to K. Ramanathan (A&M) regarding major token
                                            reconciliation
Walker, William          7/5/2023     0.3   Call with P. McGrath, A. Canale, W. Walker (A&M) regarding
                                            avoidance token tracing progress
Clayton, Lance           7/6/2023     1.4   Prepare summary of investee requests for eventual mgmt sign off


Clayton, Lance           7/6/2023     0.6   Call with A. Titus, S. Glustein, W. Walker, L. Clayton, A. Liv-Feyman
                                            (A&M) regarding FTX Ventures team internal progress efforts
Clayton, Lance           7/6/2023     0.7   Update sale tracker based on recent events


Clayton, Lance           7/6/2023     1.8   Refresh venture overview deck for changes in master file

Clayton, Lance           7/6/2023     2.8   Research Alameda investment transaction documents


Clayton, Lance           7/6/2023     0.9   Call with K. Beighton, J. Robinson (Teneo), F. Crocco, B.
                                            Zonenshayn (S&C), A. Titus, S. Glustein, L. Clayton (A&M) relating
                                            to LedgerPrime winddown
Coverick, Steve          7/6/2023     0.3   Discuss administrative cost reduction analysis with J. Cooper (A&M)

Glustein, Steven         7/6/2023     0.6   Call with A. Titus, S. Glustein, W. Walker, L. Clayton, A. Liv-Feyman
                                            (A&M) regarding FTX Ventures team internal progress efforts
Glustein, Steven         7/6/2023     0.9   Call with A. Titus, S. Glustein, L. Clayton (A&M), S&C, and Teneo
                                            re: LedgerPrime updates and next steps



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Glustein, Steven      7/6/2023     1.3   Discuss process updates with A. Titus and S. Glustein (A&M),
                                         regarding emails on tokens and tracking are complete relating to
                                         token investments
Glustein, Steven      7/6/2023     1.4   Review investment master tracker relating to reconciliation of
                                         statements and schedules
Glustein, Steven      7/6/2023     0.3   Review claims received relating to LedgerPrime


Glustein, Steven      7/6/2023     0.3   Research relativity relating to recently identified fund investment

Glustein, Steven      7/6/2023     0.6   Present ventures workstream workplan relating to token investments


Glustein, Steven      7/6/2023     0.4   Present ventures workstream workplan relating to LedgerPrime

Glustein, Steven      7/6/2023     1.1   Present ventures workstream workplan relating to equity investments

Glustein, Steven      7/6/2023     0.8   Prepare summary of token purchase agreements relating to select
                                         token venture investment
Glustein, Steven      7/6/2023     0.9   Call with K. Beighton, J. Robinson (Teneo), F. Crocco, B.
                                         Zonenshayn (S&C), A. Titus, S. Glustein, L. Clayton (A&M) relating
                                         to LedgerPrime winddown
Glustein, Steven      7/6/2023     1.4   Prepare summary of token investments for Avoidance team
                                         regarding vested tokens not yet received relating to token investment
Glustein, Steven      7/6/2023     1.3   Discuss next steps and process updates with S. Glustein [A&M],
                                         ensure emails on tokens and tracking are complete
Glustein, Steven      7/6/2023     0.6   Correspondence with M. Rahmani (PWP) regarding upcoming
                                         meetings relating to equity venture investments
Glustein, Steven      7/6/2023     0.6   Correspondence with Y. Yogev (Sygnia) relating to claiming vested
                                         tokens from smart contract
Glustein, Steven      7/6/2023     0.4   Correspondence with J. MacDonald (S&C) regarding token
                                         investment reach out process
Glustein, Steven      7/6/2023     0.3   Correspondence with J. MacDonald (S&C) regarding dissolution
                                         review documents
Glustein, Steven      7/6/2023     0.4   Correspondence with cash team regarding UCC request relating to
                                         De Minimis sales
Glustein, Steven      7/6/2023     0.7   Prepare summary of token purchase agreements relating to select
                                         token issuer venture investment
Liv-Feyman, Alec      7/6/2023     0.6   Call with A. Titus, S. Glustein, W. Walker, L. Clayton, A. Liv-Feyman
                                         (A&M) regarding FTX Ventures team internal progress efforts
Liv-Feyman, Alec      7/6/2023     1.7   Update token model for new tokens confirmed receipt post-petition

Liv-Feyman, Alec      7/6/2023     2.3   Update token outreach analysis for confirmed receipt of tokens


Liv-Feyman, Alec      7/6/2023     2.1   Update token model for new token deliverables outstanding received

Liv-Feyman, Alec      7/6/2023     1.1   Update mapping for token unique ID information related to
                                         agreements

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Professional               Date     Hours     Activity
Liv-Feyman, Alec         7/6/2023     1.8   Review tokens received on token explorer scanners

Liv-Feyman, Alec         7/6/2023     1.3   Review token outreach analysis for outstanding information


Liv-Feyman, Alec         7/6/2023     1.2   Review legal agreement for token receivable update of vesting
                                            schedule
Liv-Feyman, Alec         7/6/2023     0.7   Pull media alert updates and token pricing/24h volume token pulls

Sivapalu, Anan           7/6/2023     1.3   Investigate volume differences compared to previous iteration


Sivapalu, Anan           7/6/2023     1.6   Investigate variation in spreads between top ranked customers

Sivapalu, Anan           7/6/2023     2.3   Create scripts to look at individual accounts by the lowest cadence
                                            to understand spread variation
Sivapalu, Anan           7/6/2023     2.3   Attempt to summarize bottom ranked accounts into the various
                                            spread buckets
Sivapalu, Anan           7/6/2023     0.8   Format summaries of ranking tables to be circulated to management


Sivapalu, Anan           7/6/2023     2.2   Check through spread bridge buckets to gauge effectiveness of its
                                            financial explanation
Titus, Adam              7/6/2023     2.1   Update token investment tracker for latest details regarding select
                                            investments based on week's activities
Titus, Adam              7/6/2023     1.8   Review latest draft of PMO deck and provide comments to S.
                                            Glustein to revise the presentation
Titus, Adam              7/6/2023     1.7   Review information data room sites for equity investments to ensure
                                            processing of latest requested details are being stored
Titus, Adam              7/6/2023     0.4   Discussion with A. Titus, E. Mosley (A&M) regarding token unlocking
                                            schedule
Titus, Adam              7/6/2023     1.3   Discuss process updates with A. Titus and S. Glustein (A&M),
                                            regarding emails on tokens and tracking are complete relating to
                                            token investments
Titus, Adam              7/6/2023     0.9   Call with K. Beighton, J. Robinson (Teneo), F. Crocco, B.
                                            Zonenshayn (S&C), A. Titus, S. Glustein, L. Clayton (A&M) relating
                                            to LedgerPrime winddown
Titus, Adam              7/6/2023     0.6   Call with A. Titus, S. Glustein, W. Walker, L. Clayton, A. Liv-Feyman
                                            (A&M) regarding FTX Ventures team internal progress efforts
Titus, Adam              7/6/2023     2.3   Draft summary of layout for unclaimed tokens including statistics
                                            provide layout to S. Glustein [A&M]
Walker, William          7/6/2023     2.3   Prepare shell of token outreach status deck

Walker, William          7/6/2023     1.7   Update commentary on token outreach deck


Walker, William          7/6/2023     0.6   Call with A. Titus, S. Glustein, W. Walker, L. Clayton, A. Liv-Feyman
                                            (A&M) regarding FTX Ventures team internal progress efforts
Walker, William          7/6/2023     1.2   Create tables for outstanding receipts update



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Walker, William       7/6/2023     2.4   Create tables for token status update

Walker, William       7/6/2023     1.2   Reconcile token model with latest investment tracker


Walker, William       7/6/2023     1.3   Refresh token model with updated figures from the refreshed coin
                                         report
Walker, William       7/6/2023     0.9   Review Relativity data for missing contract information

Walker, William       7/6/2023     1.5   Refresh vesting schedules with updated vesting information


Clayton, Lance        7/7/2023     0.4   Correspond with W. Walker (A&M) regarding updated mapping for
                                         venture to token mapping
Clayton, Lance        7/7/2023     2.0   Prepare for upcoming meeting with Alameda investment


Clayton, Lance        7/7/2023     2.3   Summarize court procedures of sale re: equity outreach process

Clayton, Lance        7/7/2023     2.8   Alameda investment tear-sheet summary


Glustein, Steven      7/7/2023     1.6   Draft slides for venture update deck regarding equity investments
                                         relating to potential De-Minimis investments
Glustein, Steven      7/7/2023     1.4   Draft slides for venture update deck relating to closed investments

Glustein, Steven      7/7/2023     0.8   Draft slides for venture update deck regarding debt investment
                                         relating to amortization schedule
Glustein, Steven      7/7/2023     2.8   Draft slides for venture update deck relating to executive summary

Liv-Feyman, Alec      7/7/2023     1.8   Update token model for locked token updates and wallet address
                                         confirmations
Liv-Feyman, Alec      7/7/2023     1.1   Review debtor v. non-debtor token agreement variance

Liv-Feyman, Alec      7/7/2023     1.9   Review pricing site for token pricing information updates


Liv-Feyman, Alec      7/7/2023     1.3   Review token PMO deck and make confirmed receipt updates

Liv-Feyman, Alec      7/7/2023     1.2   Update token model for tokens confirmed receipt from outreach
                                         letters
Liv-Feyman, Alec      7/7/2023     0.6   Update token deliverable information for new media and pricing
                                         updates
Liv-Feyman, Alec      7/7/2023     2.3   Update token model for additional breakdown of token agreement
                                         information
Liv-Feyman, Alec      7/7/2023     0.2   Call with W. Walker, A. Liv-Feyman (A&M) regarding token image
                                         manager discussion
Nizhner, David        7/7/2023     0.6   Update LedgerPrime PMO update slide




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Nizhner, David           7/7/2023     1.3   Update LedgerPrime asset transfer schedule

Simoneaux, Nicole        7/7/2023     1.3   Prepare crypto 2019 filing data for plan analysis


Sivapalu, Anan           7/7/2023     2.0   Check python script related to coin data retrieval to gauge availability
                                            of api calls
Sivapalu, Anan           7/7/2023     1.2   Write scripts to calculate FTT Hold discounts applied to trading pairs

Sivapalu, Anan           7/7/2023     2.8   Write scripts to calculate FTT discount applied to trading pairs


Sivapalu, Anan           7/7/2023     2.4   Write script to summarize discounts by trading pairs

Titus, Adam              7/7/2023     1.2   Write up key bullets on rationale and for investment sale decision
                                            related to venture investments for response to questions
Titus, Adam              7/7/2023     1.1   Update investment tracker based on weekly findings and information
                                            learned
Titus, Adam              7/7/2023     2.2   Review presentation materials provided on position of equity, fund
                                            and token positions
Titus, Adam              7/7/2023     1.7   Review daily token update and relevant information related to key
                                            token positions
Titus, Adam              7/7/2023     0.6   Review claims filed against entity for winddown, ensure claims
                                            amount do not exceed ability for solvency
Titus, Adam              7/7/2023     0.9   Provide comments on position of equity, fund and token positions to
                                            S. Glustein and W. Walker [A&M]
Titus, Adam              7/7/2023     1.6   Draft summary tear sheet on investment position include overview of
                                            issuer and next steps
Titus, Adam              7/7/2023     2.4   Create detailed list of closing items for token investment update
                                            prepare schedule for review with internal team on process steps for
                                            token investments
Walker, William          7/7/2023     2.7   Update venture deck token section with updated structure


Walker, William          7/7/2023     1.8   Update tables already in place in venture deck

Walker, William          7/7/2023     2.6   Update token outreach deck with additional commentary


Walker, William          7/7/2023     2.4   Update token model presentation workbook with updated tables for
                                            venture presentation
Walker, William          7/7/2023     0.2   Call with W. Walker, A. Liv-Feyman (A&M) regarding token image
                                            manager discussion
Walker, William          7/7/2023     0.7   Correspond with venture team on team deliverables

Walker, William          7/7/2023     0.3   Correspond with venture team on updates to the PMO deck

Walker, William          7/7/2023     0.3   Correspond with venture team on updates to the venture deck




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Walker, William       7/7/2023     1.3   Prepare slide token updates for incorporation into pmo presentation

Walker, William       7/7/2023     0.9   Review descriptions for all labels in venture deck


Walker, William       7/7/2023     0.9   Review token details on coinmarketcap.com

Walker, William       7/7/2023     0.4   Correspond with L. Clayton (A&M) regarding updated mapping for
                                         venture to token mapping
Walker, William       7/7/2023     1.8   Update venture deck with updated pre-ico tokens investments table


Clayton, Lance        7/9/2023     0.8   Equity investment outreach re: contact update

Clayton, Lance        7/9/2023     2.1   Updates to investment master model and associated bridges


Clayton, Lance        7/9/2023     0.6   Update venture sale tracker for recent events

Clayton, Lance        7/9/2023     1.1   Refresh venture overview deck for changes in master file


Glustein, Steven      7/9/2023     1.4   Draft weekend update materials relating to venture investments
                                         workstream
Glustein, Steven      7/9/2023     0.2   Finalize PMO slides relating to brokerage update

Glustein, Steven      7/9/2023     0.4   Finalize PMO slides relating to closed investments


Glustein, Steven      7/9/2023     1.4   Finalize PMO slides relating to token investments

Liv-Feyman, Alec      7/9/2023     1.3   Update daily token updates formatting for internal analysis


Liv-Feyman, Alec      7/9/2023     1.7   Update token outreach model for new tokens confirmed receipt

Nizhner, David        7/9/2023     0.9   Review updated LedgerPrime LLC financials


Clayton, Lance       7/10/2023     2.8   Alameda investment tear-sheet summary

Clayton, Lance       7/10/2023     2.7   Prepare schedule for internal plan team re: Venture book

Clayton, Lance       7/10/2023     2.4   Alameda investment transaction research re: Upcoming discussion
                                         w/ investee
Clayton, Lance       7/10/2023     2.2   Prepare summary of recent events for Alameda equity investment

Clayton, Lance       7/10/2023     1.4   Prepare discussion topics for upcoming Alameda investment meeting




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Clayton, Lance       7/10/2023     0.4   Participate in discussion regarding venture investment with M.
                                         Doheny (BoD), K. Cofsky, K. Flinn, M. Rahmani, B. Mendelsohn, S.
                                         Saferstein, E. Newton, N. Velivela, H. Rangaraju (PWP), E.
                                         Simpson, J. MacDonald, A. Cohen (S&C) S. Glustein, L. Clayton, W.
                                         Wa
Coverick, Steve      7/10/2023     0.5   Discuss updates re: administrative cost reduction exercise with E.
                                         Mosley (A&M)
Glustein, Steven     7/10/2023     0.9   Call with S. Glustein and W. Walker (A&M) to discuss token slides
                                         relating to venture portfolio deck
Glustein, Steven     7/10/2023     0.8   Update loan investment overview slide regarding venture portfolio
                                         presentation
Glustein, Steven     7/10/2023     0.4   Provide comments on venture portfolio presentation relating to fund
                                         investments
Glustein, Steven     7/10/2023     0.8   Provide comments on tear sheet relating to venture equity
                                         investment
Glustein, Steven     7/10/2023     2.7   Prepare summary of wallet information regarding payments for
                                         venture investments relating to legal entity splits
Glustein, Steven     7/10/2023     2.4   Prepare summary for S&C team regarding exited investment relating
                                         to venture portfolio
Glustein, Steven     7/10/2023     0.6   Prepare for upcoming call relating to potential sale of equity venture
                                         investment
Glustein, Steven     7/10/2023     0.4   Participate in discussion regarding venture investment with M.
                                         Doheny (BoD), K. Cofsky, K. Flinn, M. Rahmani, B. Mendelsohn,
                                         (PWP), E. Simpson, J. MacDonald, A. Cohen (S&C) S. Glustein, L.
                                         Clayton, W. Walker, A. Titus, and H. Trent (A&M)
Glustein, Steven     7/10/2023     1.0   Discuss next steps with A. Titus and S. Glustein (A&M) regarding
                                         equity sale process presentation
Glustein, Steven     7/10/2023     0.2   Correspondence with crypto team relating to token investments by
                                         legal entity
Glustein, Steven     7/10/2023     0.2   Call with S. Glustein and D. Nizhner (A&M) to discuss winddown
                                         analysis relating to LedgerPrime
Glustein, Steven     7/10/2023     1.7   Update venture portfolio presentation relating to fund investment
                                         process
Glustein, Steven     7/10/2023     0.6   Correspondence with Y. Yogev (Sygnia) and A. Holland (S&C)
                                         relating to venture token investments
Liv-Feyman, Alec     7/10/2023     0.4   Update media alerts tab for new tokens switched from pre to post ico

Liv-Feyman, Alec     7/10/2023     2.1   Update token model for new token brandings and name changes


Liv-Feyman, Alec     7/10/2023     1.3   Update token model for updated vesting schedule eligibility

Liv-Feyman, Alec     7/10/2023     0.4   Review token receivable outstanding wallet addresses to determine
                                         quantities outstanding
Liv-Feyman, Alec     7/10/2023     2.4   Review legal agreements for outstanding token vesting schedules

Liv-Feyman, Alec     7/10/2023     1.3   Review legal agreement for outstanding tokens not yet received but
                                         vested

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Financial Analysis
Professional              Date     Hours     Activity
Liv-Feyman, Alec       7/10/2023     1.2   Search post/pre-ico token logos online to place into model

Liv-Feyman, Alec       7/10/2023     0.9   Determine token ICO eligibility updates on third party sites


Liv-Feyman, Alec       7/10/2023     0.6   Consolidate daily price pulling information and media alert updates
                                           for internal distribution
Liv-Feyman, Alec       7/10/2023     0.6   Consolidate confirmations of new token brandings for review

Liv-Feyman, Alec       7/10/2023     0.6   Call with W. Walker, A. Liv-Feyman (A&M) regarding token vesting
                                           schedule updates
Mosley, Ed             7/10/2023     0.5   Discuss updates re: administrative cost reduction exercise with
                                           S.Coverick (A&M)
Mosley, Ed             7/10/2023     1.3   Review of and prepare comments to token monetization financial
                                           analysis presentation for the board
Nizhner, David         7/10/2023     0.2   Call with S. Glustein and D. Nizhner (A&M) to discuss winddown
                                           analysis relating to LedgerPrime
Nizhner, David         7/10/2023     2.7   Continue to revise wind down model for LedgerPrime LLC through
                                           accounting adjustments
Nizhner, David         7/10/2023     1.6   Revise mapping for wind down model for LedgerPrime

Nizhner, David         7/10/2023     2.7   Create hypothetical wind down model for subsidiary with updated
                                           financials
Nizhner, David         7/10/2023     1.6   Update pro forma template for LedgerPrime wind down analysis


Sivapalu, Anan         7/10/2023     1.9   Write script to re-run jurisdiction analysis by metrics to gauge
                                           difference from previous dataset
Sivapalu, Anan         7/10/2023     1.4   Investigate deployment to new server to gauge quality of cube


Sivapalu, Anan         7/10/2023     0.5   Deploy tabular model using larger wallet tracker data

Sivapalu, Anan         7/10/2023     0.6   Deploy smaller data model suing wallet tracker map data


Sivapalu, Anan         7/10/2023     0.5   Deploy smaller cube to new server to gauge relative success of
                                           cube for analysis
Sivapalu, Anan         7/10/2023     0.4   Build new tabular model using wallet tracker data

Sivapalu, Anan         7/10/2023     1.2   Redeploy cube using larger dataset with additional tables to gauge
                                           quality of cube
Sivapalu, Anan         7/10/2023     0.4   Rebuild cube in using smaller datasets to deploy to new server

Sivapalu, Anan         7/10/2023     2.8   Write script to re-run analysis on top ten customers by metrics to
                                           gauge difference from previous dataset




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Financial Analysis
Professional               Date     Hours     Activity
Titus, Adam             7/10/2023     0.4   Participate in discussion regarding venture investment with M.
                                            Doheny (BoD), K. Cofsky, K. Flinn, M. Rahmani, B. Mendelsohn, S.
                                            Saferstein, E. Newton, N. Velivela, H. Rangaraju (PWP), E.
                                            Simpson, J. MacDonald, A. Cohen (S&C) S. Glustein, L. Clayton, W.
                                            Wa
Titus, Adam             7/10/2023     1.3   Provide comments on tear sheet summary on investment potential
                                            buyback of equity
Titus, Adam             7/10/2023     1.4   Review draft of venture portfolio presentation provided by S.
                                            Glustein [A&M]
Titus, Adam             7/10/2023     2.6   Update schedules on token sale process and road map including
                                            those vesting in Q3 with timeline and equity based on vesting
                                            schedule
Titus, Adam             7/10/2023     0.6   Correspond with Teneo on Ledger Prime related to updated
                                            financials and process steps for Cayman Windup
Titus, Adam             7/10/2023     1.0   Discuss next steps with A. Titus and S. Glustein (A&M) regarding
                                            equity sale process presentation
Titus, Adam             7/10/2023     1.7   Draft agenda items in preparation for weekly update call


Titus, Adam             7/10/2023     2.3   Draft situation overview on investment including schedules of
                                            holders and review of purchase agreements
Trent, Hudson           7/10/2023     0.4   Participate in discussion regarding venture investment with M.
                                            Doheny (BoD), K. Cofsky, K. Flinn, M. Rahmani, B. Mendelsohn, S.
                                            Saferstein, E. Newton, N. Velivela, H. Rangaraju (PWP), E.
                                            Simpson, J. MacDonald, A. Cohen (S&C) S. Glustein, L. Clayton, W.
                                            Wa
Walker, William         7/10/2023     1.0   Update venture deck commentary with updated verbiage on universe
                                            of investments included
Walker, William         7/10/2023     0.9   Update logos in venture deck for each token investment


Walker, William         7/10/2023     1.6   Reconcile type 3 investments for purposes of preparing the venture
                                            deck
Walker, William         7/10/2023     1.1   Update venture token model with new investment data


Walker, William         7/10/2023     2.4   Update venture deck with updated token slides

Walker, William         7/10/2023     0.9   Call with S. Glustein and W. Walker (A&M) to discuss token slides
                                            relating to venture portfolio deck
Walker, William         7/10/2023     1.6   Create new tables for including in venture deck

Walker, William         7/10/2023     1.4   Draft token receipts section for inclusion in venture deck

Walker, William         7/10/2023     0.4   Participate in discussion regarding venture investment with M.
                                            Doheny (BoD), K. Cofsky, K. Flinn, M. Rahmani, B. Mendelsohn, S.
                                            Saferstein, E. Newton, N. Velivela, H. Rangaraju (PWP), E.
                                            Simpson, J. MacDonald, A. Cohen (S&C) S. Glustein, L. Clayton, W.
                                            Wa
Clayton, Lance          7/11/2023     3.1   Refresh and update structure of venture overview deck


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Clayton, Lance       7/11/2023     2.6   Research bankruptcy sale proceedings re: Investment sale process
                                         summary
Clayton, Lance       7/11/2023     1.7   Update Alameda investment tear-sheet for upcoming discussion


Clayton, Lance       7/11/2023     0.6   Call with L. Clayton, D. Nizhner, A. Liv-Feyman (A&M) regarding
                                         internal progress discussion of FTX Ventures team
Coverick, Steve      7/11/2023     1.3   Review and provide comments on admin cost reduction analysis
                                         draft
Glustein, Steven     7/11/2023     1.2   Update board of director slides relating to token venture investments


Glustein, Steven     7/11/2023     2.1   Review liquidation analysis relating to LedgerPrime winddown

Glustein, Steven     7/11/2023     1.2   Review draft winddown analysis relating to LedgerPrime


Glustein, Steven     7/11/2023     1.1   Review board of director slides relating to venture investment
                                         updates
Glustein, Steven     7/11/2023     1.3   Provide comments on liquidation analysis relating to LedgerPrime
                                         winddown
Glustein, Steven     7/11/2023     2.7   Prepare summary of De Minimis Assets procedures for the venture
                                         portfolio deck
Glustein, Steven     7/11/2023     1.2   Discussion with A. Titus and S. Glustein (A&M) on venture
                                         workstream and equity position process
Glustein, Steven     7/11/2023     0.6   Call with S. Glustein, A. Liv-Feyman (A&M) regarding updates to
                                         legal agreements analysis
Glustein, Steven     7/11/2023     0.2   Call with S. Glustein, A. Liv-Feyman (A&M) regarding legal
                                         agreements analysis
Glustein, Steven     7/11/2023     0.6   Call with A. Titus, S. Glustein, W. Walker (A&M) regarding internal
                                         progress discussion of FTX Ventures team
Glustein, Steven     7/11/2023     0.4   Prepare summary of venture team progress and accomplishments

Liv-Feyman, Alec     7/11/2023     0.6   Call with S. Glustein, A. Liv-Feyman (A&M) regarding updates to
                                         legal agreements analysis
Liv-Feyman, Alec     7/11/2023     0.2   Call with S. Glustein, A. Liv-Feyman (A&M) regarding legal
                                         agreements analysis
Liv-Feyman, Alec     7/11/2023     0.6   Consolidate information within legal agreements for token analysis

Liv-Feyman, Alec     7/11/2023     1.2   Review third party site for additional legal agreement vesting
                                         schedule updates
Liv-Feyman, Alec     7/11/2023     1.8   Update formatting and figures for legal agreements analysis

Liv-Feyman, Alec     7/11/2023     2.4   Update legal agreement information within ventures analysis


Liv-Feyman, Alec     7/11/2023     0.4   Update legal entity naming / groupings in data analysis




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Liv-Feyman, Alec        7/11/2023     2.1   Update tracker for detailed analysis on legal agreement figures and
                                            comments
Liv-Feyman, Alec        7/11/2023     0.6   Call with L. Clayton, D. Nizhner, A. Liv-Feyman (A&M) regarding
                                            internal progress discussion of FTX Ventures team
Liv-Feyman, Alec        7/11/2023     1.7   Review third party site for additional legal analysis and update
                                            vesting schedules
Mosley, Ed              7/11/2023     0.3   Discussion with S.Coverick (A&M) regarding administrative expense
                                            analysis for management
Nizhner, David          7/11/2023     0.9   Create pro forma LedgerPrime income statement


Nizhner, David          7/11/2023     0.6   Create wind down claims waterfall for LedgerPrime

Nizhner, David          7/11/2023     1.2   Create wind down waterfall for LedgerPrime


Nizhner, David          7/11/2023     0.6   Call with L. Clayton, D. Nizhner, A. Liv-Feyman (A&M) regarding
                                            internal progress discussion of FTX Ventures team
Nizhner, David          7/11/2023     1.6   Consolidate pro forma LedgerPrime financials into rolled up entity


Sivapalu, Anan          7/11/2023     2.4   Write python script to store granular reference end point pricing data

Sivapalu, Anan          7/11/2023     1.4   Write script to run similar analysis to jurisdiction analysis on top ten
                                            customers
Sivapalu, Anan          7/11/2023     1.7   Review jurisdiction bridge analysis on exchange generated revenue


Sivapalu, Anan          7/11/2023     2.3   Review all API end-points with access to granular data

Sivapalu, Anan          7/11/2023     1.3   Read through parameter documentation for API access to gauge
                                            metric availability on reference data by the second
Titus, Adam             7/11/2023     2.2   Draft workstream highlights materials to be included for website
                                            development at request of J. Cooper [A&M]
Titus, Adam             7/11/2023     0.7   Review token transaction reconciliation report provided by L. Clayton
                                            [A&M] for accuracy and completeness
Titus, Adam             7/11/2023     1.7   Draft meeting agenda and objectives for bring down Ledger Prime
                                            discussion
Titus, Adam             7/11/2023     1.3   Review equity investment for detailed information to set up call to
                                            receive potential offer for position
Titus, Adam             7/11/2023     1.2   Discussion with S. Glustein [A&M] on venture workstream and equity
                                            position process
Titus, Adam             7/11/2023     1.5   Develop plan to receive tokens not yet received from issuer to
                                            confirm correct address based on separate token agreement than
                                            previously used
Titus, Adam             7/11/2023     0.3   Continue to correspond with Teneo on Ledger Prime related to
                                            updated financials and process steps for Cayman Windup
Titus, Adam             7/11/2023     0.6   Call with A. Titus, S. Glustein, W. Walker (A&M) regarding internal
                                            progress discussion of FTX Ventures team


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Titus, Adam             7/11/2023     0.8   Provide comments to portion of workstream highlights provided by
                                            S. Glustein [A&M]
Walker, William         7/11/2023     0.7   Review legal documents regarding potential legal action relating to
                                            venture token investment
Walker, William         7/11/2023     1.2   Prepare bridge outlining change between venture deck and token
                                            reporting
Walker, William         7/11/2023     0.4   Correspond with venture team on workstream status

Walker, William         7/11/2023     1.0   Review funding tracing materials for token investments


Walker, William         7/11/2023     0.3   Draft response to venture token question from P. McGrath (A&M)

Walker, William         7/11/2023     0.4   Review token tracing materials for receipts


Walker, William         7/11/2023     0.9   Review venture token slide figures to verify correct representation of
                                            figures
Walker, William         7/11/2023     1.1   Update model with latest on funding tracing materials related to
                                            token investments
Walker, William         7/11/2023     1.5   Update model with token tracing materials

Walker, William         7/11/2023     1.4   Update venture deck token section commentary

Walker, William         7/11/2023     2.3   Update venture presentation model to incorporate tables into venture
                                            decks
Walker, William         7/11/2023     0.9   Review document draft from L. Clayton (A&M) related to website data

Walker, William         7/11/2023     0.6   Call with A. Titus, S. Glustein, W. Walker (A&M) regarding internal
                                            progress discussion of FTX Ventures team
Walker, William         7/11/2023     1.8   Review contract information on token to verify token quantities

Clayton, Lance          7/12/2023     2.6   Update investment master and bridge for newly found investment


Clayton, Lance          7/12/2023     1.1   Track updates to Alameda Investments re: Sale tracker

Clayton, Lance          7/12/2023     2.3   Create reconciliation schedule for Alameda token investment re:
                                            determine funded value
Clayton, Lance          7/12/2023     0.3   Call with A. Titus, S. Glustein, W. Walker, L. Clayton (A&M), K.
                                            Flinn, M. Rahmani, K. Baker, S. Saferstein (PWP), A. Cohen, J.
                                            MacDonald, M. Wu (S&C) regarding Venture investments advisor
                                            touchpoint
Glustein, Steven        7/12/2023     0.8   Review slides prepared for board of directors meeting regarding
                                            short term plan forecast relating to token investments
Glustein, Steven        7/12/2023     1.2   Discussion with A. Titus and S. Glustein (A&M) on venture
                                            workstream and equity position process
Glustein, Steven        7/12/2023     0.6   Call with A. Titus and S. Glustein (A&M) to discuss board materials
                                            relating to venture investments

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Professional            Date     Hours     Activity
Glustein, Steven     7/12/2023     0.3   Call with A. Titus, S. Glustein, W. Walker, L. Clayton (A&M), K.
                                         Flinn, M. Rahmani, K. Baker, S. Saferstein (PWP), A. Cohen, J.
                                         MacDonald, M. Wu (S&C) regarding Venture investments advisor
                                         touchpoint
Glustein, Steven     7/12/2023     0.8   Call with K. Beighton, J. Robinson (Teneo), S. Glustein, A. Titus, D.
                                         Nizhner (A&M) R. Bell (Walkers), F. Crocco, B. Zonenshayn (S&C),
                                         S. Tang (LedgerPrime) re: LedgerPrime Cayman wind down
Glustein, Steven     7/12/2023     0.3   Call with L. Iwanski, L. Callerio, P. McGrath, A. Canale, S. Glustein
                                         (A&M) regarding progress touchpoint surrounding ventures
                                         avoidance tracing efforts
Glustein, Steven     7/12/2023     1.1   Compile all legal agreements relating to token venture investments


Glustein, Steven     7/12/2023     0.4   Correspondence with K. Flinn (PWP) regarding upcoming meeting
                                         with board of directors
Glustein, Steven     7/12/2023     1.7   Review venture investment analysis regarding token investments
                                         relating to lock-up provisions
Glustein, Steven     7/12/2023     0.3   Correspondence with token issuer regarding tokens vested not yet
                                         received
Glustein, Steven     7/12/2023     0.4   Prepare agenda for upcoming call regarding LedgerPrime winddown
                                         relating to the Cayman entity
Glustein, Steven     7/12/2023     0.4   Prepare for call with Teneo regarding LedgerPrime Cayman wind-
                                         down process
Glustein, Steven     7/12/2023     1.8   Prepare summary of token venture investments regarding legal
                                         analysis relating to the venture book
Glustein, Steven     7/12/2023     0.1   Research relativity for legal agreements relating to token investments


Glustein, Steven     7/12/2023     0.3   Review capital call notice relating to venture investment fund
                                         investment
Glustein, Steven     7/12/2023     0.4   Review slides prepared for board of directors meeting brokerage
                                         update
Glustein, Steven     7/12/2023     1.1   Review slides prepared for board of directors meeting relating to
                                         token investments update
Glustein, Steven     7/12/2023     0.6   Update slides prepared for board of directors meeting relating to
                                         LedgerPrime
Glustein, Steven     7/12/2023     1.1   Update venture investment analysis regarding token investments
                                         relating to lock-up provisions
Liv-Feyman, Alec     7/12/2023     0.3   Call with W. Walker, A. Liv-Feyman (A&M) regarding vesting
                                         schedule updates to token model
Liv-Feyman, Alec     7/12/2023     0.4   Review CMC for tracked tokens to determine event date eligibility


Liv-Feyman, Alec     7/12/2023     1.1   Review confirmed receipt of tokens based on scanner addresses

Liv-Feyman, Alec     7/12/2023     0.4   Review legal agreement for vesting schedule updates

Liv-Feyman, Alec     7/12/2023     1.2   Review legal analysis dashboard for outstanding questions and
                                         wallet lookups


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Professional               Date    Hours     Activity
Liv-Feyman, Alec       7/12/2023     0.6   Review media alert updates and price pulling updates for internal
                                           distribution
Liv-Feyman, Alec       7/12/2023     0.3   Review token legal agreements on third party sites for extraction


Liv-Feyman, Alec       7/12/2023     0.3   Call with L. Lambert, W. Walker, A. Liv-Feyman (A&M) regarding
                                           progress touchpoint surrounding ventures avoidance tracing efforts
Liv-Feyman, Alec       7/12/2023     0.6   Search transaction hashes within scanner links to determine legal
                                           ownership of tokens
Liv-Feyman, Alec       7/12/2023     1.8   Review third party site for additional legal agreement analysis context


Liv-Feyman, Alec       7/12/2023     0.3   Update 24h volume figure pulling for updates to tokens

Liv-Feyman, Alec       7/12/2023     1.2   Update document naming for legal agreements for distribution


Liv-Feyman, Alec       7/12/2023     1.3   Update legal agreements analysis summary for new changes

Liv-Feyman, Alec       7/12/2023     1.2   Update token model with new legal agreements into vesting
                                           schedule and output tabs
Liv-Feyman, Alec       7/12/2023     0.9   Search third party site for additional token legal agreement updates

Liv-Feyman, Alec       7/12/2023     0.4   Review vesting schedule efforts before moving into live token model

Mosley, Ed             7/12/2023     0.4   Review of draft presentation to management regarding Embed wind
                                           down status
Mosley, Ed             7/12/2023     0.2   Call with S.Coverick (A&M) to discuss administrative expense
                                           forecast
Nizhner, David         7/12/2023     1.8   Create analysis regarding token investment recoveries


Nizhner, David         7/12/2023     1.3   Adjust assumptions for LedgerPrime wind down based on line item
                                           discrepancies
Nizhner, David         7/12/2023     0.2   Call with D. Sagen, D. Nizhner (A&M) re: LedgerPrime wallet
                                           reconciliation
Nizhner, David         7/12/2023     0.7   Call with K. Beighton, J. Robinson (Teneo), S. Glustein, A. Titus, D.
                                           Nizhner (A&M) R. Bell (Walkers), F. Crocco, B. Zonenshayn (S&C),
                                           S. Tang (LedgerPrime) re: LedgerPrime Cayman wind down
Nizhner, David         7/12/2023     2.7   Continue to map drivers to recovery waterfall for LedgerPrime

Nizhner, David         7/12/2023     0.6   Correspond with team regarding LedgerPrime asset positions


Nizhner, David         7/12/2023     1.9   Create LedgerPrime driver support for crypto assets

Nizhner, David         7/12/2023     0.9   Create summary of drivers for asset recoveries

Nizhner, David         7/12/2023     2.2   Revise LedgerPrime assumptions for drivers on recoveries




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Professional               Date     Hours     Activity
Sagen, Daniel           7/12/2023     0.2   Call with D. Sagen, D. Nizhner (A&M) re: LedgerPrime wallet
                                            reconciliation
Sivapalu, Anan          7/12/2023     1.8   Write script to retrieve pairs data on a minute increment for one
                                            exchange
Sivapalu, Anan          7/12/2023     2.8   Analyze pairs data access via API on quality-speed spectrum for all
                                            exchanges
Sivapalu, Anan          7/12/2023     0.5   Write script to access API to download data on a minute increment
                                            to store in database
Sivapalu, Anan          7/12/2023     2.7   Review documentation on pairs API end point on coinmetrics to
                                            gauge metric availability
Sivapalu, Anan          7/12/2023     0.9   Modify script to retrieve pairs data on a minute-by-minute basis for
                                            all exchanges
Sivapalu, Anan          7/12/2023     1.3   Analyze pairs data access via API on quality-speed spectrum


Titus, Adam             7/12/2023     1.2   Provide comments to BOD slides to S. Glustein and W. Walker
                                            [A&M] including templates of schedules needed to be completed
Titus, Adam             7/12/2023     1.3   Review investment tracker to ensure it is updated with weekly emails
                                            from investment positions including critical items and needs
Titus, Adam             7/12/2023     1.3   Review financial information recently gathered ensuring update of
                                            tracking documentation is complete with latest details
Titus, Adam             7/12/2023     1.4   Review BOD slides including updates on token, equity and hedge
                                            fund activities
Titus, Adam             7/12/2023     1.3   Develop categories for products and deliverables for fee tracking
                                            model
Titus, Adam             7/12/2023     0.3   Call with A. Titus, S. Glustein, W. Walker, L. Clayton (A&M), K.
                                            Flinn, M. Rahmani, K. Baker, S. Saferstein (PWP), A. Cohen, J.
                                            MacDonald, M. Wu (S&C) regarding Venture investments advisor
                                            touchpoint
Titus, Adam             7/12/2023     0.6   Call with A. Titus and S. Glustein (A&M) to discuss board materials
                                            relating to venture investments
Titus, Adam             7/12/2023     1.2   Discussion with A. Titus and S. Glustein (A&M) on venture
                                            workstream and equity position process
Titus, Adam             7/12/2023     1.1   Review email correspondences from equity issuers

Titus, Adam             7/12/2023     0.8   Call with K. Beighton, J. Robinson (Teneo), S. Glustein, A. Titus, D.
                                            Nizhner (A&M) R. Bell (Walkers), F. Crocco, B. Zonenshayn (S&C),
                                            S. Tang (LedgerPrime) re: LedgerPrime Cayman wind down
Walker, William         7/12/2023     2.8   Update token model to include receipt forecast in addition to vesting
                                            schedule
Walker, William         7/12/2023     1.4   Reconcile token model with updated investment tracker

Walker, William         7/12/2023     0.7   Correspond with venture team on workstream updates related to
                                            weekly recurring tasks
Walker, William         7/12/2023     1.4   Review board slide to update board deck with latest token updates




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Financial Analysis
Professional            Date     Hours     Activity
Walker, William      7/12/2023     1.4   Update board slides tables with new tables outlining receipts

Walker, William      7/12/2023     1.4   Update board slides with internal team comments


Walker, William      7/12/2023     1.4   Draft summary of token outreach status for incorporation into
                                         venture deck
Walker, William      7/12/2023     0.4   Correspond with venture team on updated board slides

Walker, William      7/12/2023     2.3   Draft new token related slides based on team comments


Walker, William      7/12/2023     0.3   Call with W. Walker, A. Liv-Feyman (A&M) regarding token warrant
                                         analysis
Walker, William      7/12/2023     0.3   Call with L. Lambert, W. Walker, A. Liv-Feyman (A&M) regarding
                                         progress touchpoint surrounding ventures avoidance tracing efforts
Walker, William      7/12/2023     0.3   Call with A. Titus, S. Glustein, W. Walker, L. Clayton (A&M), K.
                                         Flinn, M. Rahmani, K. Baker, S. Saferstein (PWP), A. Cohen, J.
                                         MacDonald, M. Wu (S&C) regarding Venture investments advisor
                                         touchpoint
Clayton, Lance       7/13/2023     2.8   Prepare reconciliation schedule for plan team re: venture
                                         investments
Clayton, Lance       7/13/2023     0.9   Call with A. Titus, S. Glustein, W. Walker, L. Clayton, A. Liv-Feyman
                                         (A&M), M. Rahmani, K. Flinn, S. Saferstein (PWP), M. Wu, A.
                                         Cohen (S&C), J. Ray, M. Rosenberg, R. Jain (RLKS) regarding BOD
                                         deck discussion updates of venture investments
Clayton, Lance       7/13/2023     2.6   Continue reconciliation schedule for Alameda token investment re:
                                         determine funded value
Clayton, Lance       7/13/2023     2.8   Prepare summary of required signatures for Alameda board seats
                                         re: Multiple Venture investments
Clayton, Lance       7/13/2023     0.7   Call with A. Titus, S. Glustein, L. Clayton, D. Nizhner, A. Liv-Feyman
                                         (A&M) regarding updates to FTX Venture Investments process
                                         efforts
Coverick, Steve      7/13/2023     1.3   Review and provide comments on case accomplishments analysis


Glustein, Steven     7/13/2023     1.1   Review warrant exercise document relating to token warrant
                                         exercise options
Glustein, Steven     7/13/2023     1.8   Review LedgerPrime wind-down analysis relating to wind-down costs

Glustein, Steven     7/13/2023     1.3   Review analysis provided by A&M DI team regarding tracing of
                                         consideration paid relating to token venture investments
Glustein, Steven     7/13/2023     1.4   Prepare summary of proposal received from token issuer relating to
                                         vesting of tokens
Glustein, Steven     7/13/2023     1.4   Working session with S. Glustein, D. Nizhner (A&M) re: revising
                                         wind down assumptions
Glustein, Steven     7/13/2023     0.4   Discussion with S&C team relating to LedgerPrime claims




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Professional            Date     Hours     Activity
Glustein, Steven     7/13/2023     0.9   Call with A. Titus, S. Glustein, W. Walker, L. Clayton, A. Liv-Feyman
                                         (A&M), M. Rahmani, K. Flinn, S. Saferstein (PWP), M. Wu, A.
                                         Cohen (S&C), J. Ray, M. Rosenberg, R. Jain (RLKS) regarding BOD
                                         deck discussion updates of venture investments
Glustein, Steven     7/13/2023     0.7   Call with A. Titus, S. Glustein, L. Clayton, D. Nizhner, A. Liv-Feyman
                                         (A&M) regarding updates to FTX Venture Investments process
                                         efforts
Glustein, Steven     7/13/2023     1.2   Review summary of claims by legal entity relating to LedgerPrime
                                         entities
Glustein, Steven     7/13/2023     1.6   Working session with S. Glustein, D. Nizhner (A&M) re: adjusting
                                         wind down driver mechanics
Glustein, Steven     7/13/2023     0.7   Working session with S. Glustein, D. Nizhner (A&M) re: adjusting
                                         supporting schedules for LedgerPrime wind down
Glustein, Steven     7/13/2023     0.8   Update summary analysis of claims relating to LedgerPrime


Liv-Feyman, Alec     7/13/2023     0.3   Call with W. Walker, A. Liv-Feyman (A&M) regarding token warrant
                                         analysis
Liv-Feyman, Alec     7/13/2023     0.7   Call with A. Titus, S. Glustein, L. Clayton, D. Nizhner, A. Liv-Feyman
                                         (A&M) regarding updates to FTX Venture Investments process
                                         efforts
Liv-Feyman, Alec     7/13/2023     1.4   Review token investments agreements to determine vesting
                                         receivables eligibility
Liv-Feyman, Alec     7/13/2023     0.7   Review token warrant agreements in token vesting schedule

Liv-Feyman, Alec     7/13/2023     0.8   Update internal team with new media alerts and coin price updates


Liv-Feyman, Alec     7/13/2023     1.2   Review scanner sites for wallet addresses and txn hashes

Liv-Feyman, Alec     7/13/2023     0.6   Review exited investments tracker for bridging analysis of token
                                         investments
Liv-Feyman, Alec     7/13/2023     1.3   Update legal agreement consolidation names for legal request


Liv-Feyman, Alec     7/13/2023     1.9   Develop updates to token investments slide in PMO deck

Liv-Feyman, Alec     7/13/2023     0.9   Call with A. Titus, S. Glustein, W. Walker, L. Clayton, A. Liv-Feman
                                         (A&M), M. Rahmani, K. Flinn, S. Saferstein (PWP), M. Wu, A.
                                         Cohen (S&C), J. Ray, M. Rosenberg, R. Jain (RLKS) regarding BOD
                                         deck discussion updates of venture investments
Liv-Feyman, Alec     7/13/2023     1.2   Review token dashboard pricing pull analysis to determine query
                                         edits
Liv-Feyman, Alec     7/13/2023     1.1   Review confirmed receipt tokens and funding for token investments
                                         inquired on
Nizhner, David       7/13/2023     1.6   Update flow of drivers within wind down model for LedgerPrime


Nizhner, David       7/13/2023     0.6   Update LedgerPrime claims schedule for S&C




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Professional               Date     Hours     Activity
Nizhner, David          7/13/2023     1.6   Working session with S. Glustein, D. Nizhner (A&M) re: adjusting
                                            wind down driver mechanics
Nizhner, David          7/13/2023     0.8   Update LedgerPrimes claim schedule for distribution


Nizhner, David          7/13/2023     1.6   Update claims drivers for wind down recovery analysis

Nizhner, David          7/13/2023     0.7   Working session with S. Glustein, D. Nizhner (A&M) re: adjusting
                                            supporting schedules for LedgerPrime wind down
Nizhner, David          7/13/2023     0.5   Adjust mapping for GUCs in claims waterfall


Nizhner, David          7/13/2023     1.7   Adjust wind down drivers for line items to match prior case
                                            assumptions
Nizhner, David          7/13/2023     0.7   Call with A. Titus, S. Glustein, L. Clayton, D. Nizhner, A. Liv-Feyman
                                            (A&M) regarding updates to FTX Venture Investments process
                                            efforts
Nizhner, David          7/13/2023     2.2   Create claims waterfall for wind down model


Nizhner, David          7/13/2023     1.3   Revise waterfall mechanics in LedgerPrime wind down model

Nizhner, David          7/13/2023     1.4   Working session with S. Glustein, D. Nizhner (A&M) re: revising
                                            wind down assumptions
Nizhner, David          7/13/2023     1.7   Revise wind down cost allocations in wind down model

Sagen, Daniel           7/13/2023     0.4   Call with A. Titus, W. Walker, D. Sagen (A&M) to discuss token
                                            vesting schedule in Coin Report
Sivapalu, Anan          7/13/2023     1.9   Write python code to calculate VWAP on trades data to calculate
                                            per second candles
Sivapalu, Anan          7/13/2023     2.9   Write python code to access market trades data via coinmetrics API
                                            call
Sivapalu, Anan          7/13/2023     2.4   Modify python code to store calculated VWAP into database


Sivapalu, Anan          7/13/2023     2.6   Analyze trades data access via API on quality-speed spectrum

Titus, Adam             7/13/2023     1.3   Provide comments on subsidiary entity design schedule including
                                            potential issues
Titus, Adam             7/13/2023     0.7   Call with A. Titus, S. Glustein, L. Clayton, D. Nizhner, A. Liv-Feyman
                                            (A&M) regarding updates to FTX Venture Investments process
                                            efforts
Titus, Adam             7/13/2023     0.9   Call with A. Titus, S. Glustein, W. Walker, L. Clayton, A. Liv-Feman
                                            (A&M), M. Rahmani, K. Flinn, S. Saferstein (PWP), M. Wu, A.
                                            Cohen (S&C), J. Ray, M. Rosenberg, R. Jain (RLKS) regarding BOD
                                            deck discussion updates of venture investments
Titus, Adam             7/13/2023     2.4   Draft summary schedule relating to discussion topics agenda for
                                            Ventures workstream internal update
Titus, Adam             7/13/2023     1.9   Review subsidiary entity design schedule for wind down analysis of
                                            investment ensure it is compliant with approach and thinking


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Titus, Adam             7/13/2023     1.8   Update PMO slides presentation related to Venture focus, including
                                            new slide on venture positions and changes between prior and new
                                            balance
Titus, Adam             7/13/2023     1.6   Update token venture model for latest details and confirm accuracy
                                            of latest reporting information of token positions
Titus, Adam             7/13/2023     0.4   Call with A. Titus, W. Walker, D. Sagen (A&M) to discuss token
                                            vesting schedule in Coin Report
Walker, William         7/13/2023     0.9   Update venture token deck with latest pricing data to tie out to coin
                                            report
Walker, William         7/13/2023     2.1   Update venture token deck to conform to latest materials provided to
                                            management
Walker, William         7/13/2023     0.9   Draft memo to D. Saga, K. Ramanathan, A. Titus (A&M) regarding
                                            changes in token receivable calculation
Walker, William         7/13/2023     0.7   Correspond with M. Wu (S&C) regarding token warrant agreements

Walker, William         7/13/2023     0.9   Call with A. Titus, S. Glustein, W. Walker, L. Clayton, A. Liv-Feyman
                                            (A&M), M. Rahmani, K. Flinn, S. Saferstein (PWP), M. Wu, A.
                                            Cohen (S&C), J. Ray, M. Rosenberg, R. Jain (RLKS) regarding BOD
                                            deck discussion updates of venture investments
Walker, William         7/13/2023     1.1   Draft correspondence to A. Kutscher (QE) related to token
                                            investment details
Walker, William         7/13/2023     1.2   Research particulars of certain multi-part token investment

Walker, William         7/13/2023     1.4   Prepare shell of token warrant analysis in response to request from
                                            S&C
Walker, William         7/13/2023     0.3   Call with W. Walker, A. Liv-Feyman (A&M) regarding token warrant
                                            analysis
Clayton, Lance          7/14/2023     3.1   Alameda token warrant research and transaction document sourcing


Clayton, Lance          7/14/2023     1.6   Update tear-sheet for final changes in advance of investee meeting

Clayton, Lance          7/14/2023     1.2   Update the discussion topics for Alameda investment meeting

Clayton, Lance          7/14/2023     0.6   Update the sale tracker in the investment master file


Clayton, Lance          7/14/2023     1.5   Updates to venture deck structure and flow

Glustein, Steven        7/14/2023     0.5   Call with A. Titus and S. Glustein (A&M) regarding LedgerPrime
                                            legal entity breakdown
Glustein, Steven        7/14/2023     0.6   Call with A. Titus and S. Glustein (A&M) to discuss equity
                                            investment sale process
Glustein, Steven        7/14/2023     0.4   Call with A. Titus and S. Glustein (A&M) and equity investee
                                            company relating to equity investment sale process
Glustein, Steven        7/14/2023     1.7   Update LedgerPrime wind-down analysis relating to crypto recoveries




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Professional               Date     Hours     Activity
Glustein, Steven        7/14/2023     0.3   Call with C. Sullivan, A. Titus and S. Glustein (A&M) regarding
                                            LedgerPrime Wind-down analysis
Glustein, Steven        7/14/2023     0.6   Update LedgerPrime wind-down model relating to drivers inputs


Glustein, Steven        7/14/2023     0.6   Update LedgerPrime wind-down model relating to assumptions
                                            analysis
Glustein, Steven        7/14/2023     1.9   Update LedgerPrime wind-down analysis relating to token recoveries

Glustein, Steven        7/14/2023     1.1   Update LedgerPrime wind-down analysis relating to PP&E recoveries


Glustein, Steven        7/14/2023     0.7   Update LedgerPrime wind-down analysis relating to cash recoveries

Liv-Feyman, Alec        7/14/2023     0.6   Call with W. Walker, A. Liv-Feyman (A&M) regarding token warrant
                                            agreement analysis
Liv-Feyman, Alec        7/14/2023     1.4   Review legal agreements for legal agreements token analysis

Liv-Feyman, Alec        7/14/2023     2.2   Update warrant analysis within token warrant agreement dashboard


Nizhner, David          7/14/2023     1.8   Create wind down operating cost forecast

Nizhner, David          7/14/2023     1.2   Document assumptions within LedgerPrime wind down model

Nizhner, David          7/14/2023     1.6   Create revised wind down cost budget


Nizhner, David          7/14/2023     1.3   Continue to document assumptions within LedgerPrime wind down
                                            model
Nizhner, David          7/14/2023     1.4   Update support tabs with new financials


Nizhner, David          7/14/2023     0.9   Reconcile LedgerPrime waterfall to updated LedgerPrime financials

Nizhner, David          7/14/2023     2.2   Map updated LedgerPrime financials to consolidated GL


Sivapalu, Anan          7/14/2023     2.3   Write python code to store market candle data into database

Sivapalu, Anan          7/14/2023     2.3   Analyze first hour of market candle data stored in the database for
                                            quality of API call
Sivapalu, Anan          7/14/2023     2.5   Write python code to access market candle data via coinmetrics API
                                            call
Sullivan, Christopher   7/14/2023     0.3   Call with C. Sullivan, A. Titus and S. Glustein (A&M) regarding
                                            LedgerPrime Wind-down analysis
Titus, Adam             7/14/2023     0.3   Call with C. Sullivan, A. Titus and S. Glustein (A&M) regarding
                                            LedgerPrime Wind-down analysis
Titus, Adam             7/14/2023     0.6   Call with A. Titus and S. Glustein (A&M) to discuss equity
                                            investment sale process




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Professional                Date    Hours     Activity
Titus, Adam             7/14/2023     0.5   Call with A. Titus and S. Glustein (A&M) regarding LedgerPrime
                                            legal entity breakdown
Titus, Adam             7/14/2023     0.4   Call with A. Titus and S. Glustein (A&M) and equity investee
                                            company relating to equity investment sale process
Titus, Adam             7/14/2023     2.1   Draft tear sheet on equity investment with round of investment and
                                            funding amount
Titus, Adam             7/14/2023     1.4   Draft venture investment summary in preparation for discussion with
                                            potential purchaser
Titus, Adam             7/14/2023     1.4   Provide comments to S. Glustein [A&M] on insider materials for
                                            litigation team
Titus, Adam             7/14/2023     1.6   Review insider detail analysis for litigation including amounts paid
                                            and tokens received
Walker, William         7/14/2023     0.9   Update token warrant agreement report with likelihood of
                                            outstanding warrants
Walker, William         7/14/2023     0.8   Correspond with A. Kutscher (Quinn Emmanuel) regarding
                                            outstanding tokens
Walker, William         7/14/2023     1.3   Reconcile staked tokens with latest data from venture book


Walker, William         7/14/2023     0.9   Review coin report materials provided by D. Sagan (A&M)

Walker, William         7/14/2023     0.8   Review details of token venture investments relating to venture book

Walker, William         7/14/2023     1.3   Update PMO slide with latest developments on venture token


Walker, William         7/14/2023     1.3   Review warrant agreements saved to box

Walker, William         7/14/2023     0.4   Call with W. Walker, A. Liv-Feyman (A&M) regarding token warrant
                                            agreement analysis
Clayton, Lance          7/16/2023     2.4   Update investment master tracker for internal team updates

Glustein, Steven        7/16/2023     0.7   Prepare weekend update analysis for internal meetings


Glustein, Steven        7/16/2023     0.3   Update PMO slides relating to brokerage update

Glustein, Steven        7/16/2023     0.4   Update PMO slides relating to LedgerPrime

Glustein, Steven        7/16/2023     0.9   Update PMO slides relating to token investments


Glustein, Steven        7/16/2023     1.6   Review reconciliation of venture investments relating to statements
                                            and schedules
Liv-Feyman, Alec        7/16/2023     1.4   Review token wallet address information through scanner link for
                                            confirmed receipts in warrant agreements
Liv-Feyman, Alec        7/16/2023     1.8   Update token warrant analysis for new legal agreements




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Financial Analysis
Professional             Date    Hours     Activity
Nizhner, David       7/16/2023     0.6   Create post-ICO recovery mapping for wind down

Nizhner, David       7/16/2023     0.7   Update assumptions for revised drivers within wind down model


Nizhner, David       7/16/2023     0.3   Update LedgerPrime asset listing for updated pricing

Clayton, Lance       7/17/2023     1.0   Correspondence w/ Alameda investment re: potential options / next
                                         steps
Clayton, Lance       7/17/2023     3.1   Alameda investment tear-sheet summary


Clayton, Lance       7/17/2023     0.9   Refresh summary deck for changes in investment funding

Clayton, Lance       7/17/2023     1.1   Update sale tracker for external advisor updates


Clayton, Lance       7/17/2023     2.2   Alameda investment research re: Upcoming token ICO event

Glustein, Steven     7/17/2023     2.1   Prepare analysis relating to token investment regarding token
                                         valuation at vesting dates
Glustein, Steven     7/17/2023     0.6   Correspondence with B. Baker (PWP) regarding diligence requests
                                         relating to FTX 2.0
Glustein, Steven     7/17/2023     0.7   Correspondence with J. MacDonald and M. Wu (S&C) regarding
                                         draft materials relating to venture dissolution
Glustein, Steven     7/17/2023     0.4   Correspondence with K. Flinn (PWP) regarding legal documents
                                         review and signoff process
Glustein, Steven     7/17/2023     0.4   Review monthly report regarding fund investment relating to venture
                                         book
Glustein, Steven     7/17/2023     0.4   Correspondence with W. Syed (PWP) relating to upcoming token
                                         investment launch
Glustein, Steven     7/17/2023     1.8   Prepare outline for winddown costs relating to LedgerPrime
                                         winddown analysis
Glustein, Steven     7/17/2023     1.7   Review analysis regarding cost basis of token investment relating to
                                         venture book
Glustein, Steven     7/17/2023     0.7   Review investment proposal received regarding equity investment
                                         relating to venture book
Glustein, Steven     7/17/2023     0.5   Correspondence with W. Syed (PWP) relating to funding of equity
                                         venture investment
Liv-Feyman, Alec     7/17/2023     0.7   Call with W. Walker, A. Liv-Feyman (A&M) regarding warrant
                                         agreement analysis updates
Liv-Feyman, Alec     7/17/2023     2.2   Update warrant related figures information within warrant analysis

Liv-Feyman, Alec     7/17/2023     2.1   Update token warrant agreement analysis for new contracts


Liv-Feyman, Alec     7/17/2023     0.6   Update internal team with alerts of new token investment updates,
                                         pricing/24h volume pulling




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Professional               Date     Hours     Activity
Liv-Feyman, Alec        7/17/2023     1.9   Review third party site for additional token warrant agreements to be
                                            added
Liv-Feyman, Alec        7/17/2023     1.8   Review scanner related sites for additional tokens confirmed receipt
                                            within warrant agreements
Liv-Feyman, Alec        7/17/2023     0.9   Define updates in token model for new integration

Liv-Feyman, Alec        7/17/2023     1.9   Review SAFE agreements with additional token warrant investment
                                            vestings
Nizhner, David          7/17/2023     1.9   Update LedgerPrime wind down cost forecast for revised driver
                                            mapping
Nizhner, David          7/17/2023     0.6   Correspond with internal teams regarding cash outflows

Nizhner, David          7/17/2023     1.8   Research Alameda investment funding for PWP diligence


Nizhner, David          7/17/2023     1.4   Update LedgerPrime wind down analysis for scenarios regarding
                                            duration of wind down
Nizhner, David          7/17/2023     0.2   Continue to gather diligence regarding funding related to Alameda
                                            investment
Nizhner, David          7/17/2023     0.6   Correspond with internal team regarding Alameda investment funding

Nizhner, David          7/17/2023     0.4   Correspond with internal team regarding payroll disbursements

Nizhner, David          7/17/2023     1.7   Revise operating cost assumptions to match drivers in wind down
                                            model
Nizhner, David          7/17/2023     2.2   Create payroll forecast with updated wind down assumptions

Nizhner, David          7/17/2023     0.9   Update cost allocation methodology within LedgerPrime wind down
                                            model
Sivapalu, Anan          7/17/2023     2.8   Modify python script to retrieve coin data from coinmetrics to correct
                                            for api timeout
Sivapalu, Anan          7/17/2023     2.7   Debug python script api parameter error for retrieve coin data


Sivapalu, Anan          7/17/2023     0.9   Write script to run exchange analysis based on legal entities

Sivapalu, Anan          7/17/2023     2.7   Check through spread reconciliation by comparing it to source data

Titus, Adam             7/17/2023     1.6   Respond to requests from accounting team at E&Y information
                                            needed for tax purposes
Titus, Adam             7/17/2023     1.2   Draft agenda items in preparation for weekly update call

Titus, Adam             7/17/2023     1.2   Provide comments on winddown budget to S. Glustein [A&M] for
                                            Ledger Prime
Titus, Adam             7/17/2023     2.4   Review draft of winddown budget of Ledger Prime for distribution for
                                            plan analysis




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Financial Analysis
Professional               Date     Hours     Activity
Titus, Adam             7/17/2023     0.4   Respond to venture position questions via email from 3rd party issuer

Titus, Adam             7/17/2023     0.6   Draft response to diligence requests from potential buyer and direct
                                            to corresponding party for follow up. K. Montague [A&M]
Titus, Adam             7/17/2023     1.6   Review draft equity presentation schedule prior to internal team
                                            discussion
Titus, Adam             7/17/2023     0.9   Review response on token investment and data requests via email
                                            related to possible transaction on de-minimis sale process
Titus, Adam             7/17/2023     1.9   Review updated financials related to Ledger Prime for consistence
                                            of petition date based on update from A&M accounting team,
                                            including draft notes and comments related to accountant write up
Walker, William         7/17/2023     1.4   Review token vesting schedule in contract to align with updated
                                            timing of ICO
Walker, William         7/17/2023     0.6   Correspond with venture team on vesting timing assumptions

Walker, William         7/17/2023     0.7   Correspond with venture team on recent ICO activity


Walker, William         7/17/2023     0.7   Call with W. Walker, A. Liv-Feyman (A&M) regarding warrant
                                            agreement analysis updates
Walker, William         7/17/2023     1.3   Update token model mechanics to account for petition date pricing


Walker, William         7/17/2023     0.8   Review updated ICO reports to for updates to token vesting schedule

Walker, William         7/17/2023     1.1   Update token vesting schedule ICO tracking template


Baker, Kevin            7/18/2023     0.4   Call with P. McGrath, K. Baker, M. Sunkara (A&M) regarding crypto
                                            tracing avoidance ventures process effort updates
Callerio, Lorenzo       7/18/2023     0.4   Call with L. Lambert, L. Iwanski, L. Callerio (A&M) regarding crypto
                                            tracing avoidance ventures process effort updates
Clayton, Lance          7/18/2023     1.1   Update venture board deck for bi-weekly updates


Clayton, Lance          7/18/2023     0.6   Call with W. Walker, A. Liv-Feyman, K. Kearney, J. Faett, L. Francis,
                                            L. Clayton (A&M) regarding token receivables reconciliation
                                            discussion
Clayton, Lance          7/18/2023     0.4   Call with D. Nizhner, L. Clayton, A. Liv-Feyman (A&M) regarding
                                            internal ventures team process updates discussion
Clayton, Lance          7/18/2023     1.3   Alameda investment research re: Upcoming token ICO event

Clayton, Lance          7/18/2023     1.8   Prepare additional perspectives on brokerage positions for internal
                                            plan team
Clayton, Lance          7/18/2023     1.9   Prepare summary of recent events affecting Alameda investment


Clayton, Lance          7/18/2023     0.8   Working session regarding cash forecast adjustments with S.
                                            Glustein, L. Clayton, D. Nizhner, A. Titus (A&M)
Clayton, Lance          7/18/2023     1.2   Update venture PMO deck for weekly changes



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Financial Analysis
Professional               Date     Hours     Activity
Clayton, Lance          7/18/2023     1.9   Update investment tear-sheet based on comments from internal
                                            team
Clayton, Lance          7/18/2023     0.6   Correspondence w/ internal A&M teams around updates to
                                            investment master
Coverick, Steve         7/18/2023     0.5   Discuss draft of administrative cost analysis for management and
                                            follow-ups from Board meeting with E. Mosley (A&M)
Faett, Jack             7/18/2023     0.6   Call with W. Walker, A. Liv-Feyman, K. Kearney, J. Faett, L. Francis,
                                            L. Clayton (A&M) regarding token receivables reconciliation
                                            discussion
Francis, Luke           7/18/2023     0.6   Call with W. Walker, A. Liv-Feyman, K. Kearney, J. Faett, L. Francis,
                                            L. Clayton (A&M) regarding token receivables reconciliation
                                            discussion
Glustein, Steven        7/18/2023     1.1   Review LedgerPrime winddown analysis relating to overlying
                                            assumptions
Glustein, Steven        7/18/2023     1.3   Working session with A. Titus, S. Glustein, D. Nizhner (A&M) re:
                                            LedgerPrime wind down walkthrough
Glustein, Steven        7/18/2023     1.3   Working session with A. Titus, S. Glustein, D. Nizhner (A&M) re:
                                            LedgerPrime wind down entity adjustments
Glustein, Steven        7/18/2023     0.8   Working session regarding cash forecast adjustments with S.
                                            Glustein, L. Clayton, D. Nizhner, A. Titus (A&M)
Glustein, Steven        7/18/2023     0.6   Prepare summary for A&M DI team relating to select token
                                            investment
Glustein, Steven        7/18/2023     1.9   Prepare receipt forecast relating to upcoming venture closings

Glustein, Steven        7/18/2023     0.3   Correspondence with M. Cilia (RLKS) relating to LedgerPrime trade
                                            settlement
Glustein, Steven        7/18/2023     0.3   Prepare summary for M. Cilia (RLKS) relating to LedgerPrime trade
                                            settlement
Glustein, Steven        7/18/2023     0.4   Correspondence with A. Holland (S&C) to discuss amended
                                            contracts relating to venture token investments
Glustein, Steven        7/18/2023     0.4   Correspondence with A. Alden (QE) relating to token settlement
                                            agreement
Glustein, Steven        7/18/2023     0.3   Call with S. Tang (LedgerPrime) to discuss legal entity structure of
                                            LedgerPrime
Glustein, Steven        7/18/2023     0.4   Call with A. Titus, S. Glustein, W. Walker (A&M) regarding internal
                                            ventures team process updates discussion
Glustein, Steven        7/18/2023     0.5   Correspondence with K. Flinn (PWP) and J. MacDonald (S&C)
                                            relating to cash receipt forecast
Iwanski, Larry          7/18/2023     0.4   Call with L. Lambert, L. Iwanski, L. Callerio (A&M) regarding crypto
                                            tracing avoidance ventures process effort updates
Kearney, Kevin          7/18/2023     0.6   Call with W. Walker, A. Liv-Feyman, K. Kearney, J. Faett, L. Francis,
                                            L. Clayton (A&M) regarding token receivables reconciliation
                                            discussion
Lambert, Leslie         7/18/2023     0.4   Call with L. Lambert, L. Iwanski, L. Callerio (A&M) regarding crypto
                                            tracing avoidance ventures process effort updates



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Financial Analysis
Professional               Date    Hours     Activity
Liv-Feyman, Alec       7/18/2023     1.4   Update warrant analysis model for new warrant agreement figures
                                           found
Liv-Feyman, Alec       7/18/2023     0.6   Update team on internal price pulling / 24h volume review and media
                                           alert updates
Liv-Feyman, Alec       7/18/2023     2.3   Update figures in token warrant agreement analysis for new warrant
                                           purchase prices
Liv-Feyman, Alec       7/18/2023     2.4   Review third party site legal agreements to determine additional
                                           warrant purchase agreement from SAFE agreements
Liv-Feyman, Alec       7/18/2023     1.9   Update notices in token warrant agreement analysis for new warrant
                                           expiration dates
Liv-Feyman, Alec       7/18/2023     0.6   Call with W. Walker, A. Liv-Feyman, K. Kearney, J. Faett, L. Francis,
                                           L. Clayton (A&M) regarding token receivables reconciliation
                                           discussion
Liv-Feyman, Alec       7/18/2023     0.4   Call with D. Nizhner, L. Clayton, A. Liv-Feyman (A&M) regarding
                                           internal ventures team process updates discussion
Liv-Feyman, Alec       7/18/2023     0.4   Call with W. Walker, A. Liv-Feyman (A&M) regarding outstanding
                                           token warrant purchase amount discussion
Liv-Feyman, Alec       7/18/2023     2.2   Review box folder drive for token warrant agreements

Liv-Feyman, Alec       7/18/2023     1.2   Update token model for new token agreements discovered


Liv-Feyman, Alec       7/18/2023     0.6   Review confirmed funding for token investments through scanner
                                           explorer site
McGrath, Patrick       7/18/2023     0.4   Call with P. McGrath, K. Baker, M. Sunkara (A&M) regarding crypto
                                           tracing avoidance ventures process effort updates
Mosley, Ed             7/18/2023     1.2   Review and provide comments to updated draft presentation to
                                           management regarding administrative expenses
Mosley, Ed             7/18/2023     0.2   Discuss draft presentation for management regarding administrative
                                           expenses with S.Coverick (A&M)
Mosley, Ed             7/18/2023     0.4   Discuss draft presentation for management regarding administrative
                                           expenses with J.Stegenga (A&M)
Mosley, Ed             7/18/2023     0.5   Discuss draft of administrative cost analysis for management and
                                           follow-ups from Board meeting with S.Coverick (A&M)
Nizhner, David         7/18/2023     1.3   Working session with A. Titus, S. Glustein, D. Nizhner (A&M) re:
                                           LedgerPrime wind down walkthrough
Nizhner, David         7/18/2023     0.4   Call with D. Nizhner, L. Clayton, A. Liv-Feyman (A&M) regarding
                                           internal ventures team process updates discussion
Nizhner, David         7/18/2023     0.4   Correspond with PWP regarding Alameda venture investment
                                           diligence
Nizhner, David         7/18/2023     0.6   Create fulsome LedgerPrime transfer forecast

Nizhner, David         7/18/2023     1.7   Revise LedgerPrime analysis for updated entity structure

Nizhner, David         7/18/2023     1.3   Working session with A. Titus, S. Glustein, D. Nizhner (A&M) re:
                                           LedgerPrime wind down entity adjustments


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Financial Analysis
Professional               Date     Hours     Activity
Nizhner, David          7/18/2023     0.9   Adjust LedgerPrime wind down analysis for revised assumptions

Nizhner, David          7/18/2023     0.8   Working session regarding cash forecast adjustments with S.
                                            Glustein, L. Clayton, D. Nizhner, A. Titus (A&M)
Sivapalu, Anan          7/18/2023     2.9   Correct coin symbols provided to match to that of data provider to
                                            feed to api calls
Sivapalu, Anan          7/18/2023     2.9   Debug parameter error thrown by coin data retrieval process

Sivapalu, Anan          7/18/2023     0.2   Retrieve historical prices for BTC going back 2019


Sivapalu, Anan          7/18/2023     2.8   Write script to run parallel process to retrieve coin data to speed up
                                            process
Sivapalu, Anan          7/18/2023     0.7   Check through coin data indexing strategy with IT


Stegenga, Jeffery       7/18/2023     0.4   Discuss draft presentation for management regarding administrative
                                            expenses with E. Mosley (A&M)
Sunkara, Manasa         7/18/2023     0.4   Call with P. McGrath, K. Baker, M. Sunkara (A&M) regarding crypto
                                            tracing avoidance ventures process effort updates
Titus, Adam             7/18/2023     2.1   Draft recommendation on token investment, base recommendation
                                            on options provided by token issuer
Titus, Adam             7/18/2023     1.3   Working session with A. Titus, S. Glustein, D. Nizhner (A&M) re:
                                            LedgerPrime wind down entity adjustments
Titus, Adam             7/18/2023     0.8   Working session regarding cash forecast adjustments with S.
                                            Glustein, L. Clayton, D. Nizhner, A. Titus (A&M)
Titus, Adam             7/18/2023     1.4   Update token tracker for latest details regarding select investments.
                                            Update amount held based on feedback from team
Titus, Adam             7/18/2023     1.3   Review request from L. Lambert [A&M] for token tracing to ensure
                                            accuracy of information presented for schedule
Titus, Adam             7/18/2023     0.6   Review email correspondences from token issuers

Titus, Adam             7/18/2023     1.9   Provide feedback on winddown budget of Ledger Prime and
                                            coordinate on next steps for liquidation analysis
Titus, Adam             7/18/2023     1.3   Working session with A. Titus, S. Glustein, D. Nizhner (A&M) re:
                                            LedgerPrime wind down walkthrough
Titus, Adam             7/18/2023     0.6   Review draft of legal analysis of investment entity to ensure financial
                                            solvency
Titus, Adam             7/18/2023     0.4   Call with A. Titus, S. Glustein, W. Walker (A&M) regarding internal
                                            ventures team process updates discussion
Walker, William         7/18/2023     1.2   Update token model with updated information from token issuers

Walker, William         7/18/2023     0.6   Correspond with venture team on funding confirmations


Walker, William         7/18/2023     0.4   Review token model outputs for latest receipts




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Financial Analysis
Professional                Date    Hours     Activity
Walker, William         7/18/2023     0.6   Review pricing assumptions in latest coin report materials

Walker, William         7/18/2023     0.8   Prepare tracing request materials to review the origins of venture
                                            tokens currently held in cold storage
Walker, William         7/18/2023     1.1   Prepare listing of wallet addresses for tracing request

Walker, William         7/18/2023     0.6   Correspond with venture team on token updates

Walker, William         7/18/2023     0.4   Correspond with A. Liv-Feyman (A&M) on token model updates


Walker, William         7/18/2023     0.6   Call with W. Walker, A. Liv-Feyman, K. Kearney, J. Faett, L. Francis,
                                            L. Clayton (A&M) regarding token receivables reconciliation
                                            discussion
Walker, William         7/18/2023     0.4   Call with W. Walker, A. Liv-Feyman (A&M) regarding outstanding
                                            token warrant purchase amount discussion
Walker, William         7/18/2023     0.4   Call with A. Titus, S. Glustein, W. Walker (A&M) regarding internal
                                            ventures team process updates discussion
Walker, William         7/18/2023     0.7   Correspond with tracing team regarding latest request

Baker, Kevin            7/19/2023     0.4   Call with K. Baker, M. Sunkara, J. Chan, A. Liv-Feyman (A&M)
                                            regarding crypto tracing avoidance ventures process effort updates
Callerio, Lorenzo       7/19/2023     0.4   Call with W. Walker, L. Lambert, L. Iwanski, L. Callerio, A. Canale
                                            (A&M) regarding crypto tracing avoidance ventures process effort
                                            updates
Canale, Alex            7/19/2023     0.4   Call with W. Walker, L. Lambert, L. Iwanski, L. Callerio, A. Canale
                                            (A&M) regarding crypto tracing avoidance ventures process effort
                                            updates
Chan, Jon               7/19/2023     0.4   Call with K. Baker, M. Sunkara, J. Chan, A. Liv-Feyman (A&M)
                                            regarding crypto tracing avoidance ventures process effort updates
Clayton, Lance          7/19/2023     1.9   Alameda investment research re: Legal entity review of token
                                            investment
Clayton, Lance          7/19/2023     1.3   Call with D. Nizhner, L. Clayton, A. Liv-Feyman (A&M) regarding
                                            updates to internal venture process and venture deck walkthrough
Clayton, Lance          7/19/2023     2.8   Prepare updated venture schedule for A&M plan team w/ requested
                                            adjustments
Clayton, Lance          7/19/2023     1.6   Prepare comments requested by plan team re: brokerage, equity,
                                            and fund position
Faett, Jack             7/19/2023     0.6   Working session to compile contractual arrangements for
                                            LedgerPrime in response to Teneo information request between K.
                                            Kearney, J. Faett (A&M)
Faett, Jack             7/19/2023     0.7   Call with K. Beighton (Teneo), R. Bell (Walkers), F. Crocco (S&C) J.
                                            Faett, K. Kearney, D. Nizhner, S. Glustein (A&M) re: LedgerPrime
                                            master fund liquidation
Glustein, Steven        7/19/2023     0.3   Discussion with Y. Yogev (Sygnia) relating to token claiming update

Glustein, Steven        7/19/2023     2.7   Working session with S. Glustein, D. Nizhner (A&M) to reconcile
                                            updated LedgerPrime financials for wind down

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Financial Analysis
Professional             Date     Hours     Activity
Glustein, Steven      7/19/2023     0.4   Correspondence with token issuer relating to vested unreceived
                                          tokens
Glustein, Steven      7/19/2023     2.6   Working session with D. Nizhner, S. Glustein (A&M) to update
                                          recovery analysis for venture investments with updated assumptions
Glustein, Steven      7/19/2023     2.8   Update LedgerPrime winddown analysis relating to token venture
                                          investment recoveries
Glustein, Steven      7/19/2023     1.9   Update LedgerPrime winddown analysis relating to crypto
                                          investment recoveries
Glustein, Steven      7/19/2023     1.6   Review venture investment master workbook relating to legal entity
                                          analysis
Glustein, Steven      7/19/2023     2.4   Working session with S. Glustein, D. Nizhner (A&M) re: Revise
                                          LedgerPrime wind down assumptions for entity waterfall
Glustein, Steven      7/19/2023     0.1   Correspondence with K. Flinn (PWP) relating to token settlement
                                          agreement
Glustein, Steven      7/19/2023     0.3   Call with S. Tang (LedgerPrime) to discuss legal documents relating
                                          to LedgerPrime trade settlement
Glustein, Steven      7/19/2023     0.4   Call with S. Glustein, W. Walker, A. Liv-Feyman (A&M), K. Flinn, S.
                                          Saferstein, B. Baker (PWP), J. MacDonald, M. Wu (S&C) regarding
                                          FTX venture investment advisor process effort updates
Glustein, Steven      7/19/2023     0.7   Call with K. Beighton (Teneo), R. Bell (Walkers), F. Crocco (S&C) J.
                                          Faett, K. Kearney, D. Nizhner, S. Glustein (A&M) re: LedgerPrime
                                          master fund liquidation
Glustein, Steven      7/19/2023     1.3   Call with A. Titus, S. Glustein, W. Walker (A&M) regarding updates
                                          to internal venture process and venture deck walkthrough
Iwanski, Larry        7/19/2023     0.4   Call with W. Walker, L. Lambert, L. Iwanski, L. Callerio, A. Canale
                                          (A&M) regarding crypto tracing avoidance ventures process effort
                                          updates
Kearney, Kevin        7/19/2023     0.4   Review summary of contractual arrangements associated with
                                          LedgerPrime funds to be sent to Teneo
Kearney, Kevin        7/19/2023     2.3   Review consolidated venture investments schedule for Alameda silo
                                          for recent updates to factor into petition date balance sheets
Kearney, Kevin        7/19/2023     1.7   Review consolidated venture investments schedule for Ventures silo
                                          for recent updates to factor into petition date balance sheets
Kearney, Kevin        7/19/2023     0.7   Call with K. Beighton (Teneo), R. Bell (Walkers), F. Crocco (S&C) J.
                                          Faett, K. Kearney, D. Nizhner, S. Glustein (A&M) re: LedgerPrime
                                          master fund liquidation
Kearney, Kevin        7/19/2023     0.6   Working session to compile contractual arrangements for
                                          LedgerPrime in response to Teneo information request between K.
                                          Kearney, J. Faett (A&M)
Lambert, Leslie       7/19/2023     0.4   Call with W. Walker, L. Lambert, L. Iwanski, L. Callerio, A. Canale
                                          (A&M) regarding crypto tracing avoidance ventures process effort
                                          updates
Liv-Feyman, Alec      7/19/2023     1.9   Review legal agreements for token auction process


Liv-Feyman, Alec      7/19/2023     1.2   Update background of investments for investment tracker




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Financial Analysis
Professional             Date    Hours     Activity
Liv-Feyman, Alec     7/19/2023     1.4   Pull in industry updates for investment tracker updates

Liv-Feyman, Alec     7/19/2023     0.6   Call with W. Walker, A. Liv-Feyman (A&M) regarding token outreach
                                         update letters
Liv-Feyman, Alec     7/19/2023     0.2   Call with W. Walker, A. Liv-Feyman (A&M) regarding draft response
                                         for token letters
Liv-Feyman, Alec     7/19/2023     0.4   Call with S. Glustein, W. Walker, A. Liv-Feyman (A&M), K. Flinn, S.
                                         Saferstein, B. Baker (PWP), J. MacDonald, M. Wu (S&C) regarding
                                         ftx venture investment advisor process effort updates
Liv-Feyman, Alec     7/19/2023     0.4   Call with K. Baker, M. Sunkara, J. Chan, A. Liv-Feyman (A&M)
                                         regarding crypto tracing avoidance ventures process effort updates
Liv-Feyman, Alec     7/19/2023     1.3   Call with D. Nizhner, L. Clayton, A. Liv-Feyman (A&M) regarding
                                         updates to internal venture process and venture deck walkthrough
Liv-Feyman, Alec     7/19/2023     0.7   Update internal token deliverable for alerts and investment pricing
                                         updates
Liv-Feyman, Alec     7/19/2023     0.3   Call with W. Walker, A. Liv-Feyman (A&M) regarding repeat token
                                         letter outreach responses
Nizhner, David       7/19/2023     2.7   Working session with S. Glustein, D. Nizhner (A&M) to reconcile
                                         updated LedgerPrime financials for wind down
Nizhner, David       7/19/2023     2.6   Working session with D. Nizhner, S. Glustein (A&M) to update
                                         recovery analysis for venture investments with updated assumptions
Nizhner, David       7/19/2023     2.4   Working session with S. Glustein, D. Nizhner (A&M) re: Revise
                                         LedgerPrime wind down assumptions for entity waterfall
Nizhner, David       7/19/2023     0.7   Call with K. Beighton (Teneo), R. Bell (Walkers), F. Crocco (S&C) J.
                                         Faett, K. Kearney, D. Nizhner, S. Glustein (A&M) re: LedgerPrime
                                         master fund liquidation
Nizhner, David       7/19/2023     1.3   Call with D. Nizhner, L. Clayton, A. Liv-Feyman (A&M) regarding
                                         updates to internal venture process and venture deck walkthrough
Nizhner, David       7/19/2023     2.4   Create support schedules for revised financials within updated wind
                                         down model
Nizhner, David       7/19/2023     1.9   Update consolidated claims schedule for unreconciled LedgerPrime
                                         claims
Nizhner, David       7/19/2023     0.9   Review option trade agreements for option trade receivable
                                         reconciliation
Sivapalu, Anan       7/19/2023     1.1   Check through progress of daily coin data retrieval to check on
                                         status of api calls
Sivapalu, Anan       7/19/2023     0.8   Develop sql script to calculate swap prices based on downloaded
                                         daily data
Sivapalu, Anan       7/19/2023     2.1   Read through csv downloadable script from data provider to gauge
                                         its efficiency
Sivapalu, Anan       7/19/2023     0.4   Write sql script to retrieve coin data for select symbols for use by Alix


Sivapalu, Anan       7/19/2023     0.8   Check through current progress of coin data retrieval process to
                                         check on status of api calls
Sivapalu, Anan       7/19/2023     2.6   Develop python script to complete daily data from data provider



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Financial Analysis
Professional               Date     Hours     Activity
Sunkara, Manasa         7/19/2023     0.4   Call with K. Baker, M. Sunkara, J. Chan, A. Liv-Feyman (A&M)
                                            regarding crypto tracing avoidance ventures process effort updates
Titus, Adam             7/19/2023     0.4   Call with S. Glustein, W. Walker, A. Liv-Feyman (A&M), K. Flinn, S.
                                            Saferstein, B. Baker (PWP), J. MacDonald, M. Wu (S&C) regarding
                                            ftx venture investment advisor process effort updates
Titus, Adam             7/19/2023     1.2   Update summary for unclaimed tokens including statistics provide to
                                            W. Walker [A&M]
Titus, Adam             7/19/2023     1.3   Call with A. Titus, S. Glustein, W. Walker (A&M) regarding updates
                                            to internal venture process and venture deck walkthrough
Titus, Adam             7/19/2023     0.4   Correspond with A. Titus (A&M) regarding particulars of token
                                            warrant payment for upcoming token ICO
Titus, Adam             7/19/2023     0.9   Provide feedback to C. Sullivan [A&M] based on email request for
                                            token receivables associated with plan information
Titus, Adam             7/19/2023     1.7   Review responses from token issuers of unclaimed tokens and
                                            ensure tracker is updated based on details
Titus, Adam             7/19/2023     1.2   Review summary recommendation and next steps provided by W.
                                            Walker [A&M] for warrant tokens
Titus, Adam             7/19/2023     1.7   Draft summary overview of token investment including: summary of
                                            issuer, investment and next steps
Titus, Adam             7/19/2023     0.9   Review updated email for token issuers unresponsive to request for
                                            transaction details
Walker, William         7/19/2023     0.8   Research token public news updates for latest developments with
                                            latest warrant
Walker, William         7/19/2023     0.6   Call with W. Walker, A. Liv-Feyman (A&M) regarding token outreach
                                            update letters
Walker, William         7/19/2023     0.2   Call with W. Walker, A. Liv-Feyman (A&M) regarding draft response
                                            for token letters
Walker, William         7/19/2023     0.4   Review contracts associated with token investments prior to
                                            distribution to S&C
Walker, William         7/19/2023     0.7   Review materials from L. Lambert (A&M) on latest token
                                            developments
Walker, William         7/19/2023     1.4   Review warrant agreement provided by S&C for receipt of
                                            outstanding tokens
Walker, William         7/19/2023     1.1   Update token export tab to align with plan team's needs


Walker, William         7/19/2023     1.9   Update venture token model for distribution to plan team

Walker, William         7/19/2023     1.3   Call with A. Titus, S. Glustein, W. Walker (A&M) regarding updates
                                            to internal venture process and venture deck walkthrough
Walker, William         7/19/2023     0.8   Draft memo outlining particulars of warrant exercise mechanics

Walker, William         7/19/2023     0.3   Call with W. Walker, A. Liv-Feyman (A&M) regarding repeat token
                                            letter outreach responses
Walker, William         7/19/2023     0.4   Call with W. Walker, L. Lambert, L. Iwanski, L. Callerio, A. Canale
                                            (A&M) regarding crypto tracing avoidance ventures process effort
                                            updates

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Professional                Date    Hours     Activity
Walker, William         7/19/2023     0.7   Correspond with A. Liv-Feyman (A&M) regarding upcoming token
                                            issuer correspondence
Walker, William         7/19/2023     0.4   Correspond with A. Titus (A&M) regarding particulars of token
                                            warrant payment for upcoming token ICO
Walker, William         7/19/2023     0.8   Correspond with H. Trent (A&M) regarding plan distribution
                                            documents
Walker, William         7/19/2023     0.6   Draft email correspondence for use in token issuer blast email

Clayton, Lance          7/20/2023     2.1   Update plan team schedule based on feedback


Clayton, Lance          7/20/2023     1.6   Update the investment master for changes in token warrant
                                            breakouts
Clayton, Lance          7/20/2023     0.3   Call with D. Nizhner & L. Clayton (A&M) to discuss requested plan
                                            updates
Clayton, Lance          7/20/2023     1.1   Update sale tracker for external advisor updates

Clayton, Lance          7/20/2023     2.4   Create diligence list of venture investments


Clayton, Lance          7/20/2023     1.2   Update Alameda investment tear-sheet for recent correspondence

Clayton, Lance          7/20/2023     1.8   Review proposed venture sale and prepare recommendation

Clayton, Lance          7/20/2023     0.6   Call with S. Glustein, W. Walker, D. Nizhner, L. Clayton, A. Liv-
                                            Feyman (A&M) regarding internal progress efforts of FTX Venture
                                            investments
Clayton, Lance          7/20/2023     1.4   Refresh status decks for changes in data

Faett, Jack             7/20/2023     0.7   Call with J. Faett, K. Kearney, S. Glustein, D. Nizhner, A. Titus
                                            (A&M) re: LedgerPrime financials walkthrough
Glustein, Steven        7/20/2023     0.6   Call with S. Glustein, W. Walker, D. Nizhner, L. Clayton, A. Liv-
                                            Feyman (A&M) regarding internal progress efforts of FTX Venture
                                            investments
Glustein, Steven        7/20/2023     1.2   Working session with S. Glustein, D. Nizhner (A&M) re: Update
                                            LedgerPrime assumptions for new recovery drivers
Glustein, Steven        7/20/2023     2.3   Update funded investment summary tracker by legal entity regarding
                                            recovery analysis relating to business plan
Glustein, Steven        7/20/2023     1.8   Review signature requests regarding legal documents relating to
                                            venture equity investment
Glustein, Steven        7/20/2023     0.8   Review de minimis sale term sheet relating to venture equity
                                            investment
Glustein, Steven        7/20/2023     1.3   Prepare summary of venture investments regarding diligence
                                            request relating to FTX 2.0
Glustein, Steven        7/20/2023     1.2   Prepare summary of signature requests relating to equity investment

Glustein, Steven        7/20/2023     0.2   Correspondence with N. Velivela (PWP) regarding latest discussions
                                            with token issuer

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Glustein, Steven     7/20/2023     0.4   Correspondence with M. Wu (S&C) relating to token outreach
                                         process
Glustein, Steven     7/20/2023     0.3   Correspondence with equity investee company relating to legal
                                         documents outstanding
Glustein, Steven     7/20/2023     0.4   Correspondence with A&M DI team relating to potential investigative
                                         equity investment
Glustein, Steven     7/20/2023     0.7   Call with J. Faett, K. Kearney, S. Glustein, D. Nizhner, A. Titus
                                         (A&M) re: LedgerPrime financials walkthrough
Glustein, Steven     7/20/2023     0.3   Call with A. Titus, C. Sullivan, H. Trent, S. Glustein (A&M) to discuss
                                         updated assumptions for recoverable venture and token investments
Glustein, Steven     7/20/2023     1.9   Working session with S. Glustein, D. Nizhner (A&M) re: Update
                                         LedgerPrime operating expense forecast
Gonzalez, Johnny     7/20/2023     0.3   Call with J. Gonzalez, B. Tenney, A. Liv-Feyman (A&M) Update
                                         assumptions for token recoverables
Kearney, Kevin       7/20/2023     0.7   Call with J. Faett, K. Kearney, S. Glustein, D. Nizhner, A. Titus
                                         (A&M) re: LedgerPrime financials walkthrough
Liv-Feyman, Alec     7/20/2023     1.2   Update token model for additional token investment discovery


Liv-Feyman, Alec     7/20/2023     0.9   Update media alerts and pricing pulls for top 12 token investments

Liv-Feyman, Alec     7/20/2023     1.4   Develop variance report for vesting schedules between ventures and
                                         other agreements
Liv-Feyman, Alec     7/20/2023     0.6   Call with S. Glustein, W. Walker, D. Nizhner, L. Clayton, A. Liv-
                                         Feyman (A&M) regarding internal progress efforts of FTX Venture
                                         investments
Liv-Feyman, Alec     7/20/2023     0.3   Call with J. Gonzalez, B. Tenney, A. Liv-Feyman (A&M) Update
                                         assumptions for token recoverables
Liv-Feyman, Alec     7/20/2023     2.1   Update vesting schedule for variance report of confirmed token
                                         receipts
Liv-Feyman, Alec     7/20/2023     1.6   Update tokens confirmed receipt in PMO deck


Nizhner, David       7/20/2023     1.9   Working session with S. Glustein, D. Nizhner (A&M) re: Update
                                         LedgerPrime operating expense forecast
Nizhner, David       7/20/2023     2.2   Revise LedgerPrime wind down cost assumptions for wind down
                                         scenarios
Nizhner, David       7/20/2023     1.2   Working session with S. Glustein, D. Nizhner (A&M) re: Update
                                         LedgerPrime assumptions for new recovery drivers
Nizhner, David       7/20/2023     0.8   Review updated LedgerPrime wind down model


Nizhner, David       7/20/2023     0.7   Call with J. Faett, K. Kearney, S. Glustein, D. Nizhner, A. Titus
                                         (A&M) re: LedgerPrime financials walkthrough
Nizhner, David       7/20/2023     1.3   Update assumptions page for revised forecast in LedgerPrime model

Nizhner, David       7/20/2023     0.6   Call with S. Glustein, W. Walker, D. Nizhner, L. Clayton, A. Liv-
                                         Feyman (A&M) regarding internal progress efforts of FTX Venture
                                         investments

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Professional               Date     Hours     Activity
Nizhner, David          7/20/2023     1.4   Review LedgerPrime wind down model for recovery buckets

Nizhner, David          7/20/2023     0.3   Call with D. Nizhner & L. Clayton (A&M) to discuss requested plan
                                            updates
Sivapalu, Anan          7/20/2023     1.4   Write sql script to produce analysis on employee-related party
                                            financials
Sivapalu, Anan          7/20/2023     0.6   Retrieve coin data for Alix for select coin symbols

Sivapalu, Anan          7/20/2023     0.2   Retrieve coin data for Alix for further select coin symbols


Sivapalu, Anan          7/20/2023     1.8   Create summary tables for customer analytics for diligence requests

Sivapalu, Anan          7/20/2023     1.1   Check through progress of coin data retrieval to check on status of
                                            api calls
Sivapalu, Anan          7/20/2023     1.9   Check for latest daily data from data provider based on OHLCV data
                                            to provide to preference analysis team
Sivapalu, Anan          7/20/2023     2.4   Write sql script to produce analysis on Paris data for diligence
                                            requests
Slay, David             7/20/2023     0.6   Working session with D. Slay, W. Walker (A&M) re: Discuss token
                                            receivable updates from 6.15
Sullivan, Christopher   7/20/2023     0.3   Call with A. Titus, C. Sullivan, H. Trent, S. Glustein (A&M) to discuss
                                            updated assumptions for recoverable venture and token investments
Tenney, Bridger         7/20/2023     0.3   Call with J. Gonzalez, B. Tenney, A. Liv-Feyman (A&M) Update
                                            assumptions for token recoverables
Titus, Adam             7/20/2023     0.8   Review token investment tear sheet provided by W. Walker [A&M]
                                            for next steps on process of tokens
Titus, Adam             7/20/2023     0.3   Call with A. Titus, C. Sullivan, H. Trent, S. Glustein (A&M) to discuss
                                            updated assumptions for recoverable venture and token investments
Titus, Adam             7/20/2023     1.1   Summarize token investment information related to potential sales
                                            transaction
Titus, Adam             7/20/2023     0.6   Call with J. Faett, K. Kearney, S. Glustein, D. Nizhner, A. Titus
                                            (A&M) re: LedgerPrime financials walkthrough
Titus, Adam             7/20/2023     1.1   Review W. Walker [A&M] updated token presentation

Titus, Adam             7/20/2023     1.1   Review draft of winddown budget of Ledger Prime assumption for
                                            plan team distribution
Titus, Adam             7/20/2023     1.9   Provide feedback to S. Glustein A&M] based on revisions to
                                            winddown budget of Ledger Prime
Titus, Adam             7/20/2023     0.9   Provide comments to W. Walker on warrant token presentation for
                                            token receivables
Titus, Adam             7/20/2023     1.4   Provide comments to S. Glustein and L. Clayton (A&M) on venture
                                            portfolio summary presentation
Titus, Adam             7/20/2023     0.9   Create bucket summary of token investments based on number,
                                            token quantity and dollars for percentage overall complete of receipt
                                            tokens


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Trent, Hudson        7/20/2023     0.3   Call with A. Titus, C. Sullivan, H. Trent, S. Glustein (A&M) to discuss
                                         updated assumptions for recoverable venture and token investments
Walker, William      7/20/2023     0.4   Prepare summary output of all token correspondence in response to
                                         request from A. Titus (A&M)
Walker, William      7/20/2023     0.5   Correspond with venture team on equity tear sheets

Walker, William      7/20/2023     2.3   Prepare token warrant tear sheet for outstanding token warrant

Walker, William      7/20/2023     0.4   Correspond with venture team on updates to warrant tear sheet


Walker, William      7/20/2023     0.6   Call with S. Glustein, W. Walker, D. Nizhner, L. Clayton, A. Liv-
                                         Feyman (A&M) regarding internal progress efforts of FTX Venture
                                         investments
Walker, William      7/20/2023     0.3   Calculate outstanding warrant balance based on contract details

Walker, William      7/20/2023     0.9   Review consideration paid report to understand amount paid for
                                         certain token investment
Walker, William      7/20/2023     0.7   Review warrant agreement for warrant fee vs. warrant price details

Walker, William      7/20/2023     1.5   Update token warrant tear sheet with internal comments


Walker, William      7/20/2023     0.6   Working session with D. Slay, W. Walker (A&M) re: Discuss token
                                         receivable updates from 6.15
Clayton, Lance       7/21/2023     1.7   Update venture investment reconciliation re: determining initial
                                         funding of investment
Clayton, Lance       7/21/2023     0.9   Update investment master for new position tagging and mapping

Clayton, Lance       7/21/2023     2.9   Transaction document consolidation and documentation for
                                         diligence tracker
Clayton, Lance       7/21/2023     1.4   Prepare bridge for internal teams re: changes in master file


Glustein, Steven     7/21/2023     1.6   Review legal documents relating to venture equity investment

Glustein, Steven     7/21/2023     0.5   Call with S. Tang (LedgerPrime), S. Glustein, A. Titus, D. Nizhner
                                         (A&M) re: LedgerPrime financials walkthrough
Glustein, Steven     7/21/2023     0.7   Review warrant exercise document associated with venture equity
                                         investment
Glustein, Steven     7/21/2023     0.5   Correspondence with J. MacDonald relating to comments
                                         associated with equity dissolution recommendation slides
Glustein, Steven     7/21/2023     2.8   Prepare recommendation slide relating to equity investment and
                                         upcoming token launch
Liv-Feyman, Alec     7/21/2023     0.6   Update internal ventures team pricing / media alert updates

Liv-Feyman, Alec     7/21/2023     0.2   Call with L. Lambert, A. Liv-Feyman (A&M) regarding crypto tracing
                                         token request


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Liv-Feyman, Alec        7/21/2023     1.7   Consolidate token investment agreements into aggregated folder

Liv-Feyman, Alec        7/21/2023     0.7   Call with W. Walker, A. Liv-Feyman (A&M) regarding updates to
                                            token PowerPoint and model
Liv-Feyman, Alec        7/21/2023     2.2   Review legal agreements for tokens receipt outstanding

Liv-Feyman, Alec        7/21/2023     0.7   Update token outreach responses analysis for new confirmed tokens

Liv-Feyman, Alec        7/21/2023     1.2   Update variance report on agreements analysis for tokens


Liv-Feyman, Alec        7/21/2023     1.9   Develop token warrant analysis for outstanding token launch

Mosley, Ed              7/21/2023     0.9   Review of and provide comments to draft presentation to
                                            management regarding division of FA scope
Nizhner, David          7/21/2023     0.5   Call with S. Tang (LedgerPrime), S. Glustein, A. Titus, D. Nizhner
                                            (A&M) re: LedgerPrime financials walkthrough
Nizhner, David          7/21/2023     0.9   Review LedgerPrime crypto asset balance sheet for detailed crypto
                                            breakout
Nizhner, David          7/21/2023     1.6   Reconcile LedgerPrime Systema option trade agreements to trade
                                            amount
Nizhner, David          7/21/2023     1.8   Create LedgerPrime trade settlement package for M. Cilia (RLKS)

Sivapalu, Anan          7/21/2023     2.1   Write sql script run employee-related party analysis based on main
                                            account only
Sivapalu, Anan          7/21/2023     1.6   Write sql script run employee-related party analysis based on email
                                            only
Sivapalu, Anan          7/21/2023     2.4   Reconcile difference between email only versus account only
                                            analysis
Sivapalu, Anan          7/21/2023     2.8   Check through progress of coin data retrieval to cross check against
                                            current public data
Sivapalu, Anan          7/21/2023     1.3   Modify coinmetrics provided script to retrieve data via csv format


Titus, Adam             7/21/2023     1.9   Review investment tracker for updates and latest findings within
                                            tokens including positions and recent findings / prices
Titus, Adam             7/21/2023     1.8   Review schedule of token investments provided by W. Walker [A&M]
                                            based on request from tracing and crypto team
Titus, Adam             7/21/2023     0.8   Draft summary email on token investment equity schedules to
                                            provide to J. Ray (FTX)
Titus, Adam             7/21/2023     1.7   Provide comments to updated PMO slides to S. Glustein [A&M] to
                                            incorporate into materials for review
Titus, Adam             7/21/2023     1.3   Review draft of PMO slides for latest token and equity updates within
                                            venture workstream
Titus, Adam             7/21/2023     1.3   Review equity tear sheet provided by S. Glustein [A&M] dedicated to
                                            next steps and processing investment




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Titus, Adam             7/21/2023     0.8   Review feedback and details from token issuers noticed through
                                            unclaimed process token emails
Titus, Adam             7/21/2023     0.5   Call with S. Tang (LedgerPrime), S. Glustein, A. Titus, D. Nizhner
                                            (A&M) re: LedgerPrime financials walkthrough
Walker, William         7/21/2023     0.7   Call with W. Walker, A. Liv-Feyman (A&M) regarding updates to
                                            token PowerPoint and model
Walker, William         7/21/2023     0.5   Update venture token deck with latest pricing data

Sivapalu, Anan          7/22/2023     2.8   Modify coinmetrics provided script to skip over non-existent coin
                                            symbols
Clayton, Lance          7/23/2023     2.8   Review and update venture tear-sheet for template creation

Glustein, Steven        7/23/2023     0.3   Review PMO updates relating to sale closings


Glustein, Steven        7/23/2023     1.3   Review PMO updates relating to token venture investment updates

Glustein, Steven        7/23/2023     0.9   Prepare summary of venture investment team updates for weekly
                                            update presentation
Glustein, Steven        7/23/2023     0.4   Review PMO updates relating to brokerage updates

Glustein, Steven        7/23/2023     0.9   Review PMO updates relating to LedgerPrime

Liv-Feyman, Alec        7/23/2023     1.6   Review warrant legal agreements and consolidate vestings


Liv-Feyman, Alec        7/23/2023     1.8   Update warrant analysis for token agreement vestings

Nizhner, David          7/23/2023     1.1   Revise LedgerPrime Systema trade summary package


Clayton, Lance          7/24/2023     1.3   Finalize venture tear-sheet for internal review

Clayton, Lance          7/24/2023     2.1   Venture investment research and summary re: ICO event


Clayton, Lance          7/24/2023     2.0   Updates to investment master model and associated bridges

Clayton, Lance          7/24/2023     0.7   Alameda investment discussion re: funding determination

Clayton, Lance          7/24/2023     2.1   Venture brokerage position research and documentation


Glustein, Steven        7/24/2023     1.2   Prepare summary of required information for upcoming token launch
                                            relating to token venture investment
Glustein, Steven        7/24/2023     0.6   Call with A. Titus and S. Glustein (A&M) to discuss lock-up period
                                            relating to token coin offering
Glustein, Steven        7/24/2023     1.7   Call with A. Titus and S. Glustein (A&M) to review recommendation
                                            slide relating to token launch




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Glustein, Steven       7/24/2023     2.8   Prepare summary of venture investment regarding token warrant
                                           relating to upcoming token launch
Glustein, Steven       7/24/2023     1.9   Working session with A. Titus and S. Glustein (A&M) to review legal
                                           documents associated with upcoming initial coin offering
Glustein, Steven       7/24/2023     0.6   Prepare warrant exercise document for upcoming token launch
                                           relating to venture token investment
Glustein, Steven       7/24/2023     0.4   Correspondence with M. Cilia (RLKS) relating to information
                                           requests regarding upcoming token launch of venture investment
Glustein, Steven       7/24/2023     0.4   Correspondence with M. Wu and J. Croke (S&C) relating to legal
                                           entity of token issuer
Glustein, Steven       7/24/2023     0.8   Prepare package for M. Cilia (RLKS) regarding legal agreements
                                           relating to option trade settlement
Glustein, Steven       7/24/2023     2.3   Prepare summary of venture investments relating to FTX 2.0
                                           diligence
Glustein, Steven       7/24/2023     0.1   Correspondence with K. Flinn and B. Baker (PWP) relating to loans
                                           outstanding
Glustein, Steven       7/24/2023     0.6   Correspondence with token issuer regarding token type relating to
                                           upcoming token launch
Glustein, Steven       7/24/2023     0.6   Correspondence with crypto team regarding upcoming token launch
                                           relating to token venture investment
Johnston, David        7/24/2023     0.4   Participate in workstream coordination call with C. Arnett, D.
                                           Johnston, A. Lawson, K. Ramanathan (A&M)
Liv-Feyman, Alec       7/24/2023     0.6   Update token outreach response tab for new email updates


Liv-Feyman, Alec       7/24/2023     1.7   Update token deliverable information for new tracing updates

Liv-Feyman, Alec       7/24/2023     0.7   Update daily token investments analysis for new pricings and alerts


Liv-Feyman, Alec       7/24/2023     1.4   Review token warrant agreements for quantity exercises

Liv-Feyman, Alec       7/24/2023     1.8   Review token tracing information for token figure receipts


Liv-Feyman, Alec       7/24/2023     0.6   Updates to media alerts and token price pulling dashboard

Liv-Feyman, Alec       7/24/2023     1.3   Determine variance report between coin report and ventures tokens
                                           receipts
Liv-Feyman, Alec       7/24/2023     2.3   Update token model for new warrant agreement figure information


Liv-Feyman, Alec       7/24/2023     0.2   Call with W. Walker, A. Liv-Feyman (A&M) regarding token
                                           investment tracker model updates
Liv-Feyman, Alec       7/24/2023     1.1   Confirm tokens received on explorer page for token model updates


Mosley, Ed             7/24/2023     1.1   Review of and provide comments to draft presentation to
                                           management regarding scope differentiation for financial analyses of
                                           historical and petition date data on the exchanges


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Nizhner, David          7/24/2023     0.7   Review Separate Subsidiaries presentation for LedgerPrime wind
                                            down detail
Nizhner, David          7/24/2023     2.6   Reconcile naming convention across LedgerPrime trial balance
                                            crypto detail
Nizhner, David          7/24/2023     1.8   Bridge trial balance asset values with NAV LedgerPrime crypto detail

Nizhner, David          7/24/2023     1.9   Bridge LedgerPrime balance sheet crypto asset detail

Sivapalu, Anan          7/24/2023     2.7   Write script to parallel storing of all OHLCV data retrieved from
                                            coinmetrics
Sivapalu, Anan          7/24/2023     1.3   Write script to download sample of various api call to determine
                                            reference rate prices
Sivapalu, Anan          7/24/2023     2.4   Write script to call on reference rate api end point using parallel
                                            processing
Sivapalu, Anan          7/24/2023     0.7   Write script to calculate VWAP by exchange for FTT token on the
                                            petition date
Sivapalu, Anan          7/24/2023     0.4   Investigate via coinmetrics, the required api call needed to retrieve
                                            reference rate prices
Sivapalu, Anan          7/24/2023     0.8   Delete all previously stored OHLCV data to re-store data from csv
                                            files
Sivapalu, Anan          7/24/2023     2.9   Check through sample of reference rate prices retrieved to check for
                                            continuity of time
Sivapalu, Anan          7/24/2023     1.4   Debug slowness with script related to parallel storing of data into
                                            database
Titus, Adam             7/24/2023     1.9   Working session with A. Titus and S. Glustein (A&M) to review legal
                                            documents associated with upcoming initial coin offering
Titus, Adam             7/24/2023     1.2   Respond to requests for information from committee FTI and
                                            Jefferies on token investment
Titus, Adam             7/24/2023     0.4   Participate in workstream coordination call with A. Titus, R.
                                            Esposito, R. Gordon, J. Cooper (A&M)
Titus, Adam             7/24/2023     1.8   Finalize execution steps and provide guidance on necessary
                                            documentation to execute token securitization
Titus, Adam             7/24/2023     0.9   Draft write up email for detailed overview of situation with token
                                            investment including funding rounds and token situation
Titus, Adam             7/24/2023     0.6   Draft email to committee on token investment status and current
                                            process notes for response to inquires
Titus, Adam             7/24/2023     1.6   Create agenda on token investment call for preview with committee
                                            advisors FTI and Jefferies
Titus, Adam             7/24/2023     0.9   Comment on execution documents for securing tokens and provide
                                            next steps
Titus, Adam             7/24/2023     1.7   Call with A. Titus and S. Glustein (A&M) to review recommendation
                                            slide relating to token launch
Titus, Adam             7/24/2023     0.6   Call with A. Titus and S. Glustein (A&M) to discuss lock-up period
                                            relating to token coin offering




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Financial Analysis
Professional            Date     Hours     Activity
Walker, William      7/24/2023     0.2   Call with W. Walker, A. Liv-Feyman (A&M) regarding token
                                         investment tracker model updates
Clayton, Lance       7/25/2023     1.1   Review venture investment recovery schedule


Clayton, Lance       7/25/2023     2.9   Review and incoporate comments on venture status book

Clayton, Lance       7/25/2023     0.4   Call with A. Titus, S. Glustein, D. Nizhner, L. Clayton, A. Liv-Feyman
                                         (A&M) regarding FTX Ventures internal team status report updates
Clayton, Lance       7/25/2023     2.7   Continue investment document consolidation and review


Clayton, Lance       7/25/2023     1.4   Prepare schedule for internal plan team re: Venture book

Clayton, Lance       7/25/2023     2.4   Update status tracker for progress on equity outreach organization


Clayton, Lance       7/25/2023     2.7   Update venture tear-sheet template based on leadership feedback

Coverick, Steve      7/25/2023     0.3   Call with E. Mosley, S. Coverick (A&M) to discuss administrative
                                         cost reduction exercise
Glustein, Steven     7/25/2023     0.4   Call with F. Crocco, B. Zonenshayn (S&C), D. Nizhner, S. Glustein,
                                         A. Titus (A&M) re: LedgerPrime updates
Glustein, Steven     7/25/2023     0.4   Call with A. Titus, S. Glustein, D. Nizhner, L. Clayton, A. Liv-Feyman
                                         (A&M) regarding FTX Ventures internal team status report updates
Glustein, Steven     7/25/2023     0.4   Call with S. Glustein, D. Nizhner (A&M) re: LedgerPrime option
                                         settlement agreements
Glustein, Steven     7/25/2023     0.3   Correspondence with M. Cilia (RLKS) regarding legal entity
                                         confirmation relating to venture token investment
Glustein, Steven     7/25/2023     0.3   Prepare draft Exercise Notice relating to venture token investment
                                         upcoming token launch
Glustein, Steven     7/25/2023     0.3   Correspondence with M. Wu (S&C) relating to legal document
                                         reviews for venture token launch
Glustein, Steven     7/25/2023     0.8   Working session with A. Titus and S. Glustein (A&M) to provide
                                         response to diligence request related to 2.0 and what information
                                         currently in possession
Glustein, Steven     7/25/2023     0.4   Correspondence with token issuer regarding lock-up schedule
                                         relating to upcoming token launch
Glustein, Steven     7/25/2023     0.3   Call with K. Cofsky, M. Rahmani, B. Baker (PWP), C. Sullivan, A.
                                         Titus, J. Gonzalez, H. Trent, S. Glustein, D. Nizhner (A&M) re:
                                         Equity recoveries analysis
Glustein, Steven     7/25/2023     1.2   Prepare summary of legal documents relating to venture equity
                                         investment
Glustein, Steven     7/25/2023     1.9   Prepare summary of venture investments by investment type
                                         relating to plan recoveries
Glustein, Steven     7/25/2023     1.8   Review legal documents regarding shareholder requests relating to
                                         venture equity investment
Glustein, Steven     7/25/2023     1.4   Prepare package for J. Croke (S&C) regarding vested tokens not yet
                                         received relating to token venture investment

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Professional              Date     Hours     Activity
Gonzalez, Johnny       7/25/2023     0.3   Call with K. Cofsky, M. Rahmani, B. Baker (PWP), C. Sullivan, A.
                                           Titus, J. Gonzalez, H. Trent, S. Glustein, D. Nizhner (A&M) re:
                                           Equity recoveries analysis
Liv-Feyman, Alec       7/25/2023     1.4   Update warrant analysis breakdown by tokens fee amounts

Liv-Feyman, Alec       7/25/2023     2.1   Update token receipts updates and formatting in PMO deck


Liv-Feyman, Alec       7/25/2023     1.7   Update token model for new tokens receipts confirmed postpetition

Liv-Feyman, Alec       7/25/2023     0.8   Review third party site for token pricing updates for figures in warrant
                                           analysis
Liv-Feyman, Alec       7/25/2023     1.9   Review postpetition receipts / outstanding token amounts

Liv-Feyman, Alec       7/25/2023     0.8   Consolidate token purchase agreements for review of ownership

Liv-Feyman, Alec       7/25/2023     0.2   Call with W. Walker, A. Liv-Feyman (A&M) regarding token issuer
                                           contact letter analysis updates
Liv-Feyman, Alec       7/25/2023     0.4   Call with A. Titus, S. Glustein, D. Nizhner, L. Clayton, A. Liv-Feyman
                                           (A&M) regarding FTX Ventures internal team status report updates
Liv-Feyman, Alec       7/25/2023     0.6   Update internal pricing and media alert pulls for tokens


Mosley, Ed             7/25/2023     0.3   Call with E. Mosley, S. Coverick (A&M) to discuss administrative
                                           cost reduction exercise
Nizhner, David         7/25/2023     0.4   Call with A. Titus, S. Glustein, D. Nizhner, L. Clayton, A. Liv-Feyman
                                           (A&M) regarding FTX Ventures internal team status report updates
Nizhner, David         7/25/2023     0.4   Call with F. Crocco, B. Zonenshayn (S&C), D. Nizhner, S. Glustein,
                                           A. Titus (A&M) re: LedgerPrime updates
Nizhner, David         7/25/2023     0.3   Call with K. Cofsky, M. Rahmani, B. Baker (PWP), C. Sullivan, A.
                                           Titus, J. Gonzalez, H. Trent, S. Glustein, D. Nizhner (A&M) re:
                                           Equity recoveries analysis
Nizhner, David         7/25/2023     0.4   Call with S. Glustein, D. Nizhner (A&M) re: LedgerPrime option
                                           settlement agreements
Nizhner, David         7/25/2023     0.7   Correspond with internal team regarding LedgerPrime crypto asset
                                           recoveries
Nizhner, David         7/25/2023     2.9   Reconcile transferred crypto assets from LedgerPrime to Alameda
                                           wallets
Nizhner, David         7/25/2023     0.6   Review LedgerPrime wind down recovery analysis for crypto
                                           recovery assumptions
Nizhner, David         7/25/2023     1.7   Create exchange mapping for underlying crypto assets

Nizhner, David         7/25/2023     1.4   Bridge LedgerPrime crypto asset detail with exchange balances


Sivapalu, Anan         7/25/2023     0.4   Cross check all data sources for congruency of price data

Sivapalu, Anan         7/25/2023     0.6   Retrieve reference price data from coingecko for select dates



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Professional               Date     Hours     Activity
Sivapalu, Anan          7/25/2023     0.4   Write SQL script to pull out anonymous IDs for FTX employees

Sivapalu, Anan          7/25/2023     0.4   Check through employee list to ensure all accounts IDs have been
                                            replaced with anonymous IDs
Sivapalu, Anan          7/25/2023     0.4   Retrieve reference price data from coinmetrics for select dates

Sivapalu, Anan          7/25/2023     0.4   Retrieve reference price data from yahoo/cmc for select dates

Sivapalu, Anan          7/25/2023     1.4   Check through customer related files provided by FTX for relevancy
                                            to diligence questions
Sivapalu, Anan          7/25/2023     1.1   Write python script to upload anonymous customer id data into
                                            database
Sivapalu, Anan          7/25/2023     2.2   Write SQL script to analyze reference price data for dropped data


Sivapalu, Anan          7/25/2023     0.4   Retrieve petition date coin prices using reference rate prices from
                                            coinmetrics
Sivapalu, Anan          7/25/2023     2.8   Investigate missing coins in the reference price compared to OHLCV
                                            data from coinmetrics
Sivapalu, Anan          7/25/2023     0.4   Check on status of reference price minute by minute data retrieval
                                            process
Sullivan, Christopher   7/25/2023     0.3   Call with K. Cofsky, M. Rahmani, B. Baker (PWP), C. Sullivan, A.
                                            Titus, J. Gonzalez, H. Trent, S. Glustein, D. Nizhner (A&M) re:
                                            Equity recoveries analysis
Titus, Adam             7/25/2023     1.4   Review plan recovery analysis and provide feedback to S. Glustein
                                            [A&M]
Titus, Adam             7/25/2023     0.8   Work with S. Glustein to provide response to diligence request
                                            related to 2.0
Titus, Adam             7/25/2023     1.9   Review diligence requests for 2.0 and confirm what items are within
                                            workstream scope
Titus, Adam             7/25/2023     2.1   Provide summary of token / equity investment and process overview
                                            for discussion with J. MacDonald review
Titus, Adam             7/25/2023     1.6   Draft summary update of hedge fund activities and next steps in
                                            preparation for update meeting
Titus, Adam             7/25/2023     0.9   Draft response to token investment and warrant payment based on
                                            request from M. Wu. [S&C]
Titus, Adam             7/25/2023     0.3   Call with K. Cofsky, M. Rahmani, B. Baker (PWP), C. Sullivan, A.
                                            Titus, J. Gonzalez, H. Trent, S. Glustein, D. Nizhner (A&M) re:
                                            Equity recoveries analysis
Titus, Adam             7/25/2023     0.4   Call with F. Crocco, B. Zonenshayn (S&C), D. Nizhner, S. Glustein,
                                            A. Titus (A&M) re: LedgerPrime updates
Titus, Adam             7/25/2023     0.4   Call with A. Titus, S. Glustein, D. Nizhner, L. Clayton, A. Liv-Feyman
                                            (A&M) regarding FTX Ventures internal team status report updates
Titus, Adam             7/25/2023     1.1   Work with internal team to provide response to token issuer and
                                            needed documentation




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Financial Analysis
Professional                Date    Hours     Activity
Trent, Hudson           7/25/2023     0.3   Call with K. Cofsky, M. Rahmani, B. Baker (PWP), C. Sullivan, A.
                                            Titus, J. Gonzalez, H. Trent, S. Glustein, D. Nizhner (A&M) re:
                                            Equity recoveries analysis
Trent, Hudson           7/25/2023     0.3   Call with K. Cofsky, M. Rahmani, B. Baker (PWP), C. Sullivan, A.
                                            Titus, J. Gonzalez, H. Trent, S. Glustein, D. Nizhner (A&M) re:
                                            Equity recoveries analysis
Walker, William         7/25/2023     0.2   Call with W. Walker, A. Liv-Feyman (A&M) regarding token issuer
                                            contact letter analysis updates
Callerio, Lorenzo       7/26/2023     0.3   Call with L. Callerio, I. Radwanski, J. Chan, M. Sunkara (A&M)
                                            regarding crypto tracing avoidance ventures internal updates
Canale, Alex            7/26/2023     0.3   Call with L. Iwanski, L. Lambert, A. Canale, P. McGrath (A&M)
                                            regarding crypto tracing avoidance ventures internal updates
Chan, Jon               7/26/2023     0.3   Call with L. Callerio, I. Radwanski, J. Chan, M. Sunkara (A&M)
                                            regarding crypto tracing avoidance ventures internal updates
Clayton, Lance          7/26/2023     1.6   Venture token research and updates to tracking model

Clayton, Lance          7/26/2023     1.1   Perform pricing exercise for venture brokerage positions


Clayton, Lance          7/26/2023     3.1   Continue detailed review of venture investment model inputs for
                                            accuracy and consolidation
Clayton, Lance          7/26/2023     2.2   Create new schedule for PLAN team for venture investment funding,
                                            closings, and forecasts
Faett, Jack             7/26/2023     0.5   Call with K. Beighton, J. Robinson (Teneo), F. Crocco (S&C) J.
                                            Faett, K. Kearney, D. Nizhner, S. Glustein, A. Titus (A&M) re:
                                            LedgerPrime master fund liquidation
Glustein, Steven        7/26/2023     0.4   Call with A. Titus, S. Glustein, A. Liv-Feyman (A&M), M. Rahmani,
                                            W. Syed, S. Saferstein (PWP), J. MacDonald (S&C) regarding FTX
                                            Venture investments advisor discussion updates
Glustein, Steven        7/26/2023     2.7   Update funded investment summary by legal entity relating to plan
                                            recovery analysis
Glustein, Steven        7/26/2023     0.4   Correspondence with investee company relating to K-1 tax
                                            information
Glustein, Steven        7/26/2023     0.6   Correspondence with M. Rahmani (PWP) regarding plan recovery
                                            analysis
Glustein, Steven        7/26/2023     0.8   Draft board of director slide regarding upcoming token launch
                                            relating to venture investment
Glustein, Steven        7/26/2023     1.2   Review board of director slides relating to venture token updates

Glustein, Steven        7/26/2023     0.7   Review brokerage summary relating to Alameda brokerage positions


Glustein, Steven        7/26/2023     2.1   Review venture investment listing relating to request from A&M DI
                                            team
Glustein, Steven        7/26/2023     0.3   Call with S. Glustein and A. Liv-Feyman (A&M) regarding crypto
                                            tracing avoidance ventures internal updates
Glustein, Steven        7/26/2023     0.5   Call with K. Beighton, J. Robinson (Teneo), F. Crocco (S&C) J.
                                            Faett, K. Kearney, D. Nizhner, S. Glustein, A. Titus (A&M) re:
                                            LedgerPrime master fund liquidation

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Professional            Date     Hours     Activity
Kearney, Kevin       7/26/2023     0.5   Call with K. Beighton, J. Robinson (Teneo), F. Crocco (S&C) J.
                                         Faett, K. Kearney, D. Nizhner, S. Glustein, A. Titus (A&M) re:
                                         LedgerPrime master fund liquidation
Lambert, Leslie      7/26/2023     0.3   Call with L. Iwanski, L. Lambert, A. Canale, P. McGrath (A&M)
                                         regarding crypto tracing avoidance ventures internal updates
Liv-Feyman, Alec     7/26/2023     0.9   Update tokens confirmed receipts within token model for new
                                         updates
Liv-Feyman, Alec     7/26/2023     2.4   Update token model for outstanding issues determined

Liv-Feyman, Alec     7/26/2023     2.1   Update PMO deck for token receipts and updates


Liv-Feyman, Alec     7/26/2023     0.6   Update internal pricing and media alert analysis for token figures

Liv-Feyman, Alec     7/26/2023     1.4   Review legal agreements on third party sites for amended token
                                         purchase agreements
Liv-Feyman, Alec     7/26/2023     1.2   Consolidate token issuer outreach analysis for new updates


Liv-Feyman, Alec     7/26/2023     0.3   Call with S. Glustein and A. Liv-Feyman (A&M) regarding crypto
                                         tracing avoidance ventures internal updates
Liv-Feyman, Alec     7/26/2023     1.1   Review legal agreements for token launch expected


Liv-Feyman, Alec     7/26/2023     0.4   Call with A. Titus, S. Glustein, A. Liv-Feyman (A&M), M. Rahmani,
                                         W. Syed, S. Saferstein (PWP), J. MacDonald (S&C) regarding FTX
                                         Venture investments advisor discussion updates
McGrath, Patrick     7/26/2023     0.3   Call with L. Iwanski, L. Lambert, A. Canale, P. McGrath (A&M)
                                         regarding crypto tracing avoidance ventures internal updates
Nizhner, David       7/26/2023     1.2   Update file repository of equity investments to account for
                                         investment agreements
Nizhner, David       7/26/2023     0.6   Correspond with S&C regarding LedgerPrime claims

Nizhner, David       7/26/2023     2.4   Create bridge for LedgerPrime transferred crypto assets


Nizhner, David       7/26/2023     2.2   Create LedgerPrime one pager for feederfund solvency

Nizhner, David       7/26/2023     2.7   Create LedgerPrime solvency analysis with petition date balances


Nizhner, David       7/26/2023     0.9   Update LedgerPrime solvency analysis presentation to illustrate
                                         intercompany relationship
Nizhner, David       7/26/2023     1.4   Update LedgerPrime pro forma balance sheet for solvency analysis

Nizhner, David       7/26/2023     0.5   Call with K. Beighton, J. Robinson (Teneo), F. Crocco (S&C) J.
                                         Faett, K. Kearney, D. Nizhner, S. Glustein, A. Titus (A&M) re:
                                         LedgerPrime master fund liquidation
Sivapalu, Anan       7/26/2023     0.3   Analyze status of OHLCV data import into database from coinmetrics




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Professional                Date    Hours     Activity
Sivapalu, Anan          7/26/2023     1.2   Check through the automation using short time frame to debug any
                                            issue related to price retrieval
Sivapalu, Anan          7/26/2023     1.3   Import minute by minute reference price data into FTX data
                                            warehouse
Sivapalu, Anan          7/26/2023     0.3   Check through daily coin price retrieval from existing data providers
                                            for tech related disruption
Sivapalu, Anan          7/26/2023     2.5   Modify existing minute by minute reference price data script to work
                                            automatically on a daily basis
Sivapalu, Anan          7/26/2023     1.3   Check through overnight reference price retrieval process to ensure
                                            no data is dropped
Sivapalu, Anan          7/26/2023     1.0   Write script to explore latest customer related data to gauge
                                            relationship with previously sent data
Sunkara, Manasa         7/26/2023     0.3   Call with L. Callerio, I. Radwanski, J. Chan, M. Sunkara (A&M)
                                            regarding crypto tracing avoidance ventures internal updates
Titus, Adam             7/26/2023     0.5   Call with K. Beighton, J. Robinson (Teneo), F. Crocco (S&C) J.
                                            Faett, K. Kearney, D. Nizhner, S. Glustein, A. Titus (A&M) re:
                                            LedgerPrime master fund liquidation
Titus, Adam             7/26/2023     1.3   Review BOD meeting materials following draft from S. Glustein
                                            [A&M]
Titus, Adam             7/26/2023     0.8   Review tear sheet summary on investment potential buyback of
                                            equity, including comments on overview
Titus, Adam             7/26/2023     1.3   Provide summary schedule to S. Coverick [A&M] on workstream
                                            enhancements related to process updates
Titus, Adam             7/26/2023     0.4   Call with A. Titus, S. Glustein, A. Liv-Feyman (A&M), M. Rahmani,
                                            W. Syed, S. Saferstein (PWP), J. MacDonald (S&C) regarding FTX
                                            Venture investments advisor discussion updates
Titus, Adam             7/26/2023     1.9   Revise tear sheet with comments and enhance with additional
                                            information needed to complete analysis
Titus, Adam             7/26/2023     0.9   Summarize token sale information related to processing of potential
                                            transactions of future sales
Titus, Adam             7/26/2023     1.6   Revise BOD materials with additional information needed


Walker, William         7/26/2023     0.7   Correspond with A. Liv-Feyman (A&M) regarding token issuer
                                            correspondence
Clayton, Lance          7/27/2023     1.2   Refresh summary venture deck for new data figures


Clayton, Lance          7/27/2023     0.9   Update venture sale tracker for recent events

Clayton, Lance          7/27/2023     2.8   Update venture master model and bridge

Clayton, Lance          7/27/2023     0.3   Update equity outreach tracker based on current progress


Clayton, Lance          7/27/2023     3.1   Detailed reconciliation of token investment legal entities, funding,
                                            and validity
Clayton, Lance          7/27/2023     0.9   Discuss with internal team current status and next steps of venture
                                            book data room

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Professional             Date    Hours     Activity
Clayton, Lance       7/27/2023     0.3   Call with A. Titus, W. Walker, L. Clayton, D. Nizhner, A. Liv-Feyman
                                         (A&M) regarding internal FTX Ventures progress updates
Clayton, Lance       7/27/2023     2.9   Internal review and working session on venture overview deck re:
                                         finalize structure and purpose
Glustein, Steven     7/27/2023     1.4   Draft summary of settlement agreement received related to token
                                         venture investment
Glustein, Steven     7/27/2023     0.4   Correspondence with Sygnia team relating to claiming vested tokens

Glustein, Steven     7/27/2023     0.5   Correspondence with M. Rahmani (PWP) regarding asset recoveries
                                         relating to top equity investments
Glustein, Steven     7/27/2023     0.6   Review claims filed against LedgerPrime entities

Glustein, Steven     7/27/2023     0.4   Correspondence with fund investee company relating to capital call
                                         notices
Glustein, Steven     7/27/2023     1.4   Correspondence with F. Crocco (S&C) relating to LedgerPrime
                                         claims analysis
Glustein, Steven     7/27/2023     1.7   Review wind-down analysis relating to LedgerPrime


Glustein, Steven     7/27/2023     0.9   Call with S. Glustein, D. Nizhner (A&M) re: LedgerPrime crypto
                                         reconciliation
Glustein, Steven     7/27/2023     0.7   Correspondence with Accounting team regarding details of crypto
                                         assets held at third parties relating to LedgerPrime
Glustein, Steven     7/27/2023     0.2   Provide comments on wind-down analysis relating to LedgerPrime


Liv-Feyman, Alec     7/27/2023     0.9   Update token model for additional crypto tracing request deliverables

Liv-Feyman, Alec     7/27/2023     1.8   Update token model formatting for receipts confirmed of split
                                         agreement
Liv-Feyman, Alec     7/27/2023     1.7   Update token outreach information for new stage based responses

Liv-Feyman, Alec     7/27/2023     0.8   Update warrant analysis for exercised tokens vestings


Liv-Feyman, Alec     7/27/2023     0.7   Review token deliverable tracing requests agreements

Liv-Feyman, Alec     7/27/2023     2.3   Review third party site for new contacts related to token issuers

Liv-Feyman, Alec     7/27/2023     1.4   Review third party site for adjusted token agreements related to
                                         amended total supply
Liv-Feyman, Alec     7/27/2023     0.3   Call with A. Titus, W. Walker, L. Clayton, D. Nizhner, A. Liv-Feyman
                                         (A&M) regarding internal FTX Ventures progress updates
Liv-Feyman, Alec     7/27/2023     0.6   Update media and pricing alert token investment updates


Liv-Feyman, Alec     7/27/2023     0.3   Call with W. Walker, A. Liv-Feyman (A&M) regarding tracing
                                         deliverables token model updates




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                                   FTX Trading Ltd., et al.,
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                              July 1, 2023 through July 31, 2023


Financial Analysis
Professional                Date    Hours     Activity
Nizhner, David          7/27/2023     1.7   Update LedgerPrime transfer schedule for revised crypto quantity
                                            transfers
Nizhner, David          7/27/2023     2.7   Update value analysis for proposed token vesting schedule


Nizhner, David          7/27/2023     2.8   Draft Alameda investment proposal recommendation for J. Ray
                                            (FTX)
Nizhner, David          7/27/2023     0.3   Call with A. Titus, W. Walker, L. Clayton, D. Nizhner, A. Liv-Feyman
                                            (A&M) regarding internal FTX Ventures progress updates
Nizhner, David          7/27/2023     0.9   Call with S. Glustein, D. Nizhner (A&M) re: LedgerPrime crypto
                                            reconciliation
Nizhner, David          7/27/2023     0.8   Correspond with internal crypto team regarding crypto transfer
                                            reconciliation
Nizhner, David          7/27/2023     1.4   Correspond with plan team regarding token inputs for Plan
                                            presentation
Nizhner, David          7/27/2023     1.6   Create matrix detailing all LedgerPrime crypto asset positions by
                                            exchange
Nizhner, David          7/27/2023     2.9   Create recommendation analysis for J. Ray (FTX) regarding
                                            Alameda investment value shortfall
Nizhner, David          7/27/2023     0.2   Review LedgerPrime solvency analysis presentation

Sivapalu, Anan          7/27/2023     1.1   Delete existing corrupted daily coin price data in database

Sivapalu, Anan          7/27/2023     1.9   Debug skipped data from daily reference rate retrieval script for
                                            coinmetrics
Sivapalu, Anan          7/27/2023     0.2   Analyze missing data imports from yahoo/cmc data provider

Sivapalu, Anan          7/27/2023     0.8   Retrieve anew all of the daily reference price data from coinmetrics


Sivapalu, Anan          7/27/2023     2.3   Write script to retrieve automatically daily reference price from
                                            coinmetrics
Sivapalu, Anan          7/27/2023     1.2   Write SQL script to check for any skipped data in the data table


Sivapalu, Anan          7/27/2023     0.4   Check daily coin price retrieval from other data providers for tech
                                            related disruption
Sivapalu, Anan          7/27/2023     0.3   Incorporate daily reference price retrieval to automated scheduler

Sivapalu, Anan          7/27/2023     0.2   Analyze missing data imports from coingecko data provider


Sivapalu, Anan          7/27/2023     0.6   Analyze OHLCV data import into database from data provider

Titus, Adam             7/27/2023     1.3   Review update from W. Walker [A&M] on token process updates
                                            and latest stage of outreach
Titus, Adam             7/27/2023     0.3   Call with A. Titus, W. Walker, L. Clayton, D. Nizhner, A. Liv-Feyman
                                            (A&M) regarding internal FTX Ventures progress updates




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                                   FTX Trading Ltd., et al.,
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Financial Analysis
Professional                Date    Hours     Activity
Titus, Adam             7/27/2023     1.2   Correspondence with S. Sullivan [A&M] on needs for plan and
                                            recovery analysis include diligence information requested
Titus, Adam             7/27/2023     1.8   Draft token investment summary with overview of next steps and
                                            process decision points
Titus, Adam             7/27/2023     1.5   Review latest tear sheets and information on equity investment
                                            updates by L. Clayton [A&M]
Titus, Adam             7/27/2023     0.2   Call with A. Titus, W. Walker (A&M) regarding ventures and
                                            SOFA/SOAL reconciliation
Titus, Adam             7/27/2023     1.6   Send details workplan for token investment process updates to W.
                                            Walker [A&M]
Titus, Adam             7/27/2023     1.3   Send details workplan for tracking potential equity investment
                                            process updates to L. Clayton [A&M]
Walker, William         7/27/2023     0.7   Correspond with D. Sagan and plan team (A&M) regarding latest
                                            assumptions associated with reconciling the venture token database
Walker, William         7/27/2023     0.3   Prepare summary of token process in response to request from A.
                                            Titus (A&M)
Walker, William         7/27/2023     1.7   Reconcile prior venture distribution with latest pricing for
                                            reconciliation purposes
Walker, William         7/27/2023     2.4   Update token model with latest data for distribution to plan team

Walker, William         7/27/2023     0.5   Review token model for token data requested by W. Syed (PWP)

Walker, William         7/27/2023     2.6   Reconcile updated token tracker provided by J. Faett (A&M)


Walker, William         7/27/2023     0.7   Correspond with SOFA/SOAL team regarding updated tracing
                                            documents
Walker, William         7/27/2023     0.8   Prepare external report snapshot for plan team


Walker, William         7/27/2023     2.3   Prepare bridging items to show changes from prior distribution to
                                            latest version for plan team
Walker, William         7/27/2023     1.1   Correspond with plan team on vesting schedule with prior 7/7 pricing


Walker, William         7/27/2023     0.3   Call with A. Titus, W. Walker, L. Clayton, D. Nizhner, A. Liv-Feyman
                                            (A&M) regarding internal FTX Ventures progress updates
Walker, William         7/27/2023     0.7   Correspond with plan team on vesting schedule needs

Walker, William         7/27/2023     0.3   Call with W. Walker, A. Liv-Feyman (A&M) regarding tracing
                                            deliverables token model updates
Walker, William         7/27/2023     0.3   Correspond with A. Titus (A&M) regarding upcoming workstream
                                            deliverables
Clayton, Lance          7/28/2023     1.2   Prepare status tracker updates re: external party bid offer


Clayton, Lance          7/28/2023     3.1   Review external party bids on venture investments to determine
                                            reasonableness




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Financial Analysis
Professional             Date    Hours     Activity
Clayton, Lance       7/28/2023     1.1   Create go forward plan and goals on upcoming out reach process

Clayton, Lance       7/28/2023     2.8   Continue equity outreach preparation and support documentation


Glustein, Steven     7/28/2023     0.4   Call with A. Titus, S. Glustein, A. Liv-Feyman (A&M) and token
                                         issuer team to discuss outstanding token amounts
Glustein, Steven     7/28/2023     0.3   Correspondence with J. MacDonald (S&C) regarding legal review of
                                         lock-up agreements relating to venture token investment
Glustein, Steven     7/28/2023     0.9   Correspondence with token issuer regarding updated lock-up
                                         agreement relating to upcoming token launch
Glustein, Steven     7/28/2023     2.1   Prepare recommendation slide regarding updated lock-up
                                         agreement relating to token venture investment
Glustein, Steven     7/28/2023     2.7   Prepare recommendation slide relating to proposal received from
                                         token issuer
Glustein, Steven     7/28/2023     0.6   Review coin report presentation relating to venture token investments

Glustein, Steven     7/28/2023     1.1   Review investment tracker relating to reconciliation with accounting
                                         team
Liv-Feyman, Alec     7/28/2023     1.2   Update token model for confirmed receipts to date of postpetition
                                         receipts
Liv-Feyman, Alec     7/28/2023     0.4   Call with A. Titus, S. Glustein, A. Liv-Feyman (A&M) and token
                                         issuer team to discuss outstanding token amounts
Liv-Feyman, Alec     7/28/2023     0.3   Call with W. Walker, A. Liv-Feyman (A&M) regarding coin report
                                         ventures bridge
Liv-Feyman, Alec     7/28/2023     0.3   Call with W. Walker, A. Liv-Feyman (A&M) regarding token pricing
                                         bridge updates
Liv-Feyman, Alec     7/28/2023     1.6   Review legal agreements for outstanding quantity figures to reach
                                         out to token issuers
Liv-Feyman, Alec     7/28/2023     0.9   Review onboarding process for agreements sent by token issuer

Liv-Feyman, Alec     7/28/2023     0.6   Update internal report of token investments for media alerts and
                                         pricing updates
Liv-Feyman, Alec     7/28/2023     2.1   Update coin report and ventures reconciliation bridge for variance
                                         report
Nizhner, David       7/28/2023     2.3   Create analysis regarding venture teams recover value

Nizhner, David       7/28/2023     1.6   Reconcile remaining LedgerPrime crypto balance


Nizhner, David       7/28/2023     0.7   Review LedgerPrime updated token reconciliation

Sivapalu, Anan       7/28/2023     0.1   Create script to import distinct symbols from reference price data


Sivapalu, Anan       7/28/2023     1.2   Create SQL script to import distinct time from reference price data
                                         into dim table




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Financial Analysis
Professional               Date     Hours     Activity
Sivapalu, Anan          7/28/2023     1.0   Create SSAS tabular cube with new reference price data using fact
                                            tables
Sivapalu, Anan          7/28/2023     0.4   Eliminate unneeded views to unclutter coin price database from
                                            unneeded elements
Sivapalu, Anan          7/28/2023     0.4   Create relationship between tables in the tabular cube containing
                                            reference price data
Sivapalu, Anan          7/28/2023     1.1   Deploy tabular cube to database to check for any failure in data
                                            upload
Sivapalu, Anan          7/28/2023     1.8   Analyze OHLCV data import into database from coinmetrics


Sivapalu, Anan          7/28/2023     0.6   Add dimension tables to SSAS tabular cube with reference price data

Sivapalu, Anan          7/28/2023     1.5   Create SQL script to import distinct symbols from reference price
                                            data into dim table
Sivapalu, Anan          7/28/2023     0.6   Check through daily coin price retrieval from other data providers for
                                            tech related disruption
Titus, Adam             7/28/2023     1.3   Draft situation overview of token investment and include analysis
                                            from counsel on potential litigation
Titus, Adam             7/28/2023     2.3   Update investment tracker for latest details regarding select
                                            investments from updated weekly info
Titus, Adam             7/28/2023     1.3   Review token schedule and corresponding update schedule based
                                            on email correspondence with token issuers
Titus, Adam             7/28/2023     1.5   Review draft of PMO slides for latest updates within venture
                                            workstream
Titus, Adam             7/28/2023     1.5   Respond to request for further information on token investment
                                            response to proposal
Titus, Adam             7/28/2023     0.4   Call with A. Titus, S. Glustein, A. Liv-Feyman (A&M) and token
                                            issuer team to discuss outstanding token amounts
Titus, Adam             7/28/2023     0.8   Call with W. Walker, A. Titus (A&M) regarding venture team updates

Titus, Adam             7/28/2023     0.8   Respond to request on token investment information M. Van Den
                                            Belt [A&M] related to investment valuation
Walker, William         7/28/2023     0.3   Call with W. Walker, A. Liv-Feyman (A&M) regarding token pricing
                                            bridge updates
Walker, William         7/28/2023     0.3   Call with W. Walker, A. Liv-Feyman (A&M) regarding coin report
                                            ventures bridge
Walker, William         7/28/2023     1.0   Call with W. Walker, S. Coverick (A&M) regarding venture team
                                            status updates
Walker, William         7/28/2023     0.4   Correspond with D. Nizhner (A&M) regarding latest venture deck
                                            output
Walker, William         7/28/2023     1.4   Draft memo outlining the remaining pricing variances between coin
                                            report, SOFA/SOALS, & Vesting schedules
Walker, William         7/28/2023     0.6   Prepare outline of current staked tokens for distribution to ventures
                                            team




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Financial Analysis
Professional               Date     Hours     Activity
Walker, William         7/28/2023     0.8   Call with W. Walker, A. Titus (A&M) regarding venture team updates

Clayton, Lance          7/29/2023     1.8   Review external advisor correspondence and update sale tracker


Titus, Adam             7/29/2023     2.4   Create next steps and summary of token / equity investment for
                                            discussion with J. MacDonald review
Titus, Adam             7/29/2023     1.6   Review email responses from J. Ray (FTX) and develop materials to
                                            answer request
Walker, William         7/29/2023     1.2   Prepare updated token model export page to tie to 7/28 coin report


Walker, William         7/29/2023     1.7   Update token model to align with latest coin report pricing

Clayton, Lance          7/30/2023     2.1   Continue equity outreach preparation and support documentation


Glustein, Steven        7/30/2023     1.3   Draft weekend update materials, relating to weekly venture
                                            investment updates
Glustein, Steven        7/30/2023     1.1   Review PMO slide relating to venture token investment updates


Glustein, Steven        7/30/2023     0.4   Review PMO slide relating to LedgerPrime updates

Titus, Adam             7/30/2023     2.1   Draft follow up response and details for J. Ray (CEO) on
                                            recommendation for token investment
Titus, Adam             7/30/2023     1.5   Draft follow up analysis based on J. Ray [CEO] on recommendation
                                            for token investment
Clayton, Lance          7/31/2023     0.8   Call with S. Glustein and L. Clayton (A&M) to discuss breakdown of
                                            venture investments by investment type
Clayton, Lance          7/31/2023     1.6   Detail and document needed future correspondence re: venture
                                            investee requests
Clayton, Lance          7/31/2023     1.2   Plan model additional reconciliation re: acct balance sheet
                                            differences
Clayton, Lance          7/31/2023     3.0   Create query and individual file diligence tracker for venture book


Clayton, Lance          7/31/2023     2.3   Update venture investment recovery estimations re: plan recovery
                                            model
Glustein, Steven        7/31/2023     0.6   Review process relating to compiling and posting venture
                                            investments to box site
Glustein, Steven        7/31/2023     1.2   Review investment listing regarding non-us equity investments
                                            relating to tax filings
Glustein, Steven        7/31/2023     0.4   Call with A. Alden (QE), A. Titus and S. Glustein (A&M) regarding
                                            token investments relating to potential avoidance actions
Glustein, Steven        7/31/2023     1.3   Call with A. Titus and S. Glustein (A&M) to review venture
                                            workstream updates relating to token venture investments
Glustein, Steven        7/31/2023     0.9   Call with A. Titus, W. Walker, S. Glustein (A&M) to discuss token
                                            investment updates relating to venture investments




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Financial Analysis
Professional               Date    Hours     Activity
Glustein, Steven       7/31/2023     0.5   Call with J. Croke (S&C) A. Titus, W. Walker, S. Glustein (A&M) to
                                           discuss updates relating to token venture investments
Glustein, Steven       7/31/2023     0.3   Call with R. Yang (EY) to discuss tax filings


Glustein, Steven       7/31/2023     0.8   Call with S. Glustein and L. Clayton (A&M) to discuss breakdown of
                                           venture investments by investment type
Glustein, Steven       7/31/2023     0.4   Correspondence with cash team regarding cash refunded from
                                           venture portfolio company
Glustein, Steven       7/31/2023     0.6   Correspondence with K Flinn (PWP) and J. MacDonald (S&C)
                                           regarding investee reach outs relating to tax filings
Glustein, Steven       7/31/2023     1.7   Prepare summary of recent updates relating to token venture
                                           investments
Glustein, Steven       7/31/2023     0.7   Correspondence with token issuer relating to wallet address required
                                           for upcoming token launch
Glustein, Steven       7/31/2023     0.8   Provide comments on venture portfolio presentation relating to
                                           equity investments
Liv-Feyman, Alec       7/31/2023     0.7   Update consolidated token investment analysis for new pricing and
                                           24h volume variance
Liv-Feyman, Alec       7/31/2023     1.2   Call with W. Walker, A. Liv-Feyman (A&M) regarding token warrant
                                           analysis updates
Liv-Feyman, Alec       7/31/2023     0.2   Call with W. Walker, A. Liv-Feyman (A&M) regarding token model
                                           analysis updates
Liv-Feyman, Alec       7/31/2023     1.4   Review legal agreement for token vesting schedule updates and
                                           update into token model
Liv-Feyman, Alec       7/31/2023     0.9   Update token pricing variance report between coin report and
                                           ventures team figures
Liv-Feyman, Alec       7/31/2023     1.8   Update token warrant analysis for additional token data information
                                           updates
Mosley, Ed             7/31/2023     0.5   Discuss financial analysis for FTX EU expense options and cash
                                           forecast with D.Johnston (A&M)
Mosley, Ed             7/31/2023     1.1   Review and prepare comments to draft financial analysis for
                                           European entities to management
Mosley, Ed             7/31/2023     1.1   Review of and prepare comments to draft financial analysis of
                                           StarkWare token investment
Mosley, Ed             7/31/2023     1.9   Review of and prepare comments to draft of "separate entities"
                                           recovery analysis
Nizhner, David         7/31/2023     2.2   Create revised LedgerPrime Master Fund exchange balance matrix


Nizhner, David         7/31/2023     2.7   Continue to update data structure for revised investment agreement
                                           index
Nizhner, David         7/31/2023     2.4   Create revised LedgerPrime crypto mapping for balance
                                           reconciliation
Nizhner, David         7/31/2023     2.8   Update data structure for investment agreement index




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Financial Analysis
Professional               Date     Hours     Activity
Nizhner, David          7/31/2023     2.6   Bridge transferred crypto with petition date LedgerPrime crypto
                                            token listing
Sivapalu, Anan          7/31/2023     1.3   Develop visual dashboard tables using user level data to test
                                            reaction time of dashboard
Sivapalu, Anan          7/31/2023     0.9   Create simple DAX measures based on trader financial data to test
                                            reaction time
Sivapalu, Anan          7/31/2023     1.4   Build summary dashboard with trader financial data only using table
                                            visuals
Sivapalu, Anan          7/31/2023     2.9   Build initial data model with trader financial data to test dashboard
                                            reaction time
Sivapalu, Anan          7/31/2023     0.9   Add user level data to data model that contains trader financial data

Sivapalu, Anan          7/31/2023     1.4   Build summary dashboard with user data only using table visuals


Sivapalu, Anan          7/31/2023     1.2   Develop initial rough dashboard to check reaction time of data pulls
                                            into visual tables
Titus, Adam             7/31/2023     0.7   Revise draft of tear sheet on token investment based on discussion
                                            with A. Alden [QE]
Titus, Adam             7/31/2023     0.9   Prepare talking points and responses on talking points in preparation
                                            for meeting on process steps
Titus, Adam             7/31/2023     1.5   Prepare responses to request for information on token investment
                                            from A. Alden [QE]
Titus, Adam             7/31/2023     1.7   Review summary recommendation and next steps provided by W.
                                            Walker [A&M] for additional warrants for vested tokens
Titus, Adam             7/31/2023     0.9   Revise draft schedules for token schedule and dashboard summary
                                            based on latest details
Titus, Adam             7/31/2023     0.5   Call with J. Croke (S&C) A. Titus, W. Walker, S. Glustein (A&M) to
                                            discuss updates relating to token venture investments
Titus, Adam             7/31/2023     0.9   Call with A. Titus, W. Walker, S. Glustein (A&M) to discuss token
                                            investment updates relating to venture investments
Titus, Adam             7/31/2023     1.3   Call with A. Titus and S. Glustein (A&M) to review venture
                                            workstream updates relating to token venture investments
Titus, Adam             7/31/2023     0.4   Call with A. Alden (QE), A. Titus and S. Glustein (A&M) regarding
                                            token investments relating to potential avoidance actions
Titus, Adam             7/31/2023     1.4   Draft summary schedule for internal update and discussion topics
                                            agenda for Ventures workstream
Walker, William         7/31/2023     1.3   Prepare reconciliation of changes from prior coin report version used
                                            for plan purposes
Walker, William         7/31/2023     0.2   Call with A. Titus, W. Walker(A&M) regarding token deliverables
                                            updates
Walker, William         7/31/2023     1.1   Review token warrant report prepared by A. Liv-Feyman (A&M)


Walker, William         7/31/2023     1.3   Review token warrant analysis to view outstanding token warrant
                                            fees




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Financial Analysis
Professional              Date     Hours      Activity
Walker, William        7/31/2023       0.5   Call with J. Croke (S&C) A. Titus, W. Walker, S. Glustein (A&M) to
                                             discuss updates relating to token venture investments
Walker, William        7/31/2023       0.2   Call with W. Walker, A. Liv-Feyman (A&M) regarding token model
                                             analysis updates
Walker, William        7/31/2023       1.8   Update vesting tracker with to tie out to latest coin report

Walker, William        7/31/2023       1.2   Call with W. Walker, A. Liv-Feyman (A&M) regarding token warrant
                                             analysis updates
Walker, William        7/31/2023       0.6   Correspond with plan team regarding updated venture output


Walker, William        7/31/2023       0.7   Correspond with venture team regarding token issuer questions

Walker, William        7/31/2023       1.2   Prepare external legal entity view of token model


Walker, William        7/31/2023       0.9   Record updates to venture deck with latest updates from call with
                                             S&C
Walker, William        7/31/2023       0.7   Review correspondence with token issuers regarding corrected
                                             wallet addresses
Walker, William        7/31/2023       0.9   Call with A. Titus, W. Walker, S. Glustein (A&M) to discuss token
                                             investment updates relating to venture investments
Walker, William        7/31/2023       1.2   Update token vesting schedule tables for incorporation into updated
                                             token deck
Walker, William        7/31/2023       0.9   Draft summary view of total token position in response to request
                                             Europe team

Subtotal                           1,438.7

Intercompany
Professional              Date     Hours      Activity
Li, Summer              7/1/2023       0.2   Correspondences with C. Bertnard (FTX) regarding one of the
                                             discrepancies identified between FTX's and A&M's data on the
                                             balance migrated from Liquid to FTX.com
Hainline, Drew          7/3/2023       0.2   Update petition date balance support for FTX Trading Ltd to reflect
                                             updated Alameda custodial cash analysis
Hainline, Drew          7/3/2023       0.3   Review correspondence for updates on the Japan KK intercompany
                                             analysis
Hainline, Drew          7/3/2023       0.4   Review findings on Alameda custodial cash analysis for period
                                             subsequent to Korean Friend adjustment
Li, Summer              7/3/2023       0.3   Review C. Bertnard (FTX) reply regarding the inclusion of migrated
                                             balances from Liquid to FTX.com in the initial balances
Li, Summer              7/3/2023       0.3   Correspondence with R. Gordon, H. Chambers, and D. Hainline
                                             (A&M) regarding the latest status of the intercompany reconciliation,
                                             in particular the discrepancies in internal transfer data
Li, Summer              7/3/2023       2.1   Review the revised internal transfer data for the intercompany
                                             reconciliation between FTX Japan K.K. and FTX Trading



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Intercompany
Professional               Date     Hours     Activity
Li, Summer               7/3/2023     0.5   Review the internal transfer data between FTX.com and Liquid
                                            extracted by the A&M team
Hainline, Drew           7/4/2023     0.3   Review updates from HK team on Japan KK intercompany analysis


Hainline, Drew           7/4/2023     0.2   Review additional updates on data extractions for FTX Japan KK
                                            intercompany analysis
Broskay, Cole            7/5/2023     0.4   Participate in working session to review intercompany items with
                                            Debtor advisors
Broskay, Cole            7/5/2023     0.3   Correspondence regarding intercompany data available for
                                            distribution
Faett, Jack              7/5/2023     1.9   Analyze wire transfers related to Emergent's ED&F Man account
                                            related to intercompany impact
Faett, Jack              7/5/2023     0.6   Update FTX Group Intercompany Reconciliation Schedule for
                                            additional intercompany balances for Emergent
Faett, Jack              7/5/2023     0.8   Update FTX Group Intercompany Reconciliation Schedule for
                                            variance in Alameda intra-silo intercompany balances
Hainline, Drew           7/5/2023     0.8   Update FTX Digital Markets related party analysis workpapers to
                                            reflect updates on Property Holdings analysis
Hainline, Drew           7/5/2023     0.8   Working session to review updates to the Digital Markets related
                                            party balances analysis with K. Kearney, D. Hainline (A&M)
Hainline, Drew           7/5/2023     0.4   Review updates from local finance team on Japan KK intercompany
                                            analysis
Kearney, Kevin           7/5/2023     0.8   Working session to review updates to the Digital Markets related
                                            party balances analysis with K. Kearney, D. Hainline (A&M)
Li, Summer               7/5/2023     1.4   Quantify the adjustments relating to exclusion of migrated balances
                                            from initial balance transfers for the intercompany reconciliation
                                            between FTX Japan K.K and FTX Trading
Li, Summer               7/5/2023     0.2   Quantify the adjustments relating to updates in internal transfer data
                                            for the intercompany reconciliation between FTX Japan K.K and FTX
                                            Trading
Li, Summer               7/5/2023     0.2   Correspondence with M. Cilia (FTX), R. Gordon, H. Chambers, and
                                            D. Hainline (A&M) regarding the latest status of the intercompany
                                            reconciliation as well as the impact of the proposed adjustments
Li, Summer               7/5/2023     0.3   Correspondence with M. Cilia (FTX) regarding her questions on the
                                            latest status of the intercompany reconciliation as well as the impact
                                            of the proposed adjustments
Li, Summer               7/5/2023     0.4   Quantify the total impact of proposed adjustments on intercompany
                                            balance between FTX Japan K.K. and FTX Trading
Li, Summer               7/5/2023     0.3   Summarize the current outstanding adjustments on the
                                            intercompany balance between FTX Japan K.K. and FTX Trading
Faett, Jack              7/6/2023     1.6   Call to review intercompany activity for FTX Digital Markets D.
                                            Hainline, K. Kearney, J. Faett, and M. Mirando (A&M)
Faett, Jack              7/6/2023     2.3   Working session to review Alameda silo intercompany analysis with
                                            K. Kearney, J. Faett (A&M)
Faett, Jack              7/6/2023     0.8   Working session to review Ventures silo intercompany analysis with
                                            K. Kearney, J. Faett (A&M)


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Intercompany
Professional              Date     Hours     Activity
Hainline, Drew          7/6/2023     0.4   Draft updates to IC group reconciliation schedule to reflect changes
                                           from FDM intercompany analysis
Hainline, Drew          7/6/2023     0.4   Call to review adjustments to the Japan intercompany analysis with
                                           D. Hainline, D. Kuruvilla (A&M)
Hainline, Drew          7/6/2023     1.6   Call to review intercompany activity for FTX Digital Markets D.
                                           Hainline, K. Kearney, J. Faett, and M. Mirando (A&M)
Hainline, Drew          7/6/2023     0.3   Review updates on data extracts from local finance team for Japan
                                           KK intercompany analysis
Hainline, Drew          7/6/2023     0.3   Draft adjustments to Japan KK intercompany analysis summary with
                                           petition date pricing
Hainline, Drew          7/6/2023     0.6   Review updated Japan KK intercompany analysis summary with
                                           petition date pricing
Hainline, Drew          7/6/2023     0.2   Summarize notes and next steps for Japan KK intercompany
                                           analysis
Kearney, Kevin          7/6/2023     0.8   Working session to review Ventures silo intercompany analysis with
                                           K. Kearney, J. Faett (A&M)
Kearney, Kevin          7/6/2023     2.3   Working session to review Alameda silo intercompany analysis with
                                           K. Kearney, J. Faett (A&M)
Kuruvilla, Daniel       7/6/2023     2.7   Compare changes in Japan intercompany analysis received from
                                           FTX Japan KK to previous version
Kuruvilla, Daniel       7/6/2023     0.4   Call to review adjustments to the Japan intercompany analysis with
                                           D. Hainline, D. Kuruvilla (A&M)
Kuruvilla, Daniel       7/6/2023     0.7   Apply changes in intercompany balances to prepetition trial balances


Kuruvilla, Daniel       7/6/2023     1.2   Adjust Japan intercompany analysis to pre-petition USD amounts for
                                           intercompany balance update
Li, Summer              7/6/2023     0.7   Correspondence with S. Kojima (FTX) regarding the proposed
                                           adjustments on intercompany balance
Yan, Jack               7/6/2023     1.2   Investigate the nature of JPY 1.8 billion transferred from FTX Japan
                                           K.K. to Alameda
Yan, Jack               7/6/2023     0.9   Extract the ledger of FTX Japan K.K. to understand the nature of
                                           JPY 1.8 billion transferred from FTX Japan K.K. to Alameda
Hainline, Drew          7/7/2023     2.0   Working session to reconcile variances for the Japan KK
                                           intercompany analysis with D. Hainline, D. Kuruvilla (A&M)
Kearney, Kevin          7/7/2023     0.4   Review intercompany calculations for Alameda Research KK

Kearney, Kevin          7/7/2023     1.7   Review intercompany calculations for Alameda Research LLC


Kearney, Kevin          7/7/2023     1.2   Review intercompany calculations for Alameda Research Ltd

Kearney, Kevin          7/7/2023     0.8   Review brokerage transfers between Alameda Research Ltd and
                                           Emergent Fidelity Technologies for intercompany transactions
Kuruvilla, Daniel       7/7/2023     0.6   Analyze additional intercompany Japan transactions that may affect
                                           the balance sheet




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Intercompany
Professional               Date     Hours     Activity
Kuruvilla, Daniel        7/7/2023     2.2   Compare changes in Quoine intercompany analysis received from
                                            FTX Japan KK to previous version
Kuruvilla, Daniel        7/7/2023     2.0   Working session to reconcile variances for the Japan KK
                                            intercompany analysis with D. Hainline, D. Kuruvilla (A&M)
Kuruvilla, Daniel        7/7/2023     0.9   Adjust Quoine intercompany analysis to pre-petition USD amounts
                                            for intercompany balance update
Faett, Jack             7/10/2023     1.4   Working session to discuss fiat transfers from FTX Trading Ltd to
                                            FTX Digital Markets between K. Kearney, J. Faett (A&M)
Faett, Jack             7/10/2023     1.6   Working session to discuss non-exchange intercompany
                                            transactions between Alameda Research Ltd and FTX Trading Ltd
                                            between K. Kearney, J. Faett (A&M)
Faett, Jack             7/10/2023     2.1   Working session to discuss FTX Digital Markets real estate related
                                            party balances between K. Kearney, J. Faett (A&M)
Hainline, Drew          7/10/2023     0.6   Call to review open items for intercompany balances with Liquid
                                            group entities with D. Hainline, D. Kuruvilla (A&M)
Kearney, Kevin          7/10/2023     2.1   Working session to discuss FTX Digital Markets real estate related
                                            party balances between K. Kearney, J. Faett (A&M)
Kearney, Kevin          7/10/2023     1.6   Working session to discuss non-exchange intercompany
                                            transactions between Alameda Research Ltd and FTX Trading Ltd
                                            between K. Kearney, J. Faett (A&M)
Kearney, Kevin          7/10/2023     2.5   Review of fiat customer withdrawals within FTX Digital Markets to
                                            determine proper intercompany accounting treatment
Kearney, Kevin          7/10/2023     2.1   Review of fiat customer deposits within FTX Digital Markets to
                                            determine proper intercompany accounting treatment
Kearney, Kevin          7/10/2023     1.4   Working session to discuss fiat transfers from FTX Trading Ltd to
                                            FTX Digital Markets between K. Kearney, J. Faett (A&M)
Kearney, Kevin          7/10/2023     0.4   Calculation of unsettled balance associated with Service Agreement
                                            between FTX Digital Markets Ltd and FTX Trading Ltd
Kuruvilla, Daniel       7/10/2023     3.1   Aggregate data for FTX EU team's review of intercompany
                                            transactions
Kuruvilla, Daniel       7/10/2023     0.6   Call to review open items for intercompany balances with Liquid
                                            group entities with D. Hainline, D. Kuruvilla (A&M)
Broskay, Cole           7/11/2023     0.4   Correspondence regarding intercompany documentation prior to AP
                                            call
Faett, Jack             7/11/2023     1.0   Working session to review customer funds for Alameda silo entities
                                            between K. Kearney, J. Faett (A&M)
Faett, Jack             7/11/2023     2.2   Working session to review transfers on the FTX.com exchange for
                                            Alameda between K. Kearney (A&M), J. Faett (A&M)
Gordon, Robert          7/11/2023     0.4   Teleconference with K. Kearney, R. Gordon(A&M) over alameda
                                            Solana contracts
Johnston, David         7/11/2023     0.8   Review intercompany file repository and analyze implications for
                                            wind down workstream
Kearney, Kevin          7/11/2023     2.2   Working session to review transfers on the FTX.com exchange for
                                            Alameda between K. Kearney (A&M), J. Faett (A&M)
Kearney, Kevin          7/11/2023     1.2   Review of intercompany balance calculation between North
                                            Dimension Inc and Alameda Research Ltd

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Intercompany
Professional                Date     Hours     Activity
Kearney, Kevin           7/11/2023     1.1   Review of intercompany balance calculation between Alameda
                                             Research LLC and Alameda Research Ltd
Kearney, Kevin           7/11/2023     1.0   Working session to review customer funds for Alameda silo entities
                                             between K. Kearney, J. Faett (A&M)
Kearney, Kevin           7/11/2023     0.4   Teleconference with K. Kearney, R. Gordon(A&M) over alameda
                                             Solana contracts
Schlam Batista, Sharon   7/11/2023     2.1   Categorize intercompany transactions of Quoine PTE Ltd vs. Japan
                                             Services
Sullivan, Christopher    7/11/2023     0.4   Review updated IC to be included in working models


Gordon, Robert           7/12/2023     0.2   Working session with R. Gordon & C. Sullivan (A&M) to discuss IC
                                             updates due to crypto tracing analysis
Gordon, Robert           7/12/2023     2.4   Review latest Alameda intercompany matrix and support


Gordon, Robert           7/12/2023     2.1   Review latest intercompany contract analysis

Johnston, David          7/12/2023     0.8   Review and update FTX EU Ltd. bank account report for deposits
                                             received into non FTX EU Ltd. bank accounts
Kearney, Kevin           7/12/2023     0.2   Discuss Alameda intercompany analysis with K. Kearney, C.
                                             Sullivan, D. Slay, and B. Tenney (A&M)
Slay, David              7/12/2023     0.2   Discuss Alameda intercompany analysis with K. Kearney, C.
                                             Sullivan, D. Slay, and B. Tenney (A&M)
Sullivan, Christopher    7/12/2023     0.2   Working session with R. Gordon & C. Sullivan (A&M) to discuss IC
                                             updates due to crypto tracing analysis
Sullivan, Christopher    7/12/2023     0.2   Discuss Alameda intercompany analysis with K. Kearney, C.
                                             Sullivan, D. Slay, and B. Tenney (A&M)
Tenney, Bridger          7/12/2023     0.2   Discuss Alameda intercompany analysis with K. Kearney, C.
                                             Sullivan, D. Slay, and B. Tenney (A&M)
Broskay, Cole            7/13/2023     0.4   Internal correspondence regarding intercompany requests

Faett, Jack              7/13/2023     1.6   Review intercompany from venture investments for Maclaurin
                                             Investments Ltd for missing intercompany balances
Gordon, Robert           7/13/2023     1.3   Analyze results of alameda analysis impact on Alameda LLC

Gordon, Robert           7/13/2023     0.9   Working session with K. Kearney, R. Gordon(A&M) over alameda
                                             analysis impacts
Hainline, Drew           7/13/2023     0.6   Validate accuracy and completeness of intercompany group
                                             schedule
Kearney, Kevin           7/13/2023     1.3   Reconciliation of FTX.com exchange balance from NAV consulting
                                             records to AWS records
Kearney, Kevin           7/13/2023     0.9   Working session with K. Kearney, R. Gordon(A&M) over alameda
                                             analysis impacts
Li, Summer               7/13/2023     2.4   Review the latest version of the intercompany balances between
                                             FTX Japan K.K. and FTX Trading provided on 7 July 2023




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Intercompany
Professional               Date     Hours     Activity
Li, Summer              7/13/2023     3.2   Quantify the adjustments required on the intercompany balances
                                            between FTX Japan K.K. and FTX Trading provided on 7 July 2023
Li, Summer              7/13/2023     0.2   Correspondence with S. Kojima (FTX) regarding the adjustments
                                            required on the intercompany balances between FTX Japan K.K.
                                            and FTX Trading provided on 7 July 2023
Hainline, Drew          7/14/2023     0.8   Draft summary of potential intercompany adjustments for review and
                                            comment
Hainline, Drew          7/14/2023     0.6   Draft intercompany adjustments entries to petition date balances for
                                            FTX Europe entities
Broskay, Cole           7/17/2023     0.3   Correspondence regarding intercompany matrix documentation
                                            requests
Faett, Jack             7/17/2023     1.2   Working session to review calculated intercompany balance
                                            associated with contractual arrangement between Alameda
                                            Research Ltd and Paper Bird Inc between K. Kearney, J. Faett
                                            (A&M)
Hainline, Drew          7/17/2023     0.3   Draft scenario analysis for FTT loan liability with Liquid group entities
                                            and Alameda to support intercompany balance
Hainline, Drew          7/17/2023     0.7   Archive key support documents to support position for FTX Japan
                                            intercompany analysis with FTX Trading Ltd
Hainline, Drew          7/17/2023     0.3   Update consolidated petition date balance file for DOTCOM-silo
                                            entities to reflect updated intercompany positions for FTX Europe
                                            entities
Hainline, Drew          7/17/2023     0.2   Review updates and requests for balance confirmation from Liquid
                                            group entities regarding FTT loan liabilities
Johnston, David         7/17/2023     1.6   Analyze FTX Quione Pte intercompany positions and implications for
                                            potential wind down
Kearney, Kevin          7/17/2023     0.9   Review of updated petition date intercompany balance between
                                            Alameda Research LLC and North Dimension Inc
Kearney, Kevin          7/17/2023     1.3   Review of funding sources for loans receivable for Clifton Bay
                                            Investments LLC funded by other debtor entities
Kearney, Kevin          7/17/2023     0.7   Review of funding sources for targeted venture investment for FTX
                                            Ventures Ltd
Kearney, Kevin          7/17/2023     2.1   Review of promissory note associated with real estate purchase with
                                            another targeted individual
Kearney, Kevin          7/17/2023     1.7   Review of promissory note associated with real estate purchase with
                                            targeted individual
Kearney, Kevin          7/17/2023     1.7   Review of updated petition date intercompany balance between
                                            Alameda Research Ltd and Alameda TR Systems S de RL
Kearney, Kevin          7/17/2023     1.2   Working session to review calculated intercompany balance
                                            associated with contractual arrangement between Alameda
                                            Research Ltd and Paper Bird Inc between K. Kearney, J. Faett
                                            (A&M)
Kearney, Kevin          7/17/2023     0.6   Review of updated petition date intercompany balance between
                                            North Dimension Inc and Alameda Research Ltd
Faett, Jack             7/18/2023     2.8   Call to discuss Alameda intra-silo intercompany reconciliation
                                            between K. Kearney, J. Faett (A&M)



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Intercompany
Professional               Date     Hours     Activity
Faett, Jack             7/18/2023     0.7   Call to discuss updated LedgerPrime intercompany transactions and
                                            analysis between K. Kearney, J. Faett (A&M)
Faett, Jack             7/18/2023     0.5   Working session to review intercompany impacts of exchange
                                            transfers from Alameda between K. Kearney, J. Faett (A&M)
Gordon, Robert          7/18/2023     0.4   Call with J. LaBella(Alix) to coordinate updates to intercompany
                                            models
Gordon, Robert          7/18/2023     0.3   Teleconference with K. Kearney, R. Gordon(A&M) over status of
                                            alameda analysis
Gordon, Robert          7/18/2023     0.2   Call to align on responses to open questions related to FTX Japan
                                            KK audit and intercompany balances with R. Gordon, D. Hainline
                                            (A&M)
Hainline, Drew          7/18/2023     0.6   Draft response to questions regarding FTX Japan KK audit concerns
                                            related to intercompany balances
Hainline, Drew          7/18/2023     0.2   Call to align on responses to open questions related to FTX Japan
                                            KK audit and intercompany balances with R. Gordon, D. Hainline
                                            (A&M)
Hainline, Drew          7/18/2023     0.6   Draft responses to questions regarding the FTT loan liability to
                                            Alameda to support intercompany analysis
Kearney, Kevin          7/18/2023     0.4   Teleconference with K. Kearney, R. Gordon(A&M) over status of
                                            alameda analysis
Kearney, Kevin          7/18/2023     0.7   Call to discuss updated LedgerPrime intercompany transactions and
                                            analysis between K. Kearney, J. Faett (A&M)
Kearney, Kevin          7/18/2023     2.8   Call to discuss Alameda intra-silo intercompany reconciliation
                                            between K. Kearney, J. Faett (A&M)
Kearney, Kevin          7/18/2023     0.5   Working session to review intercompany impacts of exchange
                                            transfers from Alameda between K. Kearney, J. Faett (A&M)
Hainline, Drew          7/19/2023     0.2   Review updates from local finance team on intercompany analysis
                                            for Japan KK
Hainline, Drew          7/19/2023     0.3   Draft questions to confirm approach for FTT loan liability with
                                            Alameda for intercompany analysis
Hainline, Drew          7/19/2023     0.3   Update intercompany group schedule to address out of balances
                                            related to digital markets
Sullivan, Christopher   7/19/2023     0.8   Review variance analysis for revised IC matrix

Faett, Jack             7/20/2023     1.9   Analyze intercompany balances related to funding of token
                                            investments and reconcile to FTX Intercompany Reconciliation
                                            Schedule
Gordon, Robert          7/20/2023     0.5   Review correspondence from S. Li(A&M) over treatment of FTT for
                                            FTX Japan Intercompany
Hainline, Drew          7/20/2023     0.4   Draft responses to questions from Europe team regarding
                                            intercompany balances in the group file for foreign entities
Hainline, Drew          7/20/2023     0.4   Review updated information from Liquid group finance team
                                            regarding FTT loan to Alameda to support intercompany analysis
Kearney, Kevin          7/20/2023     0.4   Review of intercompany balance calculations associated with insider
                                            payments on FTX.com exchange



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Intercompany
Professional               Date     Hours     Activity
Kearney, Kevin          7/20/2023     0.9   Review of intercompany balance calculations associated with fiat
                                            payments
Sullivan, Christopher   7/20/2023     1.2   Review updated IC schedule for separate subsidiaries


Hainline, Drew          7/21/2023     0.6   Draft responses and comments on the interpretation summary for
                                            the FTT loan from Alameda
Hainline, Drew          7/21/2023     0.3   Review correspondence on summary interpretation of the FTT loan
                                            from Alameda for intercompany analysis
Sequeira, Joseph        7/21/2023     1.1   Review FTX Crypto Services Ltd and FTX EMEA Ltd financial
                                            statements
Hainline, Drew          7/23/2023     0.3   Review questions from local finance team regarding intercompany
                                            balances for the FTT loan
Kearney, Kevin          7/24/2023     0.7   Review of non-cash intercompany transactions between Alameda
                                            Research Ltd and Clifton Bay Investments LLC
Kearney, Kevin          7/24/2023     0.3   Review of non-cash intercompany transactions between Alameda
                                            Research Ltd and Cottonwood Grove Ltd
Kearney, Kevin          7/24/2023     0.7   Review of non-cash intercompany transactions between Alameda
                                            Research Ltd and FTX Trading Ltd
Kearney, Kevin          7/24/2023     1.1   Review of non-cash intercompany transactions between Alameda
                                            Research Ltd and FTX Ventures Ltd
Kearney, Kevin          7/24/2023     1.4   Review of non-cash intercompany transactions between Alameda
                                            Research Ltd and Quoine Pte Ltd
Faett, Jack             7/25/2023     1.3   Analyze changes in WRS intercompany balances


Faett, Jack             7/25/2023     0.9   Update FTX Group Intercompany Reconciliation file for changes in
                                            WRS and Alameda balances
Gordon, Robert          7/25/2023     0.2   Call to align on approach to open questions from local management
                                            team for FTT loan liabilities to support intercompany balances with
                                            R. Gordon, D. Hainline (A&M)
Hainline, Drew          7/25/2023     0.3   Draft responses to questions on FTT loan questions from local
                                            finance team
Hainline, Drew          7/25/2023     0.2   Call to align on approach to open questions from local management
                                            team for FTT loan liabilities to support intercompany balances with
                                            R. Gordon, D. Hainline (A&M)
Hainline, Drew          7/25/2023     0.3   Review communications related to intercompany disputes regarding
                                            FTT loan liabilities
Hainline, Drew          7/25/2023     0.6   Review questions from local finance team on audit confirmations

Hainline, Drew          7/25/2023     0.2   Draft responses to questions on audit confirmation next steps

Faett, Jack             7/26/2023     2.0   Call to discuss updates to Maclaurin Investments intercompany
                                            balances between K. Kearney, J. Faett (A&M)
Gordon, Robert          7/26/2023     0.3   Call to review drafted summary of intercompany dispute related to
                                            FTT loan with R. Gordon, D. Hainline (A&M)
Hainline, Drew          7/26/2023     0.9   Draft summary of disputed intercompany FTT loan agreement to
                                            support intercompany analysis

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Intercompany
Professional              Date     Hours     Activity
Hainline, Drew         7/26/2023     0.3   Call to review drafted summary of intercompany dispute related to
                                           FTT loan with R. Gordon, D. Hainline (A&M)
Kearney, Kevin         7/26/2023     1.3   Review of contractual intercompany balance calculation associated
                                           with agreement between Alameda Research Ltd and FTX Japan KK
Kearney, Kevin         7/26/2023     1.1   Review of contractual intercompany balance calculation associated
                                           with agreement between Alameda Research Ltd and Paper Bird Inc
Kearney, Kevin         7/26/2023     0.6   Review of contractual intercompany balance calculation associated
                                           with agreement between Alameda Research Ltd and Quoine Pte Ltd
Kearney, Kevin         7/26/2023     0.8   Review of contractual intercompany balance calculation associated
                                           with agreement between Alameda Research Ltd and Cottonwood
                                           Grove Ltd
Kearney, Kevin         7/26/2023     2.0   Call to discuss updates to Maclaurin Investments intercompany
                                           balances between K. Kearney, J. Faett (A&M)
Kearney, Kevin         7/26/2023     1.2   Review of contractual intercompany balance calculation associated
                                           with agreement between Alameda Research LLC and Alameda
                                           Research KK
Broskay, Cole          7/27/2023     0.6   Working discussion regarding intercompany reconciliation with R.
                                           Gordon, C. Broskay, M. Jones, R. Bruck (A&M)
Bruck, Ran             7/27/2023     0.6   Working discussion regarding intercompany reconciliation with R.
                                           Gordon, C. Broskay, M. Jones, R. Bruck (A&M)
Gordon, Robert         7/27/2023     0.6   Working discussion regarding intercompany reconciliation with R.
                                           Gordon, C. Broskay, M. Jones, R. Bruck (A&M)
Gordon, Robert         7/27/2023     0.6   Read through FTT loan agreement supporting details

Gordon, Robert         7/27/2023     0.2   Call to align on responses to questions regarding FTT loan liabilities
                                           to support intercompany analysis with R. Gordon, D. Hainline (A&M)
Hainline, Drew         7/27/2023     0.4   Respond to questions on the interpretation of FTT loan contracts
                                           with Alameda for intercompany analysis
Hainline, Drew         7/27/2023     0.6   Validate that adjustments to petition date balances related to
                                           intercompany are reflected in the IC group file
Hainline, Drew         7/27/2023     0.2   Draft summary of background for Alameda's source of FTT tokens
                                           to support intercompany analysis
Hainline, Drew         7/27/2023     0.3   Confirm available support for bank account attribution related to GG
                                           Trading Terminal
Hainline, Drew         7/27/2023     0.3   Call to review information available for Alameda sources of FTT
                                           token with K. Kearney, D. Hainline (A&M)
Hainline, Drew         7/27/2023     0.2   Call to discuss approach to intercompany reconciliation with R.
                                           Hoskins (FTX) and D. Hainline (A&M)
Hainline, Drew         7/27/2023     0.2   Call to align on responses to questions regarding FTT loan liabilities
                                           to support intercompany analysis with R. Gordon, D. Hainline (A&M)
Johnston, David        7/27/2023     0.6   Review analysis of intercompany receivables at FTX Europe AG
                                           relating to ongoing debt moratorium
Jones, Mackenzie       7/27/2023     0.6   Working discussion regarding intercompany reconciliation with R.
                                           Gordon, C. Broskay, M. Jones, R. Bruck (A&M)
Kearney, Kevin         7/27/2023     0.3   Call to review information available for Alameda sources of FTT
                                           token with K. Kearney, D. Hainline (A&M)

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Intercompany
Professional               Date     Hours     Activity
Faett, Jack             7/31/2023      3.1   Working session to review intercompany balance between Alameda
                                             Research LLC and Alameda Research Ltd between K. Kearney, J,
                                             Faett (A&M)
Faett, Jack             7/31/2023      2.5   Working session to review intercompany balance between North
                                             Dimension and Alameda Research Ltd between K. Kearney, J, Faett
                                             (A&M)
Hainline, Drew          7/31/2023      0.3   Call to discuss related party fiat transactions to support petition date
                                             intercompany positions with K. Kearney, D. Hainline (A&M)
Hainline, Drew          7/31/2023      0.6   Perform analysis on related party fiat transfers to confirm approach
                                             for intercompany balances
Hainline, Drew          7/31/2023      0.7   Validate information included in the intercompany balance
                                             confirmations for FTX Japan KK audit
Hainline, Drew          7/31/2023      0.3   Review updated support for intercompany positions for Japan KK to
                                             support intercompany analysis
Hainline, Drew          7/31/2023      0.3   Respond to questions on Japan KK intercompany balances from
                                             FTX finance to support intercompany analysis
Hainline, Drew          7/31/2023      0.4   Perform analysis on related party GL transactions for FTX Trading
                                             Ltd to support petition date balances
Hainline, Drew          7/31/2023      0.6   Draft summary of validation findings for the intercompany balance
                                             confirmation for FTX Japan KK audit
Kearney, Kevin          7/31/2023      2.1   Reconcile fiat transfers between Alameda Research Ltd and West
                                             Realm Shires Services Inc for intercompany balance finalization
Kearney, Kevin          7/31/2023      0.5   Reconcile fiat transfers between FTX Trading Ltd and Alameda
                                             Research Ltd for intercompany balance finalization
Kearney, Kevin          7/31/2023      0.3   Call to discuss related party fiat transactions to support petition date
                                             intercompany positions with K. Kearney, D. Hainline (A&M)
Kearney, Kevin          7/31/2023      0.8   Reconcile fiat transfers between FTX Trading Ltd and North
                                             Dimension Inc for intercompany balance finalization
Kearney, Kevin          7/31/2023      1.3   Reconcile fiat transfers between Alameda Research Ltd and
                                             Alameda Research Ltd for intercompany balance finalization
Kearney, Kevin          7/31/2023      0.4   Reconcile fiat transfers between Alameda Research LLC and North
                                             Dimension Inc for intercompany balance finalization
Kearney, Kevin          7/31/2023      3.1   Working session to review intercompany balance between Alameda
                                             Research LLC and Alameda Research Ltd between K. Kearney, J,
                                             Faett (A&M)
Kearney, Kevin          7/31/2023      2.5   Working session to review intercompany balance between North
                                             Dimension and Alameda Research Ltd between K. Kearney, J, Faett
                                             (A&M)
Kearney, Kevin          7/31/2023      1.7   Reconcile fiat transfers between Alameda Research LLC and
                                             Alameda Research Ltd for intercompany balance finalization
Kearney, Kevin          7/31/2023      0.4   Reconcile fiat transfers between Alameda Research Ltd and West
                                             Realm Shires Inc for intercompany balance finalization

Subtotal                             181.0




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Joint Provisional Liquidators
Professional               Date     Hours     Activity
Dennison, Kim            7/4/2023     2.4   Email FTX DM JPLs regarding in-person meeting and set-out
                                            detailed objectives and agenda for meeting
Ryan, Laureen            7/4/2023     0.2   Correspond with A&M team regarding JPL laptop content search
                                            approach
Ryan, Laureen            7/5/2023     0.3   Correspond with QE and A&M team regarding findings and approach
                                            to contents of laptops from JPLs
Broskay, Cole            7/6/2023     0.4   Teleconference with R. Gordon, C. Broskay(A&M) over accounting
                                            requirements for Bahamas litigation
Coverick, Steve          7/6/2023     0.2   Teleconference S. Coverick, R. Gordon(A&M) over bahamas
                                            litigation
Coverick, Steve          7/6/2023     0.6   Call with L. Ryan, S. Coverick (A&M) regarding strategy for JPL
                                            related litigation and avoidance actions
Gordon, Robert           7/6/2023     0.2   Teleconference S. Coverick, R. Gordon(A&M) over Bahamas
                                            litigation
Gordon, Robert           7/6/2023     0.4   Teleconference with R. Gordon, C. Broskay(A&M) over accounting
                                            requirements for Bahamas litigation
Ryan, Laureen            7/6/2023     0.6   Call with L. Ryan, S. Coverick (A&M) regarding strategy for JPL
                                            related litigation and avoidance actions
Broskay, Cole            7/7/2023     0.3   Teleconference between R. Gordon, K. Kearney, C. Broskay(A&M)
                                            over initial requirements for Bahamas litigations
Gordon, Robert           7/7/2023     0.3   Teleconference between R. Gordon, K. Kearney, C. Broskay(A&M)
                                            over initial requirements for Bahamas litigations
Gordon, Robert           7/7/2023     0.9   Call with S. Coverick, L. Ryan, M. Shanahan, R. Gordon, A. Canale
                                            (A&M) M. Scheck, M. Anderson (QE) regarding FTX Bahamas
                                            litigation
Gordon, Robert           7/7/2023     0.2   Teleconference with R. Gordon, S. Coverick(A&M) over information
                                            request for Bahamas litigations
Kearney, Kevin           7/7/2023     0.3   Teleconference between R. Gordon, K. Kearney, C. Broskay(A&M)
                                            over initial requirements for Bahamas litigations
Arnett, Chris            7/9/2023     0.8   Review background materials for JPL diligence and related
                                            responses
Gordon, Robert           7/9/2023     1.4   Read through amended digital markets complaint

Arnett, Chris           7/10/2023     0.3   Teleconference between C. Arnett, R. Gordon(A&M) over JL
                                            discovery list
Broskay, Cole           7/10/2023     0.5   Call to discuss support for court proceedings with R. Gordon, C.
                                            Broskay, K. Kearney, K. Zabcik, and Z. Burns (A&M)
Burns, Zach             7/10/2023     0.8   Evaluate additional claims made against the debtors in JPL court
                                            case related to financial data
Burns, Zach             7/10/2023     1.3   Analyze data and research facts from adversary case involving
                                            dotcom silo entities
Burns, Zach             7/10/2023     1.3   Analyze defendant's motion to dismiss for counter assertions and
                                            facts
Burns, Zach             7/10/2023     0.5   Call to discuss support for court proceedings with R. Gordon, C.
                                            Broskay, K. Kearney, K. Zabcik, and Z. Burns (A&M)


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Joint Provisional Liquidators
Professional               Date     Hours     Activity
Gordon, Robert          7/10/2023     0.5   Call to discuss support for court proceedings with R. Gordon, C.
                                            Broskay, K. Kearney, K. Zabcik, and Z. Burns (A&M)
Gordon, Robert          7/10/2023     0.3   Teleconference between C. Arnett, R. Gordon(A&M) over JL
                                            discovery list
Gordon, Robert          7/10/2023     1.3   Review of discovery list from Bahama JLs to begin determining level
                                            of effort
Gordon, Robert          7/10/2023     1.1   Update discovery list with new possible entities

Kearney, Kevin          7/10/2023     0.5   Call to discuss support for court proceedings with R. Gordon, C.
                                            Broskay, K. Kearney, K. Zabcik, and Z. Burns (A&M)
Zabcik, Kathryn         7/10/2023     0.5   Call to discuss support for court proceedings with R. Gordon, C.
                                            Broskay, K. Kearney, K. Zabcik, and Z. Burns (A&M)
Arnett, Chris           7/11/2023     0.6   Review document requests received from adversary counsel


Broskay, Cole           7/11/2023     0.2   Information request regarding select JL discovery items

Broskay, Cole           7/11/2023     0.9   Prepare and attend Bahamas discovery review session with R.
                                            Gordon, C. Broskay, K. Kearney, S. Coverick, K.
                                            Ramanathan(A&M), M. Anderson, M. Scheck(QE)
Burns, Zach             7/11/2023     2.2   Search Relativity for employment documents for potential
                                            employees in dotcom silo
Burns, Zach             7/11/2023     0.5   Working session over employee discovery list with K. Zabcik and Z.
                                            Burns (A&M)
Burns, Zach             7/11/2023     1.8   Analyze names in provided employee dataset to list of FTX
                                            employees found in Relativity
Gordon, Robert          7/11/2023     0.7   Call with R. Gordon, S. Coverick, K. Kearney, K. Ramanathan
                                            (A&M), M. Scheck, A. McKenzie (QE) to discuss discovery requests
Gordon, Robert          7/11/2023     0.7   Continue adding notes to discovery request list

Gordon, Robert          7/11/2023     0.9   Prepare and attend Bahamas discovery review session with R.
                                            Gordon, C. Broskay, K. Kearney, S. Coverick, K.
                                            Ramanathan(A&M), M. Anderson, M. Scheck(QE)
Gordon, Robert          7/11/2023     0.8   Edit initial comments to JL discovery list

Kearney, Kevin          7/11/2023     0.9   Prepare and attend Bahamas discovery review session with R.
                                            Gordon, C. Broskay, K. Kearney, S. Coverick, K.
                                            Ramanathan(A&M), M. Anderson, M. Scheck(QE)
Kearney, Kevin          7/11/2023     0.7   Call with R. Gordon, S. Coverick, K. Kearney, K. Ramanathan
                                            (A&M), M. Scheck, A. McKenzie (QE) to discuss discovery requests
Ramanathan, Kumanan     7/11/2023     0.7   Call with R. Gordon, S. Coverick, K. Kearney, K. Ramanathan
                                            (A&M), M. Scheck, A. McKenzie (QE) to discuss discovery requests
Zabcik, Kathryn         7/11/2023     0.9   Convert JPL Request list into an excel tracker for discovery items


Zabcik, Kathryn         7/11/2023     1.7   Create file structure for discovery items to be shared with Quinn
                                            Emanuel



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Joint Provisional Liquidators
Professional               Date     Hours     Activity
Zabcik, Kathryn         7/11/2023     1.7   Create graphs to present FTX Digital Markets average daily bank
                                            balance per account to Quinn Emanuel
Zabcik, Kathryn         7/11/2023     1.8   Create slide deck for meeting with Quinn Emanuel to highlight the
                                            overall FTX Digital Markets participation in the FTX Trading
                                            ecosystem
Zabcik, Kathryn         7/11/2023     0.5   Working session over employee discovery list with K. Zabcik and Z.
                                            Burns (A&M)
Ardizzoni, Heather      7/12/2023     2.4   Review JPL discovery request list items (60+ detailed requests)

Ardizzoni, Heather      7/12/2023     0.5   Meeting to discuss action plan, assignments, and timeline of
                                            furnishing documents related to FTX Digital Markets JPL request H.
                                            Ardizzoni, K. Zabcik, Z. Burns (A&M)
Ardizzoni, Heather      7/12/2023     0.4   Call to discuss updates to FTX Digital Markets defensive discovery
                                            between H. Ardizzoni, K. Zabcik, Z. Burns (A&M)
Ardizzoni, Heather      7/12/2023     2.7   Locate and review 30 of 75 employee agreements in Relativity for
                                            JPL discovery request
Arnett, Chris           7/12/2023     0.2   Teleconference with R. Gordon, C. Arnett(A&M) over additions to the
                                            discovery list
Broskay, Cole           7/12/2023     0.9   Teleconference with C. Broskay, R. Gordon(A&M) to determine
                                            effort on JL discovery list
Broskay, Cole           7/12/2023     0.6   Meeting to discuss initial steps for the FTX Digital Markets defensive
                                            discovery with I. Nesser, A. Kutscher (Quinn Emanuel), R. Gordon,
                                            C. Broskay, and K. Zabcik (A&M)
Broskay, Cole           7/12/2023     0.3   Meeting to discuss follow-up items for the discovery request list as it
                                            pertains to the onboarding of the Quinn Emanuel team with R.
                                            Gordon, C. Broskay, and K. Zabcik (A&M)
Broskay, Cole           7/12/2023     2.1   Conduct review of JL request items against previously identified
                                            documents
Burns, Zach             7/12/2023     0.7   Review additional dotcom silo payroll data for legal review

Burns, Zach             7/12/2023     0.5   Meeting to discuss action plan, assignments, and timeline of
                                            furnishing documents related to FTX Digital Markets JPL request H.
                                            Ardizzoni, K. Zabcik, Z. Burns (A&M)
Burns, Zach             7/12/2023     0.4   Call to discuss updates to FTX Digital Markets defensive discovery
                                            between H. Ardizzoni, K. Zabcik, Z. Burns (A&M)
Burns, Zach             7/12/2023     2.2   Review employment contracts for FTX Services Solutions related to
                                            court case
Burns, Zach             7/12/2023     1.1   Review employment contracts for WRSS employees related to court
                                            case
Burns, Zach             7/12/2023     2.1   Review employee contracts in Alameda Research LLC for crossover
                                            with FTXC Digital Markets
Gordon, Robert          7/12/2023     0.7   Call with R. Gordon, S. Coverick, K. Kearney, K. Ramanathan
                                            (A&M), M. Scheck, A. McKenzie (QE) to discuss discovery requests
Gordon, Robert          7/12/2023     0.3   Meeting to discuss follow-up items for the discovery request list as it
                                            pertains to the onboarding of the Quinn Emanuel team with R.
                                            Gordon, C. Broskay, and K. Zabcik (A&M)



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Joint Provisional Liquidators
Professional             Date     Hours     Activity
Gordon, Robert        7/12/2023     0.6   Meeting to discuss initial steps for the FTX Digital Markets defensive
                                          discovery with I. Nesser, A. Kutscher (Quinn Emanuel), R. Gordon,
                                          C. Broskay, and K. Zabcik (A&M)
Gordon, Robert        7/12/2023     0.9   Teleconference with C. Broskay, R. Gordon(A&M) to determine
                                          effort on JL discovery list
Gordon, Robert        7/12/2023     0.2   Teleconference with R. Gordon, C. Arnett(A&M) over additions to the
                                          discovery list
Kearney, Kevin        7/12/2023     0.7   Call with R. Gordon, S. Coverick, K. Kearney, K. Ramanathan
                                          (A&M), M. Scheck, A. McKenzie (QE) to discuss discovery requests
Ramanathan, Kumanan   7/12/2023     0.7   Call with R. Gordon, S. Coverick, K. Kearney, K. Ramanathan
                                          (A&M), M. Scheck, A. McKenzie (QE) to discuss discovery requests
Zabcik, Kathryn       7/12/2023     0.6   Meeting to discuss initial steps for the FTX Digital Markets defensive
                                          discovery with I. Nesser, A. Kutscher (Quinn Emanuel), R. Gordon,
                                          C. Broskay, and K. Zabcik (A&M)
Zabcik, Kathryn       7/12/2023     0.4   Call to discuss updates to FTX Digital Markets defensive discovery
                                          between H. Ardizzoni, K. Zabcik, Z. Burns (A&M)
Zabcik, Kathryn       7/12/2023     0.4   Clean up notes from meeting with QE to clearly list action items and
                                          discussed topics
Zabcik, Kathryn       7/12/2023     0.5   Meeting to discuss action plan, assignments, and timeline of
                                          furnishing documents related to FTX Digital Markets JPL request H.
                                          Ardizzoni, K. Zabcik, Z. Burns (A&M)
Zabcik, Kathryn       7/12/2023     0.3   Meeting to discuss follow-up items for the discovery request list as it
                                          pertains to the onboarding of the Quinn Emanuel team with R.
                                          Gordon, C. Broskay, and K. Zabcik (A&M)
Zabcik, Kathryn       7/12/2023     2.4   Search in box and relativity for initial documents for the JPL
                                          Discovery list
Ardizzoni, Heather    7/13/2023     0.8   Call to align on documentation requirements and procedures for
                                          citing various data sources as it relates to FTX Digital Markets
                                          discovery request H. Ardizzoni, Z. Burns (A&M)
Ardizzoni, Heather    7/13/2023     2.5   Locate and review 25 of 75 employee agreements in Relativity for
                                          JPL discovery request
Ardizzoni, Heather    7/13/2023     0.2   Daily touchpoint to review team's priorities, assignment allocations,
                                          and timelines related to FTX Digital Markets JPL case with H.
                                          Ardizzoni, K. Zabcik, R. Gordon, C. Broskay (A&M)
Ardizzoni, Heather    7/13/2023     2.2   Locate and review 20 of 75 employee agreements in Relativity for
                                          JPL discovery request
Ardizzoni, Heather    7/13/2023     0.7   Meeting to discuss status of JPL request list items for FTX Digital
                                          markets case and immediate next steps with C. Broskay, H.
                                          Ardizzoni, Z. Burns, and K. Zabcik (A&M)
Ardizzoni, Heather    7/13/2023     0.6   Meeting to review JPL request list for FTX Digital Markets case,
                                          allocate tasks among team members, and discuss request list items
                                          needing clarification and follow-up H. Ardizzoni, K. Zabcik, C.
                                          Broskay, Z. Burns (A&M)
Ardizzoni, Heather    7/13/2023     2.3   Read and review 33 page amended complaint regarding FTX Digital
                                          Markets JPL report to provide Bahamas Joint Provisional Liquidators
                                          support assistance
Ardizzoni, Heather    7/13/2023     1.1   Search for and compile files, documents, and various pieces of
                                          evidence for JPL discovery request list task


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Joint Provisional Liquidators
Professional               Date     Hours     Activity
Ardizzoni, Heather      7/13/2023     1.9   Compile master employee file workbook from review of employment
                                            agreements for JPL discovery request
Arnett, Chris           7/13/2023     0.3   Teleconference with R. Gordon, C. Arnett(A&M) to review responses
                                            for JL discovery requests
Arnett, Chris           7/13/2023     0.2   Daily touchpoint to review team's priorities, assignment allocations,
                                            and timelines related to FTX Digital Markets JPL case with Z. Burns,
                                            C. Arnett, K. Montague (A&M)
Broskay, Cole           7/13/2023     1.2   Teleconference with C. Broskay, R. Gordon(A&M) to revise
                                            responses on JL discovery request
Broskay, Cole           7/13/2023     0.6   Meeting to review JPL request list for FTX Digital Markets case,
                                            allocate tasks among team members, and discuss request list items
                                            needing clarification and follow-up H. Ardizzoni, K. Zabcik, C.
                                            Broskay, Z. Burns (A&M)
Broskay, Cole           7/13/2023     0.7   Meeting to discuss status of JPL request list items for FTX Digital
                                            markets case and immediate next steps with C. Broskay, H.
                                            Ardizzoni, Z. Burns, and K. Zabcik (A&M)
Broskay, Cole           7/13/2023     0.3   Meeting to cover initial questions and onboard additional Quinn
                                            Emanuel team members for FTX Digital Markets JL Bahamas with
                                            A. Makhijani, J. Dummitt (Quinn Emanuel), R. Gordon, C. Broskay,
                                            and K. Zabcik (A&M)
Broskay, Cole           7/13/2023     0.2   Daily touchpoint to review team's priorities, assignment allocations,
                                            and timelines related to FTX Digital Markets JPL case with H.
                                            Ardizzoni, K. Zabcik, R. Gordon, C. Broskay (A&M)
Broskay, Cole           7/13/2023     2.4   Continue review of JL document requests against previously
                                            compiled documentation
Burns, Zach             7/13/2023     0.2   Call to review action items regarding FDM employee verification with
                                            H. Ardizzoni and Z. Burns (A&M)
Burns, Zach             7/13/2023     1.8   Finalize contract review of FDM employees and document fact
                                            finding process
Burns, Zach             7/13/2023     1.8   Create tracker for other data relating to payroll items for suspected
                                            FDM employees
Burns, Zach             7/13/2023     0.6   Review additional Alameda Research LLC payroll data


Burns, Zach             7/13/2023     0.6   Meeting to review JPL request list for FTX Digital Markets case,
                                            allocate tasks among team members, and discuss request list items
                                            needing clarification and follow-up H. Ardizzoni, K. Zabcik, C.
                                            Broskay, Z. Burns (A&M)
Burns, Zach             7/13/2023     0.7   Meeting to discuss status of JPL request list items for FTX Digital
                                            markets case and immediate next steps with C. Broskay, H.
                                            Ardizzoni, Z. Burns, and K. Zabcik (A&M)
Burns, Zach             7/13/2023     0.2   Daily touchpoint to review team's priorities, assignment allocations,
                                            and timelines related to FTX Digital Markets JPL case with Z. Burns,
                                            C. Arnett, K. Montague (A&M)
Burns, Zach             7/13/2023     2.2   Create payroll data summary sheet that displays evidence of
                                            payments to suspected FDM employees
Burns, Zach             7/13/2023     0.8   Call to align on documentation requirements and procedures for
                                            citing various data sources as it relates to FTX Digital Markets
                                            discovery request H. Ardizzoni, Z. Burns (A&M)


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Joint Provisional Liquidators
Professional               Date     Hours     Activity
Burns, Zach             7/13/2023     0.9   Analyze FDM employee contracts for effective start dates and
                                            employment terms
Gordon, Robert          7/13/2023     0.3   Teleconference with R. Gordon, C. Arnett(A&M) to review responses
                                            for JL discovery requests
Gordon, Robert          7/13/2023     1.2   Teleconference with C. Broskay, R. Gordon(A&M) to revise
                                            responses on JL discovery request
Gordon, Robert          7/13/2023     0.3   Meeting to cover initial questions and onboard additional Quinn
                                            Emanuel team members for FTX Digital Markets JL Bahamas with
                                            A. Makhijani, J. Dummitt (Quinn Emanuel), R. Gordon, C. Broskay,
                                            and K. Zabcik (A&M)
Gordon, Robert          7/13/2023     0.2   Daily touchpoint to review team's priorities, assignment allocations,
                                            and timelines related to FTX Digital Markets JPL case with H.
                                            Ardizzoni, K. Zabcik, R. Gordon, C. Broskay (A&M)
Montague, Katie         7/13/2023     0.2   Daily touchpoint to review team's priorities, assignment allocations,
                                            and timelines related to FTX Digital Markets JPL case with Z. Burns,
                                            C. Arnett, K. Montague (A&M)
Simoneaux, Nicole       7/13/2023     1.4   Compile data sources to provide updated list of FDM employees for
                                            future mapping
Simoneaux, Nicole       7/13/2023     1.6   Search Relativity for reliable sources regarding employee listings for
                                            FTX Digital Markets
Zabcik, Kathryn         7/13/2023     0.7   Meeting to discuss status of JPL request list items for FTX Digital
                                            markets case and immediate next steps with C. Broskay, H.
                                            Ardizzoni, Z. Burns, and K. Zabcik (A&M)
Zabcik, Kathryn         7/13/2023     0.2   Daily touchpoint to review team's priorities, assignment allocations,
                                            and timelines related to FTX Digital Markets JPL case with H.
                                            Ardizzoni, K. Zabcik, R. Gordon, C. Broskay (A&M)
Zabcik, Kathryn         7/13/2023     2.2   Search in Relativity for JPL Discovery items related to third party
                                            contracts
Zabcik, Kathryn         7/13/2023     2.9   Search in relativity for JPL Discovery items related to Terms of
                                            Service Agreements
Zabcik, Kathryn         7/13/2023     0.6   Meeting to review JPL request list for FTX Digital Markets case,
                                            allocate tasks among team members, and discuss request list items
                                            needing clarification and follow-up H. Ardizzoni, K. Zabcik, C.
                                            Broskay, Z. Burns (A&M)
Zabcik, Kathryn         7/13/2023     0.3   Meeting to cover initial questions and onboard additional Quinn
                                            Emanuel team members for FTX Digital Markets JL Bahamas with
                                            A. Makhijani, J. Dummitt (Quinn Emanuel), R. Gordon, C. Broskay,
                                            and K. Zabcik (A&M)
Zabcik, Kathryn         7/13/2023     2.4   Search in relativity for JPL Discovery items related to FTX Digital
                                            Markets employee agreements
Ardizzoni, Heather      7/14/2023     1.2   Document data sources, Relativity search terms, and search
                                            procedures associated with documents furnished for JPL request
                                            task
Ardizzoni, Heather      7/14/2023     0.8   Working session to review JPL discovery request list responses,
                                            outstanding items, and next steps H. Ardizzoni, K. Zabcik (A&M)
Ardizzoni, Heather      7/14/2023     1.9   Determine owner assignments and preliminary task completion
                                            timeline for each of 60+ JPL discovery request list items



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Joint Provisional Liquidators
Professional               Date     Hours     Activity
Ardizzoni, Heather      7/14/2023     1.3   Update master employee workbook file with employment details and
                                            key terms from review of 75+ employment agreements related to
                                            JPL discovery request task
Ardizzoni, Heather      7/14/2023     2.1   Draft follow-up questions for clarification on various items within JPL
                                            discovery request list (60+ requested items)
Ardizzoni, Heather      7/14/2023     0.4   Meeting to discuss clean up of JPL discovery request list with H.
                                            Ardizzoni and K. Zabcik (A&M)
Ardizzoni, Heather      7/14/2023     0.2   Touchpoint call to review task assignments and priorities related to
                                            FTX Digital Markets JPL case with H. Ardizzoni, K. Zabcik, R.
                                            Gordon (A&M)
Ardizzoni, Heather      7/14/2023     2.3   Update JPL discovery request list with expected level of effort and
                                            potential challenges associated with each of 60+ request list items
Broskay, Cole           7/14/2023     0.2   Touchpoint call to review task assignments and priorities related to
                                            FTX Digital Markets JPL case with C. Broskay, Z. Burns, K.
                                            Montague (A&M)
Broskay, Cole           7/14/2023     0.3   Meeting to discuss approach for recording relativity search terms
                                            and conducting the assembly of discovery documents with R.
                                            Gordon, C. Broskay, and K. Zabcik (A&M)
Broskay, Cole           7/14/2023     0.5   Meeting to discuss questions related to the level of effort estimated
                                            for each discovery item with I. Nesser, A. Kutscher (Quinn
                                            Emanuel), R. Gordon, C. Broskay, and K. Zabcik (A&M)
Broskay, Cole           7/14/2023     1.6   Compile documentation for distribution to legal counsel related to
                                            discovery requests
Broskay, Cole           7/14/2023     1.2   Review mapping files of JL requests to search terms


Broskay, Cole           7/14/2023     0.6   Teleconference to assign next steps to discovery data collection
                                            process with C. Broskay and R. Gordon (A&M)
Broskay, Cole           7/14/2023     0.8   Working session to compile preliminary responses to discovery
                                            requests with R. Gordon and C. Broskay (A&M)
Burns, Zach             7/14/2023     0.7   Update FDM employee tracker with new contract data

Burns, Zach             7/14/2023     0.8   Finalize summary view of FDM employee list overview


Burns, Zach             7/14/2023     0.2   Touchpoint call to review task assignments and priorities related to
                                            FTX Digital Markets JPL case with C. Broskay, Z. Burns, K.
                                            Montague (A&M)
Burns, Zach             7/14/2023     2.2   Identify parties to FDM employee contracts and whether contract
                                            was executed
Burns, Zach             7/14/2023     2.8   Add contract data to FDM employee tracker and discovery list


Burns, Zach             7/14/2023     2.6   Search Relativity for additional FDM payroll data and providers

Gordon, Robert          7/14/2023     0.6   Teleconference to assign next steps to discovery data collection
                                            process with C. Broskay and R. Gordon (A&M)
Gordon, Robert          7/14/2023     0.5   Meeting to discuss questions related to the level of effort estimated
                                            for each discovery item with I. Nesser, A. Kutscher (Quinn
                                            Emanuel), R. Gordon, C. Broskay, and K. Zabcik (A&M)


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Joint Provisional Liquidators
Professional            Date     Hours     Activity
Gordon, Robert       7/14/2023     0.3   Review updates to digital markets employee for JL discovery

Gordon, Robert       7/14/2023     0.8   Working session to compile preliminary responses to discovery
                                         requests with R. Gordon and C. Broskay (A&M)
Gordon, Robert       7/14/2023     0.2   Touchpoint call to review task assignments and priorities related to
                                         FTX Digital Markets JPL case with H. Ardizzoni, K. Zabcik, R.
                                         Gordon (A&M)
Gordon, Robert       7/14/2023     0.3   Final review of JL discovery details and additions

Gordon, Robert       7/14/2023     0.3   Meeting to discuss approach for recording relativity search terms
                                         and conducting the assembly of discovery documents with R.
                                         Gordon, C. Broskay, and K. Zabcik (A&M)
Jones, Mackenzie     7/14/2023     0.7   Meeting to onboard Mackenzie onto the JPL Digital markets case
                                         and assembly of discovery request documentation with M. Jones
                                         and K. Zabcik (A&M)
Jones, Mackenzie     7/14/2023     0.3   Review Relativity export functionality for use in discovery process
                                         development
Jones, Mackenzie     7/14/2023     1.3   Read FTX Digital Markets Adversarial complaint

Montague, Katie      7/14/2023     0.2   Touchpoint call to review task assignments and priorities related to
                                         FTX Digital Markets JPL case with C. Broskay, Z. Burns, K.
                                         Montague (A&M)
Zabcik, Kathryn      7/14/2023     0.7   Meeting to onboard Mackenzie onto the JPL Digital markets case
                                         and assembly of discovery request documentation with M. Jones
                                         and K. Zabcik (A&M)
Zabcik, Kathryn      7/14/2023     0.2   Coordinate meeting times for JPL weekly meetings, status check-ins
                                         with Quinn Emanuel, and group meeting with FTI Consulting
Zabcik, Kathryn      7/14/2023     0.8   Working session to review JPL discovery request list responses,
                                         outstanding items, and next steps H. Ardizzoni, K. Zabcik (A&M)
Zabcik, Kathryn      7/14/2023     0.2   Touchpoint call to review task assignments and priorities related to
                                         FTX Digital Markets JPL case with H. Ardizzoni, K. Zabcik, R.
                                         Gordon (A&M)
Zabcik, Kathryn      7/14/2023     2.4   Review employment agreements for Invention Assignment
                                         Agreements
Zabcik, Kathryn      7/14/2023     0.5   Meeting to discuss questions related to the level of effort estimated
                                         for each discovery item with I. Nesser, A. Kutscher (Quinn
                                         Emanuel), R. Gordon, C. Broskay, and K. Zabcik (A&M)
Zabcik, Kathryn      7/14/2023     0.4   Meeting to discuss clean up of JPL discovery request list with H.
                                         Ardizzoni and K. Zabcik (A&M)
Zabcik, Kathryn      7/14/2023     1.1   Create tracker for Relativity Search terms and filters tracking for use
                                         in gathering of JPL Discovery items
Zabcik, Kathryn      7/14/2023     2.2   Add referenced paragraphs from the Amended Complaint and the
                                         initial Complaint into the JPL Discovery Items tracker
Zabcik, Kathryn      7/14/2023     0.3   Meeting to discuss approach for recording relativity search terms
                                         and conducting the assembly of discovery documents with R.
                                         Gordon, C. Broskay, and K. Zabcik (A&M)




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Joint Provisional Liquidators
Professional             Date     Hours     Activity
Broskay, Cole         7/15/2023     0.6   Continue review of search term mapping to JL discovery request

Ardizzoni, Heather    7/17/2023     1.0   Working session to identify documents related to requests 2 and 3
                                          by JPL in Relativity with H. Ardizzoni, K. Zabcik, and Z. Burns (A&M)
Ardizzoni, Heather    7/17/2023     0.5   Meeting to discuss Relativity search term requirements and
                                          standardized documentation approach H. Ardizzoni, K. Zabcik, Z.
                                          Burns, D. Hainline (A&M)
Ardizzoni, Heather    7/17/2023     0.2   Meeting to discuss go forward plans regarding employee list and
                                          Relativity search template with C. Broskay, H. Ardizzoni, K. Zabcik,
                                          and Z. Burns (A&M)
Ardizzoni, Heather    7/17/2023     1.8   Working session to identify documents requested by JPL in
                                          Relativity with H. Ardizzoni, K. Zabcik, and Z. Burns (A&M)
Arnett, Chris         7/17/2023     0.4   Review and understand the JPL request for production of documents
                                          for US Debtors
Arnett, Chris         7/17/2023     1.1   Review and understand the JPL reply and counterclaim (docket #27)

Arnett, Chris         7/17/2023     0.4   Review and understand the JPL memorandum of law in support of
                                          its dismissal motion
Arnett, Chris         7/17/2023     0.6   Review and understand the JPL declaration of Ashley Chase in
                                          support of dismissal motion
Arnett, Chris         7/17/2023     2.2   Review and understand litigation schedule reference materials
                                          prepare for prior hearing with JPLs
Arnett, Chris         7/17/2023     0.7   Review and understand amended debtor complaint in view of
                                          discovery requests related to same
Arnett, Chris         7/17/2023     0.3   Review and compare FTX DM employee roster to prior documents

Arnett, Chris         7/17/2023     0.5   Meeting to discuss Relativity search term requirements and
                                          standardized documentation approach N. Simoneaux, K. Montague,
                                          and C. Arnett (A&M)
Arnett, Chris         7/17/2023     0.7   Meeting to discuss on-going data collection efforts for FTX entities
                                          including FTX Digital Markets with R. Perubhatla (FTX), A. Kutscher,
                                          I. Nesser (Quinn Emanuel), Z. Flegenheimer, A. Vyas, and A. Bailey
                                          (FTI), R. Gordon, C. Arnett, C. Broskay, and K. Za
Arnett, Chris         7/17/2023     0.2   Meeting to discuss go forward plans regarding employee list and
                                          Relativity search template with R. Gordon, C. Arnett, N. Simoneaux,
                                          K. Montague (A&M)
Arnett, Chris         7/17/2023     0.4   Review meeting note logs and incorporate in work plan development

Broskay, Cole         7/17/2023     0.9   Review gross search terms results using JL search terms without
                                          relevance filter
Broskay, Cole         7/17/2023     0.4   Review JL responses regarding search parameters adjustments

Broskay, Cole         7/17/2023     0.5   Meeting to discuss Relativity search term requirements and
                                          standardized documentation approach M. Jones, M. Mirando, C.
                                          Broskay (A&M)
Broskay, Cole         7/17/2023     0.3   Meeting to discuss overall strategy for document discovery in
                                          Relativity with C. Broskay and K. Zabcik (A&M)


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Joint Provisional Liquidators
Professional               Date     Hours     Activity
Broskay, Cole           7/17/2023     0.2   Meeting to discuss go forward plans regarding employee list and
                                            Relativity search template with C. Broskay, H. Ardizzoni, K. Zabcik,
                                            and Z. Burns (A&M)
Broskay, Cole           7/17/2023     1.3   Continue review of proposed search terms to support JL discovery
                                            responses
Broskay, Cole           7/17/2023     0.7   Meeting to discuss on-going data collection efforts with R.
                                            Perubhatla (FTX), A. Kutscher, I. Nesser (Quinn Emanuel), Z.
                                            Flegenheimer, A. Vyas, and A. Bailey (FTI), R. Gordon, C. Arnett, C.
                                            Broskay, and K. Zabcik (A&M)
Burns, Zach             7/17/2023     1.4   Search Relativity for original terms of service contract for FTX
                                            Trading Ltd
Burns, Zach             7/17/2023     0.5   Meeting to discuss Relativity search term requirements and
                                            standardized documentation approach H. Ardizzoni, K. Zabcik, Z.
                                            Burns, D. Hainline (A&M)
Burns, Zach             7/17/2023     0.2   Meeting to discuss go forward plans regarding employee list and
                                            Relativity search template with C. Broskay, H. Ardizzoni, K. Zabcik,
                                            and Z. Burns (A&M)
Burns, Zach             7/17/2023     0.8   Working session to identify additional documents related to request
                                            3 by JPL in Relativity with K. Zabcik and Z. Burns (A&M)
Burns, Zach             7/17/2023     1.0   Working session to identify documents related to requests 2 and 3
                                            by JPL in Relativity with H. Ardizzoni, K. Zabcik, and Z. Burns (A&M)
Burns, Zach             7/17/2023     2.1   Search Relativity for documents related to request 2 from JPL

Burns, Zach             7/17/2023     1.8   Working session to identify documents requested by JPL in
                                            Relativity with H. Ardizzoni, K. Zabcik, and Z. Burns (A&M)
Burns, Zach             7/17/2023     0.5   Working session to find documents related to request 1 from JPL in
                                            Relativity with K. Zabcik and Z. Burns (A&M)
Burns, Zach             7/17/2023     1.1   Search Relativity for updated terms of service contract for FTX
                                            Trading Ltd
Dennison, Kim           7/17/2023     0.3   Emails with FTI team regarding call with the FTX DM JPLs and next
                                            steps
Dennison, Kim           7/17/2023     0.7   Email correspondence with FTX DM JPLs regarding update call on
                                            Bahamas Properties
Dennison, Kim           7/17/2023     0.2   Emails with Maynard Law regarding Bahamas Properties status and
                                            call with JPLs
Gordon, Robert          7/17/2023     0.7   Meeting to discuss on-going data collection efforts with R.
                                            Perubhatla (FTX), A. Kutscher, I. Nesser (Quinn Emanuel), Z.
                                            Flegenheimer, A. Vyas, and A. Bailey (FTI), R. Gordon, C. Arnett, C.
                                            Broskay, and K. Zabcik (A&M)
Gordon, Robert          7/17/2023     0.2   Meeting to discuss go forward plans regarding employee list and
                                            Relativity search template with R. Gordon, C. Arnett, N. Simoneaux,
                                            K. Montague (A&M)
Hainline, Drew          7/17/2023     0.3   Review JPL discovery request consolidated workbook to assess
                                            next steps for investigation
Hainline, Drew          7/17/2023     0.9   Review the amended complaint to gather important context to the
                                            JPL discovery process




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Joint Provisional Liquidators
Professional             Date    Hours     Activity
Hainline, Drew       7/17/2023     0.9   Review available information related to discovery request 42 to
                                         support JPL discovery process
Hainline, Drew       7/17/2023     0.3   Review court docket and complaints related to litigation with FTX
                                         Digital Markets
Hainline, Drew       7/17/2023     0.4   Call to discuss the FTX Digital Markets Adversarial complaint
                                         discovery process and background with M. Mirando, D. Hainline, M.
                                         Jones (A&M)
Hainline, Drew       7/17/2023     0.7   Perform Relativity search for relevant documents and information
                                         related to Request 6 for JL discovery
Hainline, Drew       7/17/2023     0.5   Meeting to discuss Relativity search term requirements and
                                         standardized documentation approach H. Ardizzoni, K. Zabcik, Z.
                                         Burns, D. Hainline (A&M)
Jones, Mackenzie     7/17/2023     1.6   Read original FTX Digital Markets Adversarial complaint


Jones, Mackenzie     7/17/2023     0.5   Meeting to discuss Relativity search term requirements and
                                         standardized documentation approach M. Jones, M. Mirando, C.
                                         Broskay (A&M)
Jones, Mackenzie     7/17/2023     0.4   Call to discuss the FTX Digital Markets Adversarial complaint
                                         discovery process and background with M. Mirando, D. Hainline, M.
                                         Jones (A&M)
Mirando, Michael     7/17/2023     1.1   Research files related to service agreement between FTX Digital
                                         Markets and US Debtors
Mirando, Michael     7/17/2023     1.1   Review relativity for documents related to discovery requests

Mirando, Michael     7/17/2023     0.3   Call to discuss relativity search for FTX Digital Markets agreement
                                         R. Bruck, M. Mirando
Mirando, Michael     7/17/2023     0.4   Call to discuss the FTX Digital Markets Adversarial complaint
                                         discovery process and background with M. Mirando, D. Hainline, M.
                                         Jones (A&M)
Mirando, Michael     7/17/2023     2.9   Research case documents related to FTX Digital Markets Lawsuit

Mirando, Michael     7/17/2023     2.5   Review adversary case documents related to FTX Digital Markets


Mirando, Michael     7/17/2023     0.5   Meeting to discuss Relativity search term requirements and
                                         standardized documentation approach M. Jones, M. Mirando, C.
                                         Broskay (A&M)
Montague, Katie      7/17/2023     0.2   Meeting to discuss go forward plans regarding employee list and
                                         Relativity search template with R. Gordon, C. Arnett, N. Simoneaux,
                                         K. Montague (A&M)
Montague, Katie      7/17/2023     0.5   Meeting to discuss Relativity search term requirements and
                                         standardized documentation approach N. Simoneaux, K. Montague,
                                         and C. Arnett (A&M)
Montague, Katie      7/17/2023     2.0   Research FTX terms of service in Relativity in response to discovery
                                         requests
Montague, Katie      7/17/2023     3.1   Review documents related to FTX terms of service from Relativity
                                         search




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Joint Provisional Liquidators
Professional            Date     Hours     Activity
Montague, Katie      7/17/2023     2.1   Continue documents from FTX terms of service search in Relativity
                                         in response to discovery requests
Simoneaux, Nicole    7/17/2023     1.6   Verify relevant discovery documentation in regards to JPL request #9


Simoneaux, Nicole    7/17/2023     1.9   Participate in diligence request research on Relativity in regards to
                                         JPL litigation
Simoneaux, Nicole    7/17/2023     0.5   Meeting to discuss Relativity search term requirements and
                                         standardized documentation approach N. Simoneaux, K. Montague,
                                         and C. Arnett (A&M)
Simoneaux, Nicole    7/17/2023     0.2   Meeting to discuss go forward plans regarding employee list and
                                         Relativity search template with R. Gordon, C. Arnett, N. Simoneaux,
                                         K. Montague (A&M)
Simoneaux, Nicole    7/17/2023     1.3   Review documents provided using request #9 search terms for
                                         Quinn Emmanuel
Simoneaux, Nicole    7/17/2023     1.8   Incorporate additional search terms into diligence request for JPL
                                         discovery
Zabcik, Kathryn      7/17/2023     1.3   Start additional searches for discovery request #3 by reviewing 300
                                         of 5,000 search results
Zabcik, Kathryn      7/17/2023     0.4   Prepare file structure in Box for internal discovery document
                                         collection
Zabcik, Kathryn      7/17/2023     1.8   Working session to identify documents requested by JPL in
                                         Relativity with H. Ardizzoni, K. Zabcik, and Z. Burns (A&M)
Zabcik, Kathryn      7/17/2023     1.0   Working session to identify documents related to requests 2 and 3
                                         by JPL in Relativity with H. Ardizzoni, K. Zabcik, and Z. Burns (A&M)
Zabcik, Kathryn      7/17/2023     0.8   Working session to identify additional documents related to request
                                         3 by JPL in Relativity with K. Zabcik and Z. Burns (A&M)
Zabcik, Kathryn      7/17/2023     0.5   Working session to find documents related to request 1 from JPL in
                                         Relativity with K. Zabcik and Z. Burns (A&M)
Zabcik, Kathryn      7/17/2023     0.3   Finalize notes and action items for data collection efforts meeting

Zabcik, Kathryn      7/17/2023     0.5   Meeting to discuss Relativity search term requirements and
                                         standardized documentation approach H. Ardizzoni, K. Zabcik, Z.
                                         Burns, D. Hainline (A&M)
Zabcik, Kathryn      7/17/2023     0.3   Meeting to discuss overall strategy for document discovery in
                                         Relativity with C. Broskay and K. Zabcik (A&M)
Zabcik, Kathryn      7/17/2023     0.7   Meeting to discuss on-going data collection efforts with R.
                                         Perubhatla (FTX), A. Kutscher, I. Nesser (Quinn Emanuel), Z.
                                         Flegenheimer, A. Vyas, and A. Bailey (FTI), R. Gordon, C. Arnett, C.
                                         Broskay, and K. Zabcik (A&M)
Zabcik, Kathryn      7/17/2023     0.2   Meeting to discuss go forward plans regarding employee list and
                                         Relativity search template with C. Broskay, H. Ardizzoni, K. Zabcik,
                                         and Z. Burns (A&M)
Zabcik, Kathryn      7/17/2023     2.3   Test out a variety of search results to make sure Relativity Term
                                         search tracker is sufficient to gather needed search data
Ardizzoni, Heather   7/18/2023     0.4   Call to discuss explicit requirements and clarification over JPL
                                         discovery request item with H. Ardizzoni, K. Zabcik (A&M)



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Joint Provisional Liquidators
Professional             Date     Hours     Activity
Ardizzoni, Heather    7/18/2023     0.1   Perform specified searches in Relativity to gather documents related
                                          to JPL discovery request #3
Ardizzoni, Heather    7/18/2023     0.1   Perform specified searches in Relativity to gather documents related
                                          to JPL discovery request #4
Ardizzoni, Heather    7/18/2023     0.1   Perform specified searches in Relativity to gather documents related
                                          to JPL discovery request #2
Ardizzoni, Heather    7/18/2023     0.2   Perform specified searches in Relativity to gather documents related
                                          to JPL discovery request #11
Ardizzoni, Heather    7/18/2023     0.1   Perform specified searches in Relativity to gather documents related
                                          to JPL discovery request #1
Ardizzoni, Heather    7/18/2023     0.3   Meeting to discuss progress on FTX Digital Markets Adversarial
                                          complaint discovery process with C. Broskay, H. Ardizzoni, M.
                                          Mirando, K. Zabcik (A&M)
Ardizzoni, Heather    7/18/2023     1.0   Working session to process documents in Relativity for JPL Request
                                          3 with K. Zabcik, H. Ardizzoni, N. Simoneaux, and Z. Burns (A&M)
Ardizzoni, Heather    7/18/2023     0.2   Perform specified searches in Relativity to gather documents related
                                          to JPL discovery request #6
Ardizzoni, Heather    7/18/2023     2.6   Review 1st half Relativity search results and identify documents
                                          relevant to JPL discovery request #6
Ardizzoni, Heather    7/18/2023     1.1   Working session to process documents in Relativity for multiple JPL
                                          requests with K. Zabcik, H. Ardizzoni, N. Simoneaux, and Z. Burns
                                          (A&M)
Ardizzoni, Heather    7/18/2023     2.1   Review Relativity search results (#1-2200 of 19900) and identify
                                          documents relevant to JPL discovery request #11
Ardizzoni, Heather    7/18/2023     2.9   Review 2nd half Relativity search results and identify documents
                                          relevant to JPL discovery request #6
Arnett, Chris         7/18/2023     0.5   Meeting to discuss open items and current status of the JL
                                          Bahamas Discovery with M. Anderson, M. Scheck, J. Dummitt
                                          (Quinn Emanuel), R. Gordon, C. Arnett, and C. Broskay, and K.
                                          Zabcik (A&M)
Arnett, Chris         7/18/2023     0.3   Meeting to discuss progress on FTX Digital Markets Adversarial
                                          complaint discovery process with K. Montague, C. Arnett, N.
                                          Simoneaux (A&M)
Arnett, Chris         7/18/2023     0.6   Review and comment on initial data collection process

Arnett, Chris         7/18/2023     0.4   Review and understand data collection efforts to date

Broskay, Cole         7/18/2023     0.5   Meeting to discuss open items and current status of the JL
                                          Bahamas Discovery with M. Anderson, M. Scheck, J. Dummitt
                                          (Quinn Emanuel), R. Gordon, C. Arnett, and C. Broskay, and K.
                                          Zabcik (A&M)
Broskay, Cole         7/18/2023     0.6   Provide commentary on search terms prioritization for JL discovery
                                          requests
Broskay, Cole         7/18/2023     0.3   Meeting to discuss progress on FTX Digital Markets Adversarial
                                          complaint discovery process with C. Broskay, H. Ardizzoni, M.
                                          Mirando, K. Zabcik (A&M)




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Joint Provisional Liquidators
Professional               Date     Hours     Activity
Burns, Zach             7/18/2023     1.1   Working session to process documents in Relativity for multiple JPL
                                            requests with K. Zabcik, H. Ardizzoni, N. Simoneaux, and Z. Burns
                                            (A&M)
Burns, Zach             7/18/2023     1.0   Working session to process documents in Relativity for JPL Request
                                            3 with K. Zabcik, H. Ardizzoni, N. Simoneaux, and Z. Burns (A&M)
Burns, Zach             7/18/2023     2.4   Search for additional documents in Relativity for JPL request 3


Burns, Zach             7/18/2023     1.7   Review and process documents for JPL request 1

Burns, Zach             7/18/2023     1.6   Continue search for documents for JPL request 2 in Relativity


Burns, Zach             7/18/2023     0.3   Meeting to discuss progress on FTX Digital Markets Adversarial
                                            complaint discovery process with D. Hainline, Z. Burns, M. Jones
                                            (A&M)
Dennison, Kim           7/18/2023     0.6   Attend meeting with A Lawson (A&M) ahead of call with FTX DM
                                            JPLs
Dennison, Kim           7/18/2023     0.7   Prepare detailed agenda for teleconference call with FTX DM JPLs


Gordon, Robert          7/18/2023     1.2   Read through DI 28 motion to dismiss to determine any additional
                                            document review required
Gordon, Robert          7/18/2023     0.7   Review discovery tracker for latest updates and feedback for the
                                            team
Gordon, Robert          7/18/2023     0.5   Meeting to discuss open items and current status of the JL
                                            Bahamas Discovery with M. Anderson, M. Scheck, J. Dummitt
                                            (Quinn Emanuel), R. Gordon, C. Arnett, and C. Broskay, and K.
                                            Zabcik (A&M)
Hainline, Drew          7/18/2023     0.3   Review questions on employment agreements with respect to
                                            intellectual property to support JPL discovery process
Hainline, Drew          7/18/2023     0.3   Perform tests on search criteria related to request 33 to support JPL
                                            discovery process
Hainline, Drew          7/18/2023     0.3   Meeting to review progress on discovery items with D. Hainline, K.
                                            Montague, M. Mirando, M. Jones (A&M)
Hainline, Drew          7/18/2023     1.6   Review documents retrieved in search 1 of request 33 to support
                                            JPL discovery process
Hainline, Drew          7/18/2023     0.4   Review documents retrieved in search 1 of request 41 to support
                                            JPL discovery process
Hainline, Drew          7/18/2023     0.6   Meeting to review action items for discovery process with D.
                                            Hainline, K. Montague, M. Mirando, M. Jones (A&M)
Hainline, Drew          7/18/2023     0.6   Review documents retrieved in search 2 of request 41 to support
                                            JPL discovery process
Hainline, Drew          7/18/2023     0.3   Meeting to discuss progress on FTX Digital Markets Adversarial
                                            complaint discovery process with D. Hainline, Z. Burns, M. Jones
                                            (A&M)
Hainline, Drew          7/18/2023     0.2   Add relevant search results to tracker for request 41 to support JPL
                                            discovery process
Hainline, Drew          7/18/2023     0.6   Review discovery included as support to initial depositions workbook
                                            to support JPL discovery process

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Joint Provisional Liquidators
Professional             Date    Hours     Activity
Hainline, Drew       7/18/2023     0.4   Review other potential search criteria for Request 42 to support JPL
                                         discovery process
Hainline, Drew       7/18/2023     0.3   Review service agreement contract between FTL and FDM to
                                         support JPL discovery process
Hainline, Drew       7/18/2023     2.2   Continue to review available information related to discovery request
                                         42 to support JPL discovery process based on search 1
Hainline, Drew       7/18/2023     0.3   Perform tests on search criteria related to request 41 to support JPL
                                         discovery process
Jones, Mackenzie     7/18/2023     0.4   Match duplicates to documents already reviewed within other
                                         requests
Jones, Mackenzie     7/18/2023     0.3   Meeting to discuss progress on FTX Digital Markets Adversarial
                                         complaint discovery process with D. Hainline, Z. Burns, M. Jones
                                         (A&M)
Jones, Mackenzie     7/18/2023     0.6   Meeting to review action items for discovery process with D.
                                         Hainline, K. Montague, M. Mirando, M. Jones (A&M)
Jones, Mackenzie     7/18/2023     0.3   Meeting to review progress on discovery items with D. Hainline, K.
                                         Montague, M. Mirando, M. Jones (A&M)
Jones, Mackenzie     7/18/2023     2.9   Populate JPL discovery request results related to service
                                         agreements
Jones, Mackenzie     7/18/2023     1.4   Remove duplicates for JPL discovery requests related to service
                                         agreements
Mirando, Michael     7/18/2023     0.3   Meeting to review progress on discovery items with D. Hainline, K.
                                         Montague, M. Mirando, M. Jones (A&M)
Mirando, Michael     7/18/2023     2.9   Create file of relevant intercompany transfers related to case
                                         discovery
Mirando, Michael     7/18/2023     2.3   Evaluate documents from Relativity search to support discovery
                                         process
Mirando, Michael     7/18/2023     0.6   Meeting to review action items for discovery process with D.
                                         Hainline, K. Montague, M. Mirando, M. Jones (A&M)
Mirando, Michael     7/18/2023     2.9   Review cash transfer support for relevance to case discovery


Mirando, Michael     7/18/2023     1.1   Search for quarterly billing statements from FTX Digital Markets

Mirando, Michael     7/18/2023     1.2   Search for support for cash transfers between FTX Trading Ltd. and
                                         FTX Digital Markets
Mirando, Michael     7/18/2023     0.3   Meeting to discuss progress on FTX Digital Markets Adversarial
                                         complaint discovery process with C. Broskay, H. Ardizzoni, M.
                                         Mirando, K. Zabcik (A&M)
Mirando, Michael     7/18/2023     2.4   Search for FTX Digital Markets service agreement

Montague, Katie      7/18/2023     0.3   Meeting to review progress on discovery items with D. Hainline, K.
                                         Montague, M. Mirando, M. Jones (A&M)
Montague, Katie      7/18/2023     3.2   Review documents related to FTX terms of service from Relativity
                                         search
Montague, Katie      7/18/2023     0.6   Meeting to review action items for discovery process with D.
                                         Hainline, K. Montague, M. Mirando, M. Jones (A&M)

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Joint Provisional Liquidators
Professional            Date     Hours     Activity
Montague, Katie      7/18/2023     0.3   Meeting to discuss progress on FTX Digital Markets Adversarial
                                         complaint discovery process with K. Montague, C. Arnett, N.
                                         Simoneaux (A&M)
Simoneaux, Nicole    7/18/2023     0.3   Analyze newly added adversarial complaint discovery diligence
                                         items for determination of relevance
Simoneaux, Nicole    7/18/2023     2.1   Create tracker for known FTX Digital Markets employees by
                                         compiling source data from relativity
Simoneaux, Nicole    7/18/2023     0.3   Meeting to discuss progress on FTX Digital Markets Adversarial
                                         complaint discovery process with K. Montague, C. Arnett, N.
                                         Simoneaux (A&M)
Simoneaux, Nicole    7/18/2023     1.0   Working session to process documents in Relativity for JPL Request
                                         3 with K. Zabcik, H. Ardizzoni, N. Simoneaux, and Z. Burns (A&M)
Simoneaux, Nicole    7/18/2023     1.1   Working session to process documents in Relativity for multiple JPL
                                         requests with K. Zabcik, H. Ardizzoni, N. Simoneaux, and Z. Burns
                                         (A&M)
Zabcik, Kathryn      7/18/2023     1.0   Working session to process documents in Relativity for JPL Request
                                         3 with K. Zabcik, H. Ardizzoni, N. Simoneaux, and Z. Burns (A&M)
Zabcik, Kathryn      7/18/2023     1.1   Working session to process documents in Relativity for multiple JPL
                                         requests with K. Zabcik, H. Ardizzoni, N. Simoneaux, and Z. Burns
                                         (A&M)
Zabcik, Kathryn      7/18/2023     2.6   Review relativity documents related to JPL discovery request
                                         number 3 for search number 1
Zabcik, Kathryn      7/18/2023     2.3   Review relativity documents #355 to #500 related to JPL discovery
                                         request number 3 for search number 1
Zabcik, Kathryn      7/18/2023     0.3   Meeting to discuss progress on FTX Digital Markets Adversarial
                                         complaint discovery process with C. Broskay, H. Ardizzoni, M.
                                         Mirando, K. Zabcik (A&M)
Zabcik, Kathryn      7/18/2023     0.5   Meeting to discuss open items and current status of the JL
                                         Bahamas Discovery with M. Anderson, M. Scheck, J. Dummitt
                                         (Quinn Emanuel), R. Gordon, C. Arnett, and C. Broskay, and K.
                                         Zabcik (A&M)
Zabcik, Kathryn      7/18/2023     0.3   Finalize notes and action items resulting from status meeting with
                                         Quinn Emmanuel and A&M
Zabcik, Kathryn      7/18/2023     0.4   Call to discuss explicit requirements and clarification over JPL
                                         discovery request item with H. Ardizzoni, K. Zabcik (A&M)
Zabcik, Kathryn      7/18/2023     2.7   Review document discovery box folder and compare to tracker to
                                         confirm finalized data set is complete for requests 1 - 4
Ardizzoni, Heather   7/19/2023     2.6   Review Relativity search results (#6101-8600 of 19900) and identify
                                         documents relevant to JPL discovery request #11
Ardizzoni, Heather   7/19/2023     2.2   Review Relativity search results (#8601-10800 of 19900) and identify
                                         documents relevant to JPL discovery request #11
Ardizzoni, Heather   7/19/2023     1.7   Review Relativity search results (#10801-12500 of 19900) and
                                         identify documents relevant to JPL discovery request #11
Ardizzoni, Heather   7/19/2023     2.3   Review Relativity search results (#2201-4500 of 19900) and identify
                                         documents relevant to JPL discovery request #11
Ardizzoni, Heather   7/19/2023     0.3   Meeting to discuss progress on discovery requests M. Mirando, H.
                                         Ardizzoni, M. Jones, and Z. Burns (A&M)


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Joint Provisional Liquidators
Professional               Date     Hours     Activity
Ardizzoni, Heather      7/19/2023     0.4   Meeting to discuss go forward Relativity search process with K.
                                            Kearney, H. Ardizzoni, J. Faett (A&M)
Ardizzoni, Heather      7/19/2023     0.7   Working session to refine terms used to search JPL requests in
                                            Relativity with K. Zabcik, H. Ardizzoni, and Z. Burns (A&M)
Ardizzoni, Heather      7/19/2023     1.1   Review Relativity search results (#4501-6100 of 19900) and identify
                                            documents relevant to JPL discovery request #11
Arnett, Chris           7/19/2023     0.3   Discussion with A. Kutscher (QE) re: discovery process

Arnett, Chris           7/19/2023     0.3   Meeting to discuss progress on discovery requests C. Arnett, K.
                                            Montague, and N. Simoneaux (A&M)
Arnett, Chris           7/19/2023     0.4   Meeting to discuss go forward Relativity search process with C.
                                            Arnett, K. Montague, and N. Simoneaux (A&M)
Arnett, Chris           7/19/2023     0.3   Meeting to discuss solutions for distributing documents to Quinn
                                            Emanuel as part of the JL Bahamas document discovery with
                                            A.Bailey, A.Vyas, D. Lee, L. Epstein (FTI) R. Gordon, C. Arnett, C.
                                            Broskay, D. Hainline, and K. Zabcik (A&M)
Braatelien, Troy        7/19/2023     1.8   Create reconciliation of FDM bank activity analyzed to FDM JPL
                                            report regarding petition date cash balances
Broskay, Cole           7/19/2023     0.3   Meeting to discuss progress on discovery requests R. Gordon, C.
                                            Broskay, K. Zabcik, and D. Hainline (A&M)
Broskay, Cole           7/19/2023     0.9   Review Relativity search progress/terms compared to relevant
                                            document counts
Broskay, Cole           7/19/2023     0.4   Meeting to discuss go forward Relativity search process with R.
                                            Gordon, C. Broskay, D. Hainline (A&M)
Broskay, Cole           7/19/2023     0.3   Meeting to discuss solutions for distributing documents to Quinn
                                            Emanuel as part of the JL Bahamas document discovery with
                                            A.Bailey, A.Vyas, D. Lee, L. Epstein (FTI) R. Gordon, C. Arnett, C.
                                            Broskay, D. Hainline, and K. Zabcik (A&M)
Broskay, Cole           7/19/2023     0.7   Correspondence regarding relevance checks for JL discovery
                                            request items
Burns, Zach             7/19/2023     0.4   Meeting to discuss go forward Relativity search process with K.
                                            Zabcik, M. Jones, M. Mirando, and Z. Burns (A&M)
Burns, Zach             7/19/2023     1.3   Create search terms for JPL request 11 to narrow document findings
                                            in Relativity
Burns, Zach             7/19/2023     0.3   Meeting to discuss progress on discovery requests M. Mirando, H.
                                            Ardizzoni, M. Jones, and Z. Burns (A&M)
Burns, Zach             7/19/2023     1.4   Search for documents in Relativity related to JPL request 7

Burns, Zach             7/19/2023     1.8   Search Relativity for documents relating to request 11 using first
                                            search term band
Burns, Zach             7/19/2023     1.7   Search Relativity for additional documents relating to JPL requests
                                            11 and 12
Burns, Zach             7/19/2023     0.7   Working session to refine terms used to search JPL requests in
                                            Relativity with K. Zabcik, H. Ardizzoni, and Z. Burns (A&M)
Burns, Zach             7/19/2023     1.5   Additional search in Relativity using second search term for
                                            documents relating to JPL request 11


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Joint Provisional Liquidators
Professional               Date     Hours     Activity
Dennison, Kim           7/19/2023     0.8   Attend call with FTX DM JPLs regarding status of Bahamas
                                            Properties
Faett, Jack             7/19/2023     0.4   Meeting to discuss go forward Relativity search process with K.
                                            Kearney, H. Ardizzoni, J. Faett (A&M)
Gordon, Robert          7/19/2023     0.3   Meeting to discuss progress on discovery requests R. Gordon, C.
                                            Broskay, K. Zabcik, and D. Hainline (A&M)
Gordon, Robert          7/19/2023     0.3   Meeting to discuss solutions for distributing documents to Quinn
                                            Emanuel as part of the JL Bahamas document discovery with
                                            A.Bailey, A.Vyas, D. Lee, L. Epstein (FTI) R. Gordon, C. Arnett, C.
                                            Broskay, D. Hainline, and K. Zabcik (A&M)
Gordon, Robert          7/19/2023     0.4   Meeting to discuss go forward Relativity search process with R.
                                            Gordon, C. Broskay, D. Hainline (A&M)
Hainline, Drew          7/19/2023     1.6   Review documents retrieved in search 2 of request 33 to support
                                            JPL discovery process
Hainline, Drew          7/19/2023     1.2   Continue to review documents retrieved in search 1 of request 33 to
                                            support JPL discovery process
Hainline, Drew          7/19/2023     0.3   Draft notes and findings for request 41 in the consolidated tracker to
                                            support JPL discovery process
Hainline, Drew          7/19/2023     0.4   Meeting to discuss go forward Relativity search process with R.
                                            Gordon, C. Broskay, D. Hainline (A&M)
Hainline, Drew          7/19/2023     0.3   Meeting to discuss progress on discovery requests R. Gordon, C.
                                            Broskay, K. Zabcik, and D. Hainline (A&M)
Hainline, Drew          7/19/2023     0.4   Draft request for AWS data to support requests for the JPL
                                            discovery process
Hainline, Drew          7/19/2023     0.6   Draft test searches in relatively for request 33 to identify additional
                                            relevant information for the JPL discovery process
Hainline, Drew          7/19/2023     0.4   Draft test searches in relatively for request 32 to identify additional
                                            relevant information for the JPL discovery process
Hainline, Drew          7/19/2023     0.3   Meeting to discuss solutions for distributing documents to Quinn
                                            Emanuel as part of the JL Bahamas document discovery with
                                            A.Bailey, A.Vyas, D. Lee, L. Epstein (FTI) R. Gordon, C. Arnett, C.
                                            Broskay, D. Hainline, and K. Zabcik (A&M)
Hainline, Drew          7/19/2023     2.4   Review documents retrieved in search 1 of request 32 to support
                                            JPL discovery process
Hainline, Drew          7/19/2023     0.2   Draft updates on changes to approach to the team for the JPL
                                            discovery process
Hainline, Drew          7/19/2023     0.5   Review requests in consolidated tracker to ensure appropriateness
                                            of groupings
Hainline, Drew          7/19/2023     0.3   Review updates on capabilities for flagging documents within
                                            Relativity for discovery process
Hainline, Drew          7/19/2023     0.3   Summarize findings for request 33 in the consolidated tracker to
                                            support JPL discovery process
Hainline, Drew          7/19/2023     0.8   Working session to group requests for JPL discovery process with
                                            D. Hainline, K. Zabcik (A&M)
Jones, Mackenzie        7/19/2023     1.8   Review JPL discovery request results for search 2 related to service
                                            agreements


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Joint Provisional Liquidators
Professional            Date     Hours     Activity
Jones, Mackenzie     7/19/2023     1.7   Review JPL discovery request results for search 1 related to service
                                         agreements
Jones, Mackenzie     7/19/2023     2.7   Review documents in search 1 results for JPL discovery requests


Jones, Mackenzie     7/19/2023     0.3   Meeting to discuss progress on discovery requests M. Mirando, H.
                                         Ardizzoni, M. Jones, and Z. Burns (A&M)
Jones, Mackenzie     7/19/2023     0.4   Meeting to discuss go forward Relativity search process with K.
                                         Zabcik, M Jones, M. Mirando, and Z. Burns (A&M)
Kearney, Kevin       7/19/2023     0.4   Meeting to discuss go forward Relativity search process with K.
                                         Kearney, H. Ardizzoni, J. Faett (A&M)
Mirando, Michael     7/19/2023     0.4   Meeting to discuss go forward Relativity search process with K.
                                         Zabcik, M. Jones, M. Mirando, and Z. Burns (A&M)
Mirando, Michael     7/19/2023     2.8   Search Relativity for documents related to ownership of intellectual
                                         property
Mirando, Michael     7/19/2023     2.9   Review cash transfer support for relevance to case discovery

Mirando, Michael     7/19/2023     0.3   Meeting to discuss progress on discovery requests M. Mirando, H.
                                         Ardizzoni, M. Jones, and Z. Burns (A&M)
Mirando, Michael     7/19/2023     2.8   Evaluate documents from Relativity search related to cash transfers
                                         between FTX Trading Ltd and FTX Digital Markets
Mirando, Michael     7/19/2023     2.1   Evaluate documents from Relativity search related to ownership of
                                         intellectual property
Mirando, Michael     7/19/2023     2.1   Create file of relevant intercompany cash transfers between FTX
                                         Trading Ltd. and FTX Digital Markets
Montague, Katie      7/19/2023     0.3   Meeting to discuss progress on discovery requests C. Arnett, K.
                                         Montague, and N. Simoneaux (A&M)
Montague, Katie      7/19/2023     3.1   Continue review of documents related to FTX terms of service from
                                         Relativity search
Montague, Katie      7/19/2023     1.6   Prepare summary of unique document IDs related to discovery
                                         request responses
Montague, Katie      7/19/2023     2.9   Review documents related to FTX terms of service from Relativity
                                         search
Montague, Katie      7/19/2023     0.4   Meeting to discuss go forward Relativity search process with C.
                                         Arnett, K. Montague, and N. Simoneaux (A&M)
Simoneaux, Nicole    7/19/2023     0.4   Meeting to discuss go forward Relativity search process with C.
                                         Arnett, K. Montague, and N. Simoneaux (A&M)
Simoneaux, Nicole    7/19/2023     0.3   Meeting to discuss progress on discovery requests C. Arnett, K.
                                         Montague, and N. Simoneaux (A&M)
Zabcik, Kathryn      7/19/2023     1.3   Review JPL discovery requests and draft preliminary grouping of
                                         requests that may share search terms
Zabcik, Kathryn      7/19/2023     0.7   Working session to refine terms used to search JPL requests in
                                         Relativity with K. Zabcik, H. Ardizzoni, and Z. Burns (A&M)
Zabcik, Kathryn      7/19/2023     0.8   Working session to group requests for JPL discovery process with
                                         D. Hainline, K. Zabcik (A&M)




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Joint Provisional Liquidators
Professional               Date     Hours     Activity
Zabcik, Kathryn         7/19/2023     0.4   Meeting to discuss go forward Relativity search process with K.
                                            Zabcik, M. Jones, M. Mirando, and Z. Burns (A&M)
Zabcik, Kathryn         7/19/2023     2.4   Search in relativity for items related to JPL discovery request #9
                                            search #1
Zabcik, Kathryn         7/19/2023     0.3   Meeting to discuss solutions for distributing documents to Quinn
                                            Emanuel as part of the JL Bahamas document discovery with
                                            A.Bailey, A.Vyas, D. Lee, L. Epstein (FTI) R. Gordon, C. Arnett, C.
                                            Broskay, D. Hainline, and K. Zabcik (A&M)
Zabcik, Kathryn         7/19/2023     0.3   Meeting to discuss progress on discovery requests R. Gordon, C.
                                            Broskay, K. Zabcik, and D. Hainline (A&M)
Zabcik, Kathryn         7/19/2023     2.7   Search in relativity for items related to JPL discovery request #9
                                            search #2
Ardizzoni, Heather      7/20/2023     0.5   Working session to discuss open items for JPL discovery requests
                                            #1-4, 6,7,9,11, and 12 with H. Ardizzoni, Z. Burns, and K. Zabcik
                                            (A&M)
Ardizzoni, Heather      7/20/2023     2.4   Review Relativity search results (#12501-14900 of 19900) and
                                            identify documents relevant to JPL discovery request #11
Ardizzoni, Heather      7/20/2023     2.1   Review Relativity search results (#14901-16900 of 19900) and
                                            identify documents relevant to JPL discovery request #11
Ardizzoni, Heather      7/20/2023     1.7   Review Relativity search results (#16901-18400 of 19900) and
                                            identify documents relevant to JPL discovery request #11
Ardizzoni, Heather      7/20/2023     2.3   Review Relativity search results of search #1 and identify
                                            documents relevant to JPL discovery request #13
Ardizzoni, Heather      7/20/2023     0.5   Working session w/ H. Ardizzoni, M. Mirando, K. Zabcik & M. Jones
                                            (A&M) re: FTI Relativity presentation updates
Ardizzoni, Heather      7/20/2023     1.8   Review Relativity search results (#18401-19900 of 19900) and
                                            identify documents relevant to JPL discovery request #11
Arnett, Chris           7/20/2023     0.7   Review and comment on progress on document production and
                                            related discovery
Arnett, Chris           7/20/2023     0.5   Meeting to discuss FTI Relativity updates and search process with
                                            R. Gordon, C. Arnett, C. Broskay, D. Hainline (A&M)
Arnett, Chris           7/20/2023     0.3   Discuss methodology and data collection progress with K. Montague
                                            and C. Arnett (A&M)
Broskay, Cole           7/20/2023     0.5   Meeting to discuss FTI Relativity updates and search process with
                                            R. Gordon, C. Arnett, C. Broskay, D. Hainline (A&M)
Burns, Zach             7/20/2023     2.2   Analyze results from JPL request 12 search term 2 to filter out
                                            irrelevant results
Burns, Zach             7/20/2023     1.6   Analyze results from JPL request 12 search term 1 to filter out
                                            irrelevant results
Burns, Zach             7/20/2023     1.8   Create search terms for JPL request 13 to find relevant results in
                                            Relativity
Burns, Zach             7/20/2023     0.7   Determine search terms for JPL request 12 to properly obtain
                                            document results
Burns, Zach             7/20/2023     0.5   Working session to discuss open items for JPL discovery requests
                                            #1-4, 6,7,9,11, and 12 with H. Ardizzoni, Z. Burns, and K. Zabcik
                                            (A&M)


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Joint Provisional Liquidators
Professional               Date     Hours     Activity
Burns, Zach             7/20/2023     0.5   Working session w/ K. Montague, N. Simoneaux & Z. Burns (A&M)
                                            re: FTI Relativity data process
Burns, Zach             7/20/2023     0.6   Analyze list in Relativity for overlaps in JPL document search
                                            requests
Dennison, Kim           7/20/2023     0.7   Attend call with FTI regarding update on Bahamas Properties and
                                            call with FTX DM JPLs
Dennison, Kim           7/20/2023     0.2   Emails with M Walden (FTI) regarding in-person meeting with FTX
                                            DM JPLs
Gordon, Robert          7/20/2023     0.5   Meeting to discuss FTI Relativity updates and search process with
                                            R. Gordon, C. Arnett, C. Broskay, D. Hainline (A&M)
Gordon, Robert          7/20/2023     1.3   Review results from discovery request #1 for completeness and
                                            comments for the team
Hainline, Drew          7/20/2023     0.6   Document results from AWS database request related to JPL
                                            discovery request 16
Hainline, Drew          7/20/2023     0.5   Meeting to discuss FTI Relativity updates and search process with
                                            R. Gordon, C. Arnett, C. Broskay, D. Hainline (A&M)
Hainline, Drew          7/20/2023     0.4   Outline open questions for QE related to requests for the JPL
                                            discovery process
Hainline, Drew          7/20/2023     0.6   Review consolidated request tracker and update groupings and notes

Hainline, Drew          7/20/2023     0.3   Working session to review requests for the JPL discovery process
                                            with D. Hainline, M. Mirando (A&M)
Hainline, Drew          7/20/2023     0.3   Review updated results from AWS database requests for JPL
                                            discovery process
Hainline, Drew          7/20/2023     2.2   Continue review of documents retrieved in search 1 of request 32 to
                                            support JPL discovery process
Jones, Mackenzie        7/20/2023     0.5   Working session w/ H. Ardizzoni, M. Mirando, K. Zabcik & M. Jones
                                            (A&M) re: FTI Relativity presentation updates
Jones, Mackenzie        7/20/2023     0.4   Review groupings created for JPL discovery requests

Mirando, Michael        7/20/2023     1.6   Search Relativity for documents related to ownership of crypto assets


Mirando, Michael        7/20/2023     0.5   Working session w/ H. Ardizzoni, M. Mirando, K. Zabcik & M. Jones
                                            (A&M) re: FTI Relativity presentation updates
Mirando, Michael        7/20/2023     0.3   Working session to review requests for the JPL discovery process
                                            with D. Hainline, M. Mirando (A&M)
Mirando, Michael        7/20/2023     2.5   Search Relativity for documents related to the intercompany
                                            agreement between FTX Trading and FTX Digital Markets
Mirando, Michael        7/20/2023     1.1   Review the business plan prepared for FTX Digital Markets

Mirando, Michael        7/20/2023     1.6   Compile list of relevant bank statements to support discovery
                                            requests
Mirando, Michael        7/20/2023     1.1   Review Articles of Association for FTX Digital Markets




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                                FTX Trading Ltd., et al.,
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Joint Provisional Liquidators
Professional            Date     Hours     Activity
Mirando, Michael     7/20/2023     1.4   Evaluate documents from Relativity search related to asset
                                         ownership
Mirando, Michael     7/20/2023     1.9   Evaluate documents from Relativity search related to ownership of
                                         intellectual property
Mirando, Michael     7/20/2023     1.3   Research marketing expenses for FTX Exchange FZE

Montague, Katie      7/20/2023     0.3   Discuss methodology and data collection progress with K. Montague
                                         and C. Arnett (A&M)
Montague, Katie      7/20/2023     2.7   Continue review of documents related to FTX terms of service from
                                         Relativity search
Montague, Katie      7/20/2023     2.8   Review documents related to FTX terms of service from Relativity
                                         search
Montague, Katie      7/20/2023     1.4   Update discovery tracking file for status of document review related
                                         to discovery requests
Montague, Katie      7/20/2023     0.5   Working session w/ K. Montague, N. Simoneaux & Z. Burns (A&M)
                                         re: FTI Relativity data process
Simoneaux, Nicole    7/20/2023     0.5   Working session w/ K. Montague, N. Simoneaux & Z. Burns (A&M)
                                         re: FTI Relativity data process
Zabcik, Kathryn      7/20/2023     1.6   Review relativity documents related to JL Bahamas discovery
                                         request #9
Zabcik, Kathryn      7/20/2023     2.4   Review relativity documents for Blockfolio related search results
                                         related to JL Bahamas discovery request #3,6, and 7 for search #3
Zabcik, Kathryn      7/20/2023     1.2   Review relativity documents for LedgerX and Ledger Prime related
                                         search results related to JL Bahamas discovery request #3,6, and 7
                                         for search #3
Zabcik, Kathryn      7/20/2023     0.5   Working session w/ H. Ardizzoni, M. Mirando, K. Zabcik & M. Jones
                                         (A&M) re: FTI Relativity presentation updates
Zabcik, Kathryn      7/20/2023     2.8   Review relativity documents for Spam related search results related
                                         to JL Bahamas discovery request #3,6, and 7 for search #3
Zabcik, Kathryn      7/20/2023     0.5   Working session to discuss open items for JPL discovery requests
                                         #1-4, 6,7,9,11, and 12 with H. Ardizzoni, Z. Burns, and K. Zabcik
                                         (A&M)
Ardizzoni, Heather   7/21/2023     0.5   Working session over request 13 from JPL with H. Ardizzoni and Z.
                                         Burns (A&M)
Ardizzoni, Heather   7/21/2023     2.1   Review Relativity search results (#1-2200 of 7400) of search #2 and
                                         identify documents relevant to JPL discovery request #13
Ardizzoni, Heather   7/21/2023     2.4   Review Relativity search results (#2201-4300 of 7400) of search #2
                                         and identify documents relevant to JPL discovery request #13
Ardizzoni, Heather   7/21/2023     1.2   Review Relativity search results (#4301-5700 of 7400) of search #2
                                         and identify documents relevant to JPL discovery request #13
Ardizzoni, Heather   7/21/2023     1.9   Review Relativity search results (#5701-7400 of 7400) of search #2
                                         and identify documents relevant to JPL discovery request #13
Ardizzoni, Heather   7/21/2023     0.3   Working Session w/ H. Ardizzoni, M. Mirando, K. Zabcik, and Z.
                                         Burns (A&M) re: develop discovery group timeline schedule
Ardizzoni, Heather   7/21/2023     0.2   Perform specified searches in Relativity to gather documents related
                                         to JPL discovery request #13

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                                   FTX Trading Ltd., et al.,
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                              July 1, 2023 through July 31, 2023


Joint Provisional Liquidators
Professional               Date     Hours     Activity
Arnett, Chris           7/21/2023     2.7   Review team-produced document request results for relevancy

Arnett, Chris           7/21/2023     0.3   Meeting to discuss document discovery group process and
                                            deadlines with R. Gordon, C. Arnett, C. Broskay, D. Hainline (A&M)
Broskay, Cole           7/21/2023     0.3   Meeting to discuss document discovery group process and
                                            deadlines with R. Gordon, C. Arnett, C. Broskay, D. Hainline (A&M)
Burns, Zach             7/21/2023     0.5   Working session over request 13 from JPL with H. Ardizzoni and Z.
                                            Burns (A&M)
Burns, Zach             7/21/2023     0.3   Working Session w/ H. Ardizzoni, M. Mirando, K. Zabcik, and Z.
                                            Burns (A&M) re: develop discovery group timeline schedule
Burns, Zach             7/21/2023     1.4   Analyze results from search term 1 in Relativity for JPL request 13

Burns, Zach             7/21/2023     1.7   Wrap up packaging of multiple JPL requests for ease of filtering data


Burns, Zach             7/21/2023     0.9   Analyze edocs for JPL request 17 to determine relevance to request

Burns, Zach             7/21/2023     2.3   Filter out junk email results from all searches in Relativity for
                                            relevance
Burns, Zach             7/21/2023     2.3   Analyze results from search term 2 in Relativity for JPL request 13

Gordon, Robert          7/21/2023     1.4   Review periwinkle collection tracking support from FTX

Gordon, Robert          7/21/2023     0.3   Meeting to discuss document discovery group process and
                                            deadlines with R. Gordon, C. Arnett, C. Broskay, D. Hainline (A&M)
Gordon, Robert          7/21/2023     0.2   Analyze monthly distribution document for discovery requests

Gordon, Robert          7/21/2023     0.9   Review FDM bank information to support requested analysis from QE


Hainline, Drew          7/21/2023     0.2   Draft requests for supporting information from AWS team to support
                                            JPL discovery
Hainline, Drew          7/21/2023     1.1   Continue review of documents retrieved related to search 1 of
                                            request 32 to support JPL discovery process
Hainline, Drew          7/21/2023     0.3   Meeting to discuss document discovery group process and
                                            deadlines with R. Gordon, C. Arnett, C. Broskay, D. Hainline (A&M)
Hainline, Drew          7/21/2023     0.4   Update notes and status of discover by request to provide leadership
                                            updates
Jones, Mackenzie        7/21/2023     0.3   Meeting w/ K Montague, N Simoneaux, and M. Jones (A&M) re: data
                                            submission process for discovery group information
Lawson, Alex            7/21/2023     1.2   Review of JPL update and budget for FTX Property Holdings

Mirando, Michael        7/21/2023     2.4   Review employee contracts to ensure completeness of executive
                                            contracts
Mirando, Michael        7/21/2023     0.3   Working Session w/ H. Ardizzoni, M. Mirando, K. Zabcik, and Z.
                                            Burns (A&M) re: develop discovery group timeline schedule




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                                 FTX Trading Ltd., et al.,
                          Time Detail by Activity by Professional
                            July 1, 2023 through July 31, 2023


Joint Provisional Liquidators
Professional              Date    Hours     Activity
Mirando, Michael      7/21/2023     1.3   Search Relativity for documents related to ownership of crypto assets

Montague, Katie       7/21/2023     3.0   Review documents related to FTX terms of service from Relativity
                                          search
Montague, Katie       7/21/2023     0.3   Meeting w/ K Montague, N Simoneaux, and M. Jones (A&M) re: data
                                          submission process for discovery group information
Simoneaux, Nicole     7/21/2023     0.3   Meeting w/ K Montague, N Simoneaux, and M. Jones (A&M) re: data
                                          submission process for discovery group information
Simoneaux, Nicole     7/21/2023     1.4   Contribute to review of potential discovery on relativity regarding
                                          requests 1-9
Zabcik, Kathryn       7/21/2023     1.3   Review Relativity documents to determine better search terms for
                                          request #9 of JL Bahamas discovery request list
Zabcik, Kathryn       7/21/2023     2.3   Review all relativity excel exports for JL Bahamas discovery
                                          requests #1,2,3,4,6, and 7
Zabcik, Kathryn       7/21/2023     2.9   Review relativity documents for additional Spam related search
                                          results related to JL Bahamas discovery request #3,6, and 7 for
                                          search #3
Zabcik, Kathryn       7/21/2023     0.3   Working Session w/ H. Ardizzoni, M. Mirando, K. Zabcik, and Z.
                                          Burns (A&M) re: develop discovery group timeline schedule
Zabcik, Kathryn       7/21/2023     1.8   Review excel export from Relativity JL Bahamas discovery request
                                          #11 and 12
Jones, Mackenzie      7/22/2023     1.1   Continue review of documents in search 1 results for JPL discovery
                                          requests
Ardizzoni, Heather    7/24/2023     0.3   Meeting to JPL discovery progress and general JPL case updates
                                          with R. Gordon, H. Ardizzoni, K. Zabcik, and Z. Burns (A&M)
Ardizzoni, Heather    7/24/2023     0.2   Perform specified searches in Relativity to gather documents related
                                          to JPL discovery request #14
Ardizzoni, Heather    7/24/2023     1.4   Review Relativity search results (#1-1600 of 5700) and identify
                                          documents relevant to JPL discovery request #14
Ardizzoni, Heather    7/24/2023     0.4   Working session to create search terms for JPL request 14 with H.
                                          Ardizzoni and Z. Burns (A&M)
Ardizzoni, Heather    7/24/2023     0.6   Working session to conclude JPL request 12 and start work on JPL
                                          request 14 with H. Ardizzoni, K. Zabcik, and Z. Burns (A&M)
Ardizzoni, Heather    7/24/2023     1.1   Review Relativity search results (#5001-5700 of 5700) and identify
                                          documents relevant to JPL discovery request #14
Ardizzoni, Heather    7/24/2023     2.6   Review Relativity search results (#3201-5000 of 5700) and identify
                                          documents relevant to JPL discovery request #14
Ardizzoni, Heather    7/24/2023     2.3   Review Relativity search results (#1601-3200 of 5700) and identify
                                          documents relevant to JPL discovery request #14
Ardizzoni, Heather    7/24/2023     0.9   Meeting to finalize search term process and review group 1 results
                                          with R. Gordon, C. Broskay, D. Hainline, H. Ardizzoni (A&M)
Arnett, Chris         7/24/2023     1.9   Continue to review team-produced document request results for
                                          relevancy
Arnett, Chris         7/24/2023     0.9   Meeting to finalize search term process and review group 1 results
                                          with C. Arnett, K. Montague, N. Simoneaux (A&M)


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                                   FTX Trading Ltd., et al.,
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Joint Provisional Liquidators
Professional               Date     Hours     Activity
Arnett, Chris           7/24/2023     0.3   Teleconference with C. Arnett, R. Gordon(A&M) over cooperation
                                            agreement
Arnett, Chris           7/24/2023     0.3   Meeting to JPL discovery progress and general JPL case updates
                                            with C. Arnett and K. Montague (A&M)
Arnett, Chris           7/24/2023     0.8   Review team progress and develop go-forward plan to answer
                                            remaining discovery
Broskay, Cole           7/24/2023     0.9   Meeting to finalize search term process and review group 1 results
                                            with R. Gordon, C. Broskay, D. Hainline, H. Ardizzoni (A&M)
Broskay, Cole           7/24/2023     0.3   Meeting to JPL discovery progress and general JPL case updates
                                            with M. Mirando, C. Broskay, D. Hainline, and M. Jones (A&M)
Burns, Zach             7/24/2023     0.9   Filter out corrupted and unreadable files from JPL request 14 search
                                            results
Burns, Zach             7/24/2023     2.2   Filter out miscellaneous and other unrelated documents for JPL
                                            request 12
Burns, Zach             7/24/2023     0.9   Meeting to finalize search term process and review group 1 results
                                            with M. Mirando, K. Zabcik, M. Jones, and Z. Burns (A&M)
Burns, Zach             7/24/2023     0.3   Meeting to JPL discovery progress and general JPL case updates
                                            with R. Gordon, H. Ardizzoni, K. Zabcik, and Z. Burns (A&M)
Burns, Zach             7/24/2023     0.7   Refine search terms for JPL request 14 to get relevant search
                                            results in Relativity
Burns, Zach             7/24/2023     0.6   Working session to conclude JPL request 12 and start work on JPL
                                            request 14 with H. Ardizzoni, K. Zabcik, and Z. Burns (A&M)
Burns, Zach             7/24/2023     2.4   Analyze line of credit documents per JPL request 14 for relevance


Burns, Zach             7/24/2023     1.5   Analyze NDA documents for JPL request 14 to support discovery
                                            process
Burns, Zach             7/24/2023     0.4   Working session to create search terms for JPL request 14 with H.
                                            Ardizzoni and Z. Burns (A&M)
Dennison, Kim           7/24/2023     0.3   Emails with Maynard Law regarding in-person meetings in August
                                            with FTX DM JPLs
Gordon, Robert          7/24/2023     0.9   Meeting to finalize search term process and review group 1 results
                                            with R. Gordon, C. Broskay, D. Hainline, H. Ardizzoni (A&M)
Gordon, Robert          7/24/2023     0.3   Meeting to JPL discovery progress and general JPL case updates
                                            with R. Gordon, H. Ardizzoni, K. Zabcik, and Z. Burns (A&M)
Gordon, Robert          7/24/2023     0.9   Review progress on discovery request list grouping #1

Gordon, Robert          7/24/2023     0.3   Teleconference with C. Arnett, R. Gordon(A&M) over cooperation
                                            agreement
Hainline, Drew          7/24/2023     1.9   Complete review of documents retrieved related to search 1 of
                                            request 32 to support JPL discovery process
Hainline, Drew          7/24/2023     0.3   Draft status update based on current review progress for JPL
                                            discovery requests
Hainline, Drew          7/24/2023     0.2   Draft updated notes and findings in the consolidated tracker for
                                            request 16




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                                FTX Trading Ltd., et al.,
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Joint Provisional Liquidators
Professional            Date     Hours     Activity
Hainline, Drew       7/24/2023     0.2   Facilitate additional review of available documentation related to
                                         request 16
Hainline, Drew       7/24/2023     0.9   Meeting to finalize search term process and review group 1 results
                                         with R. Gordon, C. Broskay, D. Hainline, H. Ardizzoni (A&M)
Hainline, Drew       7/24/2023     0.3   Meeting to JPL discovery progress and general JPL case updates
                                         with M. Mirando, C. Broskay, D. Hainline, and M. Jones (A&M)
Hainline, Drew       7/24/2023     0.7   Perform test searches to identify appropriate search parameters for
                                         Request 8
Hainline, Drew       7/24/2023     0.2   Review exchange data relevant to Request 16 for JPL discovery
                                         process
Hainline, Drew       7/24/2023     0.6   Review information included in the September 2022 due diligence
                                         fact sheet to assess relevant information for discovery process
Hainline, Drew       7/24/2023     0.2   Review open requests to determine next steps for JPL discovery
                                         support
Hainline, Drew       7/24/2023     1.3   Review results for request 8 search 1 to identify relevant documents
                                         for JPL discovery process
Hainline, Drew       7/24/2023     0.2   Review information in declaration support relevant to request 8 for
                                         discovery support
Jones, Mackenzie     7/24/2023     0.9   Meeting to finalize search term process and review group 1 results
                                         with M. Mirando, K. Zabcik, M. Jones, and Z. Burns (A&M)
Jones, Mackenzie     7/24/2023     2.9   Review documents in search 1 results for JPL discovery requests
                                         related to service agreements
Jones, Mackenzie     7/24/2023     0.3   Meeting to JPL discovery progress and general JPL case updates
                                         with M. Mirando, C. Broskay, D. Hainline, and M. Jones (A&M)
Jones, Mackenzie     7/24/2023     3.1   Continue review of documents in search 1 results for JPL discovery
                                         requests related to service agreements
Jones, Mackenzie     7/24/2023     1.1   Determine which documents are relevant to JPL discover request
                                         related to service agreements
Mirando, Michael     7/24/2023     1.6   Search Relativity for documents related to FTX Digital Markets Ltd
                                         Financial Statements
Mirando, Michael     7/24/2023     0.9   Meeting to finalize search term process and review group 1 results
                                         with M. Mirando, K. Zabcik, M. Jones, and Z. Burns (A&M)
Mirando, Michael     7/24/2023     0.3   Meeting to JPL discovery progress and general JPL case updates
                                         with M. Mirando, C. Broskay, D. Hainline, and M. Jones (A&M)
Mirando, Michael     7/24/2023     1.1   Review FTX Trading general ledger to identify intercompany activity
                                         with FTX Digital Markets
Mirando, Michael     7/24/2023     2.9   Search Relativity for documents related to crypto exchange activity


Mirando, Michael     7/24/2023     0.9   Search Relativity for documents related to ownership of crypto assets

Mirando, Michael     7/24/2023     0.7   Review Relativity search results for relevance to FTX Digital Markets
                                         lawsuit
Mirando, Michael     7/24/2023     1.6   Search Relativity for documents related to FTX trading and FTX
                                         Digital Markets pass-through relationship




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Joint Provisional Liquidators
Professional              Date    Hours     Activity
Montague, Katie       7/24/2023     0.3   Meeting to JPL discovery progress and general JPL case updates
                                          with C. Arnett and K. Montague (A&M)
Montague, Katie       7/24/2023     0.9   Meeting to finalize search term process and review group 1 results
                                          with C. Arnett, K. Montague, N. Simoneaux (A&M)
Montague, Katie       7/24/2023     1.8   Continue review of documents related to FTX terms of service from
                                          Relativity search
Simoneaux, Nicole     7/24/2023     2.4   Determine the relevance of relativity documents derived from
                                          outlined search terms for JPL requests 1-9
Simoneaux, Nicole     7/24/2023     0.9   Meeting to finalize search term process and review group 1 results
                                          with C. Arnett, K. Montague, N. Simoneaux (A&M)
Zabcik, Kathryn       7/24/2023     0.3   Meeting to JPL discovery progress and general JPL case updates
                                          with R. Gordon, H. Ardizzoni, K. Zabcik, and Z. Burns (A&M)
Zabcik, Kathryn       7/24/2023     0.9   Meeting to finalize search term process and review group 1 results
                                          with M. Mirando, K. Zabcik, M. Jones, and Z. Burns (A&M)
Zabcik, Kathryn       7/24/2023     2.8   Review additional relativity search for JL Bahamas Discovery
                                          request #1,2,3, and 4 to expand terms to include "ToS"
Zabcik, Kathryn       7/24/2023     3.1   Review additional relativity search for JL Bahamas Discovery
                                          request #1,2,3, and 4 to expand terms to include extracts of the
                                          terms of service
Zabcik, Kathryn       7/24/2023     1.9   Review JL Bahamas discovery request 9 search #1 for spam and
                                          unrelated documents
Zabcik, Kathryn       7/24/2023     0.6   Working session to conclude JPL request 12 and start work on JPL
                                          request 14 with H. Ardizzoni, K. Zabcik, and Z. Burns (A&M)
Zabcik, Kathryn       7/24/2023     1.5   Review JL Bahamas discovery request 9 search #2 for spam and
                                          unrelated documents
Ardizzoni, Heather    7/25/2023     0.1   Review of morning progress on JPL requests with R. Gordon, H.
                                          Ardizzoni, K. Zabcik, and Z. Burns (A&M)
Ardizzoni, Heather    7/25/2023     0.2   Call to align on open items for the JL Bahamas discovery with D.
                                          Hainline, H. Ardizzoni, K Montague, M. Mirando, N. Simoneaux, K.
                                          Zabcik, M. Jones, and Z. Burns (A&M)
Ardizzoni, Heather    7/25/2023     2.4   Read and review FTX Digital Markets Answer to Amended
                                          Complaint docket filing (59 pgs) for latest FTX DM case information
Arnett, Chris         7/25/2023     0.1   Review of morning progress on JPL requests with C. Arnett, K.
                                          Montague, N. Simoneaux (A&M)
Arnett, Chris         7/25/2023     0.3   Discussion of status of work stream status and analysis with K.
                                          Montague and C. Arnett (A&M)
Arnett, Chris         7/25/2023     0.5   Meeting to discuss open items related to the JL Bahamas discovery
                                          with M. Anderson, M. Scheck (Quinn Emanuel), R. Gordon, C.
                                          Arnett, and C. Broskay, and K. Zabcik (A&M)
Broskay, Cole         7/25/2023     0.2   Correspondence related to JL discovery requests

Broskay, Cole         7/25/2023     0.5   Meeting to discuss open items related to the JL Bahamas discovery
                                          with M. Anderson, M. Scheck (Quinn Emanuel), R. Gordon, C.
                                          Arnett, and C. Broskay, and K. Zabcik (A&M)
Broskay, Cole         7/25/2023     0.1   Review of morning progress on JPL requests with C. Broskay, D.
                                          Hainline, M. Mirando, and M. Jones (A&M)


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Joint Provisional Liquidators
Professional               Date     Hours     Activity
Burns, Zach             7/25/2023     0.2   Call to align on open items for the JL Bahamas discovery with D.
                                            Hainline, H. Ardizzoni, K Montague, M. Mirando, N. Simoneaux, K.
                                            Zabcik, M. Jones, and Z. Burns (A&M)
Burns, Zach             7/25/2023     2.4   Categorize relevant documents with attachments discussing lines of
                                            credit for JPL request 14
Burns, Zach             7/25/2023     2.4   Remove non-relevant documents from other FTX entities from JPL
                                            request 14 search
Burns, Zach             7/25/2023     0.1   Review of morning progress on JPL requests with R. Gordon, H.
                                            Ardizzoni, K. Zabcik, and Z. Burns (A&M)
Burns, Zach             7/25/2023     2.9   Analyze other PDF documents for information relating to lines of
                                            credit
Dennison, Kim           7/25/2023     0.6   Attend call w P Hickman (PWC, FTX DM JPLs) to discuss
                                            outstanding queries and items needed ahead of in-person meeting
Dennison, Kim           7/25/2023     0.4   Draft email to FTX DM JPLs regarding legal letter received from One
                                            Cable Beach attorneys
Dennison, Kim           7/25/2023     0.3   Respond to FTX DM JPLs request for call regarding legal letter
                                            received from One Cable Beach attorneys
Gordon, Robert          7/25/2023     0.1   Review of morning progress on JPL requests with R. Gordon, H.
                                            Ardizzoni, K. Zabcik, and Z. Burns (A&M)
Gordon, Robert          7/25/2023     2.1   Review answers for amended complaint for potential new facts


Gordon, Robert          7/25/2023     0.4   Prepare for QE update call by drafting list of open items and
                                            questions
Gordon, Robert          7/25/2023     0.5   Meeting to discuss open items related to the JL Bahamas discovery
                                            with M. Anderson, M. Scheck (Quinn Emanuel), R. Gordon, C.
                                            Arnett, and C. Broskay, and K. Zabcik (A&M)
Hainline, Drew          7/25/2023     0.2   Call to align on open items for the JL Bahamas discovery with D.
                                            Hainline, H. Ardizzoni, K Montague, M. Mirando, N. Simoneaux, K.
                                            Zabcik, M. Jones, and Z. Burns (A&M)
Hainline, Drew          7/25/2023     0.8   Draft test search parameters for JPL request 41 to support
                                            completeness of discovery
Hainline, Drew          7/25/2023     0.4   Perform updates to status and notes in the consolidated tracker of
                                            requests to support discovery
Hainline, Drew          7/25/2023     0.2   Review JPL responses filed to amended complaint to support
                                            discovery process
Hainline, Drew          7/25/2023     0.1   Review of morning progress on JPL requests with C. Broskay, D.
                                            Hainline, M. Mirando, and M. Jones (A&M)
Hainline, Drew          7/25/2023     0.6   Review results from request 41 search 3 to support JPL discovery
                                            process
Hainline, Drew          7/25/2023     0.9   Review results from request 41 search 4 to support JPL discovery
                                            process
Hainline, Drew          7/25/2023     1.9   Working session to review the status of each JPL Discovery request
                                            item for requests 1-42 with D. Hainline and K. Zabcik (A&M)
Hainline, Drew          7/25/2023     0.3   Call to align on topics to support JPL discovery with K. Zabcik, D.
                                            Hainline (A&M)



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                                FTX Trading Ltd., et al.,
                         Time Detail by Activity by Professional
                           July 1, 2023 through July 31, 2023


Joint Provisional Liquidators
Professional            Date     Hours     Activity
Jones, Mackenzie     7/25/2023     0.1   Review of morning progress on JPL requests with C. Broskay, D.
                                         Hainline, M. Mirando, and M. Jones (A&M)
Jones, Mackenzie     7/25/2023     2.6   Remove irrelevant documents in search 1 results for JPL discovery
                                         requests related to service agreements
Jones, Mackenzie     7/25/2023     1.4   Refine search parameters for JPL discovery requests related to
                                         service agreements
Jones, Mackenzie     7/25/2023     0.2   Call to align on open items for the JL Bahamas discovery with D.
                                         Hainline, H. Ardizzoni, K Montague, M. Mirando, N. Simoneaux, K.
                                         Zabcik, M. Jones, and Z. Burns (A&M)
Mirando, Michael     7/25/2023     2.8   Review Relativity search results for relevance to request made by
                                         Joint Provisional Liquidators of FTX Digital Markets Ltd
Mirando, Michael     7/25/2023     2.9   Review intercompany cash transfers related to discovery request
                                         made by FTX Digital Ltd Joint Provisional Liquidators
Mirando, Michael     7/25/2023     0.2   Call to align on open items for the JL Bahamas discovery with D.
                                         Hainline, H. Ardizzoni, K Montague, M. Mirando, N. Simoneaux, K.
                                         Zabcik, M. Jones, and Z. Burns (A&M)
Mirando, Michael     7/25/2023     2.6   Compile a list of relevant internal communication for the Joint
                                         Provisional Liquidators of FTX Digital Markets Ltd
Mirando, Michael     7/25/2023     2.1   Search Relativity for documents related to transfers of fiat between
                                         FTX Trading Ltd. and FTX Digital Markets Ltd
Mirando, Michael     7/25/2023     0.1   Review of morning progress on JPL requests with C. Broskay, D.
                                         Hainline, M. Mirando, and M. Jones (A&M)
Montague, Katie      7/25/2023     0.5   Meeting to discuss open items related to the JL Bahamas discovery
                                         with M. Anderson, M. Scheck (Quinn Emanuel), R. Gordon, C.
                                         Arnett, and C. Broskay, and K. Zabcik (A&M)
Montague, Katie      7/25/2023     0.2   Call to align on open items for the JL Bahamas discovery with D.
                                         Hainline, H. Ardizzoni, K Montague, M. Mirando, N. Simoneaux, K.
                                         Zabcik, M. Jones, and Z. Burns (A&M)
Montague, Katie      7/25/2023     0.3   Discussion of status of work stream status and analysis with K.
                                         Montague and C. Arnett (A&M)
Montague, Katie      7/25/2023     0.7   Incorporate email addresses into employee and related party trading
                                         data in response to FTX 2.0 diligence request
Montague, Katie      7/25/2023     3.1   Summarize analysis of customer analytics data provided by P. Lee
                                         (FTX) related to FTX 2.0 diligence request
Montague, Katie      7/25/2023     0.1   Review of morning progress on JPL requests with C. Arnett, K.
                                         Montague, N. Simoneaux (A&M)
Simoneaux, Nicole    7/25/2023     0.2   Call to align on open items for the JL Bahamas discovery with D.
                                         Hainline, H. Ardizzoni, K Montague, M. Mirando, N. Simoneaux, K.
                                         Zabcik, M. Jones, and Z. Burns (A&M)
Simoneaux, Nicole    7/25/2023     0.1   Review of morning progress on JPL requests with C. Arnett, K.
                                         Montague, N. Simoneaux (A&M)
Simoneaux, Nicole    7/25/2023     0.2   Call to align on open items for the JL Bahamas discovery with D.
                                         Hainline, H. Ardizzoni, K Montague, M. Mirando, N. Simoneaux, K.
                                         Zabcik, M. Jones, and Z. Burns (A&M)
Simoneaux, Nicole    7/25/2023     0.2   Call to align on open items for the JL Bahamas discovery with D.
                                         Hainline, H. Ardizzoni, K Montague, M. Mirando, N. Simoneaux, K.
                                         Zabcik, M. Jones, and Z. Burns (A&M)


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                                 FTX Trading Ltd., et al.,
                          Time Detail by Activity by Professional
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Joint Provisional Liquidators
Professional             Date     Hours     Activity
Zabcik, Kathryn       7/25/2023     1.7   Prepare list of relativity tagging for discovery requests
                                          #1,2,3,4,6,7,11, and 12
Zabcik, Kathryn       7/25/2023     0.4   Review and send JL Discovery items needing S&C input to Quin
                                          Emmanuel
Zabcik, Kathryn       7/25/2023     1.9   Working session to review the status of each JPL Discovery request
                                          item for requests 1-42 with D. Hainline and K. Zabcik (A&M)
Zabcik, Kathryn       7/25/2023     1.2   Update JL Bahamas discovery request list status ahead of working
                                          session
Zabcik, Kathryn       7/25/2023     1.8   Search in relativity to expand date restrictions for JL Bahamas
                                          discovery request #9
Zabcik, Kathryn       7/25/2023     0.9   Prepare additional questions for QE based off of JL Bahamas
                                          discovery status review
Zabcik, Kathryn       7/25/2023     0.5   Meeting to discuss open items related to the JL Bahamas discovery
                                          with M. Anderson, M. Scheck (Quinn Emanuel), R. Gordon, C.
                                          Arnett, and C. Broskay, and K. Zabcik (A&M)
Zabcik, Kathryn       7/25/2023     0.3   Call to align on topics to support JPL discovery with K. Zabcik, D.
                                          Hainline (A&M)
Zabcik, Kathryn       7/25/2023     0.2   Call to align on open items for the JL Bahamas discovery with D.
                                          Hainline, H. Ardizzoni, K Montague, M. Mirando, N. Simoneaux, K.
                                          Zabcik, M. Jones, and Z. Burns (A&M)
Zabcik, Kathryn       7/25/2023     0.1   Review of morning progress on JPL requests with R. Gordon, H.
                                          Ardizzoni, K. Zabcik, and Z. Burns (A&M)
Ardizzoni, Heather    7/26/2023     2.6   Review Relativity search results (#1-1900 of 8400) and identify
                                          documents relevant to JPL discovery request #25
Ardizzoni, Heather    7/26/2023     0.2   Meeting over JPL request progress and task updates with H.
                                          Ardizzoni, M. Mirando, and Z. Burns (A&M)
Ardizzoni, Heather    7/26/2023     0.2   Perform specified searches in Relativity to gather documents related
                                          to JPL discovery request #25
Ardizzoni, Heather    7/26/2023     1.1   Read through docket filings for key provisions of FTX DM
                                          cooperation agreement
Ardizzoni, Heather    7/26/2023     2.1   Review Relativity search results (#1901-3300 of 8400) and identify
                                          documents relevant to JPL discovery request #25
Ardizzoni, Heather    7/26/2023     2.7   Review Relativity search results (#3301-5300 of 8400) and identify
                                          documents relevant to JPL discovery request #25
Ardizzoni, Heather    7/26/2023     0.6   Create summary of key provisions of FTX DM cooperation
                                          agreement
Arnett, Chris         7/26/2023     0.7   Review progress of data collection and analyses to date and direct
                                          next steps with team
Arnett, Chris         7/26/2023     0.4   Discussion of JPL request matters with R. Gordon, C. Arnett, and S.
                                          Coverick (A&M)
Arnett, Chris         7/26/2023     0.8   Follow-up diligence items at request of M. Scheck (QE) re: JPL
                                          counterclaims
Arnett, Chris         7/26/2023     0.2   Meeting over JPL request progress and task updates with C. Arnett,
                                          K Montague, N. Simoneaux (A&M)
Broskay, Cole         7/26/2023     0.2   Meeting over JPL request progress and task updates with R.
                                          Gordon, C. Broskay, K. Zabcik (A&M)

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Joint Provisional Liquidators
Professional               Date     Hours     Activity
Burns, Zach             7/26/2023     1.4   Analyze additional search term results for JPL request 14 in
                                            Relativity
Burns, Zach             7/26/2023     1.3   Search Relativity for surety bond documentation for FTX US


Burns, Zach             7/26/2023     1.6   Finish JPL request 14 document sorting for relevance regarding
                                            lines of credit
Burns, Zach             7/26/2023     1.7   Analyze new results for documents not relating to JPL request 14 in
                                            Relativity
Burns, Zach             7/26/2023     0.2   Meeting over JPL request progress and task updates with H.
                                            Ardizzoni, M. Mirando, and Z. Burns (A&M)
Coverick, Steve         7/26/2023     0.4   Call with C. Arnett, R. Gordon, S. Coverick (A&M) re: JPL discovery
                                            requests
Dennison, Kim           7/26/2023     0.4   Attend a call with FTX DM JPLs regarding legal letter received from
                                            One Cable Beach attorneys
Gordon, Robert          7/26/2023     0.3   Read through proposed terms from JPLs for discovery

Gordon, Robert          7/26/2023     0.8   Read through DI 1411 over cooperation agreement


Gordon, Robert          7/26/2023     0.2   Meeting over JPL request progress and task updates with R.
                                            Gordon, C. Broskay, K. Zabcik (A&M)
Gordon, Robert          7/26/2023     0.6   Review request 769 for preliminary results on account activity

Gordon, Robert          7/26/2023     0.4   Discussion of JPL request matters with R. Gordon, C. Arnett, and S.
                                            Coverick (A&M)
Gordon, Robert          7/26/2023     0.7   Edit list of issues on cooperation agreement

Gordon, Robert          7/26/2023     0.2   Review personnel list for response to JLs


Hainline, Drew          7/26/2023     0.2   Call to discuss progress made during the Quinn Emmanuel status
                                            call with D. Hainline and K. Zabcik
Hainline, Drew          7/26/2023     2.2   Review results of search 1 to identify relevant documents for
                                            discovery related to request 24
Hainline, Drew          7/26/2023     0.7   Continue to review JPL responses filed to amended complaint to
                                            support discovery process
Hainline, Drew          7/26/2023     1.7   Continue to review results from request 41 search 4 to support JPL
                                            discovery process
Hainline, Drew          7/26/2023     0.3   Perform test search criteria to discover relevant documents for
                                            request 24
Hainline, Drew          7/26/2023     0.2   Review available information to guide search terms for request 10 to
                                            support discovery process
Lawson, Alex            7/26/2023     0.6   Prepare for JPL meeting regarding sales valuation and holding costs
                                            for FTX Property Holdings
Mirando, Michael        7/26/2023     0.2   Meeting over JPL request progress and task updates with H.
                                            Ardizzoni, M. Mirando, and Z. Burns (A&M)




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Joint Provisional Liquidators
Professional             Date     Hours     Activity
Mirando, Michael      7/26/2023     2.1   Review FTX employee listing for completeness

Mirando, Michael      7/26/2023     2.9   Compile a list of documents related to intercompany transfers for
                                          FTX Digital Markets discovery request
Mirando, Michael      7/26/2023     2.9   Review search results from Relativity to determine relevance to
                                          intercompany transfer discovery request
Mirando, Michael      7/26/2023     0.3   Review response to amended complaint from the joint provisional
                                          liquidators of FTX Digital Markets Ltd
Mirando, Michael      7/26/2023     2.4   Review intercompany cash transfers related to discovery request
                                          made by FTX Digital Ltd Joint Provisional Liquidators
Montague, Katie       7/26/2023     0.2   Meeting over JPL request progress and task updates with C. Arnett,
                                          K Montague, N. Simoneaux (A&M)
Simoneaux, Nicole     7/26/2023     0.2   Meeting over JPL request progress and task updates with C. Arnett,
                                          K Montague, N. Simoneaux (A&M)
Zabcik, Kathryn       7/26/2023     0.2   Call to discuss progress made during the Quinn Emmanuel status
                                          call with D. Hainline and K. Zabcik
Zabcik, Kathryn       7/26/2023     0.4   Read the JPL answers to the amended complaint


Zabcik, Kathryn       7/26/2023     1.4   Pull out irrelevant financial data in JL Bahamas discovery request #9
                                          search #2
Zabcik, Kathryn       7/26/2023     2.7   Organize the discovery request list file by linking searches, adding
                                          search result numbers, and fixing formatting
Zabcik, Kathryn       7/26/2023     0.2   Meeting over JPL request progress and task updates with R.
                                          Gordon, C. Broskay, K. Zabcik (A&M)
Zabcik, Kathryn       7/26/2023     1.6   Identify spam emails from 2020 and 2021 in search 2 of JL
                                          Bahamas discovery request #9
Zabcik, Kathryn       7/26/2023     1.3   Expand the time frame for JL Bahamas discovery request #9 search
                                          2
Zabcik, Kathryn       7/26/2023     0.4   Clean up notes and action items from the Quinn Emmanuel call on
                                          7/25
Ardizzoni, Heather    7/27/2023     0.3   Meeting over JPL Relativity search request list and go forward
                                          actions with H. Ardizzoni, K. Zabcik, R. Gordon, and Z. Burns (A&M)
Ardizzoni, Heather    7/27/2023     2.4   Review Relativity search results (#5301-7100 of 8400) and identify
                                          documents relevant to JPL discovery request #25
Ardizzoni, Heather    7/27/2023     0.1   Meeting over JPL request status tracker with C. Broskay, H.
                                          Ardizzoni, M. Mirando, and Z. Burns (A&M)
Ardizzoni, Heather    7/27/2023     1.9   Review Relativity search results (#7101-8400 of 8400) and identify
                                          documents relevant to JPL discovery request #25
Arnett, Chris         7/27/2023     0.3   Teleconference over the Bahamas cooperation agreement with R.
                                          Gordon, C. Arnett, S. Coverick, A. Lawson(A&M)
Arnett, Chris         7/27/2023     0.7   Meeting to discuss strategies for moving forward with JPL Bahamas
                                          discovery requests with A. Kutscher, I. Nesser, M. Anderson, M.
                                          Scheck (Quinn Emanuel), R. Gordon, C. Arnett, C. Broskay, and K.
                                          Zabcik (A&M)
Arnett, Chris         7/27/2023     0.3   Meeting over JPL Relativity search request list and go forward
                                          actions with C. Arnett and N. Simoneaux (A&M)

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Joint Provisional Liquidators
Professional               Date     Hours     Activity
Arnett, Chris           7/27/2023     0.3   Teleconference with R. Gordon, C. Arnett, C. Broskay(A&M) over
                                            next steps for search term alignment
Broskay, Cole           7/27/2023     0.7   Meeting to discuss strategies for moving forward with JPL Bahamas
                                            discovery requests with A. Kutscher, I. Nesser, M. Anderson, M.
                                            Scheck (Quinn Emanuel), R. Gordon, C. Arnett, C. Broskay, and K.
                                            Zabcik (A&M)
Broskay, Cole           7/27/2023     0.1   Meeting over JPL request status tracker with C. Broskay, H.
                                            Ardizzoni, M. Mirando, and Z. Burns (A&M)
Broskay, Cole           7/27/2023     0.3   Meeting over JPL Relativity search request list and go forward
                                            actions with C. Broskay, D. Hainline, M. Mirando (A&M)
Broskay, Cole           7/27/2023     0.3   Teleconference with R. Gordon, C. Arnett, C. Broskay(A&M) over
                                            next steps for search term alignment
Burns, Zach             7/27/2023     2.9   Analyze additional documents in the group 1 JPL requests for
                                            different versions of FTX TOS
Burns, Zach             7/27/2023     0.6   Analyze documents in JPL request group 1 to filter out spam emails

Burns, Zach             7/27/2023     1.7   Analyze documents laying out terms for lines of credit


Burns, Zach             7/27/2023     0.3   Meeting over JPL Relativity search request list and go forward
                                            actions with H. Ardizzoni, K. Zabcik, R. Gordon, and Z. Burns (A&M)
Burns, Zach             7/27/2023     0.1   Meeting over JPL request status tracker with C. Broskay, H.
                                            Ardizzoni, M. Mirando, and Z. Burns (A&M)
Burns, Zach             7/27/2023     0.3   Meeting over updates to the JPL tracker and go forward progress
                                            with K. Zabcik and Z. Burns (A&M)
Burns, Zach             7/27/2023     2.4   Search for JPL grouping 1 items in Relativity to find Relativity
                                            documents
Burns, Zach             7/27/2023     0.8   Adjust format of JPL request 14 search results for better readability


Coverick, Steve         7/27/2023     0.3   Teleconference over the Bahamas cooperation agreement with R.
                                            Gordon, C. Arnett, S. Coverick, A. Lawson(A&M)
Dennison, Kim           7/27/2023     0.3   Review FTX DM JPLs emails regarding correspondence with One
                                            Cable Beach developer
Dennison, Kim           7/27/2023     0.3   Respond to FTX DM JPLs regarding correspondence with One
                                            Cable Beach developer
Dennison, Kim           7/27/2023     1.3   Prepare summary of steps taken by FTX DM JPLs for upcoming
                                            Debtor filings
Dennison, Kim           7/27/2023     0.2   Emails with FTX DM JPLs regarding call to discuss One Cable
                                            Beach rental agreements
Dennison, Kim           7/27/2023     0.4   Attend call with A Lawson (A&M) regarding request for summary of
                                            steps taken by FTX DM JPLs
Gordon, Robert          7/27/2023     0.3   Teleconference over the Bahamas cooperation agreement with R.
                                            Gordon, C. Arnett, S. Coverick, A. Lawson(A&M)
Gordon, Robert          7/27/2023     0.3   Teleconference with R. Gordon, C. Arnett, C. Broskay(A&M) over
                                            next steps for search term alignment




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Joint Provisional Liquidators
Professional            Date     Hours     Activity
Gordon, Robert       7/27/2023     0.7   Meeting to discuss strategies for moving forward with JPL Bahamas
                                         discovery requests with A. Kutscher, I. Nesser, M. Anderson, M.
                                         Scheck (Quinn Emanuel), R. Gordon, C. Arnett, C. Broskay, and K.
                                         Zabcik (A&M)
Gordon, Robert       7/27/2023     0.1   Meeting over JPL request status tracker with R. Gordon, D. Hainline,
                                         K Montague, N. Simoneaux (A&M)
Gordon, Robert       7/27/2023     0.3   Meeting over JPL Relativity search request list and go forward
                                         actions with H. Ardizzoni, K. Zabcik, R. Gordon, and Z. Burns (A&M)
Gordon, Robert       7/27/2023     0.2   Review QE periwinkle results for file count

Hainline, Drew       7/27/2023     0.3   Meeting over JPL Relativity search request list and go forward
                                         actions with C. Broskay, D. Hainline, M. Mirando (A&M)
Hainline, Drew       7/27/2023     0.1   Meeting over JPL request status tracker with R. Gordon, D. Hainline,
                                         K Montague, N. Simoneaux (A&M)
Hainline, Drew       7/27/2023     0.3   Continue to review results of search 1 to identify relevant documents
                                         for discovery related to request 24
Hainline, Drew       7/27/2023     0.2   Update status presentations for progress in JPL discovery process


Hainline, Drew       7/27/2023     0.2   Call to align on JPL Relativity search request list and go forward
                                         actions D. Hainline, M. Mirando (A&M)
Hainline, Drew       7/27/2023     0.2   Call to discuss strategies for dividing JPL Search terms comparison
                                         across working teams with D. Hainline and K. Zabcik
Lawson, Alex         7/27/2023     0.4   Attend call with K Dennison (A&M) regarding request for summary of
                                         steps taken by FTX DM JPLs
Mirando, Michael     7/27/2023     0.2   Call to align on JPL Relativity search request list and go forward
                                         actions D. Hainline, M. Mirando (A&M)
Mirando, Michael     7/27/2023     0.3   Meeting over JPL Relativity search request list and go forward
                                         actions with C. Broskay, D. Hainline, M. Mirando (A&M)
Mirando, Michael     7/27/2023     2.9   Compile a list of documents related to intercompany cash and fiat
                                         transfers for FTX Digital Markets discovery request
Mirando, Michael     7/27/2023     0.1   Meeting over JPL request status tracker with C. Broskay, H.
                                         Ardizzoni, M. Mirando, and Z. Burns (A&M)
Mirando, Michael     7/27/2023     2.6   Review search results from Relativity to determine relevance to
                                         discovery requests
Mirando, Michael     7/27/2023     1.9   Review search terms provided by the Joint Provisional Liquidators
                                         for FTX Digital Markets Ltd
Mirando, Michael     7/27/2023     1.4   Revise the discovery search criteria for the Joint Provisional
                                         Liquidators for FTX Digital Markets Ltd
Mirando, Michael     7/27/2023     2.3   Review analysis of intercompany transfers between FTX Trading Ltd
                                         and FTX Digital Markets Ltd
Montague, Katie      7/27/2023     0.1   Meeting over JPL request status tracker with R. Gordon, D. Hainline,
                                         K Montague, N. Simoneaux (A&M)
Simoneaux, Nicole    7/27/2023     2.6   Review documents in relativity identified through specific search
                                         terms for JPL discovery relevance
Simoneaux, Nicole    7/27/2023     0.3   Meeting over JPL Relativity search request list and go forward
                                         actions with C. Arnett and N. Simoneaux (A&M)

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Joint Provisional Liquidators
Professional             Date     Hours     Activity
Simoneaux, Nicole     7/27/2023     0.1   Meeting over JPL request status tracker with R. Gordon, D. Hainline,
                                          K Montague, N. Simoneaux (A&M)
Zabcik, Kathryn       7/27/2023     0.3   Meeting over updates to the JPL tracker and go forward progress
                                          with K. Zabcik and Z. Burns (A&M)
Zabcik, Kathryn       7/27/2023     0.3   Meeting over JPL Relativity search request list and go forward
                                          actions with H. Ardizzoni, K. Zabcik, R. Gordon, and Z. Burns (A&M)
Zabcik, Kathryn       7/27/2023     0.7   Meeting to discuss strategies for moving forward with JPL Bahamas
                                          discovery requests with A. Kutscher, I. Nesser, M. Anderson, M.
                                          Scheck (Quinn Emanuel), R. Gordon, C. Arnett, C. Broskay, and K.
                                          Zabcik (A&M)
Zabcik, Kathryn       7/27/2023     1.9   Identify spam emails for July to November of 2022 for JL Bahamas
                                          discovery request #9 search #2
Zabcik, Kathryn       7/27/2023     2.2   Identify unrelated intercompany emails for JL Bahamas discovery
                                          request #9 search #2
Zabcik, Kathryn       7/27/2023     1.1   Match JPL Search terms to the discovery request list

Zabcik, Kathryn       7/27/2023     0.8   Clean up discover list workbook ahead of meeting with Quinn
                                          Emmanuel
Zabcik, Kathryn       7/27/2023     0.2   Call to discuss strategies for dividing JPL Search terms comparison
                                          across working teams with D. Hainline and K. Zabcik
Zabcik, Kathryn       7/27/2023     0.6   Review open discovery list items to update status


Zabcik, Kathryn       7/27/2023     2.1   Identify spam emails for January to June of 2022 for JL Bahamas
                                          discovery request #9 search #2
Ardizzoni, Heather    7/28/2023     1.6   Review documents for relevance resulting from search terms and
                                          criteria (search #3) specified by QE related to JPL requests #39 & 40
Ardizzoni, Heather    7/28/2023     0.3   Meeting over JPL search term process and revisions with C.
                                          Broskay, H. Ardizzoni, K. Zabcik, Z. Burns (A&M)
Ardizzoni, Heather    7/28/2023     1.8   Review documents for relevance resulting from search terms and
                                          criteria (search #2) specified by QE related to JPL requests #39 & 40
Ardizzoni, Heather    7/28/2023     0.3   Run Relativity searches with criteria and search terms specified by
                                          QE related to JPL discovery requests #39 & 40
Ardizzoni, Heather    7/28/2023     0.4   Call to align on approach to updating Relativity search criteria
                                          provided by the Joint Provisional Liquidators for FTX Digital Markets
                                          Ltd H. Ardizzoni, K. Zabcik, M. Jones, Z. Burns (A&M)
Ardizzoni, Heather    7/28/2023     2.1   Review documents for relevance resulting from search terms and
                                          criteria (search #1) specified by QE related to JPL requests #39 & 40
Arnett, Chris         7/28/2023     0.2   Review progress of data collection to date and direct next steps with
                                          team
Arnett, Chris         7/28/2023     0.3   Meeting over JPL search term process and revisions with C. Arnett,
                                          K. Montague, N. Simoneaux, D. Hainline, and M. Mirando (A&M)
Arnett, Chris         7/28/2023     0.5   Meeting to discuss JPL search term comparison and A&M discovery
                                          search term recommendations with A. Kutscher (Quinn Emanuel),
                                          R. Gordon, C. Arnett, C. Broskay, and K. Zabcik (A&M)
Broskay, Cole         7/28/2023     0.5   Meeting to discuss JPL search term comparison and A&M discovery
                                          search term recommendations with A. Kutscher (Quinn Emanuel),
                                          R. Gordon, C. Arnett, C. Broskay, and K. Zabcik (A&M)

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Joint Provisional Liquidators
Professional                Date    Hours     Activity
Broskay, Cole           7/28/2023     0.3   Meeting over JPL search term process and revisions with C.
                                            Broskay, H. Ardizzoni, K. Zabcik, Z. Burns (A&M)
Burns, Zach             7/28/2023     0.4   Call to align on approach to updating Relativity search criteria
                                            provided by the Joint Provisional Liquidators for FTX Digital Markets
                                            Ltd H. Ardizzoni, K. Zabcik, M. Jones, Z. Burns (A&M)
Burns, Zach             7/28/2023     1.1   Analyze documents in JPL request 63 for summary balances on
                                            FTX Exchange
Burns, Zach             7/28/2023     1.8   Continue analyzing documents for summary balances on FTX
                                            international exchange for institutional investors
Burns, Zach             7/28/2023     1.2   Adjust search parameters for requests in 1st JPL groupings


Burns, Zach             7/28/2023     1.9   Search for results relating to migration plan in JPL request 12

Burns, Zach             7/28/2023     1.6   Analyze documents in request 12 from JPL for documents relevant
                                            to migration
Burns, Zach             7/28/2023     0.3   Meeting over JPL search term process and revisions with C.
                                            Broskay, H. Ardizzoni, K. Zabcik, Z. Burns (A&M)
Dennison, Kim           7/28/2023     0.8   Attend call with JPLS and A Lawson (A&M) regarding one cable
                                            beach rental agreement FTX Property Holdings
Dennison, Kim           7/28/2023     1.2   Further email correspondence with FTX DM JPLs regarding edits to
                                            rental agreement
Dennison, Kim           7/28/2023     0.8   Review & edit rental agreement and provide comments to FTX DM
                                            JPLs
Gordon, Robert          7/28/2023     0.5   Meeting to discuss JPL search term comparison and A&M discovery
                                            search term recommendations with A. Kutscher (Quinn Emanuel),
                                            R. Gordon, C. Arnett, C. Broskay, and K. Zabcik (A&M)
Hainline, Drew          7/28/2023     0.6   Run proposed search terms with JPL restricted parameters to
                                            confirm new record counts
Hainline, Drew          7/28/2023     0.6   Review progress of JPL mapping of search terms provided by the
                                            JPL
Hainline, Drew          7/28/2023     1.4   Rationalize search terms requested by JPL against discovery
                                            request list and internally identified search terms to support
                                            completeness
Hainline, Drew          7/28/2023     0.4   Perform comparison of original searches against updates searches
                                            with JPL filters to assess impact
Hainline, Drew          7/28/2023     0.3   Meeting over JPL search term process and revisions with C. Arnett,
                                            K. Montague, N. Simoneaux, D. Hainline, and M. Mirando (A&M)
Hainline, Drew          7/28/2023     0.4   Internal alignment on Relativity search criteria provided by the JPL
                                            for FTX Digital Markets Ltd
Jones, Mackenzie        7/28/2023     0.4   Call to align on approach to updating Relativity search criteria
                                            provided by the Joint Provisional Liquidators for FTX Digital Markets
                                            Ltd H. Ardizzoni, K. Zabcik, M. Jones, Z. Burns (A&M)
Lawson, Alex            7/28/2023     0.4   Review sales valuation and holding costs for FTX Property Holdings

Lawson, Alex            7/28/2023     0.8   Attend call with JPLS and K Dennison (A&M) regarding one cable
                                            beach rental agreement FTX Property Holdings


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Joint Provisional Liquidators
Professional              Date     Hours     Activity
Mirando, Michael       7/28/2023     1.7   Generate new search terms for discovery requests from the Joint
                                           Provisional Liquidators for FTX Digital Markets Ltd
Mirando, Michael       7/28/2023     0.4   Internal alignment on Relativity search criteria provided by the JPL
                                           for FTX Digital Markets Ltd
Mirando, Michael       7/28/2023     0.3   Meeting over JPL search term process and revisions with C. Arnett,
                                           K. Montague, N. Simoneaux, D. Hainline, and M. Mirando (A&M)
Mirando, Michael       7/28/2023     1.4   Review search results related to intercompany service agreements
                                           discovery requests for the Joint Provisional Liquidators for FTX
                                           Digital Markets Ltd
Mirando, Michael       7/28/2023     2.2   Review updated search criteria for the Joint Provisional Liquidators
                                           for FTX Digital Markets Ltd
Mirando, Michael       7/28/2023     2.6   Update Relativity search criteria provided by the Joint Provisional
                                           Liquidators for FTX Digital Markets Ltd
Montague, Katie        7/28/2023     0.3   Meeting over JPL search term process and revisions with C. Arnett,
                                           K. Montague, N. Simoneaux, D. Hainline, and M. Mirando (A&M)
Mosley, Ed             7/28/2023     2.4   Review of update on JPL documentation for adversarial proceeding


Paterson, Warren       7/28/2023     0.3   Attend call with B Simms, P Greaves, P Hickman (FTX DM JPLs)
                                           regarding One Cable Beach properties
Simoneaux, Nicole      7/28/2023     1.7   Continue to assess the relevance of JPL discovery in regards to
                                           requests 1-9 from QE
Simoneaux, Nicole      7/28/2023     2.2   Review identified potential JPL discovery candidates for requests 1-
                                           9 to assess relevance
Simoneaux, Nicole      7/28/2023     0.3   Meeting over JPL search term process and revisions with C. Arnett,
                                           K. Montague, N. Simoneaux, D. Hainline, and M. Mirando (A&M)
Zabcik, Kathryn        7/28/2023     0.4   Call to align on approach to updating Relativity search criteria
                                           provided by the Joint Provisional Liquidators for FTX Digital Markets
                                           Ltd H. Ardizzoni, K. Zabcik, M. Jones, Z. Burns (A&M)
Zabcik, Kathryn        7/28/2023     0.6   Review JPL Search term mappings to discovery list items completed
                                           by other team members
Zabcik, Kathryn        7/28/2023     2.7   Review JPL Request group 1 JPL search terms to recommend new
                                           or refined search terms
Zabcik, Kathryn        7/28/2023     1.4   Review JPL discovery Request #9 JPL search terms to recommend
                                           new or refined search terms
Zabcik, Kathryn        7/28/2023     1.6   Review JPL discovery Request #10 JPL search terms to
                                           recommend new or refined search terms
Zabcik, Kathryn        7/28/2023     0.3   Meeting over JPL search term process and revisions with C.
                                           Broskay, H. Ardizzoni, K. Zabcik, Z. Burns (A&M)
Zabcik, Kathryn        7/28/2023     0.5   Meeting to discuss JPL search term comparison and A&M discovery
                                           search term recommendations with A. Kutscher (Quinn Emanuel),
                                           R. Gordon, C. Arnett, C. Broskay, and K. Zabcik (A&M)
Ardizzoni, Heather     7/31/2023     0.2   Meeting to JPL discovery progress and general JPL case updates
                                           with R. Gordon, H. Ardizzoni, Z. Burns, and K. Zabcik (A&M)
Ardizzoni, Heather     7/31/2023     1.3   Incorporate new information and data into summary of Cooperation
                                           Agreement key provisions and actions taken by both parties



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Joint Provisional Liquidators
Professional               Date     Hours     Activity
Arnett, Chris           7/31/2023     0.2   Meeting to JPL discovery progress and general JPL case updates
                                            with C. Arnett, C. Broskay, K. Montague, N. Simoneaux (A&M)
Arnett, Chris           7/31/2023     0.6   Review and direct next steps on subset of diligence project queries


Arnett, Chris           7/31/2023     0.3   Review and comment on JPL revised search terms related to
                                            document discovery
Arnett, Chris           7/31/2023     0.2   Discuss data collection progress with C. Arnett and K. Montague
                                            (A&M)
Arnett, Chris           7/31/2023     0.2   Discuss data collection progress with C. Arnett and N. Simoneaux
                                            (A&M)
Broskay, Cole           7/31/2023     0.2   Meeting to JPL discovery progress and general JPL case updates
                                            with C. Arnett, C. Broskay, K. Montague, N. Simoneaux (A&M)
Burns, Zach             7/31/2023     0.7   Compile documents related to FTX Digital Markets for JPL request
                                            65
Burns, Zach             7/31/2023     0.2   Meeting to JPL discovery progress and general JPL case updates
                                            with R. Gordon, H. Ardizzoni, Z. Burns, and K. Zabcik (A&M)
Burns, Zach             7/31/2023     1.6   Analyze documents relating to fund and crypto withdrawals for JPL
                                            request 7
Burns, Zach             7/31/2023     0.6   Analyze documents relating to CFT policy for JPL request 52

Burns, Zach             7/31/2023     2.3   Analyze customer support language in terms of service documents
                                            for JPL request
Burns, Zach             7/31/2023     1.1   Analyze account closure documents for JPL request 6


Burns, Zach             7/31/2023     1.4   Analyze documents relating to AML policy for JPL request 51

Dennison, Kim           7/31/2023     0.6   Attend call re JPLs and one cable beach rental agreement with E
                                            Simpson (S&C) K Dennison (A&M) J Maynard (Maynard &
                                            Associates)
Dennison, Kim           7/31/2023     1.5   Analyze comments as a result of correspondence with FTX DM
                                            JPLs regarding edits to rental agreement
Gordon, Robert          7/31/2023     0.4   Review JPL discovery tracker for latest status of discovery results

Gordon, Robert          7/31/2023     0.2   Meeting to JPL discovery progress and general JPL case updates
                                            with R. Gordon, H. Ardizzoni, Z. Burns, and K. Zabcik (A&M)
Gordon, Robert          7/31/2023     0.6   Review notes on cooperation agreement

Hainline, Drew          7/31/2023     0.4   Review results from request 8 search 1 for relevant documents for
                                            JPL discovery
Hainline, Drew          7/31/2023     0.8   Review results from request 8 search 2 for relevant documents for
                                            JPL discovery
Hainline, Drew          7/31/2023     0.6   Review results from request 8 search 3 for relevant documents for
                                            JPL discovery
Hainline, Drew          7/31/2023     0.3   Review and update status materials for JPL discover process related
                                            to adversarial claim


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Joint Provisional Liquidators
Professional             Date    Hours     Activity
Hainline, Drew       7/31/2023     0.2   Meeting to JPL discovery progress and general JPL case updates
                                         with D. Hainline, M. Mirando (A&M)
Hainline, Drew       7/31/2023     0.3   Prepare template for review of request 8 search 3 results


Jones, Mackenzie     7/31/2023     1.9   Review supporting documentation for JPL adversarial complaint

Jones, Mackenzie     7/31/2023     2.6   Read all docket items related to the JPL case

Lawson, Alex         7/31/2023     0.6   Attend call re JPLs and one cable beach rental agreement with E
                                         Simpson (S&C) K Dennison (A&M) J Maynard (Maynard &
                                         Associates)
Mirando, Michael     7/31/2023     2.9   Search Relativity for documents related to intercompany transfers

Mirando, Michael     7/31/2023     1.3   Review Relativity search results related to service agreements

Mirando, Michael     7/31/2023     2.1   Review Relativity search results related to intercompany transfers
                                         from Silvergate bank accounts
Mirando, Michael     7/31/2023     1.6   Review Relativity search results related to intercompany transfers
                                         from Signet bank accounts
Mirando, Michael     7/31/2023     2.9   Review Relativity search results related to intercompany transfers
                                         from Signature bank accounts
Mirando, Michael     7/31/2023     0.2   Meeting to JPL discovery progress and general JPL case updates
                                         with D. Hainline, M. Mirando (A&M)
Montague, Katie      7/31/2023     0.2   Meeting to JPL discovery progress and general JPL case updates
                                         with C. Arnett, C. Broskay, K. Montague, N. Simoneaux (A&M)
Montague, Katie      7/31/2023     0.2   Discuss data collection progress with C. Arnett and K. Montague
                                         (A&M)
Simoneaux, Nicole    7/31/2023     1.1   Create new Relativity document extraction listings in regards to
                                         inquiries 10-15 for further review
Simoneaux, Nicole    7/31/2023     2.3   Continue to assess the relevance of JPL discovery in regards to
                                         requests 10-15 from QE
Simoneaux, Nicole    7/31/2023     2.3   Review identified potential JPL discovery candidates for requests 10-
                                         15 to assess relevance
Simoneaux, Nicole    7/31/2023     0.2   Meeting to JPL discovery progress and general JPL case updates
                                         with C. Arnett, C. Broskay, K. Montague, N. Simoneaux (A&M)
Simoneaux, Nicole    7/31/2023     1.8   Review documents using revised search terms based on input from
                                         QE regarding requests 1-9
Zabcik, Kathryn      7/31/2023     1.8   Clean up JL Bahamas discovery workbook by adding critical
                                         document flags and correcting formatting for each search
Zabcik, Kathryn      7/31/2023     2.9   Flag critical discovery documents for JL discovery request #3 search
                                         #3
Zabcik, Kathryn      7/31/2023     0.2   Meeting to JPL discovery progress and general JPL case updates
                                         with R. Gordon, H. Ardizzoni, Z. Burns, and K. Zabcik (A&M)
Zabcik, Kathryn      7/31/2023     0.6   Organize the work plan for the rest of the business day for the JL
                                         Bahamas team members


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Joint Provisional Liquidators
Professional               Date     Hours     Activity
Zabcik, Kathryn         7/31/2023      1.6   Review open discovery list items to identify any additional searches
                                             that are not part of the JPL search terms

Subtotal                             784.8

Liquidation Analysis
Professional               Date     Hours     Activity
Sullivan, Christopher    7/5/2023      1.3   Review latest updates for the decon model for additional scenarios

Coverick, Steve          7/6/2023      1.4   Review and provide comments on separate subsidiaries liquidation
                                             analyses
Sullivan, Christopher    7/7/2023      1.9   Review updated separate subsidiary wind-down estimates

Sullivan, Christopher    7/7/2023      1.1   Provide detailed comments to the updated intercompany schedules
                                             for the decon model
Sullivan, Christopher    7/8/2023      1.1   Synthesize local team analyses on separate subsidiaries


Sullivan, Christopher   7/10/2023      1.9   Update best interest test for revised crypto assumptions

Sullivan, Christopher   7/10/2023      0.8   Provide comments to the model workflow presentation for the decon
                                             model
Trent, Hudson           7/11/2023      1.3   Incorporate various toggles for matrices in Liquidation Analysis
                                             model
Trent, Hudson           7/11/2023      2.9   Prepare updated structure for Liquidation Analysis model


Trent, Hudson           7/11/2023      2.2   Prepare alternative Liquidation Analysis outputs utilizing specific
                                             digital asset allocation methodology
Trent, Hudson           7/11/2023      1.6   Incorporate latest Superpriority cash matrices and link in Liquidation
                                             Analysis model
Trent, Hudson           7/11/2023      0.7   Incorporate latest intercompany matrices and link in Liquidation
                                             Analysis model
Trent, Hudson           7/11/2023      1.2   Incorporate latest equity matrix and link in Liquidation Analysis model

Trent, Hudson           7/11/2023      1.9   Prepare updated Liquidation Analysis model structure materials
                                             following internal A&M feedback
Sullivan, Christopher   7/12/2023      0.9   Working session with C. Sullivan & H. Trent (A&M) to compare
                                             dotcom recoveries under various scenarios
Sullivan, Christopher   7/12/2023      1.8   Update the decon analysis deck for BoD update call


Sullivan, Christopher   7/12/2023      1.9   Create dotcom recovery bridge between various scenarios

Sullivan, Christopher   7/12/2023      0.9   Investigate GUC recovery ranges under various decon scenarios

Sullivan, Christopher   7/12/2023      0.6   Develop SubCon model support slides for latest plan deck



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Liquidation Analysis
Professional               Date     Hours     Activity
Sullivan, Christopher   7/12/2023      1.7   Review decon analysis updates for revised crypto tracing efforts

Sullivan, Christopher   7/12/2023      0.8   Working session with C. Sullivan and H. Trent (A&M) to analyze
                                             various crypto tax scenarios
Trent, Hudson           7/12/2023      0.8   Working session with C. Sullivan and H. Trent (A&M) to analyze
                                             various crypto tax scenarios
Trent, Hudson           7/12/2023      0.9   Working session with C. Sullivan & H. Trent (A&M) to compare
                                             dotcom recoveries under various scenarios
Sullivan, Christopher   7/13/2023      3.1   Working session regarding Liquidation model with C. Sullivan & H.
                                             Trent (A&M)
Trent, Hudson           7/13/2023      3.1   Working session regarding Liquidation model with C. Sullivan & H.
                                             Trent (A&M)
Sullivan, Christopher   7/14/2023      3.3   Working session with C. Sullivan & H. Trent (A&M) to review
                                             revisions to decon model scenarios
Trent, Hudson           7/14/2023      3.3   Working session with C. Sullivan & H. Trent (A&M) to review
                                             revisions to decon model scenarios
Trent, Hudson           7/17/2023      2.2   Update Liquidation Analysis model based on internal A&M feedback


Trent, Hudson           7/18/2023      1.9   Prepare consolidated listing of drivers for Liquidation Analysis model

Trent, Hudson           7/18/2023      2.6   Develop review analysis for various circular calculations in
                                             Liquidation Analysis model
Sullivan, Christopher   7/19/2023      1.2   Detail review latest turn of model refreshes for decon


Trent, Hudson           7/19/2023      1.9   Prepare overview of Liquidation Analysis model prior to circulating
                                             for review
Coverick, Steve         7/24/2023      0.3   Discuss best interest test status updates with H. Trent (A&M)


Trent, Hudson           7/24/2023      0.3   Discuss best interest test status updates with S. Coverick and H.
                                             Trent (A&M)

Subtotal                              54.8

Litigation
Professional               Date     Hours     Activity
Konig, Louis             7/4/2023      1.3   Documentation of findings related to subpoena request for targeted
                                             wallet and transaction information
Konig, Louis             7/4/2023      1.8   Quality control and review of output related to subpoena request for
                                             targeted wallet and transaction information
Coverick, Steve          7/6/2023      0.3   Discuss Bahamas litigation status with E. Mosley (A&M)

Mosley, Ed               7/6/2023      0.3   Discuss Bahamas litigation status with S. Coverick (A&M)

Coverick, Steve          7/7/2023      0.9   Call with S. Coverick, L. Ryan, M. Shanahan, R. Gordon, A. Canale
                                             (A&M) M. Scheck, M. Anderson (QE) regarding FTX Bahamas
                                             litigation

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Litigation
Professional              Date     Hours     Activity
Coverick, Steve         7/7/2023      2.1   Prepare workstream tracker for Bahamas litigation process

Coverick, Steve         7/7/2023      0.2   Call with R. Gordon (A&M) to discuss discovery parties for Bahamas
                                            litigation
Ryan, Laureen           7/7/2023      0.9   Call with S. Coverick, L. Ryan, M. Shanahan, R. Gordon, A. Canale
                                            (A&M) M. Scheck, M. Anderson (QE) regarding FTX Bahamas
                                            litigation
Shanahan, Michael       7/7/2023      0.9   Call with S. Coverick, L. Ryan, M. Shanahan, R. Gordon, A. Canale
                                            (A&M) M. Scheck, M. Anderson (QE) regarding FTX Bahamas
                                            litigation
Johnston, David        7/10/2023      3.1   Conduct initial review of motion relating to FTX Europe, provide
                                            comments
van den Belt, Mark     7/10/2023      2.2   Review financial facts related to FTX Europe court motion


Coverick, Steve        7/11/2023      0.7   Call with R. Gordon, S. Coverick, K. Kearney, K. Ramanathan
                                            (A&M), M. Scheck, A. McKenzie (QE) to discuss discovery requests
Johnston, David        7/12/2023      1.8   Review updates to and coordinate research for draft motion relating
                                            to FTX Europe
Bruck, Ran             7/17/2023      0.3   Call to discuss relativity search for FTX Digital Markets agreement
                                            R. Bruck, M. Mirando
Balmelli, Gioele       7/19/2023      2.7   Prepare supporting materials for FTX court filing


Johnston, David        7/19/2023      1.2   Preliminary review of support for filed complaint relating to FTX
                                            Europe
Konig, Louis           7/25/2023      1.1   Documentation of findings related to targeted account requests
                                            related to subpoenas
Konig, Louis           7/25/2023      1.8   Database scripting related to targeted account requests related to
                                            subpoenas
Konig, Louis           7/25/2023      1.4   Quality control and review of output related to targeted account
                                            requests related to subpoenas
Johnston, David        7/28/2023      1.4   Review BDO valuation report and identify key assumptions



Subtotal                             26.4

Motions and Related Support
Professional              Date     Hours     Activity
Mosley, Ed              7/3/2023      0.9   Review of management considerations for potential crypto
                                            management motion
Esposito, Rob           7/6/2023      0.3   Prepare parties-in-interest response to the S&C team

Esposito, Rob           7/6/2023      0.3   Review of comments and changes to the draft customer bar date
                                            email
Myers, Claire           7/6/2023      0.9   Analyze PII list for full names of priority parties




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Motions and Related Support
Professional               Date     Hours     Activity
van den Belt, Mark      7/13/2023      1.1   Review and comment on the proposed draft motion relating to FTX
                                             EU Ltd
Johnston, David         7/14/2023      2.1   Review and update motion to dismiss and supporting declaration for
                                             FTX debtor
van den Belt, Mark      7/14/2023      1.6   Review draft motion relating to FTX EU Ltd

Coverick, Steve         7/17/2023      0.5   Call with J. Ray (FTX), A. Dietderich, A. Kranzley, J. Kapoor (S&C),
                                             K. Ramanathan, S. Coverick (A&M) re: asset management motions
Esposito, Rob           7/17/2023      0.6   Review of data to support Mosley declaration


Esposito, Rob           7/17/2023      0.3   Review of redactions within affidavit of service for response to Kroll
                                             team
Ramanathan, Kumanan     7/17/2023      0.5   Call with J. Ray (FTX), S. Coverick, E. Mosley, K. Ramanathan
                                             (A&M), J. Kapoor, A. Kranzley, A. Dietderich (S&C) to discuss crypto
                                             hedging and other matters
Coverick, Steve         7/18/2023      0.2   Discuss asset sale motion with K. Ramanathan (A&M)


Ramanathan, Kumanan     7/18/2023      0.2   Discuss asset sale motion with S. Coverick (A&M)

Mosley, Ed              7/24/2023      0.5   Call with E. Mosley, S. Coverick and D. Johnston (A&M) to discuss
                                             FTX Europe next steps and upcoming motions
Balmelli, Gioele        7/26/2023      0.6   Review updated FTX Europe support pack for court motion

Johnston, David         7/26/2023      1.2   Review and update motion relating to FTX EU Ltd


Johnston, David         7/26/2023      1.2   Review and update motion relating to FTX Exchange FZE

van den Belt, Mark      7/31/2023      2.6   Prepare support materials for FTX EU Ltd. court motion



Subtotal                              15.6

Non-working Travel (Billed at 50%)
Professional               Date     Hours     Activity
Chamma, Leandro          7/9/2023      1.0   Client Travel to Charlotte, NC from New York, NY at 50% billable
                                             time
Chamma, Leandro         7/12/2023      0.1   Client Travel to New York, NY from Charlotte, NC at 50% billable
                                             time
Esposito, Rob           7/16/2023      0.1   Client travel to Houston, TX from Tampa, FL at 50% billable time

Faett, Jack             7/16/2023      1.3   Client Travel to Houston, TX from Chicago, IL at 50% billable time


Francis, Luke           7/16/2023      0.1   Client travel from Chicago, IL (ORD) to Houston, TX (IAH) at 50%
                                             billable time
Broskay, Cole           7/17/2023      0.1   Client Travel to Houston, TX from San Antonio, TX at 50% Billabile
                                             Time

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Non-working Travel (Billed at 50%)
Professional               Date     Hours     Activity
Jones, Mackenzie        7/18/2023     0.1   Client travel to Houston, TX from Dallas, TX at 50% billable time

Broskay, Cole           7/20/2023     0.1   Client Travel to San Antonio, TX from Houston, TX at 50% Billabile
                                            Time
Esposito, Rob           7/20/2023     0.1   Client travel to Tampa, FL from San Antonio, TX at 50% billable time

Faett, Jack             7/20/2023     0.2   Client Travel to Chicago, IL from Houston, TX at 50% billable time

Jones, Mackenzie        7/20/2023     0.1   Client travel from Houston, TX to Dallas, TX at 50% billable time


Francis, Luke           7/21/2023     0.1   Client travel from Houston, TX (IAH) to Chicago, IL (ORD) at 50%
                                            billable time
Broskay, Cole           7/25/2023     0.7   Client Travel to Houston, TX from San Antonio, TX at 50% Billabile
                                            Time
Jones, Mackenzie        7/25/2023     0.1   Client travel to Houston, TX from Dallas, TX at 50% billable time

Broskay, Cole           7/27/2023     0.2   Client Travel to San Antonio, TX from Houston, TX at 50% Billabile
                                            Time
Jones, Mackenzie        7/27/2023     0.1   Client travel to Houston, TX from Dallas, TX at 50% billable time

Kearney, Kevin          7/30/2023     2.0   Client Travel to New York, NY from Minneapolis, MN at 50% billable
                                            time
Broskay, Cole           7/31/2023     0.9   Client Travel to Houston, TX from San Antonio, TX at 50% Billabile
                                            Time
Bruck, Ran              7/31/2023     1.7   Client Travel to New York, NY from Houston, TX at 50% billable time



Subtotal                              9.1

Schedules and Statements
Professional               Date     Hours     Activity
Francis, Luke            7/1/2023     1.3   Review of insider payments to charitable organizations from debtor
                                            accounts for their benefit
Francis, Luke            7/1/2023     1.5   Analysis of debtor payments to charitable organizations for SOFA 9


Francis, Luke            7/1/2023     1.4   Review of filed claims summary to provide liability changes by silo

Francis, Luke            7/1/2023     1.2   Review of insider payments made to them through debtor exchange
                                            accounts
Gonzalez, Johnny         7/1/2023     0.5   Working session with J. Gonzalez, D. Slay (A&M) to update the
                                            customer entitlements slides for the S&S presentation
Gonzalez, Johnny         7/1/2023     0.4   Working session with C. Sullivan, J. Gonzalez & D. Slay (A&M) on
                                            updates to customer entitlements bridge
Gonzalez, Johnny         7/1/2023     0.7   Format the customer entitlements bridge for new crypto numbers



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Professional               Date     Hours     Activity
Konig, Louis             7/1/2023     1.8   Documentation of findings related to update of balance schedules to
                                            incorporate derivative positions
Konig, Louis             7/1/2023     2.5   Database scripting related to creation of updated balance schedule
                                            detail file
Mosley, Ed               7/1/2023     2.1   Review of and provide comments to draft presentation to
                                            management and UCC regarding amended SOFA / SOALs
                                            variances and drivers vs original
Slay, David              7/1/2023     0.5   Working session with J. Gonzalez, D. Slay (A&M) to update the
                                            customer entitlements slides for the S&S presentation
Sullivan, Christopher    7/1/2023     1.1   Incorporate comments from D. Johnston & E. Mosely (A&M) on
                                            further edits to the S&S deck
Sullivan, Christopher    7/1/2023     0.8   Review updated commentary for bridge from 3/15 to 6/27 S&S

Sullivan, Christopher    7/1/2023     0.4   Working session with C. Sullivan, J. Gonzalez & D. Slay (A&M) on
                                            updates to customer entitlements bridge
Esposito, Rob            7/2/2023     0.3   Discuss locked token scheduling and values with K Ramanathan &
                                            R Esposito (A&M)
Francis, Luke            7/2/2023     1.7   Analysis of payments to charitable organization with crypto

Francis, Luke            7/2/2023     1.5   Review of SOFA 4 payments from 3.15 filing for amendment
                                            changes
Francis, Luke            7/2/2023     1.6   Review of 90 day payments for loan repayments to creditors

Konig, Louis             7/2/2023     2.3   Quality control and review of output related to creation of updated
                                            balance schedule detail file
Konig, Louis             7/2/2023     1.9   Database scripting related to subpoena request for targeted wallet
                                            and transaction information
Konig, Louis             7/2/2023     2.4   Documentation of findings related to creation of updated balance
                                            schedule detail file
Ramanathan, Kumanan      7/2/2023     0.3   Discuss locked token scheduling and values with K Ramanathan &
                                            R Esposito (A&M)
Sullivan, Christopher    7/2/2023     0.6   Review schedule of contingent claims and provide feedback to team

Francis, Luke            7/3/2023     1.4   Review of payments in crypto to creditors through exchange


Francis, Luke            7/3/2023     1.4   Analysis of investments funded within the 90 days prior to filing

Francis, Luke            7/3/2023     1.3   Review of asset schedules for property within the DOTCOM silo


Francis, Luke            7/3/2023     1.6   Review of insider donations on behalf of insiders through debtor
                                            bank accounts
Gany, Jared              7/3/2023     1.6   Update SOFA 3 payments database to change counterparty
                                            mappings
Gany, Jared              7/3/2023     2.1   Research SOFA 3 counterparties to determine counterparty type




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Professional             Date     Hours      Activity
Johnson, Robert        7/3/2023      0.4   Call with L. Konig, R. Johnson, P. Kwan, J. Zatz (A&M) to discuss
                                           reconciliation observations between schedule and claims
Konig, Louis           7/3/2023      1.9   Documentation of findings related to subpoena request for targeted
                                           wallet and transaction information
Konig, Louis           7/3/2023      1.4   Quality control and review of output related to subpoena request for
                                           targeted wallet and transaction information
Konig, Louis           7/3/2023      0.4   Call with L. Konig, R. Johnson, P. Kwan, J. Zatz (A&M) to discuss
                                           reconciliation observations between schedule and claims
Kwan, Peter            7/3/2023      0.4   Call with L. Konig, R. Johnson, P. Kwan, J. Zatz (A&M) to discuss
                                           reconciliation observations between schedule and claims
Zatz, Jonathan         7/3/2023      2.6   Root cause reason for some NFTs appearing twice in schedule

Zatz, Jonathan         7/3/2023      1.7   Database scripting related to request to extract subset of schedule
                                           data for specific debtor
Zatz, Jonathan         7/3/2023      1.8   Root cause reason for three NFT holders being flagged as
                                           Contingent
Zatz, Jonathan         7/3/2023      0.4   Call with L. Konig, R. Johnson, P. Kwan, J. Zatz (A&M) to discuss
                                           reconciliation observations between schedule and claims
Francis, Luke          7/4/2023      1.4   Review of transfers of crypto to insiders through the exchange

Francis, Luke          7/4/2023      1.1   Analysis of investments funded for updates to asset schedules

Konig, Louis           7/4/2023      0.7   Database scripting related to analysis of differences between
                                           amended schedule data and portal data
Konig, Louis           7/4/2023      1.2   Database scripting related to creation of amended schedule data set
                                           for the customer facing portal
Konig, Louis           7/4/2023      1.6   Documentation of findings related to creation of amended schedule
                                           data set for the customer facing portal
Konig, Louis           7/4/2023      2.8   Quality control and review of output related to creation of amended
                                           schedule data set for the customer facing portal
Lewandowski, Douglas   7/4/2023      0.4   Review customer inquiries from Kroll and correspond with Kroll
                                           regarding responses
Clayton, Lance         7/5/2023      2.6   Review reconciliation from acct and incorporate updates

Clayton, Lance         7/5/2023      1.4   Prepare comments for acct team re: stmtsch reconciliation

Clayton, Lance         7/5/2023      2.8   Create reconciliation for updated STMTSCH and venture book


Clayton, Lance         7/5/2023      0.4   Call with L. Francis, and L. Clayton (A&M) re: Venture portfolio
                                           alignment review
Esposito, Rob          7/5/2023      0.6   Prepare updated timeline and workstreams for non-customer related
                                           Statements/Schedules amendments
Esposito, Rob          7/5/2023      0.2   Conference with R Gordon and R Esposito (A&M) to discuss
                                           financial data for Statements/Schedules amendments




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Esposito, Rob            7/5/2023     0.2   Conference with L Ryan and R Esposito (A&M) to discuss customer
                                            exchange transactions
Esposito, Rob            7/5/2023     0.4   Conference with J Gany, L Francis and R Esposito (A&M) to discuss
                                            the Statements/Schedules amendment workstreams
Faett, Jack              7/5/2023     0.4   Call with S. Glustein, W. Walker, K. Kearney, J. Faett (A&M) re:
                                            Venture portfolio alignment
Francis, Luke            7/5/2023     1.5   Review of investment assets for equity investments for Ventures silo
                                            entities
Francis, Luke            7/5/2023     1.4   Review of investment assets for token receivables for Alameda silo
                                            entities
Francis, Luke            7/5/2023     0.4   Conference with J Gany, L Francis and R Esposito (A&M) to discuss
                                            the Statements/Schedules amendment workstreams
Francis, Luke            7/5/2023     1.2   Review of investment assets for equity investments for Alameda silo
                                            entities
Francis, Luke            7/5/2023     1.1   Review of funded amounts for Fund positions with outstanding
                                            capital commitments
Francis, Luke            7/5/2023     0.8   Review of claims filed against ledger prime entities for analysis


Francis, Luke            7/5/2023     1.1   Updates to claims summary reporting through inclusion of new
                                            claims
Francis, Luke            7/5/2023     1.3   Analysis of donations made to non-tax exempt organizations through
                                            debtor bank accounts
Francis, Luke            7/5/2023     0.4   Call with L. Francis, and L. Clayton (A&M) re: Venture portfolio
                                            alignment review
Francis, Luke            7/5/2023     1.3   Review of investment assets for token receivables for Ventures silo
                                            entities
Gany, Jared              7/5/2023     2.3   Remove additional SOFA 13 duplicates identified from load file


Gany, Jared              7/5/2023     0.4   Conference with J Gany, L Francis and R Esposito (A&M) to discuss
                                            the Statements/Schedules amendment workstreams
Gany, Jared              7/5/2023     2.9   Remove additional SOFA 4 duplicates identified from load file


Gany, Jared              7/5/2023     1.6   Reconcile SOFA 13 payments to additional AP insider payments
                                            found
Gany, Jared              7/5/2023     1.8   Reconcile SOFA 4 payments to additional AP insider payments
                                            found
Glustein, Steven         7/5/2023     0.4   Call with S. Glustein, W. Walker, K. Kearney, J. Faett (A&M) re:
                                            Venture portfolio alignment
Gordon, Robert           7/5/2023     0.2   Conference with R Gordon and R Esposito (A&M) to discuss
                                            financial data for Statements/Schedules amendments
Kearney, Kevin           7/5/2023     0.4   Call with S. Glustein, W. Walker, K. Kearney, J. Faett (A&M) re:
                                            Venture portfolio alignment
Konig, Louis             7/5/2023     2.2   Documentation of findings related to analysis of differences between
                                            amended schedule data and portal data




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Professional               Date     Hours     Activity
Lewandowski, Douglas     7/5/2023     0.8   Work on reviewing redaction updates to creditor records for
                                            schedule amendment
Ryan, Laureen            7/5/2023     0.2   Conference with L Ryan and R Esposito (A&M) to discuss customer
                                            exchange transactions
Walker, William          7/5/2023     0.4   Call with S. Glustein, W. Walker, K. Kearney, J. Faett (A&M) re:
                                            Venture portfolio alignment
Zatz, Jonathan           7/5/2023     2.1   Review methodology used by FTX to pull staking balances as of
                                            shutdown
Zatz, Jonathan           7/5/2023     2.9   Update database script to produce schedules based on
                                            reconciliation with account ID-level balances
Clayton, Lance           7/6/2023     2.5   Continue review of STMTSCH venture book data

Esposito, Rob            7/6/2023     0.2   Conference with L Francis and R Esposito (A&M) to discuss status
                                            of the SOFA payment data
Francis, Luke            7/6/2023     1.8   Analysis of crypto payments or transfers from debtor accounts to 3rd
                                            party contractors
Francis, Luke            7/6/2023     0.9   Analysis of updates to liability schedules for Ventures silo based on
                                            unfunded commitments
Francis, Luke            7/6/2023     0.2   Conference with L Francis and R Esposito (A&M) to discuss status
                                            of the SOFA payment data
Francis, Luke            7/6/2023     1.6   Review of payments made to 3rd party exchanges as loan
                                            repayments
Francis, Luke            7/6/2023     1.3   Review of SOFA 3 90 day payments for leadership review based on
                                            questions outstanding
Francis, Luke            7/6/2023     1.7   Review of token tracing for received crypto per investment
                                            agreements
Francis, Luke            7/6/2023     0.8   Updates to investment assets based on additional funding confirmed


Francis, Luke            7/6/2023     0.7   Updates to vendor addresses from filed claims register

Francis, Luke            7/6/2023     0.8   Working session with L. Francis and J. Gany (A&M) re: SOFA 3 90
                                            day inclusion payment types for leadership review
Gany, Jared              7/6/2023     3.1   Research SOFA 4 payments to determine payment reason

Gany, Jared              7/6/2023     2.8   Research SOFA 13 payments to determine payment reason

Gany, Jared              7/6/2023     2.4   Perform quality control checks on SOFA 4 payments


Gany, Jared              7/6/2023     2.7   Perform quality control checks on SOFA 13 payments

Gany, Jared              7/6/2023     0.8   Working session with L. Francis and J. Gany (A&M) re: SOFA 3 90
                                            day inclusion payment types for leadership review
Konig, Louis             7/6/2023     2.6   Database scripting related to analysis of pricing applied to portal
                                            data set




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Professional               Date     Hours     Activity
Konig, Louis             7/6/2023     1.3   Documentation of findings related to analysis of pricing applied to
                                            portal data set
Konig, Louis             7/6/2023     1.6   Quality control and review of output related to analysis of pricing
                                            applied to portal data set
Zatz, Jonathan           7/6/2023     0.6   Identify difference in two requests from UCC for schedule data

Zatz, Jonathan           7/6/2023     3.1   Respond to questions from Kroll related to schedule data

Zatz, Jonathan           7/6/2023     2.4   Test methodology used by FTX to calculate staking balances


Clayton, Lance           7/7/2023     2.6   Finalize first reconciliation of stmtsch venture investments

Esposito, Rob            7/7/2023     0.5   Call with S. Kotarba, R. Esposito, R. Gordon and K. Kearney (A&M)
                                            re: discussion of payments made through exchange and accounting
                                            protocols for transactions
Esposito, Rob            7/7/2023     0.4   Correspond with A&M and S&C teams re: customer withdrawals


Esposito, Rob            7/7/2023     1.3   Call with S. Kotarba, R. Esposito, J. Gany, L. Francis (A&M) and M.
                                            Cilia (FTX) re: review of changes from 3.15 filing for amended SOFA
                                            3 90 day payments
Esposito, Rob            7/7/2023     0.5   Call with S. Kotarba, R. Esposito, J. Gany, and L. Francis (A&M) re:
                                            walkthrough of SOFA 3 amendment for changes from 3.15 filing
Esposito, Rob            7/7/2023     0.7   Review of SOFA amendment data to coordinate team on next steps

Francis, Luke            7/7/2023     1.6   Updates to SOFA 3 creditor typing based on additional database
                                            review
Francis, Luke            7/7/2023     1.3   Call with S. Kotarba, R. Esposito, J. Gany, L. Francis (A&M) and M.
                                            Cilia (FTX) re: review of changes from 3.15 filing for amended SOFA
                                            3 90 day payments
Francis, Luke            7/7/2023     0.5   Call with S. Kotarba, R. Esposito, J. Gany, and L. Francis (A&M) re:
                                            walkthrough of SOFA 3 amendment for changes from 3.15 filing
Francis, Luke            7/7/2023     0.5   Call with J. Gany, L. Francis (A&M) to discuss accounting protocols
                                            for transactions
Francis, Luke            7/7/2023     1.4   Analysis of tokens received prior to filing for exclusion from token
                                            receivables for Ventures silo
Francis, Luke            7/7/2023     1.6   Analysis of tokens received prior to filing for exclusion from token
                                            receivables for Alameda silo
Francis, Luke            7/7/2023     0.7   Analysis of donation payments to foundations through exchange data


Gany, Jared              7/7/2023     2.1   Review payments with unknown types to clean junk names out of
                                            database
Gany, Jared              7/7/2023     2.8   Update SOFA 3 payments database to remove customer related
                                            payments
Gany, Jared              7/7/2023     2.9   Review SOFA 3 summary schedules for external distribution




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Professional               Date     Hours     Activity
Gany, Jared              7/7/2023     2.2   Review payments made to crypto exchanges to determine if
                                            additional counterparty information could be found
Gany, Jared              7/7/2023     1.3   Call with S. Kotarba, R. Esposito, J. Gany, L. Francis (A&M) and M.
                                            Cilia (FTX) re: review of changes from 3.15 filing for amended SOFA
                                            3 90 day payments
Gany, Jared              7/7/2023     0.5   Call with J. Gany, L. Francis (A&M) to discuss accounting protocols
                                            for transactions
Gany, Jared              7/7/2023     0.5   Call with S. Kotarba, R. Esposito, J. Gany, and L. Francis (A&M) re:
                                            walkthrough of SOFA 3 amendment for changes from 3.15 filing
Gordon, Robert           7/7/2023     0.5   Call with S. Kotarba, R. Esposito, R. Gordon and K. Kearney (A&M)
                                            re: discussion of payments made through exchange and accounting
                                            protocols for transactions
Kearney, Kevin           7/7/2023     0.5   Call with S. Kotarba, R. Esposito, R. Gordon and K. Kearney (A&M)
                                            re: discussion of payments made through exchange and accounting
                                            protocols for transactions
Konig, Louis             7/7/2023     1.0   Quality control and review of output related to analysis of accounts
                                            with balance changes as a result of amendment adjustments
Konig, Louis             7/7/2023     0.9   Database scripting related to analysis of accounts with balance
                                            changes as a result of amendment adjustments
Konig, Louis             7/7/2023     1.5   Documentation of findings related to analysis of accounts with
                                            balance changes as a result of amendment adjustments
Kotarba, Steve           7/7/2023     0.5   Call with S. Kotarba, R. Esposito, J. Gany, and L. Francis (A&M) re:
                                            walkthrough of SOFA 3 amendment for changes from 3.15 filing
Kotarba, Steve           7/7/2023     1.3   Call with S. Kotarba, R. Esposito, J. Gany, L. Francis (A&M) and M.
                                            Cilia (FTX) re: review of changes from 3.15 filing for amended SOFA
                                            3 90 day payments
Kotarba, Steve           7/7/2023     0.5   Call with S. Kotarba, R. Esposito, R. Gordon and K. Kearney (A&M)
                                            re: discussion of payments made through exchange and accounting
                                            protocols for transactions
Kotarba, Steve           7/7/2023     0.6   Review data files re updated 90-day and insider payments

Zatz, Jonathan           7/7/2023     2.6   Test methodology used by FTX to calculate staking balances


Francis, Luke            7/8/2023     1.9   Updates to schedule AB for investment assets for Ventures silo

Francis, Luke            7/8/2023     1.1   Review of difference in funded amounts vs database amounts to
                                            describe differences
Francis, Luke            7/8/2023     0.4   Call with L. Francis and J. Gany (A&M) to discuss SOFA finalization
                                            process
Francis, Luke            7/8/2023     1.2   Review of fact pattern for creditors included in creditor matrix based
                                            on request
Francis, Luke            7/8/2023     2.2   Updates to schedule AB for investment assets for Alameda silo


Francis, Luke            7/8/2023     1.4   Analysis of investments funded to include within amendment

Gany, Jared              7/8/2023     0.4   Call with L. Francis and J. Gany (A&M) to discuss SOFA finalization
                                            process

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Professional               Date     Hours     Activity
Gany, Jared              7/8/2023     2.7   Review schedule AB amendment updates

Gany, Jared              7/8/2023     2.4   Review schedule F amendment updates


Gany, Jared              7/8/2023     3.1   Review payments to brokerage accounts to determine if final
                                            destination of funds can be identified
Esposito, Rob            7/9/2023     0.2   Review and response to correspondence on intercompany exchange
                                            balances
Francis, Luke            7/9/2023     1.4   Analysis of payments made from debtor bank accounts to charitable
                                            organizations
Francis, Luke            7/9/2023     0.4   Call with L. Francis and J. Gany (A&M) to discuss SOFA 4&13
                                            reconciliation results
Francis, Luke            7/9/2023     1.4   Review of changes to SOFA 4 and 13 based on additional fact
                                            patterns
Francis, Luke            7/9/2023     1.4   Review of SOFA 3 90 day payments to include updates from review
                                            call
Francis, Luke            7/9/2023     0.7   Updates to liability tracker for leadership review based on employee
                                            claims
Francis, Luke            7/9/2023     1.4   Updates to SOFA 9 for donations based on filing amounts with
                                            comparison to amendment
Francis, Luke            7/9/2023     1.7   Analysis of insider payments / transfers made on exchange to non
                                            FTX accounts
Gany, Jared              7/9/2023     0.4   Call with L. Francis and J. Gany (A&M) to discuss SOFA 4&13
                                            reconciliation results
Gany, Jared              7/9/2023     1.9   Search for investment counterparties in bank database

Gany, Jared              7/9/2023     2.4   Research counterparty's associated with FTX Japan KK for SOFA 3
                                            inclusion
Gany, Jared              7/9/2023     3.1   Research proof of claims for Alameda lendor to determine
                                            scheduling decision on SOFA 3
Gany, Jared              7/9/2023     2.8   Research proof of claims for WRSS lendor to determine scheduling
                                            decision on SOFA 3
Gany, Jared              7/9/2023     2.9   Research proof of claims for WRS lendor to determine scheduling
                                            decision on SOFA 3
Kotarba, Steve           7/9/2023     0.6   Review and respond to internal comments and questions re 90-day
                                            payments
Kotarba, Steve           7/9/2023     0.5   Analyze updated disclosures re donations made


Clayton, Lance          7/10/2023     2.2   Review updated stmtsch venture book amounts

Esposito, Rob           7/10/2023     1.7   Review SOFA 3 data to prepare summary data to S&C and FTX
                                            Mgmt
Esposito, Rob           7/10/2023     0.5   Conference with J Gany, L Francis and R Esposito to discuss SOFA
                                            workstreams




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Schedules and Statements
Professional               Date     Hours     Activity
Esposito, Rob           7/10/2023     0.4   Prepare amended SOFA/Schedule summary and questions to the
                                            Landis team
Esposito, Rob           7/10/2023     0.6   Review and analysis of the charitable contributions for SOFA 9


Esposito, Rob           7/10/2023     0.3   Call with L Francis and R Esposito (A&M) to discuss donations for
                                            SOFA 9
Esposito, Rob           7/10/2023     1.9   Work on intercompany exchange data for SOFA 4

Esposito, Rob           7/10/2023     1.6   Work on Statements/Schedules summary and open questions for
                                            S&C review
Esposito, Rob           7/10/2023     1.3   Review and analysis of 2021 intercompany balance data for SOFA 4

Esposito, Rob           7/10/2023     0.6   Discussion with R. Esposito and L. Francis (A&M) re: insider
                                            payments and crypto transactions
Francis, Luke           7/10/2023     0.3   Call with L Francis and R Esposito (A&M) to discuss donations for
                                            SOFA 9
Francis, Luke           7/10/2023     1.4   Review of updates to balance sheet assets for Alameda silo for
                                            amendment
Francis, Luke           7/10/2023     0.7   Review of client notes to SOFA amendment updates for bookkeepers

Francis, Luke           7/10/2023     0.9   Review of bank statements for additional payments to include within
                                            amendment
Francis, Luke           7/10/2023     1.6   Review of AB 77 for token receivables for Alameda silo


Francis, Luke           7/10/2023     1.5   Review of 90 day payment categories of included transactions

Francis, Luke           7/10/2023     0.5   Conference with J Gany, L Francis and R Esposito to discuss SOFA
                                            workstreams
Francis, Luke           7/10/2023     1.6   Analysis of insider payments from Alix Partners to include within
                                            SOFA amendment
Francis, Luke           7/10/2023     1.8   Analysis of changes from investment funded amounts from 3.15 to
                                            amendment
Francis, Luke           7/10/2023     0.6   Discussion with R. Esposito and L. Francis (A&M) re: insider
                                            payments and crypto transactions
Gany, Jared             7/10/2023     3.1   Add investment counterparties with funded investments to SOFA 3
                                            load file
Gany, Jared             7/10/2023     2.3   Update SOFA 4 load file to include unique account mapping from
                                            bank database
Gany, Jared             7/10/2023     2.7   Update SOFA 3 load file to include aggregate transaction detail for
                                            specific counterparty groupings
Gany, Jared             7/10/2023     2.9   Review schedule E tax liabilities provided by EY


Gany, Jared             7/10/2023     2.6   Create a cut of payments included in SOFA 4 that have been
                                            reconciled to bank data




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Schedules and Statements
Professional               Date     Hours     Activity
Gany, Jared             7/10/2023     0.5   Conference with J Gany, L Francis and R Esposito to discuss SOFA
                                            workstreams
Gordon, Robert          7/10/2023     0.6   Analyze approach for insider loan listing by legal entity in the SOFA


Clayton, Lance          7/11/2023     2.7   Research and review Alameda investments highlighted by CMS team

Clayton, Lance          7/11/2023     2.4   Prepare schedule and bridge of changes to investment master for
                                            CMS and acct teams
Esposito, Rob           7/11/2023     0.4   Discussion with L. Francis and R. Esposito (A&M) re: SOFA and
                                            Schedule amendment updates
Esposito, Rob           7/11/2023     0.8   Teleconference with K. Kearney, L. Konig, R. Esposito, and L.
                                            Francis (A&M) re: intercompany exchange balances and transfers
Esposito, Rob           7/11/2023     0.4   Prepare SOFA 3 summary response to S&C and FTX Mgmt


Esposito, Rob           7/11/2023     2.4   Analysis of the exchange balance data for intercompany reporting on
                                            SOFA 4
Esposito, Rob           7/11/2023     0.3   Review of the updated insider payments for SOFA 4


Esposito, Rob           7/11/2023     1.0   Discuss Statements/Schedules amendment data and open items
                                            with L Francis, J Gany and R Esposito (A&M)
Francis, Luke           7/11/2023     1.0   Discuss Statements/Schedules amendment data and open items
                                            with L Francis, J Gany and R Esposito (A&M)
Francis, Luke           7/11/2023     0.7   Discussion with L. Francis and J. Gany (A&M) re: SOFA 3 payment
                                            types and updates per leadership review
Francis, Luke           7/11/2023     0.8   Teleconference with K. Kearney, L. Konig, R. Esposito, and L.
                                            Francis (A&M) re: intercompany exchange balances and transfers
Francis, Luke           7/11/2023     1.2   Review of insider loans for notes receivables for asset schedules


Francis, Luke           7/11/2023     1.1   Review of external loans for notes receivables for Ventures silo

Francis, Luke           7/11/2023     0.8   Review of external loans for notes receivables for Alameda silo


Francis, Luke           7/11/2023     0.9   Review of collateral assets pledged to different loan agreements

Francis, Luke           7/11/2023     1.6   Provide summary details for donations paid from debtor bank
                                            accounts
Francis, Luke           7/11/2023     0.4   Discussion with L. Francis and J. Gany (A&M) re: review of Sch AB
                                            and liabilities for WRS silo
Francis, Luke           7/11/2023     1.3   Provide summary analysis for SOFA 13 transactions outside
                                            ordinary course
Francis, Luke           7/11/2023     1.4   Analyze updates and discussion with L. Francis re schedule
                                            amendments
Francis, Luke           7/11/2023     0.4   Discussion with L. Francis and R. Esposito (A&M) re: SOFA and
                                            Schedule amendment updates




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Schedules and Statements
Professional               Date     Hours     Activity
Gany, Jared             7/11/2023     1.6   Create a cut of payments included in SOFA 13 that reconcile to
                                            bank payments by unique ID
Gany, Jared             7/11/2023     2.7   Compare new schedule E tax liabilities to filed liabilities by
                                            jurisdiction and title of division
Gany, Jared             7/11/2023     1.7   Create SOFA 3 summary file for distribution to relevant parties

Gany, Jared             7/11/2023     1.0   Discuss Statements/Schedules amendment data and open items
                                            with L Francis, J Gany and R Esposito (A&M)
Gany, Jared             7/11/2023     0.4   Discussion with L. Francis and J. Gany (A&M) re: review of Sch AB
                                            and liabilities for WRS silo
Gany, Jared             7/11/2023     0.7   Discussion with L. Francis and J. Gany (A&M) re: SOFA 3 payment
                                            types and updates per leadership review
Gany, Jared             7/11/2023     2.8   Reconcile additional payments provided by Alix to SOFA 13 load file


Gany, Jared             7/11/2023     2.4   Reconcile additional payments provided by Alix to SOFA 4 load file

Kearney, Kevin          7/11/2023     0.8   Teleconference with K. Kearney, L. Konig, R. Esposito, and L.
                                            Francis (A&M) re: intercompany exchange balances and transfers
Konig, Louis            7/11/2023     0.8   Teleconference with K. Kearney, L. Konig, R. Esposito, and L.
                                            Francis (A&M) re: intercompany exchange balances and transfers
Kotarba, Steve          7/11/2023     1.4   Analyze updates and discussion with L. Francis re schedule
                                            amendments
Zatz, Jonathan          7/11/2023     0.7   Correspondence regarding reason behind excluding tokenized equity
                                            in schedules
Bruck, Ran              7/12/2023     0.3   Call with J. Gany and R. Bruck (A&M) to discuss updates to asset
                                            balances for WRS silo debtors
Clayton, Lance          7/12/2023     1.7   Prepare schedule of updates for stmtsch changes


Coverick, Steve         7/12/2023     0.4   Discuss statements and schedules amendments with R. Gordon and
                                            R. Esposito (A&M)
Esposito, Rob           7/12/2023     0.3   Discussion with R Gordon and R Esposito (A&M) re:
                                            statements/schedules timing
Esposito, Rob           7/12/2023     0.8   Review and communicate the FTX Digital Markets related insider
                                            payments
Esposito, Rob           7/12/2023     0.4   Conference with J Faett, J Gany, L Francis and K Kearney (A&M) to
                                            discuss insider payments and FTX Digital Markets for SOFA 4
Esposito, Rob           7/12/2023     0.3   Discuss customer schedule data with D Lewandowski and R
                                            Esposito (A&M)
Esposito, Rob           7/12/2023     0.4   Discuss Statements/Schedules amendment timing and open issues
                                            with S Coverick, R Gordon and R Esposito (A&M)
Esposito, Rob           7/12/2023     0.2   Discussion with L. Francis and R. Esposito (A&M) re: crypto
                                            transfers to insiders on exchange and exchange withdrawals
Esposito, Rob           7/12/2023     0.6   Discussion with L. Francis and R. Esposito (A&M) re: SOFA 4
                                            Insider payment disclosure descriptions




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                                   FTX Trading Ltd., et al.,
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Schedules and Statements
Professional               Date     Hours     Activity
Esposito, Rob           7/12/2023     1.7   Review and analysis of insider transfers for SOFA 4

Esposito, Rob           7/12/2023     0.3   Review of SOFA 9 updates for communication to FTX Mgmt


Esposito, Rob           7/12/2023     0.5   Teleconference with K. Kearney, S. Coverick, R. Gordon, R.
                                            Esposito, and L. Francis (A&M) A. Kranzley, and C. Dunne (S&C) re:
                                            funds flow for insider payments and disclosure within SOFA
Esposito, Rob           7/12/2023     0.6   Review of the updates SOFA 3 payment summary

Esposito, Rob           7/12/2023     0.5   Discussion with L. Francis and R. Esposito (A&M) re: review of
                                            donation payments for amendment
Faett, Jack             7/12/2023     0.4   Conference with J Faett, J Gany, L Francis and K Kearney (A&M) to
                                            discuss insider payments and FTX Digital Markets for SOFA 4
Francis, Luke           7/12/2023     0.9   Review of liability tracker for updates from 3.15 filing for amendment

Francis, Luke           7/12/2023     2.1   Analysis of token receivables per investment agreements still owed
                                            to debtors
Francis, Luke           7/12/2023     0.5   Teleconference with K. Kearney, S. Coverick, R. Gordon, R.
                                            Esposito, and L. Francis (A&M) A. Kranzley, and C. Dunne (S&C) re:
                                            funds flow for insider payments and disclosure within SOFA
Francis, Luke           7/12/2023     0.4   Conference with J Faett, J Gany, L Francis and K Kearney (A&M) to
                                            discuss insider payments and FTX Digital Markets for SOFA 4
Francis, Luke           7/12/2023     0.8   Discussion with L. Francis and J. Gany (A&M) re: SOFA 3 90 day
                                            payments to creditors and review of FBO accounts
Francis, Luke           7/12/2023     0.2   Discussion with L. Francis and R. Esposito (A&M) re: crypto
                                            transfers to insiders on exchange and exchange withdrawals
Francis, Luke           7/12/2023     1.3   Summary analysis of loans to insiders within 1 year prior to filing


Francis, Luke           7/12/2023     1.4   Review of complaints filed to ensure capture of insider payments for
                                            amendment
Francis, Luke           7/12/2023     0.8   Review of bookkeepers for SOFA 26 amendment for Alameda silo


Francis, Luke           7/12/2023     2.2   Review of asset balance sheets for alameda silo for tokens received

Francis, Luke           7/12/2023     0.6   Discussion with L. Francis and R. Esposito (A&M) re: SOFA 4
                                            Insider payment disclosure descriptions
Francis, Luke           7/12/2023     0.5   Discussion with L. Francis and R. Esposito (A&M) re: review of
                                            donation payments for amendment
Gany, Jared             7/12/2023     2.8   Update prepaids breakout for schedule AB for all silos

Gany, Jared             7/12/2023     2.1   Update SOFA 3 load file to reflect final changes for the amendment


Gany, Jared             7/12/2023     2.2   Organize filed statements/schedules to set up changes tracker

Gany, Jared             7/12/2023     2.9   Finalize SOFA 3 load file for distribution to interested parties



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Schedules and Statements
Professional               Date     Hours     Activity
Gany, Jared             7/12/2023     0.3   Call with J. Gany and R. Bruck (A&M) to discuss updates to asset
                                            balances for WRS silo debtors
Gany, Jared             7/12/2023     3.1   Update deposits breakout for schedule AB for all silos


Gany, Jared             7/12/2023     0.8   Discussion with L. Francis and J. Gany (A&M) re: SOFA 3 90 day
                                            payments to creditors and review of FBO accounts
Gordon, Robert          7/12/2023     0.3   Review SOFA payment matrix example for potential completeness
                                            issues from accounting records
Gordon, Robert          7/12/2023     0.3   Discussion with R Gordon and R Esposito (A&M) re:
                                            statements/schedules timing
Gordon, Robert          7/12/2023     0.5   Teleconference with K. Kearney, S. Coverick, R. Gordon, R.
                                            Esposito, and L. Francis (A&M) A. Kranzley, and C. Dunne (S&C) re:
                                            funds flow for insider payments and disclosure within SOFA
Kearney, Kevin          7/12/2023     0.4   Conference with J Faett, J Gany, L Francis and K Kearney (A&M) to
                                            discuss insider payments and FTX Digital Markets for SOFA 4
Kearney, Kevin          7/12/2023     0.5   Teleconference with K. Kearney, S. Coverick, R. Gordon, R.
                                            Esposito, and L. Francis (A&M) A. Kranzley, and C. Dunne (S&C) re:
                                            funds flow for insider payments and disclosure within SOFA
Braatelien, Troy        7/13/2023     0.5   Call to review available support for Alameda vendor liabilities with D.
                                            Hainline, T. Braatelien (A&M
Braatelien, Troy        7/13/2023     1.1   Consolidate A/P and accrued expense details for Alameda silo
                                            separate reporting entities
Clayton, Lance          7/13/2023     1.5   Continue token model reconciliation re: statements and schedules

DiNatale, Trevor        7/13/2023     0.3   Call with J. Gany and T. DiNatale (A&M) re: asset account mapping
                                            for Schedule AB disclosures
Esposito, Rob           7/13/2023     1.4   Prepare intercompany analysis by monthly transactions


Esposito, Rob           7/13/2023     0.6   Review status of SOFA workstreams and open issues to prepare for
                                            discussions with team
Esposito, Rob           7/13/2023     0.8   Review and analysis of SOFA 13 summary and detail


Esposito, Rob           7/13/2023     0.6   Review of additional insider payments for SOFA 4

Esposito, Rob           7/13/2023     1.2   Review of intercompany updates for Statements reporting


Faett, Jack             7/13/2023     0.7   Teleconference with K. Kearney, J. Faett, and L. Francis (A&M) re:
                                            review of token receivables schedules for amendment
Francis, Luke           7/13/2023     0.5   Teleconference with K. Kearney, S. Coverick, R. Gordon, R.
                                            Esposito, and L. Francis (A&M) A. Kranzley, and C. Dunne (S&C) re:
                                            funds flow for insider payments and disclosure within SOFA
Francis, Luke           7/13/2023     2.1   Analysis of insider payments made through exchange within 1 year
                                            period
Francis, Luke           7/13/2023     0.9   Provide summary of changes for SOFA 3 from original filing for
                                            amendment



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Schedules and Statements
Professional               Date     Hours     Activity
Francis, Luke           7/13/2023     1.6   Review of donation payments from debtor accounts for SOFA 9

Francis, Luke           7/13/2023     0.9   Review updates to asset balance sheets for intercompany
                                            receivables
Francis, Luke           7/13/2023     0.7   Teleconference with K. Kearney, J. Faett, and L. Francis (A&M) re:
                                            review of token receivables schedules for amendment
Francis, Luke           7/13/2023     0.5   Teleconference with D. Kuruvilla, D. Hainline, M. Mirando, J. Ganey,
                                            and L. Francis (A&M) re: updates to liability tracking summaries for
                                            amendment
Francis, Luke           7/13/2023     1.7   Analysis of insider payments made through exchange within 1-2
                                            year period
Gany, Jared             7/13/2023     0.3   Call with J. Gany and T. DiNatale (A&M) re: asset account mapping
                                            for Schedule AB disclosures
Gany, Jared             7/13/2023     2.6   Add additional accounts to schedule AB for Dotcom silo debtors

Gany, Jared             7/13/2023     2.7   Update account mapping for WRS asset accounts in schedule AB


Gany, Jared             7/13/2023     1.7   Update schedule AB database to add summary columns for all
                                            changes
Gany, Jared             7/13/2023     0.3   Call with J. Gany and T. DiNatale re: asset account mapping for
                                            Schedule AB disclosures
Gany, Jared             7/13/2023     2.2   Add additional accounts to schedule AB for WRS silo debtors

Gany, Jared             7/13/2023     2.4   Review schedule AB updates made by the accounting team


Gordon, Robert          7/13/2023     0.5   Teleconference with K. Kearney, S. Coverick, R. Gordon, R.
                                            Esposito, and L. Francis (A&M) A. Kranzley, and C. Dunne (S&C) re:
                                            funds flow for insider payments and disclosure within SOFA
Hainline, Drew          7/13/2023     0.5   Teleconference with D. Kuruvilla, D. Hainline, M. Mirando, J. Ganey,
                                            and L. Francis (A&M) re: updates to liability tracking summaries for
                                            amendment
Hainline, Drew          7/13/2023     0.5   Call to review available support for Alameda vendor liabilities with D.
                                            Hainline, T. Braatelien (A&M)
Hainline, Drew          7/13/2023     0.3   Call to align on updates to support files for statements and
                                            schedules amendments with D. Hainline, D. Kuruvilla (A&M)
Hainline, Drew          7/13/2023     1.4   Update support for liabilities by vendor to perform updates to support
                                            S&S amendments
Hainline, Drew          7/13/2023     0.3   Review updated analysis on AWS to FS reconciliation to support
                                            diligence analysis
Hainline, Drew          7/13/2023     0.8   Review of updated Ventures-silo balance sheets to perform updates
                                            to support files for S&S amendments
Hainline, Drew          7/13/2023     1.7   Review of updated Alameda-silo balance sheets to perform updates
                                            to support files for S&S amendments
Hainline, Drew          7/13/2023     0.4   Respond to questions on approach for updates to Schedule F for
                                            S&S amendments



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Schedules and Statements
Professional               Date     Hours     Activity
Kearney, Kevin          7/13/2023     0.7   Teleconference with K. Kearney, J. Faett, and L. Francis (A&M) re:
                                            review of token receivables schedules for amendment
Kearney, Kevin          7/13/2023     0.5   Teleconference with K. Kearney, S. Coverick, R. Gordon, R.
                                            Esposito, and L. Francis (A&M) A. Kranzley, and C. Dunne (S&C) re:
                                            funds flow for insider payments and disclosure within SOFA
Kuruvilla, Daniel       7/13/2023     0.3   Call to align on updates to support files for statements and
                                            schedules amendments with D. Hainline, D. Kuruvilla (A&M)
Kuruvilla, Daniel       7/13/2023     0.5   Teleconference with D. Kuruvilla, D. Hainline, M. Mirando, J. Ganey,
                                            and L. Francis (A&M) re: updates to liability tracking summaries for
                                            amendment
Kuruvilla, Daniel       7/13/2023     2.6   Review Schedule F for changes in vendor open LSTCs

Mirando, Michael        7/13/2023     0.5   Teleconference with D. Kuruvilla, D. Hainline, M. Mirando, J. Ganey,
                                            and L. Francis (A&M) re: updates to liability tracking summaries for
                                            amendment
Mirando, Michael        7/13/2023     2.8   Record Liquid Group payments for petition date liabilities

Mirando, Michael        7/13/2023     2.9   Update Schedule F with payment information to support S&S
                                            amendments
Mirando, Michael        7/13/2023     1.6   Review values on Schedule AB for petition date assets


Esposito, Rob           7/14/2023     1.3   Review of proposed intercompany and insider transactions for SOFA
                                            4 disclosures
Esposito, Rob           7/14/2023     0.5   Discussion with R. Esposito, J. Gany and L. Francis (A&M) re:
                                            workstream updates for Statements and Schedules amendment
Esposito, Rob           7/14/2023     0.4   Teleconference with R. Gordon, R. Esposito, J. Gany, K.
                                            Kearney(A&M) over employee claims
Esposito, Rob           7/14/2023     0.8   Teleconference with R. Esposito, J, Gany, J. Faett and L. Francis
                                            (A&M) A. Vanderkamp, G. Shapiro, and M. Birtwell (Alix) re:
                                            transfers and payments to insiders review of fact patterns
Faett, Jack             7/14/2023     0.8   Teleconference with R. Esposito, J, Gany, J. Faett and L. Francis
                                            (A&M) A. Vanderkamp, G. Shapiro, and M. Birtwell (Alix) re:
                                            transfers and payments to insiders review of fact patterns
Francis, Luke           7/14/2023     1.8   Review of donation payments made on exchange through transfers
                                            from debtor accounts
Francis, Luke           7/14/2023     0.6   Working session with J. Gany and L. Francis (A&M) re: SOFA 4&13
                                            load file review
Francis, Luke           7/14/2023     0.8   Teleconference with R. Esposito, J, Gany, J. Faett and L. Francis
                                            (A&M) A. Vanderkamp, G. Shapiro, and M. Birtwell (Alix) re:
                                            transfers and payments to insiders review of fact patterns
Francis, Luke           7/14/2023     1.6   Review of insider payments made through promissory notes
                                            documented
Francis, Luke           7/14/2023     1.2   Analysis of creditor payments within 90 days made through exchange


Francis, Luke           7/14/2023     1.4   Analysis of insider payments based on bank statement analysis




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Schedules and Statements
Professional               Date     Hours     Activity
Francis, Luke           7/14/2023     0.5   Discussion with R. Esposito, J. Gany and L. Francis (A&M) re:
                                            workstream updates for Statements and Schedules amendment
Francis, Luke           7/14/2023     0.4   Provide analysis of summary exchange payments to creditors


Francis, Luke           7/14/2023     1.9   Review of changes to taxation authorities to disclose within
                                            Schedule E
Gany, Jared             7/14/2023     0.6   Working session with J. Gany and L. Francis (A&M) re: SOFA 4&13
                                            load file review
Gany, Jared             7/14/2023     1.4   Create summary of changes schedule for WRS silo for schedule AB


Gany, Jared             7/14/2023     0.5   Discussion with R. Esposito, J. Gany and L. Francis (A&M) re:
                                            workstream updates for Statements and Schedules amendment
Gany, Jared             7/14/2023     1.1   Review updated schedule AB database to confirm balances agree to
                                            source data
Gany, Jared             7/14/2023     0.8   Teleconference with R. Esposito, J, Gany, J. Faett and L. Francis
                                            (A&M) A. Vanderkamp, G. Shapiro, and M. Birtwell (Alix) re:
                                            transfers and payments to insiders review of fact patterns
Gany, Jared             7/14/2023     0.4   Teleconference with R. Gordon, R. Esposito, J. Gany, K.
                                            Kearney(A&M) over employee claims
Gany, Jared             7/14/2023     2.7   Update account mapping for Dotcom asset accounts in schedule AB


Gany, Jared             7/14/2023     2.4   Create summary of changes schedule for Alameda/Ventures silos
                                            for schedule AB
Gany, Jared             7/14/2023     2.8   Create summary of changes schedule for Dotcom silo for schedule
                                            AB
Gordon, Robert          7/14/2023     0.4   Teleconference with R. Gordon, R. Esposito, J. Gany, K.
                                            Kearney(A&M) over employee claims
Gordon, Robert          7/14/2023     0.4   Teleconference with R. Gordon, R. Esposito(A&M) over
                                            intercompany updates to the SOFA amendment
Hainline, Drew          7/14/2023     1.3   Continue updating support for liabilities by vendor to support S&S
                                            amendments
Hubbard, Taylor         7/14/2023     2.3   Perform Schedule E/F Reconciliation exercise

Kearney, Kevin          7/14/2023     0.4   Teleconference with R. Gordon, R. Esposito, J. Gany, K.
                                            Kearney(A&M) over employee claims
Mirando, Michael        7/14/2023     1.4   Update Schedule A with updated Alameda silo trial balance values

Mirando, Michael        7/14/2023     1.9   Update Schedule A with updated Venture silo trial balance values


Mirando, Michael        7/14/2023     2.4   Review values on Schedule AB for petition date assets

Esposito, Rob           7/15/2023     0.8   Working session with R. Esposito and J. Gany (A&M) re: Schedule F
                                            trade payable amendment classifications
Esposito, Rob           7/15/2023     0.3   Review of insider related changes for communication to the S&C
                                            team


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Professional               Date     Hours     Activity
Esposito, Rob           7/15/2023     0.8   Discussion with R. Esposito, J. Gany and L. Francis (A&M) re:
                                            review of SOFA 4 and 13 amendments with fact patterns
Francis, Luke           7/15/2023     1.8   Review of insider payments for amendment to SOFA 4


Francis, Luke           7/15/2023     1.8   Review of claims filed for pre-petition claims to include within the
                                            schedule amendments
Francis, Luke           7/15/2023     0.8   Discussion with R. Esposito, J. Gany and L. Francis (A&M) re:
                                            review of SOFA 4 and 13 amendments with fact patterns
Francis, Luke           7/15/2023     1.7   Review of payments to include for SOFA 13 based on outside
                                            ordinary course payments
Francis, Luke           7/15/2023     1.4   Review of salary payments for insiders from WRSS to include within
                                            amendment
Francis, Luke           7/15/2023     1.1   Review of token receivables via crypto tracing for asset schedules


Francis, Luke           7/15/2023     1.4   Review asset schedules for alameda silo for summary changes from
                                            3.15 filing to amendment
Gany, Jared             7/15/2023     2.1   Research fact patterns for additions on schedule F to determine
                                            inclusions in the amendment
Gany, Jared             7/15/2023     0.8   Working session with R. Esposito and J. Gany (A&M) re: Schedule F
                                            trade payable amendment classifications
Gany, Jared             7/15/2023     0.8   Discussion with R. Esposito, J. Gany and L. Francis (A&M) re:
                                            review of SOFA 4 and 13 amendments with fact patterns
Gany, Jared             7/15/2023     2.2   Draft proposal for final decisions for items listed on schedule F
                                            based on the fact patterns
Gany, Jared             7/15/2023     1.7   Review schedule F updates made by the accounting team

Gany, Jared             7/15/2023     2.6   Research trade payable counterparties to determine appropriate
                                            classification on schedule F
Esposito, Rob           7/16/2023     2.9   Prepare and review intercompany balance and transaction reporting
                                            options for SOFA 4 disclosures
Esposito, Rob           7/16/2023     0.5   Working session with L Francis and R Esposito (A&M) to review
                                            SOFAs 4/13 and tax data for SOFAs/Schedules amendments
Esposito, Rob           7/16/2023     2.4   Analysis of accounts payable amendment details to provide
                                            scenarios for communication to FTX Mgmt
Francis, Luke           7/16/2023     0.5   Working session with L Francis and R Esposito (A&M) to review
                                            SOFAs 4/13 and tax data for SOFAs/Schedules amendments
Francis, Luke           7/16/2023     1.7   Review of prepetition tax liabilities scheduled for 3.15 filing with
                                            comparison to amendment updates
Francis, Luke           7/16/2023     2.3   Review of updates balance sheets for assets as of petition date for
                                            Alameda silo
Francis, Luke           7/16/2023     1.8   Updates to SOFA 25 for known investments for amendment


Francis, Luke           7/16/2023     1.4   Updates to SOFA 9 based on donations made through FTX
                                            Exchange




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Professional                Date    Hours     Activity
Francis, Luke           7/16/2023     1.1   Updates to SOFA 9 for donations based on updated bank records

Francis, Luke           7/16/2023     1.3   Analysis of noticed taxation authorities to amendmended list to
                                            ensure parties were noticed
Gany, Jared             7/16/2023     2.9   Review final Schedule F decisions by vendor

Gany, Jared             7/16/2023     0.3   Call to review updated Schedule F amended trade payables with J.
                                            Gany, D. Hainline (A&M)
Gany, Jared             7/16/2023     2.6   Add additional vendor payables to schedule F for Alameda silo


Gany, Jared             7/16/2023     2.8   Create additional schedule F summary tables for review

Hainline, Drew          7/16/2023     0.2   Draft questions to confirm support for Schedule F amendments for
                                            Alameda-silo entities
Hainline, Drew          7/16/2023     0.3   Call to review updated Schedule F amended trade payables with J.
                                            Gany, D. Hainline (A&M)
Esposito, Rob           7/17/2023     0.2   Discussion with D. Lewandowski, C. Myers, R. Esposito, J. Gany,
                                            and L. Francis (A&M) re: redaction in amended schedules
Esposito, Rob           7/17/2023     0.6   Review of unredacted statements/schedules excel exports

Esposito, Rob           7/17/2023     0.3   Teleconference with R. Esposito, R. Gordon(A&M) over updates to
                                            SOFA 3
Esposito, Rob           7/17/2023     0.2   Correspondences to/from A Kranzley (S&C) re: Schedule
                                            amendments and redactions
Esposito, Rob           7/17/2023     0.5   Discussion with L Francis, J Gany and R Esposito (A&M) re:
                                            workstreams for Statements/Schedules amendments
Esposito, Rob           7/17/2023     0.7   Discussion with N. Flagg, T. Shea, K. Gatt, E. Hall (EY) and L.
                                            Francis, and R. Esposito (A&M) re: updates to tax related SOFA and
                                            Schedule items for amendment
Esposito, Rob           7/17/2023     0.4   Prepare 3/15 asset schedule report for A&M tax request


Esposito, Rob           7/17/2023     1.9   Review and analysis of proposed redactions based on schedule
                                            amendment filing
Esposito, Rob           7/17/2023     0.4   Review of employee related liabilities for Schedule amendments


Esposito, Rob           7/17/2023     0.3   Conference with A Kranzley, R Gordon and R Esposito (A&M) to
                                            discuss Statements/Schedules filing strategy
Esposito, Rob           7/17/2023     0.7   Review of draft insider payment details for SOFA 4 disclosures


Faett, Jack             7/17/2023     0.3   Call to discuss updates for S&S amendments with K. Kearney, J.
                                            Faett, D. Hainline (A&M)
Francis, Luke           7/17/2023     0.8   Review of new trial balance accounts for mapping to Schedule AB
                                            questions
Francis, Luke           7/17/2023     1.6   Prepare analysis for additional groups to review insider payments




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Professional                Date    Hours     Activity
Francis, Luke           7/17/2023     0.7   Analysis of prepetition taxes included in 3.15 schedule to provide
                                            group with summary of initially scheduled claims
Francis, Luke           7/17/2023     0.2   Discussion with D. Lewandowski, C. Myers, R. Esposito, J. Gany,
                                            and L. Francis (A&M) re: redaction in amended schedules
Francis, Luke           7/17/2023     1.4   Review of updates to asset trial balances post leadership review

Francis, Luke           7/17/2023     0.6   Discussion with J. Gany, and L. Francis (A&M) re: SOFA 3 updates
                                            to included disclosures for WRS silo
Francis, Luke           7/17/2023     0.5   Discussion with L Francis, J Gany and R Esposito (A&M) re:
                                            workstreams for Statements/Schedules amendments
Francis, Luke           7/17/2023     0.7   Discussion with N. Flagg, T. Shea, K. Gatt, E. Hall (EY) and L.
                                            Francis, and R. Esposito (A&M) re: updates to tax related SOFA and
                                            Schedule items for amendment
Francis, Luke           7/17/2023     1.4   Updates to liability summary trackers from 3.15 to compare
                                            differences in amended filing
Gany, Jared             7/17/2023     2.9   Compare schedule DEF load files from BART to amendment


Gany, Jared             7/17/2023     0.6   Discussion with J. Gany, and L. Francis (A&M) re: SOFA 3 updates
                                            to included disclosures for WRS silo
Gany, Jared             7/17/2023     0.5   Discussion with L Francis, J Gany and R Esposito (A&M) re:
                                            workstreams for Statements/Schedules amendments
Gany, Jared             7/17/2023     0.2   Discussion with D. Lewandowski, C. Myers, R. Esposito, J. Gany,
                                            and L. Francis (A&M) re: redaction in amended schedules
Gany, Jared             7/17/2023     2.6   Create comparisons of filed schedule DEF to amended balances


Gany, Jared             7/17/2023     2.4   Create comparisons of filed schedule AB to amended balances

Gany, Jared             7/17/2023     2.3   Compare schedule AB Q1-40 load files from BART to amendment

Gany, Jared             7/17/2023     2.6   Compare schedule AB Q41-77 load files from BART to amendment


Gordon, Robert          7/17/2023     0.3   Conference with A Kranzley, R Gordon and R Esposito (A&M) to
                                            discuss Statements/Schedules filing strategy
Gordon, Robert          7/17/2023     0.3   Teleconference with R. Esposito, R. Gordon(A&M) over updates to
                                            SOFA 3
Hainline, Drew          7/17/2023     0.4   Provide information requested related to property conveyances for
                                            insider payments analysis
Hainline, Drew          7/17/2023     0.4   Perform research based on questions related to ROU asset
                                            amortization for WRS-silo entities to support S&S amendments
Hainline, Drew          7/17/2023     0.2   Review support for previously scheduled liabilities related to debtor
                                            entities without available financials to support completeness
Hainline, Drew          7/17/2023     0.4   Update schedule F detail for Alameda and Ventures-silo entities for
                                            S&S amendments
Hainline, Drew          7/17/2023     0.3   Call to discuss updates for S&S amendments with K. Kearney, J.
                                            Faett, D. Hainline (A&M)


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Professional               Date     Hours     Activity
Kearney, Kevin          7/17/2023     0.3   Call to discuss updates for S&S amendments with K. Kearney, J.
                                            Faett, D. Hainline (A&M)
Lewandowski, Douglas    7/17/2023     0.2   Discussion with D. Lewandowski, C. Myers, R. Esposito, J. Gany,
                                            and L. Francis (A&M) re: redaction in amended schedules
Mirando, Michael        7/17/2023     0.4   Update Schedule F with payment information to support S&S
                                            amendments
Myers, Claire           7/17/2023     0.2   Discussion with D. Lewandowski, C. Myers, R. Esposito, J. Gany,
                                            and L. Francis (A&M) re: redaction in amended schedules
Walker, William         7/17/2023     1.4   Reconcile statements and schedules token receivables from L.
                                            Clayton (A&M)
Walker, William         7/17/2023     2.3   Reconcile statements and schedules token receivables from report
                                            provided by L. Francis (A&M)
Esposito, Rob           7/18/2023     0.4   Working session with L Francis and R Esposito (A&M) to discuss
                                            creditor redactions for Statements/Schedules amendments
Esposito, Rob           7/18/2023     1.1   Review of Statements/Schedules filed March 15 for customer
                                            redaction modifications
Esposito, Rob           7/18/2023     0.3   Review and comment on proposed redactions for Scheduled
                                            creditors
Esposito, Rob           7/18/2023     1.2   Meeting with K. Kearney, L. Francis, J. Faett, and R. Esposito (A&M)
                                            re: insider exchange activity for disclosure on SOFA
Esposito, Rob           7/18/2023     0.3   Correspondences to/from A Kranzley (S&C) and FTX Mgmt re:
                                            accounts payable related amendments
Esposito, Rob           7/18/2023     0.6   Meeting with M. Cilia (RLKS), R. Gordon, K. Kearney, L. Francis,
                                            and R. Esposito (A&M) re: intercompany exchange balances and
                                            SOFA reporting
Faett, Jack             7/18/2023     1.2   Meeting with K. Kearney, L. Francis, J. Faett, and R. Esposito (A&M)
                                            re: insider exchange activity for disclosure on SOFA
Francis, Luke           7/18/2023     0.7   Discussion with J. Gany, and L. Francis (A&M) re: Review of
                                            investments funded within the 90 day with analysis of outstanding
                                            obligations
Francis, Luke           7/18/2023     0.6   Review of redactions for parties originally redacted in 3.15 schedules


Francis, Luke           7/18/2023     1.2   Meeting with K. Kearney, L. Francis, J. Faett, and R. Esposito (A&M)
                                            re: insider exchange activity for disclosure on SOFA
Francis, Luke           7/18/2023     1.2   Review of proposed intercompany balance reporting for SOFA 4


Francis, Luke           7/18/2023     1.3   Review of balances reported for token receivables based on contract
                                            review
Francis, Luke           7/18/2023     1.2   Updates to SOFA 25 for investments funded based on tracing
                                            exercise performed
Francis, Luke           7/18/2023     1.1   Updates to redactions within creditor database to match court order


Francis, Luke           7/18/2023     0.6   Meeting with M. Cilia (RLKS), R. Gordon, K. Kearney, L. Francis,
                                            and R. Esposito (A&M) re: intercompany exchange balances and
                                            SOFA reporting



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Gany, Jared             7/18/2023     2.9   Review updates made to SOFA 14 for amended load file

Gany, Jared             7/18/2023     0.3   Discussion with J. Gany, C. Myers and T. Hubbard (A&M) re:
                                            Statements and Schedules updates
Gany, Jared             7/18/2023     3.1   Compare SOFA 1-20 load files to amendment amounts

Gany, Jared             7/18/2023     0.7   Discussion with J. Gany, and L. Francis (A&M) re: Review of
                                            investments funded within the 90 day with analysis of outstanding
                                            obligations
Gany, Jared             7/18/2023     2.8   Create comparison of filed SOFAs to proposed SOFA amendments


Gordon, Robert          7/18/2023     0.4   Review for comments insider exchange activity scenarios

Gordon, Robert          7/18/2023     0.6   Meeting with M. Cilia (RLKS), R. Gordon, K. Kearney, L. Francis,
                                            and R. Esposito (A&M) re: intercompany exchange balances and
                                            SOFA reporting
Hainline, Drew          7/18/2023     0.2   Perform comparison between updated prepaid schedule and petition
                                            date balances submitted for migration to support S&S amendments
Hainline, Drew          7/18/2023     0.5   Respond to questions on consolidated prepaid schedules to support
                                            S&S amendments
Hubbard, Taylor         7/18/2023     0.3   Discussion with J. Gany, C. Myers and T. Hubbard (A&M) re:
                                            Statements and Schedules updates
Hubbard, Taylor         7/18/2023     1.4   Gather SOFA updates into folder for J. Gany (A&M)

Hubbard, Taylor         7/18/2023     2.1   Update SOFA response Q14 with revised previous addresses for
                                            amended schedules
Kearney, Kevin          7/18/2023     1.2   Meeting with K. Kearney, L. Francis, J. Faett, and R. Esposito (A&M)
                                            re: insider exchange activity for disclosure on SOFA
Kearney, Kevin          7/18/2023     0.6   Meeting with M. Cilia (RLKS), R. Gordon, K. Kearney, L. Francis,
                                            and R. Esposito (A&M) re: intercompany exchange balances and
                                            SOFA reporting
Myers, Claire           7/18/2023     0.3   Discussion with J. Gany, C. Myers and T. Hubbard (A&M) re:
                                            Statements and Schedules updates
Myers, Claire           7/18/2023     1.4   Prepare internal tracker with changes and updates to statements
                                            and schedules amendments from company outreach responses
Walker, William         7/18/2023     2.1   Reconcile pricing within token receivables report for statements and
                                            schedules
Walker, William         7/18/2023     1.8   Reconcile quantities within token receivables report for statements
                                            and schedules
Clayton, Lance          7/19/2023     2.1   Run reconciliation for update stmtsch schedule

Clayton, Lance          7/19/2023     0.8   Prepare comments on stmtsch reconciliation


Esposito, Rob           7/19/2023     0.9   Prepare summary and fact pattern for insider exchange related
                                            withdrawals and transfers



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Esposito, Rob           7/19/2023     0.9   Coordinate Statements/Schedules refile and amendment
                                            workstreams
Esposito, Rob           7/19/2023     0.6   Review of Schedule D/F loan and market maker data for Schedule
                                            refiling
Esposito, Rob           7/19/2023     1.9   Review of Statement reports to confirm redaction measures and
                                            Debtors to refile
Francis, Luke           7/19/2023     1.9   Analysis of insider exchange based payments recorded through
                                            AWS
Francis, Luke           7/19/2023     1.8   Updates to insider payments based on additional review of grants /
                                            equity
Francis, Luke           7/19/2023     1.7   Review of changes to non payment related SOFA questions for new
                                            amendment
Francis, Luke           7/19/2023     0.9   Discussion with J. Gany, and L. Francis (A&M) re: updates to SOFA
                                            26, 28/29 based on client feedback for amendment
Francis, Luke           7/19/2023     1.4   Review of amendment changes for SOFA 26 bookkeepers based on
                                            client feedback
Francis, Luke           7/19/2023     1.4   Perform bucketing analysis of payments for review summary for
                                            insider payments
Francis, Luke           7/19/2023     1.1   Creation of fact patterns with scenario bucketing for insider
                                            payments made on exchange
Gany, Jared             7/19/2023     0.4   Call with L. Francis, J. Gany (A&M) to discuss SOFA schedule
                                            classifications
Gany, Jared             7/19/2023     1.3   Review updates made to SOFA 26 for amended load file


Gany, Jared             7/19/2023     1.8   Review Schedule AB Q7/8 updates for prepaid assets against RLKS
                                            listing
Gany, Jared             7/19/2023     0.9   Discussion with J. Gany, and L. Francis (A&M) re: updates to SOFA
                                            26, 28/29 based on client feedback for amendment
Gany, Jared             7/19/2023     2.1   Add additional WRS payments to SOFA 3 for 11/14 bank data

Gany, Jared             7/19/2023     1.8   Review load file for AB 77 other assets listing


Gordon, Robert          7/19/2023     0.8   Review approach for statements presentation of intercompany
                                            balances over time
Hainline, Drew          7/19/2023     0.8   Research open items on Schedule F detail to support S&S
                                            amendments
Hubbard, Taylor         7/19/2023     2.4   Update bookkeeper disclosures for SOFA 26 in preparation of
                                            amending the SOFAs
Hubbard, Taylor         7/19/2023     0.9   Conduct the essential Statement of Financial Affairs updates

Lee, Julian             7/19/2023     0.2   Extract payroll data to support select insider cash bonus payments
                                            for SOFA reporting
Lewandowski, Douglas    7/19/2023     0.9   Work on schedule redactions for amended/restated schedules




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Myers, Claire           7/19/2023     2.6   Analyze the creditor matrix to find possible addresses for new SOFA
                                            3 creditors
Myers, Claire           7/19/2023     1.9   Match previous SOFA 3 creditors and new SOFA 3 creditors unique
                                            identifiers to find addresses
Walker, William         7/19/2023     0.8   Correspond with accounting team regarding statements and
                                            schedules reconciliation
Zatz, Jonathan          7/19/2023     1.4   Database scripting to related to request to create aggregated
                                            schedule table including non-scheduled customers
Esposito, Rob           7/20/2023     2.4   Work on and summarize insider exchange data for S&C review


Esposito, Rob           7/20/2023     0.7   Review and management of Statements/Schedules amendment
                                            workstreams
Francis, Luke           7/20/2023     1.1   Analysis of token receivables based on updated tracing analysis
                                            performed to include within amendment
Francis, Luke           7/20/2023     1.3   Preparation of 90 day payment bucketing with input from leadership
                                            review
Francis, Luke           7/20/2023     1.6   Review of 90 day payments made via FTX exchange to 3rd parties


Francis, Luke           7/20/2023     1.6   Review of scheduled liabilities for secured priority based on
                                            collateral claims
Francis, Luke           7/20/2023     1.7   Updates to Sch AB 15 for investments in equity and fund positions
                                            made by FTX Group entities
Francis, Luke           7/20/2023     1.4   Working session with J. Gany, and L. Francis (A&M) re: finalization
                                            of 90 payments provided by other teams with tie outs to previously
                                            disclosed payments
Gany, Jared             7/20/2023     2.4   Review schedule redaction updates for Alameda silo debtors

Gany, Jared             7/20/2023     1.4   Working session with J. Gany, and L. Francis (A&M) re: finalization
                                            of 90 payments provided by other teams with tie outs to previously
                                            disclosed payments
Gany, Jared             7/20/2023     2.9   Review schedule redaction updates for WRS silo debtors


Gany, Jared             7/20/2023     2.6   Review schedule redaction updates for Dotcom silo debtors

Gany, Jared             7/20/2023     2.2   Review schedule redaction updates for Ventures silo debtors


Hubbard, Taylor         7/20/2023     0.6   Perform relativity searches for SOFA 3 addresses

Kearney, Kevin          7/20/2023     1.7   Review of FTX.com exchange transfers associated with SOFA 4 and
                                            SOFA 13 insider payments from Alameda
Kearney, Kevin          7/20/2023     1.1   Review of FTX.com exchange transfers associated with SOFA 4 and
                                            SOFA 13 insider payments from FTX Digital Markets
Kearney, Kevin          7/20/2023     0.8   Review of fiat transactions associated with SOFA 4 and SOFA 13
                                            insider payments from Alameda
Kearney, Kevin          7/20/2023     1.9   Review of FTX.com exchange deposits associated with SOFA 4 and
                                            SOFA 13 insider payments from Alameda

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Myers, Claire           7/20/2023     2.6   Analyze online research results for creditors with missing SOFA 3
                                            addresses
Myers, Claire           7/20/2023     2.7   Analyze relativity research results for creditors with missing SOFA 3
                                            addresses
Esposito, Rob           7/21/2023     0.2   Discussion with L Francis and R Esposito (A&M) re:
                                            Statements/Schedules workstreams
Esposito, Rob           7/21/2023     0.9   Review of draft Statements/Schedules for refile for redaction order

Francis, Luke           7/21/2023     2.3   Analysis of insider payments made on exchange with summary of
                                            bonuses paid via exchange
Francis, Luke           7/21/2023     2.2   Updates to asset schedules for tokens received as crypto assets
                                            held as of the petition date
Francis, Luke           7/21/2023     1.9   Review of proposed changes to scheduled tax claims based on
                                            additional feedback from external teams
Francis, Luke           7/21/2023     0.2   Discussion with L Francis and R Esposito (A&M) re:
                                            Statements/Schedules workstreams
Francis, Luke           7/21/2023     1.6   Review of grants / options awarded to employees for inclusion within
                                            amendment
Gany, Jared             7/21/2023     3.1   Review SOFA redaction updates for WRS silo debtors

Gany, Jared             7/21/2023     2.4   Review SOFA redaction updates for Dotcom silo debtors

Gany, Jared             7/21/2023     2.7   Review SOFA redaction updates for Alameda silo debtors


Hainline, Drew          7/21/2023     0.2   Draft responses related to questions on vendor liabilities based on
                                            filed claims for Hannam Group
Hainline, Drew          7/21/2023     0.3   Call to review open questions for claims to support S&S
                                            amendments with D. Hainline, K. Kearney (A&M)
Kearney, Kevin          7/21/2023     0.3   Call to review open questions for claims to support S&S
                                            amendments with D. Hainline, K. Kearney (A&M)
Myers, Claire           7/21/2023     2.1   Analyze online research results to find missing addresses for SOFA
                                            3 creditors
Myers, Claire           7/21/2023     1.3   Review addresses for SOFA 3 creditors found in address research
                                            for errors and missing information
Myers, Claire           7/21/2023     1.8   Analyze relativity research results to find missing addresses for
                                            SOFA 3 creditors
Myers, Claire           7/21/2023     2.4   Format addresses for SOFA 3 creditors found in address research
                                            for upload into the SOFA 3 form
Walker, William         7/21/2023     0.8   Correspond with accounting team regarding statements and
                                            schedules variances
Walker, William         7/21/2023     2.3   Reconcile statements and schedules outstanding token receivables


Walker, William         7/21/2023     0.5   Review statements and schedules token receivable reconciliation
                                            from J. Faett (A&M)




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Schedules and Statements
Professional               Date     Hours     Activity
Francis, Luke           7/22/2023     2.4   Review of insider payments made on exchange with analysis of
                                            previous deposits made
Francis, Luke           7/22/2023     1.1   Updates to SOFA 3 based on additional fact pattern to assist with
                                            vendor bucketing
Gany, Jared             7/22/2023     2.2   Review SOFA redaction updates for Ventures silo debtors

Francis, Luke           7/23/2023     1.8   Review of investments funded within the 90 days with comparison to
                                            customer exchange withdrawals
Francis, Luke           7/23/2023     1.7   Preparation of summaries for insider payment for SOFA 4/13
                                            payment types for leadership review
Francis, Luke           7/23/2023     1.6   Review of redactions for previously filed statements and schedules
                                            for comparison to refile
Francis, Luke           7/23/2023     1.3   Updates to insider payments for SOFA 4 and SOFA 13 based on
                                            insider exchange payments to include
Gany, Jared             7/23/2023     2.1   Confirm specific vendor payments listed on Schedule F agree to
                                            underlying source data
Witherspoon, Samuel     7/23/2023     0.7   Diligence bank wires made near the petition date to support
                                            Statements and Schedules amendments
DiNatale, Trevor        7/24/2023     0.4   Call with J. Gany and T. DiNatale (A&M) re: crypto asset detail for
                                            Schedule AB
Esposito, Rob           7/24/2023     0.7   Review and analysis of the proposed changes to the accounts
                                            payable claims
Esposito, Rob           7/24/2023     0.3   Discussion with J. Gany and R. Esposito (A&M) to discuss
                                            finalization of Schedule F amendment balances
Esposito, Rob           7/24/2023     0.4   Discuss insider disclosures with L Francis and R Esposito (A&M)

Esposito, Rob           7/24/2023     0.7   Review of insider data for understand changes and new additions


Francis, Luke           7/24/2023     1.9   Analysis of crypto transfers on exchange to insider wallets

Francis, Luke           7/24/2023     1.6   Updates to asset balance sheet summary for token receivables


Francis, Luke           7/24/2023     1.2   Review of media coverage to insure capture of potential insider
                                            payments to review
Francis, Luke           7/24/2023     1.1   Review of feedback from clients on SOFA & Schedule amendments

Francis, Luke           7/24/2023     1.3   Review of creditor amendments to include additional creditor notice
                                            information
Francis, Luke           7/24/2023     1.3   Perform mapping analysis for investments from ventures team to
                                            statements and schedules for comparison
Francis, Luke           7/24/2023     0.4   Discuss insider disclosures with L Francis and R Esposito (A&M)


Gany, Jared             7/24/2023     0.4   Call with J. Gany and T. DiNatale (A&M) re: crypto asset detail for
                                            Schedule AB




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Schedules and Statements
Professional               Date     Hours     Activity
Gany, Jared             7/24/2023     2.9   Compare 7/7 Coin Report to filed crypto assets schedule

Gany, Jared             7/24/2023     1.8   Create summary database of category A crypto assets as of 7/7


Gany, Jared             7/24/2023     0.3   Discussion with J. Gany and R. Esposito (A&M) to discuss
                                            finalization of Schedule F amendment balances
Gany, Jared             7/24/2023     1.6   Prepare schedule F summary file for distribution

Gany, Jared             7/24/2023     2.7   Review schedule F to determine final inclusion/exclusion status of
                                            payables
Hainline, Drew          7/24/2023     0.5   Respond to questions on support behind petition date vendor
                                            liabilities to support S&S amendments
Hainline, Drew          7/24/2023     0.2   Respond to requests on petition date balances for S&S amendments


Myers, Claire           7/24/2023     1.1   Analyze online data room to find parties with missing addresses of
                                            the bar date
Myers, Claire           7/24/2023     1.3   Match previous SOFA 9 creditors and new SOFA 9 creditors unique
                                            identifiers to find addresses
Myers, Claire           7/24/2023     0.3   Analyze online research results for creditors with missing SOFA 3
                                            addresses
Myers, Claire           7/24/2023     1.4   Analyze the creditor matrix to find possible addresses for new SOFA
                                            9 creditors
Esposito, Rob           7/25/2023     0.3   Discussion with L Francis and R Esposito (A&M) to prepare for
                                            insider exchange meeting with S&C
Esposito, Rob           7/25/2023     0.2   Discussion with L Francis, K Kearney and R Esposito (A&M) re:
                                            insider exchange disclosures
Esposito, Rob           7/25/2023     1.1   Review and analysis of insider transfers for SOFA 4 disclosures


Esposito, Rob           7/25/2023     0.7   Conference with A. Kranzley, C Dunne, J Croke, B Glueckstein
                                            (S&C), R Gordon, K Kearney, L Francis and R Esposito (A&M) to
                                            discuss insider exchange scenarios for SOFA 4 disclosures
Faett, Jack             7/25/2023     2.8   Working session to review insider payments for SOFA 4 and 13
                                            between K. Kearney, J. Faett (A&M)
Francis, Luke           7/25/2023     1.7   Review of original transactions disclosed for SOFA 4 to review items
                                            to remove
Francis, Luke           7/25/2023     1.1   Review of filed complaints for comparison to currently disclosed
                                            payments
Francis, Luke           7/25/2023     1.8   Updates to summary claims tracking with changes to presentation
                                            formats
Francis, Luke           7/25/2023     1.4   Review of Debtor coin reports for petition date balances by coin type

Francis, Luke           7/25/2023     1.4   Updates to Insider payment summary tracker based on leadership
                                            review
Francis, Luke           7/25/2023     0.5   Call with J. Gany and L. Francis (A&M) re: crypto asset load file
                                            results for Schedule AB


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Professional               Date     Hours     Activity
Francis, Luke           7/25/2023     0.7   Conference with A. Kranzley, C Dunne, J Croke, B Glueckstein
                                            (S&C), R Gordon, K Kearney, L Francis and R Esposito (A&M) to
                                            discuss insider exchange scenarios for SOFA 4 disclosures
Francis, Luke           7/25/2023     0.2   Discussion with L Francis, K Kearney and R Esposito (A&M) re:
                                            insider exchange disclosures
Francis, Luke           7/25/2023     0.3   Discussion with L Francis and R Esposito (A&M) to prepare for
                                            insider exchange meeting with S&C
Francis, Luke           7/25/2023     1.1   Review of deposits onto insiders accounts from 3rd party exchanges

Gany, Jared             7/25/2023     3.1   Create load file for 7/7 Coin Report for all silos


Gany, Jared             7/25/2023     0.5   Call with J. Gany and L. Francis (A&M) re: crypto asset load file
                                            results for Schedule AB
Gany, Jared             7/25/2023     2.7   Create comparison against filed crypto assets load file to determine
                                            changes
Gany, Jared             7/25/2023     2.9   Perform QC review over crypto assets load file


Gordon, Robert          7/25/2023     0.7   Conference with A. Kranzley, C Dunne, J Croke, B Glueckstein
                                            (S&C), R Gordon, K Kearney, L Francis and R Esposito (A&M) to
                                            discuss insider exchange scenarios for SOFA 4 disclosures
Kearney, Kevin          7/25/2023     0.2   Discussion with L Francis, K Kearney and R Esposito (A&M) re:
                                            insider exchange disclosures
Kearney, Kevin          7/25/2023     0.7   Conference with A. Kranzley, C Dunne, J Croke, B Glueckstein
                                            (S&C), R Gordon, K Kearney, L Francis and R Esposito (A&M) to
                                            discuss insider exchange scenarios for SOFA 4 disclosures
Kearney, Kevin          7/25/2023     2.8   Working session to review insider payments for SOFA 4 and 13
                                            between K. Kearney, J. Faett (A&M)
Myers, Claire           7/25/2023     1.4   Format addresses for SOFA 9 creditors found in address research
                                            for upload into the SOFA 3 form
Myers, Claire           7/25/2023     2.1   Analyze online research results for creditors with missing SOFA 3
                                            addresses
Myers, Claire           7/25/2023     0.9   Analyze Form 990 for MOI entities on SOFA 9 for addresses
                                            information
Esposito, Rob           7/26/2023     0.7   Review and analysis of proposed insider payments on the exchange


Esposito, Rob           7/26/2023     0.3   Discussion with L Francis and R Esposito (A&M) to review insider
                                            exchange transfers and withdrawals
Esposito, Rob           7/26/2023     0.2   Discussion with L Francis and R Esposito (A&M) re: insider
                                            transaction summary
Esposito, Rob           7/26/2023     0.3   Discussion with J Gany and R Esposito (A&M) re: crypto asset
                                            reporting on Schedule AB
Esposito, Rob           7/26/2023     1.4   Review and analysis of the proposed modifications to Schedule F


Francis, Luke           7/26/2023     0.2   Discussion with L Francis and R Esposito (A&M) re: insider
                                            transaction summary



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Professional               Date     Hours     Activity
Francis, Luke           7/26/2023     1.4   Review of feedback provided on Sch E Tax claims for amendment

Francis, Luke           7/26/2023     2.2   Review of insider exchange payments with reversals / transfers of
                                            payments included
Francis, Luke           7/26/2023     1.7   Review of needed redaction updates based on SOFA and Schedule
                                            counts for refile
Francis, Luke           7/26/2023     0.3   Discussion with L Francis and R Esposito (A&M) to review insider
                                            exchange transfers and withdrawals
Francis, Luke           7/26/2023     1.9   Updates to insider payment summary for SOFA 4 based on
                                            additional feedback
Francis, Luke           7/26/2023     1.2   Review of accounts payable to invoice matching detail to match
                                            books & records
Francis, Luke           7/26/2023     1.3   Analysis of vendor payments made within the 90 days for SOFA 3


Francis, Luke           7/26/2023     1.4   Analysis with summary of filed POCs for 3rd party bankruptcy claims

Francis, Luke           7/26/2023     1.6   Analysis of filed claims to scheduled claims for secured / unsecured
                                            loans payable
Gany, Jared             7/26/2023     2.1   Update SOFA 7 for additional tax audit data

Gany, Jared             7/26/2023     0.4   Call to confirm support for S&S amendments with D. Hainline, J.
                                            Gany (A&M)
Gany, Jared             7/26/2023     3.1   Create crypto asset updated load file using revised database for
                                            Dotcom and WRS silos
Gany, Jared             7/26/2023     0.3   Discussion with J Gany and R Esposito (A&M) re: crypto asset
                                            reporting on Schedule AB
Gany, Jared             7/26/2023     2.4   Review revised tax information provided by EY for Schedule E


Gany, Jared             7/26/2023     2.8   Revise crypto assets summary database to include coin report data
                                            from 5/12 and 6/9
Hainline, Drew          7/26/2023     0.8   Compare petition date balances from QB versus input templates to
                                            identify adjustments for S&S amendments
Hainline, Drew          7/26/2023     0.4   Call to confirm support for S&S amendments with D. Hainline, J.
                                            Gany (A&M)
Hainline, Drew          7/26/2023     0.5   Call to review adjustments to petition date balances to support S&S
                                            amendments with R. Hoskins (FTX) and D. Hainline (A&M)
Hainline, Drew          7/26/2023     0.2   Call to review updates for adjustment to petition date balances to
                                            support S&S amendments with R. Hoskins (FTX), D. Hainline (A&M)
Hainline, Drew          7/26/2023     0.2   Provide updates on adjustments to petition date balances for S&S
                                            amendments for bank balances and prepaid expenses
Hainline, Drew          7/26/2023     0.2   Respond to questions on source information for located crypto
                                            balances for WRSS to support S&S amendments
Hainline, Drew          7/26/2023     0.4   Review available support for adjustments to petition date balances
                                            to support S&S amendments




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Schedules and Statements
Professional               Date     Hours     Activity
Esposito, Rob           7/27/2023     0.7   Review and analysis of proposed insider payment disclosures

Esposito, Rob           7/27/2023     0.2   Conference with L Francis, J Gany and R Esposito (A&M) to discuss
                                            the status of Statements/Schedules Amendments
Esposito, Rob           7/27/2023     0.9   Discussion with L Francis and R Esposito (A&M) to review insider
                                            data for distribution to S&C team
Esposito, Rob           7/27/2023     0.3   Discussion with L Francis and R Esposito (A&M) re: reporting of
                                            insider transactions and descriptions
Faett, Jack             7/27/2023     0.2   Call with W. Walker, K. Kearney, J. Faett, L. Francis, A. Liv-Feyman
                                            (A&M) regarding token receivables reconciliation updates
Francis, Luke           7/27/2023     1.6   Prepare draft memo to describe process of amendment filing for
                                            insider payments
Francis, Luke           7/27/2023     1.7   Buildout of claims summary tables based on claim type & subtype
                                            for presentation for non-customer claims
Francis, Luke           7/27/2023     2.1   Buildout of claims summary tables based on priority type for
                                            presentation for non-customer claims
Francis, Luke           7/27/2023     0.2   Call with W. Walker, K. Kearney, J. Faett, L. Francis, A. Liv-Feyman
                                            (A&M) regarding token receivables reconciliation updates
Francis, Luke           7/27/2023     0.2   Conference with L Francis, J Gany and R Esposito (A&M) to discuss
                                            the status of Statements/Schedules Amendments
Francis, Luke           7/27/2023     0.2   Discussion with C. Okuzu and L. Francis (A&M) re: schedule F

Francis, Luke           7/27/2023     0.3   Discussion with L Francis and R Esposito (A&M) re: reporting of
                                            insider transactions and descriptions
Francis, Luke           7/27/2023     1.3   Updates to insider payments summary tracker with inclusion of
                                            additional detail describing changes to amounts from previously
                                            disclosed payments
Francis, Luke           7/27/2023     1.8   Draft list of questions needed confirmation on based on payments /
                                            transfers on exchange
Francis, Luke           7/27/2023     0.7   Review of claims presentation for non-customer claims for leadership


Francis, Luke           7/27/2023     2.2   Review of insider payment tracker with notes describing amendment
                                            findings
Francis, Luke           7/27/2023     0.9   Discussion with L Francis and R Esposito (A&M) to review insider
                                            data for distribution to S&C team
Gany, Jared             7/27/2023     2.3   Research specific schedule F vendors to determine if invoice
                                            balances align to AP balance
Gany, Jared             7/27/2023     0.3   Meeting with C. Myers and J. Gany (A&M) re: missing addresses for
                                            Statements and schedules
Gany, Jared             7/27/2023     0.5   Discussion with J. Gany and C. Meyers (A&M) regarding address
                                            search for creditors with missing data for unredacted S&S filing
Gany, Jared             7/27/2023     0.4   Call to align on adjustments for S&S amendments with D. Hainline,
                                            J. Gany (A&M)
Gany, Jared             7/27/2023     3.1   Review questions received from RLKS on Schedule F




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Professional               Date     Hours     Activity
Gany, Jared             7/27/2023     2.2   Update schedule E load file for new tax items

Gany, Jared             7/27/2023     2.7   Review finalized schedule E load file to compare differences against
                                            originally filed Schedule E
Hainline, Drew          7/27/2023     0.3   Review schedule f detail for S&S amendments to confirm PEO
                                            provider claim amounts
Hainline, Drew          7/27/2023     0.4   Call to align on adjustments for S&S amendments with D. Hainline,
                                            J. Gany (A&M)
Hainline, Drew          7/27/2023     0.6   Consolidate updates to petition date balances to be incorporated
                                            into S&S amendments
Hainline, Drew          7/27/2023     0.2   Request confirmations from cash team to support petition date
                                            balances for S&S amendments
Hainline, Drew          7/27/2023     1.1   Research discrepancies between OCP declared amounts and
                                            vendor claims scheduled for amendments
Hainline, Drew          7/27/2023     0.6   Respond to questions on discrepancies on petition date balances
                                            with OCP vendors
Hainline, Drew          7/27/2023     0.6   Review open items related to petition date balances for prepaid
                                            expenses to support S&S amendments
Hainline, Drew          7/27/2023     0.6   Validate petition date cash balances for WRS-silo entities against
                                            QB extracts to support accuracy for S&S amendments
Hainline, Drew          7/27/2023     1.8   Validate review comments on vendor liabilities in schedule f
                                            amendments
Kearney, Kevin          7/27/2023     0.2   Call with W. Walker, K. Kearney, J. Faett, L. Francis, A. Liv-Feyman
                                            (A&M) regarding token receivables reconciliation updates
Liv-Feyman, Alec        7/27/2023     0.2   Call with W. Walker, K. Kearney, J. Faett, L. Francis, A. Liv-Feyman
                                            (A&M) regarding token receivables reconciliation updates
Myers, Claire           7/27/2023     2.1   Research parties in relativity from SOFAs and schedule DEF for
                                            possible addresses for the amendment
Myers, Claire           7/27/2023     2.4   Research parties online from schedule F for possible addresses for
                                            the amendment
Myers, Claire           7/27/2023     2.5   Analyze current SOFAs and Schedules DEF parties to determine
                                            parties with complete address, no address or partial addresses for
                                            amendments
Myers, Claire           7/27/2023     2.3   Compare creditor matrix to parties without addresses in SOFAs and
                                            Schedules DEF to find possible addresses
Myers, Claire           7/27/2023     2.3   Compare parties without an address in schedule F amendment to
                                            creditor matrix for possible addresses
Myers, Claire           7/27/2023     0.3   Meeting with C. Myers and J. Gany (A&M) re: missing addresses for
                                            Statements and schedules
Myers, Claire           7/27/2023     2.6   Research parties with missing addresses in SOFAs and Schedules
                                            DEF for possible addresses
Okuzu, Ciera            7/27/2023     1.0   Review Ordinary Course Professional (OCP) declaration for
                                            schedule F
Okuzu, Ciera            7/27/2023     0.2   Discussion with C. Okuzu and L. Francis re: schedule F




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Walker, William      7/27/2023       0.2   Call with A. Titus, W. Walker (A&M) regarding ventures and
                                           SOFA/SOAL reconciliation
Walker, William      7/27/2023       0.2   Call with W. Walker, K. Kearney, J. Faett, L. Francis, A. Liv-Feyman
                                           (A&M) regarding token receivables reconciliation updates
DiNatale, Trevor     7/28/2023       0.4   Review Schedule E taxing detail for upcoming amendments

Esposito, Rob        7/28/2023       0.8   Review and coordination of workstreams and next steps for
                                           Statements/Schedules amendments
Esposito, Rob        7/28/2023       1.1   Review of insider payments data for SOFA 4 disclosures


Esposito, Rob        7/28/2023       1.7   Review and prepare detailed updates to the SOFA 4 & 13 memo

Esposito, Rob        7/28/2023       0.4   Discussion with R. Esposito, L. Francis, and J. Gany (A&M)
                                           regarding amended statements and schedules workflow update
Esposito, Rob        7/28/2023       0.6   Discussion with R. Esposito, L. Francis, J. Gany, and C. Myers
                                           (A&M) regarding statements and schedules refiling
Esposito, Rob        7/28/2023       0.4   Discussion with J. Gany and R. Esposito (A&M) re: Schedule E tax
                                           liabilities
Esposito, Rob        7/28/2023       0.2   Discuss Statements & Schedules amendment filing with R Gordon
                                           and R Esposito (A&M)
Francis, Luke        7/28/2023       1.7   Updates to summary tables for detail / formatting changes for claims
                                           presentation
Francis, Luke        7/28/2023       0.6   Updates to creditor database for changes to notice information


Francis, Luke        7/28/2023       0.7   Updates to insider memo on process with questions for transfers
                                           included
Francis, Luke        7/28/2023       2.1   Review of print out of redacted refiling of 3/15 SOFAs for alameda
                                           silo
Francis, Luke        7/28/2023       1.1   Updates to master creditor database to reflect changes based on
                                           PDF review
Francis, Luke        7/28/2023       1.6   Review of print out of redacted refiling of 3/14 SOFAs for all silos


Francis, Luke        7/28/2023       0.9   Review of DI teams analysis of potential additional payments to
                                           donation counter parties
Francis, Luke        7/28/2023       1.2   Review of customer entitlement entities 3/15 refile for clerical
                                           accuracy
Francis, Luke        7/28/2023       0.8   Review of claims presentation feedback for potential updates


Francis, Luke        7/28/2023       0.8   Working session with J. Gany and L. Francis (A&M) re: S&S
                                           Amendment progress/next steps required
Francis, Luke        7/28/2023       0.6   Discussion with R. Esposito, L. Francis, J. Gany, and C. Myers
                                           (A&M) regarding statements and schedules refiling
Francis, Luke        7/28/2023       0.4   Discussion with R. Esposito, L. Francis, and J. Gany (A&M)
                                           regarding amended statements and schedules workflow update




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Francis, Luke           7/28/2023     0.9   Updates to load files for entry of new line items for asset schedules

Gany, Jared             7/28/2023     3.1   Create reconciliation of amended SOFA 4 to payments provided by
                                            Alix
Gany, Jared             7/28/2023     0.4   Discussion with J. Gany and R. Esposito (A&M) re: Schedule E tax
                                            liabilities
Gany, Jared             7/28/2023     0.4   Discussion with R. Esposito, L. Francis, and J. Gany (A&M)
                                            regarding amended statements and schedules workflow update
Gany, Jared             7/28/2023     0.9   Prepare summary write ups for responses to Schedule F questions


Gany, Jared             7/28/2023     1.3   Research addresses for SOFA 9 load file

Gany, Jared             7/28/2023     2.4   Review addresses for creditor matrix unredacted load file


Gany, Jared             7/28/2023     1.7   Review final SOFA 4 distribution version for quality control purposes

Gany, Jared             7/28/2023     2.9   Search, in Relativity and online, for additional addresses that were
                                            previously unknown
Gany, Jared             7/28/2023     0.8   Working session with J. Gany and L. Francis (A&M) re: S&S
                                            Amendment progress/next steps required
Gany, Jared             7/28/2023     0.6   Discussion with R. Esposito, L. Francis, J. Gany, and C. Myers
                                            (A&M) regarding statements and schedules refiling
Gordon, Robert          7/28/2023     0.2   Discuss Statements & Schedules amendment filing with R Gordon
                                            and R Esposito (A&M)
Gordon, Robert          7/28/2023     0.3   Correspondence on open items for SOFA 4 & 13

Hainline, Drew          7/28/2023     0.4   Follow up on open items to support S&S amendments


Myers, Claire           7/28/2023     1.2   Analyze S&S parties and the address status to determine which
                                            debtors have parties with missing addresses
Myers, Claire           7/28/2023     1.4   Compare claim's agent creditor matrix to parties in SOFAs with
                                            missing addresses
Myers, Claire           7/28/2023     2.1   Compare creditor matrix to parties without addresses in Schedule G
                                            to find possible addresses
Myers, Claire           7/28/2023     1.7   Research parties in relativity from Schedule G for possible
                                            addresses for the amendment
Myers, Claire           7/28/2023     1.8   Research parties with missing addresses in Schedule G for possible
                                            addresses
Myers, Claire           7/28/2023     2.4   Analyze current Schedules G parties to determine parties with
                                            complete address, no address or partial addresses for amendments
Myers, Claire           7/28/2023     0.6   Discussion with R. Esposito, L. Francis, J. Gany, and C. Myers
                                            (A&M) regarding statements and schedules refiling
Okuzu, Ciera            7/28/2023     1.2   Research addresses for entities included in schedule G




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Schedules and Statements
Professional                Date    Hours     Activity
Walker, William         7/28/2023     0.6   Correspond with SOFA/SOAL team regarding treatment of certain
                                            investments in SOFA/SOALS
Walker, William         7/28/2023     0.6   Correspond with K. Kearney (A&M) regarding treatment of certain
                                            investments between debtor & non-debtor
Esposito, Rob           7/29/2023     2.3   Review and modification of SOFA 4-13 open issues and questions

Esposito, Rob           7/29/2023     0.6   Conference with L Francis and R Esposito (A&M) to discuss
                                            Statements/Schedules amendments
Esposito, Rob           7/29/2023     0.3   Review of proposed debtor Statements and Schedules for refile and
                                            unredacted versions
Esposito, Rob           7/29/2023     1.2   Review SOFA 4 data to modify and prepare specific details and
                                            instructions for S&C review
Francis, Luke           7/29/2023     0.6   Conference with L Francis and R Esposito (A&M) to discuss
                                            Statements/Schedules amendments
Francis, Luke           7/29/2023     1.2   Analysis of insider payments to describe exchange withdrawals
                                            within SOFA disclosure
Francis, Luke           7/29/2023     1.6   Review of feedback on insider payments and descriptions to discuss
                                            with legal teams
Francis, Luke           7/29/2023     1.4   Review of linking between insider payments found to reconciliation
                                            of additional teams research
Francis, Luke           7/29/2023     1.9   Review of print out of redacted refiling for 3/15 after including notices
                                            and global notes
Francis, Luke           7/29/2023     1.5   Review of redaction updates to refiling for 3/15 SOFAs


Gany, Jared             7/29/2023     2.4   Review SOFA/Schedules for redaction for Alameda Silo

Gany, Jared             7/29/2023     3.1   Review SOFA/Schedules for redaction for Dotcom Silo


Gany, Jared             7/29/2023     2.9   Review SOFA/Schedules for redaction for WRS Silo

Gany, Jared             7/29/2023     2.1   Review SOFA/Schedules for redaction for Ventures Silo


Kotarba, Steve          7/29/2023     1.4   Respond to open questions re listing of insider payments

Walker, William         7/29/2023     0.9   Create static petition date pricing model for reconciliation with
                                            Statements & Schedules
Esposito, Rob           7/30/2023     0.2   Conference with J Gany and R Esposito (A&M) to discuss accounts
                                            payable
Esposito, Rob           7/30/2023     0.8   Conference with L Francis, J Gany D Lewandowski and R Esposito
                                            (A&M) to review and discuss Statements/Schedules refile and
                                            unredacted reports
Esposito, Rob           7/30/2023     0.3   Prepare responses to Schedule F questions from FTX mgmt

Esposito, Rob           7/30/2023     2.4   Review of Statements/Schedules reports for redaction related refiling




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Professional               Date     Hours     Activity
Francis, Luke           7/30/2023     0.8   Conference with L Francis, J Gany D Lewandowski and R Esposito
                                            (A&M) to review and discuss Statements/Schedules refile and
                                            unredacted reports
Francis, Luke           7/30/2023     1.3   Review of feedback on insider payment descriptions of exchange
                                            transfers / payments
Francis, Luke           7/30/2023     1.6   Review of reprinted redacted schedules to incorporate updates
                                            needed
Francis, Luke           7/30/2023     1.4   Analysis of insider payments based on previously filed complaints
                                            for comparison
Francis, Luke           7/30/2023     2.2   Review of unredacted print outs of SOFAs for Alameda silo


Francis, Luke           7/30/2023     1.2   Updates to investment tracking for amendment reporting of petition
                                            date balances
Francis, Luke           7/30/2023     1.1   Updates to SOFA 9 payments based on additional fact patterns of
                                            exchange transfers
Francis, Luke           7/30/2023     0.7   Working session with D. Lewandowski and L. Francis (A&M) re:
                                            restated schedule preparation
Gany, Jared             7/30/2023     1.4   Review unredacted SOFAs for all debtor silos

Gany, Jared             7/30/2023     0.2   Conference with J Gany and R Esposito (A&M) to discuss accounts
                                            payable
Gany, Jared             7/30/2023     3.1   Review unredacted schedules for Alameda/Ventures silo

Gany, Jared             7/30/2023     0.8   Conference with L Francis, J Gany D Lewandowski and R Esposito
                                            (A&M) to review and discuss Statements/Schedules refile and
                                            unredacted reports
Gany, Jared             7/30/2023     2.7   Review unredacted schedules for WRS/DOTCOM silos


Hainline, Drew          7/30/2023     0.4   Perform research in response to questions on vendor liabilities for
                                            S&S amendments
Hainline, Drew          7/30/2023     0.3   Analyze updates on review comments for schedule F S&S
                                            amendments
Lewandowski, Douglas    7/30/2023     0.7   Working session with D. Lewandowski and L. France (A&M) re:
                                            restated schedule preparation
Lewandowski, Douglas    7/30/2023     0.8   Conference with L Francis, J Gany D Lewandowski and R Esposito
                                            (A&M) to review and discuss Statements/Schedules refile and
                                            unredacted reports
Lewandowski, Douglas    7/30/2023     1.3   Work on creating revised Schedules which reflect the new redaction
                                            policy
Lewandowski, Douglas    7/30/2023     1.8   Work on preparing restated schedule documents to reflect new
                                            redaction order
Lewandowski, Douglas    7/30/2023     0.8   Review revised redacted schedules for S&S refile


Myers, Claire           7/30/2023     1.7   Review redactions for unredacted 3.17 refiling SOFAs




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Professional               Date     Hours     Activity
Myers, Claire           7/30/2023     1.6   Review redactions for unredacted 3.17 refiling schedules

Myers, Claire           7/30/2023     2.1   Add notice or refiling to 3.17 filed schedules


Okuzu, Ciera            7/30/2023     0.7   Review statements and schedules for unredacted updates

Okuzu, Ciera            7/30/2023     1.2   Review unredacted Statement of Financial Affairs for errors

Okuzu, Ciera            7/30/2023     1.8   Update statements and schedules to include notices


Bruck, Ran              7/31/2023     0.5   Working session to finalize prepaid expense by vendor for S&S
                                            amendments with R. Bruck, D. Hainline (A&M)
Esposito, Rob           7/31/2023     0.3   Discussions with A Kranzley and R Esposito (A&M) on
                                            Statements/Schedules refile and unredacted filing
Esposito, Rob           7/31/2023     1.1   Review of unredacted statements/schedules for filing under seal

Esposito, Rob           7/31/2023     1.8   Review of the unredacted Schedule reports for filing under seal


Esposito, Rob           7/31/2023     0.9   Final review and distribution of Statements & Schedules reports for
                                            refiling
Esposito, Rob           7/31/2023     0.5   Teleconference R. Esposito, R. Gordon(A&M) over sequencing of
                                            the refile and amendment schedules
Esposito, Rob           7/31/2023     0.9   Discuss insider payment data with L Francis, S Kotarba and R
                                            Esposito (A&M)
Esposito, Rob           7/31/2023     0.8   Review and analysis of Statements & Schedules refile reports

Francis, Luke           7/31/2023     0.9   Teleconference with S. Kotarba, L. Francis, and R. Esposito (A&M)
                                            re: insider payments and descriptions for SOFA disclosures
Francis, Luke           7/31/2023     1.2   Review of updates to insider payments descriptions for amendment

Francis, Luke           7/31/2023     1.8   Review of unredacted SOFA print outs of 3/15 refile for accuracy


Francis, Luke           7/31/2023     1.7   Review of unredacted Schedule print outs of 3/15 refile for accuracy

Francis, Luke           7/31/2023     1.4   Analysis of token warrants with funding amount comparison to token
                                            receivables
Gany, Jared             7/31/2023     2.1   Create summary of changes for crypto asset holdings for all silos


Gany, Jared             7/31/2023     2.9   Update crypto assets load file for Alameda using 7.21 Coin Report

Gordon, Robert          7/31/2023     0.3   Call with M. Cilia(FTX) over filing scheduled for refiled SOFAs


Gordon, Robert          7/31/2023     0.7   Review SOFA memo for comments and edits to preparation process




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Professional              Date     Hours     Activity
Gordon, Robert         7/31/2023      0.5   Teleconference R. Esposito, R. Gordon (A&M) over sequencing of
                                            the refile and amendment schedules
Hainline, Drew         7/31/2023      0.5   Working session to finalize prepaid expense by vendor for S&S
                                            amendments with R. Bruck, D. Hainline (A&M)
Hainline, Drew         7/31/2023      0.6   Review updated information on WRS prepaid expenses for S&S
                                            amendments
Hainline, Drew         7/31/2023      0.4   Draft updated schedule for WRS prepaid expenses to support
                                            details for S&S amendments
Hainline, Drew         7/31/2023      0.3   Draft email summary of WRS prepaid expenses to provide detail for
                                            S&S amendments
Kotarba, Steve         7/31/2023      0.9   Teleconference with S. Kotarba, L. Francis, and R. Esposito (A&M)
                                            re: insider payments and descriptions for SOFA disclosures
Kotarba, Steve         7/31/2023      0.4   Resolve comments to drafts re insider payments


Lewandowski, Douglas   7/31/2023      2.1   Review unredacted and restated SOFA drafts for UST/Court review
                                            and filing
Myers, Claire          7/31/2023      0.6   Review S&S redacted drafts for refiling


Myers, Claire          7/31/2023      2.1   Review 3.17.23 S&S for errors in addresses for refiling

Myers, Claire          7/31/2023      0.8   Analyze contracts from claimants for claims reconciliation

Myers, Claire          7/31/2023      2.4   Update addresses in S&S with corrections found in address review


Okuzu, Ciera           7/31/2023      2.9   Review Statement of Financial Affairs (SOFAs) for potential errors in
                                            address fields
Okuzu, Ciera           7/31/2023      2.0   Review Statement of Financial Affairs (SOFAs) and update the
                                            addresses that are in Bahamas
Okuzu, Ciera           7/31/2023      2.9   Continue the review of the Statement of Financial Affairs (SOFAs)
                                            for potential errors in address fields

Subtotal                            931.6

Tax Initiatives
Professional              Date     Hours     Activity
Gordon, Robert          7/4/2023      0.6   Finalize initial tax responses for FY2022 Tax returns

Parker, Brandon         7/4/2023      0.4   Update WRS Silo tax organization chart


Parker, Brandon         7/4/2023      0.6   Update Alameda Research Silo Tax Org Chart

Howe, Christopher       7/5/2023      3.1   Review Overall Tax Workstreams for Debtor

Jacobs, Kevin           7/5/2023      0.3   Conference K. Jacobs (A&M) and T. Shea (EY) re 2022 tax return



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Tax Initiatives
Professional                Date     Hours     Activity
Coverick, Steve           7/6/2023     1.6   Review and provide comments to A&M tax team on IRS tax memo

Ramanathan, Kumanan       7/6/2023     1.2   Review of FTX tax memo relating to crypto matters


Seaway, Bill              7/6/2023     0.4   Read and review S&C memo to FTX board regarding incomes taxes
                                             to provide feedback to S&C
Gordon, Robert            7/7/2023     0.2   Call to review third party tax requests with R. Gordon, M. Jones
                                             (A&M)
Jacobs, Kevin             7/7/2023     0.3   Conference K. Jacobs (A&M ) and D. Hariton (S&C) re
                                             cryptocurrency and IRS claims
Jacobs, Kevin             7/7/2023     0.3   Correspondence re EY information request for 2022 tax return

Jones, Mackenzie          7/7/2023     1.4   Prepare support package for additional third party tax requests


Jones, Mackenzie          7/7/2023     0.2   Call to discuss Alameda third-party tax requests with K. Kearney and
                                             M. Jones (A&M)
Jones, Mackenzie          7/7/2023     2.6   Analyze WRS entities for third party requested expense categories


Jones, Mackenzie          7/7/2023     0.2   Call to review third party tax requests with R. Gordon, M. Jones
                                             (A&M)
Kearney, Kevin            7/7/2023     0.2   Call to discuss Alameda third-party tax requests with K. Kearney and
                                             M. Jones (A&M)
Howe, Christopher         7/9/2023     1.2   Internal conference (C. Howe, B. Seaway) re tax update on strategy


Jacobs, Kevin             7/9/2023     2.4   Review correspondence re US tax considerations

Jacobs, Kevin             7/9/2023     0.9   Internal conference (K. Jacobs, B. Seaway) re the state of tax
                                             workstreams
Seaway, Bill              7/9/2023     0.9   Internal conference (K. Jacobs, B. Seaway) re the state of tax
                                             workstreams
Seaway, Bill              7/9/2023     1.2   Internal conference (C. Howe, B. Seaway) re tax update on strategy


Seaway, Bill              7/9/2023     2.2   Draft powerpoint slides for upcoming call to discuss tax issues
                                             related to Customer assets
Coverick, Steve          7/10/2023     0.6   Call with S. Coverick, K. Ramanathan, G. Walia (A&M) and B.
                                             Glueckstein, J. Croke, A. Kranzley (S&C) to discuss legal entity
                                             analysis
Coverick, Steve          7/10/2023     0.5   Discuss tax strategy update with C. Howe (A&M)


Coverick, Steve          7/10/2023     0.4   Call with S. Coverick, K. Ramanathan, G. Walia (A&M) to discuss
                                             legal entity analysis
Coverick, Steve          7/10/2023     1.8   Review and provide comments on revised crypto tax analysis

Howe, Christopher        7/10/2023     0.6   Internal conference (C. Howe, B. Seaway, S. Coverick) re various
                                             strategies associated with IRS priority claims


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Tax Initiatives
Professional                 Date    Hours     Activity
Howe, Christopher        7/10/2023     3.1   Research re: taxation of cryptocurrency assets

Howe, Christopher        7/10/2023     0.9   Review Project Focus Request List items


Jacobs, Kevin            7/10/2023     0.2   Conference K. Jacobs (A&M) and D. Hariton (S&C) re crypto
                                             currency
Jacobs, Kevin            7/10/2023     0.5   Conference K. Jacobs, B. Seaway, S. Wilson, M. Lannan (A&M) and
                                             A. Ritz (EY) re discussion of 382 study
Jacobs, Kevin            7/10/2023     0.8   Internal conference (K. Jacobs, B. Seaway) re various strategies
                                             associated with IRS priority claims
Kotarba, Chris           7/10/2023     0.4   Seek approval for payment of Hannam Group Inc. outstanding
                                             invoices
Kotarba, Chris           7/10/2023     0.2   Gather Project Focus diligence items in regards to customer
                                             payments and onboarding process
Seaway, Bill             7/10/2023     0.8   Internal conference (K. Jacobs, B. Seaway) re various strategies
                                             associated with IRS priority claims
Seaway, Bill             7/10/2023     0.6   Internal conference (C. Howe, B. Seaway, S. Coverick) re various
                                             strategies associated with IRS priority claims
Seaway, Bill             7/10/2023     0.5   Conference K. Jacobs, B. Seaway, S. Wilson, M. Lannan (A&M) and
                                             A. Ritz (EY) re discussion of 382 study
Wilson, Sean             7/10/2023     0.5   Conference K. Jacobs, B. Seaway, S. Wilson, M. Lannan (A&M) and
                                             A. Ritz (EY) re discussion of 382 study
Coverick, Steve          7/11/2023     0.5   Call with S. Coverick, K. Ramanathan, K. Jacobs, G. Walia, and B.
                                             Seaway (A&M) to discuss legal entity analysis
Gordon, Robert           7/11/2023     0.2   Review tax request list tracker for remaining open items

Howe, Christopher        7/11/2023     3.2   Review Tax Org Chart to understand taxation of each silo


Seaway, Bill             7/11/2023     0.5   Call with S. Coverick, K. Ramanathan, K. Jacobs, G. Walia, and B.
                                             Seaway (A&M) to discuss legal entity analysis
Wilson, Sean             7/11/2023     0.6   Review Section 382 study testing dates


Coverick, Steve          7/13/2023     0.4   Discuss crypto tax attribution decisions with E. Mosley (A&M)

Coverick, Steve          7/13/2023     0.8   Call to discuss Alameda crypto asset legal entity ownership with J.
                                             Ray, M. Cilia (FTX), A. Dietderich, B. Glueckstein, J. Bromley, J.
                                             Croke, A. Kranzley, D. Hariton (S&C), T. Shea, D. Bailey (EY), E.
                                             Mosley, S. Coverick, K. Ramanathan, K. Jacobs, and G.
Coverick, Steve          7/13/2023     0.2   Discuss crypto tax analysis with E. Mosley (A&M)

Coverick, Steve          7/13/2023     0.2   Discuss tax memo for board with T. Shea (EY)


Coverick, Steve          7/13/2023     0.2   Discuss crypto tax impacts with G. Walia (A&M)

Howe, Christopher        7/13/2023     0.3   Discussion with E. Mosley (A&M) regarding tax considerations in
                                             anticipation of management update call

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Tax Initiatives
Professional                Date     Hours     Activity
Howe, Christopher        7/13/2023     0.3   Internal conference call (K. Jacobs and C. Howe) to discuss return
                                             positions on assets
Howe, Christopher        7/13/2023     0.7   Participate in call re: crypto tax attributions with J. Ray, M. Cilia, K.
                                             Schultea (FTX), A. Dietderich, B. Glueckstein, A. Kranzley, D.
                                             Hariton (S&C), T. Shea (EY), E. Mosley, S. Coverick, G. Walia, K.
                                             Ramanathan, C. Howe, K. Jacobs (A&M)
Howe, Christopher        7/13/2023     3.1   Review preliminary gameplan of returns positions on assets prior to
                                             call with K. Jacobs
Jacobs, Kevin            7/13/2023     0.6   Call with K. Jacobs and B. Seaway (A&M) and D. Bailey (EY) to
                                             discuss historic crypto positions
Jacobs, Kevin            7/13/2023     0.6   Call with K. Jacobs (A&M) and T. Shea (EY) to discuss 2022 tax
                                             return filing position
Jacobs, Kevin            7/13/2023     1.1   Conference Call B. Seaway, K. Jacobs (A&M) and T. Shea & D.
                                             Bailey (EY) re: mark to market on crypto 2022 etc
Jacobs, Kevin            7/13/2023     0.7   Conference Call B. Seaway, K. Jacobs (A&M), T. Shea & D. Bailey
                                             (EY), John Ray (Debtors), S&C, re: owner of crypto
Jacobs, Kevin            7/13/2023     0.9   Correspondence re taxation of cryptocurrency positions


Jacobs, Kevin            7/13/2023     0.3   Internal conference call (K. Jacobs and B. Seaway) to past
                                             discussions on asset mapping
Jacobs, Kevin            7/13/2023     0.3   Internal conference call (K. Jacobs and C. Howe) to discuss return
                                             positions on assets
Jacobs, Kevin            7/13/2023     1.3   Research the characterization and associated treatment of crypto
                                             assets for tax purposes
Jacobs, Kevin            7/13/2023     0.2   Call with K. Jacobs (A&M) and D. Hariton (S&C) to discuss mapping
                                             of asset locations
Mosley, Ed               7/13/2023     0.2   Discuss crypto tax analysis with S.Coverick (A&M)


Mosley, Ed               7/13/2023     0.3   Discission with S&C (A.Dietderich, B.Glueckstein, A.Kranzley)
                                             regarding next steps for tax filings
Mosley, Ed               7/13/2023     0.4   Discuss crypto tax attribution decisions with S.Coverick (A&M)


Mosley, Ed               7/13/2023     0.7   Participate in call re: crypto tax attributions with J. Ray, M. Cilia, K.
                                             Shultea (FTX), A. Dietderich, B. Glueckstein, A. Kranzley, D. Hariton
                                             (S&C), T. Shea (EY), E. Mosley, S. Coverick, G. Walia, K.
                                             Ramanathan, C. Howe, K. Jacobs (A&M)
Mosley, Ed               7/13/2023     0.3   Discussion with C.Howe (A&M) regarding tax considerations in
                                             anticipation of management update call
Ramanathan, Kumanan      7/13/2023     0.7   Call to discuss Alameda crypto asset legal entity ownership with J.
                                             Ray, M. Cilia (FTX), A. Dietderich, and others (S&C), T. Shea, D.
                                             Bailey (EY), E. Mosley, and others (A&M)
Seaway, Bill             7/13/2023     1.3   Estimate 'mark to market' taxable income for tax years 2022 and
                                             prior; drafting email on same
Seaway, Bill             7/13/2023     0.3   Internal conference call (K. Jacobs and B. Seaway) to past
                                             discussions on asset mapping
Seaway, Bill             7/13/2023     0.6   Call with K. Jacobs and B. Seaway (A&M) and D. Bailey (EY) to
                                             discuss historic crypto positions

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Tax Initiatives
Professional                Date     Hours     Activity
Seaway, Bill             7/13/2023     0.2   Conference Call B. Seaway (A&M) and T. Shea & D. Bailey (EY) re:
                                             mark to market on crypto 2022 etc
Seaway, Bill             7/13/2023     0.7   Conference Call B. Seaway, K. Jacobs (A&M), T. Shea & D. Bailey
                                             (EY), John Ray (Debtors), S&C, re: owner of crypto
Seaway, Bill             7/13/2023     1.1   Conference Call B. Seaway, K. Jacobs (A&M) and T. Shea & D.
                                             Bailey (EY) re: mark to market on crypto 2022 etc
Walia, Gaurav            7/13/2023     0.2   Discuss crypto tax impacts with S. Coverick, G. Walia (A&M)

Wilson, Sean             7/13/2023     0.5   Review Section 382 study testing dates


Gordon, Robert           7/14/2023     0.9   Review historical alameda financial information to respond to tax
                                             request on asset values
Howe, Christopher        7/14/2023     0.3   Call with K. Jacobs, C. Howe, B. Seaway (A&M), D. Hariton (EY), T.
                                             Shea, J. Berman, and B. Mistler (EY) to discuss status of IRS audit
                                             and 2022 tax return preparation
Jacobs, Kevin            7/14/2023     0.4   Call with K. Jacobs (A&M) and D. Hariton (EY) to discuss
                                             yesterday's all hands call on cryptocurrency assets
Jacobs, Kevin            7/14/2023     0.3   Call with K. Jacobs, C. Howe, B. Seaway (A&M), D. Hariton (EY), T.
                                             Shea, J. Berman, and B. Mistler (EY) to discuss status of IRS audit
                                             and 2022 tax return preparation
Seaway, Bill             7/14/2023     0.3   Call with K. Jacobs, C. Howe, B. Seaway (A&M), D. Hariton (EY), T.
                                             Shea, J. Berman, and B. Mistler (EY) to discuss status of IRS audit
                                             and 2022 tax return preparation
Seaway, Bill             7/14/2023     0.4   Research re: different tax accounting methods


Jacobs, Kevin            7/17/2023     0.4   Internal conference call (K. Jacobs and B. Seaway) to discuss
                                             accounting methods memo
Jacobs, Kevin            7/17/2023     0.4   Review correspondence with IRS re historic tax returns


Jacobs, Kevin            7/17/2023     0.9   Research accounting methods including ability to change and adopt

Seaway, Bill             7/17/2023     0.4   Internal conference call (K. Jacobs and B. Seaway) to discuss
                                             accounting methods memo
Seaway, Bill             7/17/2023     1.8   Review and make comments to EY memo


Gordon, Robert           7/18/2023     0.2   Correspondence on tax requests on Alameda trial balance

Jacobs, Kevin            7/18/2023     0.9   Conference K. Jacobs and B. Seaway (A&M), A. Katelas, D. Bailey,
                                             J. Berman, J. Scott, L. Jayanthi, L. Lovelace, and T. Shea (EY), and
                                             D. Hariton (S&C) re tax workstreams, 2022 tax return, and treatment
                                             of cryptocurrency
Jacobs, Kevin            7/18/2023     1.7   Research regarding taxable years of consolidated group


Kotarba, Chris           7/18/2023     0.7   Complete Vietnam treaty application info request

Kotarba, Chris           7/18/2023     1.2   Gather Project Focus tax diligence items regarding digital taxes in
                                             customer jurisdictions

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Tax Initiatives
Professional                Date     Hours     Activity
Seaway, Bill             7/18/2023     0.7   Review memo from S&C on accounting period

Seaway, Bill             7/18/2023     0.9   Conference K. Jacobs and B. Seaway (A&M), A. Katelas, D. Bailey,
                                             J. Berman, J. Scott, L. Jayanthi, L. Lovelace, and T. Shea (EY), and
                                             D. Hariton (S&C) re tax workstreams, 2022 tax return, and treatment
                                             of cryptocurrency
Coverick, Steve          7/19/2023     0.5   Call with C. Howe, K. Jacobs, R. Gordon and S. Coverick (A&M) to
                                             discuss status of tax workstreams
Coverick, Steve          7/19/2023     0.6   Call with D. Hariton (S&C), M. Cilia (FTX), T. Shea (EY), K. Jacobs,
                                             S. Coverick (A&M) to discuss IRS tax return status
Coverick, Steve          7/19/2023     0.6   Call with T. Shea (EY) re: IRS tax claim analysis

Coverick, Steve          7/19/2023     1.2   Review and assess plan modeling impact of EY Tax Memo


Glynn, Maiti             7/19/2023     0.5   Conference K. Jacobs, B. Seaway, and M. Glynn (A&M), Jen (FTX),
                                             T. Shea, L. Lovelace, A. Bost, C. Ancona, D. Katsnelson, D.
                                             Hammon, E. Chong, H. Choudary, K. Staromiejska, O. Hall J.
                                             Berman, and B. Mistler (EY) re employee inquiry
Gordon, Robert           7/19/2023     1.2   Review open items for Alameda silo tax returns provided by EY

Gordon, Robert           7/19/2023     0.2   Call to discuss third party tax requests with R. Gordon, K. Jacobs,
                                             M. Jones (A&M)
Gordon, Robert           7/19/2023     0.4   Call to discuss outstanding tax requests with T. Shea, L. Jayanthi, B.
                                             Mistler, J. Scott, D. Bailey (EY) K. Jacobs, R. Gordon, M. Jones
                                             (A&M)
Gordon, Robert           7/19/2023     0.5   Call with C. Howe, K. Jacobs, R. Gordon and S. Coverick (A&M) to
                                             discuss status of tax workstreams
Howe, Christopher        7/19/2023     3.2   Review overall tax workstream game plan prior to call with R.
                                             Gordon
Howe, Christopher        7/19/2023     1.9   Research regarding Section 442 for Debtor

Howe, Christopher        7/19/2023     0.5   Call with C. Howe, K. Jacobs, R. Gordon and S. Coverick (A&M) to
                                             discuss status of tax workstreams
Jacobs, Kevin            7/19/2023     0.7   Internal A&M conference call w/ K. Jacobs, B. Seaway: sections
                                             442, 301.9100-3 and 2002-39
Jacobs, Kevin            7/19/2023     0.2   Call to discuss third party tax requests with R. Gordon, K. Jacobs,
                                             M. Jones (A&M)
Jacobs, Kevin            7/19/2023     0.5   Call with C. Howe, K. Jacobs, R. Gordon and S. Coverick (A&M) to
                                             discuss status of tax workstreams
Jacobs, Kevin            7/19/2023     0.6   Call with D. Hariton (S&C), M. Cilia (FTX), T. Shea (EY), K. Jacobs,
                                             S. Coverick (A&M) to discuss IRS tax return status
Jacobs, Kevin            7/19/2023     0.5   Call with K. Jacobs, and S. Coverick (A&M), T. Shea (EY), D.
                                             Hariton (S&C), M. Cilia (FTX) re status of tax workstreams
Jacobs, Kevin            7/19/2023     0.2   Conference K. Jacobs and D. Bailey (EY) re cryptocurrency gains
                                             and losses




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Tax Initiatives
Professional                 Date    Hours     Activity
Jacobs, Kevin            7/19/2023     0.4   Call to discuss outstanding tax requests with T. Shea, L. Jayanthi, B.
                                             Mistler, J. Scott, D. Bailey (EY) K. Jacobs, R. Gordon, M. Jones
                                             (A&M)
Jacobs, Kevin            7/19/2023     0.8   Correspondence re tax characterization of cryptocurrency

Jacobs, Kevin            7/19/2023     1.2   Review EY 2022 open items request as of 7-19-23


Jacobs, Kevin            7/19/2023     1.6   Review EY memo re character of cryptocurrency income

Jacobs, Kevin            7/19/2023     0.5   Conference K. Jacobs, B. Seaway, and M. Glynn (A&M), Jen (FTX),
                                             T. Shea, L. Lovelace, A. Bost, C. Ancona, D. Katsnelson, D.
                                             Hammon, E. Chong, H. Choudary, K. Staromiejska, O. Hall J.
                                             Berman, and B. Mistler (EY) re employee inquiry
Jones, Mackenzie         7/19/2023     0.4   Call to discuss outstanding tax requests with T. Shea, L. Jayanthi, B.
                                             Mistler, J. Scott, D. Bailey (EY) K. Jacobs, R. Gordon, M. Jones
                                             (A&M)
Jones, Mackenzie         7/19/2023     0.2   Call to discuss third party tax requests with R. Gordon, K. Jacobs,
                                             M. Jones (A&M)
Kotarba, Chris           7/19/2023     0.2   Gather taxable year 2022 tax information requests

Kotarba, Chris           7/19/2023     1.3   Gather Project Focus tax diligence items regarding tax filing advice


Mosley, Ed               7/19/2023     0.9   Review of tax documentation from EY regarding Alameda Research
                                             with regard to plan implications
Ramanathan, Kumanan      7/19/2023     0.3   Review of FTT materials and provide feedback to tax team


Seaway, Bill             7/19/2023     0.4   Research 26 USC section 442 re: tax consequences

Seaway, Bill             7/19/2023     0.5   Conference K. Jacobs, B. Seaway, and M. Glynn (A&M), Jen (FTX),
                                             T. Shea, L. Lovelace, A. Bost, C. Ancona, D. Katsnelson, D.
                                             Hammon, E. Chong, H. Choudary, K. Staromiejska, O. Hall J.
                                             Berman, and B. Mistler (EY) re employee inquiry
Seaway, Bill             7/19/2023     0.7   Internal A&M conference call w/ K. Jacobs, B. Seaway: sections
                                             442, 301.9100-3 and 2002-39
Gordon, Robert           7/20/2023     0.4   Call with D. Jena, B. Mistler, T. Shea (EY), K. Kearney, R. Gordon,
                                             J. Faett, J. Zatz, K. Jacobs (A&M) to discuss trial balance processes
Gordon, Robert           7/20/2023     0.2   Call to discuss next steps on third party tax requests with R. Gordon,
                                             M. Jones (A&M)
Gordon, Robert           7/20/2023     0.3   Call with K. Kearney, R. Gordon, K. Jacobs (A&M) follow up re call
                                             with EY re trial balance processes
Gordon, Robert           7/20/2023     0.2   Read through latest request from EY Tax for FY22 tax filing

Gordon, Robert           7/20/2023     0.7   Call with R. Gordon, K. Kearney(A&M) to debrief on request from EY
                                             Tax for Alameda financials
Jacobs, Kevin            7/20/2023     0.4   Call with D. Jena, B. Mistler, T. Shea (EY), K. Kearney, R. Gordon,
                                             J. Faett, J. Zatz, K. Jacobs (A&M) to discuss trial balance
                                             processes - CODE: ACCT


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Tax Initiatives
Professional                Date     Hours     Activity
Jacobs, Kevin            7/20/2023     0.4   Correspondence re historic Alameda financial information

Jacobs, Kevin            7/20/2023     0.4   Correspondence re location of various assets within Alameda silo


Jacobs, Kevin            7/20/2023     1.1   Review materials re location of various assets within Alameda silo

Jones, Mackenzie         7/20/2023     1.6   Research entity detail for third party tax requests

Jones, Mackenzie         7/20/2023     2.2   Consolidate tax request document versions to aggregate entity detail
                                             data
Jones, Mackenzie         7/20/2023     0.2   Call to discuss next steps on third party tax requests with R. Gordon,
                                             M. Jones (A&M)
Jones, Mackenzie         7/20/2023     0.1   Draft response to third party tax request questions


Jones, Mackenzie         7/20/2023     1.3   Review updated list of requests from third party regarding 2022 tax
                                             information
Kearney, Kevin           7/20/2023     0.7   Call with R. Gordon, K. Kearney(A&M) to debrief on request from EY
                                             Tax for Alameda financials
Kotarba, Chris           7/20/2023     2.9   Continue to gather Project Focus tax diligence items related to
                                             customer onboarding process
Piechota, Robert         7/20/2023     2.1   Review box folder for audit information and sales and use tax filings

Glynn, Maiti             7/21/2023     0.4   Conference K. Jacobs and M. Glynn (A&M), D. Hariton (S&C), T.
                                             Shea, J. Scott, J. Berman, and B. Mistler (EY) re IRS claims and
                                             filing of the returns
Gordon, Robert           7/21/2023     0.8   Call to discuss third party tax requests with R. Gordon, K. Jacobs, K.
                                             Kearney, M. Jones (A&M)
Gordon, Robert           7/21/2023     0.6   Review prepared responses for EY tax request list prepared by A&M

Howe, Christopher        7/21/2023     2.9   Review draft letter to Department of Justice regarding IRS claims


Howe, Christopher        7/21/2023     1.4   Review third party tax request lists

Jacobs, Kevin            7/21/2023     0.8   Call to discuss third party tax requests with R. Gordon, K. Jacobs, K.
                                             Kearney, M. Jones (A&M)
Jacobs, Kevin            7/21/2023     0.4   Conference K. Jacobs and M. Glynn (A&M), D. Hariton (S&C), T.
                                             Shea, J. Scott, J. Berman, and B. Mistler (EY) re IRS claims and
                                             filing of the returns
Jacobs, Kevin            7/21/2023     0.3   Internal conference K. Jacobs and B. Seaway (A&M) re draft letter to
                                             DOJ regarding IRS claims
Jacobs, Kevin            7/21/2023     0.4   Review draft letter to DOJ regarding IRS claims


Jones, Mackenzie         7/21/2023     0.4   Draft communication to third party re: tax requests

Jones, Mackenzie         7/21/2023     1.4   Finalize support for third party tax requests



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Professional                 Date    Hours     Activity
Jones, Mackenzie         7/21/2023     0.9   Compile additional support for third party tax preparers

Jones, Mackenzie         7/21/2023     0.8   Call to discuss third party tax requests with R. Gordon, K. Jacobs, K.
                                             Kearney, M. Jones (A&M)
Jones, Mackenzie         7/21/2023     0.2   Review tax communication to third party re: requests for return
                                             support
Kearney, Kevin           7/21/2023     0.8   Call to discuss third party tax requests with R. Gordon, K. Jacobs, K.
                                             Kearney, M. Jones (A&M)
Kotarba, Chris           7/21/2023     0.6   Complete federal compliance request tracker


Kotarba, Chris           7/21/2023     0.4   Gather Project Focus tax diligence items regarding tax registrations -
                                             7/21
Kotarba, Chris           7/21/2023     0.2   Obtain payment of Korean tax invoices


Seaway, Bill             7/21/2023     0.3   Internal conference K. Jacobs and B. Seaway (A&M) re draft letter to
                                             DOJ regarding IRS claims
Jacobs, Kevin            7/23/2023     0.8   Review correspondence re 2022 tax return filing


Kotarba, Chris           7/23/2023     0.5   Seek Vietnam treaty relief application documents

Seaway, Bill             7/23/2023     1.6   Provide comments on S&C write up regarding accounting periods

Gordon, Robert           7/24/2023     0.7   Review request from EY tax for updated debtor trial balances


Gordon, Robert           7/24/2023     0.9   Conference R. Gordon, K. Kearney, K. Jacobs (A&M), T. Shea et al
                                             (EY), M. Cilia, R. Hoskins (RLKS) re data underlying 2022 tax returns
Howe, Christopher        7/24/2023     1.9   Review status of Internal Revenue Service claims


Jacobs, Kevin            7/24/2023     0.9   Internal conference call with B. Seaway and K. Jacobs (A&M) re:
                                             payroll taxes, section 442 conformity
Jacobs, Kevin            7/24/2023     0.8   Conference R. Gordon, K. Kearney, K. Jacobs (partial) (A&M), T.
                                             Shea et al (EY), M. Cilia, R. Hoskins (RLKS) re data underlying 2022
                                             tax returns
Jacobs, Kevin            7/24/2023     0.2   Conference K. Jacobs and B. Seaway (A&M), D. Hariton et al (S&C)
                                             re status of IRS claims and 2022 tax returns
Jacobs, Kevin            7/24/2023     0.7   Conference K. Jacobs (A&M), D. Hariton et al (S&C), S. Joffe (FTI)
                                             and G. Silber (Paul Hastings) re status of IRS claims
Jacobs, Kevin            7/24/2023     1.4   Research regarding 2022 tax returns and filing deadlines


Kearney, Kevin           7/24/2023     0.9   Conference R. Gordon, K. Kearney, K. Jacobs (partial) (A&M), T.
                                             Shea et al (EY), M. Cilia, R. Hoskins (RLKS) re data underlying 2022
                                             tax returns
Kotarba, Chris           7/24/2023     0.3   Gather Project Focus tax diligence items in response to tax authority
                                             queries
Parker, Brandon          7/24/2023     0.8   Update FTX Trading Tax organization chart



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Tax Initiatives
Professional                Date     Hours     Activity
Parker, Brandon          7/24/2023     0.2   Review and provide comments on proposed FTX Tax Organizational
                                             Org chart
Seaway, Bill             7/24/2023     0.2   Conference K. Jacobs and B. Seaway (A&M), D. Hariton et al (S&C)
                                             re status of IRS claims and 2022 tax returns
Seaway, Bill             7/24/2023     0.9   Internal conference call with B. Seaway and K. Jacobs (A&M) re:
                                             payroll taxes, section 442 conformity
Seaway, Bill             7/24/2023     0.7   Research 26 USC 3121s re: FTX Silos

Seaway, Bill             7/24/2023     0.9   Review organization chart for required conforming period changes
                                             under 442
Glynn, Maiti             7/25/2023     0.9   Conference K. Jacobs, B. Seaway, and M. Glynn (A&M), B. Mistler,
                                             L. Lovelace, D. Bailey, J. Berman, A. Katelas, L. Jayanthi (EY), and
                                             D. Hariton (S&C) re IRS claims
Gordon, Robert           7/25/2023     0.2   Call to review support documents for latest third party tax requests
                                             with K. Jacobs, R. Gordon, M. Jones (A&M)
Hainline, Drew           7/25/2023     0.3   Call to review latest financial info for Dotcom entities for third party
                                             tax request with D. Hainline, M. Jones (A&M)
Hainline, Drew           7/25/2023     0.3   Respond to questions on availability of 10/31/22 financial statement
                                             presentations for DOTCOM-silo entities
Jacobs, Kevin            7/25/2023     0.9   Conference K. Jacobs, B. Seaway, and M. Glynn (A&M), B. Mistler,
                                             L. Lovelace, D. Bailey, J. Berman, A. Katelas, L. Jayanthi (EY), and
                                             D. Hariton (S&C) re IRS claims
Jacobs, Kevin            7/25/2023     0.3   Internal A&M conference call with B. Seaway and K. Jacobs further
                                             discussions re section 442
Jones, Mackenzie         7/25/2023     2.9   Compile October 2022 trial balances from FTX internal sources for
                                             third party tax preparers
Jones, Mackenzie         7/25/2023     2.2   Compile October 2022 financial statements from various sources for
                                             third party tax preparers
Jones, Mackenzie         7/25/2023     0.2   Call to review support documents for latest third party tax requests
                                             with K. Jacobs, R. Gordon, M. Jones (A&M)
Jones, Mackenzie         7/25/2023     0.3   Call to review latest financial info for Dotcom entities for third party
                                             tax request with D. Hainline, M. Jones (A&M)
Jones, Mackenzie         7/25/2023     0.7   Review new support files for third party tax preparers

Jones, Mackenzie         7/25/2023     0.3   Research entity legal name change documents for third party tax
                                             preparers
Seaway, Bill             7/25/2023     0.9   Conference K. Jacobs, B. Seaway, and M. Glynn (A&M), B. Mistler,
                                             L. Lovelace, D. Bailey, J. Berman, A. Katelas, L. Jayanthi (EY), and
                                             D. Hariton (S&C) re IRS claims
Seaway, Bill             7/25/2023     0.3   Internal A&M conference call with B. Seaway and K. Jacobs further
                                             discussions re section 442
Coverick, Steve          7/26/2023     0.2   Call with K. Jacobs, R. Gordon and S. Coverick (A&M) to discuss
                                             status of tax workstreams
Coverick, Steve          7/26/2023     0.2   Call with E. Mosley (A&M) to discuss crypto tax implications analysis




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Tax Initiatives
Professional                 Date    Hours     Activity
Glustein, Steven         7/26/2023     0.4   Call with M. Zhuo, L. Lovelace (EY), D. Nizhner, A. Titus, S. Glustein
                                             (A&M) re: FTX PFIC
Glynn, Maiti             7/26/2023     0.5   Conference K. Jacobs, B. Seaway, and M. Glynn (A&M), A. Bost, C.
                                             Ancona, K. Wrenn, J. DeVincenzo, D. Katsnelson, H. Choudary, O.
                                             Hall, P. Billings, Z. Haas, and N. Srivastava (EY), Jen (FTX) re tax
                                             returns and employee inquiry
Glynn, Maiti             7/26/2023     0.5   Conference B. Seaway, and M. Glynn (A&M), L. Lovelace, T. Shea,
                                             D. Bailey (EY), and D. Hariton (S&C) re IRS claims
Gordon, Robert           7/26/2023     0.2   Call to review support documents for latest third party tax requests
                                             with K. Jacobs, R. Gordon, M. Jones (A&M)
Gordon, Robert           7/26/2023     0.2   Call with K. Jacobs, R. Gordon and S. Coverick (A&M) to discuss
                                             status of tax workstreams
Hainline, Drew           7/26/2023     0.2   Call to discuss support documents for latest third party tax requests
                                             with D. Hainline M. Jones (A&M)
Jacobs, Kevin            7/26/2023     0.2   Call with K. Jacobs, R. Gordon and S. Coverick (A&M) to discuss
                                             status of tax workstreams
Jacobs, Kevin            7/26/2023     0.5   Conference K. Jacobs, B. Seaway, and M. Glynn (A&M), A. Bost, C.
                                             Ancona, K. Wrenn, J. DeVincenzo, D. Katsnelson, H. Choudary, O.
                                             Hall, P. Billings, Z. Haas, and N. Srivastava (EY), Jen (FTX) re
                                             various transactions
Jacobs, Kevin            7/26/2023     0.3   Internal A&M conference call with B. Seaway and K. Jacobs further
                                             discussions re section 442
Jacobs, Kevin            7/26/2023     1.6   Research re application of section 442

Jacobs, Kevin            7/26/2023     0.2   Call to review support documents for latest third party tax requests
                                             with K. Jacobs, R. Gordon, M. Jones (A&M)
Jacobs, Kevin            7/26/2023     0.9   Conference K. Jacobs and T. Shea re 2022 tax return filing

Jones, Mackenzie         7/26/2023     1.4   Perform comparative analysis on historical financial statements
                                             requested for third party tax request
Jones, Mackenzie         7/26/2023     1.2   Review completeness of documentation to send to third party tax
                                             preparers
Jones, Mackenzie         7/26/2023     0.6   Prepare support package for new financials request from third party
                                             tax preparers
Jones, Mackenzie         7/26/2023     0.2   Call to discuss support documents for latest third party tax requests
                                             with D. Hainline M. Jones (A&M)
Jones, Mackenzie         7/26/2023     0.2   Draft data requests to Japan and Europe for 10/31 tax information

Jones, Mackenzie         7/26/2023     0.2   Call to review support documents for latest third party tax requests
                                             with K. Jacobs, R. Gordon, M. Jones (A&M)
Jones, Mackenzie         7/26/2023     0.4   Draft email communication to third party tax preparers related to
                                             10/31 document requests
Mosley, Ed               7/26/2023     0.2   Call with S.Coverick (A&M) to discuss crypto tax implications
                                             analysis
Nizhner, David           7/26/2023     0.4   Call with M. Zhuo, L. Lovelace (EY), D. Nizhner, A. Titus, S. Glustein
                                             (A&M) re: FTX PFIC


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Tax Initiatives
Professional                 Date    Hours     Activity
Seaway, Bill             7/26/2023     0.5   Conference K. Jacobs, B. Seaway, and M. Glynn (A&M), A. Bost, C.
                                             Ancona, K. Wrenn, J. DeVincenzo, D. Katsnelson, H. Choudary, O.
                                             Hall, P. Billings, Z. Haas, and N. Srivastava (EY), Jen (FTX)
Seaway, Bill             7/26/2023     0.3   Internal A&M conference call with B. Seaway and K. Jacobs further
                                             discussions re section 442
Seaway, Bill             7/26/2023     0.3   Review EY's draft of affidavit on section 442 for discussion on
                                             upcoming call
Seaway, Bill             7/26/2023     0.5   Conference B. Seaway, and M. Glynn (A&M), L. Lovelace, T. Shea,
                                             D. Bailey (EY), and D. Hariton (S&C) re IRS claims
Titus, Adam              7/26/2023     0.4   Call with M. Zhuo, L. Lovelace (EY), D. Nizhner, A. Titus, S. Glustein
                                             (A&M) re: FTX PFIC
Broskay, Cole            7/27/2023     0.6   Teleconference with R. Gordon, C. Broskay(A&M) to discuss
                                             requests
Coverick, Steve          7/27/2023     0.2   Discuss tax memo compliance considerations with E. Mosley (A&M)

Coverick, Steve          7/27/2023     1.3   Review and provide comments on crypto tax memo


Coverick, Steve          7/27/2023     0.4   Discuss tax memo requirements with D.Hariton (S&C) and A&M
                                             (E.Mosley, S.Coverick)
Gordon, Robert           7/27/2023     0.6   Teleconference with R. Gordon, C. Broskay(A&M) to discuss
                                             requests
Gordon, Robert           7/27/2023     0.9   Intercompany contract discussion with K. Kearney, R. Gordon(A&M),
                                             T. Shea & others(EY), and M. Cilia(FTX)
Gordon, Robert           7/27/2023     0.4   Call with M. Cilia(FTX) over impacts of 482 interest rule


Kearney, Kevin           7/27/2023     0.9   Intercompany contract discussion with K. Kearney, R. Gordon(A&M),
                                             T. Shea & others(EY), and M. Cilia(FTX)
Mosley, Ed               7/27/2023     0.5   Discussion with J.Stegenga (A&M) regarding crypto location
                                             analysis in support of tax return issues and follow-up
Mosley, Ed               7/27/2023     0.2   Discuss tax memo compliance considerations with S.Coverick (A&M)


Mosley, Ed               7/27/2023     0.4   Discuss tax memo requirements with D.Hariton (S&C) and A&M
                                             (E.Mosley, S.Coverick)
Ramanathan, Kumanan      7/27/2023     1.1   Revise final updated tax memo on crypto asset tracing


Ramanathan, Kumanan      7/27/2023     0.8   Prepare initial tax memo on legal entity tracing

Stegenga, Jeffery        7/27/2023     0.5   Discussion w/ E. Mosley (A&M) re: crypto location analysis in
                                             support of tax return issues and follow-up
Glynn, Maiti             7/28/2023     0.6   Conference K. Jacobs, K. Kearney, R. Gordon, B. Seaway, and M.
                                             Glynn (A&M), D. Hariton (S&C), T Shea, J. Berman, J. Scott, B.
                                             Mistler, D. Bailey, L. Lovelace (EY) re IRS claims and financials –
                                             0.6
Gordon, Robert           7/28/2023     0.5   Call with K. Jacobs, R. Gordon and K. Kearney (A&M) to discuss
                                             EY's discussion of inter-silo transactions



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                               July 1, 2023 through July 31, 2023


Tax Initiatives
Professional                Date     Hours     Activity
Gordon, Robert           7/28/2023     0.2   Call with K. Jacobs, R. Gordon, and G. Walia (A&M) to discuss EY's
                                             requests re inter-silo transactions
Gordon, Robert           7/28/2023     0.6   Conference K. Jacobs, K. Kearney, R. Gordon, B. Seaway, and M.
                                             Glynn (A&M), D. Hariton (S&C), T Shea, J. Berman, J. Scott, B.
                                             Mistler, D. Bailey, L. Lovelace (EY) re IRS claims and financials
Gordon, Robert           7/28/2023     0.9   Call with D. Hariton(S&C), T. Shea & others(EY), K. Kearney, R.
                                             Gordon, K. Jacobs(A&M) over transfer pricing
Howe, Christopher        7/28/2023     1.9   Review inter-silo transaction to understand how they were booked

Howe, Christopher        7/28/2023     3.1   Review inter-silo transaction to understand tax consequences


Jacobs, Kevin            7/28/2023     0.3   Call with K. Jacobs, G. Walia (A&M) and T. Shea and D. Bailey
                                             (EY) re further discussion of inter-silo transactions
Jacobs, Kevin            7/28/2023     0.4   Review historic treatment of inter-silo transactions

Jacobs, Kevin            7/28/2023     0.6   Conference K. Jacobs, K. Kearney, R. Gordon, B. Seaway, and M.
                                             Glynn (A&M), D. Hariton (S&C), T Shea, J. Berman, J. Scott, B.
                                             Mistler, D. Bailey, L. Lovelace (EY) re IRS claims and financials
Jacobs, Kevin            7/28/2023     0.4   Call with K. Jacobs, R. Gordon, and G. Walia (A&M) to discuss EY's
                                             requests re inter-silo transactions
Jacobs, Kevin            7/28/2023     0.5   Call with K. Jacobs, R. Gordon and K. Kearney (A&M) to discuss
                                             EY's discussion of inter-silo transactions
Jacobs, Kevin            7/28/2023     0.8   Call with K. Jacobs (A&M) and T. Shea (EY) re inter-silo
                                             transactions and EY requested information
Jacobs, Kevin            7/28/2023     0.9   Call with D. Hariton(S&C), T. Shea & others(EY), R. Gordon, K.
                                             Kearney, K. Jacobs(A&M) over transfer pricing
Jones, Mackenzie         7/28/2023     0.4   Meeting to discuss foreign entity financial data availability for third
                                             party tax requests with J. Sequeira and M. Jones (A&M)
Kearney, Kevin           7/28/2023     0.5   Call with K. Jacobs, R. Gordon and K. Kearney (A&M) to discuss
                                             EY's discussion of inter-silo transactions
Kearney, Kevin           7/28/2023     0.9   Call with D. Hariton(S&C), T. Shea & others(EY), K. Kearney, R.
                                             Gordon, K. Jacobs(A&M) over transfer pricing
Kearney, Kevin           7/28/2023     0.6   Conference K. Jacobs, K. Kearney, R. Gordon, B. Seaway, and M.
                                             Glynn (A&M), D. Hariton (S&C), T Shea, J. Berman, J. Scott, B.
                                             Mistler, D. Bailey, L. Lovelace (EY) re IRS claims and financials
Mosley, Ed               7/28/2023     0.2   Meeting with E. Mosley, K. Ramanathan, and G. Walia (A&M) to
                                             discuss Alameda memo
Ramanathan, Kumanan      7/28/2023     0.2   Meeting with E. Mosley, K. Ramanathan, and G. Walia (A&M) to
                                             discuss Alameda memo
Ramanathan, Kumanan      7/28/2023     0.9   Review and revise asset tracing memo and distribute

Seaway, Bill             7/28/2023     0.6   Conference K. Jacobs, K. Kearney, R. Gordon, B. Seaway, and M.
                                             Glynn (A&M), D. Hariton (S&C), T Shea, J. Berman, J. Scott, B.
                                             Mistler, D. Bailey, L. Lovelace (EY) re IRS claims and financials
Sequeira, Joseph         7/28/2023     0.4   Meeting to discuss foreign entity financial data availability for third
                                             party tax requests with J. Sequeira and M. Jones (A&M)


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                           July 1, 2023 through July 31, 2023


Tax Initiatives
Professional            Date     Hours     Activity
Walia, Gaurav        7/28/2023      0.2   Meeting with E. Mosley, K. Ramanathan, and G. Walia (A&M) to
                                          discuss Alameda memo
Walia, Gaurav        7/28/2023      0.4   Call with K. Jacobs, R. Gordon (partial), and G. Walia (A&M) to
                                          discuss EY's requests re inter-silo transactions
Walia, Gaurav        7/28/2023      0.3   Call with K. Jacobs, G. Walia (A&M) and T. Shea and D. Bailey
                                          (EY) re further discussion of inter-silo transactions
Kotarba, Chris       7/30/2023      0.3   Deliver Project Focus tax diligence items and supporting documents

Jones, Mackenzie     7/31/2023      0.1   Distribute financials to third party tax preparers related to 2022 tax
                                          requests
Jones, Mackenzie     7/31/2023      0.3   Review foreign financial data received from local team



Subtotal                          190.6

Vendor Management
Professional            Date     Hours     Activity
Taraba, Erik          7/1/2023      0.3   Correspondence with Company Finance Team re: review and
                                          payment of third-party IT firm invoice
Taraba, Erik          7/1/2023      0.3   Follow-up correspondence with Company Finance Team re: review
                                          and payment of third-party IT firm invoice based on recent feedback
                                          from firm
Taraba, Erik          7/2/2023      0.6   Update firm fee and expense analysis with recently filed May data


Taraba, Erik          7/3/2023      0.9   Review professional fees payment request package and provide
                                          commentary to cash team re: updates
Taraba, Erik          7/3/2023      0.8   Review professional fees payment request package and provide
                                          feedback to team re: changes
Taraba, Erik          7/3/2023      0.4   Review docket and provide commentary on fee applications filed on
                                          7/3
Taraba, Erik          7/3/2023      0.8   Review and update professional fees payment request package for
                                          WE 6/30
Taraba, Erik          7/3/2023      0.3   Respond to questions re: professional fee accruals for May

Taraba, Erik          7/3/2023      0.3   Correspondence with counsel re: status of subsidiary OCP

Taraba, Erik          7/4/2023      0.6   Update professional fees forecast model with OCP approval status
                                          as of 7/4
Taraba, Erik          7/4/2023      0.6   Develop schedule of OCPs and associated status for review and
                                          comment by counsel
Taraba, Erik          7/4/2023      0.7   Review and distribute professional fees payment request package
                                          for WE 6/30 to Company Finance Team leadership
Taraba, Erik          7/4/2023      0.4   Roll forward professional fees payment package and firm analysis
                                          schedules for upcoming week
Taraba, Erik          7/4/2023      0.6   Update professional fees forecast model with invoice data from OCP
                                          invoice received on 7/4

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                                FTX Trading Ltd., et al.,
                         Time Detail by Activity by Professional
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Vendor Management
Professional            Date     Hours     Activity
Taraba, Erik          7/4/2023     0.4   Correspondence with counsel re: status of current OCP firms

Taraba, Erik          7/5/2023     0.6   Perform individual firm analysis on UCC professional firm fee
                                         application filed 6/12
Taraba, Erik          7/5/2023     0.6   Update professional fees forecast model with actual payments data
                                         provided by Company Finance Team
Taraba, Erik          7/5/2023     0.4   Correspondence with Company Finance Team re: payment of UCC
                                         professional's fees
Taraba, Erik          7/5/2023     0.3   Conduct outreach to various debtor professionals firms re: forecast
                                         fees and expenses
Taraba, Erik          7/5/2023     0.6   Correspondence with Company Finance Team and counsel
                                         leadership re: OCP status updates
Taraba, Erik          7/6/2023     0.4   Coordinate review of OCP invoices with cash team


Taraba, Erik          7/6/2023     0.3   Correspondence with counsel re: historical balances of OCP firm

Taraba, Erik          7/6/2023     0.9   Develop schedule of recently onboarded vendors with comparison to
                                         forecast
Taraba, Erik          7/6/2023     0.6   Respond to questions re: historical professional fees and vendor
                                         spending
Taraba, Erik          7/6/2023     0.4   Update professional fees forecast model with invoice data from
                                         invoices received through 7/6
Taraba, Erik          7/6/2023     0.4   Update professional fees forecast model with revised timing of fee
                                         application filings
Taraba, Erik          7/7/2023     0.6   Update OCP status tracker with latest information from OCP firms
                                         and counsel
Taraba, Erik          7/7/2023     2.1   Develop schedule of cash outlays and recoveries by month since
                                         petition date
Taraba, Erik          7/7/2023     0.6   Update professional fees invoice tracker with invoice data through
                                         7/7
Taraba, Erik          7/7/2023     0.3   Update professional fees forecast model with latest forecast data
                                         from cybersecurity firm
Taraba, Erik          7/7/2023     2.3   Research certain vendor payments in comparable Ch 11 cases and
                                         note similarities and differences for discussion
Taraba, Erik          7/7/2023     0.6   Coordinate production of professional fees payment package for WE
                                         7/7
Taraba, Erik          7/7/2023     0.4   Correspondence with counsel and Company Finance Team
                                         leadership re: professional firm time detail questions
Taraba, Erik          7/7/2023     0.3   Respond to internal questions re: historical professional fees
                                         spending and allocation
Taraba, Erik          7/8/2023     0.4   Correspondence with Vendor Team re: additional vendors recently
                                         onboarded
Taraba, Erik          7/8/2023     0.9   Develop schedule of recently onboarded vendors to track additional
                                         spend




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                                 FTX Trading Ltd., et al.,
                          Time Detail by Activity by Professional
                            July 1, 2023 through July 31, 2023


Vendor Management
Professional             Date     Hours     Activity
Taraba, Erik           7/8/2023     0.7   Update schedule of cash outlays and recoveries per feedback from
                                          workstream leadership
Taraba, Erik          7/10/2023     2.8   Develop charts and schedules comparing professional fees to asset
                                          recoveries
Taraba, Erik          7/10/2023     0.7   Update professional fees forecast model with OCP invoice data
                                          received through 7/9
Taraba, Erik          7/10/2023     0.6   Update OCP status tracker with data through 7/9

Taraba, Erik          7/10/2023     0.9   Review professional fees payment request package for WE 7/7 and
                                          provide feedback to team
Taraba, Erik          7/10/2023     0.7   Develop comparison schedule of professional fees for discussion
                                          with management
Taraba, Erik          7/10/2023     0.6   Update professional fees variance support schedule with data from
                                          Budget 7
Taraba, Erik          7/10/2023     2.4   Research additional Ch 11 case data for inclusion into professional
                                          fees analysis
Taraba, Erik          7/11/2023     0.6   Update OCP payment timing per feedback from leadership


Taraba, Erik          7/11/2023     0.4   Update professional fees forecast model with invoice and fee
                                          application data through 7/11
Taraba, Erik          7/11/2023     0.9   Update professional fees analysis slides with latest charts and
                                          schedules per feedback from leadership
Taraba, Erik          7/11/2023     1.1   Update benchmarking analysis of professional fees in Ch 11 cases


Taraba, Erik          7/11/2023     0.3   Coordinate with Company Finance Team re: payment of historical
                                          OCP invoices
Taraba, Erik          7/11/2023     0.3   Correspondence with counsel re: OCP status and timing of invoices


Taraba, Erik          7/12/2023     1.1   Perform analysis on professional fees for June

Taraba, Erik          7/12/2023     0.4   Provide feedback to team re: production of weekly professional fees
                                          payment package
Taraba, Erik          7/12/2023     0.6   Update OCP status tracker with latest feedback from counsel

Taraba, Erik          7/12/2023     0.3   Update professional fees forecast model with data from fee
                                          applications file on 7/12
Taraba, Erik          7/12/2023     0.6   Update professional fees forecast model with recent inputs from
                                          debtor advisors
Arnett, Chris         7/13/2023     0.2   Review and comment on monthly vendor reporting to UCC

Taraba, Erik          7/13/2023     1.7   Update monthly professional fee analysis for June with latest data
                                          from workstreams
Taraba, Erik          7/13/2023     0.3   Coordinate with Vendor Workstream re: inputs to monthly
                                          professional fee analysis




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                         Time Detail by Activity by Professional
                           July 1, 2023 through July 31, 2023


Vendor Management
Professional            Date     Hours     Activity
Taraba, Erik         7/13/2023     0.9   Develop presentation materials for monthly professional fee analysis
                                         for June
Taraba, Erik         7/13/2023     0.3   Update professional fees forecast model with invoice data through
                                         7/13
Taraba, Erik         7/13/2023     0.4   Update forecast amounts for certain cryptocurrency custodians in
                                         professional fees forecast model
Tenney, Bridger      7/13/2023     0.9   Review invoices for any additional prepetition payments in the period

Tenney, Bridger      7/13/2023     1.8   Prepare vendor reporting analysis to be sent to UCC for period
                                         through 7/9
Taraba, Erik         7/14/2023     0.3   Correspondence with professional firm re: invoice questions

Taraba, Erik         7/14/2023     0.3   Respond to questions re: professional fees support analysis


Taraba, Erik         7/14/2023     0.9   Review professional fee invoice received on 7/13 and provide
                                         feedback to Company Finance Team
Taraba, Erik         7/14/2023     0.2   Update OCP status tracker with latest invoices received through 7/14


Taraba, Erik         7/14/2023     0.6   Update professional fees invoice tracker with data through 7/13

Taraba, Erik         7/14/2023     0.3   Correspondence with counsel re: OCP historical balances

Taraba, Erik         7/17/2023     0.4   Correspondence with Company Finance Team re: needed bank
                                         account statements to support ongoing June reconciliation effort
Taraba, Erik         7/17/2023     0.4   Update professional fee payment package for distribution to
                                         Company Finance Team
Taraba, Erik         7/17/2023     0.4   Roll forward professional fee package materials to WE 7/21


Taraba, Erik         7/17/2023     0.7   Review weekly professional fees payment request package and
                                         provide feedback
Taraba, Erik         7/17/2023     0.3   Produce weekly professional fees payment request package for
                                         Company Finance Team leadership
Taraba, Erik         7/17/2023     0.2   Update professional fees forecast model with other debtor
                                         professional invoice received 7/17
Taraba, Erik         7/17/2023     0.4   Conduct outreach to professional firms to obtain forecast updates to
                                         support next budget period
Taraba, Erik         7/17/2023     0.3   Respond to questions from Company Finance Team leadership re:
                                         weekly professional fees payment package
Taraba, Erik         7/18/2023     0.4   Update professional fees invoice tracker with invoice data through
                                         7/18
Taraba, Erik         7/18/2023     0.8   Update professional fees forecast with updated data received from
                                         professional firms
Taraba, Erik         7/18/2023     0.8   Update professional fees forecast model with latest July payments
                                         data




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                                 FTX Trading Ltd., et al.,
                          Time Detail by Activity by Professional
                            July 1, 2023 through July 31, 2023


Vendor Management
Professional             Date     Hours     Activity
Taraba, Erik          7/18/2023     0.4   Develop professional fees variance support schedule for WE 7/14

Taraba, Erik          7/18/2023     0.3   Respond to questions re: updated assumptions for professional fees
                                          payment amounts and timing
Taraba, Erik          7/19/2023     0.4   Conduct outreach to additional professional firms re: updated fee
                                          and expense forecasts
Taraba, Erik          7/19/2023     0.9   Prepare for call re: professional fees Budget 8 forecast

Taraba, Erik          7/19/2023     0.4   Respond to questions re: professional firm historical and forecast
                                          expenses
Taraba, Erik          7/19/2023     0.9   Review and provide amplifying commentary on professional fees
                                          variance support schedule for WE 7/14
Taraba, Erik          7/19/2023     0.3   Update overlay comparing prior budget to current budget


Taraba, Erik          7/19/2023     0.6   Update professional fees forecast model with feedback from call
                                          with Cash Team
Taraba, Erik          7/19/2023     0.3   Update professional firm forecast amounts per feedback from
                                          individual firms
Arnett, Chris         7/20/2023     0.3   Answer vendor inquiry re: payment status

Taraba, Erik          7/20/2023     0.4   Update OCP status tracker with latest data from counsel and firms
                                          through 7/20
Taraba, Erik          7/20/2023     0.7   Update professional fees forecast model with new invoice data from
                                          OCP and other debtor firms
Taraba, Erik          7/20/2023     0.7   Prepare materials for discussion re: OCP timing, forecast amounts,
                                          and allocation methodology
Taraba, Erik          7/20/2023     0.4   Correspondence with counsel re: historical professional firm spend


Taraba, Erik          7/20/2023     0.3   Respond to questions re: historical payments to certain vendors

Tenney, Bridger       7/20/2023     0.9   Search for vendor invoices regarding large payment made to vendor


Taraba, Erik          7/21/2023     0.4   Respond to questions re: historical payments to crypto custodian
                                          vendor
Cooper, James         7/24/2023     0.7   Call with J. Cooper and E. Taraba (A&M) re: review of OCP firm
                                          status, historical invoices, and forecasts
Montague, Katie       7/24/2023     0.7   Research vendor prepetition claim in response to email from vendor
                                          threatening to take action
Taraba, Erik          7/24/2023     0.7   Update professional fees forecast model with cash payment activity
                                          for July
Taraba, Erik          7/24/2023     0.7   Call with J. Cooper and E. Taraba (A&M) re: review of OCP firm
                                          status, historical invoices, and forecasts
Taraba, Erik          7/24/2023     0.2   Develop professional fees payment package for WE 7/21 for
                                          distribution to Company Finance Team leadership




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                                 FTX Trading Ltd., et al.,
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Vendor Management
Professional             Date     Hours     Activity
Taraba, Erik          7/24/2023     0.6   Prepare schedule of weekly payment activity for distribution to
                                          internal team
Taraba, Erik          7/24/2023     0.2   Review docket and provide feedback to Company Finance Team re:
                                          recent filings
Taraba, Erik          7/24/2023     0.7   Review professional fees payment package for WE 7/21 and provide
                                          feedback
Taraba, Erik          7/24/2023     0.7   Update OCP schedule with recent feedback from counsel and
                                          professional firms
Taraba, Erik          7/24/2023     0.6   Update professional fees forecast model per feedback from
                                          leadership during earlier OCP discussion
Arnett, Chris         7/25/2023     0.3   Review vendor request for payment and direct next steps for
                                          resolving same
Montague, Katie       7/25/2023     0.9   Research FTX Digital Holdings vendor inquiry related to demand
                                          letter received by A&M
Montague, Katie       7/25/2023     0.4   Email to M. Cilia (FTX) regarding vendor prepetition invoice payment
                                          request and demand letter
Simoneaux, Nicole     7/25/2023     1.9   Research support in regards to letter of demand sent by foreign
                                          vendor with outstanding invoices to FTX Digital Markets Singapore
Simoneaux, Nicole     7/25/2023     0.4   Prepare emails with support to escalate foreign vendor letter of
                                          demand and appropriate course of action
Taraba, Erik          7/25/2023     0.3   Update OCP quick sheet with feedback from workstream leadership

Taraba, Erik          7/25/2023     0.7   Review docket and provide feedback to internal team re: recent
                                          filings and updates
Taraba, Erik          7/25/2023     0.3   Respond to questions from counsel re: status OCP invoice payments

Taraba, Erik          7/25/2023     0.3   Correspondence with OCP firm finance department re: historical
                                          balances owed
Taraba, Erik          7/25/2023     0.6   Update professional fees forecast model with fee application and
                                          invoice data through 7/25
Taraba, Erik          7/25/2023     1.1   Develop schedule of OCP firms with additional detail on approval
                                          status, accrued balances, and other salient information
Taraba, Erik          7/26/2023     0.6   Update professional fees invoice tracker with recently received
                                          invoice data through 7/26
Taraba, Erik          7/26/2023     0.8   Update professional fees forecast model with additional OCP firms
                                          per feedback from counsel and in accordance with recent docket
                                          filings
Taraba, Erik          7/26/2023     0.4   Update OCP quick sheet with additional OCP firms per discussion
                                          with counsel
Taraba, Erik          7/26/2023     0.3   Correspondence with counsel re: April and May invoices for OCP firm

Taraba, Erik          7/26/2023     0.3   Review docket and provide feedback to Company Finance Team re:
                                          objection periods for debtor professionals
Montague, Katie       7/27/2023     0.2   Email to M. Cilia (FTX) regarding vendor demand letter related to
                                          pre- and post-petition invoices


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Vendor Management
Professional            Date     Hours       Activity
Taraba, Erik         7/27/2023       0.4    Update professional fee invoice tracker with fee application data
                                            through 7/27
Montague, Katie      7/28/2023       0.2    Correspond with Nardello regarding storage unit visit and potential
                                            imaging of equipment
Taraba, Erik         7/28/2023       0.6    Review docket and provide feedback to invoice review team re:
                                            recently filed and received fee applications/invoices
Montague, Katie      7/31/2023       0.6    Email to vendor in response to demand letter and request for
                                            payment on pre- and post-petition invoices
Taraba, Erik         7/31/2023       0.4    Correspondence with OCP firm re: historical balances for Nov-May


Taraba, Erik         7/31/2023       0.6    Develop final weekly payment package for WE 7/28 for delivery to
                                            Company Finance Team
Taraba, Erik         7/31/2023       1.3    Review weekly professional fees payment package and provide
                                            feedback to team
Taraba, Erik         7/31/2023       0.6    Update professional fees invoice tracker with invoice data through
                                            7/31

Subtotal                            81.1


Grand Total                      16,660.3




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                                                                           Exhibit E

                             FTX Trading Ltd., et al.,
                      Summary of Expense Detail by Category
                        July 1, 2023 through July 31, 2023




Expense Category                                                       Sum of Expenses


License Fees                                                                $374,309.31

Airfare                                                                      $26,739.45

Lodging                                                                      $19,876.11

Meals                                                                        $11,710.86

Transportation                                                                  $8,565.46

Miscellaneous                                                                    $361.83




                                                               Total        $441,563.02




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                                                                                                          Exhibit F


                                    FTX Trading Ltd., et al.,
                                  Expense Detail by Category
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                                                 License Fees

Professional/Service         Date           Expense        Expense Description

Marshall, Jonathan           1/31/2023       $74,000.00    Data Processing Software Transaction Fees

Marshall, Jonathan           5/31/2023       $33,562.50    Data Processing Software Transaction Fees

Marshall, Jonathan           5/31/2023       $15,723.05    Data Processing Software Transaction Fees

Marshall, Jonathan           5/31/2023       $12,186.74    Data Processing Software Transaction Fees

                             5/31/2023        $3,367.97    Claims Management Monthly Data Storage Fee

Mohammed, Azmat              6/18/2023           $31.95    Subscription fee for crypto wallet time series database for
                                                           June 2023
Mohammed, Azmat              6/18/2023           $22.48    Subscription fee for crypto wallet time series database for
                                                           July 2023
Dudek, Kert                  6/29/2023        $9,426.58    Additional SQL memory - Pegasus Technology Solutions

Marshall, Jonathan           6/30/2023        $1,099.35    Data Processing Software Transaction Fees

Marshall, Jonathan           6/30/2023          $610.00    Document database search application used to locate key
                                                           client documents
Konig, Louis                 7/14/2023           $95.00    Retrieve current market pricing data for client cryptocurrency
                                                           holdings
Sivapalu, Anan               7/18/2023          $875.00    CoinMarketCap Service Fee for Data Provider

Sivapalu, Anan               7/23/2023          $129.00    CoinGecko Data Provider Service Fee

Johnson, Robert              7/31/2023      $223,179.69    Third-party data storage and virtual server usage

   Expense Category Total                $374,309.31



                                                       Airfare

Professional/Service         Date           Expense        Expense Description

Liv-Feyman, Alec            11/25/2022          $517.20    Airfare round trip coach, ORD to LGA, American Airlines

Liv-Feyman, Alec              1/8/2023          $517.20    Airfare round trip coach, ORD to LGA, American Airlines

Liv-Feyman, Alec             3/11/2023          $611.97    Airfare round trip coach, ORD to DFW, American Airlines

Liv-Feyman, Alec             3/16/2023          $671.41    Airfare round trip coach, ORD to DFW, American Airlines

Johnston, David              3/16/2023          $273.23    Airfare one way coach, LCY to DUB, British Air

Johnston, David              3/22/2023          $457.41    Airfare one way coach, LHR to DUB, British Air

Johnston, David              3/22/2023           $63.24    Airfare one way coach, DUB to LGW, British Air

Liv-Feyman, Alec             3/24/2023          $715.80    Airfare round trip coach, ORD to DFW, American Airlines

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                              FTX Trading Ltd., et al.,
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                         July 1, 2023 through July 31, 2023


                                            Airfare

Professional/Service   Date         Expense       Expense Description

Johnston, David        3/24/2023       $112.52    Airfare one way coach, LGW to DUB, British Air

Johnston, David        3/26/2023        $87.81    Airfare one way coach, DUB to LHR, British Air

Johnston, David        3/30/2023       $156.22    Airfare one way coach, LHR to DUB, British Air

Johnston, David         4/5/2023       $287.47    Airfare round trip coach, DUB to LHR, British Air

Liv-Feyman, Alec       4/14/2023       $324.81    Airfare one way coach, ORD to DFW, American Airlines

Johnston, David        4/14/2023       $204.30    Airfare round trip coach, DUB to LHR, British Air

Liv-Feyman, Alec       4/20/2023       $281.85    Airfare one way coach, DFW to ORD, United Airlines

Johnston, David        4/24/2023       $519.60    Airfare round trip coach, DUB to LHR, British Air

Liv-Feyman, Alec       4/26/2023       $536.81    Airfare round trip coach, ORD to DFW, American Airlines

Johnston, David         5/7/2023       $239.88    Airfare round trip coach, DUB to LHR, British Air

Kearney, Kevin         5/12/2023       $578.20    Airfare one way coach, MSP to IAH, Delta

Kearney, Kevin         5/15/2023       $578.20    Airfare one way coach, MSP to IAH, Delta

Kearney, Kevin         5/18/2023       $578.20    Airfare one way coach, IAH to MSP, Delta

Liv-Feyman, Alec       5/21/2023       $601.81    Airfare round trip coach, ORD to DFW, American Airlines

Johnston, David        5/21/2023       $255.41    Airfare round trip coach, DUB to LHR, British Air

Clayton, Lance         5/22/2023       $464.60    Airfare round trip coach, HOU to DAL, American

Johnston, David        5/23/2023        $86.77    Airfare one way coach, DUB to LHR, British Air

Johnston, David        5/26/2023       $495.53    Airfare one way coach, LHR to DUB, British Air

Kearney, Kevin         5/27/2023       $308.75    Airfare round trip coach, MSP to DFW, Delta

Coverick, Steve        5/30/2023       $373.90    Airfare one way coach, PWM to DAL, American

Kearney, Kevin         5/31/2023       $453.90    Airfare one way coach, DFW to MSP, Delta

Coverick, Steve         6/7/2023      $1,218.80   Airfare round trip coach, DFW to PHL, American

Nizhner, David         6/11/2023       $299.00    Airfare one way coach, LGA to DFW, Delta

Nizhner, David         6/14/2023       $418.90    Airfare one way coach, DFW to LGA, Delta

Nizhner, David         6/25/2023       $333.90    Airfare one way coach, LGA to DFW, Delta

Baker, Kevin           6/27/2023       $454.90    Airfare one way coach, ORD to NYC, United

Nizhner, David         6/27/2023       $363.90    Airfare one way coach, DFW to JFK, Delta

Baker, Kevin           6/27/2023       $315.82    Airfare one way coach, LGA to ORD, United

van den Belt, Mark      7/3/2023       $736.38    Airfare one way coach, AMS to LHR, KLM Airlines

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                                   FTX Trading Ltd., et al.,
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                              July 1, 2023 through July 31, 2023


                                                     Airfare

Professional/Service        Date          Expense        Expense Description

Chamma, Leandro              7/6/2023         $846.31    Airfare roundtrip coach, LGA to CLT, American Airlines

Yurchak, Lilia               7/7/2023         $567.91    Airfare roundtrip coach, DFW to LGA, Delta Airlines

Flynn, Matthew               7/7/2023         $207.41    Airfare one way coach, BOS to DAL, American Airlines

Slay, David                 7/10/2023         $879.80    Airfare roundtrip coach, LAX to DAL, American Airlines

Cooper, James               7/10/2023         $442.20    Airfare one way coach, RIC to DAL, Delta Airlines

Cooper, James               7/12/2023         $442.20    Airfare one way coach, DAL to RIC, Delta Airlines

van den Belt, Mark          7/14/2023         $822.19    Airfare roundtrip coach, AMS to LHR, KLM Airlines

Kearney, Kevin              7/14/2023         $583.90    Airfare one way coach, MSP to IAH, Delta Airlines

Gany, Jared                 7/14/2023         $537.80    Airfare roundtrip coach, LGA to IAH, Delta Airlines

Kearney, Kevin              7/14/2023         $537.25    Airfare one way coach, IAH to MSP, Delta Airlines

Jones, Mackenzie            7/14/2023         $188.97    Airfare one way coach, HOU to DAL, Southwest Airlines

Jones, Mackenzie            7/14/2023         $188.97    Airfare one way coach, DAL to HOU, Southwest Airlines

Francis, Luke               7/16/2023         $403.60    Airfare one way coach, ORD to IAH, United Airlines

Esposito, Rob               7/16/2023         $366.52    Airfare one way coach, TPA to IAH, Southwest Airlines

Glustein, Steven            7/17/2023         $339.34    Airfare one way coach, YTZ to LGA, Air Canada

Glustein, Steven            7/20/2023         $397.04    Airfare one way coach, LGA to YTZ, Air Canada

Jones, Mackenzie            7/20/2023         $369.00    Airfare one way coach, HOU to DAL, Southwest Airlines

Esposito, Rob               7/20/2023         $356.90    Airfare one way coach, IAH to TPA, United Airlines

Jones, Mackenzie            7/20/2023         $188.97    Airfare one way coach, DAL to HOU, Southwest Airlines

Francis, Luke               7/21/2023         $350.90    Airfare one way coach, IAH to ORD, United Airlines

Broskay, Cole               7/28/2023         $317.62    Airfare roundtrip coach, SAT to LGA, Delta Airlines

Jones, Mackenzie            7/28/2023         $313.90    Airfare one way coach, DFW to EWR, American Airlines

Gordon, Robert              7/29/2023         $667.80    Airfare roundtrip coach, AUS to LGA, United Airlines

Kearney, Kevin              7/29/2023         $574.45    Airfare one way coach, MSP to LGA, Delta Airlines

Bruck, Ran                  7/29/2023         $352.90    Airfare one way coach, IAH to EWR, United Airlines

   Expense Category Total               $26,739.45




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                              FTX Trading Ltd., et al.,
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                                          Lodging

Professional/Service   Date         Expense      Expense Description

Liv-Feyman, Alec       1/16/2023       $290.38   Hotel in New York, NY, one night, Marriott

Liv-Feyman, Alec       1/17/2023       $290.38   Hotel in New York, NY, one night, Marriott

Liv-Feyman, Alec       1/18/2023       $290.38   Hotel in New York, NY, one night, Marriott

Liv-Feyman, Alec       1/19/2023       $360.69   Hotel in New York, NY, one night, Marriott

Liv-Feyman, Alec       3/12/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Liv-Feyman, Alec       3/13/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Liv-Feyman, Alec       3/14/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Liv-Feyman, Alec       3/16/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Liv-Feyman, Alec       3/26/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Liv-Feyman, Alec       3/27/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Liv-Feyman, Alec       3/28/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Liv-Feyman, Alec       3/29/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Kearney, Kevin         5/15/2023       $217.62   Hotel in Houston, TX, one night, Marriott

Kearney, Kevin         5/16/2023       $217.62   Hotel in Houston, TX, one night, Marriott

Kearney, Kevin         5/17/2023       $217.62   Hotel in Houston, TX, one night, Marriott

Liv-Feyman, Alec       5/21/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Liv-Feyman, Alec       5/22/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Clayton, Lance         5/22/2023       $223.69   Hotel in Dallas, TX, one night, Marriott

Clayton, Lance         5/22/2023       $223.69   Hotel in Dallas, TX, one night, Marriott

Liv-Feyman, Alec       5/23/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Clayton, Lance         5/23/2023       $223.69   Hotel in Dallas, TX, one night, Marriott

Clayton, Lance         5/23/2023       $223.69   Hotel in Dallas, TX, one night, Marriott

Kearney, Kevin         5/29/2023       $215.41   Hotel in Dallas, TX, one night, Marriott

Kearney, Kevin         5/30/2023       $215.41   Hotel in Dallas, TX, one night, Marriott

Kearney, Kevin         5/31/2023       $215.41   Hotel in Dallas, TX, one night, Marriott

Nizhner, David         6/13/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Nizhner, David         6/14/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Broskay, Cole          6/20/2023       $225.00   Hotel in Houston, TX, one night, Hotel Icon

Broskay, Cole          6/21/2023       $225.00   Hotel in Houston, TX, one night, Hotel Icon

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                                             Lodging

Professional/Service      Date         Expense      Expense Description

Nizhner, David            6/27/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Baker, Kevin              6/28/2023       $372.75   Hotel in New York, NY, one night, Marriott

Nizhner, David            6/28/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Chamma, Leandro            7/9/2023       $165.55   Hotel in Charlotte, NC, one night, Marriott

Cooper, James             7/10/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Chamma, Leandro           7/10/2023       $217.82   Hotel in Charlotte, NC, one night, Marriott

Yurchak, Lilia            7/10/2023       $185.15   Hotel in Dallas, TX, one night, Marriott

Slay, David               7/11/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Cooper, James             7/11/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Yurchak, Lilia            7/11/2023       $217.82   Hotel in Dallas, TX, one night, Marriott

Chamma, Leandro           7/11/2023       $217.82   Hotel in Charlotte, NC, one night, Marriott

Kearney, Kevin            7/16/2023       $217.62   Hotel in Houston, TX, one night, Marriott

Francis, Luke             7/16/2023       $200.73   Hotel in Houston, TX, one night, Marriott

Esposito, Rob             7/16/2023       $199.19   Hotel in Houston, TX, one night, Marriott

Glustein, Steven          7/17/2023       $481.76   Hotel in New York, NY, one night, Le Meridien

Broskay, Cole             7/17/2023       $225.00   Hotel in Houston, TX, one night, Hotel Icon

Kearney, Kevin            7/17/2023       $217.62   Hotel in Houston, TX, one night, Marriott

Esposito, Rob             7/17/2023       $208.38   Hotel in Houston, TX, one night, Marriott

Francis, Luke             7/17/2023       $200.73   Hotel in Houston, TX, one night, Marriott

Glustein, Steven          7/18/2023       $525.00   Hotel in New York, NY, one night, Le Meridien

Broskay, Cole             7/18/2023       $225.00   Hotel in Houston, TX, one night, Hotel Icon

Jones, Mackenzie          7/18/2023       $222.36   Hotel in Houston, TX, one night, Marriott

Kearney, Kevin            7/18/2023       $217.62   Hotel in Houston, TX, one night, Marriott

Esposito, Rob             7/18/2023       $208.38   Hotel in Houston, TX, one night, Marriott

Gany, Jared               7/18/2023       $208.38   Hotel in Houston, TX, one night, Marriott

Francis, Luke             7/18/2023       $200.73   Hotel in Houston, TX, one night, Marriott

Glustein, Steven          7/19/2023       $525.00   Hotel in New York, NY, one night, Le Meridien

Broskay, Cole             7/19/2023       $225.00   Hotel in Houston, TX, one night, Hotel Icon

Jones, Mackenzie          7/19/2023       $222.36   Hotel in Houston, TX, one night, Marriott

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                                    FTX Trading Ltd., et al.,
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                               July 1, 2023 through July 31, 2023


                                                      Lodging

Professional/Service         Date          Expense        Expense Description

Kearney, Kevin               7/19/2023         $217.62    Hotel in Houston, TX, one night, Marriott

Esposito, Rob                7/19/2023         $208.38    Hotel in Houston, TX, one night, Marriott

Gany, Jared                  7/19/2023         $208.38    Hotel in Houston, TX, one night, Marriott

Francis, Luke                7/19/2023         $200.72    Hotel in Houston, TX, one night, Marriott

Francis, Luke                7/20/2023         $200.72    Hotel in Houston, TX, one night, Marriott

Gany, Jared                  7/20/2023         $179.30    Hotel in Houston, TX, one night, Marriott

Broskay, Cole                7/24/2023         $219.29    Hotel in Houston, TX, one night, Hotel Icon

van den Belt, Mark           7/25/2023         $309.77    Hotel in London, ENG, one night, Hyatt

van den Belt, Mark           7/25/2023         $246.65    Hotel in London, ENG, one night, Hyatt

Broskay, Cole                7/25/2023         $225.00    Hotel in Houston, TX, one night, Hotel Icon

Jones, Mackenzie             7/25/2023         $222.36    Hotel in Houston, TX, one night, Marriott

van den Belt, Mark           7/26/2023         $309.47    Hotel in London, ENG, one night, Hyatt

Broskay, Cole                7/26/2023         $225.00    Hotel in Houston, TX, one night, Hotel Icon

Jones, Mackenzie             7/26/2023         $222.36    Hotel in Houston, TX, one night, Marriott

Kearney, Kevin               7/30/2023         $525.00    Hotel in New York, NY, one night, Marriott

Kearney, Kevin               7/31/2023         $525.00    Hotel in New York, NY, one night, Marriott

Broskay, Cole                7/31/2023         $500.48    Hotel in New York, NY, one night, Hyatt

Gordon, Robert               7/31/2023         $327.00    Hotel in New York, NY, one night, Residence Inn

Bruck, Ran                   7/31/2023         $260.54    Hotel in New York, NY, one night, Marriott

Zabcik, Kathryn              7/31/2023         $254.81    Hotel in New York, NY, one night, Marriott

Jones, Mackenzie             7/31/2023         $254.81    Hotel in New York, NY, one night, Marriott

   Expense Category Total                $19,876.11



                                                      Meals

Professional/Service         Date          Expense        Expense Description

Liv-Feyman, Alec            11/19/2022          $35.00    Individual Meal - Out of town breakfast in New York, NY

Liv-Feyman, Alec            11/20/2022          $24.91    Individual Meal - Working lunch in New York, NY

Liv-Feyman, Alec            11/21/2022          $24.35    Individual Meal - Working lunch in New York, NY

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                                               Meals

Professional/Service    Date         Expense      Expense Description

Liv-Feyman, Alec       11/22/2022        $92.75   Business Meal (Attendees) - Team dinner, out of town meal
                                                  in New York, NY, L Lwanksi, L Konig, P Kwan, L Lambert, A
                                                  Liv-Feyman
Liv-Feyman, Alec       11/22/2022        $25.00   Individual Meal - Out of town dinner in New York, NY

Liv-Feyman, Alec       11/23/2022        $53.17   Business Meal (Attendees) - Team breakfast, out of town
                                                  meal in New York, NY, L Callerio, A Liv-Feyman, A Wilden
Liv-Feyman, Alec        12/5/2022        $25.54   Individual Meal - Out of town dinner in New York, NY

Liv-Feyman, Alec        12/5/2022        $18.83   Individual Meal - Working lunch in New York, NY

Liv-Feyman, Alec        12/5/2022         $4.07   Individual Meal - Working lunch in Dallas, TX

Liv-Feyman, Alec        12/6/2022        $26.83   Individual Meal - Working lunch in New York, NY

Liv-Feyman, Alec        12/6/2022        $20.70   Individual Meal - Out of town breakfast in Dallas, TX

Liv-Feyman, Alec        12/7/2022        $23.27   Individual Meal - Out of town breakfast in New York, NY

Liv-Feyman, Alec        12/8/2022        $23.27   Individual Meal - Out of town breakfast in New York, NY

Liv-Feyman, Alec         1/8/2023        $50.00   Individual Meal - Out of town dinner in Dallas, TX

Liv-Feyman, Alec         1/9/2023        $48.35   Business Meal (Attendees) - Team dinner, out of town meal
                                                  in Dallas, TX, A Liv-Feyman, D Slay
Liv-Feyman, Alec         1/9/2023        $29.31   Individual Meal - Working lunch in New York, NY

Liv-Feyman, Alec        1/10/2023        $63.09   Business Meal (Attendees) - Team breakfast New York, NY,
                                                  L Callerio, A Liv-Feyman, A Wilden
Liv-Feyman, Alec        1/11/2023        $63.09   Business Meal (Attendees) - Team breakfast New York, NY,
                                                  L Callerio, A Liv-Feyman, A Wilden
Liv-Feyman, Alec        1/12/2023        $25.77   Individual Meal - Out of town breakfast in New York, NY

Gordon, Robert          1/18/2023        $62.17   Individual Meal - Out of town dinner in New York, NY

Liv-Feyman, Alec        3/12/2023        $42.48   Individual Meal - Out of town dinner in Dallas, TX

Liv-Feyman, Alec        3/12/2023        $19.42   Individual Meal - Working lunch in Dallas, TX

Liv-Feyman, Alec        3/13/2023        $48.24   Individual Meal - Out of town dinner in Dallas, TX

Liv-Feyman, Alec        3/13/2023        $20.25   Individual Meal - Working lunch in Dallas, TX

Liv-Feyman, Alec        3/13/2023        $18.27   Individual Meal - Out of town breakfast in Dallas, TX

Liv-Feyman, Alec        3/14/2023        $18.27   Individual Meal - Out of town breakfast in Dallas, TX

Liv-Feyman, Alec        3/16/2023        $45.47   Individual Meal - Out of town dinner in Dallas, TX

Liv-Feyman, Alec        3/16/2023        $34.96   Individual Meal - Working lunch in Dallas, TX

Liv-Feyman, Alec        3/26/2023        $33.02   Individual Meal - Working lunch in Dallas, TX


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                                              Meals

Professional/Service   Date         Expense      Expense Description

Liv-Feyman, Alec       3/27/2023        $46.20   Business Meals (Attendees) - Out of town dinner in Dallas,
                                                 TX, A Liv-Feyman, D Nizher
Liv-Feyman, Alec       3/28/2023        $21.83   Individual Meal - Working lunch in Dallas, TX

Liv-Feyman, Alec       3/29/2023        $50.15   Business Meals (Attendees) - Out of town dinner in Dallas,
                                                 TX, A Liv-Feyman, L Clayton
Liv-Feyman, Alec       3/29/2023        $30.25   Individual Meal - Out of town dinner in Dallas, TX

Liv-Feyman, Alec       3/29/2023        $29.80   Individual Meal - Working lunch in New York, NY

Liv-Feyman, Alec       3/29/2023        $20.74   Individual Meal - Out of town dinner in Dallas, TX

Liv-Feyman, Alec       3/30/2023        $14.06   Individual Meal - Working lunch in Dallas, TX

Liv-Feyman, Alec       4/17/2023       $124.51   Business Meals (Attendees) - Out of town dinner in Dallas,
                                                 TX, A Liv-Feyman, B Tenney, D Nizhner, J Gonzalez, L
                                                 Clayton
Liv-Feyman, Alec       4/17/2023        $27.19   Individual Meal - Working lunch in Dallas, TX

Liv-Feyman, Alec       4/18/2023       $136.00   Business Meal (Attendees) - Out of town lunch in Dallas, TX,
                                                 A Liv-Feyman, L Clayton, J Gonzalez, D Nizhner, D Slay, T
                                                 Stockmeyer, S Witherspooon
Liv-Feyman, Alec       4/18/2023         $1.69   Individual Meal - Working lunch in Dallas, TX

Liv-Feyman, Alec       4/20/2023        $22.68   Individual Meal - Working lunch in Dallas, TX

Liv-Feyman, Alec       4/30/2023        $44.35   Individual Meal - Out of town dinner in Dallas, TX

Liv-Feyman, Alec       4/30/2023        $44.35   Individual Meal - Out of town working lunch in Dallas, TX

Kearney, Kevin         5/15/2023        $10.60   Individual Meal - Out of town breakfast in Houston, TX

Kearney, Kevin         5/16/2023        $17.30   Individual Meal - Out of town working lunch in Houston, TX

Kearney, Kevin         5/16/2023        $11.84   Individual Meal - Out of town breakfast in Houston, TX

Kearney, Kevin         5/17/2023        $24.98   Individual Meal - Out of town breakfast in Houston, TX

Kearney, Kevin         5/17/2023         $9.47   Individual Meal - Out of town working lunch in Houston, TX

Kearney, Kevin         5/18/2023        $18.33   Individual Meal - Out of town breakfast in Houston, TX

Kearney, Kevin         5/18/2023        $11.37   Individual Meal - Out of town working lunch in Houston, TX

Liv-Feyman, Alec       5/21/2023        $35.00   Individual Meal - Out of town working lunch in Dallas, TX

Clayton, Lance         5/22/2023        $18.72   Individual Meal - Out of town breakfast in Dallas, TX

Clayton, Lance         5/22/2023         $9.74   Individual Meal - Out of town breakfast in Dallas, TX

Liv-Feyman, Alec       5/23/2023       $149.24   Business Meals (Attendees) - Team dinner in Dallas, TX, A
                                                 Titus, A Liv-Feyman, D Nizhner, L Clayton, W Walker, S
                                                 Glustein

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                            July 1, 2023 through July 31, 2023


                                                 Meals

Professional/Service      Date         Expense      Expense Description

Liv-Feyman, Alec          5/23/2023       $106.19   Business Meals (Attendees) - Team dinner in Dallas, TX, A
                                                    Titus, A Liv-Feyman, D Nizhner, W Walker, S Glustein
Liv-Feyman, Alec          5/23/2023        $70.46   Business Meals (Attendees) - Team dinner in Dallas, TX, A
                                                    Titus, A Liv-Feyman, D Nizhner, L Clayton
Clayton, Lance            5/23/2023        $15.83   Individual Meal - Out of town breakfast in Dallas, TX

Clayton, Lance            5/24/2023       $178.07   Business Meals (Attendees) - Out of town dinner in Dallas,
                                                    TX, A Titus, A Liv-Feyman, D Nizhner, L Clayton, S Glustein
Liv-Feyman, Alec          5/24/2023       $159.10   Business Meals (Attendees) - Out of town dinner in Dallas,
                                                    TX, A Titus, A Liv-Feyman, D Nizhner, L Clayton, W Walker,
                                                    S Glustein
Clayton, Lance            5/24/2023        $30.13   Individual Meal - Out of town working lunch in Dallas, TX

Liv-Feyman, Alec          5/27/2023        $46.20   Business Meal (Attendees) - Team dinner, out of town meal
                                                    in Dallas, TX, A Liv-Feyman, D Nizhner
Liv-Feyman, Alec          5/27/2023        $46.20   Business Meals (Attendees) - Team dinner in Dallas, TX, A
                                                    Liv-Feyman, D Nizhner
Kearney, Kevin            5/29/2023        $38.00   Individual Meal - Out of town dinner in Dallas, TX

Kearney, Kevin            5/30/2023        $15.58   Individual Meal - Out of town breakfast in Dallas, TX

Kearney, Kevin            5/30/2023        $13.63   Individual Meal - Working lunch in Dallas, TX

Kearney, Kevin            5/31/2023       $150.00   Business Meal (Attendees) - Team dinner, out of town meal
                                                    in Dallas, TX, K Kearney, R Gordon, C Broskay
Kearney, Kevin            5/31/2023        $24.40   Individual Meal - Working lunch in Dallas, TX

Kearney, Kevin            5/31/2023        $15.58   Individual Meal - Out of town breakfast in Dallas, TX

Trent, Hudson              6/4/2023        $17.67   Individual Meal - Working lunch in Chicago, IL

Mirando, Michael           6/5/2023       $230.59   Business Meal (Attendees) - Team dinner, out of town meal
                                                    in Houston, TX, A Hainline, D Kuruvilla, K Zabich, K Kearney,
                                                    M Jones, M Mirando, N Faett
Gonzalez, Johnny           6/5/2023       $120.39   Business Meal (Attendees) - Out of town dinner in Chicago,
                                                    IL. w/ H.Trent & D. Slay (A&M)
Slay, David                6/5/2023        $64.27   Individual Meal - Out of town dinner in Dallas, TX

Trent, Hudson              6/5/2023        $49.39   Individual Meal - Out of town dinner in Chicago, IL

Trent, Hudson              6/5/2023        $25.51   Individual Meal - Working lunch in Chicago, IL

Mirando, Michael           6/6/2023       $222.39   Business Meal (Attendees) - Team dinner, out of town meal
                                                    in Houston, TX, A Hainline, D Kuruvilla, K Zabich, K Kearney,
                                                    M Jones, M Mirando, N Faett
Gonzalez, Johnny           6/6/2023        $64.27   Business Meal (Attendees) - Out of down dinner in Chicago,
                                                    IL. w/ H.Trent (A&M)


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Mirando, Michael           6/7/2023       $379.04   Business Meal (Attendees) - Team dinner, out of town meal
                                                    in Houston, TX, A Hainline, D Kuruvilla, K Zabich, K Kearney,
                                                    L Francis, M Jones, M Mirando, N Faett, R Esposito
Mosley, Ed                 6/7/2023       $300.00   Business Meal (Attendees) - Out of town dinner in New York,
                                                    NY, A Landis, A Dietderich (S&C) E Mosley, S Coverick,
Bruck, Ran                 6/8/2023        $55.71   Business Meal (Attendees) - Team lunch in Houston, TX, A
                                                    Hainline, M Jones, R Bruck
Titus, Adam               6/13/2023       $400.00   Business Meal (Attendees) - Team dinner in Dallas, TX, A
                                                    Titus, A Liv-Feyman, B Tenney, D Nizhner, L Clayton. N
                                                    Simoneaux, R Walker, S Glustein
Bruck, Ran                6/13/2023       $259.73   Business Meal (Attendees) - Team dinner in Houston, TX, A
                                                    Hainline, C Broskay, J Gany, L Francis, R Bruck, R Esposito
Bruck, Ran                6/13/2023        $40.06   Business Meal (Attendees) - Team lunch in Houston, TX A
                                                    Hainline, R Bruck
Nizhner, David            6/13/2023        $20.32   Individual Meal - Out of town Dinner in New York, NY

Nizhner, David            6/13/2023        $16.57   Individual Meal - Out of town breakfast in New York, NY

Titus, Adam               6/14/2023       $400.00   Business Meal (Attendees) - Team dinner in Dallas, TX, A
                                                    Titus, A Liv-Feyman, B Tenney, D Nizhner, E Taraba, L
                                                    Clayton. R Walker, S Glustein
Bruck, Ran                6/14/2023       $203.04   Business Meal (Attendees) - Team dinner in Houston, TX, C
                                                    Broskay, J Gany, L Francis, R Bruck, R Esposito
Nizhner, David            6/14/2023        $16.73   Individual Meal - Working lunch in New York, NY

Bruck, Ran                6/15/2023        $38.82   Business Meal (Attendees) - Team lunch in Houston, TX, R
                                                    Bruck, R Esposito
Jones, Mackenzie          6/19/2023       $499.80   Business Meal (Attendees) - Team dinner, out of town dinner
                                                    in Dallas, TX, J Gany, K Zabick, K Kearney, L Francis, M
                                                    Jones, N Faett, R Bruck, R Esposity, T Hubbard, T Braatelien
Bruck, Ran                6/20/2023       $477.70   Business Meal (Attendees) - Team dinner in Houston, TX, A
                                                    Hainline, C Broskay, J Gany, K Zabick, L Francis, M Jones, N
                                                    Faett, R Bruck R Esposito, T Hubbard, T Braatelien
Bruck, Ran                6/21/2023       $274.48   Business Meal (Attendees) - Team dinner in Houston, TX, A
                                                    Hainline, C Broskay, J Gany, K Zabick, L Francis, M Jones, N
                                                    Faett, R Bruck R Esposito, T Hubbard, T Braatelien
Titus, Adam               6/27/2023       $400.00   Business Meal (Attendees) - Team dinner in Dallas, TX, A
                                                    Titus, A Liv-Feyman, B Tenney, D Nizhner, E Taraba, L
                                                    Clayton. R Walker, S Glustein
Gonzalez, Johnny          6/27/2023       $200.00   Business Meal (Attendees) - In office working lunch in Dallas,
                                                    TX. w/ C. Arnett, H. Trent, S. Witherspoon, E. Taraba (A&M)
Tenney, Bridger           6/27/2023        $29.99   Business Meal (Attendees) - In office working lunch in Dallas,
                                                    TX. w/ B. Tenney and N. Simoneaux (A&M)


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                                                 Meals

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Nizhner, David            6/27/2023        $23.30   Individual Meal - Out of town Dinner in New York, NY

Nizhner, David            6/27/2023        $22.41   Individual Meal - Out of town breakfast in New York, NY

Nizhner, David            6/27/2023        $17.45   Individual Meal - Out of town breakfast in New York, NY

Titus, Adam               6/28/2023       $350.00   Business Meal (Attendees) - Team dinner in Dallas, TX, A
                                                    Titus, B Tenney, D Nizhner, E Taraba, L Clayton. R Walker,
                                                    S Glustein
Clayton, Lance            6/28/2023       $102.21   Business Meal (Attendees) - Team Breakfast, out of town
                                                    meal in Dallas, TX, A Titus, A Liv-Feyman, D Nizhner, L
                                                    Clayton, W Walker, S Glustein
Gonzalez, Johnny          6/28/2023        $49.72   Business Meal (Attendees) - In office working dinner in
                                                    Dallas, TX. w/ H. Trent, S. Witherspoon, B. Tenney (A&M)
Baker, Kevin              6/28/2023        $10.62   Individual Meal - Out of town breakfast in New York, NY

Clayton, Lance            6/29/2023       $198.35   Business Meal (Attendees) - Team dinner, out of town meal
                                                    in Dallas, TX, A Titus, A Liv-Feyman, D Nizhner, L Clayton,
                                                    W Walker
Clayton, Lance            6/29/2023       $142.70   Business Meal (Attendees) - Team Breakfast, out of town
                                                    meal in Dallas, TX, A Titus, A Liv-Feyman, B Tenney, D
                                                    Nizhner, L Clayton, W Walker, S Glustein
Gonzalez, Johnny          6/30/2023        $88.12   Business Meal (Attendees) - In office working lunch in Dallas,
                                                    TX. w/ H. Trent, S. Witherspoon, B. Tenney, N. Simoneaux
                                                    (A&M)
Gonzalez, Johnny           7/7/2023        $71.21   Business Meal (Attendees) - In office working lunch in Dallas,
                                                    TX. w/ H. Trent, S. Witherspoon, B. Tenney, N. Simoneaux
                                                    (A&M)
Simoneaux, Nicole         7/11/2023       $251.48   Business Meals - Working lunch in Dallas, TX, B Tenney, C
                                                    Arnett, D Slay, E Taraba, J Cooper, J Gonzalez, M Trent, N
                                                    Simoneaux, S Witherspoon
Yurchak, Lilia            7/11/2023        $42.73   Individual Meals - Out of town dinner in Dallas, TX

Slay, David               7/12/2023        $44.54   Individual Meals - Out of town dinner in Dallas, TX

Slay, David               7/12/2023        $21.95   Individual Meals - Out of town breakfast in Dallas, TX

Francis, Luke             7/16/2023        $38.09   Individual Meal - Out of town dinner in Houston, TX

Francis, Luke             7/16/2023        $21.57   Individual Meal - Out of town working lunch in Houston, TX

Kearney, Kevin            7/16/2023        $12.77   Individual Meals - Out of town dinner in Houston, TX

Zabcik, Kathryn           7/17/2023       $200.17   Business Meals - Team dinner in Houston, TX, C Broskay, K
                                                    Zabick, K Kearney, L Francis, N Faett, R Esposito
Simoneaux, Nicole         7/17/2023       $197.80   Business Meals - Working lunch in Dallas, TX, B Tenney, C
                                                    Arnett, E Taraba, J Gonzalez, M Trent, N Simoneaux, S
                                                    Witherspoon

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                                                 Meals

Professional/Service      Date         Expense      Expense Description

Kearney, Kevin            7/17/2023        $18.93   Individual Meals - Out of town breakfast in Houston, TX

Zabcik, Kathryn           7/17/2023        $18.70   Individual Meals - Working lunch in Houston, TX

Witherspoon, Samuel       7/17/2023        $15.70   Individual Meals - In office working dinner in Dallas, TX after
                                                    8:00PM
Francis, Luke             7/17/2023        $14.50   Individual Meal - Working lunch in Houston, TX

Francis, Luke             7/17/2023        $13.12   Individual Meal - Out of town breakfast in Houston, TX

Broskay, Cole             7/17/2023        $12.75   Individual Meal - Out of town breakfast in Houston, TX

Kearney, Kevin            7/17/2023        $10.89   Individual Meals - Working lunch in Houston, TX

Bruck, Ran                7/18/2023       $399.55   Business Meals - Team dinner in Houston, TX, A Hainline, C
                                                    Broskay, K Zabick, K Kearney, L Francid, M Jones, N Faett,
                                                    R Bruck, R Esposito
Tenney, Bridger           7/18/2023       $194.57   Business Meals - In office working lunch in Dallas, TX, B
                                                    Tenney, C Arnett, E Taraba, J Gonzalez, N Simoneaux, S
                                                    Witherspoon,
Glustein, Steven          7/18/2023        $39.05   Individual Meals - Working lunch in New York, NY

Bruck, Ran                7/18/2023        $35.00   Individual Meal - Working lunch in Houston, TX

Glustein, Steven          7/18/2023        $31.73   Individual Meals - Out of town dinner in New York, NY

Gany, Jared               7/18/2023        $29.72   Individual Meal - Working lunch in New York, NY

Kearney, Kevin            7/18/2023        $23.36   Individual Meals - Working lunch in Houston, TX

Esposito, Rob             7/18/2023        $20.84   Business Meals - Team breakfast in Houston, TX, R
                                                    Esposito, L Francis
Zabcik, Kathryn           7/18/2023        $18.70   Individual Meals - Working lunch in Houston, TX

Hainline, Drew            7/18/2023        $16.18   Individual Meals - Working lunch in Houston, TX

Jones, Mackenzie          7/18/2023        $15.05   Individual Meals - Working lunch in Houston, TX

Broskay, Cole             7/18/2023        $14.00   Individual Meal - Out of town breakfast in Houston, TX

Francis, Luke             7/18/2023        $10.27   Individual Meal - Out of town breakfast in Houston, TX

Bruck, Ran                7/19/2023        $35.00   Individual Meal - Working lunch in Houston, TX

Francis, Luke             7/19/2023        $20.38   Business Meals - Team breakfast in Houston, TX, R
                                                    Esposito, L Francis
Zabcik, Kathryn           7/19/2023        $18.70   Individual Meals - Working lunch in Houston, TX

Kearney, Kevin            7/19/2023        $15.40   Individual Meals - Out of town breakfast in Houston, TX

Broskay, Cole             7/19/2023        $14.15   Individual Meal - Out of town breakfast in Houston, TX

Kearney, Kevin            7/19/2023        $10.89   Individual Meals - Working lunch in Houston, TX

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                                                 Meals

Professional/Service      Date         Expense      Expense Description

Francis, Luke             7/19/2023        $10.81   Individual Meal - Working lunch in Houston, TX

Simoneaux, Nicole         7/20/2023       $216.20   Business Meals - Working lunch in Dallas, TX, B Tenney, C
                                                    Arnett, E Taraba, J Gonzalez, M Trent, N Simoneaux, S
                                                    Witherspoon
Glustein, Steven          7/20/2023        $53.10   Individual Meals - Out of town dinner in New York, NY

Francis, Luke             7/20/2023        $45.00   Individual Meal - Out of town dinner in Houston, TX

Gany, Jared               7/20/2023        $45.00   Individual Meal - Out of town dinner in New York, NY

Glustein, Steven          7/20/2023        $39.06   Individual Meals - Working lunch in New York, NY

Kearney, Kevin            7/20/2023        $22.57   Individual Meals - Out of town dinner in Houston, TX

Esposito, Rob             7/20/2023        $22.30   Individual Meals - Working lunch in Houston, TX

Kearney, Kevin            7/20/2023        $20.87   Individual Meals - Out of town breakfast in Houston, TX

Jones, Mackenzie          7/20/2023        $20.68   Individual Meals - Working lunch in Houston, TX

Francis, Luke             7/20/2023        $19.30   Individual Meal - Working lunch in Houston, TX

Zabcik, Kathryn           7/20/2023        $18.70   Individual Meals - Working lunch in Houston, TX

Glustein, Steven          7/20/2023        $15.01   Individual Meals - Out of town breakast in New York, NY

Kearney, Kevin            7/20/2023         $9.52   Individual Meals - Working lunch in Houston, TX

Francis, Luke             7/21/2023        $21.74   Individual Meal - Out of town breakfast in Houston, TX

Broskay, Cole             7/24/2023        $14.33   Individual Meal - Out of town breakfast in Houston, TX

Bruck, Ran                7/25/2023       $116.90   Business Meals - Team dinner in Houston, TX, C Broskay, M
                                                    Jones, R Bruck
Broskay, Cole             7/25/2023        $12.75   Individual Meal - Out of town breakfast in Houston, TX

Jones, Mackenzie          7/25/2023        $10.55   Individual Meals - Working lunch in Houston, TX

Bruck, Ran                7/25/2023        $10.34   Individual Meal - Working lunch in Houston, TX

Bruck, Ran                7/26/2023       $149.82   Business Meals - Team dinner in Houston, TX, C Broskay, M
                                                    Jones, R Bruck
Bruck, Ran                7/26/2023        $12.88   Individual Meal - Working lunch in Houston, TX

Jones, Mackenzie          7/26/2023        $10.16   Individual Meals - Working lunch in Houston, TX

Broskay, Cole             7/26/2023         $9.55   Individual Meal - Out of town breakfast in Houston, TX

Bruck, Ran                7/27/2023        $19.67   Individual Meal - Working lunch in Houston, TX

Broskay, Cole             7/27/2023        $16.17   Individual Meal - Out of town breakfast in Houston, TX

Jones, Mackenzie          7/27/2023        $11.30   Individual Meals - Working lunch in Houston, TX


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                                                      Meals

Professional/Service         Date          Expense       Expense Description

Gordon, Robert               7/31/2023          $25.47   Individual Meals - Out of town dinner in New York, NY

Kearney, Kevin               7/31/2023          $21.46   Individual Meals - Out of town breakfast in Houston, TX

Kearney, Kevin               7/31/2023          $19.00   Individual Meals - Working lunch in Houston, TX

Zabcik, Kathryn              7/31/2023          $16.64   Individual Meals - Out of town dinner in New York, NY

Jones, Mackenzie             7/31/2023          $13.61   Individual Meals - Out of town breakfast in Houston, TX

   Expense Category Total                $11,710.86



                                               Transportation

Professional/Service         Date          Expense       Expense Description

Liv-Feyman, Alec            11/19/2022          $94.67   Uber from airport to hotel

Liv-Feyman, Alec             12/5/2022          $47.21   Taxi from airport to hotel

Liv-Feyman, Alec              1/8/2023          $63.84   Uber from office to lunch

Liv-Feyman, Alec              1/8/2023          $57.52   Uber from airport to home

Liv-Feyman, Alec              1/8/2023          $43.39   Uber from office to airport

Liv-Feyman, Alec              1/8/2023          $21.75   Uber from office to hotel

Liv-Feyman, Alec              1/8/2023          $13.39   Uber from hotel to office

Liv-Feyman, Alec              1/8/2023          $12.99   Uber from office to hotel

Liv-Feyman, Alec             1/16/2023          $67.90   Uber from hotel to airport

Liv-Feyman, Alec             3/12/2023          $44.94   Uber from airport to hotel

Liv-Feyman, Alec             3/13/2023           $8.27   Uber from hotel to office

Liv-Feyman, Alec             3/14/2023           $8.94   Uber from office to hotel

Liv-Feyman, Alec             3/14/2023           $8.01   Uber from hotel to office

Liv-Feyman, Alec             3/15/2023          $10.95   Uber from hotel to office

Liv-Feyman, Alec             3/15/2023           $8.22   Uber from office to hotel

Liv-Feyman, Alec             3/16/2023          $42.31   Uber from office to airport

Liv-Feyman, Alec             3/16/2023           $8.84   Uber from hotel to office

Liv-Feyman, Alec             3/17/2023          $39.52   Uber from hotel to airport

Liv-Feyman, Alec             3/26/2023          $38.95   Uber from airport to hotel

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                                       Transportation

Professional/Service   Date         Expense      Expense Description

Liv-Feyman, Alec       3/26/2023         $8.01   Uber from hotel to office

Liv-Feyman, Alec       3/26/2023         $7.77   Uber from dinner to hotel

Liv-Feyman, Alec       3/27/2023         $9.45   Uber from hotel to office

Liv-Feyman, Alec       3/28/2023         $7.77   Uber from hotel to office

Liv-Feyman, Alec       3/29/2023        $10.85   Uber from office to hotel

Liv-Feyman, Alec       3/29/2023         $8.03   Uber from hotel to office

Liv-Feyman, Alec       3/30/2023        $40.09   Uber from hotel to airport

Liv-Feyman, Alec       3/31/2023        $65.90   Uber from airport to home

Liv-Feyman, Alec       4/16/2023        $31.92   Uber from airport to home

Liv-Feyman, Alec       4/17/2023        $20.70   Uber from hotel to office

Liv-Feyman, Alec       4/18/2023         $9.83   Uber from hotel to office

Liv-Feyman, Alec       4/18/2023         $9.63   Uber from office to hotel

Liv-Feyman, Alec       4/18/2023         $9.26   Uber from office to hotel

Liv-Feyman, Alec       4/19/2023        $16.09   Uber from office to hotel

Liv-Feyman, Alec       4/19/2023         $9.13   Uber from office to dinner

Liv-Feyman, Alec       4/19/2023         $5.57   Uber from dinner to hotel

Liv-Feyman, Alec       4/20/2023        $56.22   Uber from office to airport

Liv-Feyman, Alec       4/20/2023         $9.15   Uber from hotel to office

Liv-Feyman, Alec       4/29/2023         $7.96   Uber from hotel to office

Liv-Feyman, Alec        5/1/2023         $9.40   Uber from hotel to office

Liv-Feyman, Alec        5/2/2023         $9.57   Uber from hotel to office

Liv-Feyman, Alec        5/3/2023        $63.42   Uber from office to airport

Liv-Feyman, Alec        5/3/2023        $10.64   Uber from hotel to office

Liv-Feyman, Alec        5/3/2023         $5.93   Uber from office to hotel

Kearney, Kevin         5/15/2023        $83.14   Taxi from airport to office

Kearney, Kevin         5/15/2023        $18.34   Personal Car Mileage round trip, home to MSP airport

Kearney, Kevin         5/16/2023        $17.79   Taxi from hotel to office

Kearney, Kevin         5/16/2023        $17.19   Taxi from office to hotel

Kearney, Kevin         5/18/2023       $112.82   Taxi from hotel to airport

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                                       Transportation

Professional/Service   Date         Expense      Expense Description

Kearney, Kevin         5/18/2023        $29.28   Taxi from office to dinner

Kearney, Kevin         5/18/2023        $17.19   Taxi from hotel to office

Kearney, Kevin         5/19/2023       $120.00   Airport Parking at IAH

Kearney, Kevin         5/19/2023        $18.34   Personal Car Mileage round trip, MSP airport to home

Liv-Feyman, Alec       5/21/2023        $49.96   Uber from airport to hotel

Clayton, Lance         5/22/2023        $88.54   Taxi from home to airport

Clayton, Lance         5/22/2023        $88.54   Uber from home to airport

Clayton, Lance         5/22/2023        $83.00   Taxi from airport to office

Clayton, Lance         5/22/2023        $83.00   Uber from airport to office

Clayton, Lance         5/22/2023        $28.82   Taxi from office to hotel

Clayton, Lance         5/22/2023        $28.82   Uber from office to hotel

Liv-Feyman, Alec       5/22/2023         $6.87   Uber from hotel to office

Liv-Feyman, Alec       5/23/2023        $16.43   Uber from hotel to office

Liv-Feyman, Alec       5/24/2023       $105.34   Uber from office to hotel

Clayton, Lance         5/24/2023        $87.11   Uber from trip DAL to office

Clayton, Lance         5/24/2023        $87.11   Taxi from home to airport

Liv-Feyman, Alec       5/24/2023        $12.90   Uber from hotel to office

Liv-Feyman, Alec       5/25/2023        $10.13   Uber from hotel to office

Kearney, Kevin         5/29/2023       $113.73   Taxi from airport to home

Kearney, Kevin         5/29/2023        $84.35   Taxi from hotel to airport

Kearney, Kevin         5/31/2023        $27.62   Taxi from hotel to dinner

Kearney, Kevin         5/31/2023        $18.23   Taxi from dinner to hotel

Coverick, Steve         6/2/2023        $86.78   Uber from airport to home

Nizhner, David         6/13/2023       $104.81   Uber from airport to office

Nizhner, David         6/13/2023        $83.96   Uber from home to airport

Nizhner, David         6/14/2023        $27.27   Uber from office to dinner

Nizhner, David         6/14/2023        $13.49   Uber from hotel to office

Nizhner, David         6/16/2023       $135.64   Uber from airport to home

Nizhner, David         6/16/2023       $100.57   Uber from office to airport

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Professional/Service      Date         Expense      Expense Description

Broskay, Cole             6/20/2023        $13.58   Taxi from office to meeting

Broskay, Cole             6/21/2023        $45.00   Daily parking in HOU for client work

Broskay, Cole             6/21/2023        $40.00   Daily parking in HOU for client work

Broskay, Cole             6/21/2023         $8.68   Taxi from office to meeting

Broskay, Cole             6/22/2023       $261.35   Personal Car Mileage round trip, home to Houston, TX

Nizhner, David            6/27/2023       $101.59   Uber from airport to office

Nizhner, David            6/27/2023        $84.11   Uber from home to airport

Nizhner, David            6/27/2023        $23.68   Uber from office to dinner

Baker, Kevin              6/28/2023        $93.23   Taxi from airport to office

Baker, Kevin              6/28/2023        $93.23   Taxi from airport to hotel

Baker, Kevin              6/28/2023        $37.86   Taxi from home to airport

Nizhner, David            6/28/2023        $31.36   Uber from office to lunch

Nizhner, David            6/28/2023        $15.63   Uber from hotel to office

Nizhner, David            6/29/2023       $128.52   Uber from airport to home

Nizhner, David            6/29/2023        $98.87   Uber from office to airport

Baker, Kevin              6/29/2023        $78.55   Taxi from office to airport

Baker, Kevin              6/29/2023        $35.25   Taxi from airport to home

Chamma, Leandro            7/9/2023        $66.15   Uber from dinner to office

Chamma, Leandro            7/9/2023        $33.94   Uber from office to dinner

Yurchak, Lilia            7/10/2023        $68.31   Uber from office to dinner

Yurchak, Lilia            7/10/2023        $26.68   Uber from hotel to office

Cooper, James             7/10/2023        $22.02   Uber from office to hotel

Slay, David               7/11/2023        $90.32   Uber from airport to office

Slay, David               7/11/2023        $54.36   Uber from home to airport

Chamma, Leandro           7/11/2023        $17.95   Uber from home to airport

Yurchak, Lilia            7/11/2023        $16.90   Uber from airport to hotel

Chamma, Leandro           7/11/2023        $13.95   Uber from airport to hotel

Slay, David               7/12/2023       $121.79   Uber from office to airport

Yurchak, Lilia            7/12/2023        $71.92   Uber from hotme to airport

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                                 FTX Trading Ltd., et al.,
                               Expense Detail by Category
                            July 1, 2023 through July 31, 2023


                                          Transportation

Professional/Service      Date         Expense      Expense Description

Chamma, Leandro           7/12/2023        $63.60   Uber from hotel to airport

Slay, David               7/12/2023        $56.59   Uber from airport to Home

Cooper, James             7/12/2023        $54.56   Uber from office to airport

Cooper, James             7/12/2023        $53.36   Uber from airport to office

Cooper, James             7/12/2023        $24.28   Uber from hotel to office

Chamma, Leandro           7/12/2023        $22.99   Uber from hotel to office

Slay, David               7/12/2023        $14.25   Uber from hotel to office

Kearney, Kevin            7/16/2023        $99.77   Lyft from airport to hotel

Esposito, Rob             7/16/2023        $74.67   Personal car mileage roundtrip, home to TPA

Francis, Luke             7/16/2023        $63.56   Uber from home to airport

Francis, Luke             7/16/2023        $52.37   Uber from airport to hotel

Kearney, Kevin            7/16/2023        $18.34   Personal car mileage rountrip, home to MSP

Glustein, Steven          7/17/2023       $101.79   Uber from airport to hotel

Esposito, Rob             7/17/2023        $68.72   Uber from airport to hotel

Glustein, Steven          7/17/2023        $53.40   Uber from home to airport

Kearney, Kevin            7/17/2023        $17.19   Lyft from hotel to office

Broskay, Cole             7/17/2023        $11.68   Uber from hotel to office

Glustein, Steven          7/18/2023        $44.32   Uber from office to dinner

Jones, Mackenzie          7/18/2023        $43.34   Uber from airport to office

Gany, Jared               7/18/2023        $33.36   Uber from airport to hotel

Jones, Mackenzie          7/18/2023        $19.64   Uber from office to hotel

Kearney, Kevin            7/18/2023        $17.19   Lyft from hotel to office

Glustein, Steven          7/18/2023        $16.05   Taxi from dinner to hotel

Broskay, Cole             7/18/2023        $11.07   Uber from hotel to office

Glustein, Steven          7/19/2023        $57.09   Uber from hotel to office

Glustein, Steven          7/19/2023        $55.28   Uber from hotel to office

Esposito, Rob             7/19/2023        $20.37   Uber from dinner to hotel

Kearney, Kevin            7/19/2023        $19.19   Lyft from office to hotel

Francis, Luke             7/19/2023        $18.13   Uber from office to dinner

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                                 FTX Trading Ltd., et al.,
                               Expense Detail by Category
                            July 1, 2023 through July 31, 2023


                                          Transportation

Professional/Service      Date         Expense      Expense Description

Kearney, Kevin            7/19/2023        $17.29   Lyft from hotel to office

Kearney, Kevin            7/19/2023        $17.29   Lyft from office to dinner

Jones, Mackenzie          7/19/2023        $13.72   Uber from dinner to hotel

Broskay, Cole             7/19/2023        $11.70   Uber from hotel to office

Broskay, Cole             7/19/2023        $11.15   Uber from office to hotel

Esposito, Rob             7/20/2023       $121.61   Uber from office to airport

Kearney, Kevin            7/20/2023       $116.95   Lyft from airport to home

Glustein, Steven          7/20/2023       $107.45   Uber from hotel to airport

Esposito, Rob             7/20/2023        $98.00   Daily parking in TPA for client work

Kearney, Kevin            7/20/2023        $84.42   Lyft from office to airport

Jones, Mackenzie          7/20/2023        $50.32   Uber from airport to home

Jones, Mackenzie          7/20/2023        $36.30   Uber from office to airport

Francis, Luke             7/20/2023        $28.58   Uber from dinner to hotel

Francis, Luke             7/20/2023        $24.25   Uber from office to dinner

Kearney, Kevin            7/20/2023        $17.19   Lyft from hotel to office

Jones, Mackenzie          7/20/2023        $13.44   Uber from hotel to office

Broskay, Cole             7/20/2023        $10.44   Uber from hotel to office

Francis, Luke             7/21/2023        $61.82   Uber from home to airport

Glustein, Steven          7/21/2023        $60.76   Uber from airport to hotel

Gany, Jared               7/21/2023        $55.05   Uber home from airport

Francis, Luke             7/21/2023        $42.74   Uber from hotel to airport

Gany, Jared               7/21/2023        $33.75   Uber from office to airport

Jones, Mackenzie          7/25/2023        $44.22   Uber from airport to office

Jones, Mackenzie          7/25/2023        $16.58   Uber from office to hotel

Broskay, Cole             7/25/2023        $10.59   Uber from hotel to office

Jones, Mackenzie          7/26/2023        $17.31   Uber from office to hotel

Broskay, Cole             7/26/2023        $17.14   Uber from hotel to office

Broskay, Cole             7/26/2023        $15.16   Uber from office to hotel

Broskay, Cole             7/27/2023        $60.00   Daily parking in TPA for client work

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                                 Expense Detail by Category
                              July 1, 2023 through July 31, 2023


                                              Transportation

Professional/Service        Date          Expense       Expense Description

Jones, Mackenzie            7/27/2023          $57.48   Lyft from office to airport

Jones, Mackenzie            7/27/2023          $15.24   Uber from hotel to office

Broskay, Cole               7/27/2023          $10.22   Uber from hotel to airport

Kearney, Kevin              7/30/2023         $147.97   Lyft from home to airport

Kearney, Kevin              7/30/2023          $70.99   Lyft from airport to hotel

Jones, Mackenzie            7/31/2023         $172.79   Uber from airport to hotel

Gordon, Robert              7/31/2023         $161.36   Uber from airport to hotel

Zabcik, Kathryn             7/31/2023         $150.24   Uber from home to airport

Zabcik, Kathryn             7/31/2023         $138.39   Uber from airport to hotel

Gordon, Robert              7/31/2023         $105.42   Uber from home to airport

Bruck, Ran                  7/31/2023          $83.70   Lyft from airport to hotel

Bruck, Ran                  7/31/2023          $79.94   Lyft from home to airport

Jones, Mackenzie            7/31/2023          $64.56   Uber from home to airport

   Expense Category Total                $8,565.46



                                              Miscellaneous

Professional/Service        Date          Expense       Expense Description

Kearney, Kevin              5/15/2023          $15.00   In flight Wi-Fi to continue client work

Clayton, Lance              5/22/2023           $8.00   In flight Wi-Fi to continue client work

Clayton, Lance              5/22/2023           $8.00   In flight Wi-Fi to continue client work

Nizhner, David              6/13/2023          $25.00   In flight Wi-Fi to continue client work

Nizhner, David              6/15/2023          $25.00   In flight Wi-Fi to continue client work

Baker, Kevin                6/29/2023          $10.00   In flight Wi-Fi to continue client work

Gonzalez, Johnny             7/8/2023          $59.95   In flight Wi-Fi to continue client work

Esposito, Rob               7/16/2023           $8.00   In flight Wi-Fi to continue client work

Gany, Jared                 7/18/2023          $25.00   In flight Wi-Fi to continue client work

Kearney, Kevin              7/19/2023          $15.00   In flight Wi-Fi to continue client work

Esposito, Rob               7/20/2023          $10.00   In flight Wi-Fi to continue client work

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                                   FTX Trading Ltd., et al.,
                                 Expense Detail by Category
                              July 1, 2023 through July 31, 2023


                                               Miscellaneous

Professional/Service        Date           Expense       Expense Description

Slay, David                 7/24/2023           $59.95   In flight Wi-Fi to continue client work

Coverick, Steve             7/28/2023           $59.95   In flight Wi-Fi to continue client work

Mosley, Ed                  7/29/2023           $24.98   In flight Wi-Fi to continue client work

Zabcik, Kathryn             7/31/2023            $8.00   In flight Wi-Fi to continue client work

   Expense Category Total                  $361.83


   Grand Total                          $441,563.02




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